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                                  #:774




                       Exhibit D
EmployeeCaseName 2:19-cv-08580-JFW-MAA
                  (ID) Wage Code Hours      Document
                                            Pay         38-5 FiledBranch
                                                 Rate Week         03/22/21 Page 2 of 691         Page ID
2713853                Regular       24.00      21.00 #:775
                                                       03/11/2019 Los Angeles CA East - Drivers
2713853                Overtime        7.00     31.50 03/11/2019 Los Angeles CA East - Drivers
2713853                Regular       40.00      21.00 03/18/2019 Los Angeles CA East - Drivers
2713853                Overtime      13.75      31.50 03/18/2019 Los Angeles CA East - Drivers
2713853                Regular       40.00      21.00 03/25/2019 Los Angeles CA East - Drivers
2713853                Overtime      13.00      31.50 03/25/2019 Los Angeles CA East - Drivers
2713853                Regular       32.00      21.00 04/01/2019 Los Angeles CA East - Drivers
2713853                Overtime      10.00      31.50 04/01/2019 Los Angeles CA East - Drivers
Total for 2713853                   179.75
1421024                Regular       24.00      17.00 11/21/2016 Sacramento CA - Drivers
1421024                Overtime        1.00     25.50 11/21/2016 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 11/28/2016 Sacramento CA - Drivers
1421024                Overtime        6.00     25.50 11/28/2016 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 12/05/2016 Sacramento CA - Drivers
1421024                Overtime        6.50     25.50 12/05/2016 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 12/12/2016 Sacramento CA - Drivers
1421024                Overtime        7.00     25.50 12/12/2016 Sacramento CA - Drivers
1421024                Regular       37.00      17.00 12/19/2016 Sacramento CA - Drivers
1421024                Overtime        8.00     25.50 12/19/2016 Sacramento CA - Drivers
1421024                Regular       32.00      17.00 12/26/2016 Sacramento CA - Drivers
1421024                Overtime        1.50     25.50 12/26/2016 Sacramento CA - Drivers
1421024                Regular       32.00      17.00 01/02/2017 Sacramento CA - Drivers
1421024                Overtime        2.00     25.50 01/02/2017 Sacramento CA - Drivers
1421024                Regular       39.50      17.00 01/09/2017 Sacramento CA - Drivers
1421024                Overtime        4.50     25.50 01/09/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 01/16/2017 Sacramento CA - Drivers
1421024                Overtime        6.00     25.50 01/16/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 01/23/2017 Sacramento CA - Drivers
1421024                Overtime        4.50     25.50 01/23/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 01/30/2017 Sacramento CA - Drivers
1421024                Overtime        6.50     25.50 01/30/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 02/06/2017 Sacramento CA - Drivers
1421024                Overtime        2.50     25.50 02/06/2017 Sacramento CA - Drivers
1421024                Regular         8.00     17.00 02/13/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 04/17/2017 Sacramento CA - Drivers
1421024                Overtime        3.50     25.50 04/17/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 04/24/2017 Sacramento CA - Drivers
1421024                Overtime        4.00     25.50 04/24/2017 Sacramento CA - Drivers
1421024                Regular       40.00      17.00 05/01/2017 Sacramento CA - Drivers
1421024                Overtime        1.00     25.50 05/01/2017 Sacramento CA - Drivers
1421024                Regular       32.00      17.00 05/08/2017 Sacramento CA - Drivers
1421024                Overtime        1.00     25.50 05/08/2017 Sacramento CA - Drivers
1421024                Regular       24.00      17.00 05/15/2017 Sacramento CA - Drivers
1421024                Regular       16.00      17.00 05/22/2017 Sacramento CA - Drivers
Total for 1421024                   710.00
1246098                Regular       40.00      21.00 02/01/2016 Sacramento CA - Drivers
1246098                Regular       40.00      21.00 02/08/2016 Sacramento CA - Drivers
1246098                Regular       32.00      21.00 02/15/2016 Sacramento CA - Drivers
1246098                Regular       40.00      21.00 02/22/2016 Sacramento CA - Drivers
1246098                Regular       40.00      21.00 02/29/2016 Sacramento CA - Drivers
1246098                Regular       40.00      21.00 03/07/2016 Sacramento CA - Drivers
1246098                Regular         8.00     21.00 03/14/2016 Sacramento CA - Drivers
Total for 1246098                   240.00
2381891                Regular       40.00      18.00 10/02/2017 Sacramento CA - Drivers
2381891                Overtime        1.50     27.00 10/02/2017 Sacramento CA - Drivers
2381891                Regular       40.00      18.00 10/09/2017 Sacramento CA - Drivers
2381891                Overtime        4.50     27.00 10/09/2017 Sacramento CA - Drivers
2381891                Regular       40.00      18.00 10/16/2017 Sacramento CA - Drivers
2381891                Overtime        2.00     27.00 10/16/2017 Sacramento CA - Drivers
2381891                Regular       40.00      18.00 10/23/2017 Sacramento CA - Drivers
2381891                Overtime        3.00     27.00 10/23/2017 Sacramento CA - Drivers
2381891                Regular       40.00      18.00 10/30/2017 Sacramento CA - Drivers
2381891 Case 2:19-cv-08580-JFW-MAA
                  Overtime       0.75   Document  38-5 FiledSacramento
                                          27.00 10/30/2017   03/22/21 CAPage   3 of 691 Page ID
                                                                          - Drivers
2381891           Regular       40.00     18.00 #:776
                                                 11/06/2017 Sacramento CA - Drivers
2381891           Overtime       4.75      27.00   11/06/2017   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   11/13/2017   Sacramento   CA   - Drivers
2381891           Overtime       5.75      27.00   11/13/2017   Sacramento   CA   - Drivers
2381891           Regular       24.00      18.00   11/20/2017   Sacramento   CA   - Drivers
2381891           Overtime       1.75      27.00   11/20/2017   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   11/27/2017   Sacramento   CA   - Drivers
2381891           Overtime       4.00      27.00   11/27/2017   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   12/04/2017   Sacramento   CA   - Drivers
2381891           Overtime       5.25      27.00   12/04/2017   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   12/11/2017   Sacramento   CA   - Drivers
2381891           Overtime       8.50      27.00   12/11/2017   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   12/18/2017   Sacramento   CA   - Drivers
2381891           Overtime       7.75      27.00   12/18/2017   Sacramento   CA   - Drivers
2381891           Regular       16.00      18.00   12/25/2017   Sacramento   CA   - Drivers
2381891           Overtime       3.00      27.00   12/25/2017   Sacramento   CA   - Drivers
2381891           Regular       32.00      18.00   01/01/2018   Sacramento   CA   - Drivers
2381891           Overtime       4.75      27.00   01/01/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   01/08/2018   Sacramento   CA   - Drivers
2381891           Overtime       6.75      27.00   01/08/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   01/15/2018   Sacramento   CA   - Drivers
2381891           Overtime      17.00      27.00   01/15/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   01/22/2018   Sacramento   CA   - Drivers
2381891           Overtime       7.25      27.00   01/22/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   01/29/2018   Sacramento   CA   - Drivers
2381891           Overtime       8.00      27.00   01/29/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   02/05/2018   Sacramento   CA   - Drivers
2381891           Overtime       9.75      27.00   02/05/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   02/12/2018   Sacramento   CA   - Drivers
2381891           Overtime       7.00      27.00   02/12/2018   Sacramento   CA   - Drivers
2381891           Regular       32.00      18.00   02/19/2018   Sacramento   CA   - Drivers
2381891           Overtime       3.00      27.00   02/19/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   02/26/2018   Sacramento   CA   - Drivers
2381891           Overtime       3.00      27.00   02/26/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   03/05/2018   Sacramento   CA   - Drivers
2381891           Overtime       6.00      27.00   03/05/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   03/12/2018   Sacramento   CA   - Drivers
2381891           Overtime       6.50      27.00   03/12/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   03/19/2018   Sacramento   CA   - Drivers
2381891           Overtime      10.00      27.00   03/19/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   03/26/2018   Sacramento   CA   - Drivers
2381891           Overtime       6.50      27.00   03/26/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   04/02/2018   Sacramento   CA   - Drivers
2381891           Overtime       3.25      27.00   04/02/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   04/09/2018   Sacramento   CA   - Drivers
2381891           Overtime       1.25      27.00   04/09/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   04/16/2018   Sacramento   CA   - Drivers
2381891           Overtime       1.00      27.00   04/16/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   04/23/2018   Sacramento   CA   - Drivers
2381891           Overtime       7.00      27.00   04/23/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   04/30/2018   Sacramento   CA   - Drivers
2381891           Overtime       4.50      27.00   04/30/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   05/07/2018   Sacramento   CA   - Drivers
2381891           Overtime       1.75      27.00   05/07/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   05/14/2018   Sacramento   CA   - Drivers
2381891           Overtime       1.25      27.00   05/14/2018   Sacramento   CA   - Drivers
2381891           Regular       40.00      18.00   05/21/2018   Sacramento   CA   - Drivers
2381891           Overtime       5.25      27.00   05/21/2018   Sacramento   CA   - Drivers
Total for 2381891            1,477.25
2642557           Regular       14.00      17.50   02/18/2019 Sacramento CA - Drivers
2642557           Regular       40.00      17.50   02/25/2019 Sacramento CA - Drivers
2642557           Overtime       1.75      26.25   02/25/2019 Sacramento CA - Drivers
2642557 Case 2:19-cv-08580-JFW-MAA
                  Regular      40.00   Document  38-5 FiledSacramento
                                         17.50 03/04/2019   03/22/21 CAPage   4 of 691 Page ID
                                                                         - Drivers
2642557           Overtime      3.25     26.25 #:777
                                                03/04/2019 Sacramento CA - Drivers
2642557           Regular      24.00      17.50   03/11/2019   Sacramento      CA   - Drivers
2642557           Overtime      9.00      26.25   03/11/2019   Sacramento      CA   - Drivers
2642557           Regular      32.00      17.50   03/18/2019   Sacramento      CA   - Drivers
2642557           Overtime     16.00      26.25   03/18/2019   Sacramento      CA   - Drivers
2642557           Regular      32.00      17.50   03/25/2019   Sacramento      CA   - Drivers
2642557           Overtime      9.00      26.25   03/25/2019   Sacramento      CA   - Drivers
2642557           Regular      16.00      17.50   04/01/2019   Sacramento      CA   - Drivers
2642557           Overtime      1.25      26.25   04/01/2019   Sacramento      CA   - Drivers
Total for 2642557             238.25
2253483           Regular      14.50      20.00   09/18/2017   Los   Angeles   CA   East   - Drivers
2253483           Overtime      1.50      30.00   09/18/2017   Los   Angeles   CA   East   - Drivers
2253483           Regular      16.00      20.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2253483           Overtime      2.50      30.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2253483           Regular       8.00      21.00   09/03/2018   Los   Angeles   CA   East   - Drivers
2253483           Regular      40.00      21.00   09/10/2018   Los   Angeles   CA   East   - Drivers
2253483           Overtime     11.51      31.50   09/10/2018   Los   Angeles   CA   East   - Drivers
2253483           Regular       8.00      21.00   09/17/2018   Los   Angeles   CA   East   - Drivers
2253483           Overtime      1.88      31.50   09/17/2018   Los   Angeles   CA   East   - Drivers
Total for 2253483             103.89
1181065           Regular       9.50      18.00   08/03/2015 Omaha NE - Drivers
1181065           Regular      20.50      18.00   08/10/2015 Omaha NE - Drivers
1181065           Regular      28.00      18.00   08/17/2015 Omaha NE - Drivers
Total for 1181065              58.00
2651352           Regular       8.00      17.60   01/28/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      3.00      26.40   01/28/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      40.00      17.60   02/04/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      6.00      26.40   02/04/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      27.25      17.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime     11.50      26.25   09/02/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular       2.00      18.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2651352           Regular      16.00      18.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2651352           Regular      40.00      18.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2651352           Regular      40.00      18.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      24.00      17.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime     10.00      26.25   07/01/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      40.00      17.50   07/08/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      9.25      26.25   07/08/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      34.50      17.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      3.50      26.25   07/15/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      16.00      21.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      12.00      17.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular       8.00      17.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      2.25      25.50   05/06/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      16.00      17.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      24.00      17.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      2.50      25.50   06/03/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular       8.00      17.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      16.00      17.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      16.00      17.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2651352           Regular      24.00      17.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2651352           Overtime      0.75      25.50   08/26/2019   Los   Angeles   CA   West   - Drivers
Total for 2651352             460.50
2253515           Regular      24.00      15.50   05/01/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      3.00      23.25   05/01/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      40.00      15.50   05/08/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      3.00      23.25   05/08/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      40.00      15.50   05/15/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      4.00      23.25   05/15/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      36.50      15.50   05/22/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      0.25      23.25   05/22/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      32.00      16.00   05/29/2017   Los   Angeles   CA   East   - Drivers
2253515 Case 2:19-cv-08580-JFW-MAA
                  Overtime      0.25   Document  38-5 FiledLos
                                         24.00 05/29/2017   03/22/21   Page
                                                               Angeles CA East5- of 691 Page ID
                                                                                 Drivers
2253515           Regular      24.00     16.50 #:778
                                                06/05/2017 Los Angeles CA East - Drivers
2253515           Overtime      1.00      24.75   06/05/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      37.50      16.50   06/12/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      1.25      24.75   06/12/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      40.00      16.50   06/19/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      1.50      24.75   06/19/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      39.00      16.50   06/26/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      3.00      24.75   06/26/2017   Los   Angeles   CA   East   - Drivers
2253515           Regular      16.00      16.50   07/03/2017   Los   Angeles   CA   East   - Drivers
2253515           Overtime      0.25      24.75   07/03/2017   Los   Angeles   CA   East   - Drivers
Total for 2253515             346.50
2363000           Regular      24.00      17.50   08/28/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      2.75      26.25   08/28/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      24.00      17.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      3.50      26.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      37.00      17.50   09/11/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      3.75      26.25   09/11/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      40.00      17.50   09/18/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      4.00      26.25   09/18/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      40.00      17.50   09/25/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      5.00      26.25   09/25/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      36.75      17.50   10/02/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      0.50      26.25   10/02/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      39.00      17.50   10/09/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      5.50      26.25   10/09/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      38.50      17.50   10/16/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      3.75      26.25   10/16/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      39.25      17.50   10/23/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      1.75      26.25   10/23/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      40.00      17.50   10/30/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      7.25      26.25   10/30/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      40.00      17.50   11/06/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      6.25      26.25   11/06/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      40.00      17.50   11/13/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      6.75      26.25   11/13/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      24.00      17.50   11/20/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime      1.00      26.25   11/20/2017   Los   Angeles   CA   West   - Drivers
2363000           Regular      32.00      17.50   11/27/2017   Los   Angeles   CA   West   - Drivers
2363000           Overtime     12.50      26.25   11/27/2017   Los   Angeles   CA   West   - Drivers
Total for 2363000             558.75
1354405           Regular      39.75      19.00   07/11/2016 Los Angeles CA West - Drivers
1354405           Overtime      5.75      28.50   07/11/2016 Los Angeles CA West - Drivers
Total for 1354405              45.50
785549            Regular       8.00      23.00   03/04/2019   Sacramento      CA   - Drivers
785549            Regular      40.00      23.00   03/11/2019   Sacramento      CA   - Drivers
785549            Overtime      1.63      34.50   03/11/2019   Sacramento      CA   - Drivers
785549            Regular      40.00      23.00   03/18/2019   Sacramento      CA   - Drivers
785549            Overtime      9.96      34.50   03/18/2019   Sacramento      CA   - Drivers
785549            Regular       8.00      23.00   03/25/2019   Sacramento      CA   - Drivers
785549            Overtime      0.13      34.50   03/25/2019   Sacramento      CA   - Drivers
785549            Regular       2.00      22.00   03/25/2019   Sacramento      CA   - Drivers
785549            Regular      36.00      22.00   04/01/2019   Sacramento      CA   - Drivers
785549            Overtime      8.00      33.00   04/01/2019   Sacramento      CA   - Drivers
785549            Regular      40.00      22.00   04/08/2019   Sacramento      CA   - Drivers
785549            Overtime      9.75      33.00   04/08/2019   Sacramento      CA   - Drivers
785549            Regular      32.00      22.00   04/15/2019   Sacramento      CA   - Drivers
785549            Overtime      6.25      33.00   04/15/2019   Sacramento      CA   - Drivers
785549            Regular      40.00      22.00   04/22/2019   Sacramento      CA   - Drivers
785549            Overtime     11.50      33.00   04/22/2019   Sacramento      CA   - Drivers
785549            Regular      40.00      22.00   04/29/2019   Sacramento      CA   - Drivers
785549            Overtime     11.00      33.00   04/29/2019   Sacramento      CA   - Drivers
785549            Regular      40.00      22.00   05/06/2019   Sacramento      CA   - Drivers
785549   Case 2:19-cv-08580-JFW-MAA
                   Overtime     13.00 Document  38-5 FiledSacramento
                                        33.00 05/06/2019   03/22/21 CAPage   6 of 691 Page ID
                                                                        - Drivers
785549             Regular      40.00   22.00 #:779
                                               05/13/2019 Sacramento CA - Drivers
785549             Overtime      10.00    33.00   05/13/2019   Sacramento   CA   - Drivers
785549             Regular       32.00    22.00   05/20/2019   Sacramento   CA   - Drivers
785549             Overtime       9.75    33.00   05/20/2019   Sacramento   CA   - Drivers
785549             Regular       32.00    22.00   05/27/2019   Sacramento   CA   - Drivers
785549             Overtime       9.25    33.00   05/27/2019   Sacramento   CA   - Drivers
785549             Regular       40.00    22.00   06/03/2019   Sacramento   CA   - Drivers
785549             Overtime       6.75    33.00   06/03/2019   Sacramento   CA   - Drivers
785549             Regular       32.00    22.00   06/10/2019   Sacramento   CA   - Drivers
785549             Overtime       9.50    33.00   06/10/2019   Sacramento   CA   - Drivers
785549             Regular       32.00    22.00   06/17/2019   Sacramento   CA   - Drivers
785549             Overtime       5.25    33.00   06/17/2019   Sacramento   CA   - Drivers
785549             Regular       40.00    22.00   06/24/2019   Sacramento   CA   - Drivers
785549             Overtime       6.00    33.00   06/24/2019   Sacramento   CA   - Drivers
785549             Regular       24.00    22.00   07/01/2019   Sacramento   CA   - Drivers
785549             Overtime       3.75    33.00   07/01/2019   Sacramento   CA   - Drivers
785549             Regular       32.00    22.00   07/08/2019   Sacramento   CA   - Drivers
785549             Overtime       4.75    33.00   07/08/2019   Sacramento   CA   - Drivers
785549             Regular       32.00    22.00   07/15/2019   Sacramento   CA   - Drivers
785549             Overtime       5.50    33.00   07/15/2019   Sacramento   CA   - Drivers
785549             Regular       24.00    22.00   07/22/2019   Sacramento   CA   - Drivers
785549             Overtime       3.00    33.00   07/22/2019   Sacramento   CA   - Drivers
785549             Regular       13.50    22.00   07/29/2019   Sacramento   CA   - Drivers
785549             Overtime       4.00    33.00   07/29/2019   Sacramento   CA   - Drivers
785549             Regular        8.00    22.00   08/05/2019   Sacramento   CA   - Drivers
785549             Regular       16.00    22.00   08/12/2019   Sacramento   CA   - Drivers
785549             Overtime       1.00    33.00   08/12/2019   Sacramento   CA   - Drivers
785549             Regular       23.00    20.98   11/07/2016   Sacramento   CA   - Drivers
785549             Regular        8.00    20.98   11/14/2016   Sacramento   CA   - Drivers
785549             Regular       34.50    20.98   11/21/2016   Sacramento   CA   - Drivers
785549             Overtime       8.50    31.47   11/21/2016   Sacramento   CA   - Drivers
785549             Regular       58.50    20.98   11/28/2016   Sacramento   CA   - Drivers
785549             Regular       49.00    20.98   12/05/2016   Sacramento   CA   - Drivers
785549             Regular       36.00    20.98   12/12/2016   Sacramento   CA   - Drivers
785549             Regular       56.00    20.98   12/19/2016   Sacramento   CA   - Drivers
785549             Regular       30.50    20.98   01/02/2017   Sacramento   CA   - Drivers
785549             Regular       27.50    20.98   01/16/2017   Sacramento   CA   - Drivers
785549             Regular       13.00    20.98   01/23/2017   Sacramento   CA   - Drivers
785549             Regular       29.50    20.98   01/30/2017   Sacramento   CA   - Drivers
785549             Regular       17.00    20.98   02/06/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   08/20/2018   Sacramento   CA   - Drivers
785549             Overtime      13.75    31.50   08/20/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   08/27/2018   Sacramento   CA   - Drivers
785549             Overtime      18.00    31.50   08/27/2018   Sacramento   CA   - Drivers
785549             Regular       32.00    21.00   09/03/2018   Sacramento   CA   - Drivers
785549             Overtime      14.50    31.50   09/03/2018   Sacramento   CA   - Drivers
785549             Regular       32.00    21.00   09/10/2018   Sacramento   CA   - Drivers
785549             Overtime      16.00    31.50   09/10/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   09/17/2018   Sacramento   CA   - Drivers
785549             Overtime      17.50    31.50   09/17/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   09/24/2018   Sacramento   CA   - Drivers
785549             Overtime      16.50    31.50   09/24/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   10/01/2018   Sacramento   CA   - Drivers
785549             Overtime      19.00    31.50   10/01/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   10/08/2018   Sacramento   CA   - Drivers
785549             Overtime      14.00    31.50   10/08/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   10/15/2018   Sacramento   CA   - Drivers
785549             Overtime      13.00    31.50   10/15/2018   Sacramento   CA   - Drivers
785549             Regular       32.00    21.00   10/22/2018   Sacramento   CA   - Drivers
785549             Overtime      13.50    31.50   10/22/2018   Sacramento   CA   - Drivers
785549             Regular       32.00    21.00   10/29/2018   Sacramento   CA   - Drivers
785549             Overtime      11.50    31.50   10/29/2018   Sacramento   CA   - Drivers
785549   Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00 Document  38-5 FiledSacramento
                                        21.00 11/05/2018   03/22/21 CAPage   7 of 691 Page ID
                                                                        - Drivers
785549             Overtime     13.50   31.50 #:780
                                               11/05/2018 Sacramento CA - Drivers
785549             Regular       40.00    21.00   11/12/2018   Sacramento   CA   - Drivers
785549             Overtime      13.50    31.50   11/12/2018   Sacramento   CA   - Drivers
785549             Regular       24.00    21.00   11/19/2018   Sacramento   CA   - Drivers
785549             Overtime      12.00    31.50   11/19/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   11/26/2018   Sacramento   CA   - Drivers
785549             Overtime      16.50    31.50   11/26/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   12/03/2018   Sacramento   CA   - Drivers
785549             Overtime      12.00    31.50   12/03/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   12/17/2018   Sacramento   CA   - Drivers
785549             Overtime      13.00    31.50   12/17/2018   Sacramento   CA   - Drivers
785549             Regular       24.00    21.00   12/24/2018   Sacramento   CA   - Drivers
785549             Overtime      10.50    31.50   12/24/2018   Sacramento   CA   - Drivers
785549             Regular       32.00    21.00   12/31/2018   Sacramento   CA   - Drivers
785549             Overtime      10.00    31.50   12/31/2018   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   01/07/2019   Sacramento   CA   - Drivers
785549             Overtime      16.00    31.50   01/07/2019   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   01/14/2019   Sacramento   CA   - Drivers
785549             Overtime      14.00    31.50   01/14/2019   Sacramento   CA   - Drivers
785549             Regular       40.00    21.00   01/21/2019   Sacramento   CA   - Drivers
785549             Overtime      16.00    31.50   01/21/2019   Sacramento   CA   - Drivers
785549             Regular       24.00    21.00   01/28/2019   Sacramento   CA   - Drivers
785549             Overtime       9.50    31.50   01/28/2019   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   02/13/2017   Sacramento   CA   - Drivers
785549             Overtime      10.50    28.13   02/13/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   02/20/2017   Sacramento   CA   - Drivers
785549             Overtime       4.00    28.13   02/20/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   02/27/2017   Sacramento   CA   - Drivers
785549             Overtime       6.00    28.13   02/27/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   03/06/2017   Sacramento   CA   - Drivers
785549             Overtime       7.50    28.13   03/06/2017   Sacramento   CA   - Drivers
785549             Regular       16.00    18.75   03/13/2017   Sacramento   CA   - Drivers
785549             Overtime       5.50    28.13   03/13/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   03/20/2017   Sacramento   CA   - Drivers
785549             Overtime       7.50    28.13   03/20/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   03/27/2017   Sacramento   CA   - Drivers
785549             Overtime       8.50    28.13   03/27/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   04/03/2017   Sacramento   CA   - Drivers
785549             Overtime       9.00    28.13   04/03/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   04/10/2017   Sacramento   CA   - Drivers
785549             Overtime       8.00    28.13   04/10/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   04/17/2017   Sacramento   CA   - Drivers
785549             Overtime       7.50    28.13   04/17/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   04/24/2017   Sacramento   CA   - Drivers
785549             Overtime       8.50    28.13   04/24/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   05/01/2017   Sacramento   CA   - Drivers
785549             Overtime       8.00    28.13   05/01/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   05/08/2017   Sacramento   CA   - Drivers
785549             Overtime       6.00    28.13   05/08/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   05/15/2017   Sacramento   CA   - Drivers
785549             Overtime       3.50    28.13   05/15/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   05/22/2017   Sacramento   CA   - Drivers
785549             Overtime       9.50    28.13   05/22/2017   Sacramento   CA   - Drivers
785549             Regular       32.00    18.75   05/29/2017   Sacramento   CA   - Drivers
785549             Overtime       4.50    28.13   05/29/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   06/05/2017   Sacramento   CA   - Drivers
785549             Overtime       7.00    28.13   06/05/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   06/12/2017   Sacramento   CA   - Drivers
785549             Overtime       5.50    28.13   06/12/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   06/19/2017   Sacramento   CA   - Drivers
785549             Overtime       6.00    28.13   06/19/2017   Sacramento   CA   - Drivers
785549             Regular       40.00    18.75   06/26/2017   Sacramento   CA   - Drivers
785549 Case 2:19-cv-08580-JFW-MAA
                  Overtime      2.50   Document  38-5 FiledSacramento
                                         28.13 06/26/2017   03/22/21 CAPage   8 of 691 Page ID
                                                                         - Drivers
785549            Regular      24.00     18.75 #:781
                                                07/03/2017 Sacramento CA - Drivers
785549            Overtime      3.50      28.13   07/03/2017   Sacramento      CA   - Drivers
785549            Regular      16.00      18.75   07/10/2017   Sacramento      CA   - Drivers
785549            Overtime      4.50      28.13   07/10/2017   Sacramento      CA   - Drivers
785549            Regular      24.00      19.00   01/09/2017   Sacramento      CA   - Drivers
785549            Overtime      6.50      28.50   01/09/2017   Sacramento      CA   - Drivers
785549            Regular      16.00      19.00   01/16/2017   Sacramento      CA   - Drivers
785549            Overtime      3.00      28.50   01/16/2017   Sacramento      CA   - Drivers
Total for 785549            3,420.47
2635334           Regular       8.00      23.00   11/12/2018   Sacramento      CA   - Drivers
2635334           Overtime      1.50      34.50   11/12/2018   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   11/26/2018   Sacramento      CA   - Drivers
2635334           Overtime      3.50      34.50   11/26/2018   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   12/03/2018   Sacramento      CA   - Drivers
2635334           Overtime      4.00      34.50   12/03/2018   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   12/17/2018   Sacramento      CA   - Drivers
2635334           Overtime      4.00      34.50   12/17/2018   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   12/24/2018   Sacramento      CA   - Drivers
2635334           Overtime      4.00      34.50   12/24/2018   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   01/14/2019   Sacramento      CA   - Drivers
2635334           Overtime      4.00      34.50   01/14/2019   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   01/28/2019   Sacramento      CA   - Drivers
2635334           Overtime      4.00      34.50   01/28/2019   Sacramento      CA   - Drivers
2635334           Regular       8.00      23.00   02/04/2019   Sacramento      CA   - Drivers
2635334           Overtime      4.00      34.50   02/04/2019   Sacramento      CA   - Drivers
Total for 2635334              93.00
2679169           Regular      10.00      21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      39.50      21.00   01/28/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      0.75      31.50   01/28/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      50.00      21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      5.00      31.50   02/04/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      42.50      21.00   02/11/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   02/18/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      0.50      31.50   02/18/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      48.75      21.00   02/25/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      50.00      21.00   03/04/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      4.50      31.50   03/04/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      50.00      21.00   03/11/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      2.00      31.50   03/11/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      50.00      21.00   03/18/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      6.50      31.50   03/18/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      32.00      21.00   03/25/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      4.50      31.50   03/25/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   04/01/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      5.00      31.50   04/01/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   04/08/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      2.00      31.50   04/08/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   04/15/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      4.00      31.50   04/15/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   04/22/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      8.50      31.50   04/22/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      32.00      21.00   04/29/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      9.00      31.50   04/29/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   05/06/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      6.50      31.50   05/06/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   05/13/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      5.50      31.50   05/13/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   05/20/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      7.00      31.50   05/20/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      40.00      21.00   05/27/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      5.00      31.50   05/27/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular      32.00      21.00   06/03/2019   Los   Angeles   CA   East   - Drivers
2679169 Case 2:19-cv-08580-JFW-MAA
                  Overtime       4.50   Document  38-5 FiledLos
                                          31.50 06/03/2019   03/22/21   Page
                                                                Angeles CA East9- of 691 Page ID
                                                                                  Drivers
2679169           Regular       40.00     21.00 #:782
                                                 06/10/2019 Los Angeles CA East - Drivers
2679169           Overtime       4.00      31.50   06/10/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   06/17/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      13.50      31.50   06/17/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   06/24/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      25.00      31.50   06/24/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       32.00      21.00   07/01/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       3.50      31.50   07/01/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   07/08/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       9.50      31.50   07/08/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   07/15/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       9.00      31.50   07/15/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       32.00      21.00   07/22/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       3.00      31.50   07/22/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   07/29/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       7.50      31.50   07/29/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   08/05/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      12.00      31.50   08/05/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   08/12/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       5.00      31.50   08/12/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   08/19/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime      14.50      31.50   08/19/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       40.00      21.00   08/26/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       2.00      31.50   08/26/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular       18.00      21.00   09/02/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       4.50      31.50   09/02/2019   Los   Angeles   CA   East   - Drivers
2679169           Regular        8.00      22.00   01/07/2019   Los   Angeles   CA   East   - Drivers
2679169           Overtime       0.17      33.00   01/07/2019   Los   Angeles   CA   East   - Drivers
Total for 2679169            1,480.67
2412934           Regular       40.00      18.50   11/13/2017   Sacramento      CA   - Drivers
2412934           Overtime       2.00      27.75   11/13/2017   Sacramento      CA   - Drivers
2412934           Regular       24.00      18.50   11/20/2017   Sacramento      CA   - Drivers
2412934           Overtime       2.75      27.75   11/20/2017   Sacramento      CA   - Drivers
2412934           Regular       32.00      18.50   11/27/2017   Sacramento      CA   - Drivers
2412934           Overtime       0.50      27.75   11/27/2017   Sacramento      CA   - Drivers
2412934           Regular       40.00      18.50   12/04/2017   Sacramento      CA   - Drivers
2412934           Overtime       0.25      27.75   12/04/2017   Sacramento      CA   - Drivers
2412934           Regular       40.00      18.50   12/11/2017   Sacramento      CA   - Drivers
2412934           Regular       40.00      18.50   12/18/2017   Sacramento      CA   - Drivers
2412934           Regular       32.00      18.50   12/25/2017   Sacramento      CA   - Drivers
2412934           Regular       32.00      18.50   01/01/2018   Sacramento      CA   - Drivers
2412934           Regular       40.00      18.50   01/08/2018   Sacramento      CA   - Drivers
2412934           Regular       24.00      18.50   01/15/2018   Sacramento      CA   - Drivers
2412934           Regular       24.00      18.50   01/22/2018   Sacramento      CA   - Drivers
Total for 2412934              373.50
2462219           Regular        8.00      22.50   02/05/2018   Sacramento      CA   - Drivers
2462219           Regular       32.00      25.00   02/26/2018   Sacramento      CA   - Drivers
2462219           Overtime       3.75      37.50   02/26/2018   Sacramento      CA   - Drivers
2462219           Regular       32.00      25.00   03/05/2018   Sacramento      CA   - Drivers
2462219           Overtime       1.00      37.50   03/05/2018   Sacramento      CA   - Drivers
2462219           Regular       31.00      23.00   02/05/2018   Sacramento      CA   - Drivers
2462219           Overtime       2.50      34.50   02/05/2018   Sacramento      CA   - Drivers
2462219           Regular       32.00      23.00   02/12/2018   Sacramento      CA   - Drivers
2462219           Overtime       1.50      34.50   02/12/2018   Sacramento      CA   - Drivers
2462219           Regular        5.25      23.00   02/19/2018   Sacramento      CA   - Drivers
Total for 2462219              149.00
899924            Regular        5.50      15.00   08/24/2015 Los Angeles CA East - Drivers
Total for 899924                 5.50
2443688           Regular        7.75      20.00   09/24/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular        7.50      19.50   03/19/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       16.00      20.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       3.75      30.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2443688 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00   Document  38-5 FiledLos
                                           20.00 01/15/2018   03/22/21
                                                                 Angeles Page 10- Drivers
                                                                         CA East   of 691 Page ID
2443688           Overtime       8.00      30.00 #:783
                                                  01/15/2018 Los Angeles CA East - Drivers
2443688           Regular       32.00      20.00   01/22/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       7.00      30.00   01/22/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   01/29/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       4.75      30.00   01/29/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   02/05/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       3.25      30.00   02/05/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       2.00      30.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       32.00      20.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       2.75      30.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       32.00      20.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       2.90      30.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       8.54      30.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   03/12/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       0.65      30.00   03/12/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       32.00      20.00   03/19/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       0.62      30.00   03/19/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.75   01/08/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime      13.00      31.13   01/08/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular        6.00      20.75   09/17/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   03/26/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       5.00      30.00   03/26/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   04/02/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       1.50      30.00   04/02/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       40.00      20.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       6.00      30.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2443688           Regular       24.00      20.00   04/16/2018   Los   Angeles   CA   East   - Drivers
2443688           Overtime       4.75      30.00   04/16/2018   Los   Angeles   CA   East   - Drivers
Total for 2443688              663.71
1291848           Regular       24.00      22.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       6.75      33.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       23.50      20.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       0.50      30.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       30.25      20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       2.75      30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       16.00      20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       3.75      30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       40.00      19.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       4.25      28.50   08/15/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       15.25      19.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       1.25      28.50   08/22/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular        4.00      20.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       24.00      19.50   05/23/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       32.00      19.50   05/30/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime      14.25      29.25   05/30/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       40.00      19.50   06/06/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       6.75      29.25   06/06/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       32.00      19.50   06/13/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime      10.00      29.25   06/13/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       14.25      19.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1291848           Overtime       4.00      28.50   08/29/2016   Los   Angeles   CA   West   - Drivers
1291848           Regular       15.50      21.00   07/18/2016   Los   Angeles   CA   West   - Drivers
Total for 1291848              365.00
2390377           Regular       16.00      20.00   10/09/2017   Los   Angeles   CA   East   - Drivers
2390377           Overtime       3.25      30.00   10/09/2017   Los   Angeles   CA   East   - Drivers
2390377           Regular        8.00      20.00   10/16/2017   Los   Angeles   CA   East   - Drivers
2390377           Overtime       3.50      30.00   10/16/2017   Los   Angeles   CA   East   - Drivers
Total for 2390377               30.75
2154286           Regular       24.00      21.50   02/06/2017 Sacramento CA - Drivers
2154286           Overtime       2.50      32.25   02/06/2017 Sacramento CA - Drivers
2154286   Case 2:19-cv-08580-JFW-MAA
                    Regular       7.50 Document  38-5 FiledSacramento
                                          21.50 02/13/2017   03/22/21 CA
                                                                       Page   11 of 691 Page ID
                                                                          - Drivers
2154286             Regular       8.00    21.50 #:784
                                                 02/20/2017 Sacramento CA - Drivers
2154286             Overtime        1.00    32.25   02/20/2017   Sacramento   CA   - Drivers
2154286             Regular        16.00    21.50   02/27/2017   Sacramento   CA   - Drivers
2154286             Overtime        3.00    32.25   02/27/2017   Sacramento   CA   - Drivers
2154286             Regular        16.00    21.50   03/06/2017   Sacramento   CA   - Drivers
2154286             Overtime        3.00    32.25   03/06/2017   Sacramento   CA   - Drivers
2154286             Regular        16.00    21.50   03/13/2017   Sacramento   CA   - Drivers
2154286             Overtime        3.00    32.25   03/13/2017   Sacramento   CA   - Drivers
2154286             Regular        32.00    21.50   04/03/2017   Sacramento   CA   - Drivers
2154286             Overtime        8.00    32.25   04/03/2017   Sacramento   CA   - Drivers
2154286             Regular         8.00    21.50   04/10/2017   Sacramento   CA   - Drivers
2154286             Overtime        2.00    32.25   04/10/2017   Sacramento   CA   - Drivers
2154286             Regular         8.00    21.50   04/17/2017   Sacramento   CA   - Drivers
2154286             Overtime        2.50    32.25   04/17/2017   Sacramento   CA   - Drivers
2154286             Regular        32.00    21.50   04/24/2017   Sacramento   CA   - Drivers
2154286             Overtime        8.00    32.25   04/24/2017   Sacramento   CA   - Drivers
2154286             Regular        16.00    21.50   05/01/2017   Sacramento   CA   - Drivers
2154286             Overtime        3.50    32.25   05/01/2017   Sacramento   CA   - Drivers
2154286             Regular        40.00    21.50   05/08/2017   Sacramento   CA   - Drivers
2154286             Overtime        8.50    32.25   05/08/2017   Sacramento   CA   - Drivers
2154286             Regular        20.00    23.50   05/15/2017   Sacramento   CA   - Drivers
2154286             Overtime        5.50    35.25   05/15/2017   Sacramento   CA   - Drivers
2154286             Regular         8.00    23.50   08/07/2017   Sacramento   CA   - Drivers
2154286             Overtime        3.00    35.25   08/07/2017   Sacramento   CA   - Drivers
2154286             Regular        32.00    23.50   08/14/2017   Sacramento   CA   - Drivers
2154286             Overtime        8.00    35.25   08/14/2017   Sacramento   CA   - Drivers
2154286             Regular        30.50    23.50   08/21/2017   Sacramento   CA   - Drivers
2154286             Overtime        6.00    35.25   08/21/2017   Sacramento   CA   - Drivers
2154286             Regular        38.00    23.50   08/28/2017   Sacramento   CA   - Drivers
2154286             Overtime       11.00    35.25   08/28/2017   Sacramento   CA   - Drivers
2154286             Regular        30.00    23.50   09/04/2017   Sacramento   CA   - Drivers
2154286             Overtime        6.00    35.25   09/04/2017   Sacramento   CA   - Drivers
2154286             Regular        39.00    23.50   09/11/2017   Sacramento   CA   - Drivers
2154286             Overtime       10.50    35.25   09/11/2017   Sacramento   CA   - Drivers
2154286             Regular        30.00    23.50   09/18/2017   Sacramento   CA   - Drivers
2154286             Overtime        8.00    35.25   09/18/2017   Sacramento   CA   - Drivers
2154286             Regular        32.00    23.50   09/25/2017   Sacramento   CA   - Drivers
2154286             Overtime       14.00    35.25   09/25/2017   Sacramento   CA   - Drivers
2154286             Regular        32.00    23.50   10/02/2017   Sacramento   CA   - Drivers
2154286             Overtime       10.00    35.25   10/02/2017   Sacramento   CA   - Drivers
2154286             Regular        32.00    23.50   10/09/2017   Sacramento   CA   - Drivers
2154286             Overtime       13.00    35.25   10/09/2017   Sacramento   CA   - Drivers
2154286             Regular        36.00    23.50   10/16/2017   Sacramento   CA   - Drivers
2154286             Overtime       10.00    35.25   10/16/2017   Sacramento   CA   - Drivers
2154286             Regular         8.00    23.50   10/23/2017   Sacramento   CA   - Drivers
2154286             Overtime        1.50    35.25   10/23/2017   Sacramento   CA   - Drivers
2154286             Regular        12.00    20.92   02/06/2017   Sacramento   CA   - Drivers
2154286             Regular        23.50    20.92   02/13/2017   Sacramento   CA   - Drivers
2154286             Regular         9.75    20.92   02/20/2017   Sacramento   CA   - Drivers
2154286             Regular        21.50    20.92   03/06/2017   Sacramento   CA   - Drivers
2154286             Regular         9.50    20.92   03/13/2017   Sacramento   CA   - Drivers
2154286             Regular         9.50    20.92   03/20/2017   Sacramento   CA   - Drivers
2154286             Regular         9.25    20.92   03/27/2017   Sacramento   CA   - Drivers
2154286             Regular        23.50    20.92   04/10/2017   Sacramento   CA   - Drivers
2154286             Regular         9.00    20.92   04/17/2017   Sacramento   CA   - Drivers
2154286             Regular        47.25    20.92   04/24/2017   Sacramento   CA   - Drivers
2154286             Regular        30.00    20.92   05/01/2017   Sacramento   CA   - Drivers
2154286             Regular        25.50    20.92   05/08/2017   Sacramento   CA   - Drivers
2154286             Regular        27.50    20.92   05/15/2017   Sacramento   CA   - Drivers
2154286             Regular        44.25    20.92   05/22/2017   Sacramento   CA   - Drivers
2154286             Regular        56.50    20.92   05/29/2017   Sacramento   CA   - Drivers
2154286             Regular        64.25    20.92   06/05/2017   Sacramento   CA   - Drivers
2154286 Case 2:19-cv-08580-JFW-MAA
                  Regular        53.50   Document  38-5 FiledSacramento
                                            20.92 06/12/2017   03/22/21 CA
                                                                         Page   12 of 691 Page ID
                                                                            - Drivers
2154286           Regular        62.75      20.92 #:785
                                                   06/19/2017 Sacramento CA - Drivers
2154286           Regular        62.75      20.92   06/26/2017   Sacramento      CA   - Drivers
2154286           Regular        10.25      20.92   07/03/2017   Sacramento      CA   - Drivers
2154286           Regular        29.75      20.92   07/10/2017   Sacramento      CA   - Drivers
2154286           Regular        30.75      20.92   07/17/2017   Sacramento      CA   - Drivers
2154286           Regular        14.00      23.00   04/10/2017   Sacramento      CA   - Drivers
2154286           Regular        10.00      23.00   04/17/2017   Sacramento      CA   - Drivers
2154286           Overtime        1.50      34.50   04/17/2017   Sacramento      CA   - Drivers
Total for 2154286             1,440.50
698796            Regular        31.50      17.00   08/03/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        4.50      25.50   08/03/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      17.00   08/10/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        4.00      25.50   08/10/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        40.00      17.00   08/17/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        5.50      25.50   08/17/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        40.25      20.00   08/24/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime       14.00      30.00   08/24/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        40.00      20.00   08/31/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime       18.75      30.00   08/31/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      20.00   09/07/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        6.00      30.00   09/07/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        30.25      20.00   09/14/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        6.00      30.00   09/14/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   09/21/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        6.25      30.00   09/21/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      20.00   09/28/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        3.50      30.00   09/28/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   10/05/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        8.50      30.00   10/05/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   10/12/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        8.00      30.00   10/12/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   10/19/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        6.25      30.00   10/19/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   10/26/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        6.00      30.00   10/26/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      20.00   11/02/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        5.00      30.00   11/02/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   11/09/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        8.00      30.00   11/09/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   11/16/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        8.25      30.00   11/16/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        27.50      20.00   11/23/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        4.75      30.00   11/23/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        40.00      20.00   11/30/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime       10.75      30.00   11/30/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        5.00      30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        5.00      30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        3.75      30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      20.00   12/28/2015   Los   Angeles   CA   West   - Drivers
698796            Overtime        1.00      30.00   12/28/2015   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
698796            Overtime        7.75      30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
698796            Overtime        6.75      30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
698796            Overtime        4.25      30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
698796            Regular        32.00      20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
698796            Overtime        5.50      30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
698796            Regular        24.00      20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
698796   Case 2:19-cv-08580-JFW-MAA
                   Overtime       5.00 Document  38-5 FiledLos
                                          30.00 02/01/2016   03/22/21
                                                                Angeles Page 13- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
698796             Regular       40.00    20.00 #:786
                                                 02/08/2016 Los Angeles CA West - Drivers
698796             Overtime         3.50    30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.50    30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.50    30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         16.00    20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.50    30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.25    30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         31.50    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         1.00    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.50    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
698796             Regular          7.75    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         9.75    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         29.50    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.00    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         6.50    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.75    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         1.75    30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         39.75    20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         7.00    30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   05/30/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        18.25    30.38   05/30/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         23.75    20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.75    30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   06/13/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        11.50    30.38   06/13/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        12.25    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         9.00    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.25    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        17.00    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        14.25    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         6.50    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         25.50    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.25    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         38.75    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.50    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         8.00    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         38.50    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.50    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         6.00    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         16.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.75    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
698796             Regular          6.50    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        12.50    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         8.25    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
698796   Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00 Document  38-5 FiledLos
                                          20.25 10/03/2016   03/22/21
                                                                Angeles Page 14- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
698796             Overtime      10.50    30.38 #:787
                                                 10/03/2016 Los Angeles CA West - Drivers
698796             Regular         24.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         6.50    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         37.50    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime        12.50    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         30.50    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         1.50    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         7.50    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.50    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         31.50    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.00    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.50    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         30.75    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.00    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.00    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         40.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         9.75    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.75    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
698796             Overtime         1.50    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
698796             Regular         31.50    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.25    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.00    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.75    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.00    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         30.25    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.00    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.25    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.75    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         23.50    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         1.00    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.50    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         1.75    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.25    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         3.50    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         29.75    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.00    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         4.00    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         32.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         5.00    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         23.50    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         16.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.00    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         24.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
698796             Overtime         2.00    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
698796             Regular         16.00    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
698796 Case 2:19-cv-08580-JFW-MAA
                  Overtime       3.25   Document  38-5 FiledLos
                                           30.38 06/05/2017  03/22/21
                                                                Angeles Page 15- of
                                                                        CA West     691 Page ID
                                                                                 Drivers
Total for 698796             3,250.50            #:788
2353816           Regular       32.00      22.50   08/07/2017   Sacramento      CA    - Drivers
2353816           Overtime       8.50      33.75   08/07/2017   Sacramento      CA    - Drivers
2353816           Regular       40.00      22.50   08/14/2017   Sacramento      CA    - Drivers
2353816           Overtime       8.50      33.75   08/14/2017   Sacramento      CA    - Drivers
2353816           Regular       32.00      22.50   08/21/2017   Sacramento      CA    - Drivers
2353816           Overtime       8.50      33.75   08/21/2017   Sacramento      CA    - Drivers
2353816           Regular       40.00      22.50   08/28/2017   Sacramento      CA    - Drivers
2353816           Overtime       9.00      33.75   08/28/2017   Sacramento      CA    - Drivers
2353816           Regular        8.00      22.50   09/04/2017   Sacramento      CA    - Drivers
2353816           Overtime       1.00      33.75   09/04/2017   Sacramento      CA    - Drivers
2353816           Regular       32.00      22.50   09/11/2017   Sacramento      CA    - Drivers
2353816           Overtime       6.50      33.75   09/11/2017   Sacramento      CA    - Drivers
2353816           Regular       16.00      22.50   09/25/2017   Sacramento      CA    - Drivers
2353816           Overtime       4.00      33.75   09/25/2017   Sacramento      CA    - Drivers
Total for 2353816              246.00
2836428           Regular        8.00      22.00   08/19/2019 Sacramento CA - Drivers
2836428           Regular       16.00      22.00   08/26/2019 Sacramento CA - Drivers
2836428           Overtime       8.00      33.00   08/26/2019 Sacramento CA - Drivers
Total for 2836428               32.00
2701806           Regular       16.00      26.00   02/18/2019   zz   - San   Francisco   CA   - Drivers
2701806           Overtime       1.75      39.00   02/18/2019   zz   - San   Francisco   CA   - Drivers
2701806           Regular        8.00      26.00   03/25/2019   zz   - San   Francisco   CA   - Drivers
2701806           Overtime       1.00      39.00   03/25/2019   zz   - San   Francisco   CA   - Drivers
Total for 2701806               26.75
2439601           Regular       23.50      19.75   01/01/2018   Sacramento      CA    - Drivers
2439601           Overtime       6.50      29.63   01/01/2018   Sacramento      CA    - Drivers
2439601           Regular       38.25      19.75   01/08/2018   Sacramento      CA    - Drivers
2439601           Overtime       4.75      29.63   01/08/2018   Sacramento      CA    - Drivers
2439601           Regular       30.00      19.75   01/15/2018   Sacramento      CA    - Drivers
2439601           Overtime       2.00      29.63   01/15/2018   Sacramento      CA    - Drivers
Total for 2439601              105.00
2655603           Regular        8.00      22.00   12/03/2018   Sacramento      CA    - Drivers
2655603           Overtime       1.00      33.00   12/03/2018   Sacramento      CA    - Drivers
2655603           Regular       48.00      22.00   12/03/2018   Sacramento      CA    - Drivers
2655603           Regular       40.00      22.00   12/17/2018   Sacramento      CA    - Drivers
2655603           Regular       24.00      22.00   12/24/2018   Sacramento      CA    - Drivers
2655603           Regular       32.00      22.00   12/31/2018   Sacramento      CA    - Drivers
2655603           Overtime       8.00      33.00   12/31/2018   Sacramento      CA    - Drivers
2655603           Regular       32.00      22.00   01/07/2019   Sacramento      CA    - Drivers
2655603           Regular       40.00      22.00   01/21/2019   Sacramento      CA    - Drivers
2655603           Regular       40.00      22.00   01/28/2019   Sacramento      CA    - Drivers
2655603           Regular       40.00      22.00   02/04/2019   Sacramento      CA    - Drivers
2655603           Regular       40.00      22.00   02/11/2019   Sacramento      CA    - Drivers
2655603           Regular       11.25      22.00   02/18/2019   Sacramento      CA    - Drivers
Total for 2655603              364.25
2660947           Regular        4.83      21.85   12/10/2018 Los Angeles CA East - Drivers
Total for 2660947                4.83
1435363           Regular       16.00      16.00   10/24/2016   Los   Angeles    CA   West    - Drivers
1435363           Overtime       5.00      24.00   10/24/2016   Los   Angeles    CA   West    - Drivers
1435363           Regular        8.00      16.00   10/31/2016   Los   Angeles    CA   West    - Drivers
1435363           Overtime       0.75      24.00   10/31/2016   Los   Angeles    CA   West    - Drivers
1435363           Regular       14.50      16.00   11/07/2016   Los   Angeles    CA   West    - Drivers
Total for 1435363               44.25
2140587           Regular        8.00      20.00   12/12/2016   Los   Angeles    CA   West    - Drivers
2140587           Overtime       6.00      30.00   12/12/2016   Los   Angeles    CA   West    - Drivers
2140587           Regular       32.00      20.00   12/19/2016   Los   Angeles    CA   West    - Drivers
2140587           Overtime       9.75      30.00   12/19/2016   Los   Angeles    CA   West    - Drivers
2140587           Regular       24.00      20.00   12/26/2016   Los   Angeles    CA   West    - Drivers
2140587           Overtime      11.00      30.00   12/26/2016   Los   Angeles    CA   West    - Drivers
2140587           Regular       24.00      20.00   01/02/2017   Los   Angeles    CA   West    - Drivers
2140587           Overtime       6.00      30.00   01/02/2017   Los   Angeles    CA   West    - Drivers
2140587   Case 2:19-cv-08580-JFW-MAA
                    Regular       24.00 Document  38-5 FiledLos
                                           20.00 01/09/2017   03/22/21
                                                                 Angeles Page 16- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2140587             Overtime      11.25    30.00 #:789
                                                  01/09/2017 Los Angeles CA West - Drivers
2140587             Regular         32.00    20.00   01/16/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        11.00    30.00   01/16/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   01/23/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         5.25    30.00   01/23/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.75    30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.50    30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   02/13/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         9.75    30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.00    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.50    30.00   03/06/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   03/13/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        11.00    30.00   03/13/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.00    30.00   03/20/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         9.75    30.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   04/03/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.50    30.00   04/03/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.75    30.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   04/17/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.00    30.00   04/17/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   04/24/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.50    30.00   04/24/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.00    30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.75    30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         23.50    20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         3.00    30.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         23.50    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.75    30.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         7.75    30.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         26.00    20.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.25    30.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   06/26/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         2.50    30.00   06/26/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         23.00    20.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         3.50    30.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         3.25    30.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         1.75    30.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.00    30.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   08/07/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.25    30.00   08/07/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         5.50    30.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         5.25    30.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.50    30.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.00   09/04/2017   Los   Angeles   CA   West   - Drivers
2140587   Case 2:19-cv-08580-JFW-MAA
                    Overtime      8.00 Document  38-5 FiledLos
                                          30.00 09/04/2017   03/22/21
                                                                Angeles Page 17- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
2140587             Regular       8.00    20.00 #:790
                                                 09/11/2017 Los Angeles CA West - Drivers
2140587             Overtime        2.00    30.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       12.25    30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       10.25    30.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       10.75    30.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       13.00    30.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       13.00    30.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        40.00    20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       14.25    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        9.50    30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       10.00    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       10.25    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        16.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        4.50    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        6.75    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        40.00    20.25   12/04/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       21.00    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime       10.50    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        16.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        3.75    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
2140587             Overtime        5.25    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        4.25    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        8.25    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        7.00    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        7.25    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         8.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        1.00    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        7.25    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        6.25    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        40.00    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        7.00    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        5.00    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        7.00    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        16.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        6.00    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        16.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        5.00    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        24.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        3.00    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        40.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime       13.80    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular        32.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime       10.25    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
2140587   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           20.25 04/16/2018   03/22/21
                                                                 Angeles Page 18- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2140587             Overtime       6.75    30.38 #:791
                                                  04/16/2018 Los Angeles CA West - Drivers
2140587             Regular         16.00    20.25   04/23/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         3.75    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.00    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.75    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.50    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.25    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         6.00    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.50    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.25    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.50    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        13.00    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.00    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        13.00    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        16.25    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         31.75    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        13.75    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         31.50    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        13.50    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        15.25    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         28.50    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        14.50    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.00    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        15.75    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.25    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        13.00    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        15.00    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         38.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        14.00    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        11.50    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        16.00    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        14.25    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        16.00    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        20.00    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        14.25    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2140587   Case 2:19-cv-08580-JFW-MAA
                    Overtime      11.25 Document  38-5 FiledLos
                                           33.00 11/19/2018   03/22/21
                                                                 Angeles Page 19- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2140587             Regular       23.25    22.00 #:792
                                                  12/03/2018 Los Angeles CA West - Drivers
2140587             Overtime         7.75    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        15.00    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        11.75    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.25    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.25    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2140587             Regular         31.50    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.00    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.25    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        18.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.75    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        16.00    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        15.25    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        15.75    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.50    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        12.75    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.25    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular          8.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         0.50    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular          8.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         2.75    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.00    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         31.50    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.50    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         28.75    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         8.00    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         5.75    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        13.25    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.25    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         24.00    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         5.75    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime        10.50    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         3.75    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         23.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         0.25    33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         16.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         4.50    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         22.25    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         0.75    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         21.25    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2140587             Overtime         9.50    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         20.75    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2140587             Regular         32.00    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2140587 Case 2:19-cv-08580-JFW-MAA
                  Overtime       13.75    Document  38-5 FiledLos
                                             33.00 07/08/2019   03/22/21
                                                                   Angeles Page 20- of
                                                                           CA West      691 Page ID
                                                                                     Drivers
2140587           Regular        32.00       22.00 #:793
                                                    07/15/2019 Los Angeles CA West - Drivers
2140587           Overtime       19.25       33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        31.00       22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2140587           Overtime         2.00      33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        22.25       22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2140587           Overtime         4.25      33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        14.75       22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2140587           Overtime         5.25      33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        16.00       22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2140587           Overtime         7.25      33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        16.00       22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2140587           Overtime         2.25      33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        26.00       22.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2140587           Overtime         6.50      33.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2140587           Regular        15.00       19.50   01/29/2018   Los   Angeles   CA   West   - Drivers
2140587           Overtime         4.00      29.25   01/29/2018   Los   Angeles   CA   West   - Drivers
2140587           Regular          4.00      19.50   02/05/2018   Los   Angeles   CA   West   - Drivers
2140587           Regular          9.00      19.50   02/12/2018   Los   Angeles   CA   West   - Drivers
2140587           Regular          4.00      19.50   03/12/2018   Los   Angeles   CA   West   - Drivers
Total for 2140587             5,024.05
1281611           Regular        32.00       18.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1281611           Overtime         0.50      27.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1281611           Regular        40.00       18.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1281611           Overtime         7.50      27.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1281611           Regular        42.75       18.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1281611           Overtime        -6.50      27.00   03/21/2016   Los   Angeles   CA   West   - Drivers
Total for 1281611               116.25
755537            Regular        40.00       17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       27.25       25.50   08/03/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       27.50       25.50   08/10/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        38.50       17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       15.75       25.50   08/17/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   08/24/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       22.50       28.50   08/24/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   08/31/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       22.25       28.50   08/31/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        32.00       19.00   09/07/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       14.00       28.50   09/07/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   09/14/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       14.00       28.50   09/14/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        32.00       19.00   09/21/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       12.50       28.50   09/21/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   09/28/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       15.50       28.50   09/28/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   10/05/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       15.00       28.50   10/05/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   10/12/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime       15.75       28.50   10/12/2015   Los   Angeles   CA   East   - Drivers
755537            Regular        40.00       19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
755537            Overtime         9.75      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
Total for 755537                674.25
1147838           Regular        40.00       17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime       27.00       25.50   08/03/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular        40.00       17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime       32.00       25.50   08/10/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular        40.00       17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime       28.50       25.50   08/17/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular        40.00       19.00   08/24/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime       26.00       28.50   08/24/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular        40.00       19.00   08/31/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime       20.50       28.50   08/31/2015   Los   Angeles   CA   East   - Drivers
1147838 Case 2:19-cv-08580-JFW-MAA
                  Regular       32.00   Document  38-5 FiledLos
                                           19.00 09/07/2015   03/22/21
                                                                 Angeles Page 21- Drivers
                                                                         CA East   of 691 Page ID
1147838           Overtime      13.25      28.50 #:794
                                                  09/07/2015 Los Angeles CA East - Drivers
1147838           Regular       40.00      19.00   09/14/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime      20.75      28.50   09/14/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular       40.00      19.00   09/21/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime      21.25      28.50   09/21/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular       40.00      19.00   09/28/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime      19.25      28.50   09/28/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular       40.00      19.00   10/05/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime      22.25      28.50   10/05/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular       40.00      19.00   10/12/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime      19.00      28.50   10/12/2015   Los   Angeles   CA   East   - Drivers
1147838           Regular       40.00      19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1147838           Overtime      16.00      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
Total for 1147838              737.75
1441397           Regular       30.50      19.50   07/24/2017   Phoenix   AZ - Drivers
1441397           Overtime       6.75      29.25   07/24/2017   Phoenix   AZ - Drivers
1441397           Regular       24.00      19.50   07/31/2017   Phoenix   AZ - Drivers
1441397           Overtime       4.50      29.25   07/31/2017   Phoenix   AZ - Drivers
1441397           Regular        7.00      20.00   08/07/2017   Phoenix   AZ - Drivers
Total for 1441397               72.75
881500            Regular       40.00      17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      29.75      25.50   08/03/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       40.00      17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      33.25      25.50   08/10/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       16.00      17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime       4.50      25.50   08/17/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       40.00      19.00   09/21/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      25.25      28.50   09/21/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       40.00      19.00   09/28/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      18.25      28.50   09/28/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       40.00      19.00   10/05/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      23.25      28.50   10/05/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       32.00      19.00   10/12/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      14.25      28.50   10/12/2015   Los   Angeles   CA   East   - Drivers
881500            Regular       40.00      19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
881500            Overtime      17.00      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
Total for 881500               453.50
1148108           Regular       40.00      17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      35.25      25.50   08/03/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      30.50      25.50   08/10/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      28.00      25.50   08/17/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   08/24/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      26.75      28.50   08/24/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   08/31/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      21.00      28.50   08/31/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       32.00      19.00   09/07/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      14.25      28.50   08/31/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   09/14/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      22.25      28.50   09/14/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   09/21/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      27.25      28.50   09/21/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   09/28/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      19.25      28.50   09/28/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   10/05/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      22.00      28.50   10/05/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   10/12/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      19.50      28.50   10/12/2015   Los   Angeles   CA   East   - Drivers
1148108           Regular       40.00      19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1148108           Overtime      16.50      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
Total for 1148108              754.50
2170144   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           18.00 03/06/2017   03/22/21
                                                                 Angeles Page 22- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2170144             Overtime       4.75    27.00 #:795
                                                  03/06/2017 Los Angeles CA West - Drivers
2170144             Regular          8.00    18.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    20.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         3.75    30.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    20.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         2.50    30.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         1.00    30.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    20.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        11.00    30.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         32.00    20.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        10.00    30.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    20.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         8.50    30.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    20.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         3.50    30.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    20.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         8.00    30.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    20.50   12/17/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         5.25    30.75   12/17/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         2.50    30.75   12/24/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   12/31/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         2.75    30.75   12/31/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   01/14/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         3.00    30.75   01/14/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    20.50   01/21/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.75   01/21/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   01/28/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         1.50    30.75   01/28/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    20.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime        12.00    30.75   02/04/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.75   02/18/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    20.50   02/25/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime        11.00    30.75   02/25/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    20.50   03/18/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.75   03/18/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular         12.00    20.50   03/25/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.75   03/25/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime         8.00    29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    17.50   08/28/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime         7.00    26.25   08/28/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    17.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    26.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         12.00    19.50   09/25/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime         2.00    29.25   09/25/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         24.00    19.50   08/07/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime         3.50    29.25   08/07/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    19.50   08/14/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular          4.00    19.50   08/21/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular          8.00    19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime         1.50    29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         7.25    29.25   06/11/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular         16.00    20.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime         4.00    30.75   06/18/2018   Los   Angeles   CA   West   - Drivers
2170144   Case 2:19-cv-08580-JFW-MAA
                    Regular       8.00 Document  38-5 FiledLos
                                          19.00 06/19/2017   03/22/21
                                                                Angeles Page 23- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
2170144             Overtime      4.00    28.50 #:796
                                                 06/19/2017 Los Angeles CA West - Drivers
2170144             Regular        16.00    19.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        2.00    28.50   08/21/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       11.50    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        5.00    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        24.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        6.00    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       11.00    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        4.00    30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        39.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        3.75    30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        39.50    20.00   12/18/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        4.00    30.00   12/18/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        24.00    20.00   12/25/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        4.75    30.00   12/25/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        24.00    20.00   01/01/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        6.50    30.00   01/01/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    20.00   01/08/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        6.00    30.00   01/08/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        38.50    20.00   01/15/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        1.00    30.00   01/15/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        37.00    20.00   01/22/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        3.00    30.00   01/22/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    20.00   01/29/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        4.25    30.00   01/29/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    20.00   02/05/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        4.25    30.00   02/05/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    20.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        6.50    30.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    20.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2170144             Overtime       13.00    30.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2170144             Regular        16.00    21.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        1.25    31.50   09/24/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        16.00    21.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2170144             Overtime        1.50    31.50   10/01/2018   Los   Angeles   CA   West   - Drivers
2170144             Regular        35.50    19.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        12.00    19.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         8.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       19.00    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    19.00   04/17/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       14.00    28.50   04/17/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         8.00    19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        2.00    28.50   05/22/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    19.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       17.50    28.50   05/29/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         8.00    19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       20.00    28.50   06/12/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        16.00    19.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        2.00    28.50   06/19/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        16.00    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        8.00    28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular         8.00    19.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime        2.00    28.50   07/31/2017   Los   Angeles   CA   West   - Drivers
2170144             Regular        32.00    19.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2170144             Overtime       13.50    28.50   09/11/2017   Los   Angeles   CA   West   - Drivers
2170144 Case 2:19-cv-08580-JFW-MAA
                  Regular        40.00   Document  38-5 FiledLos
                                            19.00 10/16/2017   03/22/21
                                                                  Angeles Page 24- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
2170144           Overtime        7.00      28.50 #:797
                                                   10/16/2017 Los Angeles CA West - Drivers
2170144           Regular        40.00      20.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2170144           Overtime       20.00      30.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2170144           Regular         8.00      22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2170144           Regular         8.00      22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2170144           Overtime        1.00      33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2170144           Regular        16.00      22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2170144           Overtime        8.00      33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
Total for 2170144             1,931.00
933239            Regular        38.25      18.50   08/03/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       13.75      27.75   08/03/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        37.50      18.50   08/10/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime        7.50      27.75   08/10/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        40.00      18.50   08/17/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       10.50      27.75   08/17/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        40.50      20.00   08/24/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime        2.75      30.00   08/24/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        40.00      20.00   08/31/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       12.75      30.00   08/31/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        24.00      20.00   09/07/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime        9.00      30.00   09/07/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        38.50      20.00   09/14/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       13.00      30.00   09/14/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        40.00      20.00   09/21/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       16.25      30.00   09/21/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        34.00      20.00   09/28/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       11.75      30.00   09/28/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        32.00      20.00   10/05/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime        6.75      30.00   10/05/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        39.50      20.00   10/12/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       16.50      30.00   10/12/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        32.00      20.00   10/19/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       13.00      30.00   10/19/2015   Los   Angeles   CA   West   - Drivers
933239            Regular        32.00      20.00   10/26/2015   Los   Angeles   CA   West   - Drivers
933239            Overtime       11.25      30.00   10/26/2015   Los   Angeles   CA   West   - Drivers
Total for 933239                613.00
1248960           Regular         4.50      20.00   01/11/2016   Sacramento      CA   - Drivers
1248960           Regular         3.75      20.00   02/08/2016   Sacramento      CA   - Drivers
1248960           Regular         6.50      21.00   01/18/2016   Sacramento      CA   - Drivers
1248960           Regular        16.25      21.00   02/08/2016   Sacramento      CA   - Drivers
1248960           Regular         7.00      21.00   02/15/2016   Sacramento      CA   - Drivers
1248960           Regular        11.00      21.00   02/22/2016   Sacramento      CA   - Drivers
Total for 1248960                49.00
1260509           Regular        40.00      19.50   07/10/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        24.00      20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        3.00      30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        7.25      30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        8.00      30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        9.25      30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime       13.75      30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime       12.75      30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        8.00      30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        9.00      30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1260509           Overtime        9.75      30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1260509   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           20.00 03/21/2016   03/22/21
                                                                 Angeles Page 25- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1260509             Overtime       6.50    30.00 #:798
                                                  03/21/2016 Los Angeles CA West - Drivers
1260509             Regular         40.00    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         8.75    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.50    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         8.50    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.00    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         5.75    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         24.00    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         2.50    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         24.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         5.25    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         24.00    20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         2.25    30.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         37.50    20.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.00    30.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular          8.00    20.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         0.50    30.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.25    30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        16.75    30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         38.50    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        19.25    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         35.50    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         8.25    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         24.00    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.25    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        17.75    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         39.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.00    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         5.00    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         41.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        10.75    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.00    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        17.00    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        17.00    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        10.50    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         15.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         38.50    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.50    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        15.25    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        20.50    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        13.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         39.75    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.00    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.50    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         8.50    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1260509   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           20.25 11/07/2016   03/22/21
                                                                 Angeles Page 26- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1260509             Overtime       3.50    30.38 #:799
                                                  11/07/2016 Los Angeles CA West - Drivers
1260509             Regular         32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         3.75    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.00    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         39.75    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         9.50    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        11.75    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         39.75    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         3.25    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime        17.00    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.00    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime        15.50    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime        18.50    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.25    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.75    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         8.50    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         5.50    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.75    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         16.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.75    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.50    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime        17.50    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         3.25    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         5.75    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         9.75    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.00    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime        11.00    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         8.50    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime        18.50    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.50    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         24.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.50    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         7.50    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         32.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         4.00    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         24.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         5.00    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1260509             Overtime         6.00    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1260509             Regular         40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1260509 Case 2:19-cv-08580-JFW-MAA
                  Overtime        1.25   Document  38-5 FiledLos
                                            30.38 06/12/2017   03/22/21
                                                                  Angeles Page 27- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1260509           Regular        32.00      20.25 #:800
                                                   06/12/2017 Los Angeles CA West - Drivers
1260509           Overtime       14.25      30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        24.00      20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        3.00      30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        16.00      20.00   09/11/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        2.50      30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        1.00      30.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   10/02/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        0.75      30.00   10/02/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   10/09/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        0.50      30.00   10/09/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   10/16/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        0.25      30.00   10/16/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        1.50      30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        9.25      30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        8.00      30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       15.00      30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       23.00      30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        8.50      30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       25.50      30.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       13.75      30.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       15.00      30.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       12.50      30.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        40.00      20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime       11.75      30.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular         8.00      20.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1260509           Overtime        4.00      30.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1260509           Regular        32.00      19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
Total for 1260509             4,061.50
868221            Regular        21.50      20.50   05/09/2016   Sacramento      CA   - Drivers
868221            Regular        49.00      20.50   05/16/2016   Sacramento      CA   - Drivers
868221            Regular        43.00      20.50   05/23/2016   Sacramento      CA   - Drivers
868221            Overtime        2.00      30.75   05/23/2016   Sacramento      CA   - Drivers
868221            Regular        32.00      20.50   05/30/2016   Sacramento      CA   - Drivers
868221            Overtime        8.50      30.75   05/30/2016   Sacramento      CA   - Drivers
868221            Regular        42.00      20.50   06/06/2016   Sacramento      CA   - Drivers
868221            Regular        16.00      20.50   06/13/2016   Sacramento      CA   - Drivers
Total for 868221                214.00
820420            Regular         6.75      16.00   08/03/2015 Los Angeles CA East - Drivers
820420            Regular        40.00      16.00   08/10/2015 Los Angeles CA East - Drivers
820420            Overtime       11.00      24.00   08/10/2015 Los Angeles CA East - Drivers
Total for 820420                 57.75
1365244           Regular        39.75      19.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1365244           Overtime        5.50      28.50   08/08/2016   Los   Angeles   CA   West   - Drivers
1365244           Regular        40.00      19.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1365244           Overtime       11.50      28.50   08/15/2016   Los   Angeles   CA   West   - Drivers
1365244           Regular        56.00      20.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1365244           Regular        64.75      20.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1365244           Regular        63.25      20.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1365244           Regular        61.50      20.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1365244 Case 2:19-cv-08580-JFW-MAA
                  Regular       47.75   Document  38-5 FiledLos
                                           20.00 11/21/2016   03/22/21
                                                                 Angeles Page 28- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1365244           Regular       56.00      20.00 #:801
                                                  11/28/2016 Los Angeles CA West - Drivers
1365244           Regular       54.00      20.00   12/05/2016   Los   Angeles    CA   West    - Drivers
1365244           Regular       53.25      20.00   12/12/2016   Los   Angeles    CA   West    - Drivers
1365244           Regular       39.00      20.00   12/19/2016   Los   Angeles    CA   West    - Drivers
1365244           Regular       18.50      20.00   12/26/2016   Los   Angeles    CA   West    - Drivers
Total for 1365244              610.75
1311873           Regular       32.00      26.00   03/18/2019   zz   - San   Francisco   CA   - Drivers
1311873           Overtime      10.50      39.00   03/18/2019   zz   - San   Francisco   CA   - Drivers
1311873           Regular       32.00      26.00   03/25/2019   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       7.25      39.00   03/25/2019   zz   - San   Francisco   CA   - Drivers
1311873           Regular       39.00      21.50   04/18/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       9.00      32.25   04/18/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       40.00      21.50   04/25/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime      16.50      32.25   04/25/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       37.75      21.50   05/02/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       3.00      32.25   05/02/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       40.00      21.50   05/09/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime      14.75      32.25   05/09/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       19.75      21.50   05/16/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       2.00      32.25   05/16/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       40.00      21.50   05/23/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       9.00      32.25   05/23/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       23.00      21.50   05/30/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       3.75      32.25   05/30/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       13.25      21.50   06/06/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       27.75      21.50   06/20/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       1.50      32.25   06/20/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       28.50      21.50   06/27/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       1.75      32.25   06/27/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       28.00      21.50   07/04/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       5.50      32.25   07/04/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       38.00      21.50   07/11/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       3.75      32.25   07/11/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       39.00      21.50   07/18/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       4.25      32.25   07/18/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       30.00      21.50   07/25/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       1.25      32.25   07/25/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       27.75      21.50   08/01/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       2.00      32.25   08/01/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       13.50      21.50   08/08/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       21.25      21.50   08/15/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       39.00      21.50   08/22/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime      11.25      32.25   08/22/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       40.00      21.50   08/29/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       7.00      32.25   08/29/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       30.75      21.50   09/05/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       3.50      32.25   09/05/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       32.00      21.50   09/12/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       5.00      32.25   09/12/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       31.50      21.50   09/19/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       4.50      32.25   09/19/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       31.00      21.50   09/26/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       8.25      32.25   09/26/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       22.50      21.50   10/03/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       2.25      32.25   10/03/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       16.00      21.50   12/26/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       6.75      32.25   12/26/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular       29.75      21.50   01/02/2017   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       6.50      32.25   01/02/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular       32.00      21.50   01/09/2017   zz   - San   Francisco   CA   - Drivers
1311873           Overtime      11.25      32.25   01/09/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular       14.00      21.50   01/16/2017   zz   - San   Francisco   CA   - Drivers
1311873 Case 2:19-cv-08580-JFW-MAA
                  Overtime        0.50   Document  38-5 Filedzz03/22/21
                                            32.25 01/16/2017               PageCA
                                                                 - San Francisco  29- of 691 Page ID
                                                                                      Drivers
1311873           Regular        32.00      21.50 #:802
                                                   01/23/2017 zz - San Francisco CA - Drivers
1311873           Overtime       13.75      32.25   01/23/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular        40.00      21.50   01/30/2017   zz   - San   Francisco   CA   - Drivers
1311873           Overtime       10.75      32.25   01/30/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular        32.00      21.50   02/06/2017   zz   - San   Francisco   CA   - Drivers
1311873           Overtime        6.25      32.25   02/06/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular         8.00      21.50   02/13/2017   zz   - San   Francisco   CA   - Drivers
1311873           Overtime        0.50      32.25   02/13/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular        29.00      22.00   02/27/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular        38.50      22.00   03/06/2017   zz   - San   Francisco   CA   - Drivers
1311873           Regular        10.50      20.92   10/03/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        23.50      20.92   10/10/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        33.80      20.92   10/17/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        13.50      20.92   10/24/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        48.75      20.92   10/31/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        44.25      20.92   11/07/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        54.50      20.92   11/14/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        42.25      21.85   11/21/2016   zz   - San   Francisco   CA   - Drivers
1311873           Overtime        4.50      31.38   11/21/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        61.50      21.85   11/28/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        57.75      21.85   12/05/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        64.50      21.85   12/12/2016   zz   - San   Francisco   CA   - Drivers
1311873           Regular        31.75      21.85   12/19/2016   zz   - San   Francisco   CA   - Drivers
Total for 1311873             1,753.30
2680097           Regular        40.00      20.00   01/21/2019 zz - San Francisco CA - Drivers
2680097           Overtime        1.00      30.00   01/21/2019 zz - San Francisco CA - Drivers
Total for 2680097                41.00
2581426           Regular        40.00      21.00   09/24/2018   Los   Angeles    CA   East    - Drivers
2581426           Overtime        3.00      31.50   09/24/2018   Los   Angeles    CA   East    - Drivers
2581426           Regular        40.00      21.00   10/01/2018   Los   Angeles    CA   East    - Drivers
2581426           Overtime        8.00      31.50   10/01/2018   Los   Angeles    CA   East    - Drivers
2581426           Regular        40.00      21.00   10/08/2018   Los   Angeles    CA   East    - Drivers
2581426           Overtime        5.00      31.50   10/08/2018   Los   Angeles    CA   East    - Drivers
2581426           Regular        23.25      21.00   10/15/2018   Los   Angeles    CA   East    - Drivers
2581426           Overtime        2.00      31.50   10/15/2018   Los   Angeles    CA   East    - Drivers
Total for 2581426               161.25
2467571           Regular        32.00      17.60   01/29/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime        8.00      26.40   01/29/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   02/05/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       10.00      26.40   02/05/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   02/12/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       13.00      26.40   02/12/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular         8.00      17.60   02/19/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime        2.00      26.40   02/19/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   02/26/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       11.50      26.40   02/26/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   03/05/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       11.50      26.40   03/05/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   03/12/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       14.00      26.40   03/12/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   03/19/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       11.00      26.40   03/19/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.60   03/26/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       11.00      26.40   03/26/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        40.00      17.00   05/07/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime        6.50      25.50   05/07/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.00   05/14/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       16.00      25.50   05/14/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        32.00      17.00   05/21/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime       16.00      25.50   05/21/2018   Los   Angeles    CA   West    - Drivers
2467571           Regular        16.00      17.00   05/28/2018   Los   Angeles    CA   West    - Drivers
2467571           Overtime        2.50      25.50   05/28/2018   Los   Angeles    CA   West    - Drivers
2467571 Case 2:19-cv-08580-JFW-MAA
                  Regular        4.00   Document  38-5 FiledLos
                                           17.00 10/01/2018  03/22/21
                                                                Angeles Page 30- of
                                                                        CA West     691 Page ID
                                                                                 Drivers
Total for 2467571              521.00            #:803
802357            Regular        9.75      16.00   08/10/2015 Los Angeles CA East - Drivers
802357            Regular        7.50      16.00   08/17/2015 Los Angeles CA East - Drivers
Total for 802357                17.25
2189105           Regular       20.00      19.00   09/04/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime       2.00      28.50   09/04/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       18.00      19.00   09/11/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       38.50      19.00   09/18/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime       2.00      28.50   09/18/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       16.00      19.00   05/08/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime       3.50      28.50   05/08/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   05/15/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      11.50       3.00   05/15/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   05/22/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      17.50       3.00   05/15/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       24.00      19.00   05/29/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      12.00      28.50   05/29/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   06/05/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      18.00      28.50   06/05/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   06/12/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      18.00      28.50   06/12/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   06/19/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime       7.00      28.50   06/19/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   06/26/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      13.50      28.50   06/26/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       32.00      19.00   07/03/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime       9.00      28.50   07/03/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   07/10/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      15.50      28.50   07/10/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   07/17/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      13.50      28.50   07/17/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   07/24/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      16.00      28.50   07/24/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   07/31/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      16.00      28.50   07/31/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       40.00      19.00   08/07/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      17.00      28.50   08/07/2017   Los   Angeles   CA   East   - Drivers
2189105           Regular       32.00      19.00   08/14/2017   Los   Angeles   CA   East   - Drivers
2189105           Overtime      11.00      28.50   08/14/2017   Los   Angeles   CA   East   - Drivers
Total for 2189105              823.50
1318662           Regular       36.50      16.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1318662           Overtime      11.00      24.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1318662           Regular       40.00      16.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1318662           Overtime      11.50      24.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1318662           Regular       15.50      16.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1318662           Overtime       3.00      24.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1318662           Regular        8.50      16.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1318662           Regular       31.25      16.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1318662           Overtime      10.50      24.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1318662           Regular        8.00      16.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1318662           Overtime       1.25      24.00   06/13/2016   Los   Angeles   CA   West   - Drivers
Total for 1318662              177.00
1194298           Regular       72.00      16.00   09/28/2015 Los Angeles CA East - Drivers
1194298           Overtime      38.00      24.00   09/28/2015 Los Angeles CA East - Drivers
Total for 1194298              110.00
1190605           Regular       57.50      19.00   10/26/2015   Los   Angeles   CA   East   - Drivers
1190605           Overtime       5.00      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
1190605           Regular       47.00      20.00   09/21/2015   Los   Angeles   CA   East   - Drivers
1190605           Overtime       8.50      30.00   09/21/2015   Los   Angeles   CA   East   - Drivers
1190605           Regular       32.00      20.00   10/12/2015   Los   Angeles   CA   East   - Drivers
Total for 1190605              150.00
1430787           Regular       32.00      17.60   10/16/2017 Los Angeles CA West - Drivers
1430787   Case 2:19-cv-08580-JFW-MAA
                    Overtime      11.00 Document  38-5 FiledLos
                                           26.40 10/16/2017   03/22/21
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                                                                         CA West      691 Page ID
                                                                                   Drivers
1430787             Regular       32.00    17.60 #:804
                                                  10/23/2017 Los Angeles CA West - Drivers
1430787             Overtime        14.50    26.40   10/23/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    17.60   10/30/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        16.00    26.40   10/30/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    17.60   11/06/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        13.00    26.40   11/06/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    17.60   11/13/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        15.00    26.40   11/13/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         16.00    17.60   11/20/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.00    26.40   11/20/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1430787             Overtime        12.00    24.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1430787             Regular         36.00    16.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1430787             Regular         36.00    16.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.00    24.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.00    24.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    16.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.50    24.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.00    24.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    16.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         4.00    24.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         29.00    16.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         4.50    24.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        14.00    24.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         46.25    16.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        17.50    24.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        14.50    24.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         38.50    16.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        14.00    24.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    16.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         7.00    24.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.00    24.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         7.00    24.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         4.00    24.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        14.50    24.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    16.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        10.50    24.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        14.50    24.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        18.00    24.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime        15.50    24.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    16.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         8.50    24.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         7.00    24.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         7.50    24.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         40.00    16.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         7.00    24.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1430787             Regular         32.00    16.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1430787             Overtime         5.50    24.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1430787 Case 2:19-cv-08580-JFW-MAA
                  Regular        40.00   Document  38-5 FiledLos
                                            16.00 06/05/2017   03/22/21
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                                                                          CA West      691 Page ID
                                                                                    Drivers
1430787           Overtime       10.50      24.00 #:805
                                                   06/05/2017 Los Angeles CA West - Drivers
1430787           Regular        38.50      16.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        6.00      24.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        32.00      16.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        7.50      24.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       15.50      24.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        24.00      16.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        5.50      24.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   07/10/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       13.00      24.00   07/10/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        5.00      24.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        16.00      16.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        2.00      24.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       25.50      24.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       15.00      24.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       10.00      24.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        8.00      24.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   08/28/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       10.00      24.00   08/28/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        32.00      16.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        7.00      24.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        38.00      16.00   09/11/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime        1.00      24.00   09/11/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       10.00      24.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular        40.00      16.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1430787           Overtime       10.50      24.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular         8.00      16.00   10/02/2017   Los   Angeles   CA   West   - Drivers
1430787           Regular         6.00      18.00   09/17/2018   Los   Angeles   CA   West   - Drivers
Total for 1430787             2,315.25
786627            Regular        40.00      18.00   08/03/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       10.50      27.00   08/03/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      18.00   08/10/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       15.50      27.00   08/10/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      18.00   08/17/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       13.00      27.00   08/17/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   08/24/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       22.50      28.50   08/24/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   08/31/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       15.00      28.50   08/31/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        32.00      19.00   09/07/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime        9.25      28.50   09/07/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   09/14/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       11.25      28.50   09/14/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   09/21/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       10.50      28.50   09/21/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   09/28/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime        9.00      28.50   09/28/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   10/05/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime       12.50      28.50   10/05/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        31.00      19.00   10/12/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime        1.25      28.50   10/12/2015   Los   Angeles   CA   East   - Drivers
786627            Regular        40.00      19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
786627            Overtime        6.25      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
Total for 786627                599.50
2781478           Regular        16.00      40.22   06/03/2019 Los Angeles CA West - Drivers
2781478 Case 2:19-cv-08580-JFW-MAA
                  Overtime       6.00   Document  38-5 FiledLos
                                           60.33 06/03/2019   03/22/21
                                                                 Angeles Page 33- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2781478           Regular       40.00      40.22 #:806
                                                  06/10/2019 Los Angeles CA West - Drivers
2781478           Overtime      12.00      60.33   06/10/2019   Los   Angeles   CA   West   - Drivers
2781478           Regular       40.00      40.22   06/17/2019   Los   Angeles   CA   West   - Drivers
2781478           Overtime      11.80      60.33   06/17/2019   Los   Angeles   CA   West   - Drivers
2781478           Regular       30.00      40.22   06/24/2019   Los   Angeles   CA   West   - Drivers
2781478           Overtime       6.25      60.33   06/24/2019   Los   Angeles   CA   West   - Drivers
2781478           Regular       16.00      41.22   08/12/2019   Los   Angeles   CA   West   - Drivers
2781478           Overtime       2.75      61.83   08/12/2019   Los   Angeles   CA   West   - Drivers
Total for 2781478              180.80
1286281           Regular       16.00      20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       6.00      30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       32.00      20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime      11.50      30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       40.00      20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime      12.25      30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       40.00      20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime      13.50      30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       31.50      20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       8.50      30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       38.75      20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime      12.25      30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       31.50      20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       8.25      30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       32.00      20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime      13.00      30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       24.00      20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       6.00      30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       24.00      20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       7.75      30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       24.00      20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       7.25      30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       16.00      20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       6.00      30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       16.00      20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       4.00      30.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       13.75      37.07   06/20/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       12.50      21.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       32.00      21.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       5.75      31.50   07/04/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       35.25      21.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1286281           Overtime       3.00      31.50   07/11/2016   Los   Angeles   CA   West   - Drivers
1286281           Regular       13.75      21.00   07/18/2016   Los   Angeles   CA   West   - Drivers
Total for 1286281              598.00
1258927           Regular        7.25      20.00   01/18/2016 Los Angeles CA West - Drivers
Total for 1258927                7.25
729890            Regular        8.00      19.00   12/05/2016 Los Angeles CA East - Drivers
729890            Overtime       2.00      28.50   12/05/2016 Los Angeles CA East - Drivers
Total for 729890                10.00
2373540           Regular        4.00      19.50   03/26/2018   Los   Angeles   CA   West   - Drivers
2373540           Regular        8.00      19.50   04/02/2018   Los   Angeles   CA   West   - Drivers
2373540           Regular       16.00      39.17   09/04/2017   Los   Angeles   CA   West   - Drivers
2373540           Overtime       4.50      58.76   09/04/2017   Los   Angeles   CA   West   - Drivers
2373540           Regular       32.00      39.17   09/11/2017   Los   Angeles   CA   West   - Drivers
2373540           Overtime       7.00      58.76   09/11/2017   Los   Angeles   CA   West   - Drivers
2373540           Regular       32.00      39.17   09/18/2017   Los   Angeles   CA   West   - Drivers
2373540           Overtime       6.75      58.76   09/18/2017   Los   Angeles   CA   West   - Drivers
2373540           Regular       32.00      39.17   09/25/2017   Los   Angeles   CA   West   - Drivers
2373540           Overtime      10.75      58.76   09/25/2017   Los   Angeles   CA   West   - Drivers
2373540           Regular       40.00      39.17   10/02/2017   Los   Angeles   CA   West   - Drivers
2373540           Overtime      13.25      58.76   10/02/2017   Los   Angeles   CA   West   - Drivers
2373540           Regular       18.00      39.17   10/09/2017   Los   Angeles   CA   West   - Drivers
2373540           Overtime       4.25      58.76   10/09/2017   Los   Angeles   CA   West   - Drivers
2373540   Case 2:19-cv-08580-JFW-MAA
                    Regular       16.00 Document  38-5 FiledLos
                                           39.17 10/16/2017   03/22/21
                                                                 Angeles Page 34- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2373540             Overtime       5.25    58.76 #:807
                                                  10/16/2017 Los Angeles CA West - Drivers
2373540             Regular         24.00    39.17   10/23/2017   Los   Angeles   CA   West   - Drivers
2373540             Overtime        11.00    58.76   10/23/2017   Los   Angeles   CA   West   - Drivers
2373540             Regular         32.00    39.17   04/09/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         8.00    58.76   04/09/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         35.75    39.17   04/16/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         4.75    58.76   04/16/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         32.00    39.17   04/23/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         6.75    58.76   04/23/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         34.50    39.17   05/07/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         7.75    58.76   05/07/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         36.00    39.17   05/14/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         5.75    58.76   05/14/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          7.50    39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   05/28/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.25    58.76   05/28/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   06/04/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.75    58.76   06/04/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         38.75    39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         7.75    58.76   06/11/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         40.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime        22.75    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         40.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime        18.50    58.76   06/25/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   07/23/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.25    58.76   07/23/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   08/06/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         3.25    58.76   08/06/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          5.50    39.17   10/08/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         31.50    39.17   10/15/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         7.75    58.76   10/15/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         32.00    39.17   10/22/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime        10.25    58.76   10/22/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         17.25    39.17   11/05/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.75    58.76   11/05/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         15.50    39.17   11/12/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         2.50    58.76   11/12/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   11/19/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         2.00    58.76   11/19/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular         16.00    39.17   11/26/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         3.00    58.76   11/26/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   12/17/2018   Los   Angeles   CA   West   - Drivers
2373540             Overtime         2.00    58.76   12/17/2018   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   01/07/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.00    58.76   01/07/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   01/28/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         0.75    58.76   01/28/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular         28.00    39.17   03/11/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         4.75    58.76   03/11/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular         10.75    39.17   03/18/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   04/01/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.00    58.76   04/01/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular          8.00    39.17   05/06/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         1.50    58.76   05/06/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular         22.00    40.22   05/13/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         5.75    60.33   05/13/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular         32.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         5.75    60.33   05/20/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular         24.00    40.22   05/27/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         6.50    60.33   05/27/2019   Los   Angeles   CA   West   - Drivers
2373540             Regular         39.50    40.22   06/03/2019   Los   Angeles   CA   West   - Drivers
2373540             Overtime         8.25    60.33   06/03/2019   Los   Angeles   CA   West   - Drivers
2373540 Case 2:19-cv-08580-JFW-MAA
                  Regular         8.00   Document  38-5 FiledLos
                                            40.22 06/10/2019   03/22/21
                                                                  Angeles Page 35- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
2373540           Overtime        2.50      60.33 #:808
                                                   06/10/2019 Los Angeles CA West - Drivers
2373540           Regular        38.00      22.00   06/17/2019   Los   Angeles    CA   West    - Drivers
2373540           Overtime       13.30      60.33   06/17/2019   Los   Angeles    CA   West    - Drivers
2373540           Regular        21.00      40.22   06/24/2019   Los   Angeles    CA   West    - Drivers
2373540           Overtime        3.50      60.33   06/24/2019   Los   Angeles    CA   West    - Drivers
2373540           Regular         8.00      41.22   07/22/2019   Los   Angeles    CA   West    - Drivers
2373540           Overtime        1.00      61.83   07/22/2019   Los   Angeles    CA   West    - Drivers
2373540           Regular         8.00      41.22   08/05/2019   Los   Angeles    CA   West    - Drivers
2373540           Overtime        1.00      61.83   08/05/2019   Los   Angeles    CA   West    - Drivers
2373540           Regular        16.00      41.22   08/12/2019   Los   Angeles    CA   West    - Drivers
2373540           Overtime        5.75      61.83   08/12/2019   Los   Angeles    CA   West    - Drivers
Total for 2373540             1,215.30
837786            Regular        20.25      21.21   10/15/2018   Sacramento      CA    - Drivers
837786            Regular        12.00      21.21   10/22/2018   Sacramento      CA    - Drivers
837786            Regular        52.50      21.21   10/29/2018   Sacramento      CA    - Drivers
837786            Regular        16.00      21.21   11/05/2018   Sacramento      CA    - Drivers
837786            Regular        18.50      20.98   11/12/2018   Sacramento      CA    - Drivers
837786            Regular         6.50      21.21   07/29/2019   Sacramento      CA    - Drivers
837786            Regular        12.00      22.11   10/08/2018   Sacramento      CA    - Drivers
837786            Regular        11.50      22.11   10/15/2018   Sacramento      CA    - Drivers
837786            Regular        26.00      22.11   10/22/2018   Sacramento      CA    - Drivers
837786            Regular        23.00      22.11   11/12/2018   Sacramento      CA    - Drivers
837786            Regular         8.00      22.00   07/08/2019   Sacramento      CA    - Drivers
837786            Overtime        3.50      33.00   07/08/2019   Sacramento      CA    - Drivers
837786            Regular         8.00      22.00   07/15/2019   Sacramento      CA    - Drivers
837786            Regular         8.00      23.00   07/22/2019   Sacramento      CA    - Drivers
837786            Regular         8.00      22.00   07/29/2019   Sacramento      CA    - Drivers
837786            Overtime        3.50      33.00   07/29/2019   Sacramento      CA    - Drivers
837786            Regular        24.00      22.00   08/05/2019   Sacramento      CA    - Drivers
837786            Regular        40.50      22.00   08/12/2019   Sacramento      CA    - Drivers
837786            Regular        40.00      22.00   08/19/2019   Sacramento      CA    - Drivers
837786            Regular        40.00      22.00   08/26/2019   Sacramento      CA    - Drivers
837786            Regular        24.00      22.00   09/02/2019   Sacramento      CA    - Drivers
Total for 837786                405.75
2658891           Regular         8.00      26.00   12/17/2018   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        1.50      39.00   12/17/2018   zz   - San   Francisco   CA   - Drivers
2658891           Regular        24.00      26.00   12/24/2018   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        3.00      39.00   12/24/2018   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   12/31/2018   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        3.00      39.00   12/31/2018   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   01/07/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        2.50      39.00   01/07/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   01/14/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        3.75      39.00   01/14/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   01/21/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        1.50      39.00   01/21/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   01/28/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        4.50      39.00   01/28/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   02/04/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        4.00      39.00   02/04/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   02/11/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        5.50      39.00   02/11/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   02/18/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        5.50      39.00   02/18/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   02/25/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   03/04/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        2.00      39.00   03/04/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   03/11/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        1.50      39.00   03/11/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   03/18/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        4.50      39.00   03/18/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   03/25/2019   zz   - San   Francisco   CA   - Drivers
2658891 Case 2:19-cv-08580-JFW-MAA
                  Overtime        2.00   Document  38-5 Filedzz03/22/21
                                            39.00 03/25/2019               PageCA
                                                                 - San Francisco  36- of 691 Page ID
                                                                                      Drivers
2658891           Regular        40.00      26.00 #:809
                                                   04/01/2019 zz - San Francisco CA - Drivers
2658891           Overtime        2.50      39.00   04/01/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   04/08/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        0.50      39.00   04/08/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   04/15/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        4.75      39.00   04/15/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   04/22/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        1.00      39.00   04/22/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   04/29/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        0.50      39.00   04/29/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   05/06/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        0.25      39.00   05/06/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   05/13/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        2.00      39.00   05/13/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   05/20/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   05/27/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        4.75      39.00   05/27/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   06/03/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        7.25      39.00   06/03/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   06/10/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        5.25      39.00   06/10/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   06/17/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        6.00      39.00   06/17/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   06/24/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        7.37      39.00   06/24/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   07/01/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        3.29      39.00   07/01/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   07/08/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        5.25      39.00   07/08/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   07/15/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        6.25      39.00   07/15/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   07/22/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        5.25      39.00   07/22/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   07/29/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        6.25      39.00   07/29/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        40.00      26.00   08/05/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        2.75      39.00   08/05/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   08/12/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        8.00      39.00   08/12/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   08/19/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        5.25      39.00   08/19/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        32.00      26.00   08/26/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        8.75      39.00   08/26/2019   zz   - San   Francisco   CA   - Drivers
2658891           Regular        16.00      26.00   09/02/2019   zz   - San   Francisco   CA   - Drivers
2658891           Overtime        0.50      39.00   09/02/2019   zz   - San   Francisco   CA   - Drivers
Total for 2658891             1,490.41
1250669           Regular        40.00      20.00   01/04/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime       10.00      30.00   01/04/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        40.00      20.00   01/11/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime        9.00      30.00   01/11/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        32.00      20.00   01/18/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime       13.75      30.00   01/18/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        32.00      20.00   01/25/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime       12.00      30.00   01/25/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        24.00      20.00   02/01/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime        8.00      30.00   02/01/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        39.50      20.00   02/08/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime       10.25      30.00   02/08/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        23.50      20.00   02/15/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime        6.25      30.00   02/15/2016   Los   Angeles    CA   West    - Drivers
1250669           Regular        24.00      20.00   02/29/2016   Los   Angeles    CA   West    - Drivers
1250669           Overtime        6.25      30.00   02/29/2016   Los   Angeles    CA   West    - Drivers
1250669   Case 2:19-cv-08580-JFW-MAA
                    Regular       40.00 Document  38-5 FiledLos
                                           20.00 03/07/2016   03/22/21
                                                                 Angeles Page 37- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1250669             Overtime       9.25    30.00 #:810
                                                  03/07/2016 Los Angeles CA West - Drivers
1250669             Regular         32.00    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.00    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.00    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         38.75    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         6.00    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.75    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.00    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         25.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.75    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.00    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.00    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         31.75    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.50    30.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.25    30.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        14.50    30.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.75    30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.00    20.25   06/13/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.25    30.38   06/13/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        20.00    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.75    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular          8.00    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         1.75    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.25    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.75    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.75    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         38.25    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.25    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.50    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.75    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.25    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         6.00    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         6.50    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.50    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         38.50    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.25    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.75    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.75    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1250669   Case 2:19-cv-08580-JFW-MAA
                    Overtime       7.00 Document  38-5 FiledLos
                                           30.38 10/17/2016   03/22/21
                                                                 Angeles Page 38- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1250669             Regular       32.00    20.25 #:811
                                                  10/24/2016 Los Angeles CA West - Drivers
1250669             Overtime         7.50    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.00    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         3.50    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.25    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         2.25    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.75    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.00    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.00    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.75    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1250669             Regular         31.25    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.50    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        16.25    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.50    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         3.50    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.75    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.75    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular          8.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         3.25    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.00    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.00    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.75    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        16.75    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         6.25    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.00    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.25    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.25    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.50    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.75    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.25    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1250669   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           20.25 05/29/2017   03/22/21
                                                                 Angeles Page 39- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1250669             Overtime      11.00    30.38 #:812
                                                  05/29/2017 Los Angeles CA West - Drivers
1250669             Regular         36.75    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.50    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.00    30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.50    30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.50    30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         30.75    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.50    30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.50    30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.25    30.38   07/31/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        15.75    30.38   08/07/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.38   08/14/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    30.38   08/21/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.75    30.38   08/28/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.75    30.38   09/04/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.50    30.38   09/11/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.50    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        16.75    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        15.00    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        15.00    30.38   10/16/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   10/23/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.50    30.38   10/23/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   10/30/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.25    30.38   10/30/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   11/06/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.75    30.38   11/06/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         36.50    20.25   11/13/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.25    30.38   11/13/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         16.00    20.25   11/20/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    30.38   11/20/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   11/27/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.75    30.38   11/27/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   12/04/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        19.80    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.00    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.75    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.00    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
1250669   Case 2:19-cv-08580-JFW-MAA
                    Overtime      12.75 Document  38-5 FiledLos
                                           30.38 01/01/2018   03/22/21
                                                                 Angeles Page 40- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1250669             Regular       39.00    20.25 #:813
                                                  01/08/2018 Los Angeles CA West - Drivers
1250669             Overtime         8.00    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.25    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         16.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         3.75    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.25    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.25    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         37.75    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.75    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.00    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         16.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.75    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         31.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.00    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         16.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         3.25    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   04/16/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.25    30.38   04/16/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   04/23/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.00    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.00    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         23.75    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         3.00    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         5.50    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.00    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         23.00    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         1.75    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.00    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        15.50    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.75    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.50    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.00    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.50    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         6.75    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.00    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1250669   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           22.00 08/13/2018   03/22/21
                                                                 Angeles Page 41- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1250669             Overtime      10.00    33.00 #:814
                                                  08/13/2018 Los Angeles CA West - Drivers
1250669             Regular         40.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.75    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         36.75    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.25    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.00    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.00    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         16.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.00    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        14.25    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         39.50    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.00    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        14.75    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        12.25    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        15.25    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.25    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         31.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.50    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.00    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.50    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.25    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         23.75    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.50    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1250669             Regular         24.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime        10.75    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime         9.75    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime        14.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime         8.50    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime        16.25    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime        11.00    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime        18.25    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime         7.75    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         40.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime        13.00    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         28.25    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1250669             Overtime         4.50    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1250669             Regular         32.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1250669 Case 2:19-cv-08580-JFW-MAA
                  Overtime        8.00   Document  38-5 FiledLos
                                            33.00 03/18/2019   03/22/21
                                                                  Angeles Page 42- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1250669           Regular        40.00      22.00 #:815
                                                   03/25/2019 Los Angeles CA West - Drivers
1250669           Overtime       11.25      33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        24.00      22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        2.50      33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        40.00      22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        6.50      33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        32.00      22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        4.75      33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        31.50      22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        8.75      33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        40.00      22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime       10.25      33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        24.00      22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        4.00      33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        16.00      22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        3.75      33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        40.00      22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        7.75      33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        23.50      22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        3.75      33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        15.75      22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        1.00      33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        16.00      22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        3.75      33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        31.25      22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        1.25      33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        32.00      22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        8.75      33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        24.00      22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime       10.25      33.00   07/01/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        38.00      22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        9.50      33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        32.00      22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime       17.75      33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        31.00      22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        3.00      33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        21.75      22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        1.00      33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        24.25      22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        1.00      33.00   08/05/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        32.00      22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        4.00      33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        24.00      22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        9.50      33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        24.00      22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        3.25      33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
1250669           Regular        18.00      22.00   09/02/2019   Los   Angeles   CA   West   - Drivers
1250669           Overtime        0.25      33.00   09/02/2019   Los   Angeles   CA   West   - Drivers
Total for 1250669             7,847.30
2400942           Regular        40.00      22.00   10/30/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        2.50      33.00   10/30/2017   Los   Angeles   CA   East   - Drivers
2400942           Regular        40.00      22.00   11/06/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        4.00      33.00   11/06/2017   Los   Angeles   CA   East   - Drivers
2400942           Regular        39.00      22.00   11/13/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        4.00      33.00   11/13/2017   Los   Angeles   CA   East   - Drivers
2400942           Regular        20.00      22.00   11/20/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        4.00      33.00   11/20/2017   Los   Angeles   CA   East   - Drivers
2400942           Regular        30.00      22.00   11/27/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        3.00      33.00   11/27/2017   Los   Angeles   CA   East   - Drivers
2400942           Regular        20.00      22.00   12/04/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        4.00      33.00   12/04/2017   Los   Angeles   CA   East   - Drivers
2400942           Regular        39.50      22.00   12/11/2017   Los   Angeles   CA   East   - Drivers
2400942   Case 2:19-cv-08580-JFW-MAA
                    Overtime       6.00 Document  38-5 FiledLos
                                           33.00 12/11/2017   03/22/21
                                                                 Angeles Page 43- Drivers
                                                                         CA East   of 691 Page ID
2400942             Regular       39.50    22.00 #:816
                                                  12/18/2017 Los Angeles CA East - Drivers
2400942             Overtime         3.00    33.00   12/18/2017   Los   Angeles   CA   East   - Drivers
2400942             Regular         38.00    22.00   12/25/2017   Los   Angeles   CA   East   - Drivers
2400942             Overtime         2.00    33.00   12/25/2017   Los   Angeles   CA   East   - Drivers
2400942             Regular         19.00    22.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   07/23/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime        12.00    25.50   07/23/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime        13.50    25.50   07/30/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime        14.50    25.50   08/06/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   08/13/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime        10.50    25.50   08/13/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.00   08/20/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         8.50    25.50   08/20/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   08/27/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime        11.00    25.50   08/27/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   09/03/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         4.00    25.50   09/03/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   09/10/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         6.00    25.50   09/10/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   09/17/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         8.50    25.50   09/17/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   09/24/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime        11.50    25.50   09/24/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    17.00   10/01/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         6.50    25.50   10/01/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         24.00    17.00   10/08/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         3.50    25.50   10/08/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    21.00   10/15/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         8.00    31.50   10/15/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         32.00    21.00   10/22/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         6.00    31.50   10/22/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   01/08/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         3.50    26.25   01/08/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         38.50    17.50   01/15/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         5.00    26.25   01/15/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         39.50    17.50   01/22/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         7.00    26.25   01/22/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         39.50    17.50   01/29/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         4.50    26.25   01/29/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   02/05/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         5.50    26.25   02/05/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   02/12/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         6.50    26.25   02/12/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   02/19/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         2.50    26.25   02/19/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   02/26/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         6.50    26.25   02/26/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   03/05/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         4.00    26.25   03/05/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   03/12/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         7.00    26.25   03/12/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   03/19/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         5.50    26.25   03/19/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   03/26/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         4.00    26.25   03/26/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    17.50   04/02/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         1.50    26.25   04/02/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         31.25    21.00   11/05/2018   Los   Angeles   CA   East   - Drivers
2400942             Overtime         8.00    31.50   11/05/2018   Los   Angeles   CA   East   - Drivers
2400942             Regular         40.00    21.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2400942 Case 2:19-cv-08580-JFW-MAA
                  Overtime       13.00   Document  38-5 FiledLos
                                            31.50 11/12/2018   03/22/21
                                                                  Angeles Page 44- Drivers
                                                                          CA East   of 691 Page ID
2400942           Regular        30.50      21.00 #:817
                                                   11/19/2018 Los Angeles CA East - Drivers
2400942           Overtime        4.00      31.50   11/19/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        39.00      21.00   11/26/2018   Los   Angeles   CA   East   - Drivers
2400942           Overtime        5.50      31.50   11/26/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        38.00      21.00   12/03/2018   Los   Angeles   CA   East   - Drivers
2400942           Overtime        8.00      31.50   12/03/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        32.00      21.00   12/10/2018   Los   Angeles   CA   East   - Drivers
2400942           Overtime        8.50      31.50   12/10/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        40.00      21.00   12/17/2018   Los   Angeles   CA   East   - Drivers
2400942           Overtime       11.00      31.50   12/17/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        32.00      21.00   12/24/2018   Los   Angeles   CA   East   - Drivers
2400942           Overtime        4.50      31.50   12/24/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        32.00      21.00   12/31/2018   Los   Angeles   CA   East   - Drivers
2400942           Overtime        6.50      31.50   12/31/2018   Los   Angeles   CA   East   - Drivers
2400942           Regular        40.00      21.00   01/07/2019   Los   Angeles   CA   East   - Drivers
2400942           Overtime       12.25      31.50   01/07/2019   Los   Angeles   CA   East   - Drivers
2400942           Regular        32.00      21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
2400942           Overtime       10.50      31.50   01/14/2019   Los   Angeles   CA   East   - Drivers
2400942           Regular        32.00      21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
2400942           Overtime       11.00      31.50   01/21/2019   Los   Angeles   CA   East   - Drivers
2400942           Regular        40.00      21.00   01/28/2019   Los   Angeles   CA   East   - Drivers
2400942           Overtime       12.50      31.50   01/28/2019   Los   Angeles   CA   East   - Drivers
2400942           Regular        40.00      21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
2400942           Overtime        8.00      31.50   02/04/2019   Los   Angeles   CA   East   - Drivers
2400942           Regular        40.00      21.00   02/11/2019   Los   Angeles   CA   East   - Drivers
2400942           Overtime       11.25      31.50   02/11/2019   Los   Angeles   CA   East   - Drivers
2400942           Regular        32.00      16.00   10/23/2017   Los   Angeles   CA   East   - Drivers
2400942           Overtime        3.50      24.00   10/23/2017   Los   Angeles   CA   East   - Drivers
Total for 2400942             2,234.75
1149900           Regular        32.00      19.00   11/09/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime       16.00      28.50   11/09/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        40.00      19.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime       14.00      28.50   11/16/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        22.00      19.00   11/23/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime        4.00      28.50   11/23/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        24.00      19.00   11/30/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime       12.00      28.50   11/30/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        36.00      19.00   12/07/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime       16.00      28.50   12/07/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        27.00      19.00   12/14/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime        8.00      28.50   12/14/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        15.00      19.00   12/21/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime        4.00      28.50   12/21/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        32.00      19.00   12/28/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime        9.75      28.50   12/28/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        28.00      19.00   01/04/2016   Los   Angeles   CA   East   - Drivers
1149900           Overtime        8.50      28.50   01/04/2016   Los   Angeles   CA   East   - Drivers
1149900           Regular        16.00      19.00   01/11/2016   Los   Angeles   CA   East   - Drivers
1149900           Overtime        8.00      28.50   01/11/2016   Los   Angeles   CA   East   - Drivers
1149900           Regular        16.00      18.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime        5.00      27.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular        40.00      19.00   10/26/2015   Los   Angeles   CA   East   - Drivers
1149900           Overtime       23.50      28.50   10/26/2015   Los   Angeles   CA   East   - Drivers
1149900           Regular         2.50      19.00   11/02/2015   Los   Angeles   CA   East   - Drivers
Total for 1149900               459.25
2407842           Regular         8.00      20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2407842           Overtime        0.50      30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2407842           Regular        32.00      20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2407842           Overtime        9.50      30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2407842           Regular        24.00      20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2407842           Overtime        2.25      30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2407842           Regular         8.00      20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2407842 Case 2:19-cv-08580-JFW-MAA
                  Overtime       2.75   Document  38-5 FiledLos
                                           30.00 11/20/2017   03/22/21
                                                                 Angeles Page 45- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2407842           Regular       32.00      20.00 #:818
                                                  11/27/2017 Los Angeles CA West - Drivers
2407842           Overtime       3.00      30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2407842           Regular       32.00      20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2407842           Overtime       8.00      30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2407842           Regular       32.00      20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2407842           Overtime       6.00      30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2407842           Regular       24.00      20.00   12/18/2017   Los   Angeles   CA   West   - Drivers
2407842           Overtime       7.50      30.00   12/18/2017   Los   Angeles   CA   West   - Drivers
Total for 2407842              231.50
2791885           Regular       40.00      22.50   06/24/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      11.50      33.75   06/24/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       32.00      22.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      12.50      33.75   07/01/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       40.00      22.50   07/08/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      13.50      33.75   07/08/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       80.00      22.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      55.00      33.75   07/15/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       24.00      22.50   07/29/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      12.00      33.75   07/29/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       16.00      22.50   08/12/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime       6.00      33.75   08/12/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       40.00      22.50   08/19/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      15.00      33.75   08/19/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       40.00      22.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      28.50      33.75   08/26/2019   Los   Angeles   CA   West   - Drivers
2791885           Regular       40.00      22.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2791885           Overtime      27.00      33.75   09/02/2019   Los   Angeles   CA   West   - Drivers
Total for 2791885              533.00
2437317           Regular       34.00      21.85   12/18/2017   Los   Angeles   CA   East   - Drivers
2437317           Regular       16.00      21.85   12/25/2017   Los   Angeles   CA   East   - Drivers
2437317           Regular       33.00      21.85   01/01/2018   Los   Angeles   CA   East   - Drivers
2437317           Regular       44.00      21.85   01/08/2018   Los   Angeles   CA   East   - Drivers
2437317           Regular       20.00      21.85   01/15/2018   Los   Angeles   CA   East   - Drivers
2437317           Regular       24.75      21.85   01/22/2018   Los   Angeles   CA   East   - Drivers
2437317           Regular       41.30      21.85   01/29/2018   Los   Angeles   CA   East   - Drivers
2437317           Regular       21.00      21.85   02/05/2018   Los   Angeles   CA   East   - Drivers
2437317           Regular       38.75      21.85   02/12/2018   Los   Angeles   CA   East   - Drivers
Total for 2437317              272.80
2807348           Regular       16.00      21.00   08/05/2019 Los Angeles CA West - Drivers
2807348           Overtime       6.75      31.50   08/05/2019 Los Angeles CA West - Drivers
Total for 2807348               22.75
1222107           Regular        8.50      22.11   01/22/2018 Sacramento CA - Drivers
1222107           Regular       16.50      22.11   03/12/2018 Sacramento CA - Drivers
Total for 1222107               25.00
1283559           Regular       24.00      20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1283559           Overtime      15.25      30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1283559           Regular       15.75      37.07   06/20/2016   Los   Angeles   CA   West   - Drivers
1283559           Overtime       1.25      55.61   06/20/2016   Los   Angeles   CA   West   - Drivers
1283559           Regular       16.00      22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1283559           Overtime       5.50      33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
Total for 1283559               77.75
893675            Regular       16.00      20.00   09/07/2015   Los   Angeles   CA   East   - Drivers
893675            Overtime       5.50      30.00   09/07/2015   Los   Angeles   CA   East   - Drivers
893675            Regular       29.00      20.00   09/14/2015   Los   Angeles   CA   East   - Drivers
893675            Overtime       4.25      30.00   09/14/2015   Los   Angeles   CA   East   - Drivers
893675            Regular       29.75      20.00   09/21/2015   Los   Angeles   CA   East   - Drivers
893675            Overtime       4.50      30.00   09/21/2015   Los   Angeles   CA   East   - Drivers
893675            Regular       20.50      20.00   09/28/2015   Los   Angeles   CA   East   - Drivers
893675            Overtime       7.00      30.00   09/28/2015   Los   Angeles   CA   East   - Drivers
893675            Regular       32.00      20.00   10/05/2015   Los   Angeles   CA   East   - Drivers
893675            Overtime       3.75      30.00   10/05/2015   Los   Angeles   CA   East   - Drivers
893675            Regular       24.00      20.00   10/12/2015   Los   Angeles   CA   East   - Drivers
893675 Case 2:19-cv-08580-JFW-MAA
                 Overtime       7.00   Document  38-5 FiledLos
                                          30.00 10/12/2015   03/22/21
                                                                Angeles Page 46- Drivers
                                                                        CA East   of 691 Page ID
893675           Regular       23.00      20.00 #:819
                                                 10/19/2015 Los Angeles CA East - Drivers
893675           Overtime       5.00      30.00   10/19/2015 Los Angeles CA East - Drivers
Total for 893675              211.25
851125           Regular        8.00      22.50   05/20/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       4.00      33.75   05/20/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       33.50      21.00   09/24/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       7.50      31.50   09/24/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       32.00      21.00   10/01/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       5.75      31.50   10/01/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       27.00      21.00   10/08/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       7.00      31.50   10/08/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       24.00      21.00   10/29/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       9.25      31.50   10/29/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       40.00      21.00   11/05/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime      16.25      31.50   11/05/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       40.00      21.00   11/12/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime      16.25      31.50   11/12/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       32.00      21.00   11/26/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime      12.25      31.50   11/26/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       40.00      21.00   12/03/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime      18.50      31.50   12/03/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       40.00      21.00   12/10/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime      20.00      31.50   12/10/2018   Los   Angeles   CA   East   - Drivers
851125           Regular        8.00      21.00   12/24/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       3.75      31.50   12/24/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       20.00      21.00   12/31/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       6.75      31.50   12/31/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       24.00      21.00   01/07/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime      11.00      31.50   01/07/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       24.00      21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       9.00      31.50   01/14/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       24.00      21.00   02/18/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       8.00      31.50   02/18/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       24.00      21.00   02/25/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       7.50      31.50   02/25/2019   Los   Angeles   CA   East   - Drivers
851125           Regular        8.00      19.50   10/22/2018   Los   Angeles   CA   East   - Drivers
851125           Overtime       3.00      29.25   10/22/2018   Los   Angeles   CA   East   - Drivers
851125           Regular       16.00      21.00   04/29/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       4.00      31.50   04/29/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       32.00      21.00   05/06/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       8.00      31.50   05/06/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       16.00      21.00   05/13/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       2.00      31.50   05/13/2019   Los   Angeles   CA   East   - Drivers
851125           Regular       16.00      23.50   03/25/2019   Los   Angeles   CA   East   - Drivers
851125           Regular        8.00      20.00   03/25/2019   Los   Angeles   CA   East   - Drivers
851125           Overtime       4.00      30.00   03/25/2019   Los   Angeles   CA   East   - Drivers
851125           Regular        1.50      20.00   04/01/2019   Los   Angeles   CA   East   - Drivers
Total for 851125              721.75
1199299          Regular       24.00      17.60   10/09/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime       9.00      26.40   10/09/2017   Los   Angeles   CA   West   - Drivers
1199299          Regular       32.00      17.60   10/16/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime      16.00      26.40   10/16/2017   Los   Angeles   CA   West   - Drivers
1199299          Regular       32.00      17.60   10/23/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime      14.00      26.40   10/23/2017   Los   Angeles   CA   West   - Drivers
1199299          Regular       32.00      17.60   10/30/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime      13.00      26.40   10/30/2017   Los   Angeles   CA   West   - Drivers
1199299          Regular       32.00      17.60   11/06/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime      12.50      26.40   11/06/2017   Los   Angeles   CA   West   - Drivers
1199299          Regular       32.00      17.60   11/13/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime      16.00      26.40   11/13/2017   Los   Angeles   CA   West   - Drivers
1199299          Regular       24.00      17.60   11/20/2017   Los   Angeles   CA   West   - Drivers
1199299          Overtime       9.00      26.40   11/20/2017   Los   Angeles   CA   West   - Drivers
1199299   Case 2:19-cv-08580-JFW-MAA
                    Regular       32.00 Document  38-5 FiledLos
                                           17.60 11/27/2017   03/22/21
                                                                 Angeles Page 47- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1199299             Overtime      12.50    26.40 #:820
                                                  11/27/2017 Los Angeles CA West - Drivers
1199299             Regular         32.00    17.60   12/04/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime        12.50    26.40   12/04/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         32.00    17.60   12/11/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime        13.50    26.40   12/11/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    17.60   12/18/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime        14.00    26.40   12/18/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         24.00    17.60   12/25/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime         8.00    26.40   12/25/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular          8.00    13.00   09/28/2015   Los   Angeles   CA   West   - Drivers
1199299             Overtime         3.75    19.50   09/28/2015   Los   Angeles   CA   West   - Drivers
1199299             Regular         24.00    16.00   11/02/2015   Los   Angeles   CA   West   - Drivers
1199299             Overtime        12.00    24.00   11/02/2015   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   11/09/2015   Los   Angeles   CA   West   - Drivers
1199299             Overtime        18.00    24.00   11/09/2015   Los   Angeles   CA   West   - Drivers
1199299             Regular         71.00    16.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1199299             Overtime        29.75    24.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1199299             Regular         16.00    16.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         6.00    24.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         16.00    16.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         2.50    24.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        26.50    24.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        11.25    24.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular          8.00    16.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         4.00    24.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         15.50    16.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular          8.00    16.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         1.00    24.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         32.00    16.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        13.25    24.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         16.00    16.00   09/12/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        11.75    24.00   09/12/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        28.25    24.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         16.00    16.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         5.00    24.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        17.00    24.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         39.50    16.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         9.50    24.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        14.00    24.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        26.75    24.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        22.25    24.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime         9.25    24.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         40.00    16.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1199299             Overtime        27.00    24.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1199299             Regular         16.00    16.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime         7.25    24.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         28.50    16.50   04/24/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime         5.50    24.75   04/24/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         30.00    16.50   05/01/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime        12.00    24.75   05/01/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         38.00    16.50   05/08/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime         4.00    45.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1199299             Regular         16.00    16.50   05/15/2017   Los   Angeles   CA   West   - Drivers
1199299             Overtime         3.00    24.75   05/15/2017   Los   Angeles   CA   West   - Drivers
1199299 Case 2:19-cv-08580-JFW-MAA
                  Regular        16.00   Document  38-5 FiledLos
                                            16.50 05/22/2017   03/22/21
                                                                  Angeles Page 48- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1199299           Overtime        8.00      24.75 #:821
                                                   05/22/2017 Los Angeles CA West - Drivers
1199299           Regular        16.00      16.50   05/29/2017   Los   Angeles   CA   West   - Drivers
1199299           Overtime        4.50      24.75   05/29/2017   Los   Angeles   CA   West   - Drivers
1199299           Regular         8.00      16.50   06/05/2017   Los   Angeles   CA   West   - Drivers
1199299           Regular        21.25      16.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1199299           Overtime        2.50      24.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1199299           Regular         8.00      16.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1199299           Overtime        0.75      24.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1199299           Regular        20.75      16.00   09/26/2016   Los   Angeles   CA   West   - Drivers
Total for 1199299             1,752.75
2678889           Regular         8.00      23.00   01/07/2019   Sacramento      CA   - Drivers
2678889           Overtime        3.50      34.50   01/07/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      23.00   01/14/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   01/21/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   01/28/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   02/04/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   02/11/2019   Sacramento      CA   - Drivers
2678889           Regular        32.00      22.00   02/18/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   02/25/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   03/04/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   03/11/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   03/18/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   03/25/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   04/01/2019   Sacramento      CA   - Drivers
2678889           Regular        24.00      22.00   04/08/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   04/15/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   04/22/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   04/29/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   05/06/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   05/13/2019   Sacramento      CA   - Drivers
2678889           Regular        32.00      22.00   05/20/2019   Sacramento      CA   - Drivers
2678889           Regular        30.75      22.00   05/27/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   06/03/2019   Sacramento      CA   - Drivers
2678889           Regular        28.25      22.00   06/10/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   06/17/2019   Sacramento      CA   - Drivers
2678889           Regular        38.25      22.00   06/24/2019   Sacramento      CA   - Drivers
2678889           Regular        16.00      22.00   07/01/2019   Sacramento      CA   - Drivers
2678889           Overtime        8.00      33.00   07/01/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   07/08/2019   Sacramento      CA   - Drivers
2678889           Regular        32.00      22.00   07/15/2019   Sacramento      CA   - Drivers
2678889           Regular        40.50      22.00   07/22/2019   Sacramento      CA   - Drivers
2678889           Regular        40.00      22.00   07/29/2019   Sacramento      CA   - Drivers
Total for 2678889             1,093.25
1145985           Regular        40.00      17.00   10/05/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime       23.00      25.50   10/05/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular         6.50      17.00   10/12/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime        6.00      25.50   10/05/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        47.50      17.00   10/19/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime        5.50      25.50   10/19/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        16.00      16.00   01/11/2016   Los   Angeles   CA   West   - Drivers
1145985           Overtime        4.50      24.00   01/11/2016   Los   Angeles   CA   West   - Drivers
1145985           Regular        24.00      15.00   09/21/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime        9.50      22.50   09/21/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        18.00      15.00   11/02/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        16.00      15.00   11/09/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime        8.00      22.50   11/09/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        23.50      15.00   11/30/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime        4.75      22.50   11/30/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        37.50      15.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime       16.00      22.50   12/07/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular        40.00      15.00   12/14/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime       37.00      22.50   12/14/2015   Los   Angeles   CA   West   - Drivers
1145985 Case 2:19-cv-08580-JFW-MAA
                  Regular       16.00   Document  38-5 FiledLos
                                           15.00 12/21/2015   03/22/21
                                                                 Angeles Page 49- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1145985           Overtime       1.75      22.50 #:822
                                                  12/21/2015 Los Angeles CA West - Drivers
1145985           Regular        8.00      15.00   12/28/2015   Los   Angeles   CA   West   - Drivers
1145985           Overtime       3.25      22.50   12/28/2015   Los   Angeles   CA   West   - Drivers
1145985           Regular       40.00      15.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1145985           Overtime      30.50      22.50   01/04/2016   Los   Angeles   CA   West   - Drivers
Total for 1145985              482.75
2377718           Regular       15.50      19.50   09/18/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular        8.00      19.50   09/25/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       16.00      19.50   10/09/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       3.50      29.25   10/09/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular        7.50      19.50   10/16/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       15.50      19.50   10/23/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       1.50      29.25   10/23/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       15.50      19.50   10/30/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       2.50      29.25   10/30/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       16.00      19.50   11/06/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       3.00      29.25   11/06/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       16.00      19.50   11/13/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       4.00      29.25   11/13/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular        8.00      19.50   12/04/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       3.50      29.25   12/04/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       23.50      19.50   12/11/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       2.50      29.25   12/11/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular        8.00      19.50   12/18/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       2.50      29.25   12/18/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular       23.00      19.50   12/25/2017   Los   Angeles   CA   West   - Drivers
2377718           Overtime       8.00      29.25   12/25/2017   Los   Angeles   CA   West   - Drivers
2377718           Regular        8.00      19.50   01/08/2018   Los   Angeles   CA   West   - Drivers
2377718           Overtime       4.00      29.25   01/08/2018   Los   Angeles   CA   West   - Drivers
2377718           Regular       16.00      19.50   01/15/2018   Los   Angeles   CA   West   - Drivers
2377718           Regular        8.00      19.50   01/22/2018   Los   Angeles   CA   West   - Drivers
2377718           Overtime       0.50      29.25   01/22/2018   Los   Angeles   CA   West   - Drivers
Total for 2377718              240.00
1344898           Regular        7.00      20.00   06/20/2016   Sacramento      CA   - Drivers
1344898           Regular        4.00      20.00   07/11/2016   Sacramento      CA   - Drivers
1344898           Regular        7.00      20.00   07/18/2016   Sacramento      CA   - Drivers
1344898           Regular        6.50      20.00   07/25/2016   Sacramento      CA   - Drivers
1344898           Regular        5.50      20.00   08/01/2016   Sacramento      CA   - Drivers
1344898           Regular        7.25      20.00   09/12/2016   Sacramento      CA   - Drivers
1344898           Regular       16.25      20.00   10/10/2016   Sacramento      CA   - Drivers
1344898           Regular       14.80      20.00   10/17/2016   Sacramento      CA   - Drivers
1344898           Regular        7.25      20.00   10/31/2016   Sacramento      CA   - Drivers
1344898           Regular       10.00      20.00   11/07/2016   Sacramento      CA   - Drivers
1344898           Regular        9.50      20.00   11/21/2016   Sacramento      CA   - Drivers
1344898           Regular       10.00      20.00   11/28/2016   Sacramento      CA   - Drivers
1344898           Regular        7.75      20.00   12/05/2016   Sacramento      CA   - Drivers
1344898           Regular       29.50      20.00   12/12/2016   Sacramento      CA   - Drivers
1344898           Regular        6.00      20.00   12/19/2016   Sacramento      CA   - Drivers
1344898           Regular        6.00      20.00   12/26/2016   Sacramento      CA   - Drivers
1344898           Regular        3.75      20.00   01/16/2017   Sacramento      CA   - Drivers
1344898           Regular       14.75      19.50   01/23/2017   Sacramento      CA   - Drivers
1344898           Overtime       2.00      29.25   01/23/2017   Sacramento      CA   - Drivers
1344898           Regular        5.75      19.50   02/13/2017   Sacramento      CA   - Drivers
1344898           Regular        7.50      19.50   02/20/2017   Sacramento      CA   - Drivers
1344898           Regular       14.00      19.50   07/17/2017   Sacramento      CA   - Drivers
1344898           Regular        8.00      19.50   07/24/2017   Sacramento      CA   - Drivers
1344898           Overtime       1.00      29.25   07/24/2017   Sacramento      CA   - Drivers
1344898           Regular       23.75      19.50   07/31/2017   Sacramento      CA   - Drivers
1344898           Overtime       6.75      29.25   07/31/2017   Sacramento      CA   - Drivers
1344898           Regular       24.00      19.50   08/07/2017   Sacramento      CA   - Drivers
1344898           Overtime       5.00      29.25   08/07/2017   Sacramento      CA   - Drivers
1344898           Regular       24.00      19.50   08/14/2017   Sacramento      CA   - Drivers
1344898 Case 2:19-cv-08580-JFW-MAA
                  Overtime       7.50   Document  38-5 FiledSacramento
                                           29.25 08/14/2017   03/22/21 CA
                                                                        Page   50 of 691 Page ID
                                                                           - Drivers
1344898           Regular       30.00      19.50 #:823
                                                  08/21/2017 Sacramento CA - Drivers
1344898           Overtime       6.75      29.25   08/21/2017   Sacramento   CA   - Drivers
1344898           Regular        8.00      19.50   08/28/2017   Sacramento   CA   - Drivers
1344898           Overtime       0.50      29.25   08/28/2017   Sacramento   CA   - Drivers
1344898           Regular       11.25      21.00   06/20/2016   Sacramento   CA   - Drivers
1344898           Regular       26.75      21.00   06/27/2016   Sacramento   CA   - Drivers
1344898           Regular       18.75      21.00   07/11/2016   Sacramento   CA   - Drivers
1344898           Regular        9.00      21.00   08/01/2016   Sacramento   CA   - Drivers
1344898           Regular        9.75      21.00   08/22/2016   Sacramento   CA   - Drivers
1344898           Regular        5.50      21.00   09/05/2016   Sacramento   CA   - Drivers
1344898           Regular        6.50      21.00   09/12/2016   Sacramento   CA   - Drivers
1344898           Regular       14.50      21.00   09/26/2016   Sacramento   CA   - Drivers
1344898           Regular       13.50      21.00   04/15/2075   Sacramento   CA   - Drivers
1344898           Regular       23.50      21.00   10/10/2016   Sacramento   CA   - Drivers
1344898           Regular       16.00      21.00   10/17/2016   Sacramento   CA   - Drivers
1344898           Regular       24.00      21.00   10/24/2016   Sacramento   CA   - Drivers
1344898           Regular       25.25      21.00   10/31/2016   Sacramento   CA   - Drivers
1344898           Regular       15.00      21.00   11/07/2016   Sacramento   CA   - Drivers
1344898           Regular       22.00      21.00   11/14/2016   Sacramento   CA   - Drivers
1344898           Regular       20.25      21.00   11/21/2016   Sacramento   CA   - Drivers
1344898           Regular       29.75      21.00   11/28/2016   Sacramento   CA   - Drivers
1344898           Regular       38.00      21.00   12/05/2016   Sacramento   CA   - Drivers
1344898           Regular       20.25      21.00   12/19/2016   Sacramento   CA   - Drivers
1344898           Regular       26.00      21.00   12/26/2016   Sacramento   CA   - Drivers
1344898           Regular       29.50      21.00   01/02/2017   Sacramento   CA   - Drivers
1344898           Regular       25.75      21.00   01/09/2017   Sacramento   CA   - Drivers
1344898           Regular       25.75      21.00   01/16/2017   Sacramento   CA   - Drivers
1344898           Regular        8.00      20.50   10/09/2017   Sacramento   CA   - Drivers
1344898           Overtime       0.50      30.75   10/09/2017   Sacramento   CA   - Drivers
Total for 1344898              812.30
2635477           Regular       40.00      22.00   11/12/2018   Sacramento   CA   - Drivers
2635477           Overtime       2.75      33.00   11/12/2018   Sacramento   CA   - Drivers
2635477           Regular       24.00      22.00   11/19/2018   Sacramento   CA   - Drivers
2635477           Overtime       2.00      33.00   11/19/2018   Sacramento   CA   - Drivers
2635477           Regular       40.00      22.00   11/26/2018   Sacramento   CA   - Drivers
2635477           Overtime       4.75      33.00   11/26/2018   Sacramento   CA   - Drivers
2635477           Regular       40.00      22.00   12/03/2018   Sacramento   CA   - Drivers
2635477           Overtime       1.75      33.00   12/03/2018   Sacramento   CA   - Drivers
2635477           Regular       40.00      22.00   12/10/2018   Sacramento   CA   - Drivers
2635477           Regular       40.00      22.00   12/17/2018   Sacramento   CA   - Drivers
2635477           Regular       16.00      22.00   12/24/2018   Sacramento   CA   - Drivers
2635477           Regular       32.00      22.00   12/31/2018   Sacramento   CA   - Drivers
2635477           Overtime       8.00      33.00   12/31/2018   Sacramento   CA   - Drivers
2635477           Regular       40.00      22.00   01/07/2019   Sacramento   CA   - Drivers
2635477           Regular       24.00      22.00   01/14/2019   Sacramento   CA   - Drivers
Total for 2635477              355.25
819385            Regular        8.00      21.50   03/28/2016   Sacramento   CA   - Drivers
819385            Overtime       1.00      32.25   03/28/2016   Sacramento   CA   - Drivers
819385            Regular       40.00      21.50   04/04/2016   Sacramento   CA   - Drivers
819385            Overtime       9.25      32.25   04/04/2016   Sacramento   CA   - Drivers
819385            Regular       24.00      21.50   04/11/2016   Sacramento   CA   - Drivers
819385            Overtime       5.25      32.25   04/11/2016   Sacramento   CA   - Drivers
819385            Regular       40.00      21.50   04/18/2016   Sacramento   CA   - Drivers
819385            Overtime      12.50      32.25   04/18/2016   Sacramento   CA   - Drivers
819385            Regular       40.00      21.50   04/25/2016   Sacramento   CA   - Drivers
819385            Overtime       4.00      32.25   04/25/2016   Sacramento   CA   - Drivers
819385            Regular        6.00      21.50   05/02/2016   Sacramento   CA   - Drivers
819385            Regular       32.00      21.50   05/09/2016   Sacramento   CA   - Drivers
819385            Overtime       8.75      32.25   05/09/2016   Sacramento   CA   - Drivers
819385            Regular       16.00      21.50   05/16/2016   Sacramento   CA   - Drivers
819385            Overtime       4.00      32.25   05/16/2016   Sacramento   CA   - Drivers
819385            Regular       39.50      21.50   05/23/2016   Sacramento   CA   - Drivers
819385   Case 2:19-cv-08580-JFW-MAA
                   Overtime       7.25 Document  38-5 FiledSacramento
                                          32.25 05/23/2016   03/22/21 CA
                                                                       Page   51 of 691 Page ID
                                                                          - Drivers
819385             Regular       28.50    21.50 #:824
                                                 05/30/2016 Sacramento CA - Drivers
819385             Overtime        2.50    32.25   05/30/2016   Sacramento   CA   - Drivers
819385             Regular         5.25    21.50   06/06/2016   Sacramento   CA   - Drivers
819385             Regular        32.25    21.50   06/20/2016   Sacramento   CA   - Drivers
819385             Overtime        3.75    32.25   06/20/2016   Sacramento   CA   - Drivers
819385             Regular        34.50    21.50   06/27/2016   Sacramento   CA   - Drivers
819385             Overtime        1.50    32.25   06/27/2016   Sacramento   CA   - Drivers
819385             Regular        15.25    21.50   07/04/2016   Sacramento   CA   - Drivers
819385             Overtime        2.50    32.25   07/04/2016   Sacramento   CA   - Drivers
819385             Regular        38.00    21.50   07/11/2016   Sacramento   CA   - Drivers
819385             Overtime        4.50    32.25   07/11/2016   Sacramento   CA   - Drivers
819385             Regular        40.00    21.50   07/18/2016   Sacramento   CA   - Drivers
819385             Overtime        4.25    32.25   07/18/2016   Sacramento   CA   - Drivers
819385             Regular        29.75    21.50   07/25/2016   Sacramento   CA   - Drivers
819385             Overtime        5.00    32.25   07/25/2016   Sacramento   CA   - Drivers
819385             Regular        29.00    21.50   08/01/2016   Sacramento   CA   - Drivers
819385             Overtime        0.25    32.25   08/01/2016   Sacramento   CA   - Drivers
819385             Regular         7.75    21.50   08/08/2016   Sacramento   CA   - Drivers
819385             Regular         8.00    21.50   08/15/2016   Sacramento   CA   - Drivers
819385             Regular        32.00    21.50   12/05/2016   Sacramento   CA   - Drivers
819385             Overtime        9.00    32.25   12/05/2016   Sacramento   CA   - Drivers
819385             Regular        40.00    21.50   12/12/2016   Sacramento   CA   - Drivers
819385             Overtime       12.25    32.25   12/12/2016   Sacramento   CA   - Drivers
819385             Regular        24.00    21.50   12/19/2016   Sacramento   CA   - Drivers
819385             Overtime        8.00    32.25   12/19/2016   Sacramento   CA   - Drivers
819385             Regular        32.00    21.50   12/26/2016   Sacramento   CA   - Drivers
819385             Overtime        9.00    32.25   12/26/2016   Sacramento   CA   - Drivers
819385             Regular        30.00    21.50   01/02/2017   Sacramento   CA   - Drivers
819385             Overtime        7.75    32.25   01/02/2017   Sacramento   CA   - Drivers
819385             Regular        39.00    21.50   01/09/2017   Sacramento   CA   - Drivers
819385             Overtime       10.25    32.25   01/09/2017   Sacramento   CA   - Drivers
819385             Regular        22.00    21.50   01/16/2017   Sacramento   CA   - Drivers
819385             Overtime        0.50    32.25   01/16/2017   Sacramento   CA   - Drivers
819385             Regular        32.00    21.50   01/23/2017   Sacramento   CA   - Drivers
819385             Overtime        3.00    32.25   01/23/2017   Sacramento   CA   - Drivers
819385             Regular        30.00    21.50   01/30/2017   Sacramento   CA   - Drivers
819385             Overtime        0.75    32.25   01/30/2017   Sacramento   CA   - Drivers
819385             Regular        36.25    21.50   02/06/2017   Sacramento   CA   - Drivers
819385             Overtime        1.00    32.25   02/06/2017   Sacramento   CA   - Drivers
819385             Regular        36.00    21.50   02/13/2017   Sacramento   CA   - Drivers
819385             Overtime        3.25    32.25   02/13/2017   Sacramento   CA   - Drivers
819385             Regular        31.25    21.50   02/20/2017   Sacramento   CA   - Drivers
819385             Overtime        4.00    32.25   02/20/2017   Sacramento   CA   - Drivers
819385             Regular        24.00    21.50   02/27/2017   Sacramento   CA   - Drivers
819385             Overtime        3.25    32.25   02/27/2017   Sacramento   CA   - Drivers
819385             Regular        14.00    21.50   03/06/2017   Sacramento   CA   - Drivers
819385             Regular        12.75    21.50   03/13/2017   Sacramento   CA   - Drivers
819385             Regular         8.00    21.50   03/20/2017   Sacramento   CA   - Drivers
819385             Overtime        1.50    32.25   03/20/2017   Sacramento   CA   - Drivers
819385             Regular        16.00    21.50   03/27/2017   Sacramento   CA   - Drivers
819385             Overtime        5.50    32.25   03/27/2017   Sacramento   CA   - Drivers
819385             Regular        31.00    21.50   04/03/2017   Sacramento   CA   - Drivers
819385             Overtime        8.25    32.25   04/03/2017   Sacramento   CA   - Drivers
819385             Regular        24.00    21.50   04/10/2017   Sacramento   CA   - Drivers
819385             Overtime        3.25    32.25   04/10/2017   Sacramento   CA   - Drivers
819385             Regular        24.00    21.50   04/17/2017   Sacramento   CA   - Drivers
819385             Overtime        4.25    32.25   04/17/2017   Sacramento   CA   - Drivers
819385             Regular        40.00    21.50   04/24/2017   Sacramento   CA   - Drivers
819385             Overtime       11.75    32.25   04/24/2017   Sacramento   CA   - Drivers
819385             Regular        12.00    21.50   05/01/2017   Sacramento   CA   - Drivers
819385             Regular        23.00    21.50   05/08/2017   Sacramento   CA   - Drivers
819385             Overtime        4.50    32.25   05/08/2017   Sacramento   CA   - Drivers
819385 Case 2:19-cv-08580-JFW-MAA
                  Regular       32.00   Document  38-5 FiledSacramento
                                           23.50 05/15/2017   03/22/21 CA
                                                                        Page   52 of 691 Page ID
                                                                           - Drivers
819385            Overtime       9.50      35.25 #:825
                                                  05/15/2017 Sacramento CA - Drivers
819385            Regular       16.00      23.50   05/22/2017   Sacramento      CA   - Drivers
819385            Overtime       4.00      35.25   05/22/2017   Sacramento      CA   - Drivers
819385            Regular       22.25      23.50   05/29/2017   Sacramento      CA   - Drivers
819385            Overtime      12.25      35.25   05/29/2017   Sacramento      CA   - Drivers
819385            Regular        6.00      23.50   06/05/2017   Sacramento      CA   - Drivers
819385            Regular       16.00      23.50   06/12/2017   Sacramento      CA   - Drivers
819385            Overtime       2.25      35.25   06/12/2017   Sacramento      CA   - Drivers
819385            Regular       14.00      23.50   06/19/2017   Sacramento      CA   - Drivers
819385            Overtime       2.00      35.25   06/19/2017   Sacramento      CA   - Drivers
819385            Regular       30.00      23.50   06/26/2017   Sacramento      CA   - Drivers
819385            Overtime       6.75      35.25   06/26/2017   Sacramento      CA   - Drivers
819385            Regular       16.00      23.50   07/03/2017   Sacramento      CA   - Drivers
819385            Overtime       2.25      35.25   07/03/2017   Sacramento      CA   - Drivers
819385            Regular       37.75      23.50   07/10/2017   Sacramento      CA   - Drivers
819385            Overtime       4.25      35.25   07/10/2017   Sacramento      CA   - Drivers
819385            Regular       24.00      23.50   07/17/2017   Sacramento      CA   - Drivers
819385            Overtime      11.00      35.25   07/17/2017   Sacramento      CA   - Drivers
819385            Regular       32.00      23.50   07/24/2017   Sacramento      CA   - Drivers
819385            Overtime       6.75      35.25   07/24/2017   Sacramento      CA   - Drivers
819385            Regular       24.00      23.50   07/31/2017   Sacramento      CA   - Drivers
819385            Overtime       5.25      35.25   07/31/2017   Sacramento      CA   - Drivers
819385            Regular        8.00      21.50   09/26/2016   Sacramento      CA   - Drivers
819385            Overtime       1.50      32.25   09/26/2016   Sacramento      CA   - Drivers
819385            Regular        8.00      21.50   10/03/2016   Sacramento      CA   - Drivers
819385            Overtime       0.75      32.25   10/03/2016   Sacramento      CA   - Drivers
Total for 819385             1,668.75
2622641           Regular       32.00      21.00   10/15/2018   Sacramento      CA   - Drivers
2622641           Overtime       6.00      31.50   10/15/2018   Sacramento      CA   - Drivers
2622641           Regular       32.00      21.00   10/22/2018   Sacramento      CA   - Drivers
2622641           Overtime       3.75      31.50   10/22/2018   Sacramento      CA   - Drivers
Total for 2622641               73.75
2466975           Regular       32.00      17.60   02/05/2018   Los   Angeles   CA   West   - Drivers
2466975           Overtime      11.00      26.40   02/05/2018   Los   Angeles   CA   West   - Drivers
2466975           Regular       32.00      17.60   02/12/2018   Los   Angeles   CA   West   - Drivers
2466975           Overtime      11.50      26.40   02/12/2018   Los   Angeles   CA   West   - Drivers
2466975           Regular       32.00      17.60   02/19/2018   Los   Angeles   CA   West   - Drivers
2466975           Overtime       9.25      26.40   02/19/2018   Los   Angeles   CA   West   - Drivers
Total for 2466975              127.75
624051            Regular       16.00      19.00   12/05/2016 Los Angeles CA East - Drivers
624051            Overtime       1.50      28.50   12/05/2016 Los Angeles CA East - Drivers
Total for 624051                17.50
2342117           Regular       20.00      19.50   07/31/2017   Los   Angeles   CA   West   - Drivers
2342117           Overtime       8.00      29.25   07/31/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular       16.00      19.50   07/24/2017   Los   Angeles   CA   West   - Drivers
2342117           Overtime       6.00      29.25   07/24/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular       54.00      21.85   09/18/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular        8.00      19.50   07/17/2017   Los   Angeles   CA   West   - Drivers
2342117           Overtime       0.50      29.25   07/17/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular       16.00      19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2342117           Overtime       1.50      29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular        8.00      19.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular       15.50      19.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2342117           Regular        8.00      19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
Total for 2342117              161.50
2423148           Regular        8.00      17.60   11/13/2017   Los   Angeles   CA   West   - Drivers
2423148           Overtime       4.00      26.40   11/13/2017   Los   Angeles   CA   West   - Drivers
2423148           Regular       24.00      17.60   11/20/2017   Los   Angeles   CA   West   - Drivers
2423148           Overtime      10.00      26.40   11/20/2017   Los   Angeles   CA   West   - Drivers
2423148           Regular       32.00      17.60   11/27/2017   Los   Angeles   CA   West   - Drivers
2423148           Overtime      14.50      26.40   11/27/2017   Los   Angeles   CA   West   - Drivers
2423148           Regular       32.00      17.60   12/04/2017   Los   Angeles   CA   West   - Drivers
2423148   Case 2:19-cv-08580-JFW-MAA
                    Overtime      13.00 Document  38-5 FiledLos
                                           26.40 12/04/2017   03/22/21
                                                                 Angeles Page 53- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2423148             Regular       32.00    17.60 #:826
                                                  12/11/2017 Los Angeles CA West - Drivers
2423148             Overtime        13.50    26.40   12/11/2017   Los   Angeles   CA   West   - Drivers
2423148             Regular         40.00    17.60   12/18/2017   Los   Angeles   CA   West   - Drivers
2423148             Overtime        14.50    26.40   12/18/2017   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   12/25/2017   Los   Angeles   CA   West   - Drivers
2423148             Overtime        11.00    26.40   12/25/2017   Los   Angeles   CA   West   - Drivers
2423148             Regular         24.00    17.60   01/01/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime         6.00    26.40   01/01/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   01/08/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime         9.50    26.40   01/08/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   01/15/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime         9.00    26.40   01/15/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   01/22/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime        10.00    26.40   01/22/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   01/29/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime        13.00    26.40   01/29/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         36.00    17.60   02/05/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime        10.00    26.40   02/05/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   02/12/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime        14.00    26.40   02/12/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   02/19/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime         9.00    26.40   02/19/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    17.60   02/26/2018   Los   Angeles   CA   West   - Drivers
2423148             Overtime        12.00    26.40   02/26/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         16.00    18.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular          8.00    17.50   07/22/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         1.00    26.25   07/22/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular          4.00    17.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular          8.00    22.00   03/26/2018   Los   Angeles   CA   West   - Drivers
2423148             Regular         24.00    18.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         3.75    27.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         38.50    18.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         2.25    27.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         21.50    18.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         1.25    27.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         21.75    18.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         1.50    27.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         22.00    18.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         2.00    27.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         39.00    18.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         3.25    27.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         22.00    18.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         0.50    27.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         24.00    18.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         3.00    27.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    18.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         2.00    27.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    18.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         1.50    27.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    18.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         1.50    27.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         16.00    18.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         0.50    27.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         40.00    18.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         8.25    27.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         56.00    18.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         0.50    27.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         16.00    18.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         6.00    27.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         16.00    18.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2423148             Overtime         1.00    27.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2423148             Regular         32.00    18.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2423148 Case 2:19-cv-08580-JFW-MAA
                  Overtime        4.00   Document  38-5 FiledLos
                                            27.00 08/12/2019   03/22/21
                                                                  Angeles Page 54- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
2423148           Regular        32.00      18.00 #:827
                                                   08/19/2019 Los Angeles CA West - Drivers
2423148           Overtime        0.25      27.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2423148           Regular        40.00      18.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2423148           Overtime        4.00      27.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2423148           Regular        32.00      18.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2423148           Overtime        0.50      27.00   09/02/2019   Los   Angeles   CA   West   - Drivers
Total for 2423148             1,330.25
2422153           Regular         8.00      17.60   11/13/2017 Los Angeles CA West - Drivers
2422153           Overtime        4.00      26.40   11/13/2017 Los Angeles CA West - Drivers
Total for 2422153                12.00
1196869           Regular        16.00      16.00   09/14/2015 Los Angeles CA East - Drivers
1196869           Overtime        4.25      24.00   09/14/2015 Los Angeles CA East - Drivers
Total for 1196869                20.25
2552028           Regular         8.00      20.00   07/02/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        2.25      30.00   07/02/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        38.00      20.98   12/03/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        42.00      20.98   12/10/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        42.00      20.98   12/17/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        15.25      20.98   12/24/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        16.00      23.00   01/07/2019   Los   Angeles   CA   East   - Drivers
2552028           Overtime        4.00      34.50   01/07/2019   Los   Angeles   CA   East   - Drivers
2552028           Regular        24.00      21.00   11/19/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        4.50      31.50   11/19/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        32.00      21.00   11/26/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        4.50      31.50   11/26/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        32.00      20.75   07/09/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        2.75      31.13   07/09/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   07/16/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        4.50      31.13   07/16/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        39.50      20.75   07/23/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        6.75      31.13   07/23/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        39.50      20.75   07/30/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        6.75      31.13   07/30/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   08/06/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        9.75      31.13   08/06/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   08/13/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        8.25      31.13   08/13/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        39.00      20.75   08/20/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        7.00      31.13   08/20/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   08/27/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        8.25      31.13   08/27/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        32.00      20.75   09/03/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime       10.00      31.13   09/03/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        32.00      20.75   09/10/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        9.25      31.13   09/10/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   09/17/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        6.00      31.13   09/17/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   09/24/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        5.25      31.13   09/24/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   10/01/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime       11.50      31.13   10/01/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   10/08/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime        9.50      31.13   10/08/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular        40.00      20.75   10/15/2018   Los   Angeles   CA   East   - Drivers
2552028           Overtime       11.75      31.13   10/15/2018   Los   Angeles   CA   East   - Drivers
2552028           Regular         8.00      20.75   10/22/2018   Los   Angeles   CA   East   - Drivers
Total for 2552028               931.75
2689856           Regular        32.00      19.00   03/11/2019   Sacramento      CA   - Drivers
2689856           Overtime        1.25      28.50   03/11/2019   Sacramento      CA   - Drivers
2689856           Regular        30.90      19.00   03/18/2019   Sacramento      CA   - Drivers
2689856           Overtime        2.30      28.50   03/18/2019   Sacramento      CA   - Drivers
Total for 2689856                66.45
2482960 Case 2:19-cv-08580-JFW-MAA
                  Regular       16.00   Document  38-5 FiledLos
                                           20.00 10/15/2018   03/22/21
                                                                 Angeles Page 55- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2482960           Overtime       5.00      30.00 #:828
                                                  10/15/2018 Los Angeles CA West - Drivers
2482960           Regular       16.00      20.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       3.50      30.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       16.00      20.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       3.50      30.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       16.00      20.50   12/17/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       1.50      30.75   12/17/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       32.00      20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       5.50      30.75   12/24/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular        8.00      20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2482960           Overtime       3.50      30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
2482960           Regular        8.00      20.50   08/27/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       0.50      30.75   08/27/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       16.00      20.50   09/03/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       4.50      30.75   09/03/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular        8.00      20.50   09/10/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       2.00      30.75   09/10/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       16.00      20.50   10/22/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular        8.00      20.50   10/29/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       2.00      30.75   10/29/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular        8.00      21.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       2.00      31.50   09/24/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       32.00      21.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       6.50      31.50   11/26/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       32.00      21.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       5.00      31.50   12/03/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       16.00      21.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       3.00      31.50   12/10/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular        8.00      20.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       2.00      30.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       40.00      20.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime      11.00      30.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2482960           Regular       32.00      20.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2482960           Overtime       9.00      30.00   10/08/2018   Los   Angeles   CA   West   - Drivers
Total for 2482960              398.00
778264            Regular       40.00      18.50   08/03/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       6.25      27.75   08/03/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       32.00      18.50   08/10/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       8.50      27.75   08/10/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       40.00      18.50   08/17/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime      13.50      27.75   08/17/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       41.00      20.00   08/24/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime      11.25      30.00   08/24/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       40.00      20.00   08/31/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       9.75      30.00   08/31/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       32.00      20.00   09/07/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       5.75      30.00   09/07/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       40.00      20.00   09/14/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       8.00      30.00   09/14/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       30.00      20.00   09/21/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       8.00      30.00   09/21/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       31.75      20.00   09/28/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       8.00      30.00   09/28/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       37.50      20.00   10/05/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime      10.00      30.00   10/05/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       40.00      20.00   10/12/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime      14.00      30.00   10/12/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       24.00      20.00   10/19/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime       4.75      30.00   10/19/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       40.00      20.00   10/26/2015   Los   Angeles   CA   West   - Drivers
778264            Overtime      15.75      30.00   10/26/2015   Los   Angeles   CA   West   - Drivers
778264            Regular       24.00      20.00   11/02/2015   Los   Angeles   CA   West   - Drivers
778264   Case 2:19-cv-08580-JFW-MAA
                   Overtime       9.25 Document  38-5 FiledLos
                                          30.00 11/02/2015   03/22/21
                                                                Angeles Page 56- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
778264             Regular       40.00    20.00 #:829
                                                 11/09/2015 Los Angeles CA West - Drivers
778264             Overtime        13.25    30.00   11/09/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   11/16/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.00    30.00   11/16/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   11/23/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime        13.50    30.00   11/23/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   11/30/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime        10.25    30.00   11/30/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.50    30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime        11.25    30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime         8.50    30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
778264             Regular          8.00    20.00   12/28/2015   Los   Angeles   CA   West   - Drivers
778264             Overtime         4.00    30.00   12/28/2015   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        10.25    30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         4.00    30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        16.25    30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         6.25    30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        11.25    30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   02/08/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        14.25    30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.50    30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.00    30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         31.75    20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         5.75    30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.00    30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         39.25    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.75    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        13.50    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.00    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         8.00    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.75    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.00    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        17.00    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         23.50    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         3.50    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         5.75    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        10.50    30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         31.25    20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.50    30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   05/30/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.25    30.38   05/30/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        10.50    30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
778264   Case 2:19-cv-08580-JFW-MAA
                   Regular       39.25 Document  38-5 FiledLos
                                          20.25 06/13/2016   03/22/21
                                                                Angeles Page 57- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
778264             Overtime      13.00    30.38 #:830
                                                 06/13/2016 Los Angeles CA West - Drivers
778264             Regular         40.00    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.00    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.50    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         16.00    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         4.75    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         38.25    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         8.00    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         9.75    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         39.75    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         5.50    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         41.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        11.50    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         27.25    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         2.00    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.50    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        11.00    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.75    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.50    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         4.25    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.75    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         39.75    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        14.50    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.50    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.25    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        18.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        12.25    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         8.00    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        14.50    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         3.50    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         8.50    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        10.50    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.50    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         4.50    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        17.25    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime        19.25    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         24.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
778264             Overtime         7.75    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
778264             Overtime        21.75    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
778264             Overtime        16.75    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
778264             Regular         40.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
778264 Case 2:19-cv-08580-JFW-MAA
                 Overtime       13.25   Document  38-5 FiledLos
                                           30.38 01/16/2017   03/22/21
                                                                 Angeles Page 58- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
778264           Regular        32.00      20.25 #:831
                                                  01/23/2017 Los Angeles CA West - Drivers
778264           Overtime        5.00      30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        24.00      20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       11.75      30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       11.00      30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        7.00      30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
778264           Regular         8.00      20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        4.25      30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        23.25      20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        9.75      30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       11.50      30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        24.00      20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        5.00      30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       11.00      30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       16.00      30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        8.00      30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        31.50      20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        6.50      30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        9.00      30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        8.75      30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       16.25      30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       10.00      30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        8.25      30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        24.00      20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        8.75      30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        24.00      20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        7.00      30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       10.50      30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       15.00      30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       14.00      30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        7.00      30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        15.75      20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        2.75      30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        9.25      30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       13.25      30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        40.00      20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime       15.50      30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
778264           Regular        32.00      20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
778264           Overtime        8.00      30.38   07/31/2017   Los   Angeles   CA   West   - Drivers
778264           Regular         6.00      20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
778264           Regular         8.00      20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
Total for 778264             4,562.75
871889           Regular         8.00      19.00   11/23/2015 Los Angeles CA West - Drivers
871889           Overtime        0.50      28.50   11/23/2015 Los Angeles CA West - Drivers
871889           Regular        32.00      20.00   05/16/2016 Los Angeles CA West - Drivers
871889 Case 2:19-cv-08580-JFW-MAA
                  Overtime      5.75   Document  38-5 FiledLos
                                          30.00 05/16/2016   03/22/21
                                                                Angeles Page 59- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
871889            Regular      32.00      20.00 #:832
                                                 05/23/2016 Los Angeles CA West - Drivers
871889            Overtime      5.50      30.00   05/23/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      16.00      20.00   05/30/2016   Los   Angeles   CA   West   - Drivers
871889            Overtime      2.00      30.00   05/30/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      24.00      20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
871889            Overtime      3.25      30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      28.00      20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
871889            Overtime      4.75      30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      22.00      17.00   03/21/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      32.00      17.00   03/28/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      24.00      17.00   04/04/2016   Los   Angeles   CA   West   - Drivers
871889            Overtime      3.00      25.50   04/04/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      62.75      19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
871889            Regular      50.45      19.00   12/21/2015   Los   Angeles   CA   West   - Drivers
871889            Regular      42.75      19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      37.50      19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      43.25      19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      30.50      19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      34.75      19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      28.50      19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      35.50      19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      28.25      19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      15.00      19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
871889            Regular       7.00      19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      11.50      19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      34.25      19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      40.00      19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      34.25      19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
871889            Regular      20.00      19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
Total for 871889              798.95
2781187           Regular       8.00      21.00   07/15/2019 Los Angeles CA West - Drivers
2781187           Overtime      4.00      31.50   07/15/2019 Los Angeles CA West - Drivers
Total for 2781187              12.00
2636137           Regular      24.00      18.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     11.25      27.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     16.08      27.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     18.87      27.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      32.00      18.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     14.30      27.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     18.07      27.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     17.87      27.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     17.15      27.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     17.58      27.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      32.00      18.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     13.83      27.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      32.00      18.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2636137           Overtime     14.10      27.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime     18.00      27.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime     17.93      27.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular      32.00      18.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime     16.00      27.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime     18.10      27.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular      40.00      18.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2636137 Case 2:19-cv-08580-JFW-MAA
                  Overtime       17.92   Document  38-5 FiledLos
                                            27.00 02/04/2019   03/22/21
                                                                  Angeles Page 60- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
2636137           Regular        40.00      18.00 #:833
                                                   02/11/2019 Los Angeles CA West - Drivers
2636137           Overtime       18.07      27.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular        32.00      18.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime       14.97      27.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular        40.00      18.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime       18.53      27.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular        40.00      18.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime       18.43      27.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2636137           Regular        24.00      18.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2636137           Overtime       12.00      27.00   03/11/2019   Los   Angeles   CA   West   - Drivers
Total for 2636137             1,057.05
2335326           Regular        32.00      17.00   07/31/2017   Sacramento      CA   - Drivers
2335326           Overtime       12.50      25.50   07/31/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   08/07/2017   Sacramento      CA   - Drivers
2335326           Overtime       16.00      25.50   08/07/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   08/14/2017   Sacramento      CA   - Drivers
2335326           Overtime       27.00      25.50   08/14/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   08/21/2017   Sacramento      CA   - Drivers
2335326           Overtime       16.00      25.50   08/21/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   08/28/2017   Sacramento      CA   - Drivers
2335326           Overtime       14.75      25.50   08/28/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   08/21/2017   Sacramento      CA   - Drivers
2335326           Overtime       17.75      25.50   09/04/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   09/11/2017   Sacramento      CA   - Drivers
2335326           Overtime       11.25      25.50   09/11/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   09/18/2017   Sacramento      CA   - Drivers
2335326           Overtime       13.25      25.50   09/18/2017   Sacramento      CA   - Drivers
2335326           Regular        24.00      17.00   09/25/2017   Sacramento      CA   - Drivers
2335326           Overtime        8.00      25.50   09/25/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   10/02/2017   Sacramento      CA   - Drivers
2335326           Overtime       12.25      25.50   10/02/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   10/09/2017   Sacramento      CA   - Drivers
2335326           Overtime        4.00      25.50   10/09/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   10/16/2017   Sacramento      CA   - Drivers
2335326           Overtime        4.00      25.50   10/16/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   10/23/2017   Sacramento      CA   - Drivers
2335326           Overtime        5.00      25.50   10/23/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   10/30/2017   Sacramento      CA   - Drivers
2335326           Overtime        4.00      25.50   10/30/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   11/06/2017   Sacramento      CA   - Drivers
2335326           Overtime        8.00      25.50   11/06/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   11/13/2017   Sacramento      CA   - Drivers
2335326           Overtime       24.00      25.50   11/13/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   11/20/2017   Sacramento      CA   - Drivers
2335326           Overtime        7.50      25.50   11/20/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   11/27/2017   Sacramento      CA   - Drivers
2335326           Overtime       25.00      25.50   11/27/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   12/04/2017   Sacramento      CA   - Drivers
2335326           Overtime       12.00      25.50   12/04/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   12/11/2017   Sacramento      CA   - Drivers
2335326           Overtime       22.75      25.50   12/11/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   12/18/2017   Sacramento      CA   - Drivers
2335326           Overtime       12.75      25.50   12/18/2017   Sacramento      CA   - Drivers
2335326           Regular        32.00      17.00   12/25/2017   Sacramento      CA   - Drivers
2335326           Overtime        7.75      25.50   12/25/2017   Sacramento      CA   - Drivers
2335326           Regular        40.00      17.00   01/01/2018   Sacramento      CA   - Drivers
2335326           Overtime        2.00      25.50   01/01/2018   Sacramento      CA   - Drivers
2335326           Regular        40.00      18.00   01/08/2018   Sacramento      CA   - Drivers
2335326           Overtime        4.00      27.00   01/08/2018   Sacramento      CA   - Drivers
2335326           Regular        40.00      18.00   01/15/2018   Sacramento      CA   - Drivers
2335326           Overtime       18.50      27.00   01/15/2018   Sacramento      CA   - Drivers
2335326           Regular        40.00      18.00   01/22/2018   Sacramento      CA   - Drivers
2335326   Case 2:19-cv-08580-JFW-MAA
                    Overtime      10.00 Document  38-5 FiledSacramento
                                           27.00 01/22/2018   03/22/21 CA
                                                                        Page   61 of 691 Page ID
                                                                           - Drivers
2335326             Regular       40.00    18.00 #:834
                                                  01/29/2018 Sacramento CA - Drivers
2335326             Overtime        4.50    27.00   01/29/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   02/05/2018   Sacramento   CA   - Drivers
2335326             Overtime       25.80    27.00   02/05/2018   Sacramento   CA   - Drivers
2335326             Regular        32.00    18.00   02/12/2018   Sacramento   CA   - Drivers
2335326             Overtime        4.25    27.00   02/12/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   02/19/2018   Sacramento   CA   - Drivers
2335326             Overtime       10.30    27.00   02/19/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   02/26/2018   Sacramento   CA   - Drivers
2335326             Overtime        0.50    27.00   02/26/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   03/05/2018   Sacramento   CA   - Drivers
2335326             Overtime        4.75    27.00   03/05/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   03/12/2018   Sacramento   CA   - Drivers
2335326             Overtime       12.00    27.00   03/12/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   03/19/2018   Sacramento   CA   - Drivers
2335326             Overtime       11.80    27.00   03/19/2018   Sacramento   CA   - Drivers
2335326             Regular        32.00    18.00   03/26/2018   Sacramento   CA   - Drivers
2335326             Overtime        7.25    27.00   03/26/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   04/02/2018   Sacramento   CA   - Drivers
2335326             Overtime        9.25    27.00   04/02/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   04/09/2018   Sacramento   CA   - Drivers
2335326             Overtime       14.50    27.00   04/09/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   04/16/2018   Sacramento   CA   - Drivers
2335326             Overtime       20.00    27.00   04/16/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   04/23/2018   Sacramento   CA   - Drivers
2335326             Overtime       14.00    27.00   04/23/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   04/30/2018   Sacramento   CA   - Drivers
2335326             Overtime       19.25    27.00   04/30/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   05/07/2018   Sacramento   CA   - Drivers
2335326             Overtime       19.25    27.00   05/07/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   05/14/2018   Sacramento   CA   - Drivers
2335326             Overtime       15.00    27.00   05/14/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   05/21/2018   Sacramento   CA   - Drivers
2335326             Overtime       10.75    27.00   05/21/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   05/28/2018   Sacramento   CA   - Drivers
2335326             Overtime       19.75    27.00   05/28/2018   Sacramento   CA   - Drivers
2335326             Regular        32.00    18.00   06/04/2018   Sacramento   CA   - Drivers
2335326             Overtime        8.25    27.00   06/04/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   06/11/2018   Sacramento   CA   - Drivers
2335326             Overtime       16.00    27.00   06/11/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   06/18/2018   Sacramento   CA   - Drivers
2335326             Overtime        8.25    27.00   06/18/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   06/25/2018   Sacramento   CA   - Drivers
2335326             Overtime       12.50    27.00   06/25/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   07/02/2018   Sacramento   CA   - Drivers
2335326             Overtime        7.50    27.00   07/02/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   07/09/2018   Sacramento   CA   - Drivers
2335326             Overtime       12.30    27.00   07/09/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   07/16/2018   Sacramento   CA   - Drivers
2335326             Overtime       15.75    27.00   07/16/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   07/23/2018   Sacramento   CA   - Drivers
2335326             Overtime       17.00    27.00   07/23/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   07/30/2018   Sacramento   CA   - Drivers
2335326             Overtime       26.50    27.00   07/30/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   08/06/2018   Sacramento   CA   - Drivers
2335326             Overtime       12.75    27.00   08/06/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   08/13/2018   Sacramento   CA   - Drivers
2335326             Overtime        5.75    27.00   08/13/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   08/20/2018   Sacramento   CA   - Drivers
2335326             Overtime       21.75    27.00   08/20/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   08/27/2018   Sacramento   CA   - Drivers
2335326             Overtime       16.25    27.00   08/27/2018   Sacramento   CA   - Drivers
2335326   Case 2:19-cv-08580-JFW-MAA
                    Regular       40.00 Document  38-5 FiledSacramento
                                           18.00 09/03/2018   03/22/21 CA
                                                                        Page   62 of 691 Page ID
                                                                           - Drivers
2335326             Overtime       6.50    27.00 #:835
                                                  09/03/2018 Sacramento CA - Drivers
2335326             Regular        40.00    18.00   09/10/2018   Sacramento   CA   - Drivers
2335326             Overtime        5.25    27.00   09/10/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   09/17/2018   Sacramento   CA   - Drivers
2335326             Overtime       12.25    27.00   09/17/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   09/24/2018   Sacramento   CA   - Drivers
2335326             Overtime       11.75    27.00   09/24/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   10/01/2018   Sacramento   CA   - Drivers
2335326             Overtime       22.25    27.00   10/01/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   10/08/2018   Sacramento   CA   - Drivers
2335326             Overtime       16.00    27.00   10/08/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   10/15/2018   Sacramento   CA   - Drivers
2335326             Overtime       13.50    27.00   10/15/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   10/22/2018   Sacramento   CA   - Drivers
2335326             Overtime       10.00    27.00   10/22/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   10/29/2018   Sacramento   CA   - Drivers
2335326             Overtime       22.50    27.00   10/29/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   11/05/2018   Sacramento   CA   - Drivers
2335326             Overtime       18.25    27.00   11/05/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   11/12/2018   Sacramento   CA   - Drivers
2335326             Overtime       14.25    27.00   11/12/2018   Sacramento   CA   - Drivers
2335326             Regular        16.00    18.00   11/19/2018   Sacramento   CA   - Drivers
2335326             Overtime        3.00    27.00   11/19/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   11/26/2018   Sacramento   CA   - Drivers
2335326             Overtime       29.75    27.00   11/26/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   12/03/2018   Sacramento   CA   - Drivers
2335326             Overtime       11.00    27.00   12/03/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   12/10/2018   Sacramento   CA   - Drivers
2335326             Overtime       15.00    27.00   12/10/2018   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   12/17/2018   Sacramento   CA   - Drivers
2335326             Overtime       14.75    27.00   12/17/2018   Sacramento   CA   - Drivers
2335326             Regular        16.00    18.00   12/24/2018   Sacramento   CA   - Drivers
2335326             Overtime        8.00    27.00   12/24/2018   Sacramento   CA   - Drivers
2335326             Regular        32.00    18.00   12/31/2018   Sacramento   CA   - Drivers
2335326             Overtime        8.00    27.00   12/31/2018   Sacramento   CA   - Drivers
2335326             Regular        32.00    18.00   01/07/2019   Sacramento   CA   - Drivers
2335326             Overtime        2.50    27.00   01/07/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   01/14/2019   Sacramento   CA   - Drivers
2335326             Overtime        8.00    27.00   01/14/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   01/21/2019   Sacramento   CA   - Drivers
2335326             Overtime        9.25    27.00   01/21/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    18.00   01/28/2019   Sacramento   CA   - Drivers
2335326             Overtime       13.75    27.00   01/28/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   02/04/2019   Sacramento   CA   - Drivers
2335326             Overtime        6.25    28.50   02/04/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   02/11/2019   Sacramento   CA   - Drivers
2335326             Overtime       25.75    28.50   02/11/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   02/18/2019   Sacramento   CA   - Drivers
2335326             Overtime       12.75    28.50   02/18/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   02/25/2019   Sacramento   CA   - Drivers
2335326             Overtime        7.75    28.50   02/25/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   03/04/2019   Sacramento   CA   - Drivers
2335326             Overtime       19.75    28.50   03/04/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   03/11/2019   Sacramento   CA   - Drivers
2335326             Overtime        6.00    28.50   03/11/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   03/18/2019   Sacramento   CA   - Drivers
2335326             Overtime       13.25    28.50   03/18/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   03/25/2019   Sacramento   CA   - Drivers
2335326             Overtime       23.00    28.50   03/25/2019   Sacramento   CA   - Drivers
2335326             Regular        24.00    19.00   04/01/2019   Sacramento   CA   - Drivers
2335326             Overtime        6.75    28.50   04/01/2019   Sacramento   CA   - Drivers
2335326             Regular        40.00    19.00   04/08/2019   Sacramento   CA   - Drivers
2335326 Case 2:19-cv-08580-JFW-MAA
                  Overtime       35.00   Document  38-5 FiledSacramento
                                            28.50 04/08/2019   03/22/21 CA
                                                                         Page   63 of 691 Page ID
                                                                            - Drivers
2335326           Regular        40.00      19.00 #:836
                                                   04/15/2019 Sacramento CA - Drivers
2335326           Overtime       12.50      28.50   04/15/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   04/22/2019   Sacramento      CA   - Drivers
2335326           Overtime       25.75      28.50   04/22/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   04/29/2019   Sacramento      CA   - Drivers
2335326           Overtime       23.50      28.50   04/29/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   05/06/2019   Sacramento      CA   - Drivers
2335326           Overtime       26.50      28.50   05/06/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   05/13/2019   Sacramento      CA   - Drivers
2335326           Overtime       16.50      28.50   05/13/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   05/20/2019   Sacramento      CA   - Drivers
2335326           Overtime        9.25      28.50   05/20/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   05/27/2019   Sacramento      CA   - Drivers
2335326           Overtime       14.75      28.50   05/27/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   06/03/2019   Sacramento      CA   - Drivers
2335326           Overtime       11.00      28.50   06/03/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   06/10/2019   Sacramento      CA   - Drivers
2335326           Overtime       25.75      28.50   06/10/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   06/17/2019   Sacramento      CA   - Drivers
2335326           Overtime       20.50      28.50   06/17/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   06/24/2019   Sacramento      CA   - Drivers
2335326           Overtime       26.75      28.50   06/24/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   07/01/2019   Sacramento      CA   - Drivers
2335326           Overtime       18.00      28.50   07/01/2019   Sacramento      CA   - Drivers
2335326           Regular        40.00      19.00   07/08/2019   Sacramento      CA   - Drivers
2335326           Overtime        8.25      28.50   07/08/2019   Sacramento      CA   - Drivers
Total for 2335326             5,290.20
2242918           Regular        34.00      18.75   04/24/2017   Sacramento      CA   - Drivers
2242918           Overtime       10.00      28.13   04/24/2017   Sacramento      CA   - Drivers
2242918           Regular        39.50      18.75   05/01/2017   Sacramento      CA   - Drivers
2242918           Overtime        5.50      28.13   05/01/2017   Sacramento      CA   - Drivers
Total for 2242918                89.00
2834641           Regular        24.00      20.00   08/19/2019   Los   Angeles   CA   East   - Drivers
2834641           Overtime        4.50      30.00   08/19/2019   Los   Angeles   CA   East   - Drivers
2834641           Regular        40.00      20.00   08/26/2019   Los   Angeles   CA   East   - Drivers
2834641           Overtime        9.00      30.00   08/26/2019   Los   Angeles   CA   East   - Drivers
2834641           Regular        16.00      20.00   09/02/2019   Los   Angeles   CA   East   - Drivers
2834641           Overtime        4.50      30.00   09/02/2019   Los   Angeles   CA   East   - Drivers
Total for 2834641                98.00
2553606           Regular         8.00      21.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        0.75      31.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular         8.00      21.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2553606           Overtime        4.00      31.50   06/25/2018   Los   Angeles   CA   West   - Drivers
2553606           Regular         3.25      22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular         8.00      22.50   06/10/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular         8.00      22.50   06/24/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        1.50      33.75   06/24/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular        16.00      22.50   08/19/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        5.50      33.75   08/19/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular         8.00      21.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        0.50      31.50   06/17/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular         8.00      21.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        3.50      31.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular        32.00      22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        7.00      33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular        40.00      22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        8.25      33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular        40.00      22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        9.75      33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular        40.00      22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2553606           Overtime        0.50      33.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2553606           Regular        40.00      22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2553606 Case 2:19-cv-08580-JFW-MAA
                  Overtime       2.50   Document  38-5 FiledLos
                                           33.00 08/12/2019   03/22/21
                                                                 Angeles Page 64- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
2553606           Regular       16.00      22.00 #:837
                                                  08/19/2019 Los Angeles CA West - Drivers
2553606           Regular        5.50      22.00   09/02/2019 Los Angeles CA West - Drivers
2553606           Regular        9.25      21.00   07/08/2019 Los Angeles CA West - Drivers
Total for 2553606              333.75
1336391           Regular        8.00      20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       4.75      30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      14.50      30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      11.00      30.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       28.75      20.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       6.75      30.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       14.00      20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       2.75      30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       8.25      30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      11.75      30.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       6.25      30.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       25.00      20.00   08/01/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       6.25      30.00   08/01/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       31.50      20.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       7.50      30.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       5.75      30.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       7.75      30.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       8.25      30.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       24.00      20.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       2.75      30.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.00   09/12/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       1.75      30.00   09/12/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       31.25      20.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       3.25      30.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      11.00      30.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       24.00      20.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      11.50      30.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       9.50      30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       7.00      30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       24.00      20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       8.25      30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      14.25      30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       16.00      20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       5.75      30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       24.00      20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       3.75      30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       9.50      30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       32.00      20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       7.25      30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       9.75      30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       40.00      20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime      12.50      30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1336391           Regular       31.50      20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1336391           Overtime       3.50      30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1336391   Case 2:19-cv-08580-JFW-MAA
                    Regular       24.00 Document  38-5 FiledLos
                                           20.25 12/26/2016   03/22/21
                                                                 Angeles Page 65- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1336391             Overtime       7.50    30.38 #:838
                                                  12/26/2016 Los Angeles CA West - Drivers
1336391             Regular         32.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        10.25    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.00    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        14.50    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         5.00    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         2.50    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.00    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.75    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular          8.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.00    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         2.25    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.25    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.75    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.00    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.00    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.75    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.00    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.75    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.25    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         39.75    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.50    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        10.25    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.50    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.50    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.00    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.50    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         15.75    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.25    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.75    30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.50    30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         23.75    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.00    30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         23.50    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.00    30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.50    30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        14.50    30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        14.25    30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1336391   Case 2:19-cv-08580-JFW-MAA
                    Overtime       9.25 Document  38-5 FiledLos
                                           30.38 07/31/2017   03/22/21
                                                                 Angeles Page 66- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1336391             Regular       32.00    20.25 #:839
                                                  08/07/2017 Los Angeles CA West - Drivers
1336391             Overtime         5.50    30.38   08/07/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.75    30.38   08/14/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.75    30.38   08/21/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.50    30.38   08/28/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.75    30.38   09/04/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        10.75    30.38   09/11/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        14.25    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        15.50    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.25    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        27.75    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         1.50    30.38   10/16/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   10/23/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.75    30.38   10/23/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   10/30/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.75    30.38   10/30/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   11/06/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.75    30.38   11/06/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   11/13/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        14.75    30.38   11/13/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   11/20/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.75    30.38   11/20/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   11/27/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.50    30.38   11/27/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   12/04/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.25    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.00    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.75    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         15.50    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
1336391             Overtime         2.50    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.00    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.00    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         23.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.75    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.75    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular          8.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         1.25    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.50    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         23.75    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         1.50    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.50    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.75    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.25    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.25    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
1336391   Case 2:19-cv-08580-JFW-MAA
                    Regular       16.00 Document  38-5 FiledLos
                                           20.25 03/12/2018   03/22/21
                                                                 Angeles Page 67- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1336391             Overtime       4.75    30.38 #:840
                                                  03/12/2018 Los Angeles CA West - Drivers
1336391             Regular         24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.00    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         15.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         0.30    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.00    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.25    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   04/16/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.75    30.38   04/16/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   04/23/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.00    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         2.75    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.00    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         38.50    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.00    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.50    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.50    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.00    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.75    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         28.25    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.50    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.00    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        13.25    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        10.50    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.00    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.00    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         5.25    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.75    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.00    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         5.00    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.00    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         5.75    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.75    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         5.00    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.75    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        11.50    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         23.25    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         5.00    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        13.00    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1336391   Case 2:19-cv-08580-JFW-MAA
                    Overtime      12.00 Document  38-5 FiledLos
                                           33.00 10/15/2018   03/22/21
                                                                 Angeles Page 68- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1336391             Regular       24.00    22.00 #:841
                                                  10/22/2018 Los Angeles CA West - Drivers
1336391             Overtime        10.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         39.75    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.25    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.75    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        13.00    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.25    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        16.50    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         7.75    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         37.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime        12.00    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.25    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.00    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.25    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime        10.75    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime        18.75    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime        15.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         31.50    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         2.00    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         39.25    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         6.00    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         8.50    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.75    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         32.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.50    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         1.75    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.50    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         1.25    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular          8.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         1.25    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         14.50    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.25    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.50    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         9.00    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime        10.50    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime        13.00    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         16.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         2.25    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         24.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         4.75    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1336391             Regular         23.50    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1336391             Overtime         3.25    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1336391 Case 2:19-cv-08580-JFW-MAA
                  Regular        28.25   Document  38-5 FiledLos
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                                                                  Angeles Page 69- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1336391           Overtime        0.75      33.00 #:842
                                                   06/03/2019 Los Angeles CA West - Drivers
1336391           Regular         8.00      20.50   04/01/2019 Los Angeles CA West - Drivers
1336391           Overtime        1.25      30.75   04/01/2019 Los Angeles CA West - Drivers
Total for 1336391             5,877.55
2435079           Regular         8.00      19.50   12/18/2017   Los   Angeles   CA   East   - Drivers
2435079           Overtime        4.00      29.25   12/18/2017   Los   Angeles   CA   East   - Drivers
2435079           Regular         8.00      20.98   12/04/2017   Los   Angeles   CA   East   - Drivers
2435079           Regular        52.00      20.98   12/11/2017   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   01/22/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       13.50      31.50   01/22/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   01/29/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        8.95      31.50   01/29/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        32.00      21.00   02/05/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        7.00      31.50   02/05/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        9.98      31.50   02/12/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       10.50      31.50   02/19/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        6.53      31.50   02/26/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       12.62      31.50   03/05/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        24.00      21.00   03/12/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       10.92      31.50   03/12/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   03/19/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        9.75      31.50   03/19/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        24.00      21.00   03/26/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        9.65      31.50   03/26/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   04/02/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       13.12      31.50   04/02/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       10.57      31.50   04/09/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   04/16/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        8.42      31.50   04/16/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      21.00   04/23/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       12.03      31.50   04/23/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        16.00      21.00   04/30/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        4.28      31.50   04/30/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular         8.00      20.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        2.50      30.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular         8.00      20.00   01/08/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        2.65      30.00   01/08/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular        40.00      20.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime       15.75      30.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular         7.50      19.00   12/04/2017   Los   Angeles   CA   East   - Drivers
2435079           Regular         8.00      20.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        0.25      30.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2435079           Regular         8.00      20.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2435079           Overtime        2.25      30.00   02/12/2018   Los   Angeles   CA   East   - Drivers
Total for 2435079               858.72
967432            Regular        30.50      14.00   08/03/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        56.00      15.00   08/31/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        65.50      15.00   09/14/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        37.00      15.00   09/21/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        40.00      15.00   09/28/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        38.50      15.00   10/05/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        40.00      15.00   10/12/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        40.00      15.00   10/19/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        38.50      15.00   10/26/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        40.00      15.00   11/02/2015   Los   Angeles   CA   East   - Drivers
967432            Regular        40.00      15.00   11/09/2015   Los   Angeles   CA   East   - Drivers
Total for 967432                466.00
1347623 Case 2:19-cv-08580-JFW-MAA
                  Regular       12.00   Document  38-5 FiledLos
                                           20.00 08/15/2016   03/22/21
                                                                 Angeles Page 70- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1347623           Regular        8.00      20.00 #:843
                                                  07/11/2016 Los Angeles CA West - Drivers
1347623           Overtime       1.50      30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1347623           Regular       16.00      21.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1347623           Overtime       2.50      31.50   07/18/2016   Los   Angeles   CA   West   - Drivers
1347623           Regular        8.00      21.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1347623           Overtime       0.50      31.50   07/25/2016   Los   Angeles   CA   West   - Drivers
Total for 1347623               48.50
2278555           Regular       16.00      21.00   03/25/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   04/01/2019   Sacramento      CA   - Drivers
2278555           Overtime      10.00      31.50   04/01/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   04/08/2019   Sacramento      CA   - Drivers
2278555           Overtime      11.25      31.50   04/08/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   04/15/2019   Sacramento      CA   - Drivers
2278555           Overtime      11.00      31.50   04/15/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   04/22/2019   Sacramento      CA   - Drivers
2278555           Overtime      10.00      31.50   04/22/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   04/29/2019   Sacramento      CA   - Drivers
2278555           Overtime      10.00      31.50   04/29/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   05/06/2019   Sacramento      CA   - Drivers
2278555           Overtime       8.00      31.50   05/06/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   05/13/2019   Sacramento      CA   - Drivers
2278555           Overtime       7.50      31.50   05/13/2019   Sacramento      CA   - Drivers
2278555           Regular       32.00      21.00   05/20/2019   Sacramento      CA   - Drivers
2278555           Overtime       6.00      31.50   05/20/2019   Sacramento      CA   - Drivers
2278555           Regular       32.00      21.00   05/27/2019   Sacramento      CA   - Drivers
2278555           Overtime       6.50      31.50   05/27/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   06/03/2019   Sacramento      CA   - Drivers
2278555           Overtime       7.50      31.50   06/03/2019   Sacramento      CA   - Drivers
2278555           Regular       32.00      21.00   06/10/2019   Sacramento      CA   - Drivers
2278555           Overtime       6.00      31.50   06/10/2019   Sacramento      CA   - Drivers
2278555           Regular       32.00      21.00   07/01/2019   Sacramento      CA   - Drivers
2278555           Overtime       6.00      31.50   07/01/2019   Sacramento      CA   - Drivers
2278555           Regular       32.00      21.00   07/08/2019   Sacramento      CA   - Drivers
2278555           Overtime       6.00      31.50   07/08/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   07/15/2019   Sacramento      CA   - Drivers
2278555           Overtime       7.50      31.50   07/15/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      21.00   07/22/2019   Sacramento      CA   - Drivers
2278555           Overtime       7.50      31.50   07/22/2019   Sacramento      CA   - Drivers
2278555           Regular       32.00      21.00   07/29/2019   Sacramento      CA   - Drivers
2278555           Overtime       6.00      31.50   07/29/2019   Sacramento      CA   - Drivers
2278555           Regular       24.00      21.00   08/05/2019   Sacramento      CA   - Drivers
2278555           Overtime       4.00      31.50   08/05/2019   Sacramento      CA   - Drivers
2278555           Regular        7.75      20.98   11/13/2017   Sacramento      CA   - Drivers
2278555           Regular       40.00      23.00   08/19/2019   Sacramento      CA   - Drivers
2278555           Overtime      12.75      34.50   08/19/2019   Sacramento      CA   - Drivers
2278555           Regular       40.00      23.00   08/26/2019   Sacramento      CA   - Drivers
2278555           Overtime      11.00      34.50   08/26/2019   Sacramento      CA   - Drivers
2278555           Regular        8.00      23.00   09/02/2019   Sacramento      CA   - Drivers
2278555           Overtime       2.75      34.50   09/02/2019   Sacramento      CA   - Drivers
Total for 2278555              885.00
1354618           Regular       24.00      20.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       2.50      30.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       40.00      20.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       1.50      30.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       40.00      20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       2.75      30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       32.00      20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       3.00      30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       16.00      22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       5.00      33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       32.00      21.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       2.00      31.50   10/29/2018   Los   Angeles   CA   West   - Drivers
1354618 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00   Document  38-5 FiledLos
                                           21.00 11/05/2018   03/22/21
                                                                 Angeles Page 71- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1354618           Overtime       2.00      31.50 #:844
                                                  11/05/2018 Los Angeles CA West - Drivers
1354618           Regular       40.00      21.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       40.00      21.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       6.00      31.50   11/19/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       41.75      21.85   07/02/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      21.85   07/09/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      21.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       3.75      31.50   07/09/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      21.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1354618           Overtime       1.00      31.50   05/27/2019   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       4.00      30.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1354618           Regular        4.00      22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
1354618           Regular       16.00      20.92   04/23/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      20.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       3.00      30.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       24.00      20.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime      10.75      30.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       24.00       2.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime      10.75       3.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       32.00      22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime      11.50      33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1354618           Overtime       2.75      33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
1354618           Overtime       3.00      33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
1354618           Regular       13.00      21.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular        8.00      20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       24.00      20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       1.50      30.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       24.00      20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       2.25      30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       32.00      20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       4.00      30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       24.00      20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       1.50      30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       24.00      20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       4.00      30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       32.00      20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       6.75      30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1354618           Regular       15.50      20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1354618           Overtime       2.00      30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
Total for 1354618              803.50
698331            Regular       40.00      18.50   08/03/2015   Atlanta   GA   - Drivers
698331            Overtime      11.25      27.75   08/03/2015   Atlanta   GA   - Drivers
698331            Regular       36.00      18.50   08/10/2015   Atlanta   GA   - Drivers
698331            Overtime       5.50      27.75   08/10/2015   Atlanta   GA   - Drivers
698331            Regular       40.00      18.50   08/17/2015   Atlanta   GA   - Drivers
698331            Overtime      10.25      27.75   08/17/2015   Atlanta   GA   - Drivers
698331            Regular       41.75      19.00   08/24/2015   Atlanta   GA   - Drivers
698331            Overtime      22.50      28.50   08/24/2015   Atlanta   GA   - Drivers
698331            Regular       40.00      19.00   08/31/2015   Atlanta   GA   - Drivers
698331            Overtime      21.00      28.50   08/31/2015   Atlanta   GA   - Drivers
698331            Regular       32.00      19.00   09/07/2015   Atlanta   GA   - Drivers
698331            Overtime       8.50      28.50   08/31/2015   Atlanta   GA   - Drivers
698331            Regular       40.00      19.00   09/14/2015   Atlanta   GA   - Drivers
698331            Overtime      20.50      28.50   09/14/2015   Atlanta   GA   - Drivers
698331            Regular       40.00      19.00   09/21/2015   Atlanta   GA   - Drivers
698331            Overtime      17.25      28.50   09/21/2015   Atlanta   GA   - Drivers
698331            Regular       32.00      19.00   09/28/2015   Atlanta   GA   - Drivers
698331            Overtime      12.50      28.50   09/28/2015   Atlanta   GA   - Drivers
698331   Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00 Document  38-5 FiledAtlanta
                                          19.00 10/05/2015   03/22/21    Page 72 of 691 Page ID
                                                                    GA - Drivers
698331             Overtime       9.25    28.50 #:845
                                                 10/05/2015 Atlanta GA - Drivers
698331             Regular        40.00    19.00   10/12/2015   Atlanta   GA   - Drivers
698331             Overtime       15.25    28.50   10/12/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   10/19/2015   Atlanta   GA   - Drivers
698331             Overtime       21.50    28.50   10/19/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   10/26/2015   Atlanta   GA   - Drivers
698331             Overtime       11.00    28.50   10/26/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   11/02/2015   Atlanta   GA   - Drivers
698331             Overtime       10.00    28.50   11/02/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   11/09/2015   Atlanta   GA   - Drivers
698331             Overtime       14.50    28.50   11/09/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   11/16/2015   Atlanta   GA   - Drivers
698331             Overtime       10.25    28.50   11/16/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   11/23/2015   Atlanta   GA   - Drivers
698331             Overtime       12.50    28.50   11/23/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   11/30/2015   Atlanta   GA   - Drivers
698331             Overtime       25.00    28.50   11/30/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   12/07/2015   Atlanta   GA   - Drivers
698331             Overtime       24.25    28.50   12/07/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   12/14/2015   Atlanta   GA   - Drivers
698331             Overtime       11.00    28.50   12/14/2015   Atlanta   GA   - Drivers
698331             Regular        24.00    19.00   12/21/2015   Atlanta   GA   - Drivers
698331             Overtime        5.50    28.50   12/21/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   12/28/2015   Atlanta   GA   - Drivers
698331             Overtime       10.50    28.50   12/28/2015   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   01/04/2016   Atlanta   GA   - Drivers
698331             Overtime       25.25    28.50   01/04/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   01/11/2016   Atlanta   GA   - Drivers
698331             Overtime       15.25    28.50   01/11/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   01/18/2016   Atlanta   GA   - Drivers
698331             Overtime        8.75    28.50   01/18/2016   Atlanta   GA   - Drivers
698331             Regular        36.50    19.00   01/25/2016   Atlanta   GA   - Drivers
698331             Overtime        4.75    28.50   01/25/2016   Atlanta   GA   - Drivers
698331             Regular        39.50    19.00   02/01/2016   Atlanta   GA   - Drivers
698331             Overtime        8.25    28.50   02/01/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   02/08/2016   Atlanta   GA   - Drivers
698331             Overtime        9.25    28.50   02/08/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.00   02/15/2016   Atlanta   GA   - Drivers
698331             Overtime        6.50    28.50   02/15/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   02/22/2016   Atlanta   GA   - Drivers
698331             Overtime       18.50    28.50   02/22/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   02/29/2016   Atlanta   GA   - Drivers
698331             Overtime        6.25    28.50   02/29/2016   Atlanta   GA   - Drivers
698331             Regular        22.00    19.00   03/07/2016   Atlanta   GA   - Drivers
698331             Overtime        3.00    28.50   03/07/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.00   03/14/2016   Atlanta   GA   - Drivers
698331             Overtime        8.25    28.50   03/14/2016   Atlanta   GA   - Drivers
698331             Regular        35.50    19.00   03/21/2016   Atlanta   GA   - Drivers
698331             Overtime        3.75    28.50   03/21/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.00   03/28/2016   Atlanta   GA   - Drivers
698331             Overtime        9.00    28.50   03/28/2016   Atlanta   GA   - Drivers
698331             Regular        31.00    19.00   04/04/2016   Atlanta   GA   - Drivers
698331             Overtime        4.50    28.50   04/04/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.00   04/11/2016   Atlanta   GA   - Drivers
698331             Overtime        6.00    28.50   04/11/2016   Atlanta   GA   - Drivers
698331             Regular        24.00    19.00   04/18/2016   Atlanta   GA   - Drivers
698331             Overtime        4.75    28.50   04/18/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.00   04/25/2016   Atlanta   GA   - Drivers
698331             Overtime        7.00    28.50   04/25/2016   Atlanta   GA   - Drivers
698331             Regular        31.75    19.00   05/02/2016   Atlanta   GA   - Drivers
698331             Overtime        2.25    28.50   05/02/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.00   05/09/2016   Atlanta   GA   - Drivers
698331   Case 2:19-cv-08580-JFW-MAA
                   Overtime       7.25 Document  38-5 FiledAtlanta
                                          28.50 05/09/2016   03/22/21    Page 73 of 691 Page ID
                                                                    GA - Drivers
698331             Regular       32.00    19.25 #:846
                                                 05/16/2016 Atlanta GA - Drivers
698331             Overtime        9.00    28.88   05/16/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   05/23/2016   Atlanta   GA   - Drivers
698331             Overtime       17.25    28.88   05/23/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.25   05/30/2016   Atlanta   GA   - Drivers
698331             Overtime        8.00    28.88   05/30/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   06/06/2016   Atlanta   GA   - Drivers
698331             Overtime       24.25    28.88   06/06/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   06/13/2016   Atlanta   GA   - Drivers
698331             Overtime       18.50    28.88   06/13/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   06/20/2016   Atlanta   GA   - Drivers
698331             Overtime        8.50    28.88   06/20/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   06/27/2016   Atlanta   GA   - Drivers
698331             Overtime        7.00    28.88   06/27/2016   Atlanta   GA   - Drivers
698331             Regular        24.00    19.25   07/04/2016   Atlanta   GA   - Drivers
698331             Overtime        4.75    28.88   07/04/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   07/11/2016   Atlanta   GA   - Drivers
698331             Overtime       14.75    28.88   07/11/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.25   07/18/2016   Atlanta   GA   - Drivers
698331             Overtime        6.00    28.88   07/18/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   07/25/2016   Atlanta   GA   - Drivers
698331             Overtime        8.50    28.88   07/25/2016   Atlanta   GA   - Drivers
698331             Regular        25.00    19.25   08/01/2016   Atlanta   GA   - Drivers
698331             Overtime        6.25    28.88   08/01/2016   Atlanta   GA   - Drivers
698331             Regular        39.25    19.25   08/08/2016   Atlanta   GA   - Drivers
698331             Overtime        8.50    28.88   08/08/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.25   08/15/2016   Atlanta   GA   - Drivers
698331             Overtime       10.25    28.88   08/15/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   08/22/2016   Atlanta   GA   - Drivers
698331             Overtime       21.25    28.88   08/22/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    19.25   08/29/2016   Atlanta   GA   - Drivers
698331             Overtime       11.50    28.88   08/29/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.25   09/05/2016   Atlanta   GA   - Drivers
698331             Overtime        9.50    28.88   09/05/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.25   09/12/2016   Atlanta   GA   - Drivers
698331             Overtime        8.75    28.88   09/12/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    19.25   09/19/2016   Atlanta   GA   - Drivers
698331             Overtime       10.50    28.88   09/19/2016   Atlanta   GA   - Drivers
698331             Regular        16.00    19.25   09/26/2016   Atlanta   GA   - Drivers
698331             Overtime        1.25    28.88   09/26/2016   Atlanta   GA   - Drivers
698331             Regular        23.00    19.25   10/03/2016   Atlanta   GA   - Drivers
698331             Overtime        5.25    28.88   10/03/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   10/10/2016   Atlanta   GA   - Drivers
698331             Overtime       17.00    30.38   10/10/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   10/17/2016   Atlanta   GA   - Drivers
698331             Overtime       16.25    30.38   10/17/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   10/24/2016   Atlanta   GA   - Drivers
698331             Overtime       13.75    30.38   10/24/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   10/31/2016   Atlanta   GA   - Drivers
698331             Overtime       12.25    30.38   10/31/2016   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   11/07/2016   Atlanta   GA   - Drivers
698331             Overtime        4.00    30.38   11/07/2016   Atlanta   GA   - Drivers
698331             Regular        16.00    20.25   11/14/2016   Atlanta   GA   - Drivers
698331             Overtime        5.00    30.38   11/14/2016   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   11/21/2016   Atlanta   GA   - Drivers
698331             Overtime       13.00    30.38   11/21/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   11/28/2016   Atlanta   GA   - Drivers
698331             Overtime       16.50    30.38   11/28/2016   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   12/05/2016   Atlanta   GA   - Drivers
698331             Overtime       15.00    30.38   12/05/2016   Atlanta   GA   - Drivers
698331             Regular        16.00    20.25   12/12/2016   Atlanta   GA   - Drivers
698331             Overtime        3.25    30.38   12/12/2016   Atlanta   GA   - Drivers
698331   Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00 Document  38-5 FiledAtlanta
                                          20.25 12/19/2016   03/22/21    Page 74 of 691 Page ID
                                                                    GA - Drivers
698331             Overtime      23.00    30.38 #:847
                                                 12/19/2016 Atlanta GA - Drivers
698331             Regular        24.00    20.25   12/26/2016   Atlanta   GA   - Drivers
698331             Overtime        8.25    30.38   12/26/2016   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   01/02/2017   Atlanta   GA   - Drivers
698331             Overtime       14.25    30.38   01/02/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   01/09/2017   Atlanta   GA   - Drivers
698331             Overtime        9.50    30.38   01/09/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   01/16/2017   Atlanta   GA   - Drivers
698331             Overtime       15.25    30.38   01/16/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   01/23/2017   Atlanta   GA   - Drivers
698331             Overtime        9.25    30.38   01/23/2017   Atlanta   GA   - Drivers
698331             Regular        30.25    20.25   01/30/2017   Atlanta   GA   - Drivers
698331             Overtime        8.00    30.38   01/30/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   02/06/2017   Atlanta   GA   - Drivers
698331             Overtime       11.00    30.38   02/06/2017   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   02/13/2017   Atlanta   GA   - Drivers
698331             Overtime        6.50    30.38   02/13/2017   Atlanta   GA   - Drivers
698331             Regular        16.00    20.25   02/20/2017   Atlanta   GA   - Drivers
698331             Overtime        1.25    30.38   02/20/2017   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   03/13/2017   Atlanta   GA   - Drivers
698331             Overtime        3.50    30.38   03/13/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   05/08/2017   Atlanta   GA   - Drivers
698331             Overtime       11.25    30.38   05/08/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   05/15/2017   Atlanta   GA   - Drivers
698331             Overtime       10.00    30.38   05/15/2017   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   05/22/2017   Atlanta   GA   - Drivers
698331             Overtime        7.50    30.38   05/22/2017   Atlanta   GA   - Drivers
698331             Regular         8.00    20.25   05/29/2017   Atlanta   GA   - Drivers
698331             Overtime        3.00    30.38   05/29/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   06/05/2017   Atlanta   GA   - Drivers
698331             Overtime       11.00    30.38   06/05/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   06/12/2017   Atlanta   GA   - Drivers
698331             Overtime       11.50    30.38   06/12/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   06/19/2017   Atlanta   GA   - Drivers
698331             Overtime       14.50    30.38   06/19/2017   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   06/26/2017   Atlanta   GA   - Drivers
698331             Overtime        8.75    30.38   06/26/2017   Atlanta   GA   - Drivers
698331             Regular        31.00    20.25   07/03/2017   Atlanta   GA   - Drivers
698331             Overtime       12.50    30.38   07/03/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   07/10/2017   Atlanta   GA   - Drivers
698331             Overtime       10.50    30.38   07/10/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   07/17/2017   Atlanta   GA   - Drivers
698331             Overtime       13.00    30.38   07/17/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   07/24/2017   Atlanta   GA   - Drivers
698331             Overtime       12.25    30.38   07/24/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   07/31/2017   Atlanta   GA   - Drivers
698331             Overtime        6.50    30.38   07/31/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   08/07/2017   Atlanta   GA   - Drivers
698331             Overtime       13.75    30.38   08/07/2017   Atlanta   GA   - Drivers
698331             Regular        16.00    20.25   08/14/2017   Atlanta   GA   - Drivers
698331             Overtime        2.25    30.38   08/14/2017   Atlanta   GA   - Drivers
698331             Regular        24.00    20.25   08/21/2017   Atlanta   GA   - Drivers
698331             Overtime        8.75    30.38   08/21/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   08/28/2017   Atlanta   GA   - Drivers
698331             Overtime       12.25    30.38   08/28/2017   Atlanta   GA   - Drivers
698331             Regular         8.00    20.25   09/04/2017   Atlanta   GA   - Drivers
698331             Overtime        3.00    30.38   09/04/2017   Atlanta   GA   - Drivers
698331             Regular        23.75    20.25   09/11/2017   Atlanta   GA   - Drivers
698331             Overtime        7.25    30.38   09/11/2017   Atlanta   GA   - Drivers
698331             Regular        40.00    20.25   09/18/2017   Atlanta   GA   - Drivers
698331             Overtime       11.00    30.38   09/18/2017   Atlanta   GA   - Drivers
698331             Regular        32.00    20.25   09/25/2017   Atlanta   GA   - Drivers
698331 Case 2:19-cv-08580-JFW-MAA
                  Overtime       9.50   Document  38-5 FiledAtlanta
                                           30.38 09/25/2017   03/22/21    Page 75 of 691 Page ID
                                                                     GA - Drivers
698331            Regular        8.00      20.25 #:848
                                                  10/02/2017 Atlanta GA - Drivers
698331            Overtime       0.50      30.38   10/02/2017   Atlanta   GA   - Drivers
698331            Regular       32.00      20.25   10/09/2017   Atlanta   GA   - Drivers
698331            Overtime      10.00      30.38   10/09/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.25   10/16/2017   Atlanta   GA   - Drivers
698331            Overtime      14.75      30.38   10/16/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.25   10/23/2017   Atlanta   GA   - Drivers
698331            Overtime      12.25      30.38   10/23/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.25   10/30/2017   Atlanta   GA   - Drivers
698331            Overtime      10.75      30.38   10/30/2017   Atlanta   GA   - Drivers
698331            Regular       24.00      20.25   11/06/2017   Atlanta   GA   - Drivers
698331            Overtime       4.75      30.38   11/06/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.25   11/13/2017   Atlanta   GA   - Drivers
698331            Overtime      12.00      30.38   11/13/2017   Atlanta   GA   - Drivers
698331            Regular       16.00      20.25   11/20/2017   Atlanta   GA   - Drivers
698331            Overtime       4.75      30.38   11/20/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.25   11/27/2017   Atlanta   GA   - Drivers
698331            Overtime       5.25      30.38   11/27/2017   Atlanta   GA   - Drivers
698331            Regular       27.75      20.00   02/27/2017   Atlanta   GA   - Drivers
698331            Overtime       2.50      30.00   02/27/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.00   03/06/2017   Atlanta   GA   - Drivers
698331            Overtime      10.50      30.00   03/06/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.00   03/20/2017   Atlanta   GA   - Drivers
698331            Overtime      21.00      30.00   03/20/2017   Atlanta   GA   - Drivers
698331            Regular       38.00      20.00   03/27/2017   Atlanta   GA   - Drivers
698331            Overtime      10.00      30.00   03/27/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.00   04/03/2017   Atlanta   GA   - Drivers
698331            Overtime      24.25      30.00   04/03/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.00   04/10/2017   Atlanta   GA   - Drivers
698331            Overtime      23.00      30.00   04/10/2017   Atlanta   GA   - Drivers
698331            Regular       16.00      20.00   04/17/2017   Atlanta   GA   - Drivers
698331            Overtime       3.75      30.00   04/17/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.00   04/24/2017   Atlanta   GA   - Drivers
698331            Overtime      27.50      30.00   04/24/2017   Atlanta   GA   - Drivers
698331            Regular       38.00      20.00   05/01/2017   Atlanta   GA   - Drivers
698331            Overtime       8.50      30.00   05/01/2017   Atlanta   GA   - Drivers
698331            Regular        8.00      19.00   03/13/2017   Atlanta   GA   - Drivers
698331            Overtime       1.25      28.50   03/13/2017   Atlanta   GA   - Drivers
698331            Regular       40.00      20.00   05/21/2018   Atlanta   GA   - Drivers
698331            Overtime       9.00      30.00   05/21/2018   Atlanta   GA   - Drivers
Total for 698331             5,439.75
2388235           Regular       60.00      22.11   02/19/2018   Sacramento      CA   - Drivers
2388235           Regular       51.50      22.11   02/26/2018   Sacramento      CA   - Drivers
2388235           Regular       59.00      22.11   03/05/2018   Sacramento      CA   - Drivers
2388235           Regular       63.00      22.11   03/12/2018   Sacramento      CA   - Drivers
2388235           Regular       52.00      22.11   03/19/2018   Sacramento      CA   - Drivers
2388235           Regular       24.00      22.11   03/26/2018   Sacramento      CA   - Drivers
2388235           Regular       48.00      22.11   04/02/2018   Sacramento      CA   - Drivers
2388235           Regular       50.00      22.11   04/09/2018   Sacramento      CA   - Drivers
2388235           Regular       48.00      22.11   04/16/2018   Sacramento      CA   - Drivers
2388235           Regular       38.00      22.11   04/23/2018   Sacramento      CA   - Drivers
2388235           Regular       50.50      22.11   04/30/2018   Sacramento      CA   - Drivers
2388235           Regular       20.25      22.11   05/07/2018   Sacramento      CA   - Drivers
Total for 2388235              564.25
1219626           Regular       40.00      19.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1219626           Overtime       1.50      28.50   11/16/2015   Los   Angeles   CA   East   - Drivers
1219626           Regular       24.00      19.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1219626           Overtime       1.00      28.50   11/16/2015   Los   Angeles   CA   East   - Drivers
1219626           Regular        8.00      19.00   11/30/2015   Los   Angeles   CA   East   - Drivers
1219626           Overtime       0.50      28.50   11/30/2015   Los   Angeles   CA   East   - Drivers
1219626           Regular       32.00      19.00   12/07/2015   Los   Angeles   CA   East   - Drivers
1219626           Overtime       3.00      28.50   12/07/2015   Los   Angeles   CA   East   - Drivers
1219626 Case 2:19-cv-08580-JFW-MAA
                  Regular       38.50   Document  38-5 FiledLos
                                           19.00 12/21/2015   03/22/21
                                                                 Angeles Page 76- Drivers
                                                                         CA East   of 691 Page ID
1219626           Overtime       3.00      28.50 #:849
                                                  12/21/2015 Los Angeles CA East - Drivers
1219626           Regular       16.00      19.00   12/28/2015   Los   Angeles   CA   East   - Drivers
1219626           Overtime       3.50      28.50   12/28/2015   Los   Angeles   CA   East   - Drivers
1219626           Regular       23.00      19.00   01/04/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       2.00      28.50   01/04/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular        8.00      19.00   01/11/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       1.50      28.50   01/11/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       24.00      19.00   01/25/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       3.50      28.50   01/25/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       29.50      19.00   02/01/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       2.00      28.50   02/01/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       39.00      19.00   02/08/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       4.50      28.50   02/08/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       24.00      19.00   02/15/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       3.50      28.50   02/15/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       16.00      19.00   02/22/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       3.00      28.50   02/22/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       30.50      19.00   02/29/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       2.50      28.50   02/29/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       24.00      19.00   03/07/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       2.00      28.50   03/07/2016   Los   Angeles   CA   East   - Drivers
1219626           Regular       38.50      19.00   03/14/2016   Los   Angeles   CA   East   - Drivers
1219626           Overtime       4.00      28.50   03/14/2016   Los   Angeles   CA   East   - Drivers
Total for 1219626              456.00
1328697           Regular       32.00      19.75   11/27/2017   Sacramento      CA   - Drivers
1328697           Overtime      11.00      29.63   11/27/2017   Sacramento      CA   - Drivers
1328697           Regular       38.80      19.75   12/04/2017   Sacramento      CA   - Drivers
1328697           Overtime       6.25      29.63   12/04/2017   Sacramento      CA   - Drivers
1328697           Regular       32.00      19.75   12/18/2017   Sacramento      CA   - Drivers
1328697           Overtime       9.00      29.63   12/18/2017   Sacramento      CA   - Drivers
1328697           Regular       24.00      19.75   12/25/2017   Sacramento      CA   - Drivers
1328697           Overtime       9.50      29.63   12/25/2017   Sacramento      CA   - Drivers
1328697           Regular       31.50      19.75   01/01/2018   Sacramento      CA   - Drivers
1328697           Overtime       4.25      29.63   01/01/2018   Sacramento      CA   - Drivers
1328697           Regular       38.00      19.75   01/08/2018   Sacramento      CA   - Drivers
1328697           Overtime       0.50      29.63   01/08/2018   Sacramento      CA   - Drivers
1328697           Regular       38.00      19.75   01/15/2018   Sacramento      CA   - Drivers
1328697           Overtime       3.25      29.63   01/15/2018   Sacramento      CA   - Drivers
1328697           Regular       35.50      19.75   01/22/2018   Sacramento      CA   - Drivers
1328697           Overtime       2.50      29.63   01/22/2018   Sacramento      CA   - Drivers
1328697           Regular       39.25      19.75   01/29/2018   Sacramento      CA   - Drivers
1328697           Overtime       5.25      29.63   01/29/2018   Sacramento      CA   - Drivers
1328697           Regular       30.50      19.75   02/05/2018   Sacramento      CA   - Drivers
1328697           Overtime       4.50      29.63   02/05/2018   Sacramento      CA   - Drivers
1328697           Regular       38.75      19.75   02/12/2018   Sacramento      CA   - Drivers
1328697           Overtime       3.75      29.63   02/12/2018   Sacramento      CA   - Drivers
1328697           Regular       39.80      19.75   02/19/2018   Sacramento      CA   - Drivers
1328697           Overtime       0.25      29.63   02/19/2018   Sacramento      CA   - Drivers
1328697           Regular       40.00      19.75   02/26/2018   Sacramento      CA   - Drivers
1328697           Overtime       6.00      29.63   02/26/2018   Sacramento      CA   - Drivers
1328697           Regular       40.00      19.75   03/05/2018   Sacramento      CA   - Drivers
1328697           Overtime       0.50      29.63   03/05/2018   Sacramento      CA   - Drivers
1328697           Regular       30.25      19.75   03/12/2018   Sacramento      CA   - Drivers
1328697           Overtime       1.50      29.63   03/12/2018   Sacramento      CA   - Drivers
1328697           Regular        8.00      23.00   08/19/2019   Sacramento      CA   - Drivers
1328697           Overtime       4.00      34.50   08/19/2019   Sacramento      CA   - Drivers
Total for 1328697              608.35
1199531           Regular       32.00      20.00   11/09/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime       7.50      30.00   11/09/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular       40.00      20.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime      11.00      30.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular       24.00      20.00   11/23/2015   Los   Angeles   CA   East   - Drivers
1199531 Case 2:19-cv-08580-JFW-MAA
                  Overtime        7.75   Document  38-5 FiledLos
                                            30.00 11/23/2015   03/22/21
                                                                  Angeles Page 77- Drivers
                                                                          CA East   of 691 Page ID
1199531           Regular        32.00      20.00 #:850
                                                   11/30/2015 Los Angeles CA East - Drivers
1199531           Overtime        7.25      30.00   11/30/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        40.00      20.00   12/07/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime        9.75      30.00   12/07/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        32.00      20.00   12/14/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime        5.00      30.00   12/14/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        15.75      19.00   12/21/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime        1.50      28.50   12/21/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        28.50      19.00   12/28/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime        8.50      28.50   12/28/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        24.00      19.00   01/04/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        5.50      28.50   01/04/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        32.00      19.00   01/11/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        6.25      28.50   01/11/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        40.00      19.00   01/18/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        4.75      28.50   01/18/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        31.50      19.00   01/25/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        2.00      28.50   01/25/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        26.00      19.00   02/01/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        1.75      28.50   02/01/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        31.75      19.00   02/08/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        3.25      28.50   02/08/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        24.00      19.00   02/15/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        3.75      28.50   02/15/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        39.00      19.00   02/22/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        4.75      28.50   02/22/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        34.75      19.00   02/29/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        8.00      28.50   02/29/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular         8.00      19.00   03/07/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        0.75      28.50   03/07/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        32.00      19.00   03/14/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        6.75      28.50   03/14/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        24.00      19.00   03/21/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        3.50      28.50   03/21/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        38.75      19.00   03/28/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        3.75      28.50   03/28/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        32.00      19.00   04/11/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        8.50      28.50   04/11/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        24.00      19.00   04/18/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        4.25      28.50   04/18/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        16.00      19.00   04/25/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        2.75      28.50   04/25/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        23.50      19.00   05/02/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        2.00      28.50   05/02/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        24.00      19.00   05/09/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        5.00      28.50   05/09/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular         8.00      19.25   05/16/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        1.25      28.88   05/16/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        24.00      19.25   05/23/2016   Los   Angeles   CA   East   - Drivers
1199531           Overtime        2.25      28.88   05/23/2016   Los   Angeles   CA   East   - Drivers
1199531           Regular        21.00      19.00   10/12/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        32.00      19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime        4.00      28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
1199531           Regular        29.50      19.00   10/26/2015   Los   Angeles   CA   East   - Drivers
1199531           Overtime        1.00      28.50   10/26/2015   Los   Angeles   CA   East   - Drivers
Total for 1199531             1,008.00
899036            Regular        16.00      20.00   06/20/2016   Los   Angeles   CA   West   - Drivers
899036            Overtime        4.25      30.00   06/20/2016   Los   Angeles   CA   West   - Drivers
899036            Regular        32.00      20.00   06/27/2016   Los   Angeles   CA   West   - Drivers
899036            Overtime        5.25      30.00   06/27/2016   Los   Angeles   CA   West   - Drivers
899036            Regular         7.00      20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
899036            Regular        24.00      20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
899036   Case 2:19-cv-08580-JFW-MAA
                   Overtime       8.75 Document  38-5 FiledLos
                                          30.00 07/11/2016   03/22/21
                                                                Angeles Page 78- of
                                                                        CA West      691 Page ID
                                                                                  Drivers
899036             Regular       32.00    20.00 #:851
                                                 07/18/2016 Los Angeles CA West - Drivers
899036             Overtime         1.75    30.00   07/18/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         31.50    20.00   07/25/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         7.25    30.00   07/25/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         31.50    20.00   08/01/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         6.00    30.00   08/01/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   08/08/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         8.25    30.00   08/08/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    20.00   08/15/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         4.75    30.00   08/15/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   08/22/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         9.50    30.00   08/22/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         40.00    20.00   08/29/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime        19.25    30.00   08/29/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   09/05/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime        11.25    30.00   09/05/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   09/12/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         4.25    30.00   09/12/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         31.50    20.00   09/19/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         6.50    30.00   09/19/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         40.00    20.00   09/26/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime        19.00    30.00   09/26/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   10/03/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime        11.25    30.00   10/03/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         40.00    20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime        15.50    30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         38.00    20.00   10/17/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         9.00    30.00   10/17/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   10/24/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime        11.50    30.00   10/24/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         23.25    20.00   10/31/2016   Los   Angeles   CA   West   - Drivers
899036             Overtime         7.50    30.00   10/31/2016   Los   Angeles   CA   West   - Drivers
899036             Regular         16.00    20.00   09/11/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime         5.00    30.00   09/11/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         40.00    20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime        11.50    30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   09/25/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime        13.25    30.00   09/25/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    20.00   10/02/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime         5.50    30.00   10/02/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   10/09/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime         8.25    30.00   10/09/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    20.00   10/16/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime         9.50    30.00   10/16/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         32.00    20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime        14.00    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime         3.25    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime        10.30    30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime        10.25    30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    19.50   12/18/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime         9.00    29.25   12/18/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         40.00    19.50   12/25/2017   Los   Angeles   CA   West   - Drivers
899036             Overtime        26.00    29.25   12/25/2017   Los   Angeles   CA   West   - Drivers
899036             Regular         22.00    19.50   01/15/2018   Los   Angeles   CA   West   - Drivers
899036             Overtime         3.00    29.25   01/15/2018   Los   Angeles   CA   West   - Drivers
899036             Regular         24.00    19.50   01/22/2018   Los   Angeles   CA   West   - Drivers
899036             Overtime         9.00    29.25   01/22/2018   Los   Angeles   CA   West   - Drivers
899036             Regular         29.50    19.50   01/29/2018   Los   Angeles   CA   West   - Drivers
899036             Overtime         7.00    29.25   01/29/2018   Los   Angeles   CA   West   - Drivers
899036 Case 2:19-cv-08580-JFW-MAA
                 Regular         8.00   Document  38-5 FiledLos
                                           19.50 02/05/2018   03/22/21
                                                                 Angeles Page 79- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
899036           Overtime        4.00      29.25 #:852
                                                  02/05/2018 Los Angeles CA West - Drivers
899036           Regular        31.00      19.50   02/12/2018   Los   Angeles   CA   West   - Drivers
899036           Overtime        3.50      29.25   02/12/2018   Los   Angeles   CA   West   - Drivers
899036           Regular        15.00      19.50   02/19/2018   Los   Angeles   CA   West   - Drivers
899036           Overtime        2.00      29.25   02/19/2018   Los   Angeles   CA   West   - Drivers
899036           Regular        16.00      19.50   02/26/2018   Los   Angeles   CA   West   - Drivers
899036           Overtime        7.50      29.25   02/26/2018   Los   Angeles   CA   West   - Drivers
899036           Regular        14.00      37.07   06/20/2016   Los   Angeles   CA   West   - Drivers
899036           Regular         8.00      22.50   01/15/2018   Los   Angeles   CA   West   - Drivers
899036           Overtime        0.50      33.75   01/15/2018   Los   Angeles   CA   West   - Drivers
899036           Regular        15.75      16.00   05/16/2016   Los   Angeles   CA   West   - Drivers
899036           Overtime        1.50      24.00   05/16/2016   Los   Angeles   CA   West   - Drivers
899036           Regular        11.50      20.50   09/11/2017   Los   Angeles   CA   West   - Drivers
Total for 899036             1,468.05
1205457          Regular         8.00      20.00   10/05/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        2.25      30.00   10/05/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   10/12/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        8.25      30.00   10/12/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   10/19/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        6.25      30.00   10/19/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   10/26/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        6.25      30.00   10/26/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        16.00      20.00   11/02/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        4.00      30.00   11/02/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   11/09/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        6.50      30.00   11/09/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   11/16/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        7.75      30.00   11/16/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        20.00      20.00   11/23/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        2.25      30.00   11/23/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        36.00      20.00   11/30/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        5.75      30.00   11/30/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        4.50      30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        4.75      30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        24.00      20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        3.25      30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        23.50      20.00   12/28/2015   Los   Angeles   CA   West   - Drivers
1205457          Overtime        1.00      30.00   12/28/2015   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        7.75      30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        6.25      30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        24.00      20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        4.75      30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        5.50      30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        16.00      20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        3.50      30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        1.50      30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        32.00      20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        3.50      30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        24.00      20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        4.25      30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        24.00      20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        4.25      30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        24.00      20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        2.50      30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1205457          Regular        22.50      20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1205457          Overtime        0.50      30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1205457 Case 2:19-cv-08580-JFW-MAA
                  Regular        24.00   Document  38-5 FiledLos
                                            20.00 03/21/2016   03/22/21
                                                                  Angeles Page 80- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1205457           Overtime        2.00      30.00 #:853
                                                   03/21/2016 Los Angeles CA West - Drivers
1205457           Regular        23.25      20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        2.75      30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        31.50      20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        0.50      30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        32.00      20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        9.25      30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        29.50      20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        4.00      30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        32.00      20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        5.75      30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        24.00      20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        4.50      30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        24.00      20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        6.00      30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        23.00      20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        1.00      30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
1205457           Regular        32.00      20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
1205457           Overtime        8.25      30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
Total for 1205457             1,072.25
738520            Regular        16.00      21.50   04/25/2016   Sacramento      CA   - Drivers
738520            Overtime        4.00      32.25   04/25/2016   Sacramento      CA   - Drivers
738520            Regular         4.00      21.50   05/02/2016   Sacramento      CA   - Drivers
738520            Regular        40.00      21.50   05/09/2016   Sacramento      CA   - Drivers
738520            Overtime       11.00      32.25   05/09/2016   Sacramento      CA   - Drivers
738520            Regular         4.00      21.50   05/16/2016   Sacramento      CA   - Drivers
Total for 738520                 79.00
2642293           Regular         8.00      22.00   11/12/2018   Sacramento      CA   - Drivers
2642293           Regular        24.00      24.00   11/19/2018   Sacramento      CA   - Drivers
2642293           Overtime       10.00      36.00   11/19/2018   Sacramento      CA   - Drivers
2642293           Regular        24.00      24.00   11/26/2018   Sacramento      CA   - Drivers
2642293           Overtime        0.50      36.00   11/26/2018   Sacramento      CA   - Drivers
Total for 2642293                66.50
2593749           Regular        32.00      20.00   11/05/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime       11.00      30.00   11/05/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        40.00      22.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime       11.00      33.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        16.00      20.75   09/03/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime        8.00      31.13   09/03/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        40.00      20.75   09/10/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime       11.75      31.13   09/10/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        11.50      20.75   09/17/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime        1.50      31.13   09/17/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        40.00      20.75   09/24/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime       18.50      31.13   09/24/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        19.00      20.75   10/01/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime        4.00      30.75   10/01/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        21.75      20.75   10/08/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime        4.00      31.13   10/08/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        13.00      20.75   10/15/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime        4.00      31.13   10/15/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        21.00      20.75   10/22/2018   Los   Angeles   CA   East   - Drivers
2593749           Overtime        5.25      31.13   10/22/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        12.50      20.75   10/29/2018   Los   Angeles   CA   East   - Drivers
2593749           Regular        13.00      20.75   01/21/2019   Los   Angeles   CA   East   - Drivers
2593749           Overtime        4.00      31.13   01/21/2019   Los   Angeles   CA   East   - Drivers
2593749           Regular         6.00      20.75   01/28/2019   Los   Angeles   CA   East   - Drivers
Total for 2593749               368.75
2252036           Regular         9.50      23.00   05/29/2017 Sacramento CA - Drivers
2252036           Overtime        1.50      34.50   05/29/2017 Sacramento CA - Drivers
Total for 2252036                11.00
861605            Regular        40.00      20.00   10/22/2018 Los Angeles CA East - Drivers
861605 Case 2:19-cv-08580-JFW-MAA
                  Regular      21.50   Document  38-5 FiledLos
                                          20.00 10/15/2018   03/22/21
                                                                Angeles Page 81- Drivers
                                                                        CA East   of 691 Page ID
861605            Overtime      4.50      30.00 #:854
                                                 10/15/2018 Los Angeles CA East - Drivers
861605            Regular      32.00      17.00   11/23/2015   Los   Angeles   CA   East   - Drivers
861605            Overtime     10.00      25.50   11/23/2015   Los   Angeles   CA   East   - Drivers
861605            Regular       5.00      17.00   11/02/2015   Los   Angeles   CA   East   - Drivers
861605            Regular       8.00      16.00   11/30/2015   Los   Angeles   CA   East   - Drivers
861605            Overtime      3.00      24.00   11/30/2015   Los   Angeles   CA   East   - Drivers
861605            Regular       8.00      16.00   12/07/2015   Los   Angeles   CA   East   - Drivers
861605            Overtime      3.00      24.00   12/07/2015   Los   Angeles   CA   East   - Drivers
Total for 861605              135.00
2552385           Regular      16.00      21.00   06/25/2018   Los   Angeles   CA   East   - Drivers
2552385           Overtime      8.00      31.50   06/25/2018   Los   Angeles   CA   East   - Drivers
2552385           Regular      24.00      21.00   07/02/2018   Los   Angeles   CA   East   - Drivers
2552385           Overtime      7.50      31.50   07/02/2018   Los   Angeles   CA   East   - Drivers
2552385           Regular      32.00      22.00   07/09/2018   Los   Angeles   CA   East   - Drivers
2552385           Overtime      7.50      33.00   07/09/2018   Los   Angeles   CA   East   - Drivers
2552385           Regular      35.00      22.00   07/16/2018   Los   Angeles   CA   East   - Drivers
2552385           Overtime      3.75      33.00   07/16/2018   Los   Angeles   CA   East   - Drivers
2552385           Regular      12.00      22.00   07/23/2018   Los   Angeles   CA   East   - Drivers
Total for 2552385             145.75
2607459           Regular       8.00      17.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2607459           Regular      32.00      17.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2607459           Overtime      5.75      25.50   09/24/2018   Los   Angeles   CA   West   - Drivers
2607459           Regular      16.00      17.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2607459           Overtime      2.00      25.50   10/01/2018   Los   Angeles   CA   West   - Drivers
2607459           Regular      16.00      17.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2607459           Overtime      4.00      25.50   10/08/2018   Los   Angeles   CA   West   - Drivers
2607459           Regular       8.00      17.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2607459           Regular       8.00      17.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2607459           Overtime      2.00      25.50   12/17/2018   Los   Angeles   CA   West   - Drivers
Total for 2607459             101.75
1249130           Regular      36.50      21.85   12/12/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular      56.25      21.85   12/19/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular      46.25      21.85   12/26/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime      7.50      32.78   12/26/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular      33.25      21.85   01/02/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      66.00      21.85   01/09/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      31.50      21.85   01/16/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      25.00      21.85   01/23/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      34.50      21.85   01/30/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      34.25      21.85   02/06/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      43.00      21.85   02/13/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      17.50      21.85   02/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      11.50      21.85   02/27/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      21.75      21.85   03/06/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      17.75      21.85   03/13/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular       5.50      21.85   03/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      12.00      21.85   03/27/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      32.50      21.85   04/03/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      56.50      21.85   04/10/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      28.50      21.85   04/17/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      49.50      21.85   04/24/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      19.50      21.85   05/01/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      65.75      21.85   05/29/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      42.50      21.85   06/05/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      53.25      21.85   06/12/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      52.50      21.85   06/19/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      51.50      21.85   06/26/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      48.50      21.85   07/10/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      33.50      21.85   07/17/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular       8.00      19.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime      0.50      28.50   01/23/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular      24.75      18.40   09/19/2016   Los   Angeles   CA   East   - Drivers
1249130 Case 2:19-cv-08580-JFW-MAA
                  Overtime        3.25   Document  38-5 FiledLos
                                            10.01 09/19/2016   03/22/21
                                                                  Angeles Page 82- Drivers
                                                                          CA East   of 691 Page ID
1249130           Regular         7.00      18.40 #:855
                                                   09/26/2016 Los Angeles CA East - Drivers
1249130           Regular        16.00      19.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime        0.50      28.50   01/30/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular        16.00      19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime        2.50      28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      19.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime        1.25      28.50   02/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular        16.00      19.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime        8.00      28.50   02/27/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular        11.00      20.75   03/06/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      20.75   03/13/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime        4.00      31.13   03/13/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular         0.75      20.75   03/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular         4.00      20.75   04/24/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular        14.25      19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        37.50      19.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        1.25      28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        31.50      19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        2.00      28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        32.50      19.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular         7.50      19.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        15.00      19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        4.00      28.50   09/26/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        11.25      19.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        2.50      28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        1.50      28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      19.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        4.00      28.50   10/17/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular         5.50      19.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        40.00      19.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime       12.50      28.50   10/31/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        40.00      19.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime       15.50      28.50   11/07/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        40.00      19.00   11/14/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime       15.50      28.50   11/14/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        30.00      19.00   11/21/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime       15.00      28.50   11/21/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        40.00      19.00   11/28/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        9.00      28.50   11/28/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular        27.00      19.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        5.50      28.50   12/05/2016   Los   Angeles   CA   East   - Drivers
1249130           Regular         6.00      16.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      16.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Overtime        0.50      24.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1249130           Regular         8.00      19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1249130           Overtime        4.00      28.50   09/26/2016   Los   Angeles   CA   East   - Drivers
Total for 1249130             1,684.25
1255883           Regular        16.25      19.00   06/27/2016   Sacramento      CA   - Drivers
1255883           Regular         6.00       6.67   07/04/2016   Sacramento      CA   - Drivers
1255883           Regular         6.00       6.67   07/11/2016   Sacramento      CA   - Drivers
1255883           Regular         6.00       6.67   07/18/2016   Sacramento      CA   - Drivers
Total for 1255883                34.25
709046            Regular        24.00      18.50   08/03/2015   Los   Angeles   CA   East   - Drivers
709046            Overtime        3.25      27.75   08/03/2015   Los   Angeles   CA   East   - Drivers
709046            Regular        36.00      18.50   08/10/2015   Los   Angeles   CA   East   - Drivers
709046            Overtime        1.75      27.75   08/10/2015   Los   Angeles   CA   East   - Drivers
709046            Regular        40.00      18.50   08/17/2015   Los   Angeles   CA   East   - Drivers
709046            Overtime        5.75      27.75   08/17/2015   Los   Angeles   CA   East   - Drivers
709046            Regular        39.25      20.00   08/24/2015   Los   Angeles   CA   East   - Drivers
709046            Overtime        8.00      30.00   08/24/2015   Los   Angeles   CA   East   - Drivers
709046 Case 2:19-cv-08580-JFW-MAA
                  Regular      40.00   Document  38-5 FiledLos
                                          20.00 08/31/2015   03/22/21
                                                                Angeles Page 83- Drivers
                                                                        CA East   of 691 Page ID
709046            Overtime     10.75      30.00 #:856
                                                 08/31/2015 Los Angeles CA East - Drivers
709046            Regular      24.00      20.00   09/07/2015   Los   Angeles   CA   East   - Drivers
709046            Overtime      5.50      30.00   09/07/2015   Los   Angeles   CA   East   - Drivers
709046            Regular       8.00      20.00   09/14/2015   Los   Angeles   CA   East   - Drivers
709046            Overtime      4.00      30.00   09/14/2015   Los   Angeles   CA   East   - Drivers
Total for 709046              250.25
1347924           Regular      32.00      21.00   06/27/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     13.50      31.50   06/27/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      21.00   07/04/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     11.50      31.50   07/04/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      29.50      21.00   07/11/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     11.25      31.50   07/11/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      30.75      21.00   07/18/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      7.00      31.50   07/18/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      37.50      21.00   07/25/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      4.50      31.50   07/25/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      40.00      21.00   08/01/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     13.00      31.50   08/01/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      22.50      21.00   08/08/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      7.00      31.50   08/08/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      21.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     10.50      31.50   08/15/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      21.00   08/22/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      9.25      31.50   08/22/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      30.00      21.00   08/29/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      8.50      31.50   08/29/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      22.50      20.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      8.00      30.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      24.00      20.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      8.50      30.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      31.00      20.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     10.25      30.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      20.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     13.25      30.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      20.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     10.00      30.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      20.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     12.00      30.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      40.00      20.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     16.75      30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      24.00      20.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      9.00      30.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      39.00      20.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     13.50      30.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      31.75      20.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      6.50      30.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      20.00   11/14/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     12.00      30.00   11/14/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      16.00      20.00   11/21/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime      6.00      30.00   11/21/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      38.00      20.00   11/28/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     13.25      30.00   11/28/2016   Los   Angeles   CA   East   - Drivers
1347924           Regular      32.00      20.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1347924           Overtime     14.00      30.00   12/05/2016   Los   Angeles   CA   East   - Drivers
Total for 1347924             993.50
1417837           Regular       7.00      20.98   11/07/2016 Sacramento CA - Drivers
1417837           Regular      29.75      20.98   11/28/2016 Sacramento CA - Drivers
Total for 1417837              36.75
2593823           Regular      24.00      21.00   09/24/2018   Los   Angeles   CA   East   - Drivers
2593823           Overtime      7.25      31.50   09/24/2018   Los   Angeles   CA   East   - Drivers
2593823           Regular      21.00      21.00   10/01/2018   Los   Angeles   CA   East   - Drivers
2593823           Overtime      8.00      31.50   10/01/2018   Los   Angeles   CA   East   - Drivers
           Case 2:19-cv-08580-JFW-MAA
Total for 2593823                  60.25   Document 38-5 Filed 03/22/21 Page 84 of 691 Page ID
1198719              Regular       30.00      14.00 #:857
                                                     09/21/2015 Los Angeles CA East - Drivers
1198719              Overtime       8.00      21.00   09/21/2015   Los   Angeles   CA   East   - Drivers
1198719              Regular       40.00      16.00   09/28/2015   Los   Angeles   CA   East   - Drivers
1198719              Overtime      18.50      24.00   09/28/2015   Los   Angeles   CA   East   - Drivers
1198719              Regular       36.00      16.00   10/05/2015   Los   Angeles   CA   East   - Drivers
1198719              Overtime       8.50      24.00   10/05/2015   Los   Angeles   CA   East   - Drivers
1198719              Regular        6.00      16.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1198719              Regular       24.00      16.00   11/02/2015   Los   Angeles   CA   East   - Drivers
1198719              Overtime       6.00      24.00   11/02/2015   Los   Angeles   CA   East   - Drivers
1198719              Regular       32.00      16.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1198719              Overtime      14.50      24.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1198719              Regular        8.00      16.00   12/07/2015   Los   Angeles   CA   East   - Drivers
Total for 1198719                 231.50
1299068              Regular       24.00      20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       4.50      30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       9.75      30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       7.50      30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       31.00      20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       5.50      30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       3.00      30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       7.25      30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       7.00      30.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       39.75      20.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       9.75      30.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       3.00      30.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       40.00      20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime      11.00      30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       39.00      20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       8.25      30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       39.00      20.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       8.75      30.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       5.00      30.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       4.25      30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       3.75      30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       4.75      30.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       40.00      20.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime      11.00      30.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.25      20.00   08/01/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       6.00      30.00   08/01/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       4.25      30.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       30.00      20.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       4.00      30.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       32.00      20.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       6.75      30.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       6.00      30.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       3.75      30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1299068              Overtime       1.50      30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
1299068              Regular       24.00      20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1299068   Case 2:19-cv-08580-JFW-MAA
                    Overtime       2.50 Document  38-5 FiledLos
                                           30.38 09/19/2016   03/22/21
                                                                 Angeles Page 85- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1299068             Regular       32.00    20.25 #:858
                                                  09/26/2016 Los Angeles CA West - Drivers
1299068             Overtime         6.00    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.50    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         8.50    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime        11.50    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.50    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.25    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.50    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.00    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.75    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.75    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.00    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.25    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         16.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.25    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.00    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.25    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1299068             Overtime         8.00    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.25    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.75    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.75    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.50    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.75    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.00    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.50    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.00    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular          8.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         1.00    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.00    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.00    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         25.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         3.00    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.50    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         0.25    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         23.50    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.50    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular          8.00    19.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         3.00    28.88   09/25/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.75    19.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.75    28.88   10/02/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         39.50    19.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.50    28.88   10/09/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    19.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.25    28.88   10/16/2017   Los   Angeles   CA   West   - Drivers
1299068   Case 2:19-cv-08580-JFW-MAA
                    Regular       40.00 Document  38-5 FiledLos
                                           19.25 10/23/2017   03/22/21
                                                                 Angeles Page 86- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1299068             Overtime       9.50    28.88 #:859
                                                  10/23/2017 Los Angeles CA West - Drivers
1299068             Regular         31.75    19.25   10/30/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.00    28.88   10/30/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    19.25   11/06/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.50    28.88   11/06/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   11/13/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.25    28.88   11/13/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   11/20/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.00    28.88   11/20/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   11/27/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.50    28.88   11/27/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    19.25   12/04/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.50    28.88   12/04/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular          8.00    19.25   12/11/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         1.00    28.88   12/11/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   12/18/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.25    28.88   12/18/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         23.00    19.25   12/25/2017   Los   Angeles   CA   West   - Drivers
1299068             Overtime         3.50    28.88   12/25/2017   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   01/01/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.00    28.88   01/01/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    19.25   01/08/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         8.00    28.88   01/08/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    19.25   01/15/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         1.75    28.88   01/15/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   01/22/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         3.75    28.88   01/22/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular          8.00    19.25   01/29/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.00    28.88   01/29/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         25.50    19.25   02/05/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.50    28.88   02/05/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular          8.00    19.25   02/12/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular          8.00    19.25   02/19/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         0.50    28.88   02/19/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         16.00    19.25   02/26/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         3.00    28.88   02/26/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   03/05/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        10.50    28.88   03/05/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         16.00    19.25   03/19/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.50    28.88   03/19/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         20.00    19.25   03/26/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         39.00    19.25   04/02/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.75    28.88   04/02/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular          9.00    19.25   04/02/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.75    28.88   04/02/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    19.25   04/16/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.50    28.88   04/16/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         8.00    31.50   08/27/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    21.50   09/03/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        10.25    32.25   09/03/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   09/10/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.00    32.25   09/10/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         39.00    21.50   09/17/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         8.50    32.25   09/17/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         36.75    21.50   09/24/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.25    32.25   09/24/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         28.00    21.50   10/01/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.75    32.25   10/01/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         39.75    21.50   10/08/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.50    32.25   10/08/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   10/15/2018   Los   Angeles   CA   West   - Drivers
1299068   Case 2:19-cv-08580-JFW-MAA
                    Overtime      10.50 Document  38-5 FiledLos
                                           32.25 10/15/2018   03/22/21
                                                                 Angeles Page 87- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1299068             Regular       29.50    21.50 #:860
                                                  10/22/2018 Los Angeles CA West - Drivers
1299068             Overtime         7.00    32.25   10/22/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    21.50   10/29/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.25    32.25   10/29/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    21.50   11/05/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        13.00    32.25   11/05/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   11/12/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        13.75    32.25   11/12/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         24.00    21.50   11/19/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.50    32.25   11/19/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   11/26/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        11.50    32.25   11/26/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         16.00    21.50   12/03/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.25    32.25   12/03/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   12/10/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        15.50    32.25   12/10/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.00    21.50   12/17/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime        10.75    32.25   12/17/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         15.75    21.50   12/24/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.50    32.25   12/24/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    21.50   12/31/2018   Los   Angeles   CA   West   - Drivers
1299068             Overtime         8.00    32.25   12/31/2018   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    21.50   01/07/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         7.75    32.25   01/07/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   01/14/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime        17.50    32.25   01/14/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.50    21.50   01/21/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.50    32.25   01/21/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         40.00    21.50   01/28/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime        18.00    32.25   01/28/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         32.00    21.50   02/04/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         6.75    32.25   02/04/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         39.00    21.50   02/11/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.25    32.25   02/11/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         39.75    21.50   02/18/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.25    32.25   02/18/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.50    21.50   02/25/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.25    32.25   02/25/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         29.50    21.50   03/04/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         5.00    32.25   03/04/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         21.25    21.50   03/11/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         4.00    32.25   03/11/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         16.00    21.50   03/18/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         0.75    32.25   03/18/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         28.75    21.50   03/25/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         0.50    32.25   03/25/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.50    21.50   04/01/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         1.50    32.25   04/01/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.50    21.50   04/08/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         3.75    32.25   04/08/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.00    21.50   04/15/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.25    32.25   04/15/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.50    21.50   04/22/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         1.00    32.25   04/22/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         29.50    21.50   04/29/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         0.50    32.25   04/29/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         30.00    21.50   05/06/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         1.25    32.25   05/06/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         10.00    21.50   05/13/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         38.50    21.50   05/20/2019   Los   Angeles   CA   West   - Drivers
1299068             Overtime         2.75    32.25   05/20/2019   Los   Angeles   CA   West   - Drivers
1299068             Regular         31.50    21.50   05/27/2019   Los   Angeles   CA   West   - Drivers
1299068 Case 2:19-cv-08580-JFW-MAA
                  Overtime        1.00   Document  38-5 FiledLos
                                            32.25 05/27/2019   03/22/21
                                                                  Angeles Page 88- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1299068           Regular        37.75      21.50 #:861
                                                   06/03/2019 Los Angeles CA West - Drivers
1299068           Overtime        1.25      32.25   06/03/2019   Los   Angeles   CA   West   - Drivers
1299068           Regular        16.00      21.50   06/10/2019   Los   Angeles   CA   West   - Drivers
1299068           Regular        32.00      21.50   07/15/2019   Los   Angeles   CA   West   - Drivers
1299068           Overtime       24.75      32.25   07/15/2019   Los   Angeles   CA   West   - Drivers
1299068           Regular        16.00      21.50   07/22/2019   Los   Angeles   CA   West   - Drivers
1299068           Overtime       12.00      32.25   07/22/2019   Los   Angeles   CA   West   - Drivers
1299068           Regular        10.50      21.50   08/05/2019   Los   Angeles   CA   West   - Drivers
1299068           Regular        32.00      22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
1299068           Overtime       21.00      33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
1299068           Regular        32.00      22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1299068           Overtime       20.50      33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
Total for 1299068             4,411.50
2171315           Regular        16.00      19.00   01/16/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        1.50      28.50   01/16/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        32.00      19.00   01/23/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        5.50      28.50   01/23/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        24.00      19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        5.75      28.50   01/30/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        24.00      19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        3.00      28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular         8.00      19.00   04/24/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        43.75      19.00   05/15/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        41.25      19.00   05/22/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        3.75      28.50   05/22/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        27.00      19.00   05/29/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime       10.75      28.50   05/29/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        41.50      19.00   06/05/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        38.00      19.00   06/12/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        29.00      19.00   06/19/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        37.75      19.00   06/26/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        28.75      19.00   07/03/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        6.75      28.50   07/03/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        38.50      19.00   07/10/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        2.00      28.50   07/10/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        38.50      19.00   07/17/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        47.00      19.00   07/24/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        38.25      19.00   07/31/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        19.00      19.00   08/07/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        40.00      19.00   08/14/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        44.00      19.00   08/21/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        44.25      19.00   08/28/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        1.00      28.50   08/28/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        35.50      19.00   09/04/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        36.25      19.00   09/11/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        41.00      19.00   09/18/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        26.00      19.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        1.00      28.50   09/25/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        44.25      19.00   10/02/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        1.50      28.50   10/02/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        41.50      19.00   10/09/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        41.75      19.00   10/16/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        41.75      19.00   10/23/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        42.50      19.00   10/30/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        0.25      28.50   10/30/2017   Los   Angeles   CA   East   - Drivers
2171315           Regular        46.50      19.00   11/06/2017   Los   Angeles   CA   East   - Drivers
2171315           Overtime        1.50      28.50   11/06/2017   Los   Angeles   CA   East   - Drivers
Total for 2171315             1,141.75
894721            Regular         8.00      16.00   08/10/2015 Los Angeles CA East - Drivers
894721            Overtime        3.00      24.00   08/10/2015 Los Angeles CA East - Drivers
Total for 894721                 11.00
2597024           Regular         8.00      19.50   09/17/2018 Los Angeles CA East - Drivers
2597024 Case 2:19-cv-08580-JFW-MAA
                  Overtime       4.00   Document  38-5 FiledLos
                                           29.25 09/17/2018  03/22/21
                                                                Angeles Page 89- Drivers
                                                                        CA East  of 691 Page ID
Total for 2597024               12.00            #:862
1332849           Regular        8.00      15.00   06/13/2016   Los   Angeles   CA   East   - Drivers
1332849           Regular        8.00      19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1332849           Overtime       4.00      28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
1332849           Regular        8.00      19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1332849           Overtime       1.50      28.50   09/26/2016   Los   Angeles   CA   East   - Drivers
1332849           Regular       40.00      19.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1332849           Overtime       7.00      28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
1332849           Regular        7.25      18.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1332849           Regular        8.00      18.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1332849           Overtime       0.50      27.00   09/26/2016   Los   Angeles   CA   East   - Drivers
Total for 1332849               92.25
2455866           Regular       16.00      20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2455866           Overtime       0.50      30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular        8.00      20.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2455866           Overtime       1.00      30.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular       26.00      26.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular        8.00      26.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular       16.00      21.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2455866           Overtime       7.75      31.50   12/10/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular       24.00      20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2455866           Overtime       1.50      30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular        8.00      20.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2455866           Overtime       1.00      30.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular        8.00      20.92   04/23/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular        8.00      20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular       16.00      20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2455866           Overtime       2.00      30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2455866           Regular        7.50      20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
Total for 2455866              159.25
868025            Regular        8.00      18.00   03/14/2016 Los Angeles CA East - Drivers
868025            Overtime       3.75      27.00   03/14/2016 Los Angeles CA East - Drivers
Total for 868025                11.75
2781921           Regular       40.00      22.00   06/17/2019   Sacramento      CA   - Drivers
2781921           Overtime      15.00      33.00   06/17/2019   Sacramento      CA   - Drivers
2781921           Regular       40.00      22.00   06/24/2019   Sacramento      CA   - Drivers
2781921           Overtime      18.00      33.00   06/24/2019   Sacramento      CA   - Drivers
2781921           Regular       24.00      22.00   07/01/2019   Sacramento      CA   - Drivers
2781921           Overtime      12.00      33.00   07/01/2019   Sacramento      CA   - Drivers
2781921           Regular       40.00      22.00   07/08/2019   Sacramento      CA   - Drivers
2781921           Overtime      19.00      33.00   07/08/2019   Sacramento      CA   - Drivers
2781921           Regular       40.00      22.00   07/15/2019   Sacramento      CA   - Drivers
2781921           Overtime      19.00      33.00   07/15/2019   Sacramento      CA   - Drivers
Total for 2781921              267.00
2610179           Regular       21.50      21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
2610179           Regular       20.52      21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
2610179           Regular        4.00      20.00   10/15/2018   Los   Angeles   CA   East   - Drivers
2610179           Regular        8.00      20.75   10/01/2018   Los   Angeles   CA   East   - Drivers
2610179           Overtime       4.00      31.13   10/01/2018   Los   Angeles   CA   East   - Drivers
2610179           Regular       14.00      20.75   10/08/2018   Los   Angeles   CA   East   - Drivers
2610179           Overtime       2.50      31.13   10/08/2018   Los   Angeles   CA   East   - Drivers
2610179           Regular       16.00      20.75   10/22/2018   Los   Angeles   CA   East   - Drivers
2610179           Overtime       6.00      31.13   10/22/2018   Los   Angeles   CA   East   - Drivers
Total for 2610179               96.52
2529264           Regular        8.00      20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2529264           Overtime       3.00      30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular       24.00      21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2529264           Overtime      12.00      31.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular       24.00      21.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2529264           Overtime      12.00      31.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular       24.00      21.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2529264           Overtime      12.00      31.50   06/25/2018   Los   Angeles   CA   West   - Drivers
2529264 Case 2:19-cv-08580-JFW-MAA
                  Regular         8.00   Document  38-5 FiledLos
                                            19.50 05/28/2018   03/22/21
                                                                  Angeles Page 90- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
2529264           Overtime        2.00      29.25 #:863
                                                   05/28/2018 Los Angeles CA West - Drivers
2529264           Regular        12.00      19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2529264           Overtime        4.00      29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        36.00      21.85   07/23/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.00      21.85   07/30/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        33.25      21.85   08/06/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        15.25      21.85   08/13/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.50      21.85   08/20/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.75      21.85   08/27/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        41.80      21.85   09/03/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        42.25      21.85   09/10/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        34.50      21.85   09/17/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        49.59      21.85   09/24/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        34.75      21.85   10/01/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        38.50      21.85   10/08/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        30.00      21.85   10/15/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        31.50      21.85   10/22/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.40      21.85   10/29/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        31.25      21.85   11/05/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.25      21.85   11/12/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        31.58      21.85   11/19/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        29.75      21.85   11/26/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        16.34      21.85   12/03/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        31.63      21.85   12/10/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        30.62      21.85   12/17/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.75      21.85   12/24/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        17.54      21.85   12/31/2018   Los   Angeles   CA   West   - Drivers
2529264           Regular        33.00      21.85   01/21/2019   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.75      21.85   01/28/2019   Los   Angeles   CA   West   - Drivers
2529264           Regular        32.01      21.85   02/04/2019   Los   Angeles   CA   West   - Drivers
2529264           Regular        35.66      21.85   02/11/2019   Los   Angeles   CA   West   - Drivers
Total for 2529264             1,049.17
918610            Regular         7.00      20.00   06/06/2016 Sacramento CA - Drivers
Total for 918610                  7.00
1169308           Regular        21.25      19.00   08/03/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        23.75      19.00   08/10/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        45.95      19.00   08/17/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        37.25      19.00   08/24/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        36.00      19.00   08/31/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        32.50      19.00   09/07/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        39.00      19.00   09/14/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        86.75      19.00   09/21/2015   Los   Angeles   CA   West   - Drivers
1169308           Overtime        0.75      28.50   09/21/2015   Los   Angeles   CA   West   - Drivers
1169308           Regular        24.25      19.00   09/28/2015   Los   Angeles   CA   West   - Drivers
Total for 1169308               347.45
1384609           Regular        32.00      15.00   08/29/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular        16.00      15.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular         8.00      20.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1384609           Overtime        3.50      30.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular        28.00      20.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1384609           Overtime        8.50      30.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular         8.00      20.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1384609           Overtime        3.50      30.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular         8.00      17.00   08/22/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular         8.00      17.00   08/29/2016   Los   Angeles   CA   East   - Drivers
1384609           Regular         8.00      17.00   09/05/2016   Los   Angeles   CA   East   - Drivers
Total for 1384609               131.50
1222649           Regular        32.00      19.00   11/16/2015   Los   Angeles   CA   West   - Drivers
1222649           Overtime        6.00      28.50   11/16/2015   Los   Angeles   CA   West   - Drivers
1222649           Regular        48.00      19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
1222649           Overtime        8.25      28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
1222649           Regular        30.75      19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1222649 Case 2:19-cv-08580-JFW-MAA
                  Overtime       3.50   Document  38-5 FiledLos
                                           28.50 12/07/2015   03/22/21
                                                                 Angeles Page 91- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
1222649           Regular       16.00      19.00 #:864
                                                  12/21/2015 Los Angeles CA West - Drivers
1222649           Overtime       2.00      28.50   12/21/2015   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.00      28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.00      28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.50      28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.50      28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       38.00      19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       4.00      28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       30.00      19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.00      28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       4.00      28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.00      28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular        8.00      19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       1.00      28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       4.00      28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.50      28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       6.00      28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       5.00      28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       35.00      19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.50      28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       16.00      19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       2.50      28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       6.00      28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       5.50      28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       4.50      28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       6.00      28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       4.00      28.50   05/16/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       29.00      19.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.00      28.50   05/23/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       16.00      19.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       4.00      28.50   05/30/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       5.00      28.50   06/06/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       32.00      19.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       5.50      28.50   06/13/2016   Los   Angeles   CA   West   - Drivers
1222649           Regular       24.00      19.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1222649           Overtime       3.50      28.50   06/20/2016   Los   Angeles   CA   West   - Drivers
Total for 1222649              954.00
2655383           Regular       40.00      21.00   12/03/2018   Sacramento      CA   - Drivers
2655383           Overtime      13.25      31.50   12/03/2018   Sacramento      CA   - Drivers
2655383           Regular       40.00      21.00   12/10/2018   Sacramento      CA   - Drivers
2655383           Overtime      16.50      31.50   12/10/2018   Sacramento      CA   - Drivers
2655383           Regular       40.00      21.00   12/17/2018   Sacramento      CA   - Drivers
2655383           Overtime      12.25      31.50   12/17/2018   Sacramento      CA   - Drivers
2655383           Regular       24.00      21.00   12/24/2018   Sacramento      CA   - Drivers
2655383           Overtime       1.75      31.50   12/24/2018   Sacramento      CA   - Drivers
2655383 Case 2:19-cv-08580-JFW-MAA
                  Regular       32.00   Document  38-5 FiledSacramento
                                           21.00 12/31/2018   03/22/21 CA
                                                                        Page   92 of 691 Page ID
                                                                           - Drivers
2655383           Overtime       5.50      31.50 #:865
                                                  12/31/2018 Sacramento CA - Drivers
2655383           Regular       40.00      21.00   01/07/2019   Sacramento      CA   - Drivers
2655383           Overtime      10.00      31.50   01/07/2019   Sacramento      CA   - Drivers
2655383           Regular       40.00      21.00   01/14/2019   Sacramento      CA   - Drivers
2655383           Overtime       9.00      31.50   01/14/2019   Sacramento      CA   - Drivers
2655383           Regular       40.00      21.00   01/21/2019   Sacramento      CA   - Drivers
2655383           Overtime      13.50      31.50   01/21/2019   Sacramento      CA   - Drivers
2655383           Regular       40.00      21.00   01/28/2019   Sacramento      CA   - Drivers
2655383           Overtime       6.25      31.50   01/28/2019   Sacramento      CA   - Drivers
Total for 2655383              424.00
1353699           Regular       16.00      20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       4.50      30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       6.00      30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       39.50      20.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       7.75      30.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      13.00      30.00   07/25/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       33.00      20.00   08/01/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      10.25      30.00   08/01/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       7.75      30.00   08/08/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      11.25      30.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      14.75      30.00   08/22/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      10.25      30.00   08/29/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       6.25      30.00   09/05/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   09/12/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       5.75      30.00   09/12/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       8.00      30.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       24.00      20.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       4.75      30.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       8.50      30.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      10.50      30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      11.00      30.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       9.25      30.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      16.25      30.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      13.25      30.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      15.25      30.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       8.75      30.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      23.00      30.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       40.00      20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      27.75      30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime      21.75      30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       31.50      20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1353699           Overtime       6.50      30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1353699           Regular       32.00      20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime      10.75      30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1353699 Case 2:19-cv-08580-JFW-MAA
                  Regular        32.00   Document  38-5 FiledLos
                                            20.25 01/09/2017   03/22/21
                                                                  Angeles Page 93- of
                                                                          CA West      691 Page ID
                                                                                    Drivers
1353699           Overtime       11.75      30.38 #:866
                                                   01/09/2017 Los Angeles CA West - Drivers
1353699           Regular        40.00      20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime        8.75      30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1353699           Regular        32.00      20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime       11.00      30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1353699           Regular        32.75      20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime       12.25      30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1353699           Regular        32.00      20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime        9.75      30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1353699           Regular        32.00      20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime        8.75      30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1353699           Regular         8.00      20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime        1.75      30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1353699           Regular        16.00      20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1353699           Overtime        2.50      30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
Total for 1353699             1,456.00
2282602           Regular        11.25      19.50   07/03/2017   Sacramento      CA   - Drivers
2282602           Overtime        9.75      29.25   07/03/2017   Sacramento      CA   - Drivers
2282602           Regular         8.00      19.00   07/10/2017   Sacramento      CA   - Drivers
2282602           Overtime        1.00      28.50   07/10/2017   Sacramento      CA   - Drivers
2282602           Regular        32.00      19.00   07/17/2017   Sacramento      CA   - Drivers
2282602           Overtime       10.00      28.50   07/17/2017   Sacramento      CA   - Drivers
2282602           Regular         6.50      19.00   07/24/2017   Sacramento      CA   - Drivers
Total for 2282602                78.50
1368528           Regular         8.00      19.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        2.25      28.50   09/05/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        24.00      21.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        7.00      31.50   08/15/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        28.00      20.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        2.00      30.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        39.00      20.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        5.25      30.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        40.00      20.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime       20.50      30.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        40.00      20.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        3.75      30.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        40.00      20.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        0.25      30.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        40.00      20.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        1.75      30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        32.00      20.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime       12.50      30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        40.00      20.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime       14.50      30.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1368528           Regular        32.00      20.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1368528           Overtime        9.25      30.00   11/07/2016   Los   Angeles   CA   East   - Drivers
Total for 1368528               442.00
966166            Regular         4.50      17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        23.00      17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
966166            Overtime        2.00      25.50   08/03/2015   Los   Angeles   CA   East   - Drivers
966166            Regular         8.00      17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        23.50      17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
966166            Overtime        8.00      25.50   08/17/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        32.00      17.00   08/24/2015   Los   Angeles   CA   East   - Drivers
966166            Overtime        1.25      25.50   08/24/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        40.00      17.00   09/07/2015   Los   Angeles   CA   East   - Drivers
966166            Overtime        2.00      25.50   09/07/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        24.00      17.00   08/31/2015   Los   Angeles   CA   East   - Drivers
966166            Overtime        4.25      25.50   08/31/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        56.00      17.00   09/21/2015   Los   Angeles   CA   East   - Drivers
966166            Overtime        5.50      25.50   09/21/2015   Los   Angeles   CA   East   - Drivers
966166            Regular        40.00      17.00   09/28/2015   Los   Angeles   CA   East   - Drivers
966166 Case 2:19-cv-08580-JFW-MAA
                 Overtime         8.50   Document  38-5 FiledLos
                                            25.50 09/28/2015   03/22/21
                                                                  Angeles Page 94- Drivers
                                                                          CA East   of 691 Page ID
966166           Regular        23.75       17.00 #:867
                                                   10/05/2015 Los Angeles CA East - Drivers
966166           Overtime         1.75      25.50   10/05/2015   Los   Angeles   CA   East   - Drivers
966166           Regular        39.50       17.00   10/12/2015   Los   Angeles   CA   East   - Drivers
966166           Overtime         2.25      25.50   10/12/2015   Los   Angeles   CA   East   - Drivers
966166           Regular       -16.00       16.00   07/06/2015   Los   Angeles   CA   East   - Drivers
966166           Overtime        -3.00      24.00   07/06/2015   Los   Angeles   CA   East   - Drivers
Total for 966166              330.75
949366           Regular        32.00       15.00   05/09/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        40.00       15.00   05/16/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        39.50       15.00   05/23/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        32.00       15.00   05/30/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        40.00       15.00   06/06/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        40.00       15.00   06/13/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        40.00       15.00   06/20/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        32.00       15.00   06/27/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        32.00       15.00   07/04/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         8.00      22.50   07/04/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        40.00       15.00   07/11/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        24.00       15.00   07/18/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        40.00       15.00   07/25/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         2.00      22.50   07/25/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       19.00   02/08/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         7.00      28.50   02/08/2016   Los   Angeles   CA   East   - Drivers
949366           Regular          8.00      21.00   02/15/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         4.00      31.50   02/15/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        24.00       19.00   02/22/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         9.50      28.50   02/22/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       19.00   02/29/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         8.00      28.50   02/29/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       19.00   03/07/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         7.00      28.50   03/07/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       19.00   03/14/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         6.25      28.50   03/14/2016   Los   Angeles   CA   East   - Drivers
949366           Regular          8.00      21.00   03/21/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         4.00      31.50   03/21/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        24.00       21.00   03/28/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime       11.25       31.50   03/28/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       19.00   04/04/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         7.25      28.50   04/04/2016   Los   Angeles   CA   East   - Drivers
949366           Regular          8.00      21.00   04/11/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         2.50      31.50   04/11/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       19.00   04/18/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         6.00      28.50   04/18/2016   Los   Angeles   CA   East   - Drivers
949366           Regular          8.00      21.00   08/01/2016   Los   Angeles   CA   East   - Drivers
949366           Overtime         0.50      31.50   08/01/2016   Los   Angeles   CA   East   - Drivers
949366           Regular        16.00       17.00   08/01/2016   Los   Angeles   CA   East   - Drivers
949366           Regular          2.00      19.00   08/08/2016   Los   Angeles   CA   East   - Drivers
Total for 949366              708.75
741597           Regular        32.00       19.00   07/18/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         2.00      28.50   07/18/2016   Los   Angeles   CA   East   - Drivers
741597           Regular        38.50       19.00   07/25/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         2.00      28.50   07/25/2016   Los   Angeles   CA   East   - Drivers
741597           Regular        40.00       19.00   08/01/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         2.50      28.50   08/01/2016   Los   Angeles   CA   East   - Drivers
741597           Regular        40.00       19.00   08/08/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         4.50      28.50   08/08/2016   Los   Angeles   CA   East   - Drivers
741597           Regular        40.00       19.00   08/15/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         4.00      28.50   08/15/2016   Los   Angeles   CA   East   - Drivers
741597           Regular        32.00       19.00   08/22/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         2.50      28.50   08/22/2016   Los   Angeles   CA   East   - Drivers
741597           Regular        32.00       19.00   08/29/2016   Los   Angeles   CA   East   - Drivers
741597           Overtime         3.00      28.50   08/29/2016   Los   Angeles   CA   East   - Drivers
741597 Case 2:19-cv-08580-JFW-MAA
                  Regular      24.00   Document  38-5 FiledLos
                                          19.00 09/05/2016   03/22/21
                                                                Angeles Page 95- Drivers
                                                                        CA East   of 691 Page ID
741597            Overtime      1.50      28.50 #:868
                                                 09/05/2016 Los Angeles CA East - Drivers
741597            Regular      40.00      19.00   09/12/2016   Los   Angeles   CA   East   - Drivers
741597            Overtime      5.00      28.50   09/12/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      40.00      19.00   09/19/2016   Los   Angeles   CA   East   - Drivers
741597            Overtime      5.50      28.50   09/19/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      32.00      19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
741597            Overtime      4.00      28.50   09/26/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      32.00      19.00   10/03/2016   Los   Angeles   CA   East   - Drivers
741597            Overtime      2.50      28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      40.00      19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
741597            Overtime      1.50      28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      40.00      19.00   10/17/2016   Los   Angeles   CA   East   - Drivers
741597            Overtime      0.50      28.50   10/17/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      40.00      19.00   10/24/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      40.00      19.00   10/31/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      32.00      19.00   11/07/2016   Los   Angeles   CA   East   - Drivers
741597            Regular      32.00      19.00   11/14/2016   Los   Angeles   CA   East   - Drivers
Total for 741597              687.50
1370260           Regular      16.00      20.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      2.50      30.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      22.50      19.00   08/22/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      39.75      19.00   08/29/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      4.00      28.50   08/29/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      23.00      19.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      2.00      28.50   09/05/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      39.75      19.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      4.25      28.50   09/12/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      39.75      19.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      3.25      28.50   09/19/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      39.50      19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      9.00      28.50   09/26/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      39.75      19.00   10/03/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      7.50      28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      38.25      19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      4.50      28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      31.50      19.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      6.50      28.50   10/17/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      37.50      19.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      7.25      28.50   10/24/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular      15.50      19.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1370260           Overtime      3.50      28.50   10/31/2016   Los   Angeles   CA   East   - Drivers
1370260           Regular       8.00      18.00   08/15/2016   Los   Angeles   CA   East   - Drivers
Total for 1370260             445.00
2444687           Regular      32.00      19.75   01/01/2018   Sacramento      CA   - Drivers
2444687           Overtime      7.25      29.63   01/01/2018   Sacramento      CA   - Drivers
2444687           Regular      23.25      19.75   01/08/2018   Sacramento      CA   - Drivers
2444687           Overtime      2.75      29.63   01/08/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   02/19/2018   Sacramento      CA   - Drivers
2444687           Overtime      9.50      29.63   02/19/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   02/26/2018   Sacramento      CA   - Drivers
2444687           Overtime     12.80      29.63   02/26/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   03/05/2018   Sacramento      CA   - Drivers
2444687           Overtime      9.25      29.63   03/05/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   03/12/2018   Sacramento      CA   - Drivers
2444687           Overtime     11.25      29.63   03/12/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   03/19/2018   Sacramento      CA   - Drivers
2444687           Overtime     11.30      29.63   03/19/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   03/26/2018   Sacramento      CA   - Drivers
2444687           Overtime     11.50      29.63   03/26/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      19.75   04/02/2018   Sacramento      CA   - Drivers
2444687           Overtime     11.50      29.63   04/02/2018   Sacramento      CA   - Drivers
2444687           Regular      40.00      21.00   04/09/2018   Sacramento      CA   - Drivers
2444687 Case 2:19-cv-08580-JFW-MAA
                  Overtime       11.50   Document  38-5 FiledSacramento
                                            31.50 04/09/2018   03/22/21 CA
                                                                         Page   96 of 691 Page ID
                                                                            - Drivers
2444687           Regular        40.00      21.00 #:869
                                                   04/16/2018 Sacramento CA - Drivers
2444687           Overtime        8.50      31.50   04/16/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   04/23/2018   Sacramento   CA   - Drivers
2444687           Overtime       10.25      31.50   04/23/2018   Sacramento   CA   - Drivers
2444687           Regular        36.00      21.00   04/30/2018   Sacramento   CA   - Drivers
2444687           Overtime        8.75      31.50   04/30/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   05/07/2018   Sacramento   CA   - Drivers
2444687           Overtime       10.00      31.50   05/07/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   05/14/2018   Sacramento   CA   - Drivers
2444687           Overtime       10.00      31.50   05/14/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   05/21/2018   Sacramento   CA   - Drivers
2444687           Overtime       11.50      31.50   05/21/2018   Sacramento   CA   - Drivers
2444687           Regular        32.00      21.00   05/28/2018   Sacramento   CA   - Drivers
2444687           Overtime        8.00      31.50   05/28/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   06/04/2018   Sacramento   CA   - Drivers
2444687           Overtime       13.00      31.50   06/04/2018   Sacramento   CA   - Drivers
2444687           Regular        38.00      21.00   06/11/2018   Sacramento   CA   - Drivers
2444687           Overtime        4.25      31.50   06/11/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   06/18/2018   Sacramento   CA   - Drivers
2444687           Overtime       11.30      31.50   06/18/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   06/25/2018   Sacramento   CA   - Drivers
2444687           Overtime        9.50      31.50   06/25/2018   Sacramento   CA   - Drivers
2444687           Regular        32.00      21.00   07/02/2018   Sacramento   CA   - Drivers
2444687           Overtime       12.00      31.50   07/02/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   07/09/2018   Sacramento   CA   - Drivers
2444687           Overtime       11.30      31.50   07/09/2018   Sacramento   CA   - Drivers
2444687           Regular        36.00      21.00   07/16/2018   Sacramento   CA   - Drivers
2444687           Overtime       12.00      31.50   07/16/2018   Sacramento   CA   - Drivers
2444687           Regular        32.00      21.00   07/23/2018   Sacramento   CA   - Drivers
2444687           Overtime        9.50      31.50   07/23/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   07/30/2018   Sacramento   CA   - Drivers
2444687           Overtime       10.50      31.50   07/30/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   08/06/2018   Sacramento   CA   - Drivers
2444687           Overtime       13.50      31.50   08/06/2018   Sacramento   CA   - Drivers
2444687           Regular        32.00      21.00   08/13/2018   Sacramento   CA   - Drivers
2444687           Overtime       10.25      31.50   08/13/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   08/20/2018   Sacramento   CA   - Drivers
2444687           Overtime       13.00      31.50   08/20/2018   Sacramento   CA   - Drivers
2444687           Regular        32.00      21.00   08/27/2018   Sacramento   CA   - Drivers
2444687           Overtime        8.50      31.50   08/27/2018   Sacramento   CA   - Drivers
2444687           Regular        24.00      21.00   09/03/2018   Sacramento   CA   - Drivers
2444687           Overtime        9.00      31.50   09/03/2018   Sacramento   CA   - Drivers
2444687           Regular        40.00      21.00   09/10/2018   Sacramento   CA   - Drivers
2444687           Overtime       13.75      31.50   09/10/2018   Sacramento   CA   - Drivers
2444687           Regular        16.00      21.00   09/17/2018   Sacramento   CA   - Drivers
2444687           Overtime        4.00      31.50   09/17/2018   Sacramento   CA   - Drivers
Total for 2444687             1,536.20
2423318           Regular        44.50      21.21   11/27/2017   Sacramento   CA   - Drivers
2423318           Regular        43.50      21.21   12/04/2017   Sacramento   CA   - Drivers
2423318           Regular        28.50      20.98   12/04/2017   Sacramento   CA   - Drivers
2423318           Regular        30.50      21.21   12/18/2017   Sacramento   CA   - Drivers
2423318           Regular        38.25      21.21   12/25/2017   Sacramento   CA   - Drivers
2423318           Overtime       10.25      31.82   12/25/2017   Sacramento   CA   - Drivers
2423318           Regular        20.25      21.21   01/01/2018   Sacramento   CA   - Drivers
2423318           Regular        38.50      21.21   01/08/2018   Sacramento   CA   - Drivers
Total for 2423318               254.25
1293897           Regular         8.00      20.00   04/18/2016   Sacramento   CA   - Drivers
1293897           Regular         7.50      21.00   03/28/2016   Sacramento   CA   - Drivers
1293897           Regular        15.50      21.00   04/04/2016   Sacramento   CA   - Drivers
1293897           Regular         6.00      21.00   04/11/2016   Sacramento   CA   - Drivers
1293897           Regular         7.00      21.00   04/18/2016   Sacramento   CA   - Drivers
1293897           Regular         8.00      21.00   04/25/2016   Sacramento   CA   - Drivers
1293897 Case 2:19-cv-08580-JFW-MAA
                  Regular       32.00   Document  38-5 FiledSacramento
                                           23.00 08/19/2019   03/22/21 CA
                                                                        Page   97 of 691 Page ID
                                                                           - Drivers
1293897           Regular       24.00      23.00 #:870
                                                  08/26/2019 Sacramento CA - Drivers
1293897           Regular       32.00      23.00   09/02/2019 Sacramento CA - Drivers
Total for 1293897              140.00
713426            Regular       16.00      20.00   11/28/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       0.75      30.00   11/28/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       23.00      20.00   12/05/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       3.75      30.00   12/05/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   12/12/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.25      30.00   12/12/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       31.25      20.00   12/19/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.25      30.00   12/19/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   12/26/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       5.50      30.00   12/26/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   01/02/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       9.75      30.00   01/02/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   01/09/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       8.75      30.00   01/09/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       32.00      20.00   01/16/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       7.25      30.00   01/16/2017   Los   Angeles   CA   West   - Drivers
713426            Regular        7.00      20.00   01/23/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       3.25      30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       32.00      20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       5.75      30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   02/13/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       4.50      30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       7.25      30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       32.00      20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.00      30.00   03/06/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   03/13/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       6.25      30.00   03/13/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.50      30.00   03/20/2017   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      20.00   03/27/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.25      30.00   03/27/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   04/10/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.75      30.00   04/10/2017   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.75      30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       40.00      20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       6.75      30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.00      30.00   05/15/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   05/22/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       4.25      30.00   05/22/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       4.00      30.00   05/29/2017   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      20.00   06/05/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       0.50      30.00   06/05/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      16.50   09/07/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.00      24.75   09/07/2015   Los   Angeles   CA   West   - Drivers
713426            Regular        4.00      19.50   10/16/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       39.50      17.00   09/14/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime      15.00      25.50   09/14/2015   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      17.00   10/19/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.50      25.50   10/19/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      16.00   08/03/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       8.00      24.00   08/03/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       40.00      16.00   08/10/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       8.50      24.00   08/10/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      16.00   08/31/2015   Los   Angeles   CA   West   - Drivers
713426 Case 2:19-cv-08580-JFW-MAA
                  Overtime       3.00   Document  38-5 FiledLos
                                           24.00 08/31/2015   03/22/21
                                                                 Angeles Page 98- of
                                                                         CA West      691 Page ID
                                                                                   Drivers
713426            Regular       24.00      16.00 #:871
                                                  09/21/2015 Los Angeles CA West - Drivers
713426            Overtime       8.00      24.00   09/21/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      16.00   10/12/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime      11.00      24.00   10/12/2015   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.50      28.50   11/21/2016   Los   Angeles   CA   West   - Drivers
713426            Regular        6.00      38.17   11/07/2016   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      19.00   11/09/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       4.00      28.50   11/09/2015   Los   Angeles   CA   West   - Drivers
713426            Regular        7.50      17.00   11/23/2015   Los   Angeles   CA   West   - Drivers
713426            Regular        4.00      17.00   12/07/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      17.00   10/26/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       8.50      25.50   10/26/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      20.00   10/03/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.50      30.00   10/03/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       32.00      20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       3.50      30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      20.00   10/17/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       5.00      30.00   10/17/2016   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      20.00   10/24/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       0.50      30.00   10/24/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      19.00   10/23/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       3.00      28.50   10/23/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      19.00   04/24/2017   Los   Angeles   CA   West   - Drivers
713426            Overtime       5.00      28.50   04/24/2017   Los   Angeles   CA   West   - Drivers
713426            Regular        6.50      19.00   05/01/2017   Los   Angeles   CA   West   - Drivers
713426            Regular        8.00      19.00   10/16/2017   Los   Angeles   CA   West   - Drivers
713426            Regular       24.00      16.25   10/05/2015   Los   Angeles   CA   West   - Drivers
713426            Overtime       2.50      24.38   10/05/2015   Los   Angeles   CA   West   - Drivers
713426            Regular       16.00      17.00   09/19/2016   Los   Angeles   CA   West   - Drivers
713426            Overtime       1.00      25.50   09/19/2016   Los   Angeles   CA   West   - Drivers
713426            Regular        7.00      19.00   11/14/2016   Los   Angeles   CA   West   - Drivers
713426            Regular       12.00      19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
Total for 713426             1,110.75
2447894           Regular        8.00      21.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2447894           Overtime       2.00      31.50   08/19/2019   Los   Angeles   CA   West   - Drivers
2447894           Regular       40.00      21.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2447894           Overtime      14.00      31.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2447894           Regular       24.00      21.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2447894           Overtime      11.00      31.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2447894           Regular       30.00      19.00   01/08/2018   Los   Angeles   CA   West   - Drivers
2447894           Overtime       1.50      28.50   01/08/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       30.50      19.00   01/15/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       27.00      19.00   01/22/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       34.50      19.00   01/29/2018   Los   Angeles   CA   West   - Drivers
2447894           Overtime       0.50      28.50   01/29/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       26.50      19.00   02/05/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       33.50      19.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       28.50      19.00   02/19/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       32.00      19.00   02/26/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular       40.00      19.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2447894           Regular        4.00      19.00   03/12/2018   Los   Angeles   CA   West   - Drivers
Total for 2447894              387.50
2168647           Regular       40.00      24.00   10/08/2018   Sacramento      CA   - Drivers
2168647           Overtime       2.50      36.00   10/08/2018   Sacramento      CA   - Drivers
2168647           Regular       40.00      24.00   10/15/2018   Sacramento      CA   - Drivers
2168647           Overtime       1.50      36.00   10/15/2018   Sacramento      CA   - Drivers
2168647           Regular       40.00      24.00   10/22/2018   Sacramento      CA   - Drivers
2168647           Overtime       1.00      36.00   10/22/2018   Sacramento      CA   - Drivers
2168647           Regular       40.00      24.00   10/29/2018   Sacramento      CA   - Drivers
2168647           Regular       40.00      24.00   11/05/2018   Sacramento      CA   - Drivers
2168647           Regular       40.00      24.00   11/12/2018   Sacramento      CA   - Drivers
2168647   Case 2:19-cv-08580-JFW-MAA
                    Overtime      1.00 Document  38-5 FiledSacramento
                                          36.00 11/12/2018   03/22/21 CA
                                                                       Page   99 of 691 Page ID
                                                                          - Drivers
2168647             Regular       2.25    20.00 #:872
                                                 11/05/2018 Sacramento CA - Drivers
2168647             Overtime        1.50    30.00   11/05/2018   Sacramento   CA   - Drivers
2168647             Regular         6.50    20.00   12/03/2018   Sacramento   CA   - Drivers
2168647             Regular        12.00    20.00   12/10/2018   Sacramento   CA   - Drivers
2168647             Overtime        3.00    30.00   12/10/2018   Sacramento   CA   - Drivers
2168647             Regular        16.25    20.00   01/09/2017   Sacramento   CA   - Drivers
2168647             Regular        24.00    20.00   01/16/2017   Sacramento   CA   - Drivers
2168647             Regular        38.00    19.50   01/23/2017   Sacramento   CA   - Drivers
2168647             Overtime       10.50    29.25   01/23/2017   Sacramento   CA   - Drivers
2168647             Regular        28.25    19.50   01/30/2017   Sacramento   CA   - Drivers
2168647             Overtime        0.25    29.25   01/30/2017   Sacramento   CA   - Drivers
2168647             Regular        30.00    19.50   08/28/2017   Sacramento   CA   - Drivers
2168647             Overtime       11.00    29.25   08/28/2017   Sacramento   CA   - Drivers
2168647             Regular        32.00    19.50   09/04/2017   Sacramento   CA   - Drivers
2168647             Overtime       21.50    29.25   09/04/2017   Sacramento   CA   - Drivers
2168647             Regular         8.00    19.50   09/11/2017   Sacramento   CA   - Drivers
2168647             Overtime        4.00    29.25   09/11/2017   Sacramento   CA   - Drivers
2168647             Regular         8.00    21.00   10/29/2018   Sacramento   CA   - Drivers
2168647             Regular         5.75    21.00   11/05/2018   Sacramento   CA   - Drivers
2168647             Regular        22.00    21.00   11/19/2018   Sacramento   CA   - Drivers
2168647             Overtime        6.00    31.50   11/19/2018   Sacramento   CA   - Drivers
2168647             Regular         8.00    21.00   11/26/2018   Sacramento   CA   - Drivers
2168647             Regular         8.00    21.00   12/03/2018   Sacramento   CA   - Drivers
2168647             Regular         7.50    21.00   01/16/2017   Sacramento   CA   - Drivers
2168647             Regular         3.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2168647             Regular        36.00    21.00   02/06/2017   Sacramento   CA   - Drivers
2168647             Overtime        0.75    31.50   02/06/2017   Sacramento   CA   - Drivers
2168647             Regular        50.00    21.00   02/13/2017   Sacramento   CA   - Drivers
2168647             Overtime        1.00    31.50   02/13/2017   Sacramento   CA   - Drivers
2168647             Regular        36.00    21.00   02/20/2017   Sacramento   CA   - Drivers
2168647             Overtime        3.50    31.50   02/20/2017   Sacramento   CA   - Drivers
2168647             Regular        49.50    21.00   02/27/2017   Sacramento   CA   - Drivers
2168647             Overtime        2.50    31.50   02/27/2017   Sacramento   CA   - Drivers
2168647             Regular        50.00    21.00   03/06/2017   Sacramento   CA   - Drivers
2168647             Overtime        9.50    31.50   03/06/2017   Sacramento   CA   - Drivers
2168647             Regular        47.50    21.00   03/13/2017   Sacramento   CA   - Drivers
2168647             Overtime        1.00    31.50   03/13/2017   Sacramento   CA   - Drivers
2168647             Regular        50.00    21.00   03/20/2017   Sacramento   CA   - Drivers
2168647             Overtime        9.75    31.50   03/20/2017   Sacramento   CA   - Drivers
2168647             Regular        47.50    21.00   03/27/2017   Sacramento   CA   - Drivers
2168647             Overtime        1.25    31.50   03/27/2017   Sacramento   CA   - Drivers
2168647             Regular        50.00    21.00   04/03/2017   Sacramento   CA   - Drivers
2168647             Overtime        7.00    31.50   04/03/2017   Sacramento   CA   - Drivers
2168647             Regular        47.75    21.00   04/10/2017   Sacramento   CA   - Drivers
2168647             Overtime        2.50    31.50   04/10/2017   Sacramento   CA   - Drivers
2168647             Regular        47.50    21.00   04/17/2017   Sacramento   CA   - Drivers
2168647             Overtime        2.50    31.50   04/17/2017   Sacramento   CA   - Drivers
2168647             Regular        47.50    21.00   04/24/2017   Sacramento   CA   - Drivers
2168647             Overtime        2.75    31.50   04/24/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   05/01/2017   Sacramento   CA   - Drivers
2168647             Overtime        7.00    31.50   05/01/2017   Sacramento   CA   - Drivers
2168647             Regular        47.00    21.00   05/08/2017   Sacramento   CA   - Drivers
2168647             Overtime        4.25    31.50   05/08/2017   Sacramento   CA   - Drivers
2168647             Regular        47.00    21.00   05/15/2017   Sacramento   CA   - Drivers
2168647             Overtime        3.00    31.50   05/15/2017   Sacramento   CA   - Drivers
2168647             Regular        37.50    21.00   05/22/2017   Sacramento   CA   - Drivers
2168647             Regular        28.00    21.00   05/29/2017   Sacramento   CA   - Drivers
2168647             Overtime       11.25    31.50   05/29/2017   Sacramento   CA   - Drivers
2168647             Regular        41.50    20.98   06/05/2017   Sacramento   CA   - Drivers
2168647             Regular        32.50    20.98   06/12/2017   Sacramento   CA   - Drivers
2168647             Regular        24.00    20.00   08/07/2017   Sacramento   CA   - Drivers
2168647             Overtime        4.00    30.00   08/07/2017   Sacramento   CA   - Drivers
2168647 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          20.00 38-5   Filed Sacramento
                                                 08/14/2017  03/22/21 Page    100 of 691 Page ID
                                                                        CA - Drivers
2168647              Overtime      7.00   30.00 #:873
                                                 08/14/2017 Sacramento CA - Drivers
2168647             Regular        40.00    20.00   08/21/2017   Sacramento   CA   - Drivers
2168647             Overtime        6.50    30.00   08/21/2017   Sacramento   CA   - Drivers
2168647             Regular         8.00    20.00   08/28/2017   Sacramento   CA   - Drivers
2168647             Overtime        1.00    30.00   08/28/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    19.00   06/19/2017   Sacramento   CA   - Drivers
2168647             Overtime       12.00    28.50   06/19/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    19.00   06/26/2017   Sacramento   CA   - Drivers
2168647             Overtime       14.25    28.50   06/26/2017   Sacramento   CA   - Drivers
2168647             Regular        24.00    19.00   07/03/2017   Sacramento   CA   - Drivers
2168647             Overtime        9.00    28.50   07/03/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    19.00   07/10/2017   Sacramento   CA   - Drivers
2168647             Overtime       13.50    28.50   07/10/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    19.00   07/17/2017   Sacramento   CA   - Drivers
2168647             Overtime       12.50    28.50   07/17/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    19.00   07/24/2017   Sacramento   CA   - Drivers
2168647             Overtime       20.00    28.50   07/24/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    19.00   07/31/2017   Sacramento   CA   - Drivers
2168647             Overtime       15.50    28.50   07/31/2017   Sacramento   CA   - Drivers
2168647             Regular        16.00    23.00   11/19/2018   Sacramento   CA   - Drivers
2168647             Overtime        1.00    34.50   11/19/2018   Sacramento   CA   - Drivers
2168647             Regular         8.00    23.00   12/03/2018   Sacramento   CA   - Drivers
2168647             Regular        32.00    21.00   10/23/2017   Sacramento   CA   - Drivers
2168647             Overtime        4.00    31.50   10/23/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   10/30/2017   Sacramento   CA   - Drivers
2168647             Overtime        8.00    31.50   10/30/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   11/06/2017   Sacramento   CA   - Drivers
2168647             Overtime        4.00    31.50   11/06/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   11/13/2017   Sacramento   CA   - Drivers
2168647             Regular        32.00    21.00   11/20/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   11/27/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   12/04/2017   Sacramento   CA   - Drivers
2168647             Overtime        2.50    31.50   12/04/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   12/11/2017   Sacramento   CA   - Drivers
2168647             Overtime        0.50    31.50   12/11/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   12/18/2017   Sacramento   CA   - Drivers
2168647             Overtime        3.50    31.50   12/18/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   12/25/2017   Sacramento   CA   - Drivers
2168647             Overtime        2.50    31.50   12/25/2017   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   01/01/2018   Sacramento   CA   - Drivers
2168647             Overtime        1.50    31.50   01/01/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   01/08/2018   Sacramento   CA   - Drivers
2168647             Overtime       12.00    31.50   01/08/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   01/15/2018   Sacramento   CA   - Drivers
2168647             Overtime       11.50    31.50   01/15/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   01/22/2018   Sacramento   CA   - Drivers
2168647             Overtime       20.00    31.50   01/22/2018   Sacramento   CA   - Drivers
2168647             Regular        20.00    21.00   01/29/2018   Sacramento   CA   - Drivers
2168647             Overtime        1.50    31.50   01/29/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   02/05/2018   Sacramento   CA   - Drivers
2168647             Overtime       13.00    31.50   02/05/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   02/12/2018   Sacramento   CA   - Drivers
2168647             Overtime       13.00    31.50   02/12/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   02/19/2018   Sacramento   CA   - Drivers
2168647             Overtime       14.00    31.50   02/19/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   02/26/2018   Sacramento   CA   - Drivers
2168647             Overtime       13.00    31.50   02/26/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   03/05/2018   Sacramento   CA   - Drivers
2168647             Overtime        9.50    31.50   03/05/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   03/12/2018   Sacramento   CA   - Drivers
2168647             Overtime        8.00    31.50   03/12/2018   Sacramento   CA   - Drivers
2168647             Regular        40.00    21.00   03/19/2018   Sacramento   CA   - Drivers
2168647 Case 2:19-cv-08580-JFW-MAA
                   Overtime      11.50Document
                                         31.50 38-5   Filed Sacramento
                                                03/19/2018  03/22/21 Page    101 of 691
                                                                       CA - Drivers       Page ID
2168647            Regular       40.00   21.00 #:874
                                                03/26/2018 Sacramento CA - Drivers
2168647            Overtime      10.00   31.50 03/26/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 04/02/2018 Sacramento CA - Drivers
2168647            Overtime       9.00   31.50 04/02/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 04/09/2018 Sacramento CA - Drivers
2168647            Overtime      11.50   31.50 04/09/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 04/16/2018 Sacramento CA - Drivers
2168647            Overtime      18.00   31.50 04/16/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 04/23/2018 Sacramento CA - Drivers
2168647            Overtime       9.00   31.50 04/23/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 04/30/2018 Sacramento CA - Drivers
2168647            Overtime      10.50   31.50 04/30/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 05/07/2018 Sacramento CA - Drivers
2168647            Overtime      23.00   31.50 05/07/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 05/14/2018 Sacramento CA - Drivers
2168647            Overtime      14.50   31.50 05/14/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 05/21/2018 Sacramento CA - Drivers
2168647            Overtime      13.00   31.50 05/21/2018 Sacramento CA - Drivers
2168647            Regular       32.00   21.00 05/28/2018 Sacramento CA - Drivers
2168647            Overtime      11.00   31.50 05/28/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 06/04/2018 Sacramento CA - Drivers
2168647            Overtime      13.00   31.50 06/04/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 06/11/2018 Sacramento CA - Drivers
2168647            Overtime      12.50   31.50 06/11/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 06/18/2018 Sacramento CA - Drivers
2168647            Overtime      14.50   31.50 06/18/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 06/25/2018 Sacramento CA - Drivers
2168647            Overtime      13.00   31.50 06/25/2018 Sacramento CA - Drivers
2168647            Regular       32.00   21.00 07/02/2018 Sacramento CA - Drivers
2168647            Overtime       9.00   31.50 07/02/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 07/09/2018 Sacramento CA - Drivers
2168647            Overtime      12.50   31.50 07/09/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 07/16/2018 Sacramento CA - Drivers
2168647            Overtime      13.00   31.50 07/16/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 07/23/2018 Sacramento CA - Drivers
2168647            Overtime      14.50   31.50 07/23/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 07/30/2018 Sacramento CA - Drivers
2168647            Overtime      12.00   31.50 07/30/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 08/06/2018 Sacramento CA - Drivers
2168647            Overtime      15.00   31.50 08/06/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 08/13/2018 Sacramento CA - Drivers
2168647            Overtime      13.00   31.50 08/13/2018 Sacramento CA - Drivers
2168647            Regular       40.00   21.00 08/20/2018 Sacramento CA - Drivers
2168647            Overtime      26.00   31.50 08/20/2018 Sacramento CA - Drivers
2168647            Regular       32.00   21.00 08/27/2018 Sacramento CA - Drivers
2168647            Overtime      11.50   31.50 08/27/2018 Sacramento CA - Drivers
Total for 2168647             4,184.25
2688027            Regular       16.00   21.00 02/04/2019 Sacramento CA - Drivers
2688027            Overtime       3.25   31.50 02/04/2019 Sacramento CA - Drivers
2688027            Regular       48.00   21.00 02/11/2019 Sacramento CA - Drivers
2688027            Overtime      10.00   31.50 02/11/2019 Sacramento CA - Drivers
2688027            Regular       40.00   21.00 02/18/2019 Sacramento CA - Drivers
2688027            Overtime       4.50   31.50 02/18/2019 Sacramento CA - Drivers
2688027            Regular        8.00   21.00 02/25/2019 Sacramento CA - Drivers
2688027            Overtime       4.00   31.50 02/25/2019 Sacramento CA - Drivers
2688027            Regular        8.00   21.00 03/04/2019 Sacramento CA - Drivers
2688027            Overtime       4.00   31.50 03/04/2019 Sacramento CA - Drivers
Total for 2688027               145.75
2611175            Regular       24.00   22.00 03/25/2019 Los Angeles CA East - Drivers
2611175            Overtime       1.75   33.00 03/25/2019 Los Angeles CA East - Drivers
2611175            Regular       40.00   22.00 04/01/2019 Los Angeles CA East - Drivers
2611175            Overtime       2.50   33.00 04/01/2019 Los Angeles CA East - Drivers
2611175 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        22.00 38-5   Filed Los
                                               04/08/2019  03/22/21
                                                               AngelesPage 102
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
2611175            Overtime      6.50   33.00 #:875
                                               04/08/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 04/15/2019 Los Angeles CA East - Drivers
2611175            Overtime      4.75   33.00 04/15/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 04/22/2019 Los Angeles CA East - Drivers
2611175            Overtime      1.75   33.00 04/22/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 04/29/2019 Los Angeles CA East - Drivers
2611175            Overtime      0.25   33.00 04/29/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 05/06/2019 Los Angeles CA East - Drivers
2611175            Overtime      2.25   33.00 05/06/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 05/13/2019 Los Angeles CA East - Drivers
2611175            Overtime      1.25   33.00 05/13/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 05/20/2019 Los Angeles CA East - Drivers
2611175            Overtime      2.75   33.00 05/20/2019 Los Angeles CA East - Drivers
2611175            Regular      32.00   22.00 05/27/2019 Los Angeles CA East - Drivers
2611175            Overtime      2.50   33.00 05/27/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 06/03/2019 Los Angeles CA East - Drivers
2611175            Overtime      2.25   33.00 06/03/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 06/10/2019 Los Angeles CA East - Drivers
2611175            Overtime      2.00   33.00 06/10/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 06/17/2019 Los Angeles CA East - Drivers
2611175            Regular      32.00   22.00 06/24/2019 Los Angeles CA East - Drivers
2611175            Overtime      5.00   33.00 06/24/2019 Los Angeles CA East - Drivers
2611175            Regular      32.00   22.00 07/01/2019 Los Angeles CA East - Drivers
2611175            Overtime      2.00   33.00 07/01/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   22.00 07/08/2019 Los Angeles CA East - Drivers
2611175            Overtime      0.75   33.00 07/08/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   23.00 07/15/2019 Los Angeles CA East - Drivers
2611175            Overtime      0.50   34.50 07/15/2019 Los Angeles CA East - Drivers
2611175            Regular      40.00   23.00 07/22/2019 Los Angeles CA East - Drivers
2611175            Overtime      1.75   34.50 07/22/2019 Los Angeles CA East - Drivers
2611175            Regular      32.00   23.00 07/29/2019 Los Angeles CA East - Drivers
2611175            Overtime      3.25   34.50 07/29/2019 Los Angeles CA East - Drivers
Total for 2611175              755.75
1434196            Regular      22.00   21.00 08/28/2017 Sacramento CA - Drivers
1434196            Regular      19.50   21.00 08/28/2017 Sacramento CA - Drivers
1434196            Overtime      9.00   31.50 08/28/2017 Sacramento CA - Drivers
1434196            Regular      40.00   21.00 09/11/2017 Sacramento CA - Drivers
1434196            Overtime      6.50   31.50 09/11/2017 Sacramento CA - Drivers
1434196            Regular      40.00   21.00 09/18/2017 Sacramento CA - Drivers
1434196            Overtime      6.75   31.50 09/18/2017 Sacramento CA - Drivers
Total for 1434196              143.75
1293177            Regular       1.50   20.00 05/30/2016 Sacramento CA - Drivers
1293177            Regular      39.50   20.00 06/06/2016 Sacramento CA - Drivers
1293177            Regular       8.00   21.00 01/16/2017 Sacramento CA - Drivers
1293177            Overtime      1.00   31.50 01/16/2017 Sacramento CA - Drivers
1293177            Regular      38.50   21.00 01/23/2017 Sacramento CA - Drivers
1293177            Overtime      5.50   31.50 01/23/2017 Sacramento CA - Drivers
1293177            Regular      44.50   21.00 01/30/2017 Sacramento CA - Drivers
1293177            Overtime     12.00   31.50 01/30/2017 Sacramento CA - Drivers
1293177            Regular      39.50   21.00 02/06/2017 Sacramento CA - Drivers
1293177            Overtime     11.75   31.50 02/06/2017 Sacramento CA - Drivers
Total for 1293177              201.75
943456             Regular      22.00   19.00 08/03/2015 Los Angeles CA East - Drivers
943456             Regular      50.25   19.00 08/10/2015 Los Angeles CA East - Drivers
943456             Regular      46.75   19.00 08/17/2015 Los Angeles CA East - Drivers
943456             Regular      43.50   19.00 08/24/2015 Los Angeles CA East - Drivers
943456             Regular      28.50   19.00 08/31/2015 Los Angeles CA East - Drivers
943456             Regular      37.00   19.00 09/07/2015 Los Angeles CA East - Drivers
943456             Regular      48.75   19.00 09/14/2015 Los Angeles CA East - Drivers
943456             Regular      37.50   19.00 09/21/2015 Los Angeles CA East - Drivers
943456             Regular      38.50   19.00 09/28/2015 Los Angeles CA East - Drivers
943456             Regular      37.75   19.00 10/05/2015 Los Angeles CA East - Drivers
943456 Case 2:19-cv-08580-JFW-MAA
                  Regular      37.50Document
                                       19.00 38-5   Filed Los
                                              10/12/2015  03/22/21
                                                              AngelesPage  103
                                                                     CA East    of 691
                                                                             - Drivers    Page ID
943456            Regular      65.00   19.00 #:876
                                              10/26/2015 Los Angeles CA East - Drivers
Total for 943456              493.00
2665667           Regular      24.00   26.00 12/17/2018 zz - San Francisco CA - Drivers
2665667           Regular      24.00   26.00 12/24/2018 zz - San Francisco CA - Drivers
2665667           Overtime      3.50   39.00 12/24/2018 zz - San Francisco CA - Drivers
2665667           Regular      24.00   26.00 12/31/2018 zz - San Francisco CA - Drivers
2665667           Overtime      3.00   39.00 12/31/2018 zz - San Francisco CA - Drivers
2665667           Regular      40.00   26.00 01/07/2019 zz - San Francisco CA - Drivers
2665667           Overtime      1.75   39.00 01/07/2019 zz - San Francisco CA - Drivers
2665667           Regular      16.00   26.00 01/14/2019 zz - San Francisco CA - Drivers
2665667           Overtime      1.00   39.00 01/14/2019 zz - San Francisco CA - Drivers
2665667           Regular      40.00   26.00 01/21/2019 zz - San Francisco CA - Drivers
2665667           Overtime      3.00   39.00 01/21/2019 zz - San Francisco CA - Drivers
2665667           Regular      32.00   26.00 02/04/2019 zz - San Francisco CA - Drivers
2665667           Overtime      0.50   39.00 02/04/2019 zz - San Francisco CA - Drivers
2665667           Regular      40.00   26.00 02/11/2019 zz - San Francisco CA - Drivers
2665667           Overtime     10.00   39.00 02/11/2019 zz - San Francisco CA - Drivers
2665667           Regular      36.00   26.00 02/18/2019 zz - San Francisco CA - Drivers
2665667           Overtime      6.00   39.00 02/18/2019 zz - San Francisco CA - Drivers
2665667           Regular      16.00   26.00 04/01/2019 zz - San Francisco CA - Drivers
2665667           Overtime      3.50   39.00 04/01/2019 zz - San Francisco CA - Drivers
2665667           Regular      40.00   26.00 04/08/2019 zz - San Francisco CA - Drivers
2665667           Overtime      8.50   39.00 04/08/2019 zz - San Francisco CA - Drivers
2665667           Regular      40.00   26.00 04/15/2019 zz - San Francisco CA - Drivers
2665667           Overtime     10.00   39.00 04/15/2019 zz - San Francisco CA - Drivers
2665667           Regular      24.00   26.00 04/22/2019 zz - San Francisco CA - Drivers
2665667           Overtime      8.00   39.00 04/22/2019 zz - San Francisco CA - Drivers
2665667           Regular      40.00   26.00 05/06/2019 zz - San Francisco CA - Drivers
2665667           Overtime      4.50   39.00 05/06/2019 zz - San Francisco CA - Drivers
Total for 2665667             499.25
1242540           Regular      40.00   17.00 01/11/2016 Omaha NE - Drivers
1242540           Regular      36.75   17.00 01/18/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 01/25/2016 Omaha NE - Drivers
1242540           Overtime      2.50   25.50 01/25/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 02/01/2016 Omaha NE - Drivers
1242540           Overtime      4.50   25.50 02/01/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 02/08/2016 Omaha NE - Drivers
1242540           Overtime      4.75   25.50 02/08/2016 Omaha NE - Drivers
1242540           Regular      36.50   17.00 02/15/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 02/22/2016 Omaha NE - Drivers
1242540           Overtime      3.00   25.50 02/22/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 02/29/2016 Omaha NE - Drivers
1242540           Overtime      5.25   25.50 02/29/2016 Omaha NE - Drivers
1242540           Regular      36.25   17.00 03/07/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 03/14/2016 Omaha NE - Drivers
1242540           Overtime      6.00   25.50 03/14/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 03/21/2016 Omaha NE - Drivers
1242540           Overtime      8.50   25.50 03/21/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 03/28/2016 Omaha NE - Drivers
1242540           Overtime      4.75   25.50 03/28/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 04/04/2016 Omaha NE - Drivers
1242540           Overtime      3.75   25.50 04/04/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 04/11/2016 Omaha NE - Drivers
1242540           Overtime      7.25   25.50 04/11/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 04/18/2016 Omaha NE - Drivers
1242540           Overtime      4.75   25.50 04/18/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 04/25/2016 Omaha NE - Drivers
1242540           Overtime     10.00   25.50 04/25/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 05/02/2016 Omaha NE - Drivers
1242540           Overtime      9.25   25.50 05/02/2016 Omaha NE - Drivers
1242540           Regular      40.00   17.00 05/09/2016 Omaha NE - Drivers
1242540           Overtime      8.50   25.50 05/09/2016 Omaha NE - Drivers
1242540 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         17.00 38-5   Filed Omaha
                                                05/16/2016  03/22/21
                                                                  NE -Page
                                                                      Drivers104 of 691   Page ID
1242540            Overtime       5.00   25.50 #:877
                                                05/16/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 05/23/2016 Omaha NE - Drivers
1242540            Overtime       3.25   25.50 05/23/2016 Omaha NE - Drivers
1242540            Regular       39.50   17.00 05/30/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 06/06/2016 Omaha NE - Drivers
1242540            Overtime       6.25   25.50 06/06/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 06/13/2016 Omaha NE - Drivers
1242540            Overtime       9.00   25.50 06/13/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 06/20/2016 Omaha NE - Drivers
1242540            Overtime       7.50   25.50 06/20/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 06/27/2016 Omaha NE - Drivers
1242540            Overtime       1.00   25.50 06/27/2016 Omaha NE - Drivers
1242540            Regular       39.00   17.00 07/04/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 07/11/2016 Omaha NE - Drivers
1242540            Overtime       7.00   25.50 07/11/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 07/18/2016 Omaha NE - Drivers
1242540            Overtime       7.75   25.50 07/18/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 07/25/2016 Omaha NE - Drivers
1242540            Overtime       5.75   25.50 07/25/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 08/01/2016 Omaha NE - Drivers
1242540            Overtime       9.50   25.50 08/01/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 08/08/2016 Omaha NE - Drivers
1242540            Overtime       6.25   25.50 08/08/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 08/15/2016 Omaha NE - Drivers
1242540            Overtime       9.25   25.50 08/15/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 08/22/2016 Omaha NE - Drivers
1242540            Overtime      10.75   25.50 08/22/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 08/29/2016 Omaha NE - Drivers
1242540            Overtime       5.00   25.50 08/29/2016 Omaha NE - Drivers
1242540            Regular       35.00   17.00 09/05/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 09/12/2016 Omaha NE - Drivers
1242540            Overtime       3.50   25.50 09/12/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 09/19/2016 Omaha NE - Drivers
1242540            Overtime       6.00   25.50 09/19/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 09/26/2016 Omaha NE - Drivers
1242540            Overtime       6.00   25.50 09/26/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 10/03/2016 Omaha NE - Drivers
1242540            Overtime       6.50   25.50 10/03/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 10/10/2016 Omaha NE - Drivers
1242540            Overtime       6.00   25.50 10/10/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 10/17/2016 Omaha NE - Drivers
1242540            Overtime       6.75   25.50 10/17/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 10/24/2016 Omaha NE - Drivers
1242540            Overtime       6.25   25.50 10/24/2016 Omaha NE - Drivers
1242540            Regular       40.00   17.00 10/31/2016 Omaha NE - Drivers
1242540            Overtime       7.25   25.50 10/31/2016 Omaha NE - Drivers
1242540            Regular        9.50   17.00 11/07/2016 Omaha NE - Drivers
Total for 1242540             1,936.75
2696533            Regular       16.00   24.00 04/22/2019 Sacramento CA - Drivers
2696533            Regular        8.00   24.00 04/29/2019 Sacramento CA - Drivers
2696533            Regular        8.00   24.00 02/18/2019 Sacramento CA - Drivers
2696533            Regular       24.00   22.00 02/18/2019 Sacramento CA - Drivers
2696533            Regular        8.00   22.00 02/25/2019 Sacramento CA - Drivers
2696533            Regular       16.00   22.00 03/04/2019 Sacramento CA - Drivers
2696533            Regular       24.00   22.00 03/11/2019 Sacramento CA - Drivers
2696533            Regular       32.00   22.00 03/18/2019 Sacramento CA - Drivers
2696533            Regular       24.00   22.00 03/25/2019 Sacramento CA - Drivers
2696533            Regular        8.00   23.00 04/01/2019 Sacramento CA - Drivers
2696533            Overtime       3.50   34.50 04/01/2019 Sacramento CA - Drivers
2696533            Regular        8.00   22.00 04/08/2019 Sacramento CA - Drivers
Total for 2696533               179.50
2363988            Regular        8.00   28.00 08/21/2017 Los Angeles CA East - Drivers
2363988 Case   2:19-cv-08580-JFW-MAA
                     Regular      75.00Document
                                          28.00 38-5   Filed Los
                                                 08/28/2017  03/22/21
                                                                 AngelesPage 105
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
2363988              Regular      79.50   28.00 #:878
                                                 09/04/2017 Los Angeles CA East - Drivers
2363988             Regular        67.50    28.00   09/11/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        57.00    28.00   09/18/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        32.00    28.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2363988             Overtime       16.00    42.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        83.50    28.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.00    28.00   10/09/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.50    28.00   10/16/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.50    28.00   10/23/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        62.50    29.50   10/30/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        55.50    29.50   11/06/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.00    29.50   11/13/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        57.00    30.00   11/27/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.50    30.00   12/04/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        61.50    30.00   12/11/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        59.00    30.00   12/18/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        65.00    30.00   12/25/2017   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.50    30.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        14.00    30.00   01/08/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        54.00    30.00   01/22/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        55.00    30.00   01/29/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        57.00    30.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.00    30.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.50    30.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        57.00    30.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        56.00    30.00   03/12/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        59.00    30.00   03/19/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular         6.00    30.00   03/19/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        65.50    30.00   04/02/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        67.50    30.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        61.00    30.00   04/16/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.00    30.00   04/23/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.50    30.00   04/30/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        57.50    30.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        59.00    30.00   05/14/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.00    30.00   05/21/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        44.00    30.00   05/28/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        57.50    30.00   06/04/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.00    30.00   06/11/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        61.00    30.00   06/11/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        58.50    30.00   06/25/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        41.00    30.00   07/02/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   07/09/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   07/16/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   07/23/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular       120.00    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        75.00    30.00   08/20/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        46.00    30.00   08/27/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   09/03/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        74.00    30.00   09/10/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        47.00    30.00   09/17/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        93.00    30.00   09/24/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        73.00    30.00   10/01/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   10/08/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        74.00    30.00   10/15/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        60.00    30.00   10/22/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        51.00    30.00   10/29/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular        74.00    30.00   11/05/2018   Los   Angeles   CA   East   - Drivers
2363988             Regular       111.00    30.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2363988 Case 2:19-cv-08580-JFW-MAA
                   Regular       65.00Document
                                         30.00 38-5   Filed Los
                                                11/26/2018  03/22/21
                                                                AngelesPage 106
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2363988            Regular       60.00   30.00 #:879
                                                12/03/2018 Los Angeles CA East - Drivers
2363988            Regular       47.00   30.00 12/10/2018 Los Angeles CA East - Drivers
2363988            Regular       78.00   30.00 12/17/2018 Los Angeles CA East - Drivers
2363988            Regular       28.00   30.00 12/31/2018 Los Angeles CA East - Drivers
2363988            Regular       50.00   30.00 01/07/2019 Los Angeles CA East - Drivers
2363988            Regular       40.00   30.00 01/14/2019 Los Angeles CA East - Drivers
2363988            Regular       28.00   30.00 01/21/2019 Los Angeles CA East - Drivers
2363988            Regular       58.00   30.00 01/28/2019 Los Angeles CA East - Drivers
2363988            Regular       28.00   30.00 02/04/2019 Los Angeles CA East - Drivers
2363988            Regular       65.00   30.00 02/11/2019 Los Angeles CA East - Drivers
2363988            Regular       53.00   30.00 02/18/2019 Los Angeles CA East - Drivers
2363988            Regular       46.00   30.00 02/25/2019 Los Angeles CA East - Drivers
2363988            Regular       54.00   30.00 03/04/2019 Los Angeles CA East - Drivers
2363988            Regular       58.00   30.00 03/11/2019 Los Angeles CA East - Drivers
2363988            Regular       47.00   30.00 03/18/2019 Los Angeles CA East - Drivers
2363988            Regular       58.00   30.00 03/25/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 04/01/2019 Los Angeles CA East - Drivers
2363988            Regular       51.00   30.00 04/08/2019 Los Angeles CA East - Drivers
2363988            Regular       37.00   30.00 04/15/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 04/22/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 04/29/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 05/06/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 05/13/2019 Los Angeles CA East - Drivers
2363988            Regular       70.00   30.00 05/20/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 05/27/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 06/03/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 06/10/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 06/17/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 06/24/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 07/01/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 07/08/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 07/15/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 07/22/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 07/29/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 08/05/2019 Los Angeles CA East - Drivers
2363988            Regular       60.00   30.00 08/12/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 08/19/2019 Los Angeles CA East - Drivers
2363988            Regular       62.00   30.00 08/26/2019 Los Angeles CA East - Drivers
2363988            Regular      120.00   30.00 09/02/2019 Los Angeles CA East - Drivers
Total for 2363988             6,069.50
2403663            Regular       40.00   21.00 03/26/2018 Los Angeles CA East - Drivers
2403663            Overtime      13.60   31.50 03/26/2018 Los Angeles CA East - Drivers
2403663            Regular       36.00   21.00 04/02/2018 Los Angeles CA East - Drivers
2403663            Overtime      14.25   31.50 04/02/2018 Los Angeles CA East - Drivers
2403663            Regular       24.00   21.00 04/09/2018 Los Angeles CA East - Drivers
2403663            Overtime       7.74   31.50 04/09/2018 Los Angeles CA East - Drivers
2403663            Regular       16.00   21.00 04/09/2018 Los Angeles CA East - Drivers
2403663            Overtime       1.18   31.50 04/09/2018 Los Angeles CA East - Drivers
2403663            Overtime       0.13   31.50 04/09/2018 Los Angeles CA East - Drivers
2403663            Regular        2.00   21.00 04/30/2018 Los Angeles CA East - Drivers
2403663            Regular       32.00   19.50 04/23/2018 Los Angeles CA East - Drivers
2403663            Regular       24.00   19.50 04/30/2018 Los Angeles CA East - Drivers
2403663            Regular       40.00   19.50 05/07/2018 Los Angeles CA East - Drivers
2403663            Overtime       1.50   29.25 05/07/2018 Los Angeles CA East - Drivers
2403663            Regular        8.00   19.50 05/07/2018 Los Angeles CA East - Drivers
Total for 2403663               260.40
1333667            Regular       32.00   16.00 06/06/2016 Los Angeles CA West - Drivers
1333667            Overtime      12.50   24.00 06/06/2016 Los Angeles CA West - Drivers
1333667            Regular       16.00   16.00 06/13/2016 Los Angeles CA West - Drivers
1333667            Overtime       5.25   24.00 06/13/2016 Los Angeles CA West - Drivers
1333667            Regular        8.00   16.00 09/05/2016 Los Angeles CA West - Drivers
1333667            Overtime       4.00   24.00 09/05/2016 Los Angeles CA West - Drivers
1333667 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        16.00 38-5   Filed Los
                                               09/19/2016  03/22/21
                                                               AngelesPage 107- Drivers
                                                                      CA West   of 691    Page ID
1333667            Overtime      4.00   24.00 #:880
                                               09/19/2016 Los Angeles CA West - Drivers
1333667            Regular      16.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1333667            Overtime      8.00   24.00 09/26/2016 Los Angeles CA West - Drivers
1333667            Regular      28.00   16.50 07/11/2016 Los Angeles CA West - Drivers
1333667            Overtime     12.00   24.75 07/11/2016 Los Angeles CA West - Drivers
1333667            Regular       7.00   16.50 07/18/2016 Los Angeles CA West - Drivers
1333667            Regular       8.00   16.00 09/05/2016 Los Angeles CA West - Drivers
1333667            Overtime      4.00   24.00 09/05/2016 Los Angeles CA West - Drivers
1333667            Regular       8.00   16.00 09/12/2016 Los Angeles CA West - Drivers
1333667            Overtime      1.75   24.00 09/12/2016 Los Angeles CA West - Drivers
1333667            Regular      31.25   16.00 09/19/2016 Los Angeles CA West - Drivers
1333667            Overtime      3.75   24.00 09/19/2016 Los Angeles CA West - Drivers
1333667            Regular       2.00   16.00 09/26/2016 Los Angeles CA West - Drivers
Total for 1333667              219.50
2244867            Regular       9.50   15.00 05/01/2017 Los Angeles CA West - Drivers
2244867            Regular      16.00   16.00 04/24/2017 Los Angeles CA West - Drivers
2244867            Regular      35.00   16.00 05/01/2017 Los Angeles CA West - Drivers
2244867            Overtime      4.50   24.00 05/01/2017 Los Angeles CA West - Drivers
Total for 2244867               65.00
2219916            Regular      40.00   16.00 03/13/2017 Los Angeles CA West - Drivers
2219916            Regular      40.00   16.00 03/20/2017 Los Angeles CA West - Drivers
2219916            Regular      24.00   16.00 03/27/2017 Los Angeles CA West - Drivers
Total for 2219916              104.00
2730927            Regular      10.25   21.85 04/01/2019 Los Angeles CA West - Drivers
2730927            Regular      24.00   21.00 05/06/2019 Los Angeles CA West - Drivers
2730927            Overtime      7.75   31.50 05/06/2019 Los Angeles CA West - Drivers
2730927            Regular       8.00   21.00 05/13/2019 Los Angeles CA West - Drivers
2730927            Overtime      1.50   31.50 05/13/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2730927            Overtime     14.50   31.50 05/20/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2730927            Overtime      7.75   31.50 05/27/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2730927            Overtime      8.50   31.50 06/03/2019 Los Angeles CA West - Drivers
2730927            Regular      24.00   21.00 06/10/2019 Los Angeles CA West - Drivers
2730927            Overtime      3.50   31.50 06/10/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2730927            Overtime     10.00   31.50 06/17/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2730927            Overtime      6.25   31.50 06/24/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 07/01/2019 Los Angeles CA West - Drivers
2730927            Overtime      3.75   31.50 07/01/2019 Los Angeles CA West - Drivers
2730927            Regular      16.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2730927            Overtime      3.75   31.50 07/08/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2730927            Overtime      7.00   31.50 07/15/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2730927            Overtime      7.75   31.50 07/22/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2730927            Overtime      8.25   31.50 07/29/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2730927            Overtime     10.75   31.50 08/05/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2730927            Overtime     10.50   31.50 08/12/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2730927            Overtime      8.50   31.50 08/19/2019 Los Angeles CA West - Drivers
2730927            Regular      40.00   21.00 08/26/2019 Los Angeles CA West - Drivers
2730927            Overtime     10.25   31.50 08/26/2019 Los Angeles CA West - Drivers
2730927            Regular      32.00   21.00 09/02/2019 Los Angeles CA West - Drivers
2730927            Overtime     10.75   31.50 09/02/2019 Los Angeles CA West - Drivers
Total for 2730927              727.25
1446145            Regular      64.75   20.25 12/12/2016 Sacramento CA - Drivers
1446145 Case 2:19-cv-08580-JFW-MAA
                   Regular       41.00Document
                                         20.25 38-5   Filed Sacramento
                                                12/19/2016  03/22/21 Page    108 of 691
                                                                       CA - Drivers       Page ID
1446145            Regular       35.75   20.98 #:881
                                                12/26/2016 Sacramento CA - Drivers
1446145            Regular       37.50   20.98 01/02/2017 Sacramento CA - Drivers
1446145            Regular       22.50   20.54 01/09/2017 Sacramento CA - Drivers
1446145            Regular       14.00   20.54 01/16/2017 Sacramento CA - Drivers
1446145            Regular        8.00   19.00 01/16/2017 Sacramento CA - Drivers
1446145            Overtime       3.50   28.50 01/16/2017 Sacramento CA - Drivers
1446145            Regular       24.00   19.25 02/27/2017 Sacramento CA - Drivers
1446145            Overtime       1.50   28.88 02/27/2017 Sacramento CA - Drivers
1446145            Regular       24.00   19.25 03/06/2017 Sacramento CA - Drivers
1446145            Overtime       4.00   28.88 03/06/2017 Sacramento CA - Drivers
1446145            Regular       24.00   19.25 03/13/2017 Sacramento CA - Drivers
1446145            Overtime       7.00   28.88 03/13/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 04/17/2017 Sacramento CA - Drivers
1446145            Overtime       9.00   28.50 04/17/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 04/24/2017 Sacramento CA - Drivers
1446145            Overtime       8.50   28.50 04/24/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 05/01/2017 Sacramento CA - Drivers
1446145            Overtime       3.50   28.50 05/01/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 05/08/2017 Sacramento CA - Drivers
1446145            Overtime       9.50   28.50 05/08/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 05/15/2017 Sacramento CA - Drivers
1446145            Overtime      10.00   28.50 05/15/2017 Sacramento CA - Drivers
1446145            Regular        8.00   19.00 05/22/2017 Sacramento CA - Drivers
1446145            Regular       32.00   19.00 05/29/2017 Sacramento CA - Drivers
1446145            Overtime      10.00   28.50 05/29/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 06/05/2017 Sacramento CA - Drivers
1446145            Overtime       6.00   28.50 06/05/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 06/12/2017 Sacramento CA - Drivers
1446145            Overtime       9.75   28.50 06/12/2017 Sacramento CA - Drivers
1446145            Regular       32.00   19.00 06/19/2017 Sacramento CA - Drivers
1446145            Overtime       6.00   28.50 06/19/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 06/26/2017 Sacramento CA - Drivers
1446145            Overtime       6.00   28.50 06/26/2017 Sacramento CA - Drivers
1446145            Regular       32.00   19.00 07/03/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 07/10/2017 Sacramento CA - Drivers
1446145            Overtime       4.50   28.50 07/10/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 07/17/2017 Sacramento CA - Drivers
1446145            Overtime      12.00   28.50 07/17/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 07/24/2017 Sacramento CA - Drivers
1446145            Overtime      15.00   28.50 07/24/2017 Sacramento CA - Drivers
1446145            Regular       24.00   19.00 07/31/2017 Sacramento CA - Drivers
1446145            Overtime       6.00   28.50 07/31/2017 Sacramento CA - Drivers
1446145            Regular       40.00   19.00 08/07/2017 Sacramento CA - Drivers
1446145            Overtime      15.00   28.50 08/07/2017 Sacramento CA - Drivers
Total for 1446145             1,050.25
1159810            Regular        8.00   16.50 09/14/2015 Los Angeles CA East - Drivers
1159810            Overtime       1.00   24.75 09/14/2015 Los Angeles CA East - Drivers
Total for 1159810                 9.00
2547397            Regular       32.00   17.60 01/07/2019 Los Angeles CA West - Drivers
2547397            Overtime       7.50   26.40 01/07/2019 Los Angeles CA West - Drivers
2547397            Regular       24.00   18.00 12/03/2018 Los Angeles CA West - Drivers
2547397            Overtime      10.50   27.00 12/03/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   18.00 12/10/2018 Los Angeles CA West - Drivers
2547397            Overtime      10.25   27.00 12/10/2018 Los Angeles CA West - Drivers
2547397            Regular       24.00   18.00 12/17/2018 Los Angeles CA West - Drivers
2547397            Overtime      10.75   27.00 12/17/2018 Los Angeles CA West - Drivers
2547397            Regular       40.00   17.00 06/25/2018 Los Angeles CA West - Drivers
2547397            Overtime      16.00   25.50 06/25/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 07/02/2018 Los Angeles CA West - Drivers
2547397            Overtime       1.00   25.50 07/02/2018 Los Angeles CA West - Drivers
2547397            Regular       24.00   17.00 07/09/2018 Los Angeles CA West - Drivers
2547397            Overtime       8.00   25.50 07/09/2018 Los Angeles CA West - Drivers
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                   Regular       40.00Document
                                         17.00 38-5   Filed Los
                                                07/16/2018  03/22/21
                                                                AngelesPage  109- Drivers
                                                                       CA West    of 691    Page ID
2547397            Overtime       7.25   25.50 #:882
                                                07/16/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 07/23/2018 Los Angeles CA West - Drivers
2547397            Overtime       4.00   25.50 07/23/2018 Los Angeles CA West - Drivers
2547397            Regular       40.00   17.00 07/30/2018 Los Angeles CA West - Drivers
2547397            Overtime       7.50   25.50 07/30/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 08/06/2018 Los Angeles CA West - Drivers
2547397            Overtime       5.25   25.50 08/06/2018 Los Angeles CA West - Drivers
2547397            Regular       40.00   17.00 08/13/2018 Los Angeles CA West - Drivers
2547397            Overtime       6.50   25.50 08/13/2018 Los Angeles CA West - Drivers
2547397            Regular       24.00   17.00 08/20/2018 Los Angeles CA West - Drivers
2547397            Overtime       4.50   25.50 08/20/2018 Los Angeles CA West - Drivers
2547397            Regular       40.00   17.00 08/27/2018 Los Angeles CA West - Drivers
2547397            Overtime       7.00   25.50 08/27/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 09/03/2018 Los Angeles CA West - Drivers
2547397            Overtime       9.75   25.50 09/03/2018 Los Angeles CA West - Drivers
2547397            Regular       40.00   17.00 09/10/2018 Los Angeles CA West - Drivers
2547397            Overtime       4.50   25.50 09/10/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 09/17/2018 Los Angeles CA West - Drivers
2547397            Overtime       4.50   25.50 09/17/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 09/24/2018 Los Angeles CA West - Drivers
2547397            Overtime       3.50   25.50 09/24/2018 Los Angeles CA West - Drivers
2547397            Regular       16.00   17.00 10/01/2018 Los Angeles CA West - Drivers
2547397            Overtime       4.00   25.50 10/01/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 10/08/2018 Los Angeles CA West - Drivers
2547397            Overtime      10.50   25.50 10/08/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 10/15/2018 Los Angeles CA West - Drivers
2547397            Overtime       6.00   25.50 10/15/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 10/22/2018 Los Angeles CA West - Drivers
2547397            Overtime       2.50   25.50 10/22/2018 Los Angeles CA West - Drivers
2547397            Regular       32.00   17.00 10/29/2018 Los Angeles CA West - Drivers
2547397            Overtime       6.25   25.50 10/29/2018 Los Angeles CA West - Drivers
2547397            Regular       40.00   17.00 11/05/2018 Los Angeles CA West - Drivers
2547397            Overtime       8.00   25.50 11/05/2018 Los Angeles CA West - Drivers
2547397            Regular       24.00   17.00 11/12/2018 Los Angeles CA West - Drivers
2547397            Overtime       6.25   25.50 11/12/2018 Los Angeles CA West - Drivers
2547397            Regular       24.00   17.00 11/19/2018 Los Angeles CA West - Drivers
2547397            Overtime       2.50   25.50 11/19/2018 Los Angeles CA West - Drivers
2547397            Regular        8.00   17.00 01/21/2019 Los Angeles CA West - Drivers
2547397            Overtime       0.25   25.50 01/21/2019 Los Angeles CA West - Drivers
2547397            Regular        8.00   18.00 02/04/2019 Los Angeles CA West - Drivers
2547397            Overtime       0.50   27.00 02/04/2019 Los Angeles CA West - Drivers
Total for 2547397             1,015.00
2584035            Regular        8.00   16.50 08/13/2018 Los Angeles CA West - Drivers
2584035            Regular       24.00   16.50 08/20/2018 Los Angeles CA West - Drivers
2584035            Overtime       6.50   24.75 08/20/2018 Los Angeles CA West - Drivers
Total for 2584035                38.50
2674542            Regular       27.00   26.00 03/25/2019 zz - San Francisco CA - Drivers
2674542            Overtime       3.50   39.00 03/25/2019 zz - San Francisco CA - Drivers
2674542            Regular       40.00   26.00 04/01/2019 zz - San Francisco CA - Drivers
2674542            Overtime       8.75   39.00 04/01/2019 zz - San Francisco CA - Drivers
2674542            Regular       40.00   26.00 04/08/2019 zz - San Francisco CA - Drivers
2674542            Regular       36.00   26.00 04/15/2019 zz - San Francisco CA - Drivers
2674542            Regular        9.75   20.98 01/21/2019 zz - San Francisco CA - Drivers
2674542            Regular       32.00   26.00 02/18/2019 zz - San Francisco CA - Drivers
2674542            Overtime       2.75   39.00 02/18/2019 zz - San Francisco CA - Drivers
Total for 2674542               199.75
1217071            Regular       40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
1217071            Overtime      23.25   30.00 10/26/2015 Los Angeles CA West - Drivers
1217071            Regular       40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1217071            Overtime      12.75   28.50 11/02/2015 Los Angeles CA West - Drivers
1217071            Regular       39.50   19.00 11/09/2015 Los Angeles CA West - Drivers
1217071            Overtime       8.25   28.50 11/09/2015 Los Angeles CA West - Drivers
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                     Regular      40.00Document
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                                                                        CA West   of 691 Page ID
1217071              Overtime     11.50   28.50 #:883
                                                 11/16/2015 Los Angeles CA West - Drivers
1217071             Regular        32.00    19.00   11/23/2015   Los   Angeles   CA   West   - Drivers
1217071             Overtime       10.00    28.50   11/23/2015   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.25    28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
1217071             Overtime       24.75    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   12/14/2015   Los   Angeles   CA   West   - Drivers
1217071             Overtime       22.00    28.50   12/14/2015   Los   Angeles   CA   West   - Drivers
1217071             Regular        25.75    19.00   12/21/2015   Los   Angeles   CA   West   - Drivers
1217071             Overtime        6.00    28.50   12/21/2015   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
1217071             Overtime        5.75    28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       27.50    28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       22.25    28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        6.00    28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.00    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        2.00    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       10.75    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.00    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       10.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        7.50    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        6.00    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        5.50    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        8.25    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        8.50    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       17.00    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       17.75    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        9.50    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        7.75    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        38.75    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        3.75    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        39.75    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        4.25    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       16.50    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       23.50    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        7.00    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       23.75    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       28.50    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
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                     Overtime     21.25Document
                                          28.88 38-5   Filed Los
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                                                                        CA West   of 691 Page ID
1217071              Regular      40.00   19.25 #:884
                                                 06/27/2016 Los Angeles CA West - Drivers
1217071             Overtime       21.75    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       10.00    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       17.75    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       19.00    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       16.25    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        41.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       16.25    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       15.50    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       19.75    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       21.25    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.00    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.00    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.50    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        9.50    28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        16.00    19.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        5.75    28.88   09/26/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        28.00    19.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        5.25    28.88   10/03/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.00    28.88   10/10/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.25    28.88   10/17/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.25    28.88   10/24/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       14.50    28.88   10/31/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       10.00    28.88   11/07/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        8.00    28.88   11/14/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime        9.50    28.88   11/21/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       14.25    28.88   11/28/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.25    28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       30.25    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       27.75    28.88   12/19/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.75    28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       20.25    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.50    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       14.75    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        16.00    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        1.00    28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
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                     Regular       8.00Document
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1217071              Overtime      1.75   28.88 #:885
                                                 01/30/2017 Los Angeles CA West - Drivers
1217071             Regular        40.00    19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       13.25    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        16.00    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        4.50    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        6.50    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.50    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        16.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        9.00    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       13.50    28.88   03/13/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       10.00    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       13.75    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       20.25    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        31.25    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.50    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       13.00    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       29.00    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       16.50    28.88   05/01/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       34.50    28.88   05/08/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        8.00    28.88   05/15/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       14.00    28.88   05/22/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.75    28.88   05/29/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.75    28.88   06/05/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       18.00    28.88   06/12/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   06/19/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.75    28.88   06/19/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        16.00    19.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        5.00    28.88   06/26/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        31.50    19.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        8.00    28.88   07/03/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       11.75    28.88   07/10/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/17/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       19.25    28.88   07/17/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       16.75    28.88   07/24/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       13.75    28.88   07/31/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        40.00    19.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       16.75    28.88   08/07/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        16.00    19.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        6.75    28.88   08/14/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        24.00    19.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime       12.25    28.88   08/21/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1217071             Overtime        9.25    28.88   08/28/2017   Los   Angeles   CA   West   - Drivers
1217071             Regular        32.00    19.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1217071 Case 2:19-cv-08580-JFW-MAA
                   Overtime      13.25Document
                                         28.88 38-5   Filed Los
                                                09/04/2017  03/22/21
                                                                AngelesPage 113- Drivers
                                                                       CA West   of 691    Page ID
1217071            Regular       39.75   19.25 #:886
                                                09/11/2017 Los Angeles CA West - Drivers
1217071            Overtime       9.50   28.88 09/11/2017 Los Angeles CA West - Drivers
1217071            Regular       40.00   19.25 09/18/2017 Los Angeles CA West - Drivers
1217071            Overtime      14.75   28.88 09/18/2017 Los Angeles CA West - Drivers
1217071            Regular       40.00   19.25 09/25/2017 Los Angeles CA West - Drivers
1217071            Overtime      24.00   28.88 09/25/2017 Los Angeles CA West - Drivers
1217071            Regular       36.25   19.25 10/02/2017 Los Angeles CA West - Drivers
1217071            Overtime      16.25   28.88 10/02/2017 Los Angeles CA West - Drivers
1217071            Regular       39.50   19.25 10/09/2017 Los Angeles CA West - Drivers
1217071            Overtime       7.25   28.88 10/09/2017 Los Angeles CA West - Drivers
1217071            Regular       40.00   19.25 10/16/2017 Los Angeles CA West - Drivers
1217071            Overtime      12.50   28.88 10/16/2017 Los Angeles CA West - Drivers
1217071            Regular       40.00   19.25 10/23/2017 Los Angeles CA West - Drivers
1217071            Overtime      11.50   28.88 10/23/2017 Los Angeles CA West - Drivers
1217071            Regular       32.00   19.25 10/30/2017 Los Angeles CA West - Drivers
1217071            Overtime      11.50   28.88 10/30/2017 Los Angeles CA West - Drivers
1217071            Regular       40.00   19.25 11/06/2017 Los Angeles CA West - Drivers
1217071            Overtime       9.50   28.88 11/06/2017 Los Angeles CA West - Drivers
1217071            Regular       32.00   19.25 11/13/2017 Los Angeles CA West - Drivers
1217071            Overtime       7.25   28.88 11/13/2017 Los Angeles CA West - Drivers
1217071            Regular       24.00   19.25 11/20/2017 Los Angeles CA West - Drivers
1217071            Overtime       7.50   28.88 11/20/2017 Los Angeles CA West - Drivers
1217071            Regular       32.00   19.25 11/27/2017 Los Angeles CA West - Drivers
1217071            Overtime      14.75   28.88 11/27/2017 Los Angeles CA West - Drivers
Total for 1217071             5,300.75
1330046            Regular        5.50   22.00 07/09/2018 Sacramento CA - Drivers
1330046            Regular       32.00   21.00 06/18/2018 Sacramento CA - Drivers
1330046            Overtime       9.50   31.50 06/18/2018 Sacramento CA - Drivers
1330046            Regular       32.00   21.00 06/25/2018 Sacramento CA - Drivers
1330046            Overtime       8.00   31.50 06/25/2018 Sacramento CA - Drivers
1330046            Regular       16.00   21.00 06/25/2018 Sacramento CA - Drivers
1330046            Overtime       8.00   31.50 06/25/2018 Sacramento CA - Drivers
Total for 1330046               111.00
2392480            Regular        8.00   19.00 01/01/2018 Los Angeles CA East - Drivers
2392480            Overtime       3.00   28.50 01/01/2018 Los Angeles CA East - Drivers
2392480            Regular        8.00   20.75 12/25/2017 Los Angeles CA East - Drivers
2392480            Overtime       4.00   31.13 12/25/2017 Los Angeles CA East - Drivers
2392480            Regular        4.25   20.75 01/01/2018 Los Angeles CA East - Drivers
2392480            Regular        1.00   21.00 10/02/2017 Los Angeles CA East - Drivers
2392480            Regular       58.50   21.00 10/09/2017 Los Angeles CA East - Drivers
2392480            Regular       60.75   21.00 10/16/2017 Los Angeles CA East - Drivers
2392480            Regular       57.25   21.00 10/23/2017 Los Angeles CA East - Drivers
2392480            Regular       60.75   21.00 10/30/2017 Los Angeles CA East - Drivers
2392480            Regular       58.25   21.00 11/06/2017 Los Angeles CA East - Drivers
2392480            Regular       55.50   21.00 11/13/2017 Los Angeles CA East - Drivers
2392480            Regular       37.25   21.00 11/20/2017 Los Angeles CA East - Drivers
2392480            Regular       58.75   21.00 11/27/2017 Los Angeles CA East - Drivers
2392480            Regular       58.75   21.00 12/04/2017 Los Angeles CA East - Drivers
2392480            Regular       59.00   21.00 12/11/2017 Los Angeles CA East - Drivers
2392480            Regular       22.25   21.00 12/18/2017 Los Angeles CA East - Drivers
Total for 2392480               615.25
872905             Regular        8.00   18.50 08/03/2015 Los Angeles CA West - Drivers
872905             Overtime       1.00   27.75 08/03/2015 Los Angeles CA West - Drivers
872905             Regular       32.00   18.50 08/10/2015 Los Angeles CA West - Drivers
872905             Overtime       6.00   27.75 08/10/2015 Los Angeles CA West - Drivers
872905             Regular       40.00   18.50 08/17/2015 Los Angeles CA West - Drivers
872905             Overtime      10.00   27.75 08/17/2015 Los Angeles CA West - Drivers
872905             Regular       37.25   20.00 08/24/2015 Los Angeles CA West - Drivers
872905             Overtime       0.75   30.00 08/24/2015 Los Angeles CA West - Drivers
872905             Regular       34.00   20.00 08/31/2015 Los Angeles CA West - Drivers
872905             Overtime       3.75   30.00 08/31/2015 Los Angeles CA West - Drivers
872905             Regular       24.00   20.00 09/07/2015 Los Angeles CA West - Drivers
872905   Case 2:19-cv-08580-JFW-MAA
                    Overtime      5.50Document
                                         30.00 38-5   Filed Los
                                                09/07/2015  03/22/21
                                                                AngelesPage 114- Drivers
                                                                       CA West   of 691 Page ID
872905              Regular      16.00   20.00 #:887
                                                09/14/2015 Los Angeles CA West - Drivers
872905              Overtime        2.25   30.00   09/14/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        31.25   20.00   09/21/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        5.75   30.00   09/21/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        34.75   20.00   09/28/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        1.25   30.00   09/28/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   10/05/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        3.00   30.00   10/05/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        38.25   20.00   10/12/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        2.25   30.00   10/12/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   10/19/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.75   30.00   10/19/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   10/26/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        4.50   30.00   10/26/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   11/02/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        5.50   30.00   11/02/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   20.00   11/09/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        7.50   30.00   11/09/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   11/16/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.75   30.00   11/16/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        39.50   20.00   11/23/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        5.75   30.00   11/23/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   11/30/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        7.25   30.00   11/30/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        3.75   30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        39.00   20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        7.00   30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        23.00   20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
872905              Overtime        2.00   30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
872905              Regular        39.50   20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        8.50   30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        8.75   30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        0.50   30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        8.00   30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.00   30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        39.75   20.00   02/08/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        1.50   30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        8.75   30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        1.75   30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        3.00   30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        2.25   30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        30.75   20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        1.25   30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        7.50   30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        33.50   20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        5.50   30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        3.75   30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        28.25   20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        2.75   30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.25   30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
872905   Case 2:19-cv-08580-JFW-MAA
                    Regular      16.00Document
                                         20.00 38-5   Filed Los
                                                04/25/2016  03/22/21
                                                                AngelesPage 115- Drivers
                                                                       CA West   of 691 Page ID
872905              Overtime      2.00   30.00 #:888
                                                04/25/2016 Los Angeles CA West - Drivers
872905              Regular        23.75   20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.00   30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        5.00   30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.00   30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        39.25   20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        9.00   30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        29.00   20.25   05/30/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        3.25   30.38   05/30/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       16.00   30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   20.25   06/13/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        2.25   30.38   06/13/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        38.00   20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.75   30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       13.75   28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        4.00   28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       14.75   28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        38.50   19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       14.75   28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        39.00   19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       12.50   28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        41.00   19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       11.25   28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       11.50   28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       13.50   28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       21.50   28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       12.50   28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        4.50   28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime       10.00   28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        4.50   28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        4.75   30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        30.00   20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.75   30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        7.25   30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        40.00   20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        9.50   30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        30.75   20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        5.50   30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        7.50   30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        3.75   30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        6.25   30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        24.00   20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
872905              Overtime        4.50   30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
872905              Regular        32.00   20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
872905 Case 2:19-cv-08580-JFW-MAA
                  Overtime       2.75Document
                                        30.38 38-5   Filed Los
                                               11/28/2016  03/22/21
                                                               AngelesPage 116- Drivers
                                                                      CA West   of 691    Page ID
872905            Regular       32.00   20.25 #:889
                                               12/05/2016 Los Angeles CA West - Drivers
872905            Overtime      19.75   30.38 12/05/2016 Los Angeles CA West - Drivers
872905            Regular       40.00   20.25 12/12/2016 Los Angeles CA West - Drivers
872905            Overtime      15.75   30.38 12/12/2016 Los Angeles CA West - Drivers
872905            Regular       31.25   20.25 12/19/2016 Los Angeles CA West - Drivers
872905            Overtime       4.00   30.38 12/19/2016 Los Angeles CA West - Drivers
872905            Regular       24.00   20.25 12/26/2016 Los Angeles CA West - Drivers
872905            Overtime       3.75   30.38 12/26/2016 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 01/02/2017 Los Angeles CA West - Drivers
872905            Overtime      11.00   30.38 01/02/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 01/09/2017 Los Angeles CA West - Drivers
872905            Overtime      10.75   30.38 01/09/2017 Los Angeles CA West - Drivers
872905            Regular       40.00   20.25 01/16/2017 Los Angeles CA West - Drivers
872905            Overtime      13.00   30.38 01/16/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 01/23/2017 Los Angeles CA West - Drivers
872905            Overtime       8.25   30.38 01/23/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 01/30/2017 Los Angeles CA West - Drivers
872905            Overtime       9.25   30.38 01/30/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 02/06/2017 Los Angeles CA West - Drivers
872905            Overtime      14.75   30.38 02/06/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 02/13/2017 Los Angeles CA West - Drivers
872905            Overtime       7.75   30.38 02/13/2017 Los Angeles CA West - Drivers
872905            Regular        8.00   20.25 02/20/2017 Los Angeles CA West - Drivers
872905            Overtime       3.50   30.38 02/20/2017 Los Angeles CA West - Drivers
872905            Regular       24.00   20.25 02/27/2017 Los Angeles CA West - Drivers
872905            Overtime       5.50   30.38 02/27/2017 Los Angeles CA West - Drivers
872905            Regular       40.00   20.25 03/06/2017 Los Angeles CA West - Drivers
872905            Overtime      10.50   30.38 03/06/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 03/13/2017 Los Angeles CA West - Drivers
872905            Overtime      10.25   30.38 03/13/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 03/20/2017 Los Angeles CA West - Drivers
872905            Overtime       8.50   30.38 03/20/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 03/27/2017 Los Angeles CA West - Drivers
872905            Overtime       2.50   30.38 03/27/2017 Los Angeles CA West - Drivers
872905            Regular       23.00   20.25 04/03/2017 Los Angeles CA West - Drivers
872905            Overtime       2.50   30.38 04/03/2017 Los Angeles CA West - Drivers
872905            Regular       31.00   20.25 04/10/2017 Los Angeles CA West - Drivers
872905            Overtime       5.25   30.38 04/10/2017 Los Angeles CA West - Drivers
872905            Regular       32.00   20.25 04/17/2017 Los Angeles CA West - Drivers
872905            Overtime       4.25   30.38 04/17/2017 Los Angeles CA West - Drivers
872905            Regular       40.00   20.25 04/24/2017 Los Angeles CA West - Drivers
872905            Overtime      10.75   30.38 04/24/2017 Los Angeles CA West - Drivers
872905            Regular       23.00   20.25 05/01/2017 Los Angeles CA West - Drivers
872905            Overtime       5.50   30.38 05/01/2017 Los Angeles CA West - Drivers
872905            Regular       39.00   20.25 05/08/2017 Los Angeles CA West - Drivers
872905            Overtime       7.25   30.38 05/08/2017 Los Angeles CA West - Drivers
872905            Regular       24.00   20.25 05/15/2017 Los Angeles CA West - Drivers
872905            Overtime       3.75   30.38 05/15/2017 Los Angeles CA West - Drivers
872905            Regular       24.00   20.25 05/22/2017 Los Angeles CA West - Drivers
872905            Overtime       5.50   30.38 05/22/2017 Los Angeles CA West - Drivers
872905            Regular       14.75   20.25 05/29/2017 Los Angeles CA West - Drivers
Total for 872905             3,585.50
2728428           Regular        8.00   17.50 04/01/2019 Los Angeles CA East - Drivers
2728428           Overtime       0.75   26.25 04/01/2019 Los Angeles CA East - Drivers
Total for 2728428                8.75
2417243           Regular        8.00   23.00 11/27/2017 Sacramento CA - Drivers
2417243           Overtime       0.50   34.50 11/27/2017 Sacramento CA - Drivers
Total for 2417243                8.50
2465132           Regular       32.00   17.60 01/29/2018 Los Angeles CA West - Drivers
2465132           Overtime      10.00   26.40 01/29/2018 Los Angeles CA West - Drivers
2465132           Regular       32.00   17.60 02/05/2018 Los Angeles CA West - Drivers
2465132           Overtime       8.50   26.40 02/05/2018 Los Angeles CA West - Drivers
2465132 Case 2:19-cv-08580-JFW-MAA
                   Regular      32.00Document
                                        17.60 38-5   Filed Los
                                               02/12/2018  03/22/21
                                                               AngelesPage 117- Drivers
                                                                      CA West   of 691    Page ID
2465132            Overtime      8.00   26.40 #:890
                                               02/12/2018 Los Angeles CA West - Drivers
2465132            Regular      32.00   17.60 02/19/2018 Los Angeles CA West - Drivers
2465132            Overtime     13.00   26.40 02/19/2018 Los Angeles CA West - Drivers
2465132            Regular      32.00   17.60 02/26/2018 Los Angeles CA West - Drivers
2465132            Overtime     16.00   26.40 02/26/2018 Los Angeles CA West - Drivers
2465132            Regular      32.00   17.60 03/05/2018 Los Angeles CA West - Drivers
2465132            Overtime     16.00   26.40 03/05/2018 Los Angeles CA West - Drivers
2465132            Regular      32.00   17.60 03/12/2018 Los Angeles CA West - Drivers
2465132            Overtime     15.00   26.40 03/12/2018 Los Angeles CA West - Drivers
2465132            Regular      32.00   17.60 03/19/2018 Los Angeles CA West - Drivers
2465132            Overtime     14.00   26.40 03/19/2018 Los Angeles CA West - Drivers
2465132            Regular      32.00   17.60 03/26/2018 Los Angeles CA West - Drivers
2465132            Overtime     16.00   26.40 03/26/2018 Los Angeles CA West - Drivers
Total for 2465132              404.50
1328783            Regular       4.50   16.00 05/09/2016 Los Angeles CA West - Drivers
Total for 1328783                4.50
2499275            Regular       8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2499275            Regular      12.00   19.50 03/19/2018 Los Angeles CA West - Drivers
2499275            Overtime      3.00   29.25 03/19/2018 Los Angeles CA West - Drivers
2499275            Regular      13.00   19.50 03/26/2018 Los Angeles CA West - Drivers
2499275            Regular       4.00   19.50 04/02/2018 Los Angeles CA West - Drivers
2499275            Regular      21.50   19.50 04/02/2018 Los Angeles CA West - Drivers
2499275            Overtime      5.50   29.25 04/02/2018 Los Angeles CA West - Drivers
2499275            Regular       6.50   19.50 04/16/2018 Los Angeles CA West - Drivers
2499275            Regular      31.00   19.50 04/23/2018 Los Angeles CA West - Drivers
2499275            Overtime      2.50   29.25 04/23/2018 Los Angeles CA West - Drivers
2499275            Regular      24.00   19.50 04/30/2018 Los Angeles CA West - Drivers
2499275            Overtime      4.50   29.25 04/30/2018 Los Angeles CA West - Drivers
2499275            Regular      24.00   19.50 05/07/2018 Los Angeles CA West - Drivers
2499275            Overtime      9.25   29.25 05/07/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   19.50 05/14/2018 Los Angeles CA West - Drivers
2499275            Overtime      7.25   29.25 05/14/2018 Los Angeles CA West - Drivers
2499275            Regular      15.50   19.50 05/21/2018 Los Angeles CA West - Drivers
2499275            Overtime      4.00   29.25 05/21/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   19.50 05/28/2018 Los Angeles CA West - Drivers
2499275            Overtime      5.75   29.25 05/28/2018 Los Angeles CA West - Drivers
2499275            Regular      24.00   19.50 06/04/2018 Los Angeles CA West - Drivers
2499275            Overtime     11.50   29.25 06/04/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   19.50 06/11/2018 Los Angeles CA West - Drivers
2499275            Overtime      6.25   29.25 06/11/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   19.50 06/18/2018 Los Angeles CA West - Drivers
2499275            Overtime      4.75   29.25 06/18/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 06/25/2018 Los Angeles CA West - Drivers
2499275            Overtime      5.50   30.75 06/25/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 07/02/2018 Los Angeles CA West - Drivers
2499275            Overtime      5.75   30.75 07/02/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 07/09/2018 Los Angeles CA West - Drivers
2499275            Overtime      4.25   30.75 07/09/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 07/16/2018 Los Angeles CA West - Drivers
2499275            Overtime      6.25   30.75 07/16/2018 Los Angeles CA West - Drivers
2499275            Regular      16.50   20.50 07/23/2018 Los Angeles CA West - Drivers
2499275            Overtime      6.50   30.75 07/23/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 07/30/2018 Los Angeles CA West - Drivers
2499275            Overtime      6.25   30.75 07/30/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 08/06/2018 Los Angeles CA West - Drivers
2499275            Overtime      6.25   30.75 08/06/2018 Los Angeles CA West - Drivers
2499275            Regular      15.25   20.50 08/13/2018 Los Angeles CA West - Drivers
2499275            Overtime      2.50   30.75 08/13/2018 Los Angeles CA West - Drivers
2499275            Regular      15.75   20.50 08/20/2018 Los Angeles CA West - Drivers
2499275            Overtime      2.00   30.75 08/20/2018 Los Angeles CA West - Drivers
2499275            Regular      16.00   20.50 08/27/2018 Los Angeles CA West - Drivers
2499275            Overtime      5.75   30.75 08/27/2018 Los Angeles CA West - Drivers
2499275 Case   2:19-cv-08580-JFW-MAA
                     Regular      16.00Document
                                          20.50 38-5   Filed Los
                                                 09/03/2018  03/22/21
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                                                                        CA West   of 691 Page ID
2499275              Overtime      4.50   30.75 #:891
                                                 09/03/2018 Los Angeles CA West - Drivers
2499275             Regular        16.00    20.50   09/10/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        7.00    30.75   09/10/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   09/17/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        3.75    30.75   09/17/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular         8.00    20.50   09/24/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        2.25    30.75   09/24/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   10/01/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        3.00    30.75   10/01/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        14.25    20.50   10/08/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular         7.75    20.50   10/15/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular         8.00    20.50   10/22/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        3.50    30.75   10/22/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   10/29/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        5.00    30.75   10/29/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   11/05/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        5.75    30.75   11/05/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   11/12/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        3.00    30.75   11/12/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   11/19/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        4.00    30.75   11/19/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        15.25    20.50   11/26/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        2.50    30.75   11/26/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular         6.75    20.50   12/03/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   12/10/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        0.50    30.75   12/10/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   12/17/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        1.50    30.75   12/17/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        24.00    20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        4.50    30.75   12/24/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   12/31/2018   Los   Angeles   CA   West   - Drivers
2499275             Overtime        1.75    30.75   12/31/2018   Los   Angeles   CA   West   - Drivers
2499275             Regular         8.00    20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        2.25    30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        0.75    30.75   02/11/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        15.25    20.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        1.50    30.75   02/18/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        14.25    20.50   02/25/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        24.00    20.50   03/04/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        4.25    30.75   03/04/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        23.50    20.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        7.50    30.75   03/11/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   03/25/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        2.00    30.75   03/25/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        24.00    20.50   04/01/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        5.00    30.75   04/01/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular         7.00    20.50   04/08/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular         8.00    20.50   04/22/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        2.50    30.75   04/22/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   04/29/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        0.25    30.75   04/29/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    20.50   05/06/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        6.75    30.75   05/06/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular         7.25    20.50   05/13/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular         6.50    20.50   05/20/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular         8.00    20.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        0.25    30.75   07/01/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        16.00    23.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        40.00    23.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2499275             Overtime        1.00    34.50   05/20/2019   Los   Angeles   CA   West   - Drivers
2499275             Regular        24.00    23.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2499275 Case 2:19-cv-08580-JFW-MAA
                   Overtime        7.25Document
                                          34.50 38-5   Filed Los
                                                 05/27/2019  03/22/21
                                                                 AngelesPage 119- Drivers
                                                                        CA West   of 691    Page ID
2499275            Regular       32.00    23.00 #:892
                                                 06/03/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 06/10/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 06/17/2019 Los Angeles CA West - Drivers
2499275            Overtime        2.50   34.50 06/17/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 06/24/2019 Los Angeles CA West - Drivers
2499275            Overtime        2.00   34.50 06/24/2019 Los Angeles CA West - Drivers
2499275            Regular       24.00    23.00 07/01/2019 Los Angeles CA West - Drivers
2499275            Overtime        6.25   34.50 07/01/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 07/08/2019 Los Angeles CA West - Drivers
2499275            Overtime        2.00   34.50 07/08/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 07/15/2019 Los Angeles CA West - Drivers
2499275            Overtime        8.75   34.50 07/15/2019 Los Angeles CA West - Drivers
2499275            Regular       32.00    23.00 07/22/2019 Los Angeles CA West - Drivers
2499275            Overtime        8.75   34.50 07/22/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 07/29/2019 Los Angeles CA West - Drivers
2499275            Overtime        9.50   34.50 07/29/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 08/05/2019 Los Angeles CA West - Drivers
2499275            Overtime        5.25   34.50 08/05/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 08/12/2019 Los Angeles CA West - Drivers
2499275            Overtime      12.25    34.50 08/12/2019 Los Angeles CA West - Drivers
2499275            Regular       40.00    23.00 08/19/2019 Los Angeles CA West - Drivers
2499275            Overtime      11.75    34.50 08/19/2019 Los Angeles CA West - Drivers
2499275            Regular       26.50    23.00 08/26/2019 Los Angeles CA West - Drivers
2499275            Overtime        3.25   34.50 08/26/2019 Los Angeles CA West - Drivers
2499275            Regular       20.00    23.00 08/26/2019 Los Angeles CA West - Drivers
2499275            Regular         8.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2499275            Overtime        0.75   33.00 05/06/2019 Los Angeles CA West - Drivers
Total for 2499275             1,741.25
2364099            Regular       12.25    20.00 12/31/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   19.50 08/21/2017 Los Angeles CA East - Drivers
2364099            Overtime        2.00   29.25 08/21/2017 Los Angeles CA East - Drivers
2364099            Regular         7.00   20.00 01/07/2019 Los Angeles CA East - Drivers
2364099            Regular       16.00    19.00 08/28/2017 Los Angeles CA East - Drivers
2364099            Overtime        6.00   28.50 08/28/2017 Los Angeles CA East - Drivers
2364099            Regular         8.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2364099            Overtime        4.00   30.00 03/19/2018 Los Angeles CA East - Drivers
2364099            Regular       54.50    21.85 09/04/2017 Los Angeles CA East - Drivers
2364099            Regular       53.25    21.85 09/11/2017 Los Angeles CA East - Drivers
2364099            Regular         2.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   21.00 02/26/2018 Los Angeles CA East - Drivers
2364099            Overtime        1.50   31.50 02/26/2018 Los Angeles CA East - Drivers
2364099            Regular       16.00    21.00 03/05/2018 Los Angeles CA East - Drivers
2364099            Overtime        1.50   31.50 03/05/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2364099            Overtime        4.00   31.50 03/12/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2364099            Overtime        4.00   31.50 03/19/2018 Los Angeles CA East - Drivers
2364099            Regular        -8.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2364099            Overtime       -4.00   31.50 03/19/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   19.00 08/28/2017 Los Angeles CA East - Drivers
2364099            Overtime        4.00   28.50 08/28/2017 Los Angeles CA East - Drivers
2364099            Regular       16.00    20.00 05/21/2018 Los Angeles CA East - Drivers
2364099            Overtime        2.00   30.00 05/21/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2364099            Overtime        4.00   31.50 02/19/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   20.75 04/09/2018 Los Angeles CA East - Drivers
2364099            Overtime        0.50   31.12 04/09/2018 Los Angeles CA East - Drivers
2364099            Regular         4.75   20.75 04/16/2018 Los Angeles CA East - Drivers
2364099            Regular       16.00    20.75 04/23/2018 Los Angeles CA East - Drivers
2364099            Overtime        5.50   31.13 04/23/2018 Los Angeles CA East - Drivers
2364099            Regular         8.00   20.75 05/07/2018 Los Angeles CA East - Drivers
2364099            Overtime        1.00   31.13 05/07/2018 Los Angeles CA East - Drivers
2364099 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         20.00 38-5   Filed Los
                                                03/26/2018  03/22/21
                                                                AngelesPage 120
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2364099            Overtime       1.00   30.00 #:893
                                                03/26/2018 Los Angeles CA East - Drivers
2364099            Regular      40.00    20.00 02/12/2018 Los Angeles CA East - Drivers
2364099            Overtime     17.25    30.00 02/12/2018 Los Angeles CA East - Drivers
2364099            Overtime      -1.50   30.00 02/12/2018 Los Angeles CA East - Drivers
2364099            Regular        8.00   21.00 03/26/2018 Los Angeles CA East - Drivers
2364099            Overtime       4.00   31.50 03/26/2018 Los Angeles CA East - Drivers
2364099            Regular        8.00   20.00 04/30/2018 Los Angeles CA East - Drivers
2364099            Regular        8.00   21.00 04/09/2018 Los Angeles CA East - Drivers
2364099            Regular      40.00    19.00 04/02/2018 Los Angeles CA East - Drivers
2364099            Overtime     10.50    28.50 04/02/2018 Los Angeles CA East - Drivers
2364099            Regular      16.00    20.00 03/05/2018 Los Angeles CA East - Drivers
2364099            Overtime       2.25   30.00 03/05/2018 Los Angeles CA East - Drivers
2364099            Regular      32.00    20.00 03/12/2018 Los Angeles CA East - Drivers
2364099            Overtime       5.50   30.00 03/12/2018 Los Angeles CA East - Drivers
Total for 2364099              496.75
1776950            Regular        8.00   20.00 11/26/2018 Los Angeles CA East - Drivers
1776950            Overtime       1.25   30.00 11/26/2018 Los Angeles CA East - Drivers
1776950            Regular      32.00    21.00 04/22/2019 Los Angeles CA East - Drivers
1776950            Regular        8.00   21.00 04/29/2019 Los Angeles CA East - Drivers
1776950            Regular      54.75    23.00 12/17/2018 Los Angeles CA East - Drivers
1776950            Regular      16.75    23.00 12/24/2018 Los Angeles CA East - Drivers
1776950            Regular      24.25    23.00 01/21/2019 Los Angeles CA East - Drivers
1776950            Regular      38.25    23.00 01/28/2019 Los Angeles CA East - Drivers
1776950            Regular      42.00    23.00 02/04/2019 Los Angeles CA East - Drivers
1776950            Regular      33.00    23.00 02/11/2019 Los Angeles CA East - Drivers
1776950            Regular        8.00   23.00 02/18/2019 Los Angeles CA East - Drivers
1776950            Regular      32.25    23.00 02/25/2019 Los Angeles CA East - Drivers
1776950            Regular      10.00    23.00 03/04/2019 Los Angeles CA East - Drivers
1776950            Regular        6.50   19.50 04/03/2017 Los Angeles CA East - Drivers
1776950            Regular        8.00   19.50 03/11/2019 Los Angeles CA East - Drivers
1776950            Overtime       3.50   29.25 03/11/2019 Los Angeles CA East - Drivers
1776950            Regular        7.50   19.50 03/25/2019 Los Angeles CA East - Drivers
1776950            Regular      10.00    19.50 01/01/2018 Los Angeles CA East - Drivers
1776950            Overtime       4.00   29.25 01/01/2018 Los Angeles CA East - Drivers
1776950            Regular      16.00    21.00 10/29/2018 Los Angeles CA East - Drivers
1776950            Overtime       1.00   31.50 10/29/2018 Los Angeles CA East - Drivers
1776950            Regular      11.75    20.98 11/19/2018 Los Angeles CA East - Drivers
1776950            Regular        8.25   20.98 11/26/2018 Los Angeles CA East - Drivers
1776950            Regular        8.00   20.98 12/03/2018 Los Angeles CA East - Drivers
1776950            Regular      12.00    20.98 12/10/2018 Los Angeles CA East - Drivers
1776950            Regular      24.00    21.00 03/25/2019 Los Angeles CA East - Drivers
1776950            Overtime       7.75   31.50 03/25/2019 Los Angeles CA East - Drivers
1776950            Regular      16.00    21.00 04/08/2019 Los Angeles CA East - Drivers
1776950            Overtime       3.75   31.50 04/08/2019 Los Angeles CA East - Drivers
1776950            Regular      32.00    20.00 02/05/2018 Los Angeles CA East - Drivers
1776950            Overtime       1.00   30.00 02/05/2018 Los Angeles CA East - Drivers
1776950            Regular        8.00   20.00 02/12/2018 Los Angeles CA East - Drivers
1776950            Regular      24.00    20.00 02/19/2018 Los Angeles CA East - Drivers
1776950            Overtime       2.53   30.00 02/19/2018 Los Angeles CA East - Drivers
1776950            Regular      32.00    20.00 02/26/2018 Los Angeles CA East - Drivers
1776950            Overtime       3.44   30.00 02/26/2018 Los Angeles CA East - Drivers
1776950            Regular      16.00    20.00 03/05/2018 Los Angeles CA East - Drivers
1776950            Overtime       2.80   30.00 03/05/2018 Los Angeles CA East - Drivers
1776950            Regular        8.00   21.00 01/08/2018 Los Angeles CA East - Drivers
1776950            Regular      36.00    22.00 11/05/2018 Los Angeles CA East - Drivers
1776950            Overtime       6.50   33.00 11/05/2018 Los Angeles CA East - Drivers
1776950            Regular      21.00    19.00 12/05/2016 Los Angeles CA East - Drivers
1776950            Overtime       5.25   10.01 12/05/2016 Los Angeles CA East - Drivers
1776950            Regular      26.00    19.00 12/12/2016 Los Angeles CA East - Drivers
1776950            Overtime       2.00   38.00 12/12/2016 Los Angeles CA East - Drivers
1776950            Regular      40.00    19.00 12/19/2016 Los Angeles CA East - Drivers
1776950            Overtime       7.50   28.50 12/19/2016 Los Angeles CA East - Drivers
1776950 Case   2:19-cv-08580-JFW-MAA
                     Regular      16.00Document
                                          19.00 38-5   Filed Los
                                                 12/26/2016  03/22/21
                                                                 AngelesPage 121
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
1776950              Regular      15.00   20.75 #:894
                                                 03/27/2017 Los Angeles CA East - Drivers
1776950             Overtime         2.25   31.13   03/27/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular          8.00   20.75   04/24/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        20.00    20.75   05/01/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         3.00   31.13   05/01/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        32.00    20.75   05/08/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         7.50   31.13   05/08/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        40.00    20.75   05/15/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime       14.00    31.13   05/15/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        32.00    20.75   05/29/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         7.25   31.13   05/29/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        36.00    20.75   06/05/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime       12.00    31.13   06/05/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        32.00    20.75   06/12/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         8.25   31.12   06/12/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        32.00    20.75   06/19/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         4.50   31.13   06/19/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        36.00    20.75   06/26/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime       11.50    31.13   06/26/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        21.00    20.75   07/03/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         5.25   31.13   07/03/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        24.00    20.75   07/10/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         4.50   31.13   07/10/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        14.00    20.75   07/17/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         4.00   31.13   07/17/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        40.00    20.75   07/24/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime       10.25    31.13   07/24/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        54.00    20.75   05/15/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime        -6.00   31.13   05/15/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        52.25    20.75   08/07/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime       12.25    31.13   05/15/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        46.25    20.75   08/14/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         6.50   31.13   08/14/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        32.00    20.75   08/21/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime       12.50    31.13   08/21/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        14.50    20.75   08/28/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         3.00   31.13   08/28/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        24.00    20.75   09/04/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         6.75   31.13   09/04/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular          8.00   20.75   09/11/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         4.00   31.13   09/11/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        29.75    20.75   09/18/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         2.25   31.13   09/18/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        40.00    20.75   09/25/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         8.25   31.13   09/25/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        17.75    20.75   10/02/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular          8.00   20.75   10/09/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         1.25   31.13   10/09/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        16.00    20.75   10/16/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         3.00   31.13   10/16/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        21.75    20.75   10/23/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        12.00    20.75   10/30/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular          8.00   20.75   11/06/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        24.00    20.75   11/13/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         9.50   31.13   11/13/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        24.00    20.75   11/20/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         6.75   31.13   11/20/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        20.50    20.75   11/27/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         2.50   31.13   11/27/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular        25.00    20.75   12/11/2017   Los   Angeles   CA   East   - Drivers
1776950             Overtime         4.50   31.12   12/11/2017   Los   Angeles   CA   East   - Drivers
1776950             Regular          8.00   20.75   11/12/2018   Los   Angeles   CA   East   - Drivers
1776950 Case 2:19-cv-08580-JFW-MAA
                   Overtime        4.00Document
                                          31.13 38-5   Filed Los
                                                 11/12/2018  03/22/21
                                                                 AngelesPage 122
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1776950            Regular         6.50   19.00 #:895
                                                 03/20/2017 Los Angeles CA East - Drivers
1776950            Regular         8.00   19.00 03/27/2017 Los Angeles CA East - Drivers
1776950            Overtime        2.50   28.50 03/27/2017 Los Angeles CA East - Drivers
1776950            Regular       16.00    19.00 04/03/2017 Los Angeles CA East - Drivers
1776950            Overtime        4.75   28.50 04/03/2017 Los Angeles CA East - Drivers
1776950            Regular       36.00    19.00 04/10/2017 Los Angeles CA East - Drivers
1776950            Overtime        1.50   28.50 04/10/2017 Los Angeles CA East - Drivers
1776950            Regular       32.00    19.00 04/17/2017 Los Angeles CA East - Drivers
1776950            Overtime        5.50   28.50 04/17/2017 Los Angeles CA East - Drivers
1776950            Regular       16.00    19.00 12/18/2017 Los Angeles CA East - Drivers
1776950            Overtime        2.00   28.50 12/18/2017 Los Angeles CA East - Drivers
1776950            Regular       23.75    19.00 12/25/2017 Los Angeles CA East - Drivers
1776950            Overtime        2.75   28.50 12/25/2017 Los Angeles CA East - Drivers
1776950            Regular       16.00    21.00 11/19/2018 Los Angeles CA East - Drivers
1776950            Overtime        0.75   31.50 11/19/2018 Los Angeles CA East - Drivers
1776950            Regular       27.50    21.00 11/26/2018 Los Angeles CA East - Drivers
1776950            Overtime        2.25   31.50 11/26/2018 Los Angeles CA East - Drivers
1776950            Regular         8.00   20.00 02/12/2018 Los Angeles CA East - Drivers
1776950            Overtime        0.75   30.00 02/12/2018 Los Angeles CA East - Drivers
1776950            Overtime       -0.25   30.00 02/12/2018 Los Angeles CA East - Drivers
1776950            Regular         8.00   20.00 03/18/2019 Los Angeles CA East - Drivers
1776950            Overtime        3.50   30.00 03/18/2019 Los Angeles CA East - Drivers
Total for 1776950             2,013.27
1157996            Regular       16.00    22.00 11/12/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 11/12/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 11/19/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 11/19/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 11/26/2018 Sacramento CA - Drivers
1157996            Overtime        7.50   33.00 11/26/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 12/03/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 12/03/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 12/10/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 12/10/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 12/17/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 12/17/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 12/24/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 12/24/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 12/31/2018 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 12/31/2018 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 01/07/2019 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 01/07/2019 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 01/14/2019 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 01/14/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 01/21/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 01/21/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 01/28/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 01/28/2019 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 02/04/2019 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 02/04/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 02/11/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 02/11/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 02/18/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 02/18/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 02/25/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 02/25/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 03/04/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 03/04/2019 Sacramento CA - Drivers
1157996            Regular       16.00    22.00 03/11/2019 Sacramento CA - Drivers
1157996            Overtime        7.00   33.00 03/11/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 03/18/2019 Sacramento CA - Drivers
1157996            Overtime        3.50   33.00 03/18/2019 Sacramento CA - Drivers
1157996            Regular         8.00   22.00 03/25/2019 Sacramento CA - Drivers
1157996 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.50Document
                                        33.00 38-5   Filed Sacramento
                                               03/25/2019  03/22/21 Page    123 of 691
                                                                      CA - Drivers       Page ID
1157996            Regular       8.00   22.00 #:896
                                               04/01/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 04/01/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 04/08/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 04/08/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 04/22/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 04/22/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 04/29/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 04/29/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 05/06/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 05/06/2019 Sacramento CA - Drivers
1157996            Regular      16.00   22.00 05/13/2019 Sacramento CA - Drivers
1157996            Overtime      7.00   33.00 05/13/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 05/20/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 05/20/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 05/27/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 05/27/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 06/03/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 06/03/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 06/10/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 06/10/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 06/24/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 06/24/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 07/01/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 07/01/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 07/15/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 07/15/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 07/22/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 07/22/2019 Sacramento CA - Drivers
1157996            Regular       8.00   22.00 07/29/2019 Sacramento CA - Drivers
1157996            Overtime      3.50   33.00 07/29/2019 Sacramento CA - Drivers
1157996            Regular      16.50   22.00 08/12/2019 Sacramento CA - Drivers
1157996            Overtime      7.00   33.00 08/12/2019 Sacramento CA - Drivers
1157996            Regular      16.00   22.00 08/19/2019 Sacramento CA - Drivers
1157996            Overtime      7.00   33.00 08/19/2019 Sacramento CA - Drivers
1157996            Regular      16.00   22.00 09/02/2019 Sacramento CA - Drivers
1157996            Overtime      7.00   33.00 09/02/2019 Sacramento CA - Drivers
Total for 1157996              622.00
1360001            Regular       4.00   20.00 09/12/2016 Sacramento CA - Drivers
1360001            Regular       9.00   21.00 09/12/2016 Sacramento CA - Drivers
1360001            Regular       7.25   21.00 09/19/2016 Sacramento CA - Drivers
1360001            Regular      33.50   21.00 07/18/2016 Sacramento CA - Drivers
1360001            Regular      50.00   21.00 07/25/2016 Sacramento CA - Drivers
1360001            Overtime      1.50   31.50 07/25/2016 Sacramento CA - Drivers
1360001            Regular      46.50   21.00 08/01/2016 Sacramento CA - Drivers
1360001            Overtime      4.00   31.50 08/01/2016 Sacramento CA - Drivers
1360001            Regular      47.00   21.00 08/08/2016 Sacramento CA - Drivers
1360001            Overtime      2.00   31.50 08/08/2016 Sacramento CA - Drivers
1360001            Regular      45.50   21.00 08/15/2016 Sacramento CA - Drivers
1360001            Regular      34.50   21.00 08/22/2016 Sacramento CA - Drivers
1360001            Regular      43.00   21.00 08/29/2016 Sacramento CA - Drivers
1360001            Overtime      0.50   31.50 08/29/2016 Sacramento CA - Drivers
1360001            Regular      24.00   21.00 09/05/2016 Sacramento CA - Drivers
1360001            Overtime     10.00   31.50 09/05/2016 Sacramento CA - Drivers
Total for 1360001              362.25
448737             Regular      24.00   20.00 01/16/2017 Los Angeles CA West - Drivers
448737             Overtime      4.75   30.00 01/16/2017 Los Angeles CA West - Drivers
448737             Regular      24.00   20.00 01/23/2017 Los Angeles CA West - Drivers
448737             Overtime      2.00   30.00 01/23/2017 Los Angeles CA West - Drivers
448737             Regular      24.00   20.00 01/30/2017 Los Angeles CA West - Drivers
448737             Overtime      5.75   30.00 01/30/2017 Los Angeles CA West - Drivers
448737             Regular      40.00   20.00 02/06/2017 Los Angeles CA West - Drivers
448737             Overtime     11.50   30.00 02/06/2017 Los Angeles CA West - Drivers
448737 Case 2:19-cv-08580-JFW-MAA
                  Regular        24.00Document
                                         20.00 38-5   Filed Los
                                                02/13/2017  03/22/21
                                                                AngelesPage 124- Drivers
                                                                       CA West   of 691    Page ID
448737            Overtime        6.50   30.00 #:897
                                                02/13/2017 Los Angeles CA West - Drivers
448737            Regular         8.00   20.00 02/20/2017 Los Angeles CA West - Drivers
448737            Overtime        3.50   30.00 02/20/2017 Los Angeles CA West - Drivers
448737            Regular        24.00   20.00 02/27/2017 Los Angeles CA West - Drivers
448737            Overtime        8.00   30.00 02/27/2017 Los Angeles CA West - Drivers
448737            Regular         8.00   20.00 03/06/2017 Los Angeles CA West - Drivers
448737            Overtime        2.00   30.00 03/06/2017 Los Angeles CA West - Drivers
448737            Regular         8.00   38.17 09/26/2016 Los Angeles CA West - Drivers
448737            Overtime        1.75   57.26 09/26/2016 Los Angeles CA West - Drivers
448737            Regular        24.00   38.17 10/03/2016 Los Angeles CA West - Drivers
448737            Overtime        8.25   57.26 10/03/2016 Los Angeles CA West - Drivers
448737            Regular        32.00   38.17 10/10/2016 Los Angeles CA West - Drivers
448737            Overtime       12.00   57.26 10/10/2016 Los Angeles CA West - Drivers
448737            Regular         8.00   39.17 10/23/2017 Los Angeles CA West - Drivers
448737            Overtime        0.50   58.76 10/23/2017 Los Angeles CA West - Drivers
448737            Regular        34.50   39.17 04/09/2018 Los Angeles CA West - Drivers
448737            Overtime        1.50   58.76 04/09/2018 Los Angeles CA West - Drivers
448737            Regular        36.00   39.17 04/16/2018 Los Angeles CA West - Drivers
448737            Overtime        6.25   58.76 04/16/2018 Los Angeles CA West - Drivers
448737            Regular        40.00   39.17 04/23/2018 Los Angeles CA West - Drivers
448737            Overtime       11.75   58.76 04/23/2018 Los Angeles CA West - Drivers
448737            Regular        24.00   39.17 04/30/2018 Los Angeles CA West - Drivers
448737            Overtime        9.75   58.76 04/30/2018 Los Angeles CA West - Drivers
448737            Regular        40.00   39.17 05/07/2018 Los Angeles CA West - Drivers
448737            Overtime       13.75   58.76 05/07/2018 Los Angeles CA West - Drivers
448737            Regular        32.00   39.17 05/14/2018 Los Angeles CA West - Drivers
448737            Overtime        3.00   58.76 05/14/2018 Los Angeles CA West - Drivers
448737            Regular        28.75   39.17 05/21/2018 Los Angeles CA West - Drivers
448737            Overtime        0.25   58.76 05/21/2018 Los Angeles CA West - Drivers
448737            Regular        23.50   39.17 05/28/2018 Los Angeles CA West - Drivers
448737            Overtime        3.50   58.76 05/28/2018 Los Angeles CA West - Drivers
448737            Regular        33.50   39.17 06/04/2018 Los Angeles CA West - Drivers
448737            Overtime       10.25   58.76 06/04/2018 Los Angeles CA West - Drivers
448737            Regular        24.00   39.17 06/11/2018 Los Angeles CA West - Drivers
448737            Overtime        9.00   58.76 06/11/2018 Los Angeles CA West - Drivers
448737            Regular        40.00   39.17 06/18/2018 Los Angeles CA West - Drivers
448737            Overtime       25.75   58.76 06/18/2018 Los Angeles CA West - Drivers
448737            Regular        40.00   39.17 06/25/2018 Los Angeles CA West - Drivers
448737            Overtime       18.75   58.76 06/25/2018 Los Angeles CA West - Drivers
448737            Regular        31.50   39.17 07/09/2018 Los Angeles CA West - Drivers
448737            Overtime       11.25   58.76 07/09/2018 Los Angeles CA West - Drivers
448737            Regular        22.00   39.17 07/16/2018 Los Angeles CA West - Drivers
448737            Overtime        1.00   58.76 07/16/2018 Los Angeles CA West - Drivers
448737            Regular         8.00   39.17 07/23/2018 Los Angeles CA West - Drivers
448737            Overtime        1.50   58.76 07/23/2018 Los Angeles CA West - Drivers
448737            Regular         8.00   21.00 07/09/2018 Los Angeles CA West - Drivers
448737            Overtime        2.50   31.50 07/09/2018 Los Angeles CA West - Drivers
448737            Regular        24.00   19.00 11/21/2016 Los Angeles CA West - Drivers
448737            Overtime        2.50   28.50 11/21/2016 Los Angeles CA West - Drivers
448737            Regular         8.00   22.00 07/23/2018 Los Angeles CA West - Drivers
448737            Overtime        3.50   33.00 07/23/2018 Los Angeles CA West - Drivers
448737            Regular        14.25   19.50 10/31/2016 Los Angeles CA West - Drivers
448737            Regular        54.50   19.50 11/07/2016 Los Angeles CA West - Drivers
448737            Regular        57.75   19.50 11/14/2016 Los Angeles CA West - Drivers
Total for 448737             1,074.50
2268166           Regular        45.50   20.98 06/19/2017 Sacramento CA - Drivers
2268166           Regular        18.00   20.98 06/26/2017 Sacramento CA - Drivers
2268166           Regular       -18.00   20.98 06/26/2017 Sacramento CA - Drivers
2268166           Regular        32.00   19.75 07/10/2017 Sacramento CA - Drivers
2268166           Overtime        9.00   29.63 07/10/2017 Sacramento CA - Drivers
2268166           Regular        39.50   19.75 07/17/2017 Sacramento CA - Drivers
2268166           Overtime        2.00   29.63 07/17/2017 Sacramento CA - Drivers
2268166 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          19.75 38-5   Filed Sacramento
                                                 07/24/2017  03/22/21 Page    125 of 691 Page ID
                                                                        CA - Drivers
2268166              Overtime      8.50   29.63 #:898
                                                 07/24/2017 Sacramento CA - Drivers
2268166             Regular        40.00    19.75   07/31/2017   Sacramento   CA   - Drivers
2268166             Overtime       10.00    29.63   07/31/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.75   08/07/2017   Sacramento   CA   - Drivers
2268166             Overtime        8.00    29.63   08/07/2017   Sacramento   CA   - Drivers
2268166             Regular        24.00    19.75   08/14/2017   Sacramento   CA   - Drivers
2268166             Overtime        4.50    29.63   08/14/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    18.75   06/12/2017   Sacramento   CA   - Drivers
2268166             Overtime        0.50    28.13   06/12/2017   Sacramento   CA   - Drivers
2268166             Regular        48.00    18.75   07/03/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   08/21/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   08/28/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   09/04/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   09/11/2017   Sacramento   CA   - Drivers
2268166             Regular        33.00    19.00   09/18/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   09/25/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   10/02/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   10/09/2017   Sacramento   CA   - Drivers
2268166             Overtime        7.50    28.50   10/09/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   10/16/2017   Sacramento   CA   - Drivers
2268166             Overtime        2.00    28.50   10/16/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   10/23/2017   Sacramento   CA   - Drivers
2268166             Overtime        1.00    28.50   10/23/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   10/30/2017   Sacramento   CA   - Drivers
2268166             Regular        24.00    19.00   11/06/2017   Sacramento   CA   - Drivers
2268166             Regular        16.00    19.00   11/13/2017   Sacramento   CA   - Drivers
2268166             Overtime        1.00    28.50   11/13/2017   Sacramento   CA   - Drivers
2268166             Regular        24.00    19.00   11/20/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   11/27/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   12/04/2017   Sacramento   CA   - Drivers
2268166             Regular        40.00    19.00   12/11/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   12/18/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   12/25/2017   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   01/01/2018   Sacramento   CA   - Drivers
2268166             Regular        32.00    19.00   01/08/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   01/22/2018   Sacramento   CA   - Drivers
2268166             Overtime        4.50    30.75   01/22/2018   Sacramento   CA   - Drivers
2268166             Regular        32.00    20.50   01/29/2018   Sacramento   CA   - Drivers
2268166             Overtime        1.00    30.75   01/29/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   02/05/2018   Sacramento   CA   - Drivers
2268166             Overtime        1.20    30.75   02/05/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   02/12/2018   Sacramento   CA   - Drivers
2268166             Overtime        1.50    30.75   02/12/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   02/19/2018   Sacramento   CA   - Drivers
2268166             Overtime        4.00    30.75   02/19/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   02/26/2018   Sacramento   CA   - Drivers
2268166             Overtime       15.10    30.75   02/26/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   03/05/2018   Sacramento   CA   - Drivers
2268166             Overtime        0.40    30.75   03/05/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   03/12/2018   Sacramento   CA   - Drivers
2268166             Overtime       10.50    30.75   03/12/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   03/19/2018   Sacramento   CA   - Drivers
2268166             Overtime        1.00    30.75   03/19/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   03/26/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   04/02/2018   Sacramento   CA   - Drivers
2268166             Overtime        3.50    30.75   04/02/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   04/09/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   04/16/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   04/23/2018   Sacramento   CA   - Drivers
2268166             Overtime        1.90    30.75   04/23/2018   Sacramento   CA   - Drivers
2268166             Regular        40.00    20.50   04/30/2018   Sacramento   CA   - Drivers
2268166             Overtime        0.50    30.75   04/30/2018   Sacramento   CA   - Drivers
2268166 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         20.50 38-5   Filed Sacramento
                                                05/07/2018  03/22/21 Page    126 of 691
                                                                       CA - Drivers       Page ID
2268166            Regular       40.00   20.50 #:899
                                                05/14/2018 Sacramento CA - Drivers
2268166            Regular       40.00   20.50 05/21/2018 Sacramento CA - Drivers
2268166            Regular       32.00   20.50 05/28/2018 Sacramento CA - Drivers
2268166            Regular       40.00   20.50 06/04/2018 Sacramento CA - Drivers
2268166            Overtime       0.10   30.75 06/04/2018 Sacramento CA - Drivers
2268166            Regular       40.00   20.50 06/11/2018 Sacramento CA - Drivers
2268166            Regular       40.00   20.50 06/18/2018 Sacramento CA - Drivers
2268166            Regular       40.00   20.50 06/25/2018 Sacramento CA - Drivers
2268166            Regular       32.00   20.50 07/02/2018 Sacramento CA - Drivers
2268166            Regular       40.00   20.50 07/09/2018 Sacramento CA - Drivers
2268166            Regular        8.00   20.50 07/16/2018 Sacramento CA - Drivers
Total for 2268166             2,137.20
1297800            Regular       15.00   18.00 03/21/2016 Los Angeles CA West - Drivers
1297800            Regular       28.00   18.00 03/28/2016 Los Angeles CA West - Drivers
1297800            Overtime       1.25   27.00 03/28/2016 Los Angeles CA West - Drivers
1297800            Regular       17.50   16.50 08/15/2016 Los Angeles CA West - Drivers
1297800            Overtime       3.00   24.75 08/15/2016 Los Angeles CA West - Drivers
Total for 1297800                64.75
2813015            Regular       16.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2813015            Overtime       5.00   31.50 09/02/2019 Los Angeles CA East - Drivers
2813015            Regular       40.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2813015            Overtime      24.50   31.50 07/22/2019 Los Angeles CA East - Drivers
2813015            Regular        8.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2813015            Overtime       3.50   31.50 07/29/2019 Los Angeles CA East - Drivers
2813015            Regular        8.00   20.75 07/15/2019 Los Angeles CA East - Drivers
2813015            Overtime       4.00   31.13 07/15/2019 Los Angeles CA East - Drivers
2813015            Regular        7.00   20.75 08/12/2019 Los Angeles CA East - Drivers
Total for 2813015               116.00
963589             Regular        8.00   19.00 12/25/2017 Los Angeles CA East - Drivers
Total for 963589                  8.00
2477194            Regular        8.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2477194            Regular        8.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2477194            Overtime       4.00   31.50 02/25/2019 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2477194            Overtime       1.50   30.00 09/24/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2477194            Overtime       4.00   30.00 10/29/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2477194            Overtime       2.00   30.00 11/12/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 03/11/2019 Los Angeles CA West - Drivers
2477194            Overtime       3.00   30.75 03/11/2019 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 06/24/2019 Los Angeles CA West - Drivers
2477194            Overtime       2.00   30.75 06/24/2019 Los Angeles CA West - Drivers
2477194            Regular        8.00   19.50 06/04/2018 Los Angeles CA West - Drivers
2477194            Overtime       3.00   29.25 06/04/2018 Los Angeles CA West - Drivers
2477194            Regular       16.00   19.50 06/11/2018 Los Angeles CA West - Drivers
2477194            Overtime       3.75   29.25 06/11/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   19.50 06/18/2018 Los Angeles CA West - Drivers
2477194            Overtime       4.00   29.25 06/18/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 06/25/2018 Los Angeles CA West - Drivers
2477194            Overtime       2.50   30.75 06/25/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 07/02/2018 Los Angeles CA West - Drivers
2477194            Overtime       3.25   30.75 07/02/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 07/09/2018 Los Angeles CA West - Drivers
2477194            Overtime       3.50   30.75 07/09/2018 Los Angeles CA West - Drivers
2477194            Regular       16.00   20.50 07/16/2018 Los Angeles CA West - Drivers
2477194            Overtime       7.00   30.75 07/16/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 09/17/2018 Los Angeles CA West - Drivers
2477194            Overtime       2.00   30.75 09/17/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 09/24/2018 Los Angeles CA West - Drivers
2477194            Overtime       1.00   30.75 09/24/2018 Los Angeles CA West - Drivers
2477194            Regular        8.00   20.50 10/01/2018 Los Angeles CA West - Drivers
2477194 Case   2:19-cv-08580-JFW-MAA
                     Overtime      3.00Document
                                          30.75 38-5   Filed Los
                                                 10/01/2018  03/22/21
                                                                 AngelesPage 127- Drivers
                                                                        CA West   of 691 Page ID
2477194              Regular      16.00   20.50 #:900
                                                 10/08/2018 Los Angeles CA West - Drivers
2477194             Overtime        4.00    30.75   10/08/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   10/15/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   10/29/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.50    30.75   10/29/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular        16.00    20.50   11/05/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.50    30.75   11/05/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   11/12/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        3.50    30.75   11/12/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   11/19/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        4.00    30.75   11/19/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   11/26/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        3.25    30.75   11/26/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   12/03/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.50    30.75   12/03/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   12/10/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.50    30.75   12/10/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular        24.00    20.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        4.50    30.75   02/18/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        20.00    20.50   02/25/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.00    30.75   02/25/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        24.00    20.50   03/04/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        7.50    30.75   03/04/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        23.50    20.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        3.50    30.75   03/11/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   03/25/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.25    30.75   03/25/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        16.00    20.50   04/01/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.50    30.75   04/01/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        16.00    20.50   04/08/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        4.00    30.75   04/08/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        10.00    20.50   04/15/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        3.50    30.75   04/15/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   04/22/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.50    30.75   04/22/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   04/29/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.50    30.75   04/29/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   05/06/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        3.50    30.75   05/06/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        12.00    20.50   05/13/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.75    30.75   05/13/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   05/20/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.75    30.75   05/20/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   06/03/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        1.25    30.75   06/03/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.00    30.75   07/01/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        40.00    20.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        8.00    30.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    21.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.00    31.50   04/29/2019   Los   Angeles   CA   West   - Drivers
2477194             Regular        16.00    19.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        6.25    28.50   03/12/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular         8.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        2.25    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular        24.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        8.50    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2477194             Regular        20.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2477194             Overtime        7.00    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2477194 Case 2:19-cv-08580-JFW-MAA
                   Regular      32.00Document
                                        22.00 38-5   Filed Los
                                               12/10/2018  03/22/21
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                                                                      CA West   of 691    Page ID
2477194            Overtime     13.25   33.00 #:901
                                               12/10/2018 Los Angeles CA West - Drivers
2477194            Regular       8.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2477194            Overtime      2.00   33.00 12/17/2018 Los Angeles CA West - Drivers
Total for 2477194              785.00
2756636            Regular       8.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2756636            Regular       8.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2756636            Regular       8.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2756636            Regular      39.25   21.00 08/12/2019 Los Angeles CA West - Drivers
2756636            Overtime      3.00   31.50 08/12/2019 Los Angeles CA West - Drivers
2756636            Regular       8.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2756636            Overtime      1.50   31.50 08/19/2019 Los Angeles CA West - Drivers
2756636            Regular      31.25   21.00 08/26/2019 Los Angeles CA West - Drivers
2756636            Overtime      0.50   31.50 08/26/2019 Los Angeles CA West - Drivers
2756636            Regular       6.75   21.00 09/02/2019 Los Angeles CA West - Drivers
2756636            Regular       8.00   22.00 08/19/2019 Los Angeles CA West - Drivers
2756636            Regular      16.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2756636            Regular      16.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2756636            Overtime      0.50   31.50 08/05/2019 Los Angeles CA West - Drivers
2756636            Regular      16.00   22.00 07/08/2019 Los Angeles CA West - Drivers
2756636            Overtime      3.00   33.00 07/08/2019 Los Angeles CA West - Drivers
2756636            Regular      40.00   22.00 07/15/2019 Los Angeles CA West - Drivers
2756636            Overtime      7.00   33.00 07/15/2019 Los Angeles CA West - Drivers
Total for 2756636              220.75
2209126            Regular       8.00   20.75 07/03/2017 Los Angeles CA East - Drivers
Total for 2209126                8.00
2603874            Regular      40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
2603874            Overtime      3.00   31.50 10/01/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 10/08/2018 Los Angeles CA West - Drivers
2603874            Overtime     20.75   31.50 10/08/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 10/15/2018 Los Angeles CA West - Drivers
2603874            Overtime     25.88   31.50 10/15/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 10/22/2018 Los Angeles CA West - Drivers
2603874            Overtime     20.37   31.50 10/22/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 10/29/2018 Los Angeles CA West - Drivers
2603874            Overtime     32.50   31.50 10/29/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2603874            Overtime     21.05   31.50 11/05/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2603874            Overtime     33.42   31.50 11/12/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 11/19/2018 Los Angeles CA West - Drivers
2603874            Overtime     21.05   31.50 11/19/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2603874            Overtime     21.03   31.50 11/26/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2603874            Overtime     35.22   31.50 12/03/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2603874            Overtime     36.00   31.50 12/10/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 12/17/2018 Los Angeles CA West - Drivers
2603874            Overtime     23.94   31.50 12/17/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2603874            Overtime      0.37   31.50 12/24/2018 Los Angeles CA West - Drivers
2603874            Regular      32.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2603874            Overtime      5.77   31.50 12/31/2018 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 01/07/2019 Los Angeles CA West - Drivers
2603874            Overtime     10.29   31.50 01/07/2019 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 01/14/2019 Los Angeles CA West - Drivers
2603874            Overtime      2.43   31.50 01/14/2019 Los Angeles CA West - Drivers
2603874            Regular      33.50   21.00 01/21/2019 Los Angeles CA West - Drivers
2603874            Overtime      0.27   31.50 01/21/2019 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 01/28/2019 Los Angeles CA West - Drivers
2603874            Overtime      8.73   31.50 01/28/2019 Los Angeles CA West - Drivers
2603874            Regular      40.00   21.00 02/04/2019 Los Angeles CA West - Drivers
2603874 Case 2:19-cv-08580-JFW-MAA
                   Overtime      10.54Document
                                         31.50 38-5   Filed Los
                                                02/04/2019  03/22/21
                                                                AngelesPage 129- Drivers
                                                                       CA West   of 691    Page ID
2603874            Regular       40.00   21.00 #:902
                                                02/11/2019 Los Angeles CA West - Drivers
2603874            Overtime      16.58   31.50 02/11/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2603874            Overtime      22.98   31.50 02/18/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2603874            Overtime       5.15   31.50 02/25/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2603874            Overtime      10.27   31.50 03/04/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 03/11/2019 Los Angeles CA West - Drivers
2603874            Overtime       9.27   31.50 03/11/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 03/18/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.97   31.50 03/18/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.43   31.50 03/25/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 04/01/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.53   31.50 04/01/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 04/08/2019 Los Angeles CA West - Drivers
2603874            Overtime       0.28   31.50 04/08/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 04/15/2019 Los Angeles CA West - Drivers
2603874            Overtime       0.43   31.50 04/15/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 04/22/2019 Los Angeles CA West - Drivers
2603874            Overtime       2.33   31.50 04/22/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2603874            Overtime       6.68   31.50 04/29/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 05/06/2019 Los Angeles CA West - Drivers
2603874            Overtime       1.43   31.50 05/06/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 05/13/2019 Los Angeles CA West - Drivers
2603874            Overtime      10.00   31.50 05/13/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.28   31.50 05/20/2019 Los Angeles CA West - Drivers
2603874            Regular       32.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2603874            Overtime       0.93   31.50 05/27/2019 Los Angeles CA West - Drivers
2603874            Regular       32.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2603874            Overtime       0.33   31.50 06/03/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 06/10/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.68   31.50 06/10/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.57   31.50 06/17/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.60   31.50 06/24/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 07/01/2019 Los Angeles CA West - Drivers
2603874            Overtime       0.35   31.50 07/01/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2603874            Overtime       9.25   31.50 07/08/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.08   31.50 07/15/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.28   31.50 07/22/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2603874            Overtime      12.43   31.50 07/29/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2603874            Overtime       8.97   31.50 08/05/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2603874            Overtime      38.03   31.50 08/05/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2603874            Overtime      13.53   31.50 08/19/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 08/26/2019 Los Angeles CA West - Drivers
2603874            Overtime      23.33   31.50 08/26/2019 Los Angeles CA West - Drivers
2603874            Regular       40.00   21.00 09/02/2019 Los Angeles CA West - Drivers
2603874            Overtime       6.47   31.50 09/02/2019 Los Angeles CA West - Drivers
Total for 2603874             2,537.55
1330282            Regular        8.00   16.50 07/11/2016 Los Angeles CA West - Drivers
1330282 Case 2:19-cv-08580-JFW-MAA
                   Overtime      4.00Document
                                        24.75 38-5   Filed Los
                                               07/11/2016  03/22/21
                                                               AngelesPage 130- Drivers
                                                                      CA West   of 691    Page ID
1330282            Regular      24.00   16.50 #:903
                                               09/12/2016 Los Angeles CA West - Drivers
1330282            Overtime      5.75   24.75 09/12/2016 Los Angeles CA West - Drivers
Total for 1330282               41.75
2662061            Regular      16.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2662061            Overtime      2.00   33.00 06/17/2019 Los Angeles CA West - Drivers
2662061            Regular       8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2662061            Regular      30.50   21.85 05/06/2019 Los Angeles CA West - Drivers
2662061            Regular      53.75   21.85 05/13/2019 Los Angeles CA West - Drivers
2662061            Regular      32.00   21.85 05/27/2019 Los Angeles CA West - Drivers
Total for 2662061              142.25
2468766            Regular      32.00   17.60 02/05/2018 Los Angeles CA West - Drivers
2468766            Overtime      9.00   26.40 02/05/2018 Los Angeles CA West - Drivers
2468766            Regular      32.00   17.60 02/12/2018 Los Angeles CA West - Drivers
2468766            Overtime      9.00   26.40 02/12/2018 Los Angeles CA West - Drivers
2468766            Regular      32.00   17.60 02/19/2018 Los Angeles CA West - Drivers
2468766            Overtime      8.00   26.40 02/19/2018 Los Angeles CA West - Drivers
2468766            Regular      32.00   17.60 02/26/2018 Los Angeles CA West - Drivers
2468766            Overtime     12.00   26.40 02/26/2018 Los Angeles CA West - Drivers
2468766            Regular      24.00   17.60 03/05/2018 Los Angeles CA West - Drivers
2468766            Overtime      8.00   26.40 03/05/2018 Los Angeles CA West - Drivers
2468766            Regular      32.00   17.60 03/12/2018 Los Angeles CA West - Drivers
2468766            Overtime     10.75   26.40 03/12/2018 Los Angeles CA West - Drivers
2468766            Regular      32.00   17.60 03/19/2018 Los Angeles CA West - Drivers
2468766            Overtime     13.50   26.40 03/19/2018 Los Angeles CA West - Drivers
Total for 2468766              286.25
915290             Regular      32.00   17.00 08/10/2015 Los Angeles CA West - Drivers
915290             Overtime      7.50   25.50 08/10/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   17.00 08/17/2015 Los Angeles CA West - Drivers
915290             Overtime     17.75   25.50 08/17/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
915290             Overtime     19.75   28.50 08/24/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
915290             Overtime     16.75   28.50 08/31/2015 Los Angeles CA West - Drivers
915290             Regular      31.50   19.00 09/07/2015 Los Angeles CA West - Drivers
915290             Overtime      8.25   28.50 09/07/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 09/14/2015 Los Angeles CA West - Drivers
915290             Overtime     13.25   28.50 09/14/2015 Los Angeles CA West - Drivers
915290             Regular      32.00   19.00 09/21/2015 Los Angeles CA West - Drivers
915290             Overtime      5.75   28.50 09/21/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 09/28/2015 Los Angeles CA West - Drivers
915290             Overtime     16.75   28.50 09/28/2015 Los Angeles CA West - Drivers
915290             Regular      37.75   19.00 10/05/2015 Los Angeles CA West - Drivers
915290             Overtime     14.75   28.50 10/05/2015 Los Angeles CA West - Drivers
915290             Regular      32.00   19.00 10/12/2015 Los Angeles CA West - Drivers
915290             Overtime      8.00   28.50 10/12/2015 Los Angeles CA West - Drivers
915290             Regular      32.00   19.00 10/19/2015 Los Angeles CA West - Drivers
915290             Overtime     10.00   28.50 10/19/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 10/26/2015 Los Angeles CA West - Drivers
915290             Overtime      8.00   28.50 10/26/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
915290             Overtime     19.75   28.50 11/02/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
915290             Overtime      4.75   28.50 11/09/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
915290             Overtime      9.25   28.50 11/16/2015 Los Angeles CA West - Drivers
915290             Regular      24.00   19.00 11/23/2015 Los Angeles CA West - Drivers
915290             Overtime      2.50   28.50 11/23/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
915290             Overtime      9.75   28.50 12/07/2015 Los Angeles CA West - Drivers
915290             Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
915290             Overtime     13.25   28.50 12/14/2015 Los Angeles CA West - Drivers
915290             Regular      24.00   19.00 12/21/2015 Los Angeles CA West - Drivers
915290   Case 2:19-cv-08580-JFW-MAA
                    Overtime      5.00Document
                                         28.50 38-5   Filed Los
                                                12/21/2015  03/22/21
                                                                AngelesPage 131- Drivers
                                                                       CA West   of 691 Page ID
915290              Regular      29.50   19.00 #:904
                                                12/28/2015 Los Angeles CA West - Drivers
915290              Overtime        4.25   28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       10.25   28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.00   28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        3.50   28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        16.00   19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.50   28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.75   28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        3.50   28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.50   28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.00   28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        6.50   28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.25   28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        31.75   19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.50   28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        1.25   28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        31.00   19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        1.50   28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        23.75   19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.00   28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.00   28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        16.00   19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.75   28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        16.00   19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        3.00   28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.50   28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.25   28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        31.00   19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.50   28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        9.75   28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.25   28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.75   28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       14.25   28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       15.00   28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.00   28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.00   28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.00   28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.75   28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.75   28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
915290   Case 2:19-cv-08580-JFW-MAA
                    Regular      33.00Document
                                         19.25 38-5   Filed Los
                                                08/01/2016  03/22/21
                                                                AngelesPage 132- Drivers
                                                                       CA West   of 691 Page ID
915290              Overtime      6.25   28.88 #:905
                                                08/01/2016 Los Angeles CA West - Drivers
915290              Regular        24.00   19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        3.00   28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        6.00   28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       10.50   28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.75   28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        3.75   28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        9.00   28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       12.00   28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
915290              Regular         8.00   19.25   09/26/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        0.50   28.88   09/26/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        16.00   19.25   10/03/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.00   28.88   10/03/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   10/10/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       12.25   28.88   10/10/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   10/17/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       14.00   28.88   10/17/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   10/24/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       10.25   28.88   10/24/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   10/31/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       10.00   28.88   10/31/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   11/07/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.25   28.88   11/07/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   11/14/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        6.50   28.88   11/14/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   11/21/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        9.00   28.88   11/21/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   11/28/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        6.25   28.88   11/28/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        21.00   19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        3.50   28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        40.00   19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       12.50   28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime       16.75   28.88   12/19/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
915290              Overtime        9.75   28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime       13.25   28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.00   28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        6.25   28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.00   28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        20.75   19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        5.00   28.88   01/30/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        24.00   19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        8.00   28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        16.00   19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        7.25   28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
915290              Regular         8.00   19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime        2.00   28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
915290              Overtime       15.75   28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
915290              Regular        32.00   19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
915290 Case 2:19-cv-08580-JFW-MAA
                  Overtime      10.00Document
                                         28.88 38-5   Filed Los
                                                03/06/2017  03/22/21
                                                                AngelesPage 133- Drivers
                                                                       CA West   of 691    Page ID
915290            Regular        8.00    19.25 #:906
                                                03/13/2017 Los Angeles CA West - Drivers
915290            Overtime       4.00    28.88 03/13/2017 Los Angeles CA West - Drivers
915290            Regular       24.00    19.25 03/20/2017 Los Angeles CA West - Drivers
915290            Overtime      10.00    28.88 03/20/2017 Los Angeles CA West - Drivers
915290            Regular       16.00    19.25 03/27/2017 Los Angeles CA West - Drivers
915290            Overtime       7.00    28.88 03/27/2017 Los Angeles CA West - Drivers
915290            Regular        8.00    19.25 04/03/2017 Los Angeles CA West - Drivers
915290            Overtime       3.50    28.88 04/03/2017 Los Angeles CA West - Drivers
Total for 915290             3,319.25
698638            Regular        1.00 3,000.00 08/08/2016 Los Angeles CA East - Drivers
Total for 698638                 1.00
2539188           Regular        8.00    23.00 04/22/2019 Los Angeles CA East - Drivers
2539188           Overtime       4.00    34.50 04/22/2019 Los Angeles CA East - Drivers
2539188           Regular        8.00    23.00 04/29/2019 Los Angeles CA East - Drivers
2539188           Overtime       4.00    34.50 04/29/2019 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 08/20/2018 Los Angeles CA East - Drivers
2539188           Overtime       0.25    30.00 08/20/2018 Los Angeles CA East - Drivers
2539188           Regular       16.00    20.00 11/26/2018 Los Angeles CA East - Drivers
2539188           Overtime       4.75    30.00 11/26/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 12/31/2018 Los Angeles CA East - Drivers
2539188           Overtime       4.00    30.00 12/31/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    19.50 12/03/2018 Los Angeles CA East - Drivers
2539188           Overtime       1.08    29.25 12/03/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    19.50 06/18/2018 Los Angeles CA East - Drivers
2539188           Regular        7.50    19.50 07/09/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 08/13/2018 Los Angeles CA East - Drivers
2539188           Overtime       1.00    30.00 08/13/2018 Los Angeles CA East - Drivers
2539188           Regular       15.75    20.00 09/03/2018 Los Angeles CA East - Drivers
2539188           Overtime       3.75    30.00 09/03/2018 Los Angeles CA East - Drivers
2539188           Regular       16.00    20.00 09/24/2018 Los Angeles CA East - Drivers
2539188           Overtime       1.60    30.00 09/24/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 10/01/2018 Los Angeles CA East - Drivers
2539188           Overtime       3.00    30.00 10/01/2018 Los Angeles CA East - Drivers
2539188           Regular        4.00    20.00 10/15/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    21.00 06/25/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    22.00 08/06/2018 Los Angeles CA East - Drivers
2539188           Overtime       3.50    33.00 08/06/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    21.00 03/25/2019 Los Angeles CA East - Drivers
2539188           Overtime       4.00    31.50 03/25/2019 Los Angeles CA East - Drivers
2539188           Regular       16.00    21.00 06/24/2019 Los Angeles CA East - Drivers
2539188           Overtime       8.00    31.50 06/24/2019 Los Angeles CA East - Drivers
2539188           Regular        8.00    22.00 01/07/2019 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.75 06/18/2018 Los Angeles CA East - Drivers
2539188           Overtime       4.00    31.13 06/18/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.75 09/17/2018 Los Angeles CA East - Drivers
2539188           Overtime       4.00    31.13 09/17/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.75 09/24/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 07/30/2018 Los Angeles CA East - Drivers
2539188           Overtime       1.00    30.00 07/30/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 11/05/2018 Los Angeles CA East - Drivers
2539188           Overtime       4.00    30.00 11/05/2018 Los Angeles CA East - Drivers
2539188           Regular        8.00    20.00 11/19/2018 Los Angeles CA East - Drivers
2539188           Overtime       2.00    30.00 11/19/2018 Los Angeles CA East - Drivers
2539188           Regular       21.50    21.00 06/11/2018 Los Angeles CA East - Drivers
Total for 2539188              298.68
2533005           Regular        8.00    20.00 09/17/2018 Los Angeles CA West - Drivers
2533005           Overtime       2.00    30.00 09/17/2018 Los Angeles CA West - Drivers
2533005           Regular       37.50    20.00 09/24/2018 Los Angeles CA West - Drivers
2533005           Overtime      10.00    30.00 09/24/2018 Los Angeles CA West - Drivers
2533005           Regular       32.50    20.00 10/01/2018 Los Angeles CA West - Drivers
2533005           Overtime       8.00    30.00 10/01/2018 Los Angeles CA West - Drivers
2533005           Regular       40.00    20.00 10/08/2018 Los Angeles CA West - Drivers
2533005 Case 2:19-cv-08580-JFW-MAA
                   Overtime      18.00Document
                                         30.00 38-5   Filed Los
                                                10/08/2018  03/22/21
                                                                AngelesPage 134- Drivers
                                                                       CA West   of 691    Page ID
2533005            Regular       40.00   20.00 #:907
                                                10/15/2018 Los Angeles CA West - Drivers
2533005            Overtime      11.75   30.00 10/15/2018 Los Angeles CA West - Drivers
2533005            Regular       34.00   20.00 10/22/2018 Los Angeles CA West - Drivers
2533005            Overtime      10.25   30.00 10/22/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2533005            Overtime      13.50   30.00 10/29/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2533005            Overtime      17.50   30.00 11/05/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2533005            Overtime      17.25   30.00 11/12/2018 Los Angeles CA West - Drivers
2533005            Regular        8.00   20.00 11/19/2018 Los Angeles CA West - Drivers
2533005            Overtime       0.75   30.00 11/19/2018 Los Angeles CA West - Drivers
2533005            Regular       32.00   21.00 08/13/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   21.00 08/20/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   21.00 08/27/2018 Los Angeles CA West - Drivers
2533005            Overtime       8.50   31.50 08/27/2018 Los Angeles CA West - Drivers
2533005            Regular        8.00   21.00 09/03/2018 Los Angeles CA West - Drivers
2533005            Regular       12.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2533005            Overtime       1.50   30.00 08/06/2018 Los Angeles CA West - Drivers
2533005            Regular        8.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2533005            Overtime       0.50   30.00 09/03/2018 Los Angeles CA West - Drivers
2533005            Regular       32.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2533005            Overtime       6.00   30.00 09/10/2018 Los Angeles CA West - Drivers
2533005            Regular       16.00   20.00 09/17/2018 Los Angeles CA West - Drivers
2533005            Overtime       4.00   30.00 09/17/2018 Los Angeles CA West - Drivers
2533005            Regular        8.00   19.50 06/11/2018 Los Angeles CA West - Drivers
2533005            Overtime       2.50   29.25 06/11/2018 Los Angeles CA West - Drivers
2533005            Regular        4.00   20.50 08/06/2018 Los Angeles CA West - Drivers
2533005            Regular        4.00   20.50 09/03/2018 Los Angeles CA West - Drivers
2533005            Regular       19.00   21.85 07/16/2018 Los Angeles CA West - Drivers
2533005            Regular       35.75   21.85 07/23/2018 Los Angeles CA West - Drivers
2533005            Regular       51.25   21.85 07/30/2018 Los Angeles CA West - Drivers
2533005            Regular        8.58   21.85 08/06/2018 Los Angeles CA West - Drivers
2533005            Regular        8.00   21.85 08/13/2018 Los Angeles CA West - Drivers
2533005            Regular        8.00   21.00 09/24/2018 Los Angeles CA West - Drivers
2533005            Overtime       1.00   31.50 09/24/2018 Los Angeles CA West - Drivers
2533005            Regular       24.00   20.00 05/28/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 06/04/2018 Los Angeles CA West - Drivers
2533005            Overtime       5.00   30.00 06/04/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 06/11/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 06/18/2018 Los Angeles CA West - Drivers
2533005            Overtime       4.00   30.00 06/18/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2533005            Overtime       5.00   30.00 06/25/2018 Los Angeles CA West - Drivers
2533005            Regular       32.00   20.00 07/02/2018 Los Angeles CA West - Drivers
2533005            Overtime       9.00   30.00 07/02/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 07/09/2018 Los Angeles CA West - Drivers
2533005            Overtime       4.50   30.00 07/09/2018 Los Angeles CA West - Drivers
2533005            Regular       40.00   20.00 07/16/2018 Los Angeles CA West - Drivers
2533005            Overtime       9.00   30.00 07/16/2018 Los Angeles CA West - Drivers
Total for 2533005             1,120.08
2791055            Regular        8.00   21.00 07/01/2019 Los Angeles CA East - Drivers
2791055            Regular       16.00   21.00 07/15/2019 Los Angeles CA East - Drivers
2791055            Overtime       2.50   31.50 07/15/2019 Los Angeles CA East - Drivers
2791055            Regular        8.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2791055            Overtime       1.00   31.50 07/22/2019 Los Angeles CA East - Drivers
2791055            Regular        8.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2791055            Overtime       4.00   31.50 07/29/2019 Los Angeles CA East - Drivers
2791055            Regular       12.00   21.00 07/08/2019 Los Angeles CA East - Drivers
2791055            Overtime       2.50   31.50 07/08/2019 Los Angeles CA East - Drivers
Total for 2791055                62.00
1282778            Regular        2.00   10.00 02/29/2016 Sacramento CA - Drivers
1282778 Case 2:19-cv-08580-JFW-MAA
                   Regular       4.00Document
                                        19.00 38-5   Filed Sacramento
                                               03/07/2016  03/22/21 Page    135 of 691
                                                                      CA - Drivers       Page ID
1282778            Regular      16.00   19.00 #:908
                                               03/14/2016 Sacramento CA - Drivers
1282778            Overtime      8.00   28.50 03/14/2016 Sacramento CA - Drivers
1282778            Regular       8.00   19.00 04/11/2016 Sacramento CA - Drivers
1282778            Overtime      2.00   28.50 04/11/2016 Sacramento CA - Drivers
1282778            Regular       8.00   19.00 04/18/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 04/18/2016 Sacramento CA - Drivers
1282778            Regular       4.00   19.00 04/25/2016 Sacramento CA - Drivers
1282778            Regular       8.00   19.00 05/02/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 05/02/2016 Sacramento CA - Drivers
1282778            Regular       8.00   19.00 05/16/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 05/16/2016 Sacramento CA - Drivers
1282778            Regular      12.00   19.00 05/23/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 05/23/2016 Sacramento CA - Drivers
1282778            Regular      10.00   19.00 05/30/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 05/30/2016 Sacramento CA - Drivers
1282778            Regular      12.00   19.00 06/06/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   10.01 06/06/2016 Sacramento CA - Drivers
1282778            Regular      18.00    6.67 06/20/2016 Sacramento CA - Drivers
1282778            Overtime      5.00   28.50 06/20/2016 Sacramento CA - Drivers
1282778            Regular      12.00   19.00 06/27/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 06/27/2016 Sacramento CA - Drivers
1282778            Regular      12.00    6.67 07/04/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 07/04/2016 Sacramento CA - Drivers
1282778            Regular      12.00    6.67 07/11/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 07/11/2016 Sacramento CA - Drivers
1282778            Regular      10.00    6.67 07/18/2016 Sacramento CA - Drivers
1282778            Overtime      4.00   28.50 07/18/2016 Sacramento CA - Drivers
Total for 1282778              211.00
2226980            Regular      24.00   20.00 11/20/2017 Denver CO - Drivers
2226980            Overtime      9.50   30.00 11/20/2017 Denver CO - Drivers
2226980            Regular      16.00   20.00 11/27/2017 Denver CO - Drivers
2226980            Overtime      5.50   30.00 11/27/2017 Denver CO - Drivers
2226980            Regular      40.00   19.00 03/27/2017 Denver CO - Drivers
2226980            Overtime     17.50   28.50 03/27/2017 Denver CO - Drivers
2226980            Regular      40.00   19.00 04/03/2017 Denver CO - Drivers
2226980            Overtime     14.25   28.50 04/03/2017 Denver CO - Drivers
2226980            Regular      40.00   19.00 04/10/2017 Denver CO - Drivers
2226980            Overtime     28.00   28.50 04/10/2017 Denver CO - Drivers
2226980            Regular      39.00   19.00 04/17/2017 Denver CO - Drivers
2226980            Overtime     12.75   28.50 04/17/2017 Denver CO - Drivers
2226980            Regular      40.00   19.00 04/24/2017 Denver CO - Drivers
2226980            Overtime     16.00   28.50 04/24/2017 Denver CO - Drivers
2226980            Regular      24.00   19.00 05/01/2017 Denver CO - Drivers
2226980            Overtime      5.00   28.50 05/01/2017 Denver CO - Drivers
2226980            Regular      32.00   19.00 05/15/2017 Denver CO - Drivers
2226980            Overtime      1.50   28.50 05/15/2017 Denver CO - Drivers
Total for 2226980              405.00
1435858            Regular      37.75   25.28 10/31/2016 Sacramento CA - Drivers
1435858            Regular      32.00   20.98 11/07/2016 Sacramento CA - Drivers
Total for 1435858               69.75
914904             Regular      40.00   17.00 08/03/2015 Los Angeles CA East - Drivers
914904             Overtime     17.50   25.50 08/03/2015 Los Angeles CA East - Drivers
914904             Regular      39.00   17.00 08/10/2015 Los Angeles CA East - Drivers
914904             Overtime     17.00   25.50 08/10/2015 Los Angeles CA East - Drivers
914904             Regular      31.75   17.00 08/17/2015 Los Angeles CA East - Drivers
914904             Overtime     14.50   25.50 08/17/2015 Los Angeles CA East - Drivers
Total for 914904               159.75
2396381            Regular      40.00   19.00 10/16/2017 Sacramento CA - Drivers
2396381            Overtime      2.50   28.50 10/16/2017 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 10/23/2017 Sacramento CA - Drivers
2396381            Overtime      4.00   28.50 10/23/2017 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 10/30/2017 Sacramento CA - Drivers
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                   Overtime      1.00Document
                                        28.50 38-5   Filed Sacramento
                                               10/30/2017  03/22/21 Page    136 of 691
                                                                      CA - Drivers       Page ID
2396381            Regular      40.00   19.00 #:909
                                               11/06/2017 Sacramento CA - Drivers
2396381            Overtime      0.75   28.50 11/06/2017 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 11/13/2017 Sacramento CA - Drivers
2396381            Overtime      1.50   28.50 11/13/2017 Sacramento CA - Drivers
2396381            Regular      24.00   19.00 11/20/2017 Sacramento CA - Drivers
2396381            Overtime      0.50   28.50 11/20/2017 Sacramento CA - Drivers
2396381            Regular      32.00   19.00 11/27/2017 Sacramento CA - Drivers
2396381            Overtime      0.50   28.50 11/27/2017 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 12/04/2017 Sacramento CA - Drivers
2396381            Overtime      0.25   28.50 12/04/2017 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 12/11/2017 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 12/18/2017 Sacramento CA - Drivers
2396381            Overtime      1.25   28.50 12/18/2017 Sacramento CA - Drivers
2396381            Regular      32.00   19.00 12/25/2017 Sacramento CA - Drivers
2396381            Regular      32.00   19.00 01/01/2018 Sacramento CA - Drivers
2396381            Overtime      2.91   28.50 01/01/2018 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 01/08/2018 Sacramento CA - Drivers
2396381            Overtime      2.50   28.50 01/08/2018 Sacramento CA - Drivers
2396381            Regular      40.00   19.00 01/15/2018 Sacramento CA - Drivers
2396381            Overtime      4.67   28.50 01/15/2018 Sacramento CA - Drivers
Total for 2396381              542.33
930417             Regular       8.00   16.00 09/21/2015 Los Angeles CA East - Drivers
930417             Overtime      2.00   24.00 09/21/2015 Los Angeles CA East - Drivers
930417             Regular      43.00   17.00 08/03/2015 Los Angeles CA East - Drivers
930417             Regular      43.25   17.00 08/10/2015 Los Angeles CA East - Drivers
930417             Regular      50.25   17.00 08/17/2015 Los Angeles CA East - Drivers
930417             Regular      42.00   17.00 08/24/2015 Los Angeles CA East - Drivers
930417             Regular      39.50   17.00 08/31/2015 Los Angeles CA East - Drivers
930417             Regular      26.50   17.00 09/07/2015 Los Angeles CA East - Drivers
Total for 930417               254.50
2570392            Regular      16.00   22.00 06/03/2019 Sacramento CA - Drivers
2570392            Overtime      8.00   33.00 06/03/2019 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 08/13/2018 Sacramento CA - Drivers
2570392            Overtime      8.00   39.00 08/13/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 08/20/2018 Sacramento CA - Drivers
2570392            Overtime     22.50   39.00 08/20/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 08/27/2018 Sacramento CA - Drivers
2570392            Overtime      1.00   39.00 08/27/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 09/03/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 09/10/2018 Sacramento CA - Drivers
2570392            Overtime     12.50   39.00 09/10/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 09/17/2018 Sacramento CA - Drivers
2570392            Overtime     14.25   39.00 09/17/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 09/24/2018 Sacramento CA - Drivers
2570392            Overtime     10.75   39.00 09/24/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 10/01/2018 Sacramento CA - Drivers
2570392            Overtime     12.00   39.00 10/01/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 10/08/2018 Sacramento CA - Drivers
2570392            Overtime      5.75   39.00 10/08/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 10/15/2018 Sacramento CA - Drivers
2570392            Overtime     18.25   39.00 10/15/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 10/22/2018 Sacramento CA - Drivers
2570392            Overtime     21.75   39.00 10/22/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 10/29/2018 Sacramento CA - Drivers
2570392            Overtime      3.50   39.00 10/29/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 11/05/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 11/12/2018 Sacramento CA - Drivers
2570392            Overtime      0.50   39.00 11/12/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 11/19/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 11/26/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 12/03/2018 Sacramento CA - Drivers
2570392            Regular      40.00   26.00 12/10/2018 Sacramento CA - Drivers
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                   Regular       40.00Document
                                         26.00 38-5   Filed Sacramento
                                                12/17/2018  03/22/21 Page    137 of 691
                                                                       CA - Drivers       Page ID
2570392            Regular       40.00   26.00 #:910
                                                12/24/2018 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 12/31/2018 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 01/07/2019 Sacramento CA - Drivers
2570392            Overtime       4.00   39.00 01/07/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 01/14/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 01/21/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 01/28/2019 Sacramento CA - Drivers
2570392            Overtime      13.50   39.00 01/28/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 02/04/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 02/11/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 02/18/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 02/25/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 03/04/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 03/11/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 03/18/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 03/25/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 04/01/2019 Sacramento CA - Drivers
2570392            Regular       24.00   26.00 04/08/2019 Sacramento CA - Drivers
2570392            Regular        8.00   26.00 04/15/2019 Sacramento CA - Drivers
2570392            Regular       16.00   26.00 04/22/2019 Sacramento CA - Drivers
2570392            Regular       16.00   26.00 04/29/2019 Sacramento CA - Drivers
2570392            Regular        8.00   26.00 05/13/2019 Sacramento CA - Drivers
2570392            Regular       24.00   26.00 07/01/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 07/08/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 07/15/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 07/22/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 07/29/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 08/05/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 08/12/2019 Sacramento CA - Drivers
2570392            Regular       40.00   26.00 08/19/2019 Sacramento CA - Drivers
2570392            Overtime       3.00   39.00 08/19/2019 Sacramento CA - Drivers
2570392            Regular       32.00   26.00 08/26/2019 Sacramento CA - Drivers
2570392            Regular       32.00   26.00 09/02/2019 Sacramento CA - Drivers
2570392            Regular        8.00   18.00 05/27/2019 Sacramento CA - Drivers
2570392            Overtime       4.00   27.00 05/27/2019 Sacramento CA - Drivers
Total for 2570392             1,987.25
2740940            Regular        8.00   18.00 04/15/2019 Los Angeles CA West - Drivers
2740940            Overtime       4.00   27.00 04/15/2019 Los Angeles CA West - Drivers
Total for 2740940                12.00
2540578            Regular       40.00   16.00 06/11/2018 Los Angeles CA West - Drivers
2540578            Overtime      10.50   24.00 06/11/2018 Los Angeles CA West - Drivers
Total for 2540578                50.50
1369618            Regular       16.00   21.00 08/08/2016 Los Angeles CA West - Drivers
1369618            Overtime       5.75   31.50 08/08/2016 Los Angeles CA West - Drivers
1369618            Regular       31.75   19.00 08/15/2016 Los Angeles CA West - Drivers
1369618            Overtime       3.50   28.50 08/15/2016 Los Angeles CA West - Drivers
Total for 1369618                57.00
2280961            Regular       16.00   19.50 08/28/2017 Sacramento CA - Drivers
2280961            Overtime       3.00   29.25 08/28/2017 Sacramento CA - Drivers
2280961            Regular       31.25   19.50 09/04/2017 Sacramento CA - Drivers
2280961            Overtime       6.75   29.25 09/04/2017 Sacramento CA - Drivers
2280961            Regular       37.50   20.00 09/11/2017 Sacramento CA - Drivers
2280961            Overtime       2.00   30.00 09/11/2017 Sacramento CA - Drivers
2280961            Regular       36.75   20.00 09/18/2017 Sacramento CA - Drivers
2280961            Overtime       3.75   30.00 09/18/2017 Sacramento CA - Drivers
2280961            Regular       28.00   20.00 09/25/2017 Sacramento CA - Drivers
2280961            Overtime       2.75   30.00 09/25/2017 Sacramento CA - Drivers
2280961            Regular       32.00   20.00 06/26/2017 Sacramento CA - Drivers
2280961            Regular       24.00   20.00 07/03/2017 Sacramento CA - Drivers
2280961            Regular       40.00   20.00 07/10/2017 Sacramento CA - Drivers
2280961            Overtime       2.00   30.00 07/10/2017 Sacramento CA - Drivers
2280961            Regular       40.00   20.00 07/17/2017 Sacramento CA - Drivers
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                   Regular      40.00Document
                                        20.00 38-5   Filed Sacramento
                                               07/24/2017  03/22/21 Page    138 of 691
                                                                      CA - Drivers       Page ID
2280961            Regular      40.00   20.00 #:911
                                               07/31/2017 Sacramento CA - Drivers
2280961            Overtime      0.25   30.00 07/31/2017 Sacramento CA - Drivers
2280961            Regular      40.00   20.00 08/07/2017 Sacramento CA - Drivers
2280961            Overtime      0.50   30.00 08/07/2017 Sacramento CA - Drivers
2280961            Regular      40.00   20.00 08/14/2017 Sacramento CA - Drivers
2280961            Regular      40.00   20.00 08/21/2017 Sacramento CA - Drivers
2280961            Overtime      1.50   30.00 08/21/2017 Sacramento CA - Drivers
Total for 2280961              508.00
2421828            Regular      16.00   20.00 11/20/2017 Los Angeles CA East - Drivers
2421828            Regular      32.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2421828            Overtime      7.00   30.00 11/27/2017 Los Angeles CA East - Drivers
2421828            Regular      40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
2421828            Overtime     13.00   30.00 12/04/2017 Los Angeles CA East - Drivers
2421828            Regular      24.00   20.00 12/11/2017 Los Angeles CA East - Drivers
2421828            Overtime      9.00   30.00 12/11/2017 Los Angeles CA East - Drivers
2421828            Regular      40.00   20.00 12/18/2017 Los Angeles CA East - Drivers
2421828            Overtime     22.25   30.00 12/18/2017 Los Angeles CA East - Drivers
2421828            Regular      24.00   20.00 12/25/2017 Los Angeles CA East - Drivers
2421828            Overtime      9.75   30.00 12/25/2017 Los Angeles CA East - Drivers
2421828            Regular       8.00   20.00 01/01/2018 Los Angeles CA East - Drivers
2421828            Overtime      6.50   30.00 01/01/2018 Los Angeles CA East - Drivers
2421828            Regular      32.00   20.00 01/15/2018 Los Angeles CA East - Drivers
2421828            Overtime     11.00   30.00 01/15/2018 Los Angeles CA East - Drivers
2421828            Regular      40.00   20.00 01/22/2018 Los Angeles CA East - Drivers
2421828            Overtime     18.00   30.00 01/22/2018 Los Angeles CA East - Drivers
2421828            Regular      24.00   20.00 01/29/2018 Los Angeles CA East - Drivers
2421828            Overtime     10.80   30.00 01/29/2018 Los Angeles CA East - Drivers
2421828            Regular      40.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2421828            Overtime     27.50   30.00 02/05/2018 Los Angeles CA East - Drivers
2421828            Regular       8.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2421828            Overtime      4.00   30.00 02/12/2018 Los Angeles CA East - Drivers
2421828            Regular      24.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2421828            Overtime     11.30   30.00 02/19/2018 Los Angeles CA East - Drivers
2421828            Regular      40.00   21.00 03/05/2018 Los Angeles CA East - Drivers
2421828            Overtime     14.50   31.50 03/05/2018 Los Angeles CA East - Drivers
2421828            Regular       8.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2421828            Overtime      4.00   31.50 03/12/2018 Los Angeles CA East - Drivers
Total for 2421828              568.60
2221735            Regular      44.80   20.98 12/04/2017 Los Angeles CA East - Drivers
2221735            Regular      28.50   20.98 12/11/2017 Los Angeles CA East - Drivers
2221735            Regular      30.00   20.98 12/18/2017 Los Angeles CA East - Drivers
Total for 2221735              103.30
1459249            Regular       8.00   19.00 12/12/2016 Los Angeles CA West - Drivers
1459249            Overtime      3.00   28.50 12/12/2016 Los Angeles CA West - Drivers
1459249            Regular      32.00   19.00 12/19/2016 Los Angeles CA West - Drivers
1459249            Overtime     10.25   28.50 12/19/2016 Los Angeles CA West - Drivers
1459249            Regular      32.00   19.00 12/26/2016 Los Angeles CA West - Drivers
1459249            Overtime      5.50   28.50 12/26/2016 Los Angeles CA West - Drivers
1459249            Regular      12.00   19.00 12/05/2016 Los Angeles CA West - Drivers
Total for 1459249              102.75
2800214            Regular      22.50   19.30 07/08/2019 Sacramento CA - Drivers
2800214            Overtime      4.00   28.95 07/08/2019 Sacramento CA - Drivers
2800214            Regular      38.00   19.30 07/15/2019 Sacramento CA - Drivers
2800214            Overtime      5.50   28.95 07/15/2019 Sacramento CA - Drivers
2800214            Regular      39.75   19.30 07/22/2019 Sacramento CA - Drivers
2800214            Overtime      3.25   28.95 07/22/2019 Sacramento CA - Drivers
2800214            Regular      28.50   19.30 07/29/2019 Sacramento CA - Drivers
2800214            Overtime      2.50   28.95 07/29/2019 Sacramento CA - Drivers
2800214            Regular      20.00   19.30 08/05/2019 Sacramento CA - Drivers
2800214            Overtime      1.50   28.95 08/05/2019 Sacramento CA - Drivers
2800214            Regular      37.50   19.30 08/12/2019 Sacramento CA - Drivers
2800214            Overtime      2.50   28.95 08/12/2019 Sacramento CA - Drivers
2800214 Case 2:19-cv-08580-JFW-MAA
                   Regular       9.50Document
                                        19.30 38-5   Filed Sacramento
                                               08/19/2019  03/22/21 Page    139 of 691
                                                                      CA - Drivers       Page ID
Total for 2800214              215.00         #:912
1453807            Regular       8.00   20.00 10/15/2018 Los Angeles CA West - Drivers
1453807            Overtime      3.50   30.00 10/15/2018 Los Angeles CA West - Drivers
1453807            Regular      32.00   19.00 05/08/2017 Los Angeles CA West - Drivers
1453807            Overtime     13.00   28.50 05/08/2017 Los Angeles CA West - Drivers
1453807            Regular      24.00   20.00 05/15/2017 Los Angeles CA West - Drivers
1453807            Overtime      8.75   30.00 05/15/2017 Los Angeles CA West - Drivers
1453807            Regular      24.00   20.00 05/22/2017 Los Angeles CA West - Drivers
1453807            Overtime      7.00   30.00 05/22/2017 Los Angeles CA West - Drivers
1453807            Regular      24.00   20.00 05/29/2017 Los Angeles CA West - Drivers
1453807            Overtime      8.50   30.00 05/29/2017 Los Angeles CA West - Drivers
1453807            Regular      16.00   20.00 06/05/2017 Los Angeles CA West - Drivers
1453807            Overtime      1.00   30.00 06/05/2017 Los Angeles CA West - Drivers
1453807            Regular      16.00   22.00 11/26/2018 Los Angeles CA West - Drivers
1453807            Overtime      1.75   33.00 11/26/2018 Los Angeles CA West - Drivers
1453807            Regular      33.00   22.00 12/03/2018 Los Angeles CA West - Drivers
1453807            Overtime      3.00   33.00 12/03/2018 Los Angeles CA West - Drivers
1453807            Regular      15.00   22.00 12/10/2018 Los Angeles CA West - Drivers
1453807            Overtime      2.25   33.00 12/10/2018 Los Angeles CA West - Drivers
1453807            Regular      40.00   24.00 10/22/2018 Los Angeles CA West - Drivers
1453807            Overtime      9.75   36.00 10/22/2018 Los Angeles CA West - Drivers
1453807            Regular      40.00   24.00 10/29/2018 Los Angeles CA West - Drivers
1453807            Overtime     11.25   36.00 10/29/2018 Los Angeles CA West - Drivers
1453807            Regular      32.00   24.00 11/05/2018 Los Angeles CA West - Drivers
1453807            Overtime      5.00   36.00 11/05/2018 Los Angeles CA West - Drivers
1453807            Regular      32.00   24.00 11/12/2018 Los Angeles CA West - Drivers
1453807            Overtime      8.75   36.00 11/12/2018 Los Angeles CA West - Drivers
1453807            Regular      20.00   19.00 12/26/2016 Los Angeles CA West - Drivers
1453807            Overtime      0.75   28.50 12/26/2016 Los Angeles CA West - Drivers
1453807            Regular      30.00   19.00 01/02/2017 Los Angeles CA West - Drivers
1453807            Overtime      6.75   28.50 01/02/2017 Los Angeles CA West - Drivers
1453807            Regular      32.50   19.00 01/09/2017 Los Angeles CA West - Drivers
1453807            Overtime      4.50   28.50 01/09/2017 Los Angeles CA West - Drivers
1453807            Regular      62.50   19.00 01/23/2017 Los Angeles CA West - Drivers
1453807            Overtime      9.50   28.50 01/23/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   19.00 01/30/2017 Los Angeles CA West - Drivers
1453807            Overtime     17.50   28.50 01/30/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   19.00 02/06/2017 Los Angeles CA West - Drivers
1453807            Overtime     23.25   28.50 02/06/2017 Los Angeles CA West - Drivers
1453807            Regular      32.00   20.00 02/13/2017 Los Angeles CA West - Drivers
1453807            Overtime     13.25   30.00 02/06/2017 Los Angeles CA West - Drivers
1453807            Regular      38.25   20.00 02/20/2017 Los Angeles CA West - Drivers
1453807            Overtime      9.50   30.00 02/20/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   20.00 02/27/2017 Los Angeles CA West - Drivers
1453807            Overtime     17.75   30.00 02/27/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   20.00 03/06/2017 Los Angeles CA West - Drivers
1453807            Overtime     21.25   30.00 03/06/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   20.00 03/13/2017 Los Angeles CA West - Drivers
1453807            Overtime     18.75   30.00 03/13/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   20.00 03/20/2017 Los Angeles CA West - Drivers
1453807            Overtime     25.00   30.00 03/20/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   20.00 03/27/2017 Los Angeles CA West - Drivers
1453807            Overtime     28.50   30.00 03/27/2017 Los Angeles CA West - Drivers
1453807            Regular      40.00   20.00 04/03/2017 Los Angeles CA West - Drivers
1453807            Overtime     17.00   30.00 04/03/2017 Los Angeles CA West - Drivers
1453807            Regular      24.00   20.00 04/10/2017 Los Angeles CA West - Drivers
1453807            Overtime     10.50   30.00 04/10/2017 Los Angeles CA West - Drivers
1453807            Regular      13.50   20.00 04/17/2017 Los Angeles CA West - Drivers
1453807            Regular      39.50   20.00 04/17/2017 Los Angeles CA West - Drivers
1453807            Overtime     17.00   30.00 04/17/2017 Los Angeles CA West - Drivers
1453807            Regular      38.00   20.00 05/01/2017 Los Angeles CA West - Drivers
1453807            Overtime     14.50   30.00 05/01/2017 Los Angeles CA West - Drivers
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                   Regular        8.00Document
                                         20.00 38-5   Filed Los
                                                05/15/2017  03/22/21
                                                                AngelesPage 140- Drivers
                                                                       CA West   of 691    Page ID
1453807            Regular        6.50   20.00 #:913
                                                11/28/2016 Los Angeles CA West - Drivers
1453807            Regular       28.00   20.00 12/05/2016 Los Angeles CA West - Drivers
1453807            Overtime       2.00   30.00 12/05/2016 Los Angeles CA West - Drivers
1453807            Regular       21.50   20.00 12/12/2016 Los Angeles CA West - Drivers
1453807            Overtime       1.50   30.00 12/12/2016 Los Angeles CA West - Drivers
1453807            Regular       32.00   20.00 12/19/2016 Los Angeles CA West - Drivers
1453807            Overtime       9.25   30.00 12/19/2016 Los Angeles CA West - Drivers
1453807            Regular       16.00   19.00 06/05/2017 Los Angeles CA West - Drivers
1453807            Overtime       3.50   28.50 06/05/2017 Los Angeles CA West - Drivers
1453807            Regular       10.50   19.00 06/12/2017 Los Angeles CA West - Drivers
1453807            Regular        8.00   22.00 11/19/2018 Los Angeles CA West - Drivers
Total for 1453807             1,471.75
2640478            Regular        8.00   22.00 05/27/2019 Sacramento CA - Drivers
2640478            Overtime       2.75   33.00 05/27/2019 Sacramento CA - Drivers
2640478            Regular        8.00   22.00 06/03/2019 Sacramento CA - Drivers
2640478            Overtime       4.00   33.00 06/03/2019 Sacramento CA - Drivers
2640478            Regular        8.00   21.00 11/12/2018 Sacramento CA - Drivers
2640478            Overtime       2.50   31.50 11/12/2018 Sacramento CA - Drivers
2640478            Regular       24.00   21.00 11/19/2018 Sacramento CA - Drivers
2640478            Overtime      11.50   31.50 11/19/2018 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 11/26/2018 Sacramento CA - Drivers
2640478            Overtime      12.75   31.50 11/26/2018 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 12/03/2018 Sacramento CA - Drivers
2640478            Overtime      16.50   31.50 12/03/2018 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 12/10/2018 Sacramento CA - Drivers
2640478            Overtime      14.00   31.50 12/10/2018 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 12/17/2018 Sacramento CA - Drivers
2640478            Overtime      13.50   31.50 12/17/2018 Sacramento CA - Drivers
2640478            Regular       24.00   21.00 12/24/2018 Sacramento CA - Drivers
2640478            Overtime       9.75   31.50 12/24/2018 Sacramento CA - Drivers
2640478            Regular       32.00   21.00 12/31/2018 Sacramento CA - Drivers
2640478            Overtime       6.50   31.50 12/31/2018 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 01/07/2019 Sacramento CA - Drivers
2640478            Overtime       8.00   31.50 01/07/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 01/14/2019 Sacramento CA - Drivers
2640478            Overtime       7.25   31.50 01/14/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 01/21/2019 Sacramento CA - Drivers
2640478            Overtime      16.75   31.50 01/21/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 01/28/2019 Sacramento CA - Drivers
2640478            Overtime      16.00   31.50 01/28/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 02/04/2019 Sacramento CA - Drivers
2640478            Overtime      15.00   31.50 02/04/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 02/11/2019 Sacramento CA - Drivers
2640478            Overtime      16.25   31.50 02/11/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 02/18/2019 Sacramento CA - Drivers
2640478            Overtime       9.00   31.50 02/18/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 02/25/2019 Sacramento CA - Drivers
2640478            Overtime      19.00   31.50 02/25/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 03/04/2019 Sacramento CA - Drivers
2640478            Overtime      14.75   31.50 03/04/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 03/11/2019 Sacramento CA - Drivers
2640478            Overtime      17.00   31.50 03/11/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 03/18/2019 Sacramento CA - Drivers
2640478            Overtime      19.00   31.50 03/18/2019 Sacramento CA - Drivers
2640478            Regular       32.00   21.00 03/25/2019 Sacramento CA - Drivers
2640478            Overtime      10.75   31.50 03/25/2019 Sacramento CA - Drivers
2640478            Regular       32.00   21.00 04/01/2019 Sacramento CA - Drivers
2640478            Overtime      12.50   31.50 04/01/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 04/08/2019 Sacramento CA - Drivers
2640478            Overtime      14.75   31.50 04/08/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 04/15/2019 Sacramento CA - Drivers
2640478            Overtime      10.75   31.50 04/15/2019 Sacramento CA - Drivers
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                   Regular       40.00Document
                                         21.00 38-5   Filed Sacramento
                                                04/22/2019  03/22/21 Page    141 of 691
                                                                       CA - Drivers       Page ID
2640478            Overtime      18.50   31.50 #:914
                                                04/22/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 04/29/2019 Sacramento CA - Drivers
2640478            Overtime      15.50   31.50 04/29/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
2640478            Overtime      18.50   31.50 05/06/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 05/13/2019 Sacramento CA - Drivers
2640478            Overtime      17.50   31.50 05/13/2019 Sacramento CA - Drivers
2640478            Regular        8.00   21.00 05/20/2019 Sacramento CA - Drivers
2640478            Overtime       4.00   31.50 05/20/2019 Sacramento CA - Drivers
2640478            Regular       16.00   21.00 06/10/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 06/17/2019 Sacramento CA - Drivers
2640478            Overtime       9.75   31.50 06/17/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 06/24/2019 Sacramento CA - Drivers
2640478            Overtime       9.75   31.50 06/24/2019 Sacramento CA - Drivers
2640478            Regular       32.00   21.00 07/01/2019 Sacramento CA - Drivers
2640478            Overtime      15.00   31.50 07/01/2019 Sacramento CA - Drivers
2640478            Regular       16.00   21.00 07/08/2019 Sacramento CA - Drivers
2640478            Overtime       8.00   31.50 07/08/2019 Sacramento CA - Drivers
2640478            Regular       32.00   21.00 07/15/2019 Sacramento CA - Drivers
2640478            Overtime      15.75   31.50 07/15/2019 Sacramento CA - Drivers
2640478            Regular       32.00   21.00 07/22/2019 Sacramento CA - Drivers
2640478            Overtime       8.25   31.50 07/22/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 07/29/2019 Sacramento CA - Drivers
2640478            Overtime      11.00   31.50 07/29/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 08/05/2019 Sacramento CA - Drivers
2640478            Overtime       5.75   31.50 08/05/2019 Sacramento CA - Drivers
2640478            Regular       24.00   21.00 08/12/2019 Sacramento CA - Drivers
2640478            Overtime      12.00   31.50 08/12/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 08/19/2019 Sacramento CA - Drivers
2640478            Overtime      15.25   31.50 08/19/2019 Sacramento CA - Drivers
2640478            Regular       40.00   21.00 08/26/2019 Sacramento CA - Drivers
2640478            Overtime       9.00   31.50 08/26/2019 Sacramento CA - Drivers
2640478            Regular       16.00   21.00 09/02/2019 Sacramento CA - Drivers
2640478            Overtime       8.00   31.50 09/02/2019 Sacramento CA - Drivers
Total for 2640478             1,926.00
2474895            Regular       22.75   20.98 04/02/2018 Los Angeles CA East - Drivers
2474895            Regular       26.00   20.98 04/09/2018 Los Angeles CA East - Drivers
2474895            Regular       30.00   20.98 04/16/2018 Los Angeles CA East - Drivers
2474895            Regular       23.50   20.98 04/23/2018 Los Angeles CA East - Drivers
Total for 2474895               102.25
1296357            Regular        4.50   18.00 08/01/2016 Sacramento CA - Drivers
1296357            Regular        9.00   20.00 08/08/2016 Sacramento CA - Drivers
1296357            Regular        3.00   20.00 08/15/2016 Sacramento CA - Drivers
1296357            Regular       12.50   20.00 08/22/2016 Sacramento CA - Drivers
1296357            Regular       28.00   20.00 08/29/2016 Sacramento CA - Drivers
1296357            Regular       24.50   20.00 09/05/2016 Sacramento CA - Drivers
1296357            Regular       17.25   20.00 09/12/2016 Sacramento CA - Drivers
1296357            Regular       18.50   20.00 09/19/2016 Sacramento CA - Drivers
1296357            Regular       17.00   20.00 09/26/2016 Sacramento CA - Drivers
1296357            Regular        6.00   20.00 10/03/2016 Sacramento CA - Drivers
1296357            Regular        4.00   20.00 11/07/2016 Sacramento CA - Drivers
1296357            Regular        4.00   20.00 11/14/2016 Sacramento CA - Drivers
1296357            Regular        5.00   20.00 12/05/2016 Sacramento CA - Drivers
1296357            Regular        5.50   20.00 12/12/2016 Sacramento CA - Drivers
1296357            Regular       13.50   20.00 12/19/2016 Sacramento CA - Drivers
1296357            Regular       31.00   21.00 08/08/2016 Sacramento CA - Drivers
1296357            Regular       35.00   21.00 08/15/2016 Sacramento CA - Drivers
1296357            Regular       35.00   21.00 08/22/2016 Sacramento CA - Drivers
1296357            Regular       21.50   21.00 08/29/2016 Sacramento CA - Drivers
1296357            Regular        9.00   21.00 09/05/2016 Sacramento CA - Drivers
1296357            Regular       43.25   21.00 09/12/2016 Sacramento CA - Drivers
1296357            Regular       28.50   21.00 09/19/2016 Sacramento CA - Drivers
1296357 Case 2:19-cv-08580-JFW-MAA
                   Regular      27.50Document
                                        21.00 38-5   Filed Sacramento
                                               09/26/2016  03/22/21 Page    142 of 691
                                                                      CA - Drivers       Page ID
1296357            Regular      37.50   21.00 #:915
                                               10/03/2016 Sacramento CA - Drivers
1296357            Regular      55.00   21.00 10/10/2016 Sacramento CA - Drivers
1296357            Regular      55.00   21.00 10/17/2016 Sacramento CA - Drivers
1296357            Regular      43.00   21.00 10/24/2016 Sacramento CA - Drivers
1296357            Regular      53.50   21.00 10/31/2016 Sacramento CA - Drivers
1296357            Regular      49.00   21.00 11/07/2016 Sacramento CA - Drivers
1296357            Regular      33.00   21.00 11/14/2016 Sacramento CA - Drivers
1296357            Regular      35.50   21.00 11/21/2016 Sacramento CA - Drivers
1296357            Regular      49.00   21.00 11/28/2016 Sacramento CA - Drivers
1296357            Regular      22.00   21.00 12/05/2016 Sacramento CA - Drivers
1296357            Regular      32.00   21.00 12/12/2016 Sacramento CA - Drivers
1296357            Regular      27.00   21.00 12/19/2016 Sacramento CA - Drivers
1296357            Regular      16.00   21.00 12/26/2016 Sacramento CA - Drivers
Total for 1296357              910.50
2687740            Regular      16.00   24.00 01/28/2019 Sacramento CA - Drivers
2687740            Overtime      2.00   36.00 01/28/2019 Sacramento CA - Drivers
2687740            Regular       8.00   24.00 02/04/2019 Sacramento CA - Drivers
2687740            Overtime      2.75   36.00 02/04/2019 Sacramento CA - Drivers
2687740            Regular       4.37   22.00 03/25/2019 Sacramento CA - Drivers
2687740            Regular      32.00   22.00 04/01/2019 Sacramento CA - Drivers
2687740            Overtime      6.50   33.00 04/01/2019 Sacramento CA - Drivers
Total for 2687740               71.62
1349976            Regular      22.75   20.00 08/29/2016 Los Angeles CA West - Drivers
1349976            Overtime      0.25   30.00 08/29/2016 Los Angeles CA West - Drivers
1349976            Regular      24.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1349976            Overtime      1.25   30.00 09/05/2016 Los Angeles CA West - Drivers
1349976            Regular      30.50   20.00 09/12/2016 Los Angeles CA West - Drivers
1349976            Overtime      1.50   30.00 09/12/2016 Los Angeles CA West - Drivers
1349976            Regular      30.25   20.00 09/19/2016 Los Angeles CA West - Drivers
1349976            Overtime      2.25   30.00 09/19/2016 Los Angeles CA West - Drivers
1349976            Regular      36.00   19.00 08/08/2016 Los Angeles CA West - Drivers
1349976            Regular      35.50   19.00 08/15/2016 Los Angeles CA West - Drivers
1349976            Regular      40.00   19.00 08/22/2016 Los Angeles CA West - Drivers
1349976            Overtime      1.00   28.50 08/22/2016 Los Angeles CA West - Drivers
Total for 1349976              225.25
1209904            Regular      40.00   17.00 10/26/2015 Sacramento CA - Drivers
1209904            Overtime      6.00   25.50 10/26/2015 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 11/02/2015 Sacramento CA - Drivers
1209904            Overtime      5.50   25.50 11/02/2015 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 11/09/2015 Sacramento CA - Drivers
1209904            Overtime      9.50   25.50 11/09/2015 Sacramento CA - Drivers
1209904            Regular      33.00   17.00 11/16/2015 Sacramento CA - Drivers
1209904            Regular      22.50   17.00 11/23/2015 Sacramento CA - Drivers
1209904            Regular      80.00   17.00 12/07/2015 Sacramento CA - Drivers
1209904            Overtime     18.00   25.50 12/07/2015 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 12/14/2015 Sacramento CA - Drivers
1209904            Overtime     20.00   25.50 12/14/2015 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 12/21/2015 Sacramento CA - Drivers
1209904            Overtime      2.00   25.50 12/21/2015 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 12/28/2015 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 01/04/2016 Sacramento CA - Drivers
1209904            Overtime     10.50   25.50 01/04/2016 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 01/11/2016 Sacramento CA - Drivers
1209904            Overtime      7.00   25.50 01/11/2016 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 01/18/2016 Sacramento CA - Drivers
1209904            Overtime      1.00   25.50 01/18/2016 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 01/25/2016 Sacramento CA - Drivers
1209904            Overtime     11.00   25.50 01/25/2016 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 02/01/2016 Sacramento CA - Drivers
1209904            Overtime      2.00   25.50 02/01/2016 Sacramento CA - Drivers
1209904            Regular      40.00   17.00 02/08/2016 Sacramento CA - Drivers
1209904            Overtime      1.00   25.50 02/08/2016 Sacramento CA - Drivers
1209904 Case 2:19-cv-08580-JFW-MAA
                   Regular       38.00Document
                                         17.00 38-5   Filed Sacramento
                                                02/15/2016  03/22/21 Page    143 of 691
                                                                       CA - Drivers         Page ID
1209904            Regular       40.00   17.00 #:916
                                                02/22/2016 Sacramento CA - Drivers
1209904            Overtime       1.50   25.50 02/22/2016 Sacramento CA - Drivers
1209904            Regular       40.00   17.00 02/29/2016 Sacramento CA - Drivers
1209904            Overtime       9.00   25.50 02/29/2016 Sacramento CA - Drivers
1209904            Regular       40.00   17.00 03/07/2016 Sacramento CA - Drivers
1209904            Overtime       1.00   25.50 03/07/2016 Sacramento CA - Drivers
1209904            Regular       40.00   17.00 03/14/2016 Sacramento CA - Drivers
1209904            Overtime      11.00   25.50 03/14/2016 Sacramento CA - Drivers
1209904            Regular       39.00   17.00 03/21/2016 Sacramento CA - Drivers
1209904            Regular       40.00   17.00 03/28/2016 Sacramento CA - Drivers
1209904            Overtime       7.00   25.50 03/28/2016 Sacramento CA - Drivers
1209904            Regular       40.00   17.00 04/04/2016 Sacramento CA - Drivers
1209904            Overtime      13.50   25.50 04/04/2016 Sacramento CA - Drivers
Total for 1209904             1,069.00
1233751            Regular       32.00   21.00 07/29/2019 zz - San Francisco CA - Drivers
Total for 1233751                32.00
2455979            Regular        4.00   19.50 03/05/2018 Los Angeles CA East - Drivers
2455979            Regular       32.00   21.00 01/15/2018 Los Angeles CA East - Drivers
2455979            Overtime      12.25   31.50 01/15/2018 Los Angeles CA East - Drivers
2455979            Regular       40.00   21.00 01/22/2018 Los Angeles CA East - Drivers
2455979            Overtime      12.25   31.50 01/22/2018 Los Angeles CA East - Drivers
2455979            Regular       32.00   21.00 01/29/2018 Los Angeles CA East - Drivers
2455979            Overtime      10.50   31.50 01/29/2018 Los Angeles CA East - Drivers
2455979            Regular       32.00   21.00 02/05/2018 Los Angeles CA East - Drivers
2455979            Overtime      10.40   31.50 02/05/2018 Los Angeles CA East - Drivers
2455979            Regular        8.00   21.00 02/26/2018 Los Angeles CA East - Drivers
2455979            Overtime       3.25   31.50 02/26/2018 Los Angeles CA East - Drivers
2455979            Regular       32.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2455979            Overtime       8.73   31.50 03/12/2018 Los Angeles CA East - Drivers
2455979            Regular       28.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2455979            Overtime       7.73   31.50 03/19/2018 Los Angeles CA East - Drivers
2455979            Regular       32.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2455979            Overtime       7.50   30.00 02/12/2018 Los Angeles CA East - Drivers
2455979            Regular       40.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2455979            Overtime       3.25   30.00 02/19/2018 Los Angeles CA East - Drivers
Total for 2455979               355.86
2278038            Regular       40.00   16.50 06/19/2017 Los Angeles CA East - Drivers
2278038            Overtime       5.00   24.75 06/19/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 06/26/2017 Los Angeles CA East - Drivers
2278038            Overtime       8.00   24.75 06/26/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 07/03/2017 Los Angeles CA East - Drivers
2278038            Overtime       4.00   24.75 07/03/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 07/10/2017 Los Angeles CA East - Drivers
2278038            Overtime       6.50   24.75 07/10/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 07/17/2017 Los Angeles CA East - Drivers
2278038            Overtime      14.50   24.75 07/17/2017 Los Angeles CA East - Drivers
2278038            Regular       39.00   16.50 07/24/2017 Los Angeles CA East - Drivers
2278038            Overtime       6.00   24.75 07/24/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 07/31/2017 Los Angeles CA East - Drivers
2278038            Overtime       1.00   24.75 07/31/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 08/07/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 08/14/2017 Los Angeles CA East - Drivers
2278038            Regular       39.00   16.50 08/21/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 08/28/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 09/04/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 09/11/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 09/18/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 09/25/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 10/02/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 10/09/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 10/16/2017 Los Angeles CA East - Drivers
2278038            Overtime       3.00   24.75 10/16/2017 Los Angeles CA East - Drivers
2278038 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         16.50 38-5   Filed Los
                                                10/23/2017  03/22/21
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                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2278038            Overtime       3.75   24.75 #:917
                                                10/23/2017 Los Angeles CA East - Drivers
2278038            Regular       32.75   16.50 10/30/2017 Los Angeles CA East - Drivers
2278038            Overtime       1.00   24.75 10/30/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 11/06/2017 Los Angeles CA East - Drivers
2278038            Overtime       4.00   24.75 11/06/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 11/13/2017 Los Angeles CA East - Drivers
2278038            Overtime       6.00   24.75 11/13/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 11/20/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 11/27/2017 Los Angeles CA East - Drivers
2278038            Overtime       4.50   24.75 11/27/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 12/04/2017 Los Angeles CA East - Drivers
2278038            Overtime       1.50   24.75 12/04/2017 Los Angeles CA East - Drivers
2278038            Regular       31.25   16.50 12/11/2017 Los Angeles CA East - Drivers
2278038            Overtime       1.00   24.75 12/11/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 12/18/2017 Los Angeles CA East - Drivers
2278038            Overtime      21.50   24.75 12/18/2017 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 12/25/2017 Los Angeles CA East - Drivers
2278038            Overtime      12.00   24.75 12/25/2017 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 01/01/2018 Los Angeles CA East - Drivers
2278038            Overtime      16.50   24.75 01/01/2018 Los Angeles CA East - Drivers
2278038            Regular       32.00   16.50 01/08/2018 Los Angeles CA East - Drivers
2278038            Overtime       1.00   24.75 01/08/2018 Los Angeles CA East - Drivers
2278038            Regular       38.30   16.50 01/15/2018 Los Angeles CA East - Drivers
2278038            Overtime       2.00   24.75 01/15/2018 Los Angeles CA East - Drivers
2278038            Regular       40.00   16.50 01/22/2018 Los Angeles CA East - Drivers
2278038            Overtime      21.50   24.75 01/22/2018 Los Angeles CA East - Drivers
Total for 2278038             1,332.55
2370622            Regular        8.00   19.00 10/23/2017 Sacramento CA - Drivers
2370622            Overtime       4.00   28.50 10/23/2017 Sacramento CA - Drivers
2370622            Regular       32.00   19.00 10/30/2017 Sacramento CA - Drivers
2370622            Overtime      11.00   28.50 10/30/2017 Sacramento CA - Drivers
2370622            Regular       40.00   19.00 11/06/2017 Sacramento CA - Drivers
2370622            Overtime      12.50   28.50 11/06/2017 Sacramento CA - Drivers
2370622            Regular       32.00   19.00 11/13/2017 Sacramento CA - Drivers
2370622            Overtime       6.25   28.50 11/13/2017 Sacramento CA - Drivers
2370622            Regular       16.00   19.00 11/20/2017 Sacramento CA - Drivers
2370622            Overtime       7.75   28.50 11/20/2017 Sacramento CA - Drivers
2370622            Regular       32.00   19.00 11/27/2017 Sacramento CA - Drivers
2370622            Overtime      13.75   28.50 11/27/2017 Sacramento CA - Drivers
2370622            Regular       16.00   19.00 12/04/2017 Sacramento CA - Drivers
2370622            Overtime       6.50   28.50 12/04/2017 Sacramento CA - Drivers
2370622            Regular       15.25   19.50 09/04/2017 Sacramento CA - Drivers
2370622            Overtime       4.00   29.25 09/04/2017 Sacramento CA - Drivers
2370622            Regular       31.25   19.50 09/11/2017 Sacramento CA - Drivers
2370622            Overtime       7.25   29.25 09/11/2017 Sacramento CA - Drivers
2370622            Regular        8.00   19.50 09/18/2017 Sacramento CA - Drivers
2370622            Overtime       4.00   29.25 09/18/2017 Sacramento CA - Drivers
2370622            Regular       23.50   19.50 09/25/2017 Sacramento CA - Drivers
2370622            Overtime       3.25   29.25 09/25/2017 Sacramento CA - Drivers
2370622            Regular       39.50   19.50 10/02/2017 Sacramento CA - Drivers
2370622            Overtime       9.75   29.25 10/02/2017 Sacramento CA - Drivers
2370622            Regular       44.00   20.50 10/09/2017 Sacramento CA - Drivers
2370622            Overtime      12.75   30.75 10/09/2017 Sacramento CA - Drivers
2370622            Regular       32.00   20.50 10/16/2017 Sacramento CA - Drivers
2370622            Overtime       3.00   30.75 10/16/2017 Sacramento CA - Drivers
2370622            Regular       32.00   20.50 10/23/2017 Sacramento CA - Drivers
2370622            Overtime       3.25   30.75 10/23/2017 Sacramento CA - Drivers
2370622            Regular       16.00   20.50 12/04/2017 Sacramento CA - Drivers
2370622            Overtime       2.90   30.75 12/04/2017 Sacramento CA - Drivers
2370622            Regular       24.00   20.50 12/11/2017 Sacramento CA - Drivers
2370622            Overtime       3.70   30.75 12/11/2017 Sacramento CA - Drivers
2370622            Regular       35.80   20.50 12/18/2017 Sacramento CA - Drivers
2370622 Case   2:19-cv-08580-JFW-MAA
                     Overtime     10.40Document
                                          30.75 38-5   Filed Sacramento
                                                 12/18/2017  03/22/21 Page    145 of 691 Page ID
                                                                        CA - Drivers
2370622              Regular      24.00   20.50 #:918
                                                 12/25/2017 Sacramento CA - Drivers
2370622             Regular         8.00    20.50   01/29/2018   Sacramento   CA   - Drivers
2370622             Regular         8.00    20.50   02/05/2018   Sacramento   CA   - Drivers
2370622             Regular         6.50    20.50   02/19/2018   Sacramento   CA   - Drivers
2370622             Regular        16.00    20.00   01/08/2018   Sacramento   CA   - Drivers
2370622             Overtime        0.50    30.00   01/08/2018   Sacramento   CA   - Drivers
2370622             Regular        38.75    20.00   01/15/2018   Sacramento   CA   - Drivers
2370622             Overtime        3.25    30.00   01/15/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    20.00   01/22/2018   Sacramento   CA   - Drivers
2370622             Overtime        8.50    30.00   01/22/2018   Sacramento   CA   - Drivers
2370622             Regular        39.25    20.00   01/29/2018   Sacramento   CA   - Drivers
2370622             Overtime        3.75    30.00   01/29/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    20.00   02/05/2018   Sacramento   CA   - Drivers
2370622             Overtime        9.50    30.00   02/05/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    20.00   02/12/2018   Sacramento   CA   - Drivers
2370622             Overtime        6.25    30.00   02/12/2018   Sacramento   CA   - Drivers
2370622             Regular         8.00    20.00   02/19/2018   Sacramento   CA   - Drivers
2370622             Overtime        3.00    30.00   02/19/2018   Sacramento   CA   - Drivers
2370622             Regular         8.00    21.00   09/04/2017   Sacramento   CA   - Drivers
2370622             Overtime        4.00    31.50   09/04/2017   Sacramento   CA   - Drivers
2370622             Regular         8.00    21.00   09/11/2017   Sacramento   CA   - Drivers
2370622             Overtime        4.00    31.50   09/11/2017   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   12/25/2017   Sacramento   CA   - Drivers
2370622             Overtime        8.00    31.50   12/25/2017   Sacramento   CA   - Drivers
2370622             Regular        40.00    21.00   01/01/2018   Sacramento   CA   - Drivers
2370622             Overtime        8.00    31.50   01/01/2018   Sacramento   CA   - Drivers
2370622             Regular        16.00    21.00   01/08/2018   Sacramento   CA   - Drivers
2370622             Overtime        4.75    31.50   01/08/2018   Sacramento   CA   - Drivers
2370622             Regular         8.00    21.00   02/19/2018   Sacramento   CA   - Drivers
2370622             Overtime        0.50    31.50   02/19/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   02/26/2018   Sacramento   CA   - Drivers
2370622             Overtime        6.75    31.50   02/26/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    21.00   03/05/2018   Sacramento   CA   - Drivers
2370622             Overtime       14.75    31.50   03/05/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   03/12/2018   Sacramento   CA   - Drivers
2370622             Overtime        7.75    31.50   03/12/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    21.00   03/19/2018   Sacramento   CA   - Drivers
2370622             Overtime       10.30    31.50   03/19/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    21.00   03/26/2018   Sacramento   CA   - Drivers
2370622             Overtime       11.00    31.50   03/26/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   04/02/2018   Sacramento   CA   - Drivers
2370622             Overtime       10.50    31.50   04/02/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   04/09/2018   Sacramento   CA   - Drivers
2370622             Overtime       12.00    31.50   04/09/2018   Sacramento   CA   - Drivers
2370622             Regular        40.00    21.00   04/16/2018   Sacramento   CA   - Drivers
2370622             Overtime       14.50    31.50   04/16/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   04/23/2018   Sacramento   CA   - Drivers
2370622             Overtime        9.50    31.50   04/23/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   04/30/2018   Sacramento   CA   - Drivers
2370622             Overtime        6.75    31.50   04/30/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   05/07/2018   Sacramento   CA   - Drivers
2370622             Overtime        9.50    31.50   05/07/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   05/14/2018   Sacramento   CA   - Drivers
2370622             Overtime       10.00    31.50   05/14/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   05/21/2018   Sacramento   CA   - Drivers
2370622             Overtime        8.25    31.50   05/21/2018   Sacramento   CA   - Drivers
2370622             Regular        24.00    21.00   05/28/2018   Sacramento   CA   - Drivers
2370622             Overtime       17.00    31.50   05/28/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   06/04/2018   Sacramento   CA   - Drivers
2370622             Overtime       11.00    31.50   06/04/2018   Sacramento   CA   - Drivers
2370622             Regular        32.00    21.00   06/11/2018   Sacramento   CA   - Drivers
2370622             Overtime        9.25    31.50   06/11/2018   Sacramento   CA   - Drivers
2370622 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         21.00 38-5   Filed Sacramento
                                                06/18/2018  03/22/21 Page    146 of 691
                                                                       CA - Drivers       Page ID
2370622            Overtime      11.80   31.50 #:919
                                                06/18/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 06/25/2018 Sacramento CA - Drivers
2370622            Overtime      12.25   31.50 06/25/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 07/02/2018 Sacramento CA - Drivers
2370622            Overtime      11.50   31.50 07/02/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 07/09/2018 Sacramento CA - Drivers
2370622            Overtime      23.30   31.50 07/09/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 07/16/2018 Sacramento CA - Drivers
2370622            Overtime      19.25   31.50 07/16/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 07/23/2018 Sacramento CA - Drivers
2370622            Overtime      22.00   31.50 07/23/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 07/30/2018 Sacramento CA - Drivers
2370622            Overtime      18.00   31.50 07/30/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 08/06/2018 Sacramento CA - Drivers
2370622            Overtime      11.75   31.50 08/06/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 08/13/2018 Sacramento CA - Drivers
2370622            Overtime      11.00   31.50 08/13/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 08/20/2018 Sacramento CA - Drivers
2370622            Overtime      13.25   31.50 08/20/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 08/27/2018 Sacramento CA - Drivers
2370622            Overtime      12.75   31.50 08/27/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 09/03/2018 Sacramento CA - Drivers
2370622            Overtime      12.00   31.50 09/03/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 09/10/2018 Sacramento CA - Drivers
2370622            Overtime      22.75   31.50 09/10/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 09/17/2018 Sacramento CA - Drivers
2370622            Overtime      11.50   31.50 09/17/2018 Sacramento CA - Drivers
2370622            Regular       40.00   21.00 09/24/2018 Sacramento CA - Drivers
2370622            Overtime      23.50   31.50 09/24/2018 Sacramento CA - Drivers
Total for 2370622             2,589.20
2237969            Regular       16.00   20.00 04/17/2017 Los Angeles CA East - Drivers
2237969            Overtime       1.00   30.00 04/17/2017 Los Angeles CA East - Drivers
2237969            Regular       37.00   20.00 04/24/2017 Los Angeles CA East - Drivers
2237969            Overtime       0.75   30.00 04/24/2017 Los Angeles CA East - Drivers
2237969            Regular       30.75   20.00 05/01/2017 Los Angeles CA East - Drivers
2237969            Overtime       1.25   30.00 05/01/2017 Los Angeles CA East - Drivers
2237969            Regular       33.00   20.00 05/08/2017 Los Angeles CA East - Drivers
2237969            Regular       38.00   20.00 05/15/2017 Los Angeles CA East - Drivers
2237969            Overtime       3.50   30.00 05/15/2017 Los Angeles CA East - Drivers
2237969            Regular       38.50   20.00 05/22/2017 Los Angeles CA East - Drivers
2237969            Overtime       2.00   30.00 05/22/2017 Los Angeles CA East - Drivers
2237969            Regular       29.25   20.00 05/29/2017 Los Angeles CA East - Drivers
2237969            Overtime       1.75   30.00 05/29/2017 Los Angeles CA East - Drivers
2237969            Regular       39.00   20.00 06/05/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.25   30.00 06/05/2017 Los Angeles CA East - Drivers
2237969            Regular       39.00   20.00 06/12/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.75   30.00 06/12/2017 Los Angeles CA East - Drivers
2237969            Regular       39.00   20.00 06/19/2017 Los Angeles CA East - Drivers
2237969            Overtime       1.00   30.00 06/19/2017 Los Angeles CA East - Drivers
2237969            Regular       31.75   20.00 06/26/2017 Los Angeles CA East - Drivers
2237969            Overtime       6.75   30.00 06/26/2017 Los Angeles CA East - Drivers
2237969            Regular       30.25   20.00 07/03/2017 Los Angeles CA East - Drivers
2237969            Overtime       3.50   30.00 07/03/2017 Los Angeles CA East - Drivers
2237969            Regular       39.50   20.00 07/10/2017 Los Angeles CA East - Drivers
2237969            Overtime       3.50   30.00 07/10/2017 Los Angeles CA East - Drivers
2237969            Regular       32.00   20.00 07/17/2017 Los Angeles CA East - Drivers
2237969            Overtime       6.25   30.00 07/17/2017 Los Angeles CA East - Drivers
2237969            Regular       40.00   20.00 07/24/2017 Los Angeles CA East - Drivers
2237969            Overtime       7.00   30.00 07/24/2017 Los Angeles CA East - Drivers
2237969            Regular       31.75   20.00 07/31/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.25   30.00 07/31/2017 Los Angeles CA East - Drivers
2237969            Regular       39.50   20.00 08/07/2017 Los Angeles CA East - Drivers
2237969 Case 2:19-cv-08580-JFW-MAA
                   Overtime       7.25Document
                                         30.00 38-5   Filed Los
                                                08/07/2017  03/22/21
                                                                AngelesPage 147
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2237969            Regular       30.75   20.00 #:920
                                                08/14/2017 Los Angeles CA East - Drivers
2237969            Overtime       2.75   30.00 08/14/2017 Los Angeles CA East - Drivers
2237969            Regular       39.50   20.00 08/21/2017 Los Angeles CA East - Drivers
2237969            Overtime       3.00   30.00 08/21/2017 Los Angeles CA East - Drivers
2237969            Regular       39.50   20.00 08/28/2017 Los Angeles CA East - Drivers
2237969            Overtime       5.75   30.00 08/28/2017 Los Angeles CA East - Drivers
2237969            Regular       31.75   20.00 09/04/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.75   30.00 09/04/2017 Los Angeles CA East - Drivers
2237969            Regular       40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
2237969            Overtime       7.25   30.00 09/11/2017 Los Angeles CA East - Drivers
2237969            Regular       36.00   20.00 09/18/2017 Los Angeles CA East - Drivers
2237969            Overtime       3.50   30.00 09/18/2017 Los Angeles CA East - Drivers
2237969            Regular       29.75   20.00 09/25/2017 Los Angeles CA East - Drivers
2237969            Overtime       2.50   30.00 09/25/2017 Los Angeles CA East - Drivers
2237969            Regular       37.50   20.00 10/02/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.00   30.00 10/02/2017 Los Angeles CA East - Drivers
2237969            Regular       38.25   20.00 10/09/2017 Los Angeles CA East - Drivers
2237969            Overtime       2.50   30.00 10/09/2017 Los Angeles CA East - Drivers
2237969            Regular       31.00   20.00 10/16/2017 Los Angeles CA East - Drivers
2237969            Overtime       5.25   30.00 10/16/2017 Los Angeles CA East - Drivers
2237969            Regular       40.00   20.00 10/23/2017 Los Angeles CA East - Drivers
2237969            Overtime       6.00   30.00 10/23/2017 Los Angeles CA East - Drivers
2237969            Regular       39.00   20.00 10/30/2017 Los Angeles CA East - Drivers
2237969            Overtime      10.00   30.00 10/30/2017 Los Angeles CA East - Drivers
2237969            Regular       32.00   20.00 11/06/2017 Los Angeles CA East - Drivers
2237969            Overtime       9.00   30.00 11/06/2017 Los Angeles CA East - Drivers
2237969            Regular       38.75   20.00 11/13/2017 Los Angeles CA East - Drivers
2237969            Overtime       2.75   30.00 11/13/2017 Los Angeles CA East - Drivers
2237969            Regular       23.50   20.00 11/20/2017 Los Angeles CA East - Drivers
2237969            Overtime       3.75   30.00 11/20/2017 Los Angeles CA East - Drivers
2237969            Regular       32.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2237969            Overtime       8.50   30.00 11/27/2017 Los Angeles CA East - Drivers
2237969            Regular       39.30   20.00 12/04/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.25   30.00 12/04/2017 Los Angeles CA East - Drivers
2237969            Regular       38.25   20.00 12/11/2017 Los Angeles CA East - Drivers
2237969            Overtime       5.00   30.00 12/11/2017 Los Angeles CA East - Drivers
2237969            Regular       40.00   20.00 12/18/2017 Los Angeles CA East - Drivers
2237969            Overtime       2.50   30.00 12/18/2017 Los Angeles CA East - Drivers
2237969            Regular       24.00   20.00 12/25/2017 Los Angeles CA East - Drivers
2237969            Overtime       4.25   30.00 12/25/2017 Los Angeles CA East - Drivers
2237969            Regular       32.00   20.00 01/08/2018 Los Angeles CA East - Drivers
2237969            Overtime       5.00   30.00 01/08/2018 Los Angeles CA East - Drivers
2237969            Regular       39.00   20.00 01/15/2018 Los Angeles CA East - Drivers
2237969            Regular       21.25   20.00 01/22/2018 Los Angeles CA East - Drivers
Total for 2237969             1,538.30
842614             Regular       40.00   21.00 06/04/2018 Los Angeles CA West - Drivers
842614             Overtime       0.50   31.50 06/04/2018 Los Angeles CA West - Drivers
Total for 842614                 40.50
1250292            Regular       40.00   21.00 01/11/2016 Los Angeles CA West - Drivers
1250292            Overtime      33.50   31.50 01/11/2016 Los Angeles CA West - Drivers
1250292            Regular       40.00   21.00 01/18/2016 Los Angeles CA West - Drivers
1250292            Overtime      32.00   31.50 01/18/2016 Los Angeles CA West - Drivers
1250292            Regular       40.00   21.00 01/25/2016 Los Angeles CA West - Drivers
1250292            Overtime      40.00   31.50 01/25/2016 Los Angeles CA West - Drivers
1250292            Regular       40.00   21.00 02/01/2016 Los Angeles CA West - Drivers
1250292            Overtime      32.00   31.50 02/01/2016 Los Angeles CA West - Drivers
1250292            Regular       40.00   21.00 02/08/2016 Los Angeles CA West - Drivers
1250292            Overtime      32.00   31.50 02/08/2016 Los Angeles CA West - Drivers
1250292            Regular        8.00   21.00 02/15/2016 Los Angeles CA West - Drivers
1250292            Overtime       4.00   31.50 02/15/2016 Los Angeles CA West - Drivers
1250292            Regular       32.00   20.00 02/22/2016 Los Angeles CA West - Drivers
1250292            Overtime      11.00   30.00 02/22/2016 Los Angeles CA West - Drivers
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                   Regular      32.00Document
                                        20.00 38-5   Filed Los
                                               02/29/2016  03/22/21
                                                               AngelesPage 148- Drivers
                                                                      CA West   of 691    Page ID
Total for 1250292              456.50         #:921
2593331            Regular      40.00   21.00 10/15/2018 Los Angeles CA East - Drivers
2593331            Overtime      4.45   31.50 10/15/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 10/22/2018 Los Angeles CA East - Drivers
2593331            Overtime      2.03   31.50 10/22/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 10/29/2018 Los Angeles CA East - Drivers
2593331            Overtime      4.18   31.50 10/29/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 11/05/2018 Los Angeles CA East - Drivers
2593331            Overtime     20.94   31.50 10/29/2018 Los Angeles CA East - Drivers
2593331            Regular      72.00   21.00 11/19/2018 Los Angeles CA East - Drivers
2593331            Overtime     31.18   31.50 11/19/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 11/26/2018 Los Angeles CA East - Drivers
2593331            Overtime     16.82   31.50 11/26/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 12/03/2018 Los Angeles CA East - Drivers
2593331            Overtime     24.68   31.50 12/03/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 12/10/2018 Los Angeles CA East - Drivers
2593331            Overtime     23.70   31.50 12/10/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 12/17/2018 Los Angeles CA East - Drivers
2593331            Overtime     23.70   31.50 12/17/2018 Los Angeles CA East - Drivers
2593331            Regular      24.00   21.00 12/24/2018 Los Angeles CA East - Drivers
2593331            Overtime      5.75   31.50 12/24/2018 Los Angeles CA East - Drivers
2593331            Regular      24.00   21.00 12/31/2018 Los Angeles CA East - Drivers
2593331            Overtime      6.41   31.50 12/31/2018 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 01/07/2019 Los Angeles CA East - Drivers
2593331            Overtime     17.80   31.50 01/07/2019 Los Angeles CA East - Drivers
2593331            Regular      36.29   21.00 01/14/2019 Los Angeles CA East - Drivers
2593331            Overtime      2.64   31.50 01/14/2019 Los Angeles CA East - Drivers
2593331            Regular      32.00   21.00 01/21/2019 Los Angeles CA East - Drivers
2593331            Overtime     10.37   31.50 01/21/2019 Los Angeles CA East - Drivers
2593331            Regular      35.03   21.00 01/28/2019 Los Angeles CA East - Drivers
2593331            Overtime      4.92   31.50 01/28/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 02/04/2019 Los Angeles CA East - Drivers
2593331            Overtime     12.12   31.50 02/04/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 02/11/2019 Los Angeles CA East - Drivers
2593331            Overtime     19.05   31.50 02/11/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 02/18/2019 Los Angeles CA East - Drivers
2593331            Overtime     13.68   31.50 02/18/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 02/25/2019 Los Angeles CA East - Drivers
2593331            Overtime     10.80   31.50 02/25/2019 Los Angeles CA East - Drivers
2593331            Regular      32.00   21.00 03/04/2019 Los Angeles CA East - Drivers
2593331            Overtime     10.88   31.50 03/04/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 03/11/2019 Los Angeles CA East - Drivers
2593331            Overtime     19.65   31.50 03/11/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 03/18/2019 Los Angeles CA East - Drivers
2593331            Overtime      7.47   31.50 03/18/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 03/25/2019 Los Angeles CA East - Drivers
2593331            Overtime      3.82   31.50 03/25/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 04/01/2019 Los Angeles CA East - Drivers
2593331            Overtime      9.78   31.50 04/01/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 04/08/2019 Los Angeles CA East - Drivers
2593331            Overtime      9.48   31.50 04/08/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 04/15/2019 Los Angeles CA East - Drivers
2593331            Overtime      6.43   31.50 04/15/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 04/22/2019 Los Angeles CA East - Drivers
2593331            Overtime     10.83   31.50 04/22/2019 Los Angeles CA East - Drivers
2593331            Regular      24.00   21.00 04/29/2019 Los Angeles CA East - Drivers
2593331            Overtime      4.97   31.50 04/29/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 05/06/2019 Los Angeles CA East - Drivers
2593331            Overtime      9.63   31.50 05/06/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 05/13/2019 Los Angeles CA East - Drivers
2593331            Overtime     14.43   31.50 05/13/2019 Los Angeles CA East - Drivers
2593331            Regular      40.00   21.00 05/20/2019 Los Angeles CA East - Drivers
2593331 Case 2:19-cv-08580-JFW-MAA
                   Overtime      17.23Document
                                         31.50 38-5   Filed Los
                                                05/20/2019  03/22/21
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                                                                               - Drivers   Page ID
2593331            Regular       32.00   21.00 #:922
                                                05/27/2019 Los Angeles CA East - Drivers
2593331            Overtime       5.67   31.50 05/27/2019 Los Angeles CA East - Drivers
Total for 2593331             1,616.81
2579711            Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2579711            Overtime       4.00   30.00 10/29/2018 Los Angeles CA West - Drivers
2579711            Regular       40.00   22.00 10/01/2018 Los Angeles CA West - Drivers
2579711            Overtime      16.00   33.00 10/01/2018 Los Angeles CA West - Drivers
2579711            Regular       40.00   22.00 10/08/2018 Los Angeles CA West - Drivers
2579711            Overtime      16.75   33.00 10/08/2018 Los Angeles CA West - Drivers
2579711            Regular       40.00   22.00 10/15/2018 Los Angeles CA West - Drivers
2579711            Overtime      15.75   33.00 10/15/2018 Los Angeles CA West - Drivers
2579711            Regular       16.00   21.00 12/03/2018 Los Angeles CA West - Drivers
Total for 2579711               196.50
2609287            Regular        8.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2609287            Overtime       2.00   30.00 10/15/2018 Los Angeles CA West - Drivers
2609287            Regular        8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2609287            Overtime       1.00   30.00 09/24/2018 Los Angeles CA West - Drivers
2609287            Regular       24.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2609287            Overtime       6.50   30.00 10/01/2018 Los Angeles CA West - Drivers
2609287            Regular       24.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2609287            Overtime       6.25   30.00 10/29/2018 Los Angeles CA West - Drivers
2609287            Regular        8.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2609287            Overtime       4.00   30.00 11/05/2018 Los Angeles CA West - Drivers
2609287            Regular        8.00   20.00 12/03/2018 Los Angeles CA West - Drivers
2609287            Regular       23.50   39.17 10/01/2018 Los Angeles CA West - Drivers
2609287            Overtime       4.25   58.76 10/01/2018 Los Angeles CA West - Drivers
2609287            Regular       30.50   39.17 10/08/2018 Los Angeles CA West - Drivers
2609287            Overtime      10.00   58.76 10/08/2018 Los Angeles CA West - Drivers
2609287            Regular       24.00   39.17 10/15/2018 Los Angeles CA West - Drivers
2609287            Overtime       5.50   58.76 10/15/2018 Los Angeles CA West - Drivers
2609287            Regular       38.00   39.17 10/22/2018 Los Angeles CA West - Drivers
2609287            Overtime      11.50   58.76 10/22/2018 Los Angeles CA West - Drivers
2609287            Regular       16.00   39.17 10/29/2018 Los Angeles CA West - Drivers
2609287            Overtime       7.50   58.76 10/29/2018 Los Angeles CA West - Drivers
2609287            Regular       30.75   39.17 11/05/2018 Los Angeles CA West - Drivers
2609287            Overtime       2.00   58.76 11/05/2018 Los Angeles CA West - Drivers
2609287            Regular       31.00   39.17 11/12/2018 Los Angeles CA West - Drivers
2609287            Overtime       0.50   58.76 11/12/2018 Los Angeles CA West - Drivers
2609287            Regular        7.00   39.17 11/19/2018 Los Angeles CA West - Drivers
2609287            Regular       14.25   39.17 11/26/2018 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 12/10/2018 Los Angeles CA West - Drivers
2609287            Overtime      29.75   40.50 12/10/2018 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 12/17/2018 Los Angeles CA West - Drivers
2609287            Overtime      13.25   40.50 12/17/2018 Los Angeles CA West - Drivers
2609287            Regular       24.00   27.00 12/24/2018 Los Angeles CA West - Drivers
2609287            Overtime       2.00   40.50 12/24/2018 Los Angeles CA West - Drivers
2609287            Regular       32.00   27.00 12/31/2018 Los Angeles CA West - Drivers
2609287            Overtime       6.75   40.50 12/31/2018 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 01/07/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 01/14/2019 Los Angeles CA West - Drivers
2609287            Overtime       8.00   40.50 01/14/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 01/21/2019 Los Angeles CA West - Drivers
2609287            Overtime       9.25   40.50 01/21/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 01/28/2019 Los Angeles CA West - Drivers
2609287            Overtime       7.25   40.50 01/28/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 02/04/2019 Los Angeles CA West - Drivers
2609287            Overtime      18.00   40.50 02/04/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 02/11/2019 Los Angeles CA West - Drivers
2609287            Overtime      12.75   40.50 02/11/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 02/18/2019 Los Angeles CA West - Drivers
2609287            Overtime      16.00   40.50 02/18/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 02/25/2019 Los Angeles CA West - Drivers
2609287 Case 2:19-cv-08580-JFW-MAA
                   Overtime      17.25Document
                                         40.50 38-5   Filed Los
                                                02/25/2019  03/22/21
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2609287            Regular       40.00   27.00 #:923
                                                03/04/2019 Los Angeles CA West - Drivers
2609287            Overtime      18.25   40.50 03/04/2019 Los Angeles CA West - Drivers
2609287            Regular       34.00   27.00 03/11/2019 Los Angeles CA West - Drivers
2609287            Overtime       5.25   40.50 03/11/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 03/18/2019 Los Angeles CA West - Drivers
2609287            Overtime      11.50   40.50 03/18/2019 Los Angeles CA West - Drivers
2609287            Regular       40.00   27.00 03/25/2019 Los Angeles CA West - Drivers
2609287            Overtime       7.00   40.50 03/25/2019 Los Angeles CA West - Drivers
2609287            Regular        8.00   21.00 09/24/2018 Los Angeles CA West - Drivers
2609287            Regular       24.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2609287            Overtime       2.00   31.50 12/03/2018 Los Angeles CA West - Drivers
Total for 2609287             1,182.25
879505             Regular       80.00   17.00 08/10/2015 Los Angeles CA East - Drivers
879505             Overtime      15.25   25.50 08/10/2015 Los Angeles CA East - Drivers
879505             Regular       39.75   17.00 08/17/2015 Los Angeles CA East - Drivers
879505             Overtime       1.75   25.50 08/17/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 08/24/2015 Los Angeles CA East - Drivers
879505             Overtime       6.50   25.50 08/24/2015 Los Angeles CA East - Drivers
879505             Regular       39.75   17.00 08/31/2015 Los Angeles CA East - Drivers
879505             Overtime       0.75   25.50 08/31/2015 Los Angeles CA East - Drivers
879505             Regular       39.75   17.00 09/07/2015 Los Angeles CA East - Drivers
879505             Overtime       1.50   25.50 09/07/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 09/14/2015 Los Angeles CA East - Drivers
879505             Overtime       2.25   25.50 09/14/2015 Los Angeles CA East - Drivers
879505             Regular       32.00   17.00 09/21/2015 Los Angeles CA East - Drivers
879505             Overtime       1.50   25.50 09/21/2015 Los Angeles CA East - Drivers
879505             Regular        8.00   17.00 09/28/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 10/05/2015 Los Angeles CA East - Drivers
879505             Overtime       6.50   25.50 10/05/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 10/12/2015 Los Angeles CA East - Drivers
879505             Overtime       3.25   25.50 10/12/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 10/19/2015 Los Angeles CA East - Drivers
879505             Overtime       3.50   25.50 10/19/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 10/26/2015 Los Angeles CA East - Drivers
879505             Overtime       1.50   25.50 10/26/2015 Los Angeles CA East - Drivers
879505             Regular       39.75   17.00 11/02/2015 Los Angeles CA East - Drivers
879505             Overtime       3.75   25.50 11/02/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 11/09/2015 Los Angeles CA East - Drivers
879505             Overtime       0.75   25.50 11/09/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 11/16/2015 Los Angeles CA East - Drivers
879505             Overtime       6.50   25.50 11/16/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 11/23/2015 Los Angeles CA East - Drivers
879505             Overtime       2.50   25.50 11/23/2015 Los Angeles CA East - Drivers
879505             Regular       39.75   17.00 11/30/2015 Los Angeles CA East - Drivers
879505             Overtime       6.00   25.50 11/30/2015 Los Angeles CA East - Drivers
879505             Regular       79.75   17.00 12/14/2015 Los Angeles CA East - Drivers
879505             Overtime       7.25   25.50 12/14/2015 Los Angeles CA East - Drivers
879505             Regular       31.75   17.00 12/21/2015 Los Angeles CA East - Drivers
879505             Overtime       0.50   25.50 12/21/2015 Los Angeles CA East - Drivers
879505             Regular       32.00   17.00 12/28/2015 Los Angeles CA East - Drivers
879505             Overtime       0.25   25.50 12/28/2015 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 01/04/2016 Los Angeles CA East - Drivers
879505             Overtime       0.25   25.50 01/04/2016 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 01/11/2016 Los Angeles CA East - Drivers
879505             Overtime       2.50   25.50 01/11/2016 Los Angeles CA East - Drivers
879505             Regular       40.00   17.00 01/18/2016 Los Angeles CA East - Drivers
879505             Overtime       0.50   25.50 01/18/2016 Los Angeles CA East - Drivers
879505             Regular       32.00   17.00 01/25/2016 Los Angeles CA East - Drivers
Total for 879505              1,049.25
1145942            Regular        8.00   19.00 06/06/2016 Los Angeles CA East - Drivers
1145942            Regular       40.00   19.00 06/13/2016 Los Angeles CA East - Drivers
1145942            Overtime      12.00   28.50 06/13/2016 Los Angeles CA East - Drivers
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                   Regular      16.00Document
                                        19.00 38-5   Filed Los
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                                                                              - Drivers    Page ID
1145942            Regular      24.00   21.00 #:924
                                               06/20/2016 Los Angeles CA East - Drivers
1145942            Overtime     11.00   31.50 06/20/2016 Los Angeles CA East - Drivers
1145942            Regular      26.00   21.00 06/27/2016 Los Angeles CA East - Drivers
1145942            Overtime      8.50   31.50 06/27/2016 Los Angeles CA East - Drivers
1145942            Regular      31.50   21.00 07/04/2016 Los Angeles CA East - Drivers
1145942            Overtime     12.00   31.50 07/04/2016 Los Angeles CA East - Drivers
1145942            Regular       8.00   17.00 07/11/2016 Los Angeles CA East - Drivers
1145942            Overtime      0.50   25.50 07/11/2016 Los Angeles CA East - Drivers
1145942            Regular       7.50   17.00 06/27/2016 Los Angeles CA East - Drivers
1145942            Regular       2.00   19.00 07/18/2016 Los Angeles CA East - Drivers
1145942            Regular      16.00   19.00 08/01/2016 Los Angeles CA East - Drivers
Total for 1145942              223.00
943803             Regular       8.00   16.00 08/03/2015 Los Angeles CA East - Drivers
943803             Overtime      4.00   24.00 08/03/2015 Los Angeles CA East - Drivers
Total for 943803                12.00
2651343            Regular      40.00   26.00 02/11/2019 zz - San Francisco CA - Drivers
2651343            Overtime      1.25   39.00 02/11/2019 zz - San Francisco CA - Drivers
2651343            Regular      16.00   26.00 02/18/2019 zz - San Francisco CA - Drivers
2651343            Overtime      0.50   39.00 02/18/2019 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 02/25/2019 zz - San Francisco CA - Drivers
2651343            Overtime      4.50   39.00 02/25/2019 zz - San Francisco CA - Drivers
2651343            Regular      32.00   26.00 03/04/2019 zz - San Francisco CA - Drivers
2651343            Overtime      2.75   39.00 03/04/2019 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 03/18/2019 zz - San Francisco CA - Drivers
2651343            Overtime      3.00   39.00 03/18/2019 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 03/25/2019 zz - San Francisco CA - Drivers
2651343            Overtime      2.00   39.00 03/25/2019 zz - San Francisco CA - Drivers
2651343            Regular      24.00   26.00 12/24/2018 zz - San Francisco CA - Drivers
2651343            Overtime      4.50   39.00 12/24/2018 zz - San Francisco CA - Drivers
2651343            Regular      24.00   26.00 12/31/2018 zz - San Francisco CA - Drivers
2651343            Overtime      3.25   39.00 12/31/2018 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 01/07/2019 zz - San Francisco CA - Drivers
2651343            Overtime      5.25   39.00 01/07/2019 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 01/14/2019 zz - San Francisco CA - Drivers
2651343            Overtime      8.00   39.00 01/14/2019 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 01/21/2019 zz - San Francisco CA - Drivers
2651343            Overtime      6.00   39.00 01/21/2019 zz - San Francisco CA - Drivers
2651343            Regular      40.00   26.00 01/28/2019 zz - San Francisco CA - Drivers
2651343            Overtime      2.25   39.00 01/28/2019 zz - San Francisco CA - Drivers
2651343            Regular      32.00   26.00 02/04/2019 zz - San Francisco CA - Drivers
2651343            Overtime      2.50   39.00 02/04/2019 zz - San Francisco CA - Drivers
Total for 2651343              493.75
2364667            Regular       8.00   22.00 06/10/2019 Los Angeles CA East - Drivers
2364667            Overtime      3.00   33.00 06/10/2019 Los Angeles CA East - Drivers
2364667            Regular      16.00   20.00 06/11/2018 Los Angeles CA East - Drivers
2364667            Overtime      0.50   30.00 06/11/2018 Los Angeles CA East - Drivers
2364667            Regular      24.00   20.00 06/18/2018 Los Angeles CA East - Drivers
2364667            Overtime      3.00   30.00 06/18/2018 Los Angeles CA East - Drivers
2364667            Regular      24.00   20.00 06/25/2018 Los Angeles CA East - Drivers
2364667            Overtime      1.00   30.00 06/25/2018 Los Angeles CA East - Drivers
2364667            Regular      11.00   20.00 12/24/2018 Los Angeles CA East - Drivers
2364667            Regular      11.75   20.00 12/31/2018 Los Angeles CA East - Drivers
2364667            Regular      20.50   20.00 01/07/2019 Los Angeles CA East - Drivers
2364667            Regular      19.50   20.00 01/14/2019 Los Angeles CA East - Drivers
2364667            Regular      22.75   20.00 01/21/2019 Los Angeles CA East - Drivers
2364667            Regular      11.50   21.00 03/04/2019 Los Angeles CA East - Drivers
2364667            Regular      21.50   21.00 03/11/2019 Los Angeles CA East - Drivers
2364667            Regular      22.00   21.00 03/18/2019 Los Angeles CA East - Drivers
2364667            Regular      32.50   21.00 03/25/2019 Los Angeles CA East - Drivers
2364667            Regular      10.50   21.00 04/01/2019 Los Angeles CA East - Drivers
2364667            Regular      21.50   21.00 04/08/2019 Los Angeles CA East - Drivers
2364667            Regular       8.00   21.00 07/02/2018 Los Angeles CA East - Drivers
2364667 Case   2:19-cv-08580-JFW-MAA
                     Overtime      0.50Document
                                          31.50 38-5   Filed Los
                                                 07/02/2018  03/22/21
                                                                 AngelesPage 152
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
2364667              Regular       8.00   21.00 #:925
                                                 10/15/2018 Los Angeles CA East - Drivers
2364667             Overtime        3.00    31.50   10/15/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    19.50   08/06/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        8.00    29.25   08/06/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         2.00    19.50   04/16/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         7.50    19.50   03/19/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        22.08    19.50   04/23/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        23.50    19.50   06/04/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        4.50    29.25   06/04/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        14.50    20.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    20.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        1.00    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    20.00   10/22/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        4.00    30.00   10/22/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    19.50   04/16/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        1.50    29.25   04/16/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    19.50   09/03/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        2.00    29.25   09/03/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    21.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        0.50    31.50   11/12/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        15.50    21.00   11/19/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        2.50    31.50   11/19/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    19.50   05/28/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        3.00    29.25   05/28/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    20.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        1.00    30.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    20.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        4.00    30.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    22.00   07/23/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    22.00   04/22/2019   Los   Angeles   CA   East   - Drivers
2364667             Overtime        2.00    33.00   04/22/2019   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    22.00   04/29/2019   Los   Angeles   CA   East   - Drivers
2364667             Overtime        2.00    33.00   04/29/2019   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    20.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        4.00    30.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         6.75    20.98   10/23/2017   Los   Angeles   CA   East   - Drivers
2364667             Regular        32.50    21.85   11/27/2017   Los   Angeles   CA   East   - Drivers
2364667             Regular        17.50    21.85   12/04/2017   Los   Angeles   CA   East   - Drivers
2364667             Regular        17.00    21.85   12/11/2017   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    21.85   03/19/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        40.50    21.85   03/26/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        29.00    21.85   04/02/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        15.50    21.00   07/09/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        0.50    31.50   07/09/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    21.00   07/02/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        2.50    31.50   07/02/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
2364667             Overtime        1.00    31.50   02/04/2019   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    21.00   03/18/2019   Los   Angeles   CA   East   - Drivers
2364667             Overtime        1.00    31.50   03/18/2019   Los   Angeles   CA   East   - Drivers
2364667             Regular         4.00    21.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        3.42    31.50   02/19/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular         8.00    21.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    21.00   03/12/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        2.34    31.50   03/12/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        16.00    19.00   09/04/2017   Los   Angeles   CA   East   - Drivers
2364667             Overtime        7.50    28.50   09/04/2017   Los   Angeles   CA   East   - Drivers
2364667             Regular        24.00    20.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2364667             Overtime        0.50    30.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2364667             Regular        12.00    20.00   09/17/2018   Los   Angeles   CA   East   - Drivers
2364667 Case 2:19-cv-08580-JFW-MAA
                   Overtime       0.50Document
                                         30.00 38-5   Filed Los
                                                09/17/2018  03/22/21
                                                                AngelesPage 153
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2364667            Regular       15.00   20.00 #:926
                                                09/24/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.00 04/29/2019 Los Angeles CA East - Drivers
2364667            Overtime       2.00   30.00 04/29/2019 Los Angeles CA East - Drivers
2364667            Regular        7.50   20.75 09/11/2017 Los Angeles CA East - Drivers
2364667            Regular        5.00   20.75 10/02/2017 Los Angeles CA East - Drivers
2364667            Regular        7.50   20.75 04/09/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.75 04/16/2018 Los Angeles CA East - Drivers
2364667            Overtime       2.50   31.13 04/16/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.75 04/30/2018 Los Angeles CA East - Drivers
2364667            Overtime       1.50   31.13 04/30/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.75 09/10/2018 Los Angeles CA East - Drivers
2364667            Overtime       1.50   31.13 09/10/2018 Los Angeles CA East - Drivers
2364667            Regular       24.00   20.75 10/01/2018 Los Angeles CA East - Drivers
2364667            Overtime      11.00   31.13 10/01/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.00 05/14/2018 Los Angeles CA East - Drivers
2364667            Overtime       1.00   30.00 05/14/2018 Los Angeles CA East - Drivers
2364667            Regular        4.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.00 05/28/2018 Los Angeles CA East - Drivers
2364667            Regular        8.00   21.00 02/18/2019 Los Angeles CA East - Drivers
2364667            Overtime       0.50   31.50 02/18/2019 Los Angeles CA East - Drivers
2364667            Regular        8.00   21.00 02/25/2019 Los Angeles CA East - Drivers
2364667            Regular       16.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2364667            Overtime       1.00   30.00 02/12/2018 Los Angeles CA East - Drivers
2364667            Regular       16.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2364667            Regular       24.00   21.00 08/13/2018 Los Angeles CA East - Drivers
2364667            Overtime       8.50   31.50 08/13/2018 Los Angeles CA East - Drivers
2364667            Regular       32.00   20.00 11/05/2018 Los Angeles CA East - Drivers
2364667            Overtime       4.00   30.00 11/05/2018 Los Angeles CA East - Drivers
2364667            Regular        4.00   21.00 11/06/2017 Los Angeles CA East - Drivers
2364667            Regular       23.00   21.00 11/06/2017 Los Angeles CA East - Drivers
2364667            Regular       15.00   20.00 06/03/2019 Los Angeles CA East - Drivers
2364667            Overtime       3.00   30.00 06/03/2019 Los Angeles CA East - Drivers
2364667            Regular        8.00   20.00 06/10/2019 Los Angeles CA East - Drivers
2364667            Overtime       2.00   30.00 06/10/2019 Los Angeles CA East - Drivers
2364667            Regular        7.00   20.00 06/17/2019 Los Angeles CA East - Drivers
2364667            Regular       24.00   21.00 07/16/2018 Los Angeles CA East - Drivers
Total for 2364667             1,237.59
1216350            Regular       32.00   19.00 12/07/2015 Los Angeles CA West - Drivers
1216350            Overtime      10.25   28.50 12/07/2015 Los Angeles CA West - Drivers
1216350            Regular       32.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1216350            Overtime       9.25   28.50 12/14/2015 Los Angeles CA West - Drivers
1216350            Regular       24.00   19.00 12/21/2015 Los Angeles CA West - Drivers
1216350            Overtime       5.25   28.50 12/21/2015 Los Angeles CA West - Drivers
1216350            Regular       16.00   19.00 12/28/2015 Los Angeles CA West - Drivers
1216350            Overtime       5.00   28.50 12/28/2015 Los Angeles CA West - Drivers
1216350            Regular       30.00   19.00 01/04/2016 Los Angeles CA West - Drivers
1216350            Overtime       9.00   28.50 01/04/2016 Los Angeles CA West - Drivers
1216350            Regular       16.00   19.00 01/11/2016 Los Angeles CA West - Drivers
1216350            Overtime       3.00   28.50 01/11/2016 Los Angeles CA West - Drivers
1216350            Regular        7.50   20.00 10/19/2015 Los Angeles CA West - Drivers
Total for 1216350               199.25
1306703            Regular        4.50   20.00 04/04/2016 Sacramento CA - Drivers
Total for 1306703                 4.50
923993             Regular       24.00   19.75 11/20/2017 Sacramento CA - Drivers
923993             Overtime       8.00   29.63 11/20/2017 Sacramento CA - Drivers
923993             Regular       40.00   19.75 11/27/2017 Sacramento CA - Drivers
923993             Overtime      20.00   29.63 11/27/2017 Sacramento CA - Drivers
923993             Regular       40.00   19.75 12/04/2017 Sacramento CA - Drivers
923993             Overtime      12.00   29.63 12/04/2017 Sacramento CA - Drivers
923993             Regular       40.00   19.75 12/11/2017 Sacramento CA - Drivers
923993             Overtime      16.50   29.63 12/11/2017 Sacramento CA - Drivers
923993             Regular       40.00   19.75 12/18/2017 Sacramento CA - Drivers
923993   Case 2:19-cv-08580-JFW-MAA
                    Overtime     23.00Document
                                         29.63 38-5   Filed Sacramento
                                                12/18/2017  03/22/21 Page    154 of 691 Page ID
                                                                       CA - Drivers
923993              Regular      24.00   19.75 #:927
                                                12/25/2017 Sacramento CA - Drivers
923993              Overtime       11.00   29.63   12/25/2017   Sacramento   CA   - Drivers
923993              Regular        32.00   19.75   01/01/2018   Sacramento   CA   - Drivers
923993              Overtime        6.75   29.63   01/01/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   01/08/2018   Sacramento   CA   - Drivers
923993              Overtime       14.00   29.63   01/08/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   01/15/2018   Sacramento   CA   - Drivers
923993              Overtime       10.00   29.63   01/15/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   01/22/2018   Sacramento   CA   - Drivers
923993              Overtime       19.00   29.63   01/22/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   01/29/2018   Sacramento   CA   - Drivers
923993              Overtime       18.00   29.63   01/29/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   02/05/2018   Sacramento   CA   - Drivers
923993              Overtime       16.00   29.63   02/05/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   02/12/2018   Sacramento   CA   - Drivers
923993              Overtime       18.00   29.63   02/12/2018   Sacramento   CA   - Drivers
923993              Regular        39.00   19.75   02/19/2018   Sacramento   CA   - Drivers
923993              Overtime       14.00   29.63   02/19/2018   Sacramento   CA   - Drivers
923993              Regular        16.00   19.75   02/26/2018   Sacramento   CA   - Drivers
923993              Overtime        4.50   29.63   02/26/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   03/05/2018   Sacramento   CA   - Drivers
923993              Overtime       11.50   29.63   03/05/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   03/12/2018   Sacramento   CA   - Drivers
923993              Overtime       18.50   29.63   03/12/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   03/19/2018   Sacramento   CA   - Drivers
923993              Overtime        4.00   29.63   03/19/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   03/26/2018   Sacramento   CA   - Drivers
923993              Overtime        5.50   29.63   03/26/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   19.75   04/02/2018   Sacramento   CA   - Drivers
923993              Overtime       10.00   29.63   04/02/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   04/09/2018   Sacramento   CA   - Drivers
923993              Overtime        7.00   31.50   04/09/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   04/16/2018   Sacramento   CA   - Drivers
923993              Overtime       11.50   31.50   04/16/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   04/23/2018   Sacramento   CA   - Drivers
923993              Overtime       14.00   31.50   04/23/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   04/30/2018   Sacramento   CA   - Drivers
923993              Overtime        6.00   31.50   04/30/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   05/07/2018   Sacramento   CA   - Drivers
923993              Overtime       14.50   31.50   05/07/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   05/14/2018   Sacramento   CA   - Drivers
923993              Overtime       25.50   31.50   05/14/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   05/21/2018   Sacramento   CA   - Drivers
923993              Overtime       24.50   31.50   05/21/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   05/28/2018   Sacramento   CA   - Drivers
923993              Overtime       15.00   31.50   05/28/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   06/04/2018   Sacramento   CA   - Drivers
923993              Overtime       27.50   31.50   06/04/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   06/11/2018   Sacramento   CA   - Drivers
923993              Overtime       12.50   31.50   06/11/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   06/18/2018   Sacramento   CA   - Drivers
923993              Overtime       18.00   31.50   06/18/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   06/25/2018   Sacramento   CA   - Drivers
923993              Overtime       14.50   31.50   06/25/2018   Sacramento   CA   - Drivers
923993              Regular        32.00   21.00   07/02/2018   Sacramento   CA   - Drivers
923993              Overtime       15.50   31.50   07/02/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   07/09/2018   Sacramento   CA   - Drivers
923993              Overtime       17.00   31.50   07/09/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   07/16/2018   Sacramento   CA   - Drivers
923993              Overtime       18.50   31.50   07/16/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   07/23/2018   Sacramento   CA   - Drivers
923993              Overtime       26.00   31.50   07/23/2018   Sacramento   CA   - Drivers
923993   Case 2:19-cv-08580-JFW-MAA
                    Regular      32.00Document
                                         21.00 38-5   Filed Sacramento
                                                07/30/2018  03/22/21 Page    155 of 691 Page ID
                                                                       CA - Drivers
923993              Overtime     15.00   31.50 #:928
                                                07/30/2018 Sacramento CA - Drivers
923993              Regular        40.00   21.00   08/06/2018   Sacramento   CA   - Drivers
923993              Overtime       25.50   31.50   08/06/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   08/13/2018   Sacramento   CA   - Drivers
923993              Overtime       26.50   31.50   08/13/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   08/20/2018   Sacramento   CA   - Drivers
923993              Overtime       13.00   31.50   08/20/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   08/27/2018   Sacramento   CA   - Drivers
923993              Overtime       24.50   31.50   08/27/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   09/03/2018   Sacramento   CA   - Drivers
923993              Overtime       16.00   31.50   09/03/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   09/10/2018   Sacramento   CA   - Drivers
923993              Overtime       24.50   31.50   09/10/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   09/17/2018   Sacramento   CA   - Drivers
923993              Overtime       16.50   31.50   09/17/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   09/24/2018   Sacramento   CA   - Drivers
923993              Overtime       16.00   31.50   09/24/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   10/01/2018   Sacramento   CA   - Drivers
923993              Overtime       12.00   31.50   10/01/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   10/08/2018   Sacramento   CA   - Drivers
923993              Overtime       22.00   31.50   10/08/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   10/15/2018   Sacramento   CA   - Drivers
923993              Overtime       25.00   31.50   10/15/2018   Sacramento   CA   - Drivers
923993              Regular        32.00   21.00   10/22/2018   Sacramento   CA   - Drivers
923993              Overtime       12.50   31.50   10/22/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   10/29/2018   Sacramento   CA   - Drivers
923993              Overtime       24.00   31.50   10/29/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   11/05/2018   Sacramento   CA   - Drivers
923993              Overtime       25.50   31.50   11/05/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   11/12/2018   Sacramento   CA   - Drivers
923993              Overtime       23.00   31.50   11/12/2018   Sacramento   CA   - Drivers
923993              Regular        32.00   21.00   11/19/2018   Sacramento   CA   - Drivers
923993              Overtime       15.00   31.50   11/19/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   11/26/2018   Sacramento   CA   - Drivers
923993              Overtime       25.50   31.50   11/26/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   12/03/2018   Sacramento   CA   - Drivers
923993              Overtime       16.25   31.50   12/03/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   12/10/2018   Sacramento   CA   - Drivers
923993              Overtime       19.00   31.50   12/10/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   12/17/2018   Sacramento   CA   - Drivers
923993              Overtime       24.50   31.50   12/17/2018   Sacramento   CA   - Drivers
923993              Regular        32.00   21.00   12/24/2018   Sacramento   CA   - Drivers
923993              Overtime       12.00   31.50   12/24/2018   Sacramento   CA   - Drivers
923993              Regular        32.00   21.00   12/31/2018   Sacramento   CA   - Drivers
923993              Overtime        5.50   31.50   12/31/2018   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   01/07/2019   Sacramento   CA   - Drivers
923993              Overtime       25.50   31.50   01/07/2019   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   01/14/2019   Sacramento   CA   - Drivers
923993              Overtime       22.00   31.50   01/14/2019   Sacramento   CA   - Drivers
923993              Regular        24.00   21.00   01/21/2019   Sacramento   CA   - Drivers
923993              Overtime        7.00   31.50   01/21/2019   Sacramento   CA   - Drivers
923993              Regular        32.00   21.00   01/28/2019   Sacramento   CA   - Drivers
923993              Overtime        5.50   31.50   01/28/2019   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   02/04/2019   Sacramento   CA   - Drivers
923993              Overtime       25.00   31.50   02/04/2019   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   02/11/2019   Sacramento   CA   - Drivers
923993              Overtime       18.50   31.50   02/11/2019   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   02/18/2019   Sacramento   CA   - Drivers
923993              Overtime       12.50   31.50   02/18/2019   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   02/25/2019   Sacramento   CA   - Drivers
923993              Overtime       22.00   31.50   02/25/2019   Sacramento   CA   - Drivers
923993              Regular        40.00   21.00   03/04/2019   Sacramento   CA   - Drivers
923993 Case 2:19-cv-08580-JFW-MAA
                  Overtime      23.50Document
                                        31.50 38-5   Filed Sacramento
                                               03/04/2019  03/22/21 Page    156 of 691
                                                                      CA - Drivers       Page ID
923993            Regular       32.00   21.00 #:929
                                               03/11/2019 Sacramento CA - Drivers
923993            Overtime      13.00   31.50 03/11/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 03/18/2019 Sacramento CA - Drivers
923993            Overtime      14.00   31.50 03/18/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 03/25/2019 Sacramento CA - Drivers
923993            Overtime      12.00   31.50 03/25/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 04/01/2019 Sacramento CA - Drivers
923993            Overtime      14.00   31.50 04/01/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 04/08/2019 Sacramento CA - Drivers
923993            Overtime      15.00   31.50 04/08/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 04/15/2019 Sacramento CA - Drivers
923993            Overtime      13.50   31.50 04/15/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 04/22/2019 Sacramento CA - Drivers
923993            Overtime      14.00   31.50 04/22/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 04/29/2019 Sacramento CA - Drivers
923993            Overtime      16.00   31.50 04/29/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
923993            Overtime      26.00   31.50 05/06/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 05/13/2019 Sacramento CA - Drivers
923993            Overtime      12.00   31.50 05/13/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 05/20/2019 Sacramento CA - Drivers
923993            Overtime      13.50   31.50 05/20/2019 Sacramento CA - Drivers
923993            Regular       32.00   21.00 05/27/2019 Sacramento CA - Drivers
923993            Overtime       9.50   31.50 05/27/2019 Sacramento CA - Drivers
923993            Regular       40.00   21.00 06/03/2019 Sacramento CA - Drivers
923993            Overtime      12.50   31.50 06/03/2019 Sacramento CA - Drivers
923993            Regular       40.00   22.00 06/10/2019 Sacramento CA - Drivers
923993            Overtime      12.50   33.00 06/10/2019 Sacramento CA - Drivers
923993            Regular       40.00   22.00 06/17/2019 Sacramento CA - Drivers
923993            Overtime      16.50   33.00 06/17/2019 Sacramento CA - Drivers
923993            Regular       40.00   22.00 06/24/2019 Sacramento CA - Drivers
923993            Overtime      19.50   33.00 06/24/2019 Sacramento CA - Drivers
923993            Regular       32.00   22.00 07/01/2019 Sacramento CA - Drivers
923993            Overtime       8.50   33.00 07/01/2019 Sacramento CA - Drivers
923993            Regular       40.00   22.00 07/08/2019 Sacramento CA - Drivers
923993            Overtime      11.50   33.00 07/08/2019 Sacramento CA - Drivers
923993            Regular       40.00   22.00 07/15/2019 Sacramento CA - Drivers
923993            Overtime      13.75   33.00 07/15/2019 Sacramento CA - Drivers
923993            Regular       40.00   22.00 07/22/2019 Sacramento CA - Drivers
923993            Overtime      13.50   33.00 07/22/2019 Sacramento CA - Drivers
923993            Regular       40.00   23.00 07/29/2019 Sacramento CA - Drivers
923993            Overtime      18.00   34.50 07/29/2019 Sacramento CA - Drivers
923993            Regular       40.00   23.00 08/05/2019 Sacramento CA - Drivers
923993            Overtime      14.00   34.50 08/05/2019 Sacramento CA - Drivers
923993            Regular       32.00   23.00 08/12/2019 Sacramento CA - Drivers
923993            Overtime      13.50   34.50 08/12/2019 Sacramento CA - Drivers
923993            Regular       40.00   23.00 08/19/2019 Sacramento CA - Drivers
923993            Overtime      14.50   34.50 08/19/2019 Sacramento CA - Drivers
923993            Regular       40.00   23.00 08/26/2019 Sacramento CA - Drivers
923993            Overtime      14.25   34.50 08/26/2019 Sacramento CA - Drivers
923993            Regular       40.00   23.00 09/02/2019 Sacramento CA - Drivers
923993            Overtime      10.00   34.50 09/02/2019 Sacramento CA - Drivers
Total for 923993             5,084.50
2543314           Regular        8.00   17.00 06/25/2018 Los Angeles CA East - Drivers
Total for 2543314                8.00
2580116           Regular       24.00   21.00 08/13/2018 Los Angeles CA West - Drivers
2580116           Regular       40.00   21.00 08/20/2018 Los Angeles CA West - Drivers
2580116           Regular       40.00   21.00 08/27/2018 Los Angeles CA West - Drivers
2580116           Regular       28.00   21.00 09/03/2018 Los Angeles CA West - Drivers
2580116           Overtime       1.50   31.50 09/03/2018 Los Angeles CA West - Drivers
2580116           Regular       32.00   21.00 09/10/2018 Los Angeles CA West - Drivers
2580116           Overtime       1.00   31.50 09/10/2018 Los Angeles CA West - Drivers
2580116 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          21.00 38-5   Filed Los
                                                 09/17/2018  03/22/21
                                                                 AngelesPage 157- Drivers
                                                                        CA West   of 691 Page ID
2580116              Overtime     10.00   31.50 #:930
                                                 09/17/2018 Los Angeles CA West - Drivers
2580116             Regular        40.00    21.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.00    31.50   09/24/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        0.50    31.50   10/08/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        6.00    31.50   10/15/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        2.00    31.50   10/22/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.00    31.50   10/29/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        24.00    21.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.50    31.50   11/19/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.00    31.50   11/26/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        32.00    21.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        32.00    21.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2580116             Regular        32.00    21.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.50    31.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        6.25    31.50   01/14/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.50    31.50   01/21/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    21.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.00    31.50   01/28/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        26.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        0.50    31.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        26.00    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        0.50    31.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   03/04/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        4.00    30.75   03/04/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        0.50    30.75   03/11/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        16.00    20.50   04/08/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   04/15/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   05/20/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        3.00    30.75   05/20/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        16.00    20.50   06/24/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        3.50    30.75   07/01/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        16.00    20.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        1.50    30.75   07/15/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        16.00    20.50   07/22/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        3.00    30.75   07/22/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    20.50   08/05/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        24.00    20.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        32.00    20.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        3.50    30.75   09/02/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        16.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        40.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime       10.00    33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular        16.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2580116             Overtime        2.00    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    21.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2580116             Regular         8.00    21.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2580116 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         21.00 38-5   Filed Los
                                                04/22/2019  03/22/21
                                                                AngelesPage 158- Drivers
                                                                       CA West   of 691    Page ID
2580116            Overtime       3.50   31.50 #:931
                                                04/22/2019 Los Angeles CA West - Drivers
2580116            Regular        8.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2580116            Regular       16.00   21.00 06/10/2019 Los Angeles CA West - Drivers
2580116            Overtime       8.00   31.50 06/10/2019 Los Angeles CA West - Drivers
2580116            Regular        8.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2580116            Overtime       4.00   31.50 06/17/2019 Los Angeles CA West - Drivers
2580116            Regular       16.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2580116            Overtime       4.00   31.50 07/08/2019 Los Angeles CA West - Drivers
2580116            Regular       40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2580116            Overtime       9.00   31.50 07/29/2019 Los Angeles CA West - Drivers
2580116            Regular       24.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2580116            Regular       32.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2580116            Regular       40.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2580116            Regular       32.00   22.00 04/29/2019 Los Angeles CA West - Drivers
2580116            Overtime      10.00   33.00 04/29/2019 Los Angeles CA West - Drivers
2580116            Regular        8.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2580116            Overtime       0.25   33.00 05/06/2019 Los Angeles CA West - Drivers
Total for 2580116             1,578.50
2238774            Regular        4.00   23.00 04/24/2017 Sacramento CA - Drivers
Total for 2238774                 4.00
1318738            Regular       16.25   21.00 05/09/2016 Sacramento CA - Drivers
1318738            Regular        7.75   19.00 05/09/2016 Sacramento CA - Drivers
Total for 1318738                24.00
2380620            Regular       16.00   20.00 10/02/2017 Los Angeles CA East - Drivers
2380620            Overtime       4.00   30.00 10/02/2017 Los Angeles CA East - Drivers
2380620            Regular        8.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2380620            Overtime       4.00   30.00 11/27/2017 Los Angeles CA East - Drivers
2380620            Regular        6.25   20.95 10/16/2017 Los Angeles CA East - Drivers
2380620            Regular        6.25   20.95 10/23/2017 Los Angeles CA East - Drivers
2380620            Regular        6.75   20.98 11/27/2017 Los Angeles CA East - Drivers
Total for 2380620                51.25
2464106            Regular        4.00   20.00 01/22/2018 Los Angeles CA East - Drivers
2464106            Regular       24.00   20.00 01/29/2018 Los Angeles CA East - Drivers
2464106            Overtime       0.50   30.00 01/29/2018 Los Angeles CA East - Drivers
Total for 2464106                28.50
2759678            Regular       13.00   40.22 05/13/2019 Los Angeles CA West - Drivers
2759678            Overtime       1.00   60.33 05/13/2019 Los Angeles CA West - Drivers
2759678            Regular        8.00   40.22 05/20/2019 Los Angeles CA West - Drivers
2759678            Overtime       4.00   60.33 05/20/2019 Los Angeles CA West - Drivers
2759678            Regular       16.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2759678            Overtime       3.00   31.50 05/20/2019 Los Angeles CA West - Drivers
2759678            Regular       32.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2759678            Overtime       6.50   31.50 05/27/2019 Los Angeles CA West - Drivers
2759678            Regular        6.50   21.00 06/03/2019 Los Angeles CA West - Drivers
Total for 2759678                90.00
2663400            Regular       40.00   17.50 01/14/2019 Los Angeles CA West - Drivers
2663400            Overtime       5.00   26.25 01/14/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 01/21/2019 Los Angeles CA West - Drivers
2663400            Overtime       5.00   26.25 01/21/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 01/28/2019 Los Angeles CA West - Drivers
2663400            Overtime      14.50   26.25 01/28/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 02/04/2019 Los Angeles CA West - Drivers
2663400            Overtime      14.00   26.25 02/04/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 02/11/2019 Los Angeles CA West - Drivers
2663400            Overtime      13.50   26.25 02/11/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 02/18/2019 Los Angeles CA West - Drivers
2663400            Overtime       4.00   26.25 02/18/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 02/25/2019 Los Angeles CA West - Drivers
2663400            Overtime      10.00   26.25 02/25/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 03/04/2019 Los Angeles CA West - Drivers
2663400            Overtime       5.25   26.25 03/04/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 03/11/2019 Los Angeles CA West - Drivers
2663400 Case 2:19-cv-08580-JFW-MAA
                   Overtime      13.50Document
                                         26.25 38-5   Filed Los
                                                03/11/2019  03/22/21
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                                                                       CA West   of 691    Page ID
2663400            Regular       32.00   17.50 #:932
                                                03/18/2019 Los Angeles CA West - Drivers
2663400            Overtime      13.50   26.25 03/18/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 03/25/2019 Los Angeles CA West - Drivers
2663400            Overtime       7.00   26.25 03/25/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 04/01/2019 Los Angeles CA West - Drivers
2663400            Overtime      14.75   26.25 04/01/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 04/08/2019 Los Angeles CA West - Drivers
2663400            Overtime      15.00   26.25 04/08/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 04/15/2019 Los Angeles CA West - Drivers
2663400            Overtime      11.50   26.25 04/15/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 04/22/2019 Los Angeles CA West - Drivers
2663400            Overtime      11.50   26.25 04/22/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 04/29/2019 Los Angeles CA West - Drivers
2663400            Overtime      13.00   26.25 04/29/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 05/06/2019 Los Angeles CA West - Drivers
2663400            Overtime       6.00   26.25 05/06/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 05/13/2019 Los Angeles CA West - Drivers
2663400            Overtime      13.50   26.25 05/13/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 05/20/2019 Los Angeles CA West - Drivers
2663400            Overtime       6.50   26.25 05/20/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 05/27/2019 Los Angeles CA West - Drivers
2663400            Overtime      10.50   26.25 05/27/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 06/03/2019 Los Angeles CA West - Drivers
2663400            Overtime      12.00   26.25 06/03/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 06/10/2019 Los Angeles CA West - Drivers
2663400            Overtime       8.25   26.25 06/10/2019 Los Angeles CA West - Drivers
2663400            Regular       24.00   17.50 06/17/2019 Los Angeles CA West - Drivers
2663400            Overtime       0.50   26.25 06/17/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 06/24/2019 Los Angeles CA West - Drivers
2663400            Overtime      16.00   26.25 06/24/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 07/01/2019 Los Angeles CA West - Drivers
2663400            Overtime       4.00   26.25 07/01/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 07/08/2019 Los Angeles CA West - Drivers
2663400            Overtime      13.00   26.25 07/08/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 07/15/2019 Los Angeles CA West - Drivers
2663400            Overtime       3.50   26.25 07/15/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 07/22/2019 Los Angeles CA West - Drivers
2663400            Overtime      11.50   26.25 07/22/2019 Los Angeles CA West - Drivers
2663400            Regular       32.00   17.50 07/29/2019 Los Angeles CA West - Drivers
2663400            Overtime       2.50   26.25 07/29/2019 Los Angeles CA West - Drivers
2663400            Regular       29.00   17.50 08/05/2019 Los Angeles CA West - Drivers
2663400            Overtime      11.00   26.25 08/05/2019 Los Angeles CA West - Drivers
2663400            Regular       33.00   17.50 08/12/2019 Los Angeles CA West - Drivers
2663400            Overtime      12.50   26.25 08/12/2019 Los Angeles CA West - Drivers
2663400            Regular       40.00   17.50 08/19/2019 Los Angeles CA West - Drivers
2663400            Overtime      17.00   26.25 08/19/2019 Los Angeles CA West - Drivers
2663400            Regular       16.00   17.50 08/26/2019 Los Angeles CA West - Drivers
2663400            Overtime       7.00   26.25 08/26/2019 Los Angeles CA West - Drivers
2663400            Regular        8.00   17.00 12/10/2018 Los Angeles CA West - Drivers
2663400            Overtime       1.00   25.50 12/10/2018 Los Angeles CA West - Drivers
Total for 2663400             1,525.25
2599811            Regular       40.00   21.00 09/24/2018 Sacramento CA - Drivers
2599811            Overtime      10.00   31.50 09/24/2018 Sacramento CA - Drivers
2599811            Regular       40.00   21.00 10/01/2018 Sacramento CA - Drivers
2599811            Overtime       9.50   31.50 10/01/2018 Sacramento CA - Drivers
2599811            Regular       40.00   21.00 10/08/2018 Sacramento CA - Drivers
2599811            Overtime      13.50   31.50 10/08/2018 Sacramento CA - Drivers
2599811            Regular       32.00   21.00 10/15/2018 Sacramento CA - Drivers
2599811            Overtime       8.00   31.50 10/15/2018 Sacramento CA - Drivers
2599811            Regular       32.00   21.00 10/22/2018 Sacramento CA - Drivers
2599811            Overtime       7.50   31.50 10/22/2018 Sacramento CA - Drivers
Total for 2599811               232.50
2232931 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        19.50 38-5   Filed Sacramento
                                               05/15/2017  03/22/21 Page    160 of 691
                                                                      CA - Drivers       Page ID
2232931            Overtime      2.25   29.25 #:933
                                               05/15/2017 Sacramento CA - Drivers
2232931            Regular      14.25   19.50 05/22/2017 Sacramento CA - Drivers
2232931            Overtime      1.50   29.25 05/22/2017 Sacramento CA - Drivers
2232931            Overtime      7.75   29.25 05/29/2017 Sacramento CA - Drivers
2232931            Regular      21.00   19.50 06/05/2017 Sacramento CA - Drivers
2232931            Overtime      1.00   29.25 06/05/2017 Sacramento CA - Drivers
Total for 2232931               55.75
1353717            Regular      20.00   19.00 07/11/2016 Sacramento CA - Drivers
1353717            Overtime      4.00   28.50 07/11/2016 Sacramento CA - Drivers
1353717            Regular      36.25   19.00 07/18/2016 Sacramento CA - Drivers
1353717            Overtime      2.50   28.50 07/18/2016 Sacramento CA - Drivers
1353717            Regular      32.25   19.00 07/25/2016 Sacramento CA - Drivers
1353717            Regular      41.00   19.00 08/01/2016 Sacramento CA - Drivers
1353717            Regular      46.00   19.00 08/08/2016 Sacramento CA - Drivers
1353717            Overtime      6.50   28.50 08/08/2016 Sacramento CA - Drivers
1353717            Regular      41.00   19.00 08/15/2016 Sacramento CA - Drivers
1353717            Overtime      3.00   28.50 08/15/2016 Sacramento CA - Drivers
1353717            Regular      38.75   19.00 08/22/2016 Sacramento CA - Drivers
1353717            Overtime      4.75   28.50 08/22/2016 Sacramento CA - Drivers
Total for 1353717              276.00
2759825            Regular       8.00   22.50 07/01/2019 Los Angeles CA West - Drivers
2759825            Overtime      3.50   33.75 07/01/2019 Los Angeles CA West - Drivers
2759825            Regular       8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2759825            Overtime      0.50   33.00 05/27/2019 Los Angeles CA West - Drivers
2759825            Regular      24.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2759825            Overtime      5.75   33.00 06/03/2019 Los Angeles CA West - Drivers
2759825            Regular      31.25   40.22 05/27/2019 Los Angeles CA West - Drivers
2759825            Overtime      5.00   60.33 05/27/2019 Los Angeles CA West - Drivers
2759825            Regular      24.00   40.22 06/03/2019 Los Angeles CA West - Drivers
2759825            Overtime      5.75   60.33 06/03/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   40.22 06/10/2019 Los Angeles CA West - Drivers
2759825            Overtime     12.25   60.33 06/10/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   40.22 06/17/2019 Los Angeles CA West - Drivers
2759825            Overtime     13.30   60.33 06/17/2019 Los Angeles CA West - Drivers
2759825            Regular      32.00   22.00 06/24/2019 Los Angeles CA West - Drivers
2759825            Overtime      5.50   33.00 06/24/2019 Los Angeles CA West - Drivers
2759825            Regular       8.00   22.50 07/01/2019 Los Angeles CA West - Drivers
2759825            Overtime      2.00   33.75 07/01/2019 Los Angeles CA West - Drivers
2759825            Regular      16.00   22.50 07/15/2019 Los Angeles CA West - Drivers
2759825            Overtime      3.50   33.75 07/15/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   22.50 07/22/2019 Los Angeles CA West - Drivers
2759825            Overtime     12.50   33.75 07/22/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   22.50 07/29/2019 Los Angeles CA West - Drivers
2759825            Overtime     16.75   33.75 07/29/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   22.50 08/05/2019 Los Angeles CA West - Drivers
2759825            Overtime     16.75   33.75 08/05/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   22.50 08/12/2019 Los Angeles CA West - Drivers
2759825            Overtime     20.00   33.75 08/12/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   22.50 08/19/2019 Los Angeles CA West - Drivers
2759825            Overtime     10.25   33.75 08/19/2019 Los Angeles CA West - Drivers
2759825            Regular      32.00   22.50 08/26/2019 Los Angeles CA West - Drivers
2759825            Overtime     12.50   33.75 08/26/2019 Los Angeles CA West - Drivers
2759825            Regular      40.00   22.50 09/02/2019 Los Angeles CA West - Drivers
2759825            Overtime     14.25   33.75 09/02/2019 Los Angeles CA West - Drivers
Total for 2759825              663.30
2332290            Regular      14.50   20.98 07/31/2017 Sacramento CA - Drivers
2332290            Regular      31.25   20.98 08/07/2017 Sacramento CA - Drivers
2332290            Regular      31.25   20.98 08/14/2017 Sacramento CA - Drivers
2332290            Regular      36.25   20.98 08/21/2017 Sacramento CA - Drivers
2332290            Regular      28.50   20.98 08/28/2017 Sacramento CA - Drivers
2332290            Regular      29.00   20.98 09/04/2017 Sacramento CA - Drivers
2332290            Regular      32.25   20.98 09/11/2017 Sacramento CA - Drivers
2332290 Case 2:19-cv-08580-JFW-MAA
                   Regular      28.50Document
                                        20.98 38-5   Filed Sacramento
                                               09/18/2017  03/22/21 Page    161 of 691
                                                                      CA - Drivers       Page ID
2332290            Regular      14.00   19.75 #:934
                                               09/25/2017 Sacramento CA - Drivers
2332290            Overtime      1.50   29.63 09/25/2017 Sacramento CA - Drivers
2332290            Regular      29.50   19.75 10/02/2017 Sacramento CA - Drivers
2332290            Overtime      5.00   29.63 10/02/2017 Sacramento CA - Drivers
2332290            Regular      39.50   19.75 10/09/2017 Sacramento CA - Drivers
2332290            Overtime     10.00   29.63 10/09/2017 Sacramento CA - Drivers
2332290            Regular      40.00   19.75 10/16/2017 Sacramento CA - Drivers
2332290            Overtime     19.00   29.63 10/16/2017 Sacramento CA - Drivers
2332290            Regular      32.00   19.75 10/23/2017 Sacramento CA - Drivers
2332290            Overtime      6.00   29.63 10/23/2017 Sacramento CA - Drivers
2332290            Regular      31.00   19.75 10/30/2017 Sacramento CA - Drivers
2332290            Overtime      6.50   29.63 10/30/2017 Sacramento CA - Drivers
2332290            Regular       8.00   19.00 07/17/2017 Sacramento CA - Drivers
2332290            Regular      40.00   19.00 07/24/2017 Sacramento CA - Drivers
2332290            Overtime      3.00   28.50 07/24/2017 Sacramento CA - Drivers
2332290            Regular       8.00   19.00 07/31/2017 Sacramento CA - Drivers
2332290            Regular      16.00   20.00 11/13/2017 Sacramento CA - Drivers
2332290            Overtime      6.87   30.00 11/13/2017 Sacramento CA - Drivers
Total for 2332290              547.37
1384893            Regular      32.00   16.00 08/22/2016 Los Angeles CA West - Drivers
1384893            Regular      32.00   16.00 08/29/2016 Los Angeles CA West - Drivers
1384893            Overtime      0.50   24.00 08/29/2016 Los Angeles CA West - Drivers
1384893            Regular      24.00   16.00 09/05/2016 Los Angeles CA West - Drivers
1384893            Regular      24.00   16.00 09/12/2016 Los Angeles CA West - Drivers
1384893            Regular      40.00   16.00 09/19/2016 Los Angeles CA West - Drivers
1384893            Overtime      6.00   24.00 09/19/2016 Los Angeles CA West - Drivers
1384893            Regular      40.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1384893            Overtime      1.00   24.00 09/26/2016 Los Angeles CA West - Drivers
1384893            Regular      16.25   16.00 10/10/2016 Los Angeles CA West - Drivers
Total for 1384893              215.75
1363570            Regular      40.00   17.00 03/13/2017 Sacramento CA - Drivers
1363570            Overtime      3.00   25.50 03/13/2017 Sacramento CA - Drivers
1363570            Regular      22.50   18.00 08/01/2016 Sacramento CA - Drivers
1363570            Overtime      2.25   27.00 08/01/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 08/08/2016 Sacramento CA - Drivers
1363570            Overtime     12.50   27.00 08/08/2016 Sacramento CA - Drivers
1363570            Regular      39.50   18.00 08/15/2016 Sacramento CA - Drivers
1363570            Overtime      7.00   27.00 08/15/2016 Sacramento CA - Drivers
1363570            Regular      32.00   18.00 08/22/2016 Sacramento CA - Drivers
1363570            Overtime      8.75   27.00 08/22/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 08/29/2016 Sacramento CA - Drivers
1363570            Overtime      8.75   27.00 08/29/2016 Sacramento CA - Drivers
1363570            Regular      29.00   18.00 09/05/2016 Sacramento CA - Drivers
1363570            Overtime      4.00   27.00 09/05/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 09/12/2016 Sacramento CA - Drivers
1363570            Overtime     17.25   27.00 09/12/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 09/19/2016 Sacramento CA - Drivers
1363570            Overtime     15.50   27.00 09/19/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 09/26/2016 Sacramento CA - Drivers
1363570            Overtime      9.00   27.00 09/26/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 10/03/2016 Sacramento CA - Drivers
1363570            Overtime      5.25   27.00 10/03/2016 Sacramento CA - Drivers
1363570            Regular      32.00   18.00 10/10/2016 Sacramento CA - Drivers
1363570            Overtime      6.25   27.00 10/10/2016 Sacramento CA - Drivers
1363570            Regular      32.00   18.00 10/17/2016 Sacramento CA - Drivers
1363570            Overtime      5.00   27.00 10/17/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 10/24/2016 Sacramento CA - Drivers
1363570            Overtime      5.50   27.00 10/24/2016 Sacramento CA - Drivers
1363570            Regular      40.00   18.00 10/31/2016 Sacramento CA - Drivers
1363570            Overtime      5.75   27.00 10/31/2016 Sacramento CA - Drivers
1363570            Regular      37.00   18.00 11/07/2016 Sacramento CA - Drivers
1363570            Overtime      7.25   27.00 11/07/2016 Sacramento CA - Drivers
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                   Regular      40.00Document
                                        18.00 38-5   Filed Sacramento
                                               11/14/2016  03/22/21 Page    162 of
                                                                      CA - Drivers   691 Page ID
1363570            Overtime      6.00   27.00 #:935
                                               11/14/2016 Sacramento CA - Drivers
1363570            Regular      24.00   18.00 11/21/2016 Sacramento CA - Drivers
1363570            Overtime      3.25   27.00 11/21/2016 Sacramento CA - Drivers
1363570            Regular      27.50   18.00 11/28/2016 Sacramento CA - Drivers
1363570            Overtime      1.25   27.00 11/28/2016 Sacramento CA - Drivers
Total for 1363570              809.00
2362999            Regular      40.00   19.75 08/21/2017 Sacramento CA - Drivers
2362999            Overtime     15.00   29.63 08/21/2017 Sacramento CA - Drivers
2362999            Regular      28.50   19.75 08/28/2017 Sacramento CA - Drivers
2362999            Overtime      8.75   29.63 08/28/2017 Sacramento CA - Drivers
2362999            Regular      34.00   19.75 08/28/2017 Sacramento CA - Drivers
2362999            Overtime     10.50   29.63 09/04/2017 Sacramento CA - Drivers
2362999            Regular      23.00   19.75 09/11/2017 Sacramento CA - Drivers
2362999            Overtime      4.00   29.63 09/11/2017 Sacramento CA - Drivers
2362999            Regular      16.00   19.75 09/18/2017 Sacramento CA - Drivers
2362999            Overtime      8.00   29.63 09/18/2017 Sacramento CA - Drivers
2362999            Regular       8.00   19.75 09/25/2017 Sacramento CA - Drivers
2362999            Overtime      2.50   29.63 09/25/2017 Sacramento CA - Drivers
Total for 2362999              198.25
2168699            Regular      30.00   12.86 03/13/2017 Sacramento CA - Drivers
2168699            Regular      30.00   12.86 03/27/2017 Sacramento CA - Drivers
2168699            Regular      40.00   12.86 04/03/2017 Sacramento CA - Drivers
2168699            Regular      24.00   12.86 04/10/2017 Sacramento CA - Drivers
2168699            Regular      24.00   18.00 01/30/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 02/06/2017 Sacramento CA - Drivers
2168699            Overtime      1.50   27.00 02/06/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 02/13/2017 Sacramento CA - Drivers
2168699            Overtime      1.50   27.00 02/13/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 02/20/2017 Sacramento CA - Drivers
2168699            Overtime      3.00   27.00 02/20/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 02/27/2017 Sacramento CA - Drivers
2168699            Overtime      5.25   27.00 02/27/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 03/06/2017 Sacramento CA - Drivers
2168699            Overtime      2.00   27.00 03/06/2017 Sacramento CA - Drivers
2168699            Regular      16.00   18.00 03/13/2017 Sacramento CA - Drivers
2168699            Overtime      1.75   27.00 03/13/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 04/17/2017 Sacramento CA - Drivers
2168699            Overtime      4.50   27.00 04/17/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 04/24/2017 Sacramento CA - Drivers
2168699            Overtime      2.75   27.00 04/24/2017 Sacramento CA - Drivers
2168699            Regular      24.00   18.00 05/01/2017 Sacramento CA - Drivers
2168699            Overtime      3.25   27.00 05/01/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 05/08/2017 Sacramento CA - Drivers
2168699            Overtime     14.75   27.00 05/08/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 05/15/2017 Sacramento CA - Drivers
2168699            Overtime     10.00   27.00 05/15/2017 Sacramento CA - Drivers
2168699            Regular      32.00   18.00 05/22/2017 Sacramento CA - Drivers
2168699            Overtime      4.00   27.00 05/22/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 05/29/2017 Sacramento CA - Drivers
2168699            Overtime      7.00   27.00 05/29/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 06/05/2017 Sacramento CA - Drivers
2168699            Overtime     13.50   27.00 06/05/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 06/12/2017 Sacramento CA - Drivers
2168699            Overtime      7.00   27.00 06/12/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 06/19/2017 Sacramento CA - Drivers
2168699            Overtime      8.00   27.00 06/19/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 06/26/2017 Sacramento CA - Drivers
2168699            Overtime      9.50   27.00 06/26/2017 Sacramento CA - Drivers
2168699            Regular      24.00   18.00 07/03/2017 Sacramento CA - Drivers
2168699            Overtime      4.25   27.00 07/03/2017 Sacramento CA - Drivers
2168699            Regular      40.00   18.00 07/10/2017 Sacramento CA - Drivers
2168699            Overtime      6.75   27.00 07/10/2017 Sacramento CA - Drivers
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                   Regular       40.00Document
                                         18.00 38-5   Filed Sacramento
                                                07/17/2017  03/22/21 Page    163 of 691
                                                                       CA - Drivers       Page ID
2168699            Overtime       4.00   27.00 #:936
                                                07/17/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 07/24/2017 Sacramento CA - Drivers
2168699            Overtime       7.25   27.00 07/24/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 07/31/2017 Sacramento CA - Drivers
2168699            Overtime       1.75   27.00 07/31/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 08/07/2017 Sacramento CA - Drivers
2168699            Overtime       3.25   27.00 08/07/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 08/14/2017 Sacramento CA - Drivers
2168699            Overtime       1.50   27.00 08/14/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 08/21/2017 Sacramento CA - Drivers
2168699            Overtime       3.00   27.00 08/21/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 08/28/2017 Sacramento CA - Drivers
2168699            Overtime       7.50   27.00 08/28/2017 Sacramento CA - Drivers
2168699            Regular       16.00   18.00 09/04/2017 Sacramento CA - Drivers
2168699            Overtime       2.00   27.00 09/04/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 09/11/2017 Sacramento CA - Drivers
2168699            Overtime       6.00   27.00 09/11/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 09/18/2017 Sacramento CA - Drivers
2168699            Overtime      14.00   27.00 09/18/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 09/25/2017 Sacramento CA - Drivers
2168699            Overtime       2.50   27.00 09/25/2017 Sacramento CA - Drivers
2168699            Regular       32.00   18.00 10/02/2017 Sacramento CA - Drivers
2168699            Overtime       3.00   27.00 10/02/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 10/09/2017 Sacramento CA - Drivers
2168699            Overtime       1.50   27.00 10/09/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 10/16/2017 Sacramento CA - Drivers
2168699            Overtime       2.25   27.00 10/16/2017 Sacramento CA - Drivers
2168699            Regular       40.00   18.00 10/23/2017 Sacramento CA - Drivers
2168699            Regular       30.75   18.00 10/30/2017 Sacramento CA - Drivers
2168699            Overtime       2.50   27.00 10/30/2017 Sacramento CA - Drivers
2168699            Regular       16.00   18.00 11/06/2017 Sacramento CA - Drivers
Total for 2168699             1,631.00
1322073            Regular       19.50   15.50 05/29/2017 Los Angeles CA West - Drivers
Total for 1322073                19.50
1290153            Regular        9.25   17.00 03/28/2016 Los Angeles CA East - Drivers
1290153            Regular        6.00   20.00 04/25/2016 Los Angeles CA East - Drivers
1290153            Regular        3.00   17.00 04/25/2016 Los Angeles CA East - Drivers
1290153            Regular        7.00   18.00 03/28/2016 Los Angeles CA East - Drivers
1290153            Regular        8.00   18.00 04/04/2016 Los Angeles CA East - Drivers
1290153            Overtime       3.00   27.00 04/04/2016 Los Angeles CA East - Drivers
1290153            Regular        6.00   17.00 04/25/2016 Los Angeles CA East - Drivers
1290153            Regular        6.00   17.00 05/02/2016 Los Angeles CA East - Drivers
Total for 1290153                48.25
1326476            Regular       40.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1326476            Overtime      23.75   24.00 05/09/2016 Los Angeles CA West - Drivers
1326476            Regular       37.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1326476            Overtime       8.50   24.00 05/16/2016 Los Angeles CA West - Drivers
1326476            Regular        7.50   16.00 05/23/2016 Los Angeles CA West - Drivers
Total for 1326476               116.75
1401770            Regular        8.00   19.00 09/12/2016 Los Angeles CA East - Drivers
1401770            Overtime       3.00   28.50 09/12/2016 Los Angeles CA East - Drivers
1401770            Regular        8.00   20.00 09/05/2016 Los Angeles CA East - Drivers
1401770            Overtime       2.00   30.00 09/05/2016 Los Angeles CA East - Drivers
1401770            Regular        8.00   20.00 09/12/2016 Los Angeles CA East - Drivers
1401770            Overtime       0.50   30.00 09/12/2016 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 09/19/2016 Los Angeles CA East - Drivers
1401770            Overtime      12.25   30.00 09/19/2016 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 09/26/2016 Los Angeles CA East - Drivers
1401770            Overtime       7.00   30.00 09/26/2016 Los Angeles CA East - Drivers
1401770            Regular       30.50   20.00 10/03/2016 Los Angeles CA East - Drivers
1401770            Overtime       0.50   30.00 10/03/2016 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 10/10/2016 Los Angeles CA East - Drivers
1401770 Case   2:19-cv-08580-JFW-MAA
                     Overtime     23.50Document
                                          30.00 38-5   Filed Los
                                                 10/10/2016  03/22/21
                                                                 AngelesPage 164
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
1401770              Regular      40.00   20.00 #:937
                                                 10/17/2016 Los Angeles CA East - Drivers
1401770             Overtime       11.75    30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime       16.50    30.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime       13.75    30.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        39.00    20.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime        4.75    30.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   11/14/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime       14.00    30.00   11/14/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   11/21/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime       22.75    30.00   11/21/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   11/28/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime       11.50    30.00   11/28/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime        9.75    30.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   12/12/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime        5.50    30.00   12/12/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   12/19/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime        7.00    30.00   12/19/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   12/26/2016   Los   Angeles   CA   East   - Drivers
1401770             Overtime        6.00    30.00   12/26/2016   Los   Angeles   CA   East   - Drivers
1401770             Regular        24.00    20.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        5.00    30.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       12.25    30.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        7.75    30.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        38.50    20.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        6.00    30.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       16.50    30.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       21.00    30.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       20.25    30.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       23.25    30.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       15.75    30.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        39.25    20.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       13.50    30.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        24.00    20.00   05/01/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        7.50    28.50   05/01/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   05/08/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       23.50    30.00   05/08/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        40.00    20.00   05/15/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime       13.00    30.00   05/15/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        31.75    20.00   05/22/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        7.00    30.00   05/22/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        24.00    20.00   05/29/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        8.25    30.00   05/29/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        24.00    20.00   06/05/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        7.25    30.00   06/05/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        23.50    20.00   06/12/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        3.00    30.00   06/12/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   06/19/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        8.00    30.00   06/19/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        32.00    20.00   06/26/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        5.50    30.00   06/26/2017   Los   Angeles   CA   East   - Drivers
1401770             Regular        24.00    20.00   07/03/2017   Los   Angeles   CA   East   - Drivers
1401770             Overtime        7.25    30.00   07/03/2017   Los   Angeles   CA   East   - Drivers
1401770 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         20.00 38-5   Filed Los
                                                07/10/2017  03/22/21
                                                                AngelesPage 165
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1401770            Overtime      11.00   30.00 #:938
                                                07/10/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 07/17/2017 Los Angeles CA East - Drivers
1401770            Overtime       9.00   30.00 07/17/2017 Los Angeles CA East - Drivers
1401770            Regular       31.75   20.00 07/24/2017 Los Angeles CA East - Drivers
1401770            Overtime      10.75   30.00 07/24/2017 Los Angeles CA East - Drivers
1401770            Regular       23.50   20.00 07/31/2017 Los Angeles CA East - Drivers
1401770            Overtime       4.50   30.00 07/31/2017 Los Angeles CA East - Drivers
1401770            Regular       39.00   20.00 08/07/2017 Los Angeles CA East - Drivers
1401770            Overtime       3.50   30.00 08/07/2017 Los Angeles CA East - Drivers
1401770            Regular       27.75   20.00 08/14/2017 Los Angeles CA East - Drivers
1401770            Overtime       2.25   30.00 08/14/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 08/21/2017 Los Angeles CA East - Drivers
1401770            Overtime       8.25   30.00 08/21/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 08/28/2017 Los Angeles CA East - Drivers
1401770            Overtime      14.00   30.00 08/28/2017 Los Angeles CA East - Drivers
1401770            Regular       32.00   20.00 09/04/2017 Los Angeles CA East - Drivers
1401770            Overtime      10.00   30.00 09/04/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
1401770            Overtime       9.25   30.00 09/11/2017 Los Angeles CA East - Drivers
1401770            Regular       38.75   20.00 09/18/2017 Los Angeles CA East - Drivers
1401770            Overtime       8.25   30.00 09/18/2017 Los Angeles CA East - Drivers
1401770            Regular       32.00   20.00 09/25/2017 Los Angeles CA East - Drivers
1401770            Overtime       6.75   30.00 09/25/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 10/02/2017 Los Angeles CA East - Drivers
1401770            Overtime       9.00   30.00 10/02/2017 Los Angeles CA East - Drivers
1401770            Regular       14.00   20.00 10/09/2017 Los Angeles CA East - Drivers
1401770            Overtime       0.50   30.00 10/09/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 10/16/2017 Los Angeles CA East - Drivers
1401770            Overtime      10.50   30.00 10/16/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 10/23/2017 Los Angeles CA East - Drivers
1401770            Overtime      15.00   30.00 10/23/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
1401770            Overtime      10.50   30.00 10/30/2017 Los Angeles CA East - Drivers
1401770            Regular       31.75   20.00 11/06/2017 Los Angeles CA East - Drivers
1401770            Overtime       7.25   30.00 11/06/2017 Los Angeles CA East - Drivers
1401770            Regular       32.00   20.00 11/13/2017 Los Angeles CA East - Drivers
1401770            Overtime      15.75   30.00 11/13/2017 Los Angeles CA East - Drivers
1401770            Regular       24.00   20.00 11/20/2017 Los Angeles CA East - Drivers
1401770            Overtime      11.75   30.00 11/20/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 11/27/2017 Los Angeles CA East - Drivers
1401770            Overtime      19.00   30.00 11/27/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
1401770            Overtime      14.00   30.00 12/04/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   20.00 12/11/2017 Los Angeles CA East - Drivers
1401770            Overtime      11.00   30.00 12/11/2017 Los Angeles CA East - Drivers
1401770            Regular       40.00   21.00 12/18/2017 Los Angeles CA East - Drivers
1401770            Overtime       9.50   31.50 12/18/2017 Los Angeles CA East - Drivers
1401770            Regular       25.00   21.00 12/25/2017 Los Angeles CA East - Drivers
1401770            Overtime       3.75   31.50 12/25/2017 Los Angeles CA East - Drivers
1401770            Regular       32.00   21.00 01/01/2018 Los Angeles CA East - Drivers
1401770            Overtime       2.50   31.50 01/01/2018 Los Angeles CA East - Drivers
1401770            Regular        8.00   21.00 01/08/2018 Los Angeles CA East - Drivers
1401770            Overtime       1.50   31.50 01/08/2018 Los Angeles CA East - Drivers
1401770            Regular       16.00   21.00 01/15/2018 Los Angeles CA East - Drivers
1401770            Overtime       3.00   31.50 01/15/2018 Los Angeles CA East - Drivers
1401770            Regular       16.00   21.00 01/22/2018 Los Angeles CA East - Drivers
1401770            Overtime       2.25   31.50 01/22/2018 Los Angeles CA East - Drivers
1401770            Regular        8.00   21.00 01/29/2018 Los Angeles CA East - Drivers
1401770            Overtime       2.00   31.50 01/29/2018 Los Angeles CA East - Drivers
Total for 1401770             2,843.75
2491967            Regular       23.00   21.00 10/15/2018 Los Angeles CA West - Drivers
2491967            Regular       32.00   21.00 10/22/2018 Los Angeles CA West - Drivers
2491967 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         21.00 38-5   Filed Los
                                                10/29/2018  03/22/21
                                                                AngelesPage 166- Drivers
                                                                       CA West   of 691    Page ID
2491967            Overtime       3.25   31.50 #:939
                                                10/29/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2491967            Overtime       4.50   31.50 11/05/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2491967            Overtime       9.25   31.50 12/03/2018 Los Angeles CA West - Drivers
2491967            Regular       24.00   20.00 04/30/2018 Los Angeles CA West - Drivers
2491967            Overtime       2.25   30.00 04/30/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 05/07/2018 Los Angeles CA West - Drivers
2491967            Overtime       3.25   30.00 05/07/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 05/14/2018 Los Angeles CA West - Drivers
2491967            Overtime       6.00   30.00 05/14/2018 Los Angeles CA West - Drivers
2491967            Regular       36.00   20.00 05/21/2018 Los Angeles CA West - Drivers
2491967            Overtime       2.25   30.00 05/21/2018 Los Angeles CA West - Drivers
2491967            Regular       28.00   20.00 05/28/2018 Los Angeles CA West - Drivers
2491967            Overtime       2.75   30.00 05/28/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 06/04/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 06/11/2018 Los Angeles CA West - Drivers
2491967            Overtime       2.75   30.00 06/11/2018 Los Angeles CA West - Drivers
2491967            Regular       32.00   20.00 06/18/2018 Los Angeles CA West - Drivers
2491967            Overtime       2.25   30.00 06/18/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2491967            Overtime       3.50   30.00 06/25/2018 Los Angeles CA West - Drivers
2491967            Regular       32.00   20.00 07/02/2018 Los Angeles CA West - Drivers
2491967            Overtime       0.75   30.00 07/02/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 07/09/2018 Los Angeles CA West - Drivers
2491967            Overtime       4.00   30.00 07/09/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 07/16/2018 Los Angeles CA West - Drivers
2491967            Overtime       3.75   30.00 07/16/2018 Los Angeles CA West - Drivers
2491967            Regular       32.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2491967            Overtime       4.75   30.00 07/23/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 07/30/2018 Los Angeles CA West - Drivers
2491967            Overtime       5.00   30.00 07/30/2018 Los Angeles CA West - Drivers
2491967            Regular       36.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2491967            Overtime       3.25   30.00 08/06/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 08/13/2018 Los Angeles CA West - Drivers
2491967            Overtime       0.75   30.00 08/13/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 08/20/2018 Los Angeles CA West - Drivers
2491967            Overtime       0.75   30.00 08/20/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 08/27/2018 Los Angeles CA West - Drivers
2491967            Overtime       0.75   30.00 08/27/2018 Los Angeles CA West - Drivers
2491967            Regular       24.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2491967            Overtime       3.50   30.00 09/03/2018 Los Angeles CA West - Drivers
2491967            Regular       16.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2491967            Overtime       0.25   30.00 09/10/2018 Los Angeles CA West - Drivers
2491967            Regular       40.00   20.00 09/17/2018 Los Angeles CA West - Drivers
2491967            Overtime       7.25   30.00 09/17/2018 Los Angeles CA West - Drivers
2491967            Regular       28.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2491967            Overtime       8.25   30.00 09/24/2018 Los Angeles CA West - Drivers
2491967            Regular       24.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2491967            Overtime       1.50   30.00 10/01/2018 Los Angeles CA West - Drivers
2491967            Regular       32.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2491967            Overtime       7.50   30.00 10/08/2018 Los Angeles CA West - Drivers
Total for 2491967             1,125.00
2419157            Regular       16.00   20.00 12/18/2017 Los Angeles CA West - Drivers
2419157            Regular       32.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2419157            Overtime       6.00   30.00 12/25/2017 Los Angeles CA West - Drivers
2419157            Regular       40.00   20.00 01/15/2018 Los Angeles CA West - Drivers
2419157            Overtime       6.00   30.00 01/15/2018 Los Angeles CA West - Drivers
2419157            Regular       40.00   20.00 01/22/2018 Los Angeles CA West - Drivers
2419157            Overtime       9.25   30.00 01/22/2018 Los Angeles CA West - Drivers
2419157            Regular       40.00   20.00 01/29/2018 Los Angeles CA West - Drivers
2419157 Case   2:19-cv-08580-JFW-MAA
                     Overtime     14.50Document
                                          30.00 38-5   Filed Los
                                                 01/29/2018  03/22/21
                                                                 AngelesPage 167- Drivers
                                                                        CA West   of 691 Page ID
2419157              Regular      40.00   20.00 #:940
                                                 02/05/2018 Los Angeles CA West - Drivers
2419157             Overtime        4.00    30.00   02/05/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        5.75    30.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   02/19/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        6.25    30.00   02/19/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   02/26/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime       10.25    30.00   02/26/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime       17.00    30.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime       10.75    30.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        5.25    30.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   03/26/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        6.50    30.00   03/26/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   04/02/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        2.75    30.00   04/02/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        6.50    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        32.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        5.50    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        4.50    30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        32.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        0.50    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        1.25    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        1.00    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        2.75    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        5.50    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime       10.75    30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        3.25    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        3.75    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        3.50    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        32.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        6.75    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        3.75    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        5.25    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        6.75    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        2.50    30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        38.00    20.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        2.25    30.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        5.75    30.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        3.25    30.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        40.00    20.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime       12.00    30.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2419157             Regular        20.00    20.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2419157             Overtime        0.50    30.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2419157 Case 2:19-cv-08580-JFW-MAA
                   Regular       51.50Document
                                         21.00 38-5   Filed Los
                                                11/27/2017  03/22/21
                                                                AngelesPage 168- Drivers
                                                                       CA West   of 691    Page ID
2419157            Regular       53.50   21.00 #:941
                                                12/04/2017 Los Angeles CA West - Drivers
Total for 2419157             1,660.75
721427             Regular       40.00   18.00 08/10/2015 Los Angeles CA West - Drivers
721427             Overtime      20.00   27.00 08/10/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   18.00 08/17/2015 Los Angeles CA West - Drivers
721427             Overtime      31.50   27.00 08/17/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
721427             Overtime      27.50   28.50 08/24/2015 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 09/07/2015 Los Angeles CA West - Drivers
721427             Overtime      13.00   28.50 09/07/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 09/14/2015 Los Angeles CA West - Drivers
721427             Overtime      11.50   28.50 09/14/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 09/21/2015 Los Angeles CA West - Drivers
721427             Overtime      21.50   28.50 09/21/2015 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
721427             Overtime      10.75   28.50 09/28/2015 Los Angeles CA West - Drivers
721427             Regular       35.00   19.00 10/05/2015 Los Angeles CA West - Drivers
721427             Overtime      10.25   28.50 10/05/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
721427             Overtime      11.25   28.50 10/12/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
721427             Overtime      14.00   28.50 10/19/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 10/26/2015 Los Angeles CA West - Drivers
721427             Overtime      15.50   28.50 10/26/2015 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 11/02/2015 Los Angeles CA West - Drivers
721427             Overtime       6.25   28.50 11/02/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
721427             Overtime      10.25   28.50 11/09/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
721427             Overtime      12.00   28.50 11/16/2015 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 11/23/2015 Los Angeles CA West - Drivers
721427             Overtime       7.75   28.50 11/23/2015 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 11/30/2015 Los Angeles CA West - Drivers
721427             Overtime       9.75   28.50 11/30/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
721427             Overtime       8.25   28.50 12/07/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
721427             Overtime      20.00   28.50 12/14/2015 Los Angeles CA West - Drivers
721427             Regular       29.75   19.00 12/21/2015 Los Angeles CA West - Drivers
721427             Overtime       5.25   28.50 12/21/2015 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 12/28/2015 Los Angeles CA West - Drivers
721427             Overtime       6.00   28.50 12/28/2015 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
721427             Overtime      15.25   28.50 01/04/2016 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
721427             Overtime      11.50   28.50 01/11/2016 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 01/18/2016 Los Angeles CA West - Drivers
721427             Overtime      13.00   28.50 01/18/2016 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 01/25/2016 Los Angeles CA West - Drivers
721427             Overtime      13.00   28.50 01/25/2016 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 02/01/2016 Los Angeles CA West - Drivers
721427             Overtime      11.25   28.50 02/01/2016 Los Angeles CA West - Drivers
721427             Regular       36.50   19.00 02/08/2016 Los Angeles CA West - Drivers
721427             Overtime       3.00   28.50 02/08/2016 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 02/15/2016 Los Angeles CA West - Drivers
721427             Overtime      11.50   28.50 02/15/2016 Los Angeles CA West - Drivers
721427             Regular       32.00   19.00 02/22/2016 Los Angeles CA West - Drivers
721427             Overtime       8.50   28.50 02/22/2016 Los Angeles CA West - Drivers
721427             Regular       40.00   19.00 02/29/2016 Los Angeles CA West - Drivers
721427             Overtime      13.50   28.50 02/29/2016 Los Angeles CA West - Drivers
721427             Regular       16.00   19.00 03/07/2016 Los Angeles CA West - Drivers
721427             Overtime       4.00   28.50 03/07/2016 Los Angeles CA West - Drivers
721427 Case 2:19-cv-08580-JFW-MAA
                  Regular       24.00Document
                                        19.00 38-5   Filed Los
                                               03/14/2016  03/22/21
                                                               AngelesPage 169- Drivers
                                                                      CA West   of 691    Page ID
721427            Overtime       4.25   28.50 #:942
                                               03/14/2016 Los Angeles CA West - Drivers
721427            Regular       16.00   19.00 03/21/2016 Los Angeles CA West - Drivers
721427            Overtime       2.50   28.50 03/21/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.00 03/28/2016 Los Angeles CA West - Drivers
721427            Overtime       8.50   28.50 03/28/2016 Los Angeles CA West - Drivers
721427            Regular       32.00   19.00 04/04/2016 Los Angeles CA West - Drivers
721427            Overtime       8.50   28.50 04/04/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.00 04/11/2016 Los Angeles CA West - Drivers
721427            Overtime      13.25   28.50 04/11/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.00 04/18/2016 Los Angeles CA West - Drivers
721427            Overtime      12.25   28.50 04/18/2016 Los Angeles CA West - Drivers
721427            Regular       29.50   19.00 04/25/2016 Los Angeles CA West - Drivers
721427            Overtime       2.00   28.50 04/25/2016 Los Angeles CA West - Drivers
721427            Regular       22.00   19.00 05/02/2016 Los Angeles CA West - Drivers
721427            Overtime       3.50   28.50 05/02/2016 Los Angeles CA West - Drivers
721427            Regular       23.00   19.00 05/09/2016 Los Angeles CA West - Drivers
721427            Overtime       3.25   28.50 05/09/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 05/16/2016 Los Angeles CA West - Drivers
721427            Overtime      12.00   28.88 05/16/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 05/23/2016 Los Angeles CA West - Drivers
721427            Overtime      12.00   28.88 05/23/2016 Los Angeles CA West - Drivers
721427            Regular       32.00   19.25 05/30/2016 Los Angeles CA West - Drivers
721427            Overtime      13.00   28.88 05/30/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 06/06/2016 Los Angeles CA West - Drivers
721427            Overtime      18.00   28.88 06/06/2016 Los Angeles CA West - Drivers
721427            Regular       32.00   19.25 06/13/2016 Los Angeles CA West - Drivers
721427            Overtime      13.50   28.88 06/13/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 06/20/2016 Los Angeles CA West - Drivers
721427            Overtime      16.50   28.88 06/20/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 06/27/2016 Los Angeles CA West - Drivers
721427            Overtime      16.50   28.88 06/27/2016 Los Angeles CA West - Drivers
721427            Regular        8.00   19.25 07/04/2016 Los Angeles CA West - Drivers
721427            Overtime       1.50   28.88 07/04/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 07/11/2016 Los Angeles CA West - Drivers
721427            Overtime      13.25   28.88 07/11/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 07/18/2016 Los Angeles CA West - Drivers
721427            Overtime      12.50   28.88 07/18/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 07/25/2016 Los Angeles CA West - Drivers
721427            Overtime      12.00   28.88 07/25/2016 Los Angeles CA West - Drivers
721427            Regular       33.75   19.25 08/01/2016 Los Angeles CA West - Drivers
721427            Overtime      12.50   28.88 08/01/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 08/08/2016 Los Angeles CA West - Drivers
721427            Overtime      16.00   28.88 08/08/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 08/15/2016 Los Angeles CA West - Drivers
721427            Overtime      11.50   28.88 08/15/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 08/22/2016 Los Angeles CA West - Drivers
721427            Overtime      15.75   28.88 08/22/2016 Los Angeles CA West - Drivers
721427            Regular       40.00   19.25 08/29/2016 Los Angeles CA West - Drivers
721427            Overtime       9.50   28.88 08/29/2016 Los Angeles CA West - Drivers
721427            Regular       32.00   19.25 09/05/2016 Los Angeles CA West - Drivers
721427            Overtime      12.25   28.88 09/05/2016 Los Angeles CA West - Drivers
721427            Regular       16.00   19.25 09/12/2016 Los Angeles CA West - Drivers
721427            Overtime       5.00   28.88 09/12/2016 Los Angeles CA West - Drivers
Total for 721427             2,651.50
2166973           Regular        8.00   18.00 01/09/2017 Sacramento CA - Drivers
Total for 2166973                8.00
1355531           Regular        5.00   19.00 07/18/2016 Los Angeles CA East - Drivers
1355531           Regular       39.25   19.00 07/25/2016 Los Angeles CA East - Drivers
1355531           Overtime       1.25   40.75 07/25/2016 Los Angeles CA East - Drivers
1355531           Regular       45.25   19.00 08/01/2016 Los Angeles CA East - Drivers
1355531           Overtime       0.50   40.75 08/01/2016 Los Angeles CA East - Drivers
1355531           Regular       15.50   19.00 08/08/2016 Los Angeles CA East - Drivers
1355531 Case 2:19-cv-08580-JFW-MAA
                   Regular      11.50Document
                                         6.67 38-5   Filed Los
                                               07/11/2016  03/22/21
                                                               AngelesPage 170
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
Total for 1355531              118.25         #:943
1408135            Regular       8.00   16.00 10/24/2016 Los Angeles CA West - Drivers
1408135            Overtime      3.00   24.00 10/24/2016 Los Angeles CA West - Drivers
1408135            Regular       8.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1408135            Overtime      0.50   24.00 11/07/2016 Los Angeles CA West - Drivers
1408135            Regular       8.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1408135            Regular       6.00   16.00 10/17/2016 Los Angeles CA West - Drivers
1408135            Regular       6.50   16.00 10/24/2016 Los Angeles CA West - Drivers
1408135            Regular       9.75   16.00 11/07/2016 Los Angeles CA West - Drivers
Total for 1408135               49.75
1361390            Regular       8.00   18.00 09/26/2016 Sacramento CA - Drivers
1361390            Overtime      4.00   27.00 09/26/2016 Sacramento CA - Drivers
1361390            Regular      28.75   20.00 08/29/2016 Sacramento CA - Drivers
1361390            Regular      25.75   20.00 09/05/2016 Sacramento CA - Drivers
1361390            Regular      34.25   20.00 09/12/2016 Sacramento CA - Drivers
1361390            Regular       7.50   20.00 10/03/2016 Sacramento CA - Drivers
1361390            Regular      20.75   20.00 10/10/2016 Sacramento CA - Drivers
1361390            Regular      16.50   20.00 10/17/2016 Sacramento CA - Drivers
1361390            Regular       7.25   20.00 10/24/2016 Sacramento CA - Drivers
1361390            Regular      11.75   20.00 10/31/2016 Sacramento CA - Drivers
1361390            Regular      42.50   20.00 11/07/2016 Sacramento CA - Drivers
1361390            Regular      52.25   20.00 11/14/2016 Sacramento CA - Drivers
1361390            Regular      32.25   20.00 11/21/2016 Sacramento CA - Drivers
1361390            Regular      34.25   20.00 11/28/2016 Sacramento CA - Drivers
1361390            Regular      22.25   20.00 12/05/2016 Sacramento CA - Drivers
1361390            Regular      17.50   20.00 12/12/2016 Sacramento CA - Drivers
1361390            Regular      28.50   20.00 12/19/2016 Sacramento CA - Drivers
1361390            Regular      11.75   20.00 12/26/2016 Sacramento CA - Drivers
1361390            Regular      27.75   19.50 01/23/2017 Sacramento CA - Drivers
1361390            Overtime      3.25   29.25 01/23/2017 Sacramento CA - Drivers
1361390            Regular      27.50   19.50 01/30/2017 Sacramento CA - Drivers
1361390            Overtime      2.75   29.25 01/30/2017 Sacramento CA - Drivers
1361390            Regular      35.25   19.50 02/06/2017 Sacramento CA - Drivers
1361390            Overtime      2.50   29.25 02/06/2017 Sacramento CA - Drivers
1361390            Regular      23.50   19.50 02/13/2017 Sacramento CA - Drivers
1361390            Overtime      5.00   29.25 02/13/2017 Sacramento CA - Drivers
1361390            Regular      10.00   19.50 02/20/2017 Sacramento CA - Drivers
1361390            Overtime      1.25   29.25 02/20/2017 Sacramento CA - Drivers
1361390            Regular      22.50   19.50 02/27/2017 Sacramento CA - Drivers
1361390            Overtime      2.50   29.25 02/27/2017 Sacramento CA - Drivers
1361390            Regular      24.00   19.50 03/06/2017 Sacramento CA - Drivers
1361390            Overtime      1.50   29.25 03/06/2017 Sacramento CA - Drivers
1361390            Regular      20.00   19.50 03/13/2017 Sacramento CA - Drivers
1361390            Regular      18.75   19.50 03/20/2017 Sacramento CA - Drivers
1361390            Regular      12.75   19.50 03/27/2017 Sacramento CA - Drivers
1361390            Overtime      1.25   29.25 03/27/2017 Sacramento CA - Drivers
1361390            Regular      21.00   19.50 04/03/2017 Sacramento CA - Drivers
1361390            Overtime      2.00   29.25 04/03/2017 Sacramento CA - Drivers
1361390            Regular      22.00   19.50 04/10/2017 Sacramento CA - Drivers
1361390            Overtime      4.25   29.25 04/10/2017 Sacramento CA - Drivers
1361390            Regular       8.00   19.50 04/17/2017 Sacramento CA - Drivers
1361390            Overtime      1.50   29.25 04/17/2017 Sacramento CA - Drivers
1361390            Regular      16.00   19.50 04/24/2017 Sacramento CA - Drivers
1361390            Overtime      3.00   29.25 04/24/2017 Sacramento CA - Drivers
1361390            Regular      29.00   19.50 05/01/2017 Sacramento CA - Drivers
1361390            Overtime      9.75   29.25 05/01/2017 Sacramento CA - Drivers
1361390            Regular      31.75   19.50 05/08/2017 Sacramento CA - Drivers
1361390            Overtime      4.00   29.25 05/08/2017 Sacramento CA - Drivers
1361390            Regular      37.75   19.50 05/15/2017 Sacramento CA - Drivers
1361390            Overtime      5.25   29.25 05/15/2017 Sacramento CA - Drivers
1361390            Regular      30.00   19.50 05/22/2017 Sacramento CA - Drivers
1361390            Overtime      7.00   29.25 05/22/2017 Sacramento CA - Drivers
1361390 Case   2:19-cv-08580-JFW-MAA
                     Regular      14.25Document
                                          19.50 38-5   Filed Sacramento
                                                 05/29/2017  03/22/21 Page    171 of 691 Page ID
                                                                        CA - Drivers
1361390              Overtime      1.50   29.25 #:944
                                                 05/29/2017 Sacramento CA - Drivers
1361390             Regular        31.50    19.50   06/05/2017   Sacramento   CA   - Drivers
1361390             Overtime        5.75    29.25   06/05/2017   Sacramento   CA   - Drivers
1361390             Regular        28.75    19.50   06/12/2017   Sacramento   CA   - Drivers
1361390             Overtime        6.00    29.25   06/12/2017   Sacramento   CA   - Drivers
1361390             Regular        32.00    19.50   06/19/2017   Sacramento   CA   - Drivers
1361390             Overtime       11.25    29.25   06/19/2017   Sacramento   CA   - Drivers
1361390             Regular        32.00    19.50   06/26/2017   Sacramento   CA   - Drivers
1361390             Overtime       11.00    29.25   06/26/2017   Sacramento   CA   - Drivers
1361390             Regular        39.50    19.50   07/10/2017   Sacramento   CA   - Drivers
1361390             Overtime       10.25    29.25   07/10/2017   Sacramento   CA   - Drivers
1361390             Regular        29.75    19.50   07/17/2017   Sacramento   CA   - Drivers
1361390             Overtime        5.25    29.25   07/17/2017   Sacramento   CA   - Drivers
1361390             Regular        38.50    19.50   07/24/2017   Sacramento   CA   - Drivers
1361390             Overtime        3.50    29.25   07/24/2017   Sacramento   CA   - Drivers
1361390             Regular        38.50    19.50   07/31/2017   Sacramento   CA   - Drivers
1361390             Overtime        7.00    29.25   07/31/2017   Sacramento   CA   - Drivers
1361390             Regular        32.00    19.50   08/07/2017   Sacramento   CA   - Drivers
1361390             Overtime       11.50    29.25   08/07/2017   Sacramento   CA   - Drivers
1361390             Regular        36.50    19.50   08/14/2017   Sacramento   CA   - Drivers
1361390             Overtime        4.00    29.25   08/14/2017   Sacramento   CA   - Drivers
1361390             Regular        36.25    19.50   08/21/2017   Sacramento   CA   - Drivers
1361390             Overtime        6.25    29.25   08/21/2017   Sacramento   CA   - Drivers
1361390             Regular        32.00    19.50   08/28/2017   Sacramento   CA   - Drivers
1361390             Overtime       10.25    29.25   08/28/2017   Sacramento   CA   - Drivers
1361390             Regular        24.00    19.50   09/04/2017   Sacramento   CA   - Drivers
1361390             Overtime       16.25    29.25   09/04/2017   Sacramento   CA   - Drivers
1361390             Regular        28.25    19.50   09/11/2017   Sacramento   CA   - Drivers
1361390             Overtime        4.50    29.25   09/11/2017   Sacramento   CA   - Drivers
1361390             Regular        39.25    19.50   09/18/2017   Sacramento   CA   - Drivers
1361390             Overtime        7.50    29.25   09/18/2017   Sacramento   CA   - Drivers
1361390             Regular        30.50    19.50   09/25/2017   Sacramento   CA   - Drivers
1361390             Overtime        3.25    29.25   09/25/2017   Sacramento   CA   - Drivers
1361390             Regular         8.00    21.00   08/22/2016   Sacramento   CA   - Drivers
1361390             Regular         9.50    21.00   08/29/2016   Sacramento   CA   - Drivers
1361390             Regular         9.25    21.00   09/05/2016   Sacramento   CA   - Drivers
1361390             Regular         8.25    21.00   09/26/2016   Sacramento   CA   - Drivers
1361390             Regular        21.75    21.00   10/03/2016   Sacramento   CA   - Drivers
1361390             Regular        19.00    21.00   10/17/2016   Sacramento   CA   - Drivers
1361390             Regular        32.50    21.00   10/31/2016   Sacramento   CA   - Drivers
1361390             Regular         5.00    21.00   12/05/2016   Sacramento   CA   - Drivers
1361390             Regular        44.50    20.50   10/23/2017   Sacramento   CA   - Drivers
1361390             Overtime        8.25    30.75   10/23/2017   Sacramento   CA   - Drivers
1361390             Regular        40.00    20.50   10/30/2017   Sacramento   CA   - Drivers
1361390             Overtime        1.75    30.75   10/30/2017   Sacramento   CA   - Drivers
1361390             Regular        40.50    20.50   11/06/2017   Sacramento   CA   - Drivers
1361390             Overtime        7.25    30.75   11/06/2017   Sacramento   CA   - Drivers
1361390             Regular        40.00    20.50   11/13/2017   Sacramento   CA   - Drivers
1361390             Overtime       17.80    30.75   11/13/2017   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   11/20/2017   Sacramento   CA   - Drivers
1361390             Overtime        2.10    30.75   11/20/2017   Sacramento   CA   - Drivers
1361390             Regular        40.00    20.50   11/27/2017   Sacramento   CA   - Drivers
1361390             Overtime       10.10    30.75   11/27/2017   Sacramento   CA   - Drivers
1361390             Regular        40.00    20.50   12/04/2017   Sacramento   CA   - Drivers
1361390             Overtime        1.50    30.75   12/04/2017   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   12/11/2017   Sacramento   CA   - Drivers
1361390             Overtime        2.00    30.75   12/11/2017   Sacramento   CA   - Drivers
1361390             Regular        33.50    20.50   12/18/2017   Sacramento   CA   - Drivers
1361390             Overtime        9.70    30.75   12/18/2017   Sacramento   CA   - Drivers
1361390             Regular         8.00    20.50   12/25/2017   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   01/01/2018   Sacramento   CA   - Drivers
1361390             Overtime        0.80    30.75   01/01/2018   Sacramento   CA   - Drivers
1361390 Case   2:19-cv-08580-JFW-MAA
                     Regular      24.00Document
                                          20.50 38-5   Filed Sacramento
                                                 01/15/2018  03/22/21 Page    172 of 691 Page ID
                                                                        CA - Drivers
1361390              Overtime      1.00   30.75 #:945
                                                 01/15/2018 Sacramento CA - Drivers
1361390             Regular        16.00    20.50   01/29/2018   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   02/05/2018   Sacramento   CA   - Drivers
1361390             Overtime        0.60    30.75   02/05/2018   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   03/05/2018   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   03/12/2018   Sacramento   CA   - Drivers
1361390             Overtime        3.00    30.75   03/12/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   03/19/2018   Sacramento   CA   - Drivers
1361390             Overtime        5.10    30.75   03/19/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   03/26/2018   Sacramento   CA   - Drivers
1361390             Overtime        3.70    30.75   03/26/2018   Sacramento   CA   - Drivers
1361390             Regular        16.80    20.50   04/02/2018   Sacramento   CA   - Drivers
1361390             Overtime        4.00    30.75   04/02/2018   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   04/09/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   04/16/2018   Sacramento   CA   - Drivers
1361390             Overtime        3.10    30.75   04/16/2018   Sacramento   CA   - Drivers
1361390             Regular         8.00    20.50   04/23/2018   Sacramento   CA   - Drivers
1361390             Overtime        0.20    30.75   04/23/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   04/30/2018   Sacramento   CA   - Drivers
1361390             Overtime        1.20    30.75   04/30/2018   Sacramento   CA   - Drivers
1361390             Regular        27.80    20.50   05/07/2018   Sacramento   CA   - Drivers
1361390             Overtime        4.80    30.75   05/07/2018   Sacramento   CA   - Drivers
1361390             Regular        34.00    20.50   05/14/2018   Sacramento   CA   - Drivers
1361390             Overtime        8.00    30.75   05/14/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   05/21/2018   Sacramento   CA   - Drivers
1361390             Overtime        8.70    30.75   05/21/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   05/28/2018   Sacramento   CA   - Drivers
1361390             Overtime        3.80    30.75   05/28/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   06/04/2018   Sacramento   CA   - Drivers
1361390             Overtime        7.30    30.75   06/04/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   06/11/2018   Sacramento   CA   - Drivers
1361390             Overtime        6.10    30.75   06/11/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   06/18/2018   Sacramento   CA   - Drivers
1361390             Overtime        7.00    30.75   06/18/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   06/25/2018   Sacramento   CA   - Drivers
1361390             Overtime        9.20    30.75   06/25/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   07/02/2018   Sacramento   CA   - Drivers
1361390             Overtime        3.10    30.75   07/02/2018   Sacramento   CA   - Drivers
1361390             Regular        23.40    20.50   07/09/2018   Sacramento   CA   - Drivers
1361390             Overtime        6.50    30.75   07/09/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   07/16/2018   Sacramento   CA   - Drivers
1361390             Overtime        4.00    30.75   07/16/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   07/23/2018   Sacramento   CA   - Drivers
1361390             Overtime        1.40    30.75   07/23/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   07/30/2018   Sacramento   CA   - Drivers
1361390             Overtime        1.40    30.75   07/30/2018   Sacramento   CA   - Drivers
1361390             Regular         8.00    20.50   08/06/2018   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   08/13/2018   Sacramento   CA   - Drivers
1361390             Overtime        5.40    30.75   08/13/2018   Sacramento   CA   - Drivers
1361390             Regular        40.00    20.50   08/20/2018   Sacramento   CA   - Drivers
1361390             Overtime       13.50    30.75   08/20/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   08/27/2018   Sacramento   CA   - Drivers
1361390             Overtime        2.00    30.75   08/27/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   09/03/2018   Sacramento   CA   - Drivers
1361390             Overtime        3.50    30.75   09/03/2018   Sacramento   CA   - Drivers
1361390             Regular        16.00    20.50   09/10/2018   Sacramento   CA   - Drivers
1361390             Overtime        8.00    30.75   09/10/2018   Sacramento   CA   - Drivers
1361390             Regular        32.00    20.50   09/17/2018   Sacramento   CA   - Drivers
1361390             Overtime        8.20    30.75   09/17/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   09/24/2018   Sacramento   CA   - Drivers
1361390             Overtime        4.30    30.75   09/24/2018   Sacramento   CA   - Drivers
1361390             Regular        24.00    20.50   10/01/2018   Sacramento   CA   - Drivers
1361390 Case 2:19-cv-08580-JFW-MAA
                   Overtime       6.80Document
                                         30.75 38-5   Filed Sacramento
                                                10/01/2018  03/22/21 Page    173 of 691
                                                                       CA - Drivers       Page ID
1361390            Regular       24.00   20.50 #:946
                                                10/08/2018 Sacramento CA - Drivers
1361390            Overtime       3.50   30.75 10/08/2018 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 10/15/2018 Sacramento CA - Drivers
1361390            Overtime       6.60   30.75 10/15/2018 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 10/22/2018 Sacramento CA - Drivers
1361390            Overtime      12.20   30.75 10/22/2018 Sacramento CA - Drivers
1361390            Regular        8.00   20.50 10/29/2018 Sacramento CA - Drivers
1361390            Overtime       1.50   30.75 10/29/2018 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 11/05/2018 Sacramento CA - Drivers
1361390            Overtime       7.70   30.75 11/05/2018 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 11/12/2018 Sacramento CA - Drivers
1361390            Overtime       9.30   30.75 11/12/2018 Sacramento CA - Drivers
1361390            Regular       16.00   20.50 11/19/2018 Sacramento CA - Drivers
1361390            Overtime       0.90   30.75 11/19/2018 Sacramento CA - Drivers
1361390            Regular       16.00   20.50 11/26/2018 Sacramento CA - Drivers
1361390            Overtime       1.90   30.75 11/26/2018 Sacramento CA - Drivers
1361390            Regular       16.00   20.50 12/03/2018 Sacramento CA - Drivers
1361390            Overtime       1.90   30.75 12/03/2018 Sacramento CA - Drivers
1361390            Regular       24.00   20.50 12/10/2018 Sacramento CA - Drivers
1361390            Overtime       5.90   30.75 12/10/2018 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 12/17/2018 Sacramento CA - Drivers
1361390            Overtime       5.70   30.75 12/17/2018 Sacramento CA - Drivers
1361390            Regular       16.00   20.50 12/24/2018 Sacramento CA - Drivers
1361390            Overtime       2.70   30.75 12/24/2018 Sacramento CA - Drivers
1361390            Regular       24.00   20.50 12/31/2018 Sacramento CA - Drivers
1361390            Overtime       3.80   30.75 12/31/2018 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 01/07/2019 Sacramento CA - Drivers
1361390            Overtime       2.50   30.75 01/07/2019 Sacramento CA - Drivers
1361390            Regular       16.00   20.50 01/14/2019 Sacramento CA - Drivers
1361390            Overtime       1.40   30.75 01/14/2019 Sacramento CA - Drivers
1361390            Regular        8.00   20.50 01/21/2019 Sacramento CA - Drivers
1361390            Overtime       0.10   30.75 01/21/2019 Sacramento CA - Drivers
1361390            Regular        8.00   20.50 01/28/2019 Sacramento CA - Drivers
1361390            Overtime       2.30   30.75 01/28/2019 Sacramento CA - Drivers
1361390            Regular        8.00   20.50 02/04/2019 Sacramento CA - Drivers
1361390            Regular        8.00   20.50 02/11/2019 Sacramento CA - Drivers
1361390            Overtime       3.20   30.75 02/11/2019 Sacramento CA - Drivers
1361390            Regular       16.00   20.50 03/25/2019 Sacramento CA - Drivers
1361390            Overtime       0.30   30.75 03/25/2019 Sacramento CA - Drivers
1361390            Regular        8.00   20.50 04/01/2019 Sacramento CA - Drivers
1361390            Overtime       0.50   30.75 04/01/2019 Sacramento CA - Drivers
1361390            Regular       24.00   20.50 04/08/2019 Sacramento CA - Drivers
1361390            Overtime       7.90   30.75 04/08/2019 Sacramento CA - Drivers
1361390            Regular       32.00   20.50 04/15/2019 Sacramento CA - Drivers
1361390            Overtime       8.40   30.75 04/15/2019 Sacramento CA - Drivers
1361390            Regular        7.75   21.00 07/18/2016 Sacramento CA - Drivers
1361390            Regular       48.50   21.00 07/25/2016 Sacramento CA - Drivers
1361390            Overtime       2.50   31.50 07/25/2016 Sacramento CA - Drivers
1361390            Regular       48.50   21.00 08/01/2016 Sacramento CA - Drivers
1361390            Overtime       6.00   31.50 08/01/2016 Sacramento CA - Drivers
1361390            Regular       47.25   21.00 08/08/2016 Sacramento CA - Drivers
1361390            Overtime       1.50   31.50 08/08/2016 Sacramento CA - Drivers
1361390            Regular       21.50   21.00 08/15/2016 Sacramento CA - Drivers
1361390            Overtime       0.25   31.50 08/15/2016 Sacramento CA - Drivers
Total for 1361390             3,778.35
1398209            Regular       15.00   19.00 09/19/2016 Los Angeles CA West - Drivers
1398209            Overtime       2.00   28.50 09/19/2016 Los Angeles CA West - Drivers
1398209            Regular       39.50   19.00 09/26/2016 Los Angeles CA West - Drivers
1398209            Overtime       6.00   28.50 09/26/2016 Los Angeles CA West - Drivers
1398209            Regular       40.00   19.00 10/03/2016 Los Angeles CA West - Drivers
1398209            Overtime       8.00   28.50 10/03/2016 Los Angeles CA West - Drivers
1398209            Regular       39.00   19.00 10/10/2016 Los Angeles CA West - Drivers
1398209 Case 2:19-cv-08580-JFW-MAA
                   Overtime      5.50Document
                                        28.50 38-5   Filed Los
                                               10/10/2016  03/22/21
                                                               AngelesPage 174- Drivers
                                                                      CA West   of 691    Page ID
1398209            Regular      32.00   19.00 #:947
                                               10/17/2016 Los Angeles CA West - Drivers
1398209            Overtime      6.00   28.50 10/17/2016 Los Angeles CA West - Drivers
1398209            Regular      40.00   19.00 10/24/2016 Los Angeles CA West - Drivers
1398209            Overtime     15.00   28.50 10/24/2016 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 09/18/2017 Los Angeles CA West - Drivers
1398209            Overtime      0.50   29.25 09/18/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 07/24/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 07/31/2017 Los Angeles CA West - Drivers
1398209            Overtime      2.50   29.25 07/31/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 08/07/2017 Los Angeles CA West - Drivers
1398209            Overtime      1.50   29.25 08/07/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 08/14/2017 Los Angeles CA West - Drivers
1398209            Overtime      2.00   29.25 08/14/2017 Los Angeles CA West - Drivers
1398209            Regular      10.00   19.50 09/04/2017 Los Angeles CA West - Drivers
1398209            Regular       4.00   19.50 09/18/2017 Los Angeles CA West - Drivers
1398209            Regular       5.50   19.50 09/25/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 10/02/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 10/09/2017 Los Angeles CA West - Drivers
1398209            Overtime      4.00   29.25 10/09/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 10/16/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 10/23/2017 Los Angeles CA West - Drivers
1398209            Overtime      0.50   29.25 10/23/2017 Los Angeles CA West - Drivers
1398209            Regular       6.50   19.50 10/30/2017 Los Angeles CA West - Drivers
1398209            Regular      15.00   19.50 11/06/2017 Los Angeles CA West - Drivers
1398209            Overtime      2.50   29.25 11/06/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 11/13/2017 Los Angeles CA West - Drivers
1398209            Overtime      1.00   29.25 11/13/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 12/04/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.50 12/11/2017 Los Angeles CA West - Drivers
1398209            Overtime      1.00   29.25 12/11/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 12/18/2017 Los Angeles CA West - Drivers
1398209            Overtime      8.00   29.25 12/18/2017 Los Angeles CA West - Drivers
1398209            Regular      16.00   19.50 01/01/2018 Los Angeles CA West - Drivers
1398209            Overtime      2.50   29.25 01/01/2018 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.00 09/25/2017 Los Angeles CA West - Drivers
1398209            Overtime      0.25   28.50 09/25/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.00 11/06/2017 Los Angeles CA West - Drivers
1398209            Overtime      1.00   28.50 11/06/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.00 10/16/2017 Los Angeles CA West - Drivers
1398209            Regular      24.00   19.00 08/28/2017 Los Angeles CA West - Drivers
1398209            Regular       1.00   21.00 10/02/2017 Los Angeles CA West - Drivers
1398209            Regular       2.50   19.00 11/13/2017 Los Angeles CA West - Drivers
1398209            Regular      32.00   19.00 11/20/2017 Los Angeles CA West - Drivers
1398209            Overtime      4.00   28.50 11/20/2017 Los Angeles CA West - Drivers
1398209            Regular       8.00   19.00 12/18/2017 Los Angeles CA West - Drivers
1398209            Overtime      0.50   28.50 12/18/2017 Los Angeles CA West - Drivers
1398209            Regular      32.00   19.00 12/25/2017 Los Angeles CA West - Drivers
1398209            Overtime      0.50   28.50 12/25/2017 Los Angeles CA West - Drivers
Total for 1398209              612.75
2468405            Regular      40.00   19.75 02/05/2018 Sacramento CA - Drivers
2468405            Overtime     11.30   29.63 02/05/2018 Sacramento CA - Drivers
2468405            Regular      38.75   19.75 02/12/2018 Sacramento CA - Drivers
2468405            Overtime      5.50   29.63 02/12/2018 Sacramento CA - Drivers
2468405            Regular      30.50   19.75 02/19/2018 Sacramento CA - Drivers
2468405            Overtime      0.75   29.63 02/19/2018 Sacramento CA - Drivers
2468405            Regular      40.00   19.75 02/26/2018 Sacramento CA - Drivers
2468405            Overtime      8.25   29.63 02/26/2018 Sacramento CA - Drivers
2468405            Regular      40.00   19.75 03/05/2018 Sacramento CA - Drivers
2468405            Overtime      9.25   29.63 03/05/2018 Sacramento CA - Drivers
2468405            Regular      40.00   19.75 03/12/2018 Sacramento CA - Drivers
2468405            Overtime      3.25   29.63 03/12/2018 Sacramento CA - Drivers
2468405            Regular      40.00   19.75 03/19/2018 Sacramento CA - Drivers
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                   Overtime       2.50Document
                                         29.63 38-5   Filed Sacramento
                                                03/19/2018  03/22/21 Page    175 of 691
                                                                       CA - Drivers       Page ID
2468405            Regular       40.00   19.75 #:948
                                                03/26/2018 Sacramento CA - Drivers
2468405            Overtime       0.50   29.63 03/26/2018 Sacramento CA - Drivers
2468405            Regular       40.00   19.75 04/02/2018 Sacramento CA - Drivers
2468405            Overtime       0.50   29.63 04/02/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 04/09/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 04/16/2018 Sacramento CA - Drivers
2468405            Overtime       1.75   31.50 04/16/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 04/23/2018 Sacramento CA - Drivers
2468405            Overtime       5.00   31.50 04/23/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 04/30/2018 Sacramento CA - Drivers
2468405            Overtime       1.75   31.50 04/30/2018 Sacramento CA - Drivers
2468405            Regular       32.00   21.00 05/07/2018 Sacramento CA - Drivers
2468405            Overtime       2.00   31.50 05/07/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 05/14/2018 Sacramento CA - Drivers
2468405            Overtime       3.25   31.50 05/14/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 05/21/2018 Sacramento CA - Drivers
2468405            Overtime       9.50   31.50 05/21/2018 Sacramento CA - Drivers
2468405            Regular       32.00   21.00 05/28/2018 Sacramento CA - Drivers
2468405            Overtime       8.25   31.50 05/28/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 06/04/2018 Sacramento CA - Drivers
2468405            Overtime      11.50   31.50 06/04/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 06/11/2018 Sacramento CA - Drivers
2468405            Overtime      10.00   31.50 06/11/2018 Sacramento CA - Drivers
2468405            Regular       32.00   21.00 06/18/2018 Sacramento CA - Drivers
2468405            Overtime       8.25   31.50 06/18/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 06/25/2018 Sacramento CA - Drivers
2468405            Overtime      14.75   31.50 06/25/2018 Sacramento CA - Drivers
2468405            Regular       32.00   21.00 07/02/2018 Sacramento CA - Drivers
2468405            Overtime      13.50   31.50 07/02/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 07/09/2018 Sacramento CA - Drivers
2468405            Overtime       9.50   31.50 07/09/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 07/16/2018 Sacramento CA - Drivers
2468405            Overtime      19.50   31.50 07/16/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 07/23/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 07/23/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 07/30/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 07/30/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 08/06/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 08/06/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 08/13/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 08/13/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 08/20/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 08/20/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 08/27/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 08/27/2018 Sacramento CA - Drivers
2468405            Regular       32.00   21.00 09/03/2018 Sacramento CA - Drivers
2468405            Overtime      16.00   31.50 09/03/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 09/10/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 09/10/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 09/17/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 09/17/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 09/24/2018 Sacramento CA - Drivers
2468405            Overtime      20.00   31.50 09/24/2018 Sacramento CA - Drivers
2468405            Regular       40.00   21.00 10/01/2018 Sacramento CA - Drivers
2468405            Overtime      13.75   31.50 10/01/2018 Sacramento CA - Drivers
2468405            Regular        8.00   21.00 10/08/2018 Sacramento CA - Drivers
2468405            Overtime       2.00   31.50 10/08/2018 Sacramento CA - Drivers
Total for 2468405             1,729.30
894729             Regular        8.00   17.00 11/09/2015 Los Angeles CA East - Drivers
894729             Overtime       2.50   25.50 11/09/2015 Los Angeles CA East - Drivers
894729             Regular       28.00   17.00 10/26/2015 Los Angeles CA East - Drivers
894729             Overtime      16.50   25.50 10/26/2015 Los Angeles CA East - Drivers
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                  Regular       5.00Document
                                       17.00 38-5   Filed Los
                                              11/09/2015  03/22/21
                                                              AngelesPage 176
                                                                     CA East    of 691
                                                                             - Drivers   Page ID
894729            Regular       8.00   16.00 #:949
                                              11/16/2015 Los Angeles CA East - Drivers
Total for 894729               68.00
1375592           Regular       6.50   20.00 08/15/2016 Los Angeles CA East - Drivers
1375592           Regular       8.00   20.00 08/22/2016 Los Angeles CA East - Drivers
1375592           Overtime      4.00   30.00 08/22/2016 Los Angeles CA East - Drivers
1375592           Regular      16.00   20.00 08/29/2016 Los Angeles CA East - Drivers
1375592           Overtime      6.00   30.00 08/29/2016 Los Angeles CA East - Drivers
1375592           Regular       3.00    8.00 08/15/2016 Los Angeles CA East - Drivers
Total for 1375592              43.50
2545264           Regular      16.00   21.00 06/18/2018 Sacramento CA - Drivers
2545264           Overtime      5.00   31.50 06/18/2018 Sacramento CA - Drivers
2545264           Regular      32.00   21.00 06/25/2018 Sacramento CA - Drivers
2545264           Overtime      7.50   31.50 06/25/2018 Sacramento CA - Drivers
2545264           Regular      32.00   21.00 07/02/2018 Sacramento CA - Drivers
2545264           Overtime     11.50   31.50 07/02/2018 Sacramento CA - Drivers
2545264           Regular      32.00   21.00 07/09/2018 Sacramento CA - Drivers
2545264           Overtime     11.00   31.50 07/09/2018 Sacramento CA - Drivers
Total for 2545264             147.00
2645938           Regular       8.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2645938           Overtime      1.25   31.50 12/10/2018 Los Angeles CA West - Drivers
2645938           Regular      40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2645938           Overtime      9.25   31.50 12/03/2018 Los Angeles CA West - Drivers
Total for 2645938              58.50
1263087           Regular      12.00   18.00 01/25/2016 Sacramento CA - Drivers
Total for 1263087              12.00
2345123           Regular      16.00   19.75 07/24/2017 Sacramento CA - Drivers
2345123           Overtime      6.50   29.63 07/24/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 07/31/2017 Sacramento CA - Drivers
2345123           Overtime     18.25   29.63 07/31/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 08/07/2017 Sacramento CA - Drivers
2345123           Overtime     11.50   29.63 08/07/2017 Sacramento CA - Drivers
2345123           Regular      24.00   19.75 08/14/2017 Sacramento CA - Drivers
2345123           Overtime      4.25   29.63 08/14/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 08/21/2017 Sacramento CA - Drivers
2345123           Overtime     20.75   29.63 08/21/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 08/28/2017 Sacramento CA - Drivers
2345123           Overtime     14.50   29.63 08/28/2017 Sacramento CA - Drivers
2345123           Regular      32.00   19.75 09/04/2017 Sacramento CA - Drivers
2345123           Overtime     13.50   29.63 09/04/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 09/11/2017 Sacramento CA - Drivers
2345123           Overtime      8.25   29.63 09/11/2017 Sacramento CA - Drivers
2345123           Regular      36.00   19.75 09/18/2017 Sacramento CA - Drivers
2345123           Overtime     13.00   29.63 09/18/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 09/25/2017 Sacramento CA - Drivers
2345123           Overtime     14.25   29.63 09/25/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 10/02/2017 Sacramento CA - Drivers
2345123           Overtime     18.25   29.63 10/02/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 10/09/2017 Sacramento CA - Drivers
2345123           Overtime     21.25   29.63 10/09/2017 Sacramento CA - Drivers
2345123           Regular      32.00   19.75 10/16/2017 Sacramento CA - Drivers
2345123           Overtime     16.00   29.63 10/16/2017 Sacramento CA - Drivers
2345123           Regular      32.00   19.75 10/23/2017 Sacramento CA - Drivers
2345123           Overtime     15.00   29.63 10/23/2017 Sacramento CA - Drivers
2345123           Regular      31.75   19.75 10/30/2017 Sacramento CA - Drivers
2345123           Overtime      5.25   29.63 10/30/2017 Sacramento CA - Drivers
2345123           Regular      32.00   19.75 11/06/2017 Sacramento CA - Drivers
2345123           Overtime     10.00   29.63 11/06/2017 Sacramento CA - Drivers
2345123           Regular      29.50   19.75 11/13/2017 Sacramento CA - Drivers
2345123           Overtime     10.25   29.63 11/13/2017 Sacramento CA - Drivers
2345123           Regular      24.00   19.75 11/20/2017 Sacramento CA - Drivers
2345123           Overtime     11.00   29.63 11/20/2017 Sacramento CA - Drivers
2345123           Regular      40.00   19.75 11/27/2017 Sacramento CA - Drivers
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                   Overtime      14.00Document
                                         29.63 38-5   Filed Sacramento
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                                                                       CA - Drivers       Page ID
2345123            Regular       40.00   19.75 #:950
                                                12/04/2017 Sacramento CA - Drivers
2345123            Overtime      13.30   29.63 12/04/2017 Sacramento CA - Drivers
2345123            Regular       40.00   19.75 12/11/2017 Sacramento CA - Drivers
2345123            Overtime      11.25   29.63 12/11/2017 Sacramento CA - Drivers
2345123            Regular       32.00   19.75 12/18/2017 Sacramento CA - Drivers
2345123            Overtime      14.50   29.63 12/18/2017 Sacramento CA - Drivers
2345123            Regular        8.00   19.75 12/25/2017 Sacramento CA - Drivers
2345123            Overtime       3.50   29.63 12/25/2017 Sacramento CA - Drivers
Total for 2345123             1,057.55
1240093            Regular       40.00   20.00 12/14/2015 Los Angeles CA West - Drivers
1240093            Overtime      10.50   30.00 12/14/2015 Los Angeles CA West - Drivers
1240093            Regular       31.75   20.00 12/21/2015 Los Angeles CA West - Drivers
1240093            Overtime       4.75   30.00 12/21/2015 Los Angeles CA West - Drivers
1240093            Regular       28.00   20.00 12/28/2015 Los Angeles CA West - Drivers
1240093            Overtime       5.25   30.00 12/28/2015 Los Angeles CA West - Drivers
1240093            Regular       40.00   20.00 01/04/2016 Los Angeles CA West - Drivers
1240093            Overtime       8.00   30.00 01/04/2016 Los Angeles CA West - Drivers
1240093            Regular       40.00   20.00 01/11/2016 Los Angeles CA West - Drivers
1240093            Overtime      17.00   30.00 01/11/2016 Los Angeles CA West - Drivers
1240093            Regular       40.00   20.00 01/18/2016 Los Angeles CA West - Drivers
1240093            Overtime      10.25   30.00 01/18/2016 Los Angeles CA West - Drivers
1240093            Regular       39.75   20.00 01/25/2016 Los Angeles CA West - Drivers
1240093            Overtime       4.00   30.00 01/25/2016 Los Angeles CA West - Drivers
1240093            Regular       40.00   20.00 02/01/2016 Los Angeles CA West - Drivers
1240093            Overtime       5.25   30.00 02/01/2016 Los Angeles CA West - Drivers
1240093            Regular       19.50   20.00 02/08/2016 Los Angeles CA West - Drivers
1240093            Overtime       2.00   30.00 02/08/2016 Los Angeles CA West - Drivers
1240093            Regular       31.25   20.00 02/15/2016 Los Angeles CA West - Drivers
1240093            Overtime       2.50   30.00 02/15/2016 Los Angeles CA West - Drivers
1240093            Regular       22.75   19.00 02/22/2016 Los Angeles CA West - Drivers
1240093            Overtime       4.50   28.50 02/22/2016 Los Angeles CA West - Drivers
Total for 1240093               447.00
1355439            Regular       18.00   21.00 04/29/2019 Sacramento CA - Drivers
1355439            Overtime       4.75   31.50 04/29/2019 Sacramento CA - Drivers
1355439            Regular       32.00   21.00 05/06/2019 Sacramento CA - Drivers
1355439            Overtime      10.75   31.50 05/06/2019 Sacramento CA - Drivers
1355439            Regular       31.00   21.00 05/20/2019 Sacramento CA - Drivers
1355439            Overtime       7.00   31.50 05/20/2019 Sacramento CA - Drivers
1355439            Regular       27.00   21.00 07/11/2016 Sacramento CA - Drivers
1355439            Overtime       1.25   31.50 07/11/2016 Sacramento CA - Drivers
1355439            Regular       48.50   21.00 07/18/2016 Sacramento CA - Drivers
1355439            Overtime       2.25   31.50 07/18/2016 Sacramento CA - Drivers
1355439            Regular       49.00   21.00 07/25/2016 Sacramento CA - Drivers
1355439            Overtime       3.75   31.50 07/25/2016 Sacramento CA - Drivers
1355439            Regular       39.00   21.00 08/01/2016 Sacramento CA - Drivers
1355439            Overtime       0.75   31.50 08/01/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 08/08/2016 Sacramento CA - Drivers
1355439            Overtime       1.50   31.50 08/08/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 08/15/2016 Sacramento CA - Drivers
1355439            Overtime       1.50   31.50 08/15/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 08/22/2016 Sacramento CA - Drivers
1355439            Overtime       1.25   31.50 08/22/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 08/29/2016 Sacramento CA - Drivers
1355439            Overtime       1.75   31.50 08/29/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 09/05/2016 Sacramento CA - Drivers
1355439            Overtime       4.00   31.50 09/05/2016 Sacramento CA - Drivers
1355439            Regular       39.75   21.00 09/12/2016 Sacramento CA - Drivers
1355439            Overtime       1.50   31.50 09/12/2016 Sacramento CA - Drivers
1355439            Regular       39.75   21.00 09/19/2016 Sacramento CA - Drivers
1355439            Overtime       0.75   31.50 09/19/2016 Sacramento CA - Drivers
1355439            Regular       38.75   21.00 09/26/2016 Sacramento CA - Drivers
1355439            Regular       39.00   21.00 10/03/2016 Sacramento CA - Drivers
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                   Overtime       1.00Document
                                         31.50 38-5   Filed Sacramento
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                                                                       CA - Drivers       Page ID
1355439            Regular       39.25   21.00 #:951
                                                10/10/2016 Sacramento CA - Drivers
1355439            Regular       38.75   21.00 10/17/2016 Sacramento CA - Drivers
1355439            Overtime       0.25   31.50 10/17/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 10/24/2016 Sacramento CA - Drivers
1355439            Overtime       0.25   31.50 10/24/2016 Sacramento CA - Drivers
1355439            Regular       39.50   21.00 10/31/2016 Sacramento CA - Drivers
1355439            Overtime       1.00   31.50 10/31/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 11/07/2016 Sacramento CA - Drivers
1355439            Overtime       2.75   31.50 11/07/2016 Sacramento CA - Drivers
1355439            Regular       39.25   21.00 11/14/2016 Sacramento CA - Drivers
1355439            Overtime       0.25   31.50 11/14/2016 Sacramento CA - Drivers
1355439            Regular       30.00   21.00 11/21/2016 Sacramento CA - Drivers
1355439            Overtime      11.75   31.50 11/21/2016 Sacramento CA - Drivers
1355439            Regular       39.00   21.00 11/28/2016 Sacramento CA - Drivers
1355439            Overtime       0.50   31.50 11/28/2016 Sacramento CA - Drivers
1355439            Regular       39.25   21.00 12/05/2016 Sacramento CA - Drivers
1355439            Overtime       0.25   31.50 12/05/2016 Sacramento CA - Drivers
1355439            Regular       39.75   21.00 12/12/2016 Sacramento CA - Drivers
1355439            Overtime       0.25   31.50 12/12/2016 Sacramento CA - Drivers
1355439            Regular       28.00   21.00 12/19/2016 Sacramento CA - Drivers
1355439            Overtime       9.75   31.50 12/19/2016 Sacramento CA - Drivers
1355439            Regular       37.50   21.00 12/26/2016 Sacramento CA - Drivers
1355439            Regular       40.00   21.00 01/02/2017 Sacramento CA - Drivers
1355439            Overtime       1.50   31.50 01/02/2017 Sacramento CA - Drivers
1355439            Regular       39.50   21.00 01/09/2017 Sacramento CA - Drivers
1355439            Overtime       0.25   31.50 01/09/2017 Sacramento CA - Drivers
1355439            Regular       39.75   21.00 01/16/2017 Sacramento CA - Drivers
1355439            Overtime       1.00   31.50 01/16/2017 Sacramento CA - Drivers
1355439            Regular       12.50   20.98 02/13/2017 Sacramento CA - Drivers
1355439            Regular        6.25   20.98 03/06/2017 Sacramento CA - Drivers
1355439            Regular        8.00   25.00 08/26/2019 Sacramento CA - Drivers
1355439            Overtime       3.00   37.50 08/26/2019 Sacramento CA - Drivers
1355439            Regular       16.00   23.00 04/22/2019 Sacramento CA - Drivers
1355439            Overtime       6.25   34.50 04/22/2019 Sacramento CA - Drivers
1355439            Regular        8.00   23.00 06/03/2019 Sacramento CA - Drivers
1355439            Overtime       3.50   34.50 06/03/2019 Sacramento CA - Drivers
1355439            Regular        8.00   23.00 06/10/2019 Sacramento CA - Drivers
1355439            Overtime       3.50   34.50 06/10/2019 Sacramento CA - Drivers
1355439            Regular        8.00   23.00 06/24/2019 Sacramento CA - Drivers
1355439            Overtime       3.75   34.50 06/24/2019 Sacramento CA - Drivers
1355439            Regular        8.00   23.00 08/26/2019 Sacramento CA - Drivers
1355439            Overtime       3.50   34.50 08/26/2019 Sacramento CA - Drivers
1355439            Regular       24.00   22.00 09/02/2019 Sacramento CA - Drivers
1355439            Overtime       7.00   34.50 09/02/2019 Sacramento CA - Drivers
Total for 1355439             1,374.00
1347859            Regular        8.00   22.50 07/01/2019 Los Angeles CA West - Drivers
1347859            Overtime       4.00   33.75 07/01/2019 Los Angeles CA West - Drivers
1347859            Regular       40.00   20.00 07/22/2019 Los Angeles CA West - Drivers
1347859            Overtime       8.00   30.00 07/22/2019 Los Angeles CA West - Drivers
1347859            Regular       40.00   20.00 07/29/2019 Los Angeles CA West - Drivers
1347859            Overtime       5.25   30.00 07/29/2019 Los Angeles CA West - Drivers
1347859            Regular       40.00   20.00 08/05/2019 Los Angeles CA West - Drivers
1347859            Overtime       1.50   30.00 08/05/2019 Los Angeles CA West - Drivers
1347859            Regular       40.00   20.00 08/26/2019 Los Angeles CA West - Drivers
1347859            Overtime       4.00   30.00 08/26/2019 Los Angeles CA West - Drivers
1347859            Regular       32.00   20.00 09/02/2019 Los Angeles CA West - Drivers
1347859            Overtime       5.50   30.00 09/02/2019 Los Angeles CA West - Drivers
1347859            Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
1347859            Overtime       3.00   30.00 10/29/2018 Los Angeles CA West - Drivers
1347859            Regular        8.00   20.00 11/05/2018 Los Angeles CA West - Drivers
1347859            Overtime       0.50   30.00 11/05/2018 Los Angeles CA West - Drivers
1347859            Regular        8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
1347859 Case   2:19-cv-08580-JFW-MAA
                     Overtime      0.50Document
                                          30.00 38-5   Filed Los
                                                 11/12/2018  03/22/21
                                                                 AngelesPage 179- Drivers
                                                                        CA West   of 691 Page ID
1347859              Regular       8.00   20.50 #:952
                                                 06/24/2019 Los Angeles CA West - Drivers
1347859             Overtime        1.50    30.75   06/24/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    20.50   11/12/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        4.00    30.75   11/12/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        16.00    39.17   05/07/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        4.50    58.76   05/07/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular         6.00    39.17   05/28/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        16.00    39.17   06/04/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        2.75    58.76   06/04/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        24.00    39.17   10/01/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        9.25    58.76   10/01/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        32.00    39.17   10/08/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime       13.00    58.76   10/08/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        40.00    39.17   10/15/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime       16.25    58.76   10/15/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        40.00    39.17   10/22/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime       16.50    58.76   10/22/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        10.00    39.17   11/05/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        2.50    58.76   11/05/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    39.17   11/19/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        0.50    58.76   11/19/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    39.17   05/06/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        0.50    58.76   05/06/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        25.25    40.22   05/13/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        0.50    60.33   05/13/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        33.75    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime       10.00    60.33   05/20/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        40.00    40.22   05/27/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime       18.75    30.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        40.00    40.22   06/03/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime       26.50    60.33   06/03/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        40.00    40.22   06/10/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime       18.00    60.33   06/10/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        40.00    40.22   06/17/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        6.75    60.33   06/17/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        29.75    40.22   06/24/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        5.00    60.33   06/24/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        31.25    41.22   08/12/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        6.50    61.83   08/12/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    22.50   07/15/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        2.50    33.75   07/15/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    22.50   07/15/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        4.00    33.75   07/15/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    22.50   08/19/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        2.50    33.75   08/19/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        16.00    21.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1347859             Overtime        1.75    31.50   12/31/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    21.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular         8.00    18.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1347859             Overtime        0.50    27.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        23.50    21.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        24.00    21.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        60.00    21.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        55.25    21.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        52.75    21.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        54.00    21.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1347859             Regular        25.50    21.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        51.50    21.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        45.25    21.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        68.50    21.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        56.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1347859             Regular        64.75    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1347859 Case 2:19-cv-08580-JFW-MAA
                   Regular       56.25Document
                                         21.00 38-5   Filed Los
                                                02/18/2019  03/22/21
                                                                AngelesPage 180- Drivers
                                                                       CA West   of 691    Page ID
1347859            Regular       36.00   21.00 #:953
                                                02/25/2019 Los Angeles CA West - Drivers
1347859            Regular       54.50   21.00 03/04/2019 Los Angeles CA West - Drivers
1347859            Regular       64.00   21.00 03/11/2019 Los Angeles CA West - Drivers
1347859            Regular       57.50   21.00 03/18/2019 Los Angeles CA West - Drivers
1347859            Regular       49.75   21.00 03/25/2019 Los Angeles CA West - Drivers
1347859            Regular       55.50   21.00 04/01/2019 Los Angeles CA West - Drivers
1347859            Regular       51.50   21.00 04/08/2019 Los Angeles CA West - Drivers
1347859            Regular       41.50   21.00 04/15/2019 Los Angeles CA West - Drivers
1347859            Regular       47.50   21.00 04/22/2019 Los Angeles CA West - Drivers
1347859            Regular       58.00   21.00 04/29/2019 Los Angeles CA West - Drivers
1347859            Regular       16.00   22.00 11/05/2018 Los Angeles CA West - Drivers
1347859            Overtime       2.50   33.00 11/05/2018 Los Angeles CA West - Drivers
Total for 1347859             2,154.25
2566744            Regular        8.00   22.00 07/23/2018 Los Angeles CA West - Drivers
2566744            Overtime       2.00   33.00 07/23/2018 Los Angeles CA West - Drivers
2566744            Regular       24.00   22.00 07/30/2018 Los Angeles CA West - Drivers
2566744            Overtime       9.75   33.00 07/30/2018 Los Angeles CA West - Drivers
2566744            Regular       24.00   22.00 08/06/2018 Los Angeles CA West - Drivers
2566744            Overtime       9.75   33.00 08/06/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 08/13/2018 Los Angeles CA West - Drivers
2566744            Overtime      13.75   33.00 08/13/2018 Los Angeles CA West - Drivers
2566744            Regular       16.00   22.00 08/20/2018 Los Angeles CA West - Drivers
2566744            Overtime      11.00   33.00 08/20/2018 Los Angeles CA West - Drivers
2566744            Regular       29.25   22.00 08/27/2018 Los Angeles CA West - Drivers
2566744            Overtime       7.75   33.00 08/27/2018 Los Angeles CA West - Drivers
2566744            Regular       20.50   22.00 09/03/2018 Los Angeles CA West - Drivers
2566744            Overtime       7.50   33.00 09/03/2018 Los Angeles CA West - Drivers
2566744            Regular       24.00   22.00 09/10/2018 Los Angeles CA West - Drivers
2566744            Overtime       9.00   33.00 09/10/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 09/17/2018 Los Angeles CA West - Drivers
2566744            Overtime       8.00   33.00 09/17/2018 Los Angeles CA West - Drivers
2566744            Regular       24.00   22.00 09/24/2018 Los Angeles CA West - Drivers
2566744            Overtime       6.75   33.00 09/24/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 10/01/2018 Los Angeles CA West - Drivers
2566744            Overtime      10.25   33.00 10/01/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 10/08/2018 Los Angeles CA West - Drivers
2566744            Overtime      13.75   33.00 10/08/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 10/15/2018 Los Angeles CA West - Drivers
2566744            Overtime       7.75   33.00 10/15/2018 Los Angeles CA West - Drivers
2566744            Regular       16.00   22.00 10/22/2018 Los Angeles CA West - Drivers
2566744            Overtime       4.75   33.00 10/22/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 10/29/2018 Los Angeles CA West - Drivers
2566744            Overtime      12.25   33.00 10/29/2018 Los Angeles CA West - Drivers
2566744            Regular        8.00   22.00 11/05/2018 Los Angeles CA West - Drivers
2566744            Regular       31.50   22.00 11/12/2018 Los Angeles CA West - Drivers
2566744            Overtime      10.75   33.00 11/12/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 11/19/2018 Los Angeles CA West - Drivers
2566744            Overtime       7.50   33.00 11/19/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 11/26/2018 Los Angeles CA West - Drivers
2566744            Overtime      11.50   33.00 11/26/2018 Los Angeles CA West - Drivers
2566744            Regular       24.00   22.00 12/03/2018 Los Angeles CA West - Drivers
2566744            Overtime      10.50   33.00 12/03/2018 Los Angeles CA West - Drivers
2566744            Regular       32.00   22.00 12/10/2018 Los Angeles CA West - Drivers
2566744            Overtime      10.75   33.00 12/10/2018 Los Angeles CA West - Drivers
2566744            Regular       40.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2566744            Overtime      12.75   33.00 12/17/2018 Los Angeles CA West - Drivers
2566744            Regular       24.00   22.00 12/24/2018 Los Angeles CA West - Drivers
2566744            Overtime       8.50   33.00 12/24/2018 Los Angeles CA West - Drivers
2566744            Regular       16.00   22.00 12/31/2018 Los Angeles CA West - Drivers
2566744            Overtime       7.25   33.00 12/31/2018 Los Angeles CA West - Drivers
2566744            Regular       40.00   22.00 01/07/2019 Los Angeles CA West - Drivers
2566744            Overtime      12.75   33.00 01/07/2019 Los Angeles CA West - Drivers
2566744 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          22.00 38-5   Filed Los
                                                 01/14/2019  03/22/21
                                                                 AngelesPage 181- Drivers
                                                                        CA West   of 691 Page ID
2566744              Overtime     13.75   33.00 #:954
                                                 01/14/2019 Los Angeles CA West - Drivers
2566744             Regular        32.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       10.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        32.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       13.25    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       11.25    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        32.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       10.25    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        14.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        5.25    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       13.50    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        15.50    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        2.00    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        16.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        2.50    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        6.25    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        5.25    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular         8.00    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        1.25    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        5.25    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        22.75    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        6.00    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        32.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        8.00    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       11.75    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        15.25    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        1.50    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular         8.00    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        1.50    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        4.50    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        31.50    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        1.25    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        28.50    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       17.00    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        2.25    33.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        29.00    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       13.00    33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        31.50    22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       19.25    33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        32.00    22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        3.00    33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        29.50    22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        5.00    33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        31.75    22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        8.75    33.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        39.00    22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime       19.75    33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular         8.00    22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        6.50    33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular        24.00    22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2566744             Overtime        2.50    33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2566744             Regular         4.00    20.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2566744             Regular         8.00    20.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2566744             Overtime        4.00    30.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2566744 Case 2:19-cv-08580-JFW-MAA
                   Regular       16.00Document
                                         21.00 38-5   Filed Los
                                                07/23/2018  03/22/21
                                                                AngelesPage 182- Drivers
                                                                       CA West   of 691    Page ID
2566744            Overtime       3.50   31.50 #:955
                                                07/23/2018 Los Angeles CA West - Drivers
Total for 2566744             1,919.25
2519053            Regular        8.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2519053            Overtime       1.00   33.00 12/17/2018 Los Angeles CA West - Drivers
2519053            Regular        8.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2519053            Regular        8.00   20.50 06/24/2019 Los Angeles CA West - Drivers
2519053            Overtime       3.50   30.75 06/24/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   20.50 07/01/2019 Los Angeles CA West - Drivers
2519053            Overtime       4.00   30.75 07/01/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2519053            Overtime       1.83   31.50 08/05/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2519053            Overtime       1.50   31.50 03/25/2019 Los Angeles CA West - Drivers
2519053            Regular        4.00   20.50 01/14/2019 Los Angeles CA West - Drivers
2519053            Regular       30.00   39.17 03/11/2019 Los Angeles CA West - Drivers
2519053            Overtime       2.50   58.76 03/11/2019 Los Angeles CA West - Drivers
2519053            Regular       16.00   39.17 03/18/2019 Los Angeles CA West - Drivers
2519053            Overtime       0.25   58.76 03/18/2019 Los Angeles CA West - Drivers
2519053            Regular       12.00   39.17 04/01/2019 Los Angeles CA West - Drivers
2519053            Overtime       1.75   58.76 04/01/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   39.17 04/08/2019 Los Angeles CA West - Drivers
2519053            Overtime       0.75   58.76 04/08/2019 Los Angeles CA West - Drivers
2519053            Regular       20.00   39.17 04/15/2019 Los Angeles CA West - Drivers
2519053            Overtime       0.50   58.76 04/15/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   39.17 04/22/2019 Los Angeles CA West - Drivers
2519053            Overtime       4.00   58.76 04/22/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   39.17 04/29/2019 Los Angeles CA West - Drivers
2519053            Overtime       2.75   58.76 04/29/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   39.17 05/06/2019 Los Angeles CA West - Drivers
2519053            Overtime       0.50   58.76 05/06/2019 Los Angeles CA West - Drivers
2519053            Regular       22.50   40.22 05/13/2019 Los Angeles CA West - Drivers
2519053            Regular       24.00   22.00 05/20/2019 Los Angeles CA West - Drivers
2519053            Overtime       6.75   60.33 05/20/2019 Los Angeles CA West - Drivers
2519053            Regular       40.00   40.22 05/27/2019 Los Angeles CA West - Drivers
2519053            Overtime      14.00   30.00 05/27/2019 Los Angeles CA West - Drivers
2519053            Regular       23.25   40.22 06/03/2019 Los Angeles CA West - Drivers
2519053            Overtime       1.25   60.33 06/03/2019 Los Angeles CA West - Drivers
2519053            Regular       40.00   40.22 06/10/2019 Los Angeles CA West - Drivers
2519053            Overtime      12.25   60.33 06/10/2019 Los Angeles CA West - Drivers
2519053            Regular       40.00   40.22 06/17/2019 Los Angeles CA West - Drivers
2519053            Overtime      22.30   60.33 06/17/2019 Los Angeles CA West - Drivers
2519053            Regular       32.00   40.22 06/24/2019 Los Angeles CA West - Drivers
2519053            Overtime       8.00   60.33 06/24/2019 Los Angeles CA West - Drivers
2519053            Regular       15.50   41.22 08/05/2019 Los Angeles CA West - Drivers
2519053            Overtime       3.00   61.83 08/05/2019 Los Angeles CA West - Drivers
2519053            Regular       40.00   41.22 08/12/2019 Los Angeles CA West - Drivers
2519053            Overtime       9.25   61.83 08/12/2019 Los Angeles CA West - Drivers
2519053            Regular       13.00   41.22 08/19/2019 Los Angeles CA West - Drivers
2519053            Regular       30.75   41.22 08/26/2019 Los Angeles CA West - Drivers
2519053            Overtime       3.25   61.83 08/26/2019 Los Angeles CA West - Drivers
2519053            Regular       16.00   41.22 09/02/2019 Los Angeles CA West - Drivers
2519053            Overtime       3.25   61.83 09/02/2019 Los Angeles CA West - Drivers
2519053            Regular       63.75   21.85 07/15/2019 Los Angeles CA West - Drivers
2519053            Regular       56.00   21.85 07/22/2019 Los Angeles CA West - Drivers
2519053            Regular       50.08   21.85 07/29/2019 Los Angeles CA West - Drivers
2519053            Regular        8.00   22.00 04/30/2018 Los Angeles CA West - Drivers
2519053            Overtime       2.00   33.00 04/30/2018 Los Angeles CA West - Drivers
2519053            Regular       40.00   22.00 05/07/2018 Los Angeles CA West - Drivers
2519053            Overtime      15.00   33.00 05/07/2018 Los Angeles CA West - Drivers
2519053            Regular       40.00   22.00 05/14/2018 Los Angeles CA West - Drivers
2519053            Overtime      17.50   33.00 05/14/2018 Los Angeles CA West - Drivers
2519053            Regular       40.00   22.00 05/21/2018 Los Angeles CA West - Drivers
2519053 Case   2:19-cv-08580-JFW-MAA
                     Overtime     14.75Document
                                          33.00 38-5   Filed Los
                                                 05/21/2018  03/22/21
                                                                 AngelesPage 183- Drivers
                                                                        CA West   of 691 Page ID
2519053              Regular      32.00   22.00 #:956
                                                 05/28/2018 Los Angeles CA West - Drivers
2519053             Overtime       14.00    33.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.75    33.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       13.75    33.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.00    33.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       13.50    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        32.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.50    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.75    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.84    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.70    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       16.75    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.75    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.50    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        32.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime        5.28    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        24.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime        7.75    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.00    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       19.07    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.55    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.14    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       18.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       10.82    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.25    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       17.47    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        32.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       12.63    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       15.75    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       18.02    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.13    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2519053             Overtime        6.50    31.50   01/21/2019   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    21.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2519053             Overtime       10.25    31.50   01/28/2019   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2519053             Overtime       20.00    31.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2519053             Regular        40.00    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2519053             Overtime       14.75    31.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2519053             Regular         8.00    21.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2519053             Overtime        2.00    31.50   02/18/2019   Los   Angeles   CA   West   - Drivers
          Case 2:19-cv-08580-JFW-MAA
Total for 2519053               2,545.36Document 38-5 Filed 03/22/21 Page 184 of 691         Page ID
2756232              Regular        8.00   20.00 #:957
                                                  05/13/2019 Los Angeles CA East - Drivers
2756232              Regular       16.00   20.00 05/20/2019 Los Angeles CA East - Drivers
2756232              Overtime       0.50   30.00 05/20/2019 Los Angeles CA East - Drivers
2756232              Regular       32.00   20.00 05/27/2019 Los Angeles CA East - Drivers
2756232              Overtime       1.00   30.00 05/27/2019 Los Angeles CA East - Drivers
2756232              Regular       39.00   20.00 06/03/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 06/10/2019 Los Angeles CA East - Drivers
2756232              Overtime       0.75   30.00 06/10/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 06/17/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 06/24/2019 Los Angeles CA East - Drivers
2756232              Regular       31.75   20.00 07/01/2019 Los Angeles CA East - Drivers
2756232              Overtime       2.50   30.00 07/01/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 07/08/2019 Los Angeles CA East - Drivers
2756232              Overtime       1.00   30.00 07/08/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 07/15/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 07/22/2019 Los Angeles CA East - Drivers
2756232              Overtime       2.00   30.00 07/22/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 07/29/2019 Los Angeles CA East - Drivers
2756232              Overtime       1.00   30.00 07/29/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 08/05/2019 Los Angeles CA East - Drivers
2756232              Overtime       1.50   30.00 08/05/2019 Los Angeles CA East - Drivers
2756232              Regular       32.00   20.00 08/12/2019 Los Angeles CA East - Drivers
2756232              Overtime       4.00   30.00 08/12/2019 Los Angeles CA East - Drivers
2756232              Regular       40.00   20.00 08/19/2019 Los Angeles CA East - Drivers
2756232              Overtime       3.00   30.00 08/19/2019 Los Angeles CA East - Drivers
2756232              Regular       38.00   20.00 08/26/2019 Los Angeles CA East - Drivers
2756232              Overtime       5.75   30.00 08/26/2019 Los Angeles CA East - Drivers
2756232              Regular       23.75   20.00 09/02/2019 Los Angeles CA East - Drivers
Total for 2756232                 603.50
2477805              Regular       11.79   21.50 02/04/2019 Sacramento CA - Drivers
2477805              Regular       23.50   19.75 02/19/2018 Sacramento CA - Drivers
2477805              Overtime       6.50   29.63 02/19/2018 Sacramento CA - Drivers
2477805              Regular       40.00   19.75 02/26/2018 Sacramento CA - Drivers
2477805              Overtime      24.00   29.63 02/26/2018 Sacramento CA - Drivers
2477805              Regular       40.00   19.75 03/05/2018 Sacramento CA - Drivers
2477805              Overtime       9.50   29.63 03/05/2018 Sacramento CA - Drivers
2477805              Regular       24.00   19.75 03/12/2018 Sacramento CA - Drivers
2477805              Overtime      11.00   29.63 03/12/2018 Sacramento CA - Drivers
2477805              Regular       40.00   19.75 03/19/2018 Sacramento CA - Drivers
2477805              Overtime      16.00   29.63 03/19/2018 Sacramento CA - Drivers
2477805              Regular       40.00   19.75 03/26/2018 Sacramento CA - Drivers
2477805              Overtime       6.50   29.63 03/26/2018 Sacramento CA - Drivers
2477805              Regular        8.00   19.75 04/02/2018 Sacramento CA - Drivers
2477805              Overtime       1.00   29.63 04/02/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 09/10/2018 Sacramento CA - Drivers
2477805              Overtime      11.00   31.50 09/10/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 09/17/2018 Sacramento CA - Drivers
2477805              Overtime      15.00   31.50 09/17/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 09/24/2018 Sacramento CA - Drivers
2477805              Overtime      22.00   31.50 09/24/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 10/01/2018 Sacramento CA - Drivers
2477805              Overtime      18.00   31.50 10/01/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 10/08/2018 Sacramento CA - Drivers
2477805              Overtime      12.50   31.50 10/08/2018 Sacramento CA - Drivers
2477805              Regular        3.50   21.00 10/15/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 10/22/2018 Sacramento CA - Drivers
2477805              Overtime       9.50   31.50 10/22/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 10/29/2018 Sacramento CA - Drivers
2477805              Overtime      14.50   31.50 10/29/2018 Sacramento CA - Drivers
2477805              Regular       40.00   21.00 11/05/2018 Sacramento CA - Drivers
2477805              Overtime       6.00   31.50 11/05/2018 Sacramento CA - Drivers
2477805              Regular       16.00   21.00 11/12/2018 Sacramento CA - Drivers
2477805 Case 2:19-cv-08580-JFW-MAA
                   Overtime      6.00Document
                                        31.50 38-5   Filed Sacramento
                                               11/12/2018  03/22/21 Page    185 of 691
                                                                      CA - Drivers       Page ID
Total for 2477805              755.79         #:958
1432204            Regular      40.00   22.00 03/04/2019 Los Angeles CA West - Drivers
1432204            Overtime      9.00   33.00 03/04/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   22.00 03/11/2019 Los Angeles CA West - Drivers
1432204            Overtime      6.25   33.00 03/11/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   22.00 03/18/2019 Los Angeles CA West - Drivers
1432204            Overtime      8.00   33.00 03/18/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   22.00 03/25/2019 Los Angeles CA West - Drivers
1432204            Overtime     11.25   33.00 03/25/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   22.00 04/01/2019 Los Angeles CA West - Drivers
1432204            Overtime      5.25   33.00 04/01/2019 Los Angeles CA West - Drivers
1432204            Regular      32.00   22.00 04/08/2019 Los Angeles CA West - Drivers
1432204            Overtime      3.75   33.00 04/08/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   22.00 04/15/2019 Los Angeles CA West - Drivers
1432204            Overtime      5.50   33.00 04/15/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   22.00 04/22/2019 Los Angeles CA West - Drivers
1432204            Overtime      9.00   33.00 04/22/2019 Los Angeles CA West - Drivers
1432204            Regular      12.00   21.85 02/18/2019 Los Angeles CA West - Drivers
1432204            Regular       8.00   22.00 04/29/2019 Los Angeles CA West - Drivers
1432204            Regular      16.00   21.00 01/14/2019 Los Angeles CA West - Drivers
1432204            Overtime      5.00   31.50 01/14/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   21.00 01/21/2019 Los Angeles CA West - Drivers
1432204            Overtime      5.25   31.50 01/21/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   21.00 01/28/2019 Los Angeles CA West - Drivers
1432204            Overtime      3.25   31.50 01/28/2019 Los Angeles CA West - Drivers
1432204            Regular      40.00   21.00 02/04/2019 Los Angeles CA West - Drivers
1432204            Overtime      3.50   31.50 02/04/2019 Los Angeles CA West - Drivers
Total for 1432204              543.00
2573064            Regular      12.75   20.00 10/15/2018 Los Angeles CA East - Drivers
2573064            Overtime      3.50   30.00 10/15/2018 Los Angeles CA East - Drivers
2573064            Regular       8.00   20.00 10/22/2018 Los Angeles CA East - Drivers
2573064            Regular       8.00   21.00 03/11/2019 Los Angeles CA East - Drivers
2573064            Overtime      1.50   31.50 03/11/2019 Los Angeles CA East - Drivers
2573064            Regular      16.00   19.50 11/26/2018 Los Angeles CA East - Drivers
2573064            Overtime      5.25   29.25 11/26/2018 Los Angeles CA East - Drivers
2573064            Regular      40.00   19.50 12/03/2018 Los Angeles CA East - Drivers
2573064            Overtime     16.50   29.25 12/03/2018 Los Angeles CA East - Drivers
2573064            Regular      35.00   19.50 12/10/2018 Los Angeles CA East - Drivers
2573064            Overtime     12.00   29.25 12/10/2018 Los Angeles CA East - Drivers
2573064            Regular      19.75   19.50 12/17/2018 Los Angeles CA East - Drivers
2573064            Overtime      6.50   29.25 12/17/2018 Los Angeles CA East - Drivers
2573064            Regular      16.00   19.50 12/31/2018 Los Angeles CA East - Drivers
2573064            Overtime      1.50   29.25 12/31/2018 Los Angeles CA East - Drivers
2573064            Regular      24.00   19.50 01/07/2019 Los Angeles CA East - Drivers
2573064            Overtime     11.00   29.25 01/07/2019 Los Angeles CA East - Drivers
2573064            Regular      40.00   21.00 11/12/2018 Los Angeles CA East - Drivers
2573064            Overtime      9.50   31.50 11/12/2018 Los Angeles CA East - Drivers
2573064            Regular      16.00   21.00 11/19/2018 Los Angeles CA East - Drivers
2573064            Overtime      7.50   31.50 11/19/2018 Los Angeles CA East - Drivers
2573064            Regular      16.00   21.00 11/26/2018 Los Angeles CA East - Drivers
2573064            Overtime      5.00   31.50 11/26/2018 Los Angeles CA East - Drivers
2573064            Regular       8.00   21.00 11/05/2018 Los Angeles CA East - Drivers
2573064            Overtime      0.25   31.50 11/05/2018 Los Angeles CA East - Drivers
2573064            Regular       8.00   21.00 12/24/2018 Los Angeles CA East - Drivers
2573064            Overtime      0.50   31.50 12/24/2018 Los Angeles CA East - Drivers
2573064            Regular      40.00   21.50 08/06/2018 Los Angeles CA East - Drivers
2573064            Overtime      4.50   32.25 08/06/2018 Los Angeles CA East - Drivers
2573064            Regular      40.00   21.50 08/13/2018 Los Angeles CA East - Drivers
2573064            Overtime      2.00   32.25 08/13/2018 Los Angeles CA East - Drivers
2573064            Regular      40.00   21.50 08/20/2018 Los Angeles CA East - Drivers
2573064            Overtime      2.75   32.25 08/20/2018 Los Angeles CA East - Drivers
2573064            Regular      24.00   21.50 08/27/2018 Los Angeles CA East - Drivers
2573064 Case 2:19-cv-08580-JFW-MAA
                   Regular      16.00Document
                                        21.50 38-5   Filed Los
                                               09/03/2018  03/22/21
                                                               AngelesPage 186
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
2573064            Regular      24.00   21.50 #:959
                                               09/10/2018 Los Angeles CA East - Drivers
2573064            Overtime      1.00   32.25 09/10/2018 Los Angeles CA East - Drivers
2573064            Regular      24.00   21.50 09/17/2018 Los Angeles CA East - Drivers
Total for 2573064              566.25
2544095            Regular      10.00   16.00 06/18/2018 Los Angeles CA West - Drivers
2544095            Overtime      1.00   24.00 06/18/2018 Los Angeles CA West - Drivers
2544095            Regular       8.00   17.50 06/11/2018 Los Angeles CA West - Drivers
2544095            Overtime      2.25   26.25 06/11/2018 Los Angeles CA West - Drivers
2544095            Regular       8.00   17.50 06/18/2018 Los Angeles CA West - Drivers
2544095            Overtime      1.50   26.25 06/18/2018 Los Angeles CA West - Drivers
Total for 2544095               30.75
2344065            Regular      24.00   23.00 01/21/2019 Los Angeles CA West - Drivers
2344065            Overtime      8.75   34.50 01/21/2019 Los Angeles CA West - Drivers
2344065            Regular      31.25   23.00 01/28/2019 Los Angeles CA West - Drivers
2344065            Overtime      6.00   34.50 01/28/2019 Los Angeles CA West - Drivers
2344065            Regular       8.00   23.00 02/04/2019 Los Angeles CA West - Drivers
2344065            Regular       6.00   19.50 01/08/2018 Los Angeles CA West - Drivers
2344065            Regular      16.00   19.50 07/17/2017 Los Angeles CA West - Drivers
2344065            Overtime      4.00   29.25 07/17/2017 Los Angeles CA West - Drivers
2344065            Regular      80.00   19.50 07/24/2017 Los Angeles CA West - Drivers
2344065            Overtime     21.75   29.25 07/24/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 08/07/2017 Los Angeles CA West - Drivers
2344065            Overtime      9.00   29.25 08/07/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 08/14/2017 Los Angeles CA West - Drivers
2344065            Overtime     13.00   29.25 08/14/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 08/21/2017 Los Angeles CA West - Drivers
2344065            Overtime     12.50   29.25 08/21/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 08/28/2017 Los Angeles CA West - Drivers
2344065            Overtime     11.00   29.25 08/28/2017 Los Angeles CA West - Drivers
2344065            Regular      32.00   19.50 09/04/2017 Los Angeles CA West - Drivers
2344065            Overtime     13.50   29.25 09/04/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 09/11/2017 Los Angeles CA West - Drivers
2344065            Overtime     13.00   29.25 09/11/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 09/18/2017 Los Angeles CA West - Drivers
2344065            Overtime     11.00   29.25 09/18/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 09/25/2017 Los Angeles CA West - Drivers
2344065            Overtime     11.00   29.25 09/25/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 10/02/2017 Los Angeles CA West - Drivers
2344065            Overtime     10.50   29.25 10/02/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 10/09/2017 Los Angeles CA West - Drivers
2344065            Overtime     14.50   29.25 10/09/2017 Los Angeles CA West - Drivers
2344065            Regular      16.00   19.50 10/16/2017 Los Angeles CA West - Drivers
2344065            Overtime      6.50   29.25 10/16/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 10/23/2017 Los Angeles CA West - Drivers
2344065            Overtime     13.00   29.25 10/23/2017 Los Angeles CA West - Drivers
2344065            Regular      12.00   19.50 10/30/2017 Los Angeles CA West - Drivers
2344065            Overtime      1.50   29.25 10/30/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 11/06/2017 Los Angeles CA West - Drivers
2344065            Overtime     12.00   29.25 11/06/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 11/13/2017 Los Angeles CA West - Drivers
2344065            Overtime     10.00   29.25 11/13/2017 Los Angeles CA West - Drivers
2344065            Regular      24.00   19.50 11/20/2017 Los Angeles CA West - Drivers
2344065            Overtime      5.50   29.25 11/20/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 11/27/2017 Los Angeles CA West - Drivers
2344065            Overtime     10.00   29.25 11/27/2017 Los Angeles CA West - Drivers
2344065            Regular      32.00   19.50 12/04/2017 Los Angeles CA West - Drivers
2344065            Overtime      8.50   29.25 12/04/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 12/11/2017 Los Angeles CA West - Drivers
2344065            Overtime     10.50   29.25 12/11/2017 Los Angeles CA West - Drivers
2344065            Regular      40.00   19.50 12/18/2017 Los Angeles CA West - Drivers
2344065            Overtime      9.00   29.25 12/18/2017 Los Angeles CA West - Drivers
2344065            Regular      24.00   19.50 12/25/2017 Los Angeles CA West - Drivers
2344065 Case 2:19-cv-08580-JFW-MAA
                   Overtime       9.00Document
                                         29.25 38-5   Filed Los
                                                12/25/2017  03/22/21
                                                                AngelesPage 187- Drivers
                                                                       CA West   of 691    Page ID
2344065            Regular       32.00   19.50 #:960
                                                01/01/2018 Los Angeles CA West - Drivers
2344065            Overtime       7.50   29.25 01/01/2018 Los Angeles CA West - Drivers
2344065            Regular       16.00   19.50 01/08/2018 Los Angeles CA West - Drivers
2344065            Overtime       2.50   29.25 01/08/2018 Los Angeles CA West - Drivers
Total for 2344065             1,218.25
2238052            Regular        8.00   20.00 08/13/2018 Los Angeles CA West - Drivers
2238052            Overtime       1.50   30.00 08/13/2018 Los Angeles CA West - Drivers
2238052            Regular       24.00   20.00 08/20/2018 Los Angeles CA West - Drivers
2238052            Overtime       4.00   30.00 08/20/2018 Los Angeles CA West - Drivers
2238052            Regular       40.00   20.00 08/27/2018 Los Angeles CA West - Drivers
2238052            Overtime      11.50   30.00 08/27/2018 Los Angeles CA West - Drivers
2238052            Regular       40.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2238052            Overtime       9.50   30.00 09/03/2018 Los Angeles CA West - Drivers
2238052            Regular       40.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2238052            Overtime       6.50   30.00 09/10/2018 Los Angeles CA West - Drivers
2238052            Regular       24.00   20.00 09/17/2018 Los Angeles CA West - Drivers
2238052            Overtime       2.50   30.00 09/17/2018 Los Angeles CA West - Drivers
2238052            Regular       40.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2238052            Overtime       6.50   30.00 09/24/2018 Los Angeles CA West - Drivers
2238052            Regular       24.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2238052            Overtime       3.00   30.00 10/08/2018 Los Angeles CA West - Drivers
2238052            Regular       32.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2238052            Overtime      12.00   30.00 10/15/2018 Los Angeles CA West - Drivers
2238052            Regular       24.00   20.00 10/22/2018 Los Angeles CA West - Drivers
2238052            Overtime       1.50   30.00 10/22/2018 Los Angeles CA West - Drivers
2238052            Regular        8.00   20.00 01/21/2019 Los Angeles CA West - Drivers
2238052            Overtime       4.00   30.00 01/21/2019 Los Angeles CA West - Drivers
2238052            Regular       30.50   19.50 02/12/2018 Los Angeles CA West - Drivers
2238052            Overtime       1.50   29.25 02/12/2018 Los Angeles CA West - Drivers
2238052            Regular       30.50   19.50 02/19/2018 Los Angeles CA West - Drivers
2238052            Regular       21.50   19.50 02/26/2018 Los Angeles CA West - Drivers
2238052            Regular        8.00   19.50 03/05/2018 Los Angeles CA West - Drivers
2238052            Overtime       0.50   29.25 03/05/2018 Los Angeles CA West - Drivers
2238052            Regular       22.50   19.50 03/12/2018 Los Angeles CA West - Drivers
2238052            Overtime       4.00   29.25 03/12/2018 Los Angeles CA West - Drivers
2238052            Regular        8.00   19.50 03/19/2018 Los Angeles CA West - Drivers
2238052            Overtime       4.00   29.25 03/19/2018 Los Angeles CA West - Drivers
2238052            Regular        7.00   19.50 03/12/2018 Los Angeles CA West - Drivers
2238052            Regular        8.00   19.50 12/18/2017 Los Angeles CA West - Drivers
2238052            Regular       40.00   19.50 12/25/2017 Los Angeles CA West - Drivers
2238052            Overtime      27.50   29.25 12/25/2017 Los Angeles CA West - Drivers
2238052            Regular       40.00   19.50 01/01/2018 Los Angeles CA West - Drivers
2238052            Overtime      32.00   29.25 01/01/2018 Los Angeles CA West - Drivers
2238052            Regular       40.00   19.50 01/08/2018 Los Angeles CA West - Drivers
2238052            Overtime      44.00   29.25 01/08/2018 Los Angeles CA West - Drivers
2238052            Regular        8.00   20.50 08/13/2018 Los Angeles CA West - Drivers
2238052            Overtime       0.50   30.75 08/13/2018 Los Angeles CA West - Drivers
2238052            Regular       30.00   22.00 08/06/2018 Los Angeles CA West - Drivers
2238052            Overtime       7.50   33.00 08/06/2018 Los Angeles CA West - Drivers
2238052            Regular        8.00   22.00 08/13/2018 Los Angeles CA West - Drivers
2238052            Overtime       3.00   33.00 08/13/2018 Los Angeles CA West - Drivers
2238052            Regular       16.00   21.00 08/20/2018 Los Angeles CA West - Drivers
2238052            Overtime       1.00   31.50 08/20/2018 Los Angeles CA West - Drivers
2238052            Regular       16.00   20.00 03/05/2018 Los Angeles CA West - Drivers
2238052            Overtime       4.00   30.00 03/05/2018 Los Angeles CA West - Drivers
2238052            Regular       16.00   19.00 11/20/2017 Los Angeles CA West - Drivers
2238052            Overtime       4.50   28.50 11/20/2017 Los Angeles CA West - Drivers
2238052            Regular        6.50   19.00 11/13/2017 Los Angeles CA West - Drivers
2238052            Regular        8.00   20.00 08/13/2018 Los Angeles CA West - Drivers
2238052            Regular       24.00   19.00 04/24/2017 Los Angeles CA West - Drivers
2238052            Overtime       3.50   28.50 04/24/2017 Los Angeles CA West - Drivers
2238052            Regular       35.50   19.00 05/01/2017 Los Angeles CA West - Drivers
2238052 Case   2:19-cv-08580-JFW-MAA
                     Overtime      6.00Document
                                          28.50 38-5   Filed Los
                                                 05/01/2017  03/22/21
                                                                 AngelesPage 188- Drivers
                                                                        CA West   of 691 Page ID
2238052              Regular      36.00   19.00 #:961
                                                 05/08/2017 Los Angeles CA West - Drivers
2238052             Overtime        3.00    28.50   05/08/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        33.50    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        2.50    28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        34.00    19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        31.00    19.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        2.50    28.50   06/05/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        6.00    28.50   06/12/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        24.00    19.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        16.00    19.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        3.00    28.50   09/25/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    19.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime       13.00    28.50   10/02/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    19.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime       13.50    28.50   10/09/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        38.50    19.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        6.50    28.50   10/16/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    19.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        5.00    28.50   10/23/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        32.00    19.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        5.50    28.50   10/30/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular         8.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        0.75    30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        2.50    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        4.50    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        4.50    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime       10.00    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        5.50    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        9.50    30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        4.00    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        7.00    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        7.00    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        32.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        6.50    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        4.50    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        4.50    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        7.50    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2238052             Overtime        7.50    30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2238052             Regular         8.00    19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        2.00    28.50   04/10/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular         8.00    19.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular         8.00    19.00   12/18/2017   Los   Angeles   CA   West   - Drivers
2238052             Overtime        2.50    28.50   12/18/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        56.00    21.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        67.50    21.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        67.50    21.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2238052             Regular        40.50    21.00   12/18/2017   Los   Angeles   CA   West   - Drivers
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                   Regular       31.00Document
                                         21.00 38-5   Filed Los
                                                01/22/2018  03/22/21
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                                                                       CA West   of 691    Page ID
2238052            Regular        8.00   19.00 #:962
                                                03/05/2018 Los Angeles CA West - Drivers
2238052            Overtime       4.00   28.50 03/05/2018 Los Angeles CA West - Drivers
Total for 2238052             2,380.25
2842726            Regular        8.00   20.00 08/26/2019 Los Angeles CA East - Drivers
2842726            Regular       32.00   20.00 09/02/2019 Los Angeles CA East - Drivers
2842726            Overtime       0.25   30.00 09/02/2019 Los Angeles CA East - Drivers
Total for 2842726                40.25
887296             Regular        9.25   17.00 03/14/2016 Los Angeles CA East - Drivers
887296             Regular        8.00   19.00 02/13/2017 Los Angeles CA East - Drivers
887296             Overtime       3.75   28.50 02/13/2017 Los Angeles CA East - Drivers
887296             Regular        9.25   17.00 02/29/2016 Los Angeles CA East - Drivers
887296             Regular        8.00   19.00 01/23/2017 Los Angeles CA East - Drivers
887296             Overtime       4.00   28.50 01/23/2017 Los Angeles CA East - Drivers
887296             Regular       22.75   18.00 02/15/2016 Los Angeles CA East - Drivers
887296             Overtime       4.50   27.00 02/15/2016 Los Angeles CA East - Drivers
887296             Regular        8.00   18.00 02/22/2016 Los Angeles CA East - Drivers
887296             Overtime       2.50   27.00 02/22/2016 Los Angeles CA East - Drivers
887296             Regular        8.00   19.00 01/30/2017 Los Angeles CA East - Drivers
887296             Overtime       0.50   28.50 01/30/2017 Los Angeles CA East - Drivers
887296             Regular       12.00   16.00 03/14/2016 Los Angeles CA East - Drivers
Total for 887296                100.50
2781122            Regular       40.00   21.00 06/10/2019 Los Angeles CA West - Drivers
2781122            Overtime       7.50   31.50 06/10/2019 Los Angeles CA West - Drivers
2781122            Regular       32.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2781122            Overtime       4.75   31.50 06/17/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2781122            Overtime      18.50   31.50 06/24/2019 Los Angeles CA West - Drivers
2781122            Regular       32.00   21.00 07/01/2019 Los Angeles CA West - Drivers
2781122            Overtime       4.25   31.50 07/01/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2781122            Overtime       7.00   31.50 07/08/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2781122            Overtime       5.00   31.50 07/15/2019 Los Angeles CA West - Drivers
2781122            Regular       32.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2781122            Overtime       4.75   31.50 07/22/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2781122            Overtime       8.00   31.50 07/29/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2781122            Overtime       7.00   31.50 08/05/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2781122            Overtime       8.00   31.50 08/12/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2781122            Overtime       8.00   31.50 08/19/2019 Los Angeles CA West - Drivers
2781122            Regular       40.00   21.00 08/26/2019 Los Angeles CA West - Drivers
2781122            Overtime      13.25   31.50 08/26/2019 Los Angeles CA West - Drivers
2781122            Regular       32.00   21.00 09/02/2019 Los Angeles CA West - Drivers
2781122            Overtime       7.00   31.50 09/02/2019 Los Angeles CA West - Drivers
Total for 2781122               591.00
2180368            Regular       44.00   19.00 08/28/2017 Los Angeles CA East - Drivers
2180368            Overtime       1.75   28.50 08/28/2017 Los Angeles CA East - Drivers
2180368            Regular       45.00   19.00 09/04/2017 Los Angeles CA East - Drivers
2180368            Overtime       1.00   28.50 09/04/2017 Los Angeles CA East - Drivers
2180368            Regular       26.00   19.00 09/11/2017 Los Angeles CA East - Drivers
2180368            Overtime       1.25   28.50 09/11/2017 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 09/18/2017 Los Angeles CA East - Drivers
2180368            Overtime       3.25   28.50 09/18/2017 Los Angeles CA East - Drivers
2180368            Regular       49.00   19.00 09/25/2017 Los Angeles CA East - Drivers
2180368            Overtime       0.50   28.50 09/25/2017 Los Angeles CA East - Drivers
2180368            Regular       36.00   19.00 10/02/2017 Los Angeles CA East - Drivers
2180368            Overtime       2.00   28.50 10/02/2017 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 10/09/2017 Los Angeles CA East - Drivers
2180368            Overtime       3.00   28.50 10/09/2017 Los Angeles CA East - Drivers
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                   Regular       46.50Document
                                         19.00 38-5   Filed Los
                                                10/16/2017  03/22/21
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                                                                               - Drivers   Page ID
2180368            Overtime       2.50   28.50 #:963
                                                10/16/2017 Los Angeles CA East - Drivers
2180368            Regular       47.50   19.00 10/23/2017 Los Angeles CA East - Drivers
2180368            Overtime       2.50   28.50 10/23/2017 Los Angeles CA East - Drivers
2180368            Regular       44.00   19.00 10/30/2017 Los Angeles CA East - Drivers
2180368            Regular       48.00   19.00 11/06/2017 Los Angeles CA East - Drivers
2180368            Overtime       3.00   28.50 11/06/2017 Los Angeles CA East - Drivers
2180368            Regular       47.50   19.00 11/13/2017 Los Angeles CA East - Drivers
2180368            Overtime       0.50   28.50 11/13/2017 Los Angeles CA East - Drivers
2180368            Regular       40.00   19.00 11/20/2017 Los Angeles CA East - Drivers
2180368            Overtime       2.50   28.50 11/20/2017 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 11/27/2017 Los Angeles CA East - Drivers
2180368            Overtime      13.00   28.50 11/27/2017 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 12/04/2017 Los Angeles CA East - Drivers
2180368            Overtime      10.00   28.50 12/04/2017 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 12/11/2017 Los Angeles CA East - Drivers
2180368            Overtime      12.00   28.50 12/11/2017 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 12/18/2017 Los Angeles CA East - Drivers
2180368            Overtime      13.25   28.50 12/18/2017 Los Angeles CA East - Drivers
2180368            Regular       49.50   19.00 12/25/2017 Los Angeles CA East - Drivers
2180368            Overtime       2.00   28.50 12/25/2017 Los Angeles CA East - Drivers
2180368            Regular       48.00   19.00 01/01/2018 Los Angeles CA East - Drivers
2180368            Overtime       6.00   28.50 01/01/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 01/08/2018 Los Angeles CA East - Drivers
2180368            Overtime       6.50   28.50 01/08/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 01/15/2018 Los Angeles CA East - Drivers
2180368            Overtime       6.50   28.50 01/15/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 01/22/2018 Los Angeles CA East - Drivers
2180368            Overtime       8.00   28.50 01/22/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 01/29/2018 Los Angeles CA East - Drivers
2180368            Overtime       7.50   28.50 01/29/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 02/05/2018 Los Angeles CA East - Drivers
2180368            Overtime       9.00   28.50 02/05/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 02/12/2018 Los Angeles CA East - Drivers
2180368            Overtime       7.25   28.50 02/12/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 02/19/2018 Los Angeles CA East - Drivers
2180368            Overtime       6.75   28.50 02/19/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 02/26/2018 Los Angeles CA East - Drivers
2180368            Overtime       6.50   28.50 02/26/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 03/05/2018 Los Angeles CA East - Drivers
2180368            Overtime       8.50   28.50 03/05/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 03/12/2018 Los Angeles CA East - Drivers
2180368            Overtime       6.75   28.50 03/12/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 03/19/2018 Los Angeles CA East - Drivers
2180368            Overtime       8.75   28.50 03/19/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 03/26/2018 Los Angeles CA East - Drivers
2180368            Overtime       7.50   28.50 03/26/2018 Los Angeles CA East - Drivers
2180368            Regular       50.00   19.00 04/02/2018 Los Angeles CA East - Drivers
2180368            Overtime       7.50   28.50 04/02/2018 Los Angeles CA East - Drivers
2180368            Regular       40.00   20.00 08/14/2017 Los Angeles CA East - Drivers
2180368            Overtime       5.00   30.00 08/14/2017 Los Angeles CA East - Drivers
2180368            Regular       40.00   20.00 08/21/2017 Los Angeles CA East - Drivers
2180368            Overtime       5.25   30.00 08/21/2017 Los Angeles CA East - Drivers
Total for 2180368             1,788.25
1382743            Regular       24.00   16.00 10/31/2016 Los Angeles CA West - Drivers
1382743            Overtime       2.00   24.00 10/31/2016 Los Angeles CA West - Drivers
1382743            Regular       16.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1382743            Overtime       3.00   24.00 11/07/2016 Los Angeles CA West - Drivers
1382743            Regular       40.00   16.00 11/14/2016 Los Angeles CA West - Drivers
1382743            Overtime      11.50   24.00 11/14/2016 Los Angeles CA West - Drivers
1382743            Regular       24.00   16.00 11/28/2016 Los Angeles CA West - Drivers
1382743            Overtime       4.50   24.00 11/28/2016 Los Angeles CA West - Drivers
1382743            Regular       35.00   16.50 08/15/2016 Los Angeles CA West - Drivers
1382743 Case 2:19-cv-08580-JFW-MAA
                   Overtime     12.00Document
                                        24.75 38-5   Filed Los
                                               08/15/2016  03/22/21
                                                               AngelesPage 191- Drivers
                                                                      CA West   of 691    Page ID
1382743            Regular      24.00   16.50 #:964
                                               08/22/2016 Los Angeles CA West - Drivers
1382743            Overtime      9.50   24.75 08/22/2016 Los Angeles CA West - Drivers
1382743            Regular      40.00   16.50 08/29/2016 Los Angeles CA West - Drivers
1382743            Overtime     22.00   24.75 08/29/2016 Los Angeles CA West - Drivers
1382743            Regular      40.00   16.50 09/05/2016 Los Angeles CA West - Drivers
1382743            Overtime     15.00   24.75 09/05/2016 Los Angeles CA West - Drivers
1382743            Regular      40.00   16.50 09/12/2016 Los Angeles CA West - Drivers
1382743            Overtime     12.00   24.75 09/12/2016 Los Angeles CA West - Drivers
1382743            Regular      40.00   16.50 09/19/2016 Los Angeles CA West - Drivers
1382743            Overtime     28.00   24.75 09/12/2016 Los Angeles CA West - Drivers
1382743            Regular      40.00   16.50 09/26/2016 Los Angeles CA West - Drivers
1382743            Overtime     19.00   24.75 09/26/2016 Los Angeles CA West - Drivers
1382743            Regular      29.00   16.50 10/03/2016 Los Angeles CA West - Drivers
1382743            Overtime     10.00   24.75 10/03/2016 Los Angeles CA West - Drivers
1382743            Regular      40.00   16.50 10/10/2016 Los Angeles CA West - Drivers
1382743            Overtime     16.50   24.75 10/10/2016 Los Angeles CA West - Drivers
1382743            Regular      16.00   16.50 10/31/2016 Los Angeles CA West - Drivers
1382743            Overtime      5.50   24.75 10/31/2016 Los Angeles CA West - Drivers
1382743            Regular      14.50   16.50 11/21/2016 Los Angeles CA West - Drivers
1382743            Overtime      4.00   24.75 11/21/2016 Los Angeles CA West - Drivers
1382743            Regular       6.50   16.00 10/17/2016 Los Angeles CA West - Drivers
1382743            Regular       5.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1382743            Regular       8.00   16.00 11/14/2016 Los Angeles CA West - Drivers
Total for 1382743              656.50
2845982            Regular      24.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2845982            Overtime      4.00   31.50 08/26/2019 Los Angeles CA East - Drivers
Total for 2845982               28.00
1386128            Regular       8.00   19.00 08/22/2016 Los Angeles CA West - Drivers
1386128            Overtime      3.00   28.50 08/22/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 08/29/2016 Los Angeles CA West - Drivers
1386128            Overtime      8.50   28.50 08/29/2016 Los Angeles CA West - Drivers
1386128            Regular      32.00   19.00 09/05/2016 Los Angeles CA West - Drivers
1386128            Overtime      7.75   28.50 09/05/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 09/12/2016 Los Angeles CA West - Drivers
1386128            Overtime     10.75   28.50 09/12/2016 Los Angeles CA West - Drivers
1386128            Regular      24.00   19.00 09/19/2016 Los Angeles CA West - Drivers
1386128            Overtime      7.00   28.50 09/19/2016 Los Angeles CA West - Drivers
1386128            Regular      24.00   19.00 09/26/2016 Los Angeles CA West - Drivers
1386128            Overtime      7.00   28.50 09/26/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 10/03/2016 Los Angeles CA West - Drivers
1386128            Overtime      9.00   28.50 10/03/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 10/10/2016 Los Angeles CA West - Drivers
1386128            Overtime     10.50   28.50 10/10/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 10/17/2016 Los Angeles CA West - Drivers
1386128            Overtime     14.00   28.50 10/17/2016 Los Angeles CA West - Drivers
1386128            Regular      32.00   19.00 10/24/2016 Los Angeles CA West - Drivers
1386128            Overtime     12.75   28.50 10/24/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 10/31/2016 Los Angeles CA West - Drivers
1386128            Overtime     14.75   28.50 10/31/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 11/07/2016 Los Angeles CA West - Drivers
1386128            Overtime     11.00   28.50 11/07/2016 Los Angeles CA West - Drivers
1386128            Regular      40.00   19.00 11/14/2016 Los Angeles CA West - Drivers
1386128            Overtime     15.25   28.50 11/14/2016 Los Angeles CA West - Drivers
1386128            Regular      16.00   19.00 11/21/2016 Los Angeles CA West - Drivers
1386128            Overtime      6.00   28.50 11/21/2016 Los Angeles CA West - Drivers
Total for 1386128              593.25
2539930            Regular      16.00   19.00 03/04/2019 Sacramento CA - Drivers
2539930            Overtime      1.80   28.50 03/04/2019 Sacramento CA - Drivers
Total for 2539930               17.80
2223843            Regular      16.00   20.00 06/19/2017 Los Angeles CA West - Drivers
2223843            Overtime      8.50   30.00 06/19/2017 Los Angeles CA West - Drivers
2223843            Regular      24.00   20.00 06/26/2017 Los Angeles CA West - Drivers
2223843 Case   2:19-cv-08580-JFW-MAA
                     Overtime     10.25Document
                                          30.00 38-5   Filed Los
                                                 06/26/2017  03/22/21
                                                                 AngelesPage 192- Drivers
                                                                        CA West   of 691 Page ID
2223843              Regular      16.00   20.00 #:965
                                                 07/03/2017 Los Angeles CA West - Drivers
2223843             Overtime         2.75   30.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         32.00   20.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         9.25   30.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   20.00   07/17/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         8.50   30.00   07/17/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         32.00   20.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         5.75   30.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         23.50   20.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.75   30.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         32.00   20.00   08/07/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime        11.00   30.00   08/07/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         24.00   20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         3.75   30.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular          8.00   20.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         0.50   30.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular          8.00   19.50   03/13/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         0.50   29.25   03/13/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular          8.00   20.00   09/04/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.00   30.00   09/04/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         24.00   20.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.50   30.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular          8.00   20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.25   30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         24.00   39.17   05/14/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime         6.75   58.76   05/14/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime        14.25   58.76   05/21/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular        -40.00   39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime       -14.25   58.76   05/21/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular          4.50   39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         0.25   28.50   03/20/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         37.50   19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.25   28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         34.00   19.00   04/03/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         39.50   19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         4.50   28.50   04/10/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   04/17/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   04/24/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         0.50   28.50   04/24/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   05/01/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         2.75   28.50   05/01/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   05/08/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.00   28.50   05/08/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         32.00   19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.25   28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         0.25   28.50   05/22/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         32.00   19.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.00   28.50   05/29/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         40.00   19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2223843             Overtime         1.00   28.50   06/05/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular         24.00   19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2223843             Regular          8.00   21.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime         4.00   31.50   05/07/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular         16.00   22.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime         4.00   33.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular         72.00   22.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime        22.50   33.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2223843             Regular         16.00   22.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2223843             Overtime         3.75   33.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2223843 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         22.00 38-5   Filed Los
                                                06/11/2018  03/22/21
                                                                AngelesPage 193- Drivers
                                                                       CA West   of 691    Page ID
2223843            Overtime       8.50   33.00 #:966
                                                06/11/2018 Los Angeles CA West - Drivers
2223843            Regular       32.00   22.00 06/18/2018 Los Angeles CA West - Drivers
2223843            Overtime      10.00   33.00 06/18/2018 Los Angeles CA West - Drivers
2223843            Regular        8.00   19.50 09/04/2017 Los Angeles CA West - Drivers
2223843            Overtime       1.00   29.25 09/04/2017 Los Angeles CA West - Drivers
Total for 2223843             1,127.50
2375648            Regular        7.75   17.00 04/02/2018 Sacramento CA - Drivers
2375648            Regular       16.00   20.00 12/11/2017 Sacramento CA - Drivers
2375648            Overtime       1.00   30.00 12/11/2017 Sacramento CA - Drivers
2375648            Regular       32.00   20.00 12/18/2017 Sacramento CA - Drivers
2375648            Overtime       0.75   30.00 12/18/2017 Sacramento CA - Drivers
2375648            Regular        8.00   20.00 12/25/2017 Sacramento CA - Drivers
2375648            Overtime       1.00   30.00 12/25/2017 Sacramento CA - Drivers
2375648            Regular       32.00   19.75 10/02/2017 Sacramento CA - Drivers
2375648            Overtime       9.00   29.63 10/02/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 10/09/2017 Sacramento CA - Drivers
2375648            Overtime      25.00   29.63 10/09/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 10/16/2017 Sacramento CA - Drivers
2375648            Overtime      18.25   29.63 10/16/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 10/23/2017 Sacramento CA - Drivers
2375648            Overtime      16.00   29.63 10/23/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 10/30/2017 Sacramento CA - Drivers
2375648            Overtime      14.25   29.63 10/30/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 11/06/2017 Sacramento CA - Drivers
2375648            Overtime      12.25   29.63 11/06/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 11/13/2017 Sacramento CA - Drivers
2375648            Overtime       9.75   29.63 11/13/2017 Sacramento CA - Drivers
2375648            Regular       37.50   19.75 11/20/2017 Sacramento CA - Drivers
2375648            Overtime       8.00   29.63 11/20/2017 Sacramento CA - Drivers
2375648            Regular       40.00   19.75 11/27/2017 Sacramento CA - Drivers
2375648            Overtime      16.50   29.63 11/27/2017 Sacramento CA - Drivers
2375648            Regular       39.80   19.75 12/04/2017 Sacramento CA - Drivers
2375648            Overtime       7.75   29.63 12/04/2017 Sacramento CA - Drivers
Total for 2375648               592.55
2513332            Regular        8.00   22.00 05/27/2019 Sacramento CA - Drivers
2513332            Overtime       4.00   33.00 05/27/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 05/28/2018 Sacramento CA - Drivers
2513332            Overtime       1.00   31.50 05/28/2018 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 04/01/2019 Sacramento CA - Drivers
2513332            Overtime       4.00   31.50 04/01/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 04/08/2019 Sacramento CA - Drivers
2513332            Overtime       4.00   31.50 04/08/2019 Sacramento CA - Drivers
2513332            Regular       16.00   21.00 04/15/2019 Sacramento CA - Drivers
2513332            Overtime       5.25   31.50 04/15/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 04/22/2019 Sacramento CA - Drivers
2513332            Overtime       3.50   31.50 04/22/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 05/06/2019 Sacramento CA - Drivers
2513332            Overtime       3.00   31.50 05/06/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 05/20/2019 Sacramento CA - Drivers
2513332            Overtime       1.00   31.50 05/20/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 07/15/2019 Sacramento CA - Drivers
2513332            Overtime       4.00   31.50 07/15/2019 Sacramento CA - Drivers
2513332            Regular        5.50   21.00 07/22/2019 Sacramento CA - Drivers
2513332            Regular        8.00   21.00 07/29/2019 Sacramento CA - Drivers
2513332            Overtime       4.00   31.50 07/29/2019 Sacramento CA - Drivers
2513332            Regular        7.00   21.00 08/05/2019 Sacramento CA - Drivers
2513332            Regular       16.00   21.00 09/02/2019 Sacramento CA - Drivers
2513332            Overtime       1.00   31.50 09/02/2019 Sacramento CA - Drivers
2513332            Regular       10.00   20.50 05/28/2018 Sacramento CA - Drivers
2513332            Overtime       1.50   30.75 05/28/2018 Sacramento CA - Drivers
2513332            Regular       32.00   20.50 06/04/2018 Sacramento CA - Drivers
2513332            Overtime       8.10   30.75 06/04/2018 Sacramento CA - Drivers
2513332 Case 2:19-cv-08580-JFW-MAA
                   Regular      14.00Document
                                        21.21 38-5   Filed Sacramento
                                               07/29/2019  03/22/21 Page    194 of 691
                                                                      CA - Drivers       Page ID
2513332            Regular       8.00   20.00 #:967
                                               04/23/2018 Sacramento CA - Drivers
2513332            Overtime      3.50   30.00 04/23/2018 Sacramento CA - Drivers
2513332            Regular      40.00   20.00 04/30/2018 Sacramento CA - Drivers
2513332            Overtime     19.00   30.00 04/30/2018 Sacramento CA - Drivers
2513332            Regular      24.00   20.00 05/07/2018 Sacramento CA - Drivers
2513332            Overtime     11.50   30.00 05/07/2018 Sacramento CA - Drivers
2513332            Regular      40.00   20.00 05/14/2018 Sacramento CA - Drivers
2513332            Overtime     18.00   30.00 05/14/2018 Sacramento CA - Drivers
2513332            Regular      20.00   21.00 04/01/2019 Sacramento CA - Drivers
2513332            Overtime      8.00   31.50 04/01/2019 Sacramento CA - Drivers
2513332            Regular       8.00   21.00 04/08/2019 Sacramento CA - Drivers
2513332            Overtime      4.00   31.50 04/08/2019 Sacramento CA - Drivers
2513332            Regular       8.00   21.00 04/22/2019 Sacramento CA - Drivers
2513332            Regular      32.00   21.00 04/29/2019 Sacramento CA - Drivers
2513332            Overtime      8.75   31.50 04/29/2019 Sacramento CA - Drivers
2513332            Regular       8.00   21.00 05/06/2019 Sacramento CA - Drivers
2513332            Overtime      1.75   31.50 05/06/2019 Sacramento CA - Drivers
2513332            Regular      24.00   21.00 05/13/2019 Sacramento CA - Drivers
2513332            Overtime      7.00   31.50 05/13/2019 Sacramento CA - Drivers
2513332            Regular       8.00   21.00 05/20/2019 Sacramento CA - Drivers
2513332            Regular       8.00   22.00 03/25/2019 Sacramento CA - Drivers
2513332            Regular      16.00   22.00 04/22/2019 Sacramento CA - Drivers
2513332            Regular       4.00   22.00 07/29/2019 Sacramento CA - Drivers
2513332            Regular       8.00   22.00 09/02/2019 Sacramento CA - Drivers
Total for 2513332              554.35
2131508            Regular      16.00   22.00 08/20/2018 Los Angeles CA West - Drivers
2131508            Overtime      3.00   33.00 08/20/2018 Los Angeles CA West - Drivers
2131508            Regular      16.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2131508            Overtime      4.00   30.00 06/25/2018 Los Angeles CA West - Drivers
2131508            Regular       8.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2131508            Overtime      1.00   30.00 09/03/2018 Los Angeles CA West - Drivers
2131508            Regular      16.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2131508            Overtime      0.50   30.00 09/10/2018 Los Angeles CA West - Drivers
2131508            Regular      16.00   19.50 07/24/2017 Los Angeles CA West - Drivers
2131508            Overtime      8.00   29.25 07/24/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 07/31/2017 Los Angeles CA West - Drivers
2131508            Overtime     19.00   29.25 07/31/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 08/07/2017 Los Angeles CA West - Drivers
2131508            Overtime     19.50   29.25 08/07/2017 Los Angeles CA West - Drivers
2131508            Regular      28.00   19.50 08/14/2017 Los Angeles CA West - Drivers
2131508            Overtime      8.50   29.25 08/14/2017 Los Angeles CA West - Drivers
2131508            Regular      20.00   19.50 08/21/2017 Los Angeles CA West - Drivers
2131508            Overtime      6.00   29.25 08/21/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 08/28/2017 Los Angeles CA West - Drivers
2131508            Overtime     17.50   29.25 08/28/2017 Los Angeles CA West - Drivers
2131508            Regular      32.00   19.50 09/04/2017 Los Angeles CA West - Drivers
2131508            Overtime     14.00   29.25 09/04/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 09/11/2017 Los Angeles CA West - Drivers
2131508            Overtime     26.00   29.25 08/14/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 09/18/2017 Los Angeles CA West - Drivers
2131508            Overtime     16.75   29.25 09/18/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 09/25/2017 Los Angeles CA West - Drivers
2131508            Overtime     14.00   29.25 09/25/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 10/02/2017 Los Angeles CA West - Drivers
2131508            Overtime     19.00   29.25 10/02/2017 Los Angeles CA West - Drivers
2131508            Regular      32.00   19.50 10/09/2017 Los Angeles CA West - Drivers
2131508            Overtime     15.50   29.25 10/09/2017 Los Angeles CA West - Drivers
2131508            Regular      32.00   19.50 10/16/2017 Los Angeles CA West - Drivers
2131508            Overtime     15.50   29.25 10/16/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 10/23/2017 Los Angeles CA West - Drivers
2131508            Overtime     17.00   29.25 10/23/2017 Los Angeles CA West - Drivers
2131508            Regular      40.00   19.50 10/30/2017 Los Angeles CA West - Drivers
2131508 Case   2:19-cv-08580-JFW-MAA
                     Overtime     18.50Document
                                          29.25 38-5   Filed Los
                                                 10/30/2017  03/22/21
                                                                 AngelesPage 195- Drivers
                                                                        CA West   of 691 Page ID
2131508              Regular       9.50   19.00 #:968
                                                 07/03/2017 Los Angeles CA West - Drivers
2131508             Overtime        1.00    28.50   07/03/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    19.50   02/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    29.25   02/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    19.50   02/19/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        3.00    29.25   02/19/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    19.50   02/26/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       13.50    29.25   02/26/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        12.00    19.50   03/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        2.00    29.25   03/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    19.50   03/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    29.25   03/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    19.50   04/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        3.00    29.25   04/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    29.25   06/11/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    20.50   07/09/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       16.00    30.75   07/09/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    20.50   07/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        2.00    30.75   07/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    20.50   07/30/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    30.75   07/30/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    20.50   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        3.50    30.75   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         2.00    20.50   08/13/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    20.50   08/27/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    30.75   08/27/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        14.00    20.50   09/03/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        2.00    30.75   09/03/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        1.00    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       14.50    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       18.00    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        36.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       10.50    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       19.00    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       15.50    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       15.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        8.00    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       14.00    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        24.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       10.00    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        24.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       10.00    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    21.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        5.00    31.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       11.00    31.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    21.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        4.00    31.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        24.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        7.75    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         8.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
2131508 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.00Document
                                          58.76 38-5   Filed Los
                                                 06/25/2018  03/22/21
                                                                 AngelesPage 196- Drivers
                                                                        CA West   of 691 Page ID
2131508              Regular      14.00   39.17 #:969
                                                 08/06/2018 Los Angeles CA West - Drivers
2131508             Overtime         3.25   58.76   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular          8.00   21.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         2.50   31.50   07/16/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       10.50    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        24.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       12.00    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         2.25   30.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       16.00    30.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        24.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         7.00   30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    21.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       12.00    31.50   07/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    21.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       13.00    31.50   07/30/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular          8.00   21.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         1.25   31.50   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular         -8.00   21.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime        -1.25   31.50   08/06/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        21.50    18.50   12/12/2016   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    18.50   12/19/2016   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    19.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2131508             Overtime         2.00   28.50   07/10/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        24.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
2131508             Overtime         3.50   28.50   07/17/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         3.50   30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         4.00   30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         2.00   30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        30.25    21.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        57.50    21.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        37.00    21.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        58.00    21.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        45.00    21.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        47.50    21.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        21.00    21.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        12.50    21.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        12.00    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular          8.00   19.00   02/05/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular          8.00   19.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         3.50   28.50   03/12/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    19.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       13.50    28.50   03/19/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    19.00   03/26/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       12.00    28.50   03/26/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    19.00   04/02/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime       11.50    28.50   04/02/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    19.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         4.00   28.50   04/09/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        16.00    19.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2131508             Overtime         4.50   28.50   04/16/2018   Los   Angeles   CA   West   - Drivers
2131508             Regular        32.00    19.00   01/30/2017   Los   Angeles   CA   West   - Drivers
2131508             Overtime       13.00    28.50   01/30/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        37.00    19.00   02/06/2017   Los   Angeles   CA   West   - Drivers
2131508             Overtime       11.50    28.50   02/06/2017   Los   Angeles   CA   West   - Drivers
2131508             Regular        40.00    19.00   02/13/2017   Los   Angeles   CA   West   - Drivers
2131508             Overtime       12.50    28.50   02/13/2017   Los   Angeles   CA   West   - Drivers
2131508 Case 2:19-cv-08580-JFW-MAA
                   Regular       24.00Document
                                         19.00 38-5   Filed Los
                                                02/20/2017  03/22/21
                                                                AngelesPage 197- Drivers
                                                                       CA West   of 691    Page ID
2131508            Overtime       6.50   28.50 #:970
                                                02/20/2017 Los Angeles CA West - Drivers
2131508            Regular       24.00   19.00 02/27/2017 Los Angeles CA West - Drivers
2131508            Overtime       9.00   28.50 02/27/2017 Los Angeles CA West - Drivers
2131508            Regular       32.00   19.00 03/06/2017 Los Angeles CA West - Drivers
2131508            Overtime       8.50   28.50 03/06/2017 Los Angeles CA West - Drivers
2131508            Regular       24.00   19.00 03/13/2017 Los Angeles CA West - Drivers
2131508            Overtime       8.00   28.50 03/13/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 03/20/2017 Los Angeles CA West - Drivers
2131508            Overtime      26.00   28.50 03/20/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 03/27/2017 Los Angeles CA West - Drivers
2131508            Overtime      24.00   28.50 03/27/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 04/03/2017 Los Angeles CA West - Drivers
2131508            Overtime      26.00   28.50 04/03/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
2131508            Overtime      23.50   28.50 04/10/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 04/17/2017 Los Angeles CA West - Drivers
2131508            Overtime      14.15   28.50 04/17/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 04/24/2017 Los Angeles CA West - Drivers
2131508            Overtime      15.50   28.50 04/24/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   19.00 05/01/2017 Los Angeles CA West - Drivers
2131508            Overtime      23.50   28.50 05/01/2017 Los Angeles CA West - Drivers
2131508            Regular       32.00   19.00 05/08/2017 Los Angeles CA West - Drivers
2131508            Overtime      11.50   28.50 05/08/2017 Los Angeles CA West - Drivers
2131508            Regular        3.00   19.00 12/11/2017 Los Angeles CA West - Drivers
2131508            Regular       39.00   20.00 12/18/2017 Los Angeles CA West - Drivers
2131508            Overtime       8.00   30.00 12/18/2017 Los Angeles CA West - Drivers
2131508            Regular       40.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2131508            Overtime      16.50   30.00 12/25/2017 Los Angeles CA West - Drivers
2131508            Regular       32.00   20.00 01/01/2018 Los Angeles CA West - Drivers
2131508            Overtime       4.00   30.00 01/01/2018 Los Angeles CA West - Drivers
2131508            Regular       32.00   20.00 01/08/2018 Los Angeles CA West - Drivers
2131508            Overtime      10.50   30.00 01/08/2018 Los Angeles CA West - Drivers
2131508            Regular       40.00   20.00 01/15/2018 Los Angeles CA West - Drivers
2131508            Overtime      10.00   30.00 01/15/2018 Los Angeles CA West - Drivers
2131508            Regular       24.00   20.00 01/22/2018 Los Angeles CA West - Drivers
2131508            Overtime       4.00   30.00 01/22/2018 Los Angeles CA West - Drivers
2131508            Regular       24.00   20.00 01/29/2018 Los Angeles CA West - Drivers
2131508            Overtime       4.00   30.00 01/29/2018 Los Angeles CA West - Drivers
2131508            Regular       16.00   20.00 02/05/2018 Los Angeles CA West - Drivers
2131508            Overtime       5.00   30.00 02/05/2018 Los Angeles CA West - Drivers
2131508            Regular       16.00   21.50 05/07/2018 Los Angeles CA West - Drivers
2131508            Overtime       7.50   32.25 05/07/2018 Los Angeles CA West - Drivers
2131508            Regular       40.00   21.50 05/14/2018 Los Angeles CA West - Drivers
2131508            Overtime      15.50   32.25 05/14/2018 Los Angeles CA West - Drivers
Total for 2131508             3,889.90
2590477            Regular        8.00   17.00 08/27/2018 Los Angeles CA West - Drivers
Total for 2590477                 8.00
2697765            Regular        8.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2697765            Overtime       3.50   33.00 06/03/2019 Los Angeles CA West - Drivers
2697765            Regular       16.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2697765            Overtime       2.50   33.00 06/10/2019 Los Angeles CA West - Drivers
2697765            Regular       16.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2697765            Overtime       2.50   33.00 06/17/2019 Los Angeles CA West - Drivers
2697765            Regular        8.00   39.17 05/06/2019 Los Angeles CA West - Drivers
2697765            Overtime       1.50   58.76 05/06/2019 Los Angeles CA West - Drivers
2697765            Regular       24.00   40.22 05/13/2019 Los Angeles CA West - Drivers
2697765            Overtime       4.75   60.33 05/13/2019 Los Angeles CA West - Drivers
2697765            Regular        2.00   22.00 05/20/2019 Los Angeles CA West - Drivers
2697765            Regular       24.00   40.22 05/27/2019 Los Angeles CA West - Drivers
2697765            Overtime       8.25   60.33 05/27/2019 Los Angeles CA West - Drivers
2697765            Regular        8.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2697765            Overtime       1.50   31.50 07/22/2019 Los Angeles CA West - Drivers
2697765 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        21.00 38-5   Filed Los
                                               07/29/2019  03/22/21
                                                               AngelesPage 198- Drivers
                                                                      CA West   of 691    Page ID
Total for 2697765              170.50         #:971
2189078            Regular       8.00   19.00 01/30/2017 Los Angeles CA West - Drivers
2189078            Overtime      2.00   28.50 01/30/2017 Los Angeles CA West - Drivers
2189078            Regular      29.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2189078            Overtime      7.50   30.00 10/01/2018 Los Angeles CA West - Drivers
2189078            Regular      16.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2189078            Overtime      5.00   30.00 10/08/2018 Los Angeles CA West - Drivers
2189078            Regular      32.00   17.50 12/11/2017 Los Angeles CA West - Drivers
2189078            Overtime     12.00   26.25 12/11/2017 Los Angeles CA West - Drivers
2189078            Regular      37.50   17.50 12/18/2017 Los Angeles CA West - Drivers
2189078            Overtime     11.00   26.25 12/18/2017 Los Angeles CA West - Drivers
2189078            Regular      23.75   17.50 12/25/2017 Los Angeles CA West - Drivers
2189078            Overtime      3.50   26.25 12/25/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   17.50 01/01/2018 Los Angeles CA West - Drivers
2189078            Overtime      2.75   26.25 01/01/2018 Los Angeles CA West - Drivers
2189078            Regular       8.00   19.50 05/29/2017 Los Angeles CA West - Drivers
2189078            Overtime      2.00   29.25 05/29/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   19.50 10/02/2017 Los Angeles CA West - Drivers
2189078            Overtime      4.00   29.25 10/02/2017 Los Angeles CA West - Drivers
2189078            Regular      16.00   19.50 12/04/2017 Los Angeles CA West - Drivers
2189078            Overtime      7.00   29.25 12/04/2017 Los Angeles CA West - Drivers
2189078            Regular       4.00   20.50 10/08/2018 Los Angeles CA West - Drivers
2189078            Regular       8.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2189078            Overtime      1.00   30.75 12/17/2018 Los Angeles CA West - Drivers
2189078            Regular       8.00   16.00 02/06/2017 Los Angeles CA West - Drivers
2189078            Overtime      1.00   24.00 02/06/2017 Los Angeles CA West - Drivers
2189078            Regular      32.00   16.00 02/13/2017 Los Angeles CA West - Drivers
2189078            Overtime      3.00   24.00 02/13/2017 Los Angeles CA West - Drivers
2189078            Regular      32.00   16.00 02/20/2017 Los Angeles CA West - Drivers
2189078            Overtime      3.00   24.00 02/20/2017 Los Angeles CA West - Drivers
2189078            Regular      55.75   20.98 01/22/2018 Los Angeles CA West - Drivers
2189078            Regular       7.00   20.98 01/29/2018 Los Angeles CA West - Drivers
2189078            Regular      16.00   20.00 02/27/2017 Los Angeles CA West - Drivers
2189078            Overtime      7.50   30.00 02/27/2017 Los Angeles CA West - Drivers
2189078            Regular      32.00   20.00 03/06/2017 Los Angeles CA West - Drivers
2189078            Overtime     14.00   30.00 03/06/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   20.00 03/13/2017 Los Angeles CA West - Drivers
2189078            Regular      24.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2189078            Overtime      5.50   31.50 12/24/2018 Los Angeles CA West - Drivers
2189078            Regular      24.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2189078            Overtime      7.50   31.50 12/31/2018 Los Angeles CA West - Drivers
2189078            Regular       8.00   19.00 07/03/2017 Los Angeles CA West - Drivers
2189078            Overtime      2.50   28.50 07/03/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   21.00 10/01/2018 Los Angeles CA West - Drivers
2189078            Regular      15.50   19.00 10/30/2017 Los Angeles CA West - Drivers
2189078            Overtime      1.00   28.50 10/30/2017 Los Angeles CA West - Drivers
2189078            Regular      32.00   19.00 11/06/2017 Los Angeles CA West - Drivers
2189078            Overtime      3.50   28.50 11/06/2017 Los Angeles CA West - Drivers
2189078            Regular      16.00   19.00 03/13/2017 Los Angeles CA West - Drivers
2189078            Overtime      6.00   28.50 03/13/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   19.00 01/30/2017 Los Angeles CA West - Drivers
2189078            Overtime      1.00   28.50 01/30/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   19.00 02/06/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   18.00 10/02/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   18.00 03/13/2017 Los Angeles CA West - Drivers
2189078            Regular       6.50   16.00 02/20/2017 Los Angeles CA West - Drivers
2189078            Regular      32.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2189078            Overtime      7.75   28.50 06/19/2017 Los Angeles CA West - Drivers
2189078            Regular       8.00   19.00 06/26/2017 Los Angeles CA West - Drivers
2189078            Regular      40.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2189078            Overtime      5.50   31.50 11/05/2018 Los Angeles CA West - Drivers
2189078            Regular      32.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2189078 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.75Document
                                         31.50 38-5   Filed Los
                                                11/12/2018  03/22/21
                                                                AngelesPage 199- Drivers
                                                                       CA West   of 691    Page ID
2189078            Regular       16.00   21.00 #:972
                                                11/19/2018 Los Angeles CA West - Drivers
2189078            Overtime       5.00   31.50 11/19/2018 Los Angeles CA West - Drivers
2189078            Regular       40.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2189078            Overtime       9.50   31.50 11/26/2018 Los Angeles CA West - Drivers
2189078            Regular       40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2189078            Overtime       1.75   31.50 12/03/2018 Los Angeles CA West - Drivers
2189078            Regular       32.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2189078            Overtime       1.75   31.50 12/10/2018 Los Angeles CA West - Drivers
2189078            Regular       58.50   21.00 09/18/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 03/27/2017 Los Angeles CA West - Drivers
2189078            Overtime      19.00   28.50 03/27/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 07/10/2017 Los Angeles CA West - Drivers
2189078            Overtime      13.00   28.50 07/10/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 07/17/2017 Los Angeles CA West - Drivers
2189078            Overtime      15.50   28.50 07/17/2017 Los Angeles CA West - Drivers
2189078            Regular       23.50   19.00 07/24/2017 Los Angeles CA West - Drivers
2189078            Overtime       7.00   28.50 07/24/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 07/31/2017 Los Angeles CA West - Drivers
2189078            Overtime      22.00   28.50 07/31/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 08/07/2017 Los Angeles CA West - Drivers
2189078            Overtime      20.00   28.50 08/07/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 08/14/2017 Los Angeles CA West - Drivers
2189078            Overtime      30.00   28.50 08/14/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 08/21/2017 Los Angeles CA West - Drivers
2189078            Overtime      20.00   28.50 08/21/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 08/28/2017 Los Angeles CA West - Drivers
2189078            Overtime      11.00   28.50 08/21/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 09/04/2017 Los Angeles CA West - Drivers
2189078            Overtime      13.50   28.50 09/04/2017 Los Angeles CA West - Drivers
2189078            Regular        8.00   19.00 09/11/2017 Los Angeles CA West - Drivers
2189078            Overtime       0.50   28.50 09/11/2017 Los Angeles CA West - Drivers
2189078            Regular        8.00   19.00 10/30/2017 Los Angeles CA West - Drivers
2189078            Regular        2.00   19.00 11/27/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 04/03/2017 Los Angeles CA West - Drivers
2189078            Overtime      10.50   28.50 04/03/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
2189078            Overtime      12.50   28.50 04/10/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 04/17/2017 Los Angeles CA West - Drivers
2189078            Overtime      10.50   28.50 04/17/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 04/24/2017 Los Angeles CA West - Drivers
2189078            Overtime       7.50   28.50 04/24/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 05/01/2017 Los Angeles CA West - Drivers
2189078            Overtime      14.00   28.50 05/01/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 05/08/2017 Los Angeles CA West - Drivers
2189078            Overtime       8.50   28.50 05/08/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 05/15/2017 Los Angeles CA West - Drivers
2189078            Overtime      11.50   28.50 05/15/2017 Los Angeles CA West - Drivers
2189078            Regular       40.00   19.00 05/22/2017 Los Angeles CA West - Drivers
2189078            Overtime      13.50   28.50 05/22/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 05/29/2017 Los Angeles CA West - Drivers
2189078            Overtime      21.00   28.50 05/29/2017 Los Angeles CA West - Drivers
2189078            Regular       32.00   19.00 06/05/2017 Los Angeles CA West - Drivers
2189078            Overtime      12.50   28.50 06/05/2017 Los Angeles CA West - Drivers
2189078            Regular       16.00   19.00 06/12/2017 Los Angeles CA West - Drivers
2189078            Overtime       6.00   28.50 06/12/2017 Los Angeles CA West - Drivers
Total for 2189078             2,047.75
2197045            Regular       16.00   19.50 12/04/2017 Los Angeles CA East - Drivers
2197045            Overtime       1.00   29.25 12/04/2017 Los Angeles CA East - Drivers
2197045            Regular       15.00   19.50 03/05/2018 Los Angeles CA East - Drivers
2197045            Regular       17.50   19.50 03/12/2018 Los Angeles CA East - Drivers
2197045            Regular        8.00   19.00 11/06/2017 Los Angeles CA East - Drivers
2197045            Overtime       4.00   28.50 11/06/2017 Los Angeles CA East - Drivers
2197045 Case 2:19-cv-08580-JFW-MAA
                   Regular        9.75Document
                                         20.98 38-5   Filed Los
                                                11/06/2017  03/22/21
                                                                AngelesPage 200
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2197045            Regular      48.75    20.98 #:973
                                                11/13/2017 Los Angeles CA East - Drivers
2197045            Regular      22.00    20.98 11/20/2017 Los Angeles CA East - Drivers
2197045            Regular        9.25   20.98 11/27/2017 Los Angeles CA East - Drivers
2197045            Regular      28.00    21.85 01/29/2018 Los Angeles CA East - Drivers
2197045            Regular        8.00   21.00 01/22/2018 Los Angeles CA East - Drivers
2197045            Overtime       2.00   31.50 01/22/2018 Los Angeles CA East - Drivers
2197045            Regular      11.50    21.00 01/08/2018 Los Angeles CA East - Drivers
2197045            Overtime       1.50   28.50 01/08/2018 Los Angeles CA East - Drivers
2197045            Regular      32.00    21.00 01/15/2018 Los Angeles CA East - Drivers
2197045            Overtime       9.50   31.50 01/15/2018 Los Angeles CA East - Drivers
2197045            Regular        7.75   20.00 05/21/2018 Los Angeles CA East - Drivers
2197045            Regular        8.00   20.75 03/19/2018 Los Angeles CA East - Drivers
2197045            Overtime       1.50   31.13 03/19/2018 Los Angeles CA East - Drivers
2197045            Regular        8.00   20.00 09/04/2017 Los Angeles CA East - Drivers
2197045            Overtime       0.50   30.00 09/04/2017 Los Angeles CA East - Drivers
2197045            Regular        8.00   20.00 11/06/2017 Los Angeles CA East - Drivers
2197045            Overtime       1.00   30.00 11/06/2017 Los Angeles CA East - Drivers
2197045            Regular        8.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2197045            Overtime       1.00   30.00 11/27/2017 Los Angeles CA East - Drivers
2197045            Regular      40.00    20.00 10/09/2017 Los Angeles CA East - Drivers
2197045            Overtime     22.75    30.00 10/09/2017 Los Angeles CA East - Drivers
2197045            Regular       -8.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2197045            Overtime      -3.00   30.00 02/05/2018 Los Angeles CA East - Drivers
2197045            Regular      10.00    21.00 04/09/2018 Los Angeles CA East - Drivers
2197045            Regular      65.50    21.00 04/16/2018 Los Angeles CA East - Drivers
2197045            Regular      47.50    21.00 04/23/2018 Los Angeles CA East - Drivers
2197045            Regular      20.50    21.00 04/30/2018 Los Angeles CA East - Drivers
Total for 2197045              482.75
2241054            Regular      16.00    20.00 07/30/2018 Los Angeles CA West - Drivers
2241054            Overtime       6.50   30.00 07/30/2018 Los Angeles CA West - Drivers
2241054            Regular        8.00   19.50 04/23/2018 Los Angeles CA West - Drivers
2241054            Overtime       1.50   29.25 04/23/2018 Los Angeles CA West - Drivers
2241054            Regular      80.00    22.00 11/12/2018 Los Angeles CA West - Drivers
2241054            Overtime       3.00   33.00 11/12/2018 Los Angeles CA West - Drivers
2241054            Regular      16.00    22.00 11/26/2018 Los Angeles CA West - Drivers
2241054            Overtime       0.50   33.00 11/26/2018 Los Angeles CA West - Drivers
2241054            Regular      48.00    22.00 11/26/2018 Los Angeles CA West - Drivers
2241054            Overtime       2.50   33.00 11/26/2018 Los Angeles CA West - Drivers
2241054            Regular      15.00    20.92 11/06/2017 Los Angeles CA West - Drivers
2241054            Regular        8.00   17.00 07/30/2018 Los Angeles CA West - Drivers
2241054            Overtime       2.50   25.50 07/30/2018 Los Angeles CA West - Drivers
2241054            Regular        8.00   19.00 05/14/2018 Los Angeles CA West - Drivers
2241054            Regular      24.00    19.00 05/01/2017 Los Angeles CA West - Drivers
2241054            Overtime       4.00   28.50 05/01/2017 Los Angeles CA West - Drivers
2241054            Regular      16.00    19.00 07/24/2017 Los Angeles CA West - Drivers
2241054            Overtime       3.00   28.50 07/24/2017 Los Angeles CA West - Drivers
2241054            Regular      13.00    19.00 11/13/2017 Los Angeles CA West - Drivers
2241054            Overtime       2.00   28.50 11/13/2017 Los Angeles CA West - Drivers
2241054            Regular      16.00    20.00 09/17/2018 Los Angeles CA West - Drivers
2241054            Overtime       3.75   30.00 09/17/2018 Los Angeles CA West - Drivers
2241054            Regular      40.00    20.00 09/24/2018 Los Angeles CA West - Drivers
2241054            Overtime     20.50    30.00 09/24/2018 Los Angeles CA West - Drivers
2241054            Regular      32.00    20.00 10/01/2018 Los Angeles CA West - Drivers
2241054            Overtime     12.75    30.00 10/01/2018 Los Angeles CA West - Drivers
2241054            Regular      32.00    20.00 10/08/2018 Los Angeles CA West - Drivers
2241054            Overtime     12.75    30.00 10/08/2018 Los Angeles CA West - Drivers
2241054            Regular      16.00    20.75 04/24/2017 Los Angeles CA West - Drivers
2241054            Overtime       2.00   31.13 04/24/2017 Los Angeles CA West - Drivers
2241054            Regular      16.00    20.75 05/08/2017 Los Angeles CA West - Drivers
2241054            Overtime       8.00   31.13 05/08/2017 Los Angeles CA West - Drivers
2241054            Regular      17.20    20.75 12/04/2017 Los Angeles CA West - Drivers
2241054            Regular      32.00    20.75 12/11/2017 Los Angeles CA West - Drivers
2241054 Case 2:19-cv-08580-JFW-MAA
                   Overtime     15.50Document
                                        31.13 38-5   Filed Los
                                               12/11/2017  03/22/21
                                                               AngelesPage 201- Drivers
                                                                      CA West   of 691    Page ID
2241054            Regular        8.00  20.75 #:974
                                               12/18/2017 Los Angeles CA West - Drivers
2241054            Overtime       3.50  31.13 12/18/2017 Los Angeles CA West - Drivers
2241054            Regular        8.00  20.00 04/23/2018 Los Angeles CA West - Drivers
2241054            Regular        5.25  19.00 04/24/2017 Los Angeles CA West - Drivers
2241054            Regular      15.50   19.00 06/05/2017 Los Angeles CA West - Drivers
2241054            Overtime       0.50  28.50 06/05/2017 Los Angeles CA West - Drivers
2241054            Regular      34.75   19.00 06/12/2017 Los Angeles CA West - Drivers
2241054            Regular      24.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2241054            Overtime       3.00  28.50 06/19/2017 Los Angeles CA West - Drivers
2241054            Regular      24.00   19.00 06/26/2017 Los Angeles CA West - Drivers
2241054            Overtime       5.00  28.50 06/26/2017 Los Angeles CA West - Drivers
2241054            Regular      39.00   21.00 11/27/2017 Los Angeles CA West - Drivers
2241054            Regular      24.50   21.00 04/16/2018 Los Angeles CA West - Drivers
2241054            Regular      13.00   21.00 04/30/2018 Los Angeles CA West - Drivers
Total for 2241054              761.95
2567964            Regular      40.00   24.00 08/06/2018 Sacramento CA - Drivers
2567964            Overtime       1.25  36.00 08/06/2018 Sacramento CA - Drivers
2567964            Regular      32.00   24.00 08/13/2018 Sacramento CA - Drivers
2567964            Overtime       0.75  36.00 08/13/2018 Sacramento CA - Drivers
2567964            Regular      16.00   24.00 08/20/2018 Sacramento CA - Drivers
2567964            Regular      40.00   24.00 08/27/2018 Sacramento CA - Drivers
2567964            Regular      32.00   24.00 09/03/2018 Sacramento CA - Drivers
2567964            Regular      40.00   24.00 09/10/2018 Sacramento CA - Drivers
2567964            Regular      40.00   24.00 09/17/2018 Sacramento CA - Drivers
2567964            Regular      40.00   24.00 09/24/2018 Sacramento CA - Drivers
2567964            Regular      40.00   24.00 10/01/2018 Sacramento CA - Drivers
Total for 2567964              322.00
903725             Regular      37.50   19.00 08/03/2015 Los Angeles CA West - Drivers
903725             Regular      42.50   19.00 08/10/2015 Los Angeles CA West - Drivers
903725             Regular      36.00   19.00 08/17/2015 Los Angeles CA West - Drivers
903725             Regular      35.00   19.00 08/24/2015 Los Angeles CA West - Drivers
903725             Regular      40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
903725             Overtime       9.25  28.50 08/31/2015 Los Angeles CA West - Drivers
903725             Regular      23.25   19.00 08/31/2015 Los Angeles CA West - Drivers
903725             Overtime      -9.25  28.50 08/31/2015 Los Angeles CA West - Drivers
903725             Regular      28.25   19.00 09/14/2015 Los Angeles CA West - Drivers
903725             Regular      48.75   19.00 09/21/2015 Los Angeles CA West - Drivers
903725             Regular      18.25   19.00 09/28/2015 Los Angeles CA West - Drivers
903725             Regular      50.75   19.00 10/05/2015 Los Angeles CA West - Drivers
903725             Regular      38.50   19.00 10/12/2015 Los Angeles CA West - Drivers
903725             Regular      37.00   19.00 10/19/2015 Los Angeles CA West - Drivers
903725             Regular      46.75   19.00 10/26/2015 Los Angeles CA West - Drivers
903725             Regular      40.50   19.00 11/02/2015 Los Angeles CA West - Drivers
903725             Regular      37.00   19.00 11/09/2015 Los Angeles CA West - Drivers
903725             Regular      49.25   19.00 11/16/2015 Los Angeles CA West - Drivers
903725             Regular      21.00   19.00 11/23/2015 Los Angeles CA West - Drivers
903725             Regular      48.50   19.00 11/30/2015 Los Angeles CA West - Drivers
903725             Regular      32.25   19.00 12/07/2015 Los Angeles CA West - Drivers
903725             Regular      45.75   19.00 12/14/2015 Los Angeles CA West - Drivers
903725             Regular        7.00  19.00 12/21/2015 Los Angeles CA West - Drivers
903725             Regular      36.00   19.00 12/28/2015 Los Angeles CA West - Drivers
903725             Regular      59.75   19.00 01/04/2016 Los Angeles CA West - Drivers
903725             Regular      39.25   19.00 01/11/2016 Los Angeles CA West - Drivers
903725             Regular      38.50   19.00 01/18/2016 Los Angeles CA West - Drivers
903725             Regular      47.00   19.00 01/25/2016 Los Angeles CA West - Drivers
903725             Regular      41.00   19.00 02/01/2016 Los Angeles CA West - Drivers
903725             Regular      50.00   19.00 02/08/2016 Los Angeles CA West - Drivers
903725             Regular      39.50   19.00 02/15/2016 Los Angeles CA West - Drivers
903725             Regular      51.75   19.00 02/22/2016 Los Angeles CA West - Drivers
903725             Regular      39.25   19.00 02/29/2016 Los Angeles CA West - Drivers
903725             Regular      28.00   19.00 03/07/2016 Los Angeles CA West - Drivers
903725             Regular      40.00   19.00 03/14/2016 Los Angeles CA West - Drivers
903725   Case 2:19-cv-08580-JFW-MAA
                    Regular      38.50Document
                                         19.00 38-5   Filed Los
                                                03/21/2016  03/22/21
                                                                AngelesPage 202- Drivers
                                                                       CA West   of 691 Page ID
903725              Regular      39.00   19.00 #:975
                                                03/28/2016 Los Angeles CA West - Drivers
903725              Regular        47.75   19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        39.50   19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        49.50   19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        45.50   19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        41.75   19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        44.75   19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        48.00   19.00   05/16/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        30.75   19.00   05/23/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        37.75   19.00   05/30/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        49.50   19.00   06/06/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        28.25   19.00   06/13/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        39.00   19.00   06/20/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        47.50   19.00   06/27/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        30.00   19.00   07/04/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        50.50   19.00   07/11/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        47.00   19.00   07/18/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        45.50   19.00   07/25/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        48.25   19.00   08/01/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        47.00   19.00   08/08/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        41.75   19.00   08/15/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        40.75   19.00   08/22/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        46.25   19.00   08/29/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        27.75   19.00   09/05/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        59.00   19.00   09/12/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        35.75   19.00   09/19/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        42.00   19.00   09/26/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        50.00   19.00   10/03/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        26.50   19.00   10/10/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        50.00   19.00   10/17/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        50.00   19.00   10/24/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        38.00   19.00   10/31/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        30.25   19.00   11/07/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        48.50   19.00   11/14/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        38.00   19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        41.00   19.00   11/28/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        54.00   19.00   12/05/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        50.00   19.00   12/12/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        23.00   19.00   12/19/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        46.25   19.00   12/26/2016   Los   Angeles   CA   West   - Drivers
903725              Regular        37.00   19.00   01/02/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        37.50   19.00   01/09/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        38.75   19.00   01/16/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        48.50   19.00   01/23/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        48.75   19.00   01/30/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        39.50   19.00   02/06/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        40.50   19.00   02/13/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        38.50   19.00   02/20/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        27.25   19.00   02/27/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        21.75   19.00   03/06/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        34.25   19.00   03/13/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        33.75   19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        28.50   19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        35.25   19.00   04/03/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        36.00   19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        35.00   19.00   04/17/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        24.50   19.00   04/24/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        17.50   19.00   05/01/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        23.50   19.00   05/08/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        20.75   19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        35.00   19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
903725              Regular        24.75   19.00   05/29/2017   Los   Angeles   CA   West   - Drivers
903725 Case 2:19-cv-08580-JFW-MAA
                  Regular       28.00Document
                                        19.00 38-5   Filed Los
                                               06/05/2017  03/22/21
                                                               AngelesPage 203- Drivers
                                                                      CA West   of 691    Page ID
903725            Regular       29.25   19.00 #:976
                                               06/12/2017 Los Angeles CA West - Drivers
903725            Regular       28.75   19.00 06/19/2017 Los Angeles CA West - Drivers
903725            Regular       44.00   19.00 06/26/2017 Los Angeles CA West - Drivers
903725            Regular       29.00   19.00 07/03/2017 Los Angeles CA West - Drivers
903725            Regular       46.50   19.00 07/10/2017 Los Angeles CA West - Drivers
903725            Regular       18.00   19.00 07/17/2017 Los Angeles CA West - Drivers
903725            Regular       44.00   19.00 07/24/2017 Los Angeles CA West - Drivers
903725            Regular       48.25   19.00 07/31/2017 Los Angeles CA West - Drivers
903725            Regular       19.00   19.00 08/07/2017 Los Angeles CA West - Drivers
903725            Regular       28.25   19.50 08/21/2017 Los Angeles CA West - Drivers
903725            Regular       38.75   19.50 08/28/2017 Los Angeles CA West - Drivers
903725            Regular       26.50   19.50 09/04/2017 Los Angeles CA West - Drivers
903725            Regular       24.00   21.00 08/07/2017 Los Angeles CA West - Drivers
903725            Overtime       4.00   31.50 08/07/2017 Los Angeles CA West - Drivers
903725            Regular       31.75   21.00 08/14/2017 Los Angeles CA West - Drivers
903725            Overtime       8.25   31.50 08/14/2017 Los Angeles CA West - Drivers
Total for 903725             4,230.75
2578586           Regular       16.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2578586           Overtime       4.25   30.00 08/06/2018 Los Angeles CA West - Drivers
2578586           Regular       16.00   20.50 08/20/2018 Los Angeles CA West - Drivers
2578586           Overtime       6.00   30.75 08/20/2018 Los Angeles CA West - Drivers
2578586           Regular       40.00   20.50 08/27/2018 Los Angeles CA West - Drivers
2578586           Overtime      15.75   30.75 08/27/2018 Los Angeles CA West - Drivers
2578586           Regular       32.00   20.50 09/03/2018 Los Angeles CA West - Drivers
2578586           Overtime       9.75   30.75 09/03/2018 Los Angeles CA West - Drivers
2578586           Regular        8.00   20.00 08/13/2018 Los Angeles CA West - Drivers
2578586           Regular       49.00   21.00 08/26/2019 Los Angeles CA West - Drivers
Total for 2578586              196.75
1202814           Regular       32.00   20.00 10/05/2015 Los Angeles CA West - Drivers
1202814           Overtime       6.50   30.00 10/05/2015 Los Angeles CA West - Drivers
1202814           Regular       31.50   20.00 10/12/2015 Los Angeles CA West - Drivers
1202814           Overtime       7.00   30.00 10/12/2015 Los Angeles CA West - Drivers
1202814           Regular       24.00   20.00 10/19/2015 Los Angeles CA West - Drivers
1202814           Overtime       4.25   30.00 10/19/2015 Los Angeles CA West - Drivers
1202814           Regular       40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
1202814           Overtime       6.25   30.00 10/26/2015 Los Angeles CA West - Drivers
1202814           Regular       39.50   20.00 11/02/2015 Los Angeles CA West - Drivers
1202814           Overtime       6.25   30.00 11/02/2015 Los Angeles CA West - Drivers
1202814           Regular       40.00   20.00 11/09/2015 Los Angeles CA West - Drivers
1202814           Overtime       5.25   30.00 11/09/2015 Los Angeles CA West - Drivers
1202814           Regular       24.00   20.00 11/16/2015 Los Angeles CA West - Drivers
1202814           Overtime       4.00   30.00 11/16/2015 Los Angeles CA West - Drivers
1202814           Regular       24.00   20.00 11/23/2015 Los Angeles CA West - Drivers
1202814           Overtime       4.00   30.00 11/23/2015 Los Angeles CA West - Drivers
1202814           Regular       40.00   20.00 11/30/2015 Los Angeles CA West - Drivers
1202814           Overtime       8.25   30.00 11/30/2015 Los Angeles CA West - Drivers
1202814           Regular       32.00   20.00 12/07/2015 Los Angeles CA West - Drivers
1202814           Overtime       7.50   30.00 12/07/2015 Los Angeles CA West - Drivers
1202814           Regular       39.75   20.00 12/14/2015 Los Angeles CA West - Drivers
1202814           Overtime       8.50   30.00 12/14/2015 Los Angeles CA West - Drivers
1202814           Regular       16.00   20.00 12/21/2015 Los Angeles CA West - Drivers
1202814           Overtime       4.75   30.00 12/21/2015 Los Angeles CA West - Drivers
1202814           Regular       24.00   20.00 12/28/2015 Los Angeles CA West - Drivers
1202814           Overtime       2.25   30.00 12/28/2015 Los Angeles CA West - Drivers
1202814           Regular       40.00   20.00 01/04/2016 Los Angeles CA West - Drivers
1202814           Overtime      15.25   30.00 01/04/2016 Los Angeles CA West - Drivers
1202814           Regular       32.00   20.00 01/11/2016 Los Angeles CA West - Drivers
1202814           Overtime       5.00   30.00 01/11/2016 Los Angeles CA West - Drivers
1202814           Regular       38.75   20.00 01/18/2016 Los Angeles CA West - Drivers
1202814           Overtime       4.25   30.00 01/18/2016 Los Angeles CA West - Drivers
1202814           Regular       31.00   20.00 01/25/2016 Los Angeles CA West - Drivers
1202814           Overtime       3.50   30.00 01/25/2016 Los Angeles CA West - Drivers
1202814 Case 2:19-cv-08580-JFW-MAA
                   Regular      39.25Document
                                        20.00 38-5   Filed Los
                                               02/01/2016  03/22/21
                                                               AngelesPage 204- Drivers
                                                                      CA West   of 691    Page ID
1202814            Overtime      3.25   30.00 #:977
                                               02/01/2016 Los Angeles CA West - Drivers
1202814            Regular      23.50   20.00 02/08/2016 Los Angeles CA West - Drivers
1202814            Regular      29.50   20.00 02/15/2016 Los Angeles CA West - Drivers
1202814            Overtime      3.00   30.00 02/15/2016 Los Angeles CA West - Drivers
1202814            Regular      31.75   20.00 02/22/2016 Los Angeles CA West - Drivers
1202814            Overtime      2.75   30.00 02/22/2016 Los Angeles CA West - Drivers
1202814            Regular      23.00   20.00 02/29/2016 Los Angeles CA West - Drivers
1202814            Overtime      0.75   30.00 02/29/2016 Los Angeles CA West - Drivers
1202814            Regular      28.00   20.00 03/07/2016 Los Angeles CA West - Drivers
1202814            Regular      29.25   20.00 03/14/2016 Los Angeles CA West - Drivers
1202814            Overtime      2.25   30.00 03/14/2016 Los Angeles CA West - Drivers
Total for 1202814              867.50
2423386            Regular       8.00   19.00 11/20/2017 Los Angeles CA West - Drivers
2423386            Overtime      4.00   28.50 11/20/2017 Los Angeles CA West - Drivers
2423386            Regular      12.25   19.50 12/25/2017 Los Angeles CA West - Drivers
2423386            Regular       6.00   20.00 11/27/2017 Los Angeles CA West - Drivers
2423386            Regular       7.50   21.00 11/27/2017 Los Angeles CA West - Drivers
Total for 2423386               37.75
2224427            Regular      40.00   15.00 04/03/2017 Los Angeles CA East - Drivers
2224427            Overtime     11.00   22.50 04/03/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 04/10/2017 Los Angeles CA East - Drivers
2224427            Overtime     17.50   22.50 04/10/2017 Los Angeles CA East - Drivers
2224427            Regular      32.00   15.00 04/17/2017 Los Angeles CA East - Drivers
2224427            Overtime     12.50   22.50 04/17/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 04/24/2017 Los Angeles CA East - Drivers
2224427            Overtime     18.50   22.50 04/24/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 05/01/2017 Los Angeles CA East - Drivers
2224427            Overtime     18.25   22.50 05/01/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 05/08/2017 Los Angeles CA East - Drivers
2224427            Overtime     17.25   22.50 05/08/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 05/15/2017 Los Angeles CA East - Drivers
2224427            Overtime     16.50   22.50 05/15/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 05/22/2017 Los Angeles CA East - Drivers
2224427            Overtime     19.25   22.50 05/22/2017 Los Angeles CA East - Drivers
2224427            Regular      32.00   15.00 05/29/2017 Los Angeles CA East - Drivers
2224427            Overtime     14.50   22.50 05/29/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 06/05/2017 Los Angeles CA East - Drivers
2224427            Overtime     19.50   22.50 06/05/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 06/12/2017 Los Angeles CA East - Drivers
2224427            Overtime     19.75   22.50 06/12/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 06/19/2017 Los Angeles CA East - Drivers
2224427            Overtime     16.00   22.50 06/19/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 06/26/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 06/26/2017 Los Angeles CA East - Drivers
2224427            Regular      32.00   15.00 07/03/2017 Los Angeles CA East - Drivers
2224427            Overtime     12.00   22.50 07/03/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 07/10/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 07/10/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 07/17/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 07/17/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 07/24/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 07/24/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 07/31/2017 Los Angeles CA East - Drivers
2224427            Overtime     27.75   22.50 07/31/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 08/07/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 08/07/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 08/14/2017 Los Angeles CA East - Drivers
2224427            Overtime     19.00   22.50 08/14/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 08/21/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 08/21/2017 Los Angeles CA East - Drivers
2224427            Regular      40.00   15.00 08/28/2017 Los Angeles CA East - Drivers
2224427            Overtime     20.00   22.50 08/28/2017 Los Angeles CA East - Drivers
2224427 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          15.00 38-5   Filed Los
                                                 09/04/2017  03/22/21
                                                                 AngelesPage 205
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
2224427              Overtime     15.00   22.50 #:978
                                                 09/04/2017 Los Angeles CA East - Drivers
2224427             Regular        40.00    15.00   09/11/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   09/11/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   09/18/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.00    22.50   09/18/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   09/25/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.75    22.50   09/25/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   10/02/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.25    22.50   10/02/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   10/09/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.50    22.50   10/09/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   10/16/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.75    22.50   10/16/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   10/23/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.00    22.50   10/23/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        32.00    15.00   10/30/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime        5.25    22.50   10/30/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   11/06/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   11/06/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   11/13/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   11/13/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        32.00    15.00   11/20/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       15.50    22.50   11/20/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   11/27/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.25    22.50   11/27/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   12/04/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   12/04/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   12/11/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       16.50    22.50   12/11/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   12/18/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.75    22.50   12/18/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        32.00    15.00   12/25/2017   Los   Angeles   CA   East   - Drivers
2224427             Overtime       15.25    22.50   12/25/2017   Los   Angeles   CA   East   - Drivers
2224427             Regular        32.00    15.00   01/01/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       16.00    22.50   01/01/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   01/08/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   01/08/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        32.00    15.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       16.00    22.50   01/15/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   01/22/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.50    22.50   01/22/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   02/05/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.00    22.50   02/05/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.50    22.50   02/12/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        32.00    15.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       15.80    22.50   02/19/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   02/26/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.50    22.50   03/05/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   03/12/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       19.25    22.50   03/12/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   03/19/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.80    22.50   03/19/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   03/26/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       17.50    22.50   03/26/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   04/02/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       18.68    22.50   04/02/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2224427             Overtime       20.00    22.50   04/09/2018   Los   Angeles   CA   East   - Drivers
2224427             Regular        40.00    15.00   04/16/2018   Los   Angeles   CA   East   - Drivers
2224427 Case 2:19-cv-08580-JFW-MAA
                   Overtime      19.50Document
                                         22.50 38-5   Filed Los
                                                04/16/2018  03/22/21
                                                                AngelesPage 206
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2224427            Regular       40.00   15.00 #:979
                                                04/23/2018 Los Angeles CA East - Drivers
2224427            Overtime      19.98   22.50 04/23/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 04/30/2018 Los Angeles CA East - Drivers
2224427            Overtime      19.00   22.50 04/30/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 05/07/2018 Los Angeles CA East - Drivers
2224427            Overtime      18.13   22.50 05/07/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 05/14/2018 Los Angeles CA East - Drivers
2224427            Overtime      18.32   22.50 05/14/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 05/21/2018 Los Angeles CA East - Drivers
2224427            Overtime      17.57   22.50 05/21/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 05/28/2018 Los Angeles CA East - Drivers
2224427            Overtime      14.18   22.50 05/28/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 06/04/2018 Los Angeles CA East - Drivers
2224427            Overtime      18.90   22.50 06/04/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 06/11/2018 Los Angeles CA East - Drivers
2224427            Overtime      15.35   22.50 06/11/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 06/18/2018 Los Angeles CA East - Drivers
2224427            Overtime      18.27   22.50 06/18/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 06/25/2018 Los Angeles CA East - Drivers
2224427            Overtime      18.30   22.50 06/25/2018 Los Angeles CA East - Drivers
2224427            Regular       32.00   15.00 07/02/2018 Los Angeles CA East - Drivers
2224427            Overtime      16.00   22.50 07/02/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 07/09/2018 Los Angeles CA East - Drivers
2224427            Overtime      19.20   22.50 07/09/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 07/16/2018 Los Angeles CA East - Drivers
2224427            Overtime      17.25   22.50 07/16/2018 Los Angeles CA East - Drivers
2224427            Regular       32.00   15.00 07/23/2018 Los Angeles CA East - Drivers
2224427            Overtime      14.75   22.50 07/23/2018 Los Angeles CA East - Drivers
2224427            Regular       40.00   15.00 07/30/2018 Los Angeles CA East - Drivers
2224427            Overtime      28.00   22.50 07/30/2018 Los Angeles CA East - Drivers
Total for 2224427             3,921.23
2820860            Regular       24.00   28.00 08/12/2019 Los Angeles CA East - Drivers
2820860            Overtime      10.50   42.00 08/12/2019 Los Angeles CA East - Drivers
2820860            Regular       32.00   28.00 08/19/2019 Los Angeles CA East - Drivers
2820860            Overtime      14.00   42.00 08/19/2019 Los Angeles CA East - Drivers
2820860            Regular       40.00   28.00 08/26/2019 Los Angeles CA East - Drivers
2820860            Regular       31.50   25.00 09/02/2019 Los Angeles CA East - Drivers
2820860            Overtime       8.50   37.50 09/02/2019 Los Angeles CA East - Drivers
Total for 2820860               160.50
2661285            Regular       16.00   21.00 12/10/2018 Sacramento CA - Drivers
2661285            Overtime       1.50   31.50 12/10/2018 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 12/17/2018 Sacramento CA - Drivers
2661285            Overtime       5.25   31.50 12/17/2018 Sacramento CA - Drivers
2661285            Regular       24.00   21.00 12/24/2018 Sacramento CA - Drivers
2661285            Overtime       9.00   31.50 12/24/2018 Sacramento CA - Drivers
2661285            Regular       16.00   21.00 12/31/2018 Sacramento CA - Drivers
2661285            Overtime       3.50   31.50 12/31/2018 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 01/07/2019 Sacramento CA - Drivers
2661285            Overtime      15.00   31.50 01/07/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 01/14/2019 Sacramento CA - Drivers
2661285            Overtime      11.50   31.50 01/14/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 01/21/2019 Sacramento CA - Drivers
2661285            Overtime      18.50   31.50 01/21/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 01/28/2019 Sacramento CA - Drivers
2661285            Overtime      17.50   31.50 01/28/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 02/04/2019 Sacramento CA - Drivers
2661285            Overtime      14.50   31.50 02/04/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 02/11/2019 Sacramento CA - Drivers
2661285            Overtime      13.50   31.50 02/11/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 02/18/2019 Sacramento CA - Drivers
2661285            Overtime      17.00   31.50 02/18/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 02/25/2019 Sacramento CA - Drivers
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                   Overtime      15.00Document
                                         31.50 38-5   Filed Sacramento
                                                02/25/2019  03/22/21 Page    207 of 691
                                                                       CA - Drivers       Page ID
2661285            Regular       32.00   21.00 #:980
                                                03/04/2019 Sacramento CA - Drivers
2661285            Overtime      14.00   31.50 03/04/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 03/11/2019 Sacramento CA - Drivers
2661285            Overtime      12.00   31.50 03/11/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 03/18/2019 Sacramento CA - Drivers
2661285            Overtime      14.00   31.50 03/18/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 03/25/2019 Sacramento CA - Drivers
2661285            Overtime      16.50   31.50 03/25/2019 Sacramento CA - Drivers
2661285            Regular       16.00   21.00 04/01/2019 Sacramento CA - Drivers
2661285            Overtime       8.00   31.50 04/01/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 04/08/2019 Sacramento CA - Drivers
2661285            Overtime      20.00   31.50 04/08/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 04/15/2019 Sacramento CA - Drivers
2661285            Overtime      14.00   31.50 04/15/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 04/22/2019 Sacramento CA - Drivers
2661285            Overtime      15.50   31.50 04/22/2019 Sacramento CA - Drivers
2661285            Regular       32.00   21.00 04/29/2019 Sacramento CA - Drivers
2661285            Overtime      15.00   31.50 04/29/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
2661285            Overtime      16.00   31.50 05/06/2019 Sacramento CA - Drivers
2661285            Regular       24.00   21.00 05/13/2019 Sacramento CA - Drivers
2661285            Overtime       7.00   31.50 05/13/2019 Sacramento CA - Drivers
2661285            Regular       40.00   21.00 05/20/2019 Sacramento CA - Drivers
2661285            Overtime      11.50   31.50 05/20/2019 Sacramento CA - Drivers
2661285            Regular       24.00   21.00 05/27/2019 Sacramento CA - Drivers
2661285            Overtime      11.50   31.50 05/27/2019 Sacramento CA - Drivers
2661285            Regular       24.00   21.00 06/03/2019 Sacramento CA - Drivers
2661285            Overtime       9.50   31.50 06/03/2019 Sacramento CA - Drivers
2661285            Regular       40.00   22.00 06/10/2019 Sacramento CA - Drivers
2661285            Overtime      19.50   33.00 06/10/2019 Sacramento CA - Drivers
2661285            Regular       40.00   22.00 06/17/2019 Sacramento CA - Drivers
2661285            Overtime      19.50   33.00 06/17/2019 Sacramento CA - Drivers
2661285            Regular       24.00   22.00 07/01/2019 Sacramento CA - Drivers
2661285            Overtime      12.00   33.00 07/01/2019 Sacramento CA - Drivers
2661285            Regular       40.00   22.00 07/08/2019 Sacramento CA - Drivers
2661285            Overtime      18.50   33.00 07/08/2019 Sacramento CA - Drivers
2661285            Regular       32.00   22.00 07/15/2019 Sacramento CA - Drivers
2661285            Overtime      16.00   33.00 07/15/2019 Sacramento CA - Drivers
Total for 2661285             1,403.75
2173010            Regular       22.50   22.00 01/16/2017 Los Angeles CA East - Drivers
Total for 2173010                22.50
2185014            Regular       24.00   23.00 08/12/2019 Sacramento CA - Drivers
2185014            Overtime       9.50   34.50 08/12/2019 Sacramento CA - Drivers
Total for 2185014                33.50
2629810            Regular       24.00   17.60 01/14/2019 Los Angeles CA West - Drivers
2629810            Overtime       9.00   26.40 01/14/2019 Los Angeles CA West - Drivers
2629810            Regular       32.00   17.60 01/21/2019 Los Angeles CA West - Drivers
2629810            Overtime       8.50   26.40 01/21/2019 Los Angeles CA West - Drivers
2629810            Regular       32.00   17.60 01/28/2019 Los Angeles CA West - Drivers
2629810            Overtime      14.00   26.40 01/28/2019 Los Angeles CA West - Drivers
2629810            Regular       30.00   17.60 02/04/2019 Los Angeles CA West - Drivers
2629810            Overtime       2.50   26.40 02/04/2019 Los Angeles CA West - Drivers
2629810            Regular       40.00   17.60 02/11/2019 Los Angeles CA West - Drivers
2629810            Overtime       6.00   26.40 02/11/2019 Los Angeles CA West - Drivers
2629810            Regular       40.00   17.60 02/18/2019 Los Angeles CA West - Drivers
2629810            Overtime       8.00   26.40 02/18/2019 Los Angeles CA West - Drivers
2629810            Regular       40.00   17.60 02/25/2019 Los Angeles CA West - Drivers
2629810            Overtime       8.00   26.40 02/25/2019 Los Angeles CA West - Drivers
2629810            Regular       40.00   17.60 03/04/2019 Los Angeles CA West - Drivers
2629810            Overtime       7.50   26.40 03/04/2019 Los Angeles CA West - Drivers
2629810            Regular       40.00   17.60 03/11/2019 Los Angeles CA West - Drivers
2629810            Overtime       7.50   26.40 03/11/2019 Los Angeles CA West - Drivers
2629810 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          17.60 38-5   Filed Los
                                                 03/18/2019  03/22/21
                                                                 AngelesPage 208- Drivers
                                                                        CA West   of 691 Page ID
2629810              Overtime      8.00   26.40 #:981
                                                 03/18/2019 Los Angeles CA West - Drivers
2629810             Regular        40.00    17.60   03/25/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        8.00    26.40   03/25/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   04/01/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        6.00    26.40   04/01/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   04/08/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        5.00    26.40   04/08/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   04/15/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        7.00    26.40   04/15/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   04/22/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        7.00    26.40   04/22/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   04/29/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        7.00    26.40   04/29/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   05/06/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        8.00    26.40   05/06/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   05/13/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        8.00    26.40   05/13/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   05/20/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        7.50    26.40   05/20/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   05/27/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        6.50    26.40   05/27/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   06/03/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        8.00    26.40   06/03/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   06/10/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        6.50    26.40   06/10/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        30.00    17.60   06/17/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        4.50    26.40   06/17/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.60   06/24/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        2.50    26.40   06/24/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        20.00    17.60   07/01/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        2.50    26.40   07/01/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        32.00    17.50   07/08/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        7.25    26.25   07/08/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        3.25    26.25   07/15/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        38.08    17.50   07/22/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        1.33    26.25   07/22/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        30.67    17.50   07/29/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        2.00    26.25   07/29/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        38.00    17.50   08/05/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        3.75    26.25   08/05/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    17.50   08/12/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        7.50    26.25   08/12/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        39.00    17.50   08/19/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        5.50    26.25   08/19/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        38.25    17.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        4.00    26.25   08/26/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        29.00    17.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2629810             Overtime        3.50    26.25   09/02/2019   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    18.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2629810             Overtime        4.00    27.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    18.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2629810             Overtime        5.50    27.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    18.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2629810             Overtime       10.00    27.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    18.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2629810             Overtime       14.00    27.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    18.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2629810             Overtime       10.00    27.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2629810             Regular        40.00    18.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2629810             Overtime        8.00    27.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2629810             Regular        32.00    18.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2629810 Case 2:19-cv-08580-JFW-MAA
                   Overtime       6.00Document
                                         27.00 38-5   Filed Los
                                                12/24/2018  03/22/21
                                                                AngelesPage 209- Drivers
                                                                       CA West   of 691    Page ID
2629810            Regular       40.00   18.00 #:982
                                                12/31/2018 Los Angeles CA West - Drivers
2629810            Regular       40.00   18.00 01/07/2019 Los Angeles CA West - Drivers
2629810            Overtime       5.00   27.00 01/07/2019 Los Angeles CA West - Drivers
2629810            Regular       16.00   17.00 11/05/2018 Los Angeles CA West - Drivers
2629810            Overtime       5.50   25.50 11/05/2018 Los Angeles CA West - Drivers
2629810            Regular        8.00   17.00 11/05/2018 Los Angeles CA West - Drivers
Total for 2629810             1,908.08
2336089            Regular       39.50   19.75 07/17/2017 Sacramento CA - Drivers
2336089            Overtime       6.50   29.63 07/17/2017 Sacramento CA - Drivers
2336089            Regular       24.00   19.75 07/24/2017 Sacramento CA - Drivers
2336089            Overtime       5.75   29.63 07/24/2017 Sacramento CA - Drivers
2336089            Regular       39.50   19.75 07/31/2017 Sacramento CA - Drivers
2336089            Overtime       7.00   29.63 07/31/2017 Sacramento CA - Drivers
2336089            Regular       31.50   19.75 07/31/2017 Sacramento CA - Drivers
2336089            Overtime      15.25   29.63 07/31/2017 Sacramento CA - Drivers
2336089            Regular       40.00   19.75 08/21/2017 Sacramento CA - Drivers
2336089            Overtime      16.00   29.63 08/21/2017 Sacramento CA - Drivers
2336089            Regular       40.00   19.75 08/28/2017 Sacramento CA - Drivers
2336089            Overtime      16.50   29.63 08/28/2017 Sacramento CA - Drivers
2336089            Regular       24.00   19.75 09/04/2017 Sacramento CA - Drivers
2336089            Overtime      11.00   29.63 09/04/2017 Sacramento CA - Drivers
2336089            Regular       40.00   19.75 09/11/2017 Sacramento CA - Drivers
2336089            Overtime      11.25   29.63 09/11/2017 Sacramento CA - Drivers
2336089            Regular       24.00   19.75 09/18/2017 Sacramento CA - Drivers
2336089            Overtime      10.50   29.63 09/18/2017 Sacramento CA - Drivers
2336089            Regular       30.75   19.75 09/25/2017 Sacramento CA - Drivers
2336089            Overtime      10.00   29.63 09/25/2017 Sacramento CA - Drivers
2336089            Regular       32.00   19.75 10/02/2017 Sacramento CA - Drivers
2336089            Overtime       2.00   29.63 10/02/2017 Sacramento CA - Drivers
2336089            Regular       32.00   19.75 10/09/2017 Sacramento CA - Drivers
2336089            Overtime      12.00   29.63 10/09/2017 Sacramento CA - Drivers
2336089            Regular       16.00   19.75 10/16/2017 Sacramento CA - Drivers
2336089            Overtime       7.75   29.63 10/16/2017 Sacramento CA - Drivers
2336089            Regular       40.00   19.75 10/23/2017 Sacramento CA - Drivers
2336089            Overtime      16.75   29.63 10/23/2017 Sacramento CA - Drivers
2336089            Regular       32.00   19.75 10/30/2017 Sacramento CA - Drivers
2336089            Overtime      14.00   29.63 10/30/2017 Sacramento CA - Drivers
2336089            Regular       16.00   19.75 11/06/2017 Sacramento CA - Drivers
2336089            Overtime       7.50   29.63 11/06/2017 Sacramento CA - Drivers
Total for 2336089               671.00
915836             Regular       34.00   21.00 07/25/2016 Sacramento CA - Drivers
915836             Regular       24.25   21.00 08/01/2016 Sacramento CA - Drivers
915836             Regular       42.00   21.00 08/08/2016 Sacramento CA - Drivers
915836             Overtime       1.50   31.50 08/08/2016 Sacramento CA - Drivers
915836             Regular       24.75   21.00 08/15/2016 Sacramento CA - Drivers
915836             Regular       48.50   21.00 08/22/2016 Sacramento CA - Drivers
915836             Overtime       1.00   31.50 08/22/2016 Sacramento CA - Drivers
Total for 915836                176.00
2168147            Regular        7.00   20.00 01/09/2017 Sacramento CA - Drivers
2168147            Regular       26.50   20.00 01/16/2017 Sacramento CA - Drivers
2168147            Regular       15.00   19.50 01/23/2017 Sacramento CA - Drivers
2168147            Overtime       0.75   29.25 01/23/2017 Sacramento CA - Drivers
2168147            Regular       23.50   19.50 01/30/2017 Sacramento CA - Drivers
2168147            Overtime       1.50   29.25 01/30/2017 Sacramento CA - Drivers
2168147            Regular       16.00   19.50 02/06/2017 Sacramento CA - Drivers
2168147            Overtime       0.75   29.25 02/06/2017 Sacramento CA - Drivers
2168147            Regular       30.75   19.50 02/13/2017 Sacramento CA - Drivers
2168147            Overtime       2.50   29.25 02/13/2017 Sacramento CA - Drivers
2168147            Regular       14.00   19.50 02/20/2017 Sacramento CA - Drivers
2168147            Overtime       2.50   29.25 02/20/2017 Sacramento CA - Drivers
2168147            Regular       23.25   19.50 02/27/2017 Sacramento CA - Drivers
2168147            Overtime       1.50   29.25 02/27/2017 Sacramento CA - Drivers
2168147 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          19.50 38-5   Filed Sacramento
                                                 03/06/2017  03/22/21 Page    210 of 691 Page ID
                                                                        CA - Drivers
2168147              Overtime     12.25   29.25 #:983
                                                 03/06/2017 Sacramento CA - Drivers
2168147             Regular        24.00    19.50   03/13/2017   Sacramento   CA   - Drivers
2168147             Overtime        8.00    29.25   03/13/2017   Sacramento   CA   - Drivers
2168147             Regular         8.00    19.50   03/20/2017   Sacramento   CA   - Drivers
2168147             Overtime        1.00    29.25   03/20/2017   Sacramento   CA   - Drivers
2168147             Regular        20.50    19.50   03/27/2017   Sacramento   CA   - Drivers
2168147             Overtime        6.00    29.25   03/27/2017   Sacramento   CA   - Drivers
2168147             Regular        24.00    19.50   04/03/2017   Sacramento   CA   - Drivers
2168147             Overtime        6.25    29.25   04/03/2017   Sacramento   CA   - Drivers
2168147             Regular        24.00    19.50   04/10/2017   Sacramento   CA   - Drivers
2168147             Overtime        8.75    29.25   04/10/2017   Sacramento   CA   - Drivers
2168147             Regular        23.50    19.50   04/17/2017   Sacramento   CA   - Drivers
2168147             Overtime        3.00    29.25   04/17/2017   Sacramento   CA   - Drivers
2168147             Regular        31.75    19.50   04/24/2017   Sacramento   CA   - Drivers
2168147             Overtime        2.50    29.25   04/24/2017   Sacramento   CA   - Drivers
2168147             Regular        30.00    19.50   05/01/2017   Sacramento   CA   - Drivers
2168147             Overtime        2.25    29.25   05/01/2017   Sacramento   CA   - Drivers
2168147             Regular        32.00    19.50   05/08/2017   Sacramento   CA   - Drivers
2168147             Overtime        9.50    29.25   05/08/2017   Sacramento   CA   - Drivers
2168147             Regular        31.50    19.50   05/15/2017   Sacramento   CA   - Drivers
2168147             Overtime        2.75    29.25   05/15/2017   Sacramento   CA   - Drivers
2168147             Regular        24.00    19.50   05/22/2017   Sacramento   CA   - Drivers
2168147             Overtime        7.25    29.25   05/22/2017   Sacramento   CA   - Drivers
2168147             Regular         8.00    19.50   05/29/2017   Sacramento   CA   - Drivers
2168147             Overtime        0.25    29.25   05/29/2017   Sacramento   CA   - Drivers
2168147             Regular        29.75    19.50   06/05/2017   Sacramento   CA   - Drivers
2168147             Regular        31.75    19.50   06/12/2017   Sacramento   CA   - Drivers
2168147             Overtime        6.25    29.25   06/12/2017   Sacramento   CA   - Drivers
2168147             Regular        32.00    19.50   06/19/2017   Sacramento   CA   - Drivers
2168147             Overtime       12.50    29.25   06/19/2017   Sacramento   CA   - Drivers
2168147             Regular        39.25    19.50   06/26/2017   Sacramento   CA   - Drivers
2168147             Overtime       11.25    29.25   06/26/2017   Sacramento   CA   - Drivers
2168147             Regular        22.75    19.50   07/03/2017   Sacramento   CA   - Drivers
2168147             Overtime       11.00    29.25   07/03/2017   Sacramento   CA   - Drivers
2168147             Regular        32.00    19.50   07/10/2017   Sacramento   CA   - Drivers
2168147             Overtime       10.50    29.25   07/10/2017   Sacramento   CA   - Drivers
2168147             Regular        23.25    19.50   07/17/2017   Sacramento   CA   - Drivers
2168147             Overtime        2.50    29.25   07/17/2017   Sacramento   CA   - Drivers
2168147             Regular        23.50    19.50   07/24/2017   Sacramento   CA   - Drivers
2168147             Overtime        2.25    29.25   07/24/2017   Sacramento   CA   - Drivers
2168147             Regular        31.50    19.50   07/31/2017   Sacramento   CA   - Drivers
2168147             Overtime        7.00    29.25   07/31/2017   Sacramento   CA   - Drivers
2168147             Regular        29.00    19.50   08/07/2017   Sacramento   CA   - Drivers
2168147             Overtime        8.25    29.25   08/07/2017   Sacramento   CA   - Drivers
2168147             Regular        38.50    19.50   08/14/2017   Sacramento   CA   - Drivers
2168147             Overtime        4.00    29.25   08/14/2017   Sacramento   CA   - Drivers
2168147             Regular        36.25    19.50   08/21/2017   Sacramento   CA   - Drivers
2168147             Overtime        7.50    29.25   08/21/2017   Sacramento   CA   - Drivers
2168147             Regular        31.75    19.50   08/28/2017   Sacramento   CA   - Drivers
2168147             Overtime        8.00    29.25   08/28/2017   Sacramento   CA   - Drivers
2168147             Regular        23.25    19.50   09/04/2017   Sacramento   CA   - Drivers
2168147             Overtime       15.00    29.25   09/04/2017   Sacramento   CA   - Drivers
2168147             Regular        31.50    19.50   09/11/2017   Sacramento   CA   - Drivers
2168147             Overtime        6.00    29.25   09/11/2017   Sacramento   CA   - Drivers
2168147             Regular        31.25    19.50   09/18/2017   Sacramento   CA   - Drivers
2168147             Overtime        6.00    29.25   09/18/2017   Sacramento   CA   - Drivers
2168147             Regular        40.00    19.50   09/25/2017   Sacramento   CA   - Drivers
2168147             Overtime        6.00    29.25   09/25/2017   Sacramento   CA   - Drivers
2168147             Regular        31.50    19.50   10/02/2017   Sacramento   CA   - Drivers
2168147             Overtime        8.50    29.25   10/02/2017   Sacramento   CA   - Drivers
2168147             Regular         8.00    19.50   10/16/2017   Sacramento   CA   - Drivers
2168147             Overtime        4.00    29.25   10/16/2017   Sacramento   CA   - Drivers
2168147 Case 2:19-cv-08580-JFW-MAA
                   Regular       11.50Document
                                         21.00 38-5   Filed Sacramento
                                                01/09/2017  03/22/21 Page    211 of 691
                                                                       CA - Drivers       Page ID
2168147            Regular        9.75   21.00 #:984
                                                01/16/2017 Sacramento CA - Drivers
2168147            Regular       26.00   20.50 10/09/2017 Sacramento CA - Drivers
2168147            Overtime       9.50   30.75 10/09/2017 Sacramento CA - Drivers
2168147            Regular        8.00   20.50 10/16/2017 Sacramento CA - Drivers
2168147            Regular       24.00   20.50 10/23/2017 Sacramento CA - Drivers
2168147            Overtime       2.00   30.75 10/23/2017 Sacramento CA - Drivers
2168147            Regular       32.00   20.50 10/30/2017 Sacramento CA - Drivers
2168147            Overtime       7.25   30.75 10/30/2017 Sacramento CA - Drivers
2168147            Regular       36.50   20.50 11/06/2017 Sacramento CA - Drivers
2168147            Overtime      11.00   30.75 11/06/2017 Sacramento CA - Drivers
2168147            Regular       32.00   20.50 11/13/2017 Sacramento CA - Drivers
2168147            Overtime       6.30   30.75 11/13/2017 Sacramento CA - Drivers
2168147            Regular       24.00   20.50 11/20/2017 Sacramento CA - Drivers
2168147            Overtime      10.50   30.75 11/20/2017 Sacramento CA - Drivers
2168147            Regular       16.00   20.50 11/27/2017 Sacramento CA - Drivers
2168147            Regular        8.00   21.00 01/16/2017 Sacramento CA - Drivers
2168147            Regular        8.00   19.00 08/21/2017 Sacramento CA - Drivers
Total for 2168147             1,534.05
1367666            Regular       16.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1367666            Overtime       6.50   30.00 08/01/2016 Los Angeles CA West - Drivers
Total for 1367666                22.50
2489852            Regular       30.18   20.00 08/27/2018 Los Angeles CA East - Drivers
2489852            Overtime       2.00   30.00 08/27/2018 Los Angeles CA East - Drivers
2489852            Regular       23.50   20.00 09/03/2018 Los Angeles CA East - Drivers
2489852            Overtime       5.25   30.00 09/03/2018 Los Angeles CA East - Drivers
2489852            Regular       32.00   20.00 09/10/2018 Los Angeles CA East - Drivers
2489852            Overtime      10.00   30.00 09/10/2018 Los Angeles CA East - Drivers
2489852            Regular       22.00   20.00 09/17/2018 Los Angeles CA East - Drivers
2489852            Overtime       6.00   30.00 09/17/2018 Los Angeles CA East - Drivers
Total for 2489852               130.93
885119             Regular       24.00   18.00 10/26/2015 Los Angeles CA East - Drivers
885119             Regular       55.50   19.00 11/16/2015 Los Angeles CA East - Drivers
885119             Overtime      25.50   28.50 11/16/2015 Los Angeles CA East - Drivers
885119             Regular       12.50   19.00 11/23/2015 Los Angeles CA East - Drivers
885119             Overtime       4.00   28.50 11/23/2015 Los Angeles CA East - Drivers
885119             Regular       32.00   19.00 11/30/2015 Los Angeles CA East - Drivers
885119             Overtime      13.00   28.50 11/30/2015 Los Angeles CA East - Drivers
885119             Regular       40.00   19.00 12/21/2015 Los Angeles CA East - Drivers
885119             Overtime      12.25   28.50 12/21/2015 Los Angeles CA East - Drivers
885119             Regular        7.75   19.00 01/18/2016 Los Angeles CA East - Drivers
885119             Regular       40.00   19.00 01/25/2016 Los Angeles CA East - Drivers
885119             Overtime       4.00   28.50 01/25/2016 Los Angeles CA East - Drivers
885119             Regular       23.25   19.00 02/01/2016 Los Angeles CA East - Drivers
885119             Overtime       2.25   28.50 02/01/2016 Los Angeles CA East - Drivers
885119             Regular       40.00   19.00 02/08/2016 Los Angeles CA East - Drivers
885119             Overtime       5.25   28.50 02/08/2016 Los Angeles CA East - Drivers
885119             Regular       16.00   19.00 02/15/2016 Los Angeles CA East - Drivers
885119             Overtime       3.00   28.50 02/15/2016 Los Angeles CA East - Drivers
885119             Regular       16.00   16.00 09/21/2015 Los Angeles CA East - Drivers
885119             Overtime       8.00   24.00 09/21/2015 Los Angeles CA East - Drivers
885119             Regular       24.00   16.00 09/28/2015 Los Angeles CA East - Drivers
885119             Overtime      12.00   24.00 09/28/2015 Los Angeles CA East - Drivers
885119             Regular        6.50   16.00 10/05/2015 Los Angeles CA East - Drivers
885119             Regular        8.00   16.00 10/12/2015 Los Angeles CA East - Drivers
885119             Overtime       0.75   24.00 10/12/2015 Los Angeles CA East - Drivers
885119             Regular        8.00   16.00 10/19/2015 Los Angeles CA East - Drivers
885119             Overtime       4.00   24.00 10/19/2015 Los Angeles CA East - Drivers
885119             Regular        8.00   16.00 10/19/2015 Los Angeles CA East - Drivers
885119             Overtime       4.00   24.00 10/19/2015 Los Angeles CA East - Drivers
885119             Regular        8.00   16.00 11/23/2015 Los Angeles CA East - Drivers
885119             Overtime       4.00   24.00 11/23/2015 Los Angeles CA East - Drivers
885119             Regular        8.00   16.00 10/26/2015 Los Angeles CA East - Drivers
885119 Case 2:19-cv-08580-JFW-MAA
                  Overtime       0.25Document
                                        24.00 38-5   Filed Los
                                               10/26/2015  03/22/21
                                                               AngelesPage 212
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
Total for 885119               479.75         #:985
2631297           Regular       32.00   22.00 11/05/2018 Sacramento CA - Drivers
2631297           Overtime       9.75   33.00 11/05/2018 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 11/12/2018 Sacramento CA - Drivers
2631297           Overtime       3.50   33.00 11/12/2018 Sacramento CA - Drivers
2631297           Regular       24.00   22.00 11/19/2018 Sacramento CA - Drivers
2631297           Overtime       2.00   33.00 11/19/2018 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 11/26/2018 Sacramento CA - Drivers
2631297           Overtime       6.25   33.00 11/26/2018 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 12/03/2018 Sacramento CA - Drivers
2631297           Overtime       7.00   33.00 12/03/2018 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 12/10/2018 Sacramento CA - Drivers
2631297           Overtime       1.50   33.00 12/10/2018 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 12/17/2018 Sacramento CA - Drivers
2631297           Overtime       1.00   33.00 12/17/2018 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 12/24/2018 Sacramento CA - Drivers
2631297           Overtime       0.75   33.00 12/24/2018 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 12/31/2018 Sacramento CA - Drivers
2631297           Overtime       8.50   33.00 12/31/2018 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 01/07/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 01/14/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 01/21/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 01/28/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 02/04/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 02/11/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 02/18/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 02/25/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 03/04/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 03/11/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 03/18/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 03/25/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 04/01/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 04/08/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 04/15/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 04/22/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 04/29/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 05/06/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 05/13/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 05/20/2019 Sacramento CA - Drivers
2631297           Regular       24.00   22.00 05/27/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 06/03/2019 Sacramento CA - Drivers
2631297           Regular       39.00   22.00 06/10/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 06/17/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 06/24/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 07/01/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 07/08/2019 Sacramento CA - Drivers
2631297           Regular       39.00   22.00 07/15/2019 Sacramento CA - Drivers
2631297           Regular       40.50   22.00 07/22/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 07/29/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 08/05/2019 Sacramento CA - Drivers
2631297           Overtime       2.00   33.00 08/05/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 08/12/2019 Sacramento CA - Drivers
2631297           Regular       32.00   22.00 08/19/2019 Sacramento CA - Drivers
2631297           Regular       40.00   22.00 08/26/2019 Sacramento CA - Drivers
2631297           Regular       24.00   22.00 09/02/2019 Sacramento CA - Drivers
2631297           Overtime       4.00   33.00 08/26/2019 Sacramento CA - Drivers
Total for 2631297            1,676.75
2658761           Regular       24.00   22.00 12/03/2018 Sacramento CA - Drivers
2658761           Overtime       4.00   33.00 12/03/2018 Sacramento CA - Drivers
2658761           Regular       40.00   22.00 12/10/2018 Sacramento CA - Drivers
2658761           Overtime       4.25   33.00 12/10/2018 Sacramento CA - Drivers
2658761           Regular       40.00   22.00 12/17/2018 Sacramento CA - Drivers
2658761 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.25Document
                                        33.00 38-5   Filed Sacramento
                                               12/17/2018  03/22/21 Page    213 of 691
                                                                      CA - Drivers       Page ID
2658761            Regular      24.00   22.00 #:986
                                               12/24/2018 Sacramento CA - Drivers
2658761            Overtime      0.50   33.00 12/24/2018 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 12/31/2018 Sacramento CA - Drivers
2658761            Overtime      8.00   33.00 12/31/2018 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 01/07/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 01/14/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 01/21/2019 Sacramento CA - Drivers
2658761            Overtime      0.50   33.00 01/21/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 01/28/2019 Sacramento CA - Drivers
2658761            Overtime      4.00   33.00 01/28/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 02/04/2019 Sacramento CA - Drivers
2658761            Overtime      1.00   33.00 02/04/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 02/11/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 02/18/2019 Sacramento CA - Drivers
2658761            Overtime      1.50   33.00 02/18/2019 Sacramento CA - Drivers
2658761            Regular      36.00   22.00 02/25/2019 Sacramento CA - Drivers
2658761            Overtime      0.50   33.00 02/25/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 03/04/2019 Sacramento CA - Drivers
2658761            Overtime      0.50   33.00 03/04/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 03/11/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 03/18/2019 Sacramento CA - Drivers
2658761            Overtime      8.00   33.00 03/18/2019 Sacramento CA - Drivers
2658761            Regular      36.00   22.00 03/25/2019 Sacramento CA - Drivers
2658761            Overtime      0.50   33.00 03/25/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 04/01/2019 Sacramento CA - Drivers
2658761            Regular      40.00   22.00 04/08/2019 Sacramento CA - Drivers
2658761            Overtime      1.00   33.00 04/08/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 04/15/2019 Sacramento CA - Drivers
2658761            Overtime      0.50   33.00 04/15/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 04/22/2019 Sacramento CA - Drivers
2658761            Overtime      1.00   33.00 04/22/2019 Sacramento CA - Drivers
2658761            Regular      32.00   22.00 04/29/2019 Sacramento CA - Drivers
2658761            Overtime      0.75   33.00 04/29/2019 Sacramento CA - Drivers
Total for 2658761              815.75
2690510            Regular       8.00   22.00 08/12/2019 Los Angeles CA West - Drivers
2690510            Overtime      1.75   33.00 08/12/2019 Los Angeles CA West - Drivers
2690510            Regular      23.50   23.00 03/04/2019 Los Angeles CA West - Drivers
2690510            Overtime      4.00   34.50 03/04/2019 Los Angeles CA West - Drivers
2690510            Regular      16.00   23.00 03/11/2019 Los Angeles CA West - Drivers
2690510            Overtime      0.75   34.50 03/11/2019 Los Angeles CA West - Drivers
2690510            Regular      16.00   23.00 03/18/2019 Los Angeles CA West - Drivers
2690510            Overtime      1.75   34.50 03/18/2019 Los Angeles CA West - Drivers
2690510            Regular      23.75   23.00 03/25/2019 Los Angeles CA West - Drivers
2690510            Overtime      3.50   34.50 03/25/2019 Los Angeles CA West - Drivers
2690510            Regular      15.25   23.00 04/01/2019 Los Angeles CA West - Drivers
2690510            Overtime      0.50   34.50 04/01/2019 Los Angeles CA West - Drivers
2690510            Regular      30.50   23.00 04/08/2019 Los Angeles CA West - Drivers
2690510            Overtime     10.00   34.50 04/08/2019 Los Angeles CA West - Drivers
2690510            Regular      16.00   23.00 04/15/2019 Los Angeles CA West - Drivers
2690510            Overtime      7.00   34.50 04/15/2019 Los Angeles CA West - Drivers
2690510            Regular      32.00   23.00 04/22/2019 Los Angeles CA West - Drivers
2690510            Overtime      6.25   34.50 04/22/2019 Los Angeles CA West - Drivers
2690510            Regular      37.75   23.00 04/29/2019 Los Angeles CA West - Drivers
2690510            Overtime      7.25   34.50 04/29/2019 Los Angeles CA West - Drivers
2690510            Regular      16.00   23.00 05/06/2019 Los Angeles CA West - Drivers
2690510            Overtime      2.25   34.50 05/06/2019 Los Angeles CA West - Drivers
2690510            Regular       8.00   23.00 05/13/2019 Los Angeles CA West - Drivers
2690510            Overtime      0.75   34.50 05/13/2019 Los Angeles CA West - Drivers
2690510            Regular       8.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2690510            Overtime      1.00   31.50 02/25/2019 Los Angeles CA West - Drivers
2690510            Regular      16.00   20.50 01/28/2019 Los Angeles CA West - Drivers
2690510            Overtime      8.00   30.75 01/28/2019 Los Angeles CA West - Drivers
2690510 Case   2:19-cv-08580-JFW-MAA
                     Regular       8.00Document
                                          20.50 38-5   Filed Los
                                                 02/04/2019  03/22/21
                                                                 AngelesPage 214- Drivers
                                                                        CA West   of 691 Page ID
2690510              Overtime      2.00   30.75 #:987
                                                 02/04/2019 Los Angeles CA West - Drivers
2690510             Regular        16.00    20.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        3.75    30.75   02/11/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        24.00    20.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        9.00    30.75   02/18/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    20.50   03/04/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        4.00    30.75   03/04/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    20.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         4.00    20.50   03/25/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    20.50   06/24/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        3.25    30.75   06/24/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    21.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        2.25    31.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    21.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        2.00    31.50   08/05/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    21.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        1.75    31.50   08/12/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    21.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        13.50    21.85   04/01/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        14.00    21.85   04/08/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        13.00    21.85   04/15/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        12.50    21.85   04/22/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        12.00    21.85   04/29/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        12.00    21.85   05/06/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        13.50    21.85   05/13/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.50   07/22/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        2.50    33.75   07/22/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.50   07/29/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.50   08/19/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    21.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        4.00    31.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    21.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        8.00    31.50   02/25/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        1.50    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        4.00    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        24.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        7.50    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        40.00    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        9.75    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        3.50    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        2.00    33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        2.50    33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        24.00    22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        4.00    33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        32.00    22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        7.50    33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        24.00    22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        6.50    33.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        24.00    22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        3.75    33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        32.00    22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        8.50    33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular        16.00    22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2690510             Overtime        4.50    33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2690510             Regular         8.00    22.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2690510 Case 2:19-cv-08580-JFW-MAA
                   Overtime       3.50Document
                                         33.00 38-5   Filed Los
                                                09/02/2019  03/22/21
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                                                                       CA West   of 691    Page ID
2690510            Regular        8.00   22.00 #:988
                                                04/22/2019 Los Angeles CA West - Drivers
2690510            Overtime       1.50   33.00 04/22/2019 Los Angeles CA West - Drivers
Total for 2690510             1,009.00
698457             Regular        8.00   19.00 08/24/2015 Los Angeles CA East - Drivers
698457             Overtime       2.25   28.50 08/24/2015 Los Angeles CA East - Drivers
698457             Regular        8.00   19.00 08/31/2015 Los Angeles CA East - Drivers
698457             Overtime       3.25   28.50 08/31/2015 Los Angeles CA East - Drivers
698457             Regular       24.00   17.00 09/07/2015 Los Angeles CA East - Drivers
698457             Overtime       3.75   25.50 09/07/2015 Los Angeles CA East - Drivers
698457             Regular       31.50   19.00 09/14/2015 Los Angeles CA East - Drivers
698457             Overtime       3.50   28.50 09/14/2015 Los Angeles CA East - Drivers
698457             Regular        7.50   19.00 09/21/2015 Los Angeles CA East - Drivers
698457             Regular       33.75   19.00 08/03/2015 Los Angeles CA East - Drivers
Total for 698457                125.50
2386965            Regular       24.00   19.25 09/25/2017 Los Angeles CA West - Drivers
2386965            Overtime      14.50   28.88 09/25/2017 Los Angeles CA West - Drivers
2386965            Regular       16.00   19.25 10/02/2017 Los Angeles CA West - Drivers
2386965            Overtime      10.50   28.88 10/02/2017 Los Angeles CA West - Drivers
2386965            Regular        8.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2386965            Regular       16.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2386965            Regular       24.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2386965            Regular       40.00   21.00 03/11/2019 Los Angeles CA West - Drivers
2386965            Regular       40.00   21.00 03/18/2019 Los Angeles CA West - Drivers
2386965            Regular        8.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2386965            Regular       16.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2386965            Overtime       3.50   30.00 09/03/2018 Los Angeles CA West - Drivers
2386965            Regular        8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2386965            Overtime       4.00   30.00 11/12/2018 Los Angeles CA West - Drivers
2386965            Regular        8.00   20.50 01/28/2019 Los Angeles CA West - Drivers
2386965            Overtime       4.00   30.75 01/28/2019 Los Angeles CA West - Drivers
2386965            Regular       16.00   20.50 02/11/2019 Los Angeles CA West - Drivers
2386965            Overtime       4.50   30.75 02/11/2019 Los Angeles CA West - Drivers
2386965            Regular        6.00   19.50 02/19/2018 Los Angeles CA West - Drivers
2386965            Regular       16.00   22.00 11/19/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 11/26/2018 Los Angeles CA West - Drivers
2386965            Overtime       9.50   33.00 11/26/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 12/03/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 12/10/2018 Los Angeles CA West - Drivers
2386965            Overtime       0.50   33.00 12/10/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2386965            Overtime       8.00   33.00 12/17/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 12/31/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 01/07/2019 Los Angeles CA West - Drivers
2386965            Overtime       8.00   33.00 01/07/2019 Los Angeles CA West - Drivers
2386965            Regular        8.00   22.00 01/14/2019 Los Angeles CA West - Drivers
2386965            Regular       16.00   22.00 09/17/2018 Los Angeles CA West - Drivers
2386965            Overtime       6.40   33.00 09/17/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 09/24/2018 Los Angeles CA West - Drivers
2386965            Overtime      10.92   33.00 09/24/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 10/01/2018 Los Angeles CA West - Drivers
2386965            Overtime      12.13   33.00 10/01/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 10/08/2018 Los Angeles CA West - Drivers
2386965            Overtime      16.32   33.00 10/08/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 10/15/2018 Los Angeles CA West - Drivers
2386965            Overtime      24.22   33.00 10/15/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 10/22/2018 Los Angeles CA West - Drivers
2386965            Overtime      12.73   33.00 10/22/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 10/29/2018 Los Angeles CA West - Drivers
2386965            Overtime      21.45   33.00 10/29/2018 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 11/05/2018 Los Angeles CA West - Drivers
2386965            Overtime      13.08   33.00 11/05/2018 Los Angeles CA West - Drivers
2386965            Regular       28.57   22.00 11/12/2018 Los Angeles CA West - Drivers
2386965 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.01Document
                                         33.00 38-5   Filed Los
                                                11/12/2018  03/22/21
                                                                AngelesPage 216- Drivers
                                                                       CA West   of 691    Page ID
2386965            Regular        9.00   21.85 #:989
                                                10/09/2017 Los Angeles CA West - Drivers
2386965            Regular       60.00   21.85 10/09/2017 Los Angeles CA West - Drivers
2386965            Regular       29.75   21.85 10/23/2017 Los Angeles CA West - Drivers
2386965            Regular       49.00   21.85 12/25/2017 Los Angeles CA West - Drivers
2386965            Regular       31.25   21.85 02/05/2018 Los Angeles CA West - Drivers
2386965            Regular        8.00   21.85 02/12/2018 Los Angeles CA West - Drivers
2386965            Regular       28.50   21.85 02/19/2018 Los Angeles CA West - Drivers
2386965            Regular       54.00   21.85 02/26/2018 Los Angeles CA West - Drivers
2386965            Regular        8.00   21.85 03/05/2018 Los Angeles CA West - Drivers
2386965            Regular       46.75   21.85 03/12/2018 Los Angeles CA West - Drivers
2386965            Regular       44.50   21.85 03/19/2018 Los Angeles CA West - Drivers
2386965            Regular       33.00   21.85 03/26/2018 Los Angeles CA West - Drivers
2386965            Regular       46.00   21.85 04/02/2018 Los Angeles CA West - Drivers
2386965            Regular       51.00   21.85 04/09/2018 Los Angeles CA West - Drivers
2386965            Regular       41.25   21.85 04/16/2018 Los Angeles CA West - Drivers
2386965            Regular       47.50   21.85 04/23/2018 Los Angeles CA West - Drivers
2386965            Regular       45.75   21.85 04/30/2018 Los Angeles CA West - Drivers
2386965            Regular       30.75   21.85 05/07/2018 Los Angeles CA West - Drivers
2386965            Regular       46.50   21.85 05/14/2018 Los Angeles CA West - Drivers
2386965            Regular       40.75   21.85 05/21/2018 Los Angeles CA West - Drivers
2386965            Regular       41.30   21.85 05/28/2018 Los Angeles CA West - Drivers
2386965            Regular       42.25   21.85 06/04/2018 Los Angeles CA West - Drivers
2386965            Regular       53.75   21.85 06/11/2018 Los Angeles CA West - Drivers
2386965            Regular       49.00   21.85 06/18/2018 Los Angeles CA West - Drivers
2386965            Regular       51.00   21.85 06/25/2018 Los Angeles CA West - Drivers
2386965            Regular        9.00   21.85 07/02/2018 Los Angeles CA West - Drivers
2386965            Regular       49.25   21.85 07/23/2018 Los Angeles CA West - Drivers
2386965            Regular       37.75   21.85 07/30/2018 Los Angeles CA West - Drivers
2386965            Regular       45.50   21.85 08/06/2018 Los Angeles CA West - Drivers
2386965            Regular       49.00   21.85 08/13/2018 Los Angeles CA West - Drivers
2386965            Regular       48.25   21.85 08/20/2018 Los Angeles CA West - Drivers
2386965            Regular       47.25   21.85 08/27/2018 Los Angeles CA West - Drivers
2386965            Regular       16.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2386965            Overtime       1.00   31.50 02/25/2019 Los Angeles CA West - Drivers
2386965            Regular       60.00   21.00 10/30/2017 Los Angeles CA West - Drivers
2386965            Regular       39.75   21.00 10/30/2017 Los Angeles CA West - Drivers
2386965            Regular       43.50   21.00 11/13/2017 Los Angeles CA West - Drivers
2386965            Regular       20.50   21.00 11/20/2017 Los Angeles CA West - Drivers
2386965            Regular       67.50   21.00 11/27/2017 Los Angeles CA West - Drivers
2386965            Regular       67.50   21.00 12/04/2017 Los Angeles CA West - Drivers
2386965            Regular       67.50   21.00 12/11/2017 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2386965            Overtime       5.50   33.00 05/06/2019 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 05/13/2019 Los Angeles CA West - Drivers
2386965            Overtime       8.00   33.00 05/13/2019 Los Angeles CA West - Drivers
2386965            Regular       40.00   22.00 05/20/2019 Los Angeles CA West - Drivers
2386965            Overtime       6.50   33.00 05/20/2019 Los Angeles CA West - Drivers
2386965            Regular       16.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2386965            Overtime       5.50   33.00 05/27/2019 Los Angeles CA West - Drivers
Total for 2386965             2,826.13
2528551            Regular       12.00   19.50 05/21/2018 Los Angeles CA East - Drivers
2528551            Overtime       2.50   29.25 05/21/2018 Los Angeles CA East - Drivers
2528551            Regular       24.00   19.50 05/28/2018 Los Angeles CA East - Drivers
2528551            Overtime       5.00   29.25 05/28/2018 Los Angeles CA East - Drivers
Total for 2528551                43.50
2836286            Regular       16.00   18.00 09/02/2019 Los Angeles CA West - Drivers
2836286            Overtime       4.17   27.00 09/02/2019 Los Angeles CA West - Drivers
2836286            Regular       16.00   18.50 09/02/2019 Los Angeles CA West - Drivers
2836286            Overtime       6.50   27.75 09/02/2019 Los Angeles CA West - Drivers
2836286            Regular       24.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2836286            Overtime       3.00   31.50 08/12/2019 Los Angeles CA West - Drivers
2836286            Regular       38.08   21.00 08/19/2019 Los Angeles CA West - Drivers
2836286 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.55Document
                                         31.50 38-5   Filed Los
                                                08/19/2019  03/22/21
                                                                AngelesPage 217- Drivers
                                                                       CA West   of 691    Page ID
2836286            Regular        8.00   21.00 #:990
                                                08/26/2019 Los Angeles CA West - Drivers
2836286            Overtime       0.80   31.50 08/26/2019 Los Angeles CA West - Drivers
Total for 2836286              119.10
1173320            Regular        8.00   16.00 08/03/2015 Los Angeles CA East - Drivers
1173320            Regular       17.25   18.00 08/10/2015 Los Angeles CA East - Drivers
Total for 1173320                25.25
1279601            Regular       32.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1279601            Overtime       9.50   30.00 05/09/2016 Los Angeles CA West - Drivers
1279601            Regular       32.00   20.00 05/16/2016 Los Angeles CA West - Drivers
1279601            Overtime       5.75   30.00 05/16/2016 Los Angeles CA West - Drivers
1279601            Regular       31.50   20.00 05/23/2016 Los Angeles CA West - Drivers
1279601            Overtime       5.75   30.00 05/23/2016 Los Angeles CA West - Drivers
1279601            Regular       24.00   20.00 05/30/2016 Los Angeles CA West - Drivers
1279601            Overtime       5.75   30.00 05/30/2016 Los Angeles CA West - Drivers
1279601            Regular       32.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1279601            Overtime      10.25   30.00 06/06/2016 Los Angeles CA West - Drivers
1279601            Regular       15.75   20.00 06/13/2016 Los Angeles CA West - Drivers
1279601            Overtime       0.25   30.00 06/13/2016 Los Angeles CA West - Drivers
1279601            Regular        8.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1279601            Overtime       1.00   30.00 08/22/2016 Los Angeles CA West - Drivers
1279601            Regular       32.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1279601            Overtime       8.50   30.00 08/29/2016 Los Angeles CA West - Drivers
1279601            Regular       23.50   20.00 09/05/2016 Los Angeles CA West - Drivers
1279601            Overtime       3.00   30.00 09/05/2016 Los Angeles CA West - Drivers
1279601            Regular       31.50   20.00 09/12/2016 Los Angeles CA West - Drivers
1279601            Overtime       3.75   30.00 09/12/2016 Los Angeles CA West - Drivers
1279601            Regular       32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1279601            Overtime       5.50   30.00 09/19/2016 Los Angeles CA West - Drivers
1279601            Regular        8.00   20.00 09/26/2016 Los Angeles CA West - Drivers
1279601            Overtime       1.00   30.00 09/26/2016 Los Angeles CA West - Drivers
1279601            Regular       18.00   19.00 08/01/2016 Los Angeles CA West - Drivers
1279601            Overtime       2.25   28.50 08/01/2016 Los Angeles CA West - Drivers
1279601            Regular       32.00   21.00 08/08/2016 Los Angeles CA West - Drivers
1279601            Overtime      11.50   31.50 08/08/2016 Los Angeles CA West - Drivers
1279601            Regular       40.00   21.00 08/15/2016 Los Angeles CA West - Drivers
1279601            Overtime      12.75   31.50 08/15/2016 Los Angeles CA West - Drivers
1279601            Regular       16.00   21.00 08/22/2016 Los Angeles CA West - Drivers
1279601            Overtime       3.25   31.50 08/22/2016 Los Angeles CA West - Drivers
1279601            Regular        8.00   21.00 10/03/2016 Los Angeles CA West - Drivers
1279601            Overtime       2.75   31.50 10/03/2016 Los Angeles CA West - Drivers
1279601            Regular        6.50   19.00 11/14/2016 Los Angeles CA West - Drivers
1279601            Regular       17.50   19.00 11/21/2016 Los Angeles CA West - Drivers
Total for 1279601              532.75
1454238            Regular        8.00   21.00 11/21/2016 Sacramento CA - Drivers
1454238            Overtime       4.00   31.50 11/21/2016 Sacramento CA - Drivers
1454238            Regular        8.00   21.00 11/28/2016 Sacramento CA - Drivers
1454238            Overtime       3.00   31.50 11/28/2016 Sacramento CA - Drivers
Total for 1454238                23.00
917848             Regular       16.00   17.00 08/03/2015 Los Angeles CA West - Drivers
917848             Overtime       4.75   25.50 08/03/2015 Los Angeles CA West - Drivers
917848             Regular       28.50   19.00 08/03/2015 Los Angeles CA West - Drivers
917848             Regular       50.75   19.00 08/10/2015 Los Angeles CA West - Drivers
917848             Regular       47.50   19.00 08/17/2015 Los Angeles CA West - Drivers
917848             Regular       44.50   19.00 08/24/2015 Los Angeles CA West - Drivers
917848             Regular       40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
917848             Overtime      14.25   28.50 08/31/2015 Los Angeles CA West - Drivers
917848             Regular       49.25   19.00 08/31/2015 Los Angeles CA West - Drivers
917848             Overtime     -14.25   28.50 08/31/2015 Los Angeles CA West - Drivers
917848             Regular       51.50   19.00 09/14/2015 Los Angeles CA West - Drivers
917848             Regular       53.75   19.00 09/21/2015 Los Angeles CA West - Drivers
917848             Regular       54.25   19.00 09/28/2015 Los Angeles CA West - Drivers
917848             Regular       45.75   19.00 10/05/2015 Los Angeles CA West - Drivers
917848 Case 2:19-cv-08580-JFW-MAA
                  Regular       54.25Document
                                        19.00 38-5   Filed Los
                                               10/12/2015  03/22/21
                                                               AngelesPage 218- Drivers
                                                                      CA West   of 691    Page ID
917848            Regular       46.25   19.00 #:991
                                               10/19/2015 Los Angeles CA West - Drivers
917848            Regular       49.50   19.00 10/26/2015 Los Angeles CA West - Drivers
917848            Regular       37.00   19.00 11/02/2015 Los Angeles CA West - Drivers
917848            Regular       43.75   19.00 11/09/2015 Los Angeles CA West - Drivers
917848            Regular       32.00   19.00 11/16/2015 Los Angeles CA West - Drivers
917848            Regular       48.00   19.00 11/23/2015 Los Angeles CA West - Drivers
917848            Regular       43.25   19.00 11/30/2015 Los Angeles CA West - Drivers
917848            Regular       42.50   19.00 12/07/2015 Los Angeles CA West - Drivers
917848            Regular       32.00   19.00 12/14/2015 Los Angeles CA West - Drivers
917848            Regular       37.25   19.00 12/21/2015 Los Angeles CA West - Drivers
917848            Regular       35.75   19.00 12/28/2015 Los Angeles CA West - Drivers
917848            Regular       47.50   19.00 01/04/2016 Los Angeles CA West - Drivers
917848            Regular       44.75   19.00 01/11/2016 Los Angeles CA West - Drivers
917848            Regular       45.25   19.00 01/18/2016 Los Angeles CA West - Drivers
917848            Regular       41.00   19.00 01/25/2016 Los Angeles CA West - Drivers
917848            Regular       47.00   19.00 02/01/2016 Los Angeles CA West - Drivers
917848            Regular       17.25   19.00 02/08/2016 Los Angeles CA West - Drivers
Total for 917848             1,230.75
1187384           Regular       24.00   19.00 08/31/2015 Los Angeles CA West - Drivers
1187384           Overtime       4.75   28.50 08/31/2015 Los Angeles CA West - Drivers
1187384           Regular       23.75   19.00 09/07/2015 Los Angeles CA West - Drivers
1187384           Overtime       4.50   28.50 09/07/2015 Los Angeles CA West - Drivers
1187384           Regular       40.00   19.00 09/14/2015 Los Angeles CA West - Drivers
1187384           Overtime      16.25   28.50 09/14/2015 Los Angeles CA West - Drivers
1187384           Regular       32.00   19.00 09/21/2015 Los Angeles CA West - Drivers
1187384           Overtime      12.00   28.50 09/21/2015 Los Angeles CA West - Drivers
1187384           Regular       40.00   19.00 09/28/2015 Los Angeles CA West - Drivers
1187384           Overtime      16.75   28.50 09/28/2015 Los Angeles CA West - Drivers
1187384           Regular       16.00   19.00 10/05/2015 Los Angeles CA West - Drivers
1187384           Overtime       9.00   28.50 10/05/2015 Los Angeles CA West - Drivers
1187384           Regular       39.50   19.00 10/12/2015 Los Angeles CA West - Drivers
1187384           Overtime       7.25   28.50 10/12/2015 Los Angeles CA West - Drivers
1187384           Regular       16.00   19.00 10/19/2015 Los Angeles CA West - Drivers
1187384           Overtime       6.00   28.50 10/19/2015 Los Angeles CA West - Drivers
1187384           Regular       32.00   19.00 10/26/2015 Los Angeles CA West - Drivers
1187384           Overtime       9.75   28.50 10/26/2015 Los Angeles CA West - Drivers
1187384           Regular       32.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1187384           Overtime      18.50   28.50 11/02/2015 Los Angeles CA West - Drivers
1187384           Regular       24.00   19.00 11/09/2015 Los Angeles CA West - Drivers
1187384           Overtime       4.50   28.50 11/09/2015 Los Angeles CA West - Drivers
1187384           Regular       38.00   19.00 11/16/2015 Los Angeles CA West - Drivers
1187384           Overtime      14.25   28.50 11/16/2015 Los Angeles CA West - Drivers
1187384           Regular       16.00   19.00 11/23/2015 Los Angeles CA West - Drivers
1187384           Overtime       2.00   28.50 11/23/2015 Los Angeles CA West - Drivers
1187384           Regular       40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
1187384           Overtime      13.50   28.50 11/30/2015 Los Angeles CA West - Drivers
1187384           Regular       16.00   20.00 12/07/2015 Los Angeles CA West - Drivers
1187384           Overtime       4.25   30.00 12/07/2015 Los Angeles CA West - Drivers
1187384           Regular       24.00   20.00 12/14/2015 Los Angeles CA West - Drivers
1187384           Overtime      11.75   30.00 12/14/2015 Los Angeles CA West - Drivers
1187384           Regular       31.00   20.00 12/21/2015 Los Angeles CA West - Drivers
1187384           Overtime      12.25   30.00 12/21/2015 Los Angeles CA West - Drivers
1187384           Regular       24.00   20.00 12/28/2015 Los Angeles CA West - Drivers
1187384           Overtime       8.00   30.00 12/28/2015 Los Angeles CA West - Drivers
1187384           Regular       24.00   20.00 01/04/2016 Los Angeles CA West - Drivers
1187384           Overtime       5.75   30.00 01/04/2016 Los Angeles CA West - Drivers
1187384           Regular       15.50   20.00 01/11/2016 Los Angeles CA West - Drivers
1187384           Overtime       2.75   30.00 01/11/2016 Los Angeles CA West - Drivers
1187384           Regular       31.75   20.00 01/18/2016 Los Angeles CA West - Drivers
1187384           Overtime      10.75   30.00 01/18/2016 Los Angeles CA West - Drivers
1187384           Regular       24.00   20.00 01/25/2016 Los Angeles CA West - Drivers
1187384           Overtime       6.00   30.00 01/25/2016 Los Angeles CA West - Drivers
1187384 Case 2:19-cv-08580-JFW-MAA
                   Regular       24.00Document
                                         20.00 38-5   Filed Los
                                                02/01/2016  03/22/21
                                                                AngelesPage 219- Drivers
                                                                       CA West   of 691    Page ID
1187384            Overtime       9.50   30.00 #:992
                                                02/01/2016 Los Angeles CA West - Drivers
1187384            Regular       32.00   20.00 02/08/2016 Los Angeles CA West - Drivers
1187384            Overtime       7.75   30.00 02/08/2016 Los Angeles CA West - Drivers
1187384            Regular       24.00   20.00 02/15/2016 Los Angeles CA West - Drivers
1187384            Overtime       4.50   30.00 02/15/2016 Los Angeles CA West - Drivers
1187384            Regular       40.00   20.00 02/22/2016 Los Angeles CA West - Drivers
1187384            Overtime      16.00   30.00 02/22/2016 Los Angeles CA West - Drivers
1187384            Regular       32.00   20.00 02/29/2016 Los Angeles CA West - Drivers
1187384            Overtime      14.50   30.00 02/29/2016 Los Angeles CA West - Drivers
1187384            Regular       16.00   20.00 03/14/2016 Los Angeles CA West - Drivers
1187384            Overtime       3.75   30.00 03/14/2016 Los Angeles CA West - Drivers
1187384            Regular       32.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1187384            Overtime      10.25   30.00 04/11/2016 Los Angeles CA West - Drivers
1187384            Regular       21.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1187384            Overtime       3.00   30.00 04/18/2016 Los Angeles CA West - Drivers
1187384            Regular       24.00   20.00 04/25/2016 Los Angeles CA West - Drivers
1187384            Overtime       4.00   30.00 04/25/2016 Los Angeles CA West - Drivers
1187384            Regular       24.00   20.00 05/02/2016 Los Angeles CA West - Drivers
1187384            Overtime       4.75   30.00 05/02/2016 Los Angeles CA West - Drivers
1187384            Regular       16.00   21.00 02/15/2016 Los Angeles CA West - Drivers
1187384            Overtime       5.00   31.50 02/15/2016 Los Angeles CA West - Drivers
Total for 1187384             1,172.00
1341840            Regular        4.25   20.00 06/20/2016 Sacramento CA - Drivers
1341840            Regular       18.00   21.00 06/27/2016 Sacramento CA - Drivers
1341840            Regular       24.50   20.00 06/27/2016 Sacramento CA - Drivers
1341840            Regular       12.00   20.00 06/27/2016 Sacramento CA - Drivers
1341840            Overtime       3.50   30.00 07/04/2016 Sacramento CA - Drivers
Total for 1341840                62.25
1294152            Regular        2.00   20.00 03/14/2016 Sacramento CA - Drivers
1294152            Regular       13.50   21.00 03/14/2016 Sacramento CA - Drivers
Total for 1294152                15.50
2354687            Regular       16.00   24.00 08/21/2017 Sacramento CA - Drivers
Total for 2354687                16.00
901939             Regular       40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
901939             Overtime      11.50   25.50 08/03/2015 Los Angeles CA West - Drivers
901939             Regular       40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
901939             Overtime       6.25   25.50 08/10/2015 Los Angeles CA West - Drivers
901939             Regular       24.00   20.00 09/07/2015 Los Angeles CA West - Drivers
901939             Overtime       1.00   30.00 09/07/2015 Los Angeles CA West - Drivers
901939             Regular       24.00   20.00 09/14/2015 Los Angeles CA West - Drivers
901939             Overtime       0.75   30.00 09/14/2015 Los Angeles CA West - Drivers
901939             Regular       20.75   20.00 09/21/2015 Los Angeles CA West - Drivers
901939             Overtime       0.25   30.00 09/21/2015 Los Angeles CA West - Drivers
901939             Regular       18.00   20.00 09/28/2015 Los Angeles CA West - Drivers
901939             Regular       16.00   20.00 10/05/2015 Los Angeles CA West - Drivers
901939             Overtime       0.25   30.00 10/05/2015 Los Angeles CA West - Drivers
901939             Regular       34.25   20.00 10/19/2015 Los Angeles CA West - Drivers
901939             Regular       14.50   20.00 11/02/2015 Los Angeles CA West - Drivers
901939             Regular       14.00   20.00 11/09/2015 Los Angeles CA West - Drivers
901939             Regular       21.00   20.00 11/16/2015 Los Angeles CA West - Drivers
901939             Regular       32.00   19.00 11/23/2015 Los Angeles CA West - Drivers
901939             Overtime       4.50   28.50 11/23/2015 Los Angeles CA West - Drivers
901939             Regular       40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
901939             Overtime      11.50   28.50 11/30/2015 Los Angeles CA West - Drivers
901939             Regular       40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
901939             Overtime       8.00   28.50 12/07/2015 Los Angeles CA West - Drivers
901939             Regular       39.00   19.00 12/14/2015 Los Angeles CA West - Drivers
901939             Overtime       7.25   28.50 12/14/2015 Los Angeles CA West - Drivers
901939             Regular       36.25   19.00 12/21/2015 Los Angeles CA West - Drivers
901939             Overtime       7.00   28.50 12/21/2015 Los Angeles CA West - Drivers
901939             Regular       24.00   19.00 12/28/2015 Los Angeles CA West - Drivers
901939             Overtime       6.75   28.50 12/28/2015 Los Angeles CA West - Drivers
901939 Case 2:19-cv-08580-JFW-MAA
                  Regular       37.75Document
                                        19.00 38-5   Filed Los
                                               01/04/2016  03/22/21
                                                               AngelesPage 220- Drivers
                                                                      CA West   of 691    Page ID
901939            Overtime       5.75   28.50 #:993
                                               01/04/2016 Los Angeles CA West - Drivers
901939            Regular       40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
901939            Overtime       5.25   28.50 01/11/2016 Los Angeles CA West - Drivers
901939            Regular       40.00   19.00 01/18/2016 Los Angeles CA West - Drivers
901939            Overtime      10.50   28.50 01/04/2016 Los Angeles CA West - Drivers
901939            Regular       38.00   19.00 01/25/2016 Los Angeles CA West - Drivers
901939            Overtime       4.00   28.50 01/25/2016 Los Angeles CA West - Drivers
901939            Regular       39.25   19.00 02/01/2016 Los Angeles CA West - Drivers
901939            Overtime       6.00   28.50 02/01/2016 Los Angeles CA West - Drivers
901939            Regular       32.00   19.00 02/08/2016 Los Angeles CA West - Drivers
901939            Overtime       1.50   28.50 02/08/2016 Los Angeles CA West - Drivers
901939            Regular       32.00   19.00 02/15/2016 Los Angeles CA West - Drivers
901939            Overtime       3.25   28.50 02/15/2016 Los Angeles CA West - Drivers
901939            Regular       40.00   19.00 02/22/2016 Los Angeles CA West - Drivers
901939            Overtime       5.25   28.50 02/22/2016 Los Angeles CA West - Drivers
901939            Regular       40.00   19.00 02/29/2016 Los Angeles CA West - Drivers
901939            Overtime       4.50   28.50 02/29/2016 Los Angeles CA West - Drivers
901939            Regular       32.00   19.00 03/07/2016 Los Angeles CA West - Drivers
901939            Overtime       2.75   28.50 03/07/2016 Los Angeles CA West - Drivers
901939            Regular       32.00   19.00 03/14/2016 Los Angeles CA West - Drivers
901939            Overtime       3.25   28.50 03/14/2016 Los Angeles CA West - Drivers
901939            Regular       31.75   19.00 03/21/2016 Los Angeles CA West - Drivers
901939            Overtime       1.25   28.50 03/21/2016 Los Angeles CA West - Drivers
901939            Regular       22.75   19.00 03/28/2016 Los Angeles CA West - Drivers
901939            Overtime       0.75   28.50 03/28/2016 Los Angeles CA West - Drivers
901939            Regular       32.00   19.00 04/04/2016 Los Angeles CA West - Drivers
901939            Overtime       1.50   28.50 04/04/2016 Los Angeles CA West - Drivers
901939            Regular       40.00   19.00 04/11/2016 Los Angeles CA West - Drivers
901939            Overtime       5.25   28.50 04/11/2016 Los Angeles CA West - Drivers
901939            Regular       24.00   19.00 04/18/2016 Los Angeles CA West - Drivers
901939            Overtime       3.50   28.50 04/18/2016 Los Angeles CA West - Drivers
901939            Regular       24.00   19.00 04/25/2016 Los Angeles CA West - Drivers
901939            Overtime       4.75   28.50 04/25/2016 Los Angeles CA West - Drivers
901939            Regular       23.25   19.00 05/02/2016 Los Angeles CA West - Drivers
901939            Overtime       0.75   28.50 05/02/2016 Los Angeles CA West - Drivers
901939            Regular       38.75   19.00 05/09/2016 Los Angeles CA West - Drivers
901939            Overtime       2.00   28.50 05/09/2016 Los Angeles CA West - Drivers
901939            Regular        8.00   19.25 05/16/2016 Los Angeles CA West - Drivers
901939            Overtime       4.25   28.88 05/16/2016 Los Angeles CA West - Drivers
Total for 901939             1,266.25
2585424           Regular       16.00   20.00 09/17/2018 Sacramento CA - Drivers
2585424           Overtime       6.00   30.00 09/17/2018 Sacramento CA - Drivers
2585424           Regular       40.00   20.00 09/24/2018 Sacramento CA - Drivers
2585424           Overtime      19.00   30.00 09/24/2018 Sacramento CA - Drivers
2585424           Regular       40.00   20.00 10/01/2018 Sacramento CA - Drivers
2585424           Overtime      18.75   30.00 10/01/2018 Sacramento CA - Drivers
2585424           Regular       40.00   20.00 10/08/2018 Sacramento CA - Drivers
2585424           Overtime      16.25   30.00 10/08/2018 Sacramento CA - Drivers
2585424           Regular       40.00   20.00 10/15/2018 Sacramento CA - Drivers
2585424           Overtime      10.00   30.00 10/15/2018 Sacramento CA - Drivers
2585424           Regular        8.00   20.00 10/22/2018 Sacramento CA - Drivers
2585424           Overtime       2.25   30.00 10/22/2018 Sacramento CA - Drivers
2585424           Regular       32.00   20.00 10/29/2018 Sacramento CA - Drivers
2585424           Overtime       4.50   30.00 10/29/2018 Sacramento CA - Drivers
2585424           Regular       16.00   20.00 11/05/2018 Sacramento CA - Drivers
2585424           Overtime       4.75   30.00 11/05/2018 Sacramento CA - Drivers
2585424           Regular       24.00   21.00 08/20/2018 Sacramento CA - Drivers
2585424           Overtime       7.00   31.50 08/20/2018 Sacramento CA - Drivers
2585424           Regular       15.50   21.00 08/27/2018 Sacramento CA - Drivers
2585424           Overtime       4.00   31.50 08/27/2018 Sacramento CA - Drivers
2585424           Regular       24.00   21.00 09/03/2018 Sacramento CA - Drivers
2585424           Overtime       5.00   31.50 09/03/2018 Sacramento CA - Drivers
2585424 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         21.00 38-5   Filed Sacramento
                                                09/10/2018  03/22/21 Page    221 of 691
                                                                       CA - Drivers       Page ID
2585424            Overtime       5.25   31.50 #:994
                                                09/10/2018 Sacramento CA - Drivers
2585424            Regular       16.00   21.00 09/17/2018 Sacramento CA - Drivers
2585424            Regular       24.00   21.00 10/22/2018 Sacramento CA - Drivers
2585424            Regular        8.00   21.00 11/05/2018 Sacramento CA - Drivers
2585424            Overtime       1.25   31.50 11/05/2018 Sacramento CA - Drivers
2585424            Regular        8.00   21.00 12/31/2018 Sacramento CA - Drivers
2585424            Overtime       2.75   31.50 12/31/2018 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 11/12/2018 Sacramento CA - Drivers
2585424            Overtime       0.25   34.50 11/12/2018 Sacramento CA - Drivers
2585424            Regular       24.00   23.00 11/19/2018 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 11/26/2018 Sacramento CA - Drivers
2585424            Overtime      14.00   34.50 11/26/2018 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 12/03/2018 Sacramento CA - Drivers
2585424            Overtime       6.00   34.50 12/03/2018 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 12/10/2018 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 12/17/2018 Sacramento CA - Drivers
2585424            Overtime       0.25   34.50 12/17/2018 Sacramento CA - Drivers
2585424            Regular       24.00   23.00 12/24/2018 Sacramento CA - Drivers
2585424            Regular       16.00   23.00 12/31/2018 Sacramento CA - Drivers
2585424            Overtime       8.00   34.50 12/31/2018 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 01/07/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 01/14/2019 Sacramento CA - Drivers
2585424            Overtime       8.00   34.50 01/14/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 01/21/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 01/28/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 02/04/2019 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 02/11/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 02/18/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 02/25/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 03/04/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 03/11/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 03/18/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 03/25/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 04/01/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 04/08/2019 Sacramento CA - Drivers
2585424            Overtime       0.50   34.50 04/08/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 04/15/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 04/22/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 04/29/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 05/06/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 05/13/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 05/20/2019 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 05/27/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 06/03/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 06/10/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 06/17/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 06/24/2019 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 07/01/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 07/08/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 07/15/2019 Sacramento CA - Drivers
2585424            Regular       40.50   23.00 07/22/2019 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 07/29/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 08/05/2019 Sacramento CA - Drivers
2585424            Overtime       4.00   34.50 08/05/2019 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 08/12/2019 Sacramento CA - Drivers
2585424            Overtime       4.00   34.50 08/12/2019 Sacramento CA - Drivers
2585424            Regular       38.25   23.00 08/19/2019 Sacramento CA - Drivers
2585424            Regular       40.00   23.00 08/26/2019 Sacramento CA - Drivers
2585424            Regular       32.00   23.00 09/02/2019 Sacramento CA - Drivers
Total for 2585424             2,134.00
1392406            Regular        8.00   20.00 08/27/2018 Los Angeles CA West - Drivers
1392406            Overtime       3.00   30.00 08/27/2018 Los Angeles CA West - Drivers
1392406 Case   2:19-cv-08580-JFW-MAA
                     Regular       8.00Document
                                          20.00 38-5   Filed Los
                                                 09/17/2018  03/22/21
                                                                 AngelesPage 222- Drivers
                                                                        CA West   of 691 Page ID
1392406              Regular      16.00   19.50 #:995
                                                 07/24/2017 Los Angeles CA West - Drivers
1392406             Overtime        5.50    29.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   07/31/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       20.00    29.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   08/07/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       18.25    29.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   08/14/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       17.00    29.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   08/21/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       15.50    29.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    19.50   08/28/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       12.50    29.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       10.50    29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   09/11/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       14.50    29.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   09/18/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       15.50    29.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   09/25/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       16.25    29.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   10/02/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       19.00    29.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   10/09/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       17.00    29.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   10/16/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       19.00    29.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   10/23/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       18.00    29.25   10/23/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.50   10/30/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       16.25    29.25   10/30/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    19.50   12/18/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.50    29.25   12/18/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    19.50   12/18/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.50    29.25   12/18/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        16.00    19.50   12/04/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.00    29.25   12/04/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        23.50    19.50   12/11/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.50    29.25   12/11/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        31.50    19.50   05/21/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.50    29.25   05/21/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        14.00    19.50   05/28/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.50    29.25   05/28/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.50    29.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    20.50   09/03/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.75    30.75   09/03/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    20.50   09/10/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    20.50   10/08/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.00    30.75   10/08/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         2.00    20.50   11/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         4.00    20.50   11/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    21.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.50    31.50   06/04/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime       12.00    31.50   06/11/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    21.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.00    31.50   06/18/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.00    28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        16.00    38.17   08/29/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.75    57.26   08/29/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    39.17   10/01/2018   Los   Angeles   CA   West   - Drivers
1392406 Case   2:19-cv-08580-JFW-MAA
                     Overtime     10.25Document
                                          58.76 38-5   Filed Los
                                                 10/01/2018  03/22/21
                                                                 AngelesPage 223- Drivers
                                                                        CA West   of 691 Page ID
1392406              Regular      32.00   39.17 #:996
                                                 10/08/2018 Los Angeles CA West - Drivers
1392406             Overtime       12.25    58.76   10/08/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    39.17   10/15/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime       15.75    58.76   10/15/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    39.17   10/22/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime       17.50    58.76   10/22/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.75    39.17   10/29/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.75    58.76   10/29/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    39.17   11/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.75    58.76   11/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        31.50    39.17   11/12/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.25    58.76   11/12/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    39.17   11/19/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.25    58.76   11/19/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        16.00    39.17   11/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.25    58.76   11/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular         4.00    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        10.75    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular         8.00    21.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        27.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.75    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        23.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.00    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        16.00    19.00   01/08/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.00    28.50   01/08/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.50    19.00   01/15/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.50    28.50   01/15/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   01/22/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.50    28.50   01/22/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    19.00   01/29/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.50    28.50   01/29/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   02/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.75    30.00   02/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.00    20.00   02/12/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.00    30.00   02/12/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        38.50    20.00   02/19/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.00    30.00   02/19/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.00    30.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.75    30.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.00    30.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   03/19/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.25    30.00   03/19/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    20.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.00    30.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.00    30.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.00    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.50    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        44.00    19.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.50    28.50   04/16/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.50    28.50   04/30/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.50    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.00    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        16.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1392406 Case   2:19-cv-08580-JFW-MAA
                     Overtime      1.25Document
                                          30.00 38-5   Filed Los
                                                 05/21/2018  03/22/21
                                                                 AngelesPage 224- Drivers
                                                                        CA West   of 691 Page ID
1392406              Regular      36.50   19.00 #:997
                                                 09/12/2016 Los Angeles CA West - Drivers
1392406             Overtime        4.50    28.50   09/12/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    19.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.25    28.50   09/19/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.25    19.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.75    28.50   09/26/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.00    28.50   10/03/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.00    28.50   10/10/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.00    28.50   10/17/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.50    28.50   10/24/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.75    28.50   10/31/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.00    19.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime       10.00    28.50   11/07/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        36.00    19.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.50    28.50   11/14/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        29.00    19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.00    28.50   11/21/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.50    28.50   11/21/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.50    28.50   12/05/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        37.50    19.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.50    28.50   12/12/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        36.50    19.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.00    28.50   12/19/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    19.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.25    28.50   12/26/2016   Los   Angeles   CA   West   - Drivers
1392406             Regular        38.75    19.00   01/02/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.00    28.50   01/02/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        31.50    19.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        2.25    28.50   01/09/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.50    19.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.75    28.50   01/16/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        38.00    19.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.50    28.50   01/23/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.50    19.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.00    28.50   01/30/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.00    28.50   02/06/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    19.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.50    28.50   02/13/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        35.50    19.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.50    28.50   02/20/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.00    19.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.50    28.50   02/27/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.00    28.50   03/06/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.50    19.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.50    28.50   03/13/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.25    28.50   03/20/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.50    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       11.75    28.50   04/03/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       16.00    28.50   04/10/2017   Los   Angeles   CA   West   - Drivers
1392406 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          19.00 38-5   Filed Los
                                                 04/17/2017  03/22/21
                                                                 AngelesPage 225- Drivers
                                                                        CA West   of 691 Page ID
1392406              Overtime     15.00   28.50 #:998
                                                 04/17/2017 Los Angeles CA West - Drivers
1392406             Regular        39.50    19.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       14.00    28.50   04/24/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime       18.00    28.50   05/01/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular         9.00    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.00    28.50   05/22/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        31.50    19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.50    28.50   06/05/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.50    28.50   06/12/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        39.50    19.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.00    28.50   06/19/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.50    28.50   06/26/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        23.50    19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        0.50    28.50   07/03/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    19.00   07/10/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.00    28.50   07/10/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        34.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.50    28.50   07/17/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        20.00    21.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.00    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        7.08    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime       12.78    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.00    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.67    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime       14.25    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.80    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.28    30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    20.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        5.12    30.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.00    30.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    20.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        4.67    30.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        16.00    20.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        24.00    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.00    28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.00    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        3.50    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        32.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1392406             Overtime        1.75    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1392406             Overtime        6.75    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.75    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1392406             Overtime        9.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1392406             Regular        40.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1392406             Overtime        8.00    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1392406 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         22.00 38-5   Filed Los
                                                02/04/2019  03/22/21
                                                                AngelesPage 226- Drivers
                                                                       CA West   of 691    Page ID
1392406            Overtime       7.50   33.00 #:999
                                                02/04/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 02/11/2019 Los Angeles CA West - Drivers
1392406            Overtime       9.00   33.00 02/11/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 02/18/2019 Los Angeles CA West - Drivers
1392406            Overtime       8.25   33.00 02/18/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 02/25/2019 Los Angeles CA West - Drivers
1392406            Overtime       9.00   33.00 02/25/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 03/04/2019 Los Angeles CA West - Drivers
1392406            Overtime       9.50   33.00 03/04/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 03/11/2019 Los Angeles CA West - Drivers
1392406            Overtime       8.00   33.00 03/11/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 03/18/2019 Los Angeles CA West - Drivers
1392406            Overtime       6.50   33.00 03/18/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 03/25/2019 Los Angeles CA West - Drivers
1392406            Overtime      10.00   33.00 03/25/2019 Los Angeles CA West - Drivers
1392406            Regular       16.00   22.00 04/01/2019 Los Angeles CA West - Drivers
1392406            Overtime       4.75   33.00 04/01/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 04/08/2019 Los Angeles CA West - Drivers
1392406            Overtime       7.25   33.00 04/08/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 04/15/2019 Los Angeles CA West - Drivers
1392406            Overtime       5.25   33.00 04/15/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 04/22/2019 Los Angeles CA West - Drivers
1392406            Overtime       7.25   33.00 04/22/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 04/29/2019 Los Angeles CA West - Drivers
1392406            Overtime       6.75   33.00 04/29/2019 Los Angeles CA West - Drivers
1392406            Regular       32.00   22.00 05/06/2019 Los Angeles CA West - Drivers
1392406            Overtime       6.50   33.00 05/06/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 05/13/2019 Los Angeles CA West - Drivers
1392406            Overtime       9.75   33.00 05/13/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 05/20/2019 Los Angeles CA West - Drivers
1392406            Overtime       2.50   33.00 05/20/2019 Los Angeles CA West - Drivers
1392406            Regular       32.00   22.00 05/27/2019 Los Angeles CA West - Drivers
1392406            Overtime      10.50   33.00 05/27/2019 Los Angeles CA West - Drivers
1392406            Regular       32.00   22.00 06/03/2019 Los Angeles CA West - Drivers
1392406            Overtime       4.00   33.00 06/03/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 06/10/2019 Los Angeles CA West - Drivers
1392406            Overtime       8.00   33.00 06/10/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 06/17/2019 Los Angeles CA West - Drivers
1392406            Overtime       6.75   33.00 06/17/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 06/24/2019 Los Angeles CA West - Drivers
1392406            Overtime       5.75   33.00 06/24/2019 Los Angeles CA West - Drivers
1392406            Regular       32.00   22.00 07/01/2019 Los Angeles CA West - Drivers
1392406            Overtime       2.75   33.00 07/01/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 07/08/2019 Los Angeles CA West - Drivers
1392406            Overtime       5.00   33.00 07/08/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 07/15/2019 Los Angeles CA West - Drivers
1392406            Overtime       3.75   33.00 07/15/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 07/22/2019 Los Angeles CA West - Drivers
1392406            Overtime       8.00   33.00 07/22/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 07/29/2019 Los Angeles CA West - Drivers
1392406            Overtime       3.00   33.00 07/29/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 08/05/2019 Los Angeles CA West - Drivers
1392406            Overtime       3.00   33.00 08/05/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 08/12/2019 Los Angeles CA West - Drivers
1392406            Overtime       3.75   33.00 08/12/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 08/19/2019 Los Angeles CA West - Drivers
1392406            Overtime       3.50   33.00 08/19/2019 Los Angeles CA West - Drivers
1392406            Regular       40.00   22.00 08/26/2019 Los Angeles CA West - Drivers
1392406            Overtime       2.25   33.00 08/26/2019 Los Angeles CA West - Drivers
1392406            Regular       32.00   22.00 09/02/2019 Los Angeles CA West - Drivers
1392406            Overtime       3.75   33.00 09/02/2019 Los Angeles CA West - Drivers
Total for 1392406             6,440.15
957571 Case 2:19-cv-08580-JFW-MAA
                  Regular       8.00Document
                                       16.00 38-5    Filed Los
                                               08/03/2015  03/22/21
                                                               AngelesPage 227
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
957571            Overtime      2.00   24.00 #:1000
                                               08/03/2015 Los Angeles CA East - Drivers
957571            Regular       5.50   16.00 08/17/2015 Los Angeles CA East - Drivers
957571            Regular       8.00   16.00 08/31/2015 Los Angeles CA East - Drivers
957571            Overtime      3.00   24.00 08/31/2015 Los Angeles CA East - Drivers
957571            Regular      24.00   16.00 09/07/2015 Los Angeles CA East - Drivers
957571            Overtime      7.00   24.00 09/07/2015 Los Angeles CA East - Drivers
957571            Regular      24.00   16.00 08/24/2015 Los Angeles CA East - Drivers
957571            Overtime      2.00   24.00 08/24/2015 Los Angeles CA East - Drivers
Total for 957571               83.50
2439609           Regular      24.00   18.00 12/18/2017 Sacramento CA - Drivers
2439609           Overtime      3.50   27.00 12/18/2017 Sacramento CA - Drivers
2439609           Regular      32.00   18.00 12/25/2017 Sacramento CA - Drivers
2439609           Overtime      3.00   27.00 12/25/2017 Sacramento CA - Drivers
2439609           Regular      32.00   18.00 01/01/2018 Sacramento CA - Drivers
2439609           Overtime      4.50   27.00 01/01/2018 Sacramento CA - Drivers
Total for 2439609              99.00
1407575           Regular       6.50   19.50 04/24/2017 Sacramento CA - Drivers
Total for 1407575               6.50
2583780           Regular      16.00   18.00 09/24/2018 Los Angeles CA East - Drivers
2583780           Overtime      7.00   27.00 09/24/2018 Los Angeles CA East - Drivers
2583780           Regular      24.00   18.00 10/01/2018 Los Angeles CA East - Drivers
2583780           Overtime      5.25   27.00 10/01/2018 Los Angeles CA East - Drivers
2583780           Regular      24.00   18.00 10/08/2018 Los Angeles CA East - Drivers
2583780           Overtime     10.25   27.00 10/08/2018 Los Angeles CA East - Drivers
2583780           Regular       8.00   18.00 10/15/2018 Los Angeles CA East - Drivers
2583780           Overtime      2.75   27.00 10/15/2018 Los Angeles CA East - Drivers
Total for 2583780              97.25
1260457           Regular       7.25   20.00 01/18/2016 Sacramento CA - Drivers
1260457           Regular      20.00   20.00 01/25/2016 Sacramento CA - Drivers
1260457           Regular      13.00   20.00 02/01/2016 Sacramento CA - Drivers
1260457           Regular      24.75   20.00 02/08/2016 Sacramento CA - Drivers
1260457           Regular      12.25   20.00 02/15/2016 Sacramento CA - Drivers
1260457           Regular       4.75   20.00 02/22/2016 Sacramento CA - Drivers
1260457           Regular      11.00   20.00 03/07/2016 Sacramento CA - Drivers
1260457           Regular       4.00   20.00 03/14/2016 Sacramento CA - Drivers
1260457           Regular      10.00   21.00 01/18/2016 Sacramento CA - Drivers
1260457           Regular      11.00   21.00 03/21/2016 Sacramento CA - Drivers
Total for 1260457             118.00
868073            Regular       8.00   17.00 09/07/2015 Los Angeles CA West - Drivers
868073            Overtime      1.75   25.50 09/07/2015 Los Angeles CA West - Drivers
868073            Regular      40.00   17.00 09/14/2015 Los Angeles CA West - Drivers
868073            Overtime     11.50   25.50 09/14/2015 Los Angeles CA West - Drivers
868073            Regular      15.50   17.00 09/21/2015 Los Angeles CA West - Drivers
868073            Overtime      3.75   25.50 09/21/2015 Los Angeles CA West - Drivers
868073            Regular      40.00   17.00 09/28/2015 Los Angeles CA West - Drivers
868073            Overtime      8.25   25.50 09/28/2015 Los Angeles CA West - Drivers
868073            Regular      24.00   20.00 10/05/2015 Los Angeles CA West - Drivers
868073            Overtime      5.25   30.00 10/05/2015 Los Angeles CA West - Drivers
868073            Regular      24.00   20.00 10/12/2015 Los Angeles CA West - Drivers
868073            Overtime      9.00   30.00 10/12/2015 Los Angeles CA West - Drivers
868073            Regular      40.00   20.00 10/19/2015 Los Angeles CA West - Drivers
868073            Overtime     13.75   30.00 10/19/2015 Los Angeles CA West - Drivers
868073            Regular       8.00   20.00 10/26/2015 Los Angeles CA West - Drivers
868073            Overtime      0.50   30.00 10/26/2015 Los Angeles CA West - Drivers
868073            Regular      40.00   20.00 11/02/2015 Los Angeles CA West - Drivers
868073            Overtime      8.25   30.00 11/02/2015 Los Angeles CA West - Drivers
868073            Regular      32.00   20.00 11/09/2015 Los Angeles CA West - Drivers
868073            Overtime      8.75   30.00 11/09/2015 Los Angeles CA West - Drivers
868073            Regular      40.00   20.00 11/16/2015 Los Angeles CA West - Drivers
868073            Overtime     13.00   30.00 11/16/2015 Los Angeles CA West - Drivers
868073            Regular      40.00   20.00 11/23/2015 Los Angeles CA West - Drivers
868073            Overtime     10.00   30.00 11/23/2015 Los Angeles CA West - Drivers
868073   Case 2:19-cv-08580-JFW-MAA
                    Regular      32.00Document
                                         20.00 38-5    Filed Los
                                                 11/30/2015  03/22/21
                                                                 AngelesPage 228- Drivers
                                                                        CA West   of 691 Page ID
868073              Overtime     11.00   30.00 #:1001
                                                 11/30/2015 Los Angeles CA West - Drivers
868073              Regular        40.00    20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.00    30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        16.00    20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime        3.50    30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.50    30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   12/28/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.25    30.00   12/28/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.25    30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.75    30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.00    30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime       13.50    30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    20.00   02/08/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.00    30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.50    30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.50    30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.25    30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.25    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.50    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.50    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        5.00    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.75    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        16.00    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        3.00    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        4.25    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.50    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        16.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        2.75    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        3.00    30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.25    30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.25   05/30/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.25    30.38   05/30/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.50    30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        39.75    20.25   06/13/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        5.50    30.38   06/13/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.50    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.25    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        23.75    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        3.00    30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.50    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
868073   Case 2:19-cv-08580-JFW-MAA
                    Overtime      7.25Document
                                         30.38 38-5    Filed Los
                                                 07/18/2016  03/22/21
                                                                 AngelesPage 229- Drivers
                                                                        CA West   of 691 Page ID
868073              Regular      32.00   20.25 #:1002
                                                 07/25/2016 Los Angeles CA West - Drivers
868073              Overtime        8.25    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        25.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.25    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.50    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.00    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.25    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        4.25    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        4.75    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        16.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        2.25    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.50    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        16.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        2.75    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        5.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        80.00    17.00   08/03/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime       33.00    25.50   08/03/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    17.00   08/10/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime       15.50    25.50   08/10/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    17.00   08/17/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime       16.75    25.50   08/17/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    17.00   08/24/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime       19.50    25.50   08/24/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    17.00   08/31/2015   Los   Angeles   CA   West   - Drivers
868073              Overtime       17.00    25.50   08/31/2015   Los   Angeles   CA   West   - Drivers
868073              Regular        33.75    17.00   09/07/2015   Los   Angeles   CA   West   - Drivers
868073              Regular         8.00    20.50   08/06/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        4.00    30.75   08/06/2018   Los   Angeles   CA   West   - Drivers
868073              Regular         2.00    20.50   11/05/2018   Los   Angeles   CA   West   - Drivers
868073              Regular         5.00    17.50   10/24/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        48.00    17.50   10/31/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        50.00    17.50   11/07/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        2.25    26.25   11/07/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        34.25    17.50   11/14/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        36.00    17.50   11/21/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    17.50   11/28/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        4.00    26.25   11/28/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        44.75    17.50   12/05/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        35.00    17.50   12/12/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        5.50    26.25   12/12/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        37.50    17.50   12/19/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        42.50    17.50   12/26/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime        3.00    26.25   12/26/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        37.25    17.50   01/02/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        37.75    17.50   01/09/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        30.25    17.50   01/16/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime        0.50    26.25   01/16/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        37.75    17.50   01/23/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime        0.75    26.25   01/23/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    17.50   01/30/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.75    26.25   01/30/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    17.50   02/06/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        12.50    17.50   02/06/2017   Los   Angeles   CA   West   - Drivers
868073              Regular         7.50    17.50   02/20/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        37.50    17.50   02/27/2017   Los   Angeles   CA   West   - Drivers
868073   Case 2:19-cv-08580-JFW-MAA
                    Regular      37.50Document
                                         17.50 38-5    Filed Los
                                                 03/06/2017  03/22/21
                                                                 AngelesPage 230- Drivers
                                                                        CA West   of 691 Page ID
868073              Regular      38.00   17.50 #:1003
                                                 03/13/2017 Los Angeles CA West - Drivers
868073              Overtime         1.25   26.25   03/13/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    17.50   03/20/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         3.50   26.25   03/20/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        42.00    17.50   03/27/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        39.75    17.50   04/03/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        38.75    17.50   04/10/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        50.00    17.50   04/17/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         3.50   26.25   04/17/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.50    17.50   04/24/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         0.50   26.25   04/24/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.25    17.50   05/01/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.00    17.50   05/08/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        37.50    17.50   05/15/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.25    17.50   05/22/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        38.00    17.50   05/29/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.25    17.50   06/05/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.00    17.50   06/12/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        50.00    17.50   06/19/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         3.50   26.25   06/19/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        47.50    17.50   06/26/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        37.25    17.50   07/03/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         1.00   26.25   07/03/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        48.50    17.50   07/10/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         2.00   26.25   07/10/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        50.00    17.50   07/17/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         2.75   26.25   07/17/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    17.50   07/24/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         6.50   26.25   07/24/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        23.50    17.50   07/24/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime        -6.50   26.25   07/24/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        37.50    17.50   08/07/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        38.50    17.50   08/14/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        38.75    17.50   08/21/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        39.00    17.50   08/28/2017   Los   Angeles   CA   West   - Drivers
868073              Overtime         1.25   26.25   08/28/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        40.50    17.50   09/04/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        32.50    17.50   09/04/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        40.50    17.50   09/18/2017   Los   Angeles   CA   West   - Drivers
868073              Regular        40.25    17.50   09/25/2017   Los   Angeles   CA   West   - Drivers
868073              Regular          8.00   16.00   05/16/2016   Los   Angeles   CA   West   - Drivers
868073              Overtime         0.75   24.00   05/16/2016   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime         2.75   33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime         6.00   33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime         8.50   33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.75    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       14.75    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       13.75    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.00    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime         6.50   33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime         8.50   33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.50    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
868073   Case 2:19-cv-08580-JFW-MAA
                    Regular      32.00Document
                                         22.00 38-5    Filed Los
                                                 10/22/2018  03/22/21
                                                                 AngelesPage 231- Drivers
                                                                        CA West   of 691 Page ID
868073              Overtime      9.75   33.00 #:1004
                                                 10/22/2018 Los Angeles CA West - Drivers
868073              Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.75    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.75    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.50    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.50    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        7.75    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       12.00    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.00    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.00    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        3.50    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.50    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       13.00    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.25    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       13.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.25    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       11.25    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        6.00    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.50    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       13.50    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.50    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.00    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       12.25    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.50    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       21.50    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.50    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.00    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       10.50    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.00    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        40.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime       21.00    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        24.00    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        8.25    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
868073              Overtime        9.25    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
868073              Regular        32.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
868073 Case 2:19-cv-08580-JFW-MAA
                  Overtime       8.25Document
                                        33.00 38-5    Filed Los
                                                05/27/2019  03/22/21
                                                                AngelesPage 232- Drivers
                                                                       CA West   of 691    Page ID
868073            Regular       40.00   22.00 #:1005
                                                06/03/2019 Los Angeles CA West - Drivers
868073            Overtime      10.75   33.00 06/03/2019 Los Angeles CA West - Drivers
868073            Regular       24.00   22.00 06/10/2019 Los Angeles CA West - Drivers
868073            Overtime       7.75   33.00 06/10/2019 Los Angeles CA West - Drivers
868073            Regular       32.00   22.00 06/17/2019 Los Angeles CA West - Drivers
868073            Overtime       9.75   33.00 06/17/2019 Los Angeles CA West - Drivers
868073            Regular       40.00   22.00 06/24/2019 Los Angeles CA West - Drivers
868073            Overtime      10.50   33.00 06/24/2019 Los Angeles CA West - Drivers
868073            Regular       32.00   22.50 07/01/2019 Los Angeles CA West - Drivers
868073            Overtime       9.00   33.75 07/01/2019 Los Angeles CA West - Drivers
868073            Regular       40.00   22.50 07/08/2019 Los Angeles CA West - Drivers
868073            Overtime      12.25   33.75 07/08/2019 Los Angeles CA West - Drivers
868073            Regular       40.00   22.50 07/15/2019 Los Angeles CA West - Drivers
868073            Overtime       7.00   33.75 07/15/2019 Los Angeles CA West - Drivers
868073            Regular       40.00   22.50 07/22/2019 Los Angeles CA West - Drivers
868073            Overtime      11.75   33.75 07/22/2019 Los Angeles CA West - Drivers
868073            Regular       40.00   22.50 07/29/2019 Los Angeles CA West - Drivers
868073            Overtime      11.00   33.75 07/29/2019 Los Angeles CA West - Drivers
868073            Regular       40.00   22.50 08/05/2019 Los Angeles CA West - Drivers
868073            Overtime      13.00   33.75 08/05/2019 Los Angeles CA West - Drivers
868073            Regular       32.00   22.50 08/12/2019 Los Angeles CA West - Drivers
868073            Overtime      10.00   33.75 08/12/2019 Los Angeles CA West - Drivers
868073            Regular       32.00   22.50 08/19/2019 Los Angeles CA West - Drivers
868073            Overtime      11.50   33.75 08/19/2019 Los Angeles CA West - Drivers
868073            Regular       32.00   22.50 08/26/2019 Los Angeles CA West - Drivers
868073            Overtime       8.25   33.75 08/26/2019 Los Angeles CA West - Drivers
868073            Regular       32.00   22.50 09/02/2019 Los Angeles CA West - Drivers
868073            Overtime      11.25   33.75 09/02/2019 Los Angeles CA West - Drivers
Total for 868073             6,909.75
1148885           Regular       16.00   19.00 11/20/2017 Sacramento CA - Drivers
1148885           Overtime       3.00   28.50 11/20/2017 Sacramento CA - Drivers
1148885           Regular       40.00   19.00 11/27/2017 Sacramento CA - Drivers
1148885           Overtime       7.00   28.50 11/27/2017 Sacramento CA - Drivers
1148885           Regular       40.00   19.00 12/04/2017 Sacramento CA - Drivers
1148885           Overtime       7.00   28.50 12/04/2017 Sacramento CA - Drivers
1148885           Regular       40.00   19.00 12/11/2017 Sacramento CA - Drivers
1148885           Overtime      10.00   28.50 12/11/2017 Sacramento CA - Drivers
1148885           Regular       16.00   19.50 04/10/2017 Sacramento CA - Drivers
1148885           Overtime       4.00   29.25 04/10/2017 Sacramento CA - Drivers
1148885           Regular       24.00   19.50 04/17/2017 Sacramento CA - Drivers
1148885           Overtime       2.75   29.25 04/17/2017 Sacramento CA - Drivers
1148885           Regular       23.00   19.50 04/24/2017 Sacramento CA - Drivers
1148885           Overtime       3.50   29.25 04/24/2017 Sacramento CA - Drivers
1148885           Regular       40.00   19.50 05/01/2017 Sacramento CA - Drivers
1148885           Overtime      13.00   29.25 05/01/2017 Sacramento CA - Drivers
1148885           Regular       40.00   19.50 05/08/2017 Sacramento CA - Drivers
1148885           Overtime       4.75   29.25 05/08/2017 Sacramento CA - Drivers
1148885           Regular       38.75   19.50 05/15/2017 Sacramento CA - Drivers
1148885           Overtime       7.50   29.25 05/15/2017 Sacramento CA - Drivers
1148885           Regular       32.00   19.50 05/22/2017 Sacramento CA - Drivers
1148885           Overtime      10.75   29.25 05/22/2017 Sacramento CA - Drivers
1148885           Regular       32.00   19.50 05/29/2017 Sacramento CA - Drivers
1148885           Overtime       2.25   29.25 05/29/2017 Sacramento CA - Drivers
1148885           Regular        8.00   19.50 06/05/2017 Sacramento CA - Drivers
1148885           Overtime       0.50   29.25 06/05/2017 Sacramento CA - Drivers
1148885           Regular       20.00   19.50 06/12/2017 Sacramento CA - Drivers
1148885           Overtime       3.25   29.25 06/12/2017 Sacramento CA - Drivers
1148885           Regular       40.00   19.50 06/19/2017 Sacramento CA - Drivers
1148885           Overtime       5.75   29.25 06/19/2017 Sacramento CA - Drivers
1148885           Regular       32.00   19.50 06/26/2017 Sacramento CA - Drivers
1148885           Overtime       4.50   29.25 06/26/2017 Sacramento CA - Drivers
1148885           Regular        8.00   19.50 07/03/2017 Sacramento CA - Drivers
1148885 Case 2:19-cv-08580-JFW-MAA
                   Overtime      4.00Document
                                        29.25 38-5   Filed Sacramento
                                               07/03/2017  03/22/21 Page    233 of 691
                                                                      CA - Drivers       Page ID
Total for 1148885              583.25        #:1006
2432569            Regular      32.00   20.00 12/11/2017 Los Angeles CA East - Drivers
2432569            Overtime     15.50   30.00 12/11/2017 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.00 12/18/2017 Los Angeles CA East - Drivers
2432569            Overtime     13.75   30.00 12/18/2017 Los Angeles CA East - Drivers
2432569            Regular      18.00   20.00 12/25/2017 Los Angeles CA East - Drivers
2432569            Overtime      5.50   30.00 12/25/2017 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.00 01/01/2018 Los Angeles CA East - Drivers
2432569            Overtime     10.25   30.00 01/01/2018 Los Angeles CA East - Drivers
2432569            Regular      22.00   20.00 01/08/2018 Los Angeles CA East - Drivers
2432569            Overtime      3.30   30.00 01/08/2018 Los Angeles CA East - Drivers
2432569            Regular      40.00   20.00 01/15/2018 Los Angeles CA East - Drivers
2432569            Overtime     17.50   30.00 01/15/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.00 01/22/2018 Los Angeles CA East - Drivers
2432569            Overtime     16.00   30.00 01/22/2018 Los Angeles CA East - Drivers
2432569            Regular      22.00   20.00 01/29/2018 Los Angeles CA East - Drivers
2432569            Overtime      5.00   30.00 01/29/2018 Los Angeles CA East - Drivers
2432569            Regular      40.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2432569            Overtime     16.00   30.00 02/05/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2432569            Overtime     12.00   30.00 02/12/2018 Los Angeles CA East - Drivers
2432569            Regular      16.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2432569            Overtime      7.50   30.00 02/19/2018 Los Angeles CA East - Drivers
2432569            Regular       8.00   20.00 02/26/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2432569            Overtime     12.25   30.00 03/05/2018 Los Angeles CA East - Drivers
2432569            Regular      40.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2432569            Overtime     15.25   30.00 03/12/2018 Los Angeles CA East - Drivers
2432569            Regular      16.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2432569            Overtime      6.75   30.00 03/19/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2432569            Overtime     12.00   30.00 03/26/2018 Los Angeles CA East - Drivers
2432569            Regular       8.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2432569            Overtime      0.25   30.00 04/02/2018 Los Angeles CA East - Drivers
2432569            Regular       8.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2432569            Overtime      1.75   30.00 04/09/2018 Los Angeles CA East - Drivers
2432569            Regular       8.00   21.00 02/26/2018 Los Angeles CA East - Drivers
2432569            Overtime      2.50   31.50 02/26/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.75 04/09/2018 Los Angeles CA East - Drivers
2432569            Overtime     13.50   31.13 04/09/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.75 04/16/2018 Los Angeles CA East - Drivers
2432569            Overtime     12.25   31.12 04/16/2018 Los Angeles CA East - Drivers
2432569            Regular      32.00   20.75 04/23/2018 Los Angeles CA East - Drivers
2432569            Overtime     10.00   31.13 04/23/2018 Los Angeles CA East - Drivers
2432569            Regular      21.25   20.75 04/30/2018 Los Angeles CA East - Drivers
2432569            Overtime      4.00   31.12 04/30/2018 Los Angeles CA East - Drivers
2432569            Regular       7.00   20.75 05/07/2018 Los Angeles CA East - Drivers
2432569            Regular      40.00   20.75 05/14/2018 Los Angeles CA East - Drivers
2432569            Overtime     12.00   31.13 05/14/2018 Los Angeles CA East - Drivers
2432569            Regular      24.00   20.75 05/21/2018 Los Angeles CA East - Drivers
2432569            Overtime      8.25   31.13 05/21/2018 Los Angeles CA East - Drivers
2432569            Regular      26.25   20.75 05/28/2018 Los Angeles CA East - Drivers
2432569            Overtime      3.00   31.13 05/28/2018 Los Angeles CA East - Drivers
2432569            Regular      16.00   20.75 06/04/2018 Los Angeles CA East - Drivers
2432569            Overtime      3.75   31.13 06/04/2018 Los Angeles CA East - Drivers
2432569            Regular      16.00   20.75 06/11/2018 Los Angeles CA East - Drivers
2432569            Overtime      1.25   31.13 06/11/2018 Los Angeles CA East - Drivers
Total for 2432569              957.55
1196933            Regular      26.50   16.00 09/21/2015 Los Angeles CA East - Drivers
1196933            Overtime      6.50   24.00 09/21/2015 Los Angeles CA East - Drivers
Total for 1196933               33.00
2627524            Regular       2.00   22.00 01/14/2019 Los Angeles CA East - Drivers
2627524 Case 2:19-cv-08580-JFW-MAA
                   Regular      38.00Document
                                        20.00 38-5    Filed Los
                                                10/29/2018  03/22/21
                                                                AngelesPage 234
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2627524            Overtime      2.50   30.00 #:1007
                                                10/29/2018 Los Angeles CA East - Drivers
2627524            Regular      32.00   20.00 11/05/2018 Los Angeles CA East - Drivers
2627524            Overtime      3.50   30.00 11/05/2018 Los Angeles CA East - Drivers
2627524            Regular      32.00   20.00 11/12/2018 Los Angeles CA East - Drivers
2627524            Overtime      0.50   30.00 11/12/2018 Los Angeles CA East - Drivers
2627524            Regular      40.00   20.00 11/26/2018 Los Angeles CA East - Drivers
2627524            Overtime      9.75   30.00 11/26/2018 Los Angeles CA East - Drivers
2627524            Regular      40.00   20.00 12/03/2018 Los Angeles CA East - Drivers
2627524            Overtime     11.00   30.00 12/03/2018 Los Angeles CA East - Drivers
2627524            Regular       8.00   20.00 12/10/2018 Los Angeles CA East - Drivers
2627524            Overtime      1.50   30.00 12/10/2018 Los Angeles CA East - Drivers
2627524            Regular       7.25   20.00 12/10/2018 Los Angeles CA East - Drivers
2627524            Regular       8.00   20.00 12/31/2018 Los Angeles CA East - Drivers
2627524            Overtime      5.00   30.00 12/31/2018 Los Angeles CA East - Drivers
2627524            Regular      55.50   21.85 12/17/2018 Los Angeles CA East - Drivers
2627524            Regular       8.00   22.00 11/12/2018 Los Angeles CA East - Drivers
2627524            Overtime      2.50   33.00 11/12/2018 Los Angeles CA East - Drivers
2627524            Regular      24.00   22.00 11/19/2018 Los Angeles CA East - Drivers
2627524            Overtime      5.00   33.00 11/19/2018 Los Angeles CA East - Drivers
Total for 2627524              336.00
2640321            Regular       4.00   22.00 12/24/2018 Sacramento CA - Drivers
2640321            Regular      16.00   23.00 12/03/2018 Sacramento CA - Drivers
2640321            Regular      16.00   23.00 12/10/2018 Sacramento CA - Drivers
2640321            Regular       8.00   21.75 12/17/2018 Sacramento CA - Drivers
2640321            Regular       8.00   22.00 07/22/2019 Sacramento CA - Drivers
2640321            Overtime      3.70   33.00 07/22/2019 Sacramento CA - Drivers
2640321            Regular       7.00   21.21 12/17/2018 Sacramento CA - Drivers
2640321            Regular      15.25   21.21 12/31/2018 Sacramento CA - Drivers
2640321            Regular       7.00   20.98 06/10/2019 Sacramento CA - Drivers
2640321            Regular      33.00   20.98 06/17/2019 Sacramento CA - Drivers
2640321            Regular      13.50   21.21 07/01/2019 Sacramento CA - Drivers
2640321            Regular       8.00   21.00 11/05/2018 Sacramento CA - Drivers
2640321            Overtime      4.00   31.50 11/05/2018 Sacramento CA - Drivers
2640321            Regular      40.00   21.00 11/12/2018 Sacramento CA - Drivers
2640321            Overtime      7.00   31.50 11/12/2018 Sacramento CA - Drivers
2640321            Regular       8.00   21.00 11/19/2018 Sacramento CA - Drivers
2640321            Overtime      2.00   31.50 11/19/2018 Sacramento CA - Drivers
2640321            Regular       8.00   21.00 01/21/2019 Sacramento CA - Drivers
2640321            Overtime      4.00   31.50 01/21/2019 Sacramento CA - Drivers
2640321            Regular       8.00   21.00 07/29/2019 Sacramento CA - Drivers
2640321            Overtime      4.00   31.50 07/29/2019 Sacramento CA - Drivers
2640321            Regular       8.00   21.00 08/05/2019 Sacramento CA - Drivers
2640321            Overtime      4.00   31.50 08/05/2019 Sacramento CA - Drivers
2640321            Regular       8.00   21.00 08/19/2019 Sacramento CA - Drivers
2640321            Overtime      4.00   31.50 08/19/2019 Sacramento CA - Drivers
Total for 2640321              248.45
2339188            Regular       8.00   19.50 07/17/2017 Los Angeles CA West - Drivers
2339188            Overtime      3.00   29.25 07/17/2017 Los Angeles CA West - Drivers
2339188            Regular      39.50   19.50 07/24/2017 Los Angeles CA West - Drivers
2339188            Overtime      6.00   29.25 07/24/2017 Los Angeles CA West - Drivers
2339188            Regular      39.50   19.50 07/31/2017 Los Angeles CA West - Drivers
2339188            Overtime      5.00   29.25 07/31/2017 Los Angeles CA West - Drivers
2339188            Regular      40.00   19.50 08/07/2017 Los Angeles CA West - Drivers
2339188            Overtime      5.25   29.25 08/07/2017 Los Angeles CA West - Drivers
2339188            Regular      39.00   19.50 08/14/2017 Los Angeles CA West - Drivers
2339188            Overtime      2.50   29.25 08/14/2017 Los Angeles CA West - Drivers
2339188            Regular      39.00   19.50 08/21/2017 Los Angeles CA West - Drivers
2339188            Overtime      6.00   29.25 08/21/2017 Los Angeles CA West - Drivers
2339188            Regular      38.00   19.50 08/28/2017 Los Angeles CA West - Drivers
2339188            Overtime      2.00   29.25 08/28/2017 Los Angeles CA West - Drivers
2339188            Regular      32.00   19.50 09/04/2017 Los Angeles CA West - Drivers
2339188            Overtime      6.00   29.25 09/04/2017 Los Angeles CA West - Drivers
2339188 Case 2:19-cv-08580-JFW-MAA
                   Regular       39.00Document
                                         19.50 38-5    Filed Los
                                                 09/11/2017  03/22/21
                                                                 AngelesPage 235- Drivers
                                                                        CA West   of 691    Page ID
2339188            Overtime       4.50   29.25 #:1008
                                                 09/11/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 09/18/2017 Los Angeles CA West - Drivers
2339188            Overtime      11.00   29.25 09/18/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 09/25/2017 Los Angeles CA West - Drivers
2339188            Overtime      14.50   29.25 09/25/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 10/02/2017 Los Angeles CA West - Drivers
2339188            Overtime      11.50   29.25 10/02/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 10/09/2017 Los Angeles CA West - Drivers
2339188            Overtime       8.00   29.25 10/09/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 10/16/2017 Los Angeles CA West - Drivers
2339188            Overtime       8.00   29.25 10/16/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 10/23/2017 Los Angeles CA West - Drivers
2339188            Overtime       7.50   29.25 10/23/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   19.50 10/30/2017 Los Angeles CA West - Drivers
2339188            Overtime       6.50   29.25 10/30/2017 Los Angeles CA West - Drivers
2339188            Regular       37.50   19.50 11/06/2017 Los Angeles CA West - Drivers
2339188            Overtime       3.50   29.25 11/06/2017 Los Angeles CA West - Drivers
2339188            Regular       39.50   20.00 11/13/2017 Los Angeles CA West - Drivers
2339188            Overtime       6.00   30.00 11/13/2017 Los Angeles CA West - Drivers
2339188            Regular       22.50   20.00 11/20/2017 Los Angeles CA West - Drivers
2339188            Overtime       4.00   30.00 11/20/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 11/27/2017 Los Angeles CA West - Drivers
2339188            Overtime       6.00   30.00 11/27/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 12/04/2017 Los Angeles CA West - Drivers
2339188            Overtime       9.00   30.00 12/04/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 12/11/2017 Los Angeles CA West - Drivers
2339188            Overtime       7.50   30.00 12/11/2017 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 12/18/2017 Los Angeles CA West - Drivers
2339188            Overtime       6.50   30.00 12/18/2017 Los Angeles CA West - Drivers
2339188            Regular       24.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2339188            Overtime       4.00   30.00 12/25/2017 Los Angeles CA West - Drivers
2339188            Regular       24.00   20.00 01/01/2018 Los Angeles CA West - Drivers
2339188            Overtime       1.50   30.00 01/01/2018 Los Angeles CA West - Drivers
2339188            Regular       39.00   20.00 01/08/2018 Los Angeles CA West - Drivers
2339188            Overtime       6.00   30.00 01/08/2018 Los Angeles CA West - Drivers
2339188            Regular       39.00   20.00 01/15/2018 Los Angeles CA West - Drivers
2339188            Overtime       3.00   30.00 01/15/2018 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 01/22/2018 Los Angeles CA West - Drivers
2339188            Overtime       4.50   30.00 01/22/2018 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 01/29/2018 Los Angeles CA West - Drivers
2339188            Overtime      12.00   30.00 01/29/2018 Los Angeles CA West - Drivers
2339188            Regular       40.00   20.00 02/05/2018 Los Angeles CA West - Drivers
2339188            Overtime       4.50   30.00 02/05/2018 Los Angeles CA West - Drivers
Total for 2339188             1,284.75
1322677            Regular       40.00   19.50 05/23/2016 Los Angeles CA West - Drivers
1322677            Overtime       5.50   29.25 05/23/2016 Los Angeles CA West - Drivers
1322677            Regular       32.00   19.50 05/30/2016 Los Angeles CA West - Drivers
1322677            Overtime      10.50   29.25 05/30/2016 Los Angeles CA West - Drivers
1322677            Regular       39.50   19.50 06/06/2016 Los Angeles CA West - Drivers
1322677            Overtime       5.50   29.25 06/06/2016 Los Angeles CA West - Drivers
1322677            Regular       32.00   19.50 06/13/2016 Los Angeles CA West - Drivers
1322677            Overtime       6.00   29.25 06/13/2016 Los Angeles CA West - Drivers
1322677            Regular       22.00   17.00 05/16/2016 Los Angeles CA West - Drivers
Total for 1322677               193.00
2663854            Regular       16.00   20.00 12/10/2018 Los Angeles CA East - Drivers
2663854            Overtime       0.75   30.00 12/10/2018 Los Angeles CA East - Drivers
2663854            Regular       16.00   20.00 12/17/2018 Los Angeles CA East - Drivers
2663854            Overtime       3.00   30.00 12/17/2018 Los Angeles CA East - Drivers
Total for 2663854                35.75
908754             Regular       40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
908754             Overtime      21.00   25.50 08/03/2015 Los Angeles CA West - Drivers
908754             Regular       40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
908754   Case 2:19-cv-08580-JFW-MAA
                    Overtime     23.50Document
                                         25.50 38-5    Filed Los
                                                 08/10/2015  03/22/21
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                                                                        CA West   of 691 Page ID
908754              Regular      32.00   17.00 #:1009
                                                 08/17/2015 Los Angeles CA West - Drivers
908754              Overtime       22.75    25.50   08/17/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   08/24/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       20.00    28.50   08/24/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   08/31/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       19.25    28.50   08/31/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        30.00    19.00   09/07/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        7.75    28.50   09/07/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   09/14/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       11.50    28.50   09/14/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   09/21/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       23.75    28.50   09/21/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   09/28/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       18.50    28.50   09/28/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   10/12/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       12.75    28.50   10/12/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   10/19/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       12.00    28.50   10/19/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   10/26/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       15.75    28.50   10/26/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   11/02/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       13.50    28.50   11/02/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   11/09/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       16.25    28.50   11/09/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        29.50    19.00   11/16/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        8.75    28.50   11/16/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        31.00    19.00   11/23/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        6.00    28.50   11/23/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        39.25    19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        8.75    28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime       13.25    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        37.25    19.00   12/14/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        9.50    28.50   12/14/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        24.00    19.00   12/21/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        6.25    28.50   12/21/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        24.00    19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
908754              Overtime        7.25    28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        8.25    28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        9.25    28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        7.75    28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        32.00    19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        6.50    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        9.75    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        37.50    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        8.00    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        30.50    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        7.00    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime       11.75    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        9.50    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        32.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        7.00    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        24.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        5.25    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
908754              Regular        31.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
908754              Overtime        4.75    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
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                  Regular       32.00Document
                                        19.00 38-5    Filed Los
                                                03/28/2016  03/22/21
                                                                AngelesPage 237- Drivers
                                                                       CA West   of 691    Page ID
908754            Overtime       3.50   28.50 #:1010
                                                03/28/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.00 04/04/2016 Los Angeles CA West - Drivers
908754            Overtime       4.75   28.50 04/04/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.00 04/11/2016 Los Angeles CA West - Drivers
908754            Overtime       6.25   28.50 04/11/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.00 04/18/2016 Los Angeles CA West - Drivers
908754            Overtime       3.25   28.50 04/18/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.00 04/25/2016 Los Angeles CA West - Drivers
908754            Overtime       7.75   28.50 04/25/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.00 05/02/2016 Los Angeles CA West - Drivers
908754            Overtime       5.00   28.50 05/02/2016 Los Angeles CA West - Drivers
908754            Regular       32.00   19.00 05/09/2016 Los Angeles CA West - Drivers
908754            Overtime       7.75   28.50 05/09/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.25 05/16/2016 Los Angeles CA West - Drivers
908754            Overtime       6.00   28.88 05/16/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 05/23/2016 Los Angeles CA West - Drivers
908754            Overtime      10.25   28.88 05/23/2016 Los Angeles CA West - Drivers
908754            Regular       32.00   19.25 05/30/2016 Los Angeles CA West - Drivers
908754            Overtime       7.00   28.88 05/30/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 06/06/2016 Los Angeles CA West - Drivers
908754            Overtime       9.25   28.88 06/06/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 06/13/2016 Los Angeles CA West - Drivers
908754            Overtime      13.25   28.88 06/13/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 06/20/2016 Los Angeles CA West - Drivers
908754            Overtime      24.25   28.88 06/20/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 06/27/2016 Los Angeles CA West - Drivers
908754            Overtime       9.00   28.88 06/27/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.25 07/04/2016 Los Angeles CA West - Drivers
908754            Overtime       5.25   28.88 07/04/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 07/11/2016 Los Angeles CA West - Drivers
908754            Overtime      10.25   28.88 07/11/2016 Los Angeles CA West - Drivers
908754            Regular       16.00   19.25 07/18/2016 Los Angeles CA West - Drivers
908754            Overtime       1.00   28.88 07/18/2016 Los Angeles CA West - Drivers
908754            Regular       17.00   19.25 08/01/2016 Los Angeles CA West - Drivers
908754            Overtime       2.25   28.88 08/01/2016 Los Angeles CA West - Drivers
908754            Regular       32.00   19.25 08/08/2016 Los Angeles CA West - Drivers
908754            Overtime       9.00   28.88 08/08/2016 Los Angeles CA West - Drivers
908754            Regular       16.00   19.25 08/15/2016 Los Angeles CA West - Drivers
908754            Overtime       4.00   28.88 08/15/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 08/22/2016 Los Angeles CA West - Drivers
908754            Overtime      11.50   28.88 08/22/2016 Los Angeles CA West - Drivers
908754            Regular       32.00   19.25 08/29/2016 Los Angeles CA West - Drivers
908754            Overtime       8.75   28.88 08/29/2016 Los Angeles CA West - Drivers
908754            Regular       24.00   19.25 09/05/2016 Los Angeles CA West - Drivers
908754            Overtime       7.00   28.88 09/05/2016 Los Angeles CA West - Drivers
908754            Regular       32.00   19.25 09/12/2016 Los Angeles CA West - Drivers
908754            Overtime       7.75   28.88 09/12/2016 Los Angeles CA West - Drivers
908754            Regular       40.00   19.25 09/19/2016 Los Angeles CA West - Drivers
908754            Overtime      12.00   28.88 09/19/2016 Los Angeles CA West - Drivers
908754            Regular        8.00   19.25 09/26/2016 Los Angeles CA West - Drivers
908754            Overtime       1.00   28.88 09/26/2016 Los Angeles CA West - Drivers
Total for 908754             2,560.75
2608297           Regular       24.00   21.00 12/03/2018 Sacramento CA - Drivers
2608297           Overtime       2.50   31.50 12/03/2018 Sacramento CA - Drivers
2608297           Regular       40.00   21.00 12/10/2018 Sacramento CA - Drivers
2608297           Overtime       6.00   31.50 12/10/2018 Sacramento CA - Drivers
2608297           Regular       40.00   21.00 12/17/2018 Sacramento CA - Drivers
2608297           Overtime       2.25   31.50 12/17/2018 Sacramento CA - Drivers
2608297           Regular       32.00   21.00 12/24/2018 Sacramento CA - Drivers
2608297           Overtime       4.25   31.50 12/24/2018 Sacramento CA - Drivers
2608297           Regular       24.00   21.00 12/31/2018 Sacramento CA - Drivers
2608297           Overtime       3.00   31.50 12/31/2018 Sacramento CA - Drivers
2608297 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         21.00 38-5    Filed Sacramento
                                                 01/07/2019  03/22/21 Page    238 of
                                                                        CA - Drivers   691 Page ID
2608297            Overtime       5.50   31.50 #:1011
                                                 01/07/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 01/14/2019 Sacramento CA - Drivers
2608297            Overtime       2.75   31.50 01/14/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 01/21/2019 Sacramento CA - Drivers
2608297            Overtime       4.75   31.50 01/21/2019 Sacramento CA - Drivers
2608297            Regular       32.00   21.00 01/28/2019 Sacramento CA - Drivers
2608297            Overtime       6.75   31.50 01/28/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 02/04/2019 Sacramento CA - Drivers
2608297            Overtime       3.75   31.50 02/04/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 02/11/2019 Sacramento CA - Drivers
2608297            Overtime       7.00   31.50 02/11/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 02/18/2019 Sacramento CA - Drivers
2608297            Overtime       3.50   31.50 02/18/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 02/25/2019 Sacramento CA - Drivers
2608297            Overtime       6.75   31.50 02/25/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 03/04/2019 Sacramento CA - Drivers
2608297            Overtime      10.25   31.50 03/04/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 03/11/2019 Sacramento CA - Drivers
2608297            Overtime      11.25   31.50 03/11/2019 Sacramento CA - Drivers
2608297            Regular       16.00   21.00 03/18/2019 Sacramento CA - Drivers
2608297            Overtime       0.75   31.50 03/18/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 03/25/2019 Sacramento CA - Drivers
2608297            Overtime       3.00   31.50 03/25/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 04/01/2019 Sacramento CA - Drivers
2608297            Overtime       0.25   31.50 04/01/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 04/08/2019 Sacramento CA - Drivers
2608297            Overtime       1.00   31.50 04/08/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 04/15/2019 Sacramento CA - Drivers
2608297            Overtime       2.50   31.50 04/15/2019 Sacramento CA - Drivers
2608297            Regular       32.00   21.00 04/22/2019 Sacramento CA - Drivers
2608297            Overtime       5.75   31.50 04/22/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 04/29/2019 Sacramento CA - Drivers
2608297            Overtime       9.00   31.50 04/29/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
2608297            Overtime      10.00   31.50 05/06/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 05/13/2019 Sacramento CA - Drivers
2608297            Overtime      10.25   31.50 05/13/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 05/20/2019 Sacramento CA - Drivers
2608297            Overtime       9.00   31.50 05/20/2019 Sacramento CA - Drivers
2608297            Regular       32.00   21.00 05/27/2019 Sacramento CA - Drivers
2608297            Overtime      11.75   31.50 05/27/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 06/03/2019 Sacramento CA - Drivers
2608297            Overtime       9.50   31.50 06/03/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 06/10/2019 Sacramento CA - Drivers
2608297            Overtime       7.75   31.50 06/10/2019 Sacramento CA - Drivers
2608297            Regular       40.00   21.00 06/17/2019 Sacramento CA - Drivers
2608297            Overtime       1.50   31.50 06/17/2019 Sacramento CA - Drivers
2608297            Regular       24.00   22.00 10/08/2018 Sacramento CA - Drivers
2608297            Overtime       5.50   33.00 10/08/2018 Sacramento CA - Drivers
2608297            Regular       40.00   22.00 10/15/2018 Sacramento CA - Drivers
2608297            Overtime       0.50   33.00 10/15/2018 Sacramento CA - Drivers
2608297            Regular       40.00   22.00 10/22/2018 Sacramento CA - Drivers
2608297            Overtime       2.25   33.00 10/22/2018 Sacramento CA - Drivers
2608297            Regular       40.00   22.00 10/29/2018 Sacramento CA - Drivers
2608297            Overtime       3.50   33.00 10/29/2018 Sacramento CA - Drivers
2608297            Regular       11.25   22.00 11/05/2018 Sacramento CA - Drivers
2608297            Overtime       2.75   33.00 11/05/2018 Sacramento CA - Drivers
Total for 2608297             1,404.00
2144313            Regular        1.50   21.00 12/26/2016 Sacramento CA - Drivers
2144313            Regular       24.00   22.00 01/02/2017 Sacramento CA - Drivers
2144313            Overtime       1.75   33.00 01/02/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 01/09/2017 Sacramento CA - Drivers
2144313 Case 2:19-cv-08580-JFW-MAA
                   Overtime      15.00Document
                                         33.00 38-5    Filed Sacramento
                                                 01/09/2017  03/22/21 Page    239 of 691
                                                                        CA - Drivers       Page ID
2144313            Regular       40.00   22.00 #:1012
                                                 01/16/2017 Sacramento CA - Drivers
2144313            Overtime      15.50   33.00 01/16/2017 Sacramento CA - Drivers
2144313            Regular       38.00   22.00 01/23/2017 Sacramento CA - Drivers
2144313            Overtime       9.50   33.00 01/23/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 01/30/2017 Sacramento CA - Drivers
2144313            Overtime      15.00   33.00 01/30/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 02/06/2017 Sacramento CA - Drivers
2144313            Overtime      17.50   33.00 02/06/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 02/13/2017 Sacramento CA - Drivers
2144313            Overtime      11.00   33.00 02/13/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 02/20/2017 Sacramento CA - Drivers
2144313            Overtime      10.00   33.00 02/20/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 02/27/2017 Sacramento CA - Drivers
2144313            Overtime      11.50   33.00 02/27/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 03/06/2017 Sacramento CA - Drivers
2144313            Overtime      14.50   33.00 03/06/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 03/13/2017 Sacramento CA - Drivers
2144313            Overtime      14.50   33.00 03/13/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 03/20/2017 Sacramento CA - Drivers
2144313            Overtime       8.50   33.00 03/20/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 03/27/2017 Sacramento CA - Drivers
2144313            Overtime      17.50   33.00 03/27/2017 Sacramento CA - Drivers
2144313            Regular       20.00   22.00 04/03/2017 Sacramento CA - Drivers
2144313            Overtime       5.00   33.00 04/03/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 04/10/2017 Sacramento CA - Drivers
2144313            Overtime      14.50   33.00 04/10/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 04/17/2017 Sacramento CA - Drivers
2144313            Overtime      10.50   33.00 04/17/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 04/24/2017 Sacramento CA - Drivers
2144313            Overtime      12.00   33.00 04/24/2017 Sacramento CA - Drivers
2144313            Regular       24.00   22.00 05/01/2017 Sacramento CA - Drivers
2144313            Overtime       7.00   33.00 05/01/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 05/08/2017 Sacramento CA - Drivers
2144313            Overtime      12.00   33.00 05/08/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 05/15/2017 Sacramento CA - Drivers
2144313            Overtime      13.50   33.00 05/15/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 05/22/2017 Sacramento CA - Drivers
2144313            Overtime      15.50   33.00 05/22/2017 Sacramento CA - Drivers
2144313            Regular       24.00   22.00 05/29/2017 Sacramento CA - Drivers
2144313            Overtime       8.25   33.00 05/29/2017 Sacramento CA - Drivers
2144313            Regular        4.00   22.00 06/05/2017 Sacramento CA - Drivers
2144313            Regular       32.00   22.00 06/12/2017 Sacramento CA - Drivers
2144313            Overtime      14.50   33.00 06/12/2017 Sacramento CA - Drivers
2144313            Regular       39.00   22.00 06/19/2017 Sacramento CA - Drivers
2144313            Overtime      13.00   33.00 06/19/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 06/26/2017 Sacramento CA - Drivers
2144313            Overtime      17.00   33.00 06/26/2017 Sacramento CA - Drivers
2144313            Regular       32.00   22.00 07/03/2017 Sacramento CA - Drivers
2144313            Overtime       5.50   33.00 07/03/2017 Sacramento CA - Drivers
2144313            Regular       40.00   22.00 07/10/2017 Sacramento CA - Drivers
2144313            Overtime      10.50   33.00 07/10/2017 Sacramento CA - Drivers
2144313            Regular       19.50   20.98 12/12/2016 Sacramento CA - Drivers
2144313            Regular       31.75   22.00 12/19/2016 Sacramento CA - Drivers
Total for 2144313             1,370.25
848939             Regular       40.00   16.00 08/03/2015 Los Angeles CA East - Drivers
848939             Overtime       7.50   24.00 08/03/2015 Los Angeles CA East - Drivers
848939             Regular       26.00   16.00 08/10/2015 Los Angeles CA East - Drivers
848939             Overtime       4.00   24.00 08/10/2015 Los Angeles CA East - Drivers
848939             Regular       40.00   16.00 08/17/2015 Los Angeles CA East - Drivers
848939             Overtime       6.25   24.00 08/17/2015 Los Angeles CA East - Drivers
848939             Regular       40.00   16.00 08/24/2015 Los Angeles CA East - Drivers
848939             Overtime       9.00   24.00 08/24/2015 Los Angeles CA East - Drivers
848939 Case 2:19-cv-08580-JFW-MAA
                  Regular      40.00Document
                                       16.00 38-5    Filed Los
                                               08/31/2015  03/22/21
                                                               AngelesPage 240
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
848939            Overtime      8.50   24.00 #:1013
                                               08/31/2015 Los Angeles CA East - Drivers
848939            Regular      29.50   16.00 09/07/2015 Los Angeles CA East - Drivers
848939            Overtime      8.75   24.00 09/07/2015 Los Angeles CA East - Drivers
848939            Regular      40.00   16.00 09/21/2015 Los Angeles CA East - Drivers
848939            Overtime     10.50   24.00 09/21/2015 Los Angeles CA East - Drivers
848939            Regular      32.00   16.00 09/28/2015 Los Angeles CA East - Drivers
848939            Overtime      9.25   24.00 09/28/2015 Los Angeles CA East - Drivers
848939            Regular      40.00   16.00 10/05/2015 Los Angeles CA East - Drivers
848939            Overtime      4.75   32.00 10/05/2015 Los Angeles CA East - Drivers
848939            Regular      40.00   16.00 10/12/2015 Los Angeles CA East - Drivers
848939            Overtime     18.25   24.00 10/12/2015 Los Angeles CA East - Drivers
848939            Regular      56.00   16.00 10/26/2015 Los Angeles CA East - Drivers
848939            Overtime     20.00   24.00 10/19/2015 Los Angeles CA East - Drivers
848939            Regular       4.00   16.00 11/02/2015 Los Angeles CA East - Drivers
848939            Regular      24.00   16.00 11/09/2015 Los Angeles CA East - Drivers
848939            Overtime      6.25   24.00 11/09/2015 Los Angeles CA East - Drivers
Total for 848939              564.50
1160967           Regular       4.50   20.00 02/15/2016 Sacramento CA - Drivers
1160967           Regular      14.50   20.00 02/22/2016 Sacramento CA - Drivers
1160967           Regular       8.00   20.00 03/07/2016 Sacramento CA - Drivers
1160967           Regular       9.25   20.00 03/14/2016 Sacramento CA - Drivers
1160967           Regular       4.75   20.00 03/21/2016 Sacramento CA - Drivers
1160967           Regular      38.50   20.00 03/28/2016 Sacramento CA - Drivers
1160967           Regular      16.25   20.00 04/04/2016 Sacramento CA - Drivers
1160967           Regular      46.75   20.00 04/11/2016 Sacramento CA - Drivers
1160967           Regular      23.00   20.00 04/18/2016 Sacramento CA - Drivers
1160967           Regular      16.50   20.00 04/25/2016 Sacramento CA - Drivers
1160967           Regular      21.25   20.00 05/02/2016 Sacramento CA - Drivers
1160967           Regular      14.50   20.00 05/09/2016 Sacramento CA - Drivers
1160967           Regular      12.00   20.00 05/16/2016 Sacramento CA - Drivers
1160967           Regular       8.00   20.00 05/23/2016 Sacramento CA - Drivers
1160967           Regular      18.75   20.00 05/30/2016 Sacramento CA - Drivers
1160967           Regular      20.25   20.00 06/06/2016 Sacramento CA - Drivers
1160967           Regular      24.25   20.00 06/13/2016 Sacramento CA - Drivers
1160967           Regular      11.25   21.00 02/15/2016 Sacramento CA - Drivers
1160967           Regular      42.50   21.00 03/07/2016 Sacramento CA - Drivers
1160967           Regular      27.00   21.00 03/14/2016 Sacramento CA - Drivers
1160967           Regular      18.00   21.00 03/21/2016 Sacramento CA - Drivers
1160967           Regular      12.25   21.00 04/04/2016 Sacramento CA - Drivers
1160967           Regular      22.00   21.00 04/18/2016 Sacramento CA - Drivers
1160967           Regular      20.50   21.00 04/25/2016 Sacramento CA - Drivers
1160967           Regular      33.75   21.00 05/02/2016 Sacramento CA - Drivers
1160967           Regular      32.00   21.00 05/09/2016 Sacramento CA - Drivers
1160967           Regular      21.50   21.00 05/16/2016 Sacramento CA - Drivers
1160967           Regular      28.25   21.00 05/23/2016 Sacramento CA - Drivers
1160967           Regular      33.25   21.00 05/30/2016 Sacramento CA - Drivers
1160967           Regular      26.75   21.00 06/06/2016 Sacramento CA - Drivers
1160967           Regular      13.75   21.00 06/20/2016 Sacramento CA - Drivers
Total for 1160967             643.75
2195787           Regular      16.00   20.00 02/13/2017 Los Angeles CA West - Drivers
2195787           Overtime      2.00   30.00 02/13/2017 Los Angeles CA West - Drivers
2195787           Regular      24.00   20.00 02/20/2017 Los Angeles CA West - Drivers
2195787           Overtime     10.50   30.00 02/20/2017 Los Angeles CA West - Drivers
2195787           Regular      24.00   20.00 02/27/2017 Los Angeles CA West - Drivers
2195787           Overtime      6.00   30.00 02/27/2017 Los Angeles CA West - Drivers
2195787           Regular      32.00   20.00 03/06/2017 Los Angeles CA West - Drivers
2195787           Overtime      9.50   30.00 03/06/2017 Los Angeles CA West - Drivers
2195787           Regular      24.00   20.00 03/13/2017 Los Angeles CA West - Drivers
2195787           Overtime      8.75   30.00 03/13/2017 Los Angeles CA West - Drivers
2195787           Regular      23.00   20.00 03/20/2017 Los Angeles CA West - Drivers
2195787           Overtime      5.50   30.00 03/20/2017 Los Angeles CA West - Drivers
2195787           Regular      16.00   20.00 03/27/2017 Los Angeles CA West - Drivers
2195787 Case 2:19-cv-08580-JFW-MAA
                   Overtime      7.00Document
                                        30.00 38-5    Filed Los
                                                03/27/2017  03/22/21
                                                                AngelesPage 241- Drivers
                                                                       CA West   of 691    Page ID
2195787            Regular      12.00   20.00 #:1014
                                                04/10/2017 Los Angeles CA West - Drivers
2195787            Overtime      1.50   30.00 04/10/2017 Los Angeles CA West - Drivers
2195787            Regular      24.00   20.00 04/17/2017 Los Angeles CA West - Drivers
2195787            Overtime      7.50   30.00 04/17/2017 Los Angeles CA West - Drivers
2195787            Regular      32.00   20.00 04/24/2017 Los Angeles CA West - Drivers
2195787            Overtime     12.00   30.00 04/24/2017 Los Angeles CA West - Drivers
2195787            Regular       8.00   20.00 05/01/2017 Los Angeles CA West - Drivers
2195787            Overtime      4.00   30.00 05/01/2017 Los Angeles CA West - Drivers
Total for 2195787              309.25
1323903            Regular      24.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1323903            Overtime     12.00   24.00 05/09/2016 Los Angeles CA West - Drivers
1323903            Regular      32.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1323903            Overtime     11.00   24.00 05/16/2016 Los Angeles CA West - Drivers
1323903            Regular      32.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1323903            Overtime      7.50   24.00 05/09/2016 Los Angeles CA West - Drivers
1323903            Regular      32.00   16.00 06/06/2016 Los Angeles CA West - Drivers
1323903            Overtime      6.50   24.00 06/06/2016 Los Angeles CA West - Drivers
Total for 1323903              157.00
2261750            Regular      24.00   22.50 05/29/2017 Sacramento CA - Drivers
2261750            Overtime      4.50   33.75 05/29/2017 Sacramento CA - Drivers
2261750            Regular      16.00   23.00 06/12/2017 Sacramento CA - Drivers
2261750            Overtime      5.00   34.50 06/12/2017 Sacramento CA - Drivers
2261750            Regular      40.00   23.00 06/19/2017 Sacramento CA - Drivers
2261750            Overtime      9.00   34.50 06/19/2017 Sacramento CA - Drivers
2261750            Regular       8.00   23.00 06/26/2017 Sacramento CA - Drivers
2261750            Overtime      2.50   34.50 06/26/2017 Sacramento CA - Drivers
Total for 2261750              109.00
2650662            Regular       2.00   20.00 11/26/2018 Los Angeles CA East - Drivers
2650662            Regular      17.50   20.00 12/10/2018 Los Angeles CA East - Drivers
2650662            Regular       7.50   20.00 12/17/2018 Los Angeles CA East - Drivers
Total for 2650662               27.00
2611624            Regular      24.00   23.00 01/28/2019 Los Angeles CA West - Drivers
2611624            Overtime      8.50   34.50 01/28/2019 Los Angeles CA West - Drivers
2611624            Regular      31.50   23.00 02/04/2019 Los Angeles CA West - Drivers
2611624            Overtime      5.25   34.50 02/04/2019 Los Angeles CA West - Drivers
2611624            Regular      24.00   23.00 02/11/2019 Los Angeles CA West - Drivers
2611624            Overtime     10.50   34.50 02/11/2019 Los Angeles CA West - Drivers
2611624            Regular      16.00   23.00 02/18/2019 Los Angeles CA West - Drivers
2611624            Overtime      6.00   34.50 02/18/2019 Los Angeles CA West - Drivers
2611624            Regular      32.00   23.00 02/25/2019 Los Angeles CA West - Drivers
2611624            Overtime      6.50   34.50 02/25/2019 Los Angeles CA West - Drivers
2611624            Regular      16.00   23.00 03/04/2019 Los Angeles CA West - Drivers
2611624            Overtime      1.50   34.50 03/04/2019 Los Angeles CA West - Drivers
2611624            Regular      16.00   23.00 03/11/2019 Los Angeles CA West - Drivers
2611624            Overtime      4.00   34.50 03/11/2019 Los Angeles CA West - Drivers
2611624            Regular      16.00   23.00 03/18/2019 Los Angeles CA West - Drivers
2611624            Overtime      2.50   34.50 03/18/2019 Los Angeles CA West - Drivers
2611624            Regular      23.75   23.00 03/25/2019 Los Angeles CA West - Drivers
2611624            Overtime      6.25   34.50 03/25/2019 Los Angeles CA West - Drivers
2611624            Regular       8.00   23.00 04/01/2019 Los Angeles CA West - Drivers
2611624            Overtime      2.00   34.50 04/01/2019 Los Angeles CA West - Drivers
2611624            Regular      24.00   23.00 04/08/2019 Los Angeles CA West - Drivers
2611624            Overtime     11.00   34.50 04/08/2019 Los Angeles CA West - Drivers
2611624            Regular      16.00   23.00 04/15/2019 Los Angeles CA West - Drivers
2611624            Overtime      5.50   34.50 04/15/2019 Los Angeles CA West - Drivers
2611624            Regular      40.00   23.00 04/22/2019 Los Angeles CA West - Drivers
2611624            Overtime     10.50   34.50 04/22/2019 Los Angeles CA West - Drivers
2611624            Regular      24.00   23.00 04/29/2019 Los Angeles CA West - Drivers
2611624            Overtime      2.75   34.50 04/29/2019 Los Angeles CA West - Drivers
2611624            Regular       8.00   23.00 05/06/2019 Los Angeles CA West - Drivers
2611624            Overtime      1.00   34.50 05/06/2019 Los Angeles CA West - Drivers
2611624            Regular       8.00   23.00 05/13/2019 Los Angeles CA West - Drivers
2611624 Case 2:19-cv-08580-JFW-MAA
                   Regular       16.00Document
                                         23.00 38-5    Filed Los
                                                 05/20/2019  03/22/21
                                                                 AngelesPage 242- Drivers
                                                                        CA West   of 691    Page ID
2611624            Overtime       2.50   34.50 #:1015
                                                 05/20/2019 Los Angeles CA West - Drivers
2611624            Regular       12.00   23.00 05/27/2019 Los Angeles CA West - Drivers
2611624            Overtime       2.00   34.50 05/27/2019 Los Angeles CA West - Drivers
2611624            Regular       16.00   23.00 06/03/2019 Los Angeles CA West - Drivers
2611624            Overtime       1.50   34.50 06/03/2019 Los Angeles CA West - Drivers
2611624            Regular       23.00   23.00 06/10/2019 Los Angeles CA West - Drivers
2611624            Overtime       2.50   34.50 06/10/2019 Los Angeles CA West - Drivers
2611624            Regular       32.00   22.00 12/10/2018 Los Angeles CA West - Drivers
2611624            Overtime       5.50   33.00 12/10/2018 Los Angeles CA West - Drivers
2611624            Regular       40.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2611624            Overtime       4.50   33.00 12/17/2018 Los Angeles CA West - Drivers
2611624            Regular       32.00   22.00 12/24/2018 Los Angeles CA West - Drivers
2611624            Overtime      12.00   33.00 12/24/2018 Los Angeles CA West - Drivers
2611624            Regular       32.00   22.00 12/31/2018 Los Angeles CA West - Drivers
2611624            Overtime      11.50   33.00 12/31/2018 Los Angeles CA West - Drivers
2611624            Regular       40.00   22.00 01/07/2019 Los Angeles CA West - Drivers
2611624            Overtime      18.00   33.00 01/07/2019 Los Angeles CA West - Drivers
2611624            Regular       32.00   22.00 01/14/2019 Los Angeles CA West - Drivers
2611624            Overtime      15.00   33.00 01/14/2019 Los Angeles CA West - Drivers
2611624            Regular        8.00   22.00 01/21/2019 Los Angeles CA West - Drivers
2611624            Overtime       4.00   33.00 01/21/2019 Los Angeles CA West - Drivers
2611624            Regular       23.50   39.17 10/01/2018 Los Angeles CA West - Drivers
2611624            Overtime       2.50   58.76 10/01/2018 Los Angeles CA West - Drivers
2611624            Regular       27.50   39.17 10/08/2018 Los Angeles CA West - Drivers
2611624            Overtime       2.50   58.76 10/08/2018 Los Angeles CA West - Drivers
2611624            Regular       32.00   39.17 10/15/2018 Los Angeles CA West - Drivers
2611624            Overtime       6.75   58.76 10/15/2018 Los Angeles CA West - Drivers
2611624            Regular       28.75   39.17 10/22/2018 Los Angeles CA West - Drivers
2611624            Overtime       7.00   58.76 10/22/2018 Los Angeles CA West - Drivers
2611624            Regular       23.75   39.17 10/29/2018 Los Angeles CA West - Drivers
2611624            Overtime       4.25   58.76 10/29/2018 Los Angeles CA West - Drivers
2611624            Regular       33.25   39.17 11/05/2018 Los Angeles CA West - Drivers
2611624            Overtime       4.50   58.76 11/05/2018 Los Angeles CA West - Drivers
2611624            Regular       30.00   39.17 11/12/2018 Los Angeles CA West - Drivers
2611624            Overtime       4.00   58.76 11/12/2018 Los Angeles CA West - Drivers
2611624            Regular        8.00   39.17 11/19/2018 Los Angeles CA West - Drivers
2611624            Overtime       1.50   58.76 11/19/2018 Los Angeles CA West - Drivers
2611624            Regular       16.00   39.17 11/26/2018 Los Angeles CA West - Drivers
2611624            Overtime       0.50   58.76 11/26/2018 Los Angeles CA West - Drivers
2611624            Regular        7.75   40.22 05/20/2019 Los Angeles CA West - Drivers
2611624            Regular        8.00   40.22 05/27/2019 Los Angeles CA West - Drivers
2611624            Overtime       4.00   60.33 05/27/2019 Los Angeles CA West - Drivers
2611624            Regular       16.00   40.22 06/03/2019 Los Angeles CA West - Drivers
2611624            Overtime       4.00   60.33 06/03/2019 Los Angeles CA West - Drivers
2611624            Regular        8.00   40.22 06/10/2019 Los Angeles CA West - Drivers
2611624            Overtime       3.50   60.33 06/10/2019 Los Angeles CA West - Drivers
2611624            Regular       23.00   40.22 06/17/2019 Los Angeles CA West - Drivers
2611624            Overtime       2.25   60.33 06/17/2019 Los Angeles CA West - Drivers
2611624            Regular       19.50   21.85 04/01/2019 Los Angeles CA West - Drivers
2611624            Regular       24.00   21.00 12/03/2018 Los Angeles CA West - Drivers
Total for 2611624             1,149.25
1331097            Regular       28.00   16.50 07/11/2016 Los Angeles CA West - Drivers
1331097            Overtime      12.00   24.75 07/11/2016 Los Angeles CA West - Drivers
1331097            Regular        6.50   16.50 07/18/2016 Los Angeles CA West - Drivers
Total for 1331097                46.50
891247             Regular       31.75   18.50 08/03/2015 Los Angeles CA East - Drivers
891247             Overtime       3.50   27.75 08/03/2015 Los Angeles CA East - Drivers
891247             Regular       24.00   18.50 08/10/2015 Los Angeles CA East - Drivers
891247             Overtime       2.75   27.75 08/10/2015 Los Angeles CA East - Drivers
Total for 891247                 62.00
786186             Regular       13.00   20.92 11/14/2016 Sacramento CA - Drivers
786186             Regular       24.00   23.00 09/26/2016 Sacramento CA - Drivers
786186 Case 2:19-cv-08580-JFW-MAA
                  Overtime       4.00Document
                                        34.50 38-5    Filed Sacramento
                                                09/26/2016  03/22/21 Page    243 of 691
                                                                       CA - Drivers       Page ID
786186            Regular      32.00    23.00 #:1016
                                                10/03/2016 Sacramento CA - Drivers
786186            Overtime       1.00   34.50 10/03/2016 Sacramento CA - Drivers
786186            Regular      16.00    23.00 10/10/2016 Sacramento CA - Drivers
Total for 786186               90.00
886941            Regular      39.00    17.00 08/03/2015 Los Angeles CA West - Drivers
886941            Overtime       7.00   25.50 08/03/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    17.00 08/10/2015 Los Angeles CA West - Drivers
886941            Overtime       7.75   25.50 08/10/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    17.00 08/17/2015 Los Angeles CA West - Drivers
886941            Overtime       7.25   25.50 08/17/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 08/24/2015 Los Angeles CA West - Drivers
886941            Overtime       7.50   28.50 08/24/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 08/31/2015 Los Angeles CA West - Drivers
886941            Overtime     17.75    28.50 08/31/2015 Los Angeles CA West - Drivers
886941            Regular      32.00    19.00 09/07/2015 Los Angeles CA West - Drivers
886941            Overtime       9.00   28.50 08/31/2015 Los Angeles CA West - Drivers
886941            Regular      32.00    19.00 09/14/2015 Los Angeles CA West - Drivers
886941            Overtime     10.75    28.50 09/14/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 09/21/2015 Los Angeles CA West - Drivers
886941            Overtime       4.75   28.50 09/21/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 09/28/2015 Los Angeles CA West - Drivers
886941            Overtime       7.75   28.50 09/28/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 10/05/2015 Los Angeles CA West - Drivers
886941            Overtime       4.50   28.50 10/05/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 10/12/2015 Los Angeles CA West - Drivers
886941            Overtime       4.75   28.50 10/12/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 10/19/2015 Los Angeles CA West - Drivers
886941            Overtime       2.00   28.50 10/19/2015 Los Angeles CA West - Drivers
886941            Regular      35.50    19.00 10/26/2015 Los Angeles CA West - Drivers
886941            Overtime       1.50   28.50 10/26/2015 Los Angeles CA West - Drivers
886941            Regular      32.00    19.00 11/02/2015 Los Angeles CA West - Drivers
886941            Overtime     12.25    28.50 11/02/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 11/09/2015 Los Angeles CA West - Drivers
886941            Overtime       5.00   28.50 11/09/2015 Los Angeles CA West - Drivers
886941            Regular      39.50    19.00 11/16/2015 Los Angeles CA West - Drivers
886941            Overtime       8.25   28.50 11/16/2015 Los Angeles CA West - Drivers
886941            Regular      15.75    19.00 11/23/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 11/30/2015 Los Angeles CA West - Drivers
886941            Overtime     29.50    28.50 11/30/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 12/07/2015 Los Angeles CA West - Drivers
886941            Overtime      -9.50   28.50 12/07/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 12/14/2015 Los Angeles CA West - Drivers
886941            Overtime       6.00   28.50 12/14/2015 Los Angeles CA West - Drivers
886941            Regular      23.25    19.00 12/21/2015 Los Angeles CA West - Drivers
886941            Regular      23.50    19.00 12/28/2015 Los Angeles CA West - Drivers
886941            Regular      40.00    19.00 01/04/2016 Los Angeles CA West - Drivers
886941            Overtime       7.25   28.50 01/04/2016 Los Angeles CA West - Drivers
886941            Regular      39.75    19.00 01/11/2016 Los Angeles CA West - Drivers
886941            Overtime       4.25   28.50 01/11/2016 Los Angeles CA West - Drivers
886941            Regular      39.50    19.00 01/04/2016 Los Angeles CA West - Drivers
886941            Overtime       3.50   28.50 01/04/2016 Los Angeles CA West - Drivers
886941            Regular      31.50    19.00 01/25/2016 Los Angeles CA West - Drivers
886941            Overtime       1.75   28.50 01/25/2016 Los Angeles CA West - Drivers
886941            Regular        8.00   20.00 08/29/2016 Los Angeles CA West - Drivers
886941            Overtime       4.25   30.00 08/29/2016 Los Angeles CA West - Drivers
886941            Regular      24.00    20.00 09/05/2016 Los Angeles CA West - Drivers
886941            Overtime       3.75   30.00 09/05/2016 Los Angeles CA West - Drivers
886941            Regular      31.25    20.00 09/12/2016 Los Angeles CA West - Drivers
886941            Regular      32.00    20.00 09/19/2016 Los Angeles CA West - Drivers
886941            Overtime     10.75    30.00 09/19/2016 Los Angeles CA West - Drivers
886941            Regular      32.00    20.00 09/26/2016 Los Angeles CA West - Drivers
886941            Overtime       6.50   30.00 09/26/2016 Los Angeles CA West - Drivers
886941   Case 2:19-cv-08580-JFW-MAA
                    Regular      24.00Document
                                         20.00 38-5    Filed Los
                                                 10/03/2016  03/22/21
                                                                 AngelesPage 244- Drivers
                                                                        CA West   of 691 Page ID
886941              Overtime      9.25   30.00 #:1017
                                                 10/03/2016 Los Angeles CA West - Drivers
886941              Regular        32.00    20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        4.00    30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime       11.50    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime       10.25    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        5.00    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    21.00   10/01/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        0.50    31.50   10/01/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        40.00    23.00   01/07/2019   Los   Angeles   CA   West   - Drivers
886941              Overtime        3.50    34.50   01/07/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        40.00    23.00   01/14/2019   Los   Angeles   CA   West   - Drivers
886941              Overtime        4.00    34.50   01/14/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        40.00    23.00   01/21/2019   Los   Angeles   CA   West   - Drivers
886941              Overtime        1.50    34.50   01/21/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    23.00   01/28/2019   Los   Angeles   CA   West   - Drivers
886941              Overtime        3.00    34.50   01/28/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    23.00   02/04/2019   Los   Angeles   CA   West   - Drivers
886941              Overtime        1.25    34.50   02/04/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        40.00    23.00   02/11/2019   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    23.00   02/18/2019   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    23.00   02/25/2019   Los   Angeles   CA   West   - Drivers
886941              Overtime        0.50    34.50   02/25/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        36.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
886941              Overtime        8.00    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    20.00   10/01/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        1.75    30.00   10/01/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.00   10/08/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        4.00    30.00   10/08/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.00   10/15/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.00   10/22/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        0.50    30.00   10/22/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.00   10/29/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.00   11/05/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        4.00    30.00   11/05/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        24.00    20.00   11/19/2018   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    20.50   12/17/2018   Los   Angeles   CA   West   - Drivers
886941              Regular        16.00    20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    20.50   12/31/2018   Los   Angeles   CA   West   - Drivers
886941              Overtime        0.50    30.75   12/31/2018   Los   Angeles   CA   West   - Drivers
886941              Regular         8.00    20.50   03/11/2019   Los   Angeles   CA   West   - Drivers
886941              Regular        39.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        37.50    20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    20.00   05/23/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        3.00    30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        39.00    20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        3.00    30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    20.00   06/20/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        37.00    20.00   06/27/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        1.00    30.00   06/27/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        23.50    20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        0.50    30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        30.00    20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        30.00    20.00   07/18/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        1.00    30.00   07/18/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        32.00    20.00   07/25/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        3.00    30.00   07/25/2016   Los   Angeles   CA   West   - Drivers
886941              Regular        24.00    20.00   08/01/2016   Los   Angeles   CA   West   - Drivers
886941              Overtime        2.00    30.00   08/01/2016   Los   Angeles   CA   West   - Drivers
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                  Regular       32.00Document
                                        20.00 38-5    Filed Los
                                                08/08/2016  03/22/21
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                                                                       CA West   of 691    Page ID
886941            Regular       32.00   20.00 #:1018
                                                05/07/2018 Los Angeles CA West - Drivers
886941            Overtime       1.00   30.00 05/07/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 05/14/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 05/21/2018 Los Angeles CA West - Drivers
886941            Regular       24.00   20.00 05/28/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 06/04/2018 Los Angeles CA West - Drivers
886941            Overtime       1.75   30.00 06/04/2018 Los Angeles CA West - Drivers
886941            Regular       26.50   20.00 06/11/2018 Los Angeles CA West - Drivers
886941            Overtime       0.25   30.00 06/11/2018 Los Angeles CA West - Drivers
886941            Regular       16.00   20.00 06/18/2018 Los Angeles CA West - Drivers
886941            Regular       23.50   20.00 06/25/2018 Los Angeles CA West - Drivers
886941            Overtime       1.00   30.00 06/25/2018 Los Angeles CA West - Drivers
886941            Regular        6.50   20.00 07/02/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 07/09/2018 Los Angeles CA West - Drivers
886941            Overtime       0.75   30.00 07/09/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 07/16/2018 Los Angeles CA West - Drivers
886941            Regular       28.00   20.00 07/23/2018 Los Angeles CA West - Drivers
886941            Overtime       2.00   30.00 07/23/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 07/30/2018 Los Angeles CA West - Drivers
886941            Regular       32.00   20.00 08/06/2018 Los Angeles CA West - Drivers
886941            Regular       28.00   20.00 08/13/2018 Los Angeles CA West - Drivers
886941            Regular       27.00   20.00 08/20/2018 Los Angeles CA West - Drivers
886941            Regular       28.50   20.00 08/27/2018 Los Angeles CA West - Drivers
886941            Regular       24.00   20.00 09/03/2018 Los Angeles CA West - Drivers
886941            Overtime       1.25   30.00 09/03/2018 Los Angeles CA West - Drivers
886941            Regular       31.00   20.00 09/10/2018 Los Angeles CA West - Drivers
886941            Overtime       0.50   30.00 09/10/2018 Los Angeles CA West - Drivers
886941            Regular       31.00   20.00 09/17/2018 Los Angeles CA West - Drivers
886941            Overtime       3.25   30.00 09/17/2018 Los Angeles CA West - Drivers
886941            Regular       30.50   20.00 09/24/2018 Los Angeles CA West - Drivers
886941            Overtime       0.50   30.00 09/24/2018 Los Angeles CA West - Drivers
886941            Regular       16.00   20.00 10/01/2018 Los Angeles CA West - Drivers
886941            Overtime       2.00   30.00 10/01/2018 Los Angeles CA West - Drivers
886941            Regular       12.50   19.00 04/10/2017 Los Angeles CA West - Drivers
886941            Overtime       1.00   28.50 04/10/2017 Los Angeles CA West - Drivers
886941            Regular       24.00   19.00 04/17/2017 Los Angeles CA West - Drivers
886941            Regular       40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
886941            Overtime       1.00   28.50 04/10/2017 Los Angeles CA West - Drivers
886941            Regular       24.00   20.00 10/17/2016 Los Angeles CA West - Drivers
886941            Overtime       1.00   30.00 10/17/2016 Los Angeles CA West - Drivers
886941            Regular        8.00   20.00 10/01/2018 Los Angeles CA West - Drivers
886941            Regular       12.00   19.00 04/03/2017 Los Angeles CA West - Drivers
Total for 886941             3,069.00
1461005           Regular        8.00   19.00 12/19/2016 Los Angeles CA East - Drivers
1461005           Overtime       4.00   28.50 12/19/2016 Los Angeles CA East - Drivers
1461005           Regular       15.50   19.00 12/26/2016 Los Angeles CA East - Drivers
1461005           Overtime       4.00   28.50 12/26/2016 Los Angeles CA East - Drivers
1461005           Regular       15.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1461005           Overtime       1.00   28.50 12/05/2016 Los Angeles CA East - Drivers
1461005           Regular       20.25   19.00 12/12/2016 Los Angeles CA East - Drivers
Total for 1461005               67.75
1202926           Regular       16.00   20.00 01/18/2016 Los Angeles CA West - Drivers
1202926           Overtime       3.50   30.00 01/18/2016 Los Angeles CA West - Drivers
1202926           Regular       32.00   20.00 01/25/2016 Los Angeles CA West - Drivers
1202926           Overtime      11.75   30.00 01/25/2016 Los Angeles CA West - Drivers
1202926           Regular       24.00   20.00 02/01/2016 Los Angeles CA West - Drivers
1202926           Overtime      10.75   30.00 02/01/2016 Los Angeles CA West - Drivers
1202926           Regular       40.00   20.00 02/08/2016 Los Angeles CA West - Drivers
1202926           Overtime      10.50   30.00 02/08/2016 Los Angeles CA West - Drivers
1202926           Regular       32.00   20.00 02/15/2016 Los Angeles CA West - Drivers
1202926           Overtime      10.00   30.00 02/15/2016 Los Angeles CA West - Drivers
1202926           Regular       32.00   20.00 02/22/2016 Los Angeles CA West - Drivers
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                     Overtime      9.25Document
                                          30.00 38-5    Filed Los
                                                  02/22/2016  03/22/21
                                                                  AngelesPage 246- Drivers
                                                                         CA West   of 691 Page ID
1202926              Regular      32.00   20.00 #:1019
                                                  02/29/2016 Los Angeles CA West - Drivers
1202926             Overtime        8.50    30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.50    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        12.00    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.00    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.25    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.50    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.25    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    30.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.50    30.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        23.00    20.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.50    20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.00    20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.75    30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        37.50    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.25    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        38.00    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        9.00    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        22.25    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.50    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        34.50    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.25    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.00    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        25.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.00    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.50    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.50    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.25    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.00    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.75    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.00    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.75    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1202926 Case   2:19-cv-08580-JFW-MAA
                     Regular      23.75Document
                                          20.25 38-5    Filed Los
                                                  10/03/2016  03/22/21
                                                                  AngelesPage 247- Drivers
                                                                         CA West   of 691 Page ID
1202926              Overtime      2.50   30.38 #:1020
                                                  10/03/2016 Los Angeles CA West - Drivers
1202926             Regular        40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.75    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.25    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.75    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.75    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.50    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.00    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime       15.75    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime       11.75    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.25    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.50    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.75    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.75    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.25    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular         8.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.50    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.75    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.00    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.75    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.50    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.00    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.50    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.25    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.00    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1202926 Case   2:19-cv-08580-JFW-MAA
                     Overtime      5.50Document
                                          30.38 38-5    Filed Los
                                                  05/08/2017  03/22/21
                                                                  AngelesPage 248- Drivers
                                                                         CA West   of 691 Page ID
1202926              Regular      31.75   20.25 #:1021
                                                  05/15/2017 Los Angeles CA West - Drivers
1202926             Overtime        2.50    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.00    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        37.75    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.00    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.50    30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        16.00    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.25    30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime       15.50    30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.00    30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.75    20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.00    30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   07/31/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.00    30.38   08/07/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   08/14/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        16.00    20.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.75    30.38   08/21/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.75    20.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.25    30.38   08/28/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        16.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.25    30.38   09/04/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.50    30.38   09/11/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.25    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        9.75    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.50    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.00    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    30.38   10/16/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   10/23/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.25    30.38   10/23/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   10/30/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.25    30.38   10/30/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   11/06/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    30.38   11/06/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   11/13/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   11/13/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        22.50    20.25   11/20/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.00    30.38   11/20/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   11/27/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.50    30.38   11/27/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   12/04/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.50    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
1202926 Case   2:19-cv-08580-JFW-MAA
                     Regular      24.00Document
                                          20.25 38-5    Filed Los
                                                  12/18/2017  03/22/21
                                                                  AngelesPage 249- Drivers
                                                                         CA West   of 691 Page ID
1202926              Overtime      2.50   30.38 #:1022
                                                  12/18/2017 Los Angeles CA West - Drivers
1202926             Regular        24.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.25    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.50    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.50    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular         8.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        0.50    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        16.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.50    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.00    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.50    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.25    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        28.75    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.00    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        38.75    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.75    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.50    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.30    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.50    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.75    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.00    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   04/16/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    30.38   04/16/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   04/23/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.75    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        27.25    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.50    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.25    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        38.25    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.00    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.75    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.25    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.25    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.00    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        29.75    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.25    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       16.75    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1202926 Case   2:19-cv-08580-JFW-MAA
                     Overtime     12.50Document
                                          33.00 38-5    Filed Los
                                                  07/23/2018  03/22/21
                                                                  AngelesPage 250- Drivers
                                                                         CA West   of 691 Page ID
1202926              Regular      32.00   22.00 #:1023
                                                  07/30/2018 Los Angeles CA West - Drivers
1202926             Overtime        9.50    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.50    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.25    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       11.75    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        9.25    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.00    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.75    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.25    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.75    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.00    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       14.25    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        38.75    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.25    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.75    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.75    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       15.75    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.00    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       14.00    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        29.75    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.75    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.50    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.75    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.00    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.75    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.75    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       11.25    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.00    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.00    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.00    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.75    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.50    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.75    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        6.75    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1202926 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          22.00 38-5    Filed Los
                                                  03/04/2019  03/22/21
                                                                  AngelesPage 251- Drivers
                                                                         CA West   of 691 Page ID
1202926              Overtime     11.00   33.00 #:1024
                                                  03/04/2019 Los Angeles CA West - Drivers
1202926             Regular        24.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.25    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.75    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.00    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        39.25    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.25    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        9.25    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        38.25    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        5.75    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.25    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.50    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        38.75    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        4.50    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.50    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.75    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        2.25    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        28.50    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       10.00    33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        40.50    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.50    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.00    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        37.75    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       16.25    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        0.50    33.00   07/01/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        29.50    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       12.25    33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       21.75    33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        30.50    22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.00    33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        31.75     3.25   07/29/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        3.25     4.88   07/29/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        30.75    22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        8.50    33.00   08/05/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       13.25    33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        32.00    22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime       21.00    33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        24.00    22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        9.75    33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular        28.50    22.00   09/02/2019   Los   Angeles   CA   West   - Drivers
1202926             Overtime        7.25    33.00   09/02/2019   Los   Angeles   CA   West   - Drivers
1202926             Regular         8.00    19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.00    29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular         8.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        0.50    29.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular         4.00    19.50   06/18/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular         8.00    20.50   07/02/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        1.75    30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
1202926             Regular         8.00    20.50   07/09/2018   Los   Angeles   CA   West   - Drivers
1202926             Overtime        0.25    30.75   07/09/2018   Los   Angeles   CA   West   - Drivers
1202926 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         20.50 38-5    Filed Los
                                                 07/23/2018  03/22/21
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                                                                        CA West   of 691    Page ID
1202926            Overtime       4.00   30.75 #:1025
                                                 07/23/2018 Los Angeles CA West - Drivers
1202926            Regular        8.00   16.00 10/12/2015 Los Angeles CA West - Drivers
1202926            Overtime       1.50   24.00 10/12/2015 Los Angeles CA West - Drivers
1202926            Regular       66.00   19.00 10/26/2015 Los Angeles CA West - Drivers
1202926            Overtime       3.25   28.50 10/26/2015 Los Angeles CA West - Drivers
1202926            Regular       37.50   19.00 11/02/2015 Los Angeles CA West - Drivers
1202926            Overtime       3.25   28.50 11/02/2015 Los Angeles CA West - Drivers
1202926            Regular       39.50   19.00 11/09/2015 Los Angeles CA West - Drivers
1202926            Overtime       5.00   28.50 11/09/2015 Los Angeles CA West - Drivers
1202926            Regular       36.00   19.00 11/16/2015 Los Angeles CA West - Drivers
1202926            Overtime       8.00   28.50 11/16/2015 Los Angeles CA West - Drivers
1202926            Regular       32.00   19.00 11/23/2015 Los Angeles CA West - Drivers
1202926            Overtime       7.50   28.50 11/23/2015 Los Angeles CA West - Drivers
1202926            Regular       30.00   19.00 11/30/2015 Los Angeles CA West - Drivers
1202926            Overtime       5.50   28.50 11/30/2015 Los Angeles CA West - Drivers
1202926            Regular       40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
1202926            Overtime       4.00   28.50 12/07/2015 Los Angeles CA West - Drivers
1202926            Regular       40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1202926            Overtime      11.00   28.50 12/14/2015 Los Angeles CA West - Drivers
1202926            Regular       24.00   19.00 12/21/2015 Los Angeles CA West - Drivers
1202926            Overtime       2.00   28.50 12/21/2015 Los Angeles CA West - Drivers
1202926            Regular       33.75   19.00 12/28/2015 Los Angeles CA West - Drivers
1202926            Overtime       0.75   28.50 12/28/2015 Los Angeles CA West - Drivers
1202926            Regular       32.00   19.00 01/04/2016 Los Angeles CA West - Drivers
1202926            Overtime       2.50   28.50 01/04/2016 Los Angeles CA West - Drivers
1202926            Regular       39.00   19.00 01/11/2016 Los Angeles CA West - Drivers
1202926            Regular       16.00   19.00 01/18/2016 Los Angeles CA West - Drivers
1202926            Overtime       2.75   28.50 01/18/2016 Los Angeles CA West - Drivers
1202926            Regular       15.75   16.00 05/16/2016 Los Angeles CA West - Drivers
1202926            Overtime       2.25   24.00 05/16/2016 Los Angeles CA West - Drivers
Total for 1202926             8,126.80
2495388            Regular        8.00   19.50 03/19/2018 Los Angeles CA East - Drivers
2495388            Overtime       3.25   29.25 03/19/2018 Los Angeles CA East - Drivers
2495388            Regular        8.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2495388            Regular       32.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2495388            Overtime       0.13   30.00 03/26/2018 Los Angeles CA East - Drivers
2495388            Regular       32.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2495388            Regular       32.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2495388            Overtime       0.90   30.00 04/09/2018 Los Angeles CA East - Drivers
Total for 2495388               116.28
2545448            Regular       40.00   21.00 09/24/2018 Los Angeles CA West - Drivers
2545448            Overtime      11.50   31.50 09/24/2018 Los Angeles CA West - Drivers
2545448            Regular       40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
2545448            Overtime      12.50   31.50 10/01/2018 Los Angeles CA West - Drivers
2545448            Regular       40.00   21.00 10/08/2018 Los Angeles CA West - Drivers
2545448            Overtime       6.00   31.50 10/08/2018 Los Angeles CA West - Drivers
2545448            Regular        8.00   39.17 05/06/2019 Los Angeles CA West - Drivers
2545448            Overtime       1.25   58.76 05/06/2019 Los Angeles CA West - Drivers
2545448            Regular       22.00   40.22 05/13/2019 Los Angeles CA West - Drivers
2545448            Overtime       5.75   60.33 05/13/2019 Los Angeles CA West - Drivers
2545448            Regular       18.00   22.00 05/20/2019 Los Angeles CA West - Drivers
2545448            Overtime       7.00   60.33 05/20/2019 Los Angeles CA West - Drivers
2545448            Regular       36.00   40.22 05/27/2019 Los Angeles CA West - Drivers
2545448            Overtime      11.50   60.33 05/27/2019 Los Angeles CA West - Drivers
2545448            Regular       40.00   40.22 06/03/2019 Los Angeles CA West - Drivers
2545448            Overtime      14.75   60.33 06/03/2019 Los Angeles CA West - Drivers
2545448            Regular       32.00   40.22 06/10/2019 Los Angeles CA West - Drivers
2545448            Overtime       8.50   60.33 06/10/2019 Los Angeles CA West - Drivers
2545448            Regular       40.00   40.22 06/17/2019 Los Angeles CA West - Drivers
2545448            Overtime      12.50   60.33 06/17/2019 Los Angeles CA West - Drivers
2545448            Regular       32.00   40.22 06/24/2019 Los Angeles CA West - Drivers
2545448            Overtime      10.50   60.33 06/24/2019 Los Angeles CA West - Drivers
2545448 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        41.22 38-5    Filed Los
                                                08/12/2019  03/22/21
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                                                                       CA West   of 691    Page ID
2545448            Overtime      9.00   61.83 #:1026
                                                08/12/2019 Los Angeles CA West - Drivers
2545448            Regular       8.00   41.22 08/26/2019 Los Angeles CA West - Drivers
2545448            Overtime      1.50   61.83 08/26/2019 Los Angeles CA West - Drivers
2545448            Regular      21.25   21.85 09/03/2018 Los Angeles CA West - Drivers
2545448            Regular       8.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2545448            Overtime      1.00   31.50 07/15/2019 Los Angeles CA West - Drivers
2545448            Regular      20.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2545448            Overtime      4.00   31.50 07/22/2019 Los Angeles CA West - Drivers
2545448            Regular      16.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2545448            Overtime      4.50   31.50 07/08/2019 Los Angeles CA West - Drivers
2545448            Regular       4.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2545448            Regular      40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2545448            Overtime      5.75   31.50 07/29/2019 Los Angeles CA West - Drivers
2545448            Regular      40.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2545448            Overtime     14.75   31.50 08/05/2019 Los Angeles CA West - Drivers
2545448            Regular       8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
Total for 2545448              695.50
2592104            Regular      71.50   21.85 09/10/2018 Los Angeles CA West - Drivers
2592104            Regular      38.00   21.85 09/17/2018 Los Angeles CA West - Drivers
2592104            Regular      40.00   21.85 09/24/2018 Los Angeles CA West - Drivers
2592104            Regular      39.00   21.85 10/01/2018 Los Angeles CA West - Drivers
2592104            Regular      39.00   21.85 10/08/2018 Los Angeles CA West - Drivers
2592104            Regular      39.00   21.85 10/15/2018 Los Angeles CA West - Drivers
2592104            Regular      19.50   21.85 10/22/2018 Los Angeles CA West - Drivers
2592104            Regular      40.00   21.85 10/29/2018 Los Angeles CA West - Drivers
2592104            Regular      40.00   21.85 11/05/2018 Los Angeles CA West - Drivers
2592104            Regular      30.00   21.85 11/12/2018 Los Angeles CA West - Drivers
Total for 2592104              396.00
2498709            Regular       8.00   22.00 04/09/2018 Sacramento CA - Drivers
2498709            Regular      24.00   21.00 04/09/2018 Sacramento CA - Drivers
2498709            Overtime      3.00   31.50 04/09/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 04/16/2018 Sacramento CA - Drivers
2498709            Overtime      8.75   31.50 04/16/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 04/23/2018 Sacramento CA - Drivers
2498709            Overtime     12.00   31.50 04/23/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 04/30/2018 Sacramento CA - Drivers
2498709            Overtime      9.25   31.50 04/30/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 05/07/2018 Sacramento CA - Drivers
2498709            Overtime     11.50   31.50 05/07/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 05/14/2018 Sacramento CA - Drivers
2498709            Overtime     15.00   31.50 05/14/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 05/21/2018 Sacramento CA - Drivers
2498709            Overtime     10.50   31.50 05/21/2018 Sacramento CA - Drivers
2498709            Regular      32.00   21.00 05/28/2018 Sacramento CA - Drivers
2498709            Overtime      7.25   31.50 05/28/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 06/04/2018 Sacramento CA - Drivers
2498709            Overtime      9.50   31.50 06/04/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 06/11/2018 Sacramento CA - Drivers
2498709            Overtime      6.50   31.50 06/11/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 06/18/2018 Sacramento CA - Drivers
2498709            Overtime      7.25   31.50 06/18/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 06/25/2018 Sacramento CA - Drivers
2498709            Overtime     13.00   31.50 06/25/2018 Sacramento CA - Drivers
2498709            Regular      32.00   21.00 07/02/2018 Sacramento CA - Drivers
2498709            Overtime     14.50   31.50 07/02/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 07/09/2018 Sacramento CA - Drivers
2498709            Overtime     15.50   31.50 07/09/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 07/16/2018 Sacramento CA - Drivers
2498709            Overtime     19.50   31.50 07/16/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 07/23/2018 Sacramento CA - Drivers
2498709            Overtime     14.00   31.50 07/23/2018 Sacramento CA - Drivers
2498709            Regular      40.00   21.00 07/30/2018 Sacramento CA - Drivers
2498709 Case   2:19-cv-08580-JFW-MAA
                     Overtime     10.50Document
                                          31.50 38-5    Filed Sacramento
                                                  07/30/2018  03/22/21 Page    254 of 691 Page ID
                                                                         CA - Drivers
2498709              Regular      24.00   21.00 #:1027
                                                  08/06/2018 Sacramento CA - Drivers
2498709             Overtime        7.50    31.50   08/06/2018   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   08/13/2018   Sacramento   CA   - Drivers
2498709             Overtime        5.25    31.50   08/13/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   08/20/2018   Sacramento   CA   - Drivers
2498709             Overtime        3.50    31.50   08/20/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   08/27/2018   Sacramento   CA   - Drivers
2498709             Overtime        9.75    31.50   08/27/2018   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   09/03/2018   Sacramento   CA   - Drivers
2498709             Overtime        3.50    31.50   09/03/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   09/10/2018   Sacramento   CA   - Drivers
2498709             Overtime        6.00    31.50   09/10/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   09/17/2018   Sacramento   CA   - Drivers
2498709             Overtime        5.75    31.50   09/17/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   09/24/2018   Sacramento   CA   - Drivers
2498709             Overtime        5.50    31.50   09/24/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   10/01/2018   Sacramento   CA   - Drivers
2498709             Overtime        4.00    31.50   10/01/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   10/08/2018   Sacramento   CA   - Drivers
2498709             Overtime        1.00    31.50   10/08/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   10/15/2018   Sacramento   CA   - Drivers
2498709             Overtime        1.50    31.50   10/15/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   10/22/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   10/29/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   11/05/2018   Sacramento   CA   - Drivers
2498709             Overtime        5.50    31.50   11/05/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   11/12/2018   Sacramento   CA   - Drivers
2498709             Overtime        4.50    31.50   11/12/2018   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   11/19/2018   Sacramento   CA   - Drivers
2498709             Overtime        9.50    31.50   11/19/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   11/26/2018   Sacramento   CA   - Drivers
2498709             Overtime        6.00    31.50   11/26/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   12/03/2018   Sacramento   CA   - Drivers
2498709             Overtime       13.50    31.50   12/03/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   12/10/2018   Sacramento   CA   - Drivers
2498709             Overtime        3.25    31.50   12/10/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   12/17/2018   Sacramento   CA   - Drivers
2498709             Overtime        4.50    31.50   12/17/2018   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   12/24/2018   Sacramento   CA   - Drivers
2498709             Overtime        5.50    31.50   12/24/2018   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   12/31/2018   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   01/07/2019   Sacramento   CA   - Drivers
2498709             Overtime        4.00    31.50   01/07/2019   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   01/14/2019   Sacramento   CA   - Drivers
2498709             Overtime       10.00    31.50   01/14/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   01/21/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   01/28/2019   Sacramento   CA   - Drivers
2498709             Overtime       10.50    31.50   01/28/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   02/04/2019   Sacramento   CA   - Drivers
2498709             Overtime        6.50    31.50   02/04/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   02/11/2019   Sacramento   CA   - Drivers
2498709             Overtime       24.50    31.50   02/11/2019   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   02/18/2019   Sacramento   CA   - Drivers
2498709             Overtime        8.50    31.50   02/18/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   02/25/2019   Sacramento   CA   - Drivers
2498709             Overtime        6.75    31.50   02/25/2019   Sacramento   CA   - Drivers
2498709             Regular        32.00    21.00   03/04/2019   Sacramento   CA   - Drivers
2498709             Overtime        5.50    31.50   03/04/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   03/11/2019   Sacramento   CA   - Drivers
2498709             Overtime       10.50    31.50   03/11/2019   Sacramento   CA   - Drivers
2498709             Regular        40.00    21.00   03/18/2019   Sacramento   CA   - Drivers
2498709             Overtime        6.50    31.50   03/18/2019   Sacramento   CA   - Drivers
2498709 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         21.00 38-5    Filed Sacramento
                                                 03/25/2019  03/22/21 Page    255 of
                                                                        CA - Drivers   691 Page ID
2498709            Overtime      11.00   31.50 #:1028
                                                 03/25/2019 Sacramento CA - Drivers
2498709            Regular       40.00   21.00 04/01/2019 Sacramento CA - Drivers
2498709            Overtime      10.50   31.50 04/01/2019 Sacramento CA - Drivers
2498709            Regular       40.00   21.00 04/08/2019 Sacramento CA - Drivers
2498709            Overtime       3.00   31.50 04/08/2019 Sacramento CA - Drivers
2498709            Regular       40.00   21.00 04/15/2019 Sacramento CA - Drivers
2498709            Overtime       8.00   31.50 04/15/2019 Sacramento CA - Drivers
2498709            Regular       40.00   21.00 04/22/2019 Sacramento CA - Drivers
2498709            Overtime       8.50   31.50 04/22/2019 Sacramento CA - Drivers
2498709            Regular       40.00   21.00 04/29/2019 Sacramento CA - Drivers
2498709            Overtime       4.50   31.50 04/29/2019 Sacramento CA - Drivers
2498709            Regular        8.00   21.00 05/06/2019 Sacramento CA - Drivers
2498709            Overtime       2.50   31.50 05/06/2019 Sacramento CA - Drivers
2498709            Regular        8.20   20.50 04/02/2018 Sacramento CA - Drivers
Total for 2498709             2,586.45
2500237            Regular       16.00   21.00 06/10/2019 Sacramento CA - Drivers
2500237            Overtime       1.50   31.50 06/10/2019 Sacramento CA - Drivers
2500237            Regular       32.00   21.00 06/17/2019 Sacramento CA - Drivers
2500237            Overtime       7.00   31.50 06/17/2019 Sacramento CA - Drivers
2500237            Regular       24.00   20.75 04/23/2018 Sacramento CA - Drivers
2500237            Overtime       2.75   31.13 04/23/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 04/30/2018 Sacramento CA - Drivers
2500237            Overtime      12.50   31.13 04/30/2018 Sacramento CA - Drivers
2500237            Regular       32.00   20.75 05/07/2018 Sacramento CA - Drivers
2500237            Overtime       6.50   31.13 05/07/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 05/14/2018 Sacramento CA - Drivers
2500237            Overtime       8.25   31.13 05/14/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 05/21/2018 Sacramento CA - Drivers
2500237            Overtime      10.00   31.13 05/21/2018 Sacramento CA - Drivers
2500237            Regular       32.00   20.75 05/28/2018 Sacramento CA - Drivers
2500237            Overtime       4.50   31.13 05/28/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 06/04/2018 Sacramento CA - Drivers
2500237            Overtime       7.75   31.13 06/04/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 06/11/2018 Sacramento CA - Drivers
2500237            Overtime       5.00   31.13 06/11/2018 Sacramento CA - Drivers
2500237            Regular       32.00   20.75 06/18/2018 Sacramento CA - Drivers
2500237            Overtime       2.30   31.13 06/18/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 06/25/2018 Sacramento CA - Drivers
2500237            Overtime       4.30   31.13 06/25/2018 Sacramento CA - Drivers
2500237            Regular       32.00   20.75 07/02/2018 Sacramento CA - Drivers
2500237            Overtime      14.10   31.13 07/02/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 07/09/2018 Sacramento CA - Drivers
2500237            Overtime       7.30   31.13 07/09/2018 Sacramento CA - Drivers
2500237            Regular       32.00   20.75 07/16/2018 Sacramento CA - Drivers
2500237            Overtime       5.20   31.13 07/16/2018 Sacramento CA - Drivers
2500237            Regular       40.00   20.75 07/23/2018 Sacramento CA - Drivers
2500237            Overtime       4.10   31.13 07/23/2018 Sacramento CA - Drivers
2500237            Regular       32.00   21.75 07/30/2018 Sacramento CA - Drivers
2500237            Overtime       6.30   32.63 07/30/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 08/06/2018 Sacramento CA - Drivers
2500237            Overtime       6.30   32.63 08/06/2018 Sacramento CA - Drivers
2500237            Regular       24.00   21.75 08/13/2018 Sacramento CA - Drivers
2500237            Overtime       4.50   32.63 08/13/2018 Sacramento CA - Drivers
2500237            Regular       24.00   21.75 08/20/2018 Sacramento CA - Drivers
2500237            Overtime       6.60   32.63 08/20/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 08/27/2018 Sacramento CA - Drivers
2500237            Overtime      16.80   32.63 08/27/2018 Sacramento CA - Drivers
2500237            Regular       16.00   21.75 09/03/2018 Sacramento CA - Drivers
2500237            Overtime       5.80   32.63 09/03/2018 Sacramento CA - Drivers
2500237            Regular       37.00   21.75 09/10/2018 Sacramento CA - Drivers
2500237            Overtime       8.70   32.63 09/10/2018 Sacramento CA - Drivers
2500237            Regular       32.00   21.75 09/17/2018 Sacramento CA - Drivers
2500237 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.50Document
                                         32.63 38-5    Filed Sacramento
                                                 09/17/2018  03/22/21 Page    256 of
                                                                        CA - Drivers   691 Page ID
2500237            Regular       40.00   21.75 #:1029
                                                 09/24/2018 Sacramento CA - Drivers
2500237            Overtime       6.00   32.63 09/24/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 10/01/2018 Sacramento CA - Drivers
2500237            Overtime       4.60   32.63 10/01/2018 Sacramento CA - Drivers
2500237            Regular       24.00   21.75 10/08/2018 Sacramento CA - Drivers
2500237            Overtime       4.60   32.63 10/08/2018 Sacramento CA - Drivers
2500237            Regular       32.00   21.75 10/15/2018 Sacramento CA - Drivers
2500237            Overtime       5.60   32.63 10/15/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 10/22/2018 Sacramento CA - Drivers
2500237            Overtime       4.30   32.63 10/22/2018 Sacramento CA - Drivers
2500237            Regular       32.00   21.75 10/29/2018 Sacramento CA - Drivers
2500237            Overtime       6.00   32.63 10/29/2018 Sacramento CA - Drivers
2500237            Regular       32.00   21.75 11/05/2018 Sacramento CA - Drivers
2500237            Overtime       3.40   32.63 11/05/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 11/12/2018 Sacramento CA - Drivers
2500237            Overtime       0.30   32.63 11/12/2018 Sacramento CA - Drivers
2500237            Regular       32.00   21.75 11/19/2018 Sacramento CA - Drivers
2500237            Overtime       7.50   32.63 11/19/2018 Sacramento CA - Drivers
2500237            Regular       31.10   21.75 11/26/2018 Sacramento CA - Drivers
2500237            Overtime       1.10   32.63 11/26/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 12/03/2018 Sacramento CA - Drivers
2500237            Overtime       7.40   32.63 12/03/2018 Sacramento CA - Drivers
2500237            Regular       40.00   21.75 12/10/2018 Sacramento CA - Drivers
2500237            Overtime       5.60   32.63 12/10/2018 Sacramento CA - Drivers
2500237            Regular       29.90   21.75 12/17/2018 Sacramento CA - Drivers
2500237            Overtime       1.60   32.63 12/17/2018 Sacramento CA - Drivers
2500237            Regular       24.00   21.75 12/24/2018 Sacramento CA - Drivers
2500237            Overtime       2.60   32.63 12/24/2018 Sacramento CA - Drivers
2500237            Regular       24.00   21.75 12/31/2018 Sacramento CA - Drivers
2500237            Overtime       4.50   32.63 12/31/2018 Sacramento CA - Drivers
2500237            Regular        8.50   22.11 06/03/2019 Sacramento CA - Drivers
2500237            Regular        7.75   21.21 06/10/2019 Sacramento CA - Drivers
2500237            Regular        8.00   25.00 08/19/2019 Sacramento CA - Drivers
2500237            Regular        8.00   23.00 02/11/2019 Sacramento CA - Drivers
2500237            Overtime       4.00   34.50 02/11/2019 Sacramento CA - Drivers
2500237            Regular       16.00   23.00 02/18/2019 Sacramento CA - Drivers
2500237            Regular       24.00   22.00 02/25/2019 Sacramento CA - Drivers
2500237            Regular       32.00   22.00 03/04/2019 Sacramento CA - Drivers
2500237            Regular        8.00   22.00 03/11/2019 Sacramento CA - Drivers
2500237            Regular        9.50   21.00 01/21/2019 Sacramento CA - Drivers
2500237            Regular       40.00   21.00 01/28/2019 Sacramento CA - Drivers
2500237            Overtime       1.50   31.50 01/28/2019 Sacramento CA - Drivers
2500237            Regular       24.00   21.00 02/04/2019 Sacramento CA - Drivers
2500237            Overtime       3.50   31.50 02/04/2019 Sacramento CA - Drivers
2500237            Regular       24.00   21.00 02/11/2019 Sacramento CA - Drivers
2500237            Overtime       0.50   31.50 02/11/2019 Sacramento CA - Drivers
2500237            Regular        8.00   21.00 08/19/2019 Sacramento CA - Drivers
2500237            Overtime       3.50   31.50 08/19/2019 Sacramento CA - Drivers
2500237            Regular       40.00   21.00 08/26/2019 Sacramento CA - Drivers
2500237            Overtime       8.00   31.50 08/26/2019 Sacramento CA - Drivers
2500237            Regular       32.00   21.00 09/02/2019 Sacramento CA - Drivers
2500237            Overtime       2.00   31.50 09/02/2019 Sacramento CA - Drivers
2500237            Regular        8.00   21.00 06/25/2018 Sacramento CA - Drivers
2500237            Overtime       4.00   31.50 06/25/2018 Sacramento CA - Drivers
Total for 2500237             1,847.40
1511248            Regular       13.25   20.98 12/12/2016 Sacramento CA - Drivers
1511248            Regular        9.50   20.98 12/19/2016 Sacramento CA - Drivers
1511248            Regular       15.00   20.92 01/02/2017 Sacramento CA - Drivers
1511248            Regular       24.00   21.00 12/05/2016 Sacramento CA - Drivers
1511248            Overtime       4.00   31.50 12/05/2016 Sacramento CA - Drivers
1511248            Regular        8.00   21.00 12/12/2016 Sacramento CA - Drivers
1511248            Regular       24.00   19.25 01/09/2017 Sacramento CA - Drivers
1511248 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.50Document
                                         28.88 38-5   Filed Sacramento
                                                01/09/2017  03/22/21 Page    257 of 691
                                                                       CA - Drivers       Page ID
Total for 1511248                99.25        #:1030
2342610            Regular        9.50   19.00 09/18/2017 Los Angeles CA East - Drivers
2342610            Regular       37.00   19.00 09/25/2017 Los Angeles CA East - Drivers
2342610            Overtime       4.00   28.50 09/25/2017 Los Angeles CA East - Drivers
2342610            Regular       46.00   19.00 10/02/2017 Los Angeles CA East - Drivers
2342610            Overtime       3.50   28.50 10/02/2017 Los Angeles CA East - Drivers
2342610            Regular       44.75   19.00 10/09/2017 Los Angeles CA East - Drivers
2342610            Regular       46.75   19.00 10/16/2017 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 10/23/2017 Los Angeles CA East - Drivers
2342610            Overtime       0.25   28.50 10/23/2017 Los Angeles CA East - Drivers
2342610            Regular       40.00   19.00 10/30/2017 Los Angeles CA East - Drivers
2342610            Overtime       3.43   28.50 10/30/2017 Los Angeles CA East - Drivers
2342610            Regular       43.50   19.00 11/06/2017 Los Angeles CA East - Drivers
2342610            Overtime       0.25   28.50 11/06/2017 Los Angeles CA East - Drivers
2342610            Regular       38.25   19.00 11/13/2017 Los Angeles CA East - Drivers
2342610            Overtime       2.25   28.50 11/13/2017 Los Angeles CA East - Drivers
2342610            Regular       38.75   19.00 11/20/2017 Los Angeles CA East - Drivers
2342610            Overtime       8.50   28.50 11/20/2017 Los Angeles CA East - Drivers
2342610            Regular       41.25   19.00 11/27/2017 Los Angeles CA East - Drivers
2342610            Regular       44.00   19.00 12/04/2017 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 12/11/2017 Los Angeles CA East - Drivers
2342610            Overtime       2.75   28.50 12/11/2017 Los Angeles CA East - Drivers
2342610            Regular       44.00   19.00 12/18/2017 Los Angeles CA East - Drivers
2342610            Regular       33.00   19.00 12/25/2017 Los Angeles CA East - Drivers
2342610            Regular       40.25   19.00 01/01/2018 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 01/08/2018 Los Angeles CA East - Drivers
2342610            Overtime       1.25   28.50 01/08/2018 Los Angeles CA East - Drivers
2342610            Regular       42.00   19.00 01/15/2018 Los Angeles CA East - Drivers
2342610            Regular       40.25   19.00 01/22/2018 Los Angeles CA East - Drivers
2342610            Regular       43.20   19.00 01/29/2018 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 02/05/2018 Los Angeles CA East - Drivers
2342610            Overtime       0.75   28.50 02/05/2018 Los Angeles CA East - Drivers
2342610            Regular       40.75   19.00 02/12/2018 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 02/19/2018 Los Angeles CA East - Drivers
2342610            Overtime       2.75   28.50 02/19/2018 Los Angeles CA East - Drivers
2342610            Regular       49.75   19.00 02/26/2018 Los Angeles CA East - Drivers
2342610            Regular       42.25   19.00 03/05/2018 Los Angeles CA East - Drivers
2342610            Regular       43.00   19.00 03/12/2018 Los Angeles CA East - Drivers
2342610            Regular       42.75   19.00 03/19/2018 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 03/26/2018 Los Angeles CA East - Drivers
2342610            Regular       50.00   19.00 04/02/2018 Los Angeles CA East - Drivers
2342610            Overtime       3.75   28.50 04/02/2018 Los Angeles CA East - Drivers
2342610            Regular       45.75   19.00 04/09/2018 Los Angeles CA East - Drivers
2342610            Regular       48.75   20.00 04/16/2018 Los Angeles CA East - Drivers
2342610            Regular       42.75   20.00 04/23/2018 Los Angeles CA East - Drivers
2342610            Overtime       0.25   30.00 04/23/2018 Los Angeles CA East - Drivers
2342610            Regular       49.50   20.00 04/30/2018 Los Angeles CA East - Drivers
2342610            Regular       43.50   20.00 05/07/2018 Los Angeles CA East - Drivers
2342610            Regular       45.25   20.00 05/14/2018 Los Angeles CA East - Drivers
2342610            Regular       43.25   20.00 05/21/2018 Los Angeles CA East - Drivers
2342610            Overtime       0.25   30.00 05/21/2018 Los Angeles CA East - Drivers
Total for 2342610             1,593.63
2771683            Regular        8.00   20.50 07/01/2019 Los Angeles CA East - Drivers
2771683            Regular       24.00   21.00 06/24/2019 Los Angeles CA East - Drivers
2771683            Overtime       4.00   31.50 06/24/2019 Los Angeles CA East - Drivers
2771683            Regular       16.00   21.00 07/01/2019 Los Angeles CA East - Drivers
2771683            Overtime       3.00   31.50 07/01/2019 Los Angeles CA East - Drivers
2771683            Regular        8.00   21.00 07/08/2019 Los Angeles CA East - Drivers
2771683            Overtime       4.00   31.50 07/08/2019 Los Angeles CA East - Drivers
2771683            Regular        8.00   21.00 07/15/2019 Los Angeles CA East - Drivers
Total for 2771683                75.00
2171720            Regular       16.00   19.50 01/23/2017 Sacramento CA - Drivers
2171720 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.00Document
                                          29.25 38-5    Filed Sacramento
                                                  01/23/2017  03/22/21 Page    258 of 691 Page ID
                                                                         CA - Drivers
2171720              Regular       5.00   19.50 #:1031
                                                  01/30/2017 Sacramento CA - Drivers
2171720             Regular        40.00    19.50   02/06/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.50    29.25   02/06/2017   Sacramento   CA   - Drivers
2171720             Regular        30.00    19.50   02/13/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.00    29.25   02/13/2017   Sacramento   CA   - Drivers
2171720             Regular        15.50    19.50   02/20/2017   Sacramento   CA   - Drivers
2171720             Overtime        0.50    29.25   02/20/2017   Sacramento   CA   - Drivers
2171720             Regular        30.00    19.50   02/27/2017   Sacramento   CA   - Drivers
2171720             Overtime        4.75    29.25   02/27/2017   Sacramento   CA   - Drivers
2171720             Regular        39.50    19.50   03/06/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.50    29.25   03/06/2017   Sacramento   CA   - Drivers
2171720             Regular        36.00    19.50   03/13/2017   Sacramento   CA   - Drivers
2171720             Overtime       11.25    29.25   03/13/2017   Sacramento   CA   - Drivers
2171720             Regular        28.00    19.50   03/20/2017   Sacramento   CA   - Drivers
2171720             Overtime        8.25    29.25   03/20/2017   Sacramento   CA   - Drivers
2171720             Regular        37.25    19.50   03/27/2017   Sacramento   CA   - Drivers
2171720             Overtime        2.25    29.25   03/27/2017   Sacramento   CA   - Drivers
2171720             Regular        39.75    19.50   04/03/2017   Sacramento   CA   - Drivers
2171720             Overtime        4.00    29.25   04/03/2017   Sacramento   CA   - Drivers
2171720             Regular        29.00    19.50   04/10/2017   Sacramento   CA   - Drivers
2171720             Overtime        4.50    29.25   04/10/2017   Sacramento   CA   - Drivers
2171720             Regular        36.00    19.50   04/17/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.00    29.25   04/17/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   04/24/2017   Sacramento   CA   - Drivers
2171720             Overtime        9.25    29.25   04/24/2017   Sacramento   CA   - Drivers
2171720             Regular        38.50    19.50   05/01/2017   Sacramento   CA   - Drivers
2171720             Overtime        3.50    29.25   05/01/2017   Sacramento   CA   - Drivers
2171720             Regular        38.00    19.50   05/08/2017   Sacramento   CA   - Drivers
2171720             Overtime       22.00    29.25   05/08/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   05/15/2017   Sacramento   CA   - Drivers
2171720             Overtime       17.50    29.25   05/15/2017   Sacramento   CA   - Drivers
2171720             Regular        36.25    19.50   05/22/2017   Sacramento   CA   - Drivers
2171720             Overtime       14.50    29.25   05/22/2017   Sacramento   CA   - Drivers
2171720             Regular        31.00    19.50   05/29/2017   Sacramento   CA   - Drivers
2171720             Overtime        5.25    29.25   05/15/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   06/05/2017   Sacramento   CA   - Drivers
2171720             Overtime        8.50    29.25   06/05/2017   Sacramento   CA   - Drivers
2171720             Regular        38.50    19.50   06/12/2017   Sacramento   CA   - Drivers
2171720             Overtime        9.50    29.25   06/12/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   06/19/2017   Sacramento   CA   - Drivers
2171720             Overtime       21.00    29.25   06/19/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   06/26/2017   Sacramento   CA   - Drivers
2171720             Overtime       20.00    29.25   06/26/2017   Sacramento   CA   - Drivers
2171720             Regular        30.00    19.50   07/03/2017   Sacramento   CA   - Drivers
2171720             Overtime        6.00    29.25   07/03/2017   Sacramento   CA   - Drivers
2171720             Regular        39.00    19.50   07/10/2017   Sacramento   CA   - Drivers
2171720             Overtime        8.50    29.25   07/10/2017   Sacramento   CA   - Drivers
2171720             Regular        37.00    19.50   07/17/2017   Sacramento   CA   - Drivers
2171720             Overtime        1.00    29.25   07/17/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   07/24/2017   Sacramento   CA   - Drivers
2171720             Overtime       10.50    29.25   07/24/2017   Sacramento   CA   - Drivers
2171720             Regular        36.00    19.50   07/31/2017   Sacramento   CA   - Drivers
2171720             Overtime       11.50    29.25   07/31/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   08/07/2017   Sacramento   CA   - Drivers
2171720             Overtime       21.75    29.25   08/07/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   08/14/2017   Sacramento   CA   - Drivers
2171720             Overtime       17.00    29.25   08/14/2017   Sacramento   CA   - Drivers
2171720             Regular        36.00    19.50   08/21/2017   Sacramento   CA   - Drivers
2171720             Overtime       11.75    29.25   08/21/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   08/28/2017   Sacramento   CA   - Drivers
2171720             Overtime       20.50    29.25   08/28/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   09/04/2017   Sacramento   CA   - Drivers
2171720 Case   2:19-cv-08580-JFW-MAA
                     Overtime     21.50Document
                                          29.25 38-5    Filed Sacramento
                                                  09/04/2017  03/22/21 Page    259 of 691 Page ID
                                                                         CA - Drivers
2171720              Regular      40.00   19.50 #:1032
                                                  09/11/2017 Sacramento CA - Drivers
2171720             Overtime       20.00    29.25   09/11/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   09/18/2017   Sacramento   CA   - Drivers
2171720             Overtime       15.75    29.25   09/18/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   09/25/2017   Sacramento   CA   - Drivers
2171720             Overtime       18.75    29.25   09/25/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    19.50   10/02/2017   Sacramento   CA   - Drivers
2171720             Overtime       27.00    29.25   10/02/2017   Sacramento   CA   - Drivers
2171720             Regular        16.00    21.00   08/19/2019   Sacramento   CA   - Drivers
2171720             Overtime        6.50    31.50   08/19/2019   Sacramento   CA   - Drivers
2171720             Regular        15.50    21.00   08/26/2019   Sacramento   CA   - Drivers
2171720             Overtime        2.50    31.50   08/26/2019   Sacramento   CA   - Drivers
2171720             Regular         8.00    21.00   09/02/2019   Sacramento   CA   - Drivers
2171720             Overtime        1.50    31.50   09/02/2019   Sacramento   CA   - Drivers
2171720             Regular        43.00    20.50   10/09/2017   Sacramento   CA   - Drivers
2171720             Overtime       16.50    30.75   10/09/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/16/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.50    30.75   10/16/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/23/2017   Sacramento   CA   - Drivers
2171720             Overtime       15.00    30.75   10/23/2017   Sacramento   CA   - Drivers
2171720             Regular        44.00    20.50   10/30/2017   Sacramento   CA   - Drivers
2171720             Overtime       13.50    30.75   10/30/2017   Sacramento   CA   - Drivers
2171720             Regular        38.00    20.50   11/06/2017   Sacramento   CA   - Drivers
2171720             Overtime       13.00    30.75   11/06/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   11/13/2017   Sacramento   CA   - Drivers
2171720             Overtime       17.40    30.75   11/13/2017   Sacramento   CA   - Drivers
2171720             Regular        42.20    20.50   11/20/2017   Sacramento   CA   - Drivers
2171720             Overtime       10.80    30.75   11/20/2017   Sacramento   CA   - Drivers
2171720             Regular        55.00    20.50   11/20/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.50    30.75   11/27/2017   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   12/04/2017   Sacramento   CA   - Drivers
2171720             Overtime        9.90    30.75   12/04/2017   Sacramento   CA   - Drivers
2171720             Regular        35.00    20.50   12/11/2017   Sacramento   CA   - Drivers
2171720             Overtime       13.20    30.75   12/11/2017   Sacramento   CA   - Drivers
2171720             Regular        43.00    20.50   12/18/2017   Sacramento   CA   - Drivers
2171720             Overtime       21.20    30.75   12/18/2017   Sacramento   CA   - Drivers
2171720             Regular        23.75    20.50   12/25/2017   Sacramento   CA   - Drivers
2171720             Overtime        3.80    30.75   12/25/2017   Sacramento   CA   - Drivers
2171720             Regular        44.00    20.50   12/25/2017   Sacramento   CA   - Drivers
2171720             Overtime        7.40    30.75   01/01/2018   Sacramento   CA   - Drivers
2171720             Regular        16.00    20.50   01/08/2018   Sacramento   CA   - Drivers
2171720             Overtime        1.00    30.75   01/08/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   01/15/2018   Sacramento   CA   - Drivers
2171720             Overtime        4.20    30.75   01/15/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   01/22/2018   Sacramento   CA   - Drivers
2171720             Overtime        5.90    30.75   01/22/2018   Sacramento   CA   - Drivers
2171720             Regular        46.68    20.50   01/29/2018   Sacramento   CA   - Drivers
2171720             Overtime        8.20    30.75   01/29/2018   Sacramento   CA   - Drivers
2171720             Regular        32.00    20.50   02/05/2018   Sacramento   CA   - Drivers
2171720             Overtime        2.90    30.75   02/05/2018   Sacramento   CA   - Drivers
2171720             Regular        40.40    20.50   02/12/2018   Sacramento   CA   - Drivers
2171720             Overtime       18.80    30.75   02/12/2018   Sacramento   CA   - Drivers
2171720             Regular        32.00    20.50   02/19/2018   Sacramento   CA   - Drivers
2171720             Overtime        6.80    30.75   02/19/2018   Sacramento   CA   - Drivers
2171720             Regular        32.00    20.50   02/26/2018   Sacramento   CA   - Drivers
2171720             Overtime        3.80    30.75   02/26/2018   Sacramento   CA   - Drivers
2171720             Regular        33.80    20.50   03/05/2018   Sacramento   CA   - Drivers
2171720             Overtime        7.50    30.75   03/05/2018   Sacramento   CA   - Drivers
2171720             Regular        32.00    20.50   03/12/2018   Sacramento   CA   - Drivers
2171720             Overtime        3.20    30.75   03/12/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   03/19/2018   Sacramento   CA   - Drivers
2171720             Overtime        7.00    30.75   03/19/2018   Sacramento   CA   - Drivers
2171720 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          20.50 38-5    Filed Sacramento
                                                  03/26/2018  03/22/21 Page    260 of 691 Page ID
                                                                         CA - Drivers
2171720              Overtime     14.70   30.75 #:1033
                                                  03/26/2018 Sacramento CA - Drivers
2171720             Regular        32.00    20.50   04/02/2018   Sacramento   CA   - Drivers
2171720             Overtime        7.00    30.75   04/02/2018   Sacramento   CA   - Drivers
2171720             Regular        41.80    20.50   04/09/2018   Sacramento   CA   - Drivers
2171720             Overtime        4.60    30.75   04/09/2018   Sacramento   CA   - Drivers
2171720             Regular        47.20    20.50   04/16/2018   Sacramento   CA   - Drivers
2171720             Overtime       22.70    30.75   04/16/2018   Sacramento   CA   - Drivers
2171720             Regular        34.20    20.50   04/23/2018   Sacramento   CA   - Drivers
2171720             Overtime        5.10    30.75   04/23/2018   Sacramento   CA   - Drivers
2171720             Regular        43.00    20.50   04/30/2018   Sacramento   CA   - Drivers
2171720             Overtime       16.10    30.75   04/30/2018   Sacramento   CA   - Drivers
2171720             Regular        47.60    20.50   05/07/2018   Sacramento   CA   - Drivers
2171720             Overtime       22.10    30.75   05/07/2018   Sacramento   CA   - Drivers
2171720             Regular        47.00    20.50   05/14/2018   Sacramento   CA   - Drivers
2171720             Overtime       11.00    30.75   05/14/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   05/21/2018   Sacramento   CA   - Drivers
2171720             Overtime        5.50    30.75   05/21/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   05/28/2018   Sacramento   CA   - Drivers
2171720             Overtime       14.10    30.75   05/28/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   06/04/2018   Sacramento   CA   - Drivers
2171720             Overtime       10.50    30.75   06/04/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   06/11/2018   Sacramento   CA   - Drivers
2171720             Overtime       22.40    30.75   06/11/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   06/18/2018   Sacramento   CA   - Drivers
2171720             Overtime        6.00    30.75   06/18/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   06/25/2018   Sacramento   CA   - Drivers
2171720             Overtime       19.40    30.75   06/25/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   07/02/2018   Sacramento   CA   - Drivers
2171720             Overtime       14.00    30.75   07/02/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   07/09/2018   Sacramento   CA   - Drivers
2171720             Overtime       20.61    30.75   07/09/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   07/16/2018   Sacramento   CA   - Drivers
2171720             Overtime       20.20    30.75   07/16/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   07/23/2018   Sacramento   CA   - Drivers
2171720             Overtime       23.00    30.75   07/23/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   07/30/2018   Sacramento   CA   - Drivers
2171720             Overtime       18.90    30.75   07/30/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   08/06/2018   Sacramento   CA   - Drivers
2171720             Overtime       16.20    30.75   08/06/2018   Sacramento   CA   - Drivers
2171720             Regular        32.00    20.50   08/13/2018   Sacramento   CA   - Drivers
2171720             Overtime        7.70    30.75   08/13/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   08/20/2018   Sacramento   CA   - Drivers
2171720             Overtime       12.00    30.75   08/20/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   08/27/2018   Sacramento   CA   - Drivers
2171720             Overtime        6.10    30.75   08/27/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2171720             Overtime        8.70    30.75   09/03/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   09/10/2018   Sacramento   CA   - Drivers
2171720             Overtime        8.60    30.75   09/10/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   09/17/2018   Sacramento   CA   - Drivers
2171720             Overtime       10.00    30.75   09/17/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   09/24/2018   Sacramento   CA   - Drivers
2171720             Overtime       14.60    30.75   09/24/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2171720             Overtime       11.90    30.75   10/01/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/08/2018   Sacramento   CA   - Drivers
2171720             Overtime       20.40    30.75   10/08/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2171720             Overtime        9.20    30.75   10/15/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/22/2018   Sacramento   CA   - Drivers
2171720             Overtime       21.50    30.75   10/22/2018   Sacramento   CA   - Drivers
2171720             Regular        40.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2171720 Case 2:19-cv-08580-JFW-MAA
                   Overtime       0.20Document
                                         30.75 38-5    Filed Sacramento
                                                 10/29/2018  03/22/21 Page    261 of 691
                                                                        CA - Drivers       Page ID
2171720            Regular       40.00   20.50 #:1034
                                                 11/05/2018 Sacramento CA - Drivers
2171720            Overtime       4.00   30.75 11/05/2018 Sacramento CA - Drivers
2171720            Regular       40.00   20.50 11/12/2018 Sacramento CA - Drivers
2171720            Overtime       4.00   30.75 11/12/2018 Sacramento CA - Drivers
2171720            Regular       28.70   20.50 11/19/2018 Sacramento CA - Drivers
2171720            Regular       24.00   20.50 11/26/2018 Sacramento CA - Drivers
2171720            Overtime       0.10   30.75 11/26/2018 Sacramento CA - Drivers
2171720            Regular       16.00   23.00 12/03/2018 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 12/10/2018 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 12/17/2018 Sacramento CA - Drivers
2171720            Regular       24.00   23.00 12/24/2018 Sacramento CA - Drivers
2171720            Regular       32.00   23.00 12/31/2018 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 01/07/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 01/14/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 01/21/2019 Sacramento CA - Drivers
2171720            Regular       32.00   23.00 01/28/2019 Sacramento CA - Drivers
2171720            Overtime       3.00   34.50 01/28/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 02/04/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 02/11/2019 Sacramento CA - Drivers
2171720            Regular       34.00   23.00 02/18/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 02/25/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 03/04/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 03/11/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 03/18/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 03/25/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 04/01/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 04/08/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 04/15/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 04/22/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 04/29/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 05/06/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 05/13/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 05/20/2019 Sacramento CA - Drivers
2171720            Regular       32.00   23.00 05/27/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 06/03/2019 Sacramento CA - Drivers
2171720            Regular       24.00   23.00 06/10/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 06/17/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 06/24/2019 Sacramento CA - Drivers
2171720            Regular       24.00   23.00 07/01/2019 Sacramento CA - Drivers
2171720            Overtime       8.00   34.50 07/01/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 07/08/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 07/15/2019 Sacramento CA - Drivers
2171720            Regular       32.50   23.00 07/22/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 07/29/2019 Sacramento CA - Drivers
2171720            Regular       40.00   23.00 08/05/2019 Sacramento CA - Drivers
2171720            Regular       32.00   23.00 08/12/2019 Sacramento CA - Drivers
Total for 2171720             6,126.19
893885             Regular       16.75   17.50 08/17/2015 Los Angeles CA East - Drivers
893885             Overtime       1.00   26.25 08/17/2015 Los Angeles CA East - Drivers
Total for 893885                 17.75
2810296            Regular        8.00   28.00 08/12/2019 Los Angeles CA East - Drivers
2810296            Overtime       4.00   42.00 08/12/2019 Los Angeles CA East - Drivers
2810296            Regular       40.00   28.00 08/19/2019 Los Angeles CA East - Drivers
2810296            Overtime      16.25   42.00 08/19/2019 Los Angeles CA East - Drivers
2810296            Regular       40.00   28.00 08/26/2019 Los Angeles CA East - Drivers
Total for 2810296               108.25
1443270            Regular       16.00   19.00 11/28/2016 Los Angeles CA West - Drivers
1443270            Overtime       2.00   28.50 11/28/2016 Los Angeles CA West - Drivers
1443270            Regular       19.50   19.00 11/21/2016 Los Angeles CA West - Drivers
Total for 1443270                37.50
1429254            Regular       15.50   19.50 08/07/2017 Sacramento CA - Drivers
1429254            Overtime       4.00   29.25 08/07/2017 Sacramento CA - Drivers
1429254 Case   2:19-cv-08580-JFW-MAA
                     Regular      16.00Document
                                          20.50 38-5    Filed Sacramento
                                                  11/13/2017  03/22/21 Page    262 of 691 Page ID
                                                                         CA - Drivers
1429254              Overtime      0.30   30.75 #:1035
                                                  11/13/2017 Sacramento CA - Drivers
1429254             Regular        18.50    20.50   11/20/2017   Sacramento   CA   - Drivers
1429254             Overtime        7.50    30.75   11/20/2017   Sacramento   CA   - Drivers
1429254             Regular        25.20    20.50   11/27/2017   Sacramento   CA   - Drivers
1429254             Overtime        7.00    30.75   11/27/2017   Sacramento   CA   - Drivers
1429254             Regular        16.00    20.50   12/04/2017   Sacramento   CA   - Drivers
1429254             Overtime        0.50    30.75   12/04/2017   Sacramento   CA   - Drivers
1429254             Regular        17.00    20.50   12/11/2017   Sacramento   CA   - Drivers
1429254             Overtime        7.75    30.75   12/11/2017   Sacramento   CA   - Drivers
1429254             Regular        24.00    20.50   12/18/2017   Sacramento   CA   - Drivers
1429254             Overtime        5.40    30.75   12/18/2017   Sacramento   CA   - Drivers
1429254             Regular        16.00    20.50   12/25/2017   Sacramento   CA   - Drivers
1429254             Overtime        5.80    30.75   12/25/2017   Sacramento   CA   - Drivers
1429254             Regular        23.20    20.50   01/08/2018   Sacramento   CA   - Drivers
1429254             Overtime        8.00    30.75   01/08/2018   Sacramento   CA   - Drivers
1429254             Regular        16.00    20.50   01/15/2018   Sacramento   CA   - Drivers
1429254             Overtime        3.90    30.75   01/15/2018   Sacramento   CA   - Drivers
1429254             Regular        16.00    22.00   01/15/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   01/22/2018   Sacramento   CA   - Drivers
1429254             Overtime        7.00    33.00   01/22/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   01/29/2018   Sacramento   CA   - Drivers
1429254             Overtime        7.00    33.00   01/29/2018   Sacramento   CA   - Drivers
1429254             Regular        32.00    22.00   02/05/2018   Sacramento   CA   - Drivers
1429254             Overtime        4.50    33.00   02/05/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   02/12/2018   Sacramento   CA   - Drivers
1429254             Overtime       10.50    33.00   02/12/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   02/19/2018   Sacramento   CA   - Drivers
1429254             Overtime        8.25    33.00   02/19/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   02/26/2018   Sacramento   CA   - Drivers
1429254             Overtime       14.30    33.00   02/26/2018   Sacramento   CA   - Drivers
1429254             Regular        32.00    22.00   03/05/2018   Sacramento   CA   - Drivers
1429254             Overtime        6.50    33.00   03/05/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   03/12/2018   Sacramento   CA   - Drivers
1429254             Overtime        6.75    33.00   03/12/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   03/19/2018   Sacramento   CA   - Drivers
1429254             Overtime        8.00    33.00   03/19/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   03/26/2018   Sacramento   CA   - Drivers
1429254             Overtime        8.00    33.00   03/26/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   04/02/2018   Sacramento   CA   - Drivers
1429254             Overtime       11.00    33.00   04/02/2018   Sacramento   CA   - Drivers
1429254             Regular        32.00    22.00   04/09/2018   Sacramento   CA   - Drivers
1429254             Overtime        4.50    33.00   04/09/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   04/16/2018   Sacramento   CA   - Drivers
1429254             Overtime       11.50    33.00   04/16/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   04/23/2018   Sacramento   CA   - Drivers
1429254             Overtime        9.00    33.00   04/23/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   04/30/2018   Sacramento   CA   - Drivers
1429254             Overtime        7.75    33.00   04/30/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   05/07/2018   Sacramento   CA   - Drivers
1429254             Overtime       11.50    33.00   05/07/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   05/14/2018   Sacramento   CA   - Drivers
1429254             Overtime       12.25    33.00   05/14/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   05/21/2018   Sacramento   CA   - Drivers
1429254             Overtime        9.75    33.00   05/21/2018   Sacramento   CA   - Drivers
1429254             Regular        32.00    22.00   05/28/2018   Sacramento   CA   - Drivers
1429254             Overtime        6.00    33.00   05/28/2018   Sacramento   CA   - Drivers
1429254             Regular        32.00    22.00   06/04/2018   Sacramento   CA   - Drivers
1429254             Overtime        6.50    33.00   06/04/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   06/18/2018   Sacramento   CA   - Drivers
1429254             Overtime        7.75    33.00   06/18/2018   Sacramento   CA   - Drivers
1429254             Regular        40.00    22.00   06/25/2018   Sacramento   CA   - Drivers
1429254             Overtime        6.75    33.00   06/25/2018   Sacramento   CA   - Drivers
1429254 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         22.00 38-5    Filed Sacramento
                                                 07/02/2018  03/22/21 Page    263 of 691
                                                                        CA - Drivers       Page ID
1429254            Overtime       6.75   33.00 #:1036
                                                 07/02/2018 Sacramento CA - Drivers
1429254            Regular       40.00   22.00 07/09/2018 Sacramento CA - Drivers
1429254            Overtime      11.00   33.00 07/09/2018 Sacramento CA - Drivers
1429254            Regular       25.75   21.00 10/17/2016 Sacramento CA - Drivers
1429254            Overtime       5.00   31.50 10/17/2016 Sacramento CA - Drivers
1429254            Regular       48.50   21.00 10/24/2016 Sacramento CA - Drivers
1429254            Overtime       0.75   31.50 10/24/2016 Sacramento CA - Drivers
1429254            Regular       40.00   21.00 10/31/2016 Sacramento CA - Drivers
1429254            Overtime       0.75   31.50 10/31/2016 Sacramento CA - Drivers
1429254            Regular       49.25   21.00 11/07/2016 Sacramento CA - Drivers
1429254            Overtime       1.25   31.50 11/07/2016 Sacramento CA - Drivers
1429254            Regular       49.00   21.00 11/14/2016 Sacramento CA - Drivers
1429254            Overtime       1.00   31.50 11/14/2016 Sacramento CA - Drivers
1429254            Regular       39.00   21.00 11/21/2016 Sacramento CA - Drivers
1429254            Overtime      11.25   31.50 11/21/2016 Sacramento CA - Drivers
1429254            Regular       49.25   21.00 11/28/2016 Sacramento CA - Drivers
1429254            Overtime       1.75   31.50 11/28/2016 Sacramento CA - Drivers
1429254            Regular       49.25   21.00 12/05/2016 Sacramento CA - Drivers
1429254            Overtime       1.00   31.50 12/05/2016 Sacramento CA - Drivers
1429254            Regular       48.75   21.00 12/12/2016 Sacramento CA - Drivers
1429254            Overtime       1.00   31.50 12/12/2016 Sacramento CA - Drivers
1429254            Regular       39.75   21.00 12/19/2016 Sacramento CA - Drivers
1429254            Overtime      10.00   31.50 12/19/2016 Sacramento CA - Drivers
1429254            Regular       37.50   21.00 12/26/2016 Sacramento CA - Drivers
1429254            Overtime       9.25   31.50 12/26/2016 Sacramento CA - Drivers
1429254            Regular       49.25   21.00 01/02/2017 Sacramento CA - Drivers
1429254            Overtime       1.25   31.50 01/02/2017 Sacramento CA - Drivers
1429254            Regular       49.50   21.00 01/09/2017 Sacramento CA - Drivers
1429254            Overtime       0.50   31.50 01/09/2017 Sacramento CA - Drivers
1429254            Regular       49.75   21.00 01/16/2017 Sacramento CA - Drivers
1429254            Overtime       1.50   31.50 01/16/2017 Sacramento CA - Drivers
1429254            Regular       49.25   21.00 01/23/2017 Sacramento CA - Drivers
1429254            Overtime       1.25   31.50 01/23/2017 Sacramento CA - Drivers
1429254            Regular       49.75   21.00 01/30/2017 Sacramento CA - Drivers
1429254            Overtime       4.00   31.50 01/30/2017 Sacramento CA - Drivers
1429254            Regular       49.00   21.00 02/06/2017 Sacramento CA - Drivers
1429254            Overtime       1.00   31.50 02/06/2017 Sacramento CA - Drivers
1429254            Regular       50.00   21.00 02/13/2017 Sacramento CA - Drivers
1429254            Overtime       2.50   31.50 02/13/2017 Sacramento CA - Drivers
1429254            Regular       49.25   21.00 02/20/2017 Sacramento CA - Drivers
1429254            Overtime       2.25   31.50 02/20/2017 Sacramento CA - Drivers
1429254            Regular       16.00   21.00 03/13/2017 Sacramento CA - Drivers
1429254            Overtime       0.50   31.50 03/13/2017 Sacramento CA - Drivers
Total for 1429254             2,313.85
1196839            Regular       16.00   20.00 07/09/2018 Los Angeles CA East - Drivers
1196839            Overtime       0.75   30.00 07/09/2018 Los Angeles CA East - Drivers
1196839            Regular        8.00   20.00 07/23/2018 Los Angeles CA East - Drivers
1196839            Overtime       2.50   30.00 07/23/2018 Los Angeles CA East - Drivers
1196839            Regular       16.00   21.00 07/09/2018 Los Angeles CA East - Drivers
1196839            Regular        8.00   21.00 07/16/2018 Los Angeles CA East - Drivers
1196839            Overtime       1.50   31.50 07/16/2018 Los Angeles CA East - Drivers
1196839            Regular       16.00   21.00 08/06/2018 Los Angeles CA East - Drivers
1196839            Overtime       1.25   31.50 08/06/2018 Los Angeles CA East - Drivers
1196839            Regular       25.00   22.00 12/14/2015 Los Angeles CA East - Drivers
1196839            Regular       15.38   19.50 06/18/2018 Los Angeles CA East - Drivers
1196839            Overtime       2.00   29.25 06/18/2018 Los Angeles CA East - Drivers
1196839            Regular        8.00   19.50 07/02/2018 Los Angeles CA East - Drivers
1196839            Overtime       2.58   29.25 07/02/2018 Los Angeles CA East - Drivers
1196839            Regular        8.00   20.00 07/23/2018 Los Angeles CA East - Drivers
1196839            Overtime       1.50   30.00 07/23/2018 Los Angeles CA East - Drivers
1196839            Regular       24.00   20.00 07/30/2018 Los Angeles CA East - Drivers
1196839            Overtime       6.50   30.00 07/30/2018 Los Angeles CA East - Drivers
1196839 Case 2:19-cv-08580-JFW-MAA
                   Regular         8.00Document
                                          19.50 38-5    Filed Los
                                                  11/12/2018  03/22/21
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                                                                                 - Drivers   Page ID
1196839            Overtime        3.50   29.25 #:1037
                                                  11/12/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   19.50 07/02/2018 Los Angeles CA East - Drivers
1196839            Overtime        0.50   29.25 07/02/2018 Los Angeles CA East - Drivers
1196839            Regular       16.00    21.50 08/06/2018 Los Angeles CA East - Drivers
1196839            Overtime        3.50   32.25 08/06/2018 Los Angeles CA East - Drivers
1196839            Regular       24.00    21.50 08/13/2018 Los Angeles CA East - Drivers
1196839            Overtime        5.25   32.25 08/13/2018 Los Angeles CA East - Drivers
1196839            Regular       24.00    21.50 08/20/2018 Los Angeles CA East - Drivers
1196839            Overtime        4.50   32.25 08/20/2018 Los Angeles CA East - Drivers
1196839            Regular         6.00   20.98 07/02/2018 Los Angeles CA East - Drivers
1196839            Regular       40.00    21.00 06/25/2018 Los Angeles CA East - Drivers
1196839            Overtime        0.50   31.50 06/25/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   21.00 07/09/2018 Los Angeles CA East - Drivers
1196839            Regular       16.00    21.00 07/23/2018 Los Angeles CA East - Drivers
1196839            Overtime        4.50   31.50 07/23/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   21.00 07/30/2018 Los Angeles CA East - Drivers
1196839            Overtime        2.50   31.50 07/30/2018 Los Angeles CA East - Drivers
1196839            Regular       24.00    21.00 09/03/2018 Los Angeles CA East - Drivers
1196839            Overtime        3.50   31.50 09/03/2018 Los Angeles CA East - Drivers
1196839            Regular      -24.00    21.00 09/03/2018 Los Angeles CA East - Drivers
1196839            Overtime       -3.50   31.50 09/03/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   20.75 11/05/2018 Los Angeles CA East - Drivers
1196839            Overtime        3.50   31.13 11/05/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   20.00 11/12/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   20.00 11/12/2018 Los Angeles CA East - Drivers
1196839            Regular         8.00   21.00 07/16/2018 Los Angeles CA East - Drivers
Total for 1196839              381.21
2442656            Regular         8.00   20.50 04/15/2019 Los Angeles CA West - Drivers
2442656            Overtime        3.75   30.75 04/15/2019 Los Angeles CA West - Drivers
2442656            Regular       14.50    21.85 03/18/2019 Los Angeles CA West - Drivers
2442656            Regular       10.75    21.85 03/25/2019 Los Angeles CA West - Drivers
2442656            Regular       18.75    21.85 04/01/2019 Los Angeles CA West - Drivers
2442656            Regular       21.00    21.85 04/15/2019 Los Angeles CA West - Drivers
2442656            Regular       16.00    22.50 03/18/2019 Los Angeles CA West - Drivers
2442656            Overtime        6.00   33.75 03/18/2019 Los Angeles CA West - Drivers
2442656            Regular         8.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2442656            Regular       32.00    21.00 04/01/2019 Los Angeles CA West - Drivers
2442656            Regular         8.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2442656            Overtime        2.75   33.00 05/06/2019 Los Angeles CA West - Drivers
Total for 2442656              149.50
1331814            Regular         8.00   19.50 02/26/2018 Los Angeles CA East - Drivers
1331814            Regular         8.00   19.50 02/26/2018 Los Angeles CA East - Drivers
1331814            Overtime        4.00   29.25 02/26/2018 Los Angeles CA East - Drivers
1331814            Regular         8.00   20.00 03/05/2018 Los Angeles CA East - Drivers
1331814            Overtime        4.00   30.00 03/05/2018 Los Angeles CA East - Drivers
1331814            Regular       32.00    20.00 03/05/2018 Los Angeles CA East - Drivers
1331814            Overtime      13.00    30.00 03/05/2018 Los Angeles CA East - Drivers
1331814            Regular       24.00    20.00 03/12/2018 Los Angeles CA East - Drivers
1331814            Overtime      12.00    30.00 03/12/2018 Los Angeles CA East - Drivers
1331814            Regular       32.00    20.00 03/19/2018 Los Angeles CA East - Drivers
1331814            Overtime      10.00    30.00 03/19/2018 Los Angeles CA East - Drivers
1331814            Regular       30.50    20.00 03/26/2018 Los Angeles CA East - Drivers
1331814            Overtime      12.00    30.00 03/26/2018 Los Angeles CA East - Drivers
1331814            Regular       32.00    20.00 04/02/2018 Los Angeles CA East - Drivers
1331814            Overtime      10.00    30.00 04/02/2018 Los Angeles CA East - Drivers
1331814            Regular       32.00    20.00 04/09/2018 Los Angeles CA East - Drivers
1331814            Overtime      12.00    30.00 04/09/2018 Los Angeles CA East - Drivers
1331814            Regular       32.00    20.00 04/16/2018 Los Angeles CA East - Drivers
1331814            Overtime      13.50    30.00 04/16/2018 Los Angeles CA East - Drivers
1331814            Regular       32.00    20.00 04/23/2018 Los Angeles CA East - Drivers
1331814            Overtime        8.75   30.00 04/23/2018 Los Angeles CA East - Drivers
1331814            Regular       24.00    20.00 04/30/2018 Los Angeles CA East - Drivers
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                     Overtime      7.00Document
                                          30.00 38-5    Filed Los
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                                                                                 - Drivers
1331814              Regular      32.00   20.00 #:1038
                                                  05/07/2018 Los Angeles CA East - Drivers
1331814              Overtime       16.00    30.00   05/07/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       14.50    30.00   05/14/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       10.75    30.00   05/21/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   05/28/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       10.00    30.00   05/28/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    20.00   06/04/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime        8.75    30.00   06/04/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   06/11/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime        9.50    30.00   06/11/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       20.00    30.00   06/18/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       11.50    30.00   06/25/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        16.00    20.00   07/02/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime        5.50    30.00   07/02/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       14.00    30.00   07/09/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    20.00   07/16/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       12.00    30.00   07/16/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    20.00   07/23/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime        9.00    30.00   07/23/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       12.00    30.00   07/30/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   08/06/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       15.00    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    20.00   08/13/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       12.00    30.00   08/13/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   08/20/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       11.50    30.00   08/20/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        40.00    20.00   08/27/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime       11.75    30.00   08/27/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        18.00    20.00   09/03/2018   Los   Angeles   CA   East   - Drivers
1331814              Overtime        7.50    30.00   09/03/2018   Los   Angeles   CA   East   - Drivers
1331814              Regular        16.00    21.00   03/04/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        0.50    31.50   03/04/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   03/11/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   03/18/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   03/25/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        1.00    31.50   03/25/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        36.00    21.00   04/01/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   04/08/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   04/15/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        2.50    31.50   04/15/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        36.00    21.00   04/22/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime       13.00    31.50   04/22/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   04/29/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime       13.50    31.50   04/29/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        36.00    21.00   05/06/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        8.50    31.50   05/06/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        36.00    21.00   05/13/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        8.00    31.50   05/13/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        36.00    21.00   05/20/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        9.00    31.50   05/20/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        16.00    21.00   05/27/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        1.50    31.50   05/27/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   06/03/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        8.50    31.50   06/03/2019   Los   Angeles   CA   East   - Drivers
1331814              Regular        32.00    21.00   06/10/2019   Los   Angeles   CA   East   - Drivers
1331814              Overtime        9.00    31.50   06/10/2019   Los   Angeles   CA   East   - Drivers
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                   Regular       36.00Document
                                         21.00 38-5    Filed Los
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                                                                                - Drivers   Page ID
1331814            Overtime      10.50   31.50 #:1039
                                                 06/17/2019 Los Angeles CA East - Drivers
1331814            Regular       40.00   21.00 06/24/2019 Los Angeles CA East - Drivers
1331814            Overtime      12.00   31.50 06/24/2019 Los Angeles CA East - Drivers
1331814            Regular       32.00   21.00 07/01/2019 Los Angeles CA East - Drivers
1331814            Overtime       9.00   31.50 07/01/2019 Los Angeles CA East - Drivers
1331814            Regular       32.00   21.00 07/08/2019 Los Angeles CA East - Drivers
1331814            Overtime      10.00   31.50 07/08/2019 Los Angeles CA East - Drivers
1331814            Regular        8.00   21.00 07/15/2019 Los Angeles CA East - Drivers
1331814            Regular        8.00   21.00 02/26/2018 Los Angeles CA East - Drivers
1331814            Overtime       1.25   31.50 02/26/2018 Los Angeles CA East - Drivers
Total for 1331814             1,987.75
2700760            Regular       40.00   21.00 02/18/2019 Sacramento CA - Drivers
2700760            Overtime       3.50   31.50 02/18/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 02/25/2019 Sacramento CA - Drivers
2700760            Overtime      10.50   31.50 02/25/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 03/04/2019 Sacramento CA - Drivers
2700760            Overtime       9.00   31.50 03/04/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 03/11/2019 Sacramento CA - Drivers
2700760            Overtime       7.00   31.50 03/11/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 03/18/2019 Sacramento CA - Drivers
2700760            Overtime       6.50   31.50 03/18/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 03/25/2019 Sacramento CA - Drivers
2700760            Overtime       9.50   31.50 03/25/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 04/01/2019 Sacramento CA - Drivers
2700760            Overtime       5.00   31.50 04/01/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 04/08/2019 Sacramento CA - Drivers
2700760            Overtime      10.00   31.50 04/08/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 04/15/2019 Sacramento CA - Drivers
2700760            Overtime      12.00   31.50 04/15/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 04/22/2019 Sacramento CA - Drivers
2700760            Overtime      14.50   31.50 04/22/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 04/29/2019 Sacramento CA - Drivers
2700760            Overtime      11.00   31.50 04/29/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
2700760            Overtime      14.00   31.50 05/06/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 05/13/2019 Sacramento CA - Drivers
2700760            Overtime      12.00   31.50 05/13/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 05/20/2019 Sacramento CA - Drivers
2700760            Overtime      12.50   31.50 05/20/2019 Sacramento CA - Drivers
2700760            Regular       16.00   21.00 05/27/2019 Sacramento CA - Drivers
2700760            Overtime       1.00   31.50 05/27/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 06/03/2019 Sacramento CA - Drivers
2700760            Overtime       4.00   31.50 06/03/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 06/10/2019 Sacramento CA - Drivers
2700760            Overtime       4.50   31.50 06/10/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 06/17/2019 Sacramento CA - Drivers
2700760            Overtime       7.00   31.50 06/17/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 06/24/2019 Sacramento CA - Drivers
2700760            Overtime       7.50   31.50 06/24/2019 Sacramento CA - Drivers
2700760            Regular       24.00   21.00 07/01/2019 Sacramento CA - Drivers
2700760            Overtime       3.50   31.50 07/01/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 07/08/2019 Sacramento CA - Drivers
2700760            Overtime       9.00   31.50 07/08/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 07/15/2019 Sacramento CA - Drivers
2700760            Overtime       7.00   31.50 07/15/2019 Sacramento CA - Drivers
2700760            Regular       24.00   21.00 07/22/2019 Sacramento CA - Drivers
2700760            Overtime       8.25   31.50 07/22/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 07/29/2019 Sacramento CA - Drivers
2700760            Overtime      11.00   31.50 07/29/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 08/05/2019 Sacramento CA - Drivers
2700760            Overtime       5.50   31.50 08/05/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 08/12/2019 Sacramento CA - Drivers
2700760 Case 2:19-cv-08580-JFW-MAA
                   Overtime      10.00Document
                                         31.50 38-5    Filed Sacramento
                                                 08/12/2019  03/22/21 Page    267 of
                                                                        CA - Drivers   691 Page ID
2700760            Regular       32.00   21.00 #:1040
                                                 08/19/2019 Sacramento CA - Drivers
2700760            Overtime       8.00   31.50 08/19/2019 Sacramento CA - Drivers
2700760            Regular       40.00   21.00 08/26/2019 Sacramento CA - Drivers
2700760            Overtime       7.00   31.50 08/26/2019 Sacramento CA - Drivers
2700760            Regular       32.00   21.00 09/02/2019 Sacramento CA - Drivers
2700760            Overtime       6.00   31.50 09/02/2019 Sacramento CA - Drivers
Total for 2700760             1,268.25
2227494            Regular       24.00   19.50 07/10/2017 Sacramento CA - Drivers
2227494            Overtime       9.00   29.25 07/10/2017 Sacramento CA - Drivers
2227494            Regular       15.00   19.50 07/17/2017 Sacramento CA - Drivers
2227494            Overtime       2.00   29.25 07/17/2017 Sacramento CA - Drivers
2227494            Regular       19.00   19.50 07/24/2017 Sacramento CA - Drivers
2227494            Overtime       1.25   29.25 07/24/2017 Sacramento CA - Drivers
2227494            Regular       16.00   19.50 07/31/2017 Sacramento CA - Drivers
2227494            Overtime       5.25   29.25 07/31/2017 Sacramento CA - Drivers
2227494            Regular       22.50   19.50 08/07/2017 Sacramento CA - Drivers
2227494            Overtime       7.00   29.25 08/07/2017 Sacramento CA - Drivers
2227494            Regular       32.00   19.50 08/14/2017 Sacramento CA - Drivers
2227494            Overtime       8.25   29.25 08/14/2017 Sacramento CA - Drivers
2227494            Regular       29.25   19.50 08/21/2017 Sacramento CA - Drivers
2227494            Overtime       7.75   29.25 08/21/2017 Sacramento CA - Drivers
2227494            Regular       31.50   19.50 08/28/2017 Sacramento CA - Drivers
2227494            Overtime       6.50   29.25 08/28/2017 Sacramento CA - Drivers
2227494            Regular        8.00   19.50 09/04/2017 Sacramento CA - Drivers
2227494            Overtime      12.25   29.25 09/04/2017 Sacramento CA - Drivers
2227494            Regular       16.00   19.50 09/11/2017 Sacramento CA - Drivers
2227494            Overtime       5.00   29.25 09/11/2017 Sacramento CA - Drivers
2227494            Regular       32.00   19.50 09/18/2017 Sacramento CA - Drivers
2227494            Overtime       6.00   29.25 09/18/2017 Sacramento CA - Drivers
2227494            Regular       32.00   19.50 09/25/2017 Sacramento CA - Drivers
2227494            Overtime       6.25   29.25 09/25/2017 Sacramento CA - Drivers
2227494            Regular       16.00   19.50 10/02/2017 Sacramento CA - Drivers
2227494            Overtime       1.75   29.25 10/02/2017 Sacramento CA - Drivers
2227494            Regular       38.00   20.50 10/09/2017 Sacramento CA - Drivers
2227494            Overtime       9.50   30.75 10/09/2017 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 10/16/2017 Sacramento CA - Drivers
2227494            Overtime       8.75   30.75 10/16/2017 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 10/23/2017 Sacramento CA - Drivers
2227494            Overtime       5.75   30.75 10/23/2017 Sacramento CA - Drivers
2227494            Regular       48.00   20.50 10/30/2017 Sacramento CA - Drivers
2227494            Overtime       7.50   30.75 10/30/2017 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 11/06/2017 Sacramento CA - Drivers
2227494            Overtime       7.75   30.75 11/06/2017 Sacramento CA - Drivers
2227494            Regular       42.00   20.50 11/13/2017 Sacramento CA - Drivers
2227494            Overtime      11.20   30.75 11/13/2017 Sacramento CA - Drivers
2227494            Regular       24.40   20.50 11/20/2017 Sacramento CA - Drivers
2227494            Overtime      10.70   30.75 11/20/2017 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 11/27/2017 Sacramento CA - Drivers
2227494            Overtime       4.60   30.75 11/27/2017 Sacramento CA - Drivers
2227494            Regular       24.00   20.50 12/04/2017 Sacramento CA - Drivers
2227494            Overtime       8.60   30.75 12/04/2017 Sacramento CA - Drivers
2227494            Regular       41.20   20.50 12/11/2017 Sacramento CA - Drivers
2227494            Overtime       7.80   30.75 12/11/2017 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 12/18/2017 Sacramento CA - Drivers
2227494            Overtime       6.15   30.75 12/18/2017 Sacramento CA - Drivers
2227494            Regular       24.00   20.50 12/25/2017 Sacramento CA - Drivers
2227494            Overtime       7.70   30.75 12/25/2017 Sacramento CA - Drivers
2227494            Regular       25.80   20.50 01/01/2018 Sacramento CA - Drivers
2227494            Overtime       7.80   30.75 01/01/2018 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 01/08/2018 Sacramento CA - Drivers
2227494            Overtime       6.58   30.75 01/08/2018 Sacramento CA - Drivers
2227494            Regular       32.20   20.50 01/15/2018 Sacramento CA - Drivers
2227494 Case   2:19-cv-08580-JFW-MAA
                     Overtime      5.10Document
                                          30.75 38-5    Filed Sacramento
                                                  01/15/2018  03/22/21 Page    268 of 691 Page ID
                                                                         CA - Drivers
2227494              Regular      24.00   20.50 #:1041
                                                  01/22/2018 Sacramento CA - Drivers
2227494             Overtime        8.00    30.75   01/22/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   01/29/2018   Sacramento   CA   - Drivers
2227494             Overtime        5.40    30.75   01/29/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   02/05/2018   Sacramento   CA   - Drivers
2227494             Overtime        2.50    30.75   02/05/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   02/12/2018   Sacramento   CA   - Drivers
2227494             Overtime        1.80    30.75   02/12/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   02/19/2018   Sacramento   CA   - Drivers
2227494             Overtime        2.00    30.75   02/19/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   02/26/2018   Sacramento   CA   - Drivers
2227494             Overtime        0.30    30.75   02/26/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   03/05/2018   Sacramento   CA   - Drivers
2227494             Overtime        3.90    30.75   03/05/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   03/12/2018   Sacramento   CA   - Drivers
2227494             Overtime        5.40    30.75   03/12/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   03/19/2018   Sacramento   CA   - Drivers
2227494             Overtime        4.40    30.75   03/19/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   03/26/2018   Sacramento   CA   - Drivers
2227494             Overtime        6.90    30.75   03/26/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   04/02/2018   Sacramento   CA   - Drivers
2227494             Overtime        1.90    30.75   04/02/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   04/09/2018   Sacramento   CA   - Drivers
2227494             Overtime        5.50    30.75   04/09/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   04/16/2018   Sacramento   CA   - Drivers
2227494             Overtime        2.00    30.75   04/16/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   04/23/2018   Sacramento   CA   - Drivers
2227494             Overtime        5.55    30.75   04/23/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   04/30/2018   Sacramento   CA   - Drivers
2227494             Overtime        8.00    30.75   04/30/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   05/07/2018   Sacramento   CA   - Drivers
2227494             Overtime        9.90    30.75   05/07/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   05/14/2018   Sacramento   CA   - Drivers
2227494             Overtime       11.90    30.75   05/14/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   05/21/2018   Sacramento   CA   - Drivers
2227494             Overtime       12.20    30.75   05/21/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   05/28/2018   Sacramento   CA   - Drivers
2227494             Overtime       18.80    30.75   05/28/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   06/04/2018   Sacramento   CA   - Drivers
2227494             Overtime        6.40    30.75   06/04/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   06/11/2018   Sacramento   CA   - Drivers
2227494             Overtime       14.60    30.75   06/11/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   06/18/2018   Sacramento   CA   - Drivers
2227494             Overtime       11.80    30.75   06/18/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   06/25/2018   Sacramento   CA   - Drivers
2227494             Overtime       11.20    30.75   06/25/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   07/02/2018   Sacramento   CA   - Drivers
2227494             Overtime       13.00    30.75   07/02/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   07/09/2018   Sacramento   CA   - Drivers
2227494             Overtime        9.90    30.75   07/09/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   07/16/2018   Sacramento   CA   - Drivers
2227494             Overtime       11.90    30.75   07/16/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   07/23/2018   Sacramento   CA   - Drivers
2227494             Overtime       17.60    30.75   07/23/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   07/30/2018   Sacramento   CA   - Drivers
2227494             Overtime       11.40    30.75   07/30/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   08/06/2018   Sacramento   CA   - Drivers
2227494             Overtime       12.60    30.75   08/06/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   08/13/2018   Sacramento   CA   - Drivers
2227494             Overtime        7.50    30.75   08/13/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   08/20/2018   Sacramento   CA   - Drivers
2227494             Overtime       10.00    30.75   08/20/2018   Sacramento   CA   - Drivers
2227494 Case   2:19-cv-08580-JFW-MAA
                     Regular      24.00Document
                                          20.50 38-5    Filed Sacramento
                                                  08/27/2018  03/22/21 Page    269 of 691 Page ID
                                                                         CA - Drivers
2227494              Overtime      9.50   30.75 #:1042
                                                  08/27/2018 Sacramento CA - Drivers
2227494             Regular        32.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2227494             Overtime        7.30    30.75   09/03/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   09/10/2018   Sacramento   CA   - Drivers
2227494             Overtime        6.60    30.75   09/10/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   09/17/2018   Sacramento   CA   - Drivers
2227494             Overtime       14.10    30.75   09/17/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   09/24/2018   Sacramento   CA   - Drivers
2227494             Overtime        8.80    30.75   09/24/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2227494             Overtime        9.60    30.75   10/01/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   10/08/2018   Sacramento   CA   - Drivers
2227494             Overtime       13.40    30.75   10/08/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2227494             Overtime       15.80    30.75   10/15/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   10/22/2018   Sacramento   CA   - Drivers
2227494             Overtime        8.10    30.75   10/22/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2227494             Overtime       12.10    30.75   10/29/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   11/05/2018   Sacramento   CA   - Drivers
2227494             Overtime       15.20    30.75   11/05/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   11/12/2018   Sacramento   CA   - Drivers
2227494             Overtime       11.00    30.75   11/12/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   11/19/2018   Sacramento   CA   - Drivers
2227494             Overtime        7.70    30.75   11/19/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   11/26/2018   Sacramento   CA   - Drivers
2227494             Overtime       13.90    30.75   11/26/2018   Sacramento   CA   - Drivers
2227494             Regular        40.00    20.50   12/03/2018   Sacramento   CA   - Drivers
2227494             Overtime        8.30    30.75   12/03/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   12/10/2018   Sacramento   CA   - Drivers
2227494             Overtime        7.10    30.75   12/10/2018   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   12/17/2018   Sacramento   CA   - Drivers
2227494             Overtime       10.80    30.75   12/17/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   12/24/2018   Sacramento   CA   - Drivers
2227494             Overtime        5.30    30.75   12/24/2018   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   12/31/2018   Sacramento   CA   - Drivers
2227494             Overtime        4.00    30.75   12/31/2018   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   01/07/2019   Sacramento   CA   - Drivers
2227494             Overtime        7.80    30.75   01/07/2019   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   01/14/2019   Sacramento   CA   - Drivers
2227494             Overtime        8.10    30.75   01/14/2019   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   01/21/2019   Sacramento   CA   - Drivers
2227494             Overtime        2.50    30.75   01/21/2019   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   01/28/2019   Sacramento   CA   - Drivers
2227494             Overtime        2.50    30.75   01/28/2019   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   02/04/2019   Sacramento   CA   - Drivers
2227494             Overtime        6.60    30.75   02/04/2019   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   02/11/2019   Sacramento   CA   - Drivers
2227494             Overtime        5.90    30.75   02/11/2019   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   02/18/2019   Sacramento   CA   - Drivers
2227494             Overtime        1.00    30.75   02/18/2019   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   02/25/2019   Sacramento   CA   - Drivers
2227494             Overtime        7.90    30.75   02/25/2019   Sacramento   CA   - Drivers
2227494             Regular        16.00    20.50   03/04/2019   Sacramento   CA   - Drivers
2227494             Overtime        1.20    30.75   03/04/2019   Sacramento   CA   - Drivers
2227494             Regular         8.00    20.50   03/18/2019   Sacramento   CA   - Drivers
2227494             Overtime        2.90    30.75   03/18/2019   Sacramento   CA   - Drivers
2227494             Regular        32.00    20.50   03/25/2019   Sacramento   CA   - Drivers
2227494             Overtime       10.50    30.75   03/25/2019   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   04/01/2019   Sacramento   CA   - Drivers
2227494             Overtime        2.50    30.75   04/01/2019   Sacramento   CA   - Drivers
2227494             Regular        24.00    20.50   04/08/2019   Sacramento   CA   - Drivers
2227494 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.70Document
                                         30.75 38-5    Filed Sacramento
                                                 04/08/2019  03/22/21 Page    270 of 691
                                                                        CA - Drivers       Page ID
2227494            Regular       32.00   20.50 #:1043
                                                 04/15/2019 Sacramento CA - Drivers
2227494            Overtime       4.10   30.75 04/15/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 04/22/2019 Sacramento CA - Drivers
2227494            Overtime       5.80   30.75 04/22/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 04/29/2019 Sacramento CA - Drivers
2227494            Overtime       8.40   30.75 04/29/2019 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 05/06/2019 Sacramento CA - Drivers
2227494            Overtime       6.50   30.75 05/06/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 05/13/2019 Sacramento CA - Drivers
2227494            Overtime       8.20   30.75 05/13/2019 Sacramento CA - Drivers
2227494            Regular       24.00   20.50 05/20/2019 Sacramento CA - Drivers
2227494            Overtime       6.30   30.75 05/20/2019 Sacramento CA - Drivers
2227494            Regular       24.00   20.50 05/27/2019 Sacramento CA - Drivers
2227494            Overtime       6.30   30.75 05/27/2019 Sacramento CA - Drivers
2227494            Regular       36.00   20.50 06/03/2019 Sacramento CA - Drivers
2227494            Overtime       6.70   30.75 06/03/2019 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 06/10/2019 Sacramento CA - Drivers
2227494            Overtime       7.60   30.75 06/10/2019 Sacramento CA - Drivers
2227494            Regular       24.00   20.50 06/17/2019 Sacramento CA - Drivers
2227494            Overtime      10.70   30.75 06/17/2019 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 06/24/2019 Sacramento CA - Drivers
2227494            Overtime      12.10   30.75 06/24/2019 Sacramento CA - Drivers
2227494            Regular       16.00   20.50 07/01/2019 Sacramento CA - Drivers
2227494            Overtime       6.90   30.75 07/01/2019 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 07/08/2019 Sacramento CA - Drivers
2227494            Overtime      12.30   30.75 07/08/2019 Sacramento CA - Drivers
2227494            Regular       24.00   20.50 07/15/2019 Sacramento CA - Drivers
2227494            Overtime       6.10   30.75 07/15/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 07/22/2019 Sacramento CA - Drivers
2227494            Overtime      12.20   30.75 07/22/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 07/29/2019 Sacramento CA - Drivers
2227494            Overtime       6.60   30.75 07/29/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 08/05/2019 Sacramento CA - Drivers
2227494            Overtime       8.60   30.75 08/05/2019 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 08/12/2019 Sacramento CA - Drivers
2227494            Overtime       7.75   30.75 08/12/2019 Sacramento CA - Drivers
2227494            Regular       40.00   20.50 08/19/2019 Sacramento CA - Drivers
2227494            Overtime      14.80   30.75 08/19/2019 Sacramento CA - Drivers
2227494            Regular       16.00   20.50 08/26/2019 Sacramento CA - Drivers
2227494            Overtime       5.20   30.75 08/26/2019 Sacramento CA - Drivers
2227494            Regular       32.00   20.50 09/02/2019 Sacramento CA - Drivers
2227494            Overtime       5.20   30.75 09/02/2019 Sacramento CA - Drivers
2227494            Regular        8.00   20.50 11/19/2018 Sacramento CA - Drivers
2227494            Overtime       4.00   30.75 11/19/2018 Sacramento CA - Drivers
Total for 2227494             4,157.88
2537752            Regular       24.00   17.60 06/04/2018 Los Angeles CA West - Drivers
2537752            Overtime       6.00   26.40 06/04/2018 Los Angeles CA West - Drivers
2537752            Regular       32.00   17.60 06/11/2018 Los Angeles CA West - Drivers
2537752            Overtime      15.00   26.40 06/11/2018 Los Angeles CA West - Drivers
2537752            Regular       32.00   17.60 06/18/2018 Los Angeles CA West - Drivers
2537752            Overtime      16.00   26.40 06/18/2018 Los Angeles CA West - Drivers
2537752            Regular        8.00   17.60 06/25/2018 Los Angeles CA West - Drivers
2537752            Overtime       4.00   26.40 06/25/2018 Los Angeles CA West - Drivers
Total for 2537752               137.00
2256990            Regular       13.00   19.50 08/21/2017 Los Angeles CA West - Drivers
2256990            Overtime       0.50   29.25 08/21/2017 Los Angeles CA West - Drivers
2256990            Regular       32.00   21.00 06/05/2017 Los Angeles CA West - Drivers
2256990            Overtime      13.00   31.50 06/05/2017 Los Angeles CA West - Drivers
2256990            Regular        8.00   19.00 05/15/2017 Los Angeles CA West - Drivers
2256990            Overtime       2.50   28.50 05/15/2017 Los Angeles CA West - Drivers
2256990            Regular       33.00   19.00 08/28/2017 Los Angeles CA West - Drivers
2256990            Regular       16.00   19.33 05/15/2017 Los Angeles CA West - Drivers
2256990 Case 2:19-cv-08580-JFW-MAA
                   Overtime      1.75Document
                                        29.00 38-5    Filed Los
                                                05/15/2017  03/22/21
                                                                AngelesPage 271- Drivers
                                                                       CA West   of 691    Page ID
2256990            Regular       8.00   19.33 #:1044
                                                05/22/2017 Los Angeles CA West - Drivers
2256990            Overtime      2.00   29.00 05/22/2017 Los Angeles CA West - Drivers
Total for 2256990              129.75
1329550            Regular      24.00   15.00 06/20/2016 Los Angeles CA East - Drivers
1329550            Overtime      0.25   22.50 06/20/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 06/27/2016 Los Angeles CA East - Drivers
1329550            Regular      32.00   15.00 07/04/2016 Los Angeles CA East - Drivers
1329550            Overtime      8.00   22.50 07/04/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 07/11/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 07/18/2016 Los Angeles CA East - Drivers
1329550            Overtime      4.00   22.50 07/18/2016 Los Angeles CA East - Drivers
1329550            Regular      16.00   15.00 07/25/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 08/01/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 08/08/2016 Los Angeles CA East - Drivers
1329550            Regular      32.00   15.00 08/15/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 08/22/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 08/29/2016 Los Angeles CA East - Drivers
1329550            Regular      32.00   15.00 09/05/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 09/12/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 09/19/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 09/26/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 10/03/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 10/10/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 10/17/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 10/24/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 10/31/2016 Los Angeles CA East - Drivers
1329550            Regular      32.00   15.00 11/07/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 11/14/2016 Los Angeles CA East - Drivers
1329550            Overtime      8.00   22.50 11/14/2016 Los Angeles CA East - Drivers
1329550            Regular      32.00   15.00 11/21/2016 Los Angeles CA East - Drivers
1329550            Overtime      6.00   22.50 11/21/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 11/28/2016 Los Angeles CA East - Drivers
1329550            Overtime      8.00   22.50 11/28/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 12/05/2016 Los Angeles CA East - Drivers
1329550            Overtime     10.00   22.50 12/05/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 12/12/2016 Los Angeles CA East - Drivers
1329550            Overtime      8.00   22.50 12/12/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 12/19/2016 Los Angeles CA East - Drivers
1329550            Overtime     12.00   22.50 12/19/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 12/26/2016 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 01/02/2017 Los Angeles CA East - Drivers
1329550            Overtime     10.00   22.50 01/02/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 01/09/2017 Los Angeles CA East - Drivers
1329550            Overtime      1.50   22.50 01/09/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 01/16/2017 Los Angeles CA East - Drivers
1329550            Overtime      3.00   22.50 01/16/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 01/23/2017 Los Angeles CA East - Drivers
1329550            Overtime     15.50   22.50 01/23/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 01/30/2017 Los Angeles CA East - Drivers
1329550            Overtime      0.50   22.50 01/30/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 02/06/2017 Los Angeles CA East - Drivers
1329550            Overtime      4.50   22.50 02/06/2017 Los Angeles CA East - Drivers
1329550            Regular      24.00   15.00 02/13/2017 Los Angeles CA East - Drivers
1329550            Overtime      7.50   22.50 02/13/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 02/20/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 02/27/2017 Los Angeles CA East - Drivers
1329550            Overtime      3.00   22.50 02/27/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 03/06/2017 Los Angeles CA East - Drivers
1329550            Overtime      6.00   22.50 03/06/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 03/13/2017 Los Angeles CA East - Drivers
1329550            Overtime     12.00   22.50 03/13/2017 Los Angeles CA East - Drivers
1329550            Regular      40.00   15.00 03/20/2017 Los Angeles CA East - Drivers
1329550 Case   2:19-cv-08580-JFW-MAA
                     Overtime     13.25Document
                                          22.50 38-5    Filed Los
                                                  03/20/2017  03/22/21
                                                                  AngelesPage 272
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1329550              Regular      32.00   15.00 #:1045
                                                  03/27/2017 Los Angeles CA East - Drivers
1329550              Overtime       10.00    22.50   03/27/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    15.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime       14.50    22.50   04/03/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        32.00    15.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        8.50    22.50   04/10/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    15.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime       11.00    22.50   04/17/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    15.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        2.50    22.50   04/24/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular         8.00    16.50   08/14/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular         8.00    16.50   08/21/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular         8.00    16.50   08/28/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        33.00    16.50   09/18/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   09/25/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   10/02/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   10/09/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   10/16/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        1.00    24.75   10/16/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   10/23/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        4.50    24.75   10/23/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   10/30/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        4.50    24.75   10/30/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   11/06/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        5.50    24.75   11/06/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   11/13/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime       11.00    24.75   11/13/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        32.00    16.50   11/20/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        3.50    24.75   11/20/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   11/27/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        3.00    24.75   11/27/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   12/04/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime       13.50    24.75   12/04/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   12/11/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime       11.00    24.75   12/11/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   12/18/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime       22.50    24.75   12/18/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        32.00    16.50   12/25/2017   Los   Angeles   CA   East   - Drivers
1329550              Overtime        7.50    24.75   12/25/2017   Los   Angeles   CA   East   - Drivers
1329550              Regular        32.00    16.50   01/01/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime       20.00    24.75   01/01/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   01/08/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime       11.50    24.75   01/08/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   01/15/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime        7.50    24.75   01/15/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        38.50    16.50   01/15/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime       19.00    24.75   01/15/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   01/29/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime       20.00    24.75   01/29/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   02/05/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime       18.50    24.75   02/05/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        38.00    16.50   02/12/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime        9.00    24.75   02/12/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        24.00    16.50   02/19/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   02/26/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   03/05/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        32.00    16.50   03/12/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   03/19/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        32.00    16.50   03/26/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   04/02/2018   Los   Angeles   CA   East   - Drivers
1329550              Overtime        1.00    24.75   04/02/2018   Los   Angeles   CA   East   - Drivers
1329550              Regular        40.00    16.50   04/09/2018   Los   Angeles   CA   East   - Drivers
1329550 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.00Document
                                         24.75 38-5    Filed Los
                                                 04/09/2018  03/22/21
                                                                 AngelesPage 273
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1329550            Regular       40.00   16.50 #:1046
                                                 04/16/2018 Los Angeles CA East - Drivers
1329550            Overtime       9.50   24.75 04/16/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   16.50 04/23/2018 Los Angeles CA East - Drivers
1329550            Overtime       2.50   24.75 04/23/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   16.50 04/30/2018 Los Angeles CA East - Drivers
1329550            Overtime       3.00   24.75 04/23/2018 Los Angeles CA East - Drivers
1329550            Regular       24.00   16.50 05/07/2018 Los Angeles CA East - Drivers
1329550            Overtime       3.50   24.75 05/07/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   17.50 05/14/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   17.50 05/21/2018 Los Angeles CA East - Drivers
1329550            Overtime       5.00   26.25 05/21/2018 Los Angeles CA East - Drivers
1329550            Regular       32.00   17.50 05/28/2018 Los Angeles CA East - Drivers
1329550            Regular       28.50   17.50 06/04/2018 Los Angeles CA East - Drivers
1329550            Overtime       2.50   26.25 06/04/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   17.50 06/11/2018 Los Angeles CA East - Drivers
1329550            Overtime       8.00   26.25 06/11/2018 Los Angeles CA East - Drivers
1329550            Regular       24.00   17.50 06/18/2018 Los Angeles CA East - Drivers
1329550            Overtime       4.00   26.25 06/18/2018 Los Angeles CA East - Drivers
1329550            Regular       16.00   17.50 06/25/2018 Los Angeles CA East - Drivers
1329550            Overtime       1.00   26.25 06/25/2018 Los Angeles CA East - Drivers
1329550            Regular       32.00   17.50 07/02/2018 Los Angeles CA East - Drivers
1329550            Overtime      20.00   26.25 07/02/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   17.50 07/09/2018 Los Angeles CA East - Drivers
1329550            Overtime      18.00   26.25 07/09/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   17.50 07/16/2018 Los Angeles CA East - Drivers
1329550            Overtime      18.50   26.25 07/16/2018 Los Angeles CA East - Drivers
1329550            Regular       40.00   17.50 07/23/2018 Los Angeles CA East - Drivers
1329550            Overtime      20.00   26.25 07/23/2018 Los Angeles CA East - Drivers
1329550            Regular        8.00   17.50 07/30/2018 Los Angeles CA East - Drivers
Total for 1329550             3,869.00
2592921            Regular       24.00   18.00 02/11/2019 Los Angeles CA West - Drivers
2592921            Overtime       5.75   27.00 02/11/2019 Los Angeles CA West - Drivers
2592921            Regular       16.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2592921            Overtime       5.08   31.50 11/05/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2592921            Overtime       7.54   31.50 11/12/2018 Los Angeles CA West - Drivers
2592921            Regular       32.00   21.00 11/19/2018 Los Angeles CA West - Drivers
2592921            Overtime       6.25   31.50 11/19/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2592921            Overtime       6.45   31.50 11/26/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2592921            Overtime       6.36   31.50 12/03/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2592921            Overtime       8.96   31.50 12/10/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 12/17/2018 Los Angeles CA West - Drivers
2592921            Overtime       5.35   31.50 12/17/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2592921            Overtime       3.21   31.50 12/24/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2592921            Overtime       5.30   31.50 12/31/2018 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 01/07/2019 Los Angeles CA West - Drivers
2592921            Overtime       6.64   31.50 01/07/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   21.00 01/14/2019 Los Angeles CA West - Drivers
2592921            Overtime       9.05   31.50 01/14/2019 Los Angeles CA West - Drivers
2592921            Regular        8.00   18.00 02/04/2019 Los Angeles CA West - Drivers
2592921            Regular        8.00   18.00 03/11/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 03/25/2019 Los Angeles CA West - Drivers
2592921            Overtime       2.00   27.00 03/25/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 04/01/2019 Los Angeles CA West - Drivers
2592921            Overtime       2.75   27.00 04/01/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 04/08/2019 Los Angeles CA West - Drivers
2592921            Overtime       7.00   27.00 04/08/2019 Los Angeles CA West - Drivers
2592921 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         18.00 38-5    Filed Los
                                                 04/15/2019  03/22/21
                                                                 AngelesPage 274- Drivers
                                                                        CA West   of 691    Page ID
2592921            Overtime       5.00   27.00 #:1047
                                                 04/15/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 04/22/2019 Los Angeles CA West - Drivers
2592921            Overtime       7.00   27.00 04/22/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 04/29/2019 Los Angeles CA West - Drivers
2592921            Overtime       4.50   27.00 04/29/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 05/06/2019 Los Angeles CA West - Drivers
2592921            Overtime       7.00   27.00 05/06/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 05/13/2019 Los Angeles CA West - Drivers
2592921            Overtime       7.00   27.00 05/13/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 05/20/2019 Los Angeles CA West - Drivers
2592921            Overtime       2.50   27.00 05/20/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.00 05/27/2019 Los Angeles CA West - Drivers
2592921            Overtime       1.00   27.00 05/27/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.00 06/03/2019 Los Angeles CA West - Drivers
2592921            Overtime       3.00   27.00 06/03/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.00 06/10/2019 Los Angeles CA West - Drivers
2592921            Overtime       4.00   27.00 06/10/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 06/17/2019 Los Angeles CA West - Drivers
2592921            Overtime       4.50   27.00 06/17/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.00 06/24/2019 Los Angeles CA West - Drivers
2592921            Overtime       4.50   27.00 06/24/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.50 07/01/2019 Los Angeles CA West - Drivers
2592921            Overtime       4.25   27.75 07/01/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.50 07/08/2019 Los Angeles CA West - Drivers
2592921            Overtime       5.50   27.75 07/08/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.50 07/15/2019 Los Angeles CA West - Drivers
2592921            Overtime      12.25   27.75 07/15/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.50 07/22/2019 Los Angeles CA West - Drivers
2592921            Overtime       6.50   27.75 07/22/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.50 08/05/2019 Los Angeles CA West - Drivers
2592921            Overtime       7.50   27.75 08/05/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.50 08/12/2019 Los Angeles CA West - Drivers
2592921            Overtime       8.50   27.75 08/12/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.50 08/19/2019 Los Angeles CA West - Drivers
2592921            Overtime       9.50   27.75 08/19/2019 Los Angeles CA West - Drivers
2592921            Regular       40.00   18.50 08/26/2019 Los Angeles CA West - Drivers
2592921            Overtime       7.75   27.75 08/26/2019 Los Angeles CA West - Drivers
2592921            Regular       32.00   18.50 09/02/2019 Los Angeles CA West - Drivers
2592921            Overtime      10.50   27.75 09/02/2019 Los Angeles CA West - Drivers
Total for 2592921             1,521.94
2335488            Regular       13.00   19.50 07/24/2017 Los Angeles CA West - Drivers
2335488            Overtime       0.50   29.25 07/24/2017 Los Angeles CA West - Drivers
2335488            Regular        8.00   19.50 07/31/2017 Los Angeles CA West - Drivers
2335488            Overtime       0.50   29.25 07/31/2017 Los Angeles CA West - Drivers
2335488            Regular        8.00   19.50 08/07/2017 Los Angeles CA West - Drivers
2335488            Overtime       0.50   29.25 08/07/2017 Los Angeles CA West - Drivers
2335488            Regular       16.00   19.50 08/21/2017 Los Angeles CA West - Drivers
2335488            Overtime       1.00   29.25 08/21/2017 Los Angeles CA West - Drivers
2335488            Regular        8.00   19.50 08/28/2017 Los Angeles CA West - Drivers
2335488            Overtime       1.50   29.25 08/28/2017 Los Angeles CA West - Drivers
2335488            Regular        4.00   19.50 09/11/2017 Los Angeles CA West - Drivers
2335488            Regular        8.00   19.50 10/02/2017 Los Angeles CA West - Drivers
Total for 2335488                69.00
2391936            Regular        8.00   20.00 12/04/2017 Los Angeles CA East - Drivers
2391936            Regular       28.00   21.00 10/23/2017 Los Angeles CA East - Drivers
2391936            Regular       40.00   21.50 10/30/2017 Los Angeles CA East - Drivers
2391936            Regular       24.00   21.50 11/06/2017 Los Angeles CA East - Drivers
2391936            Regular       15.50   21.50 10/30/2017 Los Angeles CA East - Drivers
2391936            Regular       20.00   21.50 11/20/2017 Los Angeles CA East - Drivers
2391936            Overtime       0.50   32.25 11/20/2017 Los Angeles CA East - Drivers
2391936            Regular        7.00   21.50 11/27/2017 Los Angeles CA East - Drivers
2391936            Regular       16.00   19.00 01/01/2018 Los Angeles CA East - Drivers
2391936 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         19.00 38-5    Filed Los
                                                 01/08/2018  03/22/21
                                                                 AngelesPage 275
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2391936            Regular       40.00   19.00 #:1048
                                                 01/15/2018 Los Angeles CA East - Drivers
2391936            Regular       40.00   19.00 01/22/2018 Los Angeles CA East - Drivers
2391936            Regular       40.00   19.00 01/29/2018 Los Angeles CA East - Drivers
2391936            Regular       33.75   19.00 02/05/2018 Los Angeles CA East - Drivers
2391936            Regular       47.75   19.00 02/12/2018 Los Angeles CA East - Drivers
2391936            Overtime       2.25   28.50 02/12/2018 Los Angeles CA East - Drivers
2391936            Regular       50.00   19.00 02/19/2018 Los Angeles CA East - Drivers
2391936            Overtime       2.75   28.50 02/19/2018 Los Angeles CA East - Drivers
2391936            Regular       44.50   19.00 02/26/2018 Los Angeles CA East - Drivers
2391936            Overtime       0.25   28.50 02/26/2018 Los Angeles CA East - Drivers
2391936            Regular       44.75   19.00 03/05/2018 Los Angeles CA East - Drivers
2391936            Regular       50.00   19.00 03/12/2018 Los Angeles CA East - Drivers
2391936            Overtime       4.00   28.50 03/12/2018 Los Angeles CA East - Drivers
2391936            Regular       44.25   19.00 03/19/2018 Los Angeles CA East - Drivers
2391936            Overtime       1.00   28.50 03/19/2018 Los Angeles CA East - Drivers
2391936            Regular       41.50   19.00 03/26/2018 Los Angeles CA East - Drivers
2391936            Regular       44.75   19.00 04/02/2018 Los Angeles CA East - Drivers
2391936            Overtime       0.25   28.50 04/02/2018 Los Angeles CA East - Drivers
2391936            Regular       43.50   19.00 04/09/2018 Los Angeles CA East - Drivers
2391936            Overtime       0.25   28.50 04/09/2018 Los Angeles CA East - Drivers
2391936            Regular       44.50   20.00 04/16/2018 Los Angeles CA East - Drivers
2391936            Regular       45.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2391936            Overtime       0.50   30.00 04/23/2018 Los Angeles CA East - Drivers
2391936            Regular       45.75   20.00 04/30/2018 Los Angeles CA East - Drivers
2391936            Overtime       1.50   30.00 04/30/2018 Los Angeles CA East - Drivers
2391936            Regular       43.25   20.00 05/07/2018 Los Angeles CA East - Drivers
2391936            Overtime       1.50   30.00 05/07/2018 Los Angeles CA East - Drivers
2391936            Regular       41.50   20.00 05/14/2018 Los Angeles CA East - Drivers
2391936            Regular       42.00   20.00 05/21/2018 Los Angeles CA East - Drivers
2391936            Overtime       1.25   30.00 05/21/2018 Los Angeles CA East - Drivers
2391936            Regular       44.25   20.00 05/28/2018 Los Angeles CA East - Drivers
2391936            Regular       44.50   20.00 06/04/2018 Los Angeles CA East - Drivers
2391936            Overtime       0.75   30.00 06/04/2018 Los Angeles CA East - Drivers
2391936            Regular       43.50   20.00 06/11/2018 Los Angeles CA East - Drivers
2391936            Regular       41.50   20.00 06/18/2018 Los Angeles CA East - Drivers
2391936            Regular       42.00   20.00 06/25/2018 Los Angeles CA East - Drivers
2391936            Overtime       1.50   30.00 06/25/2018 Los Angeles CA East - Drivers
2391936            Regular       34.50   20.00 07/02/2018 Los Angeles CA East - Drivers
2391936            Overtime       2.00   30.00 07/02/2018 Los Angeles CA East - Drivers
2391936            Regular       44.00   20.00 07/09/2018 Los Angeles CA East - Drivers
2391936            Overtime       1.25   30.00 07/09/2018 Los Angeles CA East - Drivers
2391936            Regular       44.30   20.00 07/16/2018 Los Angeles CA East - Drivers
2391936            Overtime       2.00   30.00 07/16/2018 Los Angeles CA East - Drivers
2391936            Regular       43.50   20.00 07/23/2018 Los Angeles CA East - Drivers
2391936            Regular       42.75   20.00 07/30/2018 Los Angeles CA East - Drivers
2391936            Regular       41.25   20.00 08/06/2018 Los Angeles CA East - Drivers
2391936            Regular       41.50   20.00 08/13/2018 Los Angeles CA East - Drivers
2391936            Regular       41.25   20.00 08/20/2018 Los Angeles CA East - Drivers
2391936            Regular       42.50   20.00 08/27/2018 Los Angeles CA East - Drivers
2391936            Overtime       0.50   30.00 08/27/2018 Los Angeles CA East - Drivers
2391936            Regular       42.75   20.00 09/03/2018 Los Angeles CA East - Drivers
Total for 2391936             1,683.30
1387657            Regular        8.00   19.00 05/29/2017 Sacramento CA - Drivers
1387657            Overtime       2.50   28.50 05/29/2017 Sacramento CA - Drivers
1387657            Regular       16.50   19.00 07/31/2017 Sacramento CA - Drivers
1387657            Overtime       3.00   28.50 07/31/2017 Sacramento CA - Drivers
1387657            Regular       24.00   20.00 04/16/2018 Sacramento CA - Drivers
1387657            Overtime      10.25   30.00 04/16/2018 Sacramento CA - Drivers
1387657            Regular       40.00   20.00 04/23/2018 Sacramento CA - Drivers
1387657            Overtime      19.75   30.00 04/23/2018 Sacramento CA - Drivers
1387657            Regular       40.00   20.00 04/30/2018 Sacramento CA - Drivers
1387657            Overtime       5.00   30.00 04/30/2018 Sacramento CA - Drivers
1387657 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          20.00 38-5    Filed Sacramento
                                                  05/07/2018  03/22/21 Page    276 of 691 Page ID
                                                                         CA - Drivers
1387657              Overtime      6.75   30.00 #:1049
                                                  05/07/2018 Sacramento CA - Drivers
1387657             Regular        40.00    20.00   05/14/2018   Sacramento   CA   - Drivers
1387657             Overtime       14.75    30.00   05/14/2018   Sacramento   CA   - Drivers
1387657             Regular        40.00    20.00   05/21/2018   Sacramento   CA   - Drivers
1387657             Overtime       14.00    30.00   05/21/2018   Sacramento   CA   - Drivers
1387657             Regular        32.00    20.00   05/28/2018   Sacramento   CA   - Drivers
1387657             Overtime        7.00    30.00   05/28/2018   Sacramento   CA   - Drivers
1387657             Regular        37.25    20.00   06/04/2018   Sacramento   CA   - Drivers
1387657             Overtime        5.50    30.00   06/04/2018   Sacramento   CA   - Drivers
1387657             Regular        40.00    20.00   06/11/2018   Sacramento   CA   - Drivers
1387657             Overtime       14.25    30.00   06/11/2018   Sacramento   CA   - Drivers
1387657             Regular        37.80    20.00   06/18/2018   Sacramento   CA   - Drivers
1387657             Overtime        9.50    30.00   06/18/2018   Sacramento   CA   - Drivers
1387657             Regular        28.00    20.00   06/25/2018   Sacramento   CA   - Drivers
1387657             Overtime        2.00    30.00   06/25/2018   Sacramento   CA   - Drivers
1387657             Regular        16.00    20.00   07/02/2018   Sacramento   CA   - Drivers
1387657             Overtime        4.75    30.00   07/02/2018   Sacramento   CA   - Drivers
1387657             Regular        26.80    20.00   07/09/2018   Sacramento   CA   - Drivers
1387657             Overtime        1.00    30.00   07/09/2018   Sacramento   CA   - Drivers
1387657             Regular        28.00    20.00   07/16/2018   Sacramento   CA   - Drivers
1387657             Overtime        5.25    30.00   07/16/2018   Sacramento   CA   - Drivers
1387657             Regular        40.00    20.00   07/23/2018   Sacramento   CA   - Drivers
1387657             Overtime        9.00    30.00   07/23/2018   Sacramento   CA   - Drivers
1387657             Regular        30.00    19.50   05/08/2017   Sacramento   CA   - Drivers
1387657             Overtime        2.75    29.25   05/08/2017   Sacramento   CA   - Drivers
1387657             Regular        37.50    19.50   05/15/2017   Sacramento   CA   - Drivers
1387657             Overtime       20.50    29.25   05/15/2017   Sacramento   CA   - Drivers
1387657             Regular        39.00    19.50   05/22/2017   Sacramento   CA   - Drivers
1387657             Overtime       18.50    29.25   05/22/2017   Sacramento   CA   - Drivers
1387657             Regular        23.50    19.50   05/29/2017   Sacramento   CA   - Drivers
1387657             Overtime       15.50    29.25   05/29/2017   Sacramento   CA   - Drivers
1387657             Regular        22.50    19.50   06/05/2017   Sacramento   CA   - Drivers
1387657             Overtime        0.50    29.25   06/05/2017   Sacramento   CA   - Drivers
1387657             Regular        35.50    19.50   06/12/2017   Sacramento   CA   - Drivers
1387657             Overtime        6.75    29.25   06/12/2017   Sacramento   CA   - Drivers
1387657             Regular        40.00    19.50   06/19/2017   Sacramento   CA   - Drivers
1387657             Overtime       19.00    29.25   06/19/2017   Sacramento   CA   - Drivers
1387657             Regular        40.00    19.50   06/26/2017   Sacramento   CA   - Drivers
1387657             Overtime       31.00    29.25   06/26/2017   Sacramento   CA   - Drivers
1387657             Regular        32.00    19.50   07/03/2017   Sacramento   CA   - Drivers
1387657             Overtime       21.50    29.25   07/03/2017   Sacramento   CA   - Drivers
1387657             Regular        38.50    19.50   07/10/2017   Sacramento   CA   - Drivers
1387657             Overtime        9.50    29.25   07/10/2017   Sacramento   CA   - Drivers
1387657             Regular        21.50    19.50   07/31/2017   Sacramento   CA   - Drivers
1387657             Overtime        3.00    29.25   07/31/2017   Sacramento   CA   - Drivers
1387657             Regular         8.00    19.50   08/07/2017   Sacramento   CA   - Drivers
1387657             Overtime        1.00    29.25   08/07/2017   Sacramento   CA   - Drivers
1387657             Regular        24.00    19.50   08/28/2017   Sacramento   CA   - Drivers
1387657             Overtime        8.50    29.25   08/28/2017   Sacramento   CA   - Drivers
1387657             Regular        24.00    19.50   09/04/2017   Sacramento   CA   - Drivers
1387657             Overtime       20.00    29.25   09/04/2017   Sacramento   CA   - Drivers
1387657             Regular        40.00    19.50   09/11/2017   Sacramento   CA   - Drivers
1387657             Overtime       27.00    29.25   09/11/2017   Sacramento   CA   - Drivers
1387657             Regular        30.25    19.50   09/18/2017   Sacramento   CA   - Drivers
1387657             Overtime        7.50    29.25   09/18/2017   Sacramento   CA   - Drivers
1387657             Regular        40.00    19.50   09/25/2017   Sacramento   CA   - Drivers
1387657             Overtime       34.25    29.25   09/25/2017   Sacramento   CA   - Drivers
1387657             Regular        38.50    19.50   10/02/2017   Sacramento   CA   - Drivers
1387657             Overtime       13.25    29.25   10/02/2017   Sacramento   CA   - Drivers
1387657             Regular         8.00    19.50   10/30/2017   Sacramento   CA   - Drivers
1387657             Regular        24.00    19.50   11/06/2017   Sacramento   CA   - Drivers
1387657             Overtime        9.75    29.25   11/06/2017   Sacramento   CA   - Drivers
1387657 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         19.50 38-5    Filed Sacramento
                                                 11/13/2017  03/22/21 Page    277 of 691
                                                                        CA - Drivers       Page ID
1387657            Overtime      16.50   29.25 #:1050
                                                 11/13/2017 Sacramento CA - Drivers
1387657            Regular       23.00   19.50 11/20/2017 Sacramento CA - Drivers
1387657            Overtime        6.00  29.25 11/20/2017 Sacramento CA - Drivers
1387657            Regular       20.00   19.50 11/27/2017 Sacramento CA - Drivers
1387657            Overtime        2.00  29.25 11/27/2017 Sacramento CA - Drivers
1387657            Regular       28.50   19.50 01/22/2018 Sacramento CA - Drivers
1387657            Overtime        6.00  29.25 01/22/2018 Sacramento CA - Drivers
1387657            Regular       14.00   19.50 01/29/2018 Sacramento CA - Drivers
1387657            Overtime        1.00  29.25 01/29/2018 Sacramento CA - Drivers
1387657            Regular       24.00   19.50 02/05/2018 Sacramento CA - Drivers
1387657            Overtime        9.00  29.25 02/05/2018 Sacramento CA - Drivers
1387657            Regular       16.00   19.50 02/12/2018 Sacramento CA - Drivers
1387657            Overtime        4.50  29.25 02/12/2018 Sacramento CA - Drivers
1387657            Regular       29.50   19.50 03/05/2018 Sacramento CA - Drivers
1387657            Overtime        6.00  29.25 03/05/2018 Sacramento CA - Drivers
1387657            Regular       16.00   19.50 03/12/2018 Sacramento CA - Drivers
1387657            Overtime        4.00  29.25 03/12/2018 Sacramento CA - Drivers
1387657            Regular         8.00  19.50 03/19/2018 Sacramento CA - Drivers
1387657            Overtime        4.00  29.25 03/19/2018 Sacramento CA - Drivers
1387657            Regular       16.00   19.50 03/26/2018 Sacramento CA - Drivers
1387657            Overtime        6.00  29.25 03/26/2018 Sacramento CA - Drivers
1387657            Regular       13.25   19.50 04/02/2018 Sacramento CA - Drivers
1387657            Overtime        4.00  29.25 04/02/2018 Sacramento CA - Drivers
1387657            Regular       16.00   19.50 04/09/2018 Sacramento CA - Drivers
1387657            Overtime        4.50  29.25 04/09/2018 Sacramento CA - Drivers
1387657            Regular         8.00  19.50 04/16/2018 Sacramento CA - Drivers
1387657            Overtime        3.00  29.25 04/16/2018 Sacramento CA - Drivers
1387657            Regular       12.00   21.00 03/19/2018 Sacramento CA - Drivers
1387657            Regular         8.00  20.00 07/17/2017 Sacramento CA - Drivers
1387657            Overtime        4.00  30.00 07/17/2017 Sacramento CA - Drivers
1387657            Regular       40.00   20.00 07/24/2017 Sacramento CA - Drivers
1387657            Overtime      16.25   30.00 07/24/2017 Sacramento CA - Drivers
1387657            Regular       15.25   20.00 08/07/2017 Sacramento CA - Drivers
1387657            Overtime        1.00  30.00 08/07/2017 Sacramento CA - Drivers
1387657            Regular       15.00   20.00 08/14/2017 Sacramento CA - Drivers
1387657            Overtime        2.00  30.00 08/14/2017 Sacramento CA - Drivers
1387657            Regular       32.00   21.00 07/17/2017 Sacramento CA - Drivers
1387657            Overtime      11.50   31.50 07/17/2017 Sacramento CA - Drivers
1387657            Regular         8.00  21.00 08/28/2017 Sacramento CA - Drivers
1387657            Overtime        4.00  31.50 08/28/2017 Sacramento CA - Drivers
1387657            Regular         8.00  21.00 09/04/2017 Sacramento CA - Drivers
1387657            Regular         8.00  21.00 09/11/2017 Sacramento CA - Drivers
1387657            Overtime        4.00  31.50 09/11/2017 Sacramento CA - Drivers
1387657            Regular        -8.00  21.00 09/11/2017 Sacramento CA - Drivers
1387657            Overtime       -4.00  31.50 09/11/2017 Sacramento CA - Drivers
1387657            Regular       16.00   21.00 08/06/2018 Sacramento CA - Drivers
1387657            Overtime        5.00  31.50 08/06/2018 Sacramento CA - Drivers
1387657            Regular       24.00   21.00 08/13/2018 Sacramento CA - Drivers
1387657            Overtime        4.50  31.50 08/13/2018 Sacramento CA - Drivers
Total for 1387657             2,110.35
2534485            Regular       16.00   18.00 07/02/2018 Los Angeles CA West - Drivers
2534485            Overtime        1.00  27.00 07/02/2018 Los Angeles CA West - Drivers
2534485            Regular       32.00   18.00 07/09/2018 Los Angeles CA West - Drivers
2534485            Overtime        5.00  27.00 07/09/2018 Los Angeles CA West - Drivers
Total for 2534485                54.00
2695799            Regular         8.00  21.00 02/18/2019 Los Angeles CA West - Drivers
2695799            Overtime        1.33  31.50 02/18/2019 Los Angeles CA West - Drivers
2695799            Regular       32.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2695799            Overtime      12.71   31.50 02/25/2019 Los Angeles CA West - Drivers
2695799            Regular       40.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2695799            Overtime        5.90  31.50 03/04/2019 Los Angeles CA West - Drivers
2695799            Regular       24.00   21.00 03/11/2019 Los Angeles CA West - Drivers
2695799 Case 2:19-cv-08580-JFW-MAA
                   Overtime      4.00Document
                                        31.50 38-5    Filed Los
                                                03/11/2019  03/22/21
                                                                AngelesPage 278- Drivers
                                                                       CA West   of 691    Page ID
2695799            Regular      36.13   21.00 #:1051
                                                03/18/2019 Los Angeles CA West - Drivers
2695799            Overtime      8.03   31.50 03/18/2019 Los Angeles CA West - Drivers
2695799            Regular      40.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2695799            Overtime      4.90   31.50 03/25/2019 Los Angeles CA West - Drivers
2695799            Regular      40.00   21.00 04/01/2019 Los Angeles CA West - Drivers
2695799            Overtime      5.52   31.50 04/01/2019 Los Angeles CA West - Drivers
2695799            Regular      40.00   21.00 04/08/2019 Los Angeles CA West - Drivers
2695799            Overtime      3.40   31.50 04/08/2019 Los Angeles CA West - Drivers
2695799            Regular      39.30   21.00 04/15/2019 Los Angeles CA West - Drivers
2695799            Overtime      2.50   31.50 04/15/2019 Los Angeles CA West - Drivers
2695799            Regular      40.00   21.00 04/22/2019 Los Angeles CA West - Drivers
2695799            Overtime      5.82   31.50 04/22/2019 Los Angeles CA West - Drivers
2695799            Regular      32.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2695799            Overtime      4.31   31.50 04/29/2019 Los Angeles CA West - Drivers
2695799            Regular      36.39   21.00 05/06/2019 Los Angeles CA West - Drivers
2695799            Overtime      2.58   31.50 05/06/2019 Los Angeles CA West - Drivers
2695799            Regular      39.42   21.00 05/13/2019 Los Angeles CA West - Drivers
2695799            Overtime      6.30   31.50 05/13/2019 Los Angeles CA West - Drivers
2695799            Regular      39.90   21.00 05/20/2019 Los Angeles CA West - Drivers
2695799            Overtime      7.97   31.50 05/20/2019 Los Angeles CA West - Drivers
2695799            Regular      31.53   21.00 05/27/2019 Los Angeles CA West - Drivers
2695799            Overtime      8.73   31.50 05/27/2019 Los Angeles CA West - Drivers
2695799            Regular      40.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2695799            Overtime      5.89   31.50 06/03/2019 Los Angeles CA West - Drivers
2695799            Regular      39.22   21.00 06/10/2019 Los Angeles CA West - Drivers
2695799            Overtime      7.85   31.50 06/10/2019 Los Angeles CA West - Drivers
2695799            Regular       8.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2695799            Overtime      1.57   31.50 06/17/2019 Los Angeles CA West - Drivers
2695799            Regular      24.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2695799            Overtime      2.81   31.50 06/24/2019 Los Angeles CA West - Drivers
2695799            Regular      38.30   21.00 07/01/2019 Los Angeles CA West - Drivers
2695799            Overtime      3.94   31.50 07/01/2019 Los Angeles CA West - Drivers
2695799            Regular      38.70   21.00 07/08/2019 Los Angeles CA West - Drivers
2695799            Overtime      2.66   31.50 07/08/2019 Los Angeles CA West - Drivers
2695799            Regular      38.37   21.00 07/15/2019 Los Angeles CA West - Drivers
2695799            Overtime      7.05   31.50 07/15/2019 Los Angeles CA West - Drivers
2695799            Regular      40.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2695799            Overtime      4.38   31.50 07/22/2019 Los Angeles CA West - Drivers
2695799            Regular       8.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2695799            Overtime      1.17   31.50 07/29/2019 Los Angeles CA West - Drivers
2695799            Regular       8.00   22.00 08/12/2019 Los Angeles CA West - Drivers
Total for 2695799              922.58
1383543            Regular       8.00   19.50 03/13/2017 Los Angeles CA East - Drivers
1383543            Overtime      1.00   29.25 03/13/2017 Los Angeles CA East - Drivers
1383543            Regular       8.00   19.00 03/06/2017 Los Angeles CA East - Drivers
1383543            Overtime      3.75   28.50 03/06/2017 Los Angeles CA East - Drivers
1383543            Regular      28.50   20.00 09/19/2016 Los Angeles CA East - Drivers
1383543            Overtime      5.50   30.00 09/19/2016 Los Angeles CA East - Drivers
1383543            Regular      20.00   19.00 02/27/2017 Los Angeles CA East - Drivers
1383543            Overtime      1.00   28.50 02/27/2017 Los Angeles CA East - Drivers
1383543            Regular       4.00   19.00 03/06/2017 Los Angeles CA East - Drivers
1383543            Regular      16.00   19.00 03/13/2017 Los Angeles CA East - Drivers
1383543            Overtime      5.00   28.50 03/13/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 03/20/2017 Los Angeles CA East - Drivers
1383543            Overtime     12.00   30.00 03/20/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 03/27/2017 Los Angeles CA East - Drivers
1383543            Overtime     17.25   30.00 03/27/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 04/03/2017 Los Angeles CA East - Drivers
1383543            Overtime     11.75   30.00 04/03/2017 Los Angeles CA East - Drivers
1383543            Regular      38.50   20.00 04/10/2017 Los Angeles CA East - Drivers
1383543            Overtime      7.75   30.00 04/10/2017 Los Angeles CA East - Drivers
1383543            Regular      36.75   20.00 04/17/2017 Los Angeles CA East - Drivers
1383543 Case 2:19-cv-08580-JFW-MAA
                   Overtime      7.50Document
                                        30.00 38-5    Filed Los
                                                04/17/2017  03/22/21
                                                                AngelesPage 279
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1383543            Regular      40.00   20.00 #:1052
                                                04/24/2017 Los Angeles CA East - Drivers
1383543            Overtime     13.50   30.00 04/24/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 05/01/2017 Los Angeles CA East - Drivers
1383543            Overtime     11.00   30.00 05/01/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 05/08/2017 Los Angeles CA East - Drivers
1383543            Overtime     13.50   30.00 05/08/2017 Los Angeles CA East - Drivers
1383543            Regular      36.25   20.00 05/15/2017 Los Angeles CA East - Drivers
1383543            Overtime     12.00   30.00 05/15/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 05/22/2017 Los Angeles CA East - Drivers
1383543            Overtime     14.50   30.00 05/22/2017 Los Angeles CA East - Drivers
1383543            Regular      32.00   20.00 05/29/2017 Los Angeles CA East - Drivers
1383543            Overtime     13.75   30.00 05/29/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 06/05/2017 Los Angeles CA East - Drivers
1383543            Overtime     20.00   30.00 06/05/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 06/12/2017 Los Angeles CA East - Drivers
1383543            Overtime     12.00   30.00 06/12/2017 Los Angeles CA East - Drivers
1383543            Regular      40.00   20.00 06/19/2017 Los Angeles CA East - Drivers
1383543            Overtime     12.50   30.00 06/19/2017 Los Angeles CA East - Drivers
1383543            Regular       8.00   20.00 06/26/2017 Los Angeles CA East - Drivers
1383543            Overtime      2.50   30.00 06/26/2017 Los Angeles CA East - Drivers
Total for 1383543              833.75
883304             Regular      40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
883304             Overtime     36.50   25.50 08/03/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
883304             Overtime     22.50   25.50 08/10/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   17.00 08/17/2015 Los Angeles CA West - Drivers
883304             Overtime     26.75   25.50 08/17/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
883304             Overtime     27.75   28.50 08/24/2015 Los Angeles CA West - Drivers
883304             Regular      32.00   19.00 08/31/2015 Los Angeles CA West - Drivers
883304             Overtime     14.50   28.50 08/31/2015 Los Angeles CA West - Drivers
883304             Regular      32.00   19.00 09/07/2015 Los Angeles CA West - Drivers
883304             Overtime     13.25   28.50 08/31/2015 Los Angeles CA West - Drivers
883304             Regular      24.00   19.00 09/14/2015 Los Angeles CA West - Drivers
883304             Overtime     11.75   28.50 09/14/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 09/21/2015 Los Angeles CA West - Drivers
883304             Overtime     16.00   28.50 09/21/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 09/28/2015 Los Angeles CA West - Drivers
883304             Overtime     19.25   28.50 09/28/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 10/05/2015 Los Angeles CA West - Drivers
883304             Overtime     11.25   28.50 10/05/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
883304             Overtime     16.00   28.50 10/12/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
883304             Overtime     13.50   28.50 10/19/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 10/26/2015 Los Angeles CA West - Drivers
883304             Overtime     19.25   28.50 10/26/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
883304             Overtime     11.50   28.50 11/02/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
883304             Overtime      9.00   28.50 11/09/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
883304             Overtime     31.00   28.50 11/30/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
883304             Overtime     31.25   28.50 12/07/2015 Los Angeles CA West - Drivers
883304             Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
883304             Overtime     15.50   28.50 12/14/2015 Los Angeles CA West - Drivers
883304             Regular      32.00   19.00 12/21/2015 Los Angeles CA West - Drivers
883304             Overtime      9.25   28.50 12/21/2015 Los Angeles CA West - Drivers
883304             Regular      32.00   19.00 12/28/2015 Los Angeles CA West - Drivers
883304             Overtime      7.75   28.50 12/28/2015 Los Angeles CA West - Drivers
883304             Regular      32.00   19.00 01/11/2016 Los Angeles CA West - Drivers
883304 Case 2:19-cv-08580-JFW-MAA
                  Overtime      12.50Document
                                        28.50 38-5    Filed Los
                                                01/11/2016  03/22/21
                                                                AngelesPage 280- Drivers
                                                                       CA West   of 691    Page ID
883304            Regular       40.00   19.00 #:1053
                                                01/18/2016 Los Angeles CA West - Drivers
883304            Overtime      12.00   28.50 01/18/2016 Los Angeles CA West - Drivers
883304            Regular       38.75   19.00 01/25/2016 Los Angeles CA West - Drivers
883304            Overtime      11.75   28.50 01/25/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 02/01/2016 Los Angeles CA West - Drivers
883304            Overtime      14.00   28.50 02/01/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 02/08/2016 Los Angeles CA West - Drivers
883304            Overtime      11.00   28.50 02/08/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 02/15/2016 Los Angeles CA West - Drivers
883304            Overtime      15.50   28.50 02/15/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 02/22/2016 Los Angeles CA West - Drivers
883304            Overtime      10.25   28.50 02/22/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 02/29/2016 Los Angeles CA West - Drivers
883304            Overtime       9.75   28.50 02/29/2016 Los Angeles CA West - Drivers
883304            Regular       16.00   19.00 03/07/2016 Los Angeles CA West - Drivers
883304            Overtime       1.50   28.50 03/07/2016 Los Angeles CA West - Drivers
883304            Regular       16.00   19.00 03/14/2016 Los Angeles CA West - Drivers
883304            Overtime       4.75   28.50 03/14/2016 Los Angeles CA West - Drivers
883304            Regular       32.00   19.00 03/21/2016 Los Angeles CA West - Drivers
883304            Overtime       4.75   28.50 03/21/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 03/28/2016 Los Angeles CA West - Drivers
883304            Overtime      11.75   28.50 03/28/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 04/04/2016 Los Angeles CA West - Drivers
883304            Overtime      10.50   28.50 04/04/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 04/11/2016 Los Angeles CA West - Drivers
883304            Overtime      21.00   28.50 04/11/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 04/18/2016 Los Angeles CA West - Drivers
883304            Overtime      13.50   28.50 04/18/2016 Los Angeles CA West - Drivers
883304            Regular       24.00   19.00 04/25/2016 Los Angeles CA West - Drivers
883304            Overtime       5.00   28.50 04/25/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.00 05/02/2016 Los Angeles CA West - Drivers
883304            Overtime      20.25   28.50 05/02/2016 Los Angeles CA West - Drivers
883304            Regular       39.50   19.00 05/09/2016 Los Angeles CA West - Drivers
883304            Overtime      10.25   28.50 05/09/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.25 05/16/2016 Los Angeles CA West - Drivers
883304            Overtime      12.75   28.88 05/16/2016 Los Angeles CA West - Drivers
883304            Regular       40.00   19.25 05/23/2016 Los Angeles CA West - Drivers
883304            Overtime      12.50   28.88 05/23/2016 Los Angeles CA West - Drivers
883304            Regular        8.00   19.25 05/30/2016 Los Angeles CA West - Drivers
883304            Overtime       2.00   28.88 05/30/2016 Los Angeles CA West - Drivers
Total for 883304             2,069.00
1404114           Regular        8.00   15.00 09/12/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 09/19/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 09/26/2016 Los Angeles CA East - Drivers
1404114           Regular       39.00   15.00 10/03/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 10/10/2016 Los Angeles CA East - Drivers
1404114           Regular       37.00   15.00 10/17/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 10/24/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 10/31/2016 Los Angeles CA East - Drivers
1404114           Regular       32.00   15.00 11/07/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 11/14/2016 Los Angeles CA East - Drivers
1404114           Overtime       6.00   22.50 11/14/2016 Los Angeles CA East - Drivers
1404114           Regular       32.00   15.00 11/21/2016 Los Angeles CA East - Drivers
1404114           Overtime       4.00   22.50 11/21/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 11/28/2016 Los Angeles CA East - Drivers
1404114           Overtime       8.00   22.50 11/28/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 12/05/2016 Los Angeles CA East - Drivers
1404114           Overtime      10.00   22.50 12/05/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 12/12/2016 Los Angeles CA East - Drivers
1404114           Overtime       8.00   22.50 12/12/2016 Los Angeles CA East - Drivers
1404114           Regular       40.00   15.00 12/19/2016 Los Angeles CA East - Drivers
1404114           Overtime      13.00   22.50 12/19/2016 Los Angeles CA East - Drivers
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                     Regular      40.00Document
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                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1404114              Regular      40.00   15.00 #:1054
                                                  01/02/2017 Los Angeles CA East - Drivers
1404114              Overtime       10.00    22.50   01/02/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        1.50    22.50   01/09/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   01/16/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        2.00    22.50   01/16/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       12.50    22.50   01/23/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        0.50    22.50   01/30/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        2.50    22.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   02/13/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        4.00    22.50   02/13/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        1.00    22.50   02/20/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        5.50    22.50   03/06/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        6.00    22.50   03/13/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       11.75    22.50   03/20/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       10.00    22.50   03/27/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        16.00    15.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        2.00    22.50   04/03/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    15.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        4.50    22.50   04/10/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        3.00    22.50   04/17/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    15.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        4.00    22.50   04/24/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    16.50   05/01/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        8.00    24.75   05/01/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   05/08/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        6.00    24.75   05/08/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        16.00    16.50   05/15/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   05/22/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        7.50    24.75   05/22/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    16.50   05/29/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   06/05/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        5.50    24.75   06/05/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   06/12/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        2.50    24.75   06/12/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   06/19/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        7.00    24.75   06/19/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular         0.00    16.50   06/26/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        0.00   187.50   06/26/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        16.00    16.50   07/03/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        3.00    24.75   07/03/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        80.00    16.50   07/10/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       33.50    24.75   07/10/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   07/17/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       18.00    24.75   07/17/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   07/24/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       18.50    24.75   07/24/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   07/31/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        3.25    24.75   07/31/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   08/07/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        1.00    24.75   08/07/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        29.50    16.50   08/14/2017   Los   Angeles   CA   East   - Drivers
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                     Regular      29.50Document
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                                                  08/21/2017  03/22/21
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                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1404114              Overtime      0.50   24.75 #:1055
                                                  08/21/2017 Los Angeles CA East - Drivers
1404114              Regular        40.00    16.50   08/28/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        0.50    24.75   08/28/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    16.50   09/04/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        1.50    24.75   09/04/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   09/11/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        0.25    24.75   09/11/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular         8.00    16.50   10/02/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   10/09/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   10/16/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        3.00    24.75   10/16/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        36.00    16.50   10/23/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        1.75    24.75   10/23/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   10/30/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        2.00    24.75   10/30/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   11/06/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        1.50    24.75   11/06/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        25.50    16.50   11/13/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        2.00    24.75   11/13/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    16.50   11/20/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   11/27/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   12/04/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        5.50    24.75   12/04/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   12/11/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime        6.50    24.75   12/11/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   12/18/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       12.00    24.75   12/18/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   12/25/2017   Los   Angeles   CA   East   - Drivers
1404114              Overtime       10.50    24.75   12/25/2017   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    16.50   01/01/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime       17.50    24.75   01/01/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   01/08/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        9.50    24.75   01/08/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        37.00    16.50   01/15/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        8.50    24.75   01/15/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   01/22/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime       22.00    24.75   01/22/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   01/29/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime       20.00    24.75   01/29/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   02/05/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime       15.50    24.75   02/05/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        38.00    16.50   02/12/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   02/19/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        5.50    24.75   02/19/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   02/26/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        0.50    24.75   02/26/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   03/05/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   03/12/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        0.50    24.75   03/12/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   03/19/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        32.00    16.50   03/26/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   04/02/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   04/09/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        4.00    24.75   04/09/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   04/16/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime       11.50    24.75   04/16/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   04/23/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        8.00    24.75   04/23/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   04/30/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        6.00    24.75   04/23/2018   Los   Angeles   CA   East   - Drivers
1404114              Regular        40.00    16.50   05/07/2018   Los   Angeles   CA   East   - Drivers
1404114              Overtime        7.50    24.75   05/07/2018   Los   Angeles   CA   East   - Drivers
1404114 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         17.50 38-5    Filed Los
                                                 05/14/2018  03/22/21
                                                                 AngelesPage 283
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1404114            Regular       40.00   17.50 #:1056
                                                 05/21/2018 Los Angeles CA East - Drivers
1404114            Regular       24.00   17.50 05/28/2018 Los Angeles CA East - Drivers
1404114            Overtime       3.50   26.25 05/28/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 06/04/2018 Los Angeles CA East - Drivers
1404114            Overtime       7.50   26.25 06/04/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 06/11/2018 Los Angeles CA East - Drivers
1404114            Overtime      10.50   26.25 06/11/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 06/18/2018 Los Angeles CA East - Drivers
1404114            Overtime      12.50   26.25 06/18/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 06/25/2018 Los Angeles CA East - Drivers
1404114            Overtime      27.00   26.25 06/25/2018 Los Angeles CA East - Drivers
1404114            Regular       32.00   17.50 07/02/2018 Los Angeles CA East - Drivers
1404114            Overtime      17.50   26.25 07/02/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 07/09/2018 Los Angeles CA East - Drivers
1404114            Overtime      18.00   26.25 07/09/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 07/16/2018 Los Angeles CA East - Drivers
1404114            Overtime      18.50   26.25 07/16/2018 Los Angeles CA East - Drivers
1404114            Regular       40.00   17.50 07/23/2018 Los Angeles CA East - Drivers
1404114            Overtime      25.00   26.25 07/23/2018 Los Angeles CA East - Drivers
1404114            Regular        8.00   17.50 07/30/2018 Los Angeles CA East - Drivers
1404114            Overtime       2.00   26.25 07/30/2018 Los Angeles CA East - Drivers
Total for 1404114             4,137.00
2181680            Regular       16.00   19.50 07/17/2017 Sacramento CA - Drivers
2181680            Overtime       7.75   29.25 07/17/2017 Sacramento CA - Drivers
2181680            Regular       16.00   19.50 07/24/2017 Sacramento CA - Drivers
2181680            Overtime       7.25   29.25 07/24/2017 Sacramento CA - Drivers
2181680            Regular       24.00   19.50 07/31/2017 Sacramento CA - Drivers
2181680            Overtime      10.00   29.25 07/31/2017 Sacramento CA - Drivers
2181680            Regular       24.00   19.50 08/07/2017 Sacramento CA - Drivers
2181680            Overtime       2.75   29.25 08/07/2017 Sacramento CA - Drivers
2181680            Regular       42.50   21.00 02/06/2017 Sacramento CA - Drivers
2181680            Overtime       1.50   31.50 02/06/2017 Sacramento CA - Drivers
2181680            Regular       46.75   21.00 02/13/2017 Sacramento CA - Drivers
2181680            Regular       48.00   21.00 02/20/2017 Sacramento CA - Drivers
2181680            Overtime       6.25   31.50 02/20/2017 Sacramento CA - Drivers
2181680            Regular       50.00   21.00 02/27/2017 Sacramento CA - Drivers
2181680            Overtime       5.75   31.50 02/27/2017 Sacramento CA - Drivers
2181680            Regular       41.00   21.00 03/06/2017 Sacramento CA - Drivers
2181680            Regular       32.25   21.00 03/13/2017 Sacramento CA - Drivers
2181680            Regular       40.25   21.00 03/20/2017 Sacramento CA - Drivers
2181680            Regular       50.00   21.00 03/27/2017 Sacramento CA - Drivers
2181680            Overtime       3.25   31.50 03/27/2017 Sacramento CA - Drivers
2181680            Regular       50.00   21.00 04/03/2017 Sacramento CA - Drivers
2181680            Regular       45.00   21.00 04/10/2017 Sacramento CA - Drivers
2181680            Overtime       3.00   31.50 04/10/2017 Sacramento CA - Drivers
2181680            Regular       30.25   21.00 04/10/2017 Sacramento CA - Drivers
2181680            Regular       57.75   21.00 04/24/2017 Sacramento CA - Drivers
2181680            Regular       36.75   21.00 05/01/2017 Sacramento CA - Drivers
2181680            Regular       47.25   21.00 05/08/2017 Sacramento CA - Drivers
2181680            Regular       45.75   21.00 05/15/2017 Sacramento CA - Drivers
2181680            Overtime       0.50   31.50 05/15/2017 Sacramento CA - Drivers
2181680            Regular       33.75   21.00 05/22/2017 Sacramento CA - Drivers
2181680            Regular       45.50   21.00 05/29/2017 Sacramento CA - Drivers
2181680            Overtime       8.00   31.50 05/29/2017 Sacramento CA - Drivers
2181680            Regular       46.75   21.00 06/05/2017 Sacramento CA - Drivers
2181680            Overtime       0.25   31.50 06/05/2017 Sacramento CA - Drivers
2181680            Regular       45.50   21.00 06/12/2017 Sacramento CA - Drivers
2181680            Regular       46.00   21.00 06/19/2017 Sacramento CA - Drivers
2181680            Regular       46.00   21.00 06/26/2017 Sacramento CA - Drivers
2181680            Regular       27.75   21.00 07/03/2017 Sacramento CA - Drivers
2181680            Regular       46.50   21.00 07/10/2017 Sacramento CA - Drivers
2181680            Overtime       0.25   31.50 07/10/2017 Sacramento CA - Drivers
2181680 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         20.00 38-5    Filed Sacramento
                                                 07/31/2017  03/22/21 Page    284 of 691
                                                                        CA - Drivers       Page ID
2181680            Overtime       2.00   30.00 #:1057
                                                 07/31/2017 Sacramento CA - Drivers
Total for 2181680             1,147.75
2478155            Regular       23.75   19.50 03/05/2018 Los Angeles CA East - Drivers
2478155            Regular        6.50   19.50 03/26/2018 Los Angeles CA East - Drivers
2478155            Regular        8.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2478155            Overtime       3.50   30.00 02/19/2018 Los Angeles CA East - Drivers
2478155            Regular        4.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2478155            Regular        6.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2478155            Regular        8.00   20.75 02/26/2018 Los Angeles CA East - Drivers
2478155            Overtime       3.50   31.13 02/26/2018 Los Angeles CA East - Drivers
2478155            Regular       16.00   20.75 03/26/2018 Los Angeles CA East - Drivers
2478155            Overtime       8.00   31.13 03/26/2018 Los Angeles CA East - Drivers
2478155            Regular       16.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2478155            Overtime       3.00   30.00 02/12/2018 Los Angeles CA East - Drivers
2478155            Regular        8.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2478155            Overtime       3.25   30.00 02/19/2018 Los Angeles CA East - Drivers
Total for 2478155               117.50
2683662            Regular       24.00   21.00 02/11/2019 Sacramento CA - Drivers
2683662            Overtime      10.00   31.50 02/11/2019 Sacramento CA - Drivers
2683662            Regular       24.00   21.00 02/18/2019 Sacramento CA - Drivers
2683662            Overtime      11.00   31.50 02/18/2019 Sacramento CA - Drivers
Total for 2683662                69.00
2243585            Regular       16.00   18.00 04/24/2017 Sacramento CA - Drivers
2243585            Overtime       5.75   27.00 04/24/2017 Sacramento CA - Drivers
2243585            Regular       24.00   19.00 05/01/2017 Sacramento CA - Drivers
2243585            Overtime       8.00   28.50 05/01/2017 Sacramento CA - Drivers
2243585            Regular       24.00   19.00 05/08/2017 Sacramento CA - Drivers
2243585            Overtime       3.50   28.50 05/08/2017 Sacramento CA - Drivers
2243585            Regular       16.00   19.00 05/15/2017 Sacramento CA - Drivers
2243585            Overtime       4.00   28.50 05/15/2017 Sacramento CA - Drivers
2243585            Regular       16.00   19.00 05/22/2017 Sacramento CA - Drivers
2243585            Overtime       5.25   28.50 05/22/2017 Sacramento CA - Drivers
2243585            Regular       24.00   19.00 05/29/2017 Sacramento CA - Drivers
2243585            Overtime      11.00   28.50 05/29/2017 Sacramento CA - Drivers
2243585            Regular       16.00   19.00 06/19/2017 Sacramento CA - Drivers
2243585            Overtime       2.00   28.50 06/19/2017 Sacramento CA - Drivers
2243585            Regular       40.00   19.00 06/26/2017 Sacramento CA - Drivers
2243585            Overtime      10.25   28.50 06/26/2017 Sacramento CA - Drivers
2243585            Regular       31.00   19.00 07/03/2017 Sacramento CA - Drivers
2243585            Overtime       8.00   28.50 07/03/2017 Sacramento CA - Drivers
2243585            Regular       40.00   19.00 07/10/2017 Sacramento CA - Drivers
2243585            Overtime      13.25   28.50 07/10/2017 Sacramento CA - Drivers
2243585            Regular       40.00   19.00 07/17/2017 Sacramento CA - Drivers
2243585            Overtime       6.75   28.50 07/17/2017 Sacramento CA - Drivers
2243585            Regular       24.00   19.00 07/24/2017 Sacramento CA - Drivers
2243585            Overtime       6.25   28.50 07/24/2017 Sacramento CA - Drivers
2243585            Regular        8.00   20.00 03/12/2018 Sacramento CA - Drivers
2243585            Overtime       0.50   30.00 03/12/2018 Sacramento CA - Drivers
2243585            Regular       32.00   20.00 03/19/2018 Sacramento CA - Drivers
2243585            Overtime       3.50   30.00 03/19/2018 Sacramento CA - Drivers
2243585            Regular       32.00   20.00 03/26/2018 Sacramento CA - Drivers
2243585            Overtime       5.75   30.00 03/26/2018 Sacramento CA - Drivers
2243585            Regular       40.00   20.00 04/02/2018 Sacramento CA - Drivers
2243585            Overtime      10.50   30.00 04/02/2018 Sacramento CA - Drivers
2243585            Regular       22.25   19.50 04/24/2017 Sacramento CA - Drivers
2243585            Overtime       4.75   29.25 04/24/2017 Sacramento CA - Drivers
2243585            Regular       11.50   19.50 05/01/2017 Sacramento CA - Drivers
2243585            Regular        8.00   19.50 05/08/2017 Sacramento CA - Drivers
2243585            Overtime       4.00   29.25 05/08/2017 Sacramento CA - Drivers
2243585            Regular       24.00   19.50 05/15/2017 Sacramento CA - Drivers
2243585            Overtime       6.25   29.25 05/15/2017 Sacramento CA - Drivers
2243585            Regular       23.75   19.50 05/22/2017 Sacramento CA - Drivers
2243585 Case   2:19-cv-08580-JFW-MAA
                     Overtime      2.75Document
                                          29.25 38-5    Filed Sacramento
                                                  05/22/2017  03/22/21 Page    285 of 691 Page ID
                                                                         CA - Drivers
2243585              Regular      38.25   19.50 #:1058
                                                  06/05/2017 Sacramento CA - Drivers
2243585             Overtime        2.00    29.25   06/05/2017   Sacramento   CA   - Drivers
2243585             Regular        31.50    19.50   06/12/2017   Sacramento   CA   - Drivers
2243585             Overtime        3.25    29.25   06/12/2017   Sacramento   CA   - Drivers
2243585             Regular        24.00    19.50   06/19/2017   Sacramento   CA   - Drivers
2243585             Overtime        4.00    29.25   06/19/2017   Sacramento   CA   - Drivers
2243585             Overtime        8.00    29.25   07/03/2017   Sacramento   CA   - Drivers
2243585             Regular        47.50    19.50   08/07/2017   Sacramento   CA   - Drivers
2243585             Overtime       11.75    29.25   08/07/2017   Sacramento   CA   - Drivers
2243585             Regular        22.00    19.50   08/21/2017   Sacramento   CA   - Drivers
2243585             Overtime        5.75    29.25   08/21/2017   Sacramento   CA   - Drivers
2243585             Regular        36.75    19.50   08/28/2017   Sacramento   CA   - Drivers
2243585             Overtime        4.00    29.25   08/28/2017   Sacramento   CA   - Drivers
2243585             Regular        32.00    19.50   09/04/2017   Sacramento   CA   - Drivers
2243585             Overtime       14.00    29.25   09/04/2017   Sacramento   CA   - Drivers
2243585             Regular        40.00    19.50   09/11/2017   Sacramento   CA   - Drivers
2243585             Overtime       11.50    29.25   09/11/2017   Sacramento   CA   - Drivers
2243585             Regular        40.00    19.50   09/18/2017   Sacramento   CA   - Drivers
2243585             Overtime       10.00    29.25   09/18/2017   Sacramento   CA   - Drivers
2243585             Regular        39.00    19.50   09/25/2017   Sacramento   CA   - Drivers
2243585             Overtime        4.50    29.25   09/25/2017   Sacramento   CA   - Drivers
2243585             Regular        39.50    19.50   10/02/2017   Sacramento   CA   - Drivers
2243585             Overtime        7.75    29.25   10/02/2017   Sacramento   CA   - Drivers
2243585             Regular         8.00    19.50   10/30/2017   Sacramento   CA   - Drivers
2243585             Overtime        0.25    29.25   10/30/2017   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   10/09/2017   Sacramento   CA   - Drivers
2243585             Overtime        4.50    30.75   10/09/2017   Sacramento   CA   - Drivers
2243585             Regular        42.00    20.50   10/16/2017   Sacramento   CA   - Drivers
2243585             Overtime        5.50    30.75   10/16/2017   Sacramento   CA   - Drivers
2243585             Regular        36.50    20.50   10/23/2017   Sacramento   CA   - Drivers
2243585             Overtime        6.75    30.75   10/23/2017   Sacramento   CA   - Drivers
2243585             Regular        32.50    20.50   10/30/2017   Sacramento   CA   - Drivers
2243585             Overtime        6.00    30.75   10/30/2017   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   11/06/2017   Sacramento   CA   - Drivers
2243585             Overtime        7.50    30.75   11/06/2017   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   11/13/2017   Sacramento   CA   - Drivers
2243585             Overtime        9.60    30.75   11/13/2017   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   11/20/2017   Sacramento   CA   - Drivers
2243585             Overtime        6.30    30.75   11/20/2017   Sacramento   CA   - Drivers
2243585             Regular        33.00    20.50   11/27/2017   Sacramento   CA   - Drivers
2243585             Overtime        9.90    30.75   11/27/2017   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   12/04/2017   Sacramento   CA   - Drivers
2243585             Overtime        7.00    30.75   12/04/2017   Sacramento   CA   - Drivers
2243585             Regular        33.20    20.50   12/11/2017   Sacramento   CA   - Drivers
2243585             Overtime       11.70    30.75   12/11/2017   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   12/18/2017   Sacramento   CA   - Drivers
2243585             Overtime        9.50    30.75   12/18/2017   Sacramento   CA   - Drivers
2243585             Regular        16.00    20.50   12/25/2017   Sacramento   CA   - Drivers
2243585             Overtime        2.60    30.75   12/25/2017   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   01/01/2018   Sacramento   CA   - Drivers
2243585             Overtime        3.50    30.75   01/01/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   01/08/2018   Sacramento   CA   - Drivers
2243585             Overtime        2.00    30.75   01/08/2018   Sacramento   CA   - Drivers
2243585             Regular        35.00    20.50   01/15/2018   Sacramento   CA   - Drivers
2243585             Overtime        9.90    30.75   01/15/2018   Sacramento   CA   - Drivers
2243585             Regular         8.00    20.50   01/22/2018   Sacramento   CA   - Drivers
2243585             Overtime        0.90    30.75   01/22/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   01/29/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.00    30.75   01/29/2018   Sacramento   CA   - Drivers
2243585             Regular        33.00    20.50   02/05/2018   Sacramento   CA   - Drivers
2243585             Overtime        9.40    30.75   02/05/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   02/12/2018   Sacramento   CA   - Drivers
2243585 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.60Document
                                          30.75 38-5    Filed Sacramento
                                                  02/12/2018  03/22/21 Page    286 of 691 Page ID
                                                                         CA - Drivers
2243585              Regular      16.00   20.50 #:1059
                                                  02/19/2018 Sacramento CA - Drivers
2243585             Overtime        2.60    30.75   02/19/2018   Sacramento   CA   - Drivers
2243585             Regular        24.02    20.50   02/26/2018   Sacramento   CA   - Drivers
2243585             Overtime        4.10    30.75   02/26/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   03/05/2018   Sacramento   CA   - Drivers
2243585             Overtime        4.80    30.75   03/05/2018   Sacramento   CA   - Drivers
2243585             Regular        24.20    20.50   03/12/2018   Sacramento   CA   - Drivers
2243585             Overtime        8.10    30.75   03/12/2018   Sacramento   CA   - Drivers
2243585             Regular         8.00    20.50   03/19/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   04/09/2018   Sacramento   CA   - Drivers
2243585             Overtime        6.70    30.75   04/09/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   04/16/2018   Sacramento   CA   - Drivers
2243585             Overtime        4.50    30.75   04/16/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   04/23/2018   Sacramento   CA   - Drivers
2243585             Overtime        8.30    30.75   04/23/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   04/30/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.90    30.75   04/30/2018   Sacramento   CA   - Drivers
2243585             Regular        40.60    20.50   05/07/2018   Sacramento   CA   - Drivers
2243585             Overtime       14.20    30.75   05/07/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   05/14/2018   Sacramento   CA   - Drivers
2243585             Overtime        8.40    30.75   05/14/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   05/21/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.80    30.75   05/21/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   05/28/2018   Sacramento   CA   - Drivers
2243585             Overtime       13.90    30.75   05/28/2018   Sacramento   CA   - Drivers
2243585             Regular        34.80    20.50   06/04/2018   Sacramento   CA   - Drivers
2243585             Overtime        9.50    30.75   06/04/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   06/11/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.40    30.75   06/11/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   06/18/2018   Sacramento   CA   - Drivers
2243585             Overtime        3.10    30.75   06/18/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   06/25/2018   Sacramento   CA   - Drivers
2243585             Overtime       14.10    30.75   06/25/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   07/02/2018   Sacramento   CA   - Drivers
2243585             Overtime       18.80    30.75   07/02/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   07/09/2018   Sacramento   CA   - Drivers
2243585             Overtime        0.50    30.75   07/09/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   07/16/2018   Sacramento   CA   - Drivers
2243585             Overtime       10.60    30.75   07/16/2018   Sacramento   CA   - Drivers
2243585             Regular        33.80    20.50   07/23/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.10    30.75   07/23/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   07/30/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.00    30.75   07/30/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   08/06/2018   Sacramento   CA   - Drivers
2243585             Overtime       11.80    30.75   08/06/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   08/13/2018   Sacramento   CA   - Drivers
2243585             Overtime        5.30    30.75   08/13/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   08/20/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.30    30.75   08/20/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   08/27/2018   Sacramento   CA   - Drivers
2243585             Overtime       10.90    30.75   08/27/2018   Sacramento   CA   - Drivers
2243585             Regular        16.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2243585             Overtime        0.20    30.75   09/03/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   09/10/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.40    30.75   09/10/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   09/17/2018   Sacramento   CA   - Drivers
2243585             Overtime        5.90    30.75   09/17/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   09/24/2018   Sacramento   CA   - Drivers
2243585             Overtime        5.20    30.75   09/24/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.10    30.75   10/01/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    20.50   10/08/2018   Sacramento   CA   - Drivers
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                     Overtime     13.60Document
                                          30.75 38-5    Filed Sacramento
                                                  10/08/2018  03/22/21 Page    287 of 691 Page ID
                                                                         CA - Drivers
2243585              Regular      40.00   20.50 #:1060
                                                  10/15/2018 Sacramento CA - Drivers
2243585             Overtime       18.40    30.75   10/15/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.50   10/22/2018   Sacramento   CA   - Drivers
2243585             Overtime        6.80    30.75   10/22/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2243585             Overtime        7.80    30.75   10/29/2018   Sacramento   CA   - Drivers
2243585             Regular        24.00    20.50   11/05/2018   Sacramento   CA   - Drivers
2243585             Overtime        8.00    30.75   11/05/2018   Sacramento   CA   - Drivers
2243585             Regular         8.00    20.50   11/12/2018   Sacramento   CA   - Drivers
2243585             Overtime        2.20    30.75   11/12/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    20.00   08/14/2017   Sacramento   CA   - Drivers
2243585             Overtime       12.75    30.00   08/14/2017   Sacramento   CA   - Drivers
2243585             Regular         8.00    20.00   07/31/2017   Sacramento   CA   - Drivers
2243585             Regular        13.50    20.00   08/07/2017   Sacramento   CA   - Drivers
2243585             Regular        32.00    21.00   11/12/2018   Sacramento   CA   - Drivers
2243585             Overtime       10.50    31.50   11/12/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    21.00   11/19/2018   Sacramento   CA   - Drivers
2243585             Overtime        9.25    31.50   11/19/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   11/26/2018   Sacramento   CA   - Drivers
2243585             Overtime       11.50    31.50   11/26/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   12/03/2018   Sacramento   CA   - Drivers
2243585             Overtime        3.50    31.50   12/03/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   12/10/2018   Sacramento   CA   - Drivers
2243585             Overtime        1.75    31.50   12/10/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   12/17/2018   Sacramento   CA   - Drivers
2243585             Overtime        5.75    31.50   12/17/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    21.00   12/24/2018   Sacramento   CA   - Drivers
2243585             Overtime        3.25    31.50   12/24/2018   Sacramento   CA   - Drivers
2243585             Regular        32.00    21.00   12/31/2018   Sacramento   CA   - Drivers
2243585             Overtime        1.50    31.50   12/31/2018   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   01/07/2019   Sacramento   CA   - Drivers
2243585             Overtime        7.50    31.50   01/07/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   01/14/2019   Sacramento   CA   - Drivers
2243585             Overtime        4.25    31.50   01/14/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   01/21/2019   Sacramento   CA   - Drivers
2243585             Overtime        3.75    31.50   01/21/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   01/28/2019   Sacramento   CA   - Drivers
2243585             Overtime        9.50    31.50   01/28/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   02/04/2019   Sacramento   CA   - Drivers
2243585             Overtime       12.25    31.50   02/04/2019   Sacramento   CA   - Drivers
2243585             Regular        16.00    21.00   02/11/2019   Sacramento   CA   - Drivers
2243585             Overtime        2.50    31.50   02/11/2019   Sacramento   CA   - Drivers
2243585             Regular        16.00    21.00   02/18/2019   Sacramento   CA   - Drivers
2243585             Overtime        2.50    31.50   02/18/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   02/25/2019   Sacramento   CA   - Drivers
2243585             Overtime        5.75    31.50   02/25/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   03/04/2019   Sacramento   CA   - Drivers
2243585             Overtime        1.75    31.50   03/04/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   03/11/2019   Sacramento   CA   - Drivers
2243585             Overtime        4.00    31.50   03/11/2019   Sacramento   CA   - Drivers
2243585             Regular        32.00    21.00   03/18/2019   Sacramento   CA   - Drivers
2243585             Overtime        4.50    31.50   03/18/2019   Sacramento   CA   - Drivers
2243585             Regular        32.00    21.00   03/25/2019   Sacramento   CA   - Drivers
2243585             Overtime        1.25    31.50   03/25/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   04/01/2019   Sacramento   CA   - Drivers
2243585             Overtime        8.00    31.50   04/01/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   04/08/2019   Sacramento   CA   - Drivers
2243585             Overtime        5.75    31.50   04/08/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   04/15/2019   Sacramento   CA   - Drivers
2243585             Overtime        3.25    31.50   04/15/2019   Sacramento   CA   - Drivers
2243585             Regular        40.00    21.00   04/22/2019   Sacramento   CA   - Drivers
2243585             Overtime        3.75    31.50   04/22/2019   Sacramento   CA   - Drivers
2243585 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         21.00 38-5    Filed Sacramento
                                                 04/29/2019  03/22/21 Page    288 of 691
                                                                        CA - Drivers       Page ID
2243585            Overtime      12.00   31.50 #:1061
                                                 04/29/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
2243585            Overtime       6.75   31.50 05/06/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 05/13/2019 Sacramento CA - Drivers
2243585            Overtime       5.25   31.50 05/13/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 05/20/2019 Sacramento CA - Drivers
2243585            Overtime       4.50   31.50 05/20/2019 Sacramento CA - Drivers
2243585            Regular       16.00   21.00 05/27/2019 Sacramento CA - Drivers
2243585            Overtime       1.50   31.50 05/27/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 06/03/2019 Sacramento CA - Drivers
2243585            Overtime       4.75   31.50 06/03/2019 Sacramento CA - Drivers
2243585            Regular       32.00   21.00 06/10/2019 Sacramento CA - Drivers
2243585            Overtime       2.00   31.50 06/10/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 06/17/2019 Sacramento CA - Drivers
2243585            Overtime       3.50   31.50 06/17/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 06/24/2019 Sacramento CA - Drivers
2243585            Overtime       2.50   31.50 06/24/2019 Sacramento CA - Drivers
2243585            Regular       32.00   21.00 07/01/2019 Sacramento CA - Drivers
2243585            Overtime       2.00   31.50 07/01/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 07/08/2019 Sacramento CA - Drivers
2243585            Overtime       2.75   31.50 07/08/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 07/15/2019 Sacramento CA - Drivers
2243585            Overtime       9.50   31.50 07/15/2019 Sacramento CA - Drivers
2243585            Regular       32.00   21.00 07/22/2019 Sacramento CA - Drivers
2243585            Overtime       5.25   31.50 07/22/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 07/29/2019 Sacramento CA - Drivers
2243585            Overtime       4.25   31.50 07/29/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 08/05/2019 Sacramento CA - Drivers
2243585            Overtime       4.00   31.50 08/05/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 08/12/2019 Sacramento CA - Drivers
2243585            Overtime       4.75   31.50 08/12/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 08/19/2019 Sacramento CA - Drivers
2243585            Overtime       3.25   31.50 08/19/2019 Sacramento CA - Drivers
2243585            Regular       40.00   21.00 08/26/2019 Sacramento CA - Drivers
2243585            Overtime       4.00   31.50 08/26/2019 Sacramento CA - Drivers
2243585            Regular       32.00   21.00 09/02/2019 Sacramento CA - Drivers
2243585            Overtime       3.00   31.50 09/02/2019 Sacramento CA - Drivers
Total for 2243585             5,068.82
1351400            Regular       32.00   16.00 10/24/2016 Los Angeles CA West - Drivers
1351400            Overtime      13.50   24.00 10/24/2016 Los Angeles CA West - Drivers
1351400            Regular       37.75   16.00 09/05/2016 Los Angeles CA West - Drivers
1351400            Overtime       3.75   24.00 09/05/2016 Los Angeles CA West - Drivers
1351400            Regular       40.00   16.00 09/12/2016 Los Angeles CA West - Drivers
1351400            Overtime      14.25   24.00 09/12/2016 Los Angeles CA West - Drivers
1351400            Regular        8.00   16.00 09/19/2016 Los Angeles CA West - Drivers
1351400            Overtime       2.50   24.00 09/19/2016 Los Angeles CA West - Drivers
1351400            Regular        8.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1351400            Overtime       3.00   24.00 11/07/2016 Los Angeles CA West - Drivers
1351400            Regular       23.75   16.50 09/19/2016 Los Angeles CA West - Drivers
1351400            Overtime       5.25   24.75 09/19/2016 Los Angeles CA West - Drivers
1351400            Regular       26.00   16.50 09/26/2016 Los Angeles CA West - Drivers
1351400            Overtime       8.00   24.75 09/26/2016 Los Angeles CA West - Drivers
1351400            Regular       40.00   16.50 10/03/2016 Los Angeles CA West - Drivers
1351400            Overtime      25.25   24.75 10/03/2016 Los Angeles CA West - Drivers
1351400            Regular       20.50   16.50 10/10/2016 Los Angeles CA West - Drivers
1351400            Overtime       4.00   24.75 10/10/2016 Los Angeles CA West - Drivers
1351400            Regular       13.00   16.50 10/31/2016 Los Angeles CA West - Drivers
1351400            Overtime       2.00   24.75 10/31/2016 Los Angeles CA West - Drivers
Total for 1351400               330.50
2494631            Regular       40.00   17.00 03/26/2018 Sacramento CA - Drivers
2494631            Overtime       2.00   25.50 03/26/2018 Sacramento CA - Drivers
2494631            Regular       40.00   17.00 04/02/2018 Sacramento CA - Drivers
2494631 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        17.00 38-5    Filed Sacramento
                                                04/09/2018  03/22/21 Page    289 of 691
                                                                       CA - Drivers       Page ID
2494631            Overtime      0.75   25.50 #:1062
                                                04/09/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 04/16/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 04/23/2018 Sacramento CA - Drivers
2494631            Overtime      0.50   25.50 04/23/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 04/30/2018 Sacramento CA - Drivers
2494631            Overtime      0.75   25.50 04/30/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 05/07/2018 Sacramento CA - Drivers
2494631            Overtime      0.75   25.50 05/07/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 05/14/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 05/21/2018 Sacramento CA - Drivers
2494631            Overtime      0.50   25.50 05/21/2018 Sacramento CA - Drivers
2494631            Regular      32.00   17.00 05/28/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 06/04/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 06/11/2018 Sacramento CA - Drivers
2494631            Overtime      0.25   25.50 06/11/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 06/18/2018 Sacramento CA - Drivers
2494631            Regular      40.00   17.00 06/25/2018 Sacramento CA - Drivers
2494631            Overtime      1.25   25.50 06/25/2018 Sacramento CA - Drivers
Total for 2494631              558.75
2620790            Regular       8.00   21.00 10/29/2018 Los Angeles CA West - Drivers
2620790            Overtime      2.00   31.50 10/29/2018 Los Angeles CA West - Drivers
2620790            Regular       3.40   21.85 11/26/2018 Los Angeles CA West - Drivers
2620790            Regular       8.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2620790            Overtime      0.25   30.00 10/08/2018 Los Angeles CA West - Drivers
Total for 2620790               21.65
2768389            Regular      26.00   22.50 07/15/2019 Sacramento CA - Drivers
2768389            Regular      40.00   22.50 07/22/2019 Sacramento CA - Drivers
2768389            Overtime      1.00   33.75 07/22/2019 Sacramento CA - Drivers
2768389            Regular      17.64   22.50 07/29/2019 Sacramento CA - Drivers
Total for 2768389               84.64
2253532            Regular      32.00   20.00 05/15/2017 Los Angeles CA West - Drivers
2253532            Overtime      9.50   30.00 05/15/2017 Los Angeles CA West - Drivers
2253532            Regular      32.00   20.00 05/22/2017 Los Angeles CA West - Drivers
2253532            Overtime      7.50   30.00 05/22/2017 Los Angeles CA West - Drivers
2253532            Regular      24.00   20.00 05/29/2017 Los Angeles CA West - Drivers
2253532            Overtime      6.50   30.00 05/29/2017 Los Angeles CA West - Drivers
2253532            Regular      31.00   20.00 06/05/2017 Los Angeles CA West - Drivers
2253532            Overtime      2.00   30.00 06/05/2017 Los Angeles CA West - Drivers
2253532            Regular      35.25   20.00 06/12/2017 Los Angeles CA West - Drivers
2253532            Regular      24.00   20.00 06/19/2017 Los Angeles CA West - Drivers
2253532            Overtime      4.00   30.00 06/19/2017 Los Angeles CA West - Drivers
2253532            Regular      21.75   20.00 06/26/2017 Los Angeles CA West - Drivers
2253532            Overtime      3.25   30.00 06/26/2017 Los Angeles CA West - Drivers
2253532            Regular      16.00   20.00 07/03/2017 Los Angeles CA West - Drivers
2253532            Overtime      5.00   30.00 07/03/2017 Los Angeles CA West - Drivers
2253532            Regular      32.00   20.00 07/10/2017 Los Angeles CA West - Drivers
2253532            Overtime      5.50   30.00 07/10/2017 Los Angeles CA West - Drivers
2253532            Regular      40.00   20.00 07/17/2017 Los Angeles CA West - Drivers
2253532            Overtime      8.75   30.00 07/17/2017 Los Angeles CA West - Drivers
2253532            Regular      40.00   20.00 07/24/2017 Los Angeles CA West - Drivers
2253532            Overtime     12.00   30.00 07/24/2017 Los Angeles CA West - Drivers
2253532            Regular      39.75   20.00 07/31/2017 Los Angeles CA West - Drivers
2253532            Overtime      4.50   30.00 07/31/2017 Los Angeles CA West - Drivers
2253532            Regular      32.00   20.00 08/07/2017 Los Angeles CA West - Drivers
2253532            Overtime      8.00   30.00 08/07/2017 Los Angeles CA West - Drivers
2253532            Regular      32.00   20.00 08/14/2017 Los Angeles CA West - Drivers
2253532            Overtime      7.25   30.00 08/14/2017 Los Angeles CA West - Drivers
2253532            Regular       8.00   20.00 08/21/2017 Los Angeles CA West - Drivers
2253532            Overtime      1.50   30.00 08/21/2017 Los Angeles CA West - Drivers
2253532            Regular      32.00   20.00 08/28/2017 Los Angeles CA West - Drivers
2253532            Overtime      9.00   30.00 08/28/2017 Los Angeles CA West - Drivers
2253532            Regular      24.00   20.00 09/04/2017 Los Angeles CA West - Drivers
2253532 Case 2:19-cv-08580-JFW-MAA
                   Overtime        8.25Document
                                          30.00 38-5    Filed Los
                                                  09/04/2017  03/22/21
                                                                  AngelesPage 290- Drivers
                                                                         CA West   of 691    Page ID
2253532            Regular       24.00    20.00 #:1063
                                                  09/11/2017 Los Angeles CA West - Drivers
2253532            Overtime        6.75   30.00 09/11/2017 Los Angeles CA West - Drivers
2253532            Regular       32.00    20.00 09/18/2017 Los Angeles CA West - Drivers
2253532            Overtime        8.25   30.00 09/18/2017 Los Angeles CA West - Drivers
2253532            Regular       24.00    20.00 09/25/2017 Los Angeles CA West - Drivers
2253532            Overtime        6.25   30.00 09/25/2017 Los Angeles CA West - Drivers
2253532            Regular         8.00   20.00 10/02/2017 Los Angeles CA West - Drivers
2253532            Overtime        0.50   30.00 10/02/2017 Los Angeles CA West - Drivers
2253532            Regular       32.00    20.00 04/16/2018 Los Angeles CA West - Drivers
2253532            Overtime        7.00   30.00 04/16/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    20.00 04/23/2018 Los Angeles CA West - Drivers
2253532            Overtime        4.50   30.00 04/23/2018 Los Angeles CA West - Drivers
2253532            Regular       32.00    20.00 04/30/2018 Los Angeles CA West - Drivers
2253532            Overtime        5.00   30.00 04/30/2018 Los Angeles CA West - Drivers
2253532            Regular       16.00    20.00 05/07/2018 Los Angeles CA West - Drivers
2253532            Overtime        4.00   30.00 05/07/2018 Los Angeles CA West - Drivers
2253532            Regular       40.00    20.00 05/14/2018 Los Angeles CA West - Drivers
2253532            Overtime        8.50   30.00 05/14/2018 Los Angeles CA West - Drivers
2253532            Regular       16.00    20.00 05/21/2018 Los Angeles CA West - Drivers
2253532            Overtime        4.00   30.00 05/21/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    20.00 05/28/2018 Los Angeles CA West - Drivers
2253532            Overtime        5.50   30.00 05/28/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    20.00 06/04/2018 Los Angeles CA West - Drivers
2253532            Overtime        1.25   30.00 06/04/2018 Los Angeles CA West - Drivers
2253532            Regular       23.25    20.00 06/11/2018 Los Angeles CA West - Drivers
2253532            Overtime        1.75   30.00 06/11/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    20.00 06/18/2018 Los Angeles CA West - Drivers
2253532            Overtime        3.00   30.00 06/18/2018 Los Angeles CA West - Drivers
2253532            Regular         2.00   20.00 02/12/2018 Los Angeles CA West - Drivers
2253532            Regular         8.00   21.50 01/15/2018 Los Angeles CA West - Drivers
2253532            Overtime        4.00   32.25 01/15/2018 Los Angeles CA West - Drivers
2253532            Regular         8.00   21.50 01/22/2018 Los Angeles CA West - Drivers
2253532            Overtime        3.00   32.25 01/22/2018 Los Angeles CA West - Drivers
2253532            Regular       32.00    21.50 02/05/2018 Los Angeles CA West - Drivers
2253532            Overtime        9.00   32.25 02/05/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    21.50 02/12/2018 Los Angeles CA West - Drivers
2253532            Overtime        7.00   32.25 02/12/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    21.50 02/19/2018 Los Angeles CA West - Drivers
2253532            Overtime        6.00   32.25 02/19/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    21.50 02/26/2018 Los Angeles CA West - Drivers
2253532            Overtime        6.00   32.25 02/26/2018 Los Angeles CA West - Drivers
2253532            Regular       24.00    21.50 03/05/2018 Los Angeles CA West - Drivers
2253532            Overtime        6.00   32.25 03/05/2018 Los Angeles CA West - Drivers
2253532            Regular       32.00    21.50 03/12/2018 Los Angeles CA West - Drivers
2253532            Overtime      16.00    32.25 03/12/2018 Los Angeles CA West - Drivers
2253532            Regular       16.00    21.50 03/19/2018 Los Angeles CA West - Drivers
2253532            Overtime        3.50   32.25 03/19/2018 Los Angeles CA West - Drivers
2253532            Regular       16.00    21.50 03/26/2018 Los Angeles CA West - Drivers
2253532            Overtime        5.50   32.25 03/26/2018 Los Angeles CA West - Drivers
2253532            Regular       12.00    22.00 07/02/2018 Los Angeles CA West - Drivers
2253532            Overtime        3.50   33.00 07/02/2018 Los Angeles CA West - Drivers
2253532            Regular         8.00   22.00 07/09/2018 Los Angeles CA West - Drivers
2253532            Overtime        3.50   33.00 07/09/2018 Los Angeles CA West - Drivers
2253532            Regular       10.00    21.00 04/09/2018 Los Angeles CA West - Drivers
2253532            Regular       16.00    20.00 06/25/2018 Los Angeles CA West - Drivers
2253532            Overtime        6.50   30.00 06/25/2018 Los Angeles CA West - Drivers
Total for 2253532             1,343.25
2335137            Regular         8.00   22.50 06/10/2019 Los Angeles CA West - Drivers
2335137            Overtime        2.00   33.75 06/10/2019 Los Angeles CA West - Drivers
2335137            Regular         8.00   20.00 07/02/2018 Los Angeles CA West - Drivers
2335137            Regular        -8.00   20.00 07/02/2018 Los Angeles CA West - Drivers
2335137            Regular         8.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2335137 Case   2:19-cv-08580-JFW-MAA
                     Overtime      0.50Document
                                          30.00 38-5    Filed Los
                                                  07/23/2018  03/22/21
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                                                                         CA West   of 691 Page ID
2335137              Regular       2.00   20.00 #:1064
                                                  07/30/2018 Los Angeles CA West - Drivers
2335137             Regular         8.00    19.50   05/21/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        1.50    29.25   05/21/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    19.50   05/28/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime       10.25    29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.00    29.25   06/11/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    19.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        4.00    29.25   06/18/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   06/25/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        8.00    30.75   06/25/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   07/02/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        5.75    30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    20.50   07/09/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    30.75   07/09/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   07/16/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        5.50    30.75   07/16/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   07/23/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    30.75   07/23/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    20.50   07/30/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        4.50    30.75   07/30/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    20.50   08/06/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.75    30.75   08/06/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   08/13/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    30.75   08/13/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   08/20/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.75    30.75   08/20/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   08/27/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    30.75   08/27/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    20.50   09/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.50    30.75   09/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    20.50   09/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.00    30.75   09/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   10/01/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        0.75    30.75   10/01/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   10/08/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    30.75   10/08/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   10/22/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        1.00    30.75   10/22/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   11/05/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    30.75   11/05/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         4.00    20.50   11/19/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         7.50    20.50   12/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         7.50    20.50   12/31/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        1.50    30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        15.50    20.50   04/29/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    30.75   04/29/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   05/06/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    30.75   05/06/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    20.50   06/03/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        5.25    30.75   06/03/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    20.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        31.50    23.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.00    34.50   10/15/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        1.00    34.50   10/22/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    23.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    34.50   10/29/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        4.50    34.50   11/05/2018   Los   Angeles   CA   West   - Drivers
2335137 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          23.00 38-5    Filed Los
                                                  11/12/2018  03/22/21
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                                                                         CA West   of 691 Page ID
2335137              Overtime      4.50   34.50 #:1065
                                                  11/12/2018 Los Angeles CA West - Drivers
2335137             Regular        24.00    23.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.50    34.50   11/19/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        31.00    23.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    34.50   11/26/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    23.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    34.50   12/03/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.50    34.50   12/10/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        5.50    34.50   12/17/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    23.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    23.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        0.50    34.50   12/31/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        14.00    23.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        1.50    34.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.25    34.50   01/14/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    34.50   01/21/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    34.50   01/28/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    23.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    34.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    34.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    34.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.00    34.50   02/25/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    23.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        4.00    34.50   03/04/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.50    34.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        18.50    23.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        2.00    34.50   03/18/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        5.00    34.50   03/25/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    23.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.50    34.50   04/01/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        4.00    34.50   04/08/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    23.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.50    34.50   04/15/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    23.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.50    34.50   04/22/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        16.00    23.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        4.00    34.50   04/29/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    40.22   06/17/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        1.00    60.33   06/17/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular         8.00    40.22   06/24/2019   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.50    60.33   06/24/2019   Los   Angeles   CA   West   - Drivers
2335137             Regular        24.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime        6.05    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        40.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime       13.03    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        40.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2335137             Overtime       12.75    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2335137             Regular        31.50    19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2335137             Overtime        3.50    29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2335137             Regular        32.00    19.50   09/11/2017   Los   Angeles   CA   West   - Drivers
2335137 Case 2:19-cv-08580-JFW-MAA
                   Overtime        6.00Document
                                          29.25 38-5    Filed Los
                                                  09/11/2017  03/22/21
                                                                  AngelesPage 293- Drivers
                                                                         CA West   of 691    Page ID
2335137            Regular       37.00    19.50 #:1066
                                                  09/18/2017 Los Angeles CA West - Drivers
2335137            Overtime        3.50   29.25 09/18/2017 Los Angeles CA West - Drivers
2335137            Regular       30.00    19.50 09/25/2017 Los Angeles CA West - Drivers
2335137            Overtime        1.00   29.25 09/25/2017 Los Angeles CA West - Drivers
2335137            Regular       16.00    19.50 10/02/2017 Los Angeles CA West - Drivers
2335137            Overtime        3.00   29.25 10/02/2017 Los Angeles CA West - Drivers
2335137            Regular       40.00    19.50 07/10/2017 Los Angeles CA West - Drivers
2335137            Overtime        6.50   29.25 07/10/2017 Los Angeles CA West - Drivers
2335137            Regular       39.50    19.50 07/17/2017 Los Angeles CA West - Drivers
2335137            Overtime        7.00   29.25 07/17/2017 Los Angeles CA West - Drivers
2335137            Regular       40.00    19.50 07/24/2017 Los Angeles CA West - Drivers
2335137            Overtime      10.50    29.25 07/24/2017 Los Angeles CA West - Drivers
2335137            Regular       40.00    19.50 07/31/2017 Los Angeles CA West - Drivers
2335137            Overtime        9.50   29.25 07/31/2017 Los Angeles CA West - Drivers
2335137            Regular       40.00    19.50 08/07/2017 Los Angeles CA West - Drivers
2335137            Overtime        8.50   29.25 08/07/2017 Los Angeles CA West - Drivers
2335137            Regular       40.00    19.50 08/14/2017 Los Angeles CA West - Drivers
2335137            Overtime        8.50   29.25 08/14/2017 Los Angeles CA West - Drivers
2335137            Regular       40.00    19.50 08/21/2017 Los Angeles CA West - Drivers
2335137            Overtime        8.50   29.25 08/21/2017 Los Angeles CA West - Drivers
2335137            Regular       16.00    19.50 08/28/2017 Los Angeles CA West - Drivers
2335137            Overtime        4.00   29.25 08/28/2017 Los Angeles CA West - Drivers
2335137            Regular       16.00    21.00 05/13/2019 Los Angeles CA West - Drivers
2335137            Overtime        6.00   31.50 05/13/2019 Los Angeles CA West - Drivers
2335137            Regular       40.00    21.00 05/20/2019 Los Angeles CA West - Drivers
2335137            Overtime      13.00    31.50 05/20/2019 Los Angeles CA West - Drivers
2335137            Regular       32.00    21.00 05/27/2019 Los Angeles CA West - Drivers
2335137            Overtime        6.25   31.50 05/27/2019 Los Angeles CA West - Drivers
2335137            Regular         8.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2335137            Overtime        2.50   31.50 06/03/2019 Los Angeles CA West - Drivers
2335137            Regular         1.00   21.00 10/02/2017 Los Angeles CA West - Drivers
2335137            Regular         8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2335137            Overtime        1.00   33.00 06/17/2019 Los Angeles CA West - Drivers
Total for 2335137             2,235.83
2141732            Regular       40.00    22.00 10/30/2017 Los Angeles CA West - Drivers
2141732            Overtime        3.75   33.00 10/30/2017 Los Angeles CA West - Drivers
2141732            Regular       24.00    22.00 11/06/2017 Los Angeles CA West - Drivers
2141732            Overtime        6.75   33.00 11/06/2017 Los Angeles CA West - Drivers
2141732            Regular       40.00    22.00 11/13/2017 Los Angeles CA West - Drivers
2141732            Overtime        4.00   33.00 11/13/2017 Los Angeles CA West - Drivers
2141732            Regular       24.00    22.00 11/20/2017 Los Angeles CA West - Drivers
2141732            Overtime        8.50   33.00 11/20/2017 Los Angeles CA West - Drivers
2141732            Regular       25.25    22.00 11/20/2017 Los Angeles CA West - Drivers
2141732            Overtime       -1.25   33.00 11/20/2017 Los Angeles CA West - Drivers
2141732            Regular       40.00    22.00 12/11/2017 Los Angeles CA West - Drivers
2141732            Overtime        8.00   33.00 12/11/2017 Los Angeles CA West - Drivers
2141732            Regular       38.00    22.00 12/18/2017 Los Angeles CA West - Drivers
2141732            Overtime        3.50   33.00 12/18/2017 Los Angeles CA West - Drivers
2141732            Regular       20.00    22.00 01/01/2018 Los Angeles CA West - Drivers
2141732            Overtime        2.00   33.00 01/01/2018 Los Angeles CA West - Drivers
2141732            Regular       16.00    20.00 09/04/2017 Los Angeles CA West - Drivers
2141732            Overtime        3.00   30.00 09/04/2017 Los Angeles CA West - Drivers
2141732            Regular       24.00    20.00 09/11/2017 Los Angeles CA West - Drivers
2141732            Overtime        2.25   30.00 09/11/2017 Los Angeles CA West - Drivers
Total for 2141732               331.75
2566499            Regular       16.00    22.00 10/15/2018 Los Angeles CA West - Drivers
2566499            Overtime        3.25   33.00 10/15/2018 Los Angeles CA West - Drivers
2566499            Regular         8.00   22.00 10/22/2018 Los Angeles CA West - Drivers
2566499            Overtime        3.00   33.00 10/22/2018 Los Angeles CA West - Drivers
2566499            Regular         8.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2566499            Overtime        3.75   30.00 07/23/2018 Los Angeles CA West - Drivers
2566499            Regular         8.00   20.50 07/16/2018 Los Angeles CA West - Drivers
2566499 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.75Document
                                        30.75 38-5   Filed Los
                                               07/16/2018  03/22/21
                                                               AngelesPage 294- Drivers
                                                                      CA West   of 691    Page ID
Total for 2566499               53.75        #:1067
2491531            Regular       9.25   22.11 04/16/2018 Sacramento CA - Drivers
2491531            Regular      21.00   22.11 04/23/2018 Sacramento CA - Drivers
2491531            Regular      17.25   22.11 04/30/2018 Sacramento CA - Drivers
2491531            Regular      10.00   22.11 05/07/2018 Sacramento CA - Drivers
2491531            Regular       5.50   22.11 05/14/2018 Sacramento CA - Drivers
2491531            Regular      18.75   22.11 06/04/2018 Sacramento CA - Drivers
2491531            Regular       5.00   22.11 06/18/2018 Sacramento CA - Drivers
2491531            Regular       9.75   22.11 06/25/2018 Sacramento CA - Drivers
2491531            Regular      10.50   22.11 07/02/2018 Sacramento CA - Drivers
2491531            Regular      10.50   22.11 07/16/2018 Sacramento CA - Drivers
2491531            Regular       6.50   22.11 07/23/2018 Sacramento CA - Drivers
2491531            Regular      23.25   22.11 07/30/2018 Sacramento CA - Drivers
Total for 2491531              147.25
2501694            Regular       8.00   20.00 09/03/2018 Los Angeles CA East - Drivers
2501694            Overtime      1.50   30.00 09/03/2018 Los Angeles CA East - Drivers
2501694            Regular      32.00   21.50 08/20/2018 Los Angeles CA East - Drivers
2501694            Overtime      5.00   32.25 08/20/2018 Los Angeles CA East - Drivers
2501694            Regular       8.00   21.50 08/27/2018 Los Angeles CA East - Drivers
2501694            Overtime      4.00   32.25 08/27/2018 Los Angeles CA East - Drivers
2501694            Regular       8.00   20.75 04/09/2018 Los Angeles CA East - Drivers
2501694            Overtime      4.00   31.13 04/09/2018 Los Angeles CA East - Drivers
Total for 2501694               70.50
1452168            Regular      28.00   20.98 11/28/2016 Los Angeles CA East - Drivers
1452168            Regular      30.00   20.98 12/05/2016 Los Angeles CA East - Drivers
1452168            Regular      27.00   20.98 12/12/2016 Los Angeles CA East - Drivers
1452168            Regular      21.50   20.98 12/19/2016 Los Angeles CA East - Drivers
Total for 1452168              106.50
2236209            Regular      24.00   19.00 04/10/2017 Los Angeles CA West - Drivers
2236209            Overtime      5.50   28.50 04/10/2017 Los Angeles CA West - Drivers
Total for 2236209               29.50
873778             Regular      32.00   17.00 08/03/2015 Los Angeles CA West - Drivers
873778             Overtime     20.50   25.50 08/03/2015 Los Angeles CA West - Drivers
873778             Regular      40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
873778             Overtime     18.50   25.50 08/10/2015 Los Angeles CA West - Drivers
873778             Regular      32.00   17.00 08/17/2015 Los Angeles CA West - Drivers
873778             Overtime     14.50   25.50 08/17/2015 Los Angeles CA West - Drivers
873778             Regular      32.00   19.00 08/24/2015 Los Angeles CA West - Drivers
873778             Overtime     14.00   28.50 08/24/2015 Los Angeles CA West - Drivers
873778             Regular      38.00   19.00 08/31/2015 Los Angeles CA West - Drivers
873778             Overtime     13.00   28.50 08/31/2015 Los Angeles CA West - Drivers
873778             Regular      24.00   19.00 09/07/2015 Los Angeles CA West - Drivers
873778             Overtime      9.25   28.50 08/31/2015 Los Angeles CA West - Drivers
873778             Regular      40.00   19.00 09/14/2015 Los Angeles CA West - Drivers
873778             Overtime     12.50   28.50 09/14/2015 Los Angeles CA West - Drivers
873778             Regular      24.00   19.00 09/21/2015 Los Angeles CA West - Drivers
873778             Overtime     11.00   28.50 09/21/2015 Los Angeles CA West - Drivers
873778             Regular      32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
873778             Overtime     14.25   28.50 09/28/2015 Los Angeles CA West - Drivers
873778             Regular      40.00   19.00 10/05/2015 Los Angeles CA West - Drivers
873778             Overtime     14.00   28.50 10/05/2015 Los Angeles CA West - Drivers
873778             Regular      32.00   19.00 10/12/2015 Los Angeles CA West - Drivers
873778             Overtime     11.00   28.50 10/12/2015 Los Angeles CA West - Drivers
873778             Regular      40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
873778             Overtime     16.25   28.50 10/19/2015 Los Angeles CA West - Drivers
873778             Regular      30.75   19.00 10/26/2015 Los Angeles CA West - Drivers
873778             Overtime      9.50   28.50 10/26/2015 Los Angeles CA West - Drivers
873778             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
873778             Overtime     16.75   28.50 11/02/2015 Los Angeles CA West - Drivers
873778             Regular      24.00   19.00 11/09/2015 Los Angeles CA West - Drivers
873778             Overtime      7.75   28.50 11/09/2015 Los Angeles CA West - Drivers
873778             Regular      40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
873778   Case 2:19-cv-08580-JFW-MAA
                    Overtime     12.50Document
                                         28.50 38-5    Filed Los
                                                 11/16/2015  03/22/21
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873778              Regular      30.25   19.00 #:1068
                                                 11/23/2015 Los Angeles CA West - Drivers
873778              Overtime        4.25    28.50   11/23/2015   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.50    28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.50    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
873778              Regular        39.25    19.00   12/14/2015   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.00    28.50   12/14/2015   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.00   12/21/2015   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.00    28.50   12/21/2015   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.00    28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.75    28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        37.50    19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.25    28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.50    28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.75    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.00    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        38.00    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        38.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.75    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.25    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        31.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        3.75    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.50    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.75    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.75    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.00    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.50    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        30.25    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.75    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.50    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.00    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.25    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.00    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.75    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.75    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.50    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
873778   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.25 38-5    Filed Los
                                                 06/27/2016  03/22/21
                                                                 AngelesPage 296- Drivers
                                                                        CA West   of 691 Page ID
873778              Overtime     17.00   28.88 #:1069
                                                 06/27/2016 Los Angeles CA West - Drivers
873778              Regular        24.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.00    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.00    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.50    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        33.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.25    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.00    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.50    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.50    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.25    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.50    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.00    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.00    28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.00    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.75    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.00    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.25    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.00    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.25    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.25    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.00    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.50    28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       28.75    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       24.50    28.88   12/19/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.00    28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.25    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.25    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.00    28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
873778   Case 2:19-cv-08580-JFW-MAA
                    Overtime      5.00Document
                                         28.88 38-5    Filed Los
                                                 01/30/2017  03/22/21
                                                                 AngelesPage 297- Drivers
                                                                        CA West   of 691 Page ID
873778              Regular      24.00   19.25 #:1070
                                                 02/06/2017 Los Angeles CA West - Drivers
873778              Overtime       10.25    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.00    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.00    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.25    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.25    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   03/13/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.00    28.88   03/13/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.00    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.25    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       19.25    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       25.25    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.00    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       21.25    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.25   05/01/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.75    28.88   05/01/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   05/08/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       31.00    28.88   05/08/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   05/15/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    28.88   05/15/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   05/22/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        4.00    28.88   05/22/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        30.00    19.25   05/29/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.50    28.88   05/29/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   06/05/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.25    28.88   06/05/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   06/12/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       20.00    28.88   06/12/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   06/19/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.75    28.88   06/19/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.25   06/26/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    28.88   06/26/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    19.25   07/03/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.25    28.88   07/03/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   07/10/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.00    28.88   07/10/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   07/17/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       20.50    28.88   07/17/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   07/24/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    28.88   07/24/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   07/31/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       18.50    28.88   07/31/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    19.25   08/07/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       18.00    28.88   08/07/2017   Los   Angeles   CA   West   - Drivers
873778              Regular         8.00    19.25   08/14/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        3.00    28.88   08/14/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    19.25   08/21/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.25    28.88   08/21/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    19.25   08/28/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    28.88   08/28/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.50    30.38   09/04/2017   Los   Angeles   CA   West   - Drivers
873778   Case 2:19-cv-08580-JFW-MAA
                    Regular      29.00Document
                                         20.25 38-5    Filed Los
                                                 09/11/2017  03/22/21
                                                                 AngelesPage 298- Drivers
                                                                        CA West   of 691 Page ID
873778              Overtime      9.00   30.38 #:1071
                                                 09/11/2017 Los Angeles CA West - Drivers
873778              Regular        24.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       19.75    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.50    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        31.75    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.50    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        39.00    20.25   10/16/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.00    30.38   10/16/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   10/23/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    30.38   10/23/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   10/30/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.00    30.38   10/30/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        22.75    20.25   11/06/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        3.75    30.38   11/06/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   11/13/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.75    30.38   11/13/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   11/20/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.75    30.38   11/20/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        27.00    20.25   11/27/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.75    30.38   11/27/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   12/04/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.80    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.00    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.25    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.75    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.50    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.00    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       21.75    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.25    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.00    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.75    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.00    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.00    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.25    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.50    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        2.50    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.00    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        4.30    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   04/16/2018   Los   Angeles   CA   West   - Drivers
873778   Case 2:19-cv-08580-JFW-MAA
                    Overtime     11.00Document
                                         30.38 38-5    Filed Los
                                                 04/16/2018  03/22/21
                                                                 AngelesPage 299- Drivers
                                                                        CA West   of 691 Page ID
873778              Regular      40.00   20.25 #:1072
                                                 04/23/2018 Los Angeles CA West - Drivers
873778              Overtime       16.25    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.25    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        38.25    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.25    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        16.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        23.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        3.75    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.25    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.75    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.75    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        36.50    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.25    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.50    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.00    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.75    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.00    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.00    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.50    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.00    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.75    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.00    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.25    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.25    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        39.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.25    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.75    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        38.50    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.00    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.00    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.00    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.75    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       19.75    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        24.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.75    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
873778   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         22.00 38-5    Filed Los
                                                 11/26/2018  03/22/21
                                                                 AngelesPage 300- Drivers
                                                                        CA West   of 691 Page ID
873778              Overtime     23.00   33.00 #:1073
                                                 11/26/2018 Los Angeles CA West - Drivers
873778              Regular        30.50    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.50    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.75    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       25.25    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.50    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
873778              Overtime       13.75    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       14.50    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       15.00    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.25    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.25    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       18.25    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        39.50    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.00    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        39.50    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.25    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        31.50    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.25    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        39.50    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.25    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.25    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.00    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        38.00    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        6.25    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       10.50    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        38.25    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        7.75    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       11.25    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.50    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       16.50    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.75    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       12.25    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        32.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        5.25    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        9.00    33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        40.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        8.50    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        36.50    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime        3.50    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        38.25    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
873778              Overtime       17.00    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
873778              Regular        22.00    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
873778 Case 2:19-cv-08580-JFW-MAA
                  Overtime       0.50Document
                                        33.00 38-5    Filed Los
                                                07/01/2019  03/22/21
                                                                AngelesPage 301- Drivers
                                                                       CA West   of 691    Page ID
873778            Regular       38.00   22.00 #:1074
                                                07/08/2019 Los Angeles CA West - Drivers
873778            Overtime      17.25   33.00 07/08/2019 Los Angeles CA West - Drivers
873778            Regular       24.00   22.00 07/15/2019 Los Angeles CA West - Drivers
873778            Overtime      16.00   33.00 07/15/2019 Los Angeles CA West - Drivers
873778            Regular       32.00   22.00 07/22/2019 Los Angeles CA West - Drivers
873778            Overtime      14.50   33.00 07/22/2019 Los Angeles CA West - Drivers
873778            Regular       24.00   22.00 07/29/2019 Los Angeles CA West - Drivers
873778            Overtime       8.25   33.00 07/29/2019 Los Angeles CA West - Drivers
873778            Regular       30.50   22.00 08/05/2019 Los Angeles CA West - Drivers
873778            Overtime      10.75   33.00 08/05/2019 Los Angeles CA West - Drivers
873778            Regular       40.00   22.00 08/12/2019 Los Angeles CA West - Drivers
873778            Overtime      21.25   33.00 08/12/2019 Los Angeles CA West - Drivers
873778            Regular       32.00   22.00 08/19/2019 Los Angeles CA West - Drivers
873778            Overtime      19.50   33.00 08/19/2019 Los Angeles CA West - Drivers
873778            Regular       24.00   22.00 08/26/2019 Los Angeles CA West - Drivers
873778            Overtime      10.00   33.00 08/26/2019 Los Angeles CA West - Drivers
873778            Regular       32.00   22.00 09/02/2019 Los Angeles CA West - Drivers
873778            Overtime      12.50   33.00 09/02/2019 Los Angeles CA West - Drivers
Total for 873778             9,652.10
2334665           Regular        8.00   19.50 07/24/2017 Sacramento CA - Drivers
2334665           Overtime       1.50   29.25 07/24/2017 Sacramento CA - Drivers
2334665           Regular        7.75   19.50 07/31/2017 Sacramento CA - Drivers
Total for 2334665               17.25
1308835           Regular       16.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1308835           Overtime       6.75   30.00 05/09/2016 Los Angeles CA West - Drivers
1308835           Regular        8.00   20.00 05/16/2016 Los Angeles CA West - Drivers
1308835           Overtime       1.75   30.00 05/16/2016 Los Angeles CA West - Drivers
1308835           Regular       39.25   20.00 05/23/2016 Los Angeles CA West - Drivers
1308835           Overtime       7.00   30.00 05/23/2016 Los Angeles CA West - Drivers
1308835           Regular       23.00   20.00 05/30/2016 Los Angeles CA West - Drivers
1308835           Overtime       5.50   30.00 05/30/2016 Los Angeles CA West - Drivers
1308835           Regular       24.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1308835           Overtime       5.50   30.00 06/06/2016 Los Angeles CA West - Drivers
1308835           Regular       36.75   20.00 06/13/2016 Los Angeles CA West - Drivers
1308835           Overtime       3.75   30.00 06/13/2016 Los Angeles CA West - Drivers
1308835           Regular       31.75   20.00 06/20/2016 Los Angeles CA West - Drivers
1308835           Overtime       6.25   30.00 06/20/2016 Los Angeles CA West - Drivers
1308835           Regular       31.50   20.00 06/27/2016 Los Angeles CA West - Drivers
1308835           Overtime       4.75   30.00 06/27/2016 Los Angeles CA West - Drivers
1308835           Regular       20.50   20.00 07/04/2016 Los Angeles CA West - Drivers
1308835           Overtime       3.50   30.00 07/04/2016 Los Angeles CA West - Drivers
1308835           Regular       23.25   20.00 07/11/2016 Los Angeles CA West - Drivers
1308835           Overtime       1.75   30.00 07/11/2016 Los Angeles CA West - Drivers
1308835           Regular       24.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1308835           Overtime       1.50   30.00 07/18/2016 Los Angeles CA West - Drivers
1308835           Regular       40.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1308835           Overtime       2.75   30.00 07/25/2016 Los Angeles CA West - Drivers
1308835           Regular       17.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1308835           Overtime       9.25   30.00 08/01/2016 Los Angeles CA West - Drivers
1308835           Regular       23.00   20.00 08/08/2016 Los Angeles CA West - Drivers
1308835           Overtime       2.25   30.00 08/08/2016 Los Angeles CA West - Drivers
1308835           Regular       24.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1308835           Overtime       4.75   30.00 08/15/2016 Los Angeles CA West - Drivers
1308835           Regular       23.75   20.00 08/22/2016 Los Angeles CA West - Drivers
1308835           Overtime       2.50   30.00 08/22/2016 Los Angeles CA West - Drivers
1308835           Regular       31.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1308835           Overtime       2.50   30.00 08/29/2016 Los Angeles CA West - Drivers
1308835           Regular        8.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1308835           Overtime       1.25   30.00 09/05/2016 Los Angeles CA West - Drivers
1308835           Regular       31.25   20.00 09/12/2016 Los Angeles CA West - Drivers
1308835           Overtime       2.50   30.00 09/12/2016 Los Angeles CA West - Drivers
1308835           Regular       32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1308835 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.25Document
                                          30.00 38-5    Filed Los
                                                  09/19/2016  03/22/21
                                                                  AngelesPage 302- Drivers
                                                                         CA West   of 691 Page ID
1308835              Regular      20.50   20.00 #:1075
                                                  09/26/2016 Los Angeles CA West - Drivers
1308835             Overtime        2.25    30.00   09/26/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.50    30.00   10/03/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        4.25    30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        16.00    20.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.50    30.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.00    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        4.75    30.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        38.25    20.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.00    30.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        23.75    20.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.25    30.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.75    30.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   01/02/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        5.75    30.00   01/02/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        22.50    20.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.00    30.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        23.50    20.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        0.25    30.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        23.25    20.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        1.25    30.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.50    30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.50    30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.25    30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular         7.25    20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        23.50    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        0.75    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.25    30.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        16.00    20.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.00    30.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        1.50    30.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        7.75    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        31.50    20.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        4.25    30.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        5.25    30.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.50    30.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular         8.00    20.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        0.50    30.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.75    20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        3.00    30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        32.00    20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        5.75    30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        4.50    30.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        16.00    20.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        1.75    30.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1308835             Overtime        2.75    30.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1308835             Regular        24.00    20.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1308835 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.00Document
                                         30.00 38-5    Filed Los
                                                 06/05/2017  03/22/21
                                                                 AngelesPage 303- Drivers
                                                                        CA West   of 691    Page ID
1308835            Regular       40.00   20.00 #:1076
                                                 06/12/2017 Los Angeles CA West - Drivers
1308835            Overtime       5.00   30.00 06/12/2017 Los Angeles CA West - Drivers
1308835            Regular       24.00   20.00 06/19/2017 Los Angeles CA West - Drivers
1308835            Overtime       3.75   30.00 06/19/2017 Los Angeles CA West - Drivers
1308835            Regular       16.00   20.00 06/26/2017 Los Angeles CA West - Drivers
1308835            Overtime       3.00   30.00 06/26/2017 Los Angeles CA West - Drivers
1308835            Regular       16.00   20.00 07/03/2017 Los Angeles CA West - Drivers
1308835            Overtime      16.25   30.00 07/03/2017 Los Angeles CA West - Drivers
1308835            Regular       24.00   20.00 07/10/2017 Los Angeles CA West - Drivers
1308835            Overtime       3.50   30.00 07/10/2017 Los Angeles CA West - Drivers
1308835            Regular       32.00   20.00 07/17/2017 Los Angeles CA West - Drivers
1308835            Overtime       6.50   30.00 07/17/2017 Los Angeles CA West - Drivers
1308835            Regular       24.00   20.00 07/24/2017 Los Angeles CA West - Drivers
1308835            Overtime       2.00   30.00 07/24/2017 Los Angeles CA West - Drivers
1308835            Regular       32.00   20.00 07/31/2017 Los Angeles CA West - Drivers
1308835            Overtime       3.25   30.00 07/31/2017 Los Angeles CA West - Drivers
1308835            Regular       16.00   20.00 08/07/2017 Los Angeles CA West - Drivers
1308835            Overtime       2.75   30.00 08/07/2017 Los Angeles CA West - Drivers
1308835            Regular        8.00   20.00 08/14/2017 Los Angeles CA West - Drivers
1308835            Overtime       1.00   30.00 08/14/2017 Los Angeles CA West - Drivers
1308835            Regular       16.00   20.00 08/21/2017 Los Angeles CA West - Drivers
1308835            Overtime       2.50   30.00 08/21/2017 Los Angeles CA West - Drivers
1308835            Regular        8.00   20.00 08/28/2017 Los Angeles CA West - Drivers
1308835            Overtime       0.75   30.00 08/28/2017 Los Angeles CA West - Drivers
1308835            Regular       16.00   20.00 09/04/2017 Los Angeles CA West - Drivers
1308835            Overtime       2.00   30.00 09/04/2017 Los Angeles CA West - Drivers
1308835            Regular        8.00   20.00 09/11/2017 Los Angeles CA West - Drivers
1308835            Overtime       1.25   30.00 09/11/2017 Los Angeles CA West - Drivers
1308835            Regular       16.00   22.00 09/24/2018 Los Angeles CA West - Drivers
1308835            Overtime       3.25   33.00 09/24/2018 Los Angeles CA West - Drivers
1308835            Regular       24.00   22.00 10/01/2018 Los Angeles CA West - Drivers
1308835            Overtime       3.00   33.00 10/01/2018 Los Angeles CA West - Drivers
1308835            Regular       24.00   22.00 10/08/2018 Los Angeles CA West - Drivers
1308835            Overtime       2.50   33.00 10/08/2018 Los Angeles CA West - Drivers
1308835            Regular       32.00   24.00 10/15/2018 Los Angeles CA West - Drivers
1308835            Overtime       5.50   36.00 10/15/2018 Los Angeles CA West - Drivers
1308835            Regular       40.00   24.00 10/22/2018 Los Angeles CA West - Drivers
1308835            Overtime       3.50   36.00 10/22/2018 Los Angeles CA West - Drivers
1308835            Regular        8.00   24.00 11/12/2018 Los Angeles CA West - Drivers
1308835            Regular       54.00   21.85 11/14/2016 Los Angeles CA West - Drivers
1308835            Regular        8.00   21.00 02/18/2019 Los Angeles CA West - Drivers
1308835            Overtime       4.00   31.50 02/18/2019 Los Angeles CA West - Drivers
1308835            Regular       16.00   21.00 03/04/2019 Los Angeles CA West - Drivers
1308835            Overtime       1.50   31.50 03/04/2019 Los Angeles CA West - Drivers
1308835            Regular       29.00   16.50 04/11/2016 Los Angeles CA West - Drivers
1308835            Overtime       2.25   24.75 04/11/2016 Los Angeles CA West - Drivers
1308835            Regular       29.00   21.00 03/04/2019 Los Angeles CA West - Drivers
Total for 1308835             2,115.00
1445467            Regular        8.00   19.00 11/14/2016 Los Angeles CA East - Drivers
1445467            Overtime       2.00   28.50 11/14/2016 Los Angeles CA East - Drivers
1445467            Regular       15.00   19.00 11/21/2016 Los Angeles CA East - Drivers
1445467            Overtime       1.50   28.50 11/21/2016 Los Angeles CA East - Drivers
1445467            Regular       40.00   19.00 11/28/2016 Los Angeles CA East - Drivers
1445467            Overtime      10.75   28.50 11/28/2016 Los Angeles CA East - Drivers
1445467            Regular       16.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1445467            Overtime       6.25   28.50 12/05/2016 Los Angeles CA East - Drivers
1445467            Regular        8.50   19.00 12/05/2016 Los Angeles CA East - Drivers
Total for 1445467               108.00
2439142            Regular        8.00   21.00 01/29/2018 Los Angeles CA East - Drivers
2439142            Regular        8.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2439142            Overtime       3.00   30.00 02/05/2018 Los Angeles CA East - Drivers
2439142            Regular       24.00   20.75 12/18/2017 Los Angeles CA East - Drivers
2439142 Case 2:19-cv-08580-JFW-MAA
                   Overtime      8.00Document
                                        31.13 38-5    Filed Los
                                                12/18/2017  03/22/21
                                                                AngelesPage 304
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2439142            Regular      18.50   20.75 #:1077
                                                12/25/2017 Los Angeles CA East - Drivers
2439142            Overtime      1.50   31.13 12/25/2017 Los Angeles CA East - Drivers
2439142            Regular       8.50   20.75 01/01/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.75 01/08/2018 Los Angeles CA East - Drivers
2439142            Overtime      7.50   31.13 01/08/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.75 01/15/2018 Los Angeles CA East - Drivers
2439142            Overtime     15.00   31.13 01/15/2018 Los Angeles CA East - Drivers
2439142            Regular      16.00   20.75 01/22/2018 Los Angeles CA East - Drivers
2439142            Overtime      7.50   31.13 01/22/2018 Los Angeles CA East - Drivers
2439142            Regular       8.00   20.75 01/29/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2439142            Overtime     18.00   30.00 02/05/2018 Los Angeles CA East - Drivers
2439142            Regular      32.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2439142            Overtime      3.50   30.00 02/12/2018 Los Angeles CA East - Drivers
2439142            Regular      32.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2439142            Overtime      8.50   30.00 02/19/2018 Los Angeles CA East - Drivers
2439142            Regular      32.00   20.00 02/26/2018 Los Angeles CA East - Drivers
2439142            Overtime      9.00   30.00 02/26/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2439142            Overtime     15.50   30.00 03/05/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2439142            Overtime     16.00   30.00 03/12/2018 Los Angeles CA East - Drivers
2439142            Regular      32.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2439142            Overtime     16.00   30.00 03/19/2018 Los Angeles CA East - Drivers
2439142            Regular      56.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2439142            Overtime     28.00   30.00 03/26/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2439142            Overtime     19.50   30.00 04/02/2018 Los Angeles CA East - Drivers
2439142            Regular      40.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2439142            Overtime     19.00   30.00 04/09/2018 Los Angeles CA East - Drivers
Total for 2439142              750.50
1271352            Regular       8.00   21.00 01/07/2019 Los Angeles CA East - Drivers
1271352            Overtime      2.25   31.50 01/07/2019 Los Angeles CA East - Drivers
1271352            Regular      16.00   21.00 01/14/2019 Los Angeles CA East - Drivers
1271352            Overtime      3.00   31.50 01/14/2019 Los Angeles CA East - Drivers
1271352            Regular      40.00   21.00 01/21/2019 Los Angeles CA East - Drivers
1271352            Overtime      5.50   31.50 01/21/2019 Los Angeles CA East - Drivers
1271352            Regular      40.00   21.00 01/28/2019 Los Angeles CA East - Drivers
1271352            Overtime      5.00   31.50 01/28/2019 Los Angeles CA East - Drivers
1271352            Regular      24.00   21.00 02/04/2019 Los Angeles CA East - Drivers
1271352            Overtime      2.25   31.50 02/04/2019 Los Angeles CA East - Drivers
1271352            Regular       9.00   17.00 03/14/2016 Los Angeles CA East - Drivers
1271352            Regular      39.00   20.00 08/20/2018 Los Angeles CA East - Drivers
1271352            Overtime      6.25   30.00 08/20/2018 Los Angeles CA East - Drivers
1271352            Regular      21.98   20.00 08/27/2018 Los Angeles CA East - Drivers
1271352            Overtime      1.50   30.00 08/27/2018 Los Angeles CA East - Drivers
1271352            Regular       0.27   20.00 08/27/2018 Los Angeles CA East - Drivers
1271352            Overtime      1.50   30.00 08/27/2018 Los Angeles CA East - Drivers
1271352            Regular      14.50   20.00 09/10/2018 Los Angeles CA East - Drivers
1271352            Regular       7.77   20.00 08/27/2018 Los Angeles CA East - Drivers
1271352            Overtime      1.50   30.00 08/27/2018 Los Angeles CA East - Drivers
1271352            Regular       8.00   22.00 11/12/2018 Los Angeles CA East - Drivers
1271352            Regular      24.00   16.00 03/07/2016 Los Angeles CA East - Drivers
Total for 1271352              281.27
2657238            Regular      16.00   22.00 12/03/2018 Los Angeles CA West - Drivers
2657238            Overtime      2.50   33.00 12/03/2018 Los Angeles CA West - Drivers
2657238            Regular      40.00   22.00 12/10/2018 Los Angeles CA West - Drivers
2657238            Overtime     13.75   33.00 12/10/2018 Los Angeles CA West - Drivers
2657238            Regular      40.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2657238            Overtime      8.50   33.00 12/17/2018 Los Angeles CA West - Drivers
2657238            Regular      16.00   22.00 12/24/2018 Los Angeles CA West - Drivers
2657238            Overtime      7.50   33.00 12/24/2018 Los Angeles CA West - Drivers
2657238 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         22.00 38-5    Filed Los
                                                 12/31/2018  03/22/21
                                                                 AngelesPage 305- Drivers
                                                                        CA West   of 691    Page ID
2657238            Overtime      13.50   33.00 #:1078
                                                 12/31/2018 Los Angeles CA West - Drivers
2657238            Regular       32.00   22.00 01/07/2019 Los Angeles CA West - Drivers
2657238            Overtime       8.25   33.00 01/07/2019 Los Angeles CA West - Drivers
2657238            Regular       36.00   22.00 01/14/2019 Los Angeles CA West - Drivers
2657238            Overtime      12.00   33.00 01/14/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   22.00 01/21/2019 Los Angeles CA West - Drivers
2657238            Overtime      10.25   33.00 01/21/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   22.00 01/28/2019 Los Angeles CA West - Drivers
2657238            Overtime      12.25   33.00 01/28/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   22.00 02/04/2019 Los Angeles CA West - Drivers
2657238            Overtime      13.00   33.00 02/04/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   22.00 02/11/2019 Los Angeles CA West - Drivers
2657238            Overtime       5.50   33.00 02/11/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   22.00 02/18/2019 Los Angeles CA West - Drivers
2657238            Overtime       8.50   33.00 02/18/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   22.00 02/25/2019 Los Angeles CA West - Drivers
2657238            Overtime      11.00   33.00 02/25/2019 Los Angeles CA West - Drivers
2657238            Regular       10.00   22.00 03/04/2019 Los Angeles CA West - Drivers
2657238            Regular       25.00   23.00 05/06/2019 Los Angeles CA West - Drivers
2657238            Overtime       0.50   34.50 05/06/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   23.00 05/13/2019 Los Angeles CA West - Drivers
2657238            Overtime       8.00   34.50 05/13/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   23.00 05/20/2019 Los Angeles CA West - Drivers
2657238            Overtime       9.75   34.50 05/20/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   23.00 05/27/2019 Los Angeles CA West - Drivers
2657238            Overtime       5.00   34.50 05/27/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   23.00 06/03/2019 Los Angeles CA West - Drivers
2657238            Overtime       5.00   34.50 06/03/2019 Los Angeles CA West - Drivers
2657238            Regular       24.00   23.00 06/10/2019 Los Angeles CA West - Drivers
2657238            Overtime       1.75   34.50 06/10/2019 Los Angeles CA West - Drivers
2657238            Regular       16.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2657238            Overtime       7.00   31.50 03/04/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   21.00 03/11/2019 Los Angeles CA West - Drivers
2657238            Overtime      16.50   31.50 03/11/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   21.00 03/18/2019 Los Angeles CA West - Drivers
2657238            Overtime      14.75   31.50 03/18/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2657238            Overtime      11.00   31.50 03/25/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   21.00 04/01/2019 Los Angeles CA West - Drivers
2657238            Overtime       9.75   31.50 04/01/2019 Los Angeles CA West - Drivers
2657238            Regular       40.00   21.00 04/08/2019 Los Angeles CA West - Drivers
2657238            Overtime       6.75   31.50 04/08/2019 Los Angeles CA West - Drivers
2657238            Regular       32.00   21.00 04/15/2019 Los Angeles CA West - Drivers
2657238            Overtime      14.50   31.50 04/15/2019 Los Angeles CA West - Drivers
Total for 2657238             1,107.75
1283569            Regular       32.00   37.07 04/18/2016 Los Angeles CA West - Drivers
1283569            Overtime       8.00   55.61 04/18/2016 Los Angeles CA West - Drivers
1283569            Regular       16.00   37.07 04/25/2016 Los Angeles CA West - Drivers
1283569            Overtime       1.25   55.61 04/25/2016 Los Angeles CA West - Drivers
1283569            Regular       38.75   38.17 08/22/2016 Los Angeles CA West - Drivers
1283569            Overtime      16.75   57.26 08/22/2016 Los Angeles CA West - Drivers
1283569            Regular       32.00   38.17 08/29/2016 Los Angeles CA West - Drivers
1283569            Overtime      14.50   57.26 08/29/2016 Los Angeles CA West - Drivers
1283569            Regular       32.00   38.17 09/05/2016 Los Angeles CA West - Drivers
1283569            Overtime       9.00   57.26 09/05/2016 Los Angeles CA West - Drivers
1283569            Regular       40.00   38.17 09/12/2016 Los Angeles CA West - Drivers
1283569            Overtime      12.25   57.26 09/12/2016 Los Angeles CA West - Drivers
1283569            Regular       16.00   38.17 09/19/2016 Los Angeles CA West - Drivers
1283569            Overtime       6.50   57.26 09/19/2016 Los Angeles CA West - Drivers
1283569            Regular       16.00   38.17 11/07/2016 Los Angeles CA West - Drivers
1283569            Overtime       3.25   57.26 11/07/2016 Los Angeles CA West - Drivers
1283569            Regular        8.00   38.17 11/14/2016 Los Angeles CA West - Drivers
1283569 Case   2:19-cv-08580-JFW-MAA
                     Overtime      2.75Document
                                          57.26 38-5    Filed Los
                                                  11/14/2016  03/22/21
                                                                  AngelesPage 306- Drivers
                                                                         CA West   of 691 Page ID
1283569              Regular       8.00   38.17 #:1079
                                                  11/28/2016 Los Angeles CA West - Drivers
1283569             Overtime        1.25    57.26   11/28/2016   Los   Angeles   CA   West   - Drivers
1283569             Regular        40.00    38.17   04/24/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime       17.75    57.26   04/24/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    38.17   05/01/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        2.25    57.26   05/01/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    38.17   05/15/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        4.00    57.26   05/15/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    38.17   05/29/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        3.75    57.26   05/29/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        16.00    39.17   08/14/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        4.75    58.76   08/14/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    39.17   08/14/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        5.00    58.76   08/14/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        34.00    39.17   09/11/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        1.25    58.76   09/11/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        22.75    39.17   09/18/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        18.75    39.17   09/25/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        0.25    58.76   09/25/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        29.25    39.17   10/02/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        4.25    58.76   10/02/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular         7.75    39.17   11/06/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        10.00    21.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        1.75    58.76   11/27/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        14.30    39.17   12/04/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    39.17   12/11/2017   Los   Angeles   CA   West   - Drivers
1283569             Overtime        2.00    58.76   12/11/2017   Los   Angeles   CA   West   - Drivers
1283569             Regular        31.80    39.17   04/02/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        3.00    58.76   04/02/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    39.17   04/09/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        1.00    58.76   04/09/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        52.00    39.17   04/16/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime       20.50    58.76   04/16/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        24.00    39.17   04/30/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        6.75    58.76   04/30/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        40.00    39.17   05/07/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        9.00    58.76   05/07/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        15.25    39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        0.75    58.76   05/21/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    39.17   05/28/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        1.75    58.76   05/28/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        40.00    39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime       18.25    58.76   06/11/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        40.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime       16.25    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        2.75    58.76   06/25/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        16.00    39.17   07/23/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        5.75    58.76   07/23/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        16.00    39.17   10/01/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        5.50    58.76   10/01/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        16.00    39.17   10/08/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        5.50    58.76   10/08/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        30.00    39.17   10/15/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        8.25    58.76   10/15/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        32.00    39.17   10/22/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime       12.75    58.76   10/22/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        15.75    39.17   11/05/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        1.25    58.76   11/05/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular        14.25    39.17   11/12/2018   Los   Angeles   CA   West   - Drivers
1283569             Overtime        3.50    58.76   11/12/2018   Los   Angeles   CA   West   - Drivers
1283569             Regular         8.00    39.17   11/19/2018   Los   Angeles   CA   West   - Drivers
1283569 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.00Document
                                         58.76 38-5    Filed Los
                                                 11/19/2018  03/22/21
                                                                 AngelesPage 307- Drivers
                                                                        CA West   of 691    Page ID
1283569            Regular        8.00   39.17 #:1080
                                                 05/06/2019 Los Angeles CA West - Drivers
1283569            Overtime       1.25   58.76 05/06/2019 Los Angeles CA West - Drivers
1283569            Regular       32.00   40.22 05/13/2019 Los Angeles CA West - Drivers
1283569            Overtime       8.00   60.33 05/13/2019 Los Angeles CA West - Drivers
1283569            Regular       26.00   22.00 05/20/2019 Los Angeles CA West - Drivers
1283569            Overtime       2.50   60.33 05/20/2019 Los Angeles CA West - Drivers
1283569            Regular       40.00   40.22 05/27/2019 Los Angeles CA West - Drivers
1283569            Overtime      15.50   60.33 05/27/2019 Los Angeles CA West - Drivers
1283569            Regular       40.00   40.22 06/03/2019 Los Angeles CA West - Drivers
1283569            Overtime      15.50   60.33 06/03/2019 Los Angeles CA West - Drivers
1283569            Regular       24.00   40.22 06/10/2019 Los Angeles CA West - Drivers
1283569            Overtime      12.00   60.33 06/10/2019 Los Angeles CA West - Drivers
1283569            Regular       16.00   40.22 06/17/2019 Los Angeles CA West - Drivers
1283569            Overtime       2.75   60.33 06/17/2019 Los Angeles CA West - Drivers
Total for 1283569             1,379.10
2145714            Regular       32.00   21.00 12/26/2016 Sacramento CA - Drivers
2145714            Overtime      14.00   31.50 12/26/2016 Sacramento CA - Drivers
2145714            Regular       40.00   21.00 01/02/2017 Sacramento CA - Drivers
2145714            Overtime      15.00   31.50 01/02/2017 Sacramento CA - Drivers
2145714            Regular       40.00   21.00 01/09/2017 Sacramento CA - Drivers
2145714            Overtime      15.00   31.50 01/09/2017 Sacramento CA - Drivers
2145714            Regular       40.00   21.00 01/16/2017 Sacramento CA - Drivers
2145714            Overtime      15.00   31.50 01/16/2017 Sacramento CA - Drivers
2145714            Regular       40.00   21.00 01/23/2017 Sacramento CA - Drivers
2145714            Overtime      15.00   31.50 01/23/2017 Sacramento CA - Drivers
2145714            Regular       40.00   21.00 01/30/2017 Sacramento CA - Drivers
2145714            Overtime      15.00   31.50 01/30/2017 Sacramento CA - Drivers
2145714            Regular       32.00   21.00 02/06/2017 Sacramento CA - Drivers
2145714            Overtime      12.00   31.50 02/06/2017 Sacramento CA - Drivers
2145714            Regular       35.00   21.00 02/13/2017 Sacramento CA - Drivers
2145714            Overtime      13.00   31.50 02/13/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 02/20/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 02/20/2017 Sacramento CA - Drivers
2145714            Regular       35.00   21.00 02/27/2017 Sacramento CA - Drivers
2145714            Overtime      13.00   31.50 02/27/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 03/06/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 03/06/2017 Sacramento CA - Drivers
2145714            Regular       36.00   21.00 03/13/2017 Sacramento CA - Drivers
2145714            Overtime      13.00   31.50 03/13/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 03/20/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 03/20/2017 Sacramento CA - Drivers
2145714            Regular       32.00   21.00 03/27/2017 Sacramento CA - Drivers
2145714            Overtime      12.00   31.50 03/27/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 04/03/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 04/03/2017 Sacramento CA - Drivers
2145714            Regular       32.00   21.00 04/10/2017 Sacramento CA - Drivers
2145714            Overtime      12.00   31.50 04/10/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 04/17/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 04/17/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 04/24/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 04/24/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 05/01/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 05/01/2017 Sacramento CA - Drivers
2145714            Regular       32.00   21.00 05/08/2017 Sacramento CA - Drivers
2145714            Overtime      12.00   31.50 05/08/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 05/15/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 05/15/2017 Sacramento CA - Drivers
2145714            Regular       32.00   21.00 05/22/2017 Sacramento CA - Drivers
2145714            Overtime      12.00   31.50 05/22/2017 Sacramento CA - Drivers
2145714            Regular       24.00   21.00 05/29/2017 Sacramento CA - Drivers
2145714            Overtime       9.00   31.50 05/29/2017 Sacramento CA - Drivers
Total for 2145714               983.00
1411570 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        19.00 38-5    Filed Los
                                                01/02/2017  03/22/21
                                                                AngelesPage 308
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1411570            Overtime      5.00   28.50 #:1081
                                                01/02/2017 Los Angeles CA East - Drivers
1411570            Regular      24.00   19.00 01/09/2017 Los Angeles CA East - Drivers
1411570            Overtime      8.25   28.50 01/09/2017 Los Angeles CA East - Drivers
1411570            Regular      41.00   19.00 10/03/2016 Los Angeles CA East - Drivers
1411570            Overtime     13.00   28.50 10/03/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   19.00 10/10/2016 Los Angeles CA East - Drivers
1411570            Overtime     17.00   28.50 10/10/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 10/17/2016 Los Angeles CA East - Drivers
1411570            Overtime     14.00   30.00 10/17/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 10/24/2016 Los Angeles CA East - Drivers
1411570            Overtime     12.75   30.00 10/24/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 10/31/2016 Los Angeles CA East - Drivers
1411570            Overtime     18.00   30.00 10/31/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 11/07/2016 Los Angeles CA East - Drivers
1411570            Overtime     13.25   30.00 11/07/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 11/14/2016 Los Angeles CA East - Drivers
1411570            Overtime     16.25   30.00 11/14/2016 Los Angeles CA East - Drivers
1411570            Regular      31.75   20.00 11/21/2016 Los Angeles CA East - Drivers
1411570            Overtime      9.50   30.00 11/21/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 11/28/2016 Los Angeles CA East - Drivers
1411570            Overtime     13.75   30.00 11/28/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 12/05/2016 Los Angeles CA East - Drivers
1411570            Overtime     13.00   30.00 12/05/2016 Los Angeles CA East - Drivers
1411570            Regular      40.00   20.00 12/12/2016 Los Angeles CA East - Drivers
1411570            Overtime     16.50   30.00 12/12/2016 Los Angeles CA East - Drivers
1411570            Regular      32.00   20.00 12/19/2016 Los Angeles CA East - Drivers
1411570            Overtime      7.50   30.00 12/19/2016 Los Angeles CA East - Drivers
1411570            Regular      32.00   20.00 12/26/2016 Los Angeles CA East - Drivers
1411570            Overtime      7.00   30.00 12/26/2016 Los Angeles CA East - Drivers
1411570            Regular       8.00   20.00 01/02/2017 Los Angeles CA East - Drivers
1411570            Overtime      3.50   30.00 01/02/2017 Los Angeles CA East - Drivers
Total for 1411570              725.00
2462215            Regular      24.00   20.00 01/22/2018 Los Angeles CA East - Drivers
2462215            Overtime      3.30   30.00 01/22/2018 Los Angeles CA East - Drivers
2462215            Regular      40.00   20.00 01/29/2018 Los Angeles CA East - Drivers
2462215            Overtime      4.25   30.00 01/29/2018 Los Angeles CA East - Drivers
2462215            Regular      32.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2462215            Overtime      0.19   30.00 02/05/2018 Los Angeles CA East - Drivers
2462215            Regular      32.00   21.00 02/12/2018 Los Angeles CA East - Drivers
2462215            Overtime      1.58   31.50 02/12/2018 Los Angeles CA East - Drivers
Total for 2462215              137.32
2708338            Regular      24.00   20.00 08/26/2019 Sacramento CA - Drivers
2708338            Regular      32.00   20.00 09/02/2019 Sacramento CA - Drivers
2708338            Overtime     12.00   30.00 09/02/2019 Sacramento CA - Drivers
Total for 2708338               68.00
804873             Regular      38.25   17.00 08/03/2015 Los Angeles CA West - Drivers
804873             Overtime     17.75   25.50 08/03/2015 Los Angeles CA West - Drivers
804873             Regular      32.00   17.00 08/10/2015 Los Angeles CA West - Drivers
804873             Overtime     11.25   25.50 08/10/2015 Los Angeles CA West - Drivers
804873             Regular      13.50   20.00 08/24/2015 Los Angeles CA West - Drivers
804873             Regular      29.50   20.00 08/31/2015 Los Angeles CA West - Drivers
804873             Regular      14.00   20.00 09/07/2015 Los Angeles CA West - Drivers
804873             Overtime      1.00   30.00 09/07/2015 Los Angeles CA West - Drivers
804873             Regular      28.25   20.00 09/14/2015 Los Angeles CA West - Drivers
804873             Regular      40.00   20.00 09/21/2015 Los Angeles CA West - Drivers
804873             Overtime      4.25   30.00 09/21/2015 Los Angeles CA West - Drivers
804873             Regular      40.00   20.00 09/28/2015 Los Angeles CA West - Drivers
804873             Overtime      7.50   30.00 09/28/2015 Los Angeles CA West - Drivers
804873             Regular      32.00   19.00 10/05/2015 Los Angeles CA West - Drivers
804873             Overtime     13.25   28.50 10/05/2015 Los Angeles CA West - Drivers
804873             Regular      40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
804873             Overtime     18.75   28.50 10/12/2015 Los Angeles CA West - Drivers
804873   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.00 38-5    Filed Los
                                                 10/19/2015  03/22/21
                                                                 AngelesPage 309- Drivers
                                                                        CA West   of 691 Page ID
804873              Overtime      8.25   28.50 #:1082
                                                 10/19/2015 Los Angeles CA West - Drivers
804873              Regular        40.00    19.00   10/26/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime        5.50    28.50   10/26/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   11/02/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime       13.00    28.50   11/02/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   11/09/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime       21.25    28.50   11/09/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   11/16/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime       21.50    28.50   11/16/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   11/23/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime        9.25    28.50   11/23/2015   Los   Angeles   CA   West   - Drivers
804873              Regular         8.00    19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime        1.50    28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime       30.50    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        32.00    19.00   12/14/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime       11.75    28.50   12/14/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        31.50    19.00   12/21/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime        6.00    28.50   12/21/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
804873              Overtime       11.50    28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       15.75    28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        39.50    19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       12.50    28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        31.50    19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        6.75    28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        38.75    19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        6.50    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       10.75    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       11.25    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        24.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        9.00    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
804873              Regular         8.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        1.25    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       13.00    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
804873              Regular         8.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        2.25    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        7.75    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       14.50    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        24.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        5.50    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        31.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       10.25    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        32.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       13.00    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
804873              Regular         8.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        2.25    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        32.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        5.50    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        9.00    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        24.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime        5.00    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
804873              Overtime       19.75    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
804873              Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
804873 Case 2:19-cv-08580-JFW-MAA
                  Overtime      11.50Document
                                        28.88 38-5    Filed Los
                                                05/30/2016  03/22/21
                                                                AngelesPage 310- Drivers
                                                                       CA West   of 691    Page ID
804873            Regular       24.00   19.25 #:1083
                                                06/06/2016 Los Angeles CA West - Drivers
804873            Overtime      12.00   28.88 06/06/2016 Los Angeles CA West - Drivers
804873            Regular       32.00   19.25 06/13/2016 Los Angeles CA West - Drivers
804873            Overtime      24.75   28.88 06/13/2016 Los Angeles CA West - Drivers
804873            Regular       40.00   19.25 06/20/2016 Los Angeles CA West - Drivers
804873            Overtime      11.00   28.88 06/20/2016 Los Angeles CA West - Drivers
804873            Regular       32.00   19.25 06/27/2016 Los Angeles CA West - Drivers
804873            Overtime       8.75   28.88 06/27/2016 Los Angeles CA West - Drivers
804873            Regular       24.00   19.25 07/04/2016 Los Angeles CA West - Drivers
804873            Overtime       5.25   28.88 07/04/2016 Los Angeles CA West - Drivers
804873            Regular       32.00   19.25 07/11/2016 Los Angeles CA West - Drivers
804873            Overtime      10.75   28.88 07/11/2016 Los Angeles CA West - Drivers
804873            Regular       40.00   19.25 07/18/2016 Los Angeles CA West - Drivers
804873            Overtime      11.75   28.88 07/18/2016 Los Angeles CA West - Drivers
804873            Regular       40.00   19.25 07/25/2016 Los Angeles CA West - Drivers
804873            Overtime      14.00   28.88 07/25/2016 Los Angeles CA West - Drivers
804873            Regular       33.00   19.25 08/01/2016 Los Angeles CA West - Drivers
804873            Overtime      14.00   28.88 08/01/2016 Los Angeles CA West - Drivers
804873            Regular       38.50   19.25 08/01/2016 Los Angeles CA West - Drivers
804873            Overtime      13.50   28.88 08/08/2016 Los Angeles CA West - Drivers
804873            Regular       24.00   19.25 08/15/2016 Los Angeles CA West - Drivers
804873            Overtime      12.75   28.88 08/15/2016 Los Angeles CA West - Drivers
804873            Regular       32.00   19.25 08/22/2016 Los Angeles CA West - Drivers
804873            Overtime      16.25   28.88 08/22/2016 Los Angeles CA West - Drivers
804873            Regular        8.00   19.25 08/29/2016 Los Angeles CA West - Drivers
804873            Overtime       5.50   28.88 08/29/2016 Los Angeles CA West - Drivers
804873            Regular       24.00   19.25 09/05/2016 Los Angeles CA West - Drivers
804873            Overtime       7.00   28.88 09/05/2016 Los Angeles CA West - Drivers
804873            Regular       24.00   19.25 09/12/2016 Los Angeles CA West - Drivers
804873            Overtime       9.50   28.88 09/12/2016 Los Angeles CA West - Drivers
804873            Regular       16.00   19.25 09/26/2016 Los Angeles CA West - Drivers
804873            Overtime       4.75   28.88 09/26/2016 Los Angeles CA West - Drivers
804873            Regular       16.00   20.25 10/03/2016 Los Angeles CA West - Drivers
804873            Overtime       2.25   30.38 10/03/2016 Los Angeles CA West - Drivers
804873            Regular       40.00   20.25 10/10/2016 Los Angeles CA West - Drivers
804873            Overtime      13.25   30.38 10/10/2016 Los Angeles CA West - Drivers
804873            Regular       37.50   20.25 10/17/2016 Los Angeles CA West - Drivers
804873            Overtime      16.50   30.38 10/17/2016 Los Angeles CA West - Drivers
804873            Regular       40.00   20.25 10/24/2016 Los Angeles CA West - Drivers
804873            Overtime       8.25   30.38 10/24/2016 Los Angeles CA West - Drivers
804873            Regular       23.75   20.25 10/31/2016 Los Angeles CA West - Drivers
804873            Overtime       1.75   30.38 10/31/2016 Los Angeles CA West - Drivers
804873            Regular       19.50   19.00 01/16/2017 Los Angeles CA West - Drivers
804873            Regular       79.75   19.00 11/28/2016 Los Angeles CA West - Drivers
804873            Regular       75.50   19.00 12/05/2016 Los Angeles CA West - Drivers
804873            Regular       62.50   19.00 12/12/2016 Los Angeles CA West - Drivers
804873            Regular       51.25   19.00 12/19/2016 Los Angeles CA West - Drivers
Total for 804873             2,883.25
2208652           Regular       16.00   20.00 02/27/2017 Los Angeles CA West - Drivers
2208652           Overtime       7.50   30.00 02/27/2017 Los Angeles CA West - Drivers
2208652           Regular       32.00   20.00 03/06/2017 Los Angeles CA West - Drivers
2208652           Overtime      13.50   30.00 03/06/2017 Los Angeles CA West - Drivers
2208652           Regular        8.00   20.00 03/13/2017 Los Angeles CA West - Drivers
2208652           Overtime       3.50   30.00 03/13/2017 Los Angeles CA West - Drivers
2208652           Regular       31.50   20.00 03/13/2017 Los Angeles CA West - Drivers
2208652           Overtime       5.25   30.00 03/13/2017 Los Angeles CA West - Drivers
2208652           Regular        8.00   20.00 03/20/2017 Los Angeles CA West - Drivers
2208652           Overtime       1.00   30.00 03/20/2017 Los Angeles CA West - Drivers
Total for 2208652              126.25
2357798           Regular       54.00   21.85 09/18/2017 Los Angeles CA East - Drivers
2357798           Regular        8.00   19.00 08/28/2017 Los Angeles CA East - Drivers
2357798           Overtime       4.00   28.50 08/28/2017 Los Angeles CA East - Drivers
2357798 Case 2:19-cv-08580-JFW-MAA
                   Regular      15.00Document
                                        20.75 38-5    Filed Los
                                                08/21/2017  03/22/21
                                                                AngelesPage 311
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2357798            Overtime      3.50   31.13 #:1084
                                                08/21/2017 Los Angeles CA East - Drivers
2357798            Regular       8.00   20.75 08/28/2017 Los Angeles CA East - Drivers
2357798            Regular      15.00   20.75 09/04/2017 Los Angeles CA East - Drivers
Total for 2357798              107.50
2762454            Regular      32.00   22.50 05/27/2019 Sacramento CA - Drivers
2762454            Overtime      6.50   33.75 05/27/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 06/03/2019 Sacramento CA - Drivers
2762454            Overtime      7.25   33.75 06/03/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 06/10/2019 Sacramento CA - Drivers
2762454            Overtime      4.25   33.75 06/10/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 06/17/2019 Sacramento CA - Drivers
2762454            Overtime      6.00   33.75 06/17/2019 Sacramento CA - Drivers
2762454            Regular      41.00   22.50 06/24/2019 Sacramento CA - Drivers
2762454            Overtime     14.25   33.75 06/24/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 07/01/2019 Sacramento CA - Drivers
2762454            Overtime      0.50   33.75 07/01/2019 Sacramento CA - Drivers
2762454            Regular      28.75   22.50 07/08/2019 Sacramento CA - Drivers
2762454            Regular      16.50   22.50 07/15/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 07/22/2019 Sacramento CA - Drivers
2762454            Overtime     27.75   33.75 07/22/2019 Sacramento CA - Drivers
2762454            Regular      33.15   22.50 07/29/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 08/05/2019 Sacramento CA - Drivers
2762454            Overtime     32.25   33.75 08/05/2019 Sacramento CA - Drivers
2762454            Regular      32.50   22.50 08/12/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 08/19/2019 Sacramento CA - Drivers
2762454            Overtime     13.75   33.75 08/19/2019 Sacramento CA - Drivers
2762454            Regular      40.00   22.50 08/26/2019 Sacramento CA - Drivers
2762454            Overtime      1.50   33.75 08/26/2019 Sacramento CA - Drivers
2762454            Regular      26.75   22.50 09/02/2019 Sacramento CA - Drivers
Total for 2762454              644.65
1137650            Regular      32.00   17.00 10/19/2015 Los Angeles CA East - Drivers
1137650            Overtime      1.00   25.50 10/19/2015 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 10/26/2015 Los Angeles CA East - Drivers
1137650            Overtime      0.75   25.50 10/26/2015 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 11/02/2015 Los Angeles CA East - Drivers
1137650            Overtime      3.75   25.50 11/02/2015 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 11/09/2015 Los Angeles CA East - Drivers
1137650            Overtime      1.25   25.50 11/09/2015 Los Angeles CA East - Drivers
1137650            Regular      32.00   17.00 11/16/2015 Los Angeles CA East - Drivers
1137650            Overtime      3.00   25.50 11/16/2015 Los Angeles CA East - Drivers
1137650            Regular      31.00   17.00 11/23/2015 Los Angeles CA East - Drivers
1137650            Overtime      2.50   25.50 11/23/2015 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 11/30/2015 Los Angeles CA East - Drivers
1137650            Overtime      3.50   25.50 11/30/2015 Los Angeles CA East - Drivers
1137650            Regular      66.75   17.00 12/07/2015 Los Angeles CA East - Drivers
1137650            Overtime     10.25   25.50 12/07/2015 Los Angeles CA East - Drivers
1137650            Regular      28.00   17.00 12/21/2015 Los Angeles CA East - Drivers
1137650            Overtime      0.50   25.50 12/21/2015 Los Angeles CA East - Drivers
1137650            Regular      30.25   17.00 12/28/2015 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 01/04/2016 Los Angeles CA East - Drivers
1137650            Overtime      4.00   25.50 01/04/2016 Los Angeles CA East - Drivers
1137650            Regular      39.25   17.00 01/11/2016 Los Angeles CA East - Drivers
1137650            Overtime      0.50   25.50 01/11/2016 Los Angeles CA East - Drivers
1137650            Regular      39.75   17.00 01/18/2016 Los Angeles CA East - Drivers
1137650            Overtime      2.00   25.50 01/18/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 01/25/2016 Los Angeles CA East - Drivers
1137650            Overtime      3.25   25.50 01/25/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 02/01/2016 Los Angeles CA East - Drivers
1137650            Overtime      5.00   25.50 02/01/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 02/08/2016 Los Angeles CA East - Drivers
1137650            Overtime      1.50   25.50 02/08/2016 Los Angeles CA East - Drivers
1137650            Regular      30.25   17.00 02/15/2016 Los Angeles CA East - Drivers
1137650 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.50Document
                                        25.50 38-5    Filed Los
                                                02/15/2016  03/22/21
                                                                AngelesPage 312
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1137650            Regular      40.00   17.00 #:1085
                                                02/22/2016 Los Angeles CA East - Drivers
1137650            Overtime      1.25   25.50 02/22/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 02/29/2016 Los Angeles CA East - Drivers
1137650            Overtime      1.00   25.50 02/29/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 03/07/2016 Los Angeles CA East - Drivers
1137650            Overtime      2.00   25.50 03/07/2016 Los Angeles CA East - Drivers
1137650            Regular      16.00   17.00 03/14/2016 Los Angeles CA East - Drivers
1137650            Overtime      1.50   25.50 03/14/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 03/21/2016 Los Angeles CA East - Drivers
1137650            Overtime      2.00   25.50 03/21/2016 Los Angeles CA East - Drivers
1137650            Regular      40.00   17.00 03/28/2016 Los Angeles CA East - Drivers
1137650            Overtime      1.00   25.50 03/28/2016 Los Angeles CA East - Drivers
1137650            Regular      31.00   17.00 04/04/2016 Los Angeles CA East - Drivers
1137650            Overtime      1.50   25.50 04/04/2016 Los Angeles CA East - Drivers
1137650            Regular       8.00   17.00 10/12/2015 Los Angeles CA East - Drivers
Total for 1137650              960.75
1266732            Regular      24.00   22.50 06/03/2019 Sacramento CA - Drivers
1266732            Overtime      2.25   33.75 06/03/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 06/10/2019 Sacramento CA - Drivers
1266732            Overtime     19.50   33.75 06/10/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 06/17/2019 Sacramento CA - Drivers
1266732            Overtime     11.25   33.75 06/17/2019 Sacramento CA - Drivers
1266732            Regular      41.00   22.50 06/24/2019 Sacramento CA - Drivers
1266732            Overtime      7.75   33.75 06/24/2019 Sacramento CA - Drivers
1266732            Regular      13.00   22.50 07/01/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 07/08/2019 Sacramento CA - Drivers
1266732            Overtime     11.75   33.75 07/08/2019 Sacramento CA - Drivers
1266732            Regular      39.50   22.50 07/15/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 07/22/2019 Sacramento CA - Drivers
1266732            Overtime     28.25   33.75 07/22/2019 Sacramento CA - Drivers
1266732            Regular      33.70   22.50 07/29/2019 Sacramento CA - Drivers
1266732            Regular      22.25   22.50 08/05/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 08/12/2019 Sacramento CA - Drivers
1266732            Overtime      9.25   33.75 08/12/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 08/19/2019 Sacramento CA - Drivers
1266732            Overtime     15.75   33.75 08/19/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 08/26/2019 Sacramento CA - Drivers
1266732            Overtime      5.50   33.75 08/26/2019 Sacramento CA - Drivers
1266732            Regular      40.00   22.50 09/02/2019 Sacramento CA - Drivers
1266732            Overtime      6.50   33.75 09/02/2019 Sacramento CA - Drivers
1266732            Regular       8.00   22.00 06/18/2018 Sacramento CA - Drivers
1266732            Overtime      4.00   33.00 06/18/2018 Sacramento CA - Drivers
1266732            Regular      16.00   22.00 06/25/2018 Sacramento CA - Drivers
1266732            Overtime      8.00   33.00 06/25/2018 Sacramento CA - Drivers
1266732            Regular      16.00   22.00 07/02/2018 Sacramento CA - Drivers
1266732            Overtime      5.25   33.00 07/02/2018 Sacramento CA - Drivers
1266732            Regular      32.00   22.00 07/09/2018 Sacramento CA - Drivers
1266732            Overtime     10.50   33.00 07/09/2018 Sacramento CA - Drivers
1266732            Regular      32.00   22.00 07/16/2018 Sacramento CA - Drivers
1266732            Overtime     12.00   33.00 07/16/2018 Sacramento CA - Drivers
1266732            Regular      36.00   22.00 07/23/2018 Sacramento CA - Drivers
1266732            Overtime     11.00   33.00 07/23/2018 Sacramento CA - Drivers
1266732            Regular      16.00   22.00 07/30/2018 Sacramento CA - Drivers
1266732            Overtime      7.25   33.00 07/23/2018 Sacramento CA - Drivers
1266732            Regular       8.00   22.00 12/10/2018 Sacramento CA - Drivers
1266732            Overtime      4.00   33.00 12/10/2018 Sacramento CA - Drivers
1266732            Regular       8.00   21.00 12/03/2018 Sacramento CA - Drivers
1266732            Overtime      3.57   31.50 12/03/2018 Sacramento CA - Drivers
1266732            Regular       8.00   22.00 05/06/2019 Sacramento CA - Drivers
1266732            Overtime      4.00   33.00 05/06/2019 Sacramento CA - Drivers
1266732            Regular       6.00   21.21 06/25/2018 Sacramento CA - Drivers
1266732            Regular      12.00   21.21 12/17/2018 Sacramento CA - Drivers
1266732 Case 2:19-cv-08580-JFW-MAA
                   Regular        4.00Document
                                         21.21 38-5    Filed Sacramento
                                                 05/13/2019  03/22/21 Page    313 of 691
                                                                        CA - Drivers       Page ID
1266732            Regular        8.00   25.00 #:1086
                                                 05/13/2019 Sacramento CA - Drivers
1266732            Overtime       2.50   37.50 05/13/2019 Sacramento CA - Drivers
1266732            Regular       24.00   25.00 05/20/2019 Sacramento CA - Drivers
1266732            Overtime       8.50   37.50 05/20/2019 Sacramento CA - Drivers
1266732            Regular       16.00   21.00 08/13/2018 Sacramento CA - Drivers
1266732            Overtime       6.00   31.50 08/13/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 08/20/2018 Sacramento CA - Drivers
1266732            Overtime      16.00   31.50 08/20/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 08/27/2018 Sacramento CA - Drivers
1266732            Overtime      19.50   31.50 08/27/2018 Sacramento CA - Drivers
1266732            Regular       32.00   21.00 09/03/2018 Sacramento CA - Drivers
1266732            Overtime      15.25   31.50 09/03/2018 Sacramento CA - Drivers
1266732            Regular       32.00   21.00 09/10/2018 Sacramento CA - Drivers
1266732            Overtime      12.00   31.50 09/10/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 09/17/2018 Sacramento CA - Drivers
1266732            Overtime      15.50   31.50 09/17/2018 Sacramento CA - Drivers
1266732            Regular       24.00   21.00 09/24/2018 Sacramento CA - Drivers
1266732            Overtime       8.00   31.50 09/24/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 10/01/2018 Sacramento CA - Drivers
1266732            Overtime      15.00   31.50 10/01/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 10/08/2018 Sacramento CA - Drivers
1266732            Overtime      12.50   31.50 10/08/2018 Sacramento CA - Drivers
1266732            Regular       24.00   21.00 10/15/2018 Sacramento CA - Drivers
1266732            Overtime      11.00   31.50 10/15/2018 Sacramento CA - Drivers
1266732            Regular       32.00   21.00 10/22/2018 Sacramento CA - Drivers
1266732            Overtime      14.50   31.50 10/22/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 10/29/2018 Sacramento CA - Drivers
1266732            Overtime      17.00   31.50 10/29/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 11/05/2018 Sacramento CA - Drivers
1266732            Overtime      18.50   31.50 11/05/2018 Sacramento CA - Drivers
1266732            Regular       32.00   21.00 11/12/2018 Sacramento CA - Drivers
1266732            Overtime      13.00   31.50 11/12/2018 Sacramento CA - Drivers
1266732            Regular       24.00   21.00 11/19/2018 Sacramento CA - Drivers
1266732            Overtime      10.50   31.50 11/19/2018 Sacramento CA - Drivers
1266732            Regular       16.00   21.00 11/26/2018 Sacramento CA - Drivers
1266732            Overtime       7.50   31.50 11/26/2018 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 03/11/2019 Sacramento CA - Drivers
1266732            Overtime      10.00   31.50 03/11/2019 Sacramento CA - Drivers
1266732            Regular       32.00   21.00 03/18/2019 Sacramento CA - Drivers
1266732            Overtime      13.00   31.50 03/18/2019 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 03/25/2019 Sacramento CA - Drivers
1266732            Overtime      10.00   31.50 03/25/2019 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 04/01/2019 Sacramento CA - Drivers
1266732            Overtime      14.50   31.50 04/01/2019 Sacramento CA - Drivers
1266732            Regular       16.00   21.00 04/08/2019 Sacramento CA - Drivers
1266732            Overtime       4.50   31.50 04/08/2019 Sacramento CA - Drivers
1266732            Regular       32.00   21.00 04/15/2019 Sacramento CA - Drivers
1266732            Overtime       8.00   31.50 04/15/2019 Sacramento CA - Drivers
1266732            Regular       40.00   21.00 04/22/2019 Sacramento CA - Drivers
1266732            Overtime      14.50   31.50 04/22/2019 Sacramento CA - Drivers
1266732            Regular       16.00   22.00 06/25/2018 Sacramento CA - Drivers
1266732            Overtime       6.25   33.00 06/25/2018 Sacramento CA - Drivers
Total for 1266732             1,986.27
2418964            Regular        7.50   17.50 11/27/2017 Los Angeles CA West - Drivers
2418964            Regular       32.00   17.50 12/04/2017 Los Angeles CA West - Drivers
2418964            Overtime       8.00   26.25 12/04/2017 Los Angeles CA West - Drivers
2418964            Regular        8.00   19.50 11/13/2017 Los Angeles CA West - Drivers
2418964            Overtime       3.50   29.25 11/13/2017 Los Angeles CA West - Drivers
2418964            Regular       40.00   19.50 12/25/2017 Los Angeles CA West - Drivers
2418964            Overtime      12.75   29.25 12/25/2017 Los Angeles CA West - Drivers
2418964            Regular       32.00   19.50 01/01/2018 Los Angeles CA West - Drivers
2418964            Overtime      10.50   29.25 01/01/2018 Los Angeles CA West - Drivers
2418964 Case 2:19-cv-08580-JFW-MAA
                   Regular      50.00Document
                                        19.50 38-5    Filed Los
                                                01/08/2018  03/22/21
                                                                AngelesPage 314- Drivers
                                                                       CA West   of 691    Page ID
2418964            Overtime     21.25   29.25 #:1087
                                                01/08/2018 Los Angeles CA West - Drivers
2418964            Regular      24.00   19.50 01/15/2018 Los Angeles CA West - Drivers
2418964            Overtime      9.00   29.25 01/15/2018 Los Angeles CA West - Drivers
2418964            Regular       7.00   19.00 11/13/2017 Los Angeles CA West - Drivers
2418964            Regular       9.50   21.00 11/20/2017 Los Angeles CA West - Drivers
2418964            Regular       9.50   21.00 11/27/2017 Los Angeles CA West - Drivers
Total for 2418964              284.50
1324696            Regular      32.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1324696            Overtime      9.75   24.00 05/09/2016 Los Angeles CA West - Drivers
1324696            Regular      40.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1324696            Overtime      5.75   24.00 05/16/2016 Los Angeles CA West - Drivers
1324696            Regular       8.00   16.00 05/23/2016 Los Angeles CA West - Drivers
1324696            Overtime      0.75   24.00 05/23/2016 Los Angeles CA West - Drivers
1324696            Regular       8.00   16.00 05/30/2016 Los Angeles CA West - Drivers
1324696            Overtime      4.00   24.00 05/30/2016 Los Angeles CA West - Drivers
1324696            Regular      24.00   16.00 06/06/2016 Los Angeles CA West - Drivers
1324696            Overtime      7.25   24.00 06/06/2016 Los Angeles CA West - Drivers
Total for 1324696              139.50
1301237            Regular      32.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.50   30.00 04/11/2016 Los Angeles CA West - Drivers
1301237            Regular      24.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.50   30.00 04/18/2016 Los Angeles CA West - Drivers
1301237            Regular      24.00   20.00 04/25/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.75   30.00 04/25/2016 Los Angeles CA West - Drivers
1301237            Regular      24.00   20.00 05/02/2016 Los Angeles CA West - Drivers
1301237            Overtime      5.75   30.00 05/02/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.50   30.00 05/09/2016 Los Angeles CA West - Drivers
1301237            Regular      16.00   20.00 05/16/2016 Los Angeles CA West - Drivers
1301237            Overtime      4.25   30.00 05/16/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 05/23/2016 Los Angeles CA West - Drivers
1301237            Overtime      5.25   30.00 05/23/2016 Los Angeles CA West - Drivers
1301237            Regular      24.00   20.00 05/30/2016 Los Angeles CA West - Drivers
1301237            Overtime      8.00   30.00 05/30/2016 Los Angeles CA West - Drivers
1301237            Regular      40.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.25   30.00 06/06/2016 Los Angeles CA West - Drivers
1301237            Regular      40.00   20.00 06/13/2016 Los Angeles CA West - Drivers
1301237            Overtime      7.50   30.00 06/13/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1301237            Overtime      5.50   30.00 06/20/2016 Los Angeles CA West - Drivers
1301237            Regular      40.00   20.00 06/27/2016 Los Angeles CA West - Drivers
1301237            Overtime      9.00   30.00 06/27/2016 Los Angeles CA West - Drivers
1301237            Regular      16.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1301237            Overtime      4.00   30.00 07/04/2016 Los Angeles CA West - Drivers
1301237            Regular      24.00   20.00 07/11/2016 Los Angeles CA West - Drivers
1301237            Overtime      2.75   30.00 07/11/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1301237            Overtime      4.00   30.00 07/18/2016 Los Angeles CA West - Drivers
1301237            Regular      40.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1301237            Overtime      5.50   30.00 07/25/2016 Los Angeles CA West - Drivers
1301237            Regular      25.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1301237            Overtime      3.75   30.00 08/01/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 08/08/2016 Los Angeles CA West - Drivers
1301237            Overtime      3.75   30.00 08/08/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1301237            Overtime      5.75   30.00 08/15/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.50   30.00 08/22/2016 Los Angeles CA West - Drivers
1301237            Regular      32.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1301237            Overtime      6.00   30.00 08/29/2016 Los Angeles CA West - Drivers
1301237            Regular      24.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1301237            Overtime      2.75   30.00 09/05/2016 Los Angeles CA West - Drivers
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                     Regular      32.00Document
                                          20.00 38-5    Filed Los
                                                  09/12/2016  03/22/21
                                                                  AngelesPage 315- Drivers
                                                                         CA West   of 691 Page ID
1301237              Overtime      5.00   30.00 #:1088
                                                  09/12/2016 Los Angeles CA West - Drivers
1301237             Regular        32.00    20.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.00   09/19/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.75    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.75    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        8.75    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        9.50    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.00    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.50    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        31.25    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        8.25    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.25    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.00    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.00    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.50    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.75    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.50    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        40.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        8.50    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.25    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.25    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.25    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.25    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.25    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.25    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        31.00    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.50    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1301237 Case   2:19-cv-08580-JFW-MAA
                     Overtime      6.50Document
                                          30.38 38-5    Filed Los
                                                  04/17/2017  03/22/21
                                                                  AngelesPage 316- Drivers
                                                                         CA West   of 691 Page ID
1301237              Regular      32.00   20.25 #:1089
                                                  04/24/2017 Los Angeles CA West - Drivers
1301237             Overtime        5.25    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.00    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.75    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.50    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        2.50    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        27.50    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.50    30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.25    30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        40.00    20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.00    30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        2.75    30.38   07/31/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    30.38   08/07/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.25    30.38   08/14/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.75    30.38   08/21/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.50    30.38   08/28/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.50    30.38   09/04/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    20.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        2.50    30.38   09/11/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        8.00    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    30.38   10/16/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   10/23/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.50    30.38   10/23/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   10/30/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.38   10/30/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   11/06/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.25    30.38   11/06/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   11/13/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.25    30.38   11/13/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    20.25   11/20/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    30.38   11/20/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   11/27/2017   Los   Angeles   CA   West   - Drivers
1301237 Case   2:19-cv-08580-JFW-MAA
                     Overtime      5.50Document
                                          30.38 38-5    Filed Los
                                                  11/27/2017  03/22/21
                                                                  AngelesPage 317- Drivers
                                                                         CA West   of 691 Page ID
1301237              Regular      32.00   20.25 #:1090
                                                  12/04/2017 Los Angeles CA West - Drivers
1301237             Overtime        9.50    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.00    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.50    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.25    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.50    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular         8.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        0.50    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.75    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.00    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        8.00    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        2.25    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.25    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        1.50    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.00    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   04/16/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.00    30.38   04/16/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   04/23/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.75    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.00    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.25    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.75    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.75    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.25    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1301237 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          22.00 38-5    Filed Los
                                                  07/09/2018  03/22/21
                                                                  AngelesPage 318- Drivers
                                                                         CA West   of 691 Page ID
1301237              Overtime      7.75   33.00 #:1091
                                                  07/09/2018 Los Angeles CA West - Drivers
1301237             Regular        40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.25    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        30.75    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.75    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.75    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.00    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.75    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.00    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.00    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.25    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.00    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        39.75    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.00    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.00    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.75    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        2.50    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.75    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        16.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        2.50    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.75    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        4.50    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.00    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        23.25    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1301237             Overtime        3.50    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1301237             Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1301237             Overtime       11.25    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1301237             Overtime        6.75    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.25    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1301237             Overtime        5.00    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1301237             Regular        32.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1301237             Overtime        7.50    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1301237             Regular        39.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
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                   Overtime       7.00Document
                                         33.00 38-5    Filed Los
                                                 02/11/2019  03/22/21
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                                                                        CA West   of 691    Page ID
1301237            Regular       24.00   22.00 #:1092
                                                 02/18/2019 Los Angeles CA West - Drivers
1301237            Overtime       4.75   33.00 02/18/2019 Los Angeles CA West - Drivers
1301237            Regular       31.75   22.00 02/25/2019 Los Angeles CA West - Drivers
1301237            Overtime       3.75   33.00 02/25/2019 Los Angeles CA West - Drivers
1301237            Regular       24.00   22.00 03/04/2019 Los Angeles CA West - Drivers
1301237            Overtime       3.75   33.00 03/04/2019 Los Angeles CA West - Drivers
1301237            Regular       16.00   22.00 03/11/2019 Los Angeles CA West - Drivers
1301237            Overtime       1.75   33.00 03/11/2019 Los Angeles CA West - Drivers
1301237            Regular       24.00   22.00 03/18/2019 Los Angeles CA West - Drivers
1301237            Overtime       5.25   33.00 03/18/2019 Los Angeles CA West - Drivers
1301237            Regular       32.00   22.00 03/25/2019 Los Angeles CA West - Drivers
1301237            Overtime       6.25   33.00 03/25/2019 Los Angeles CA West - Drivers
1301237            Regular       16.00   22.00 04/01/2019 Los Angeles CA West - Drivers
1301237            Overtime       2.25   33.00 04/01/2019 Los Angeles CA West - Drivers
1301237            Regular       32.00   22.00 04/08/2019 Los Angeles CA West - Drivers
1301237            Overtime       5.50   33.00 04/08/2019 Los Angeles CA West - Drivers
1301237            Regular       24.00   22.00 04/15/2019 Los Angeles CA West - Drivers
1301237            Overtime       7.00   33.00 04/15/2019 Los Angeles CA West - Drivers
1301237            Regular       16.00   22.00 04/22/2019 Los Angeles CA West - Drivers
1301237            Overtime       2.00   33.00 04/22/2019 Los Angeles CA West - Drivers
1301237            Regular       40.00   22.00 04/29/2019 Los Angeles CA West - Drivers
1301237            Overtime       7.25   33.00 04/29/2019 Los Angeles CA West - Drivers
1301237            Regular       16.00   22.00 05/06/2019 Los Angeles CA West - Drivers
1301237            Overtime       3.50   33.00 05/06/2019 Los Angeles CA West - Drivers
1301237            Regular        8.00   22.00 05/13/2019 Los Angeles CA West - Drivers
1301237            Overtime       1.00   33.00 05/13/2019 Los Angeles CA West - Drivers
1301237            Regular        8.00   22.00 05/20/2019 Los Angeles CA West - Drivers
1301237            Overtime       1.50   33.00 05/20/2019 Los Angeles CA West - Drivers
Total for 1301237             5,449.00
775841             Regular       16.00   19.50 10/08/2018 Denver CO - Drivers
775841             Regular        7.00   19.50 10/08/2018 Denver CO - Drivers
Total for 775841                 23.00
926040             Regular       40.00   18.50 08/03/2015 Los Angeles CA West - Drivers
926040             Overtime       8.25   27.75 08/03/2015 Los Angeles CA West - Drivers
926040             Regular       39.00   18.50 08/10/2015 Los Angeles CA West - Drivers
926040             Overtime       7.25   27.75 08/10/2015 Los Angeles CA West - Drivers
926040             Regular       39.75   18.50 08/17/2015 Los Angeles CA West - Drivers
926040             Overtime       6.25   27.75 08/17/2015 Los Angeles CA West - Drivers
926040             Regular       44.75   20.00 08/24/2015 Los Angeles CA West - Drivers
926040             Overtime       9.75   30.00 08/24/2015 Los Angeles CA West - Drivers
926040             Regular       40.00   20.00 08/31/2015 Los Angeles CA West - Drivers
926040             Overtime       7.75   30.00 08/31/2015 Los Angeles CA West - Drivers
926040             Regular       32.00   20.00 09/07/2015 Los Angeles CA West - Drivers
926040             Overtime       8.00   30.00 09/07/2015 Los Angeles CA West - Drivers
926040             Regular       32.00   20.00 09/14/2015 Los Angeles CA West - Drivers
926040             Overtime      14.00   30.00 09/14/2015 Los Angeles CA West - Drivers
926040             Regular       38.50   20.00 09/21/2015 Los Angeles CA West - Drivers
926040             Overtime      12.50   30.00 09/21/2015 Los Angeles CA West - Drivers
926040             Regular       40.00   20.00 09/28/2015 Los Angeles CA West - Drivers
926040             Overtime      14.75   30.00 09/28/2015 Los Angeles CA West - Drivers
926040             Regular       32.00   20.00 10/05/2015 Los Angeles CA West - Drivers
926040             Overtime       5.00   30.00 10/05/2015 Los Angeles CA West - Drivers
926040             Regular       39.00   20.00 10/12/2015 Los Angeles CA West - Drivers
926040             Overtime       9.75   30.00 10/12/2015 Los Angeles CA West - Drivers
926040             Regular       32.00   20.00 10/19/2015 Los Angeles CA West - Drivers
926040             Overtime      11.25   30.00 10/19/2015 Los Angeles CA West - Drivers
926040             Regular       40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
926040             Overtime      16.00   30.00 10/26/2015 Los Angeles CA West - Drivers
926040             Regular       40.00   20.00 11/02/2015 Los Angeles CA West - Drivers
926040             Overtime       8.50   30.00 11/02/2015 Los Angeles CA West - Drivers
926040             Regular       40.00   20.00 11/09/2015 Los Angeles CA West - Drivers
926040             Overtime      14.50   30.00 11/09/2015 Los Angeles CA West - Drivers
926040   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         20.00 38-5    Filed Los
                                                 11/16/2015  03/22/21
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                                                                        CA West   of 691 Page ID
926040              Overtime     12.25   30.00 #:1093
                                                 11/16/2015 Los Angeles CA West - Drivers
926040              Regular        40.00    20.00   11/23/2015   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.00    30.00   11/23/2015   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   11/30/2015   Los   Angeles   CA   West   - Drivers
926040              Overtime       18.25    30.00   11/30/2015   Los   Angeles   CA   West   - Drivers
926040              Regular        39.00    20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.00    30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
926040              Overtime       15.50    30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.00    30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   12/28/2015   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.00   12/28/2015   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       16.00    30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       16.25    30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.50    30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       15.25    30.00   01/25/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.75    30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   02/08/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.50    30.00   02/08/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   02/15/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.25    30.00   02/15/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.00    30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        30.00    20.00   02/29/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.75    30.00   02/29/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        39.50    20.00   03/07/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        2.75    30.00   03/07/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        36.75    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.50    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.50    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        39.25    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.75    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.25    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        30.50    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.50    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        31.00    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.00    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        31.75    20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.50    30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       16.25    30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        34.25    20.25   05/30/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.38   05/30/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       14.75    30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   06/13/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.50    30.38   06/13/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
926040   Case 2:19-cv-08580-JFW-MAA
                    Overtime      4.75Document
                                         30.38 38-5    Filed Los
                                                 06/20/2016  03/22/21
                                                                 AngelesPage 321- Drivers
                                                                        CA West   of 691 Page ID
926040              Regular      40.00   20.25 #:1094
                                                 06/27/2016 Los Angeles CA West - Drivers
926040              Overtime        8.00    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.75    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        36.25    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        1.00    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.25    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.75    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        41.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       16.00    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        2.50    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.75    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.00    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.00    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        31.75    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.75    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.75    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        31.75    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        2.50    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.00    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.75    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        39.75    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.75    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.50    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.25    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.25    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.75    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.00    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.50    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        39.75    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.75    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.00    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime       25.25    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.75    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.00    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        38.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.75    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.25    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.50    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
926040   Case 2:19-cv-08580-JFW-MAA
                    Regular      32.00Document
                                         20.25 38-5    Filed Los
                                                 01/30/2017  03/22/21
                                                                 AngelesPage 322- Drivers
                                                                        CA West   of 691 Page ID
926040              Overtime      4.25   30.38 #:1095
                                                 01/30/2017 Los Angeles CA West - Drivers
926040              Regular        23.75    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         2.25   30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         4.00   30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
926040              Regular          8.00   20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         2.50   30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         2.25   30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         5.00   30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         5.25   30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         5.00   30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         5.75   30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        31.25    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         4.00   30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         7.50   30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         4.75   30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         8.00   30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.75    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.00    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.50    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         7.75   30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         8.75   30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       17.50    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         6.75   30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        14.75    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         1.75   30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        23.00    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         4.75   30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         5.75   30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       18.50    30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        39.75    20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        -4.75   30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   08/07/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.50    30.38   08/07/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   08/14/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         3.50   30.38   08/14/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        15.50    20.25   08/21/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime         2.50   30.38   08/21/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   08/28/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    30.38   08/28/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
926040   Case 2:19-cv-08580-JFW-MAA
                    Overtime     12.25Document
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                                                 09/04/2017  03/22/21
                                                                 AngelesPage 323- Drivers
                                                                        CA West   of 691 Page ID
926040              Regular       8.00   20.25 #:1096
                                                 09/11/2017 Los Angeles CA West - Drivers
926040              Overtime        2.50    30.38   09/11/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.00    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.00    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.50    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.50    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/16/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       19.00    30.38   10/16/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   10/23/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.00    30.38   10/23/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   10/30/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.50    30.38   10/30/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   11/06/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.25    30.38   11/06/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   11/13/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.00    30.38   11/13/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   11/20/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.25    30.38   11/20/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   11/27/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.00    30.38   11/27/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   12/04/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       21.30    30.38   12/04/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   12/11/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime       15.50    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.75    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
926040              Regular         8.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.50    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.50    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.00    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.50    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   01/22/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.75    30.38   01/22/2018   Los   Angeles   CA   West   - Drivers
926040              Regular         8.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        1.00    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.50    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.25    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.75    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.25    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        38.50    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.75    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        1.25    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        2.25    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        1.30    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        31.80    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.75    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.00    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
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                    Regular      24.00Document
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                                                                        CA West   of 691 Page ID
926040              Overtime      5.75   30.38 #:1097
                                                 04/16/2018 Los Angeles CA West - Drivers
926040              Regular        31.25    20.25   04/23/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.75    30.38   04/23/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.50    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.00    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        30.50    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.75    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.50    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.50    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        23.75    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.50    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.25    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       18.50    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.50    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        31.75    22.00   07/23/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.25    33.00   07/23/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        38.75    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.75    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.75    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.25    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.25    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        39.50    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.50    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        30.50    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.75    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        31.25    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.75    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.50    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        31.50    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.00    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        31.25    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.00    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.00    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       14.25    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       17.00    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        39.25    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.00    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.00    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        31.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.75    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       20.50    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.75    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
926040   Case 2:19-cv-08580-JFW-MAA
                    Overtime      9.75Document
                                         33.00 38-5    Filed Los
                                                 12/10/2018  03/22/21
                                                                 AngelesPage 325- Drivers
                                                                        CA West   of 691 Page ID
926040              Regular      40.00   22.00 #:1098
                                                 12/17/2018 Los Angeles CA West - Drivers
926040              Overtime       20.75    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.75    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.00    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       19.25    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        37.50    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       19.00    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.75    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.00    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.75    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        39.25    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       13.50    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       17.00    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       12.75    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        5.00    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        4.25    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.00    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.50    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
926040              Regular         8.00    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        0.75    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       10.50    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        8.50    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.75    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       14.00    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        6.75    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        16.00    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        2.00    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        31.75    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.50    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        3.75    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        28.25    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        1.25    33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        15.75    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        0.50    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        28.25    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        1.00    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.50    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        24.00    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        7.25    33.00   07/01/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime        9.00    33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
926040              Regular        32.00    22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
926040              Overtime       11.50    33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
926040 Case 2:19-cv-08580-JFW-MAA
                  Regular       30.00Document
                                        22.00 38-5    Filed Los
                                                07/22/2019  03/22/21
                                                                AngelesPage 326- Drivers
                                                                       CA West   of 691    Page ID
926040            Overtime       7.50   33.00 #:1099
                                                07/22/2019 Los Angeles CA West - Drivers
926040            Regular       30.25   22.00 07/29/2019 Los Angeles CA West - Drivers
926040            Overtime       6.25   33.00 07/29/2019 Los Angeles CA West - Drivers
926040            Regular       30.75   22.00 08/05/2019 Los Angeles CA West - Drivers
926040            Overtime       4.75   33.00 08/05/2019 Los Angeles CA West - Drivers
926040            Regular       30.75   22.00 08/12/2019 Los Angeles CA West - Drivers
926040            Overtime       6.50   33.00 08/12/2019 Los Angeles CA West - Drivers
926040            Regular       16.00   22.00 08/19/2019 Los Angeles CA West - Drivers
926040            Overtime       5.00   33.00 08/19/2019 Los Angeles CA West - Drivers
926040            Regular       32.00   22.00 08/26/2019 Los Angeles CA West - Drivers
926040            Overtime       9.50   33.00 08/26/2019 Los Angeles CA West - Drivers
926040            Regular       33.00   22.00 09/02/2019 Los Angeles CA West - Drivers
926040            Overtime       7.00   33.00 09/02/2019 Los Angeles CA West - Drivers
926040            Regular       15.50   20.00 06/11/2018 Los Angeles CA West - Drivers
926040            Overtime       3.00   30.00 06/11/2018 Los Angeles CA West - Drivers
Total for 926040             8,615.40
2539747           Regular       40.00   16.00 06/11/2018 Los Angeles CA West - Drivers
2539747           Overtime       8.00   24.00 06/11/2018 Los Angeles CA West - Drivers
2539747           Regular       40.00   16.00 06/18/2018 Los Angeles CA West - Drivers
2539747           Overtime      11.00   24.00 06/18/2018 Los Angeles CA West - Drivers
2539747           Regular       40.00   16.00 06/25/2018 Los Angeles CA West - Drivers
2539747           Overtime      11.00   24.00 06/25/2018 Los Angeles CA West - Drivers
2539747           Regular       72.00   16.00 07/09/2018 Los Angeles CA West - Drivers
2539747           Overtime      18.47   24.00 07/09/2018 Los Angeles CA West - Drivers
2539747           Regular       32.00   16.00 07/16/2018 Los Angeles CA West - Drivers
2539747           Overtime       8.50   24.00 07/16/2018 Los Angeles CA West - Drivers
2539747           Regular       72.00   16.00 07/23/2018 Los Angeles CA West - Drivers
2539747           Overtime      23.33   24.00 07/23/2018 Los Angeles CA West - Drivers
2539747           Regular       40.00   18.00 08/06/2018 Los Angeles CA West - Drivers
2539747           Overtime      10.25   27.00 08/06/2018 Los Angeles CA West - Drivers
2539747           Regular       32.00   18.00 08/13/2018 Los Angeles CA West - Drivers
2539747           Overtime       9.42   27.00 08/13/2018 Los Angeles CA West - Drivers
2539747           Regular       39.78   18.00 08/20/2018 Los Angeles CA West - Drivers
2539747           Overtime       6.52   27.00 08/20/2018 Los Angeles CA West - Drivers
2539747           Regular       39.82   18.00 08/27/2018 Los Angeles CA West - Drivers
2539747           Overtime       9.15   27.00 08/27/2018 Los Angeles CA West - Drivers
2539747           Regular       32.00   18.00 09/03/2018 Los Angeles CA West - Drivers
2539747           Overtime       6.88   27.00 09/03/2018 Los Angeles CA West - Drivers
2539747           Regular       32.00   18.00 09/10/2018 Los Angeles CA West - Drivers
2539747           Overtime       8.27   27.00 09/10/2018 Los Angeles CA West - Drivers
2539747           Regular       34.60   18.00 09/17/2018 Los Angeles CA West - Drivers
2539747           Overtime       7.08   27.00 09/17/2018 Los Angeles CA West - Drivers
2539747           Regular       40.00   18.00 09/24/2018 Los Angeles CA West - Drivers
2539747           Overtime       8.50   27.00 09/24/2018 Los Angeles CA West - Drivers
2539747           Regular       50.00   19.00 01/14/2019 Los Angeles CA West - Drivers
2539747           Regular       31.50   19.00 01/21/2019 Los Angeles CA West - Drivers
Total for 2539747              814.07
2271864           Regular       32.00   19.00 06/12/2017 Los Angeles CA West - Drivers
2271864           Overtime      19.50   28.50 06/12/2017 Los Angeles CA West - Drivers
2271864           Regular       40.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2271864           Overtime      18.25   28.50 06/19/2017 Los Angeles CA West - Drivers
2271864           Regular       30.75   19.00 06/26/2017 Los Angeles CA West - Drivers
2271864           Overtime       6.25   28.50 06/26/2017 Los Angeles CA West - Drivers
2271864           Regular       16.00   19.00 07/03/2017 Los Angeles CA West - Drivers
2271864           Overtime       5.50   28.50 07/03/2017 Los Angeles CA West - Drivers
2271864           Regular       32.00   19.00 07/10/2017 Los Angeles CA West - Drivers
2271864           Overtime       9.00   28.50 07/10/2017 Los Angeles CA West - Drivers
2271864           Regular       26.00   19.00 07/17/2017 Los Angeles CA West - Drivers
2271864           Overtime       7.50   28.50 07/17/2017 Los Angeles CA West - Drivers
2271864           Regular        8.00   20.00 02/05/2018 Los Angeles CA West - Drivers
2271864           Overtime       2.00   30.00 02/05/2018 Los Angeles CA West - Drivers
2271864           Regular       40.00   20.00 02/12/2018 Los Angeles CA West - Drivers
2271864 Case 2:19-cv-08580-JFW-MAA
                   Overtime     14.25Document
                                        30.00 38-5    Filed Los
                                                02/12/2018  03/22/21
                                                                AngelesPage 327- Drivers
                                                                       CA West   of 691    Page ID
2271864            Regular      32.00   20.00 #:1100
                                                02/19/2018 Los Angeles CA West - Drivers
2271864            Overtime     10.00   30.00 02/19/2018 Los Angeles CA West - Drivers
2271864            Regular       1.75   12.00 08/14/2017 Los Angeles CA West - Drivers
2271864            Regular      16.00   19.00 06/05/2017 Los Angeles CA West - Drivers
2271864            Overtime      1.50   28.50 06/05/2017 Los Angeles CA West - Drivers
Total for 2271864              368.25
1369619            Regular      12.25   20.00 10/08/2018 Phoenix AZ - Drivers
Total for 1369619               12.25
531355             Regular      27.00   20.00 04/08/2019 Los Angeles CA East - Drivers
Total for 531355                27.00
1397206            Regular      24.00   20.00 01/16/2017 Los Angeles CA West - Drivers
1397206            Overtime     13.50   30.00 01/16/2017 Los Angeles CA West - Drivers
1397206            Regular      32.00   20.00 01/23/2017 Los Angeles CA West - Drivers
1397206            Overtime      8.25   30.00 01/23/2017 Los Angeles CA West - Drivers
1397206            Regular      24.00   20.00 01/30/2017 Los Angeles CA West - Drivers
1397206            Overtime      8.25   30.00 01/30/2017 Los Angeles CA West - Drivers
1397206            Regular      32.00   20.00 02/06/2017 Los Angeles CA West - Drivers
1397206            Overtime      6.50   30.00 02/06/2017 Los Angeles CA West - Drivers
1397206            Regular      32.00   20.00 02/13/2017 Los Angeles CA West - Drivers
1397206            Overtime      7.00   30.00 02/13/2017 Los Angeles CA West - Drivers
1397206            Regular       8.00   20.00 02/20/2017 Los Angeles CA West - Drivers
1397206            Overtime      0.75   30.00 02/20/2017 Los Angeles CA West - Drivers
1397206            Regular      24.00   20.00 02/27/2017 Los Angeles CA West - Drivers
1397206            Overtime      6.50   30.00 02/27/2017 Los Angeles CA West - Drivers
1397206            Regular      16.00   20.00 03/06/2017 Los Angeles CA West - Drivers
1397206            Overtime      4.25   30.00 03/06/2017 Los Angeles CA West - Drivers
1397206            Regular      24.00   20.00 03/13/2017 Los Angeles CA West - Drivers
1397206            Overtime      6.75   30.00 03/13/2017 Los Angeles CA West - Drivers
1397206            Regular      15.75   20.00 03/20/2017 Los Angeles CA West - Drivers
1397206            Overtime      1.75   30.00 03/20/2017 Los Angeles CA West - Drivers
1397206            Regular      32.00   20.00 03/27/2017 Los Angeles CA West - Drivers
1397206            Overtime      7.00   30.00 03/27/2017 Los Angeles CA West - Drivers
1397206            Regular      22.75   20.00 04/10/2017 Los Angeles CA West - Drivers
1397206            Overtime      1.50   30.00 04/10/2017 Los Angeles CA West - Drivers
1397206            Regular       8.00   20.00 04/17/2017 Los Angeles CA West - Drivers
1397206            Overtime      1.00   30.00 04/17/2017 Los Angeles CA West - Drivers
1397206            Regular      40.00   19.00 05/22/2017 Los Angeles CA West - Drivers
1397206            Overtime      0.75   28.50 05/22/2017 Los Angeles CA West - Drivers
1397206            Regular      30.00   19.00 05/29/2017 Los Angeles CA West - Drivers
1397206            Overtime      0.25   28.50 05/29/2017 Los Angeles CA West - Drivers
1397206            Regular      30.50   19.00 06/05/2017 Los Angeles CA West - Drivers
1397206            Overtime      0.50   28.50 06/05/2017 Los Angeles CA West - Drivers
Total for 1397206              469.50
2538865            Regular      29.50   19.50 06/11/2018 Los Angeles CA East - Drivers
2538865            Overtime      3.00   29.25 06/11/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   19.50 06/18/2018 Los Angeles CA East - Drivers
2538865            Overtime     11.50   29.25 06/18/2018 Los Angeles CA East - Drivers
2538865            Regular      16.00   19.50 06/25/2018 Los Angeles CA East - Drivers
2538865            Overtime      2.25   29.25 06/25/2018 Los Angeles CA East - Drivers
2538865            Regular      16.00   19.50 07/02/2018 Los Angeles CA East - Drivers
2538865            Overtime      7.00   29.25 07/02/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   20.00 07/09/2018 Los Angeles CA East - Drivers
2538865            Overtime      9.00   30.00 07/09/2018 Los Angeles CA East - Drivers
2538865            Regular      32.00   20.00 07/16/2018 Los Angeles CA East - Drivers
2538865            Overtime      9.00   30.00 07/16/2018 Los Angeles CA East - Drivers
2538865            Regular      32.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2538865            Overtime     10.00   30.00 07/23/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   20.00 07/30/2018 Los Angeles CA East - Drivers
2538865            Overtime     14.00   30.00 07/30/2018 Los Angeles CA East - Drivers
2538865            Regular      32.00   20.00 08/06/2018 Los Angeles CA East - Drivers
2538865            Overtime     10.00   30.00 08/06/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   20.00 08/13/2018 Los Angeles CA East - Drivers
2538865 Case 2:19-cv-08580-JFW-MAA
                   Overtime      8.50Document
                                        30.00 38-5    Filed Los
                                                08/13/2018  03/22/21
                                                                AngelesPage 328
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2538865            Regular      39.00   20.00 #:1101
                                                08/20/2018 Los Angeles CA East - Drivers
2538865            Overtime      7.00   30.00 08/20/2018 Los Angeles CA East - Drivers
2538865            Regular      38.50   20.00 08/27/2018 Los Angeles CA East - Drivers
2538865            Overtime     16.00   30.00 08/27/2018 Los Angeles CA East - Drivers
2538865            Regular      32.00   20.00 09/03/2018 Los Angeles CA East - Drivers
2538865            Overtime     16.00   30.00 09/03/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   20.00 09/10/2018 Los Angeles CA East - Drivers
2538865            Overtime      8.00   30.00 09/10/2018 Los Angeles CA East - Drivers
2538865            Regular      34.50   20.00 09/17/2018 Los Angeles CA East - Drivers
2538865            Overtime      5.00   30.00 09/17/2018 Los Angeles CA East - Drivers
2538865            Regular      32.00   20.00 09/24/2018 Los Angeles CA East - Drivers
2538865            Overtime      4.00   30.00 09/24/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   20.00 10/01/2018 Los Angeles CA East - Drivers
2538865            Regular      36.00   20.00 10/08/2018 Los Angeles CA East - Drivers
2538865            Overtime      5.00   30.00 10/08/2018 Los Angeles CA East - Drivers
2538865            Regular      36.00   20.00 10/22/2018 Los Angeles CA East - Drivers
2538865            Overtime     14.75   30.00 10/22/2018 Los Angeles CA East - Drivers
2538865            Regular      40.00   20.00 10/29/2018 Los Angeles CA East - Drivers
2538865            Overtime      7.50   30.00 10/29/2018 Los Angeles CA East - Drivers
2538865            Regular      24.00   20.00 11/05/2018 Los Angeles CA East - Drivers
2538865            Overtime      8.00   30.00 11/05/2018 Los Angeles CA East - Drivers
2538865            Regular       8.00   20.50 06/11/2018 Los Angeles CA East - Drivers
2538865            Overtime      3.50   30.75 06/11/2018 Los Angeles CA East - Drivers
Total for 2538865              896.50
1398221            Regular      34.50   19.00 11/28/2016 Los Angeles CA East - Drivers
1398221            Overtime      0.25   28.50 11/28/2016 Los Angeles CA East - Drivers
Total for 1398221               34.75
2596875            Regular       2.00   21.00 09/17/2018 Sacramento CA - Drivers
2596875            Regular       8.00   21.00 09/24/2018 Sacramento CA - Drivers
2596875            Overtime      2.00   31.50 09/24/2018 Sacramento CA - Drivers
Total for 2596875               12.00
2143212            Regular      30.00   20.98 12/19/2016 Sacramento CA - Drivers
2143212            Regular      12.50   21.21 12/10/2018 Sacramento CA - Drivers
2143212            Regular      24.50   21.21 12/17/2018 Sacramento CA - Drivers
2143212            Regular       8.50   21.21 02/04/2019 Sacramento CA - Drivers
2143212            Regular      18.75   20.98 02/25/2019 Sacramento CA - Drivers
2143212            Regular      12.50   21.21 08/05/2019 Sacramento CA - Drivers
2143212            Regular      24.25   20.98 08/26/2019 Sacramento CA - Drivers
2143212            Regular       8.00   20.98 09/02/2019 Sacramento CA - Drivers
2143212            Regular      24.00   27.00 04/22/2019 Sacramento CA - Drivers
2143212            Overtime      4.75   40.50 04/22/2019 Sacramento CA - Drivers
2143212            Regular       8.00   27.00 05/06/2019 Sacramento CA - Drivers
2143212            Overtime      2.50   40.50 05/06/2019 Sacramento CA - Drivers
2143212            Regular      24.00   27.00 05/13/2019 Sacramento CA - Drivers
2143212            Overtime      5.00   40.50 05/13/2019 Sacramento CA - Drivers
2143212            Regular      16.00   27.00 06/10/2019 Sacramento CA - Drivers
2143212            Overtime      4.25   40.50 06/10/2019 Sacramento CA - Drivers
2143212            Regular      40.00   27.00 08/12/2019 Sacramento CA - Drivers
2143212            Overtime     12.50   40.50 08/12/2019 Sacramento CA - Drivers
2143212            Regular       5.00   23.00 02/18/2019 Sacramento CA - Drivers
2143212            Regular      16.00   23.00 02/25/2019 Sacramento CA - Drivers
2143212            Overtime      7.00   34.50 02/25/2019 Sacramento CA - Drivers
2143212            Regular      16.00   23.00 03/04/2019 Sacramento CA - Drivers
2143212            Overtime      7.00   34.50 03/04/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 03/18/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 03/18/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 03/25/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 03/25/2019 Sacramento CA - Drivers
2143212            Regular      16.00   23.00 04/15/2019 Sacramento CA - Drivers
2143212            Overtime      7.00   34.50 04/15/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 05/20/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 05/20/2019 Sacramento CA - Drivers
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                   Regular      16.00Document
                                        23.00 38-5    Filed Sacramento
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                                                                       CA - Drivers       Page ID
2143212            Overtime      7.00   34.50 #:1102
                                                05/27/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 06/03/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 06/03/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 06/10/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 06/10/2019 Sacramento CA - Drivers
2143212            Regular      16.00   23.00 06/17/2019 Sacramento CA - Drivers
2143212            Overtime      7.00   34.50 06/17/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 06/24/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 06/24/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 07/01/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 07/01/2019 Sacramento CA - Drivers
2143212            Regular      16.00   23.00 07/08/2019 Sacramento CA - Drivers
2143212            Overtime      7.00   34.50 07/08/2019 Sacramento CA - Drivers
2143212            Regular       8.00   23.00 07/15/2019 Sacramento CA - Drivers
2143212            Overtime      3.50   34.50 07/15/2019 Sacramento CA - Drivers
2143212            Regular      16.00   23.00 07/29/2019 Sacramento CA - Drivers
2143212            Overtime      7.00   34.50 07/29/2019 Sacramento CA - Drivers
2143212            Regular       8.00   21.50 01/21/2019 Sacramento CA - Drivers
Total for 2143212              546.00
2591565            Regular      28.00   20.50 12/10/2018 Los Angeles CA West - Drivers
2591565            Overtime      8.00   30.75 12/10/2018 Los Angeles CA West - Drivers
2591565            Regular      16.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2591565            Regular       8.00   20.50 02/04/2019 Los Angeles CA West - Drivers
2591565            Regular      10.67   21.85 09/10/2018 Los Angeles CA West - Drivers
2591565            Regular      16.00   21.00 09/17/2018 Los Angeles CA West - Drivers
2591565            Regular      16.00   21.00 09/24/2018 Los Angeles CA West - Drivers
2591565            Overtime      1.50   31.50 09/24/2018 Los Angeles CA West - Drivers
2591565            Regular       8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2591565            Overtime      3.50   30.00 09/24/2018 Los Angeles CA West - Drivers
2591565            Regular      40.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2591565            Overtime     10.50   30.00 10/01/2018 Los Angeles CA West - Drivers
2591565            Regular      40.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2591565            Overtime     12.00   30.00 10/08/2018 Los Angeles CA West - Drivers
2591565            Regular      32.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2591565            Overtime     14.00   30.00 10/15/2018 Los Angeles CA West - Drivers
2591565            Regular      24.00   20.00 10/22/2018 Los Angeles CA West - Drivers
2591565            Overtime      9.00   30.00 10/22/2018 Los Angeles CA West - Drivers
2591565            Regular      37.50   21.00 09/03/2018 Los Angeles CA West - Drivers
2591565            Regular      37.50   21.00 11/12/2018 Los Angeles CA West - Drivers
Total for 2591565              372.17
1349409            Regular      11.75   20.00 08/01/2016 Sacramento CA - Drivers
Total for 1349409               11.75
1369726            Regular       8.00   18.00 08/15/2016 Sacramento CA - Drivers
1369726            Overtime      4.00   27.00 08/15/2016 Sacramento CA - Drivers
1369726            Regular       8.00   18.00 08/22/2016 Sacramento CA - Drivers
1369726            Overtime      4.00   27.00 08/22/2016 Sacramento CA - Drivers
1369726            Regular      16.00   18.00 08/29/2016 Sacramento CA - Drivers
1369726            Overtime      7.00   27.00 08/29/2016 Sacramento CA - Drivers
1369726            Regular      24.00   18.00 09/05/2016 Sacramento CA - Drivers
1369726            Overtime     11.00   27.00 09/05/2016 Sacramento CA - Drivers
1369726            Regular      36.00   18.00 09/12/2016 Sacramento CA - Drivers
1369726            Overtime     12.00   27.00 09/12/2016 Sacramento CA - Drivers
1369726            Regular       8.00   18.00 09/19/2016 Sacramento CA - Drivers
1369726            Overtime      4.00   27.00 09/19/2016 Sacramento CA - Drivers
1369726            Regular      32.00   18.00 09/26/2016 Sacramento CA - Drivers
1369726            Overtime      9.50   27.00 09/26/2016 Sacramento CA - Drivers
1369726            Regular      32.00   18.00 10/03/2016 Sacramento CA - Drivers
1369726            Overtime      6.50   27.00 10/03/2016 Sacramento CA - Drivers
1369726            Regular      24.00   18.00 10/10/2016 Sacramento CA - Drivers
1369726            Overtime      8.00   27.00 10/10/2016 Sacramento CA - Drivers
1369726            Regular      32.00   18.00 10/17/2016 Sacramento CA - Drivers
1369726            Overtime      9.00   27.00 10/17/2016 Sacramento CA - Drivers
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                   Regular      22.50Document
                                        18.00 38-5    Filed Sacramento
                                                11/21/2016  03/22/21 Page    330 of 691
                                                                       CA - Drivers       Page ID
1369726            Overtime      7.00   27.00 #:1103
                                                11/21/2016 Sacramento CA - Drivers
Total for 1369726              324.50
920867             Regular      24.00   19.00 08/17/2015 Los Angeles CA East - Drivers
920867             Regular      26.50   19.00 08/31/2015 Los Angeles CA East - Drivers
920867             Regular      22.75   19.00 09/07/2015 Los Angeles CA East - Drivers
920867             Regular      19.00   19.00 09/14/2015 Los Angeles CA East - Drivers
920867             Regular      28.50   19.00 09/21/2015 Los Angeles CA East - Drivers
920867             Regular       9.00   19.00 09/28/2015 Los Angeles CA East - Drivers
920867             Regular      10.50   19.00 10/05/2015 Los Angeles CA East - Drivers
920867             Regular       7.00   19.00 10/05/2015 Los Angeles CA East - Drivers
920867             Regular      17.00   19.00 10/19/2015 Los Angeles CA East - Drivers
Total for 920867               164.25
2590014            Regular       8.00   21.00 08/27/2018 Sacramento CA - Drivers
2590014            Overtime      2.00   31.50 08/27/2018 Sacramento CA - Drivers
Total for 2590014               10.00
1463722            Regular      54.00   21.85 12/05/2016 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 12/12/2016 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 12/19/2016 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 12/26/2016 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 01/02/2017 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 01/09/2017 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 02/20/2017 Los Angeles CA West - Drivers
1463722            Regular      54.00   21.85 02/27/2017 Los Angeles CA West - Drivers
1463722            Regular       8.00   19.00 01/23/2017 Los Angeles CA West - Drivers
1463722            Overtime      3.00   28.50 01/23/2017 Los Angeles CA West - Drivers
1463722            Regular       8.00   19.00 03/13/2017 Los Angeles CA West - Drivers
1463722            Regular      14.00   19.00 01/23/2017 Los Angeles CA West - Drivers
1463722            Overtime      4.00   28.50 01/23/2017 Los Angeles CA West - Drivers
1463722            Regular       8.00   19.00 01/30/2017 Los Angeles CA West - Drivers
Total for 1463722              477.00
2387569            Regular      40.00   22.50 05/27/2019 Phoenix AZ - Drivers
2387569            Overtime      1.25   33.75 05/27/2019 Phoenix AZ - Drivers
2387569            Regular      37.75   22.50 06/03/2019 Phoenix AZ - Drivers
2387569            Regular      32.00   22.50 06/10/2019 Phoenix AZ - Drivers
2387569            Overtime      4.25   33.75 06/10/2019 Phoenix AZ - Drivers
2387569            Regular      40.00   22.50 06/17/2019 Phoenix AZ - Drivers
2387569            Overtime     12.50   33.75 06/17/2019 Phoenix AZ - Drivers
2387569            Regular      36.75   22.50 06/24/2019 Phoenix AZ - Drivers
2387569            Regular      40.00   22.50 07/01/2019 Phoenix AZ - Drivers
2387569            Overtime      3.00   33.75 07/01/2019 Phoenix AZ - Drivers
2387569            Regular      22.50   22.50 07/08/2019 Phoenix AZ - Drivers
2387569            Regular       8.00   22.00 05/13/2019 Phoenix AZ - Drivers
2387569            Overtime      4.00   33.00 05/13/2019 Phoenix AZ - Drivers
2387569            Regular       2.00   25.00 11/12/2018 Phoenix AZ - Drivers
2387569            Regular      32.00   25.00 11/19/2018 Phoenix AZ - Drivers
2387569            Overtime      2.00   37.50 11/19/2018 Phoenix AZ - Drivers
2387569            Regular      32.00   25.00 11/26/2018 Phoenix AZ - Drivers
2387569            Overtime     11.50   37.50 11/26/2018 Phoenix AZ - Drivers
2387569            Regular      40.00   25.00 12/03/2018 Phoenix AZ - Drivers
2387569            Overtime     12.00   37.50 12/03/2018 Phoenix AZ - Drivers
2387569            Regular      40.00   25.00 12/10/2018 Phoenix AZ - Drivers
2387569            Overtime     10.75   37.50 12/10/2018 Phoenix AZ - Drivers
2387569            Regular      32.00   25.00 12/17/2018 Phoenix AZ - Drivers
2387569            Overtime      8.00   37.50 12/17/2018 Phoenix AZ - Drivers
2387569            Regular      24.00   25.00 12/24/2018 Phoenix AZ - Drivers
2387569            Overtime      2.50   37.50 12/24/2018 Phoenix AZ - Drivers
2387569            Regular      32.00   25.00 12/31/2018 Phoenix AZ - Drivers
2387569            Overtime      6.50   37.50 12/31/2018 Phoenix AZ - Drivers
2387569            Regular      32.00   25.00 01/07/2019 Phoenix AZ - Drivers
2387569            Overtime      1.50   37.50 01/07/2019 Phoenix AZ - Drivers
2387569            Regular      40.00   25.00 01/14/2019 Phoenix AZ - Drivers
2387569            Overtime      2.25   37.50 01/14/2019 Phoenix AZ - Drivers
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                     Regular      40.00Document
                                          25.00 38-5    Filed Phoenix
                                                  01/21/2019  03/22/21AZ -Page   331 of 691 Page ID
                                                                           Drivers
2387569              Overtime      6.75   37.50 #:1104
                                                  01/21/2019 Phoenix AZ - Drivers
2387569              Regular        32.00    25.00   01/28/2019   Phoenix   AZ - Drivers
2387569              Overtime        1.50    37.50   01/28/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   02/04/2019   Phoenix   AZ - Drivers
2387569              Overtime        7.50    37.50   02/04/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   02/11/2019   Phoenix   AZ - Drivers
2387569              Overtime        7.50    37.50   02/11/2019   Phoenix   AZ - Drivers
2387569              Regular        32.00    25.00   02/18/2019   Phoenix   AZ - Drivers
2387569              Overtime        5.50    37.50   02/18/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   02/25/2019   Phoenix   AZ - Drivers
2387569              Overtime        4.00    37.50   02/25/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   03/04/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   03/11/2019   Phoenix   AZ - Drivers
2387569              Overtime        4.00    37.50   03/11/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   03/18/2019   Phoenix   AZ - Drivers
2387569              Overtime        5.25    37.50   03/18/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    25.00   03/25/2019   Phoenix   AZ - Drivers
2387569              Overtime        6.25    37.50   03/25/2019   Phoenix   AZ - Drivers
2387569              Regular        32.00    25.00   04/01/2019   Phoenix   AZ - Drivers
2387569              Regular         7.00    22.11   03/05/2018   Phoenix   AZ - Drivers
2387569              Regular         6.75    21.21   04/01/2019   Phoenix   AZ - Drivers
2387569              Regular        12.50    20.98   04/15/2019   Phoenix   AZ - Drivers
2387569              Regular        66.00    20.98   04/22/2019   Phoenix   AZ - Drivers
2387569              Regular         5.25    20.98   04/29/2019   Phoenix   AZ - Drivers
2387569              Regular        20.00    20.98   05/06/2019   Phoenix   AZ - Drivers
2387569              Regular         6.75    21.21   05/13/2019   Phoenix   AZ - Drivers
2387569              Regular        11.50    21.21   07/15/2019   Phoenix   AZ - Drivers
2387569              Regular        14.25    21.21   07/22/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   12/04/2017   Phoenix   AZ - Drivers
2387569              Overtime        7.75    29.63   12/04/2017   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   12/11/2017   Phoenix   AZ - Drivers
2387569              Overtime       19.00    29.63   12/11/2017   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   12/18/2017   Phoenix   AZ - Drivers
2387569              Overtime       13.50    29.63   12/18/2017   Phoenix   AZ - Drivers
2387569              Regular        28.00    19.75   12/25/2017   Phoenix   AZ - Drivers
2387569              Overtime        9.25    29.63   12/25/2017   Phoenix   AZ - Drivers
2387569              Regular        24.00    19.75   01/01/2018   Phoenix   AZ - Drivers
2387569              Overtime        8.00    29.63   01/01/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   01/08/2018   Phoenix   AZ - Drivers
2387569              Overtime        5.50    29.63   01/08/2018   Phoenix   AZ - Drivers
2387569              Regular        32.00    19.75   01/15/2018   Phoenix   AZ - Drivers
2387569              Overtime        4.00    29.63   01/15/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   01/22/2018   Phoenix   AZ - Drivers
2387569              Overtime       11.75    29.63   01/22/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   01/29/2018   Phoenix   AZ - Drivers
2387569              Overtime       13.75    29.63   01/29/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.75   02/05/2018   Phoenix   AZ - Drivers
2387569              Overtime       17.00    29.63   02/05/2018   Phoenix   AZ - Drivers
2387569              Regular        32.00    19.75   02/12/2018   Phoenix   AZ - Drivers
2387569              Overtime       10.75    29.63   02/12/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    23.50   10/16/2017   Phoenix   AZ - Drivers
2387569              Overtime        8.00    35.25   10/16/2017   Phoenix   AZ - Drivers
2387569              Regular         8.00    23.50   10/23/2017   Phoenix   AZ - Drivers
2387569              Regular         8.00    21.00   04/29/2019   Phoenix   AZ - Drivers
2387569              Overtime        4.00    31.50   04/29/2019   Phoenix   AZ - Drivers
2387569              Regular        16.00    23.00   04/08/2019   Phoenix   AZ - Drivers
2387569              Overtime        7.00    34.50   04/08/2019   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.00   03/26/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.00   04/02/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.00   04/09/2018   Phoenix   AZ - Drivers
2387569              Overtime        0.50    28.50   04/09/2018   Phoenix   AZ - Drivers
2387569              Regular        40.00    19.00   04/16/2018   Phoenix   AZ - Drivers
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                   Regular       40.00Document
                                         19.00 38-5    Filed Phoenix
                                                 04/23/2018  03/22/21AZ -Page   332 of
                                                                          Drivers        691 Page ID
2387569            Regular       40.00   19.00 #:1105
                                                 04/30/2018 Phoenix AZ - Drivers
2387569            Regular       40.00   19.00 05/07/2018 Phoenix AZ - Drivers
2387569            Overtime       2.00   28.50 05/07/2018 Phoenix AZ - Drivers
2387569            Regular       40.00   19.00 05/14/2018 Phoenix AZ - Drivers
2387569            Overtime       3.00   28.50 05/14/2018 Phoenix AZ - Drivers
2387569            Regular       32.00   19.00 05/21/2018 Phoenix AZ - Drivers
2387569            Overtime       3.00   28.50 05/21/2018 Phoenix AZ - Drivers
2387569            Regular       35.00   19.00 10/30/2017 Phoenix AZ - Drivers
2387569            Overtime      11.25   28.50 10/30/2017 Phoenix AZ - Drivers
2387569            Regular       40.00   20.00 11/06/2017 Phoenix AZ - Drivers
2387569            Overtime      10.25   30.00 11/06/2017 Phoenix AZ - Drivers
2387569            Regular       40.00   20.00 11/13/2017 Phoenix AZ - Drivers
2387569            Overtime      11.25   30.00 11/13/2017 Phoenix AZ - Drivers
2387569            Regular       24.00   20.00 11/20/2017 Phoenix AZ - Drivers
2387569            Overtime       3.75   30.00 11/20/2017 Phoenix AZ - Drivers
2387569            Regular       25.00   20.00 11/27/2017 Phoenix AZ - Drivers
2387569            Overtime       7.00   30.00 11/27/2017 Phoenix AZ - Drivers
Total for 2387569             2,434.50
1310594            Regular        8.00   19.50 03/06/2017 Sacramento CA - Drivers
1310594            Regular       29.50   19.50 03/13/2017 Sacramento CA - Drivers
1310594            Overtime       3.25   29.25 03/13/2017 Sacramento CA - Drivers
1310594            Regular        8.00   19.50 03/20/2017 Sacramento CA - Drivers
1310594            Overtime       1.75   29.25 03/20/2017 Sacramento CA - Drivers
1310594            Regular       24.00   19.50 03/27/2017 Sacramento CA - Drivers
1310594            Overtime       3.75   29.25 03/27/2017 Sacramento CA - Drivers
1310594            Regular       35.00   19.50 04/03/2017 Sacramento CA - Drivers
1310594            Overtime       4.00   29.25 04/03/2017 Sacramento CA - Drivers
1310594            Regular       38.25   19.50 04/10/2017 Sacramento CA - Drivers
1310594            Overtime       5.00   29.25 04/10/2017 Sacramento CA - Drivers
1310594            Regular       35.00   19.50 04/17/2017 Sacramento CA - Drivers
1310594            Overtime       1.00   29.25 04/17/2017 Sacramento CA - Drivers
1310594            Regular       20.00   19.50 04/24/2017 Sacramento CA - Drivers
1310594            Overtime       5.25   29.25 04/24/2017 Sacramento CA - Drivers
1310594            Regular       34.50   19.50 05/01/2017 Sacramento CA - Drivers
1310594            Overtime       3.50   29.25 05/01/2017 Sacramento CA - Drivers
1310594            Regular       36.25   19.50 05/08/2017 Sacramento CA - Drivers
1310594            Overtime       6.25   29.25 05/08/2017 Sacramento CA - Drivers
1310594            Regular       24.00   19.50 05/15/2017 Sacramento CA - Drivers
1310594            Overtime       1.75   29.25 05/15/2017 Sacramento CA - Drivers
1310594            Regular       24.00   19.50 05/22/2017 Sacramento CA - Drivers
1310594            Overtime       6.00   29.25 05/22/2017 Sacramento CA - Drivers
1310594            Regular       23.75   19.50 05/29/2017 Sacramento CA - Drivers
1310594            Overtime      12.75   29.25 05/29/2017 Sacramento CA - Drivers
1310594            Regular       39.00   19.50 06/05/2017 Sacramento CA - Drivers
1310594            Overtime      11.75   29.25 06/05/2017 Sacramento CA - Drivers
1310594            Regular       32.00   19.50 06/12/2017 Sacramento CA - Drivers
1310594            Overtime       9.25   29.25 06/12/2017 Sacramento CA - Drivers
1310594            Regular       16.00   19.50 06/19/2017 Sacramento CA - Drivers
1310594            Overtime       3.75   29.25 06/19/2017 Sacramento CA - Drivers
1310594            Regular       32.00   19.50 06/26/2017 Sacramento CA - Drivers
1310594            Overtime       8.25   29.25 06/26/2017 Sacramento CA - Drivers
1310594            Regular       24.00   19.50 07/03/2017 Sacramento CA - Drivers
1310594            Overtime      14.25   29.25 07/03/2017 Sacramento CA - Drivers
1310594            Regular       30.50   19.50 07/10/2017 Sacramento CA - Drivers
1310594            Overtime       8.75   29.25 07/10/2017 Sacramento CA - Drivers
1310594            Regular       37.25   19.50 07/17/2017 Sacramento CA - Drivers
1310594            Overtime       4.25   29.25 07/17/2017 Sacramento CA - Drivers
1310594            Regular       22.00   19.50 07/24/2017 Sacramento CA - Drivers
1310594            Overtime       4.00   29.25 07/24/2017 Sacramento CA - Drivers
1310594            Regular       36.25   19.50 07/31/2017 Sacramento CA - Drivers
1310594            Overtime       9.50   29.25 07/31/2017 Sacramento CA - Drivers
1310594            Regular       40.00   19.50 08/07/2017 Sacramento CA - Drivers
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                   Overtime      15.00Document
                                         29.25 38-5    Filed Sacramento
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                                                                        CA - Drivers   691 Page ID
1310594            Regular       16.00   19.50 #:1106
                                                 08/14/2017 Sacramento CA - Drivers
1310594            Overtime       8.00   29.25 08/14/2017 Sacramento CA - Drivers
1310594            Regular        8.00   19.50 08/21/2017 Sacramento CA - Drivers
1310594            Overtime       2.00   29.25 08/21/2017 Sacramento CA - Drivers
1310594            Regular       48.00   19.50 08/28/2017 Sacramento CA - Drivers
1310594            Overtime      19.75   29.25 08/28/2017 Sacramento CA - Drivers
1310594            Regular       32.00   19.50 09/04/2017 Sacramento CA - Drivers
1310594            Overtime      20.25   29.25 09/04/2017 Sacramento CA - Drivers
1310594            Regular       32.00   19.50 09/11/2017 Sacramento CA - Drivers
1310594            Overtime      10.00   29.25 09/11/2017 Sacramento CA - Drivers
1310594            Regular       40.00   19.50 09/18/2017 Sacramento CA - Drivers
1310594            Overtime      11.00   29.25 09/18/2017 Sacramento CA - Drivers
1310594            Regular       40.00   19.50 09/25/2017 Sacramento CA - Drivers
1310594            Overtime      16.25   29.25 09/25/2017 Sacramento CA - Drivers
1310594            Regular       33.00   19.50 10/02/2017 Sacramento CA - Drivers
1310594            Overtime       7.50   29.25 10/02/2017 Sacramento CA - Drivers
1310594            Regular        8.00   19.50 10/09/2017 Sacramento CA - Drivers
1310594            Overtime       2.25   29.25 10/09/2017 Sacramento CA - Drivers
1310594            Regular       29.00   20.50 10/09/2017 Sacramento CA - Drivers
1310594            Overtime       8.25   30.75 10/09/2017 Sacramento CA - Drivers
1310594            Regular       33.00   20.50 10/16/2017 Sacramento CA - Drivers
1310594            Overtime      10.50   30.75 10/16/2017 Sacramento CA - Drivers
1310594            Regular       40.00   20.50 10/23/2017 Sacramento CA - Drivers
1310594            Overtime       6.50   30.75 10/23/2017 Sacramento CA - Drivers
1310594            Regular       41.00   20.50 10/30/2017 Sacramento CA - Drivers
1310594            Overtime      11.00   30.75 10/30/2017 Sacramento CA - Drivers
1310594            Regular       27.00   20.50 11/06/2017 Sacramento CA - Drivers
1310594            Overtime       7.00   30.75 11/06/2017 Sacramento CA - Drivers
1310594            Regular       32.80   20.50 11/13/2017 Sacramento CA - Drivers
1310594            Overtime       9.80   30.75 11/13/2017 Sacramento CA - Drivers
1310594            Regular       16.00   20.50 11/20/2017 Sacramento CA - Drivers
1310594            Overtime       6.50   30.75 11/20/2017 Sacramento CA - Drivers
1310594            Regular       40.00   20.50 11/27/2017 Sacramento CA - Drivers
1310594            Overtime      21.40   30.75 11/27/2017 Sacramento CA - Drivers
1310594            Regular       32.00   20.50 12/04/2017 Sacramento CA - Drivers
1310594            Overtime       6.40   30.75 12/04/2017 Sacramento CA - Drivers
1310594            Regular       32.00   20.50 12/11/2017 Sacramento CA - Drivers
1310594            Overtime       6.60   30.75 12/11/2017 Sacramento CA - Drivers
1310594            Regular       29.10   20.50 12/18/2017 Sacramento CA - Drivers
1310594            Overtime       6.90   30.75 12/18/2017 Sacramento CA - Drivers
1310594            Regular       32.00   20.50 12/25/2017 Sacramento CA - Drivers
1310594            Overtime       4.00   30.75 12/25/2017 Sacramento CA - Drivers
1310594            Regular       16.00   20.50 01/01/2018 Sacramento CA - Drivers
1310594            Overtime       5.80   30.75 01/01/2018 Sacramento CA - Drivers
1310594            Regular       20.00   20.50 01/08/2018 Sacramento CA - Drivers
1310594            Overtime       5.50   30.75 01/08/2018 Sacramento CA - Drivers
1310594            Regular       24.00   20.50 01/15/2018 Sacramento CA - Drivers
1310594            Overtime       5.70   30.75 01/15/2018 Sacramento CA - Drivers
1310594            Regular        8.00   20.50 01/22/2018 Sacramento CA - Drivers
1310594            Regular       10.25   20.50 01/29/2018 Sacramento CA - Drivers
1310594            Overtime       2.20   30.75 01/29/2018 Sacramento CA - Drivers
1310594            Regular        8.00   19.75 03/27/2017 Sacramento CA - Drivers
1310594            Overtime       4.00   29.63 03/27/2017 Sacramento CA - Drivers
1310594            Regular        8.00   19.75 04/24/2017 Sacramento CA - Drivers
1310594            Overtime       3.25   29.63 04/24/2017 Sacramento CA - Drivers
1310594            Regular        8.00   19.75 05/01/2017 Sacramento CA - Drivers
1310594            Overtime       4.00   29.63 05/01/2017 Sacramento CA - Drivers
1310594            Regular       16.00   19.75 05/15/2017 Sacramento CA - Drivers
1310594            Overtime       4.50   29.63 05/15/2017 Sacramento CA - Drivers
Total for 1310594             1,788.20
1340504            Regular       40.00   20.00 06/27/2016 Sacramento CA - Drivers
1340504            Overtime       0.50   30.00 06/27/2016 Sacramento CA - Drivers
1340504 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         20.00 38-5    Filed Sacramento
                                                 07/04/2016  03/22/21 Page    334 of
                                                                        CA - Drivers   691 Page ID
1340504            Regular       40.00   20.00 #:1107
                                                 07/11/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 07/18/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 07/25/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 08/01/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 08/22/2016 Sacramento CA - Drivers
1340504            Regular       32.00   20.00 08/29/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 10/10/2016 Sacramento CA - Drivers
1340504            Regular       16.00   20.00 10/17/2016 Sacramento CA - Drivers
1340504            Regular       32.00   20.00 10/24/2016 Sacramento CA - Drivers
1340504            Overtime       2.00   30.00 10/24/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 10/31/2016 Sacramento CA - Drivers
1340504            Overtime       1.00   30.00 10/31/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 11/07/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 11/14/2016 Sacramento CA - Drivers
1340504            Regular       16.00   20.00 11/21/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 11/28/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 12/05/2016 Sacramento CA - Drivers
1340504            Regular       40.00   20.00 12/12/2016 Sacramento CA - Drivers
1340504            Regular       32.00   20.00 12/19/2016 Sacramento CA - Drivers
1340504            Regular       24.00   20.00 12/26/2016 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 01/02/2017 Sacramento CA - Drivers
1340504            Regular       16.00   22.00 01/09/2017 Sacramento CA - Drivers
1340504            Regular        8.00   22.00 01/16/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 01/23/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 02/06/2017 Sacramento CA - Drivers
1340504            Regular        4.00   22.00 02/13/2017 Sacramento CA - Drivers
1340504            Regular       24.00   22.00 02/20/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 02/27/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 03/06/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 03/13/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 03/20/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 03/27/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 04/03/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 04/10/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 04/17/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 04/24/2017 Sacramento CA - Drivers
1340504            Regular       28.00   22.00 05/01/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 06/12/2017 Sacramento CA - Drivers
1340504            Regular       24.00   22.00 06/26/2017 Sacramento CA - Drivers
1340504            Regular       32.00   22.00 07/03/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 07/10/2017 Sacramento CA - Drivers
1340504            Regular       40.00   22.00 07/17/2017 Sacramento CA - Drivers
Total for 1340504             1,387.50
2332272            Regular        8.00   19.50 07/03/2017 Sacramento CA - Drivers
2332272            Overtime       0.75   29.25 07/03/2017 Sacramento CA - Drivers
Total for 2332272                 8.75
2523998            Regular        7.50   22.11 05/14/2018 Sacramento CA - Drivers
Total for 2523998                 7.50
2274247            Regular       40.00   23.00 08/05/2019 Sacramento CA - Drivers
2274247            Overtime       8.50   34.50 08/05/2019 Sacramento CA - Drivers
2274247            Regular       40.00   23.00 08/12/2019 Sacramento CA - Drivers
2274247            Overtime      11.50   34.50 08/12/2019 Sacramento CA - Drivers
2274247            Regular       40.00   23.00 08/19/2019 Sacramento CA - Drivers
2274247            Overtime      12.00   34.50 08/19/2019 Sacramento CA - Drivers
2274247            Regular       32.00   23.00 08/26/2019 Sacramento CA - Drivers
2274247            Overtime      13.50   34.50 08/26/2019 Sacramento CA - Drivers
2274247            Regular       32.00   23.00 09/02/2019 Sacramento CA - Drivers
2274247            Overtime      10.25   34.50 09/02/2019 Sacramento CA - Drivers
Total for 2274247               239.75
2760616            Regular       32.00   21.00 08/05/2019 Sacramento CA - Drivers
2760616            Overtime      10.25   31.50 08/05/2019 Sacramento CA - Drivers
2760616            Regular       32.00   21.00 08/12/2019 Sacramento CA - Drivers
2760616 Case 2:19-cv-08580-JFW-MAA
                   Overtime     10.50Document
                                        31.50 38-5    Filed Sacramento
                                                08/12/2019  03/22/21 Page    335 of 691
                                                                       CA - Drivers       Page ID
2760616            Regular      32.00   21.00 #:1108
                                                08/19/2019 Sacramento CA - Drivers
2760616            Overtime      5.50   31.50 08/19/2019 Sacramento CA - Drivers
2760616            Regular      32.00   21.00 08/26/2019 Sacramento CA - Drivers
2760616            Overtime      8.25   31.50 08/26/2019 Sacramento CA - Drivers
2760616            Regular      24.00   21.00 09/02/2019 Sacramento CA - Drivers
2760616            Overtime      5.75   31.50 09/02/2019 Sacramento CA - Drivers
2760616            Regular       8.00   22.00 05/27/2019 Sacramento CA - Drivers
2760616            Overtime      4.00   33.00 05/27/2019 Sacramento CA - Drivers
2760616            Regular       9.75   22.11 07/29/2019 Sacramento CA - Drivers
2760616            Regular      16.00   23.00 07/29/2019 Sacramento CA - Drivers
2760616            Overtime      8.00   34.50 07/29/2019 Sacramento CA - Drivers
2760616            Regular      24.00   27.00 05/13/2019 Sacramento CA - Drivers
2760616            Overtime      4.25   40.50 05/13/2019 Sacramento CA - Drivers
2760616            Regular      40.00   22.00 06/10/2019 Sacramento CA - Drivers
2760616            Overtime      4.50   33.00 06/10/2019 Sacramento CA - Drivers
2760616            Regular      40.00   22.00 06/17/2019 Sacramento CA - Drivers
2760616            Overtime      7.75   33.00 06/17/2019 Sacramento CA - Drivers
2760616            Regular      40.00   22.00 06/24/2019 Sacramento CA - Drivers
2760616            Overtime      6.75   33.00 06/24/2019 Sacramento CA - Drivers
2760616            Regular      32.00   22.00 07/01/2019 Sacramento CA - Drivers
2760616            Overtime      7.16   33.00 07/01/2019 Sacramento CA - Drivers
2760616            Regular      40.00   22.00 07/08/2019 Sacramento CA - Drivers
2760616            Overtime      6.75   33.00 07/08/2019 Sacramento CA - Drivers
2760616            Regular      40.00   22.00 07/15/2019 Sacramento CA - Drivers
2760616            Overtime      2.25   33.00 07/15/2019 Sacramento CA - Drivers
2760616            Regular      40.00   22.00 07/22/2019 Sacramento CA - Drivers
2760616            Overtime     13.25   33.00 07/22/2019 Sacramento CA - Drivers
2760616            Regular      11.50   22.00 07/29/2019 Sacramento CA - Drivers
Total for 2760616              598.16
1189845            Regular      16.00   19.00 09/21/2015 Los Angeles CA West - Drivers
1189845            Overtime      8.50   28.50 09/21/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 09/28/2015 Los Angeles CA West - Drivers
1189845            Overtime     13.50   28.50 09/28/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 10/05/2015 Los Angeles CA West - Drivers
1189845            Overtime     13.00   28.50 10/05/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
1189845            Overtime     11.25   28.50 10/12/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
1189845            Overtime     25.75   28.50 10/19/2015 Los Angeles CA West - Drivers
1189845            Regular      32.00   19.00 10/26/2015 Los Angeles CA West - Drivers
1189845            Overtime      6.50   28.50 10/26/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1189845            Overtime     15.25   28.50 11/02/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
1189845            Overtime     10.00   28.50 11/09/2015 Los Angeles CA West - Drivers
1189845            Regular      32.00   19.00 11/16/2015 Los Angeles CA West - Drivers
1189845            Overtime     10.50   28.50 11/16/2015 Los Angeles CA West - Drivers
1189845            Regular      32.00   19.00 11/23/2015 Los Angeles CA West - Drivers
1189845            Overtime      6.25   28.50 11/23/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
1189845            Overtime     30.25   28.50 11/30/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
1189845            Overtime     15.00   28.50 12/07/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1189845            Overtime     27.25   28.50 12/14/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 12/28/2015 Los Angeles CA West - Drivers
1189845            Overtime     11.50   28.50 12/28/2015 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
1189845            Overtime      8.00   28.50 01/04/2016 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
1189845            Overtime     25.25   28.50 01/11/2016 Los Angeles CA West - Drivers
1189845            Regular      40.00   19.00 01/18/2016 Los Angeles CA West - Drivers
1189845 Case 2:19-cv-08580-JFW-MAA
                   Overtime      10.25Document
                                         28.50 38-5    Filed Los
                                                 01/18/2016  03/22/21
                                                                 AngelesPage 336- Drivers
                                                                        CA West   of 691    Page ID
1189845            Regular       30.25   19.00 #:1109
                                                 01/25/2016 Los Angeles CA West - Drivers
1189845            Overtime       5.50   28.50 01/25/2016 Los Angeles CA West - Drivers
1189845            Regular       40.00   19.00 02/01/2016 Los Angeles CA West - Drivers
1189845            Overtime      10.25   28.50 02/01/2016 Los Angeles CA West - Drivers
1189845            Regular       30.25   19.00 02/08/2016 Los Angeles CA West - Drivers
1189845            Overtime       6.75   28.50 02/08/2016 Los Angeles CA West - Drivers
1189845            Regular       39.25   19.00 02/15/2016 Los Angeles CA West - Drivers
1189845            Overtime      10.25   28.50 02/15/2016 Los Angeles CA West - Drivers
1189845            Regular       40.00   19.00 02/22/2016 Los Angeles CA West - Drivers
1189845            Overtime      14.50   28.50 02/22/2016 Los Angeles CA West - Drivers
1189845            Regular       38.75   19.00 02/29/2016 Los Angeles CA West - Drivers
1189845            Overtime      12.25   28.50 02/29/2016 Los Angeles CA West - Drivers
1189845            Regular       24.00   19.00 03/07/2016 Los Angeles CA West - Drivers
1189845            Overtime       5.75   28.50 03/07/2016 Los Angeles CA West - Drivers
1189845            Regular       24.00   19.00 03/14/2016 Los Angeles CA West - Drivers
1189845            Overtime       4.50   28.50 03/14/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 03/21/2016 Los Angeles CA West - Drivers
1189845            Overtime       5.75   28.50 03/21/2016 Los Angeles CA West - Drivers
1189845            Regular       40.00   19.00 03/28/2016 Los Angeles CA West - Drivers
1189845            Overtime       6.25   28.50 03/28/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 04/04/2016 Los Angeles CA West - Drivers
1189845            Overtime       9.25   28.50 04/04/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 04/11/2016 Los Angeles CA West - Drivers
1189845            Overtime       9.25   28.50 04/11/2016 Los Angeles CA West - Drivers
1189845            Regular       40.00   19.00 06/20/2016 Los Angeles CA West - Drivers
1189845            Overtime      14.25   28.50 06/20/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 06/27/2016 Los Angeles CA West - Drivers
1189845            Overtime       6.00   28.50 06/27/2016 Los Angeles CA West - Drivers
1189845            Regular       16.00   19.00 07/04/2016 Los Angeles CA West - Drivers
1189845            Overtime       4.00   28.50 07/04/2016 Los Angeles CA West - Drivers
1189845            Regular       40.00   19.00 07/11/2016 Los Angeles CA West - Drivers
1189845            Overtime      10.25   28.50 07/11/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 07/18/2016 Los Angeles CA West - Drivers
1189845            Overtime       8.75   28.50 07/18/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 07/25/2016 Los Angeles CA West - Drivers
1189845            Overtime       7.50   28.50 07/25/2016 Los Angeles CA West - Drivers
1189845            Regular       33.00   19.00 08/01/2016 Los Angeles CA West - Drivers
1189845            Overtime      11.00   28.50 08/01/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 08/08/2016 Los Angeles CA West - Drivers
1189845            Overtime      12.75   28.50 08/08/2016 Los Angeles CA West - Drivers
1189845            Regular       24.00   19.00 08/15/2016 Los Angeles CA West - Drivers
1189845            Overtime       8.75   28.50 08/15/2016 Los Angeles CA West - Drivers
1189845            Regular       40.00   19.00 08/22/2016 Los Angeles CA West - Drivers
1189845            Overtime      22.75   28.50 08/22/2016 Los Angeles CA West - Drivers
1189845            Regular       24.00   19.00 08/29/2016 Los Angeles CA West - Drivers
1189845            Overtime      13.75   28.50 08/29/2016 Los Angeles CA West - Drivers
1189845            Regular       24.00   19.00 09/05/2016 Los Angeles CA West - Drivers
1189845            Overtime       7.75   28.50 09/05/2016 Los Angeles CA West - Drivers
1189845            Regular       32.00   19.00 09/12/2016 Los Angeles CA West - Drivers
1189845            Overtime      10.25   28.50 09/12/2016 Los Angeles CA West - Drivers
1189845            Regular       39.75   19.00 09/19/2016 Los Angeles CA West - Drivers
1189845            Overtime      14.00   28.50 09/19/2016 Los Angeles CA West - Drivers
1189845            Regular       16.00   19.25 09/26/2016 Los Angeles CA West - Drivers
1189845            Overtime       6.25   28.88 09/26/2016 Los Angeles CA West - Drivers
1189845            Regular       16.00   38.17 10/03/2016 Los Angeles CA West - Drivers
1189845            Overtime       3.75   57.26 10/03/2016 Los Angeles CA West - Drivers
1189845            Regular       24.00   38.17 10/10/2016 Los Angeles CA West - Drivers
1189845            Overtime       5.00   57.26 10/10/2016 Los Angeles CA West - Drivers
Total for 1189845             2,046.25
1259035            Regular        8.00   25.00 02/08/2016 Sacramento CA - Drivers
1259035            Overtime       3.50   37.50 02/08/2016 Sacramento CA - Drivers
Total for 1259035                11.50
2226983 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        21.00 38-5    Filed Los
                                                02/19/2018  03/22/21
                                                                AngelesPage 337
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2226983            Regular       8.00   21.00 #:1110
                                                03/05/2018 Los Angeles CA East - Drivers
2226983            Overtime      0.17   31.50 03/05/2018 Los Angeles CA East - Drivers
2226983            Regular       8.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2226983            Overtime      4.00   31.50 03/12/2018 Los Angeles CA East - Drivers
2226983            Regular       8.00   20.00 04/03/2017 Los Angeles CA East - Drivers
2226983            Overtime      3.00   30.00 04/03/2017 Los Angeles CA East - Drivers
2226983            Regular       8.00   19.00 03/27/2017 Los Angeles CA East - Drivers
2226983            Overtime      3.50   28.50 03/27/2017 Los Angeles CA East - Drivers
Total for 2226983               50.67
2514951            Regular       8.00   19.50 07/02/2018 Los Angeles CA West - Drivers
2514951            Overtime      4.00   29.25 07/02/2018 Los Angeles CA West - Drivers
2514951            Regular      24.00   19.50 04/30/2018 Los Angeles CA West - Drivers
2514951            Overtime      8.00   29.25 04/30/2018 Los Angeles CA West - Drivers
2514951            Regular       4.00   19.50 05/14/2018 Los Angeles CA West - Drivers
2514951            Regular      15.30   19.50 05/28/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   19.50 06/04/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.50   29.25 06/04/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   19.50 06/11/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.50   29.25 06/11/2018 Los Angeles CA West - Drivers
2514951            Regular       6.00   20.50 07/02/2018 Los Angeles CA West - Drivers
2514951            Regular       4.00   20.50 07/09/2018 Los Angeles CA West - Drivers
2514951            Regular       7.25   20.50 07/16/2018 Los Angeles CA West - Drivers
2514951            Regular       7.50   20.50 07/23/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.50 07/30/2018 Los Angeles CA West - Drivers
2514951            Overtime      1.25   30.75 07/30/2018 Los Angeles CA West - Drivers
2514951            Regular       7.25   20.50 08/13/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.50 08/27/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.50   30.75 08/27/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.50 10/01/2018 Los Angeles CA West - Drivers
2514951            Overtime      0.25   30.75 10/01/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.50 10/15/2018 Los Angeles CA West - Drivers
2514951            Overtime      1.00   30.75 10/15/2018 Los Angeles CA West - Drivers
2514951            Regular       7.50   20.50 10/29/2018 Los Angeles CA West - Drivers
2514951            Regular      13.50   20.50 12/24/2018 Los Angeles CA West - Drivers
2514951            Overtime      0.25   30.75 12/24/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.50 01/07/2019 Los Angeles CA West - Drivers
2514951            Overtime      1.50   30.75 01/07/2019 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.50 03/11/2019 Los Angeles CA West - Drivers
2514951            Overtime      0.75   30.75 03/11/2019 Los Angeles CA West - Drivers
2514951            Regular      16.00   20.50 04/01/2019 Los Angeles CA West - Drivers
2514951            Overtime      1.50   30.75 04/01/2019 Los Angeles CA West - Drivers
2514951            Regular       6.25   20.50 04/08/2019 Los Angeles CA West - Drivers
2514951            Regular      21.75   21.00 07/16/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.50   31.50 07/16/2018 Los Angeles CA West - Drivers
2514951            Regular      30.00   21.00 07/23/2018 Los Angeles CA West - Drivers
2514951            Overtime      4.50   31.50 07/23/2018 Los Angeles CA West - Drivers
2514951            Regular      32.00   22.00 07/30/2018 Los Angeles CA West - Drivers
2514951            Overtime      4.75   33.00 07/30/2018 Los Angeles CA West - Drivers
2514951            Regular      30.50   22.00 08/06/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.00   33.00 08/06/2018 Los Angeles CA West - Drivers
2514951            Regular      25.00   22.00 08/13/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.25   33.00 08/13/2018 Los Angeles CA West - Drivers
2514951            Regular      14.00   22.00 08/20/2018 Los Angeles CA West - Drivers
2514951            Overtime      4.00   33.00 08/20/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   21.00 05/28/2018 Los Angeles CA West - Drivers
2514951            Overtime      4.00   31.50 05/28/2018 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2514951            Overtime      2.75   30.00 09/24/2018 Los Angeles CA West - Drivers
2514951            Regular      24.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2514951            Overtime      2.00   31.50 04/29/2019 Los Angeles CA West - Drivers
2514951            Regular       8.00   20.00 05/28/2018 Los Angeles CA West - Drivers
2514951            Overtime      3.50   30.00 05/28/2018 Los Angeles CA West - Drivers
2514951 Case 2:19-cv-08580-JFW-MAA
                   Regular      16.00Document
                                        20.00 38-5    Filed Los
                                                05/07/2018  03/22/21
                                                                AngelesPage 338- Drivers
                                                                       CA West   of 691    Page ID
2514951            Overtime      2.50   30.00 #:1111
                                                05/07/2018 Los Angeles CA West - Drivers
2514951            Regular      24.00   20.00 09/17/2018 Los Angeles CA West - Drivers
2514951            Overtime      1.75   30.00 09/17/2018 Los Angeles CA West - Drivers
2514951            Regular      32.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2514951            Overtime      3.00   30.00 09/24/2018 Los Angeles CA West - Drivers
2514951            Regular      16.00   18.50 02/25/2019 Los Angeles CA West - Drivers
2514951            Overtime      0.50   27.75 02/25/2019 Los Angeles CA West - Drivers
Total for 2514951              545.80
2712141            Regular       8.00   22.00 05/13/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   22.00 06/10/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.00   33.00 06/10/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   22.00 06/17/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.50   33.00 06/17/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   22.00 06/24/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.50   33.00 06/24/2019 Los Angeles CA East - Drivers
2712141            Regular      32.00   22.00 07/01/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.00   33.00 07/01/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   22.00 07/08/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.25   33.00 07/08/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   22.00 07/15/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.50   33.00 07/15/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   22.00 07/22/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.50   33.00 07/22/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   21.00 05/20/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.25   31.50 05/20/2019 Los Angeles CA East - Drivers
2712141            Regular      32.00   28.00 08/12/2019 Los Angeles CA East - Drivers
2712141            Overtime     13.50   42.00 08/12/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   28.00 08/19/2019 Los Angeles CA East - Drivers
2712141            Overtime     16.00   42.00 08/19/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   28.00 08/26/2019 Los Angeles CA East - Drivers
2712141            Regular      16.00   22.00 04/15/2019 Los Angeles CA East - Drivers
2712141            Overtime      8.00   33.00 04/15/2019 Los Angeles CA East - Drivers
2712141            Regular      16.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2712141            Overtime      6.25   31.50 07/29/2019 Los Angeles CA East - Drivers
2712141            Regular      16.00   21.00 08/05/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.00   31.50 08/05/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   23.00 08/05/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   20.75 05/13/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.75   31.13 05/13/2019 Los Angeles CA East - Drivers
2712141            Regular      21.50   20.75 05/20/2019 Los Angeles CA East - Drivers
2712141            Overtime      5.50   31.13 05/20/2019 Los Angeles CA East - Drivers
2712141            Regular      32.00   20.75 05/27/2019 Los Angeles CA East - Drivers
2712141            Overtime     12.00   31.13 05/27/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   20.75 06/03/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.00   31.13 06/03/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   23.50 03/25/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.00   35.25 03/25/2019 Los Angeles CA East - Drivers
2712141            Regular      40.00   23.50 04/01/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.75   35.25 04/01/2019 Los Angeles CA East - Drivers
2712141            Regular      29.75   23.50 04/08/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.25   35.25 04/08/2019 Los Angeles CA East - Drivers
2712141            Regular      16.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2712141            Overtime      1.00   31.50 07/22/2019 Los Angeles CA East - Drivers
2712141            Regular      16.00   21.00 08/05/2019 Los Angeles CA East - Drivers
2712141            Overtime      8.00   31.50 08/05/2019 Los Angeles CA East - Drivers
2712141            Regular       8.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2712141            Overtime      2.75   31.50 08/26/2019 Los Angeles CA East - Drivers
2712141            Regular      30.92   20.00 03/11/2019 Los Angeles CA East - Drivers
2712141            Overtime      5.50   30.00 03/11/2019 Los Angeles CA East - Drivers
Total for 2712141              745.92
2207757            Regular       8.00   22.00 05/14/2018 Sacramento CA - Drivers
2207757            Overtime      1.00   33.00 05/14/2018 Sacramento CA - Drivers
2207757 Case   2:19-cv-08580-JFW-MAA
                     Regular       8.00Document
                                          22.00 38-5    Filed Sacramento
                                                  05/21/2018  03/22/21 Page    339 of 691 Page ID
                                                                         CA - Drivers
2207757              Overtime      1.25   33.00 #:1112
                                                  05/21/2018 Sacramento CA - Drivers
2207757             Regular         8.00    20.50   01/08/2018   Sacramento   CA   - Drivers
2207757             Regular        12.00    21.21   05/14/2018   Sacramento   CA   - Drivers
2207757             Regular        18.50    21.21   10/22/2018   Sacramento   CA   - Drivers
2207757             Regular         9.00    20.98   10/29/2018   Sacramento   CA   - Drivers
2207757             Regular        36.00    21.21   11/05/2018   Sacramento   CA   - Drivers
2207757             Regular        34.00    21.21   11/12/2018   Sacramento   CA   - Drivers
2207757             Regular        28.25    21.21   11/19/2018   Sacramento   CA   - Drivers
2207757             Regular        10.25    21.21   11/26/2018   Sacramento   CA   - Drivers
2207757             Regular        21.50    21.21   12/03/2018   Sacramento   CA   - Drivers
2207757             Regular        27.25    21.21   12/10/2018   Sacramento   CA   - Drivers
2207757             Regular        23.75    21.21   12/17/2018   Sacramento   CA   - Drivers
2207757             Regular        23.75    21.85   01/07/2019   Sacramento   CA   - Drivers
2207757             Regular         5.75    21.21   01/14/2019   Sacramento   CA   - Drivers
2207757             Regular         5.75    21.21   01/28/2019   Sacramento   CA   - Drivers
2207757             Regular         8.00    21.00   05/21/2018   Sacramento   CA   - Drivers
2207757             Regular        32.00    21.00   05/28/2018   Sacramento   CA   - Drivers
2207757             Overtime        3.00    31.50   05/28/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   06/04/2018   Sacramento   CA   - Drivers
2207757             Overtime        5.50    31.50   06/04/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   06/11/2018   Sacramento   CA   - Drivers
2207757             Overtime        0.75    31.50   06/11/2018   Sacramento   CA   - Drivers
2207757             Regular        32.00    21.00   06/18/2018   Sacramento   CA   - Drivers
2207757             Overtime        2.25    31.50   06/18/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   06/25/2018   Sacramento   CA   - Drivers
2207757             Overtime        5.50    31.50   06/25/2018   Sacramento   CA   - Drivers
2207757             Regular        32.00    21.00   07/02/2018   Sacramento   CA   - Drivers
2207757             Overtime        3.50    31.50   07/02/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   07/09/2018   Sacramento   CA   - Drivers
2207757             Overtime        3.25    31.50   07/09/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   07/16/2018   Sacramento   CA   - Drivers
2207757             Overtime        4.00    31.50   07/16/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   07/23/2018   Sacramento   CA   - Drivers
2207757             Overtime        4.00    31.50   07/23/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   07/30/2018   Sacramento   CA   - Drivers
2207757             Overtime        1.00    31.50   07/30/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   08/06/2018   Sacramento   CA   - Drivers
2207757             Overtime        2.00    31.50   08/06/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   08/13/2018   Sacramento   CA   - Drivers
2207757             Overtime        5.25    31.50   08/13/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   08/20/2018   Sacramento   CA   - Drivers
2207757             Overtime        0.75    31.50   08/20/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   08/27/2018   Sacramento   CA   - Drivers
2207757             Regular        32.00    21.00   09/03/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   09/10/2018   Sacramento   CA   - Drivers
2207757             Overtime        0.25    31.50   09/10/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   09/17/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   09/24/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   10/01/2018   Sacramento   CA   - Drivers
2207757             Overtime        1.00    31.50   10/01/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   10/08/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    21.00   10/15/2018   Sacramento   CA   - Drivers
2207757             Regular        39.00    19.75   01/15/2018   Sacramento   CA   - Drivers
2207757             Overtime        2.00    29.63   01/15/2018   Sacramento   CA   - Drivers
2207757             Regular        40.00    19.75   01/22/2018   Sacramento   CA   - Drivers
2207757             Overtime        7.00    29.63   01/22/2018   Sacramento   CA   - Drivers
2207757             Regular        24.00    19.75   01/29/2018   Sacramento   CA   - Drivers
2207757             Overtime        3.00    29.63   01/29/2018   Sacramento   CA   - Drivers
2207757             Regular        37.00    19.75   02/05/2018   Sacramento   CA   - Drivers
2207757             Overtime        5.25    29.63   02/05/2018   Sacramento   CA   - Drivers
2207757             Regular        30.25    19.75   02/12/2018   Sacramento   CA   - Drivers
2207757             Overtime        0.25    29.63   02/12/2018   Sacramento   CA   - Drivers
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                   Regular       37.50Document
                                         19.75 38-5    Filed Sacramento
                                                 02/19/2018  03/22/21 Page    340 of 691
                                                                        CA - Drivers       Page ID
2207757            Overtime       4.25   29.63 #:1113
                                                 02/19/2018 Sacramento CA - Drivers
2207757            Regular       40.00   19.75 02/26/2018 Sacramento CA - Drivers
2207757            Overtime       7.00   29.63 02/26/2018 Sacramento CA - Drivers
2207757            Regular       40.00   19.75 03/05/2018 Sacramento CA - Drivers
2207757            Overtime       2.00   29.63 03/05/2018 Sacramento CA - Drivers
2207757            Regular       40.00   19.75 03/12/2018 Sacramento CA - Drivers
2207757            Regular       40.00   19.75 03/19/2018 Sacramento CA - Drivers
2207757            Regular       40.00   19.75 03/26/2018 Sacramento CA - Drivers
2207757            Regular       40.00   19.75 04/02/2018 Sacramento CA - Drivers
2207757            Overtime      12.25   29.63 04/02/2018 Sacramento CA - Drivers
2207757            Regular       40.00   21.00 04/09/2018 Sacramento CA - Drivers
2207757            Overtime      10.00   31.50 04/09/2018 Sacramento CA - Drivers
2207757            Regular       40.00   21.00 04/16/2018 Sacramento CA - Drivers
2207757            Overtime       6.00   31.50 04/16/2018 Sacramento CA - Drivers
2207757            Regular       40.00   21.00 04/23/2018 Sacramento CA - Drivers
2207757            Overtime      10.50   31.50 04/23/2018 Sacramento CA - Drivers
2207757            Regular       40.00   21.00 04/30/2018 Sacramento CA - Drivers
2207757            Overtime       9.25   31.50 04/30/2018 Sacramento CA - Drivers
2207757            Regular       16.00   21.00 05/07/2018 Sacramento CA - Drivers
2207757            Overtime       1.50   31.50 05/07/2018 Sacramento CA - Drivers
2207757            Regular       16.00   27.00 10/29/2018 Sacramento CA - Drivers
2207757            Overtime       2.25   40.50 10/29/2018 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 01/28/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 02/04/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 02/11/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 02/18/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 02/25/2019 Sacramento CA - Drivers
2207757            Regular       32.00   21.50 03/04/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 03/11/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 03/18/2019 Sacramento CA - Drivers
2207757            Regular       16.00   21.50 03/25/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 04/01/2019 Sacramento CA - Drivers
2207757            Regular       24.00   21.50 04/08/2019 Sacramento CA - Drivers
Total for 2207757             2,126.25
1270564            Regular       32.00   20.00 03/21/2016 Los Angeles CA West - Drivers
1270564            Overtime       7.50   30.00 03/21/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 03/28/2016 Los Angeles CA West - Drivers
1270564            Overtime       6.25   30.00 03/28/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 04/04/2016 Los Angeles CA West - Drivers
1270564            Overtime       5.00   30.00 04/04/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1270564            Overtime       6.50   30.00 04/11/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1270564            Overtime       8.25   30.00 04/18/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 04/25/2016 Los Angeles CA West - Drivers
1270564            Overtime       4.75   30.00 04/25/2016 Los Angeles CA West - Drivers
1270564            Regular       28.75   20.00 05/02/2016 Los Angeles CA West - Drivers
1270564            Overtime       5.25   30.00 05/02/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1270564            Overtime       9.75   30.00 05/09/2016 Los Angeles CA West - Drivers
1270564            Regular       31.25   20.00 05/16/2016 Los Angeles CA West - Drivers
1270564            Overtime       1.25   30.00 05/16/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 05/23/2016 Los Angeles CA West - Drivers
1270564            Overtime       7.75   30.00 05/23/2016 Los Angeles CA West - Drivers
1270564            Regular       31.25   20.00 05/30/2016 Los Angeles CA West - Drivers
1270564            Overtime       2.75   30.00 05/30/2016 Los Angeles CA West - Drivers
1270564            Regular       37.50   20.00 06/06/2016 Los Angeles CA West - Drivers
1270564            Overtime       4.50   30.00 06/06/2016 Los Angeles CA West - Drivers
1270564            Regular       38.50   20.00 06/13/2016 Los Angeles CA West - Drivers
1270564            Overtime       6.75   30.00 06/13/2016 Los Angeles CA West - Drivers
1270564            Regular       40.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1270564            Overtime      16.50   30.00 06/20/2016 Los Angeles CA West - Drivers
1270564 Case   2:19-cv-08580-JFW-MAA
                     Regular      36.00Document
                                          20.00 38-5    Filed Los
                                                  06/27/2016  03/22/21
                                                                  AngelesPage 341- Drivers
                                                                         CA West   of 691 Page ID
1270564              Overtime      5.00   30.00 #:1114
                                                  06/27/2016 Los Angeles CA West - Drivers
1270564             Regular        20.75    20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        3.00    30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       16.25    30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        39.50    20.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.75    30.00   07/18/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.00    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        33.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.50    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        6.25    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        30.75    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.50    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.25    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        31.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.25    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        24.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        6.25    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.00    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.50    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       15.00    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.25    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       16.00    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       14.50    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.75    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       13.00    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        4.75    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.50    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        4.50    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        31.50    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        9.25    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.50    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        28.75    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.25    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        28.75    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime        7.00    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.75    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        9.25    30.38   01/02/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       22.75    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       19.50    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       16.00    30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1270564 Case   2:19-cv-08580-JFW-MAA
                     Overtime     13.25Document
                                          30.38 38-5    Filed Los
                                                  01/30/2017  03/22/21
                                                                  AngelesPage 342- Drivers
                                                                         CA West   of 691 Page ID
1270564              Regular      40.00   20.25 #:1115
                                                  02/06/2017 Los Angeles CA West - Drivers
1270564             Overtime       11.00    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       12.75    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        16.00    20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        5.25    30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       12.50    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.25    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.00    30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       12.25    30.38   03/20/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.00    30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        31.00    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        6.75    30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       15.50    30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.50    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.75    30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       13.25    30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.25    30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        7.00    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        24.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        9.50    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        24.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.75    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       22.00    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       20.00    30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   06/19/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.75    30.38   06/19/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        9.25    30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        14.00    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        7.00    30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   08/14/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        8.50    30.38   08/14/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       15.00    30.38   08/21/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        32.00    20.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.25    30.38   08/28/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        24.00    20.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.00    30.38   09/04/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        6.75    30.38   09/11/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        7.50    30.38   09/18/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        40.00    20.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       10.75    30.38   09/25/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        24.00    20.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime       11.25    30.38   10/02/2017   Los   Angeles   CA   West   - Drivers
1270564             Regular        31.75    20.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1270564             Overtime        9.50    30.38   10/09/2017   Los   Angeles   CA   West   - Drivers
1270564 Case 2:19-cv-08580-JFW-MAA
                   Regular       39.25Document
                                         20.25 38-5    Filed Los
                                                 10/16/2017  03/22/21
                                                                 AngelesPage 343- Drivers
                                                                        CA West   of 691    Page ID
1270564            Overtime      15.50   30.38 #:1116
                                                 10/16/2017 Los Angeles CA West - Drivers
1270564            Regular        6.00   19.00 03/27/2017 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 02/22/2016 Los Angeles CA West - Drivers
1270564            Overtime       8.50   30.00 02/22/2016 Los Angeles CA West - Drivers
1270564            Regular       32.00   20.00 02/29/2016 Los Angeles CA West - Drivers
1270564            Overtime       7.75   30.00 02/29/2016 Los Angeles CA West - Drivers
Total for 1270564             3,463.75
2141061            Regular        8.00   23.00 04/15/2019 Los Angeles CA West - Drivers
2141061            Overtime       0.50   34.50 04/15/2019 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 05/29/2017 Los Angeles CA West - Drivers
2141061            Overtime       8.00   30.00 05/29/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   20.00 06/05/2017 Los Angeles CA West - Drivers
2141061            Overtime      24.50   30.00 06/05/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   20.00 06/12/2017 Los Angeles CA West - Drivers
2141061            Overtime      16.25   30.00 06/12/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 06/19/2017 Los Angeles CA West - Drivers
2141061            Overtime      12.25   30.00 06/19/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 06/26/2017 Los Angeles CA West - Drivers
2141061            Overtime       9.00   30.00 06/26/2017 Los Angeles CA West - Drivers
2141061            Regular        8.00   20.00 07/03/2017 Los Angeles CA West - Drivers
2141061            Overtime       4.75   30.00 07/03/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   20.00 07/10/2017 Los Angeles CA West - Drivers
2141061            Overtime      10.00   30.00 07/10/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 07/17/2017 Los Angeles CA West - Drivers
2141061            Overtime      10.25   30.00 07/17/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 07/24/2017 Los Angeles CA West - Drivers
2141061            Overtime       9.00   30.00 07/24/2017 Los Angeles CA West - Drivers
2141061            Regular        8.00   20.00 07/31/2017 Los Angeles CA West - Drivers
2141061            Overtime       2.50   30.00 07/31/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 08/07/2017 Los Angeles CA West - Drivers
2141061            Overtime      13.50   30.00 08/07/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 08/14/2017 Los Angeles CA West - Drivers
2141061            Overtime      10.50   30.00 08/14/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   20.00 08/21/2017 Los Angeles CA West - Drivers
2141061            Overtime      19.50   30.00 08/21/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 08/28/2017 Los Angeles CA West - Drivers
2141061            Overtime      16.00   30.00 08/28/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 09/04/2017 Los Angeles CA West - Drivers
2141061            Overtime      11.25   30.00 09/04/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   20.00 09/11/2017 Los Angeles CA West - Drivers
2141061            Overtime      16.50   30.00 09/11/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 09/18/2017 Los Angeles CA West - Drivers
2141061            Overtime      15.50   30.00 09/18/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 09/25/2017 Los Angeles CA West - Drivers
2141061            Overtime       8.00   30.00 09/25/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 10/02/2017 Los Angeles CA West - Drivers
2141061            Overtime      11.25   30.00 10/02/2017 Los Angeles CA West - Drivers
2141061            Regular       38.25   20.00 10/09/2017 Los Angeles CA West - Drivers
2141061            Overtime      17.50   30.00 10/09/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 10/16/2017 Los Angeles CA West - Drivers
2141061            Overtime      16.00   30.00 10/16/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 10/23/2017 Los Angeles CA West - Drivers
2141061            Overtime      13.50   30.00 10/23/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   20.00 10/30/2017 Los Angeles CA West - Drivers
2141061            Overtime      18.00   30.00 10/30/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 11/06/2017 Los Angeles CA West - Drivers
2141061            Overtime      11.50   30.00 11/06/2017 Los Angeles CA West - Drivers
2141061            Regular       24.00   20.00 11/13/2017 Los Angeles CA West - Drivers
2141061            Overtime      12.25   30.00 11/13/2017 Los Angeles CA West - Drivers
2141061            Regular        8.00   20.00 11/27/2017 Los Angeles CA West - Drivers
2141061            Overtime       1.00   30.00 11/27/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   20.25 12/04/2017 Los Angeles CA West - Drivers
2141061 Case   2:19-cv-08580-JFW-MAA
                     Overtime     32.30Document
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                                                  12/04/2017  03/22/21
                                                                  AngelesPage 344- Drivers
                                                                         CA West   of 691 Page ID
2141061              Regular      32.00   20.25 #:1117
                                                  12/11/2017 Los Angeles CA West - Drivers
2141061             Overtime       15.75    30.38   12/11/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   12/18/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.75    30.38   12/18/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular         8.00    20.25   12/25/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime        4.00    30.38   12/25/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    20.25   01/01/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        4.25    30.38   01/01/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   01/08/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.50    30.38   01/08/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   01/15/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        6.75    30.38   01/15/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   01/29/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        6.75    30.38   01/29/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   02/05/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        8.25    30.38   02/05/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   02/12/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        5.50    30.38   02/12/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   02/19/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        9.00    30.38   02/19/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   02/26/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        5.25    30.38   02/26/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   03/05/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.75    30.38   03/05/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    20.25   03/12/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        4.00    30.38   03/12/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   03/19/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        9.25    30.38   03/19/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   03/26/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        5.30    30.38   03/26/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   04/02/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.80    30.38   04/02/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   04/09/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        8.25    30.38   04/09/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        23.75    20.25   04/16/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        0.75    30.38   04/16/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   04/30/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        5.25    30.38   04/30/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   05/07/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        6.25    30.38   05/07/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    20.25   05/14/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.50    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        9.50    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        6.00    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       13.50    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        6.50    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       11.00    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        36.00    22.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       16.25    33.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.00    33.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        7.50    33.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       13.00    33.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       20.75    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2141061 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
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                                                  08/27/2018  03/22/21
                                                                  AngelesPage 345- Drivers
                                                                         CA West   of 691 Page ID
2141061              Overtime     20.75   33.00 #:1118
                                                  08/27/2018 Los Angeles CA West - Drivers
2141061             Regular        32.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       16.50    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       11.25    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        7.00    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       10.25    33.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        4.75    33.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       13.50    33.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       15.75    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       15.75    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       16.25    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       22.50    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       33.50    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       14.25    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       13.00    33.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.00    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       24.50    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       32.75    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime       15.25    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2141061             Overtime        9.25    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       15.00    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        37.00    22.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       15.25    33.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       28.25    33.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       20.50    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       20.00    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        31.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime        4.50    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        31.50    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime        4.75    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       19.75    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        31.50    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime        2.25    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        15.75    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime        1.00    33.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime        3.00    33.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime        3.00    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular         8.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2141061 Case   2:19-cv-08580-JFW-MAA
                     Overtime      1.50Document
                                          33.00 38-5    Filed Los
                                                  04/08/2019  03/22/21
                                                                  AngelesPage 346- Drivers
                                                                         CA West   of 691 Page ID
2141061              Regular      40.00   22.00 #:1119
                                                  04/29/2019 Los Angeles CA West - Drivers
2141061             Overtime       16.75    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         4.50   33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular          8.00   22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         0.75   33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         2.00   33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        23.25    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         3.75   33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        12.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         7.25   33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        30.75    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         2.75   33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        31.50    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.50    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         2.50   33.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       14.50    33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime       10.00    33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        31.00    22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         1.00   33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         4.75   33.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        14.75    22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular          8.00   22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         3.50   33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2141061             Overtime         1.00   33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        12.75    22.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2141061             Regular        24.00    19.00   02/06/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         9.00   28.50   02/06/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        32.00    19.00   02/13/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime       14.00    28.50   02/13/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        31.50    19.00   02/20/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime       12.00    28.50   02/20/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    19.00   02/27/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         8.25   28.50   02/27/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    19.00   03/06/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime       20.25    28.50   03/06/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        30.00    19.00   03/13/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime       13.00    28.50   03/06/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        14.50    19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         4.00   28.50   03/20/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        40.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime       15.75    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    19.50   05/29/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         5.00   29.25   05/29/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular         -8.00   19.50   05/29/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime        -2.50   29.25   05/29/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular          8.00   19.50   08/07/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         0.50   29.25   08/07/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular          4.00   19.50   08/21/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular          8.00   19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         2.00   29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular          4.00   19.50   09/11/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular        16.00    19.50   10/09/2017   Los   Angeles   CA   West   - Drivers
2141061             Overtime         6.00   29.25   10/09/2017   Los   Angeles   CA   West   - Drivers
2141061             Regular          7.00   19.50   10/16/2017   Los   Angeles   CA   West   - Drivers
2141061 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         19.00 38-5    Filed Los
                                                 05/01/2017  03/22/21
                                                                 AngelesPage 347- Drivers
                                                                        CA West   of 691    Page ID
2141061            Overtime       3.50   28.50 #:1120
                                                 05/01/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   19.00 05/08/2017 Los Angeles CA West - Drivers
2141061            Overtime       0.50   28.50 05/08/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   21.00 12/19/2016 Los Angeles CA West - Drivers
2141061            Overtime       7.00   31.50 12/19/2016 Los Angeles CA West - Drivers
2141061            Regular       24.00   21.00 12/26/2016 Los Angeles CA West - Drivers
2141061            Overtime       1.00   31.50 12/26/2016 Los Angeles CA West - Drivers
2141061            Regular       32.00   21.00 01/02/2017 Los Angeles CA West - Drivers
2141061            Regular       40.00   21.00 01/09/2017 Los Angeles CA West - Drivers
2141061            Overtime       1.00   31.50 01/09/2017 Los Angeles CA West - Drivers
2141061            Regular       32.00   21.00 01/16/2017 Los Angeles CA West - Drivers
2141061            Overtime       5.50   31.50 01/16/2017 Los Angeles CA West - Drivers
2141061            Regular        8.00   21.00 01/23/2017 Los Angeles CA West - Drivers
Total for 2141061             4,883.40
2636983            Regular        8.00   21.00 03/04/2019 Los Angeles CA East - Drivers
2636983            Regular       49.50   23.00 03/18/2019 Los Angeles CA East - Drivers
2636983            Regular       58.50   23.00 03/25/2019 Los Angeles CA East - Drivers
2636983            Regular       51.75   23.00 04/01/2019 Los Angeles CA East - Drivers
2636983            Regular       37.25   23.00 04/08/2019 Los Angeles CA East - Drivers
2636983            Regular       30.50   23.00 04/15/2019 Los Angeles CA East - Drivers
2636983            Regular       16.00   20.00 11/05/2018 Los Angeles CA East - Drivers
2636983            Overtime      10.00   30.00 11/05/2018 Los Angeles CA East - Drivers
2636983            Regular       16.00   20.00 11/12/2018 Los Angeles CA East - Drivers
2636983            Overtime       3.00   30.00 11/12/2018 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.00 11/19/2018 Los Angeles CA East - Drivers
2636983            Regular       16.00   20.00 11/26/2018 Los Angeles CA East - Drivers
2636983            Overtime       2.00   30.00 11/26/2018 Los Angeles CA East - Drivers
2636983            Regular       40.00   20.00 12/03/2018 Los Angeles CA East - Drivers
2636983            Overtime      13.50   30.00 12/03/2018 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.50 12/10/2018 Los Angeles CA East - Drivers
2636983            Regular       40.00   20.50 12/17/2018 Los Angeles CA East - Drivers
2636983            Overtime      13.50   30.75 12/17/2018 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.50 12/24/2018 Los Angeles CA East - Drivers
2636983            Overtime       1.50   30.75 12/24/2018 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.50 01/07/2019 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.50 02/11/2019 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.50 02/18/2019 Los Angeles CA East - Drivers
2636983            Overtime       3.50   30.75 02/18/2019 Los Angeles CA East - Drivers
2636983            Regular        8.00   20.50 02/25/2019 Los Angeles CA East - Drivers
2636983            Overtime       1.50   30.75 02/25/2019 Los Angeles CA East - Drivers
2636983            Regular        2.00   22.00 11/26/2018 Los Angeles CA East - Drivers
2636983            Regular       16.41   21.85 03/04/2019 Los Angeles CA East - Drivers
2636983            Regular        8.00   21.00 11/05/2018 Los Angeles CA East - Drivers
2636983            Regular        8.00   21.00 02/25/2019 Los Angeles CA East - Drivers
2636983            Overtime       1.50   31.50 02/25/2019 Los Angeles CA East - Drivers
2636983            Regular       16.00   21.00 12/31/2018 Los Angeles CA East - Drivers
2636983            Overtime       2.25   31.50 12/31/2018 Los Angeles CA East - Drivers
2636983            Regular       32.00   21.00 01/07/2019 Los Angeles CA East - Drivers
2636983            Overtime       2.00   31.50 01/07/2019 Los Angeles CA East - Drivers
2636983            Regular       40.00   21.00 01/14/2019 Los Angeles CA East - Drivers
2636983            Overtime       9.00   31.50 01/14/2019 Los Angeles CA East - Drivers
2636983            Regular       40.00   21.00 01/21/2019 Los Angeles CA East - Drivers
2636983            Overtime       9.50   31.50 01/21/2019 Los Angeles CA East - Drivers
2636983            Regular       40.00   21.00 01/28/2019 Los Angeles CA East - Drivers
2636983            Overtime       7.50   31.50 01/28/2019 Los Angeles CA East - Drivers
2636983            Regular       34.50   21.00 11/12/2018 Los Angeles CA East - Drivers
2636983            Regular       11.50   21.00 11/19/2018 Los Angeles CA East - Drivers
2636983            Regular       32.00   22.00 12/24/2018 Los Angeles CA East - Drivers
2636983            Overtime       8.00   33.00 12/24/2018 Los Angeles CA East - Drivers
2636983            Regular        8.00   22.00 12/31/2018 Los Angeles CA East - Drivers
2636983            Overtime       2.00   33.00 12/31/2018 Los Angeles CA East - Drivers
Total for 2636983               798.16
2570726 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        17.00 38-5    Filed Los
                                                07/30/2018  03/22/21
                                                                AngelesPage 348- Drivers
                                                                       CA West   of 691    Page ID
2570726            Overtime      2.00   25.50 #:1121
                                                07/30/2018 Los Angeles CA West - Drivers
2570726            Regular      24.00   18.00 12/31/2018 Los Angeles CA West - Drivers
2570726            Regular      40.00   18.00 01/07/2019 Los Angeles CA West - Drivers
2570726            Overtime      4.50   27.00 01/07/2019 Los Angeles CA West - Drivers
2570726            Regular       8.00   18.00 01/14/2019 Los Angeles CA West - Drivers
2570726            Overtime      3.50   27.00 01/14/2019 Los Angeles CA West - Drivers
Total for 2570726               90.00
1352285            Regular      40.00   26.00 03/04/2019 zz - San Francisco CA - Drivers
1352285            Overtime      7.75   39.00 03/04/2019 zz - San Francisco CA - Drivers
1352285            Regular      40.00   26.00 03/11/2019 zz - San Francisco CA - Drivers
1352285            Overtime      9.75   39.00 03/11/2019 zz - San Francisco CA - Drivers
1352285            Regular      40.00   26.00 03/18/2019 zz - San Francisco CA - Drivers
1352285            Overtime      5.25   39.00 03/18/2019 zz - San Francisco CA - Drivers
1352285            Regular      40.00   26.00 03/25/2019 zz - San Francisco CA - Drivers
1352285            Overtime      8.75   39.00 03/25/2019 zz - San Francisco CA - Drivers
1352285            Regular      40.00   26.00 04/01/2019 zz - San Francisco CA - Drivers
1352285            Overtime     12.50   39.00 04/01/2019 zz - San Francisco CA - Drivers
1352285            Regular      24.00   26.00 04/08/2019 zz - San Francisco CA - Drivers
1352285            Overtime      6.50   39.00 04/08/2019 zz - San Francisco CA - Drivers
Total for 1352285              274.50
2564501            Regular      16.00   20.00 08/27/2018 Phoenix AZ - Drivers
2564501            Overtime      8.00   30.00 08/27/2018 Phoenix AZ - Drivers
2564501            Regular      24.00   20.00 09/03/2018 Phoenix AZ - Drivers
2564501            Overtime      6.25   30.00 09/03/2018 Phoenix AZ - Drivers
2564501            Regular      24.00   20.00 09/10/2018 Phoenix AZ - Drivers
2564501            Overtime     10.00   30.00 09/10/2018 Phoenix AZ - Drivers
2564501            Regular      32.00   20.00 10/15/2018 Phoenix AZ - Drivers
2564501            Overtime     11.50   30.00 10/15/2018 Phoenix AZ - Drivers
2564501            Regular      16.00   20.00 10/22/2018 Phoenix AZ - Drivers
2564501            Overtime      4.00   30.00 10/22/2018 Phoenix AZ - Drivers
2564501            Regular      40.00   20.00 11/05/2018 Phoenix AZ - Drivers
2564501            Overtime     24.00   30.00 11/05/2018 Phoenix AZ - Drivers
2564501            Regular      40.00   20.00 11/12/2018 Phoenix AZ - Drivers
2564501            Overtime     24.00   30.00 11/12/2018 Phoenix AZ - Drivers
2564501            Regular      32.00   20.00 11/19/2018 Phoenix AZ - Drivers
2564501            Overtime      7.25   30.00 11/19/2018 Phoenix AZ - Drivers
2564501            Regular      32.00   20.00 11/26/2018 Phoenix AZ - Drivers
2564501            Overtime      7.00   30.00 11/26/2018 Phoenix AZ - Drivers
2564501            Regular      40.00   20.00 12/03/2018 Phoenix AZ - Drivers
2564501            Overtime     13.50   30.00 12/03/2018 Phoenix AZ - Drivers
2564501            Regular       8.00   20.50 12/10/2018 Phoenix AZ - Drivers
2564501            Overtime      2.00   30.75 12/10/2018 Phoenix AZ - Drivers
2564501            Regular      40.00   20.50 12/17/2018 Phoenix AZ - Drivers
2564501            Overtime     15.00   30.75 12/17/2018 Phoenix AZ - Drivers
2564501            Regular      40.00   20.50 12/24/2018 Phoenix AZ - Drivers
2564501            Overtime     11.75   30.75 12/24/2018 Phoenix AZ - Drivers
2564501            Regular      40.00   20.50 12/31/2018 Phoenix AZ - Drivers
2564501            Overtime      4.75   30.75 12/31/2018 Phoenix AZ - Drivers
2564501            Regular      24.00   20.50 01/07/2019 Phoenix AZ - Drivers
2564501            Overtime      8.75   30.75 01/07/2019 Phoenix AZ - Drivers
2564501            Regular      40.00   20.50 01/14/2019 Phoenix AZ - Drivers
2564501            Overtime     18.25   30.75 01/14/2019 Phoenix AZ - Drivers
2564501            Regular      32.00   20.50 01/21/2019 Phoenix AZ - Drivers
2564501            Overtime      5.25   30.75 01/21/2019 Phoenix AZ - Drivers
2564501            Regular      40.00   20.50 01/28/2019 Phoenix AZ - Drivers
2564501            Overtime     17.00   30.75 01/28/2019 Phoenix AZ - Drivers
2564501            Regular       8.00   20.50 02/04/2019 Phoenix AZ - Drivers
2564501            Overtime      4.00   30.75 02/04/2019 Phoenix AZ - Drivers
2564501            Regular      32.00   20.50 02/11/2019 Phoenix AZ - Drivers
2564501            Overtime     14.00   30.75 02/11/2019 Phoenix AZ - Drivers
2564501            Regular      16.00   20.50 02/25/2019 Phoenix AZ - Drivers
2564501            Overtime      4.00   30.75 02/25/2019 Phoenix AZ - Drivers
2564501 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         20.50 38-5    Filed Phoenix
                                                 03/04/2019  03/22/21AZ -Page   349 of 691
                                                                          Drivers            Page ID
2564501            Overtime       8.50   30.75 #:1122
                                                 03/04/2019 Phoenix AZ - Drivers
2564501            Regular       15.75   20.50 07/16/2018 Phoenix AZ - Drivers
2564501            Overtime       0.25   30.75 07/16/2018 Phoenix AZ - Drivers
2564501            Regular        8.00   20.50 07/30/2018 Phoenix AZ - Drivers
2564501            Overtime       4.00   30.75 07/30/2018 Phoenix AZ - Drivers
2564501            Regular        8.00   20.50 08/13/2018 Phoenix AZ - Drivers
2564501            Overtime       3.50   30.75 08/13/2018 Phoenix AZ - Drivers
2564501            Regular        8.00   20.50 09/03/2018 Phoenix AZ - Drivers
2564501            Overtime       4.00   30.75 09/03/2018 Phoenix AZ - Drivers
2564501            Regular        7.75   20.50 10/15/2018 Phoenix AZ - Drivers
2564501            Regular       40.00   26.00 09/17/2018 Phoenix AZ - Drivers
2564501            Overtime       2.75   39.00 09/17/2018 Phoenix AZ - Drivers
2564501            Regular       40.00   26.00 09/24/2018 Phoenix AZ - Drivers
2564501            Overtime       6.00   39.00 09/24/2018 Phoenix AZ - Drivers
2564501            Regular       35.00   26.00 10/01/2018 Phoenix AZ - Drivers
2564501            Regular       24.00   26.00 10/08/2018 Phoenix AZ - Drivers
2564501            Overtime      14.69   39.00 10/08/2018 Phoenix AZ - Drivers
2564501            Regular       11.50   21.85 02/18/2019 Phoenix AZ - Drivers
2564501            Regular       16.75   21.85 02/25/2019 Phoenix AZ - Drivers
2564501            Regular       30.75   21.85 03/18/2019 Phoenix AZ - Drivers
2564501            Regular       34.25   21.85 03/25/2019 Phoenix AZ - Drivers
2564501            Regular       16.25   21.85 04/01/2019 Phoenix AZ - Drivers
2564501            Regular       36.50   21.85 04/15/2019 Phoenix AZ - Drivers
2564501            Regular       40.00   22.00 04/29/2019 Phoenix AZ - Drivers
2564501            Overtime      36.75   33.00 04/29/2019 Phoenix AZ - Drivers
2564501            Regular       16.00   22.00 05/06/2019 Phoenix AZ - Drivers
2564501            Overtime       4.00   33.00 05/06/2019 Phoenix AZ - Drivers
2564501            Regular        8.00   22.00 04/08/2019 Phoenix AZ - Drivers
2564501            Overtime       4.00   33.00 04/08/2019 Phoenix AZ - Drivers
2564501            Regular       32.00   21.00 07/23/2018 Phoenix AZ - Drivers
2564501            Overtime       7.00   31.50 07/23/2018 Phoenix AZ - Drivers
2564501            Regular       40.00   21.00 07/30/2018 Phoenix AZ - Drivers
2564501            Overtime       9.75   31.50 07/30/2018 Phoenix AZ - Drivers
2564501            Regular       40.00   21.00 08/06/2018 Phoenix AZ - Drivers
2564501            Overtime       3.75   31.50 08/06/2018 Phoenix AZ - Drivers
2564501            Regular       40.00   21.00 08/13/2018 Phoenix AZ - Drivers
2564501            Overtime       7.50   31.50 08/13/2018 Phoenix AZ - Drivers
2564501            Regular       32.00   21.00 08/20/2018 Phoenix AZ - Drivers
2564501            Overtime       3.50   31.50 08/20/2018 Phoenix AZ - Drivers
2564501            Regular       40.00   21.00 08/27/2018 Phoenix AZ - Drivers
2564501            Overtime       8.25   31.50 08/27/2018 Phoenix AZ - Drivers
2564501            Regular        8.00   21.00 09/03/2018 Phoenix AZ - Drivers
2564501            Overtime       3.00   31.50 09/03/2018 Phoenix AZ - Drivers
2564501            Regular        8.00   27.50 04/22/2019 Phoenix AZ - Drivers
Total for 2564501             1,635.94
2256926            Regular       24.50   20.92 06/05/2017 Sacramento CA - Drivers
2256926            Regular        9.50   21.85 06/12/2017 Sacramento CA - Drivers
2256926            Regular       12.75   23.00 06/05/2017 Sacramento CA - Drivers
2256926            Overtime       2.00   34.50 06/05/2017 Sacramento CA - Drivers
Total for 2256926                48.75
1165493            Regular       16.00   16.00 08/31/2015 Los Angeles CA East - Drivers
1165493            Overtime       6.00   24.00 08/31/2015 Los Angeles CA East - Drivers
1165493            Regular        8.00   16.00 10/05/2015 Los Angeles CA East - Drivers
1165493            Overtime       4.00   24.00 10/05/2015 Los Angeles CA East - Drivers
1165493            Regular       19.00   16.00 10/12/2015 Los Angeles CA East - Drivers
1165493            Overtime       1.00   24.00 10/12/2015 Los Angeles CA East - Drivers
1165493            Regular       16.00   16.00 08/10/2015 Los Angeles CA East - Drivers
1165493            Overtime       1.25   24.00 08/10/2015 Los Angeles CA East - Drivers
1165493            Regular        6.00   16.00 09/28/2015 Los Angeles CA East - Drivers
1165493            Regular       12.00   16.00 08/03/2015 Los Angeles CA East - Drivers
1165493            Regular        8.00   16.00 08/10/2015 Los Angeles CA East - Drivers
1165493            Overtime       3.50   24.00 08/10/2015 Los Angeles CA East - Drivers
1165493 Case 2:19-cv-08580-JFW-MAA
                   Regular      10.00Document
                                        16.00 38-5    Filed Los
                                                08/17/2015  03/22/21
                                                                AngelesPage 350
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1165493            Overtime      3.50   24.00 #:1123
                                                08/17/2015 Los Angeles CA East - Drivers
1165493            Regular       8.00   16.00 08/24/2015 Los Angeles CA East - Drivers
1165493            Overtime      3.50   24.00 08/24/2015 Los Angeles CA East - Drivers
1165493            Regular      16.00   16.00 09/14/2015 Los Angeles CA East - Drivers
1165493            Regular      23.50   16.00 09/21/2015 Los Angeles CA East - Drivers
1165493            Overtime      0.50   24.00 09/21/2015 Los Angeles CA East - Drivers
1165493            Regular      24.50   16.00 10/05/2015 Los Angeles CA East - Drivers
1165493            Overtime      1.00   24.00 10/05/2015 Los Angeles CA East - Drivers
1165493            Regular      16.00   16.00 10/12/2015 Los Angeles CA East - Drivers
1165493            Overtime      3.50   24.00 10/12/2015 Los Angeles CA East - Drivers
Total for 1165493              210.75
2391515            Regular      40.00   20.00 10/09/2017 Los Angeles CA East - Drivers
2391515            Overtime     12.75   30.00 10/09/2017 Los Angeles CA East - Drivers
2391515            Regular      40.00   20.00 10/16/2017 Los Angeles CA East - Drivers
2391515            Overtime     15.00   30.00 10/16/2017 Los Angeles CA East - Drivers
2391515            Regular      37.00   20.00 10/23/2017 Los Angeles CA East - Drivers
2391515            Overtime      8.25   30.00 10/23/2017 Los Angeles CA East - Drivers
2391515            Regular      40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
2391515            Overtime     17.50   30.00 10/30/2017 Los Angeles CA East - Drivers
2391515            Regular      40.00   20.00 11/06/2017 Los Angeles CA East - Drivers
2391515            Overtime     15.75   30.00 11/06/2017 Los Angeles CA East - Drivers
2391515            Regular      40.00   20.00 11/13/2017 Los Angeles CA East - Drivers
2391515            Overtime     14.00   30.00 11/13/2017 Los Angeles CA East - Drivers
2391515            Regular      24.00   20.00 11/20/2017 Los Angeles CA East - Drivers
2391515            Overtime     10.50   30.00 11/20/2017 Los Angeles CA East - Drivers
2391515            Regular      40.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2391515            Overtime     15.00   30.00 11/27/2017 Los Angeles CA East - Drivers
2391515            Regular      40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
2391515            Overtime     12.00   30.00 12/04/2017 Los Angeles CA East - Drivers
2391515            Regular      16.00   20.00 12/11/2017 Los Angeles CA East - Drivers
2391515            Overtime      2.50   30.00 12/11/2017 Los Angeles CA East - Drivers
2391515            Regular       1.00   21.00 10/02/2017 Los Angeles CA East - Drivers
Total for 2391515              481.25
836401             Regular      24.00   18.50 08/17/2015 Los Angeles CA East - Drivers
836401             Regular      32.00   18.50 08/24/2015 Los Angeles CA East - Drivers
836401             Overtime      6.25   27.75 08/24/2015 Los Angeles CA East - Drivers
836401             Regular      39.00   20.00 08/31/2015 Los Angeles CA East - Drivers
836401             Overtime      7.50   30.00 08/31/2015 Los Angeles CA East - Drivers
836401             Regular      32.00   20.00 09/07/2015 Los Angeles CA East - Drivers
836401             Overtime      5.75   30.00 09/07/2015 Los Angeles CA East - Drivers
836401             Regular      39.00   20.00 09/14/2015 Los Angeles CA East - Drivers
836401             Overtime     11.50   30.00 09/14/2015 Los Angeles CA East - Drivers
836401             Regular      39.50   20.00 09/21/2015 Los Angeles CA East - Drivers
836401             Overtime     11.00   30.00 09/21/2015 Los Angeles CA East - Drivers
836401             Regular      34.50   20.00 09/28/2015 Los Angeles CA East - Drivers
836401             Overtime      3.00   30.00 09/28/2015 Los Angeles CA East - Drivers
836401             Regular      32.00   20.00 10/05/2015 Los Angeles CA East - Drivers
836401             Overtime      9.00   30.00 10/05/2015 Los Angeles CA East - Drivers
836401             Regular      38.50   20.00 10/12/2015 Los Angeles CA East - Drivers
836401             Overtime     10.25   30.00 10/12/2015 Los Angeles CA East - Drivers
836401             Regular      32.00   20.00 10/19/2015 Los Angeles CA East - Drivers
836401             Overtime      7.50   30.00 10/19/2015 Los Angeles CA East - Drivers
836401             Regular      24.00   20.00 10/26/2015 Los Angeles CA East - Drivers
836401             Overtime      8.50   30.00 10/26/2015 Los Angeles CA East - Drivers
Total for 836401               446.75
2757105            Regular       8.00   21.00 05/13/2019 Los Angeles CA West - Drivers
2757105            Overtime      2.25   31.50 05/13/2019 Los Angeles CA West - Drivers
2757105            Regular      24.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2757105            Overtime      2.50   31.50 05/20/2019 Los Angeles CA West - Drivers
2757105            Regular       8.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2757105            Overtime      1.00   31.50 05/27/2019 Los Angeles CA West - Drivers
Total for 2757105               45.75
914412 Case 2:19-cv-08580-JFW-MAA
                  Regular      40.00Document
                                       25.00 38-5    Filed zz
                                               03/11/2019  03/22/21    Page CA
                                                              - San Francisco 351- Drivers
                                                                                   of 691    Page ID
914412            Overtime     16.00   37.50 #:1124
                                               03/11/2019 zz - San Francisco CA - Drivers
914412            Regular      39.25   25.00 03/18/2019 zz - San Francisco CA - Drivers
914412            Overtime     13.75   37.50 03/18/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 03/25/2019 zz - San Francisco CA - Drivers
914412            Overtime     14.75   37.50 03/25/2019 zz - San Francisco CA - Drivers
914412            Regular      32.00   25.00 04/01/2019 zz - San Francisco CA - Drivers
914412            Overtime     13.50   37.50 04/01/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 04/08/2019 zz - San Francisco CA - Drivers
914412            Overtime     14.25   37.50 04/08/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 04/15/2019 zz - San Francisco CA - Drivers
914412            Overtime     16.75   37.50 04/15/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 04/22/2019 zz - San Francisco CA - Drivers
914412            Overtime     16.50   37.50 04/22/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 04/29/2019 zz - San Francisco CA - Drivers
914412            Overtime     17.25   37.50 04/29/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 05/06/2019 zz - San Francisco CA - Drivers
914412            Overtime     15.25   37.50 05/06/2019 zz - San Francisco CA - Drivers
914412            Regular      24.00   25.00 05/13/2019 zz - San Francisco CA - Drivers
914412            Overtime     16.25   37.50 05/06/2019 zz - San Francisco CA - Drivers
914412            Regular      40.00   25.00 05/20/2019 zz - San Francisco CA - Drivers
914412            Overtime     20.25   37.50 05/20/2019 zz - San Francisco CA - Drivers
914412            Regular      37.75   25.00 05/27/2019 zz - San Francisco CA - Drivers
914412            Overtime     12.00   37.50 05/27/2019 zz - San Francisco CA - Drivers
914412            Regular      39.25   25.00 06/03/2019 zz - San Francisco CA - Drivers
914412            Overtime     13.00   37.50 06/03/2019 zz - San Francisco CA - Drivers
914412            Regular      13.75   25.00 06/10/2019 zz - San Francisco CA - Drivers
914412            Overtime      0.50   37.50 06/10/2019 zz - San Francisco CA - Drivers
Total for 914412              706.00
1181395           Regular      31.50   23.00 09/18/2017 Sacramento CA - Drivers
1181395           Overtime      2.25   34.50 09/18/2017 Sacramento CA - Drivers
1181395           Regular       8.00   23.00 09/25/2017 Sacramento CA - Drivers
1181395           Overtime      2.00   34.50 09/25/2017 Sacramento CA - Drivers
Total for 1181395              43.75
904437            Regular      34.25   25.00 08/12/2019 Los Angeles CA East - Drivers
904437            Overtime      5.75   37.50 08/12/2019 Los Angeles CA East - Drivers
904437            Regular      40.00   25.00 08/19/2019 Los Angeles CA East - Drivers
904437            Overtime     10.00   37.50 08/19/2019 Los Angeles CA East - Drivers
904437            Regular      40.00   25.00 08/26/2019 Los Angeles CA East - Drivers
904437            Overtime     10.00   37.50 08/26/2019 Los Angeles CA East - Drivers
904437            Regular      40.00   25.00 09/02/2019 Los Angeles CA East - Drivers
904437            Overtime     13.00   37.50 09/02/2019 Los Angeles CA East - Drivers
Total for 904437              193.00
699379            Regular      16.00   19.00 08/01/2016 Los Angeles CA East - Drivers
699379            Overtime      3.00   28.50 08/01/2016 Los Angeles CA East - Drivers
699379            Regular      16.00   15.00 06/13/2016 Los Angeles CA East - Drivers
699379            Regular      11.00   20.00 06/20/2016 Los Angeles CA East - Drivers
699379            Overtime      4.00   30.00 06/20/2016 Los Angeles CA East - Drivers
699379            Regular       8.00   20.00 06/27/2016 Los Angeles CA East - Drivers
699379            Overtime      4.00   30.00 06/27/2016 Los Angeles CA East - Drivers
699379            Regular      40.00   20.00 07/18/2016 Los Angeles CA East - Drivers
699379            Overtime     15.00   30.00 07/18/2016 Los Angeles CA East - Drivers
699379            Regular      24.00   19.00 06/05/2017 Los Angeles CA East - Drivers
699379            Overtime      4.50   28.50 06/05/2017 Los Angeles CA East - Drivers
699379            Regular      40.00   19.00 06/12/2017 Los Angeles CA East - Drivers
699379            Overtime     17.50   28.50 06/12/2017 Los Angeles CA East - Drivers
699379            Regular      40.00   19.00 06/19/2017 Los Angeles CA East - Drivers
699379            Overtime     14.50   28.50 06/19/2017 Los Angeles CA East - Drivers
699379            Regular      32.00   19.00 09/25/2017 Los Angeles CA East - Drivers
699379            Overtime      9.00   28.50 09/25/2017 Los Angeles CA East - Drivers
699379            Regular       8.00   19.00 10/02/2017 Los Angeles CA East - Drivers
699379            Overtime      3.50   28.50 10/02/2017 Los Angeles CA East - Drivers
699379            Regular      10.50   17.00 06/06/2016 Los Angeles CA East - Drivers
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                    Regular       8.00Document
                                         19.50 38-5    Filed Los
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                                                                                - Drivers
699379              Overtime      0.50   29.25 #:1125
                                                 01/01/2018 Los Angeles CA East - Drivers
699379              Regular         5.50    19.00   06/06/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        21.00    21.00   06/20/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        1.50    31.50   06/20/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        18.00    21.00   06/27/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        3.50    31.50   06/27/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        22.50    21.00   07/04/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.50    31.50   07/04/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    21.00   07/11/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        5.50    31.50   07/11/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    21.00   08/01/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        0.50    31.50   08/01/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        13.50    21.00   08/08/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        21.50    21.00   08/15/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        6.50    31.50   08/15/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        22.00    21.00   08/29/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    31.50   08/29/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   09/05/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    30.00   09/05/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   09/12/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        3.00    30.00   09/12/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    20.00   09/26/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        2.00    30.00   09/26/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    39.17   10/02/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        3.00    58.76   10/02/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        12.50    39.17   06/11/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        1.50    58.76   06/11/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    39.17   06/18/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.00    58.76   06/18/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    20.00   01/15/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    30.00   01/15/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    20.00   03/19/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    30.00   03/19/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   03/26/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    30.00   03/26/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   04/02/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        5.00    30.00   04/02/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   04/09/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.50    30.00   04/09/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   04/16/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   04/16/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   04/23/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.50    30.00   04/23/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   04/30/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   04/30/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   05/07/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.50    30.00   05/07/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       23.50    30.00   05/14/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.00    30.00   05/21/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    30.00   05/28/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   06/04/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.00    30.00   06/04/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   06/11/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.50    30.00   06/11/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   06/25/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    30.00   06/25/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/02/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    30.00   07/02/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   East   - Drivers
699379   Case 2:19-cv-08580-JFW-MAA
                    Overtime     18.00Document
                                         30.00 38-5    Filed Los
                                                 07/09/2018  03/22/21
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
699379              Regular      40.00   20.00 #:1126
                                                 07/16/2018 Los Angeles CA East - Drivers
699379              Overtime       15.00    30.00   07/16/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   07/23/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    30.00   07/23/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       20.50    30.00   07/30/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   08/06/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   08/13/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        8.00    30.00   08/13/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   08/20/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       23.00    30.00   08/20/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   08/27/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       22.00    30.00   08/27/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   09/03/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        7.50    30.00   09/03/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   09/10/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   09/10/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   09/17/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       23.50    30.00   09/17/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   09/24/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    30.00   09/24/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   10/01/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    30.00   10/01/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   10/08/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        8.00    30.00   10/08/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/15/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       21.50    30.00   10/15/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/22/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       22.00    30.00   10/22/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   10/29/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   10/29/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   11/05/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       20.50    30.00   11/05/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   11/12/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    30.00   11/12/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   11/19/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        7.50    30.00   11/19/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   11/26/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.00    30.00   11/26/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   12/03/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       24.50    30.00   12/03/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   12/10/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        8.00    30.00   12/10/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   12/17/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       24.50    30.00   12/17/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   12/24/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.00    30.00   12/24/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   12/31/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    30.00   12/31/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   01/07/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.50    31.13   01/07/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   01/14/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    31.13   01/14/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   01/21/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.50    31.13   01/21/2019   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    20.75   01/28/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        3.50    31.13   01/28/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   02/11/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    31.13   02/11/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   02/18/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    31.13   02/18/2019   Los   Angeles   CA   East   - Drivers
699379   Case 2:19-cv-08580-JFW-MAA
                    Regular      24.00Document
                                         20.75 38-5    Filed Los
                                                 02/25/2019  03/22/21
                                                                 AngelesPage 354
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
699379              Overtime      9.00   31.13 #:1127
                                                 02/25/2019 Los Angeles CA East - Drivers
699379              Regular        32.00    20.75   03/04/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    31.13   03/04/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   03/11/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    31.13   03/11/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   03/18/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    31.13   03/18/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   03/25/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    31.13   03/25/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   04/01/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.50    31.13   04/01/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   04/08/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.50    31.13   04/08/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   04/15/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.00    31.13   04/15/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   04/22/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    31.13   04/22/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.75   04/29/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        8.00    31.13   04/29/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.75   05/06/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        6.50    31.13   05/06/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   05/13/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    31.13   05/13/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   05/20/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.00    31.13   05/20/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   05/27/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.50    31.13   05/27/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   06/03/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.00    31.13   06/03/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   06/10/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.50    31.13   06/10/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   06/17/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        7.50    31.13   06/17/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   06/24/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    31.13   06/24/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.75   07/01/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.50    31.13   07/01/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.75   07/08/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        5.00    31.13   07/08/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   07/15/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.00    31.13   07/15/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.75   07/22/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.00    31.13   07/22/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.75   07/29/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        7.00    31.13   07/29/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.75   08/05/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime        6.50    31.13   08/05/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   08/12/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.00    31.13   08/12/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   08/19/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    31.13   08/19/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   08/26/2019   Los   Angeles   CA   East   - Drivers
699379              Overtime       21.00    31.13   08/26/2019   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.75   09/02/2019   Los   Angeles   CA   East   - Drivers
699379              Regular         1.00    19.00   01/01/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         1.50    20.98   04/02/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    21.00   01/29/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        2.50    31.50   01/29/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    21.00   01/08/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        3.00    31.50   01/08/2018   Los   Angeles   CA   East   - Drivers
699379   Case 2:19-cv-08580-JFW-MAA
                    Regular       8.00Document
                                         21.00 38-5    Filed Los
                                                 01/22/2018  03/22/21
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
699379              Overtime      2.00   31.50 #:1128
                                                 01/22/2018 Los Angeles CA East - Drivers
699379              Regular         7.00    19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    18.00   06/13/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        3.75    27.00   06/13/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    18.40   08/08/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        2.50    27.60   08/08/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         2.00    20.75   04/02/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    20.00   08/29/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        2.00    30.00   08/29/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   09/19/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        4.00    30.00   09/19/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         8.00    20.00   09/26/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/03/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        5.50    30.00   10/03/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/10/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.00    30.00   10/10/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/17/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/24/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       23.50    30.00   10/24/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   10/31/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.50    30.00   10/31/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   11/07/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.00    30.00   11/07/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   11/14/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   11/14/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        29.00    20.00   11/21/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.50    30.00   11/21/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   11/28/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.50    30.00   11/28/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        31.50    20.00   12/05/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        8.50    30.00   12/05/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   12/12/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        5.50    30.00   12/12/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   12/19/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    30.00   12/19/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   12/26/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime        8.00    30.00   12/26/2016   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   01/02/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        5.00    30.00   01/02/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   01/09/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.50    30.00   01/09/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   01/16/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   01/16/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   01/23/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    30.00   01/23/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   01/30/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.00    30.00   01/30/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        39.50    20.00   02/06/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    30.00   02/06/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   02/13/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    30.00   02/13/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   02/20/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        9.00    30.00   02/20/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   02/27/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.00    30.00   02/27/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   03/06/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.50    30.00   03/06/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   03/13/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.50    30.00   03/13/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   03/20/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime        7.50    30.00   03/20/2017   Los   Angeles   CA   East   - Drivers
699379   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         20.00 38-5    Filed Los
                                                 03/27/2017  03/22/21
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
699379              Overtime     14.50   30.00 #:1129
                                                 03/27/2017 Los Angeles CA East - Drivers
699379              Regular        40.00    20.00   04/03/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.50    30.00   04/03/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   04/10/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.00    30.00   04/10/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   04/17/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       17.00    30.00   04/17/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   04/24/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       12.50    30.00   04/24/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   05/01/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.50    30.00   05/01/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   05/08/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.00    30.00   05/08/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   05/15/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.00    30.00   05/15/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   05/22/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       10.00    30.00   05/22/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        37.50    20.00   05/29/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.75    30.00   05/29/2017   Los   Angeles   CA   East   - Drivers
699379              Regular         -5.50   20.00   05/29/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime         5.50   30.00   05/29/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   06/26/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.00    30.00   06/26/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   07/03/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       11.50    30.00   07/03/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/10/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.50    30.00   07/10/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/17/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.00    30.00   07/17/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/24/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       16.00    30.00   07/24/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   07/31/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       15.50    30.00   07/31/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        38.00    20.00   08/07/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime         4.50   30.00   08/07/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   08/14/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime         9.50   30.00   08/14/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   08/21/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       13.50    30.00   08/21/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   08/28/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       17.00    30.00   08/28/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   09/04/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.00    30.00   09/04/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        40.00    20.00   09/11/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime       14.00    30.00   09/11/2017   Los   Angeles   CA   East   - Drivers
699379              Regular        24.00    20.00   09/18/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime         7.50   30.00   09/18/2017   Los   Angeles   CA   East   - Drivers
699379              Regular          8.00   20.00   09/25/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime         2.50   30.00   09/25/2017   Los   Angeles   CA   East   - Drivers
699379              Regular          8.00   20.00   10/02/2017   Los   Angeles   CA   East   - Drivers
699379              Overtime         1.50   30.00   10/02/2017   Los   Angeles   CA   East   - Drivers
699379              Regular          8.00   20.00   01/01/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime         0.50   30.00   01/01/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        32.00    20.00   03/05/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   01/08/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime         5.00   30.00   01/08/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   01/15/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime         5.00   30.00   01/15/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   01/22/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime         3.00   30.00   01/22/2018   Los   Angeles   CA   East   - Drivers
699379              Regular        16.00    20.00   01/29/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime         5.00   30.00   01/29/2018   Los   Angeles   CA   East   - Drivers
699379   Case 2:19-cv-08580-JFW-MAA
                    Regular      32.00Document
                                         20.00 38-5    Filed Los
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                                                                                - Drivers
699379              Overtime      7.00   30.00 #:1130
                                                 02/05/2018 Los Angeles CA East - Drivers
699379              Regular         32.00   20.00   02/12/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        13.50   30.00   02/12/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         40.00   20.00   02/19/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime        11.00   30.00   02/19/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         16.00   20.00   03/19/2018   Los   Angeles   CA   East   - Drivers
699379              Overtime         4.00   30.00   03/19/2018   Los   Angeles   CA   East   - Drivers
699379              Regular         51.25   17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         62.75   17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         48.75   17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         25.00   17.00   08/24/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         76.75   17.00   08/31/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         18.50   17.00   09/07/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         47.50   17.00   09/14/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         24.00   17.00   09/21/2015   Los   Angeles   CA   East   - Drivers
699379              Overtime        12.00   25.50   09/21/2015   Los   Angeles   CA   East   - Drivers
699379              Regular       132.25    17.00   10/05/2015   Los   Angeles   CA   East   - Drivers
699379              Overtime       -12.00   25.50   09/21/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         38.50   17.00   10/12/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         20.50   17.00   10/19/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         50.50   17.00   10/26/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         60.00   17.00   11/02/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         44.75   17.00   11/09/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         62.00   17.00   11/16/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         27.50   17.00   11/23/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         51.25   17.00   11/30/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         56.50   17.00   12/07/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         47.00   17.00   12/14/2015   Los   Angeles   CA   East   - Drivers
699379              Regular       100.50    17.00   12/28/2015   Los   Angeles   CA   East   - Drivers
699379              Regular         57.50   17.00   01/04/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         32.00   17.00   01/11/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         50.00   17.00   01/18/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         22.50   17.00   01/25/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         50.25   17.00   02/01/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         57.00   17.00   02/08/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         52.25   17.00   02/15/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         56.50   17.00   02/22/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         59.75   17.00   02/29/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         56.00   17.00   03/07/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         53.25   17.00   03/14/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         47.50   17.00   03/21/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         55.50   17.00   03/28/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         52.75   17.00   04/04/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         53.00   17.00   04/11/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         53.50   17.00   04/18/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         39.25   17.00   04/25/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         56.00   17.00   05/02/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         52.00   17.00   05/09/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         54.00   17.00   05/16/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         57.25   17.00   05/23/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         40.75   17.00   05/30/2016   Los   Angeles   CA   East   - Drivers
699379              Regular          8.00   18.00   08/15/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime         4.00   27.00   08/15/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         24.00   18.00   08/22/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime         3.50   27.00   08/22/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         21.00   18.00   09/12/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime         3.50   27.00   09/12/2016   Los   Angeles   CA   East   - Drivers
699379              Regular          8.00   18.00   09/19/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime         1.50   27.00   09/19/2016   Los   Angeles   CA   East   - Drivers
699379              Regular          8.00   18.00   09/26/2016   Los   Angeles   CA   East   - Drivers
699379              Overtime         1.00   27.00   09/26/2016   Los   Angeles   CA   East   - Drivers
699379              Regular         32.00   19.00   10/09/2017   Los   Angeles   CA   East   - Drivers
699379 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00Document
                                        19.00 38-5    Filed Los
                                                10/16/2017  03/22/21
                                                                AngelesPage 358
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
699379            Overtime       1.00   28.50 #:1131
                                                10/16/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 10/23/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 10/30/2017 Los Angeles CA East - Drivers
699379            Regular       32.00   19.00 11/06/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 11/13/2017 Los Angeles CA East - Drivers
699379            Overtime       1.00   28.50 11/13/2017 Los Angeles CA East - Drivers
699379            Regular       24.00   19.00 11/20/2017 Los Angeles CA East - Drivers
699379            Overtime       1.50   28.50 11/20/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 11/27/2017 Los Angeles CA East - Drivers
699379            Overtime       1.50   28.50 11/27/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 12/04/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 12/11/2017 Los Angeles CA East - Drivers
699379            Regular       40.00   19.00 12/18/2017 Los Angeles CA East - Drivers
699379            Overtime       3.00   28.50 12/18/2017 Los Angeles CA East - Drivers
699379            Regular       24.00   19.00 12/25/2017 Los Angeles CA East - Drivers
699379            Regular        8.00   20.00 02/04/2019 Los Angeles CA East - Drivers
699379            Regular        8.00   20.00 08/12/2019 Los Angeles CA East - Drivers
699379            Regular       16.00   17.00 07/25/2016 Los Angeles CA East - Drivers
699379            Regular        5.00   17.00 06/06/2016 Los Angeles CA East - Drivers
699379            Regular       32.00   20.00 03/12/2018 Los Angeles CA East - Drivers
699379            Overtime       7.50   30.00 03/12/2018 Los Angeles CA East - Drivers
Total for 699379             9,576.25
946957            Regular       16.00   20.00 10/12/2015 Los Angeles CA West - Drivers
946957            Overtime       3.50   30.00 10/12/2015 Los Angeles CA West - Drivers
946957            Regular       32.00   20.00 10/19/2015 Los Angeles CA West - Drivers
946957            Overtime      12.50   30.00 10/19/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
946957            Overtime      15.00   30.00 10/26/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 11/02/2015 Los Angeles CA West - Drivers
946957            Overtime      13.00   30.00 11/02/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 11/09/2015 Los Angeles CA West - Drivers
946957            Overtime      11.75   30.00 11/09/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 11/16/2015 Los Angeles CA West - Drivers
946957            Overtime      12.50   30.00 11/16/2015 Los Angeles CA West - Drivers
946957            Regular       39.00   20.00 11/23/2015 Los Angeles CA West - Drivers
946957            Overtime       8.75   30.00 11/23/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 11/30/2015 Los Angeles CA West - Drivers
946957            Overtime      10.25   30.00 11/30/2015 Los Angeles CA West - Drivers
946957            Regular       32.00   20.00 12/07/2015 Los Angeles CA West - Drivers
946957            Overtime      15.00   30.00 12/07/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 12/14/2015 Los Angeles CA West - Drivers
946957            Overtime      12.50   30.00 12/14/2015 Los Angeles CA West - Drivers
946957            Regular       32.00   20.00 12/21/2015 Los Angeles CA West - Drivers
946957            Overtime      11.00   30.00 12/21/2015 Los Angeles CA West - Drivers
946957            Regular       24.00   20.00 12/28/2015 Los Angeles CA West - Drivers
946957            Overtime       8.00   30.00 12/28/2015 Los Angeles CA West - Drivers
946957            Regular       40.00   20.00 01/04/2016 Los Angeles CA West - Drivers
946957            Overtime      12.50   30.00 01/04/2016 Los Angeles CA West - Drivers
946957            Regular       32.00   20.00 01/11/2016 Los Angeles CA West - Drivers
946957            Overtime      11.50   30.00 01/11/2016 Los Angeles CA West - Drivers
Total for 946957               644.75
2656746           Regular       24.00   19.00 12/17/2018 Los Angeles CA East - Drivers
2656746           Overtime       0.50   28.50 12/17/2018 Los Angeles CA East - Drivers
2656746           Regular       24.00   19.00 12/24/2018 Los Angeles CA East - Drivers
2656746           Regular       24.00   19.00 12/31/2018 Los Angeles CA East - Drivers
2656746           Regular       32.00   19.00 01/07/2019 Los Angeles CA East - Drivers
2656746           Regular       32.00   19.00 01/14/2019 Los Angeles CA East - Drivers
2656746           Overtime       5.00   28.50 01/14/2019 Los Angeles CA East - Drivers
2656746           Regular       24.00   19.00 01/21/2019 Los Angeles CA East - Drivers
2656746           Regular       16.00   19.00 01/28/2019 Los Angeles CA East - Drivers
2656746           Overtime       2.00   28.50 01/28/2019 Los Angeles CA East - Drivers
2656746           Regular       16.00   19.00 02/04/2019 Los Angeles CA East - Drivers
2656746 Case 2:19-cv-08580-JFW-MAA
                   Regular       16.00Document
                                         19.00 38-5    Filed Los
                                                 02/11/2019  03/22/21
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                                                                                - Drivers   Page ID
2656746            Regular        8.00   19.00 #:1132
                                                 02/18/2019 Los Angeles CA East - Drivers
2656746            Regular        8.00   19.00 02/25/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   19.00 03/04/2019 Los Angeles CA East - Drivers
2656746            Overtime       4.00   28.50 03/04/2019 Los Angeles CA East - Drivers
2656746            Regular       16.00   19.00 03/11/2019 Los Angeles CA East - Drivers
2656746            Overtime       2.00   28.50 03/11/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   19.00 03/18/2019 Los Angeles CA East - Drivers
2656746            Regular       16.00   19.00 03/25/2019 Los Angeles CA East - Drivers
2656746            Regular       16.00   19.00 04/01/2019 Los Angeles CA East - Drivers
2656746            Regular       16.00   19.00 04/08/2019 Los Angeles CA East - Drivers
2656746            Overtime       3.50   28.50 04/08/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   19.00 04/15/2019 Los Angeles CA East - Drivers
2656746            Overtime       4.00   28.50 04/15/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   19.00 04/22/2019 Los Angeles CA East - Drivers
2656746            Overtime       5.00   28.50 04/22/2019 Los Angeles CA East - Drivers
2656746            Regular       24.00   20.00 04/29/2019 Los Angeles CA East - Drivers
2656746            Overtime       4.00   30.00 04/29/2019 Los Angeles CA East - Drivers
2656746            Regular       24.00   20.00 05/06/2019 Los Angeles CA East - Drivers
2656746            Overtime       3.50   30.00 05/06/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 05/13/2019 Los Angeles CA East - Drivers
2656746            Overtime       5.50   30.00 05/13/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 05/20/2019 Los Angeles CA East - Drivers
2656746            Overtime       1.50   30.00 05/20/2019 Los Angeles CA East - Drivers
2656746            Regular       24.00   20.00 05/27/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 06/03/2019 Los Angeles CA East - Drivers
2656746            Overtime       6.00   30.00 06/03/2019 Los Angeles CA East - Drivers
2656746            Regular       24.00   20.00 06/10/2019 Los Angeles CA East - Drivers
2656746            Overtime       3.00   30.00 06/10/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 06/17/2019 Los Angeles CA East - Drivers
2656746            Overtime       2.00   30.00 06/17/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 06/24/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 07/01/2019 Los Angeles CA East - Drivers
2656746            Overtime       6.50   30.00 07/01/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 07/08/2019 Los Angeles CA East - Drivers
2656746            Overtime       4.00   30.00 07/08/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 07/15/2019 Los Angeles CA East - Drivers
2656746            Overtime       4.00   30.00 07/15/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 07/22/2019 Los Angeles CA East - Drivers
2656746            Overtime      11.25   30.00 07/22/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 07/29/2019 Los Angeles CA East - Drivers
2656746            Overtime       3.50   30.00 07/29/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 08/05/2019 Los Angeles CA East - Drivers
2656746            Overtime       7.25   30.00 08/05/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 08/12/2019 Los Angeles CA East - Drivers
2656746            Overtime       5.50   30.00 08/12/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 08/19/2019 Los Angeles CA East - Drivers
2656746            Overtime      12.50   30.00 08/19/2019 Los Angeles CA East - Drivers
2656746            Regular       40.00   20.00 08/26/2019 Los Angeles CA East - Drivers
2656746            Overtime       5.00   30.00 08/26/2019 Los Angeles CA East - Drivers
2656746            Regular       32.00   20.00 09/02/2019 Los Angeles CA East - Drivers
2656746            Overtime       6.50   30.00 09/02/2019 Los Angeles CA East - Drivers
Total for 2656746             1,165.50
2413697            Regular       38.00   21.00 04/29/2019 Los Angeles CA East - Drivers
2413697            Regular       29.00   21.00 04/29/2018 Los Angeles CA East - Drivers
2413697            Regular       29.00   21.00 04/29/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 05/20/2019 Los Angeles CA East - Drivers
2413697            Regular       32.00   21.00 05/27/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 06/03/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 06/10/2019 Los Angeles CA East - Drivers
2413697            Regular       32.00   21.00 06/17/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 06/24/2019 Los Angeles CA East - Drivers
2413697            Regular       32.00   21.00 07/01/2019 Los Angeles CA East - Drivers
2413697 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         21.00 38-5    Filed Los
                                                 07/08/2019  03/22/21
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                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2413697            Overtime       1.00   31.50 #:1133
                                                 07/08/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 07/15/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2413697            Regular       32.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 08/05/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 08/12/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 08/19/2019 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2413697            Regular       32.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2413697            Regular       52.00   21.21 11/27/2017 Los Angeles CA East - Drivers
2413697            Regular       48.50   21.21 12/04/2017 Los Angeles CA East - Drivers
2413697            Regular       54.75   21.21 12/11/2017 Los Angeles CA East - Drivers
2413697            Regular       60.50   21.21 12/18/2017 Los Angeles CA East - Drivers
2413697            Regular        6.00   21.21 12/25/2017 Los Angeles CA East - Drivers
2413697            Regular        7.00   21.21 02/12/2018 Los Angeles CA East - Drivers
2413697            Regular       16.50   21.21 02/19/2018 Los Angeles CA East - Drivers
2413697            Regular       11.00   21.21 02/26/2018 Los Angeles CA East - Drivers
2413697            Regular        6.00   21.21 03/05/2018 Los Angeles CA East - Drivers
2413697            Regular       13.00   21.21 03/19/2018 Los Angeles CA East - Drivers
2413697            Regular       32.50   21.21 04/09/2018 Los Angeles CA East - Drivers
2413697            Regular       39.75   21.21 04/16/2018 Los Angeles CA East - Drivers
2413697            Regular       40.25   20.98 04/23/2018 Los Angeles CA East - Drivers
2413697            Regular       39.50   20.98 04/30/2018 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.21 05/07/2018 Los Angeles CA East - Drivers
2413697            Regular       40.00   21.21 05/14/2018 Los Angeles CA East - Drivers
2413697            Regular       40.25   21.21 05/21/2018 Los Angeles CA East - Drivers
2413697            Regular       39.50   21.21 05/28/2018 Los Angeles CA East - Drivers
2413697            Regular       32.50   21.21 06/04/2018 Los Angeles CA East - Drivers
2413697            Regular       47.25   21.21 06/11/2018 Los Angeles CA East - Drivers
2413697            Regular       38.80   21.21 06/18/2018 Los Angeles CA East - Drivers
2413697            Regular       39.00   21.21 06/25/2018 Los Angeles CA East - Drivers
2413697            Regular       40.75   21.21 07/02/2018 Los Angeles CA East - Drivers
2413697            Regular       42.25   20.98 07/09/2018 Los Angeles CA East - Drivers
2413697            Regular       40.50   20.98 07/16/2018 Los Angeles CA East - Drivers
2413697            Regular       39.25   21.21 07/23/2018 Los Angeles CA East - Drivers
2413697            Regular       39.75   21.21 07/30/2018 Los Angeles CA East - Drivers
2413697            Regular       41.25   20.98 08/06/2018 Los Angeles CA East - Drivers
2413697            Regular       39.00   21.21 08/13/2018 Los Angeles CA East - Drivers
2413697            Regular       39.75   21.21 08/20/2018 Los Angeles CA East - Drivers
2413697            Regular        7.50   21.21 08/27/2018 Los Angeles CA East - Drivers
2413697            Regular       19.50   21.21 09/03/2018 Los Angeles CA East - Drivers
2413697            Regular       23.25   21.85 09/10/2018 Los Angeles CA East - Drivers
2413697            Regular       26.00   21.85 09/17/2018 Los Angeles CA East - Drivers
2413697            Regular       41.50   22.11 02/05/2018 Los Angeles CA East - Drivers
2413697            Regular       13.50   22.11 02/12/2018 Los Angeles CA East - Drivers
2413697            Regular       22.75   19.75 11/06/2017 Los Angeles CA East - Drivers
2413697            Overtime       7.75   29.63 11/06/2017 Los Angeles CA East - Drivers
2413697            Regular       40.00   19.75 11/13/2017 Los Angeles CA East - Drivers
2413697            Overtime      18.25   29.63 11/13/2017 Los Angeles CA East - Drivers
2413697            Regular        8.00   19.75 11/20/2017 Los Angeles CA East - Drivers
2413697            Overtime       4.00   29.63 11/20/2017 Los Angeles CA East - Drivers
2413697            Regular        8.00   20.50 01/29/2018 Los Angeles CA East - Drivers
2413697            Overtime       0.25   30.75 01/29/2018 Los Angeles CA East - Drivers
Total for 2413697             2,004.30
2257070            Regular       14.00   19.00 05/08/2017 Los Angeles CA West - Drivers
2257070            Regular       35.50   19.00 05/15/2017 Los Angeles CA West - Drivers
2257070            Overtime       0.50   28.50 05/15/2017 Los Angeles CA West - Drivers
2257070            Regular       36.50   19.00 05/22/2017 Los Angeles CA West - Drivers
2257070            Regular       29.50   19.00 05/29/2017 Los Angeles CA West - Drivers
2257070            Overtime       0.50   28.50 05/29/2017 Los Angeles CA West - Drivers
2257070            Regular       38.00   19.00 06/05/2017 Los Angeles CA West - Drivers
2257070            Overtime       3.00   28.50 06/05/2017 Los Angeles CA West - Drivers
2257070 Case 2:19-cv-08580-JFW-MAA
                   Regular      38.50Document
                                        19.00 38-5    Filed Los
                                                06/12/2017  03/22/21
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                                                                       CA West   of 691    Page ID
2257070            Overtime       0.50  28.50 #:1134
                                                06/12/2017 Los Angeles CA West - Drivers
2257070            Regular      40.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2257070            Overtime       0.50  28.50 06/19/2017 Los Angeles CA West - Drivers
2257070            Regular      38.50   19.00 06/26/2017 Los Angeles CA West - Drivers
2257070            Overtime       3.50  28.50 06/26/2017 Los Angeles CA West - Drivers
2257070            Regular      24.00   19.00 07/03/2017 Los Angeles CA West - Drivers
2257070            Overtime       4.50  28.50 07/03/2017 Los Angeles CA West - Drivers
2257070            Regular      38.50   19.00 07/10/2017 Los Angeles CA West - Drivers
2257070            Overtime       5.00  28.50 07/10/2017 Los Angeles CA West - Drivers
2257070            Regular      40.00   19.00 07/17/2017 Los Angeles CA West - Drivers
2257070            Overtime       6.50  28.50 07/17/2017 Los Angeles CA West - Drivers
Total for 2257070              397.50
1247505            Regular      15.00   20.00 12/21/2015 Los Angeles CA West - Drivers
1247505            Overtime       0.75  30.00 12/21/2015 Los Angeles CA West - Drivers
1247505            Regular      22.00   20.00 12/28/2015 Los Angeles CA West - Drivers
1247505            Overtime       0.25  30.00 12/28/2015 Los Angeles CA West - Drivers
1247505            Regular      16.00   20.00 01/04/2016 Los Angeles CA West - Drivers
1247505            Overtime       5.25  30.00 01/04/2016 Los Angeles CA West - Drivers
Total for 1247505               59.25
2503744            Regular        7.41  19.50 04/02/2018 Los Angeles CA West - Drivers
2503744            Regular        8.00  19.50 04/09/2018 Los Angeles CA West - Drivers
2503744            Overtime       2.50  29.25 04/09/2018 Los Angeles CA West - Drivers
2503744            Regular      16.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2503744            Regular      47.25   20.00 09/10/2018 Los Angeles CA West - Drivers
2503744            Overtime      -5.75  30.00 09/10/2018 Los Angeles CA West - Drivers
2503744            Regular        8.00  20.00 09/17/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   19.00 04/09/2018 Los Angeles CA West - Drivers
2503744            Overtime       0.75  28.50 04/09/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   19.00 04/16/2018 Los Angeles CA West - Drivers
2503744            Overtime       8.50  28.50 04/16/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 04/23/2018 Los Angeles CA West - Drivers
2503744            Overtime       5.00  30.00 04/23/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 04/30/2018 Los Angeles CA West - Drivers
2503744            Overtime       7.00  30.00 04/30/2018 Los Angeles CA West - Drivers
2503744            Regular      32.00   20.00 05/07/2018 Los Angeles CA West - Drivers
2503744            Overtime       6.00  30.00 05/07/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 05/14/2018 Los Angeles CA West - Drivers
2503744            Overtime       3.50  30.00 05/14/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 05/21/2018 Los Angeles CA West - Drivers
2503744            Overtime       3.00  30.00 05/21/2018 Los Angeles CA West - Drivers
2503744            Regular      32.00   20.00 05/28/2018 Los Angeles CA West - Drivers
2503744            Overtime       8.00  30.00 05/28/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 06/04/2018 Los Angeles CA West - Drivers
2503744            Overtime     10.00   30.00 06/04/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 06/11/2018 Los Angeles CA West - Drivers
2503744            Overtime     14.00   30.00 06/11/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 06/18/2018 Los Angeles CA West - Drivers
2503744            Overtime       7.50  30.00 06/18/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2503744            Overtime       7.50  30.00 06/25/2018 Los Angeles CA West - Drivers
2503744            Regular      32.00   20.00 07/02/2018 Los Angeles CA West - Drivers
2503744            Overtime     13.50   30.00 06/25/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 07/09/2018 Los Angeles CA West - Drivers
2503744            Overtime       8.00  30.00 07/09/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 07/16/2018 Los Angeles CA West - Drivers
2503744            Overtime       6.50  30.00 07/16/2018 Los Angeles CA West - Drivers
2503744            Regular      32.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2503744            Overtime       5.50  30.00 07/23/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 07/30/2018 Los Angeles CA West - Drivers
2503744            Overtime       7.25  30.00 07/30/2018 Los Angeles CA West - Drivers
2503744            Regular      40.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2503744            Overtime       9.25  30.00 08/06/2018 Los Angeles CA West - Drivers
2503744 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        20.00 38-5   Filed Los
                                               08/13/2018  03/22/21
                                                               AngelesPage  362- Drivers
                                                                      CA West     of 691   Page ID
Total for 2503744              910.16        #:1135
2852856            Regular      24.00   18.00 09/02/2019 Philadelphia PA - Drivers
2852856            Overtime      5.00   27.00 09/02/2019 Philadelphia PA - Drivers
Total for 2852856               29.00
1302121            Regular      13.25   20.00 11/21/2016 Sacramento CA - Drivers
1302121            Overtime      5.50   30.00 11/21/2016 Sacramento CA - Drivers
1302121            Regular      32.00   20.00 11/28/2016 Sacramento CA - Drivers
1302121            Overtime     10.00   30.00 11/28/2016 Sacramento CA - Drivers
1302121            Regular      43.00   20.00 12/05/2016 Sacramento CA - Drivers
1302121            Overtime     18.50   30.00 12/05/2016 Sacramento CA - Drivers
1302121            Regular      37.25   20.00 12/12/2016 Sacramento CA - Drivers
1302121            Overtime      5.00   30.00 12/12/2016 Sacramento CA - Drivers
1302121            Regular      39.75   20.00 12/19/2016 Sacramento CA - Drivers
1302121            Overtime      4.50   30.00 12/19/2016 Sacramento CA - Drivers
1302121            Regular      28.00   20.00 12/26/2016 Sacramento CA - Drivers
1302121            Regular      38.00   20.00 01/02/2017 Sacramento CA - Drivers
1302121            Overtime      6.50   30.00 01/02/2017 Sacramento CA - Drivers
1302121            Regular      26.00   20.00 01/09/2017 Sacramento CA - Drivers
1302121            Overtime      3.50   30.00 01/09/2017 Sacramento CA - Drivers
1302121            Regular      25.00   20.00 01/16/2017 Sacramento CA - Drivers
1302121            Overtime      6.50   30.00 01/16/2017 Sacramento CA - Drivers
1302121            Regular      23.00   20.00 01/23/2017 Sacramento CA - Drivers
1302121            Overtime      2.50   30.00 01/23/2017 Sacramento CA - Drivers
1302121            Regular      24.00   20.00 01/30/2017 Sacramento CA - Drivers
1302121            Overtime      4.50   30.00 01/30/2017 Sacramento CA - Drivers
1302121            Regular      24.00   20.00 02/06/2017 Sacramento CA - Drivers
1302121            Overtime      5.50   30.00 02/06/2017 Sacramento CA - Drivers
1302121            Regular      32.00   20.00 02/13/2017 Sacramento CA - Drivers
1302121            Overtime     12.00   30.00 02/13/2017 Sacramento CA - Drivers
1302121            Regular      27.00   20.00 02/20/2017 Sacramento CA - Drivers
1302121            Overtime      2.50   30.00 02/20/2017 Sacramento CA - Drivers
1302121            Regular      28.50   20.00 02/27/2017 Sacramento CA - Drivers
1302121            Overtime      6.00   30.00 02/27/2017 Sacramento CA - Drivers
1302121            Regular      28.00   20.00 03/06/2017 Sacramento CA - Drivers
1302121            Overtime      2.50   30.00 03/06/2017 Sacramento CA - Drivers
1302121            Regular      32.50   20.00 03/13/2017 Sacramento CA - Drivers
1302121            Overtime     10.00   30.00 03/13/2017 Sacramento CA - Drivers
1302121            Regular      40.00   20.00 03/20/2017 Sacramento CA - Drivers
1302121            Overtime      8.00   30.00 03/20/2017 Sacramento CA - Drivers
1302121            Regular      32.00   20.00 03/27/2017 Sacramento CA - Drivers
1302121            Overtime     11.50   30.00 03/27/2017 Sacramento CA - Drivers
1302121            Regular      32.00   20.00 04/03/2017 Sacramento CA - Drivers
1302121            Overtime     15.00   30.00 04/03/2017 Sacramento CA - Drivers
1302121            Regular      30.50   20.00 04/10/2017 Sacramento CA - Drivers
1302121            Overtime     10.50   30.00 04/10/2017 Sacramento CA - Drivers
1302121            Regular      30.50   20.00 04/17/2017 Sacramento CA - Drivers
1302121            Overtime      3.00   30.00 04/17/2017 Sacramento CA - Drivers
1302121            Regular      23.00   20.00 04/24/2017 Sacramento CA - Drivers
1302121            Overtime      3.00   30.00 04/24/2017 Sacramento CA - Drivers
1302121            Regular      35.00   20.00 05/01/2017 Sacramento CA - Drivers
1302121            Overtime      6.00   30.00 05/01/2017 Sacramento CA - Drivers
1302121            Regular      21.00   20.00 05/08/2017 Sacramento CA - Drivers
1302121            Overtime      2.00   30.00 05/08/2017 Sacramento CA - Drivers
1302121            Regular      28.00   20.00 05/15/2017 Sacramento CA - Drivers
1302121            Overtime      7.50   30.00 05/15/2017 Sacramento CA - Drivers
1302121            Regular      36.00   20.00 05/22/2017 Sacramento CA - Drivers
1302121            Overtime     11.00   30.00 05/22/2017 Sacramento CA - Drivers
1302121            Regular      20.00   20.00 05/29/2017 Sacramento CA - Drivers
1302121            Overtime     16.50   30.00 05/29/2017 Sacramento CA - Drivers
1302121            Regular      36.00   20.00 06/05/2017 Sacramento CA - Drivers
1302121            Overtime      4.00   30.00 06/05/2017 Sacramento CA - Drivers
1302121            Regular      31.50   20.00 06/12/2017 Sacramento CA - Drivers
1302121 Case   2:19-cv-08580-JFW-MAA
                     Overtime     11.00Document
                                          30.00 38-5    Filed Sacramento
                                                  06/12/2017  03/22/21 Page    363 of 691 Page ID
                                                                         CA - Drivers
1302121              Regular      38.00   20.00 #:1136
                                                  06/19/2017 Sacramento CA - Drivers
1302121             Overtime       11.25    30.00   06/19/2017   Sacramento   CA   - Drivers
1302121             Regular        31.00    20.00   06/26/2017   Sacramento   CA   - Drivers
1302121             Overtime        9.50    30.00   06/26/2017   Sacramento   CA   - Drivers
1302121             Regular        21.00    20.00   07/10/2017   Sacramento   CA   - Drivers
1302121             Overtime        4.00    30.00   07/10/2017   Sacramento   CA   - Drivers
1302121             Regular        29.00    20.00   07/17/2017   Sacramento   CA   - Drivers
1302121             Overtime        9.50    30.00   07/17/2017   Sacramento   CA   - Drivers
1302121             Regular        32.00    20.00   07/24/2017   Sacramento   CA   - Drivers
1302121             Overtime       12.00    30.00   07/24/2017   Sacramento   CA   - Drivers
1302121             Regular        32.00    20.00   07/31/2017   Sacramento   CA   - Drivers
1302121             Overtime       10.00    30.00   07/31/2017   Sacramento   CA   - Drivers
1302121             Regular        31.00    20.00   08/07/2017   Sacramento   CA   - Drivers
1302121             Overtime        8.50    30.00   08/07/2017   Sacramento   CA   - Drivers
1302121             Regular        32.00    20.00   08/14/2017   Sacramento   CA   - Drivers
1302121             Overtime        9.50    30.00   08/14/2017   Sacramento   CA   - Drivers
1302121             Regular        32.00    20.00   08/21/2017   Sacramento   CA   - Drivers
1302121             Overtime       12.00    30.00   08/21/2017   Sacramento   CA   - Drivers
1302121             Regular        34.00    20.00   08/28/2017   Sacramento   CA   - Drivers
1302121             Overtime       12.25    30.00   08/28/2017   Sacramento   CA   - Drivers
1302121             Regular        28.00    20.00   09/04/2017   Sacramento   CA   - Drivers
1302121             Overtime       18.75    30.00   09/04/2017   Sacramento   CA   - Drivers
1302121             Regular        24.00    20.50   04/11/2016   Sacramento   CA   - Drivers
1302121             Regular        49.00    20.50   04/18/2016   Sacramento   CA   - Drivers
1302121             Overtime        2.50    30.75   04/18/2016   Sacramento   CA   - Drivers
1302121             Regular        50.00    20.50   04/25/2016   Sacramento   CA   - Drivers
1302121             Overtime        2.25    30.75   04/25/2016   Sacramento   CA   - Drivers
1302121             Regular        50.75    20.50   05/02/2016   Sacramento   CA   - Drivers
1302121             Overtime        1.00    30.75   05/02/2016   Sacramento   CA   - Drivers
1302121             Regular        38.50    20.50   05/09/2016   Sacramento   CA   - Drivers
1302121             Overtime        1.25    30.75   05/09/2016   Sacramento   CA   - Drivers
1302121             Regular        20.00    20.50   05/16/2016   Sacramento   CA   - Drivers
1302121             Regular        39.50    20.50   05/23/2016   Sacramento   CA   - Drivers
1302121             Overtime        0.25    30.75   05/23/2016   Sacramento   CA   - Drivers
1302121             Regular        37.00    20.50   05/30/2016   Sacramento   CA   - Drivers
1302121             Regular        39.25    20.50   06/06/2016   Sacramento   CA   - Drivers
1302121             Regular        32.25    20.50   06/13/2016   Sacramento   CA   - Drivers
1302121             Overtime        1.75    30.75   06/13/2016   Sacramento   CA   - Drivers
1302121             Regular        47.25    20.50   06/20/2016   Sacramento   CA   - Drivers
1302121             Overtime        1.25    30.75   06/20/2016   Sacramento   CA   - Drivers
1302121             Regular        28.75    20.50   06/27/2016   Sacramento   CA   - Drivers
1302121             Regular        33.00    20.50   07/04/2016   Sacramento   CA   - Drivers
1302121             Regular        36.00    20.50   07/11/2016   Sacramento   CA   - Drivers
1302121             Overtime        0.25    30.75   07/11/2016   Sacramento   CA   - Drivers
1302121             Regular        34.25    20.50   07/18/2016   Sacramento   CA   - Drivers
1302121             Regular        50.00    20.50   07/25/2016   Sacramento   CA   - Drivers
1302121             Overtime        3.75    30.75   07/25/2016   Sacramento   CA   - Drivers
1302121             Regular        41.25    20.50   08/08/2016   Sacramento   CA   - Drivers
1302121             Regular        41.00    20.50   08/15/2016   Sacramento   CA   - Drivers
1302121             Regular        46.00    20.50   08/22/2016   Sacramento   CA   - Drivers
1302121             Overtime        2.50    30.75   08/22/2016   Sacramento   CA   - Drivers
1302121             Regular        41.00    20.50   08/29/2016   Sacramento   CA   - Drivers
1302121             Regular        32.50    20.50   09/05/2016   Sacramento   CA   - Drivers
1302121             Regular        40.00    20.50   09/12/2016   Sacramento   CA   - Drivers
1302121             Regular        32.00    20.50   09/19/2016   Sacramento   CA   - Drivers
1302121             Regular        39.50    20.50   09/26/2016   Sacramento   CA   - Drivers
1302121             Regular        39.00    20.50   10/03/2016   Sacramento   CA   - Drivers
1302121             Regular        39.50    20.50   10/10/2016   Sacramento   CA   - Drivers
1302121             Regular        38.00    20.50   10/17/2016   Sacramento   CA   - Drivers
1302121             Regular        76.00    20.50   10/24/2016   Sacramento   CA   - Drivers
1302121             Regular        39.00    20.50   11/07/2016   Sacramento   CA   - Drivers
1302121             Regular        40.00    20.50   11/14/2016   Sacramento   CA   - Drivers
          Case 2:19-cv-08580-JFW-MAA
Total for 1302121               2,779.50Document 38-5 Filed 03/22/21 Page 364 of 691          Page ID
1253000              Regular       16.00   19.00 #:1137
                                                   01/11/2016 Los Angeles CA West - Drivers
1253000              Overtime       3.00   28.50 01/11/2016 Los Angeles CA West - Drivers
1253000              Regular       38.75   19.00 01/18/2016 Los Angeles CA West - Drivers
1253000              Overtime       5.50   28.50 01/18/2016 Los Angeles CA West - Drivers
1253000              Regular       40.00   19.00 01/25/2016 Los Angeles CA West - Drivers
1253000              Overtime       6.00   28.50 01/25/2016 Los Angeles CA West - Drivers
1253000              Regular       32.00   20.00 02/01/2016 Los Angeles CA West - Drivers
1253000              Overtime       7.50   30.00 02/01/2016 Los Angeles CA West - Drivers
1253000              Regular       32.00   20.00 02/08/2016 Los Angeles CA West - Drivers
1253000              Overtime       7.50   30.00 02/08/2016 Los Angeles CA West - Drivers
1253000              Regular       40.00   20.00 02/15/2016 Los Angeles CA West - Drivers
1253000              Overtime      12.25   30.00 02/15/2016 Los Angeles CA West - Drivers
Total for 1253000                 240.50
1431922              Regular        8.00   19.00 01/02/2017 Los Angeles CA East - Drivers
1431922              Overtime       4.00   28.50 01/02/2017 Los Angeles CA East - Drivers
1431922              Regular       32.00   19.00 01/09/2017 Los Angeles CA East - Drivers
1431922              Overtime      10.50   28.50 01/09/2017 Los Angeles CA East - Drivers
1431922              Regular       32.00   19.00 01/16/2017 Los Angeles CA East - Drivers
1431922              Overtime       9.00   28.50 01/16/2017 Los Angeles CA East - Drivers
1431922              Regular        8.00   19.00 01/23/2017 Los Angeles CA East - Drivers
1431922              Overtime       2.00   28.50 01/23/2017 Los Angeles CA East - Drivers
1431922              Regular       32.00   19.00 01/30/2017 Los Angeles CA East - Drivers
1431922              Overtime       5.00   28.50 01/30/2017 Los Angeles CA East - Drivers
1431922              Regular       32.00   19.00 02/06/2017 Los Angeles CA East - Drivers
1431922              Overtime       5.50   28.50 02/06/2017 Los Angeles CA East - Drivers
1431922              Regular       24.00   19.00 02/13/2017 Los Angeles CA East - Drivers
1431922              Overtime       6.50   28.50 02/13/2017 Los Angeles CA East - Drivers
1431922              Regular       15.00   20.00 01/28/2019 Los Angeles CA East - Drivers
1431922              Overtime       2.25   30.00 01/28/2019 Los Angeles CA East - Drivers
1431922              Regular       31.00   19.00 10/24/2016 Los Angeles CA East - Drivers
1431922              Overtime      12.00   28.50 10/24/2016 Los Angeles CA East - Drivers
1431922              Regular       40.00   19.00 10/31/2016 Los Angeles CA East - Drivers
1431922              Overtime      20.00   28.50 10/31/2016 Los Angeles CA East - Drivers
1431922              Regular       40.00   19.00 11/07/2016 Los Angeles CA East - Drivers
1431922              Overtime      16.00   28.50 11/07/2016 Los Angeles CA East - Drivers
1431922              Regular       37.00   19.00 11/14/2016 Los Angeles CA East - Drivers
1431922              Overtime      13.00   28.50 11/14/2016 Los Angeles CA East - Drivers
1431922              Regular       32.00   19.00 11/21/2016 Los Angeles CA East - Drivers
1431922              Overtime      23.00   28.50 11/21/2016 Los Angeles CA East - Drivers
1431922              Regular       40.00   19.00 11/28/2016 Los Angeles CA East - Drivers
1431922              Overtime      17.50   28.50 11/28/2016 Los Angeles CA East - Drivers
1431922              Regular       40.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1431922              Overtime      19.00   28.50 12/05/2016 Los Angeles CA East - Drivers
1431922              Regular       40.00   19.00 12/12/2016 Los Angeles CA East - Drivers
1431922              Overtime      19.50   28.50 12/12/2016 Los Angeles CA East - Drivers
1431922              Regular       32.00   19.00 12/19/2016 Los Angeles CA East - Drivers
1431922              Overtime      12.00   28.50 12/19/2016 Los Angeles CA East - Drivers
1431922              Regular       40.00   19.00 12/26/2016 Los Angeles CA East - Drivers
1431922              Overtime       6.00   28.50 12/26/2016 Los Angeles CA East - Drivers
1431922              Regular       14.50   19.00 01/02/2017 Los Angeles CA East - Drivers
1431922              Overtime       2.50   28.50 01/02/2017 Los Angeles CA East - Drivers
Total for 1431922                 774.75
2366227              Regular        8.00   20.00 08/20/2018 Los Angeles CA West - Drivers
2366227              Regular       24.00   20.00 08/27/2018 Los Angeles CA West - Drivers
2366227              Overtime       4.00   30.00 08/27/2018 Los Angeles CA West - Drivers
2366227              Regular       16.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2366227              Regular        8.00   19.50 03/12/2018 Los Angeles CA West - Drivers
2366227              Regular        7.75   19.50 09/18/2017 Los Angeles CA West - Drivers
2366227              Regular        7.00   19.50 01/15/2018 Los Angeles CA West - Drivers
2366227              Regular        8.00   19.50 04/02/2018 Los Angeles CA West - Drivers
2366227              Overtime       4.00   29.25 04/02/2018 Los Angeles CA West - Drivers
2366227              Regular        4.00   19.50 12/18/2017 Los Angeles CA West - Drivers
2366227 Case   2:19-cv-08580-JFW-MAA
                     Regular      12.00Document
                                          19.50 38-5    Filed Los
                                                  12/25/2017  03/22/21
                                                                  AngelesPage 365- Drivers
                                                                         CA West   of 691 Page ID
2366227              Overtime      4.00   29.25 #:1138
                                                  12/25/2017 Los Angeles CA West - Drivers
2366227             Regular         8.00    19.50   01/01/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        2.00    29.25   01/01/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular         8.00    19.50   03/12/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        1.00    29.25   03/12/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular         7.00    19.50   03/19/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular         7.50    20.50   08/20/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular         7.00    20.50   08/27/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular         8.00    39.17   09/04/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        1.50    58.76   09/04/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   09/11/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        9.50    58.76   09/11/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        32.00    39.17   09/18/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        6.00    58.76   09/18/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   09/25/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        8.50    58.76   09/25/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   10/02/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime       12.25    58.76   10/02/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        24.00    39.17   10/16/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        1.75    58.76   10/16/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        32.00    39.17   10/23/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        7.00    58.76   10/23/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        23.75    39.17   11/06/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        0.50    58.76   11/06/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        38.75    39.17   11/13/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        4.75    58.76   11/13/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular         8.00    39.17   11/27/2017   Los   Angeles   CA   West   - Drivers
2366227             Overtime        2.50    58.76   11/27/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular         7.75    39.17   12/04/2017   Los   Angeles   CA   West   - Drivers
2366227             Regular        28.25    39.17   04/09/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        1.50    58.76   04/09/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        34.25    39.17   04/16/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        5.75    58.76   04/16/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   04/23/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        9.25    58.76   04/23/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        20.75    39.17   04/30/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        0.75    58.76   04/30/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   05/07/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime       10.75    58.76   05/07/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        39.50    39.17   05/14/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        2.25    58.76   05/14/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        29.75    39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        26.00    39.17   05/28/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        3.00    58.76   05/28/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   06/04/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        6.00    58.76   06/04/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        38.00    39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime       12.75    58.76   06/11/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime       20.00    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        40.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime       17.00    58.76   06/25/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        32.00    39.17   07/09/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime       12.00    58.76   07/09/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        34.25    39.17   07/16/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        2.75    58.76   07/16/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        30.25    39.17   07/23/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        4.75    58.76   07/23/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        31.50    39.17   08/06/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        0.25    58.76   08/06/2018   Los   Angeles   CA   West   - Drivers
2366227             Regular        16.00    19.00   01/01/2018   Los   Angeles   CA   West   - Drivers
2366227             Overtime        1.00    28.50   01/01/2018   Los   Angeles   CA   West   - Drivers
2366227 Case 2:19-cv-08580-JFW-MAA
                   Regular       16.00Document
                                         19.00 38-5    Filed Los
                                                 01/08/2018  03/22/21
                                                                 AngelesPage 366- Drivers
                                                                        CA West   of 691    Page ID
2366227            Regular       12.00   18.00 #:1139
                                                 09/17/2018 Los Angeles CA West - Drivers
2366227            Regular        6.50   21.00 08/06/2018 Los Angeles CA West - Drivers
2366227            Regular       24.00   20.00 03/05/2018 Los Angeles CA West - Drivers
2366227            Overtime       7.50   30.00 03/05/2018 Los Angeles CA West - Drivers
2366227            Regular       32.00   20.00 03/12/2018 Los Angeles CA West - Drivers
2366227            Overtime      16.00   30.00 03/12/2018 Los Angeles CA West - Drivers
2366227            Regular        8.00   19.00 01/08/2018 Los Angeles CA West - Drivers
2366227            Regular        8.00   21.00 09/10/2018 Los Angeles CA West - Drivers
2366227            Overtime       2.50   31.50 09/10/2018 Los Angeles CA West - Drivers
2366227            Regular        8.00   19.00 12/25/2017 Los Angeles CA West - Drivers
2366227            Regular        8.00   21.00 01/29/2018 Los Angeles CA West - Drivers
2366227            Regular        8.00   21.00 02/05/2018 Los Angeles CA West - Drivers
2366227            Regular       54.00   21.00 02/12/2018 Los Angeles CA West - Drivers
2366227            Regular       50.50   21.00 02/19/2018 Los Angeles CA West - Drivers
2366227            Regular       30.50   21.00 04/02/2018 Los Angeles CA West - Drivers
2366227            Regular       24.00   20.00 01/22/2018 Los Angeles CA West - Drivers
2366227            Overtime       1.00   30.00 01/22/2018 Los Angeles CA West - Drivers
2366227            Regular        2.00   19.00 12/11/2017 Los Angeles CA West - Drivers
2366227            Regular       40.00   19.00 12/18/2017 Los Angeles CA West - Drivers
2366227            Overtime       2.25   28.50 12/18/2017 Los Angeles CA West - Drivers
2366227            Regular       40.00   19.00 03/26/2018 Los Angeles CA West - Drivers
2366227            Overtime       8.00   28.50 03/26/2018 Los Angeles CA West - Drivers
2366227            Regular        8.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2366227            Overtime       3.50   30.00 09/03/2018 Los Angeles CA West - Drivers
Total for 2366227             1,586.25
2421460            Regular       32.00   18.00 02/12/2018 Sacramento CA - Drivers
2421460            Overtime       3.00   27.00 02/12/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 02/19/2018 Sacramento CA - Drivers
2421460            Overtime       1.00   27.00 02/19/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 02/26/2018 Sacramento CA - Drivers
2421460            Overtime       1.00   27.00 02/26/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 03/05/2018 Sacramento CA - Drivers
2421460            Overtime       2.50   27.00 03/05/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 03/12/2018 Sacramento CA - Drivers
2421460            Overtime       2.00   27.00 03/12/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 03/19/2018 Sacramento CA - Drivers
2421460            Overtime       2.00   27.00 03/19/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 03/26/2018 Sacramento CA - Drivers
2421460            Overtime       3.50   27.00 03/26/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 04/02/2018 Sacramento CA - Drivers
2421460            Overtime       3.25   27.00 04/02/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 04/09/2018 Sacramento CA - Drivers
2421460            Overtime       4.75   27.00 04/09/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 04/16/2018 Sacramento CA - Drivers
2421460            Overtime       5.00   27.00 04/16/2018 Sacramento CA - Drivers
2421460            Regular       44.00   18.00 04/23/2018 Sacramento CA - Drivers
2421460            Regular       36.00   18.00 04/30/2018 Sacramento CA - Drivers
2421460            Overtime       9.00   27.00 04/30/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 05/07/2018 Sacramento CA - Drivers
2421460            Overtime       5.00   27.00 05/07/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 05/14/2018 Sacramento CA - Drivers
2421460            Overtime       5.00   27.00 05/14/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 05/21/2018 Sacramento CA - Drivers
2421460            Overtime       6.50   27.00 05/21/2018 Sacramento CA - Drivers
2421460            Regular       32.00   18.00 05/28/2018 Sacramento CA - Drivers
2421460            Overtime       5.00   27.00 05/28/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 06/04/2018 Sacramento CA - Drivers
2421460            Overtime       7.00   27.00 06/04/2018 Sacramento CA - Drivers
2421460            Regular       32.00   18.00 06/11/2018 Sacramento CA - Drivers
2421460            Overtime       4.50   27.00 06/11/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 06/18/2018 Sacramento CA - Drivers
2421460            Overtime       5.50   27.00 06/18/2018 Sacramento CA - Drivers
2421460 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         18.00 38-5    Filed Sacramento
                                                 06/25/2018  03/22/21 Page    367 of 691
                                                                        CA - Drivers       Page ID
2421460            Overtime       4.50   27.00 #:1140
                                                 06/25/2018 Sacramento CA - Drivers
2421460            Regular       32.00   18.00 07/02/2018 Sacramento CA - Drivers
2421460            Overtime       4.50   27.00 07/02/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 07/09/2018 Sacramento CA - Drivers
2421460            Overtime       6.50   27.00 07/09/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 07/16/2018 Sacramento CA - Drivers
2421460            Overtime       6.50   27.00 07/16/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 07/23/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 07/30/2018 Sacramento CA - Drivers
2421460            Overtime       2.25   27.00 07/30/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 08/06/2018 Sacramento CA - Drivers
2421460            Overtime       0.50   27.00 08/06/2018 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 08/13/2018 Sacramento CA - Drivers
2421460            Regular       31.00   18.00 12/04/2017 Sacramento CA - Drivers
2421460            Overtime       3.25   27.00 12/04/2017 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 12/11/2017 Sacramento CA - Drivers
2421460            Overtime       4.00   27.00 12/11/2017 Sacramento CA - Drivers
2421460            Regular       40.00   18.00 12/18/2017 Sacramento CA - Drivers
2421460            Overtime       1.50   27.00 12/18/2017 Sacramento CA - Drivers
2421460            Regular       16.00   18.00 12/25/2017 Sacramento CA - Drivers
2421460            Overtime       0.50   27.00 12/25/2017 Sacramento CA - Drivers
2421460            Regular       32.00   18.00 01/01/2018 Sacramento CA - Drivers
2421460            Overtime       2.50   27.00 01/01/2018 Sacramento CA - Drivers
2421460            Regular       24.00   18.00 01/08/2018 Sacramento CA - Drivers
2421460            Overtime       3.00   27.00 01/08/2018 Sacramento CA - Drivers
2421460            Regular       36.25   18.00 01/15/2018 Sacramento CA - Drivers
2421460            Overtime       5.00   27.00 01/15/2018 Sacramento CA - Drivers
Total for 2421460             1,387.25
822464             Regular       16.00   15.00 07/25/2016 Los Angeles CA East - Drivers
822464             Overtime       2.00   22.50 07/25/2016 Los Angeles CA East - Drivers
822464             Regular       40.00   15.00 08/01/2016 Los Angeles CA East - Drivers
822464             Regular       40.00   15.00 08/08/2016 Los Angeles CA East - Drivers
822464             Regular       40.00   15.00 08/15/2016 Los Angeles CA East - Drivers
822464             Regular       24.00   15.00 08/22/2016 Los Angeles CA East - Drivers
822464             Regular       15.00   21.00 07/04/2016 Los Angeles CA East - Drivers
822464             Overtime       3.50   31.50 07/04/2016 Los Angeles CA East - Drivers
822464             Regular       16.00   21.00 07/11/2016 Los Angeles CA East - Drivers
822464             Overtime       3.50   31.50 07/11/2016 Los Angeles CA East - Drivers
822464             Regular       16.00   21.00 07/18/2016 Los Angeles CA East - Drivers
822464             Overtime       1.00   31.50 07/18/2016 Los Angeles CA East - Drivers
822464             Regular       16.00   21.00 07/25/2016 Los Angeles CA East - Drivers
822464             Overtime       5.50   31.50 07/25/2016 Los Angeles CA East - Drivers
822464             Regular        4.00   17.00 11/02/2015 Los Angeles CA East - Drivers
822464             Regular       12.00   17.00 11/02/2015 Los Angeles CA East - Drivers
822464             Overtime       6.00   25.50 11/02/2015 Los Angeles CA East - Drivers
822464             Regular       24.00   18.00 11/09/2015 Los Angeles CA East - Drivers
822464             Overtime       5.50   27.00 11/09/2015 Los Angeles CA East - Drivers
822464             Regular       16.00   18.00 11/16/2015 Los Angeles CA East - Drivers
822464             Overtime       8.00   27.00 11/16/2015 Los Angeles CA East - Drivers
822464             Regular       32.00   18.00 11/23/2015 Los Angeles CA East - Drivers
822464             Overtime      12.00   27.00 11/23/2015 Los Angeles CA East - Drivers
822464             Regular       16.00   18.00 04/25/2016 Los Angeles CA East - Drivers
822464             Overtime       4.50   27.00 04/25/2016 Los Angeles CA East - Drivers
822464             Regular        8.00   18.00 05/02/2016 Los Angeles CA East - Drivers
822464             Overtime       3.00   27.00 05/02/2016 Los Angeles CA East - Drivers
822464             Regular       30.00   18.00 05/09/2016 Los Angeles CA East - Drivers
822464             Overtime       4.00   27.00 05/09/2016 Los Angeles CA East - Drivers
822464             Regular       34.00   18.00 05/16/2016 Los Angeles CA East - Drivers
822464             Overtime       2.00   27.00 05/16/2016 Los Angeles CA East - Drivers
822464             Regular       40.00   18.00 05/23/2016 Los Angeles CA East - Drivers
822464             Overtime      13.00   27.00 05/23/2016 Los Angeles CA East - Drivers
822464             Regular       15.00   18.00 05/30/2016 Los Angeles CA East - Drivers
822464 Case 2:19-cv-08580-JFW-MAA
                  Overtime      4.00Document
                                       27.00 38-5    Filed Los
                                               05/30/2016  03/22/21
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822464            Regular      24.00   18.00 #:1141
                                               06/06/2016 Los Angeles CA East - Drivers
822464            Overtime      1.50   27.00 06/06/2016 Los Angeles CA East - Drivers
822464            Regular      24.00   18.00 06/13/2016 Los Angeles CA East - Drivers
822464            Overtime      4.00   27.00 06/13/2016 Los Angeles CA East - Drivers
822464            Regular      40.00   18.00 06/20/2016 Los Angeles CA East - Drivers
822464            Overtime      4.50   27.00 06/20/2016 Los Angeles CA East - Drivers
822464            Regular      38.00   18.00 06/27/2016 Los Angeles CA East - Drivers
822464            Overtime      4.00   27.00 06/27/2016 Los Angeles CA East - Drivers
Total for 822464              671.50
2670903           Regular       8.00   20.50 12/24/2018 Los Angeles CA West - Drivers
2670903           Regular      18.00   20.50 12/31/2018 Los Angeles CA West - Drivers
2670903           Overtime     14.00   30.75 12/31/2018 Los Angeles CA West - Drivers
2670903           Regular       8.00   20.50 01/07/2019 Los Angeles CA West - Drivers
2670903           Regular       8.00   20.50 01/14/2019 Los Angeles CA West - Drivers
Total for 2670903              56.00
1147903           Regular       8.00   21.00 02/11/2019 Los Angeles CA East - Drivers
1147903           Regular       8.00   21.00 02/04/2019 Los Angeles CA East - Drivers
Total for 1147903              16.00
2653153           Regular      24.00   25.00 07/22/2019 Los Angeles CA East - Drivers
2653153           Overtime      8.00   37.50 07/22/2019 Los Angeles CA East - Drivers
2653153           Regular      16.00   25.00 07/29/2019 Los Angeles CA East - Drivers
2653153           Overtime      2.00   37.50 07/29/2019 Los Angeles CA East - Drivers
2653153           Regular      40.00   25.00 08/05/2019 Los Angeles CA East - Drivers
2653153           Overtime      7.50   37.50 08/05/2019 Los Angeles CA East - Drivers
Total for 2653153              97.50
716456            Regular      49.00   22.00 12/07/2015 Los Angeles CA East - Drivers
716456            Regular       6.50   23.00 07/11/2016 Los Angeles CA East - Drivers
716456            Regular       8.00   16.00 08/10/2015 Los Angeles CA East - Drivers
716456            Regular      32.00   16.00 08/17/2015 Los Angeles CA East - Drivers
716456            Regular      40.00   16.00 08/24/2015 Los Angeles CA East - Drivers
716456            Regular      40.00   16.00 08/31/2015 Los Angeles CA East - Drivers
716456            Overtime      0.50   24.00 08/31/2015 Los Angeles CA East - Drivers
716456            Regular      72.00   16.00 09/14/2015 Los Angeles CA East - Drivers
716456            Regular      24.00   16.00 09/21/2015 Los Angeles CA East - Drivers
716456            Regular      72.00   16.00 09/28/2015 Los Angeles CA East - Drivers
716456            Regular      16.00   16.00 10/12/2015 Los Angeles CA East - Drivers
716456            Regular      40.00   16.00 10/19/2015 Los Angeles CA East - Drivers
716456            Regular      32.00   16.00 10/26/2015 Los Angeles CA East - Drivers
716456            Regular       8.00   16.00 02/08/2016 Los Angeles CA East - Drivers
716456            Regular       7.50   16.00 02/15/2016 Los Angeles CA East - Drivers
716456            Regular      40.00   16.00 02/22/2016 Los Angeles CA East - Drivers
716456            Regular       8.00   17.00 04/11/2016 Los Angeles CA East - Drivers
716456            Regular      40.00   17.00 04/18/2016 Los Angeles CA East - Drivers
716456            Regular      40.00   17.00 04/25/2016 Los Angeles CA East - Drivers
716456            Overtime      0.50   25.50 04/25/2016 Los Angeles CA East - Drivers
716456            Regular      40.00   17.00 05/02/2016 Los Angeles CA East - Drivers
716456            Regular      32.00   17.00 05/09/2016 Los Angeles CA East - Drivers
716456            Overtime      0.50   25.50 05/09/2016 Los Angeles CA East - Drivers
716456            Regular      40.00   17.00 05/23/2016 Los Angeles CA East - Drivers
716456            Regular      24.00   17.00 05/30/2016 Los Angeles CA East - Drivers
716456            Overtime      0.50   25.50 05/30/2016 Los Angeles CA East - Drivers
716456            Regular      40.00   17.00 06/06/2016 Los Angeles CA East - Drivers
716456            Overtime      0.50   25.50 06/06/2016 Los Angeles CA East - Drivers
716456            Regular       2.00   17.00 06/27/2016 Los Angeles CA East - Drivers
716456            Regular       8.00   17.00 07/04/2016 Los Angeles CA East - Drivers
716456            Regular       8.00   17.00 07/11/2016 Los Angeles CA East - Drivers
716456            Overtime      0.50   25.50 07/11/2016 Los Angeles CA East - Drivers
Total for 716456              772.00
794286            Regular      24.00   19.00 05/15/2017 Los Angeles CA East - Drivers
794286            Overtime     10.00   28.50 05/15/2017 Los Angeles CA East - Drivers
794286            Regular      32.00   19.00 05/22/2017 Los Angeles CA East - Drivers
794286            Overtime      9.75   28.50 05/22/2017 Los Angeles CA East - Drivers
794286 Case 2:19-cv-08580-JFW-MAA
                  Regular       8.00Document
                                       19.00 38-5    Filed Los
                                               05/29/2017  03/22/21
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794286            Overtime      1.75   28.50 #:1142
                                               05/29/2017 Los Angeles CA East - Drivers
794286            Regular      24.00   19.50 04/24/2017 Los Angeles CA East - Drivers
Total for 794286              109.50
2482798           Regular      16.00   20.00 03/05/2018 Los Angeles CA West - Drivers
2482798           Overtime      0.50   30.00 03/05/2018 Los Angeles CA West - Drivers
Total for 2482798              16.50
2836027           Regular       8.00   22.00 08/19/2019 Sacramento CA - Drivers
2836027           Regular      40.00   22.00 08/26/2019 Sacramento CA - Drivers
2836027           Overtime      2.50   33.00 08/26/2019 Sacramento CA - Drivers
2836027           Regular      32.00   22.00 09/02/2019 Sacramento CA - Drivers
2836027           Overtime      0.50   33.00 09/02/2019 Sacramento CA - Drivers
Total for 2836027              83.00
2412938           Regular      24.00   17.60 11/20/2017 Los Angeles CA West - Drivers
2412938           Overtime     10.00   26.40 11/20/2017 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 11/27/2017 Los Angeles CA West - Drivers
2412938           Overtime     16.00   26.40 11/27/2017 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 12/04/2017 Los Angeles CA West - Drivers
2412938           Overtime     15.50   26.40 12/04/2017 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 12/11/2017 Los Angeles CA West - Drivers
2412938           Overtime     15.50   26.40 12/11/2017 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 12/18/2017 Los Angeles CA West - Drivers
2412938           Overtime     12.00   26.40 12/18/2017 Los Angeles CA West - Drivers
2412938           Regular      24.00   17.60 12/25/2017 Los Angeles CA West - Drivers
2412938           Overtime      8.00   26.40 12/25/2017 Los Angeles CA West - Drivers
2412938           Regular      24.00   17.60 01/01/2018 Los Angeles CA West - Drivers
2412938           Overtime      7.00   26.40 01/01/2018 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 01/08/2018 Los Angeles CA West - Drivers
2412938           Overtime     10.50   26.40 01/08/2018 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 01/15/2018 Los Angeles CA West - Drivers
2412938           Overtime      9.50   26.40 01/15/2018 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 01/22/2018 Los Angeles CA West - Drivers
2412938           Overtime      9.00   26.40 01/22/2018 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 01/29/2018 Los Angeles CA West - Drivers
2412938           Overtime     10.00   26.40 01/29/2018 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 02/05/2018 Los Angeles CA West - Drivers
2412938           Overtime      8.00   26.40 02/05/2018 Los Angeles CA West - Drivers
2412938           Regular      32.00   17.60 02/12/2018 Los Angeles CA West - Drivers
2412938           Overtime      8.00   26.40 02/12/2018 Los Angeles CA West - Drivers
2412938           Regular      16.00   18.00 12/03/2018 Los Angeles CA West - Drivers
2412938           Regular       8.00   18.00 12/24/2018 Los Angeles CA West - Drivers
Total for 2412938             555.00
807764            Regular      40.00   16.00 01/18/2016 Los Angeles CA East - Drivers
807764            Overtime      5.00   24.00 01/18/2016 Los Angeles CA East - Drivers
Total for 807764               45.00
1231924           Regular       7.50   19.50 06/05/2017 Los Angeles CA West - Drivers
1231924           Regular       6.50   19.50 06/26/2017 Los Angeles CA West - Drivers
1231924           Regular      32.00   16.00 12/19/2016 Los Angeles CA West - Drivers
1231924           Overtime      6.00   24.00 12/19/2016 Los Angeles CA West - Drivers
1231924           Regular      24.00   16.00 12/26/2016 Los Angeles CA West - Drivers
1231924           Overtime      6.00   24.00 12/26/2016 Los Angeles CA West - Drivers
1231924           Regular      24.00   16.00 01/02/2017 Los Angeles CA West - Drivers
1231924           Overtime      2.50   24.00 01/02/2017 Los Angeles CA West - Drivers
1231924           Regular      15.50   16.00 01/09/2017 Los Angeles CA West - Drivers
1231924           Overtime      1.50   24.00 01/09/2017 Los Angeles CA West - Drivers
1231924           Regular      30.00   16.00 01/16/2017 Los Angeles CA West - Drivers
1231924           Overtime      4.50   24.00 01/16/2017 Los Angeles CA West - Drivers
1231924           Regular       4.50   16.00 01/23/2017 Los Angeles CA West - Drivers
1231924           Regular      40.00   18.00 03/06/2017 Los Angeles CA West - Drivers
1231924           Overtime      6.00   27.00 03/06/2017 Los Angeles CA West - Drivers
1231924           Regular      40.00   18.00 03/13/2017 Los Angeles CA West - Drivers
1231924           Overtime      6.00   27.00 03/13/2017 Los Angeles CA West - Drivers
1231924           Regular      40.00   18.00 03/20/2017 Los Angeles CA West - Drivers
1231924 Case 2:19-cv-08580-JFW-MAA
                   Overtime      5.25Document
                                        27.00 38-5    Filed Los
                                                03/20/2017  03/22/21
                                                                AngelesPage 370- Drivers
                                                                       CA West   of 691    Page ID
1231924            Regular      40.00   18.00 #:1143
                                                03/27/2017 Los Angeles CA West - Drivers
1231924            Overtime      2.50   27.00 03/27/2017 Los Angeles CA West - Drivers
1231924            Regular      38.50   18.00 04/03/2017 Los Angeles CA West - Drivers
1231924            Regular      40.00   18.00 04/10/2017 Los Angeles CA West - Drivers
1231924            Overtime      7.25   27.00 04/10/2017 Los Angeles CA West - Drivers
1231924            Regular      40.00   18.00 04/17/2017 Los Angeles CA West - Drivers
1231924            Overtime      5.00   27.00 04/17/2017 Los Angeles CA West - Drivers
1231924            Regular      32.00   18.00 04/24/2017 Los Angeles CA West - Drivers
1231924            Overtime      3.25   27.00 04/24/2017 Los Angeles CA West - Drivers
1231924            Regular       8.00   18.00 05/01/2017 Los Angeles CA West - Drivers
1231924            Regular       8.00   19.50 01/01/2018 Los Angeles CA West - Drivers
1231924            Overtime      1.50   29.25 01/01/2018 Los Angeles CA West - Drivers
1231924            Regular      24.00   19.50 01/22/2018 Los Angeles CA West - Drivers
1231924            Overtime      4.25   29.25 01/22/2018 Los Angeles CA West - Drivers
1231924            Regular      16.00   19.00 05/01/2017 Los Angeles CA West - Drivers
1231924            Overtime      3.00   28.50 05/01/2017 Los Angeles CA West - Drivers
1231924            Regular       6.75   19.00 05/08/2017 Los Angeles CA West - Drivers
1231924            Regular      40.00   19.00 06/12/2017 Los Angeles CA West - Drivers
1231924            Overtime      4.00   28.50 06/12/2017 Los Angeles CA West - Drivers
1231924            Regular      16.00   19.00 06/19/2017 Los Angeles CA West - Drivers
1231924            Overtime      4.00   28.50 06/19/2017 Los Angeles CA West - Drivers
1231924            Regular      24.00   19.00 07/10/2017 Los Angeles CA West - Drivers
1231924            Overtime      5.00   28.50 07/10/2017 Los Angeles CA West - Drivers
Total for 1231924              674.75
1403298            Regular      14.75   20.98 10/10/2016 Sacramento CA - Drivers
1403298            Regular      16.00   18.00 10/17/2016 Sacramento CA - Drivers
1403298            Overtime      1.50   27.00 10/17/2016 Sacramento CA - Drivers
1403298            Regular      16.25   19.00 10/24/2016 Sacramento CA - Drivers
1403298            Regular      32.00   19.00 10/31/2016 Sacramento CA - Drivers
Total for 1403298               80.50
2661390            Regular       6.00   20.50 12/10/2018 Los Angeles CA East - Drivers
2661390            Regular       8.00   22.00 12/10/2018 Los Angeles CA East - Drivers
2661390            Overtime      3.50   33.00 12/10/2018 Los Angeles CA East - Drivers
Total for 2661390               17.50
2281504            Regular       8.00   16.50 06/26/2017 Los Angeles CA East - Drivers
2281504            Overtime      1.00   24.75 06/26/2017 Los Angeles CA East - Drivers
2281504            Regular      32.00   16.50 07/03/2017 Los Angeles CA East - Drivers
2281504            Overtime      6.00   24.75 07/03/2017 Los Angeles CA East - Drivers
2281504            Regular      32.00   16.50 07/10/2017 Los Angeles CA East - Drivers
2281504            Overtime      5.50   24.75 07/10/2017 Los Angeles CA East - Drivers
2281504            Regular      40.00   16.50 07/17/2017 Los Angeles CA East - Drivers
2281504            Overtime     18.00   24.75 07/17/2017 Los Angeles CA East - Drivers
2281504            Regular      40.00   16.50 07/24/2017 Los Angeles CA East - Drivers
2281504            Overtime     15.00   24.75 07/24/2017 Los Angeles CA East - Drivers
2281504            Regular      36.00   16.50 07/31/2017 Los Angeles CA East - Drivers
2281504            Overtime      1.00   24.75 07/31/2017 Los Angeles CA East - Drivers
Total for 2281504              234.50
1373277            Regular      40.00   21.00 08/22/2016 Sacramento CA - Drivers
1373277            Overtime      8.50   31.50 08/22/2016 Sacramento CA - Drivers
1373277            Regular      32.00   21.00 08/29/2016 Sacramento CA - Drivers
1373277            Overtime     12.00   31.50 08/29/2016 Sacramento CA - Drivers
1373277            Regular      32.00   21.00 09/05/2016 Sacramento CA - Drivers
1373277            Overtime     15.50   31.50 09/05/2016 Sacramento CA - Drivers
1373277            Regular      40.00   21.00 09/12/2016 Sacramento CA - Drivers
1373277            Overtime     19.00   31.50 09/12/2016 Sacramento CA - Drivers
1373277            Regular      23.00   21.00 09/19/2016 Sacramento CA - Drivers
1373277            Overtime      1.00   31.50 09/19/2016 Sacramento CA - Drivers
Total for 1373277              223.00
1403517            Regular      18.25   20.00 09/19/2016 Sacramento CA - Drivers
1403517            Regular      15.50   20.00 09/26/2016 Sacramento CA - Drivers
1403517            Regular      12.75   20.00 10/03/2016 Sacramento CA - Drivers
1403517            Regular      26.26   20.00 10/10/2016 Sacramento CA - Drivers
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                   Regular       17.50Document
                                         20.00 38-5    Filed Sacramento
                                                 10/17/2016  03/22/21 Page    371 of 691
                                                                        CA - Drivers       Page ID
1403517            Regular       12.00   20.00 #:1144
                                                 10/24/2016 Sacramento CA - Drivers
1403517            Regular       29.25   20.00 10/31/2016 Sacramento CA - Drivers
1403517            Regular       15.25   20.00 11/07/2016 Sacramento CA - Drivers
1403517            Regular       25.00   20.00 11/21/2016 Sacramento CA - Drivers
1403517            Regular       22.75   20.00 11/28/2016 Sacramento CA - Drivers
1403517            Regular       31.00   20.00 12/05/2016 Sacramento CA - Drivers
1403517            Regular       20.75   20.00 12/12/2016 Sacramento CA - Drivers
1403517            Regular       26.75   20.00 12/19/2016 Sacramento CA - Drivers
1403517            Overtime       7.50   30.00 12/19/2016 Sacramento CA - Drivers
1403517            Regular        5.75   20.00 12/26/2016 Sacramento CA - Drivers
1403517            Regular        7.00   20.00 01/02/2017 Sacramento CA - Drivers
1403517            Regular       15.00   20.00 01/09/2017 Sacramento CA - Drivers
1403517            Regular       21.00   20.00 01/16/2017 Sacramento CA - Drivers
1403517            Regular       30.75   19.50 01/23/2017 Sacramento CA - Drivers
1403517            Overtime       1.00   29.25 01/23/2017 Sacramento CA - Drivers
1403517            Regular       30.25   19.50 01/30/2017 Sacramento CA - Drivers
1403517            Overtime       6.00   29.25 01/30/2017 Sacramento CA - Drivers
1403517            Regular       30.75   19.50 02/06/2017 Sacramento CA - Drivers
1403517            Overtime       3.25   29.25 02/06/2017 Sacramento CA - Drivers
1403517            Regular       14.50   19.50 02/13/2017 Sacramento CA - Drivers
1403517            Overtime       3.25   29.25 02/13/2017 Sacramento CA - Drivers
1403517            Regular       39.25   19.50 02/20/2017 Sacramento CA - Drivers
1403517            Overtime       6.00   29.25 02/20/2017 Sacramento CA - Drivers
1403517            Regular        8.00   19.50 02/27/2017 Sacramento CA - Drivers
1403517            Overtime       1.00   29.25 02/27/2017 Sacramento CA - Drivers
1403517            Regular       36.75   19.50 03/06/2017 Sacramento CA - Drivers
1403517            Overtime       3.75   29.25 03/06/2017 Sacramento CA - Drivers
1403517            Regular       24.00   19.50 03/13/2017 Sacramento CA - Drivers
1403517            Overtime       6.50   29.25 03/13/2017 Sacramento CA - Drivers
1403517            Regular       15.25   19.50 03/20/2017 Sacramento CA - Drivers
1403517            Overtime       2.50   29.25 03/20/2017 Sacramento CA - Drivers
1403517            Regular       17.00   21.00 09/12/2016 Sacramento CA - Drivers
1403517            Regular       17.25   21.00 09/19/2016 Sacramento CA - Drivers
1403517            Regular       26.50   21.00 09/26/2016 Sacramento CA - Drivers
1403517            Regular       15.75   21.00 10/03/2016 Sacramento CA - Drivers
1403517            Regular       20.75   21.00 10/10/2016 Sacramento CA - Drivers
1403517            Regular       22.80   21.00 10/17/2016 Sacramento CA - Drivers
1403517            Regular       27.75   21.00 10/24/2016 Sacramento CA - Drivers
1403517            Regular       19.00   21.00 10/31/2016 Sacramento CA - Drivers
1403517            Regular       36.50   21.00 11/07/2016 Sacramento CA - Drivers
1403517            Regular       35.75   21.00 11/14/2016 Sacramento CA - Drivers
1403517            Regular       20.75   21.00 11/21/2016 Sacramento CA - Drivers
1403517            Regular       13.50   21.00 11/28/2016 Sacramento CA - Drivers
1403517            Regular       22.50   21.00 12/05/2016 Sacramento CA - Drivers
1403517            Regular       12.00   21.00 12/12/2016 Sacramento CA - Drivers
1403517            Regular       21.00   21.00 12/19/2016 Sacramento CA - Drivers
1403517            Regular       13.50   21.00 12/26/2016 Sacramento CA - Drivers
1403517            Regular       19.50   21.00 01/02/2017 Sacramento CA - Drivers
1403517            Regular       25.00   21.00 01/09/2017 Sacramento CA - Drivers
1403517            Regular        7.25   21.00 01/16/2017 Sacramento CA - Drivers
1403517            Regular       25.00   20.92 04/03/2017 Sacramento CA - Drivers
Total for 1403517             1,011.06
1452325            Regular       40.50   21.85 11/28/2016 Los Angeles CA East - Drivers
1452325            Regular       38.50   21.85 12/05/2016 Los Angeles CA East - Drivers
1452325            Regular       37.50   21.85 12/12/2016 Los Angeles CA East - Drivers
1452325            Regular       25.00   21.85 12/19/2016 Los Angeles CA East - Drivers
1452325            Regular        9.50   21.85 12/26/2016 Los Angeles CA East - Drivers
Total for 1452325               151.00
2277017            Regular       32.00   19.00 06/12/2017 Los Angeles CA West - Drivers
2277017            Overtime       5.50   28.50 06/19/2017 Los Angeles CA West - Drivers
2277017            Regular       16.00   19.00 06/26/2017 Los Angeles CA West - Drivers
2277017            Overtime       4.75   28.50 06/26/2017 Los Angeles CA West - Drivers
2277017 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        20.00 38-5   Filed Los
                                               08/27/2018  03/22/21
                                                               AngelesPage 372- Drivers
                                                                      CA West   of 691    Page ID
Total for 2277017               66.25        #:1145
2522935            Regular      24.00   16.00 05/14/2018 Los Angeles CA West - Drivers
2522935            Regular      16.00   16.00 05/21/2018 Los Angeles CA West - Drivers
2522935            Regular       8.00   20.00 07/09/2018 Los Angeles CA West - Drivers
2522935            Regular       8.00   17.50 06/18/2018 Los Angeles CA West - Drivers
2522935            Overtime      4.00   26.25 06/18/2018 Los Angeles CA West - Drivers
2522935            Regular       8.00   17.50 08/20/2018 Los Angeles CA West - Drivers
2522935            Overtime      4.00   26.25 08/20/2018 Los Angeles CA West - Drivers
2522935            Regular      39.75   21.00 09/24/2018 Los Angeles CA West - Drivers
2522935            Overtime     11.00   31.50 09/24/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
2522935            Overtime     15.75   31.50 10/01/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 10/08/2018 Los Angeles CA West - Drivers
2522935            Overtime     16.25   31.50 10/08/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 10/15/2018 Los Angeles CA West - Drivers
2522935            Overtime     16.25   31.50 10/15/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 10/22/2018 Los Angeles CA West - Drivers
2522935            Overtime     11.00   31.50 10/22/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 10/29/2018 Los Angeles CA West - Drivers
2522935            Overtime     11.50   31.50 10/29/2018 Los Angeles CA West - Drivers
2522935            Regular      39.00   73.50 10/15/2018 Los Angeles CA West - Drivers
2522935            Overtime     13.00   31.50 11/05/2018 Los Angeles CA West - Drivers
2522935            Regular      39.00   73.50 10/15/2018 Los Angeles CA West - Drivers
2522935            Overtime     11.50   31.50 11/12/2018 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 11/19/2018 Los Angeles CA West - Drivers
2522935            Overtime     12.75   31.50 11/19/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2522935            Overtime     16.00   31.50 11/26/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2522935            Overtime     15.00   31.50 12/03/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2522935            Overtime     20.25   31.50 12/10/2018 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 12/17/2018 Los Angeles CA West - Drivers
2522935            Overtime     10.00   31.50 12/17/2018 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2522935            Overtime      6.00   31.50 12/24/2018 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2522935            Overtime      4.00   31.50 12/31/2018 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 01/07/2019 Los Angeles CA West - Drivers
2522935            Overtime      9.00   31.50 01/07/2019 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 01/14/2019 Los Angeles CA West - Drivers
2522935            Overtime      9.25   31.50 01/14/2019 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 01/21/2019 Los Angeles CA West - Drivers
2522935            Overtime      9.50   31.50 01/21/2019 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 01/28/2019 Los Angeles CA West - Drivers
2522935            Overtime      8.00   31.50 01/28/2019 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 02/04/2019 Los Angeles CA West - Drivers
2522935            Overtime      9.50   31.50 02/04/2019 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 02/11/2019 Los Angeles CA West - Drivers
2522935            Overtime      9.50   31.50 02/11/2019 Los Angeles CA West - Drivers
2522935            Regular      32.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2522935            Overtime      3.50   31.50 02/18/2019 Los Angeles CA West - Drivers
2522935            Regular      24.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2522935            Overtime      9.50   31.50 02/25/2019 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2522935            Overtime     17.25   31.50 03/04/2019 Los Angeles CA West - Drivers
2522935            Regular      40.00   21.00 03/11/2019 Los Angeles CA West - Drivers
2522935            Overtime     16.50   31.50 03/11/2019 Los Angeles CA West - Drivers
2522935            Regular      24.00   21.00 03/18/2019 Los Angeles CA West - Drivers
2522935            Overtime      8.50   31.50 03/18/2019 Los Angeles CA West - Drivers
2522935            Regular      24.00   21.00 04/08/2019 Los Angeles CA West - Drivers
2522935            Overtime      7.25   31.50 04/08/2019 Los Angeles CA West - Drivers
2522935 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         21.00 38-5    Filed Los
                                                 04/15/2019  03/22/21
                                                                 AngelesPage 373- Drivers
                                                                        CA West   of 691    Page ID
2522935            Overtime       3.25   31.50 #:1146
                                                 04/15/2019 Los Angeles CA West - Drivers
2522935            Regular       40.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2522935            Overtime      10.00   31.50 04/29/2019 Los Angeles CA West - Drivers
2522935            Regular       40.00   21.00 05/06/2019 Los Angeles CA West - Drivers
2522935            Overtime       9.25   31.50 05/06/2019 Los Angeles CA West - Drivers
2522935            Regular       40.00   21.00 05/13/2019 Los Angeles CA West - Drivers
2522935            Overtime      12.75   31.50 05/13/2019 Los Angeles CA West - Drivers
2522935            Regular       40.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2522935            Overtime       8.50   31.50 05/20/2019 Los Angeles CA West - Drivers
2522935            Regular        8.00   21.00 04/01/2019 Los Angeles CA West - Drivers
2522935            Overtime       3.00   31.50 04/01/2019 Los Angeles CA West - Drivers
2522935            Regular        8.00   17.50 06/11/2018 Los Angeles CA West - Drivers
2522935            Overtime       3.50   26.25 06/11/2018 Los Angeles CA West - Drivers
2522935            Regular        8.00   17.50 06/18/2018 Los Angeles CA West - Drivers
2522935            Overtime       1.50   26.25 06/18/2018 Los Angeles CA West - Drivers
2522935            Regular       24.00   17.50 06/25/2018 Los Angeles CA West - Drivers
2522935            Overtime       7.00   26.25 06/25/2018 Los Angeles CA West - Drivers
2522935            Regular       32.00   17.50 07/02/2018 Los Angeles CA West - Drivers
2522935            Overtime       1.50   26.25 07/02/2018 Los Angeles CA West - Drivers
2522935            Regular        8.00   17.00 09/17/2018 Los Angeles CA West - Drivers
2522935            Overtime       2.50   25.50 09/17/2018 Los Angeles CA West - Drivers
2522935            Regular       16.00   18.00 03/25/2019 Los Angeles CA West - Drivers
2522935            Overtime       2.50   27.00 03/25/2019 Los Angeles CA West - Drivers
2522935            Regular       16.00   17.00 07/30/2018 Los Angeles CA West - Drivers
2522935            Overtime       3.50   25.50 07/30/2018 Los Angeles CA West - Drivers
Total for 2522935             1,694.00
1456811            Regular        8.00   20.00 07/02/2018 Los Angeles CA West - Drivers
1456811            Overtime       1.50   30.00 07/02/2018 Los Angeles CA West - Drivers
1456811            Regular       31.00   19.50 01/08/2018 Los Angeles CA West - Drivers
1456811            Overtime       5.75   29.25 01/08/2018 Los Angeles CA West - Drivers
1456811            Regular       48.50   21.00 07/16/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.30   31.50 07/16/2018 Los Angeles CA West - Drivers
1456811            Regular        7.00   22.00 07/30/2018 Los Angeles CA West - Drivers
1456811            Regular        8.00   17.00 07/30/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.00   25.50 07/30/2018 Los Angeles CA West - Drivers
1456811            Regular       24.00   18.50 01/02/2017 Los Angeles CA West - Drivers
1456811            Overtime       0.50   27.75 01/02/2017 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 08/20/2018 Los Angeles CA West - Drivers
1456811            Overtime      23.75   31.50 08/20/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 08/27/2018 Los Angeles CA West - Drivers
1456811            Overtime      24.50   31.50 08/27/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 09/03/2018 Los Angeles CA West - Drivers
1456811            Overtime       8.00   31.50 09/03/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 09/10/2018 Los Angeles CA West - Drivers
1456811            Overtime      20.75   31.50 09/10/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 09/17/2018 Los Angeles CA West - Drivers
1456811            Overtime      19.25   31.50 09/17/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 09/24/2018 Los Angeles CA West - Drivers
1456811            Overtime      29.75   31.50 09/24/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
1456811            Overtime      11.00   31.50 10/01/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   21.00 10/08/2018 Los Angeles CA West - Drivers
1456811            Overtime       9.75   31.50 10/08/2018 Los Angeles CA West - Drivers
1456811            Regular       24.00   20.00 05/28/2018 Los Angeles CA West - Drivers
1456811            Overtime       2.50   30.00 05/28/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 06/04/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.00   30.00 06/04/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 06/11/2018 Los Angeles CA West - Drivers
1456811            Overtime       8.25   30.00 06/11/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 06/18/2018 Los Angeles CA West - Drivers
1456811            Overtime       8.25   30.00 06/18/2018 Los Angeles CA West - Drivers
1456811            Regular        4.00   20.00 06/25/2018 Los Angeles CA West - Drivers
1456811 Case 2:19-cv-08580-JFW-MAA
                   Regular       16.00Document
                                         20.00 38-5    Filed Los
                                                 07/02/2018  03/22/21
                                                                 AngelesPage 374- Drivers
                                                                        CA West   of 691    Page ID
1456811            Overtime       2.00   30.00 #:1147
                                                 07/02/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 07/09/2018 Los Angeles CA West - Drivers
1456811            Overtime       7.25   30.00 07/09/2018 Los Angeles CA West - Drivers
1456811            Regular        8.00   22.00 08/13/2018 Los Angeles CA West - Drivers
1456811            Overtime       4.00   33.00 08/13/2018 Los Angeles CA West - Drivers
1456811            Regular       47.75   19.00 12/05/2016 Los Angeles CA West - Drivers
1456811            Regular       64.00   19.00 12/12/2016 Los Angeles CA West - Drivers
1456811            Regular       16.00   19.00 12/19/2016 Los Angeles CA West - Drivers
1456811            Regular        1.00   21.00 10/02/2017 Los Angeles CA West - Drivers
1456811            Regular       40.50   21.00 10/09/2017 Los Angeles CA West - Drivers
1456811            Regular       57.75   21.00 10/16/2017 Los Angeles CA West - Drivers
1456811            Regular       57.75   21.00 10/23/2017 Los Angeles CA West - Drivers
1456811            Regular       14.00   21.00 10/30/2017 Los Angeles CA West - Drivers
1456811            Regular      101.50   21.00 10/30/2017 Los Angeles CA West - Drivers
1456811            Regular       49.75   21.00 11/13/2017 Los Angeles CA West - Drivers
1456811            Regular       33.50   21.00 11/20/2017 Los Angeles CA West - Drivers
1456811            Regular       49.00   21.00 11/27/2017 Los Angeles CA West - Drivers
1456811            Regular       11.00   21.00 12/04/2017 Los Angeles CA West - Drivers
1456811            Regular        8.00   20.00 01/15/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.75   30.00 01/15/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 01/22/2018 Los Angeles CA West - Drivers
1456811            Overtime      12.00   30.00 01/22/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 01/29/2018 Los Angeles CA West - Drivers
1456811            Overtime       9.50   30.00 01/29/2018 Los Angeles CA West - Drivers
1456811            Regular       24.00   20.00 02/05/2018 Los Angeles CA West - Drivers
1456811            Overtime       5.83   30.00 02/05/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 02/12/2018 Los Angeles CA West - Drivers
1456811            Overtime       2.50   30.00 02/12/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 02/19/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.25   30.00 02/19/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 02/26/2018 Los Angeles CA West - Drivers
1456811            Overtime       6.66   30.00 02/26/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 03/05/2018 Los Angeles CA West - Drivers
1456811            Overtime       5.25   30.00 03/05/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 03/12/2018 Los Angeles CA West - Drivers
1456811            Overtime       4.50   30.00 03/12/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 03/19/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.25   30.00 03/19/2018 Los Angeles CA West - Drivers
1456811            Regular       24.00   20.00 03/26/2018 Los Angeles CA West - Drivers
1456811            Overtime       7.90   30.00 03/26/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 04/02/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.33   30.00 04/02/2018 Los Angeles CA West - Drivers
1456811            Regular       24.00   20.00 04/09/2018 Los Angeles CA West - Drivers
1456811            Overtime       1.18   30.00 04/09/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 04/16/2018 Los Angeles CA West - Drivers
1456811            Overtime       2.02   30.00 04/16/2018 Los Angeles CA West - Drivers
1456811            Regular       40.00   20.00 04/23/2018 Los Angeles CA West - Drivers
1456811            Overtime       9.03   30.00 04/23/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 04/30/2018 Los Angeles CA West - Drivers
1456811            Overtime       4.78   30.00 04/30/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 05/07/2018 Los Angeles CA West - Drivers
1456811            Overtime       2.32   30.00 05/07/2018 Los Angeles CA West - Drivers
1456811            Regular       32.00   20.00 05/14/2018 Los Angeles CA West - Drivers
1456811            Overtime       5.01   30.00 05/14/2018 Los Angeles CA West - Drivers
1456811            Regular       16.00   20.00 05/21/2018 Los Angeles CA West - Drivers
1456811            Overtime       3.75   30.00 05/21/2018 Los Angeles CA West - Drivers
Total for 1456811             2,093.86
1283229            Regular       14.00   20.00 01/30/2017 Los Angeles CA West - Drivers
1283229            Overtime       0.25   30.00 01/30/2017 Los Angeles CA West - Drivers
1283229            Regular       29.50   20.00 02/06/2017 Los Angeles CA West - Drivers
1283229            Overtime       8.25   30.00 02/06/2017 Los Angeles CA West - Drivers
1283229            Regular       37.00   20.00 02/13/2017 Los Angeles CA West - Drivers
1283229 Case 2:19-cv-08580-JFW-MAA
                   Overtime     12.00Document
                                        30.00 38-5    Filed Los
                                                02/13/2017  03/22/21
                                                                AngelesPage 375- Drivers
                                                                       CA West   of 691    Page ID
1283229            Regular      40.00   20.00 #:1148
                                                02/20/2017 Los Angeles CA West - Drivers
1283229            Overtime     12.50   30.00 02/20/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   20.00 02/27/2017 Los Angeles CA West - Drivers
1283229            Overtime      6.75   30.00 02/27/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   20.00 03/06/2017 Los Angeles CA West - Drivers
1283229            Overtime     34.00   30.00 03/06/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   20.00 03/13/2017 Los Angeles CA West - Drivers
1283229            Overtime     24.25   30.00 03/13/2017 Los Angeles CA West - Drivers
1283229            Regular      38.00   20.00 03/20/2017 Los Angeles CA West - Drivers
1283229            Overtime     12.50   30.00 03/20/2017 Los Angeles CA West - Drivers
1283229            Regular       8.00   20.00 03/27/2017 Los Angeles CA West - Drivers
1283229            Overtime      0.50   30.00 03/27/2017 Los Angeles CA West - Drivers
1283229            Regular      16.00   19.50 08/07/2017 Los Angeles CA West - Drivers
1283229            Overtime      8.00   29.25 08/07/2017 Los Angeles CA West - Drivers
1283229            Regular      32.00   19.50 08/14/2017 Los Angeles CA West - Drivers
1283229            Overtime     16.00   29.25 08/14/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   19.50 08/21/2017 Los Angeles CA West - Drivers
1283229            Overtime     19.50   29.25 08/21/2017 Los Angeles CA West - Drivers
1283229            Regular      32.00   19.50 08/28/2017 Los Angeles CA West - Drivers
1283229            Overtime     15.50   29.25 08/28/2017 Los Angeles CA West - Drivers
1283229            Regular      32.00   19.50 09/04/2017 Los Angeles CA West - Drivers
1283229            Overtime     16.00   29.25 09/04/2017 Los Angeles CA West - Drivers
1283229            Regular      16.00   19.00 03/27/2017 Los Angeles CA West - Drivers
1283229            Overtime      2.00   28.50 03/27/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   19.00 04/03/2017 Los Angeles CA West - Drivers
1283229            Overtime      4.00   28.50 04/03/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
1283229            Regular      24.00   19.00 04/17/2017 Los Angeles CA West - Drivers
1283229            Overtime      1.00   28.50 04/17/2017 Los Angeles CA West - Drivers
1283229            Regular      28.00   19.00 04/24/2017 Los Angeles CA West - Drivers
1283229            Overtime      2.00   28.50 04/24/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   19.00 05/01/2017 Los Angeles CA West - Drivers
1283229            Regular      13.00   19.00 05/08/2017 Los Angeles CA West - Drivers
1283229            Overtime      2.50   28.50 05/08/2017 Los Angeles CA West - Drivers
1283229            Regular      24.00   19.00 05/15/2017 Los Angeles CA West - Drivers
1283229            Regular      40.00   19.00 05/22/2017 Los Angeles CA West - Drivers
1283229            Regular      24.00   19.00 05/29/2017 Los Angeles CA West - Drivers
1283229            Overtime      3.00   28.50 05/29/2017 Los Angeles CA West - Drivers
1283229            Regular      32.00   19.00 06/05/2017 Los Angeles CA West - Drivers
1283229            Overtime      4.00   28.50 06/05/2017 Los Angeles CA West - Drivers
1283229            Regular       8.00   19.00 03/27/2017 Los Angeles CA West - Drivers
1283229            Overtime      4.00   28.50 03/27/2017 Los Angeles CA West - Drivers
Total for 1283229              976.00
1375179            Regular      36.00   20.00 02/13/2017 Los Angeles CA East - Drivers
1375179            Overtime     15.50   30.00 02/13/2017 Los Angeles CA East - Drivers
1375179            Regular      28.00   20.00 02/20/2017 Los Angeles CA East - Drivers
1375179            Overtime      7.00   30.00 02/20/2017 Los Angeles CA East - Drivers
1375179            Regular       8.00   19.50 12/12/2016 Los Angeles CA East - Drivers
1375179            Overtime      4.00   29.25 12/12/2016 Los Angeles CA East - Drivers
1375179            Regular       8.00   38.17 11/07/2016 Los Angeles CA East - Drivers
1375179            Overtime      2.25   57.26 11/07/2016 Los Angeles CA East - Drivers
1375179            Regular      14.75   20.98 10/23/2017 Los Angeles CA East - Drivers
1375179            Regular      23.50   20.98 10/30/2017 Los Angeles CA East - Drivers
1375179            Regular      21.50   20.98 11/06/2017 Los Angeles CA East - Drivers
1375179            Regular      39.50   20.00 11/07/2016 Los Angeles CA East - Drivers
1375179            Overtime      4.50   30.00 11/07/2016 Los Angeles CA East - Drivers
1375179            Regular      20.00   19.00 12/12/2016 Los Angeles CA East - Drivers
1375179            Overtime     10.75   28.50 12/12/2016 Los Angeles CA East - Drivers
1375179            Regular       4.00    6.67 12/19/2016 Los Angeles CA East - Drivers
1375179            Regular      24.00   19.00 12/26/2016 Los Angeles CA East - Drivers
1375179            Regular       5.50   19.00 01/02/2017 Los Angeles CA East - Drivers
1375179            Regular      32.00   19.00 01/09/2017 Los Angeles CA East - Drivers
1375179 Case   2:19-cv-08580-JFW-MAA
                     Overtime      7.25Document
                                          28.50 38-5    Filed Los
                                                  01/09/2017  03/22/21
                                                                  AngelesPage 376
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1375179              Regular      32.00   19.00 #:1149
                                                  01/16/2017 Los Angeles CA East - Drivers
1375179              Overtime       12.25    28.50   01/16/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        31.00    19.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        5.50    28.50   01/23/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        16.00    19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        6.00    28.50   01/30/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular         8.00    19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.00    28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular         8.00    19.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.00    28.50   02/20/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        24.00    19.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        9.50    28.50   02/27/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        30.00    20.75   03/06/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       11.00    31.13   03/06/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        16.00    20.75   03/13/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.25    31.13   03/13/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   03/20/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        5.50    31.13   03/20/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        24.00    20.75   03/27/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        9.00    31.13   03/27/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        32.00    20.75   04/03/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       13.25    31.13   04/03/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        25.00    20.75   04/10/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        5.25    31.13   04/10/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        23.75    20.75   04/17/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.00    21.13   04/17/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular         8.00    20.75   04/24/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        6.50    31.13   04/24/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   05/01/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       11.75    31.13   05/01/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        24.00    20.75   05/08/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       10.00    31.13   05/08/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        14.50    20.75   05/15/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.00    31.13   05/15/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        12.75    20.75   05/22/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   05/29/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       25.75    31.13   05/29/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        20.00    20.75   06/05/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.00    31.13   06/05/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   06/12/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       29.00    31.13   06/12/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   06/19/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       17.25    31.13   06/19/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   06/26/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        9.25    31.13   06/26/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        36.50    20.75   07/03/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       15.25    31.13   07/03/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        40.00    20.75   07/10/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       23.50    31.13   07/10/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        16.00    20.75   07/17/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       12.00    31.13   07/17/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        22.00    20.75   07/24/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        4.25    31.13   07/24/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        26.75    20.75   07/31/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        6.25    31.13   07/31/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        24.00    20.75   08/07/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        7.50    31.13   08/07/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        26.75    20.75   08/14/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime        3.50    31.13   08/14/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        32.00    20.75   08/21/2017   Los   Angeles   CA   East   - Drivers
1375179              Overtime       14.25    31.13   08/21/2017   Los   Angeles   CA   East   - Drivers
1375179              Regular        28.50    20.75   08/28/2017   Los   Angeles   CA   East   - Drivers
1375179 Case 2:19-cv-08580-JFW-MAA
                   Overtime       5.75Document
                                         31.13 38-5    Filed Los
                                                 08/28/2017  03/22/21
                                                                 AngelesPage 377
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1375179            Regular       32.00   20.75 #:1150
                                                 09/04/2017 Los Angeles CA East - Drivers
1375179            Overtime      16.00   31.13 09/04/2017 Los Angeles CA East - Drivers
1375179            Regular       22.25   20.75 09/11/2017 Los Angeles CA East - Drivers
1375179            Overtime       3.50   10.01 09/11/2017 Los Angeles CA East - Drivers
1375179            Regular        8.00   20.75 09/18/2017 Los Angeles CA East - Drivers
1375179            Overtime       0.75   31.13 09/18/2017 Los Angeles CA East - Drivers
1375179            Regular       16.00   20.75 09/25/2017 Los Angeles CA East - Drivers
1375179            Overtime       8.00   31.13 09/11/2017 Los Angeles CA East - Drivers
1375179            Regular       36.00   20.75 10/02/2017 Los Angeles CA East - Drivers
1375179            Overtime       5.75   31.13 10/02/2017 Los Angeles CA East - Drivers
1375179            Regular       40.00   20.75 10/09/2017 Los Angeles CA East - Drivers
1375179            Overtime      15.50   31.13 10/09/2017 Los Angeles CA East - Drivers
1375179            Regular        4.00   20.75 10/23/2017 Los Angeles CA East - Drivers
1375179            Regular       16.00   20.75 10/30/2017 Los Angeles CA East - Drivers
1375179            Overtime       0.25   31.13 10/30/2017 Los Angeles CA East - Drivers
1375179            Regular        7.50   20.75 11/06/2017 Los Angeles CA East - Drivers
1375179            Regular       40.00   20.75 11/13/2017 Los Angeles CA East - Drivers
1375179            Overtime      19.25   31.13 11/13/2017 Los Angeles CA East - Drivers
1375179            Regular       40.00   20.75 11/20/2017 Los Angeles CA East - Drivers
1375179            Overtime      17.50   31.13 11/20/2017 Los Angeles CA East - Drivers
1375179            Regular       25.75   20.75 11/27/2017 Los Angeles CA East - Drivers
1375179            Overtime       2.25   31.13 11/27/2017 Los Angeles CA East - Drivers
1375179            Regular        3.50   20.75 12/04/2017 Los Angeles CA East - Drivers
1375179            Regular        8.00   20.75 12/11/2017 Los Angeles CA East - Drivers
1375179            Overtime       4.00   31.13 12/11/2017 Los Angeles CA East - Drivers
1375179            Regular        8.00   20.75 12/18/2017 Los Angeles CA East - Drivers
1375179            Overtime       4.00   31.13 12/18/2017 Los Angeles CA East - Drivers
1375179            Regular       27.00   20.75 12/25/2017 Los Angeles CA East - Drivers
1375179            Overtime       7.75   31.12 12/25/2017 Los Angeles CA East - Drivers
1375179            Regular       46.75   20.75 01/01/2018 Los Angeles CA East - Drivers
1375179            Overtime       7.50   31.13 12/04/2017 Los Angeles CA East - Drivers
1375179            Regular       40.00   20.75 01/08/2018 Los Angeles CA East - Drivers
1375179            Overtime      16.50   31.13 01/08/2018 Los Angeles CA East - Drivers
1375179            Regular       16.00   20.00 10/24/2016 Los Angeles CA East - Drivers
1375179            Overtime       6.25   30.00 10/24/2016 Los Angeles CA East - Drivers
1375179            Regular       40.00   19.00 11/28/2016 Los Angeles CA East - Drivers
1375179            Overtime      14.75   28.50 11/28/2016 Los Angeles CA East - Drivers
1375179            Regular       22.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1375179            Overtime       4.00   28.50 12/05/2016 Los Angeles CA East - Drivers
1375179            Regular       43.00   20.00 10/31/2016 Los Angeles CA East - Drivers
Total for 1375179             2,156.00
1345385            Regular       37.25   19.00 12/05/2016 Los Angeles CA West - Drivers
1345385            Overtime       9.50   28.50 12/05/2016 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 12/12/2016 Los Angeles CA West - Drivers
1345385            Overtime      10.00   28.50 12/12/2016 Los Angeles CA West - Drivers
1345385            Regular       40.00   19.00 12/19/2016 Los Angeles CA West - Drivers
1345385            Overtime      13.00   28.50 12/19/2016 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 12/26/2016 Los Angeles CA West - Drivers
1345385            Overtime       8.00   28.50 12/26/2016 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 01/02/2017 Los Angeles CA West - Drivers
1345385            Overtime      10.50   28.50 01/02/2017 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 01/09/2017 Los Angeles CA West - Drivers
1345385            Overtime       9.75   28.50 01/09/2017 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 01/16/2017 Los Angeles CA West - Drivers
1345385            Overtime       5.75   28.50 01/16/2017 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 01/23/2017 Los Angeles CA West - Drivers
1345385            Overtime       8.25   28.50 01/23/2017 Los Angeles CA West - Drivers
1345385            Regular       32.00   19.00 01/30/2017 Los Angeles CA West - Drivers
1345385            Overtime       9.25   28.50 01/30/2017 Los Angeles CA West - Drivers
1345385            Regular       40.00   19.00 02/06/2017 Los Angeles CA West - Drivers
1345385            Overtime      11.75   28.50 02/06/2017 Los Angeles CA West - Drivers
1345385            Regular       16.00   19.00 02/13/2017 Los Angeles CA West - Drivers
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                   Overtime      5.50Document
                                        28.50 38-5    Filed Los
                                                02/13/2017  03/22/21
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                                                                       CA West   of 691    Page ID
1345385            Regular      16.00   19.00 #:1151
                                                02/20/2017 Los Angeles CA West - Drivers
1345385            Overtime      8.25   28.50 02/20/2017 Los Angeles CA West - Drivers
1345385            Regular      32.00   19.00 02/27/2017 Los Angeles CA West - Drivers
1345385            Overtime     15.25   28.50 02/27/2017 Los Angeles CA West - Drivers
1345385            Regular      16.00   19.00 03/06/2017 Los Angeles CA West - Drivers
1345385            Overtime      7.00   28.50 03/06/2017 Los Angeles CA West - Drivers
1345385            Regular       8.00   19.00 03/13/2017 Los Angeles CA West - Drivers
1345385            Overtime      3.75   28.50 03/13/2017 Los Angeles CA West - Drivers
1345385            Regular      16.00   19.00 03/20/2017 Los Angeles CA West - Drivers
1345385            Overtime      7.00   28.50 03/20/2017 Los Angeles CA West - Drivers
Total for 1345385              587.75
2277729            Regular      32.00   21.00 07/16/2018 Los Angeles CA West - Drivers
2277729            Overtime     16.00   31.50 07/16/2018 Los Angeles CA West - Drivers
2277729            Regular       8.00   21.00 07/23/2018 Los Angeles CA West - Drivers
2277729            Overtime      4.00   31.50 07/23/2018 Los Angeles CA West - Drivers
2277729            Regular       8.00   21.00 07/23/2018 Los Angeles CA West - Drivers
2277729            Overtime      0.50   31.50 07/23/2018 Los Angeles CA West - Drivers
2277729            Regular      40.00   21.00 07/30/2018 Los Angeles CA West - Drivers
Total for 2277729              108.50
1153349            Regular      40.00   19.00 08/08/2016 Los Angeles CA East - Drivers
1153349            Overtime     13.75   28.50 08/08/2016 Los Angeles CA East - Drivers
1153349            Regular      40.00   19.00 08/15/2016 Los Angeles CA East - Drivers
1153349            Overtime     11.00   28.50 08/15/2016 Los Angeles CA East - Drivers
1153349            Regular      32.00   19.00 08/22/2016 Los Angeles CA East - Drivers
1153349            Overtime      9.00   28.50 08/22/2016 Los Angeles CA East - Drivers
1153349            Regular      39.50   19.00 08/29/2016 Los Angeles CA East - Drivers
1153349            Overtime      6.50   28.50 08/29/2016 Los Angeles CA East - Drivers
1153349            Regular      31.00   19.00 09/05/2016 Los Angeles CA East - Drivers
1153349            Overtime     11.00   28.50 09/05/2016 Los Angeles CA East - Drivers
1153349            Regular      40.00   19.00 09/12/2016 Los Angeles CA East - Drivers
1153349            Overtime     18.50   28.50 09/12/2016 Los Angeles CA East - Drivers
1153349            Regular      16.00   19.00 09/19/2016 Los Angeles CA East - Drivers
1153349            Overtime      4.00   28.50 09/19/2016 Los Angeles CA East - Drivers
1153349            Regular      16.00   19.00 09/26/2016 Los Angeles CA East - Drivers
1153349            Overtime      4.00   28.50 09/26/2016 Los Angeles CA East - Drivers
1153349            Regular      80.00   17.00 08/03/2015 Los Angeles CA East - Drivers
1153349            Overtime      9.50   25.50 08/03/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 08/17/2015 Los Angeles CA East - Drivers
1153349            Overtime      2.00   25.50 08/17/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 08/24/2015 Los Angeles CA East - Drivers
1153349            Overtime      2.00   25.50 08/24/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 08/31/2015 Los Angeles CA East - Drivers
1153349            Overtime      7.00   25.50 08/31/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 09/07/2015 Los Angeles CA East - Drivers
1153349            Overtime      2.75   25.50 09/07/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 09/14/2015 Los Angeles CA East - Drivers
1153349            Overtime      6.00   25.50 09/14/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 09/21/2015 Los Angeles CA East - Drivers
1153349            Overtime      0.25   25.50 09/21/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 09/28/2015 Los Angeles CA East - Drivers
1153349            Overtime      6.25   25.50 09/28/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 10/05/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 10/12/2015 Los Angeles CA East - Drivers
1153349            Overtime      2.00   25.50 10/12/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 10/19/2015 Los Angeles CA East - Drivers
1153349            Regular      39.75   17.00 10/26/2015 Los Angeles CA East - Drivers
1153349            Overtime      0.50   25.50 10/26/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 11/02/2015 Los Angeles CA East - Drivers
1153349            Overtime      1.50   25.50 11/02/2015 Los Angeles CA East - Drivers
1153349            Regular      39.50   17.00 11/09/2015 Los Angeles CA East - Drivers
1153349            Regular      40.00   17.00 11/16/2015 Los Angeles CA East - Drivers
1153349            Regular      30.00   17.00 11/23/2015 Los Angeles CA East - Drivers
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                   Regular       38.50Document
                                         17.00 38-5    Filed Los
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                                                                                - Drivers   Page ID
1153349            Overtime       1.25   25.50 #:1152
                                                 11/30/2015 Los Angeles CA East - Drivers
1153349            Regular       68.75   17.00 12/14/2015 Los Angeles CA East - Drivers
1153349            Overtime       2.50   25.50 12/07/2015 Los Angeles CA East - Drivers
1153349            Regular       30.00   17.00 12/21/2015 Los Angeles CA East - Drivers
1153349            Overtime       1.00   25.50 12/21/2015 Los Angeles CA East - Drivers
1153349            Regular       40.00   17.00 12/28/2015 Los Angeles CA East - Drivers
1153349            Overtime       0.50   25.50 12/28/2015 Los Angeles CA East - Drivers
1153349            Regular       40.00   17.00 01/04/2016 Los Angeles CA East - Drivers
1153349            Regular       30.00   17.00 01/11/2016 Los Angeles CA East - Drivers
1153349            Overtime       2.00   25.50 01/11/2016 Los Angeles CA East - Drivers
1153349            Regular       40.00   17.00 01/18/2016 Los Angeles CA East - Drivers
1153349            Regular       39.50   17.00 01/25/2016 Los Angeles CA East - Drivers
1153349            Regular       40.00   19.00 02/08/2016 Los Angeles CA East - Drivers
1153349            Overtime      11.00   28.50 02/08/2016 Los Angeles CA East - Drivers
1153349            Regular       40.00   19.00 02/15/2016 Los Angeles CA East - Drivers
1153349            Overtime      10.50   28.50 02/15/2016 Los Angeles CA East - Drivers
1153349            Regular       40.00   19.00 02/22/2016 Los Angeles CA East - Drivers
1153349            Overtime      10.00   28.50 02/22/2016 Los Angeles CA East - Drivers
1153349            Regular       40.00   19.00 02/29/2016 Los Angeles CA East - Drivers
1153349            Overtime      12.00   28.50 02/29/2016 Los Angeles CA East - Drivers
1153349            Regular       15.50   19.00 09/26/2016 Los Angeles CA East - Drivers
1153349            Regular       33.75   19.00 10/03/2016 Los Angeles CA East - Drivers
1153349            Regular       22.75   19.00 10/10/2016 Los Angeles CA East - Drivers
1153349            Overtime       2.00   28.50 10/10/2016 Los Angeles CA East - Drivers
1153349            Regular       27.25   19.00 10/17/2016 Los Angeles CA East - Drivers
1153349            Regular       22.50   19.00 10/24/2016 Los Angeles CA East - Drivers
1153349            Regular       24.00   18.00 04/04/2016 Los Angeles CA East - Drivers
1153349            Overtime       3.25   27.00 04/04/2016 Los Angeles CA East - Drivers
1153349            Regular       36.50   18.00 04/11/2016 Los Angeles CA East - Drivers
1153349            Regular       27.75   18.00 04/18/2016 Los Angeles CA East - Drivers
1153349            Regular       26.75   18.00 04/25/2016 Los Angeles CA East - Drivers
1153349            Regular       31.25   18.00 05/02/2016 Los Angeles CA East - Drivers
1153349            Overtime       3.25   27.00 05/02/2016 Los Angeles CA East - Drivers
1153349            Regular       39.75   18.00 05/09/2016 Los Angeles CA East - Drivers
1153349            Overtime       2.75   27.00 05/09/2016 Los Angeles CA East - Drivers
1153349            Regular       39.50   18.00 05/16/2016 Los Angeles CA East - Drivers
1153349            Overtime       4.00   27.00 05/16/2016 Los Angeles CA East - Drivers
1153349            Regular       32.00   18.00 05/23/2016 Los Angeles CA East - Drivers
1153349            Overtime       0.50   27.00 05/23/2016 Los Angeles CA East - Drivers
1153349            Regular       30.75   18.00 05/30/2016 Los Angeles CA East - Drivers
1153349            Overtime       0.25   27.00 05/30/2016 Los Angeles CA East - Drivers
1153349            Regular       30.50   18.00 06/06/2016 Los Angeles CA East - Drivers
1153349            Overtime       1.50   27.00 06/06/2016 Los Angeles CA East - Drivers
1153349            Regular       38.25   18.00 06/13/2016 Los Angeles CA East - Drivers
1153349            Overtime       0.75   27.00 06/13/2016 Los Angeles CA East - Drivers
1153349            Regular       37.00   18.00 06/20/2016 Los Angeles CA East - Drivers
1153349            Overtime       4.25   27.00 06/20/2016 Los Angeles CA East - Drivers
1153349            Regular       19.00   18.00 06/27/2016 Los Angeles CA East - Drivers
1153349            Overtime       0.50   27.00 06/27/2016 Los Angeles CA East - Drivers
1153349            Regular       26.25   18.00 07/04/2016 Los Angeles CA East - Drivers
1153349            Regular       16.00   20.00 03/21/2016 Los Angeles CA East - Drivers
1153349            Overtime       7.00   30.00 03/21/2016 Los Angeles CA East - Drivers
1153349            Regular        9.50   19.00 11/21/2016 Los Angeles CA East - Drivers
1153349            Regular        8.00   16.00 03/14/2016 Los Angeles CA East - Drivers
1153349            Regular        8.00   17.00 03/21/2016 Los Angeles CA East - Drivers
Total for 1153349             2,211.25
2572428            Regular       40.00   30.00 08/20/2018 Sacramento CA - Drivers
2572428            Overtime      15.25   45.00 08/20/2018 Sacramento CA - Drivers
2572428            Regular       40.00   30.00 08/27/2018 Sacramento CA - Drivers
2572428            Overtime      14.00   45.00 08/27/2018 Sacramento CA - Drivers
2572428            Regular       40.00   30.00 09/03/2018 Sacramento CA - Drivers
2572428            Overtime       1.25   45.00 09/03/2018 Sacramento CA - Drivers
2572428 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          30.00 38-5    Filed Sacramento
                                                  09/10/2018  03/22/21 Page    380 of 691 Page ID
                                                                         CA - Drivers
2572428              Overtime     18.25   45.00 #:1153
                                                  09/10/2018 Sacramento CA - Drivers
2572428             Regular        40.00    30.00   09/17/2018   Sacramento   CA   - Drivers
2572428             Overtime       16.25    45.00   09/17/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   09/24/2018   Sacramento   CA   - Drivers
2572428             Overtime        9.25    45.00   09/24/2018   Sacramento   CA   - Drivers
2572428             Regular        32.00    30.00   10/01/2018   Sacramento   CA   - Drivers
2572428             Overtime        3.00    45.00   10/01/2018   Sacramento   CA   - Drivers
2572428             Regular        48.00    30.00   10/01/2018   Sacramento   CA   - Drivers
2572428             Overtime       21.00    45.00   10/08/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   10/15/2018   Sacramento   CA   - Drivers
2572428             Overtime       29.25    45.00   10/15/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   10/22/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   10/29/2018   Sacramento   CA   - Drivers
2572428             Overtime       16.25    45.00   10/29/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   11/05/2018   Sacramento   CA   - Drivers
2572428             Overtime        9.50    45.00   11/05/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   11/12/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   11/19/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   11/26/2018   Sacramento   CA   - Drivers
2572428             Overtime        3.50    45.00   11/26/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   12/03/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   12/10/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   12/17/2018   Sacramento   CA   - Drivers
2572428             Overtime        8.00    45.00   12/17/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   12/24/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   12/31/2018   Sacramento   CA   - Drivers
2572428             Overtime        8.00    45.00   12/31/2018   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   01/07/2019   Sacramento   CA   - Drivers
2572428             Overtime        9.75    45.00   01/07/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   01/14/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   01/21/2019   Sacramento   CA   - Drivers
2572428             Regular        16.00    30.00   01/28/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   02/04/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   02/11/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   02/18/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   02/25/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   03/04/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   03/11/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   03/18/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   03/25/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   04/01/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   04/08/2019   Sacramento   CA   - Drivers
2572428             Regular        16.00    30.00   04/15/2019   Sacramento   CA   - Drivers
2572428             Regular        16.00    30.00   04/22/2019   Sacramento   CA   - Drivers
2572428             Regular        32.00    30.00   04/29/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   05/06/2019   Sacramento   CA   - Drivers
2572428             Overtime        1.00    45.00   05/06/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   05/13/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   05/20/2019   Sacramento   CA   - Drivers
2572428             Regular        32.00    30.00   05/27/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   06/03/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   06/10/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   06/17/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   06/24/2019   Sacramento   CA   - Drivers
2572428             Regular        24.00    30.00   07/01/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   07/08/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   07/15/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   07/22/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   07/29/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   08/05/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   08/12/2019   Sacramento   CA   - Drivers
2572428             Regular        40.00    30.00   08/19/2019   Sacramento   CA   - Drivers
2572428 Case 2:19-cv-08580-JFW-MAA
                   Overtime       3.00Document
                                         45.00 38-5    Filed Sacramento
                                                 08/19/2019  03/22/21 Page    381 of 691
                                                                        CA - Drivers       Page ID
2572428            Regular       32.00   30.00 #:1154
                                                 08/26/2019 Sacramento CA - Drivers
2572428            Regular       32.00   30.00 09/02/2019 Sacramento CA - Drivers
Total for 2572428             2,266.50
2599194            Regular       30.00   22.11 09/17/2018 Sacramento CA - Drivers
2599194            Regular       40.75   22.11 09/24/2018 Sacramento CA - Drivers
2599194            Regular       41.25   22.11 10/01/2018 Sacramento CA - Drivers
2599194            Regular       40.50   22.11 10/08/2018 Sacramento CA - Drivers
2599194            Regular       41.50   22.11 10/15/2018 Sacramento CA - Drivers
2599194            Regular       40.00   22.11 10/22/2018 Sacramento CA - Drivers
2599194            Regular       49.00   22.11 10/29/2018 Sacramento CA - Drivers
2599194            Regular       40.75   22.11 11/05/2018 Sacramento CA - Drivers
2599194            Regular       41.00   22.11 11/12/2018 Sacramento CA - Drivers
2599194            Regular       35.00   22.11 11/19/2018 Sacramento CA - Drivers
2599194            Regular       15.50   22.11 11/26/2018 Sacramento CA - Drivers
2599194            Regular       40.50   22.11 01/21/2019 Sacramento CA - Drivers
2599194            Regular       40.50   22.11 02/11/2019 Sacramento CA - Drivers
2599194            Regular       48.00   22.11 02/18/2019 Sacramento CA - Drivers
Total for 2599194               544.25
2558535            Regular       32.00   21.00 08/13/2018 Los Angeles CA West - Drivers
2558535            Overtime       2.00   31.50 08/13/2018 Los Angeles CA West - Drivers
2558535            Regular        8.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2558535            Overtime       1.00   30.00 08/06/2018 Los Angeles CA West - Drivers
2558535            Regular        8.00   20.00 08/20/2018 Los Angeles CA West - Drivers
2558535            Overtime       4.00   30.00 08/20/2018 Los Angeles CA West - Drivers
2558535            Regular        8.00   20.50 07/30/2018 Los Angeles CA West - Drivers
2558535            Overtime       3.25   30.75 07/30/2018 Los Angeles CA West - Drivers
2558535            Regular        7.50   20.50 08/13/2018 Los Angeles CA West - Drivers
2558535            Regular       40.00   21.00 07/23/2018 Los Angeles CA West - Drivers
2558535            Regular       40.00   21.00 07/30/2018 Los Angeles CA West - Drivers
2558535            Overtime       2.25   31.50 07/30/2018 Los Angeles CA West - Drivers
2558535            Regular        8.00   21.00 08/06/2018 Los Angeles CA West - Drivers
Total for 2558535               164.00
808128             Regular        8.00   19.50 03/27/2017 Los Angeles CA East - Drivers
808128             Regular       37.50   19.00 04/10/2017 Los Angeles CA East - Drivers
808128             Regular       41.00   19.00 04/17/2017 Los Angeles CA East - Drivers
808128             Regular       43.50   19.00 04/24/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 05/01/2017 Los Angeles CA East - Drivers
808128             Overtime       0.75   28.50 05/01/2017 Los Angeles CA East - Drivers
808128             Regular       49.00   19.00 05/08/2017 Los Angeles CA East - Drivers
808128             Overtime       1.00   28.50 05/08/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 05/15/2017 Los Angeles CA East - Drivers
808128             Overtime       8.00   28.50 05/15/2017 Los Angeles CA East - Drivers
808128             Regular       40.00   19.00 05/22/2017 Los Angeles CA East - Drivers
808128             Overtime       5.50   28.50 05/22/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 05/29/2017 Los Angeles CA East - Drivers
808128             Overtime      17.50   28.50 05/29/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 06/05/2017 Los Angeles CA East - Drivers
808128             Overtime      10.00   28.50 06/05/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 06/12/2017 Los Angeles CA East - Drivers
808128             Overtime       4.25   28.50 06/12/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 06/19/2017 Los Angeles CA East - Drivers
808128             Overtime       2.00   28.50 06/19/2017 Los Angeles CA East - Drivers
808128             Regular       46.25   19.00 06/26/2017 Los Angeles CA East - Drivers
808128             Overtime       2.25   28.50 06/26/2017 Los Angeles CA East - Drivers
808128             Regular       46.00   19.00 07/03/2017 Los Angeles CA East - Drivers
808128             Overtime       7.00   28.50 07/03/2017 Los Angeles CA East - Drivers
808128             Regular       44.50   19.00 07/10/2017 Los Angeles CA East - Drivers
808128             Overtime       6.00   28.50 07/10/2017 Los Angeles CA East - Drivers
808128             Regular       50.00   19.00 07/17/2017 Los Angeles CA East - Drivers
808128             Overtime       9.50   28.50 07/17/2017 Los Angeles CA East - Drivers
808128             Regular       47.00   19.00 07/24/2017 Los Angeles CA East - Drivers
808128             Overtime       4.00   28.50 07/24/2017 Los Angeles CA East - Drivers
808128 Case 2:19-cv-08580-JFW-MAA
                  Regular       48.00Document
                                        19.00 38-5    Filed Los
                                                07/31/2017  03/22/21
                                                                AngelesPage 382
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
808128            Overtime       5.50   28.50 #:1155
                                                07/31/2017 Los Angeles CA East - Drivers
808128            Regular       50.00   19.00 08/07/2017 Los Angeles CA East - Drivers
808128            Overtime       2.50   28.50 08/07/2017 Los Angeles CA East - Drivers
808128            Regular       46.50   19.00 08/14/2017 Los Angeles CA East - Drivers
808128            Overtime       4.00   28.50 08/14/2017 Los Angeles CA East - Drivers
808128            Regular       46.00   19.00 08/21/2017 Los Angeles CA East - Drivers
808128            Overtime       5.50   28.50 08/21/2017 Los Angeles CA East - Drivers
808128            Regular       50.00   19.00 08/28/2017 Los Angeles CA East - Drivers
808128            Overtime       7.50   28.50 08/28/2017 Los Angeles CA East - Drivers
808128            Overtime      12.00   28.50 09/04/2017 Los Angeles CA East - Drivers
808128            Regular       13.00   19.50 04/03/2017 Los Angeles CA East - Drivers
808128            Overtime       2.75   29.25 04/03/2017 Los Angeles CA East - Drivers
808128            Regular        8.00   19.50 04/10/2017 Los Angeles CA East - Drivers
808128            Regular        8.00   19.50 04/17/2017 Los Angeles CA East - Drivers
808128            Overtime       1.00   29.25 04/17/2017 Los Angeles CA East - Drivers
Total for 808128             1,140.75
2483647           Regular        8.00   20.00 02/26/2018 Los Angeles CA West - Drivers
2483647           Overtime       4.00   30.00 02/26/2018 Los Angeles CA West - Drivers
Total for 2483647               12.00
2152819           Regular        8.00   19.00 02/20/2017 Los Angeles CA East - Drivers
2152819           Regular        8.00   19.00 02/27/2017 Los Angeles CA East - Drivers
2152819           Regular       13.75   19.00 02/27/2017 Los Angeles CA East - Drivers
Total for 2152819               29.75
2535901           Regular       24.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2535901           Overtime       4.75   30.00 06/25/2018 Los Angeles CA West - Drivers
2535901           Regular       16.00   20.00 07/16/2018 Los Angeles CA West - Drivers
2535901           Overtime       5.75   30.00 07/16/2018 Los Angeles CA West - Drivers
2535901           Regular       16.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2535901           Overtime       6.00   30.00 07/23/2018 Los Angeles CA West - Drivers
2535901           Regular       24.00   20.00 07/30/2018 Los Angeles CA West - Drivers
2535901           Overtime       7.00   30.00 07/30/2018 Los Angeles CA West - Drivers
2535901           Regular       16.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2535901           Overtime       0.75   30.00 08/06/2018 Los Angeles CA West - Drivers
2535901           Regular       16.00   20.00 08/13/2018 Los Angeles CA West - Drivers
2535901           Overtime       3.75   30.00 08/13/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 08/20/2018 Los Angeles CA West - Drivers
2535901           Overtime       2.00   30.00 08/20/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.00 09/24/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2535901           Overtime       1.25   30.00 10/01/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2535901           Overtime       0.50   30.00 10/08/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2535901           Overtime       2.75   30.00 10/29/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2535901           Overtime       2.75   30.00 11/05/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.00 11/12/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.00 11/19/2018 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.00 11/19/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.50 12/10/2018 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.75 12/10/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.50 12/24/2018 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.75 12/24/2018 Los Angeles CA West - Drivers
2535901           Regular        0.00   20.50 12/31/2018 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.50 01/07/2019 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.75 01/07/2019 Los Angeles CA West - Drivers
2535901           Regular        8.00   20.50 02/11/2019 Los Angeles CA West - Drivers
2535901           Overtime       4.00   30.75 02/11/2019 Los Angeles CA West - Drivers
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                     Regular       8.00Document
                                          20.50 38-5    Filed Los
                                                  02/25/2019  03/22/21
                                                                  AngelesPage 383- Drivers
                                                                         CA West   of 691 Page ID
2535901              Overtime      4.00   30.75 #:1156
                                                  02/25/2019 Los Angeles CA West - Drivers
2535901             Regular         8.00    20.50   05/20/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        3.75    30.75   05/20/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        1.25    31.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   07/29/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        3.25    31.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    19.50   06/25/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        0.25    29.25   06/25/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular        15.75    19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        3.50    29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        0.25    29.25   06/11/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    19.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        0.25    29.25   06/18/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular        16.00    20.50   06/25/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        8.00    30.75   06/25/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    20.50   07/09/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        1.25    30.75   07/09/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    20.50   10/22/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        1.00    30.75   10/22/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular        40.00    21.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        2.50    31.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular        32.00    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        7.50    31.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular        21.00    21.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        3.25    31.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         3.00    21.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    41.22   08/12/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        3.00    61.83   08/12/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    22.50   07/08/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        1.50    33.75   07/08/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular        24.00    21.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   07/09/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        3.00    31.50   07/16/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        0.25    31.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        2.75    31.50   07/23/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   08/13/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   10/15/2018   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        0.50    31.50   01/14/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   02/18/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        0.50    31.50   03/04/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   03/18/2019   Los   Angeles   CA   West   - Drivers
2535901             Overtime        4.00    31.50   03/18/2019   Los   Angeles   CA   West   - Drivers
2535901             Regular         8.00    21.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2535901 Case 2:19-cv-08580-JFW-MAA
                   Overtime      4.00Document
                                        31.50 38-5    Filed Los
                                                03/25/2019  03/22/21
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                                                                       CA West   of 691    Page ID
2535901            Regular       8.00   21.00 #:1157
                                                04/08/2019 Los Angeles CA West - Drivers
2535901            Regular      16.00   21.00 05/06/2019 Los Angeles CA West - Drivers
2535901            Overtime      8.00   31.50 05/06/2019 Los Angeles CA West - Drivers
2535901            Regular      16.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2535901            Overtime      1.00   31.50 06/17/2019 Los Angeles CA West - Drivers
2535901            Regular       8.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2535901            Overtime      1.00   31.50 06/24/2019 Los Angeles CA West - Drivers
2535901            Regular       8.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2535901            Regular       8.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2535901            Regular       8.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2535901            Overtime      0.25   31.50 08/05/2019 Los Angeles CA West - Drivers
2535901            Regular      16.00   22.00 04/22/2019 Los Angeles CA West - Drivers
2535901            Overtime      4.25   33.00 04/22/2019 Los Angeles CA West - Drivers
Total for 2535901              847.00
2701752            Regular      32.00   17.50 02/18/2019 Sacramento CA - Drivers
2701752            Overtime      7.00   26.25 02/18/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 02/25/2019 Sacramento CA - Drivers
2701752            Overtime      8.25   26.25 02/25/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 03/04/2019 Sacramento CA - Drivers
2701752            Overtime      8.00   26.25 03/04/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 03/11/2019 Sacramento CA - Drivers
2701752            Overtime     12.00   26.25 03/11/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 03/18/2019 Sacramento CA - Drivers
2701752            Overtime      8.00   26.25 03/18/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 03/25/2019 Sacramento CA - Drivers
2701752            Overtime     13.25   26.25 03/25/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 04/01/2019 Sacramento CA - Drivers
2701752            Overtime      9.25   26.25 04/01/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 04/08/2019 Sacramento CA - Drivers
2701752            Overtime     10.25   26.25 04/08/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 04/15/2019 Sacramento CA - Drivers
2701752            Overtime      8.00   26.25 04/15/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 04/22/2019 Sacramento CA - Drivers
2701752            Overtime     10.00   26.25 04/22/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 04/29/2019 Sacramento CA - Drivers
2701752            Overtime      6.50   26.25 04/29/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 05/06/2019 Sacramento CA - Drivers
2701752            Overtime     12.50   26.25 05/06/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 05/13/2019 Sacramento CA - Drivers
2701752            Overtime      6.50   26.25 05/13/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 05/20/2019 Sacramento CA - Drivers
2701752            Overtime      4.25   26.25 05/20/2019 Sacramento CA - Drivers
2701752            Regular      32.00   17.50 05/27/2019 Sacramento CA - Drivers
2701752            Overtime      8.00   26.25 05/27/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 06/03/2019 Sacramento CA - Drivers
2701752            Overtime     16.75   26.25 06/03/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 06/10/2019 Sacramento CA - Drivers
2701752            Overtime      6.00   26.25 06/10/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 06/17/2019 Sacramento CA - Drivers
2701752            Overtime      9.75   26.25 06/17/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 06/24/2019 Sacramento CA - Drivers
2701752            Overtime      8.50   26.25 06/24/2019 Sacramento CA - Drivers
2701752            Regular      32.00   17.50 07/01/2019 Sacramento CA - Drivers
2701752            Overtime      4.00   26.25 07/01/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 07/08/2019 Sacramento CA - Drivers
2701752            Overtime      7.00   26.25 07/08/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 07/15/2019 Sacramento CA - Drivers
2701752            Overtime      8.00   26.25 07/15/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 07/22/2019 Sacramento CA - Drivers
2701752            Overtime     10.50   26.25 07/22/2019 Sacramento CA - Drivers
2701752            Regular      40.00   17.50 07/29/2019 Sacramento CA - Drivers
2701752            Overtime      8.50   26.25 07/29/2019 Sacramento CA - Drivers
2701752 Case 2:19-cv-08580-JFW-MAA
                   Regular       24.00Document
                                         17.50 38-5    Filed Sacramento
                                                 08/05/2019  03/22/21 Page    385 of 691
                                                                        CA - Drivers       Page ID
2701752            Overtime       3.50   26.25 #:1158
                                                 08/05/2019 Sacramento CA - Drivers
Total for 2701752             1,174.25
2543099            Regular       16.00   20.50 01/07/2019 Los Angeles CA West - Drivers
2543099            Overtime       4.00   30.75 01/07/2019 Los Angeles CA West - Drivers
2543099            Regular       40.00   20.50 01/14/2019 Los Angeles CA West - Drivers
2543099            Overtime      21.00   30.75 01/14/2019 Los Angeles CA West - Drivers
2543099            Regular       16.00   20.50 01/21/2019 Los Angeles CA West - Drivers
2543099            Overtime       3.00   30.75 01/21/2019 Los Angeles CA West - Drivers
2543099            Regular        8.00   20.50 01/28/2019 Los Angeles CA West - Drivers
2543099            Overtime       0.75   30.75 01/28/2019 Los Angeles CA West - Drivers
2543099            Regular        8.00   20.50 02/11/2019 Los Angeles CA West - Drivers
2543099            Overtime       2.50   30.75 02/11/2019 Los Angeles CA West - Drivers
2543099            Regular        8.00   21.00 06/11/2018 Los Angeles CA West - Drivers
2543099            Overtime       2.00   31.50 06/11/2018 Los Angeles CA West - Drivers
2543099            Regular        8.00   19.50 06/11/2018 Los Angeles CA West - Drivers
2543099            Overtime       4.00   29.25 06/11/2018 Los Angeles CA West - Drivers
2543099            Regular       13.00   19.50 06/18/2018 Los Angeles CA West - Drivers
2543099            Overtime       2.25   29.25 06/18/2018 Los Angeles CA West - Drivers
2543099            Regular       29.00   20.50 07/09/2018 Los Angeles CA West - Drivers
2543099            Overtime       0.00   30.75 06/11/2018 Los Angeles CA West - Drivers
2543099            Regular       16.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2543099            Overtime       5.00   33.00 06/10/2019 Los Angeles CA West - Drivers
2543099            Regular        8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2543099            Regular       16.00   23.00 06/18/2018 Los Angeles CA West - Drivers
2543099            Overtime       5.75   34.50 06/18/2018 Los Angeles CA West - Drivers
2543099            Regular        8.00   22.50 07/22/2019 Los Angeles CA West - Drivers
2543099            Overtime       3.50   33.75 07/22/2019 Los Angeles CA West - Drivers
2543099            Regular       16.00   22.50 07/29/2019 Los Angeles CA West - Drivers
2543099            Overtime       2.00   33.75 07/29/2019 Los Angeles CA West - Drivers
2543099            Regular       16.00   21.00 06/11/2018 Los Angeles CA West - Drivers
2543099            Overtime       3.50   31.50 06/11/2018 Los Angeles CA West - Drivers
2543099            Regular        8.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2543099            Overtime       2.50   31.50 07/22/2019 Los Angeles CA West - Drivers
2543099            Regular        8.00   20.00 06/18/2018 Los Angeles CA West - Drivers
2543099            Overtime       1.50   30.00 06/18/2018 Los Angeles CA West - Drivers
2543099            Regular        8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
Total for 2543099               313.25
931567             Regular        8.00   16.00 10/12/2015 Los Angeles CA East - Drivers
931567             Overtime       4.00   24.00 10/12/2015 Los Angeles CA East - Drivers
931567             Regular        8.00   16.00 10/12/2015 Los Angeles CA East - Drivers
931567             Overtime       0.50   24.00 10/12/2015 Los Angeles CA East - Drivers
Total for 931567                 20.50
701464             Regular       24.00   17.00 08/03/2015 Los Angeles CA East - Drivers
701464             Overtime      12.75   25.50 08/03/2015 Los Angeles CA East - Drivers
701464             Regular       40.00   17.00 08/10/2015 Los Angeles CA East - Drivers
701464             Overtime      21.25   25.50 08/10/2015 Los Angeles CA East - Drivers
701464             Regular       30.25   17.00 08/17/2015 Los Angeles CA East - Drivers
701464             Overtime      15.75   25.50 08/17/2015 Los Angeles CA East - Drivers
701464             Regular       40.00   19.00 08/24/2015 Los Angeles CA East - Drivers
701464             Overtime      20.25   28.50 08/24/2015 Los Angeles CA East - Drivers
701464             Regular       39.25   19.00 08/31/2015 Los Angeles CA East - Drivers
701464             Overtime      25.50   28.50 08/31/2015 Los Angeles CA East - Drivers
701464             Regular       32.00   19.00 09/07/2015 Los Angeles CA East - Drivers
701464             Overtime      16.00   28.50 09/07/2015 Los Angeles CA East - Drivers
701464             Regular       32.00   19.00 09/14/2015 Los Angeles CA East - Drivers
701464             Overtime      20.75   28.50 09/14/2015 Los Angeles CA East - Drivers
701464             Regular       32.00   19.00 09/21/2015 Los Angeles CA East - Drivers
701464             Overtime      14.25   28.50 09/21/2015 Los Angeles CA East - Drivers
701464             Regular       32.00   19.00 09/28/2015 Los Angeles CA East - Drivers
701464             Overtime      18.50   28.50 09/28/2015 Los Angeles CA East - Drivers
701464             Regular       39.50   19.00 10/05/2015 Los Angeles CA East - Drivers
701464             Overtime      20.50   28.50 10/05/2015 Los Angeles CA East - Drivers
701464   Case 2:19-cv-08580-JFW-MAA
                    Regular      16.00Document
                                         19.00 38-5    Filed Los
                                                 10/12/2015  03/22/21
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
701464              Overtime      2.25   28.50 #:1159
                                                 10/12/2015 Los Angeles CA East - Drivers
701464              Regular        40.00    19.00   10/19/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       20.50    28.50   10/19/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        31.00    19.00   10/26/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       12.75    28.50   10/26/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   11/02/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       10.50    28.50   11/02/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        39.50    19.00   11/09/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       20.50    28.50   11/09/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        39.50    19.00   11/16/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       18.25    28.50   11/16/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   11/30/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       17.25    28.50   11/30/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   12/07/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       16.25    28.50   12/07/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   12/14/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       18.50    28.50   12/14/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        31.00    19.00   12/21/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       14.50    28.50   12/21/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.00   12/28/2015   Los   Angeles   CA   East   - Drivers
701464              Overtime       12.50    28.50   12/28/2015   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   01/04/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       23.50    28.50   01/04/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   01/11/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       18.00    28.50   01/11/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   01/18/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       10.75    28.50   01/18/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   01/25/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       13.25    28.50   01/25/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   02/01/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       17.50    28.50   02/01/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        16.00    19.00   02/08/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        5.25    28.50   02/08/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   02/15/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        9.00    28.50   02/15/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.00   02/22/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        6.50    28.50   02/22/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        6.75    28.50   02/29/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.00   03/07/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        4.00    28.50   03/07/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        15.50    19.00   03/14/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        2.75    28.50   03/14/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   03/21/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        4.75    28.50   03/21/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.00   03/28/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        5.50    28.50   03/28/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        39.25    19.00   04/04/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       11.00    28.50   04/04/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   04/11/2016   Los   Angeles   CA   East   - Drivers
701464              Regular         8.00    19.00   04/25/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        1.50    28.50   04/25/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.00   05/02/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        8.25    28.50   05/02/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       14.50    28.50   05/09/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   05/16/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        5.25    28.88   05/16/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       12.50    28.88   05/23/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   05/30/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       11.75    28.88   05/30/2016   Los   Angeles   CA   East   - Drivers
701464   Case 2:19-cv-08580-JFW-MAA
                    Regular      31.50Document
                                         19.25 38-5    Filed Los
                                                 06/06/2016  03/22/21
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
701464              Overtime      3.75   28.88 #:1160
                                                 06/06/2016 Los Angeles CA East - Drivers
701464              Regular        32.00    19.25   06/13/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        7.00    28.88   06/13/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        23.75    19.25   06/20/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        3.50    28.88   06/20/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   06/27/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        8.25    28.88   06/27/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   07/04/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        7.50    28.88   07/04/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   07/11/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        7.50    28.88   07/11/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        31.75    19.25   07/18/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        8.50    28.88   07/18/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   07/25/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       15.75    28.88   07/25/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        41.00    19.25   08/01/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       14.00    28.88   08/01/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   08/08/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       22.75    28.88   08/08/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       20.25    28.88   08/15/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   08/22/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       12.50    28.88   08/22/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   08/29/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        8.00    28.88   08/29/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   09/05/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       16.50    28.88   09/05/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   09/12/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        6.25    28.88   09/12/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   09/19/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       17.00    28.88   09/19/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   10/10/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       15.75    28.88   10/10/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        39.50    19.25   10/17/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       13.75    28.88   10/17/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   10/24/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       11.25    28.88   10/24/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   10/31/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       17.50    28.88   10/31/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   11/07/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       11.75    28.88   11/07/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   11/14/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       16.00    28.88   11/14/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   11/21/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       15.00    28.88   11/21/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   11/28/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime        8.00    28.88   11/28/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        24.00    19.25   12/05/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       12.75    28.88   12/05/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       22.50    28.88   12/12/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   12/19/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       26.75    28.88   12/19/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   12/26/2016   Los   Angeles   CA   East   - Drivers
701464              Overtime       15.50    28.88   12/26/2016   Los   Angeles   CA   East   - Drivers
701464              Regular        32.00    19.25   01/02/2017   Los   Angeles   CA   East   - Drivers
701464              Overtime        8.50    28.88   01/02/2017   Los   Angeles   CA   East   - Drivers
701464              Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   East   - Drivers
701464              Overtime       25.75    28.88   01/09/2017   Los   Angeles   CA   East   - Drivers
701464              Regular        35.00    19.25   01/16/2017   Los   Angeles   CA   East   - Drivers
701464              Overtime       19.50    28.88   01/16/2017   Los   Angeles   CA   East   - Drivers
701464              Regular        16.00    19.25   01/23/2017   Los   Angeles   CA   East   - Drivers
701464 Case 2:19-cv-08580-JFW-MAA
                  Overtime       5.25Document
                                        28.88 38-5    Filed Los
                                                01/23/2017  03/22/21
                                                                AngelesPage 388
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
701464            Regular       15.50   19.25 #:1161
                                                01/30/2017 Los Angeles CA East - Drivers
701464            Overtime       5.50   28.88 01/30/2017 Los Angeles CA East - Drivers
701464            Regular       24.00   19.25 02/06/2017 Los Angeles CA East - Drivers
701464            Overtime      14.50   28.88 02/06/2017 Los Angeles CA East - Drivers
701464            Regular        8.00   19.25 02/13/2017 Los Angeles CA East - Drivers
701464            Overtime       2.25   28.88 02/13/2017 Los Angeles CA East - Drivers
701464            Regular       16.00   19.25 02/20/2017 Los Angeles CA East - Drivers
701464            Overtime       8.50   28.88 02/20/2017 Los Angeles CA East - Drivers
701464            Regular        8.00   19.25 02/27/2017 Los Angeles CA East - Drivers
701464            Overtime       3.75   28.88 02/27/2017 Los Angeles CA East - Drivers
701464            Regular        8.00   19.25 03/06/2017 Los Angeles CA East - Drivers
701464            Overtime       5.25   28.88 03/06/2017 Los Angeles CA East - Drivers
701464            Regular       32.00   19.25 03/13/2017 Los Angeles CA East - Drivers
701464            Overtime      14.75   28.88 03/13/2017 Los Angeles CA East - Drivers
701464            Regular       24.00   19.25 03/20/2017 Los Angeles CA East - Drivers
701464            Overtime       9.25   28.88 03/20/2017 Los Angeles CA East - Drivers
701464            Regular       24.00   19.25 04/03/2017 Los Angeles CA East - Drivers
701464            Overtime      12.50   28.88 04/03/2017 Los Angeles CA East - Drivers
701464            Regular       32.00   19.25 04/10/2017 Los Angeles CA East - Drivers
701464            Overtime      21.00   28.88 04/10/2017 Los Angeles CA East - Drivers
701464            Regular       24.00   19.25 04/17/2017 Los Angeles CA East - Drivers
701464            Overtime       8.25   28.88 04/17/2017 Los Angeles CA East - Drivers
701464            Regular        8.00   19.50 08/07/2017 Los Angeles CA East - Drivers
701464            Overtime       2.00   29.25 08/07/2017 Los Angeles CA East - Drivers
701464            Regular       40.00   19.00 10/03/2016 Los Angeles CA East - Drivers
701464            Overtime       5.00   28.50 10/03/2016 Los Angeles CA East - Drivers
Total for 701464             3,705.25
1185560           Regular       40.00   20.00 11/12/2018 Los Angeles CA East - Drivers
1185560           Overtime      16.75   30.00 11/12/2018 Los Angeles CA East - Drivers
1185560           Regular       24.00   20.00 11/19/2018 Los Angeles CA East - Drivers
1185560           Overtime      11.00   30.00 11/19/2018 Los Angeles CA East - Drivers
1185560           Regular       32.00   20.00 11/26/2018 Los Angeles CA East - Drivers
1185560           Overtime       9.00   30.00 11/26/2018 Los Angeles CA East - Drivers
1185560           Regular       32.00   20.00 12/03/2018 Los Angeles CA East - Drivers
1185560           Overtime      11.25   30.00 12/03/2018 Los Angeles CA East - Drivers
1185560           Regular       24.00   20.00 12/10/2018 Los Angeles CA East - Drivers
1185560           Overtime       9.75   30.00 12/10/2018 Los Angeles CA East - Drivers
1185560           Regular       40.00   20.00 12/17/2018 Los Angeles CA East - Drivers
1185560           Overtime      10.25   30.00 12/17/2018 Los Angeles CA East - Drivers
1185560           Regular        8.00   20.00 12/31/2018 Los Angeles CA East - Drivers
1185560           Overtime       1.75   30.00 12/31/2018 Los Angeles CA East - Drivers
1185560           Regular       40.00   21.00 01/07/2019 Los Angeles CA East - Drivers
1185560           Overtime      13.25   31.50 01/07/2019 Los Angeles CA East - Drivers
1185560           Regular       32.00   21.00 01/14/2019 Los Angeles CA East - Drivers
1185560           Overtime       4.75   31.50 01/14/2019 Los Angeles CA East - Drivers
1185560           Regular        8.00   21.00 02/11/2019 Los Angeles CA East - Drivers
1185560           Overtime       0.75   31.50 02/11/2019 Los Angeles CA East - Drivers
1185560           Regular       40.00   21.00 02/18/2019 Los Angeles CA East - Drivers
1185560           Overtime       8.75   31.50 02/18/2019 Los Angeles CA East - Drivers
1185560           Regular       36.48   19.50 06/11/2018 Los Angeles CA East - Drivers
1185560           Overtime       1.25   29.25 06/11/2018 Los Angeles CA East - Drivers
1185560           Regular       14.75   19.50 06/18/2018 Los Angeles CA East - Drivers
1185560           Overtime       0.25   29.25 06/18/2018 Los Angeles CA East - Drivers
1185560           Regular       15.00   19.50 06/25/2018 Los Angeles CA East - Drivers
1185560           Regular       32.00   19.50 07/02/2018 Los Angeles CA East - Drivers
1185560           Overtime       6.00   29.25 07/02/2018 Los Angeles CA East - Drivers
1185560           Regular       38.50   19.50 07/09/2018 Los Angeles CA East - Drivers
1185560           Overtime      11.30   29.25 07/09/2018 Los Angeles CA East - Drivers
1185560           Regular       40.00   20.00 07/16/2018 Los Angeles CA East - Drivers
1185560           Overtime      13.25   30.00 07/16/2018 Los Angeles CA East - Drivers
1185560           Regular       31.25   20.00 07/23/2018 Los Angeles CA East - Drivers
1185560           Overtime       2.25   30.00 07/23/2018 Los Angeles CA East - Drivers
1185560 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          20.00 38-5    Filed Los
                                                  07/30/2018  03/22/21
                                                                  AngelesPage 389
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1185560              Overtime      9.00   30.00 #:1162
                                                  07/30/2018 Los Angeles CA East - Drivers
1185560              Regular        32.00    20.00   08/06/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime       11.00    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   08/13/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        4.00    30.00   08/13/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    20.00   09/10/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        6.75    30.00   09/10/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    20.00   09/17/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime       16.00    30.00   09/17/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    20.00   09/24/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        7.50    30.00   09/24/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular         6.00    20.00   12/31/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        31.08    20.00   01/28/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        1.50    30.00   01/28/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   02/04/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        4.00    30.00   02/04/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         7.00    20.00   02/11/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        0.75    30.00   02/11/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        34.50    20.00   02/25/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.25    30.00   02/25/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        38.75    20.00   03/04/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    20.00   03/11/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.00    30.00   03/11/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    20.00   03/18/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        6.50    30.00   03/18/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    20.00   03/25/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        7.50    30.00   03/25/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   04/01/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        12.00    20.00   04/15/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   04/22/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        4.00    28.50   01/09/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    20.00   07/17/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime       11.00    30.00   07/17/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    20.00   07/24/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        7.75    30.00   07/24/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   07/31/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        8.00    31.50   02/26/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    21.00   03/05/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime       10.00    31.50   03/05/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    21.00   03/12/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        7.00    31.50   03/12/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular         9.08    21.00   03/19/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    21.00   01/08/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        0.25    31.50   01/08/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    21.00   01/15/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        4.00    31.50   01/15/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        14.50    19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.75    28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   05/14/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        4.00    30.00   05/14/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.00   05/21/2018   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.50    30.00   05/21/2018   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    21.00   07/29/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        28.00    21.00   08/05/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    21.00   08/19/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.75   07/29/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        4.00    31.13   07/29/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    20.75   08/19/2019   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.50    31.13   08/19/2019   Los   Angeles   CA   East   - Drivers
1185560              Regular        16.00    20.75   08/26/2019   Los   Angeles   CA   East   - Drivers
1185560 Case   2:19-cv-08580-JFW-MAA
                     Overtime      7.75Document
                                          31.13 38-5    Filed Los
                                                  08/26/2019  03/22/21
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                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1185560              Regular      31.25   19.00 #:1163
                                                  11/28/2016 Los Angeles CA East - Drivers
1185560              Overtime        5.00    28.50   11/28/2016   Los   Angeles   CA   East   - Drivers
1185560              Regular        39.00    19.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.75    28.50   12/05/2016   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    19.00   12/12/2016   Los   Angeles   CA   East   - Drivers
1185560              Overtime        8.50    28.50   12/12/2016   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    19.00   12/19/2016   Los   Angeles   CA   East   - Drivers
1185560              Overtime        7.00    28.50   12/19/2016   Los   Angeles   CA   East   - Drivers
1185560              Regular        31.00    19.00   12/26/2016   Los   Angeles   CA   East   - Drivers
1185560              Overtime        8.50    28.50   12/26/2016   Los   Angeles   CA   East   - Drivers
1185560              Regular        31.25    19.00   01/02/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        5.50    28.50   01/02/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        21.75    19.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.50    28.50   01/09/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   01/16/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         7.25    19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        1.00    28.50   02/27/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        16.00    19.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.25    28.50   03/06/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        16.00    19.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.25    28.50   03/13/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        1.00    28.50   03/27/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.00    28.50   04/03/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        38.75    19.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        6.75    28.50   04/10/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.75    19.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        6.25    28.50   04/17/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    19.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        9.00    28.50   04/24/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   05/01/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.25    28.50   05/01/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         4.50    19.00   05/08/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        15.25    19.00   05/22/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.00    28.50   05/22/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         7.00    19.00   06/05/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   06/19/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.00   07/10/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        0.25    28.50   07/10/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        16.00    19.50   08/28/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        6.00    29.25   08/28/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    19.50   09/04/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        8.50    29.25   09/04/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        36.00    19.50   09/11/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime       10.75    29.25   09/11/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    19.50   09/18/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime       10.50    29.25   09/18/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        40.00    19.50   09/25/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime       11.50    29.25   09/25/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        32.00    19.50   10/02/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        9.00    29.25   10/02/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        38.00    19.50   10/09/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        9.25    29.25   10/09/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    19.50   10/16/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        8.00    29.25   10/16/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular         8.00    19.50   10/23/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        3.00    29.25   10/23/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    19.50   11/06/2017   Los   Angeles   CA   East   - Drivers
1185560              Overtime        2.75    29.25   11/06/2017   Los   Angeles   CA   East   - Drivers
1185560              Regular        24.00    19.50   11/20/2017   Los   Angeles   CA   East   - Drivers
1185560 Case 2:19-cv-08580-JFW-MAA
                   Overtime         8.50Document
                                           29.25 38-5    Filed Los
                                                   11/20/2017  03/22/21
                                                                   AngelesPage 391
                                                                          CA East    of 691
                                                                                  - Drivers   Page ID
1185560            Regular        16.00    20.00 #:1164
                                                   03/26/2018 Los Angeles CA East - Drivers
1185560            Overtime         2.00   30.00 03/26/2018 Los Angeles CA East - Drivers
1185560            Regular        40.00    20.00 04/09/2018 Los Angeles CA East - Drivers
1185560            Regular        32.00    20.00 04/16/2018 Los Angeles CA East - Drivers
1185560            Regular          8.00   19.00 01/30/2017 Los Angeles CA East - Drivers
1185560            Overtime         1.75   28.50 01/30/2017 Los Angeles CA East - Drivers
1185560            Regular        32.00    20.00 02/12/2018 Los Angeles CA East - Drivers
1185560            Overtime         5.25   30.00 02/12/2018 Los Angeles CA East - Drivers
1185560            Regular        10.00    20.00 02/19/2018 Los Angeles CA East - Drivers
1185560            Regular        23.50    19.00 06/26/2017 Los Angeles CA East - Drivers
1185560            Overtime         7.00   28.50 06/26/2017 Los Angeles CA East - Drivers
1185560            Regular        10.00    20.00 02/12/2018 Los Angeles CA East - Drivers
1185560            Overtime         4.00   30.00 02/12/2018 Los Angeles CA East - Drivers
Total for 1185560             2,728.44
1421810            Regular          6.25   19.00 01/02/2017 Los Angeles CA East - Drivers
1421810            Regular        16.00    19.00 01/09/2017 Los Angeles CA East - Drivers
1421810            Overtime         2.00   28.50 01/09/2017 Los Angeles CA East - Drivers
1421810            Regular       -16.00    19.00 01/09/2017 Los Angeles CA East - Drivers
1421810            Overtime        -2.00   28.50 01/09/2017 Los Angeles CA East - Drivers
1421810            Regular        40.00    19.00 01/16/2017 Los Angeles CA East - Drivers
1421810            Overtime       14.50    28.50 01/16/2017 Los Angeles CA East - Drivers
1421810            Regular          8.00   18.40 10/10/2016 Los Angeles CA East - Drivers
1421810            Overtime         0.50   27.60 10/10/2016 Los Angeles CA East - Drivers
1421810            Regular        17.00    19.00 10/10/2016 Los Angeles CA East - Drivers
1421810            Overtime         1.25   28.50 10/10/2016 Los Angeles CA East - Drivers
1421810            Regular        16.00    20.00 01/09/2017 Los Angeles CA East - Drivers
1421810            Overtime         2.00   30.00 01/09/2017 Los Angeles CA East - Drivers
1421810            Regular        22.00    19.00 10/17/2016 Los Angeles CA East - Drivers
1421810            Overtime         5.75   28.50 10/17/2016 Los Angeles CA East - Drivers
1421810            Regular        37.75    19.00 10/24/2016 Los Angeles CA East - Drivers
1421810            Overtime       10.25    28.50 10/24/2016 Los Angeles CA East - Drivers
1421810            Regular        32.00    19.00 10/31/2016 Los Angeles CA East - Drivers
1421810            Overtime       12.25    28.50 10/31/2016 Los Angeles CA East - Drivers
1421810            Regular        29.50    19.00 11/07/2016 Los Angeles CA East - Drivers
1421810            Overtime         8.00   28.50 11/07/2016 Los Angeles CA East - Drivers
1421810            Regular        39.50    19.00 11/14/2016 Los Angeles CA East - Drivers
1421810            Overtime         8.00   28.50 11/14/2016 Los Angeles CA East - Drivers
1421810            Regular        29.50    19.00 11/21/2016 Los Angeles CA East - Drivers
1421810            Overtime         2.50   28.50 11/21/2016 Los Angeles CA East - Drivers
1421810            Regular        40.00    19.00 11/28/2016 Los Angeles CA East - Drivers
1421810            Overtime         8.00   28.50 11/28/2016 Los Angeles CA East - Drivers
1421810            Regular        41.50    19.00 12/05/2016 Los Angeles CA East - Drivers
1421810            Overtime         5.00   28.50 12/05/2016 Los Angeles CA East - Drivers
1421810            Regular        32.00    19.00 12/12/2016 Los Angeles CA East - Drivers
1421810            Overtime         4.50   28.50 12/12/2016 Los Angeles CA East - Drivers
1421810            Regular        29.00    19.00 12/19/2016 Los Angeles CA East - Drivers
1421810            Overtime         7.50   28.50 12/19/2016 Los Angeles CA East - Drivers
1421810            Regular        32.00    19.00 12/26/2016 Los Angeles CA East - Drivers
1421810            Overtime         3.50   28.50 12/26/2016 Los Angeles CA East - Drivers
1421810            Regular          8.00   19.00 01/02/2017 Los Angeles CA East - Drivers
Total for 1421810               553.50
2662448            Regular        54.35    19.00 12/17/2018 Los Angeles CA East - Drivers
2662448            Regular        55.49    19.00 12/24/2018 Los Angeles CA East - Drivers
2662448            Regular        51.40    19.00 12/31/2018 Los Angeles CA East - Drivers
2662448            Regular        51.83    19.00 01/07/2019 Los Angeles CA East - Drivers
Total for 2662448               213.07
2578506            Regular          8.00   20.00 08/13/2018 Los Angeles CA East - Drivers
2578506            Regular        40.00    20.00 08/20/2018 Los Angeles CA East - Drivers
2578506            Overtime         0.50   30.00 08/20/2018 Los Angeles CA East - Drivers
2578506            Regular        40.00    20.00 08/27/2018 Los Angeles CA East - Drivers
2578506            Overtime         1.75   30.00 08/27/2018 Los Angeles CA East - Drivers
2578506            Regular        32.00    20.00 09/03/2018 Los Angeles CA East - Drivers
2578506 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        20.00 38-5    Filed Los
                                                09/10/2018  03/22/21
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                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2578506            Overtime      2.00   30.00 #:1165
                                                09/10/2018 Los Angeles CA East - Drivers
2578506            Regular      40.00   20.00 09/17/2018 Los Angeles CA East - Drivers
2578506            Overtime      0.25   30.00 09/17/2018 Los Angeles CA East - Drivers
2578506            Regular      40.00   20.00 09/24/2018 Los Angeles CA East - Drivers
2578506            Overtime      5.25   30.00 09/24/2018 Los Angeles CA East - Drivers
2578506            Regular      40.00   20.00 10/01/2018 Los Angeles CA East - Drivers
2578506            Overtime      5.00   30.00 10/01/2018 Los Angeles CA East - Drivers
2578506            Regular      32.00   20.00 10/08/2018 Los Angeles CA East - Drivers
2578506            Regular      40.00   20.00 10/15/2018 Los Angeles CA East - Drivers
Total for 2578506              366.75
1399975            Regular      36.00   17.50 07/01/2019 Los Angeles CA West - Drivers
1399975            Overtime      8.00   26.25 07/01/2019 Los Angeles CA West - Drivers
1399975            Regular      40.00   17.50 07/08/2019 Los Angeles CA West - Drivers
1399975            Overtime      6.50   26.25 07/08/2019 Los Angeles CA West - Drivers
1399975            Regular      38.50   17.50 07/15/2019 Los Angeles CA West - Drivers
1399975            Overtime      1.00   26.25 07/15/2019 Los Angeles CA West - Drivers
1399975            Regular       8.00   17.50 07/22/2019 Los Angeles CA West - Drivers
1399975            Regular      24.00   18.00 09/10/2018 Los Angeles CA West - Drivers
1399975            Overtime      0.50   27.00 09/10/2018 Los Angeles CA West - Drivers
1399975            Regular       8.00   16.00 09/05/2016 Los Angeles CA West - Drivers
1399975            Overtime      2.50   24.00 09/05/2016 Los Angeles CA West - Drivers
1399975            Regular       5.00   16.00 09/05/2016 Los Angeles CA West - Drivers
1399975            Regular      15.25   16.00 09/19/2016 Los Angeles CA West - Drivers
1399975            Regular       8.00   16.50 08/13/2018 Los Angeles CA West - Drivers
1399975            Regular      24.00   16.50 08/20/2018 Los Angeles CA West - Drivers
1399975            Overtime      3.50   24.75 08/20/2018 Los Angeles CA West - Drivers
1399975            Regular      16.00   17.50 12/31/2018 Los Angeles CA West - Drivers
1399975            Overtime      4.00   26.25 12/31/2018 Los Angeles CA West - Drivers
1399975            Regular      24.00   17.50 01/07/2019 Los Angeles CA West - Drivers
1399975            Overtime      6.00   26.25 01/07/2019 Los Angeles CA West - Drivers
Total for 1399975              278.75
1312440            Regular      40.00   15.00 05/02/2016 Los Angeles CA East - Drivers
1312440            Overtime      0.75   22.50 05/02/2016 Los Angeles CA East - Drivers
1312440            Regular       8.00   15.00 05/09/2016 Los Angeles CA East - Drivers
Total for 1312440               48.75
2705556            Regular       8.00   21.00 02/18/2019 Los Angeles CA West - Drivers
Total for 2705556                8.00
1248385            Regular      28.25   20.00 12/28/2015 Sacramento CA - Drivers
1248385            Regular      28.25   20.00 01/04/2016 Sacramento CA - Drivers
1248385            Regular      30.50   20.00 01/11/2016 Sacramento CA - Drivers
1248385            Regular      12.50   20.00 02/01/2016 Sacramento CA - Drivers
1248385            Regular       4.00   20.00 02/08/2016 Sacramento CA - Drivers
1248385            Regular       4.00   20.00 02/15/2016 Sacramento CA - Drivers
1248385            Regular      16.00   20.00 02/22/2016 Sacramento CA - Drivers
1248385            Regular       9.25   20.00 05/30/2016 Sacramento CA - Drivers
1248385            Regular      13.25   20.00 06/06/2016 Sacramento CA - Drivers
1248385            Regular      20.50   20.00 06/13/2016 Sacramento CA - Drivers
1248385            Regular      10.75   20.00 10/31/2016 Sacramento CA - Drivers
1248385            Regular       8.00   19.50 06/05/2017 Sacramento CA - Drivers
1248385            Regular       8.50   21.00 02/29/2016 Sacramento CA - Drivers
1248385            Regular      13.25   21.00 05/23/2016 Sacramento CA - Drivers
1248385            Regular      27.00   21.00 06/06/2016 Sacramento CA - Drivers
1248385            Regular      22.25   21.00 10/31/2016 Sacramento CA - Drivers
1248385            Regular      16.00   19.00 02/29/2016 Sacramento CA - Drivers
1248385            Overtime      5.75   28.50 02/29/2016 Sacramento CA - Drivers
1248385            Regular      32.00   19.00 03/07/2016 Sacramento CA - Drivers
1248385            Overtime      8.50   28.50 03/07/2016 Sacramento CA - Drivers
1248385            Regular      39.75   19.00 03/14/2016 Sacramento CA - Drivers
1248385            Overtime      8.75   28.50 03/14/2016 Sacramento CA - Drivers
1248385            Regular      26.75   19.00 03/21/2016 Sacramento CA - Drivers
1248385            Overtime      5.50   28.50 03/21/2016 Sacramento CA - Drivers
1248385            Regular      38.50   19.00 03/28/2016 Sacramento CA - Drivers
1248385 Case   2:19-cv-08580-JFW-MAA
                     Overtime      2.75Document
                                          28.50 38-5    Filed Sacramento
                                                  03/28/2016  03/22/21 Page    393 of 691 Page ID
                                                                         CA - Drivers
1248385              Regular      40.00   19.00 #:1166
                                                  04/04/2016 Sacramento CA - Drivers
1248385             Overtime        9.50    28.50   04/04/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.00   04/11/2016   Sacramento   CA   - Drivers
1248385             Overtime       11.25    28.50   04/11/2016   Sacramento   CA   - Drivers
1248385             Regular        39.75    19.00   04/18/2016   Sacramento   CA   - Drivers
1248385             Overtime        4.75    28.50   04/18/2016   Sacramento   CA   - Drivers
1248385             Regular        27.00    19.00   04/25/2016   Sacramento   CA   - Drivers
1248385             Overtime        2.50    28.50   04/25/2016   Sacramento   CA   - Drivers
1248385             Regular        36.00    19.00   05/02/2016   Sacramento   CA   - Drivers
1248385             Overtime        4.25    28.50   05/02/2016   Sacramento   CA   - Drivers
1248385             Regular        36.25    19.00   05/09/2016   Sacramento   CA   - Drivers
1248385             Overtime        3.50    28.50   05/09/2016   Sacramento   CA   - Drivers
1248385             Regular        37.25    19.00   05/16/2016   Sacramento   CA   - Drivers
1248385             Overtime        2.00    28.50   05/16/2016   Sacramento   CA   - Drivers
1248385             Regular        31.75    19.00   05/23/2016   Sacramento   CA   - Drivers
1248385             Overtime        5.00    28.50   05/23/2016   Sacramento   CA   - Drivers
1248385             Regular        16.00    19.00   05/30/2016   Sacramento   CA   - Drivers
1248385             Overtime        7.00    28.50   05/30/2016   Sacramento   CA   - Drivers
1248385             Regular         8.00    19.00   06/06/2016   Sacramento   CA   - Drivers
1248385             Overtime        4.00    28.50   06/06/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    20.00   11/07/2016   Sacramento   CA   - Drivers
1248385             Overtime       14.50    30.00   11/07/2016   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   11/14/2016   Sacramento   CA   - Drivers
1248385             Overtime        6.75    30.00   11/14/2016   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   11/21/2016   Sacramento   CA   - Drivers
1248385             Overtime       10.25    30.00   11/21/2016   Sacramento   CA   - Drivers
1248385             Regular        28.00    20.00   11/28/2016   Sacramento   CA   - Drivers
1248385             Regular        27.50    20.00   12/05/2016   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   12/12/2016   Sacramento   CA   - Drivers
1248385             Overtime        4.50    30.00   12/12/2016   Sacramento   CA   - Drivers
1248385             Regular        26.00    20.00   12/19/2016   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   12/26/2016   Sacramento   CA   - Drivers
1248385             Overtime        5.00    30.00   12/26/2016   Sacramento   CA   - Drivers
1248385             Regular        33.50    20.00   01/02/2017   Sacramento   CA   - Drivers
1248385             Overtime        4.25    30.00   01/02/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   01/09/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   01/16/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   01/23/2017   Sacramento   CA   - Drivers
1248385             Regular        33.00    20.00   01/30/2017   Sacramento   CA   - Drivers
1248385             Overtime        4.25    30.00   01/30/2017   Sacramento   CA   - Drivers
1248385             Regular        28.50    20.00   02/06/2017   Sacramento   CA   - Drivers
1248385             Overtime        5.50    30.00   02/06/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    20.00   02/13/2017   Sacramento   CA   - Drivers
1248385             Overtime        1.50    30.00   02/13/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   02/20/2017   Sacramento   CA   - Drivers
1248385             Regular         6.00    20.00   02/27/2017   Sacramento   CA   - Drivers
1248385             Regular         8.00    20.00   03/06/2017   Sacramento   CA   - Drivers
1248385             Overtime        1.00    30.00   03/06/2017   Sacramento   CA   - Drivers
1248385             Regular        28.00    20.00   03/13/2017   Sacramento   CA   - Drivers
1248385             Overtime        7.00    30.00   03/13/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   03/20/2017   Sacramento   CA   - Drivers
1248385             Overtime        7.00    30.00   03/20/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   03/27/2017   Sacramento   CA   - Drivers
1248385             Overtime       10.50    30.00   03/27/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   04/03/2017   Sacramento   CA   - Drivers
1248385             Overtime       10.50    30.00   04/03/2017   Sacramento   CA   - Drivers
1248385             Regular        25.00    20.00   04/10/2017   Sacramento   CA   - Drivers
1248385             Overtime        4.00    30.00   04/10/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   04/10/2017   Sacramento   CA   - Drivers
1248385             Overtime        9.00    30.00   04/10/2017   Sacramento   CA   - Drivers
1248385             Regular        45.00    20.00   04/24/2017   Sacramento   CA   - Drivers
1248385             Overtime       13.00    30.00   04/24/2017   Sacramento   CA   - Drivers
1248385 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          20.00 38-5    Filed Sacramento
                                                  05/01/2017  03/22/21 Page    394 of 691 Page ID
                                                                         CA - Drivers
1248385              Overtime      9.25   30.00 #:1167
                                                  05/01/2017 Sacramento CA - Drivers
1248385             Regular        40.00    20.00   05/08/2017   Sacramento   CA   - Drivers
1248385             Overtime       14.50    30.00   05/08/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    20.00   05/15/2017   Sacramento   CA   - Drivers
1248385             Overtime       10.75    30.00   05/15/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   05/22/2017   Sacramento   CA   - Drivers
1248385             Overtime       11.00    30.00   05/22/2017   Sacramento   CA   - Drivers
1248385             Regular        10.00    20.00   05/29/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    20.00   06/05/2017   Sacramento   CA   - Drivers
1248385             Overtime        8.25    30.00   06/05/2017   Sacramento   CA   - Drivers
1248385             Regular        26.00    20.00   06/12/2017   Sacramento   CA   - Drivers
1248385             Overtime        8.00    30.00   06/12/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   06/19/2017   Sacramento   CA   - Drivers
1248385             Overtime       12.00    30.00   06/19/2017   Sacramento   CA   - Drivers
1248385             Regular        33.00    20.00   06/26/2017   Sacramento   CA   - Drivers
1248385             Overtime       11.00    30.00   06/26/2017   Sacramento   CA   - Drivers
1248385             Regular        22.50    20.00   07/03/2017   Sacramento   CA   - Drivers
1248385             Overtime       13.50    30.00   07/03/2017   Sacramento   CA   - Drivers
1248385             Regular        31.00    20.00   07/10/2017   Sacramento   CA   - Drivers
1248385             Overtime        5.50    30.00   07/10/2017   Sacramento   CA   - Drivers
1248385             Regular        27.00    20.00   07/17/2017   Sacramento   CA   - Drivers
1248385             Overtime        5.00    30.00   07/17/2017   Sacramento   CA   - Drivers
1248385             Regular        34.00    20.00   07/24/2017   Sacramento   CA   - Drivers
1248385             Overtime        7.00    30.00   07/24/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    20.00   07/31/2017   Sacramento   CA   - Drivers
1248385             Overtime        4.50    30.00   07/31/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    20.00   08/07/2017   Sacramento   CA   - Drivers
1248385             Overtime        2.50    30.00   08/07/2017   Sacramento   CA   - Drivers
1248385             Regular        44.00    20.00   08/14/2017   Sacramento   CA   - Drivers
1248385             Overtime        6.00    30.00   08/14/2017   Sacramento   CA   - Drivers
1248385             Regular        12.50    20.98   10/24/2016   Sacramento   CA   - Drivers
1248385             Regular         7.00    20.98   10/31/2016   Sacramento   CA   - Drivers
1248385             Regular        35.50    18.00   01/18/2016   Sacramento   CA   - Drivers
1248385             Overtime        5.00    27.00   01/18/2016   Sacramento   CA   - Drivers
1248385             Regular        43.75    18.00   01/25/2016   Sacramento   CA   - Drivers
1248385             Overtime        1.25    27.00   01/25/2016   Sacramento   CA   - Drivers
1248385             Regular        12.50    18.00   02/01/2016   Sacramento   CA   - Drivers
1248385             Regular        34.25    18.00   02/08/2016   Sacramento   CA   - Drivers
1248385             Overtime        1.75    27.00   02/08/2016   Sacramento   CA   - Drivers
1248385             Regular        23.50    18.00   02/15/2016   Sacramento   CA   - Drivers
1248385             Overtime        1.75    27.00   02/15/2016   Sacramento   CA   - Drivers
1248385             Regular        32.00    19.75   08/21/2017   Sacramento   CA   - Drivers
1248385             Overtime       10.00    29.63   08/21/2017   Sacramento   CA   - Drivers
1248385             Regular        36.00    19.75   08/28/2017   Sacramento   CA   - Drivers
1248385             Overtime       10.00    29.63   08/28/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    19.75   09/04/2017   Sacramento   CA   - Drivers
1248385             Overtime       13.00    29.63   09/04/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    19.75   09/11/2017   Sacramento   CA   - Drivers
1248385             Overtime        7.50    29.63   09/11/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   09/18/2017   Sacramento   CA   - Drivers
1248385             Overtime       11.25    29.63   09/18/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   09/25/2017   Sacramento   CA   - Drivers
1248385             Overtime       14.00    29.63   09/25/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    19.75   10/02/2017   Sacramento   CA   - Drivers
1248385             Overtime        7.25    29.63   10/02/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    19.75   10/09/2017   Sacramento   CA   - Drivers
1248385             Overtime        5.50    29.63   10/09/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   10/16/2017   Sacramento   CA   - Drivers
1248385             Overtime       18.25    29.63   10/16/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   10/23/2017   Sacramento   CA   - Drivers
1248385             Overtime       17.25    29.63   10/23/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   10/30/2017   Sacramento   CA   - Drivers
1248385 Case   2:19-cv-08580-JFW-MAA
                     Overtime     14.25Document
                                          29.63 38-5    Filed Sacramento
                                                  10/30/2017  03/22/21 Page    395 of 691 Page ID
                                                                         CA - Drivers
1248385              Regular      40.00   19.75 #:1168
                                                  11/06/2017 Sacramento CA - Drivers
1248385             Overtime       15.25    29.63   11/06/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   11/13/2017   Sacramento   CA   - Drivers
1248385             Overtime        9.75    29.63   11/13/2017   Sacramento   CA   - Drivers
1248385             Regular        30.50    19.75   11/20/2017   Sacramento   CA   - Drivers
1248385             Overtime        9.50    29.63   11/20/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    19.75   11/27/2017   Sacramento   CA   - Drivers
1248385             Overtime        8.75    29.63   11/27/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   12/04/2017   Sacramento   CA   - Drivers
1248385             Overtime       13.00    29.63   12/04/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   12/11/2017   Sacramento   CA   - Drivers
1248385             Overtime       16.50    29.63   12/11/2017   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   12/18/2017   Sacramento   CA   - Drivers
1248385             Overtime       14.25    29.63   12/18/2017   Sacramento   CA   - Drivers
1248385             Regular        24.00    19.75   12/25/2017   Sacramento   CA   - Drivers
1248385             Overtime       11.00    29.63   12/25/2017   Sacramento   CA   - Drivers
1248385             Regular        32.00    19.75   01/01/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.50    29.63   01/01/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   01/08/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.50    29.63   01/08/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   01/15/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.50    29.63   01/15/2018   Sacramento   CA   - Drivers
1248385             Regular        39.50    19.75   01/22/2018   Sacramento   CA   - Drivers
1248385             Overtime        7.50    29.63   01/22/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   01/29/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.00    29.63   01/29/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    19.75   02/05/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.00    29.63   02/05/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   02/12/2018   Sacramento   CA   - Drivers
1248385             Overtime       10.75    29.63   02/12/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   02/19/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.50    29.63   02/19/2018   Sacramento   CA   - Drivers
1248385             Regular        24.00    19.75   02/26/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.50    29.63   02/26/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   03/05/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.00    29.63   03/05/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   03/12/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.50    29.63   03/12/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   03/19/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.00    29.63   03/19/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   03/26/2018   Sacramento   CA   - Drivers
1248385             Overtime        7.50    29.63   03/26/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.75   04/02/2018   Sacramento   CA   - Drivers
1248385             Overtime        5.50    29.63   04/02/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   04/09/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.00    31.50   04/09/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   04/16/2018   Sacramento   CA   - Drivers
1248385             Overtime        7.00    31.50   04/16/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   04/23/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.00    31.50   04/23/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   04/30/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.50    31.50   04/30/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   05/07/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.25    31.50   05/07/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   05/14/2018   Sacramento   CA   - Drivers
1248385             Overtime       10.00    31.50   05/14/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   05/21/2018   Sacramento   CA   - Drivers
1248385             Overtime       14.50    31.50   05/21/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   05/28/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.50    31.50   05/28/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   06/04/2018   Sacramento   CA   - Drivers
1248385             Overtime       12.00    31.50   06/04/2018   Sacramento   CA   - Drivers
1248385 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          21.00 38-5    Filed Sacramento
                                                  06/11/2018  03/22/21 Page    396 of 691 Page ID
                                                                         CA - Drivers
1248385              Overtime      5.50   31.50 #:1169
                                                  06/11/2018 Sacramento CA - Drivers
1248385             Regular        40.00    21.00   06/18/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.50    31.50   06/18/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   06/25/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.50    31.50   06/25/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   07/02/2018   Sacramento   CA   - Drivers
1248385             Overtime       10.50    31.50   07/02/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   07/09/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.00    31.50   07/09/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   07/16/2018   Sacramento   CA   - Drivers
1248385             Overtime       14.75    31.50   07/16/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   07/23/2018   Sacramento   CA   - Drivers
1248385             Overtime       13.00    31.50   07/23/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   07/30/2018   Sacramento   CA   - Drivers
1248385             Overtime       14.50    31.50   07/30/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   08/06/2018   Sacramento   CA   - Drivers
1248385             Overtime       13.50    31.50   08/06/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   08/13/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.50    31.50   08/13/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   08/20/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.00    31.50   08/20/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   08/27/2018   Sacramento   CA   - Drivers
1248385             Overtime       12.00    31.50   08/27/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   09/03/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.50    31.50   09/03/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   09/10/2018   Sacramento   CA   - Drivers
1248385             Overtime       13.00    31.50   09/10/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   09/17/2018   Sacramento   CA   - Drivers
1248385             Overtime       10.00    31.50   09/17/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   09/24/2018   Sacramento   CA   - Drivers
1248385             Overtime       12.00    31.50   09/24/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   10/01/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.50    31.50   10/01/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   10/08/2018   Sacramento   CA   - Drivers
1248385             Overtime        9.50    31.50   10/08/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   10/15/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.50    31.50   10/15/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   10/22/2018   Sacramento   CA   - Drivers
1248385             Overtime        7.75    31.50   10/22/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   10/29/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.00    31.50   10/29/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   11/05/2018   Sacramento   CA   - Drivers
1248385             Overtime       13.25    31.50   11/05/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   11/12/2018   Sacramento   CA   - Drivers
1248385             Overtime       10.25    31.50   11/12/2018   Sacramento   CA   - Drivers
1248385             Regular        24.00    21.00   11/19/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.50    31.50   11/19/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   11/26/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.50    31.50   11/26/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   12/03/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.75    31.50   12/03/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   12/10/2018   Sacramento   CA   - Drivers
1248385             Overtime        8.50    31.50   12/10/2018   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   12/17/2018   Sacramento   CA   - Drivers
1248385             Overtime       11.25    31.50   12/17/2018   Sacramento   CA   - Drivers
1248385             Regular        24.00    21.00   12/24/2018   Sacramento   CA   - Drivers
1248385             Overtime        6.00    31.50   12/24/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   12/31/2018   Sacramento   CA   - Drivers
1248385             Overtime        2.50    31.50   12/31/2018   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   01/07/2019   Sacramento   CA   - Drivers
1248385             Overtime        6.50    31.50   01/07/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   01/14/2019   Sacramento   CA   - Drivers
1248385 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.50Document
                                          31.50 38-5    Filed Sacramento
                                                  01/14/2019  03/22/21 Page    397 of 691 Page ID
                                                                         CA - Drivers
1248385              Regular      40.00   21.00 #:1170
                                                  01/21/2019 Sacramento CA - Drivers
1248385             Overtime        8.50    31.50   01/21/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   01/28/2019   Sacramento   CA   - Drivers
1248385             Overtime        6.25    31.50   01/28/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   02/04/2019   Sacramento   CA   - Drivers
1248385             Overtime        7.75    31.50   02/04/2019   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   02/11/2019   Sacramento   CA   - Drivers
1248385             Overtime        8.25    31.50   02/11/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   02/18/2019   Sacramento   CA   - Drivers
1248385             Overtime        5.25    31.50   02/18/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   02/25/2019   Sacramento   CA   - Drivers
1248385             Overtime        8.25    31.50   02/25/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   03/04/2019   Sacramento   CA   - Drivers
1248385             Overtime       11.75    31.50   03/04/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   03/11/2019   Sacramento   CA   - Drivers
1248385             Overtime        7.00    31.50   03/11/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   03/18/2019   Sacramento   CA   - Drivers
1248385             Overtime        7.00    31.50   03/18/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   03/25/2019   Sacramento   CA   - Drivers
1248385             Overtime        3.00    31.50   03/25/2019   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   04/01/2019   Sacramento   CA   - Drivers
1248385             Overtime        6.00    31.50   04/01/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   04/08/2019   Sacramento   CA   - Drivers
1248385             Overtime        9.75    31.50   04/08/2019   Sacramento   CA   - Drivers
1248385             Regular        40.00    21.00   04/15/2019   Sacramento   CA   - Drivers
1248385             Overtime        9.75    31.50   04/15/2019   Sacramento   CA   - Drivers
1248385             Regular        32.00    21.00   04/22/2019   Sacramento   CA   - Drivers
1248385             Overtime        7.75    31.50   04/22/2019   Sacramento   CA   - Drivers
1248385             Regular        24.00    21.00   04/29/2019   Sacramento   CA   - Drivers
1248385             Overtime        5.75    31.50   04/29/2019   Sacramento   CA   - Drivers
1248385             Regular        24.00    19.00   07/18/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.00   07/25/2016   Sacramento   CA   - Drivers
1248385             Overtime        0.50    28.50   07/25/2016   Sacramento   CA   - Drivers
1248385             Regular        38.75    19.00   08/01/2016   Sacramento   CA   - Drivers
1248385             Overtime        0.75    28.50   08/01/2016   Sacramento   CA   - Drivers
1248385             Regular        39.00    19.00   08/08/2016   Sacramento   CA   - Drivers
1248385             Regular        39.75    19.00   08/15/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.00   08/22/2016   Sacramento   CA   - Drivers
1248385             Overtime        1.00    28.50   08/22/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.00   08/29/2016   Sacramento   CA   - Drivers
1248385             Overtime        0.75    28.50   08/29/2016   Sacramento   CA   - Drivers
1248385             Regular        30.50    19.00   09/05/2016   Sacramento   CA   - Drivers
1248385             Overtime        2.50    28.50   09/05/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.00   09/12/2016   Sacramento   CA   - Drivers
1248385             Overtime        1.50    28.50   09/12/2016   Sacramento   CA   - Drivers
1248385             Regular        39.25    19.00   09/19/2016   Sacramento   CA   - Drivers
1248385             Overtime        2.75    28.50   09/19/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    19.00   09/26/2016   Sacramento   CA   - Drivers
1248385             Overtime        3.00    28.50   09/26/2016   Sacramento   CA   - Drivers
1248385             Regular        39.75    19.00   10/03/2016   Sacramento   CA   - Drivers
1248385             Overtime        4.75    28.50   10/03/2016   Sacramento   CA   - Drivers
1248385             Regular        35.25    19.00   10/10/2016   Sacramento   CA   - Drivers
1248385             Overtime        6.25    28.50   10/10/2016   Sacramento   CA   - Drivers
1248385             Regular        29.30    19.00   10/17/2016   Sacramento   CA   - Drivers
1248385             Overtime        3.00    28.50   10/17/2016   Sacramento   CA   - Drivers
1248385             Regular        34.75    19.00   10/24/2016   Sacramento   CA   - Drivers
1248385             Overtime        2.25    28.50   10/24/2016   Sacramento   CA   - Drivers
1248385             Regular         8.00    20.00   06/13/2016   Sacramento   CA   - Drivers
1248385             Overtime        3.00    30.00   06/13/2016   Sacramento   CA   - Drivers
1248385             Regular        40.00    20.00   06/20/2016   Sacramento   CA   - Drivers
1248385             Overtime       10.50    30.00   06/20/2016   Sacramento   CA   - Drivers
1248385             Regular        39.25    20.00   06/27/2016   Sacramento   CA   - Drivers
1248385 Case 2:19-cv-08580-JFW-MAA
                   Overtime      11.00Document
                                         30.00 38-5    Filed Sacramento
                                                 06/27/2016  03/22/21 Page    398 of 691
                                                                        CA - Drivers       Page ID
1248385            Regular       31.75   20.00 #:1171
                                                 07/04/2016 Sacramento CA - Drivers
1248385            Overtime       5.75   30.00 07/04/2016 Sacramento CA - Drivers
1248385            Regular       32.00   20.00 07/11/2016 Sacramento CA - Drivers
1248385            Overtime      10.25   30.00 07/11/2016 Sacramento CA - Drivers
Total for 1248385             7,334.80
2551952            Regular       40.00   22.00 07/09/2018 Sacramento CA - Drivers
2551952            Overtime       1.50   33.00 07/09/2018 Sacramento CA - Drivers
2551952            Regular       40.00   22.00 07/16/2018 Sacramento CA - Drivers
2551952            Overtime       0.50   33.00 07/16/2018 Sacramento CA - Drivers
2551952            Regular       40.00   22.00 07/23/2018 Sacramento CA - Drivers
2551952            Overtime       2.00   33.00 07/23/2018 Sacramento CA - Drivers
2551952            Regular       32.00   22.00 07/30/2018 Sacramento CA - Drivers
2551952            Overtime       1.50   33.00 07/30/2018 Sacramento CA - Drivers
2551952            Regular       40.00   17.00 10/08/2018 Sacramento CA - Drivers
2551952            Overtime       6.50   25.50 10/08/2018 Sacramento CA - Drivers
2551952            Regular       40.00   17.00 10/15/2018 Sacramento CA - Drivers
2551952            Overtime       2.50   25.50 10/15/2018 Sacramento CA - Drivers
Total for 2551952               246.50
2810099            Regular       24.00   18.00 08/26/2019 Los Angeles CA West - Drivers
2810099            Regular       32.00   18.00 09/02/2019 Los Angeles CA West - Drivers
2810099            Overtime       5.50   27.00 09/02/2019 Los Angeles CA West - Drivers
Total for 2810099                61.50
1346070            Regular       16.00   22.00 11/26/2018 Los Angeles CA West - Drivers
1346070            Overtime       1.75   33.00 11/26/2018 Los Angeles CA West - Drivers
1346070            Regular       27.50   22.00 12/03/2018 Los Angeles CA West - Drivers
1346070            Overtime       1.00   33.00 12/03/2018 Los Angeles CA West - Drivers
1346070            Regular       40.00   22.00 12/10/2018 Los Angeles CA West - Drivers
1346070            Overtime      15.00   33.00 12/10/2018 Los Angeles CA West - Drivers
1346070            Regular       39.75   22.00 12/17/2018 Los Angeles CA West - Drivers
1346070            Overtime      15.00   33.00 12/17/2018 Los Angeles CA West - Drivers
1346070            Regular       24.00   22.00 12/24/2018 Los Angeles CA West - Drivers
1346070            Overtime       7.25   33.00 12/24/2018 Los Angeles CA West - Drivers
1346070            Regular       24.00   22.00 12/31/2018 Los Angeles CA West - Drivers
1346070            Overtime       9.50   33.00 12/31/2018 Los Angeles CA West - Drivers
1346070            Regular       40.00   22.00 01/07/2019 Los Angeles CA West - Drivers
1346070            Overtime       9.25   33.00 01/07/2019 Los Angeles CA West - Drivers
1346070            Regular       32.00   22.00 01/14/2019 Los Angeles CA West - Drivers
1346070            Overtime      15.25   33.00 01/14/2019 Los Angeles CA West - Drivers
1346070            Regular       40.00   22.00 01/21/2019 Los Angeles CA West - Drivers
1346070            Overtime      12.50   33.00 01/21/2019 Los Angeles CA West - Drivers
1346070            Regular       38.50   22.00 01/28/2019 Los Angeles CA West - Drivers
1346070            Overtime      14.00   33.00 01/28/2019 Los Angeles CA West - Drivers
1346070            Regular       38.50   22.00 02/04/2019 Los Angeles CA West - Drivers
1346070            Overtime       5.75   33.00 02/04/2019 Los Angeles CA West - Drivers
1346070            Regular       39.75   22.00 02/11/2019 Los Angeles CA West - Drivers
1346070            Overtime       6.75   33.00 02/11/2019 Los Angeles CA West - Drivers
1346070            Regular       32.00   22.00 02/18/2019 Los Angeles CA West - Drivers
1346070            Overtime      10.25   33.00 02/18/2019 Los Angeles CA West - Drivers
1346070            Regular       40.00   22.00 02/25/2019 Los Angeles CA West - Drivers
1346070            Overtime       6.25   33.00 02/25/2019 Los Angeles CA West - Drivers
1346070            Regular       21.50   22.00 03/04/2019 Los Angeles CA West - Drivers
1346070            Overtime       1.50   33.00 03/04/2019 Los Angeles CA West - Drivers
1346070            Regular       34.50   22.00 03/11/2019 Los Angeles CA West - Drivers
1346070            Overtime       2.00   33.00 03/11/2019 Los Angeles CA West - Drivers
1346070            Regular       38.25   22.00 03/18/2019 Los Angeles CA West - Drivers
1346070            Overtime       4.75   33.00 03/18/2019 Los Angeles CA West - Drivers
1346070            Regular       33.50   22.00 03/25/2019 Los Angeles CA West - Drivers
1346070            Overtime       2.25   33.00 03/25/2019 Los Angeles CA West - Drivers
1346070            Regular       34.75   22.00 04/01/2019 Los Angeles CA West - Drivers
1346070            Overtime       5.00   33.00 04/01/2019 Los Angeles CA West - Drivers
1346070            Regular       36.75   22.00 04/08/2019 Los Angeles CA West - Drivers
1346070            Overtime       1.50   33.00 04/08/2019 Los Angeles CA West - Drivers
1346070 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.50Document
                                          22.00 38-5    Filed Los
                                                  04/15/2019  03/22/21
                                                                  AngelesPage 399- Drivers
                                                                         CA West   of 691 Page ID
1346070              Regular      28.50   22.00 #:1172
                                                  04/22/2019 Los Angeles CA West - Drivers
1346070             Overtime        2.25    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1346070             Regular         8.00    20.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        2.50    30.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         8.00    20.50   03/04/2019   Los   Angeles   CA   West   - Drivers
1346070             Regular        24.00    19.50   01/08/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        7.50    29.25   01/08/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         8.00    19.50   01/15/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        1.50    29.25   01/15/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         8.00    19.50   01/22/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        0.50    29.25   01/22/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    19.50   01/29/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime       13.30    29.25   01/29/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        16.00    19.50   02/05/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        6.00    29.25   02/05/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        15.25    19.50   02/12/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        4.00    29.25   02/12/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         7.75    19.50   02/19/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        12.00    19.50   03/19/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        0.50    29.25   03/19/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         5.50    20.50   07/30/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         8.00    20.50   11/19/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        0.75    30.75   11/19/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        16.00    20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular         8.00    21.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1346070             Overtime        0.25    31.50   04/29/2019   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    19.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        8.00    28.50   03/26/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    19.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        6.00    28.50   04/02/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        32.00    19.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        7.50    28.50   04/09/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        32.00    19.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        6.50    28.50   04/16/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        8.50    30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        6.50    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        5.50    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        8.00    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        8.50    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        7.75    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime       11.50    30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        32.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        9.00    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        7.75    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime       12.00    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        32.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        5.50    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        5.25    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        32.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        4.75    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1346070             Regular        40.00    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1346070             Overtime        8.50    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1346070 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         20.00 38-5    Filed Los
                                                 07/30/2018  03/22/21
                                                                 AngelesPage 400- Drivers
                                                                        CA West   of 691    Page ID
1346070            Overtime       5.00   30.00 #:1173
                                                 07/30/2018 Los Angeles CA West - Drivers
1346070            Regular       40.00   20.00 08/06/2018 Los Angeles CA West - Drivers
1346070            Overtime       5.75   30.00 08/06/2018 Los Angeles CA West - Drivers
1346070            Regular       32.00   20.00 08/13/2018 Los Angeles CA West - Drivers
1346070            Overtime       5.00   30.00 08/13/2018 Los Angeles CA West - Drivers
1346070            Regular       40.00   20.00 08/20/2018 Los Angeles CA West - Drivers
1346070            Overtime       8.25   30.00 08/20/2018 Los Angeles CA West - Drivers
1346070            Regular       24.00   20.00 08/27/2018 Los Angeles CA West - Drivers
1346070            Overtime       3.75   30.00 08/27/2018 Los Angeles CA West - Drivers
1346070            Regular       32.00   20.00 09/03/2018 Los Angeles CA West - Drivers
1346070            Overtime       5.50   30.00 09/03/2018 Los Angeles CA West - Drivers
1346070            Regular       32.00   20.00 02/26/2018 Los Angeles CA West - Drivers
1346070            Overtime       3.75   30.00 02/26/2018 Los Angeles CA West - Drivers
1346070            Regular       40.00   20.00 03/05/2018 Los Angeles CA West - Drivers
1346070            Overtime      11.75   30.00 03/05/2018 Los Angeles CA West - Drivers
1346070            Regular       40.00   20.00 03/12/2018 Los Angeles CA West - Drivers
1346070            Overtime      12.75   30.00 02/26/2018 Los Angeles CA West - Drivers
1346070            Regular       20.00   20.00 03/19/2018 Los Angeles CA West - Drivers
1346070            Overtime       4.00   30.00 03/19/2018 Los Angeles CA West - Drivers
1346070            Regular       26.00   21.00 02/19/2018 Los Angeles CA West - Drivers
Total for 1346070             2,342.80
1216994            Regular       40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
1216994            Overtime      16.25   30.00 10/26/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1216994            Overtime       8.50   28.50 11/02/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
1216994            Overtime      15.00   28.50 11/09/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
1216994            Overtime       8.75   28.50 11/16/2015 Los Angeles CA West - Drivers
1216994            Regular       31.50   19.00 11/23/2015 Los Angeles CA West - Drivers
1216994            Overtime       5.50   28.50 11/23/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
1216994            Overtime      12.50   28.50 11/30/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
1216994            Overtime      27.50   28.50 12/07/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1216994            Overtime      19.00   28.50 12/14/2015 Los Angeles CA West - Drivers
1216994            Regular       31.25   19.00 12/21/2015 Los Angeles CA West - Drivers
1216994            Overtime       6.25   28.50 12/21/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 12/28/2015 Los Angeles CA West - Drivers
1216994            Overtime       6.25   28.50 12/28/2015 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
1216994            Overtime      23.50   28.50 01/04/2016 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
1216994            Overtime      12.75   28.50 01/11/2016 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 01/18/2016 Los Angeles CA West - Drivers
1216994            Overtime       6.75   28.50 01/18/2016 Los Angeles CA West - Drivers
1216994            Regular       38.50   19.00 01/25/2016 Los Angeles CA West - Drivers
1216994            Overtime       7.25   28.50 01/25/2016 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.00 02/01/2016 Los Angeles CA West - Drivers
1216994            Overtime       5.50   28.50 02/01/2016 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 02/08/2016 Los Angeles CA West - Drivers
1216994            Overtime       2.75   28.50 02/08/2016 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 02/15/2016 Los Angeles CA West - Drivers
1216994            Overtime      10.50   28.50 02/15/2016 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.00 02/22/2016 Los Angeles CA West - Drivers
1216994            Overtime       7.50   28.50 02/22/2016 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.00 02/29/2016 Los Angeles CA West - Drivers
1216994            Overtime       8.50   28.50 02/29/2016 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.00 03/07/2016 Los Angeles CA West - Drivers
1216994            Overtime       3.00   28.50 03/07/2016 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.00 03/14/2016 Los Angeles CA West - Drivers
1216994 Case   2:19-cv-08580-JFW-MAA
                     Overtime      6.75Document
                                          28.50 38-5    Filed Los
                                                  03/14/2016  03/22/21
                                                                  AngelesPage 401- Drivers
                                                                         CA West   of 691 Page ID
1216994              Regular      31.00   19.00 #:1174
                                                  03/21/2016 Los Angeles CA West - Drivers
1216994             Overtime        4.25    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        3.50    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        9.00    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        39.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       11.50    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        8.50    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        30.50    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        3.75    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        3.25    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        1.50    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        39.50    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       11.50    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       15.50    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        9.25    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        6.50    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       29.00    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       12.50    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       19.50    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        5.00    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       13.75    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       21.00    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        8.50    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        41.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       17.50    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       12.50    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       16.50    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       19.25    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       12.50    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        9.75    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        15.50    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        1.75    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        16.00    19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        6.00    28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        16.00    19.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.50    28.88   09/26/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        22.50    19.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        4.00    28.88   10/03/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       12.00    28.88   10/10/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       11.00    28.88   10/17/2016   Los   Angeles   CA   West   - Drivers
1216994 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          19.25 38-5    Filed Los
                                                  10/24/2016  03/22/21
                                                                  AngelesPage 402- Drivers
                                                                         CA West   of 691 Page ID
1216994              Overtime     11.00   28.88 #:1175
                                                  10/24/2016 Los Angeles CA West - Drivers
1216994             Regular        40.00    19.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       16.50    28.88   10/31/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        8.75    28.88   11/07/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       11.75    28.88   11/14/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       13.25    28.88   11/21/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       14.75    28.88   11/28/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        15.50    19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime        4.25    28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       16.50    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       24.50    28.88   12/19/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.75    28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       13.75    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.75    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.50    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       11.00    28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       13.00    28.88   01/30/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.00    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.25    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime        9.50    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       14.75    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       15.25    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        24.00    19.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       12.00    28.88   03/13/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        24.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       11.50    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       17.25    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       25.75    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       15.25    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       15.50    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       20.00    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        24.00    19.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       10.00    28.88   05/01/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       26.75    28.88   05/08/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        40.00    19.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime       18.75    28.88   05/15/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        16.00    19.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1216994             Overtime        4.00    28.88   05/22/2017   Los   Angeles   CA   West   - Drivers
1216994             Regular        32.00    19.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1216994 Case 2:19-cv-08580-JFW-MAA
                   Overtime      10.75Document
                                         28.88 38-5    Filed Los
                                                 05/29/2017  03/22/21
                                                                 AngelesPage 403- Drivers
                                                                        CA West   of 691    Page ID
1216994            Regular       40.00   19.25 #:1176
                                                 06/05/2017 Los Angeles CA West - Drivers
1216994            Overtime      18.25   28.88 06/05/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 06/12/2017 Los Angeles CA West - Drivers
1216994            Overtime      19.50   28.88 06/12/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 06/19/2017 Los Angeles CA West - Drivers
1216994            Overtime      15.00   28.88 06/19/2017 Los Angeles CA West - Drivers
1216994            Regular       16.00   19.25 06/26/2017 Los Angeles CA West - Drivers
1216994            Overtime       5.75   28.88 06/26/2017 Los Angeles CA West - Drivers
1216994            Regular       24.00   19.25 07/03/2017 Los Angeles CA West - Drivers
1216994            Overtime       8.75   28.88 07/03/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 07/10/2017 Los Angeles CA West - Drivers
1216994            Overtime      11.25   28.88 07/10/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 07/17/2017 Los Angeles CA West - Drivers
1216994            Overtime       8.50   28.88 07/17/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 07/24/2017 Los Angeles CA West - Drivers
1216994            Overtime      20.25   28.88 07/24/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 07/31/2017 Los Angeles CA West - Drivers
1216994            Overtime      14.50   28.88 07/31/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 08/07/2017 Los Angeles CA West - Drivers
1216994            Overtime      11.75   28.88 08/07/2017 Los Angeles CA West - Drivers
1216994            Regular       16.00   19.25 08/14/2017 Los Angeles CA West - Drivers
1216994            Overtime       3.75   28.88 08/14/2017 Los Angeles CA West - Drivers
1216994            Regular       16.00   19.25 08/21/2017 Los Angeles CA West - Drivers
1216994            Overtime      10.00   28.88 08/21/2017 Los Angeles CA West - Drivers
1216994            Regular       16.00   19.25 08/28/2017 Los Angeles CA West - Drivers
1216994            Overtime       1.25   28.88 08/28/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 09/04/2017 Los Angeles CA West - Drivers
1216994            Overtime      11.25   28.88 09/04/2017 Los Angeles CA West - Drivers
1216994            Regular       24.00   19.25 09/11/2017 Los Angeles CA West - Drivers
1216994            Overtime       7.75   28.88 09/11/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 09/18/2017 Los Angeles CA West - Drivers
1216994            Overtime       9.00   28.88 09/18/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 09/25/2017 Los Angeles CA West - Drivers
1216994            Overtime      12.75   28.88 09/25/2017 Los Angeles CA West - Drivers
1216994            Regular       24.00   19.25 10/02/2017 Los Angeles CA West - Drivers
1216994            Overtime      16.75   28.88 10/02/2017 Los Angeles CA West - Drivers
1216994            Regular        8.00   19.25 10/09/2017 Los Angeles CA West - Drivers
1216994            Overtime       3.25   28.88 10/09/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 10/16/2017 Los Angeles CA West - Drivers
1216994            Overtime      10.25   28.88 10/16/2017 Los Angeles CA West - Drivers
1216994            Regular       40.00   19.25 10/23/2017 Los Angeles CA West - Drivers
1216994            Overtime       9.75   28.88 10/23/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 10/30/2017 Los Angeles CA West - Drivers
1216994            Overtime      11.00   28.88 10/30/2017 Los Angeles CA West - Drivers
1216994            Regular       32.00   19.25 11/06/2017 Los Angeles CA West - Drivers
1216994            Overtime       8.25   28.88 11/06/2017 Los Angeles CA West - Drivers
1216994            Regular       24.00   19.25 11/13/2017 Los Angeles CA West - Drivers
1216994            Overtime       7.00   28.88 11/13/2017 Los Angeles CA West - Drivers
1216994            Regular       24.00   19.25 11/20/2017 Los Angeles CA West - Drivers
1216994            Overtime      10.00   28.88 11/20/2017 Los Angeles CA West - Drivers
Total for 1216994             4,934.25
1308830            Regular        8.00   15.50 10/31/2016 Los Angeles CA West - Drivers
1308830            Overtime       2.25   23.25 10/31/2016 Los Angeles CA West - Drivers
1308830            Regular       24.00   15.50 11/14/2016 Los Angeles CA West - Drivers
1308830            Overtime       6.75   23.25 11/14/2016 Los Angeles CA West - Drivers
1308830            Regular       24.00   16.00 05/02/2016 Los Angeles CA West - Drivers
1308830            Overtime       7.00   24.00 05/02/2016 Los Angeles CA West - Drivers
1308830            Regular       32.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1308830            Overtime      15.00   24.00 05/09/2016 Los Angeles CA West - Drivers
1308830            Regular       40.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1308830            Overtime      16.50   24.00 05/09/2016 Los Angeles CA West - Drivers
1308830            Regular       16.00   16.00 05/23/2016 Los Angeles CA West - Drivers
1308830 Case 2:19-cv-08580-JFW-MAA
                   Overtime      5.75Document
                                        24.00 38-5    Filed Los
                                                05/23/2016  03/22/21
                                                                AngelesPage 404- Drivers
                                                                       CA West   of 691    Page ID
1308830            Regular      32.00   16.00 #:1177
                                                06/06/2016 Los Angeles CA West - Drivers
1308830            Overtime     10.75   24.00 06/06/2016 Los Angeles CA West - Drivers
1308830            Regular      24.00   16.00 06/13/2016 Los Angeles CA West - Drivers
1308830            Overtime      2.75   24.00 06/13/2016 Los Angeles CA West - Drivers
1308830            Regular      40.00   16.00 09/05/2016 Los Angeles CA West - Drivers
1308830            Overtime     12.50   24.00 09/05/2016 Los Angeles CA West - Drivers
1308830            Regular      27.75   16.50 04/11/2016 Los Angeles CA West - Drivers
1308830            Overtime      5.50   24.75 04/11/2016 Los Angeles CA West - Drivers
1308830            Regular      13.00   16.50 08/15/2016 Los Angeles CA West - Drivers
1308830            Regular      20.00   16.00 11/07/2016 Los Angeles CA West - Drivers
Total for 1308830              385.50
901945             Regular      40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
901945             Overtime      9.50   25.50 08/03/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
901945             Overtime     10.50   25.50 08/10/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
901945             Overtime     18.25   28.50 08/31/2015 Los Angeles CA West - Drivers
901945             Regular      32.00   19.00 09/07/2015 Los Angeles CA West - Drivers
901945             Overtime     10.25   28.50 09/07/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 09/14/2015 Los Angeles CA West - Drivers
901945             Overtime      8.00   28.50 09/14/2015 Los Angeles CA West - Drivers
901945             Regular      38.50   19.00 09/21/2015 Los Angeles CA West - Drivers
901945             Overtime      9.00   28.50 09/21/2015 Los Angeles CA West - Drivers
901945             Regular      39.50   19.00 09/28/2015 Los Angeles CA West - Drivers
901945             Overtime     10.00   28.50 09/28/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 10/05/2015 Los Angeles CA West - Drivers
901945             Overtime     10.50   28.50 10/05/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
901945             Overtime     10.00   28.50 10/12/2015 Los Angeles CA West - Drivers
901945             Regular      32.00   19.00 10/19/2015 Los Angeles CA West - Drivers
901945             Overtime      5.00   28.50 10/19/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 10/26/2015 Los Angeles CA West - Drivers
901945             Overtime     18.50   28.50 10/26/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
901945             Overtime     18.00   28.50 11/02/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
901945             Overtime     13.00   28.50 11/09/2015 Los Angeles CA West - Drivers
901945             Regular      32.00   19.00 11/16/2015 Los Angeles CA West - Drivers
901945             Overtime     10.50   28.50 11/16/2015 Los Angeles CA West - Drivers
901945             Regular      39.00   19.00 11/23/2015 Los Angeles CA West - Drivers
901945             Overtime      9.00   28.50 11/23/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
901945             Overtime     19.50   28.50 11/30/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
901945             Overtime     13.00   28.50 12/07/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
901945             Overtime     10.00   28.50 12/14/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 12/21/2015 Los Angeles CA West - Drivers
901945             Overtime     10.00   28.50 12/21/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 12/28/2015 Los Angeles CA West - Drivers
901945             Overtime     13.75   28.50 12/28/2015 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
901945             Overtime     14.25   28.50 01/04/2016 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
901945             Overtime     20.50   28.50 01/11/2016 Los Angeles CA West - Drivers
901945             Regular      39.50   19.00 01/18/2016 Los Angeles CA West - Drivers
901945             Overtime      7.50   28.50 01/18/2016 Los Angeles CA West - Drivers
901945             Regular      39.00   19.00 01/25/2016 Los Angeles CA West - Drivers
901945             Overtime      8.50   28.50 01/25/2016 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 02/01/2016 Los Angeles CA West - Drivers
901945             Overtime     10.00   28.50 02/01/2016 Los Angeles CA West - Drivers
901945             Regular      40.00   19.00 02/08/2016 Los Angeles CA West - Drivers
901945   Case 2:19-cv-08580-JFW-MAA
                    Overtime      9.50Document
                                         28.50 38-5    Filed Los
                                                 02/08/2016  03/22/21
                                                                 AngelesPage 405- Drivers
                                                                        CA West   of 691 Page ID
901945              Regular      39.50   19.00 #:1178
                                                 02/15/2016 Los Angeles CA West - Drivers
901945              Overtime        8.50    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        31.50    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        7.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        4.50    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        4.00    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        9.75    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        4.25    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        23.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        3.75    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       10.50    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        39.50    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        7.25    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        24.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        6.50    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        8.25    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       10.00    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       11.50    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       10.00    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        9.00    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        9.50    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       23.50    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       25.50    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       20.00    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       13.00    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        6.00    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       25.50    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       17.00    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       19.25    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        41.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       16.75    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        38.25    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       11.00    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       14.00    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       21.75    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       21.50    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        24.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        7.00    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       13.00    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
901945   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.25 38-5    Filed Los
                                                 09/19/2016  03/22/21
                                                                 AngelesPage 406- Drivers
                                                                        CA West   of 691 Page ID
901945              Overtime     14.50   28.88 #:1179
                                                 09/19/2016 Los Angeles CA West - Drivers
901945              Regular        40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        9.00    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        44.50    19.25   10/03/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       12.00    28.88   10/03/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       13.25    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       12.50    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       14.75    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       17.50    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       10.50    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       12.50    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       16.50    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       13.00    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       11.50    28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       19.75    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime       34.75    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        24.00    19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
901945              Overtime        5.50    28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       19.50    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       12.00    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       11.50    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
901945              Regular         6.50    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        21.00    19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        4.00    28.88   01/30/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       12.00    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        16.00    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        7.00    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        16.00    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        7.00    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        16.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        6.50    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
901945              Regular         8.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        2.50    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        24.00    19.25   03/13/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        8.00    28.88   03/13/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        15.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime        2.00    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        24.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       13.50    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        24.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       12.00    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       15.00    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        32.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       10.00    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
901945              Regular        40.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
901945              Overtime       26.25    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
901945 Case 2:19-cv-08580-JFW-MAA
                  Regular       32.00Document
                                        19.25 38-5    Filed Los
                                                05/01/2017  03/22/21
                                                                AngelesPage 407- Drivers
                                                                       CA West   of 691    Page ID
901945            Overtime      14.25   28.88 #:1180
                                                05/01/2017 Los Angeles CA West - Drivers
901945            Regular       40.00   19.25 05/08/2017 Los Angeles CA West - Drivers
901945            Overtime      12.00   28.88 05/08/2017 Los Angeles CA West - Drivers
901945            Regular       24.00   19.25 05/15/2017 Los Angeles CA West - Drivers
901945            Overtime       7.75   28.88 05/15/2017 Los Angeles CA West - Drivers
901945            Regular       16.00   19.25 05/22/2017 Los Angeles CA West - Drivers
901945            Overtime       4.00   28.88 05/22/2017 Los Angeles CA West - Drivers
Total for 901945             4,309.00
888097            Regular       10.50   19.00 12/17/2018 Los Angeles CA East - Drivers
888097            Regular        8.00   20.00 07/17/2017 Los Angeles CA East - Drivers
888097            Overtime       4.00   30.00 07/17/2017 Los Angeles CA East - Drivers
888097            Regular       15.75   20.98 11/19/2018 Los Angeles CA East - Drivers
888097            Regular       13.00   20.98 11/26/2018 Los Angeles CA East - Drivers
888097            Regular       13.50   20.98 12/03/2018 Los Angeles CA East - Drivers
888097            Regular       18.80   22.11 04/22/2019 Los Angeles CA East - Drivers
888097            Regular       16.25   22.11 04/29/2019 Los Angeles CA East - Drivers
888097            Regular       33.00   22.11 05/20/2019 Los Angeles CA East - Drivers
888097            Regular       16.00   19.00 06/12/2017 Los Angeles CA East - Drivers
888097            Overtime       6.50   28.50 06/12/2017 Los Angeles CA East - Drivers
888097            Regular       40.00   19.00 06/19/2017 Los Angeles CA East - Drivers
888097            Overtime       9.50   28.50 06/19/2017 Los Angeles CA East - Drivers
888097            Regular       14.00   20.00 06/05/2017 Los Angeles CA East - Drivers
888097            Overtime       2.00   30.00 06/05/2017 Los Angeles CA East - Drivers
888097            Regular        5.50   23.00 11/05/2018 Los Angeles CA East - Drivers
888097            Regular        8.00   20.75 06/11/2018 Los Angeles CA East - Drivers
888097            Overtime       4.00   31.13 06/11/2018 Los Angeles CA East - Drivers
888097            Regular        8.00   19.00 03/06/2017 Los Angeles CA East - Drivers
888097            Overtime       0.50   28.50 03/06/2017 Los Angeles CA East - Drivers
888097            Regular        8.00   19.00 03/13/2017 Los Angeles CA East - Drivers
888097            Overtime       1.00   28.50 03/13/2017 Los Angeles CA East - Drivers
888097            Regular        8.00   19.00 06/26/2017 Los Angeles CA East - Drivers
888097            Overtime       0.75   28.50 06/26/2017 Los Angeles CA East - Drivers
888097            Regular        8.00   20.00 09/24/2018 Los Angeles CA East - Drivers
888097            Overtime       1.50   30.00 09/24/2018 Los Angeles CA East - Drivers
888097            Regular       32.00   20.00 10/01/2018 Los Angeles CA East - Drivers
888097            Overtime       6.00   30.00 10/01/2018 Los Angeles CA East - Drivers
888097            Regular       24.00   20.00 10/08/2018 Los Angeles CA East - Drivers
888097            Overtime       8.00   30.00 10/08/2018 Los Angeles CA East - Drivers
888097            Regular       24.00   20.00 10/22/2018 Los Angeles CA East - Drivers
888097            Overtime       8.75   30.00 10/22/2018 Los Angeles CA East - Drivers
888097            Regular       32.00   20.00 10/29/2018 Los Angeles CA East - Drivers
888097            Overtime       2.75   30.00 10/29/2018 Los Angeles CA East - Drivers
Total for 888097               411.55
2246218           Regular       40.00   19.50 04/24/2017 Los Angeles CA East - Drivers
2246218           Overtime       6.00   29.25 04/24/2017 Los Angeles CA East - Drivers
2246218           Regular        8.00   19.50 05/01/2017 Los Angeles CA East - Drivers
2246218           Overtime       2.50   29.25 05/01/2017 Los Angeles CA East - Drivers
Total for 2246218               56.50
936039            Regular        6.00   19.00 06/20/2016 Los Angeles CA West - Drivers
936039            Regular       22.00   19.00 06/27/2016 Los Angeles CA West - Drivers
936039            Overtime       4.00   28.50 06/27/2016 Los Angeles CA West - Drivers
936039            Regular       24.00   19.00 07/04/2016 Los Angeles CA West - Drivers
936039            Overtime       3.00   28.50 07/04/2016 Los Angeles CA West - Drivers
936039            Regular       40.00   19.00 07/11/2016 Los Angeles CA West - Drivers
936039            Overtime       9.00   28.50 07/11/2016 Los Angeles CA West - Drivers
936039            Regular       31.75   19.00 07/18/2016 Los Angeles CA West - Drivers
936039            Overtime       4.75   28.50 07/18/2016 Los Angeles CA West - Drivers
936039            Regular       24.00   19.00 07/25/2016 Los Angeles CA West - Drivers
936039            Overtime       3.00   28.50 07/25/2016 Los Angeles CA West - Drivers
936039            Regular       25.00   19.00 08/01/2016 Los Angeles CA West - Drivers
936039            Overtime       5.00   28.50 08/01/2016 Los Angeles CA West - Drivers
936039            Regular       16.00   19.00 08/08/2016 Los Angeles CA West - Drivers
936039 Case 2:19-cv-08580-JFW-MAA
                  Overtime      1.75Document
                                       28.50 38-5    Filed Los
                                               08/08/2016  03/22/21
                                                               AngelesPage 408- Drivers
                                                                      CA West   of 691    Page ID
936039            Regular      16.00   19.00 #:1181
                                               08/15/2016 Los Angeles CA West - Drivers
936039            Overtime      4.00   28.50 08/15/2016 Los Angeles CA West - Drivers
936039            Regular      26.50   18.50 12/05/2016 Los Angeles CA West - Drivers
936039            Overtime      2.00   27.75 12/05/2016 Los Angeles CA West - Drivers
936039            Regular       8.00   18.50 12/12/2016 Los Angeles CA West - Drivers
936039            Regular      11.50   38.17 11/07/2016 Los Angeles CA West - Drivers
936039            Regular      23.50   19.00 08/29/2016 Los Angeles CA West - Drivers
936039            Overtime      2.00   28.50 08/29/2016 Los Angeles CA West - Drivers
936039            Regular      27.50   19.00 09/05/2016 Los Angeles CA West - Drivers
936039            Overtime      0.50   28.50 09/05/2016 Los Angeles CA West - Drivers
936039            Regular      27.50   19.00 09/12/2016 Los Angeles CA West - Drivers
936039            Overtime      1.25   28.50 09/12/2016 Los Angeles CA West - Drivers
936039            Regular      30.00   19.00 09/19/2016 Los Angeles CA West - Drivers
936039            Regular      14.25   19.00 09/26/2016 Los Angeles CA West - Drivers
936039            Regular      22.50   19.00 10/03/2016 Los Angeles CA West - Drivers
936039            Regular      35.00   19.00 10/10/2016 Los Angeles CA West - Drivers
936039            Overtime      1.00   28.50 10/10/2016 Los Angeles CA West - Drivers
936039            Regular      24.50   19.00 10/17/2016 Los Angeles CA West - Drivers
936039            Regular      37.75   19.00 10/24/2016 Los Angeles CA West - Drivers
936039            Regular      15.50   19.00 11/14/2016 Los Angeles CA West - Drivers
936039            Overtime      0.50   28.50 11/14/2016 Los Angeles CA West - Drivers
936039            Regular      22.00   19.00 11/21/2016 Los Angeles CA West - Drivers
936039            Overtime      1.25   28.50 11/21/2016 Los Angeles CA West - Drivers
936039            Regular       8.00   19.00 11/28/2016 Los Angeles CA West - Drivers
Total for 936039              581.75
2408801           Regular      40.00   20.00 06/18/2018 Los Angeles CA East - Drivers
2408801           Overtime     10.00   30.00 06/18/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 06/25/2018 Los Angeles CA East - Drivers
2408801           Overtime     12.50   30.00 06/25/2018 Los Angeles CA East - Drivers
2408801           Regular      32.00   20.00 07/02/2018 Los Angeles CA East - Drivers
2408801           Overtime      5.00   30.00 07/02/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 07/09/2018 Los Angeles CA East - Drivers
2408801           Overtime     11.00   30.00 07/09/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 07/16/2018 Los Angeles CA East - Drivers
2408801           Overtime      9.00   30.00 07/16/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2408801           Overtime      9.00   30.00 07/23/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 07/30/2018 Los Angeles CA East - Drivers
2408801           Overtime     11.50   30.00 07/30/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 08/06/2018 Los Angeles CA East - Drivers
2408801           Overtime      7.50   30.00 08/06/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 08/13/2018 Los Angeles CA East - Drivers
2408801           Overtime     11.75   30.00 08/13/2018 Los Angeles CA East - Drivers
2408801           Regular      32.00   20.00 08/20/2018 Los Angeles CA East - Drivers
2408801           Overtime      7.00   30.00 08/20/2018 Los Angeles CA East - Drivers
2408801           Regular      32.00   20.00 08/27/2018 Los Angeles CA East - Drivers
2408801           Overtime     11.25   30.00 08/27/2018 Los Angeles CA East - Drivers
2408801           Regular      32.00   20.00 09/03/2018 Los Angeles CA East - Drivers
2408801           Overtime      6.00   30.00 09/03/2018 Los Angeles CA East - Drivers
2408801           Regular      32.00   20.00 09/10/2018 Los Angeles CA East - Drivers
2408801           Overtime      9.00   30.00 09/10/2018 Los Angeles CA East - Drivers
2408801           Regular      40.00   20.00 09/17/2018 Los Angeles CA East - Drivers
2408801           Overtime     11.00   30.00 09/17/2018 Los Angeles CA East - Drivers
2408801           Regular       7.25   20.00 06/11/2018 Los Angeles CA East - Drivers
2408801           Regular       9.00   20.98 11/20/2017 Los Angeles CA East - Drivers
2408801           Regular      58.25   21.85 11/27/2017 Los Angeles CA East - Drivers
2408801           Regular      47.50   21.85 12/04/2017 Los Angeles CA East - Drivers
2408801           Regular      62.75   21.85 12/11/2017 Los Angeles CA East - Drivers
2408801           Regular      35.75   21.85 12/18/2017 Los Angeles CA East - Drivers
2408801           Regular      11.50   21.85 12/25/2017 Los Angeles CA East - Drivers
2408801           Regular      29.00   21.85 01/01/2018 Los Angeles CA East - Drivers
2408801           Regular       4.00   21.85 01/08/2018 Los Angeles CA East - Drivers
2408801 Case 2:19-cv-08580-JFW-MAA
                   Regular       34.50Document
                                         21.85 38-5    Filed Los
                                                 01/15/2018  03/22/21
                                                                 AngelesPage 409
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2408801            Regular       26.00   21.85 #:1182
                                                 01/22/2018 Los Angeles CA East - Drivers
2408801            Regular       16.00   20.75 11/13/2017 Los Angeles CA East - Drivers
2408801            Overtime       7.00   31.13 11/13/2017 Los Angeles CA East - Drivers
2408801            Regular       16.00   20.75 05/07/2018 Los Angeles CA East - Drivers
2408801            Overtime       3.50   31.13 05/07/2018 Los Angeles CA East - Drivers
2408801            Regular       16.00   20.50 05/07/2018 Los Angeles CA East - Drivers
2408801            Regular       24.00   20.50 05/14/2018 Los Angeles CA East - Drivers
2408801            Regular       40.00   21.00 05/21/2018 Los Angeles CA East - Drivers
2408801            Regular       32.00   21.00 05/28/2018 Los Angeles CA East - Drivers
2408801            Regular       40.00   21.00 06/04/2018 Los Angeles CA East - Drivers
2408801            Regular       40.00   21.00 06/11/2018 Los Angeles CA East - Drivers
2408801            Regular       11.00   21.00 11/06/2017 Los Angeles CA East - Drivers
Total for 2408801             1,222.50
909853             Regular       40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
909853             Overtime      12.50   25.50 08/03/2015 Los Angeles CA West - Drivers
909853             Regular       39.25   17.00 08/10/2015 Los Angeles CA West - Drivers
909853             Overtime       9.75   25.50 08/10/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   17.00 08/17/2015 Los Angeles CA West - Drivers
909853             Overtime      10.75   25.50 08/17/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
909853             Overtime      19.00   28.50 08/24/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
909853             Overtime       9.25   28.50 08/31/2015 Los Angeles CA West - Drivers
909853             Regular       30.75   19.00 09/07/2015 Los Angeles CA West - Drivers
909853             Overtime       7.00   28.50 09/07/2015 Los Angeles CA West - Drivers
909853             Regular       39.75   19.00 09/14/2015 Los Angeles CA West - Drivers
909853             Overtime      10.25   28.50 09/14/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 09/21/2015 Los Angeles CA West - Drivers
909853             Overtime      21.25   28.50 09/21/2015 Los Angeles CA West - Drivers
909853             Regular       32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
909853             Overtime       6.25   28.50 09/28/2015 Los Angeles CA West - Drivers
909853             Regular       32.00   19.00 10/05/2015 Los Angeles CA West - Drivers
909853             Overtime       8.50   28.50 10/05/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
909853             Overtime       9.00   28.50 10/12/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
909853             Overtime       8.75   28.50 10/19/2015 Los Angeles CA West - Drivers
909853             Regular       39.75   19.00 10/26/2015 Los Angeles CA West - Drivers
909853             Overtime       7.50   28.50 10/26/2015 Los Angeles CA West - Drivers
909853             Regular       24.00   19.00 11/02/2015 Los Angeles CA West - Drivers
909853             Overtime       7.00   28.50 11/02/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
909853             Overtime       7.75   28.50 11/09/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
909853             Overtime       7.25   28.50 11/16/2015 Los Angeles CA West - Drivers
909853             Regular       23.75   19.00 11/23/2015 Los Angeles CA West - Drivers
909853             Overtime       2.00   28.50 11/23/2015 Los Angeles CA West - Drivers
909853             Regular       38.50   19.00 11/30/2015 Los Angeles CA West - Drivers
909853             Overtime      11.50   28.50 11/30/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
909853             Overtime      10.50   28.50 12/14/2015 Los Angeles CA West - Drivers
909853             Regular       30.25   19.00 12/21/2015 Los Angeles CA West - Drivers
909853             Overtime       6.75   28.50 12/21/2015 Los Angeles CA West - Drivers
909853             Regular       28.50   19.00 12/28/2015 Los Angeles CA West - Drivers
909853             Overtime       9.75   28.50 12/28/2015 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
909853             Overtime      11.75   28.50 01/04/2016 Los Angeles CA West - Drivers
909853             Regular       40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
909853             Overtime       9.75   28.50 01/11/2016 Los Angeles CA West - Drivers
909853             Regular       36.75   19.00 01/18/2016 Los Angeles CA West - Drivers
909853             Overtime       6.25   28.50 01/18/2016 Los Angeles CA West - Drivers
909853             Regular       31.00   19.00 01/25/2016 Los Angeles CA West - Drivers
909853   Case 2:19-cv-08580-JFW-MAA
                    Overtime      1.75Document
                                         28.50 38-5    Filed Los
                                                 01/25/2016  03/22/21
                                                                 AngelesPage 410- Drivers
                                                                        CA West   of 691 Page ID
909853              Regular      39.00   19.00 #:1183
                                                 02/01/2016 Los Angeles CA West - Drivers
909853              Overtime        4.00    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        39.25    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        3.50    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        5.75    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        39.75    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        4.25    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        30.75    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        1.75    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        22.25    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        0.50    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        30.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        2.25    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        30.75    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        3.75    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        30.75    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        5.50    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        4.75    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        23.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        1.75    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.00    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.25    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        31.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        2.75    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.00    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.25    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       14.00    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       14.75    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       12.50    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        7.50    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       11.25    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       12.50    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       16.25    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        17.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        5.50    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       11.00    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       13.50    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       18.50    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       10.25    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        16.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.75    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        19.50    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        4.75    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
909853   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.25 38-5    Filed Los
                                                 09/19/2016  03/22/21
                                                                 AngelesPage 411- Drivers
                                                                        CA West   of 691 Page ID
909853              Overtime      9.50   28.88 #:1184
                                                 09/19/2016 Los Angeles CA West - Drivers
909853              Regular        15.00    19.25   09/26/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.50    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        39.75    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       12.75    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       15.50    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        7.75    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.75    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        3.50    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.25    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.50    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        5.75    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.00    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       12.50    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime       15.00    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        31.25    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.00    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.25    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime       12.00    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime       13.50    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        31.50    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.75    28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.75    28.88   01/30/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime       11.25    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        28.25    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.25    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        5.50    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        40.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime       15.50    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.75    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        16.00    19.25   03/13/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.50    28.88   03/13/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        8.75    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime       10.50    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        6.00    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.75    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        24.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime       14.25    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
909853              Regular        32.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
909853              Overtime        9.75    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
909853 Case 2:19-cv-08580-JFW-MAA
                  Regular       24.00Document
                                        19.25 38-5    Filed Los
                                                05/01/2017  03/22/21
                                                                AngelesPage 412- Drivers
                                                                       CA West   of 691    Page ID
909853            Overtime       8.75   28.88 #:1185
                                                05/01/2017 Los Angeles CA West - Drivers
909853            Regular        8.00   19.25 05/08/2017 Los Angeles CA West - Drivers
909853            Overtime       3.50   28.88 05/08/2017 Los Angeles CA West - Drivers
Total for 909853             3,702.25
1317287           Regular       18.00   15.00 10/10/2016 Birmingham AL - Drivers
Total for 1317287               18.00
2668035           Regular       39.83   19.00 01/21/2019 Los Angeles CA East - Drivers
2668035           Regular        8.00   17.00 12/24/2018 Los Angeles CA East - Drivers
2668035           Overtime       2.50   25.50 12/24/2018 Los Angeles CA East - Drivers
2668035           Regular       32.00   17.00 12/31/2018 Los Angeles CA East - Drivers
2668035           Overtime      10.25   25.50 12/31/2018 Los Angeles CA East - Drivers
Total for 2668035               92.58
962990            Regular       80.00   17.00 08/03/2015 Los Angeles CA East - Drivers
962990            Overtime       9.50   25.50 08/03/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 08/17/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 08/24/2015 Los Angeles CA East - Drivers
962990            Overtime       2.00   25.50 08/24/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 08/31/2015 Los Angeles CA East - Drivers
962990            Overtime       1.50   25.50 08/31/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 09/07/2015 Los Angeles CA East - Drivers
962990            Overtime       6.00   25.50 09/07/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 09/14/2015 Los Angeles CA East - Drivers
962990            Overtime       7.25   25.50 09/14/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 09/21/2015 Los Angeles CA East - Drivers
962990            Overtime       7.25   25.50 09/21/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 09/28/2015 Los Angeles CA East - Drivers
962990            Overtime       3.75   25.50 09/28/2015 Los Angeles CA East - Drivers
962990            Regular       39.50   17.00 10/05/2015 Los Angeles CA East - Drivers
962990            Overtime       2.25   25.50 10/05/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 10/12/2015 Los Angeles CA East - Drivers
962990            Overtime       0.25   25.50 10/12/2015 Los Angeles CA East - Drivers
962990            Regular       39.00   17.00 10/19/2015 Los Angeles CA East - Drivers
962990            Overtime       2.25   25.50 10/19/2015 Los Angeles CA East - Drivers
962990            Regular       38.50   17.00 10/26/2015 Los Angeles CA East - Drivers
962990            Overtime       2.00   25.50 10/26/2015 Los Angeles CA East - Drivers
962990            Regular       39.50   17.00 11/02/2015 Los Angeles CA East - Drivers
962990            Overtime       0.50   25.50 11/02/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 11/09/2015 Los Angeles CA East - Drivers
962990            Overtime       3.75   25.50 11/09/2015 Los Angeles CA East - Drivers
962990            Regular       38.50   17.00 11/16/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 11/23/2015 Los Angeles CA East - Drivers
962990            Overtime       3.00   25.50 11/23/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 11/30/2015 Los Angeles CA East - Drivers
962990            Overtime       9.00   25.50 11/30/2015 Los Angeles CA East - Drivers
962990            Regular       79.00   17.00 12/14/2015 Los Angeles CA East - Drivers
962990            Overtime       4.50   25.50 12/07/2015 Los Angeles CA East - Drivers
962990            Regular       40.00   17.00 12/21/2015 Los Angeles CA East - Drivers
962990            Overtime       1.50   25.50 12/21/2015 Los Angeles CA East - Drivers
962990            Regular       39.50   17.00 12/28/2015 Los Angeles CA East - Drivers
962990            Overtime       1.75   25.50 12/28/2015 Los Angeles CA East - Drivers
962990            Regular       39.50   17.00 01/04/2016 Los Angeles CA East - Drivers
962990            Overtime       1.75   25.50 01/04/2016 Los Angeles CA East - Drivers
Total for 962990               982.75
1147942           Regular       24.00   19.00 09/03/2018 Sacramento CA - Drivers
1147942           Overtime       8.75   28.50 09/03/2018 Sacramento CA - Drivers
1147942           Regular       40.00   19.00 09/10/2018 Sacramento CA - Drivers
1147942           Overtime       8.75   28.50 09/10/2018 Sacramento CA - Drivers
1147942           Regular       40.00   19.00 09/17/2018 Sacramento CA - Drivers
1147942           Overtime       8.75   28.50 09/17/2018 Sacramento CA - Drivers
1147942           Regular       40.00   19.00 09/24/2018 Sacramento CA - Drivers
1147942           Overtime       5.75   28.50 09/24/2018 Sacramento CA - Drivers
1147942           Regular       40.00   19.00 10/01/2018 Sacramento CA - Drivers
1147942 Case 2:19-cv-08580-JFW-MAA
                   Overtime      5.75Document
                                        28.50 38-5    Filed Sacramento
                                                10/01/2018  03/22/21 Page    413 of 691
                                                                       CA - Drivers       Page ID
1147942            Regular      40.00   19.00 #:1186
                                                10/08/2018 Sacramento CA - Drivers
1147942            Overtime      7.50   28.50 10/08/2018 Sacramento CA - Drivers
1147942            Regular      40.00   19.00 10/15/2018 Sacramento CA - Drivers
1147942            Overtime      8.25   28.50 10/15/2018 Sacramento CA - Drivers
1147942            Regular      32.00   19.00 10/22/2018 Sacramento CA - Drivers
1147942            Overtime      6.00   28.50 10/22/2018 Sacramento CA - Drivers
Total for 1147942              355.50
2257048            Regular      19.50   22.00 07/03/2017 Sacramento CA - Drivers
2257048            Regular      56.75   22.00 07/10/2017 Sacramento CA - Drivers
2257048            Regular      52.50   20.92 07/17/2017 Sacramento CA - Drivers
Total for 2257048              128.75
807782             Regular      39.50   15.00 11/30/2015 Los Angeles CA East - Drivers
807782             Regular      16.00   15.00 12/14/2015 Los Angeles CA East - Drivers
807782             Regular      24.00   15.00 12/21/2015 Los Angeles CA East - Drivers
807782             Overtime      0.25   22.50 12/21/2015 Los Angeles CA East - Drivers
807782             Regular      24.00   15.00 12/28/2015 Los Angeles CA East - Drivers
807782             Regular      40.00   15.00 01/04/2016 Los Angeles CA East - Drivers
807782             Overtime      1.25   22.50 01/04/2016 Los Angeles CA East - Drivers
807782             Regular      40.00   15.00 01/11/2016 Los Angeles CA East - Drivers
807782             Overtime      0.50   22.50 01/11/2016 Los Angeles CA East - Drivers
807782             Regular       8.00   16.00 01/18/2016 Los Angeles CA East - Drivers
Total for 807782               193.50
881912             Regular      26.75   18.50 12/05/2016 Los Angeles CA West - Drivers
881912             Overtime      1.00   27.75 12/05/2016 Los Angeles CA West - Drivers
881912             Regular      40.00   18.50 12/12/2016 Los Angeles CA West - Drivers
881912             Regular      31.00   18.50 12/19/2016 Los Angeles CA West - Drivers
881912             Regular      27.00   18.50 12/26/2016 Los Angeles CA West - Drivers
881912             Overtime      5.50   27.75 12/26/2016 Los Angeles CA West - Drivers
881912             Regular      29.00   18.50 01/02/2017 Los Angeles CA West - Drivers
881912             Overtime      4.00   27.75 01/02/2017 Los Angeles CA West - Drivers
881912             Regular      25.50   18.50 01/09/2017 Los Angeles CA West - Drivers
881912             Overtime      1.50   27.75 01/09/2017 Los Angeles CA West - Drivers
881912             Regular      29.50   18.50 01/16/2017 Los Angeles CA West - Drivers
881912             Overtime      1.00   27.75 01/16/2017 Los Angeles CA West - Drivers
881912             Regular      21.00   18.50 01/23/2017 Los Angeles CA West - Drivers
881912             Overtime      0.50   27.75 01/23/2017 Los Angeles CA West - Drivers
881912             Regular      38.50   18.50 01/30/2017 Los Angeles CA West - Drivers
881912             Overtime      7.00   27.75 01/30/2017 Los Angeles CA West - Drivers
881912             Regular       7.00   19.00 07/25/2016 Los Angeles CA West - Drivers
881912             Regular      51.48   19.00 08/03/2015 Los Angeles CA West - Drivers
881912             Regular      50.25   19.00 08/10/2015 Los Angeles CA West - Drivers
881912             Regular      51.20   19.00 08/17/2015 Los Angeles CA West - Drivers
881912             Regular      34.65   19.00 08/24/2015 Los Angeles CA West - Drivers
881912             Regular      63.75   19.00 08/31/2015 Los Angeles CA West - Drivers
881912             Regular      45.25   19.00 09/14/2015 Los Angeles CA West - Drivers
881912             Regular      31.50   19.00 09/21/2015 Los Angeles CA West - Drivers
881912             Regular      10.50   19.00 10/05/2015 Los Angeles CA West - Drivers
881912             Regular      50.75   19.00 10/12/2015 Los Angeles CA West - Drivers
881912             Regular      63.50   19.00 10/19/2015 Los Angeles CA West - Drivers
881912             Regular      37.50   19.00 10/26/2015 Los Angeles CA West - Drivers
881912             Regular       5.75   19.00 11/02/2015 Los Angeles CA West - Drivers
881912             Regular      34.75   19.00 11/09/2015 Los Angeles CA West - Drivers
881912             Regular      45.25   19.00 11/16/2015 Los Angeles CA West - Drivers
881912             Regular      34.75   19.00 11/23/2015 Los Angeles CA West - Drivers
881912             Regular      31.25   19.00 11/30/2015 Los Angeles CA West - Drivers
881912             Regular      49.50   19.00 12/07/2015 Los Angeles CA West - Drivers
881912             Regular      65.00   19.00 12/14/2015 Los Angeles CA West - Drivers
881912             Regular      36.50   19.00 12/28/2015 Los Angeles CA West - Drivers
881912             Regular      34.00   19.00 01/04/2016 Los Angeles CA West - Drivers
881912             Regular      20.00   19.00 01/11/2016 Los Angeles CA West - Drivers
881912             Regular      36.50   19.00 01/18/2016 Los Angeles CA West - Drivers
881912             Regular      35.75   19.00 01/25/2016 Los Angeles CA West - Drivers
881912 Case 2:19-cv-08580-JFW-MAA
                  Regular       24.00Document
                                        19.00 38-5    Filed Los
                                                02/01/2016  03/22/21
                                                                AngelesPage 414- Drivers
                                                                       CA West   of 691    Page ID
881912            Regular       40.00   19.00 #:1187
                                                02/08/2016 Los Angeles CA West - Drivers
881912            Regular       23.00   19.00 02/15/2016 Los Angeles CA West - Drivers
881912            Regular       24.75   19.00 02/22/2016 Los Angeles CA West - Drivers
881912            Regular       35.25   19.00 02/29/2016 Los Angeles CA West - Drivers
881912            Regular       30.75   19.00 03/07/2016 Los Angeles CA West - Drivers
881912            Regular        9.00   19.00 03/14/2016 Los Angeles CA West - Drivers
881912            Regular       21.75   19.00 03/21/2016 Los Angeles CA West - Drivers
881912            Regular       16.50   19.00 03/28/2016 Los Angeles CA West - Drivers
881912            Regular       32.00   19.00 04/04/2016 Los Angeles CA West - Drivers
881912            Regular       37.75   19.00 05/09/2016 Los Angeles CA West - Drivers
881912            Regular       32.25   19.00 05/16/2016 Los Angeles CA West - Drivers
881912            Regular       44.00   19.00 05/23/2016 Los Angeles CA West - Drivers
881912            Regular       27.25   19.00 05/30/2016 Los Angeles CA West - Drivers
881912            Regular       44.75   19.00 06/06/2016 Los Angeles CA West - Drivers
881912            Regular       36.50   19.00 06/13/2016 Los Angeles CA West - Drivers
881912            Regular       17.75   19.00 06/13/2016 Los Angeles CA West - Drivers
881912            Regular       41.25   19.00 06/27/2016 Los Angeles CA West - Drivers
881912            Regular       18.75   19.00 07/04/2016 Los Angeles CA West - Drivers
881912            Regular       30.75   19.00 07/11/2016 Los Angeles CA West - Drivers
Total for 881912             1,803.08
909959            Regular       36.25   20.00 10/26/2015 Los Angeles CA West - Drivers
909959            Overtime       6.00   30.00 10/26/2015 Los Angeles CA West - Drivers
909959            Regular       40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
909959            Overtime       8.75   28.50 11/02/2015 Los Angeles CA West - Drivers
909959            Regular       40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
909959            Overtime      11.50   28.50 11/09/2015 Los Angeles CA West - Drivers
909959            Regular       40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
909959            Overtime       8.50   28.50 11/16/2015 Los Angeles CA West - Drivers
909959            Regular       24.00   19.00 11/23/2015 Los Angeles CA West - Drivers
909959            Overtime       4.75   28.50 11/23/2015 Los Angeles CA West - Drivers
909959            Regular       32.00   19.00 11/30/2015 Los Angeles CA West - Drivers
909959            Overtime       7.00   28.50 11/30/2015 Los Angeles CA West - Drivers
909959            Regular       40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
909959            Overtime       5.75   28.50 12/07/2015 Los Angeles CA West - Drivers
909959            Regular       40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
909959            Overtime       5.50   28.50 12/14/2015 Los Angeles CA West - Drivers
909959            Regular       24.00   19.00 12/21/2015 Los Angeles CA West - Drivers
909959            Overtime       5.75   28.50 12/21/2015 Los Angeles CA West - Drivers
909959            Regular       16.00   19.00 12/28/2015 Los Angeles CA West - Drivers
909959            Overtime       6.50   28.50 12/28/2015 Los Angeles CA West - Drivers
909959            Regular       24.00   19.00 01/04/2016 Los Angeles CA West - Drivers
909959            Overtime       6.50   28.50 01/04/2016 Los Angeles CA West - Drivers
909959            Regular       31.00   19.00 01/11/2016 Los Angeles CA West - Drivers
909959            Overtime       5.25   28.50 01/11/2016 Los Angeles CA West - Drivers
909959            Regular       32.00   19.00 01/18/2016 Los Angeles CA West - Drivers
909959            Overtime       3.75   28.50 01/18/2016 Los Angeles CA West - Drivers
909959            Regular       26.00   19.00 01/25/2016 Los Angeles CA West - Drivers
909959            Overtime       2.50   28.50 01/25/2016 Los Angeles CA West - Drivers
909959            Regular       32.00   19.00 02/01/2016 Los Angeles CA West - Drivers
909959            Overtime       5.25   28.50 02/01/2016 Los Angeles CA West - Drivers
909959            Regular       23.75   19.00 02/08/2016 Los Angeles CA West - Drivers
909959            Overtime       1.50   28.50 02/08/2016 Los Angeles CA West - Drivers
909959            Regular       29.00   19.00 02/15/2016 Los Angeles CA West - Drivers
909959            Overtime       4.50   28.50 02/15/2016 Los Angeles CA West - Drivers
909959            Regular       40.00   19.00 02/22/2016 Los Angeles CA West - Drivers
909959            Overtime       7.00   28.50 02/22/2016 Los Angeles CA West - Drivers
909959            Regular       31.75   19.00 02/29/2016 Los Angeles CA West - Drivers
909959            Overtime       2.25   28.50 02/29/2016 Los Angeles CA West - Drivers
909959            Regular       22.50   19.00 03/07/2016 Los Angeles CA West - Drivers
909959            Overtime       2.75   28.50 03/07/2016 Los Angeles CA West - Drivers
909959            Regular       24.00   19.00 03/14/2016 Los Angeles CA West - Drivers
909959            Overtime       4.25   28.50 03/14/2016 Los Angeles CA West - Drivers
909959 Case 2:19-cv-08580-JFW-MAA
                  Regular        8.00Document
                                        19.00 38-5    Filed Los
                                                03/21/2016  03/22/21
                                                                AngelesPage 415- Drivers
                                                                       CA West   of 691    Page ID
909959            Overtime       0.50   28.50 #:1188
                                                03/21/2016 Los Angeles CA West - Drivers
909959            Regular       32.00   19.00 03/28/2016 Los Angeles CA West - Drivers
909959            Overtime       3.00   28.50 03/28/2016 Los Angeles CA West - Drivers
909959            Regular       16.00   19.00 04/04/2016 Los Angeles CA West - Drivers
909959            Overtime       2.00   28.50 04/04/2016 Los Angeles CA West - Drivers
909959            Regular       32.00   19.00 04/11/2016 Los Angeles CA West - Drivers
909959            Overtime       2.75   28.50 04/11/2016 Los Angeles CA West - Drivers
909959            Regular       16.00   19.00 04/18/2016 Los Angeles CA West - Drivers
909959            Overtime       0.25   28.50 04/18/2016 Los Angeles CA West - Drivers
909959            Regular       16.00   19.00 04/25/2016 Los Angeles CA West - Drivers
909959            Overtime       3.25   28.50 04/25/2016 Los Angeles CA West - Drivers
909959            Regular       24.00   19.00 05/02/2016 Los Angeles CA West - Drivers
909959            Overtime       4.00   28.50 05/02/2016 Los Angeles CA West - Drivers
909959            Regular       32.00   19.00 05/09/2016 Los Angeles CA West - Drivers
909959            Overtime       4.00   28.50 05/09/2016 Los Angeles CA West - Drivers
909959            Regular       16.25   19.25 05/16/2016 Los Angeles CA West - Drivers
909959            Overtime       2.50   28.88 05/16/2016 Los Angeles CA West - Drivers
909959            Regular       39.50   19.25 05/23/2016 Los Angeles CA West - Drivers
909959            Overtime       5.50   28.88 05/23/2016 Los Angeles CA West - Drivers
909959            Regular       24.00   19.25 05/30/2016 Los Angeles CA West - Drivers
909959            Overtime       2.25   28.88 05/30/2016 Los Angeles CA West - Drivers
909959            Regular       13.25   17.00 10/19/2015 Los Angeles CA West - Drivers
909959            Overtime       1.75   25.50 10/19/2015 Los Angeles CA West - Drivers
909959            Regular        5.50   20.00 10/19/2015 Los Angeles CA West - Drivers
Total for 909959             1,070.00
2342527           Regular        6.50   19.50 07/31/2017 Los Angeles CA East - Drivers
2342527           Regular       36.75   19.50 08/07/2017 Los Angeles CA East - Drivers
2342527           Overtime       0.25   29.25 08/07/2017 Los Angeles CA East - Drivers
2342527           Regular       38.00   19.50 08/14/2017 Los Angeles CA East - Drivers
2342527           Overtime       2.50   29.25 08/14/2017 Los Angeles CA East - Drivers
2342527           Regular       39.50   19.50 08/21/2017 Los Angeles CA East - Drivers
2342527           Overtime       6.00   29.25 08/21/2017 Los Angeles CA East - Drivers
2342527           Regular       16.00   19.50 08/28/2017 Los Angeles CA East - Drivers
2342527           Overtime       3.00   29.25 08/28/2017 Los Angeles CA East - Drivers
Total for 2342527              148.50
1186307           Regular        8.00   18.50 08/24/2015 Los Angeles CA East - Drivers
1186307           Overtime       0.75   27.75 08/24/2015 Los Angeles CA East - Drivers
Total for 1186307                8.75
2599082           Regular       16.00   20.00 11/26/2018 Los Angeles CA East - Drivers
2599082           Overtime       3.50   30.00 11/26/2018 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 12/03/2018 Los Angeles CA East - Drivers
2599082           Overtime      16.50   30.00 12/03/2018 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 12/10/2018 Los Angeles CA East - Drivers
2599082           Overtime      17.50   30.00 12/10/2018 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 12/17/2018 Los Angeles CA East - Drivers
2599082           Overtime      14.00   30.00 12/17/2018 Los Angeles CA East - Drivers
2599082           Regular       24.00   20.00 12/24/2018 Los Angeles CA East - Drivers
2599082           Overtime       9.50   30.00 12/24/2018 Los Angeles CA East - Drivers
2599082           Regular       24.00   20.00 12/31/2018 Los Angeles CA East - Drivers
2599082           Overtime      10.00   30.00 12/31/2018 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 01/07/2019 Los Angeles CA East - Drivers
2599082           Overtime      13.00   30.00 01/07/2019 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 01/14/2019 Los Angeles CA East - Drivers
2599082           Overtime      19.00   30.00 01/14/2019 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 01/21/2019 Los Angeles CA East - Drivers
2599082           Overtime      16.00   30.00 01/21/2019 Los Angeles CA East - Drivers
2599082           Regular       40.00   20.00 01/28/2019 Los Angeles CA East - Drivers
2599082           Overtime      14.00   30.00 01/28/2019 Los Angeles CA East - Drivers
Total for 2599082              477.00
2391375           Regular        8.00   21.50 10/23/2017 Los Angeles CA East - Drivers
Total for 2391375                8.00
846105            Regular       32.00   20.00 08/06/2018 Los Angeles CA East - Drivers
846105   Case 2:19-cv-08580-JFW-MAA
                    Overtime      2.00Document
                                         30.00 38-5    Filed Los
                                                 08/06/2018  03/22/21
                                                                 AngelesPage 416
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
846105              Regular      24.00   20.00 #:1189
                                                 08/13/2018 Los Angeles CA East - Drivers
846105              Regular         8.00    20.00   08/20/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        32.00    20.00   09/17/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       10.00    30.00   09/17/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        32.00    20.00   09/24/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       12.00    30.00   09/24/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        32.00    20.00   10/01/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       11.00    30.00   10/01/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    20.00   10/08/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       15.00    30.00   10/08/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.00    20.00   10/15/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       11.00    30.00   10/15/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.00    20.00   10/29/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       10.50    30.00   10/29/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    20.00   11/05/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       16.00    30.00   11/05/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    20.00   11/12/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       18.50    30.00   11/12/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    20.00   12/10/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime       16.00    30.00   12/10/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        32.00    20.00   12/17/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        7.00    30.00   12/17/2018   Los   Angeles   CA   East   - Drivers
846105              Regular         8.00    20.00   12/24/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        3.00    30.00   12/24/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.00    20.00   12/31/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        8.00    30.00   12/31/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    21.00   01/07/2019   Los   Angeles   CA   East   - Drivers
846105              Overtime       12.00    31.50   01/07/2019   Los   Angeles   CA   East   - Drivers
846105              Regular        26.00    21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
846105              Overtime        8.50    31.50   01/14/2019   Los   Angeles   CA   East   - Drivers
846105              Regular        16.00    21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
846105              Overtime        7.00    31.50   01/21/2019   Los   Angeles   CA   East   - Drivers
846105              Regular         8.00    21.00   07/30/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        2.25    31.50   07/30/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        35.50    20.98   11/20/2017   Los   Angeles   CA   East   - Drivers
846105              Regular        44.00    21.85   11/27/2017   Los   Angeles   CA   East   - Drivers
846105              Regular        45.00    21.85   12/04/2017   Los   Angeles   CA   East   - Drivers
846105              Regular        47.50    21.85   12/11/2017   Los   Angeles   CA   East   - Drivers
846105              Regular        52.00    21.85   12/18/2017   Los   Angeles   CA   East   - Drivers
846105              Regular        18.50    21.85   01/15/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.50    21.85   01/22/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        20.00    21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        1.72    31.50   02/19/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        16.00    19.00   04/02/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        3.00    28.50   04/02/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.00    19.00   04/09/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        4.50    28.50   04/09/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        39.50    19.00   04/16/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        5.50    28.50   04/16/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.00    19.00   04/23/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        2.75    28.50   04/23/2018   Los   Angeles   CA   East   - Drivers
846105              Regular         8.00    21.00   04/30/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        32.00    21.00   05/07/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        1.00    31.50   05/07/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    21.00   05/14/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        7.50    31.50   05/14/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    21.00   05/21/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        5.00    31.50   05/21/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        24.00    21.00   05/28/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        3.00    31.50   05/28/2018   Los   Angeles   CA   East   - Drivers
846105              Regular        40.00    21.00   06/04/2018   Los   Angeles   CA   East   - Drivers
846105              Overtime        6.00    31.50   06/04/2018   Los   Angeles   CA   East   - Drivers
846105 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00Document
                                        21.00 38-5    Filed Los
                                                06/11/2018  03/22/21
                                                                AngelesPage 417
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
846105            Overtime       8.00   31.50 #:1190
                                                06/11/2018 Los Angeles CA East - Drivers
846105            Regular       40.00   21.00 06/18/2018 Los Angeles CA East - Drivers
846105            Regular       40.00   21.00 06/25/2018 Los Angeles CA East - Drivers
846105            Regular       32.00   21.00 07/02/2018 Los Angeles CA East - Drivers
846105            Regular       32.00   21.00 07/09/2018 Los Angeles CA East - Drivers
846105            Regular       32.00   21.00 07/16/2018 Los Angeles CA East - Drivers
846105            Regular       36.00   21.00 07/23/2018 Los Angeles CA East - Drivers
846105            Regular       24.00   21.00 11/19/2018 Los Angeles CA East - Drivers
846105            Overtime       8.00   31.50 11/19/2018 Los Angeles CA East - Drivers
846105            Regular       40.00   21.00 11/26/2018 Los Angeles CA East - Drivers
846105            Overtime      12.00   31.50 11/26/2018 Los Angeles CA East - Drivers
846105            Regular       32.00   20.00 12/03/2018 Los Angeles CA East - Drivers
846105            Overtime       7.00   30.00 12/03/2018 Los Angeles CA East - Drivers
Total for 846105             1,689.22
1412318           Regular        2.00   17.60 11/13/2017 Los Angeles CA West - Drivers
1412318           Regular       16.00   16.00 08/07/2017 Los Angeles CA West - Drivers
1412318           Overtime       2.50   24.00 08/14/2017 Los Angeles CA West - Drivers
1412318           Regular        8.00   16.00 09/25/2017 Los Angeles CA West - Drivers
1412318           Regular       32.00   16.00 10/02/2017 Los Angeles CA West - Drivers
1412318           Overtime       3.00   24.00 10/02/2017 Los Angeles CA West - Drivers
1412318           Regular        8.00   16.00 10/09/2017 Los Angeles CA West - Drivers
1412318           Overtime       0.50   24.00 10/09/2017 Los Angeles CA West - Drivers
1412318           Regular       40.00   16.00 10/16/2017 Los Angeles CA West - Drivers
1412318           Overtime       5.50   24.00 10/16/2017 Los Angeles CA West - Drivers
1412318           Regular        8.00   16.00 10/23/2017 Los Angeles CA West - Drivers
1412318           Overtime       1.00   24.00 10/23/2017 Los Angeles CA West - Drivers
1412318           Regular        8.00   15.00 11/14/2016 Los Angeles CA West - Drivers
1412318           Regular       23.50   16.50 09/26/2016 Los Angeles CA West - Drivers
1412318           Overtime       8.00   24.75 09/26/2016 Los Angeles CA West - Drivers
1412318           Regular       31.00   16.50 10/03/2016 Los Angeles CA West - Drivers
1412318           Overtime       9.00   24.75 10/03/2016 Los Angeles CA West - Drivers
1412318           Regular        8.00   16.00 05/15/2017 Los Angeles CA West - Drivers
1412318           Overtime       2.00   24.00 05/15/2017 Los Angeles CA West - Drivers
1412318           Regular       24.00   16.00 05/29/2017 Los Angeles CA West - Drivers
1412318           Overtime       7.00   24.00 05/29/2017 Los Angeles CA West - Drivers
1412318           Regular        8.00   16.00 06/05/2017 Los Angeles CA West - Drivers
1412318           Overtime       4.00   24.00 06/05/2017 Los Angeles CA West - Drivers
1412318           Regular        8.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1412318           Overtime       1.00   24.00 11/07/2016 Los Angeles CA West - Drivers
1412318           Regular       18.00   13.00 09/26/2016 Los Angeles CA West - Drivers
1412318           Regular        4.00   13.00 10/03/2016 Los Angeles CA West - Drivers
1412318           Regular       58.00   13.00 10/17/2016 Los Angeles CA West - Drivers
1412318           Overtime       0.50   19.50 10/17/2016 Los Angeles CA West - Drivers
1412318           Regular       32.00   13.00 10/24/2016 Los Angeles CA West - Drivers
1412318           Regular       24.75   13.00 10/31/2016 Los Angeles CA West - Drivers
1412318           Regular       24.00   13.00 11/07/2016 Los Angeles CA West - Drivers
1412318           Regular        8.00   13.00 11/14/2016 Los Angeles CA West - Drivers
Total for 1412318              437.25
1414200           Regular       40.00   16.00 07/31/2017 Los Angeles CA West - Drivers
1414200           Overtime       2.50   24.00 07/31/2017 Los Angeles CA West - Drivers
1414200           Regular        8.00   16.00 08/28/2017 Los Angeles CA West - Drivers
1414200           Overtime       2.00   24.00 08/28/2017 Los Angeles CA West - Drivers
1414200           Regular       23.00   16.00 09/04/2017 Los Angeles CA West - Drivers
1414200           Overtime       3.25   24.00 09/04/2017 Los Angeles CA West - Drivers
1414200           Regular        8.00   16.00 09/11/2017 Los Angeles CA West - Drivers
1414200           Overtime       0.50   24.00 09/11/2017 Los Angeles CA West - Drivers
1414200           Regular        8.00   16.00 09/18/2017 Los Angeles CA West - Drivers
1414200           Overtime       0.25   24.00 09/18/2017 Los Angeles CA West - Drivers
1414200           Regular       24.00   16.00 10/24/2016 Los Angeles CA West - Drivers
1414200           Overtime       7.50   24.00 10/24/2016 Los Angeles CA West - Drivers
1414200           Regular       40.00   16.00 10/31/2016 Los Angeles CA West - Drivers
1414200           Overtime       7.00   24.00 10/31/2016 Los Angeles CA West - Drivers
1414200 Case 2:19-cv-08580-JFW-MAA
                   Regular        6.00Document
                                         16.00 38-5    Filed Los
                                                 11/07/2016  03/22/21
                                                                 AngelesPage 418- Drivers
                                                                        CA West   of 691    Page ID
1414200            Regular      32.00    16.50 #:1191
                                                 09/26/2016 Los Angeles CA West - Drivers
1414200            Overtime     12.00    24.75 09/26/2016 Los Angeles CA West - Drivers
1414200            Regular      40.00    16.50 10/03/2016 Los Angeles CA West - Drivers
1414200            Overtime     22.00    24.75 10/03/2016 Los Angeles CA West - Drivers
1414200            Regular      24.00    16.50 10/10/2016 Los Angeles CA West - Drivers
1414200            Overtime       8.00   24.75 10/10/2016 Los Angeles CA West - Drivers
1414200            Regular      16.00    16.50 04/17/2017 Los Angeles CA West - Drivers
1414200            Regular      24.00    16.50 04/24/2017 Los Angeles CA West - Drivers
1414200            Overtime     11.00    24.75 04/24/2017 Los Angeles CA West - Drivers
1414200            Regular      40.00    16.50 05/01/2017 Los Angeles CA West - Drivers
1414200            Overtime       8.50   24.75 05/01/2017 Los Angeles CA West - Drivers
1414200            Regular      40.00    16.50 05/08/2017 Los Angeles CA West - Drivers
1414200            Overtime     11.00    24.75 05/08/2017 Los Angeles CA West - Drivers
1414200            Regular      32.00    16.50 05/15/2017 Los Angeles CA West - Drivers
1414200            Overtime     10.00    24.75 05/15/2017 Los Angeles CA West - Drivers
1414200            Regular      32.00    16.50 05/22/2017 Los Angeles CA West - Drivers
1414200            Overtime     14.00    24.75 05/22/2017 Los Angeles CA West - Drivers
1414200            Regular      40.00    16.50 05/29/2017 Los Angeles CA West - Drivers
1414200            Overtime     10.50    24.75 05/29/2017 Los Angeles CA West - Drivers
1414200            Regular      40.00    16.50 06/05/2017 Los Angeles CA West - Drivers
1414200            Overtime     26.00    24.75 06/05/2017 Los Angeles CA West - Drivers
1414200            Regular      40.00    16.50 06/12/2017 Los Angeles CA West - Drivers
1414200            Overtime       6.00   24.75 06/12/2017 Los Angeles CA West - Drivers
1414200            Regular      24.00    16.50 06/19/2017 Los Angeles CA West - Drivers
1414200            Overtime       9.00   24.75 06/19/2017 Los Angeles CA West - Drivers
1414200            Overtime      -0.50   24.75 06/19/2017 Los Angeles CA West - Drivers
1414200            Regular        6.50   16.00 10/17/2016 Los Angeles CA West - Drivers
1414200            Regular        8.00   16.00 04/24/2017 Los Angeles CA West - Drivers
Total for 1414200              766.00
763629             Regular      24.00    26.00 02/04/2019 zz - San Francisco CA - Drivers
763629             Overtime       6.00   39.00 02/04/2019 zz - San Francisco CA - Drivers
763629             Regular      16.00    27.00 01/28/2019 zz - San Francisco CA - Drivers
763629             Overtime       5.50   40.50 01/28/2019 zz - San Francisco CA - Drivers
763629             Regular        8.00   26.00 02/11/2019 zz - San Francisco CA - Drivers
763629             Overtime       0.50   39.00 02/11/2019 zz - San Francisco CA - Drivers
Total for 763629                60.00
716644             Regular      16.00    20.00 06/05/2017 Los Angeles CA East - Drivers
716644             Overtime       2.00   30.00 06/05/2017 Los Angeles CA East - Drivers
716644             Regular      32.00    20.00 06/12/2017 Los Angeles CA East - Drivers
716644             Overtime       9.00   30.00 06/12/2017 Los Angeles CA East - Drivers
716644             Regular      32.00    20.00 06/19/2017 Los Angeles CA East - Drivers
Total for 716644                91.00
874530             Regular      40.00    17.00 08/17/2015 Los Angeles CA East - Drivers
874530             Overtime     16.50    25.50 08/17/2015 Los Angeles CA East - Drivers
874530             Regular      40.00    17.00 08/24/2015 Los Angeles CA East - Drivers
874530             Overtime     17.75    25.50 08/24/2015 Los Angeles CA East - Drivers
874530             Regular      40.00    17.00 08/31/2015 Los Angeles CA East - Drivers
874530             Overtime     18.75    25.50 08/31/2015 Los Angeles CA East - Drivers
874530             Regular      64.00    18.00 09/07/2015 Los Angeles CA East - Drivers
874530             Overtime     31.75    27.00 09/07/2015 Los Angeles CA East - Drivers
874530             Regular      16.00    18.00 09/21/2015 Los Angeles CA East - Drivers
874530             Overtime       8.00   27.00 09/21/2015 Los Angeles CA East - Drivers
874530             Regular        8.00   17.00 08/17/2015 Los Angeles CA East - Drivers
874530             Overtime       1.50   25.50 08/17/2015 Los Angeles CA East - Drivers
Total for 874530               302.25
2339121            Regular      40.00    20.00 07/31/2017 Los Angeles CA East - Drivers
2339121            Regular      40.00    20.00 08/07/2017 Los Angeles CA East - Drivers
2339121            Regular      40.00    20.00 08/14/2017 Los Angeles CA East - Drivers
2339121            Regular      40.00    20.00 08/21/2017 Los Angeles CA East - Drivers
2339121            Overtime       0.50   30.00 08/21/2017 Los Angeles CA East - Drivers
2339121            Regular      40.00    20.00 08/28/2017 Los Angeles CA East - Drivers
2339121            Overtime       1.75   30.00 08/28/2017 Los Angeles CA East - Drivers
2339121 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         20.00 38-5    Filed Los
                                                 09/04/2017  03/22/21
                                                                 AngelesPage 419
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2339121            Overtime       1.50   30.00 #:1192
                                                 09/04/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
2339121            Regular       37.75   20.00 09/18/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 09/25/2017 Los Angeles CA East - Drivers
2339121            Overtime       0.50   30.00 09/25/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 10/02/2017 Los Angeles CA East - Drivers
2339121            Overtime       1.25   30.00 10/02/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 10/09/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 10/16/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 10/23/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 11/06/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 11/13/2017 Los Angeles CA East - Drivers
2339121            Overtime       1.75   30.00 11/13/2017 Los Angeles CA East - Drivers
2339121            Regular       24.00   20.00 11/20/2017 Los Angeles CA East - Drivers
2339121            Overtime       1.50   30.00 11/20/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2339121            Overtime       2.00   30.00 11/27/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
2339121            Overtime       2.50   30.00 12/04/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 12/11/2017 Los Angeles CA East - Drivers
2339121            Overtime       0.50   30.00 12/11/2017 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 12/18/2017 Los Angeles CA East - Drivers
2339121            Regular       15.00   20.00 12/25/2017 Los Angeles CA East - Drivers
2339121            Overtime       0.50   30.00 12/25/2017 Los Angeles CA East - Drivers
2339121            Regular       32.00   20.00 01/01/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 01/08/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 01/15/2018 Los Angeles CA East - Drivers
2339121            Overtime       2.50   30.00 01/15/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 01/22/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 01/29/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.25   30.00 01/29/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 02/05/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.75   30.00 02/12/2018 Los Angeles CA East - Drivers
2339121            Regular       32.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.25   30.00 02/19/2018 Los Angeles CA East - Drivers
2339121            Regular       39.50   20.00 02/26/2018 Los Angeles CA East - Drivers
2339121            Regular       40.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2339121            Overtime       1.75   30.00 03/05/2018 Los Angeles CA East - Drivers
2339121            Regular       39.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2339121            Overtime       1.00   30.00 03/12/2018 Los Angeles CA East - Drivers
2339121            Regular       38.50   20.00 03/19/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.50   30.00 03/19/2018 Los Angeles CA East - Drivers
2339121            Regular       39.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2339121            Overtime       1.25   30.00 03/26/2018 Los Angeles CA East - Drivers
2339121            Regular       38.50   20.00 04/02/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.25   30.00 04/02/2018 Los Angeles CA East - Drivers
2339121            Regular       39.25   20.00 04/09/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.25   30.00 04/09/2018 Los Angeles CA East - Drivers
2339121            Regular       24.00   20.00 04/16/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.25   30.00 04/16/2018 Los Angeles CA East - Drivers
2339121            Regular       39.25   20.00 04/23/2018 Los Angeles CA East - Drivers
2339121            Regular       39.00   20.00 04/30/2018 Los Angeles CA East - Drivers
2339121            Regular       37.00   20.00 05/07/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.25   30.00 05/07/2018 Los Angeles CA East - Drivers
2339121            Regular       36.50   20.00 05/14/2018 Los Angeles CA East - Drivers
2339121            Overtime       0.50   30.00 05/14/2018 Los Angeles CA East - Drivers
Total for 2339121             1,606.25
2606335            Regular       22.25   39.17 10/01/2018 Los Angeles CA West - Drivers
2606335            Overtime       6.00   58.76 10/01/2018 Los Angeles CA West - Drivers
Total for 2606335                28.25
2758545 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        22.50 38-5    Filed Los
                                                06/10/2019  03/22/21
                                                                AngelesPage 420- Drivers
                                                                       CA West   of 691    Page ID
2758545            Overtime      2.50   33.75 #:1193
                                                06/10/2019 Los Angeles CA West - Drivers
2758545            Regular      32.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2758545            Overtime      3.00   33.00 05/27/2019 Los Angeles CA West - Drivers
2758545            Regular      40.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2758545            Overtime      3.50   33.00 06/03/2019 Los Angeles CA West - Drivers
2758545            Regular      16.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2758545            Overtime      2.00   33.00 06/10/2019 Los Angeles CA West - Drivers
2758545            Regular      19.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2758545            Overtime      4.00   33.00 06/17/2019 Los Angeles CA West - Drivers
2758545            Regular      32.00   22.50 06/24/2019 Los Angeles CA West - Drivers
2758545            Overtime      4.50   33.75 06/24/2019 Los Angeles CA West - Drivers
2758545            Regular      32.00   22.50 07/01/2019 Los Angeles CA West - Drivers
2758545            Overtime     11.50   33.75 07/01/2019 Los Angeles CA West - Drivers
2758545            Regular      24.00   22.50 07/08/2019 Los Angeles CA West - Drivers
2758545            Overtime      4.50   33.75 07/08/2019 Los Angeles CA West - Drivers
2758545            Regular       8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2758545            Regular      24.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2758545            Overtime      5.00   33.00 06/10/2019 Los Angeles CA West - Drivers
2758545            Regular      16.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2758545            Overtime      3.50   33.00 06/17/2019 Los Angeles CA West - Drivers
Total for 2758545              295.00
2547625            Regular       8.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2547625            Overtime      2.75   30.00 07/23/2018 Los Angeles CA East - Drivers
2547625            Regular      16.00   21.00 07/16/2018 Los Angeles CA East - Drivers
2547625            Regular       8.00   21.00 06/18/2018 Los Angeles CA East - Drivers
2547625            Overtime      1.25   31.50 06/18/2018 Los Angeles CA East - Drivers
2547625            Regular      40.00   21.00 06/25/2018 Los Angeles CA East - Drivers
2547625            Overtime      1.50   31.50 06/25/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   21.00 07/02/2018 Los Angeles CA East - Drivers
2547625            Overtime      2.75   31.50 07/02/2018 Los Angeles CA East - Drivers
2547625            Regular       7.00   20.00 07/16/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2547625            Overtime      7.00   30.00 07/23/2018 Los Angeles CA East - Drivers
2547625            Regular      40.00   20.00 07/30/2018 Los Angeles CA East - Drivers
2547625            Overtime     10.00   30.00 07/30/2018 Los Angeles CA East - Drivers
2547625            Regular      40.00   20.00 08/06/2018 Los Angeles CA East - Drivers
2547625            Overtime      6.75   30.00 08/06/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 08/13/2018 Los Angeles CA East - Drivers
2547625            Overtime     10.25   30.00 08/13/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 08/20/2018 Los Angeles CA East - Drivers
2547625            Overtime      8.50   30.00 08/20/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 08/27/2018 Los Angeles CA East - Drivers
2547625            Overtime     11.00   30.00 08/27/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 09/03/2018 Los Angeles CA East - Drivers
2547625            Overtime      2.75   30.00 09/03/2018 Los Angeles CA East - Drivers
2547625            Regular      40.00   20.00 09/10/2018 Los Angeles CA East - Drivers
2547625            Overtime     10.50   30.00 09/10/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 09/17/2018 Los Angeles CA East - Drivers
2547625            Overtime     13.50   30.00 09/17/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 09/24/2018 Los Angeles CA East - Drivers
2547625            Overtime      6.25   30.00 09/24/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 10/01/2018 Los Angeles CA East - Drivers
2547625            Overtime      8.00   30.00 10/01/2018 Los Angeles CA East - Drivers
2547625            Regular      32.00   20.00 10/08/2018 Los Angeles CA East - Drivers
2547625            Overtime      6.75   30.00 10/08/2018 Los Angeles CA East - Drivers
2547625            Regular      24.00   20.00 10/15/2018 Los Angeles CA East - Drivers
2547625            Overtime      9.75   30.00 10/15/2018 Los Angeles CA East - Drivers
2547625            Regular      24.00   20.00 10/22/2018 Los Angeles CA East - Drivers
2547625            Overtime      8.50   30.00 10/22/2018 Los Angeles CA East - Drivers
2547625            Regular      40.00   20.00 10/29/2018 Los Angeles CA East - Drivers
2547625            Overtime     13.00   30.00 10/29/2018 Los Angeles CA East - Drivers
2547625            Regular      40.00   20.00 11/05/2018 Los Angeles CA East - Drivers
2547625 Case 2:19-cv-08580-JFW-MAA
                   Overtime      11.00Document
                                         30.00 38-5    Filed Los
                                                 11/05/2018  03/22/21
                                                                 AngelesPage 421
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2547625            Regular       40.00   20.00 #:1194
                                                 11/12/2018 Los Angeles CA East - Drivers
2547625            Overtime       9.75   30.00 11/12/2018 Los Angeles CA East - Drivers
2547625            Regular       24.00   20.00 11/19/2018 Los Angeles CA East - Drivers
2547625            Overtime       6.00   30.00 11/19/2018 Los Angeles CA East - Drivers
2547625            Regular       40.00   20.00 11/26/2018 Los Angeles CA East - Drivers
2547625            Overtime       8.50   30.00 11/26/2018 Los Angeles CA East - Drivers
2547625            Regular       40.00   20.00 12/03/2018 Los Angeles CA East - Drivers
2547625            Overtime       8.00   30.00 12/03/2018 Los Angeles CA East - Drivers
2547625            Regular       40.00   20.00 12/10/2018 Los Angeles CA East - Drivers
2547625            Overtime      10.75   30.00 12/10/2018 Los Angeles CA East - Drivers
2547625            Regular       32.00   20.00 12/17/2018 Los Angeles CA East - Drivers
2547625            Overtime       7.50   30.00 12/17/2018 Los Angeles CA East - Drivers
2547625            Regular       16.00   20.00 12/31/2018 Los Angeles CA East - Drivers
2547625            Overtime       7.00   30.00 12/31/2018 Los Angeles CA East - Drivers
2547625            Regular       40.00   21.00 01/07/2019 Los Angeles CA East - Drivers
2547625            Overtime      14.25   31.50 01/07/2019 Los Angeles CA East - Drivers
2547625            Regular       32.00   21.00 01/14/2019 Los Angeles CA East - Drivers
2547625            Overtime      10.75   31.50 01/14/2019 Los Angeles CA East - Drivers
2547625            Regular       32.00   21.00 01/21/2019 Los Angeles CA East - Drivers
2547625            Overtime      12.00   31.50 01/21/2019 Los Angeles CA East - Drivers
2547625            Regular       32.00   21.00 01/28/2019 Los Angeles CA East - Drivers
2547625            Overtime       5.75   31.50 01/28/2019 Los Angeles CA East - Drivers
2547625            Regular       40.00   21.00 02/04/2019 Los Angeles CA East - Drivers
2547625            Overtime       7.50   31.50 02/04/2019 Los Angeles CA East - Drivers
2547625            Regular       24.00   21.00 02/11/2019 Los Angeles CA East - Drivers
2547625            Overtime       8.50   31.50 02/11/2019 Los Angeles CA East - Drivers
2547625            Regular       32.00   21.00 02/18/2019 Los Angeles CA East - Drivers
2547625            Overtime       4.50   31.50 02/18/2019 Los Angeles CA East - Drivers
2547625            Regular       40.00   21.00 02/25/2019 Los Angeles CA East - Drivers
2547625            Overtime      13.00   31.50 02/25/2019 Los Angeles CA East - Drivers
2547625            Regular       24.00   21.00 03/04/2019 Los Angeles CA East - Drivers
2547625            Overtime       0.25   31.50 03/04/2019 Los Angeles CA East - Drivers
2547625            Regular       32.00   21.00 03/11/2019 Los Angeles CA East - Drivers
2547625            Overtime       9.50   31.50 03/11/2019 Los Angeles CA East - Drivers
2547625            Regular       32.00   21.00 03/18/2019 Los Angeles CA East - Drivers
2547625            Overtime       2.75   31.50 03/18/2019 Los Angeles CA East - Drivers
2547625            Regular       40.00   21.00 03/25/2019 Los Angeles CA East - Drivers
2547625            Overtime       7.00   31.50 03/25/2019 Los Angeles CA East - Drivers
Total for 2547625             1,584.00
2583436            Regular       33.00   19.00 03/04/2019 Los Angeles CA East - Drivers
2583436            Regular       42.05   19.00 03/11/2019 Los Angeles CA East - Drivers
2583436            Regular       50.81   19.00 03/11/2019 Los Angeles CA East - Drivers
2583436            Regular       52.13   19.00 03/25/2019 Los Angeles CA East - Drivers
2583436            Regular       34.03   19.00 04/01/2019 Los Angeles CA East - Drivers
2583436            Regular        8.00   19.00 04/01/2019 Los Angeles CA East - Drivers
2583436            Overtime       2.25   28.50 04/01/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 04/08/2019 Los Angeles CA East - Drivers
2583436            Overtime       2.50   28.50 04/08/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 04/15/2019 Los Angeles CA East - Drivers
2583436            Overtime      10.50   28.50 04/15/2019 Los Angeles CA East - Drivers
2583436            Regular       32.00   19.00 04/22/2019 Los Angeles CA East - Drivers
2583436            Overtime       2.50   28.50 04/22/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 04/29/2019 Los Angeles CA East - Drivers
2583436            Overtime      11.00   28.50 04/29/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 05/06/2019 Los Angeles CA East - Drivers
2583436            Overtime       6.00   28.50 05/06/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 05/13/2019 Los Angeles CA East - Drivers
2583436            Overtime       9.00   28.50 05/13/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 05/20/2019 Los Angeles CA East - Drivers
2583436            Overtime       5.00   28.50 05/20/2019 Los Angeles CA East - Drivers
2583436            Regular       32.00   19.00 05/27/2019 Los Angeles CA East - Drivers
2583436            Overtime       6.50   28.50 05/27/2019 Los Angeles CA East - Drivers
2583436 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         19.00 38-5    Filed Los
                                                 06/03/2019  03/22/21
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                                                                                - Drivers   Page ID
2583436            Overtime       4.50   28.50 #:1195
                                                 06/03/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 06/10/2019 Los Angeles CA East - Drivers
2583436            Overtime      13.00   28.50 06/10/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 06/17/2019 Los Angeles CA East - Drivers
2583436            Overtime       8.50   28.50 06/17/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 06/24/2019 Los Angeles CA East - Drivers
2583436            Overtime      11.50   28.50 06/24/2019 Los Angeles CA East - Drivers
2583436            Regular       32.00   19.00 07/01/2019 Los Angeles CA East - Drivers
2583436            Overtime       4.00   28.50 07/01/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 07/08/2019 Los Angeles CA East - Drivers
2583436            Overtime       6.75   28.50 07/08/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 07/15/2019 Los Angeles CA East - Drivers
2583436            Overtime       6.00   28.50 07/15/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 07/22/2019 Los Angeles CA East - Drivers
2583436            Overtime       7.50   28.50 07/22/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 07/29/2019 Los Angeles CA East - Drivers
2583436            Overtime       7.50   28.50 07/29/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 08/05/2019 Los Angeles CA East - Drivers
2583436            Overtime      13.25   28.50 08/05/2019 Los Angeles CA East - Drivers
2583436            Regular       32.00   19.00 08/12/2019 Los Angeles CA East - Drivers
2583436            Overtime       7.00   28.50 08/12/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 08/19/2019 Los Angeles CA East - Drivers
2583436            Overtime       7.00   28.50 08/19/2019 Los Angeles CA East - Drivers
2583436            Regular       40.00   19.00 08/26/2019 Los Angeles CA East - Drivers
2583436            Overtime       8.00   28.50 08/26/2019 Los Angeles CA East - Drivers
Total for 2583436             1,187.77
1402917            Regular        8.00   23.00 11/05/2018 Los Angeles CA East - Drivers
1402917            Overtime       1.00   34.50 11/05/2018 Los Angeles CA East - Drivers
1402917            Regular       21.50   20.00 12/24/2018 Los Angeles CA East - Drivers
1402917            Regular       17.00   20.00 12/31/2018 Los Angeles CA East - Drivers
1402917            Regular       14.00   19.00 01/16/2017 Los Angeles CA East - Drivers
1402917            Overtime       2.00   28.50 01/16/2017 Los Angeles CA East - Drivers
1402917            Regular       16.00   21.00 10/29/2018 Los Angeles CA East - Drivers
1402917            Overtime       3.00   31.50 10/29/2018 Los Angeles CA East - Drivers
1402917            Regular       16.00   21.00 11/12/2018 Los Angeles CA East - Drivers
1402917            Overtime       4.25   31.50 11/12/2018 Los Angeles CA East - Drivers
1402917            Regular       23.50   21.00 11/05/2018 Los Angeles CA East - Drivers
1402917            Overtime       3.50   31.50 11/05/2018 Los Angeles CA East - Drivers
1402917            Regular        8.00   22.00 11/05/2018 Los Angeles CA East - Drivers
1402917            Regular       16.00   19.00 09/26/2016 Los Angeles CA East - Drivers
1402917            Overtime       2.00   28.50 09/26/2016 Los Angeles CA East - Drivers
1402917            Regular        8.00   21.00 12/24/2018 Los Angeles CA East - Drivers
1402917            Regular       32.00   19.00 09/26/2016 Los Angeles CA East - Drivers
1402917            Overtime       5.50   28.50 09/26/2016 Los Angeles CA East - Drivers
1402917            Regular       40.00   19.00 10/03/2016 Los Angeles CA East - Drivers
1402917            Overtime      14.50   28.50 10/03/2016 Los Angeles CA East - Drivers
1402917            Regular       40.00   19.00 10/10/2016 Los Angeles CA East - Drivers
1402917            Overtime      23.00   28.50 10/10/2016 Los Angeles CA East - Drivers
1402917            Regular       32.00   19.00 10/17/2016 Los Angeles CA East - Drivers
1402917            Overtime      10.25   28.50 10/17/2016 Los Angeles CA East - Drivers
1402917            Regular       40.00   19.00 10/24/2016 Los Angeles CA East - Drivers
1402917            Overtime      20.75   28.50 10/24/2016 Los Angeles CA East - Drivers
1402917            Regular       24.00   19.00 10/31/2016 Los Angeles CA East - Drivers
1402917            Overtime       7.25   28.50 10/31/2016 Los Angeles CA East - Drivers
1402917            Regular       40.00   19.00 11/07/2016 Los Angeles CA East - Drivers
1402917            Overtime      21.50   28.50 11/07/2016 Los Angeles CA East - Drivers
1402917            Regular       32.00   19.00 11/14/2016 Los Angeles CA East - Drivers
1402917            Overtime      12.00   28.50 11/14/2016 Los Angeles CA East - Drivers
1402917            Regular       30.25   19.00 11/21/2016 Los Angeles CA East - Drivers
1402917            Overtime      10.50   28.50 11/21/2016 Los Angeles CA East - Drivers
1402917            Regular       40.00   19.00 11/28/2016 Los Angeles CA East - Drivers
1402917            Overtime      29.75   28.50 11/28/2016 Los Angeles CA East - Drivers
1402917 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        19.00 38-5    Filed Los
                                                12/05/2016  03/22/21
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                                                                               - Drivers   Page ID
1402917            Overtime     21.00   28.50 #:1196
                                                12/05/2016 Los Angeles CA East - Drivers
1402917            Regular      40.00   19.00 12/12/2016 Los Angeles CA East - Drivers
1402917            Overtime     23.00   28.50 12/12/2016 Los Angeles CA East - Drivers
1402917            Regular      36.50   19.00 12/19/2016 Los Angeles CA East - Drivers
1402917            Overtime     10.50   28.50 12/19/2016 Los Angeles CA East - Drivers
1402917            Regular      40.00   19.00 12/26/2016 Los Angeles CA East - Drivers
1402917            Overtime      2.25   28.50 12/26/2016 Los Angeles CA East - Drivers
1402917            Regular       8.00   19.00 01/02/2017 Los Angeles CA East - Drivers
1402917            Overtime      2.00   28.50 01/02/2017 Los Angeles CA East - Drivers
Total for 1402917              892.25
701455             Regular      24.00   17.00 08/03/2015 Los Angeles CA West - Drivers
701455             Overtime      7.75   25.50 08/03/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
701455             Overtime     25.50   25.50 08/10/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   17.00 08/17/2015 Los Angeles CA West - Drivers
701455             Overtime     23.75   25.50 08/17/2015 Los Angeles CA West - Drivers
701455             Regular      39.75   19.00 08/24/2015 Los Angeles CA West - Drivers
701455             Overtime     17.50   28.50 08/24/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 08/31/2015 Los Angeles CA West - Drivers
701455             Overtime     21.00   28.50 08/31/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 09/07/2015 Los Angeles CA West - Drivers
701455             Overtime     14.25   28.50 09/07/2015 Los Angeles CA West - Drivers
701455             Regular      24.00   19.00 09/14/2015 Los Angeles CA West - Drivers
701455             Overtime     15.50   28.50 09/14/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   19.00 09/21/2015 Los Angeles CA West - Drivers
701455             Overtime     21.50   28.50 09/21/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
701455             Overtime     16.25   28.50 09/28/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   19.00 10/05/2015 Los Angeles CA West - Drivers
701455             Overtime     22.25   28.50 10/05/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 10/12/2015 Los Angeles CA West - Drivers
701455             Overtime      7.50   28.50 10/12/2015 Los Angeles CA West - Drivers
701455             Regular      24.00   19.00 10/26/2015 Los Angeles CA West - Drivers
701455             Overtime     14.50   28.50 10/26/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
701455             Overtime     15.75   28.50 11/02/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 11/09/2015 Los Angeles CA West - Drivers
701455             Overtime     21.50   28.50 11/09/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 11/16/2015 Los Angeles CA West - Drivers
701455             Overtime     17.25   28.50 11/16/2015 Los Angeles CA West - Drivers
701455             Regular      31.75   19.00 11/23/2015 Los Angeles CA West - Drivers
701455             Overtime      9.50   28.50 11/23/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 11/30/2015 Los Angeles CA West - Drivers
701455             Overtime     17.50   28.50 11/30/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
701455             Overtime     25.00   28.50 12/07/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
701455             Overtime     20.75   28.50 12/14/2015 Los Angeles CA West - Drivers
701455             Regular      23.75   19.00 12/21/2015 Los Angeles CA West - Drivers
701455             Overtime     11.50   28.50 12/21/2015 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 12/28/2015 Los Angeles CA West - Drivers
701455             Overtime     15.25   28.50 12/28/2015 Los Angeles CA West - Drivers
701455             Regular      40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
701455             Overtime     21.50   28.50 01/04/2016 Los Angeles CA West - Drivers
701455             Regular      39.50   19.00 01/11/2016 Los Angeles CA West - Drivers
701455             Overtime     19.00   28.50 01/11/2016 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 01/18/2016 Los Angeles CA West - Drivers
701455             Overtime     18.25   28.50 01/18/2016 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 01/25/2016 Los Angeles CA West - Drivers
701455             Overtime     18.25   28.50 01/25/2016 Los Angeles CA West - Drivers
701455             Regular      32.00   19.00 02/01/2016 Los Angeles CA West - Drivers
701455             Overtime     18.00   28.50 02/01/2016 Los Angeles CA West - Drivers
701455   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.00 38-5    Filed Los
                                                 02/01/2016  03/22/21
                                                                 AngelesPage 424- Drivers
                                                                        CA West   of 691 Page ID
701455              Overtime      8.75   28.50 #:1197
                                                 02/01/2016 Los Angeles CA West - Drivers
701455              Regular        32.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       14.75    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       18.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        15.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime        1.25    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime        7.75    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       11.75    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       16.50    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.75    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       11.00    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       20.50    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        37.75    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       12.25    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       19.25    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       16.50    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.00    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.25    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.75    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       14.25    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        16.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime        4.75    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       21.00    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.00    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.25    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
701455              Regular         8.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime        1.00    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       23.00    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       20.00    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       21.00    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        33.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       13.25    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       17.00    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       17.25    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       15.75    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       21.00    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime        4.25    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
701455   Case 2:19-cv-08580-JFW-MAA
                    Overtime     20.50Document
                                         28.88 38-5    Filed Los
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701455              Regular      24.00   19.25 #:1198
                                                 09/19/2016 Los Angeles CA West - Drivers
701455              Overtime       11.00    28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   10/10/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       22.75    28.88   10/10/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   10/17/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       18.50    28.88   10/17/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   10/24/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       13.75    28.88   10/24/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   10/31/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       22.25    28.88   10/31/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   11/07/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       12.00    28.88   11/07/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   11/14/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       14.75    28.88   11/14/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   11/21/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       11.75    28.88   11/21/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   11/28/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       20.00    28.88   11/28/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       20.00    28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       34.00    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       13.50    28.88   12/19/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
701455              Overtime       16.75    28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       19.50    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       12.50    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       10.50    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        16.00    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime        6.00    28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime        3.25    28.88   01/30/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime        5.25    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        16.00    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime        4.00    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime        8.00    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        24.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       12.50    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        16.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime        8.25    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       11.00    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       13.50    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       14.50    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        32.00    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       12.50    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       14.50    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       13.00    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   05/01/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       30.25    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
701455              Regular        40.00    19.25   05/08/2017   Los   Angeles   CA   West   - Drivers
701455              Overtime       14.00    28.88   05/08/2017   Los   Angeles   CA   West   - Drivers
701455 Case 2:19-cv-08580-JFW-MAA
                  Regular        40.00Document
                                         19.25 38-5    Filed Los
                                                 05/15/2017  03/22/21
                                                                 AngelesPage 426- Drivers
                                                                        CA West   of 691    Page ID
701455            Overtime       16.00   28.88 #:1199
                                                 05/15/2017 Los Angeles CA West - Drivers
701455            Regular        40.00   19.25 05/22/2017 Los Angeles CA West - Drivers
701455            Overtime       13.50   28.88 05/22/2017 Los Angeles CA West - Drivers
701455            Regular        32.00   19.25 05/29/2017 Los Angeles CA West - Drivers
701455            Overtime         9.50  28.88 05/29/2017 Los Angeles CA West - Drivers
701455            Regular        32.00   19.25 06/05/2017 Los Angeles CA West - Drivers
701455            Overtime       13.50   28.88 06/05/2017 Los Angeles CA West - Drivers
701455            Regular        14.50   19.25 06/12/2017 Los Angeles CA West - Drivers
701455            Regular        65.50   19.25 06/12/2017 Los Angeles CA West - Drivers
701455            Overtime       32.50   28.88 06/12/2017 Los Angeles CA West - Drivers
701455            Regular        24.00   19.25 06/26/2017 Los Angeles CA West - Drivers
701455            Overtime       11.00   28.88 06/26/2017 Los Angeles CA West - Drivers
701455            Regular        24.00   19.25 07/03/2017 Los Angeles CA West - Drivers
701455            Overtime       11.00   28.88 07/03/2017 Los Angeles CA West - Drivers
701455            Regular        24.00   19.25 07/10/2017 Los Angeles CA West - Drivers
701455            Overtime       13.00   28.88 07/10/2017 Los Angeles CA West - Drivers
701455            Regular        32.00   19.25 07/17/2017 Los Angeles CA West - Drivers
701455            Overtime       16.75   28.88 07/17/2017 Los Angeles CA West - Drivers
701455            Regular        32.00   19.25 07/31/2017 Los Angeles CA West - Drivers
701455            Overtime       15.75   28.88 07/31/2017 Los Angeles CA West - Drivers
701455            Regular        32.00   19.25 08/07/2017 Los Angeles CA West - Drivers
701455            Overtime       16.00   28.88 08/07/2017 Los Angeles CA West - Drivers
701455            Regular          8.00  19.25 08/14/2017 Los Angeles CA West - Drivers
701455            Overtime         1.25  28.88 08/14/2017 Los Angeles CA West - Drivers
701455            Regular        16.00   19.25 08/21/2017 Los Angeles CA West - Drivers
701455            Overtime         6.75  28.88 08/21/2017 Los Angeles CA West - Drivers
701455            Regular        24.00   20.25 08/28/2017 Los Angeles CA West - Drivers
701455            Overtime         6.00  30.38 08/28/2017 Los Angeles CA West - Drivers
701455            Regular        16.00   20.25 09/04/2017 Los Angeles CA West - Drivers
701455            Overtime         3.50  30.38 09/04/2017 Los Angeles CA West - Drivers
Total for 701455             4,875.00
2783726           Regular        30.00   17.60 06/17/2019 Los Angeles CA West - Drivers
2783726           Overtime         3.00  26.40 06/17/2019 Los Angeles CA West - Drivers
2783726           Regular        40.00   17.60 06/24/2019 Los Angeles CA West - Drivers
2783726           Overtime         5.25  26.40 06/24/2019 Los Angeles CA West - Drivers
2783726           Regular        20.00   17.60 07/01/2019 Los Angeles CA West - Drivers
2783726           Overtime         3.25  26.40 07/01/2019 Los Angeles CA West - Drivers
2783726           Regular        19.25   17.60 07/29/2019 Los Angeles CA West - Drivers
2783726           Regular        40.00   17.60 08/05/2019 Los Angeles CA West - Drivers
2783726           Overtime         4.00  26.40 08/05/2019 Los Angeles CA West - Drivers
2783726           Regular        40.00   17.60 08/12/2019 Los Angeles CA West - Drivers
2783726           Overtime         2.75  26.40 08/12/2019 Los Angeles CA West - Drivers
2783726           Regular        39.00   17.60 08/19/2019 Los Angeles CA West - Drivers
2783726           Overtime         4.25  26.40 08/19/2019 Los Angeles CA West - Drivers
2783726           Regular        39.00   17.60 08/26/2019 Los Angeles CA West - Drivers
2783726           Overtime         5.50  26.40 08/26/2019 Los Angeles CA West - Drivers
2783726           Regular        39.50   17.60 09/02/2019 Los Angeles CA West - Drivers
2783726           Overtime         4.00  26.40 09/02/2019 Los Angeles CA West - Drivers
Total for 2783726              338.75
1331453           Regular          7.75  16.00 06/06/2016 Los Angeles CA West - Drivers
Total for 1331453                  7.75
1163213           Regular        28.75   16.00 09/07/2015 Los Angeles CA East - Drivers
1163213           Overtime         2.00  24.00 09/07/2015 Los Angeles CA East - Drivers
1163213           Regular       -28.75   16.00 09/07/2015 Los Angeles CA East - Drivers
1163213           Overtime        -2.00  24.00 09/07/2015 Los Angeles CA East - Drivers
1163213           Regular          8.00  16.00 07/27/2015 Los Angeles CA East - Drivers
1163213           Overtime         4.00  24.00 07/27/2015 Los Angeles CA East - Drivers
1163213           Regular          1.00 475.40 07/27/2015 Los Angeles CA East - Drivers
Total for 1163213                13.00
2357924           Regular          8.00  16.00 08/21/2017 Los Angeles CA West - Drivers
2357924           Overtime         0.50  24.00 08/21/2017 Los Angeles CA West - Drivers
2357924           Regular          8.00  16.00 08/28/2017 Los Angeles CA West - Drivers
2357924 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.00Document
                                         24.00 38-5   Filed Los
                                                08/28/2017  03/22/21
                                                                AngelesPage 427- Drivers
                                                                       CA West   of 691    Page ID
Total for 2357924                18.50        #:1200
1402324            Regular       29.00   20.00 11/07/2016 Sacramento CA - Drivers
1402324            Regular       34.75   20.00 11/14/2016 Sacramento CA - Drivers
1402324            Regular       16.00   19.50 04/10/2017 Sacramento CA - Drivers
1402324            Overtime       3.50   29.25 04/10/2017 Sacramento CA - Drivers
1402324            Regular       50.00   20.92 09/26/2016 Sacramento CA - Drivers
1402324            Regular       10.50   20.98 10/03/2016 Sacramento CA - Drivers
1402324            Regular       33.50   20.92 10/10/2016 Sacramento CA - Drivers
1402324            Regular       36.30   20.92 10/17/2016 Sacramento CA - Drivers
1402324            Regular       10.75   20.92 10/24/2016 Sacramento CA - Drivers
1402324            Regular        5.25   20.92 10/31/2016 Sacramento CA - Drivers
1402324            Regular        7.75   20.92 11/07/2016 Sacramento CA - Drivers
1402324            Regular       12.50   20.92 11/14/2016 Sacramento CA - Drivers
1402324            Regular       36.25   22.00 11/21/2016 Sacramento CA - Drivers
1402324            Regular       37.50   22.00 11/28/2016 Sacramento CA - Drivers
1402324            Regular       44.25   22.00 12/05/2016 Sacramento CA - Drivers
1402324            Regular       38.00   22.00 12/12/2016 Sacramento CA - Drivers
1402324            Regular       28.75   22.00 12/19/2016 Sacramento CA - Drivers
1402324            Regular       49.25   22.00 12/26/2016 Sacramento CA - Drivers
1402324            Regular       43.50   20.92 01/02/2017 Sacramento CA - Drivers
1402324            Regular       36.75   20.92 01/09/2017 Sacramento CA - Drivers
1402324            Regular       30.00   20.92 01/16/2017 Sacramento CA - Drivers
1402324            Regular       47.50   22.00 01/23/2017 Sacramento CA - Drivers
1402324            Regular       41.25   20.98 01/30/2017 Sacramento CA - Drivers
1402324            Regular       47.50   20.98 02/06/2017 Sacramento CA - Drivers
1402324            Regular       35.25   20.92 02/13/2017 Sacramento CA - Drivers
1402324            Regular       40.75   20.98 02/20/2017 Sacramento CA - Drivers
1402324            Regular       41.00   20.98 02/27/2017 Sacramento CA - Drivers
1402324            Regular       41.75   20.98 03/06/2017 Sacramento CA - Drivers
1402324            Regular       40.25   20.98 03/13/2017 Sacramento CA - Drivers
1402324            Regular       30.00   20.92 03/20/2017 Sacramento CA - Drivers
1402324            Regular       34.50   20.92 03/27/2017 Sacramento CA - Drivers
1402324            Regular       17.00   22.00 04/03/2017 Sacramento CA - Drivers
Total for 1402324             1,010.80
2334704            Regular        8.00   16.00 07/17/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 07/24/2017 Los Angeles CA West - Drivers
2334704            Overtime       3.50   24.00 07/24/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 07/31/2017 Los Angeles CA West - Drivers
2334704            Overtime      25.50   24.00 07/31/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 08/07/2017 Los Angeles CA West - Drivers
2334704            Overtime      12.00   24.00 08/07/2017 Los Angeles CA West - Drivers
2334704            Regular       32.00   16.00 08/14/2017 Los Angeles CA West - Drivers
2334704            Overtime       7.00   24.00 08/14/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 08/21/2017 Los Angeles CA West - Drivers
2334704            Overtime       8.25   24.00 08/21/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 08/28/2017 Los Angeles CA West - Drivers
2334704            Overtime       7.50   24.00 08/28/2017 Los Angeles CA West - Drivers
2334704            Regular       32.00   16.00 09/04/2017 Los Angeles CA West - Drivers
2334704            Overtime       5.00   24.00 09/04/2017 Los Angeles CA West - Drivers
2334704            Regular       32.00   16.00 09/18/2017 Los Angeles CA West - Drivers
2334704            Overtime       6.00   24.00 09/18/2017 Los Angeles CA West - Drivers
2334704            Regular       68.50   16.00 09/11/2017 Los Angeles CA West - Drivers
2334704            Overtime      12.00   24.00 09/11/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 10/02/2017 Los Angeles CA West - Drivers
2334704            Overtime       4.00   24.00 10/02/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 10/09/2017 Los Angeles CA West - Drivers
2334704            Overtime       5.00   24.00 10/09/2017 Los Angeles CA West - Drivers
2334704            Regular       32.00   16.00 10/16/2017 Los Angeles CA West - Drivers
2334704            Overtime       3.50   24.00 10/16/2017 Los Angeles CA West - Drivers
2334704            Regular       40.00   16.00 10/23/2017 Los Angeles CA West - Drivers
2334704            Overtime       4.00   24.00 10/23/2017 Los Angeles CA West - Drivers
2334704            Regular       32.00   16.00 10/30/2017 Los Angeles CA West - Drivers
2334704 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.00Document
                                        24.00 38-5    Filed Los
                                                10/30/2017  03/22/21
                                                                AngelesPage 428- Drivers
                                                                       CA West   of 691    Page ID
2334704            Regular      64.00   16.00 #:1201
                                                11/13/2017 Los Angeles CA West - Drivers
2334704            Overtime     10.50   24.00 11/13/2017 Los Angeles CA West - Drivers
2334704            Regular      32.00   16.00 11/20/2017 Los Angeles CA West - Drivers
2334704            Overtime      5.50   24.00 11/20/2017 Los Angeles CA West - Drivers
2334704            Regular      40.00   16.00 11/27/2017 Los Angeles CA West - Drivers
2334704            Overtime      4.00   24.00 11/27/2017 Los Angeles CA West - Drivers
2334704            Regular      24.00   16.00 12/04/2017 Los Angeles CA West - Drivers
Total for 2334704              842.75
2349394            Regular      21.00   16.50 07/31/2017 Los Angeles CA East - Drivers
2349394            Regular      40.00   16.50 08/07/2017 Los Angeles CA East - Drivers
2349394            Regular      40.00   16.50 08/14/2017 Los Angeles CA East - Drivers
2349394            Regular      32.00   16.50 08/21/2017 Los Angeles CA East - Drivers
2349394            Regular      40.00   16.50 08/28/2017 Los Angeles CA East - Drivers
2349394            Regular      32.00   16.50 09/04/2017 Los Angeles CA East - Drivers
2349394            Overtime      0.50   24.75 09/04/2017 Los Angeles CA East - Drivers
2349394            Regular      40.00   16.50 09/11/2017 Los Angeles CA East - Drivers
2349394            Regular      27.50   16.50 09/18/2017 Los Angeles CA East - Drivers
2349394            Regular      38.00   16.50 09/25/2017 Los Angeles CA East - Drivers
2349394            Regular      32.00   16.50 10/02/2017 Los Angeles CA East - Drivers
2349394            Regular       8.00   20.00 01/22/2018 Los Angeles CA East - Drivers
2349394            Regular      24.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2349394            Overtime      0.11   30.00 03/05/2018 Los Angeles CA East - Drivers
2349394            Regular      24.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2349394            Overtime      0.11   30.00 03/12/2018 Los Angeles CA East - Drivers
Total for 2349394              399.22
2489729            Regular      40.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2489729            Overtime     11.75   30.00 03/12/2018 Los Angeles CA East - Drivers
2489729            Regular      40.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2489729            Overtime     13.00   30.00 03/19/2018 Los Angeles CA East - Drivers
2489729            Regular      40.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2489729            Overtime     11.50   30.00 03/26/2018 Los Angeles CA East - Drivers
2489729            Regular      72.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2489729            Overtime     21.00   30.00 04/02/2018 Los Angeles CA East - Drivers
2489729            Regular      32.00   20.00 04/16/2018 Los Angeles CA East - Drivers
2489729            Overtime      9.50   30.00 04/16/2018 Los Angeles CA East - Drivers
2489729            Regular      40.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2489729            Regular      40.00   20.00 04/30/2018 Los Angeles CA East - Drivers
Total for 2489729              370.75
1448494            Regular      10.00   20.98 11/14/2016 Sacramento CA - Drivers
1448494            Regular      10.00   20.98 11/21/2016 Sacramento CA - Drivers
1448494            Regular       4.00   20.98 11/28/2016 Sacramento CA - Drivers
Total for 1448494               24.00
2353870            Regular      40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
2353870            Overtime     16.00   30.00 09/11/2017 Los Angeles CA East - Drivers
2353870            Regular      16.00   20.00 09/18/2017 Los Angeles CA East - Drivers
2353870            Overtime      3.50   30.00 09/18/2017 Los Angeles CA East - Drivers
Total for 2353870               75.50
1392165            Regular      16.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1392165            Overtime      8.00   24.00 09/26/2016 Los Angeles CA West - Drivers
Total for 1392165               24.00
2517937            Regular       8.00   21.00 04/08/2019 Sacramento CA - Drivers
2517937            Overtime      3.50   31.50 04/08/2019 Sacramento CA - Drivers
2517937            Regular      16.00   21.00 04/15/2019 Sacramento CA - Drivers
2517937            Overtime      2.00   31.50 04/15/2019 Sacramento CA - Drivers
2517937            Regular      16.00   21.00 04/22/2019 Sacramento CA - Drivers
2517937            Overtime      6.50   31.50 04/22/2019 Sacramento CA - Drivers
2517937            Regular      32.00   20.50 05/21/2018 Sacramento CA - Drivers
2517937            Overtime      9.20   30.75 05/21/2018 Sacramento CA - Drivers
2517937            Regular      24.00   20.50 05/28/2018 Sacramento CA - Drivers
2517937            Overtime     12.30   30.75 05/28/2018 Sacramento CA - Drivers
2517937            Regular      32.00   20.50 06/04/2018 Sacramento CA - Drivers
2517937            Overtime      5.10   30.75 06/04/2018 Sacramento CA - Drivers
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                     Regular      32.00Document
                                          20.50 38-5    Filed Sacramento
                                                  06/11/2018  03/22/21 Page    429 of 691 Page ID
                                                                         CA - Drivers
2517937              Overtime      7.60   30.75 #:1202
                                                  06/11/2018 Sacramento CA - Drivers
2517937             Regular        40.00    20.50   06/18/2018   Sacramento   CA   - Drivers
2517937             Overtime        7.90    30.75   06/18/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   06/25/2018   Sacramento   CA   - Drivers
2517937             Overtime       10.20    30.75   06/25/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   07/02/2018   Sacramento   CA   - Drivers
2517937             Overtime       11.80    30.75   07/02/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   07/09/2018   Sacramento   CA   - Drivers
2517937             Overtime        8.70    30.75   07/09/2018   Sacramento   CA   - Drivers
2517937             Regular        16.00    20.50   07/16/2018   Sacramento   CA   - Drivers
2517937             Overtime        3.50    30.75   07/16/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   07/23/2018   Sacramento   CA   - Drivers
2517937             Overtime       14.40    30.75   07/23/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   07/30/2018   Sacramento   CA   - Drivers
2517937             Overtime        8.90    30.75   07/30/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   08/13/2018   Sacramento   CA   - Drivers
2517937             Overtime        8.60    30.75   08/13/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   08/20/2018   Sacramento   CA   - Drivers
2517937             Overtime        7.75    30.75   08/20/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   08/27/2018   Sacramento   CA   - Drivers
2517937             Overtime        5.70    30.75   08/27/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2517937             Overtime        5.80    30.75   09/03/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   09/10/2018   Sacramento   CA   - Drivers
2517937             Overtime       16.20    30.75   09/10/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   09/17/2018   Sacramento   CA   - Drivers
2517937             Overtime        7.40    30.75   09/17/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   09/24/2018   Sacramento   CA   - Drivers
2517937             Overtime        8.30    30.75   09/24/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2517937             Overtime        6.20    30.75   10/01/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   10/08/2018   Sacramento   CA   - Drivers
2517937             Overtime        7.30    30.75   10/08/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2517937             Overtime       12.80    30.75   10/15/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   10/22/2018   Sacramento   CA   - Drivers
2517937             Overtime       23.20    30.75   10/22/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2517937             Overtime        8.60    30.75   10/29/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   11/05/2018   Sacramento   CA   - Drivers
2517937             Overtime       18.80    30.75   11/05/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   11/12/2018   Sacramento   CA   - Drivers
2517937             Overtime       11.40    30.75   11/12/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   11/19/2018   Sacramento   CA   - Drivers
2517937             Overtime        7.10    30.75   11/19/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   11/26/2018   Sacramento   CA   - Drivers
2517937             Overtime        9.00    30.75   11/26/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   12/03/2018   Sacramento   CA   - Drivers
2517937             Overtime       15.00    30.75   12/03/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   12/10/2018   Sacramento   CA   - Drivers
2517937             Overtime       10.40    30.75   12/10/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   12/17/2018   Sacramento   CA   - Drivers
2517937             Overtime       14.60    30.75   12/17/2018   Sacramento   CA   - Drivers
2517937             Regular        24.00    20.50   12/24/2018   Sacramento   CA   - Drivers
2517937             Overtime        5.87    30.75   12/24/2018   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   12/31/2018   Sacramento   CA   - Drivers
2517937             Overtime       14.60    30.75   12/31/2018   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   01/07/2019   Sacramento   CA   - Drivers
2517937             Overtime       13.50    30.75   01/07/2019   Sacramento   CA   - Drivers
2517937             Regular        32.00    20.50   01/14/2019   Sacramento   CA   - Drivers
2517937             Overtime       11.70    30.75   01/14/2019   Sacramento   CA   - Drivers
2517937             Regular        40.00    20.50   01/21/2019   Sacramento   CA   - Drivers
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                   Overtime       9.50Document
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                                                 01/21/2019  03/22/21 Page    430 of 691
                                                                        CA - Drivers       Page ID
2517937            Regular       40.00   20.50 #:1203
                                                 01/28/2019 Sacramento CA - Drivers
2517937            Overtime      13.00   30.75 01/28/2019 Sacramento CA - Drivers
2517937            Regular       40.00   20.50 02/04/2019 Sacramento CA - Drivers
2517937            Overtime      16.10   30.75 02/04/2019 Sacramento CA - Drivers
2517937            Regular       16.00   20.50 02/11/2019 Sacramento CA - Drivers
2517937            Overtime       5.70   30.75 02/11/2019 Sacramento CA - Drivers
2517937            Regular       24.00   20.50 02/18/2019 Sacramento CA - Drivers
2517937            Overtime       4.30   30.75 02/18/2019 Sacramento CA - Drivers
2517937            Regular       40.00   20.50 02/25/2019 Sacramento CA - Drivers
2517937            Overtime      10.60   30.75 02/25/2019 Sacramento CA - Drivers
2517937            Regular       32.00   20.50 03/04/2019 Sacramento CA - Drivers
2517937            Overtime       7.60   30.75 03/04/2019 Sacramento CA - Drivers
2517937            Regular       32.00   20.50 03/11/2019 Sacramento CA - Drivers
2517937            Overtime       7.20   30.75 03/11/2019 Sacramento CA - Drivers
2517937            Regular       24.00   20.50 03/18/2019 Sacramento CA - Drivers
2517937            Overtime       8.30   30.75 03/18/2019 Sacramento CA - Drivers
2517937            Regular       32.00   20.50 03/25/2019 Sacramento CA - Drivers
2517937            Overtime      10.00   30.75 03/25/2019 Sacramento CA - Drivers
2517937            Regular       32.00   20.50 04/01/2019 Sacramento CA - Drivers
2517937            Overtime      10.60   30.75 04/01/2019 Sacramento CA - Drivers
2517937            Regular        8.00   20.50 04/08/2019 Sacramento CA - Drivers
2517937            Overtime       0.70   30.75 04/08/2019 Sacramento CA - Drivers
2517937            Regular        8.00   20.50 07/16/2018 Sacramento CA - Drivers
2517937            Overtime       1.30   30.75 07/16/2018 Sacramento CA - Drivers
2517937            Regular        8.00   20.50 11/19/2018 Sacramento CA - Drivers
2517937            Overtime       3.90   30.75 11/19/2018 Sacramento CA - Drivers
2517937            Regular       16.00   22.00 04/08/2019 Sacramento CA - Drivers
2517937            Regular        8.00   22.00 04/22/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 04/29/2019 Sacramento CA - Drivers
2517937            Regular       24.00   22.00 05/06/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 05/13/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 05/20/2019 Sacramento CA - Drivers
2517937            Regular       32.00   22.00 05/27/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 06/03/2019 Sacramento CA - Drivers
2517937            Regular       32.00   22.00 06/10/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 06/17/2019 Sacramento CA - Drivers
2517937            Regular       32.00   22.00 06/24/2019 Sacramento CA - Drivers
2517937            Regular       24.00   22.00 07/01/2019 Sacramento CA - Drivers
2517937            Overtime       8.00   33.00 07/01/2019 Sacramento CA - Drivers
2517937            Regular       32.00   22.00 07/08/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 07/15/2019 Sacramento CA - Drivers
2517937            Regular       40.50   22.00 07/22/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 07/29/2019 Sacramento CA - Drivers
2517937            Regular       24.00   22.00 08/05/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 08/12/2019 Sacramento CA - Drivers
2517937            Overtime       3.50   33.00 08/12/2019 Sacramento CA - Drivers
2517937            Regular       40.00   22.00 08/19/2019 Sacramento CA - Drivers
2517937            Regular       32.00   22.00 08/26/2019 Sacramento CA - Drivers
2517937            Regular       32.00   22.00 09/02/2019 Sacramento CA - Drivers
Total for 2517937             2,682.22
2504590            Regular       32.00   17.60 04/09/2018 Los Angeles CA West - Drivers
2504590            Overtime      12.00   26.40 04/09/2018 Los Angeles CA West - Drivers
2504590            Regular       32.00   17.60 04/16/2018 Los Angeles CA West - Drivers
2504590            Overtime      13.50   26.40 04/16/2018 Los Angeles CA West - Drivers
2504590            Regular       40.00   17.60 04/23/2018 Los Angeles CA West - Drivers
2504590            Overtime      14.50   26.40 04/23/2018 Los Angeles CA West - Drivers
Total for 2504590               144.00
1324925            Regular       16.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1324925            Overtime       3.50   24.00 05/09/2016 Los Angeles CA West - Drivers
1324925            Regular       40.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1324925            Overtime      17.00   24.00 05/16/2016 Los Angeles CA West - Drivers
1324925            Regular       24.00   16.00 05/23/2016 Los Angeles CA West - Drivers
1324925 Case 2:19-cv-08580-JFW-MAA
                   Overtime       5.50Document
                                         24.00 38-5   Filed Los
                                                05/23/2016  03/22/21
                                                                AngelesPage 431- Drivers
                                                                       CA West   of 691    Page ID
Total for 1324925              106.00         #:1204
939368             Regular      32.00    20.00 10/05/2015 Los Angeles CA West - Drivers
939368             Overtime       7.25   30.00 10/05/2015 Los Angeles CA West - Drivers
939368             Regular      32.00    20.00 10/12/2015 Los Angeles CA West - Drivers
939368             Overtime       5.75   30.00 10/12/2015 Los Angeles CA West - Drivers
939368             Regular      40.00    20.00 10/19/2015 Los Angeles CA West - Drivers
939368             Overtime     10.25    30.00 10/19/2015 Los Angeles CA West - Drivers
939368             Regular      40.00    20.00 10/26/2015 Los Angeles CA West - Drivers
939368             Overtime     13.75    30.00 10/26/2015 Los Angeles CA West - Drivers
939368             Regular      38.25    20.00 11/02/2015 Los Angeles CA West - Drivers
939368             Overtime     10.00    30.00 11/02/2015 Los Angeles CA West - Drivers
939368             Regular      40.00    20.00 11/09/2015 Los Angeles CA West - Drivers
939368             Overtime       8.50   30.00 11/09/2015 Los Angeles CA West - Drivers
939368             Regular      32.00    20.00 11/16/2015 Los Angeles CA West - Drivers
939368             Overtime       9.75   30.00 11/16/2015 Los Angeles CA West - Drivers
939368             Regular      40.00    20.00 11/23/2015 Los Angeles CA West - Drivers
939368             Overtime     10.00    30.00 11/23/2015 Los Angeles CA West - Drivers
939368             Regular      40.00    20.00 11/30/2015 Los Angeles CA West - Drivers
939368             Overtime     15.25    30.00 11/30/2015 Los Angeles CA West - Drivers
939368             Regular        8.00   20.00 12/07/2015 Los Angeles CA West - Drivers
939368             Overtime       4.25   30.00 12/07/2015 Los Angeles CA West - Drivers
Total for 939368               437.00
2455694            Regular        8.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2455694            Overtime       4.00   30.00 02/19/2018 Los Angeles CA East - Drivers
2455694            Regular      40.00    20.75 03/05/2018 Los Angeles CA East - Drivers
2455694            Overtime     20.75    31.13 03/05/2018 Los Angeles CA East - Drivers
2455694            Regular      16.00    20.75 03/12/2018 Los Angeles CA East - Drivers
2455694            Overtime       8.00   31.13 03/12/2018 Los Angeles CA East - Drivers
2455694            Regular      40.00    20.75 03/19/2018 Los Angeles CA East - Drivers
2455694            Overtime     22.30    31.13 03/19/2018 Los Angeles CA East - Drivers
2455694            Regular      40.00    20.00 02/12/2018 Los Angeles CA East - Drivers
2455694            Overtime       3.25   30.00 02/12/2018 Los Angeles CA East - Drivers
2455694            Overtime      -0.75   30.00 02/12/2018 Los Angeles CA East - Drivers
Total for 2455694              201.55
1416766            Regular      22.00    20.00 12/12/2016 Sacramento CA - Drivers
Total for 1416766               22.00
2170363            Regular      16.00    19.00 01/30/2017 Los Angeles CA East - Drivers
2170363            Overtime       7.50   28.50 01/30/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   15.00 02/06/2017 Los Angeles CA East - Drivers
2170363            Regular      24.00    15.00 02/13/2017 Los Angeles CA East - Drivers
2170363            Regular      22.00    19.50 04/16/2018 Los Angeles CA East - Drivers
2170363            Overtime       0.50   29.25 04/16/2018 Los Angeles CA East - Drivers
2170363            Regular        8.00   19.50 05/07/2018 Los Angeles CA East - Drivers
2170363            Overtime       1.00   29.25 05/07/2018 Los Angeles CA East - Drivers
2170363            Regular        8.00   21.00 03/05/2018 Los Angeles CA East - Drivers
2170363            Regular        8.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2170363            Overtime       2.53   31.50 03/12/2018 Los Angeles CA East - Drivers
2170363            Regular        8.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2170363            Regular      15.00    19.00 01/23/2017 Los Angeles CA East - Drivers
2170363            Overtime       1.00   28.50 01/23/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   19.00 01/30/2017 Los Angeles CA East - Drivers
2170363            Overtime       4.00   28.50 01/30/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   19.00 02/13/2017 Los Angeles CA East - Drivers
2170363            Overtime       4.00   28.50 02/13/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   19.00 02/20/2017 Los Angeles CA East - Drivers
2170363            Overtime       4.00   28.50 02/20/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   19.00 02/27/2017 Los Angeles CA East - Drivers
2170363            Overtime       4.00   28.50 02/27/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   20.75 03/13/2017 Los Angeles CA East - Drivers
2170363            Overtime       4.00   31.13 03/13/2017 Los Angeles CA East - Drivers
2170363            Regular        8.00   20.75 03/20/2017 Los Angeles CA East - Drivers
2170363            Overtime       4.00   31.13 03/20/2017 Los Angeles CA East - Drivers
2170363 Case 2:19-cv-08580-JFW-MAA
                   Regular       4.00Document
                                        20.75 38-5    Filed Los
                                                04/03/2017  03/22/21
                                                                AngelesPage 432
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2170363            Regular       8.00   20.75 #:1205
                                                04/24/2017 Los Angeles CA East - Drivers
2170363            Overtime      4.00   31.13 04/24/2017 Los Angeles CA East - Drivers
2170363            Regular       8.00   20.75 05/29/2017 Los Angeles CA East - Drivers
2170363            Overtime      3.50   10.01 05/29/2017 Los Angeles CA East - Drivers
2170363            Regular       8.00   20.75 06/19/2017 Los Angeles CA East - Drivers
2170363            Overtime      4.50   31.13 05/29/2017 Los Angeles CA East - Drivers
2170363            Regular      40.00   20.75 06/26/2017 Los Angeles CA East - Drivers
2170363            Overtime     10.00   31.13 06/26/2017 Los Angeles CA East - Drivers
2170363            Regular       8.00   20.75 07/03/2017 Los Angeles CA East - Drivers
2170363            Overtime      4.00   31.13 07/03/2017 Los Angeles CA East - Drivers
2170363            Regular       4.00   20.75 10/30/2017 Los Angeles CA East - Drivers
2170363            Regular      16.00   20.75 03/19/2018 Los Angeles CA East - Drivers
2170363            Overtime      5.25   31.13 03/19/2018 Los Angeles CA East - Drivers
2170363            Regular      40.00   20.75 03/26/2018 Los Angeles CA East - Drivers
2170363            Overtime     16.00   31.13 03/26/2018 Los Angeles CA East - Drivers
2170363            Regular      24.00   20.75 04/02/2018 Los Angeles CA East - Drivers
2170363            Overtime     12.00   31.13 04/02/2018 Los Angeles CA East - Drivers
2170363            Regular      11.50   20.75 04/09/2018 Los Angeles CA East - Drivers
2170363            Overtime      2.50   31.12 04/09/2018 Los Angeles CA East - Drivers
2170363            Regular       7.75   19.00 01/30/2017 Los Angeles CA East - Drivers
2170363            Regular      16.00   19.00 02/20/2017 Los Angeles CA East - Drivers
2170363            Overtime      3.50   28.50 02/20/2017 Los Angeles CA East - Drivers
2170363            Regular       8.00   19.00 03/06/2017 Los Angeles CA East - Drivers
2170363            Overtime      1.00   28.50 03/06/2017 Los Angeles CA East - Drivers
2170363            Regular       8.00   19.00 03/13/2017 Los Angeles CA East - Drivers
2170363            Overtime      2.50   28.50 03/13/2017 Los Angeles CA East - Drivers
2170363            Regular      40.00   19.50 04/10/2017 Los Angeles CA East - Drivers
2170363            Overtime     12.75   29.25 04/10/2017 Los Angeles CA East - Drivers
2170363            Regular      23.00   19.50 04/17/2017 Los Angeles CA East - Drivers
2170363            Overtime      3.50   29.25 04/17/2017 Los Angeles CA East - Drivers
2170363            Regular       4.50   19.50 05/08/2017 Los Angeles CA East - Drivers
2170363            Regular       8.00   20.50 05/07/2018 Los Angeles CA East - Drivers
2170363            Regular      24.00   20.50 05/14/2018 Los Angeles CA East - Drivers
2170363            Overtime      4.00   30.75 05/14/2018 Los Angeles CA East - Drivers
2170363            Regular       8.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2170363            Regular      24.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2170363            Overtime      3.75   30.00 03/05/2018 Los Angeles CA East - Drivers
2170363            Regular      40.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2170363            Overtime      9.75   30.00 03/12/2018 Los Angeles CA East - Drivers
Total for 2170363              686.78
2173547            Regular      20.75   19.50 04/03/2017 Sacramento CA - Drivers
2173547            Regular       6.75   19.50 04/10/2017 Sacramento CA - Drivers
2173547            Regular      39.50   19.50 04/17/2017 Sacramento CA - Drivers
2173547            Overtime     11.50   29.25 04/17/2017 Sacramento CA - Drivers
2173547            Regular      32.00   19.50 04/24/2017 Sacramento CA - Drivers
2173547            Regular      24.00   19.50 05/01/2017 Sacramento CA - Drivers
2173547            Overtime      0.50   29.25 05/01/2017 Sacramento CA - Drivers
2173547            Regular      23.00   19.50 05/08/2017 Sacramento CA - Drivers
2173547            Regular      24.00   19.50 05/15/2017 Sacramento CA - Drivers
2173547            Overtime      4.00   29.25 05/15/2017 Sacramento CA - Drivers
2173547            Regular      29.75   19.50 05/22/2017 Sacramento CA - Drivers
2173547            Overtime      5.25   29.25 05/22/2017 Sacramento CA - Drivers
2173547            Regular      31.00   19.50 05/29/2017 Sacramento CA - Drivers
2173547            Overtime     19.50   29.25 05/29/2017 Sacramento CA - Drivers
2173547            Regular      32.00   19.50 06/05/2017 Sacramento CA - Drivers
2173547            Overtime     13.50   29.25 06/05/2017 Sacramento CA - Drivers
2173547            Regular      32.00   19.50 06/12/2017 Sacramento CA - Drivers
2173547            Overtime      1.50   29.25 06/12/2017 Sacramento CA - Drivers
2173547            Regular      32.00   19.50 06/19/2017 Sacramento CA - Drivers
2173547            Overtime      8.50   29.25 06/19/2017 Sacramento CA - Drivers
2173547            Regular       2.00   21.00 02/13/2017 Sacramento CA - Drivers
2173547            Regular      49.25   21.00 02/20/2017 Sacramento CA - Drivers
2173547 Case 2:19-cv-08580-JFW-MAA
                   Regular      48.50Document
                                        21.00 38-5    Filed Sacramento
                                                02/27/2017  03/22/21 Page    433 of 691
                                                                       CA - Drivers       Page ID
2173547            Overtime      0.75   31.50 #:1206
                                                02/27/2017 Sacramento CA - Drivers
2173547            Regular      48.00   21.00 03/06/2017 Sacramento CA - Drivers
2173547            Overtime      3.50   31.50 03/06/2017 Sacramento CA - Drivers
2173547            Regular      50.00   21.00 03/13/2017 Sacramento CA - Drivers
2173547            Overtime      7.00   31.50 03/13/2017 Sacramento CA - Drivers
2173547            Regular      48.00   21.00 03/20/2017 Sacramento CA - Drivers
2173547            Overtime      1.00   31.50 03/20/2017 Sacramento CA - Drivers
2173547            Regular      47.75   21.00 03/27/2017 Sacramento CA - Drivers
2173547            Overtime      1.00   31.50 03/27/2017 Sacramento CA - Drivers
2173547            Regular      20.00   21.00 04/03/2017 Sacramento CA - Drivers
2173547            Overtime      2.00   31.50 04/03/2017 Sacramento CA - Drivers
2173547            Regular      28.00   19.00 07/24/2017 Sacramento CA - Drivers
2173547            Overtime     12.00   28.50 07/24/2017 Sacramento CA - Drivers
2173547            Regular       8.00   19.00 08/07/2017 Sacramento CA - Drivers
2173547            Overtime      4.00   28.50 08/07/2017 Sacramento CA - Drivers
2173547            Regular      33.00   19.00 08/14/2017 Sacramento CA - Drivers
2173547            Overtime     16.00   28.50 08/14/2017 Sacramento CA - Drivers
2173547            Regular      32.00   19.00 08/21/2017 Sacramento CA - Drivers
2173547            Overtime     16.00   28.50 08/21/2017 Sacramento CA - Drivers
Total for 2173547              868.75
2484843            Regular      30.75   22.00 07/09/2018 Los Angeles CA West - Drivers
2484843            Overtime      2.25   33.00 07/09/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 07/16/2018 Los Angeles CA West - Drivers
2484843            Overtime      7.50   33.00 07/16/2018 Los Angeles CA West - Drivers
2484843            Regular      28.75   22.00 07/23/2018 Los Angeles CA West - Drivers
2484843            Overtime      3.75   33.00 07/23/2018 Los Angeles CA West - Drivers
2484843            Regular      30.75   22.00 07/30/2018 Los Angeles CA West - Drivers
2484843            Overtime      3.25   33.00 07/30/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 08/06/2018 Los Angeles CA West - Drivers
2484843            Overtime      7.00   33.00 08/06/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 08/13/2018 Los Angeles CA West - Drivers
2484843            Overtime      5.50   33.00 08/13/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 08/20/2018 Los Angeles CA West - Drivers
2484843            Overtime      5.25   33.00 08/20/2018 Los Angeles CA West - Drivers
2484843            Regular      16.00   22.00 08/27/2018 Los Angeles CA West - Drivers
2484843            Overtime      2.75   33.00 08/27/2018 Los Angeles CA West - Drivers
2484843            Regular      24.00   22.00 09/03/2018 Los Angeles CA West - Drivers
2484843            Overtime      4.50   33.00 09/03/2018 Los Angeles CA West - Drivers
2484843            Regular       8.00   22.00 09/10/2018 Los Angeles CA West - Drivers
2484843            Overtime      3.75   33.00 09/10/2018 Los Angeles CA West - Drivers
2484843            Regular      16.00   22.00 09/17/2018 Los Angeles CA West - Drivers
2484843            Overtime      3.75   33.00 09/17/2018 Los Angeles CA West - Drivers
2484843            Regular       7.50   22.00 09/24/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 10/01/2018 Los Angeles CA West - Drivers
2484843            Overtime      9.75   33.00 10/01/2018 Los Angeles CA West - Drivers
2484843            Regular      24.00   22.00 10/08/2018 Los Angeles CA West - Drivers
2484843            Overtime      2.75   33.00 10/08/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 10/15/2018 Los Angeles CA West - Drivers
2484843            Overtime      5.75   33.00 10/15/2018 Los Angeles CA West - Drivers
2484843            Regular      32.00   22.00 10/22/2018 Los Angeles CA West - Drivers
2484843            Overtime      7.75   33.00 10/22/2018 Los Angeles CA West - Drivers
2484843            Regular      24.00   22.00 10/29/2018 Los Angeles CA West - Drivers
2484843            Overtime      6.00   33.00 10/29/2018 Los Angeles CA West - Drivers
2484843            Regular      15.50   22.00 11/05/2018 Los Angeles CA West - Drivers
2484843            Overtime      0.25   33.00 11/05/2018 Los Angeles CA West - Drivers
2484843            Regular      24.00   22.00 11/12/2018 Los Angeles CA West - Drivers
2484843            Overtime      6.75   33.00 11/12/2018 Los Angeles CA West - Drivers
2484843            Regular      27.25   22.00 11/19/2018 Los Angeles CA West - Drivers
2484843            Overtime      2.50   33.00 11/19/2018 Los Angeles CA West - Drivers
2484843            Regular      23.75   22.00 11/26/2018 Los Angeles CA West - Drivers
2484843            Overtime      3.25   33.00 11/26/2018 Los Angeles CA West - Drivers
2484843            Regular      23.75   22.00 12/03/2018 Los Angeles CA West - Drivers
2484843 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.75Document
                                         33.00 38-5    Filed Los
                                                 12/03/2018  03/22/21
                                                                 AngelesPage 434- Drivers
                                                                        CA West   of 691    Page ID
2484843            Regular       31.00   22.00 #:1207
                                                 12/10/2018 Los Angeles CA West - Drivers
2484843            Overtime       5.00   33.00 12/10/2018 Los Angeles CA West - Drivers
2484843            Regular       24.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2484843            Overtime       2.25   33.00 12/17/2018 Los Angeles CA West - Drivers
2484843            Regular       16.00   22.00 12/31/2018 Los Angeles CA West - Drivers
2484843            Overtime       3.00   33.00 12/31/2018 Los Angeles CA West - Drivers
2484843            Regular       30.75   22.00 01/07/2019 Los Angeles CA West - Drivers
2484843            Overtime       5.25   33.00 01/07/2019 Los Angeles CA West - Drivers
2484843            Regular       29.00   22.00 01/14/2019 Los Angeles CA West - Drivers
2484843            Overtime       4.00   33.00 01/14/2019 Los Angeles CA West - Drivers
2484843            Regular       32.00   22.00 01/21/2019 Los Angeles CA West - Drivers
2484843            Overtime       9.00   33.00 01/21/2019 Los Angeles CA West - Drivers
2484843            Regular       24.00   22.00 01/28/2019 Los Angeles CA West - Drivers
2484843            Overtime       9.00   33.00 01/28/2019 Los Angeles CA West - Drivers
2484843            Regular       23.75   22.00 02/04/2019 Los Angeles CA West - Drivers
2484843            Overtime       2.75   33.00 02/04/2019 Los Angeles CA West - Drivers
2484843            Regular       24.00   22.00 02/11/2019 Los Angeles CA West - Drivers
2484843            Overtime       2.00   33.00 02/11/2019 Los Angeles CA West - Drivers
2484843            Regular       16.00   22.00 02/18/2019 Los Angeles CA West - Drivers
2484843            Overtime       4.25   33.00 02/18/2019 Los Angeles CA West - Drivers
2484843            Regular       16.75   22.00 02/25/2019 Los Angeles CA West - Drivers
2484843            Regular        8.00   22.00 04/01/2019 Los Angeles CA West - Drivers
2484843            Overtime       1.00   33.00 04/01/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 04/08/2019 Los Angeles CA West - Drivers
2484843            Overtime       7.25   33.00 04/08/2019 Los Angeles CA West - Drivers
2484843            Regular       32.00   22.00 04/15/2019 Los Angeles CA West - Drivers
2484843            Overtime       4.00   33.00 04/15/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 04/22/2019 Los Angeles CA West - Drivers
2484843            Overtime       4.25   33.00 04/22/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 04/29/2019 Los Angeles CA West - Drivers
2484843            Overtime       1.50   33.00 04/29/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2484843            Overtime       1.00   33.00 05/06/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 05/13/2019 Los Angeles CA West - Drivers
2484843            Overtime       3.75   33.00 05/13/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 05/20/2019 Los Angeles CA West - Drivers
2484843            Overtime       3.75   33.00 05/20/2019 Los Angeles CA West - Drivers
2484843            Regular       32.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2484843            Overtime       7.00   33.00 05/27/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2484843            Overtime       4.50   33.00 06/03/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2484843            Overtime       3.25   33.00 06/10/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2484843            Overtime       5.00   33.00 06/17/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 06/24/2019 Los Angeles CA West - Drivers
2484843            Overtime       0.75   33.00 06/24/2019 Los Angeles CA West - Drivers
2484843            Regular       40.00   22.00 07/01/2019 Los Angeles CA West - Drivers
2484843            Overtime       6.00   33.00 07/01/2019 Los Angeles CA West - Drivers
2484843            Regular       16.00   22.00 07/08/2019 Los Angeles CA West - Drivers
2484843            Regular       24.00   22.00 07/15/2019 Los Angeles CA West - Drivers
2484843            Overtime       3.50   33.00 07/15/2019 Los Angeles CA West - Drivers
2484843            Regular        8.00   21.00 04/09/2018 Los Angeles CA West - Drivers
Total for 2484843             1,574.00
2757470            Regular        8.00   20.50 06/24/2019 Los Angeles CA West - Drivers
2757470            Overtime       2.50   30.75 06/24/2019 Los Angeles CA West - Drivers
2757470            Regular        8.00   22.50 06/24/2019 Los Angeles CA West - Drivers
2757470            Overtime       0.50   33.75 06/24/2019 Los Angeles CA West - Drivers
2757470            Regular        8.00   22.50 07/01/2019 Los Angeles CA West - Drivers
2757470            Regular        8.00   22.50 07/15/2019 Los Angeles CA West - Drivers
2757470            Regular        8.50   21.00 06/24/2019 Los Angeles CA West - Drivers
2757470            Regular       25.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2757470 Case 2:19-cv-08580-JFW-MAA
                   Regular       57.50Document
                                         21.00 38-5    Filed Los
                                                 07/15/2019  03/22/21
                                                                 AngelesPage 435- Drivers
                                                                        CA West   of 691    Page ID
2757470            Regular       57.50   21.00 #:1208
                                                 07/22/2019 Los Angeles CA West - Drivers
2757470            Regular       56.50   21.00 07/29/2019 Los Angeles CA West - Drivers
2757470            Regular       55.50   21.00 08/05/2019 Los Angeles CA West - Drivers
2757470            Regular       35.50   21.00 09/02/2019 Los Angeles CA West - Drivers
Total for 2757470               331.00
2719006            Regular       32.00   18.00 03/11/2019 Los Angeles CA West - Drivers
2719006            Overtime       9.10   27.00 03/11/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 03/18/2019 Los Angeles CA West - Drivers
2719006            Overtime      13.03   27.00 03/18/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 03/25/2019 Los Angeles CA West - Drivers
2719006            Overtime      13.03   27.00 03/25/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 04/01/2019 Los Angeles CA West - Drivers
2719006            Overtime       9.03   27.00 04/01/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 04/08/2019 Los Angeles CA West - Drivers
2719006            Overtime      11.05   27.00 04/08/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 04/15/2019 Los Angeles CA West - Drivers
2719006            Overtime      19.45   27.00 04/15/2019 Los Angeles CA West - Drivers
2719006            Regular       22.50   18.00 04/22/2019 Los Angeles CA West - Drivers
2719006            Overtime       5.35   27.00 04/22/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 04/29/2019 Los Angeles CA West - Drivers
2719006            Overtime      14.07   27.00 04/29/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 05/06/2019 Los Angeles CA West - Drivers
2719006            Overtime      18.23   27.00 05/06/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 05/13/2019 Los Angeles CA West - Drivers
2719006            Overtime      17.18   27.00 05/13/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 05/20/2019 Los Angeles CA West - Drivers
2719006            Overtime      15.47   27.00 05/20/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 05/27/2019 Los Angeles CA West - Drivers
2719006            Overtime      16.53   27.00 05/27/2019 Los Angeles CA West - Drivers
2719006            Regular       30.83   18.00 06/03/2019 Los Angeles CA West - Drivers
2719006            Overtime      11.65   27.00 06/03/2019 Los Angeles CA West - Drivers
2719006            Regular       32.00   18.00 06/10/2019 Los Angeles CA West - Drivers
2719006            Overtime      12.12   27.00 06/10/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 06/17/2019 Los Angeles CA West - Drivers
2719006            Overtime      15.97   27.00 06/17/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 06/24/2019 Los Angeles CA West - Drivers
2719006            Overtime      16.20   27.00 06/24/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 07/01/2019 Los Angeles CA West - Drivers
2719006            Overtime      13.87   27.00 07/01/2019 Los Angeles CA West - Drivers
2719006            Regular       31.97   18.00 07/08/2019 Los Angeles CA West - Drivers
2719006            Overtime      11.20   27.00 07/08/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 07/15/2019 Los Angeles CA West - Drivers
2719006            Overtime      16.65   27.00 07/15/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 07/22/2019 Los Angeles CA West - Drivers
2719006            Overtime      14.93   27.00 07/22/2019 Los Angeles CA West - Drivers
2719006            Regular       32.00   18.00 07/29/2019 Los Angeles CA West - Drivers
2719006            Overtime      11.68   27.00 07/29/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 08/05/2019 Los Angeles CA West - Drivers
2719006            Overtime      14.87   27.00 08/05/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 08/12/2019 Los Angeles CA West - Drivers
2719006            Overtime      14.02   27.00 08/12/2019 Los Angeles CA West - Drivers
2719006            Regular       40.00   18.00 08/19/2019 Los Angeles CA West - Drivers
2719006            Overtime      16.97   27.00 08/19/2019 Los Angeles CA West - Drivers
Total for 2719006             1,232.95
1234450            Regular       40.00   26.00 06/25/2018 Sacramento CA - Drivers
1234450            Overtime       9.00   39.00 06/25/2018 Sacramento CA - Drivers
1234450            Regular       32.00   26.00 07/02/2018 Sacramento CA - Drivers
1234450            Regular       40.00   26.00 07/09/2018 Sacramento CA - Drivers
1234450            Overtime       4.00   39.00 07/09/2018 Sacramento CA - Drivers
1234450            Regular       40.00   26.00 07/16/2018 Sacramento CA - Drivers
1234450            Overtime       6.75   39.00 07/16/2018 Sacramento CA - Drivers
1234450            Regular       40.00   26.00 07/23/2018 Sacramento CA - Drivers
1234450 Case   2:19-cv-08580-JFW-MAA
                     Overtime     12.00Document
                                          39.00 38-5    Filed Sacramento
                                                  07/23/2018  03/22/21 Page    436 of 691 Page ID
                                                                         CA - Drivers
1234450              Regular      40.00   26.00 #:1209
                                                  07/30/2018 Sacramento CA - Drivers
1234450             Overtime       20.50    39.00   07/30/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   08/06/2018   Sacramento   CA   - Drivers
1234450             Overtime       40.00    39.00   08/06/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   08/13/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   08/20/2018   Sacramento   CA   - Drivers
1234450             Overtime       22.00    39.00   08/20/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   08/27/2018   Sacramento   CA   - Drivers
1234450             Overtime       12.25    39.00   08/27/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   09/03/2018   Sacramento   CA   - Drivers
1234450             Overtime        8.25    39.00   09/03/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   09/10/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   09/17/2018   Sacramento   CA   - Drivers
1234450             Overtime        8.00    39.00   09/17/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   09/24/2018   Sacramento   CA   - Drivers
1234450             Overtime        8.00    39.00   09/24/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   10/01/2018   Sacramento   CA   - Drivers
1234450             Overtime       26.00    39.00   10/01/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   10/08/2018   Sacramento   CA   - Drivers
1234450             Overtime       25.50    39.00   10/08/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   10/15/2018   Sacramento   CA   - Drivers
1234450             Overtime       29.25    39.00   10/15/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   10/22/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   10/29/2018   Sacramento   CA   - Drivers
1234450             Overtime       16.25    39.00   10/29/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   11/05/2018   Sacramento   CA   - Drivers
1234450             Overtime        9.50    39.00   11/05/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   11/12/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   11/19/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   11/26/2018   Sacramento   CA   - Drivers
1234450             Overtime        3.00    39.00   11/26/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   12/03/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   12/10/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   12/17/2018   Sacramento   CA   - Drivers
1234450             Overtime        8.00    39.00   12/17/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   12/24/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   12/31/2018   Sacramento   CA   - Drivers
1234450             Overtime        6.00    39.00   12/31/2018   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   01/07/2019   Sacramento   CA   - Drivers
1234450             Overtime       13.75    39.00   01/07/2019   Sacramento   CA   - Drivers
1234450             Regular        24.00    26.00   01/14/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   01/21/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   01/28/2019   Sacramento   CA   - Drivers
1234450             Overtime        6.00    39.00   01/28/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   02/04/2019   Sacramento   CA   - Drivers
1234450             Overtime        2.25    39.00   02/04/2019   Sacramento   CA   - Drivers
1234450             Regular        16.00    26.00   02/11/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   02/18/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   02/25/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   03/04/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   03/11/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   03/18/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   03/25/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   04/01/2019   Sacramento   CA   - Drivers
1234450             Regular        24.00    26.00   04/08/2019   Sacramento   CA   - Drivers
1234450             Regular        16.00    26.00   04/15/2019   Sacramento   CA   - Drivers
1234450             Regular         8.00    26.00   04/22/2019   Sacramento   CA   - Drivers
1234450             Regular        16.00    26.00   04/29/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   05/06/2019   Sacramento   CA   - Drivers
1234450             Overtime        1.00    39.00   05/06/2019   Sacramento   CA   - Drivers
1234450             Regular        40.00    26.00   05/13/2019   Sacramento   CA   - Drivers
1234450             Regular        32.00    26.00   05/20/2019   Sacramento   CA   - Drivers
1234450 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         26.00 38-5    Filed Sacramento
                                                 05/27/2019  03/22/21 Page    437 of 691
                                                                        CA - Drivers       Page ID
1234450            Regular       32.00   26.00 #:1210
                                                 06/03/2019 Sacramento CA - Drivers
1234450            Regular        8.00   26.00 06/10/2019 Sacramento CA - Drivers
Total for 1234450             2,113.25
1410634            Regular       51.25   18.50 11/07/2016 Los Angeles CA West - Drivers
1410634            Regular       28.25   18.50 11/14/2016 Los Angeles CA West - Drivers
Total for 1410634                79.50
2767550            Regular       32.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2767550            Overtime      19.00   33.00 06/03/2019 Los Angeles CA West - Drivers
2767550            Regular       16.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2767550            Overtime       2.00   33.00 06/10/2019 Los Angeles CA West - Drivers
2767550            Regular        8.00   22.50 08/26/2019 Los Angeles CA West - Drivers
2767550            Overtime       2.00   33.75 08/26/2019 Los Angeles CA West - Drivers
2767550            Regular        8.00   20.00 08/26/2019 Los Angeles CA West - Drivers
2767550            Overtime       1.50   30.00 08/26/2019 Los Angeles CA West - Drivers
2767550            Regular       24.00   21.00 06/10/2019 Los Angeles CA West - Drivers
2767550            Overtime       5.25   31.50 06/10/2019 Los Angeles CA West - Drivers
2767550            Regular       32.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2767550            Overtime       9.25   31.50 06/17/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2767550            Overtime       8.00   31.50 06/24/2019 Los Angeles CA West - Drivers
2767550            Regular       24.00   21.00 07/01/2019 Los Angeles CA West - Drivers
2767550            Overtime       7.00   31.50 07/01/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2767550            Overtime      11.00   31.50 07/08/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2767550            Overtime      11.25   31.50 07/15/2019 Los Angeles CA West - Drivers
2767550            Regular       32.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2767550            Overtime      13.00   31.50 07/22/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2767550            Overtime      13.75   31.50 07/29/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2767550            Overtime      11.50   31.50 08/05/2019 Los Angeles CA West - Drivers
2767550            Regular       40.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2767550            Overtime      11.50   31.50 08/12/2019 Los Angeles CA West - Drivers
2767550            Regular       32.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2767550            Overtime       9.75   31.50 08/19/2019 Los Angeles CA West - Drivers
Total for 2767550               623.75
2677601            Regular       16.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2677601            Overtime       3.50   31.50 07/29/2019 Los Angeles CA West - Drivers
2677601            Regular       16.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2677601            Overtime       8.00   31.50 08/05/2019 Los Angeles CA West - Drivers
2677601            Regular       30.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2677601            Regular       16.00   41.22 08/12/2019 Los Angeles CA West - Drivers
2677601            Overtime       3.75   61.83 08/12/2019 Los Angeles CA West - Drivers
2677601            Regular        8.00   22.50 08/12/2019 Los Angeles CA West - Drivers
2677601            Overtime       1.00   33.75 08/12/2019 Los Angeles CA West - Drivers
2677601            Regular        8.00   22.50 08/05/2019 Los Angeles CA West - Drivers
2677601            Overtime       4.00   33.75 08/05/2019 Los Angeles CA West - Drivers
2677601            Regular       34.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2677601            Regular       35.50   21.00 08/26/2019 Los Angeles CA West - Drivers
2677601            Regular       39.75   21.00 09/02/2019 Los Angeles CA West - Drivers
Total for 2677601               223.50
1302090            Regular       10.50   21.50 06/27/2016 Sacramento CA - Drivers
1302090            Regular       13.50   21.50 06/27/2016 Sacramento CA - Drivers
1302090            Overtime       4.50   32.25 06/27/2016 Sacramento CA - Drivers
Total for 1302090                28.50
2261984            Regular        9.00   20.00 11/26/2018 San Antonio TX - Drivers
2261984            Regular       40.00   20.00 12/03/2018 San Antonio TX - Drivers
2261984            Overtime       5.25   30.00 12/03/2018 San Antonio TX - Drivers
2261984            Regular       40.00   20.00 12/10/2018 San Antonio TX - Drivers
2261984            Overtime       4.25   30.00 12/10/2018 San Antonio TX - Drivers
2261984 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        20.00 38-5    Filed San
                                                12/17/2018  03/22/21
                                                                AntonioPage  438 of 691
                                                                       TX - Drivers       Page ID
2261984            Overtime     11.00   30.00 #:1211
                                                12/17/2018 San Antonio TX - Drivers
Total for 2261984              149.50
152075             Regular       1.00   20.50 05/30/2016 Sacramento CA - Drivers
152075             Regular      22.50   21.50 06/20/2016 Sacramento CA - Drivers
152075             Overtime      4.00   32.25 06/20/2016 Sacramento CA - Drivers
152075             Regular      19.00   21.50 06/27/2016 Sacramento CA - Drivers
152075             Regular      15.00   21.50 07/04/2016 Sacramento CA - Drivers
152075             Overtime      1.00   32.25 07/04/2016 Sacramento CA - Drivers
Total for 152075                62.50
1213410            Regular      24.00   16.00 11/30/2015 Los Angeles CA West - Drivers
1213410            Overtime      5.50   24.00 11/30/2015 Los Angeles CA West - Drivers
1213410            Regular      48.00   16.00 12/14/2015 Los Angeles CA West - Drivers
1213410            Overtime     22.50   24.00 12/14/2015 Los Angeles CA West - Drivers
1213410            Regular      24.00   16.00 12/14/2015 Los Angeles CA West - Drivers
1213410            Overtime      9.00   24.00 12/14/2015 Los Angeles CA West - Drivers
Total for 1213410              133.00
1271426            Regular      32.00   20.00 02/08/2016 Sacramento CA - Drivers
1271426            Regular      11.25   20.00 02/15/2016 Sacramento CA - Drivers
1271426            Regular       8.25   21.00 02/08/2016 Sacramento CA - Drivers
1271426            Regular      19.50   21.00 02/15/2016 Sacramento CA - Drivers
1271426            Regular      11.50   19.00 02/22/2016 Sacramento CA - Drivers
1271426            Regular       7.50   19.00 02/29/2016 Sacramento CA - Drivers
Total for 1271426               90.00
2793630            Regular      40.00   21.00 08/19/2019 Sacramento CA - Drivers
2793630            Overtime      1.50   31.50 08/19/2019 Sacramento CA - Drivers
2793630            Regular      40.00   21.00 08/26/2019 Sacramento CA - Drivers
2793630            Overtime      2.25   31.50 08/26/2019 Sacramento CA - Drivers
2793630            Regular      32.00   21.00 09/02/2019 Sacramento CA - Drivers
2793630            Overtime      0.50   31.50 09/02/2019 Sacramento CA - Drivers
Total for 2793630              116.25
1328507            Regular      21.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1328507            Overtime      8.00   24.00 05/16/2016 Los Angeles CA West - Drivers
1328507            Regular       7.50   16.00 05/23/2016 Los Angeles CA West - Drivers
1328507            Regular      24.00   16.00 06/06/2016 Los Angeles CA West - Drivers
1328507            Overtime     11.25   24.00 06/06/2016 Los Angeles CA West - Drivers
1328507            Regular       7.25   16.00 10/24/2016 Los Angeles CA West - Drivers
1328507            Regular       8.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1328507            Overtime      3.00   24.00 11/07/2016 Los Angeles CA West - Drivers
1328507            Regular       8.00   16.50 07/11/2016 Los Angeles CA West - Drivers
1328507            Overtime      3.00   24.75 07/11/2016 Los Angeles CA West - Drivers
1328507            Regular      22.50   16.50 09/26/2016 Los Angeles CA West - Drivers
1328507            Overtime      6.50   24.75 09/26/2016 Los Angeles CA West - Drivers
1328507            Regular      22.00   16.50 10/03/2016 Los Angeles CA West - Drivers
1328507            Overtime      4.50   24.75 10/03/2016 Los Angeles CA West - Drivers
1328507            Regular      16.50   16.50 10/10/2016 Los Angeles CA West - Drivers
1328507            Overtime      3.00   24.75 10/10/2016 Los Angeles CA West - Drivers
1328507            Regular       8.00   16.50 10/10/2016 Los Angeles CA West - Drivers
1328507            Overtime      3.00   24.75 10/10/2016 Los Angeles CA West - Drivers
Total for 1328507              187.00
1383959            Regular       4.00   20.00 08/22/2016 Los Angeles CA West - Drivers
Total for 1383959                4.00
2233415            Regular      24.00   16.00 04/03/2017 Los Angeles CA West - Drivers
2233415            Overtime      3.00   24.00 04/03/2017 Los Angeles CA West - Drivers
Total for 2233415               27.00
763564             Regular      24.00   21.00 02/25/2019 Los Angeles CA West - Drivers
763564             Overtime      1.00   31.50 02/25/2019 Los Angeles CA West - Drivers
763564             Regular      31.00   19.00 05/23/2016 Los Angeles CA West - Drivers
763564             Overtime      9.00   28.50 05/23/2016 Los Angeles CA West - Drivers
763564             Regular      32.00   19.00 05/30/2016 Los Angeles CA West - Drivers
763564             Overtime      8.75   28.50 05/30/2016 Los Angeles CA West - Drivers
763564             Regular      40.00   19.00 06/06/2016 Los Angeles CA West - Drivers
763564             Overtime     11.50   28.50 06/06/2016 Los Angeles CA West - Drivers
763564   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.00 38-5    Filed Los
                                                 06/13/2016  03/22/21
                                                                 AngelesPage 439- Drivers
                                                                        CA West   of 691 Page ID
763564              Overtime     13.50   28.50 #:1212
                                                 06/13/2016 Los Angeles CA West - Drivers
763564              Regular        40.00    19.00   06/20/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.25    28.50   06/20/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   06/27/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.75    28.50   06/27/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   07/04/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.25    28.50   07/04/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/11/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       18.25    28.50   07/11/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/18/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       17.75    28.50   07/18/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/25/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.00    28.50   07/25/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/01/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        3.25    28.50   08/01/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/08/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        4.50    28.50   08/08/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/15/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        4.50    28.50   08/15/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/22/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.00    28.50   08/15/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/29/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.75    28.50   08/29/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   09/05/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.00    28.50   09/05/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   09/12/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.25    28.50   09/12/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   09/19/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.00    28.50   09/19/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   09/26/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.25    28.50   09/26/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/03/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.25    28.50   10/03/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/10/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.50    28.50   10/10/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/17/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.25    28.50   10/17/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/24/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.75    28.50   10/24/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/31/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.50    28.50   10/31/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   11/07/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.75    28.50   11/07/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   11/14/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.25    28.50   11/14/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        24.00    19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.50    28.50   11/21/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   11/28/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.75    28.50   11/28/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   12/05/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.25    28.50   12/05/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   12/12/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.50    28.50   12/12/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   12/19/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.50    28.50   12/19/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   12/26/2016   Los   Angeles   CA   West   - Drivers
763564              Overtime        3.25    28.50   12/26/2016   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   01/02/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        5.75    28.50   01/02/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   01/09/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.00    28.50   01/09/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   01/16/2017   Los   Angeles   CA   West   - Drivers
763564   Case 2:19-cv-08580-JFW-MAA
                    Overtime      6.25Document
                                         28.50 38-5    Filed Los
                                                 01/16/2017  03/22/21
                                                                 AngelesPage 440- Drivers
                                                                        CA West   of 691 Page ID
763564              Regular      40.00   19.00 #:1213
                                                 01/23/2017 Los Angeles CA West - Drivers
763564              Overtime        6.75    28.50   01/23/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   01/30/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.50    28.50   01/30/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   02/06/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.50    28.50   02/06/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   02/13/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.25    28.50   02/13/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   02/20/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.75    28.50   02/20/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   02/27/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.00    28.50   02/27/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   03/06/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       17.25    28.50   03/06/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   03/13/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.25    28.50   03/13/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.25    28.50   03/20/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   04/03/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    28.50   04/03/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.00    28.50   04/10/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   04/17/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.00    28.50   04/17/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   04/24/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.25    28.50   04/24/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   05/01/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.00    28.50   05/01/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        39.25    19.00   05/08/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.75    28.50   05/08/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.75    28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.75    28.50   05/22/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   05/29/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.00    28.50   05/29/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.75    28.50   06/05/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.00    28.50   06/12/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   06/19/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.75    28.50   06/19/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   06/26/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.25    28.50   06/26/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.25    28.50   07/03/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/10/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.50    28.50   07/10/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.50    28.50   07/17/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   07/31/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.25    28.50   07/31/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/07/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.50    28.50   08/07/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/14/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    28.50   08/14/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   08/21/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.50    28.50   08/21/2017   Los   Angeles   CA   West   - Drivers
763564   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         19.00 38-5    Filed Los
                                                 08/28/2017  03/22/21
                                                                 AngelesPage 441- Drivers
                                                                        CA West   of 691 Page ID
763564              Overtime     10.75   28.50 #:1214
                                                 08/28/2017 Los Angeles CA West - Drivers
763564              Regular        32.00    19.00   09/04/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.25    28.50   09/04/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   09/11/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.25    28.50   09/11/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   09/18/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.25    28.50   09/18/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   09/25/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.75    28.50   09/25/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/02/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.25    28.50   10/02/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/09/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    28.50   10/09/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    19.00   10/16/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       16.50    28.50   10/16/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.25    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.75    30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.25    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.50    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        24.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.25    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.25    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.00    30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        7.75    30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   12/18/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.75    30.00   12/18/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        24.00    20.00   12/25/2017   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.00    30.00   12/25/2017   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    20.00   01/01/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.00    30.00   01/01/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   01/08/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.50    30.00   01/08/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   01/15/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    30.00   01/15/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   01/22/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.00    30.00   01/22/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   01/29/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.30    30.00   01/29/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   02/05/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.25    30.00   02/05/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   02/12/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.50    30.00   02/12/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        39.00    20.00   02/19/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.00    30.00   02/19/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   02/26/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.25    30.00   02/26/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.75    30.00   03/05/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.50    30.00   03/12/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   03/19/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.00    30.00   03/19/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   03/26/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.00    30.00   03/26/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   04/02/2018   Los   Angeles   CA   West   - Drivers
763564   Case 2:19-cv-08580-JFW-MAA
                    Overtime      8.25Document
                                         30.00 38-5    Filed Los
                                                 04/02/2018  03/22/21
                                                                 AngelesPage 442- Drivers
                                                                        CA West   of 691 Page ID
763564              Regular      40.00   20.00 #:1215
                                                 04/09/2018 Los Angeles CA West - Drivers
763564              Overtime        8.25    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.50    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.75    30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.75    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        24.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        6.25    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.25    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.50    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.00    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        9.50    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.50    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.00    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       14.50    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.75    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       15.50    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.25    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.50    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       11.75    30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   08/06/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.00    30.00   08/06/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   08/13/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.25    30.00   08/13/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   08/20/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.00    30.00   08/20/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   08/27/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.00    30.00   08/27/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    20.00   09/03/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.50    30.00   09/03/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    20.00   09/10/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.00    30.00   09/10/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   09/17/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.75    30.00   09/17/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   09/24/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       10.50    30.00   09/24/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   10/01/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       12.25    30.00   10/01/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   10/08/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime       13.00    30.00   10/08/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    20.00   10/15/2018   Los   Angeles   CA   West   - Drivers
763564              Overtime        8.75    30.00   10/15/2018   Los   Angeles   CA   West   - Drivers
763564              Regular        24.00    22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
763564              Overtime        3.00    33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
763564              Regular        40.00    22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
763564              Regular        32.00    22.00   09/02/2019   Los   Angeles   CA   West   - Drivers
763564              Overtime        1.00    33.00   09/02/2019   Los   Angeles   CA   West   - Drivers
763564              Regular        24.00    21.00   10/22/2018   Los   Angeles   CA   West   - Drivers
763564 Case 2:19-cv-08580-JFW-MAA
                  Overtime       5.75Document
                                        31.50 38-5    Filed Los
                                                10/22/2018  03/22/21
                                                                AngelesPage 443- Drivers
                                                                       CA West   of 691    Page ID
763564            Regular       40.00   21.00 #:1216
                                                10/29/2018 Los Angeles CA West - Drivers
763564            Overtime       6.75   31.50 10/29/2018 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 11/05/2018 Los Angeles CA West - Drivers
763564            Overtime       6.50   31.50 11/05/2018 Los Angeles CA West - Drivers
763564            Regular       24.00   21.00 11/12/2018 Los Angeles CA West - Drivers
763564            Overtime       5.50   31.50 11/12/2018 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 11/26/2018 Los Angeles CA West - Drivers
763564            Overtime       5.25   31.50 11/26/2018 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
763564            Overtime       5.25   31.50 12/03/2018 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 12/10/2018 Los Angeles CA West - Drivers
763564            Overtime       4.25   31.50 12/10/2018 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 12/17/2018 Los Angeles CA West - Drivers
763564            Overtime       3.50   31.50 12/17/2018 Los Angeles CA West - Drivers
763564            Regular       32.00   21.00 01/07/2019 Los Angeles CA West - Drivers
763564            Overtime       7.25   31.50 01/07/2019 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 01/14/2019 Los Angeles CA West - Drivers
763564            Overtime       5.50   31.50 01/14/2019 Los Angeles CA West - Drivers
763564            Regular       64.00   21.00 01/21/2019 Los Angeles CA West - Drivers
763564            Overtime       5.75   31.50 01/21/2019 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 01/28/2019 Los Angeles CA West - Drivers
763564            Overtime       3.25   31.50 01/28/2019 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 02/04/2019 Los Angeles CA West - Drivers
763564            Overtime       2.00   31.50 02/04/2019 Los Angeles CA West - Drivers
763564            Regular       34.00   21.00 03/04/2019 Los Angeles CA West - Drivers
763564            Regular       51.75   21.00 03/11/2019 Los Angeles CA West - Drivers
763564            Regular       40.00   21.00 03/18/2019 Los Angeles CA West - Drivers
763564            Regular       74.50   21.00 03/25/2019 Los Angeles CA West - Drivers
763564            Regular       52.75   21.00 04/01/2019 Los Angeles CA West - Drivers
763564            Regular       63.75   21.00 04/08/2019 Los Angeles CA West - Drivers
763564            Regular       65.25   21.00 04/15/2019 Los Angeles CA West - Drivers
763564            Regular       58.75   21.00 04/22/2019 Los Angeles CA West - Drivers
763564            Regular       64.50   21.00 04/29/2019 Los Angeles CA West - Drivers
763564            Regular       35.00   21.00 05/06/2019 Los Angeles CA West - Drivers
763564            Regular       66.50   21.00 05/13/2019 Los Angeles CA West - Drivers
763564            Regular       65.25   21.00 05/20/2019 Los Angeles CA West - Drivers
763564            Regular       44.00   21.00 05/27/2019 Los Angeles CA West - Drivers
763564            Regular       70.75   21.00 06/03/2019 Los Angeles CA West - Drivers
763564            Regular       58.25   21.00 06/10/2019 Los Angeles CA West - Drivers
763564            Regular       63.75   21.00 06/17/2019 Los Angeles CA West - Drivers
763564            Regular       55.00   21.00 06/24/2019 Los Angeles CA West - Drivers
763564            Regular       47.50   21.00 07/01/2019 Los Angeles CA West - Drivers
763564            Regular       74.25   21.00 07/08/2019 Los Angeles CA West - Drivers
763564            Regular       42.50   21.00 07/15/2019 Los Angeles CA West - Drivers
763564            Regular       40.50   21.00 07/22/2019 Los Angeles CA West - Drivers
763564            Regular       53.25   21.00 07/29/2019 Los Angeles CA West - Drivers
763564            Regular       52.50   21.00 08/05/2019 Los Angeles CA West - Drivers
763564            Regular       57.50   21.00 08/12/2019 Los Angeles CA West - Drivers
Total for 763564             8,235.80
2368171           Regular       24.00   17.00 03/19/2018 Sacramento CA - Drivers
2368171           Overtime       1.50   25.50 03/19/2018 Sacramento CA - Drivers
2368171           Regular       40.00   17.00 03/26/2018 Sacramento CA - Drivers
2368171           Overtime       5.50   25.50 03/26/2018 Sacramento CA - Drivers
2368171           Regular       40.00   17.00 04/02/2018 Sacramento CA - Drivers
2368171           Overtime       1.00   25.50 04/02/2018 Sacramento CA - Drivers
2368171           Regular       40.00   17.00 04/09/2018 Sacramento CA - Drivers
2368171           Overtime       2.00   25.50 04/09/2018 Sacramento CA - Drivers
2368171           Regular       40.00   17.00 04/16/2018 Sacramento CA - Drivers
2368171           Overtime       0.50   25.50 04/16/2018 Sacramento CA - Drivers
2368171           Regular       40.00   17.00 04/23/2018 Sacramento CA - Drivers
2368171           Overtime       1.00   25.50 04/23/2018 Sacramento CA - Drivers
2368171           Regular       40.00   17.00 04/30/2018 Sacramento CA - Drivers
2368171 Case 2:19-cv-08580-JFW-MAA
                   Overtime      0.50Document
                                        25.50 38-5   Filed Sacramento
                                               04/30/2018  03/22/21 Page    444 of
                                                                      CA - Drivers   691 Page ID
Total for 2368171              276.00        #:1217
2607260            Regular      40.00   21.00 10/15/2018 Sacramento CA - Drivers
2607260            Overtime     11.00   31.50 10/15/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 10/22/2018 Sacramento CA - Drivers
2607260            Overtime     10.25   31.50 10/22/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 10/29/2018 Sacramento CA - Drivers
2607260            Overtime     12.75   31.50 10/29/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 11/05/2018 Sacramento CA - Drivers
2607260            Overtime     11.25   31.50 11/05/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 11/12/2018 Sacramento CA - Drivers
2607260            Overtime      7.50   31.50 11/12/2018 Sacramento CA - Drivers
2607260            Regular      24.00   21.00 11/19/2018 Sacramento CA - Drivers
2607260            Overtime      7.50   31.50 11/19/2018 Sacramento CA - Drivers
2607260            Regular      32.00   21.00 11/26/2018 Sacramento CA - Drivers
2607260            Overtime     11.00   31.50 11/26/2018 Sacramento CA - Drivers
2607260            Regular      32.00   21.00 12/03/2018 Sacramento CA - Drivers
2607260            Overtime      5.00   31.50 12/03/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 12/10/2018 Sacramento CA - Drivers
2607260            Overtime      7.50   31.50 12/10/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 12/17/2018 Sacramento CA - Drivers
2607260            Overtime      7.25   31.50 12/17/2018 Sacramento CA - Drivers
2607260            Regular      16.00   21.00 12/24/2018 Sacramento CA - Drivers
2607260            Regular      24.00   21.00 12/31/2018 Sacramento CA - Drivers
2607260            Overtime      5.50   31.50 12/31/2018 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 01/07/2019 Sacramento CA - Drivers
2607260            Overtime      5.50   31.50 01/07/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 01/14/2019 Sacramento CA - Drivers
2607260            Overtime      5.50   31.50 01/14/2019 Sacramento CA - Drivers
2607260            Regular      28.00   21.00 01/21/2019 Sacramento CA - Drivers
2607260            Overtime      4.50   31.50 01/21/2019 Sacramento CA - Drivers
2607260            Regular      24.00   21.00 01/28/2019 Sacramento CA - Drivers
2607260            Overtime      0.50   31.50 01/28/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 02/04/2019 Sacramento CA - Drivers
2607260            Overtime     12.50   31.50 02/04/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 02/11/2019 Sacramento CA - Drivers
2607260            Overtime      9.00   31.50 02/11/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 02/18/2019 Sacramento CA - Drivers
2607260            Overtime      4.00   31.50 02/18/2019 Sacramento CA - Drivers
2607260            Regular      24.00   21.00 02/25/2019 Sacramento CA - Drivers
2607260            Overtime      4.00   31.50 02/25/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 03/04/2019 Sacramento CA - Drivers
2607260            Overtime     12.00   31.50 03/04/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 03/11/2019 Sacramento CA - Drivers
2607260            Overtime     12.00   31.50 03/11/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 03/18/2019 Sacramento CA - Drivers
2607260            Overtime      5.00   31.50 03/18/2019 Sacramento CA - Drivers
2607260            Regular      32.00   21.00 03/25/2019 Sacramento CA - Drivers
2607260            Overtime      5.50   31.50 03/25/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 04/01/2019 Sacramento CA - Drivers
2607260            Overtime     12.50   31.50 04/01/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 04/08/2019 Sacramento CA - Drivers
2607260            Overtime     19.00   31.50 04/08/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 04/15/2019 Sacramento CA - Drivers
2607260            Overtime     12.00   31.50 04/15/2019 Sacramento CA - Drivers
2607260            Regular      32.00   21.00 04/22/2019 Sacramento CA - Drivers
2607260            Overtime     12.50   31.50 04/22/2019 Sacramento CA - Drivers
2607260            Regular      32.00   21.00 04/29/2019 Sacramento CA - Drivers
2607260            Overtime      4.00   31.50 04/29/2019 Sacramento CA - Drivers
2607260            Regular      40.00   21.00 05/06/2019 Sacramento CA - Drivers
2607260            Overtime      4.00   31.50 05/06/2019 Sacramento CA - Drivers
2607260            Regular      32.00   21.00 05/13/2019 Sacramento CA - Drivers
2607260            Overtime      7.00   31.50 05/13/2019 Sacramento CA - Drivers
2607260 Case 2:19-cv-08580-JFW-MAA
                   Regular        40.00Document
                                          21.00 38-5    Filed Sacramento
                                                  05/20/2019  03/22/21 Page    445 of 691
                                                                         CA - Drivers       Page ID
2607260            Overtime         5.25  31.50 #:1218
                                                  05/20/2019 Sacramento CA - Drivers
2607260            Regular        32.00   21.00 05/27/2019 Sacramento CA - Drivers
2607260            Overtime         7.25  31.50 05/27/2019 Sacramento CA - Drivers
2607260            Regular        40.00   21.00 06/03/2019 Sacramento CA - Drivers
2607260            Overtime         5.25  31.50 06/03/2019 Sacramento CA - Drivers
2607260            Regular        24.00   22.00 06/10/2019 Sacramento CA - Drivers
2607260            Overtime         3.75  33.00 06/10/2019 Sacramento CA - Drivers
2607260            Regular        40.00   22.00 06/17/2019 Sacramento CA - Drivers
2607260            Overtime       11.50   33.00 06/17/2019 Sacramento CA - Drivers
2607260            Regular        40.00   22.00 06/24/2019 Sacramento CA - Drivers
2607260            Overtime       16.00   33.00 06/24/2019 Sacramento CA - Drivers
2607260            Regular        32.00   22.00 07/01/2019 Sacramento CA - Drivers
2607260            Overtime       19.25   33.00 07/01/2019 Sacramento CA - Drivers
2607260            Regular        40.00   22.00 07/08/2019 Sacramento CA - Drivers
2607260            Overtime       14.25   33.00 07/08/2019 Sacramento CA - Drivers
2607260            Regular        32.00   22.00 07/15/2019 Sacramento CA - Drivers
2607260            Overtime         9.25  33.00 07/15/2019 Sacramento CA - Drivers
2607260            Regular       -32.00   22.00 07/15/2019 Sacramento CA - Drivers
2607260            Overtime        -9.25  33.00 07/15/2019 Sacramento CA - Drivers
2607260            Regular          8.00  21.00 10/01/2018 Sacramento CA - Drivers
2607260            Overtime         1.00  31.50 10/01/2018 Sacramento CA - Drivers
2607260            Regular        36.50   21.00 10/08/2018 Sacramento CA - Drivers
2607260            Overtime         2.75  31.50 10/08/2018 Sacramento CA - Drivers
Total for 2607260             1,758.25
1308727            Regular          8.00  19.50 11/06/2017 Sacramento CA - Drivers
1308727            Overtime         4.00  29.25 11/06/2017 Sacramento CA - Drivers
1308727            Regular        40.00   19.50 11/13/2017 Sacramento CA - Drivers
1308727            Overtime       14.00   29.25 11/13/2017 Sacramento CA - Drivers
1308727            Regular          8.00  19.75 01/29/2018 Sacramento CA - Drivers
1308727            Overtime         3.00  29.63 01/29/2018 Sacramento CA - Drivers
1308727            Regular        40.00   19.75 02/05/2018 Sacramento CA - Drivers
1308727            Overtime       13.50   29.63 02/05/2018 Sacramento CA - Drivers
1308727            Regular        24.00   19.75 02/12/2018 Sacramento CA - Drivers
1308727            Overtime         6.50  29.63 02/12/2018 Sacramento CA - Drivers
Total for 1308727               161.00
2809302            Regular        40.00   17.50 07/29/2019 Los Angeles CA West - Drivers
2809302            Overtime       10.00   26.25 07/29/2019 Los Angeles CA West - Drivers
2809302            Regular        40.00   17.50 08/05/2019 Los Angeles CA West - Drivers
2809302            Overtime       13.50   26.25 08/05/2019 Los Angeles CA West - Drivers
2809302            Regular        40.00   17.50 08/12/2019 Los Angeles CA West - Drivers
2809302            Overtime       10.50   26.25 08/12/2019 Los Angeles CA West - Drivers
2809302            Regular        40.00   17.50 08/19/2019 Los Angeles CA West - Drivers
2809302            Overtime       14.00   26.25 08/19/2019 Los Angeles CA West - Drivers
2809302            Regular        40.00   17.50 08/26/2019 Los Angeles CA West - Drivers
2809302            Overtime       10.00   26.25 08/26/2019 Los Angeles CA West - Drivers
2809302            Regular        32.00   17.50 09/02/2019 Los Angeles CA West - Drivers
2809302            Overtime       10.50   26.25 09/02/2019 Los Angeles CA West - Drivers
Total for 2809302               300.50
2490438            Regular        44.75   19.00 03/26/2018 Los Angeles CA East - Drivers
2490438            Overtime         0.25  28.50 03/26/2018 Los Angeles CA East - Drivers
2490438            Regular        45.00   19.00 04/02/2018 Los Angeles CA East - Drivers
2490438            Overtime         1.00  28.50 04/02/2018 Los Angeles CA East - Drivers
2490438            Regular        48.50   19.00 04/09/2018 Los Angeles CA East - Drivers
2490438            Regular        43.75   20.00 04/16/2018 Los Angeles CA East - Drivers
2490438            Regular        50.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2490438            Overtime         7.50  30.00 04/23/2018 Los Angeles CA East - Drivers
2490438            Regular        45.00   20.00 04/30/2018 Los Angeles CA East - Drivers
2490438            Regular        44.50   20.00 05/07/2018 Los Angeles CA East - Drivers
2490438            Overtime         0.25  30.00 05/07/2018 Los Angeles CA East - Drivers
2490438            Regular        41.50   20.00 05/14/2018 Los Angeles CA East - Drivers
2490438            Regular        45.25   20.00 05/21/2018 Los Angeles CA East - Drivers
2490438            Regular        43.00   20.00 05/28/2018 Los Angeles CA East - Drivers
2490438 Case 2:19-cv-08580-JFW-MAA
                   Regular      46.00Document
                                        20.00 38-5    Filed Los
                                                06/04/2018  03/22/21
                                                                AngelesPage 446
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2490438            Overtime      0.25   30.00 #:1219
                                                06/04/2018 Los Angeles CA East - Drivers
2490438            Regular      44.00   20.00 06/11/2018 Los Angeles CA East - Drivers
2490438            Regular      47.00   20.00 06/18/2018 Los Angeles CA East - Drivers
2490438            Overtime      1.00   30.00 06/18/2018 Los Angeles CA East - Drivers
2490438            Regular      46.50   20.00 06/25/2018 Los Angeles CA East - Drivers
2490438            Overtime      2.50   30.00 06/25/2018 Los Angeles CA East - Drivers
2490438            Regular      19.00   20.00 07/02/2018 Los Angeles CA East - Drivers
2490438            Regular      43.50   20.00 07/09/2018 Los Angeles CA East - Drivers
2490438            Regular      44.00   20.00 07/16/2018 Los Angeles CA East - Drivers
Total for 2490438              754.00
2542955            Regular      24.00   21.00 06/11/2018 Los Angeles CA West - Drivers
2542955            Overtime      6.50   31.50 06/11/2018 Los Angeles CA West - Drivers
2542955            Regular      24.00   21.00 06/18/2018 Los Angeles CA West - Drivers
2542955            Overtime      1.50   31.50 06/18/2018 Los Angeles CA West - Drivers
2542955            Regular      32.00   21.00 07/02/2018 Los Angeles CA West - Drivers
2542955            Overtime      9.00   31.50 07/02/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 07/09/2018 Los Angeles CA West - Drivers
2542955            Overtime     11.75   31.50 07/09/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 07/16/2018 Los Angeles CA West - Drivers
2542955            Overtime     11.00   31.50 07/16/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 07/23/2018 Los Angeles CA West - Drivers
2542955            Overtime     13.00   31.50 07/23/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 07/30/2018 Los Angeles CA West - Drivers
2542955            Overtime     12.50   31.50 07/30/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 08/06/2018 Los Angeles CA West - Drivers
2542955            Overtime     10.75   31.50 08/06/2018 Los Angeles CA West - Drivers
2542955            Regular      24.00   21.00 08/13/2018 Los Angeles CA West - Drivers
2542955            Overtime      6.75   31.50 08/13/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 08/20/2018 Los Angeles CA West - Drivers
2542955            Overtime     12.25   31.50 08/20/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 08/27/2018 Los Angeles CA West - Drivers
2542955            Overtime     16.75   31.50 08/27/2018 Los Angeles CA West - Drivers
2542955            Regular      32.00   21.00 09/03/2018 Los Angeles CA West - Drivers
2542955            Overtime      8.50   31.50 09/03/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 09/10/2018 Los Angeles CA West - Drivers
2542955            Overtime     12.50   31.50 09/10/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 09/24/2018 Los Angeles CA West - Drivers
2542955            Overtime     12.50   31.50 09/24/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
2542955            Overtime     13.00   31.50 10/01/2018 Los Angeles CA West - Drivers
2542955            Regular      40.00   21.00 10/08/2018 Los Angeles CA West - Drivers
2542955            Overtime      9.50   31.50 10/08/2018 Los Angeles CA West - Drivers
2542955            Regular      12.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2542955            Overtime      0.25   30.00 06/25/2018 Los Angeles CA West - Drivers
Total for 2542955              756.00
2805387            Regular      16.00   18.00 07/15/2019 Los Angeles CA East - Drivers
2805387            Overtime      0.05   27.00 07/15/2019 Los Angeles CA East - Drivers
2805387            Regular      40.00   18.00 07/22/2019 Los Angeles CA East - Drivers
2805387            Overtime     16.50   27.00 07/22/2019 Los Angeles CA East - Drivers
2805387            Regular      40.00   18.00 07/29/2019 Los Angeles CA East - Drivers
2805387            Overtime      6.00   27.00 07/29/2019 Los Angeles CA East - Drivers
2805387            Regular      40.00   18.00 08/05/2019 Los Angeles CA East - Drivers
2805387            Overtime     10.50   27.00 08/05/2019 Los Angeles CA East - Drivers
2805387            Regular      34.00   18.00 08/12/2019 Los Angeles CA East - Drivers
2805387            Overtime      8.50   27.00 08/12/2019 Los Angeles CA East - Drivers
2805387            Regular      40.00   18.00 08/19/2019 Los Angeles CA East - Drivers
2805387            Overtime      9.00   27.00 08/19/2019 Los Angeles CA East - Drivers
2805387            Regular      40.00   18.00 08/26/2019 Los Angeles CA East - Drivers
2805387            Overtime     10.25   27.00 08/26/2019 Los Angeles CA East - Drivers
2805387            Regular      32.00   18.00 09/02/2019 Los Angeles CA East - Drivers
2805387            Overtime      4.75   27.00 09/02/2019 Los Angeles CA East - Drivers
Total for 2805387              347.55
707737   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         17.00 38-5    Filed Los
                                                 08/03/2015  03/22/21
                                                                 AngelesPage 447
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
707737              Overtime      5.50   25.50 #:1220
                                                 08/03/2015 Los Angeles CA East - Drivers
707737              Regular        40.00    17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    25.50   08/10/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        37.00    17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    25.50   08/17/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    17.00   08/24/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    25.50   08/24/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    17.00   08/31/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    25.50   08/31/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        31.00    17.00   09/07/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.50    25.50   09/07/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    17.00   09/14/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    25.50   09/14/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        37.00    17.00   09/21/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    25.50   09/21/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    17.00   09/28/2015   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.30    25.50   09/28/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        36.50    17.00   10/05/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        35.00    17.00   10/12/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        35.00    17.00   10/19/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        33.50    17.00   10/26/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    17.00   11/02/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        36.00    17.00   11/09/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        30.00    17.00   11/16/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        21.00    17.00   11/23/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        29.50    17.00   11/30/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        34.00    17.00   12/07/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        29.50    17.00   12/14/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        21.50    17.00   12/28/2015   Los   Angeles   CA   East   - Drivers
707737              Regular        36.00    17.00   01/04/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    18.00   01/11/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.50    27.00   01/11/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   01/18/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        35.50    19.00   01/25/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.00    28.50   01/25/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        36.50    19.00   02/01/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        35.50    19.00   02/08/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   02/15/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   02/15/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    19.00   02/22/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   02/22/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   02/29/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   02/29/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    19.00   03/07/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   03/07/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        14.00    19.00   03/14/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   03/14/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        33.50    19.00   03/21/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    19.00   03/28/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.50    19.00   04/04/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   04/04/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    19.00   04/11/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   04/11/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   04/18/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   04/18/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    19.00   04/25/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   04/25/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    19.00   05/02/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   05/09/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        37.00    19.00   05/16/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   05/23/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   05/23/2016   Los   Angeles   CA   East   - Drivers
707737   Case 2:19-cv-08580-JFW-MAA
                    Regular      18.00Document
                                         19.00 38-5    Filed Los
                                                 05/30/2016  03/22/21
                                                                 AngelesPage 448
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
707737              Regular      40.00   19.00 #:1221
                                                 06/06/2016 Los Angeles CA East - Drivers
707737              Overtime        2.00    28.50   06/06/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    19.00   06/13/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   06/13/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.50    19.00   06/20/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    28.50   06/20/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   06/27/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        6.00    28.50   06/27/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   07/04/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.50    28.50   07/04/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        24.00    19.00   07/11/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    28.50   07/11/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   07/18/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        6.00    28.50   07/18/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   07/25/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   07/25/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/01/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        6.50    28.50   08/01/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/08/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   08/08/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/15/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.50    28.50   08/15/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/22/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        6.50    28.50   08/22/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/29/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.50    28.50   08/29/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   09/05/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   09/05/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   09/12/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   09/12/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    19.00   09/19/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   09/19/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   09/26/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.50    19.00   10/03/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   10/17/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   10/17/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   10/24/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.50    28.50   10/24/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        30.00    19.00   10/31/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    19.00   11/07/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        39.50    19.00   11/14/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        24.00    19.00   11/21/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   11/28/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   11/28/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        30.00    19.00   12/05/2016   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   12/05/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        38.50    19.00   12/19/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        25.00    19.00   12/26/2016   Los   Angeles   CA   East   - Drivers
707737              Regular        30.50    19.00   01/02/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        28.50    19.00   01/09/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        24.00    19.00   01/16/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    19.00   01/23/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        33.50    19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    19.00   02/13/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   02/13/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        23.50    19.00   02/20/2017   Los   Angeles   CA   East   - Drivers
707737   Case 2:19-cv-08580-JFW-MAA
                    Overtime      1.50Document
                                         28.50 38-5    Filed Los
                                                 02/20/2017  03/22/21
                                                                 AngelesPage 449
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
707737              Regular      38.00   19.00 #:1222
                                                 02/27/2017 Los Angeles CA East - Drivers
707737              Regular        39.50    19.00   03/06/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   03/06/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        39.50    19.00   03/13/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   03/13/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   03/20/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   03/20/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   03/27/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    28.50   03/27/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    19.00   04/03/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   04/10/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.00    28.50   04/10/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        37.50    19.00   04/17/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    28.50   04/17/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   04/24/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.50    28.50   04/24/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   05/01/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.00    28.50   05/01/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   05/08/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        6.00    28.50   05/08/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   05/15/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.50    28.50   05/15/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   05/22/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.50    28.50   05/22/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   05/29/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   05/29/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   06/05/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        6.00    28.50   06/05/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.50    28.50   06/12/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   06/19/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        5.25    28.50   06/19/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   06/26/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    28.50   06/26/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   07/03/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.00    28.50   07/03/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   07/10/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   07/10/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   07/17/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.00    28.50   07/17/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   07/24/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.00    28.50   07/24/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   07/31/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.00    28.50   07/31/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/07/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    28.50   08/07/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/14/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    28.50   08/14/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/21/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    19.00   08/28/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    19.00   09/04/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.50    28.50   09/04/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        33.50    21.00   09/11/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   09/18/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   09/25/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   09/25/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   10/02/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.50    31.50   10/02/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   10/09/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   10/09/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   10/16/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        37.00    21.00   10/23/2017   Los   Angeles   CA   East   - Drivers
707737   Case 2:19-cv-08580-JFW-MAA
                    Overtime      5.50Document
                                         31.50 38-5    Filed Los
                                                 10/23/2017  03/22/21
                                                                 AngelesPage 450
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
707737              Regular      40.00   21.00 #:1223
                                                 11/06/2017 Los Angeles CA East - Drivers
707737              Regular        40.00    21.00   11/13/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    31.50   11/13/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        24.00    21.00   11/20/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   11/20/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        39.50    21.00   11/27/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.50    31.50   11/27/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        35.50    21.00   12/04/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    31.50   12/04/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   12/11/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   12/11/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   12/18/2017   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.00    31.50   12/18/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   12/25/2017   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   01/01/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   01/08/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    31.50   01/08/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   01/15/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   01/22/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   01/29/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   02/05/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   02/05/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   02/12/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    31.50   02/12/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime       10.00    31.50   02/19/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.75    31.50   02/26/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   03/05/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   03/12/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   03/19/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   03/26/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.25    31.50   03/26/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   04/02/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.25    31.50   04/02/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   04/09/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    31.50   04/09/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   04/16/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   04/16/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   04/23/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    21.00   04/30/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.75    31.50   04/30/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   05/07/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        31.25    21.00   05/14/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   05/21/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   05/28/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   05/28/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    21.00   06/04/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.50    31.50   06/04/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   06/11/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   06/11/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   06/18/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        5.00    31.50   06/18/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    21.00   06/25/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   06/25/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   07/02/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   07/02/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   07/09/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.50    31.50   07/09/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    21.00   07/16/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.75    31.50   07/16/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   07/23/2018   Los   Angeles   CA   East   - Drivers
707737   Case 2:19-cv-08580-JFW-MAA
                    Overtime      1.00Document
                                         31.50 38-5    Filed Los
                                                 07/23/2018  03/22/21
                                                                 AngelesPage 451
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
707737              Regular      38.00   21.00 #:1224
                                                 07/30/2018 Los Angeles CA East - Drivers
707737              Overtime        3.00    31.50   07/30/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        38.00    21.00   08/06/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   08/06/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        35.25    21.00   08/13/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   08/20/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.00    31.50   08/20/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   08/27/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.50    31.50   08/27/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   09/03/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   09/03/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   09/10/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   09/10/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   09/17/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    31.50   09/17/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   10/01/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.25    31.50   10/01/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        35.00    21.00   10/08/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        7.00    31.50   10/08/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   10/15/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   10/22/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        35.50    21.00   10/29/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   10/29/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        36.00    21.00   11/05/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    31.50   11/05/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        31.00    21.00   11/12/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        30.00    21.00   11/19/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        39.75    21.00   11/26/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   11/26/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        37.75    21.00   12/03/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   12/03/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    21.00   12/10/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   12/10/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   12/17/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.50    31.50   12/17/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        38.25    21.00   12/24/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.00    31.50   12/24/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        23.00    21.00   12/31/2018   Los   Angeles   CA   East   - Drivers
707737              Overtime        4.50    31.50   12/31/2018   Los   Angeles   CA   East   - Drivers
707737              Regular        39.75    21.00   01/07/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.75    31.50   01/07/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.50    31.50   01/14/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.50    31.50   01/21/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   01/28/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.75    31.50   01/28/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        2.25    31.50   02/04/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        34.00    21.00   02/11/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        0.50    31.50   02/11/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        32.00    21.00   02/18/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   02/18/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   02/25/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        3.00    31.50   02/25/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   03/04/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        9.75    31.50   03/04/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        29.75    21.00   03/11/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.00    31.50   03/11/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        39.00    21.00   03/18/2019   Los   Angeles   CA   East   - Drivers
707737              Overtime        1.75    31.50   03/18/2019   Los   Angeles   CA   East   - Drivers
707737              Regular        40.00    21.00   03/25/2019   Los   Angeles   CA   East   - Drivers
707737 Case 2:19-cv-08580-JFW-MAA
                  Overtime       4.00Document
                                        31.50 38-5    Filed Los
                                                03/25/2019  03/22/21
                                                                AngelesPage 452
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
707737            Regular       38.00   21.00 #:1225
                                                04/01/2019 Los Angeles CA East - Drivers
707737            Overtime       1.00   31.50 04/01/2019 Los Angeles CA East - Drivers
707737            Regular       38.75   21.00 04/08/2019 Los Angeles CA East - Drivers
707737            Regular       36.00   21.00 04/15/2019 Los Angeles CA East - Drivers
707737            Overtime       4.00   31.50 04/15/2019 Los Angeles CA East - Drivers
707737            Regular       37.50   21.00 04/22/2019 Los Angeles CA East - Drivers
707737            Overtime       0.50   31.50 04/22/2019 Los Angeles CA East - Drivers
707737            Regular       40.00   21.00 04/29/2019 Los Angeles CA East - Drivers
707737            Overtime       5.50   31.50 04/29/2019 Los Angeles CA East - Drivers
707737            Regular       38.75   21.00 05/06/2019 Los Angeles CA East - Drivers
707737            Overtime       2.00   31.50 05/06/2019 Los Angeles CA East - Drivers
707737            Regular       39.50   21.00 05/13/2019 Los Angeles CA East - Drivers
707737            Overtime       1.50   31.50 05/13/2019 Los Angeles CA East - Drivers
707737            Regular       30.50   21.00 05/20/2019 Los Angeles CA East - Drivers
707737            Overtime       0.50   31.50 05/20/2019 Los Angeles CA East - Drivers
707737            Regular       31.50   21.00 05/27/2019 Los Angeles CA East - Drivers
707737            Overtime       3.00   31.50 05/27/2019 Los Angeles CA East - Drivers
707737            Regular       40.00   21.00 06/03/2019 Los Angeles CA East - Drivers
707737            Overtime       3.00   31.50 06/03/2019 Los Angeles CA East - Drivers
707737            Regular       39.00   21.00 06/10/2019 Los Angeles CA East - Drivers
707737            Overtime       1.50   31.50 06/10/2019 Los Angeles CA East - Drivers
707737            Regular       33.50   21.00 06/17/2019 Los Angeles CA East - Drivers
707737            Overtime       1.50   31.50 06/17/2019 Los Angeles CA East - Drivers
707737            Regular       37.00   21.00 06/24/2019 Los Angeles CA East - Drivers
707737            Overtime       1.00   31.50 06/24/2019 Los Angeles CA East - Drivers
707737            Regular       20.00   21.00 07/01/2019 Los Angeles CA East - Drivers
707737            Regular       38.00   21.00 07/08/2019 Los Angeles CA East - Drivers
707737            Overtime       2.00   31.50 07/08/2019 Los Angeles CA East - Drivers
707737            Regular       31.00   21.00 07/15/2019 Los Angeles CA East - Drivers
707737            Regular       39.00   21.00 07/22/2019 Los Angeles CA East - Drivers
707737            Overtime       3.45   31.50 07/15/2019 Los Angeles CA East - Drivers
707737            Regular       34.00   21.00 07/29/2019 Los Angeles CA East - Drivers
707737            Overtime       1.00   31.50 07/29/2019 Los Angeles CA East - Drivers
707737            Regular       22.00   21.00 08/05/2019 Los Angeles CA East - Drivers
707737            Overtime       1.75   31.50 08/05/2019 Los Angeles CA East - Drivers
Total for 707737             7,894.25
1295371           Regular       24.00   20.00 03/28/2016 Los Angeles CA West - Drivers
1295371           Overtime       7.25   30.00 03/28/2016 Los Angeles CA West - Drivers
1295371           Regular       23.75   20.00 04/04/2016 Los Angeles CA West - Drivers
1295371           Overtime       3.50   30.00 04/04/2016 Los Angeles CA West - Drivers
1295371           Regular       32.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1295371           Overtime       9.50   30.00 04/11/2016 Los Angeles CA West - Drivers
1295371           Regular       16.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1295371           Overtime       4.75   30.00 04/18/2016 Los Angeles CA West - Drivers
1295371           Regular       27.25   20.00 04/25/2016 Los Angeles CA West - Drivers
1295371           Overtime       1.25   30.00 04/25/2016 Los Angeles CA West - Drivers
1295371           Regular       24.00   20.00 05/02/2016 Los Angeles CA West - Drivers
1295371           Overtime      10.25   30.00 05/02/2016 Los Angeles CA West - Drivers
1295371           Regular       22.50   20.00 05/09/2016 Los Angeles CA West - Drivers
1295371           Overtime       4.50   30.00 05/09/2016 Los Angeles CA West - Drivers
1295371           Regular       24.00   20.00 05/16/2016 Los Angeles CA West - Drivers
1295371           Overtime       5.50   30.00 05/16/2016 Los Angeles CA West - Drivers
1295371           Regular       36.75   20.00 05/23/2016 Los Angeles CA West - Drivers
1295371           Overtime       9.75   30.00 05/23/2016 Los Angeles CA West - Drivers
1295371           Regular        8.00   20.00 05/30/2016 Los Angeles CA West - Drivers
1295371           Overtime       5.00   30.00 05/30/2016 Los Angeles CA West - Drivers
1295371           Regular       31.50   20.00 06/06/2016 Los Angeles CA West - Drivers
1295371           Overtime       7.50   30.00 06/06/2016 Los Angeles CA West - Drivers
1295371           Regular       37.75   20.00 06/13/2016 Los Angeles CA West - Drivers
1295371           Overtime       2.50   30.00 06/13/2016 Los Angeles CA West - Drivers
1295371           Regular       38.25   20.00 06/20/2016 Los Angeles CA West - Drivers
1295371           Overtime       4.75   30.00 06/20/2016 Los Angeles CA West - Drivers
1295371 Case 2:19-cv-08580-JFW-MAA
                   Regular       7.75Document
                                        20.00 38-5    Filed Los
                                                06/27/2016  03/22/21
                                                                AngelesPage 453- Drivers
                                                                       CA West   of 691    Page ID
1295371            Regular      16.00   20.00 #:1226
                                                07/04/2016 Los Angeles CA West - Drivers
1295371            Overtime      1.50   30.00 07/04/2016 Los Angeles CA West - Drivers
1295371            Regular      21.25   20.00 07/11/2016 Los Angeles CA West - Drivers
1295371            Overtime      2.75   30.00 07/11/2016 Los Angeles CA West - Drivers
1295371            Regular       8.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1295371            Overtime      0.50   30.00 07/18/2016 Los Angeles CA West - Drivers
1295371            Regular      14.75   16.00 05/16/2016 Los Angeles CA West - Drivers
Total for 1295371              494.25
1204837            Regular      31.50   19.00 10/19/2015 Los Angeles CA East - Drivers
1204837            Overtime      3.50   28.50 10/19/2015 Los Angeles CA East - Drivers
1204837            Regular       7.25   19.50 06/20/2016 Los Angeles CA East - Drivers
Total for 1204837               42.25
2599187            Regular      10.50   22.00 10/15/2018 Los Angeles CA West - Drivers
2599187            Regular      40.00   22.00 10/22/2018 Los Angeles CA West - Drivers
2599187            Overtime     20.00   33.00 10/22/2018 Los Angeles CA West - Drivers
2599187            Regular      40.00   22.00 10/29/2018 Los Angeles CA West - Drivers
2599187            Overtime      6.50   33.00 10/29/2018 Los Angeles CA West - Drivers
2599187            Regular      32.00   22.00 11/05/2018 Los Angeles CA West - Drivers
2599187            Overtime      7.50   33.00 11/05/2018 Los Angeles CA West - Drivers
2599187            Regular      32.00   22.00 11/12/2018 Los Angeles CA West - Drivers
2599187            Overtime      8.75   33.00 11/12/2018 Los Angeles CA West - Drivers
2599187            Regular       8.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2599187            Overtime      4.00   30.00 10/08/2018 Los Angeles CA West - Drivers
2599187            Regular      16.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2599187            Overtime      2.25   30.00 10/08/2018 Los Angeles CA West - Drivers
Total for 2599187              227.50
1419352            Regular       5.00   20.00 10/10/2016 Los Angeles CA East - Drivers
Total for 1419352                5.00
769106             Regular       7.00   23.50 03/05/2018 Sacramento CA - Drivers
769106             Regular      16.00   23.50 03/12/2018 Sacramento CA - Drivers
769106             Overtime      1.75   35.25 03/12/2018 Sacramento CA - Drivers
769106             Regular      20.80   23.50 03/19/2018 Sacramento CA - Drivers
769106             Regular       6.00   23.50 03/26/2018 Sacramento CA - Drivers
769106             Regular      14.25   23.50 04/02/2018 Sacramento CA - Drivers
769106             Overtime      2.00   35.25 04/02/2018 Sacramento CA - Drivers
769106             Regular      14.00   23.50 04/23/2018 Sacramento CA - Drivers
769106             Overtime      2.50   35.25 04/23/2018 Sacramento CA - Drivers
Total for 769106                84.30
1376758            Regular      22.50   20.00 08/29/2016 Los Angeles CA West - Drivers
1376758            Overtime      1.00   30.00 08/29/2016 Los Angeles CA West - Drivers
1376758            Regular      24.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1376758            Overtime      2.50   30.00 09/05/2016 Los Angeles CA West - Drivers
1376758            Regular      31.00   20.00 09/12/2016 Los Angeles CA West - Drivers
1376758            Overtime      3.00   30.00 09/12/2016 Los Angeles CA West - Drivers
1376758            Regular      32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1376758            Overtime      2.50   30.00 09/19/2016 Los Angeles CA West - Drivers
1376758            Regular      32.00   20.00 09/26/2016 Los Angeles CA West - Drivers
1376758            Overtime      9.00   30.00 09/26/2016 Los Angeles CA West - Drivers
1376758            Regular      24.00   20.00 10/03/2016 Los Angeles CA West - Drivers
1376758            Overtime      6.25   30.00 10/03/2016 Los Angeles CA West - Drivers
1376758            Regular      32.00   20.00 10/10/2016 Los Angeles CA West - Drivers
1376758            Overtime     17.50   30.00 10/10/2016 Los Angeles CA West - Drivers
1376758            Regular      32.00   20.00 10/17/2016 Los Angeles CA West - Drivers
1376758            Overtime     10.75   30.00 10/17/2016 Los Angeles CA West - Drivers
1376758            Regular      24.00   20.00 10/24/2016 Los Angeles CA West - Drivers
1376758            Overtime     13.25   30.00 10/24/2016 Los Angeles CA West - Drivers
1376758            Regular      29.75   20.00 10/31/2016 Los Angeles CA West - Drivers
1376758            Overtime     14.75   30.00 10/31/2016 Los Angeles CA West - Drivers
1376758            Regular      24.00   20.00 11/07/2016 Los Angeles CA West - Drivers
1376758            Overtime     11.00   30.00 11/07/2016 Los Angeles CA West - Drivers
1376758            Regular      24.00   20.00 11/14/2016 Los Angeles CA West - Drivers
1376758            Overtime     11.75   30.00 11/14/2016 Los Angeles CA West - Drivers
1376758 Case 2:19-cv-08580-JFW-MAA
                   Regular       13.75Document
                                         20.00 38-5    Filed Los
                                                 11/21/2016  03/22/21
                                                                 AngelesPage 454- Drivers
                                                                        CA West   of 691    Page ID
1376758            Overtime       5.50   30.00 #:1227
                                                 11/21/2016 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 11/28/2016 Los Angeles CA West - Drivers
1376758            Overtime      10.50   30.00 11/28/2016 Los Angeles CA West - Drivers
1376758            Regular       16.00   20.00 12/05/2016 Los Angeles CA West - Drivers
1376758            Overtime       8.50   30.00 12/05/2016 Los Angeles CA West - Drivers
1376758            Regular       31.00   20.00 12/19/2016 Los Angeles CA West - Drivers
1376758            Overtime      25.50   30.00 12/19/2016 Los Angeles CA West - Drivers
1376758            Regular       28.25   20.00 12/26/2016 Los Angeles CA West - Drivers
1376758            Overtime      11.25   30.00 12/26/2016 Los Angeles CA West - Drivers
1376758            Regular       32.00   20.00 01/02/2017 Los Angeles CA West - Drivers
1376758            Overtime       8.50   30.00 01/02/2017 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 01/09/2017 Los Angeles CA West - Drivers
1376758            Overtime      13.25   30.00 01/09/2017 Los Angeles CA West - Drivers
1376758            Regular       32.00   20.00 01/16/2017 Los Angeles CA West - Drivers
1376758            Overtime      11.50   30.00 01/16/2017 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 01/23/2017 Los Angeles CA West - Drivers
1376758            Overtime      10.75   30.00 01/23/2017 Los Angeles CA West - Drivers
1376758            Regular       16.00   20.00 01/30/2017 Los Angeles CA West - Drivers
1376758            Overtime       7.00   30.00 01/30/2017 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 02/27/2017 Los Angeles CA West - Drivers
1376758            Overtime       5.75   30.00 02/27/2017 Los Angeles CA West - Drivers
1376758            Regular       16.00   20.00 03/06/2017 Los Angeles CA West - Drivers
1376758            Overtime       4.75   30.00 03/06/2017 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 03/13/2017 Los Angeles CA West - Drivers
1376758            Overtime       3.50   30.00 03/13/2017 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 03/20/2017 Los Angeles CA West - Drivers
1376758            Overtime      12.00   30.00 03/20/2017 Los Angeles CA West - Drivers
1376758            Regular       32.00   20.00 03/27/2017 Los Angeles CA West - Drivers
1376758            Overtime       9.00   30.00 03/27/2017 Los Angeles CA West - Drivers
1376758            Regular       23.50   20.00 04/03/2017 Los Angeles CA West - Drivers
1376758            Overtime       5.00   30.00 04/03/2017 Los Angeles CA West - Drivers
1376758            Regular       16.00   20.00 04/10/2017 Los Angeles CA West - Drivers
1376758            Overtime       5.00   30.00 04/10/2017 Los Angeles CA West - Drivers
1376758            Regular        8.00   20.00 04/17/2017 Los Angeles CA West - Drivers
1376758            Overtime       4.50   30.00 04/17/2017 Los Angeles CA West - Drivers
1376758            Regular       32.00   20.00 05/22/2017 Los Angeles CA West - Drivers
1376758            Overtime      10.50   30.00 05/22/2017 Los Angeles CA West - Drivers
1376758            Regular       23.50   20.00 05/29/2017 Los Angeles CA West - Drivers
1376758            Overtime       3.00   30.00 05/29/2017 Los Angeles CA West - Drivers
1376758            Regular       16.00   20.00 06/05/2017 Los Angeles CA West - Drivers
1376758            Overtime       5.50   30.00 06/05/2017 Los Angeles CA West - Drivers
1376758            Regular       40.00   20.00 06/12/2017 Los Angeles CA West - Drivers
1376758            Overtime      14.00   30.00 06/12/2017 Los Angeles CA West - Drivers
1376758            Regular       40.00   20.00 06/19/2017 Los Angeles CA West - Drivers
1376758            Overtime      11.75   30.00 06/19/2017 Los Angeles CA West - Drivers
1376758            Regular       32.00   20.00 06/26/2017 Los Angeles CA West - Drivers
1376758            Overtime       8.25   30.00 06/26/2017 Los Angeles CA West - Drivers
1376758            Regular        8.00   20.00 07/03/2017 Los Angeles CA West - Drivers
1376758            Overtime       2.75   30.00 07/03/2017 Los Angeles CA West - Drivers
1376758            Regular       24.00   20.00 07/17/2017 Los Angeles CA West - Drivers
1376758            Overtime       6.75   30.00 07/17/2017 Los Angeles CA West - Drivers
1376758            Regular       31.00   20.00 07/24/2017 Los Angeles CA West - Drivers
1376758            Overtime      12.00   30.00 07/24/2017 Los Angeles CA West - Drivers
1376758            Regular        8.00   20.00 07/31/2017 Los Angeles CA West - Drivers
Total for 1376758             1,333.75
2760853            Regular       16.00   21.00 08/12/2019 Los Angeles CA East - Drivers
2760853            Overtime       2.50   31.50 08/12/2019 Los Angeles CA East - Drivers
2760853            Regular        1.00   21.00 08/12/2019 Los Angeles CA East - Drivers
Total for 2760853                19.50
2643175            Regular       40.00   21.00 12/03/2018 zz - San Francisco CA - Drivers
2643175            Overtime       3.50   31.50 12/03/2018 zz - San Francisco CA - Drivers
2643175            Regular       24.00   21.00 12/10/2018 zz - San Francisco CA - Drivers
2643175 Case 2:19-cv-08580-JFW-MAA
                   Overtime      2.25Document
                                        31.50 38-5    Filed zz
                                                12/10/2018  03/22/21    Page CA
                                                               - San Francisco 455- Drivers
                                                                                    of 691    Page ID
2643175            Regular      40.00   21.00 #:1228
                                                12/17/2018 zz - San Francisco CA - Drivers
2643175            Overtime     12.00   31.50 12/17/2018 zz - San Francisco CA - Drivers
2643175            Regular      32.00   21.00 12/24/2018 zz - San Francisco CA - Drivers
2643175            Overtime      8.00   31.50 12/24/2018 zz - San Francisco CA - Drivers
2643175            Regular      24.00   21.00 12/31/2018 zz - San Francisco CA - Drivers
2643175            Overtime      4.50   31.50 12/31/2018 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 01/07/2019 zz - San Francisco CA - Drivers
2643175            Overtime      3.00   31.50 01/07/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 01/14/2019 zz - San Francisco CA - Drivers
2643175            Overtime      8.00   31.50 01/14/2019 zz - San Francisco CA - Drivers
2643175            Regular      16.00   21.00 01/21/2019 zz - San Francisco CA - Drivers
2643175            Overtime      1.00   31.50 01/21/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 01/28/2019 zz - San Francisco CA - Drivers
2643175            Overtime      5.00   31.50 01/28/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 02/04/2019 zz - San Francisco CA - Drivers
2643175            Overtime      7.00   31.50 02/04/2019 zz - San Francisco CA - Drivers
2643175            Regular      16.00   21.00 02/11/2019 zz - San Francisco CA - Drivers
2643175            Overtime      2.00   31.50 02/11/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 02/18/2019 zz - San Francisco CA - Drivers
2643175            Overtime      4.50   31.50 02/18/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 02/25/2019 zz - San Francisco CA - Drivers
2643175            Overtime      5.50   31.50 02/25/2019 zz - San Francisco CA - Drivers
2643175            Regular      32.00   21.00 03/04/2019 zz - San Francisco CA - Drivers
2643175            Overtime      8.50   31.50 03/04/2019 zz - San Francisco CA - Drivers
2643175            Regular      32.00   21.00 03/11/2019 zz - San Francisco CA - Drivers
2643175            Overtime      6.50   31.50 03/11/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 03/18/2019 zz - San Francisco CA - Drivers
2643175            Overtime      5.50   31.50 03/18/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 03/25/2019 zz - San Francisco CA - Drivers
2643175            Overtime      9.50   31.50 03/25/2019 zz - San Francisco CA - Drivers
2643175            Regular      40.00   21.00 04/01/2019 zz - San Francisco CA - Drivers
2643175            Overtime      6.00   31.50 04/01/2019 zz - San Francisco CA - Drivers
Total for 2643175              718.25
2506821            Regular      25.00   23.00 03/04/2019 Sacramento CA - Drivers
2506821            Regular      27.50   23.00 03/11/2019 Sacramento CA - Drivers
2506821            Regular      27.25   23.00 03/18/2019 Sacramento CA - Drivers
2506821            Regular      27.75   23.00 03/25/2019 Sacramento CA - Drivers
2506821            Regular      33.50   23.00 04/01/2019 Sacramento CA - Drivers
2506821            Regular      32.50   23.00 04/08/2019 Sacramento CA - Drivers
2506821            Regular      19.00   23.00 04/15/2019 Sacramento CA - Drivers
2506821            Regular      29.00   23.00 04/22/2019 Sacramento CA - Drivers
2506821            Regular      16.00   23.00 04/29/2019 Sacramento CA - Drivers
2506821            Regular      17.00   23.00 05/06/2019 Sacramento CA - Drivers
2506821            Regular       8.00   20.00 06/04/2018 Sacramento CA - Drivers
2506821            Overtime      4.00   30.00 06/04/2018 Sacramento CA - Drivers
2506821            Regular       8.00   20.00 06/11/2018 Sacramento CA - Drivers
2506821            Overtime      4.00   30.00 06/11/2018 Sacramento CA - Drivers
2506821            Regular       2.00   21.00 07/29/2019 Sacramento CA - Drivers
2506821            Regular      18.50   20.50 04/16/2018 Sacramento CA - Drivers
2506821            Overtime      7.75   30.75 04/16/2018 Sacramento CA - Drivers
2506821            Regular      34.40   20.50 04/23/2018 Sacramento CA - Drivers
2506821            Overtime      5.10   30.75 04/23/2018 Sacramento CA - Drivers
2506821            Regular      25.00   20.50 04/30/2018 Sacramento CA - Drivers
2506821            Overtime      8.00   30.75 04/30/2018 Sacramento CA - Drivers
2506821            Regular      26.20   20.50 05/07/2018 Sacramento CA - Drivers
2506821            Overtime      6.75   30.75 05/07/2018 Sacramento CA - Drivers
2506821            Regular      26.20   20.50 05/14/2018 Sacramento CA - Drivers
2506821            Overtime      5.50   30.75 05/14/2018 Sacramento CA - Drivers
2506821            Regular      24.00   20.50 05/21/2018 Sacramento CA - Drivers
2506821            Overtime      7.05   30.75 05/21/2018 Sacramento CA - Drivers
2506821            Regular      16.00   20.50 05/28/2018 Sacramento CA - Drivers
2506821            Overtime      8.00   30.75 05/28/2018 Sacramento CA - Drivers
2506821 Case   2:19-cv-08580-JFW-MAA
                     Regular      16.00Document
                                          20.50 38-5    Filed Sacramento
                                                  06/04/2018  03/22/21 Page    456 of 691 Page ID
                                                                         CA - Drivers
2506821              Overtime      4.90   30.75 #:1229
                                                  06/04/2018 Sacramento CA - Drivers
2506821             Regular        24.00    20.50   06/11/2018   Sacramento   CA   - Drivers
2506821             Overtime        8.00    30.75   06/11/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   06/18/2018   Sacramento   CA   - Drivers
2506821             Overtime        9.70    30.75   06/18/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   06/25/2018   Sacramento   CA   - Drivers
2506821             Overtime        5.60    30.75   06/25/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   07/02/2018   Sacramento   CA   - Drivers
2506821             Overtime        4.00    30.75   07/02/2018   Sacramento   CA   - Drivers
2506821             Regular        16.00    20.50   07/09/2018   Sacramento   CA   - Drivers
2506821             Overtime        5.10    30.75   07/09/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   07/16/2018   Sacramento   CA   - Drivers
2506821             Overtime        8.70    30.75   07/16/2018   Sacramento   CA   - Drivers
2506821             Regular        29.40    20.50   07/23/2018   Sacramento   CA   - Drivers
2506821             Overtime        9.80    30.75   07/23/2018   Sacramento   CA   - Drivers
2506821             Regular        16.00    20.50   07/30/2018   Sacramento   CA   - Drivers
2506821             Overtime        8.00    30.75   07/30/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   08/06/2018   Sacramento   CA   - Drivers
2506821             Overtime       10.00    30.75   08/06/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   08/13/2018   Sacramento   CA   - Drivers
2506821             Overtime        2.10    30.75   08/13/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   08/20/2018   Sacramento   CA   - Drivers
2506821             Overtime        9.10    30.75   08/20/2018   Sacramento   CA   - Drivers
2506821             Regular        16.00    20.50   08/27/2018   Sacramento   CA   - Drivers
2506821             Overtime        7.80    30.75   08/27/2018   Sacramento   CA   - Drivers
2506821             Regular        16.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2506821             Overtime        6.75    30.75   09/03/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   09/10/2018   Sacramento   CA   - Drivers
2506821             Overtime        4.00    30.75   09/10/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   09/17/2018   Sacramento   CA   - Drivers
2506821             Overtime        2.60    30.75   09/17/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   09/24/2018   Sacramento   CA   - Drivers
2506821             Overtime       10.10    30.75   09/24/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2506821             Overtime        9.50    30.75   10/01/2018   Sacramento   CA   - Drivers
2506821             Regular        32.00    20.50   10/08/2018   Sacramento   CA   - Drivers
2506821             Overtime        7.80    30.75   10/08/2018   Sacramento   CA   - Drivers
2506821             Regular        32.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2506821             Overtime       11.00    30.75   10/15/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   10/22/2018   Sacramento   CA   - Drivers
2506821             Overtime        4.00    30.75   10/22/2018   Sacramento   CA   - Drivers
2506821             Regular        32.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2506821             Overtime       11.10    30.75   10/29/2018   Sacramento   CA   - Drivers
2506821             Regular        32.00    20.50   11/05/2018   Sacramento   CA   - Drivers
2506821             Overtime       12.70    30.75   11/05/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   11/12/2018   Sacramento   CA   - Drivers
2506821             Overtime        4.00    30.75   11/12/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   11/26/2018   Sacramento   CA   - Drivers
2506821             Regular        32.00    20.50   12/10/2018   Sacramento   CA   - Drivers
2506821             Overtime        0.10    30.75   12/10/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   12/17/2018   Sacramento   CA   - Drivers
2506821             Overtime        2.00    30.75   12/17/2018   Sacramento   CA   - Drivers
2506821             Regular         8.00    20.50   12/24/2018   Sacramento   CA   - Drivers
2506821             Overtime        3.40    30.75   12/24/2018   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   12/31/2018   Sacramento   CA   - Drivers
2506821             Overtime        3.30    30.75   12/31/2018   Sacramento   CA   - Drivers
2506821             Regular        16.00    20.50   01/07/2019   Sacramento   CA   - Drivers
2506821             Overtime        7.20    30.75   01/07/2019   Sacramento   CA   - Drivers
2506821             Regular        24.00    20.50   01/21/2019   Sacramento   CA   - Drivers
2506821             Overtime        4.30    30.75   01/21/2019   Sacramento   CA   - Drivers
2506821             Regular        16.00    20.50   01/28/2019   Sacramento   CA   - Drivers
2506821             Overtime        4.40    30.75   01/28/2019   Sacramento   CA   - Drivers
2506821 Case 2:19-cv-08580-JFW-MAA
                   Regular       16.00Document
                                         20.50 38-5    Filed Sacramento
                                                 02/04/2019  03/22/21 Page    457 of 691
                                                                        CA - Drivers       Page ID
2506821            Overtime       2.90   30.75 #:1230
                                                 02/04/2019 Sacramento CA - Drivers
2506821            Regular       16.00   22.00 05/13/2019 Sacramento CA - Drivers
2506821            Overtime       1.50   33.00 05/13/2019 Sacramento CA - Drivers
2506821            Regular       40.00   22.00 05/20/2019 Sacramento CA - Drivers
2506821            Overtime      14.50   33.00 05/20/2019 Sacramento CA - Drivers
2506821            Regular       40.00   22.00 05/27/2019 Sacramento CA - Drivers
2506821            Overtime       8.00   33.00 05/27/2019 Sacramento CA - Drivers
2506821            Regular       40.00   22.00 06/03/2019 Sacramento CA - Drivers
2506821            Overtime      17.25   33.00 06/03/2019 Sacramento CA - Drivers
2506821            Regular       40.00   22.00 06/10/2019 Sacramento CA - Drivers
2506821            Overtime      19.50   33.00 06/10/2019 Sacramento CA - Drivers
2506821            Regular       40.00   22.00 06/17/2019 Sacramento CA - Drivers
2506821            Overtime      17.00   33.00 06/17/2019 Sacramento CA - Drivers
2506821            Regular       40.00   22.00 06/24/2019 Sacramento CA - Drivers
2506821            Overtime      18.25   33.00 06/24/2019 Sacramento CA - Drivers
2506821            Regular       32.00   22.00 07/01/2019 Sacramento CA - Drivers
2506821            Overtime       8.00   33.00 07/01/2019 Sacramento CA - Drivers
2506821            Regular       32.00   22.00 07/08/2019 Sacramento CA - Drivers
2506821            Overtime       3.25   33.00 07/08/2019 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 12/10/2018 Sacramento CA - Drivers
2506821            Overtime       0.50   34.50 12/10/2018 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 12/24/2018 Sacramento CA - Drivers
2506821            Overtime       3.50   34.50 12/24/2018 Sacramento CA - Drivers
2506821            Regular       16.00   23.00 12/31/2018 Sacramento CA - Drivers
2506821            Overtime       7.00   34.50 12/31/2018 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 01/07/2019 Sacramento CA - Drivers
2506821            Overtime       3.50   34.50 01/07/2019 Sacramento CA - Drivers
2506821            Regular       32.00   23.00 01/14/2019 Sacramento CA - Drivers
2506821            Overtime       4.50   34.50 01/14/2019 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 01/21/2019 Sacramento CA - Drivers
2506821            Overtime       3.50   34.50 01/21/2019 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 01/28/2019 Sacramento CA - Drivers
2506821            Overtime       3.50   34.50 01/28/2019 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 02/04/2019 Sacramento CA - Drivers
2506821            Overtime       3.50   34.50 02/04/2019 Sacramento CA - Drivers
2506821            Regular        8.00   22.00 05/13/2019 Sacramento CA - Drivers
2506821            Regular       16.00   23.00 08/05/2019 Sacramento CA - Drivers
2506821            Overtime       7.00   34.50 08/05/2019 Sacramento CA - Drivers
2506821            Regular       16.00   23.00 08/12/2019 Sacramento CA - Drivers
2506821            Overtime       7.00   34.50 08/12/2019 Sacramento CA - Drivers
2506821            Regular       16.00   22.00 08/19/2019 Sacramento CA - Drivers
2506821            Overtime       7.00   33.00 08/19/2019 Sacramento CA - Drivers
2506821            Regular        8.00   23.00 08/26/2019 Sacramento CA - Drivers
Total for 2506821             1,970.05
2278111            Regular        8.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2278111            Overtime       4.00   28.50 06/19/2017 Los Angeles CA West - Drivers
Total for 2278111                12.00
2579337            Regular        8.00   23.00 01/14/2019 Los Angeles CA West - Drivers
2579337            Overtime       1.00   34.50 01/14/2019 Los Angeles CA West - Drivers
2579337            Regular       11.50   12.00 10/29/2018 Los Angeles CA West - Drivers
2579337            Regular        6.00   12.00 11/05/2018 Los Angeles CA West - Drivers
2579337            Regular       10.00   21.00 08/13/2018 Los Angeles CA West - Drivers
2579337            Regular       24.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2579337            Overtime       4.50   30.00 09/24/2018 Los Angeles CA West - Drivers
2579337            Regular        8.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2579337            Overtime       1.00   30.00 10/15/2018 Los Angeles CA West - Drivers
2579337            Regular       10.00   20.50 12/10/2018 Los Angeles CA West - Drivers
2579337            Regular       32.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2579337            Overtime       7.75   30.75 12/17/2018 Los Angeles CA West - Drivers
2579337            Regular        4.00   21.00 09/24/2018 Los Angeles CA West - Drivers
2579337            Regular        8.00   40.22 05/13/2019 Los Angeles CA West - Drivers
2579337            Overtime       3.00   60.33 05/13/2019 Los Angeles CA West - Drivers
2579337 Case   2:19-cv-08580-JFW-MAA
                     Regular       8.00Document
                                          41.22 38-5    Filed Los
                                                  08/12/2019  03/22/21
                                                                  AngelesPage 458- Drivers
                                                                         CA West   of 691 Page ID
2579337              Overtime      2.25   61.83 #:1231
                                                  08/12/2019 Los Angeles CA West - Drivers
2579337             Regular        18.50    21.85   08/13/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular         9.00    21.85   04/01/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        15.75    21.85   04/15/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        24.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime        3.00    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    20.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime        5.00    30.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    20.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime        5.50    30.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    20.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime        2.00    30.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        2.00    31.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        4.00    31.50   02/11/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        7.50    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        5.00    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        24.00    21.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        7.00    31.50   04/29/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        7.50    31.50   05/06/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        7.75    31.50   05/13/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime       11.00    31.50   05/20/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    21.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        4.00    31.50   05/27/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        8.00    31.50   06/03/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime       11.00    31.50   06/10/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        9.00    31.50   06/17/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        9.75    31.50   06/24/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        5.50    31.50   07/01/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        9.25    31.50   07/08/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        9.75    31.50   07/15/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        8.75    31.50   07/22/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime       15.50    31.50   07/29/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        8.50    31.50   08/05/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        32.00    21.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime        8.25    31.50   08/12/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    21.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2579337             Overtime       11.25    31.50   08/19/2019   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime        8.50    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime       11.50    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        16.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2579337             Overtime        2.25    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2579337             Regular        24.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2579337 Case 2:19-cv-08580-JFW-MAA
                   Overtime       5.00Document
                                         33.00 38-5    Filed Los
                                                 11/05/2018  03/22/21
                                                                 AngelesPage 459- Drivers
                                                                        CA West   of 691    Page ID
2579337            Regular       40.00   22.00 #:1232
                                                 11/12/2018 Los Angeles CA West - Drivers
2579337            Overtime      10.00   33.00 11/12/2018 Los Angeles CA West - Drivers
2579337            Regular       32.00   22.00 11/19/2018 Los Angeles CA West - Drivers
2579337            Overtime      12.00   33.00 11/19/2018 Los Angeles CA West - Drivers
2579337            Regular       40.00   22.00 11/26/2018 Los Angeles CA West - Drivers
2579337            Overtime      11.00   33.00 11/26/2018 Los Angeles CA West - Drivers
2579337            Regular       40.00   22.00 12/03/2018 Los Angeles CA West - Drivers
2579337            Overtime      14.00   33.00 12/03/2018 Los Angeles CA West - Drivers
2579337            Regular        8.00   22.00 12/10/2018 Los Angeles CA West - Drivers
2579337            Overtime       2.00   33.00 12/10/2018 Los Angeles CA West - Drivers
Total for 2579337             1,534.25
2597113            Regular        8.00   22.50 07/15/2019 Los Angeles CA West - Drivers
2597113            Overtime       4.00   33.75 07/15/2019 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.50 12/24/2018 Los Angeles CA West - Drivers
2597113            Overtime       4.00   30.75 12/24/2018 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.50 12/24/2018 Los Angeles CA West - Drivers
2597113            Overtime       4.00   30.75 12/24/2018 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.50 02/11/2019 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.50 09/03/2018 Los Angeles CA West - Drivers
2597113            Overtime       1.50   30.75 09/03/2018 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2597113            Overtime       1.00   30.75 12/17/2018 Los Angeles CA West - Drivers
2597113            Regular        8.00   20.50 12/31/2018 Los Angeles CA West - Drivers
2597113            Overtime       1.00   30.75 12/31/2018 Los Angeles CA West - Drivers
2597113            Regular       32.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2597113            Overtime       7.25   30.00 09/24/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2597113            Overtime       8.50   30.00 10/01/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2597113            Overtime      10.25   30.00 10/08/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   22.00 10/15/2018 Los Angeles CA West - Drivers
2597113            Overtime      14.00   33.00 10/15/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   22.00 10/22/2018 Los Angeles CA West - Drivers
2597113            Overtime      28.50   33.00 10/22/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   22.00 10/29/2018 Los Angeles CA West - Drivers
2597113            Overtime      32.00   33.00 10/29/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   22.00 11/05/2018 Los Angeles CA West - Drivers
2597113            Overtime      26.25   33.00 11/05/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   22.00 11/12/2018 Los Angeles CA West - Drivers
2597113            Overtime      26.50   33.00 11/12/2018 Los Angeles CA West - Drivers
2597113            Regular       24.00   22.00 11/19/2018 Los Angeles CA West - Drivers
2597113            Overtime      11.00   33.00 11/19/2018 Los Angeles CA West - Drivers
2597113            Regular       37.00   22.00 11/26/2018 Los Angeles CA West - Drivers
2597113            Overtime      12.50   33.00 11/26/2018 Los Angeles CA West - Drivers
2597113            Regular       24.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2597113            Overtime       2.25   31.50 12/03/2018 Los Angeles CA West - Drivers
2597113            Regular       16.00   20.50 04/22/2019 Los Angeles CA West - Drivers
2597113            Overtime       4.00   30.75 04/22/2019 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.50 05/06/2019 Los Angeles CA West - Drivers
2597113            Overtime       1.00   30.75 05/06/2019 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.50 05/13/2019 Los Angeles CA West - Drivers
2597113            Overtime       0.50   30.75 05/13/2019 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.50 05/20/2019 Los Angeles CA West - Drivers
2597113            Regular       32.00   20.50 05/27/2019 Los Angeles CA West - Drivers
2597113            Regular       32.00   20.50 06/03/2019 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.50 06/10/2019 Los Angeles CA West - Drivers
2597113            Regular       32.00   20.50 06/17/2019 Los Angeles CA West - Drivers
2597113            Regular       40.00   20.50 06/24/2019 Los Angeles CA West - Drivers
2597113            Regular       32.00   20.50 07/01/2019 Los Angeles CA West - Drivers
2597113            Overtime       2.00   30.75 07/01/2019 Los Angeles CA West - Drivers
2597113            Regular       32.00   20.50 07/08/2019 Los Angeles CA West - Drivers
2597113 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         21.00 38-5    Filed Los
                                                 09/17/2018  03/22/21
                                                                 AngelesPage 460- Drivers
                                                                        CA West   of 691    Page ID
2597113            Overtime       1.00   31.50 #:1233
                                                 09/17/2018 Los Angeles CA West - Drivers
2597113            Regular        8.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2597113            Overtime       4.00   33.00 12/17/2018 Los Angeles CA West - Drivers
2597113            Regular       40.00   22.00 04/29/2019 Los Angeles CA West - Drivers
2597113            Overtime       2.00   33.00 04/29/2019 Los Angeles CA West - Drivers
Total for 2597113             1,126.00
2468750            Regular        8.00   21.00 09/17/2018 Los Angeles CA East - Drivers
2468750            Overtime       3.50   31.50 09/17/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 08/27/2018 Los Angeles CA East - Drivers
2468750            Overtime       5.00   31.50 08/27/2018 Los Angeles CA East - Drivers
2468750            Regular        8.00   21.00 09/03/2018 Los Angeles CA East - Drivers
2468750            Overtime       4.00   31.50 09/03/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 09/24/2018 Los Angeles CA East - Drivers
2468750            Overtime      12.50   31.50 09/24/2018 Los Angeles CA East - Drivers
2468750            Regular       22.00   21.00 10/01/2018 Los Angeles CA East - Drivers
2468750            Overtime       4.00   31.50 10/01/2018 Los Angeles CA East - Drivers
2468750            Regular       57.00   21.00 10/08/2018 Los Angeles CA East - Drivers
2468750            Overtime       8.00   31.50 10/08/2018 Los Angeles CA East - Drivers
2468750            Regular       32.00   21.00 10/15/2018 Los Angeles CA East - Drivers
2468750            Overtime       6.75   31.50 10/15/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 10/29/2018 Los Angeles CA East - Drivers
2468750            Overtime      12.75   31.50 10/29/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 11/05/2018 Los Angeles CA East - Drivers
2468750            Overtime      13.75   31.50 11/05/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 11/12/2018 Los Angeles CA East - Drivers
2468750            Overtime      18.25   31.50 11/12/2018 Los Angeles CA East - Drivers
2468750            Regular       24.00   21.00 11/19/2018 Los Angeles CA East - Drivers
2468750            Overtime       8.75   31.50 11/19/2018 Los Angeles CA East - Drivers
2468750            Regular       24.00   21.00 11/26/2018 Los Angeles CA East - Drivers
2468750            Overtime      12.00   31.50 11/26/2018 Los Angeles CA East - Drivers
2468750            Regular       32.00   21.00 12/03/2018 Los Angeles CA East - Drivers
2468750            Overtime      10.75   31.50 12/03/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 12/10/2018 Los Angeles CA East - Drivers
2468750            Overtime      18.75   31.50 12/10/2018 Los Angeles CA East - Drivers
2468750            Regular       23.00   21.00 12/17/2018 Los Angeles CA East - Drivers
2468750            Overtime       8.00   31.50 12/17/2018 Los Angeles CA East - Drivers
2468750            Regular       24.00   21.00 12/24/2018 Los Angeles CA East - Drivers
2468750            Overtime      12.00   31.50 12/24/2018 Los Angeles CA East - Drivers
2468750            Regular       24.00   21.00 12/31/2018 Los Angeles CA East - Drivers
2468750            Overtime      11.00   31.50 12/31/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 01/07/2019 Los Angeles CA East - Drivers
2468750            Overtime      15.75   31.50 01/07/2019 Los Angeles CA East - Drivers
2468750            Regular       39.00   21.00 01/14/2019 Los Angeles CA East - Drivers
2468750            Overtime      15.00   31.50 01/14/2019 Los Angeles CA East - Drivers
2468750            Regular        8.00   19.50 12/17/2018 Los Angeles CA East - Drivers
2468750            Overtime       2.75   29.25 12/17/2018 Los Angeles CA East - Drivers
2468750            Regular       50.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2468750            Overtime       6.50   30.00 04/23/2018 Los Angeles CA East - Drivers
2468750            Regular       46.50   20.00 04/30/2018 Los Angeles CA East - Drivers
2468750            Overtime       0.25   30.00 04/30/2018 Los Angeles CA East - Drivers
2468750            Regular       46.00   20.00 05/07/2018 Los Angeles CA East - Drivers
2468750            Overtime       0.50   30.00 05/07/2018 Los Angeles CA East - Drivers
2468750            Regular       39.00   20.00 05/14/2018 Los Angeles CA East - Drivers
2468750            Overtime       5.50   30.00 05/14/2018 Los Angeles CA East - Drivers
2468750            Regular       46.00   20.00 05/21/2018 Los Angeles CA East - Drivers
2468750            Overtime       3.00   30.00 05/21/2018 Los Angeles CA East - Drivers
2468750            Regular       35.75   20.00 05/28/2018 Los Angeles CA East - Drivers
2468750            Regular       47.75   20.00 06/04/2018 Los Angeles CA East - Drivers
2468750            Overtime       3.00   30.00 06/04/2018 Los Angeles CA East - Drivers
2468750            Regular       38.00   20.00 06/11/2018 Los Angeles CA East - Drivers
2468750            Overtime       1.00   30.00 06/11/2018 Los Angeles CA East - Drivers
2468750            Regular       36.00   20.00 06/18/2018 Los Angeles CA East - Drivers
2468750 Case 2:19-cv-08580-JFW-MAA
                   Overtime       3.00Document
                                         30.00 38-5    Filed Los
                                                 06/18/2018  03/22/21
                                                                 AngelesPage 461
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2468750            Regular       28.00   20.00 #:1234
                                                 06/25/2018 Los Angeles CA East - Drivers
2468750            Overtime       3.50   30.00 06/25/2018 Los Angeles CA East - Drivers
2468750            Regular       36.00   20.00 07/02/2018 Los Angeles CA East - Drivers
2468750            Overtime       0.50   30.00 07/02/2018 Los Angeles CA East - Drivers
2468750            Regular       44.75   20.00 07/09/2018 Los Angeles CA East - Drivers
2468750            Overtime       2.25   30.00 07/09/2018 Los Angeles CA East - Drivers
2468750            Regular       48.30   20.00 07/16/2018 Los Angeles CA East - Drivers
2468750            Regular       47.25   20.00 07/23/2018 Los Angeles CA East - Drivers
2468750            Overtime       4.25   30.00 07/23/2018 Los Angeles CA East - Drivers
2468750            Regular       42.75   20.00 07/30/2018 Los Angeles CA East - Drivers
2468750            Regular       47.50   20.00 08/06/2018 Los Angeles CA East - Drivers
2468750            Overtime       2.25   30.00 08/06/2018 Los Angeles CA East - Drivers
2468750            Regular       46.00   20.00 08/13/2018 Los Angeles CA East - Drivers
2468750            Overtime       3.75   30.00 08/13/2018 Los Angeles CA East - Drivers
2468750            Regular       18.00   20.00 08/20/2018 Los Angeles CA East - Drivers
2468750            Overtime       2.00   30.00 08/20/2018 Los Angeles CA East - Drivers
2468750            Regular        8.00   21.00 02/05/2018 Los Angeles CA East - Drivers
2468750            Overtime       0.50   31.50 02/05/2018 Los Angeles CA East - Drivers
2468750            Regular       32.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2468750            Overtime      17.20   31.50 02/19/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 02/26/2018 Los Angeles CA East - Drivers
2468750            Overtime      12.63   31.50 02/26/2018 Los Angeles CA East - Drivers
2468750            Regular       32.00   21.00 03/05/2018 Los Angeles CA East - Drivers
2468750            Overtime       8.21   31.50 03/05/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2468750            Overtime      15.58   31.50 03/12/2018 Los Angeles CA East - Drivers
2468750            Regular       36.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2468750            Overtime       9.77   31.50 03/19/2018 Los Angeles CA East - Drivers
2468750            Regular       40.00   21.00 03/26/2018 Los Angeles CA East - Drivers
2468750            Overtime      15.23   31.50 03/26/2018 Los Angeles CA East - Drivers
2468750            Regular       28.00   21.00 04/02/2018 Los Angeles CA East - Drivers
2468750            Overtime       1.05   31.50 04/02/2018 Los Angeles CA East - Drivers
2468750            Regular       16.00   21.00 04/09/2018 Los Angeles CA East - Drivers
2468750            Overtime       2.40   31.50 04/09/2018 Los Angeles CA East - Drivers
Total for 2468750             1,947.62
2712700            Regular        8.00   23.00 04/29/2019 Sacramento CA - Drivers
2712700            Overtime       3.50   34.50 04/29/2019 Sacramento CA - Drivers
2712700            Regular       24.00   22.00 05/06/2019 Sacramento CA - Drivers
2712700            Regular       40.00   22.00 05/20/2019 Sacramento CA - Drivers
2712700            Regular       32.00   22.00 05/27/2019 Sacramento CA - Drivers
2712700            Regular       40.00   22.00 06/03/2019 Sacramento CA - Drivers
2712700            Regular       32.00   22.00 06/10/2019 Sacramento CA - Drivers
2712700            Regular       32.00   22.00 06/17/2019 Sacramento CA - Drivers
2712700            Regular       40.00   22.00 06/24/2019 Sacramento CA - Drivers
2712700            Regular       32.00   22.00 07/01/2019 Sacramento CA - Drivers
2712700            Regular       40.00   22.00 07/08/2019 Sacramento CA - Drivers
2712700            Regular       40.50   22.00 07/22/2019 Sacramento CA - Drivers
2712700            Regular       38.00   22.00 07/29/2019 Sacramento CA - Drivers
2712700            Regular       18.00   22.00 08/05/2019 Sacramento CA - Drivers
Total for 2712700               420.00
1364122            Regular       28.00   20.00 11/26/2018 Los Angeles CA West - Drivers
1364122            Overtime      16.00   30.00 11/26/2018 Los Angeles CA West - Drivers
1364122            Regular       12.00   20.00 12/03/2018 Los Angeles CA West - Drivers
1364122            Regular       36.25   20.00 12/10/2018 Los Angeles CA West - Drivers
1364122            Overtime      13.50   30.00 12/10/2018 Los Angeles CA West - Drivers
1364122            Regular       34.25   20.00 12/17/2018 Los Angeles CA West - Drivers
1364122            Overtime      13.75   30.00 12/17/2018 Los Angeles CA West - Drivers
1364122            Regular       21.75   20.00 12/24/2018 Los Angeles CA West - Drivers
1364122            Overtime       1.25   30.00 12/24/2018 Los Angeles CA West - Drivers
1364122            Regular       24.00   20.00 12/31/2018 Los Angeles CA West - Drivers
1364122            Overtime       9.75   30.00 12/31/2018 Los Angeles CA West - Drivers
1364122            Regular       40.00   20.00 01/07/2019 Los Angeles CA West - Drivers
1364122 Case   2:19-cv-08580-JFW-MAA
                     Overtime     14.75Document
                                          30.00 38-5    Filed Los
                                                  01/07/2019  03/22/21
                                                                  AngelesPage 462- Drivers
                                                                         CA West   of 691 Page ID
1364122              Regular      40.00   20.00 #:1235
                                                  01/14/2019 Los Angeles CA West - Drivers
1364122             Overtime       16.00    30.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        39.25    20.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        8.25    30.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        9.00    30.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        9.50    30.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        39.75    20.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        8.50    30.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        39.00    20.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        4.00    30.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        31.00    20.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        15.50    20.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        0.75    30.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        22.75    20.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.75    30.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        30.75    20.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        6.50    30.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        26.50    20.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        4.00    30.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        38.50    20.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        7.00    30.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        30.25    20.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.50    30.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        26.50    20.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        30.50    20.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.50    30.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        38.75    20.00   05/06/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        11.00    20.00   05/13/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        35.50    20.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.75    30.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        30.25    20.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        0.25    30.00   05/27/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        13.25    20.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        2.75    30.00   06/03/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        16.00    20.00   06/10/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.50    30.00   06/10/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        16.00    22.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime        3.00    33.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       11.50    33.00   10/22/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       23.50    33.00   10/29/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    22.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    33.00   11/05/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime        4.50    33.00   11/12/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular         8.00    22.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime        0.50    33.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    21.00   08/19/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        8.00    31.50   08/19/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    21.00   08/26/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime       10.50    31.50   08/26/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    21.00   09/02/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime       11.00    31.50   09/02/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        16.00    20.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular         8.00    20.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime        3.00    30.00   11/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular         8.00    20.50   12/10/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime        2.00    30.75   12/10/2018   Los   Angeles   CA   West   - Drivers
1364122 Case   2:19-cv-08580-JFW-MAA
                     Regular       8.00Document
                                          20.50 38-5    Filed Los
                                                  09/17/2018  03/22/21
                                                                  AngelesPage 463- Drivers
                                                                         CA West   of 691 Page ID
1364122              Overtime      1.00   30.75 #:1236
                                                  09/17/2018 Los Angeles CA West - Drivers
1364122             Regular         8.00    22.50   07/01/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular         8.00    21.00   06/17/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        4.00    31.50   06/17/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    21.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime       20.00    31.50   06/24/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    22.50   08/05/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime       12.50    33.75   08/05/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        24.00    22.50   08/12/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        7.50    33.75   08/12/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        16.00    21.00   07/08/2019   Los   Angeles   CA   West   - Drivers
1364122             Overtime        5.50    31.50   07/08/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular         8.00    21.00   07/15/2019   Los   Angeles   CA   West   - Drivers
1364122             Regular        23.50    19.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime        3.50    28.50   02/20/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        5.50    28.50   10/17/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        38.00    19.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        6.50    28.50   10/24/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        38.50    19.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.00    28.50   10/31/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        39.50    19.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        3.50    28.50   11/07/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        6.00    28.50   11/14/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        22.00    19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        1.00    28.50   11/21/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        38.50    19.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        5.50    28.50   11/28/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    19.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        6.50    28.50   12/05/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        39.50    19.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime       12.00    28.50   12/12/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    19.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        7.00    28.50   12/19/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    19.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1364122             Overtime        6.50    28.50   12/26/2016   Los   Angeles   CA   West   - Drivers
1364122             Regular        16.00    19.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime        7.50    28.50   02/27/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.00    28.50   03/06/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       12.50    28.50   03/13/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.50    28.50   03/20/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        38.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       10.00    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       26.00    28.50   04/03/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       20.50    28.50   04/10/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        39.00    19.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       14.50    28.50   04/17/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.50    28.50   04/24/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.50    28.50   05/01/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    28.50   05/08/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1364122 Case   2:19-cv-08580-JFW-MAA
                     Overtime     19.00Document
                                          28.50 38-5    Filed Los
                                                  05/22/2017  03/22/21
                                                                  AngelesPage 464- Drivers
                                                                         CA West   of 691 Page ID
1364122              Regular      32.00   19.00 #:1237
                                                  05/29/2017 Los Angeles CA West - Drivers
1364122             Overtime       14.00    28.50   05/29/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.50    28.50   06/05/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.50    28.50   06/12/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.50    28.50   06/19/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    28.50   06/26/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        24.00    19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       10.50    28.50   07/03/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   07/10/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    28.50   07/10/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    28.50   07/17/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       20.00    28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.00    28.50   07/31/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.00    28.50   08/07/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.00    28.50   08/14/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    19.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    28.50   08/21/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    19.00   08/28/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.00    28.50   08/28/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    30.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   09/11/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.50    30.00   09/11/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       15.00    30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.50    30.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   10/02/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.50    30.00   10/02/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   10/09/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.00    30.00   10/09/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   10/16/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.50    30.00   10/16/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.50    30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.50    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        24.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       10.50    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       20.00    30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       11.50    30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   12/18/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.50    30.00   12/18/2017   Los   Angeles   CA   West   - Drivers
1364122             Regular        24.00    20.00   12/25/2017   Los   Angeles   CA   West   - Drivers
1364122             Overtime       11.00    30.00   12/25/2017   Los   Angeles   CA   West   - Drivers
1364122 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          20.00 38-5    Filed Los
                                                  01/01/2018  03/22/21
                                                                  AngelesPage 465- Drivers
                                                                         CA West   of 691 Page ID
1364122              Overtime     13.50   30.00 #:1238
                                                  01/01/2018 Los Angeles CA West - Drivers
1364122             Regular        40.00    20.00   01/08/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.00    30.00   01/08/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   01/15/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       15.00    30.00   01/15/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   01/22/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    30.00   01/22/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   01/29/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       20.00    30.00   01/29/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   02/05/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.50    30.00   02/05/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   02/12/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    30.00   02/12/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   02/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    30.00   02/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    30.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.50    30.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       20.00    30.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   03/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    30.00   03/19/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       15.00    30.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       14.50    30.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.00    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       19.00    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.00    30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.00    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       14.50    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       16.00    30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       14.00    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       18.50    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       15.00    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        32.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       11.50    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       15.50    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       13.50    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.50    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1364122             Overtime       17.00    30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1364122             Regular        40.00    20.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1364122 Case 2:19-cv-08580-JFW-MAA
                   Overtime      17.50Document
                                         30.00 38-5    Filed Los
                                                 08/06/2018  03/22/21
                                                                 AngelesPage 466- Drivers
                                                                        CA West   of 691    Page ID
1364122            Regular       40.00   20.00 #:1239
                                                 08/13/2018 Los Angeles CA West - Drivers
1364122            Overtime      15.00   30.00 08/13/2018 Los Angeles CA West - Drivers
1364122            Regular       40.00   20.00 08/20/2018 Los Angeles CA West - Drivers
1364122            Overtime      18.50   30.00 08/20/2018 Los Angeles CA West - Drivers
1364122            Regular       40.00   20.00 08/27/2018 Los Angeles CA West - Drivers
1364122            Overtime      15.00   30.00 08/27/2018 Los Angeles CA West - Drivers
1364122            Regular       32.00   20.00 09/03/2018 Los Angeles CA West - Drivers
1364122            Overtime      13.50   30.00 09/03/2018 Los Angeles CA West - Drivers
1364122            Regular       40.00   20.00 09/10/2018 Los Angeles CA West - Drivers
1364122            Overtime      18.50   30.00 09/10/2018 Los Angeles CA West - Drivers
1364122            Regular        6.00   21.00 07/15/2019 Los Angeles CA West - Drivers
1364122            Regular       40.00   21.00 07/22/2019 Los Angeles CA West - Drivers
1364122            Overtime       6.00   31.50 07/22/2019 Los Angeles CA West - Drivers
1364122            Regular       40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
1364122            Overtime       6.50   31.50 07/29/2019 Los Angeles CA West - Drivers
1364122            Regular       32.00   19.00 08/29/2016 Los Angeles CA West - Drivers
1364122            Overtime       8.00   28.50 08/29/2016 Los Angeles CA West - Drivers
1364122            Regular       40.00   19.00 09/05/2016 Los Angeles CA West - Drivers
1364122            Overtime      19.00   28.50 09/05/2016 Los Angeles CA West - Drivers
1364122            Regular       40.00   19.00 09/12/2016 Los Angeles CA West - Drivers
1364122            Overtime      18.50   28.50 09/12/2016 Los Angeles CA West - Drivers
1364122            Regular       32.00   19.00 09/19/2016 Los Angeles CA West - Drivers
1364122            Overtime      12.00   28.50 09/19/2016 Los Angeles CA West - Drivers
1364122            Regular       32.00   21.00 09/24/2018 Los Angeles CA West - Drivers
1364122            Overtime       8.00   31.50 09/24/2018 Los Angeles CA West - Drivers
1364122            Regular       40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
1364122            Overtime       8.00   31.50 10/01/2018 Los Angeles CA West - Drivers
1364122            Regular       40.00   21.00 10/08/2018 Los Angeles CA West - Drivers
1364122            Overtime       5.00   31.50 10/08/2018 Los Angeles CA West - Drivers
1364122            Regular        5.00   21.00 10/15/2018 Los Angeles CA West - Drivers
Total for 1364122             6,914.25
2355379            Regular       32.00   18.00 11/12/2018 Los Angeles CA West - Drivers
2355379            Overtime       0.50   27.00 11/12/2018 Los Angeles CA West - Drivers
2355379            Regular       40.00   18.00 11/19/2018 Los Angeles CA West - Drivers
2355379            Regular       40.00   18.00 11/26/2018 Los Angeles CA West - Drivers
2355379            Regular       32.00   18.00 12/03/2018 Los Angeles CA West - Drivers
2355379            Regular       40.00   18.00 12/10/2018 Los Angeles CA West - Drivers
2355379            Regular       24.00   18.00 12/17/2018 Los Angeles CA West - Drivers
2355379            Regular       24.00   18.00 12/24/2018 Los Angeles CA West - Drivers
2355379            Overtime       0.50   27.00 12/24/2018 Los Angeles CA West - Drivers
2355379            Regular       24.00   18.00 12/31/2018 Los Angeles CA West - Drivers
2355379            Overtime       4.00   27.00 12/31/2018 Los Angeles CA West - Drivers
2355379            Regular        8.00   18.00 01/07/2019 Los Angeles CA West - Drivers
Total for 2355379               269.00
2460586            Regular        8.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2460586            Overtime       3.00   30.00 07/23/2018 Los Angeles CA West - Drivers
2460586            Regular        8.00   19.50 04/09/2018 Los Angeles CA West - Drivers
2460586            Overtime       1.00   29.25 04/09/2018 Los Angeles CA West - Drivers
2460586            Regular        8.00   19.50 04/23/2018 Los Angeles CA West - Drivers
2460586            Overtime       1.50   29.25 04/23/2018 Los Angeles CA West - Drivers
2460586            Regular        6.25   19.50 04/30/2018 Los Angeles CA West - Drivers
2460586            Regular        4.00   19.50 05/07/2018 Los Angeles CA West - Drivers
2460586            Regular        8.00   19.50 05/14/2018 Los Angeles CA West - Drivers
2460586            Overtime       2.25   29.25 05/14/2018 Los Angeles CA West - Drivers
2460586            Regular        4.00   20.50 07/09/2018 Los Angeles CA West - Drivers
2460586            Regular        8.00   20.50 07/30/2018 Los Angeles CA West - Drivers
2460586            Overtime       0.25   30.75 07/30/2018 Los Angeles CA West - Drivers
2460586            Regular       40.00   21.00 01/22/2018 Los Angeles CA West - Drivers
2460586            Overtime      17.50   31.50 01/22/2018 Los Angeles CA West - Drivers
2460586            Regular       40.00   21.00 01/29/2018 Los Angeles CA West - Drivers
2460586            Overtime      16.75   31.50 01/29/2018 Los Angeles CA West - Drivers
2460586            Regular       40.00   21.00 02/05/2018 Los Angeles CA West - Drivers
2460586 Case 2:19-cv-08580-JFW-MAA
                   Overtime     24.00Document
                                        31.50 38-5    Filed Los
                                                02/05/2018  03/22/21
                                                                AngelesPage 467- Drivers
                                                                       CA West   of 691    Page ID
2460586            Regular      40.00   21.00 #:1240
                                                02/12/2018 Los Angeles CA West - Drivers
2460586            Overtime     22.81   31.50 02/12/2018 Los Angeles CA West - Drivers
2460586            Regular      40.00   21.00 02/19/2018 Los Angeles CA West - Drivers
2460586            Overtime      8.51   31.50 02/19/2018 Los Angeles CA West - Drivers
2460586            Regular      40.00   21.00 02/26/2018 Los Angeles CA West - Drivers
2460586            Overtime      9.36   31.50 02/26/2018 Los Angeles CA West - Drivers
2460586            Regular      40.00   21.00 03/05/2018 Los Angeles CA West - Drivers
2460586            Overtime     10.51   31.50 03/05/2018 Los Angeles CA West - Drivers
2460586            Regular      40.00   21.00 03/12/2018 Los Angeles CA West - Drivers
2460586            Overtime     18.56   31.50 03/12/2018 Los Angeles CA West - Drivers
2460586            Regular      36.00   21.00 03/19/2018 Los Angeles CA West - Drivers
2460586            Overtime      6.15   31.50 03/19/2018 Los Angeles CA West - Drivers
2460586            Regular      40.00   21.00 03/26/2018 Los Angeles CA West - Drivers
2460586            Overtime      5.68   31.50 03/26/2018 Los Angeles CA West - Drivers
2460586            Regular      40.00   21.00 04/02/2018 Los Angeles CA West - Drivers
2460586            Overtime     10.69   31.50 04/02/2018 Los Angeles CA West - Drivers
2460586            Regular      16.00   21.00 04/09/2018 Los Angeles CA West - Drivers
2460586            Regular       8.00   21.00 04/30/2018 Los Angeles CA West - Drivers
2460586            Regular      16.00   19.00 04/16/2018 Los Angeles CA West - Drivers
2460586            Regular      24.00   21.00 04/30/2018 Los Angeles CA West - Drivers
2460586            Overtime      2.00   31.50 04/30/2018 Los Angeles CA West - Drivers
Total for 2460586              714.77
2207109            Regular       8.00   19.00 02/20/2017 Los Angeles CA East - Drivers
2207109            Overtime      3.25   28.50 02/20/2017 Los Angeles CA East - Drivers
2207109            Regular      24.00   19.00 02/20/2017 Los Angeles CA East - Drivers
2207109            Overtime     12.00   28.50 02/20/2017 Los Angeles CA East - Drivers
2207109            Regular      21.00   19.00 02/27/2017 Los Angeles CA East - Drivers
2207109            Overtime      3.50   27.50 02/27/2017 Los Angeles CA East - Drivers
2207109            Regular      39.50   19.00 03/20/2017 Los Angeles CA East - Drivers
2207109            Overtime     11.50   28.50 03/20/2017 Los Angeles CA East - Drivers
2207109            Regular      39.25   19.00 03/27/2017 Los Angeles CA East - Drivers
2207109            Overtime     12.50   28.50 03/27/2017 Los Angeles CA East - Drivers
2207109            Regular      32.00   19.50 04/24/2017 Los Angeles CA East - Drivers
2207109            Overtime      8.25   29.25 04/24/2017 Los Angeles CA East - Drivers
2207109            Regular       8.00   19.50 05/01/2017 Los Angeles CA East - Drivers
2207109            Overtime      3.50   29.25 05/01/2017 Los Angeles CA East - Drivers
2207109            Regular      29.00   19.50 08/21/2017 Los Angeles CA East - Drivers
2207109            Overtime      6.25   29.25 08/21/2017 Los Angeles CA East - Drivers
2207109            Regular      36.00   19.50 08/28/2017 Los Angeles CA East - Drivers
2207109            Overtime      4.00   29.25 08/28/2017 Los Angeles CA East - Drivers
2207109            Regular      29.50   19.50 09/04/2017 Los Angeles CA East - Drivers
2207109            Overtime      6.25   29.25 09/04/2017 Los Angeles CA East - Drivers
2207109            Regular      32.00   19.50 09/11/2017 Los Angeles CA East - Drivers
2207109            Overtime     12.00   29.25 09/11/2017 Los Angeles CA East - Drivers
2207109            Regular      36.00   19.50 09/18/2017 Los Angeles CA East - Drivers
2207109            Overtime      6.25   29.25 09/18/2017 Los Angeles CA East - Drivers
2207109            Regular      35.25   19.50 09/25/2017 Los Angeles CA East - Drivers
2207109            Overtime      3.75   29.25 09/25/2017 Los Angeles CA East - Drivers
2207109            Regular      35.25   19.50 10/02/2017 Los Angeles CA East - Drivers
2207109            Overtime      7.75   29.25 10/02/2017 Los Angeles CA East - Drivers
2207109            Regular      36.25   19.50 10/09/2017 Los Angeles CA East - Drivers
2207109            Overtime      4.75   29.25 10/09/2017 Los Angeles CA East - Drivers
2207109            Regular      37.50   19.50 10/16/2017 Los Angeles CA East - Drivers
2207109            Overtime      9.00   29.25 10/16/2017 Los Angeles CA East - Drivers
2207109            Regular      35.50   19.50 10/23/2017 Los Angeles CA East - Drivers
2207109            Overtime      5.25   29.25 10/23/2017 Los Angeles CA East - Drivers
2207109            Regular       8.00   20.00 05/01/2017 Los Angeles CA East - Drivers
2207109            Overtime      4.00   30.00 05/01/2017 Los Angeles CA East - Drivers
2207109            Regular      16.00   19.00 05/08/2017 Los Angeles CA East - Drivers
2207109            Overtime      5.50   28.50 05/08/2017 Los Angeles CA East - Drivers
2207109            Regular      40.00   19.00 05/15/2017 Los Angeles CA East - Drivers
2207109            Overtime      9.75   28.50 05/15/2017 Los Angeles CA East - Drivers
2207109 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         19.00 38-5    Filed Los
                                                 05/22/2017  03/22/21
                                                                 AngelesPage 468
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2207109            Overtime       8.25   28.50 #:1241
                                                 05/22/2017 Los Angeles CA East - Drivers
2207109            Regular       32.00   19.00 05/29/2017 Los Angeles CA East - Drivers
2207109            Overtime      12.00   28.50 05/29/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 06/05/2017 Los Angeles CA East - Drivers
2207109            Overtime      13.50   28.50 06/05/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 06/12/2017 Los Angeles CA East - Drivers
2207109            Overtime      11.75   28.50 06/12/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 06/19/2017 Los Angeles CA East - Drivers
2207109            Overtime       6.50   28.50 06/19/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 06/26/2017 Los Angeles CA East - Drivers
2207109            Overtime      13.50   28.50 06/26/2017 Los Angeles CA East - Drivers
2207109            Regular       32.00   19.00 07/03/2017 Los Angeles CA East - Drivers
2207109            Overtime       9.00   28.50 07/03/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 07/10/2017 Los Angeles CA East - Drivers
2207109            Overtime       9.50   28.50 07/10/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 07/17/2017 Los Angeles CA East - Drivers
2207109            Overtime      12.75   28.50 07/17/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 07/24/2017 Los Angeles CA East - Drivers
2207109            Overtime      14.00   28.50 07/24/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 07/31/2017 Los Angeles CA East - Drivers
2207109            Overtime      11.25   28.50 07/31/2017 Los Angeles CA East - Drivers
2207109            Regular       40.00   19.00 08/07/2017 Los Angeles CA East - Drivers
2207109            Overtime       8.50   28.50 08/07/2017 Los Angeles CA East - Drivers
2207109            Regular       24.00   19.00 08/14/2017 Los Angeles CA East - Drivers
2207109            Overtime       3.50   28.50 08/14/2017 Los Angeles CA East - Drivers
Total for 2207109             1,339.00
2611641            Regular        8.00   22.00 09/02/2019 Los Angeles CA East - Drivers
2611641            Overtime       0.50   33.00 09/02/2019 Los Angeles CA East - Drivers
2611641            Regular        8.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2611641            Overtime       1.00   31.50 09/02/2019 Los Angeles CA East - Drivers
Total for 2611641                17.50
2209193            Regular        7.50   19.00 02/20/2017 Los Angeles CA East - Drivers
2209193            Regular        8.00   19.50 03/06/2017 Los Angeles CA East - Drivers
2209193            Overtime       3.00   29.25 03/06/2017 Los Angeles CA East - Drivers
2209193            Regular       14.25   19.50 03/20/2017 Los Angeles CA East - Drivers
2209193            Overtime       1.50   29.25 03/20/2017 Los Angeles CA East - Drivers
2209193            Regular       32.00   19.50 03/27/2017 Los Angeles CA East - Drivers
2209193            Overtime       6.25   29.25 03/27/2017 Los Angeles CA East - Drivers
2209193            Regular       24.00   19.50 04/03/2017 Los Angeles CA East - Drivers
2209193            Overtime       5.50   29.25 04/03/2017 Los Angeles CA East - Drivers
2209193            Regular       24.00   19.50 04/10/2017 Los Angeles CA East - Drivers
2209193            Overtime       4.00   29.25 04/10/2017 Los Angeles CA East - Drivers
2209193            Regular       16.00   19.50 04/17/2017 Los Angeles CA East - Drivers
2209193            Overtime       3.00   29.25 04/17/2017 Los Angeles CA East - Drivers
2209193            Regular       16.00   19.50 04/24/2017 Los Angeles CA East - Drivers
2209193            Overtime       6.00   29.25 04/24/2017 Los Angeles CA East - Drivers
2209193            Regular       16.00   19.50 05/01/2017 Los Angeles CA East - Drivers
2209193            Overtime       4.50   29.25 05/01/2017 Los Angeles CA East - Drivers
2209193            Regular        6.50   19.00 02/27/2017 Los Angeles CA East - Drivers
2209193            Regular       16.00   19.00 03/06/2017 Los Angeles CA East - Drivers
2209193            Overtime       2.50   28.50 03/06/2017 Los Angeles CA East - Drivers
2209193            Regular        8.00   19.00 03/13/2017 Los Angeles CA East - Drivers
2209193            Overtime       1.00   28.50 03/13/2017 Los Angeles CA East - Drivers
2209193            Regular        8.00   19.00 04/24/2017 Los Angeles CA East - Drivers
2209193            Overtime       0.75   28.50 04/24/2017 Los Angeles CA East - Drivers
Total for 2209193               234.25
1438472            Regular       22.50   20.92 05/15/2017 Sacramento CA - Drivers
1438472            Regular       14.00   21.85 06/12/2017 Sacramento CA - Drivers
1438472            Regular       10.50   21.85 06/19/2017 Sacramento CA - Drivers
1438472            Regular       39.50   19.00 01/09/2017 Sacramento CA - Drivers
1438472            Overtime       3.00   28.50 01/09/2017 Sacramento CA - Drivers
1438472            Regular       40.00   19.00 01/16/2017 Sacramento CA - Drivers
1438472 Case 2:19-cv-08580-JFW-MAA
                   Overtime      8.50Document
                                        28.50 38-5    Filed Sacramento
                                                01/16/2017  03/22/21 Page    469 of
                                                                       CA - Drivers   691 Page ID
1438472            Regular      40.00   19.00 #:1242
                                                01/23/2017 Sacramento CA - Drivers
1438472            Overtime      5.00   28.50 01/23/2017 Sacramento CA - Drivers
1438472            Regular      38.50   19.00 01/30/2017 Sacramento CA - Drivers
1438472            Overtime      1.00   28.50 01/30/2017 Sacramento CA - Drivers
1438472            Regular      39.50   19.00 02/06/2017 Sacramento CA - Drivers
1438472            Overtime      2.50   28.50 02/06/2017 Sacramento CA - Drivers
1438472            Regular      32.00   19.00 02/13/2017 Sacramento CA - Drivers
1438472            Overtime      4.50   28.50 02/13/2017 Sacramento CA - Drivers
1438472            Regular      39.50   19.00 02/20/2017 Sacramento CA - Drivers
1438472            Overtime      6.50   28.50 02/20/2017 Sacramento CA - Drivers
1438472            Regular      40.00   19.00 02/27/2017 Sacramento CA - Drivers
1438472            Overtime      3.00   28.50 02/27/2017 Sacramento CA - Drivers
1438472            Regular      16.00   19.00 03/06/2017 Sacramento CA - Drivers
1438472            Overtime      2.50   28.50 03/06/2017 Sacramento CA - Drivers
1438472            Regular       8.00   19.00 03/13/2017 Sacramento CA - Drivers
1438472            Overtime      1.00   28.50 03/13/2017 Sacramento CA - Drivers
1438472            Regular      16.00   19.00 04/17/2017 Sacramento CA - Drivers
1438472            Overtime      2.50   28.50 04/17/2017 Sacramento CA - Drivers
1438472            Regular      17.50   19.00 04/24/2017 Sacramento CA - Drivers
1438472            Overtime      0.50   28.50 04/24/2017 Sacramento CA - Drivers
1438472            Regular       8.00   19.00 05/01/2017 Sacramento CA - Drivers
1438472            Overtime      0.50   28.50 05/01/2017 Sacramento CA - Drivers
1438472            Regular      40.00   19.00 11/14/2016 Sacramento CA - Drivers
1438472            Overtime     24.00   28.50 11/14/2016 Sacramento CA - Drivers
1438472            Regular      32.00   19.00 11/21/2016 Sacramento CA - Drivers
1438472            Overtime     13.50   28.50 11/21/2016 Sacramento CA - Drivers
1438472            Regular      40.00   19.00 11/28/2016 Sacramento CA - Drivers
1438472            Overtime     18.00   28.50 11/28/2016 Sacramento CA - Drivers
1438472            Regular      40.00   19.00 12/05/2016 Sacramento CA - Drivers
1438472            Overtime     21.00   28.50 12/05/2016 Sacramento CA - Drivers
1438472            Regular      40.00   19.00 12/12/2016 Sacramento CA - Drivers
1438472            Overtime     14.50   28.50 12/12/2016 Sacramento CA - Drivers
1438472            Regular      32.00   19.00 12/19/2016 Sacramento CA - Drivers
1438472            Overtime     10.50   28.50 12/19/2016 Sacramento CA - Drivers
1438472            Regular      38.58   19.00 12/26/2016 Sacramento CA - Drivers
1438472            Overtime      6.50   28.50 12/26/2016 Sacramento CA - Drivers
1438472            Regular      14.00   20.00 01/02/2017 Sacramento CA - Drivers
1438472            Overtime      4.00   30.00 01/02/2017 Sacramento CA - Drivers
Total for 1438472              851.08
1315918            Regular       8.00   20.00 10/03/2016 Sacramento CA - Drivers
1315918            Regular      42.00   20.00 10/10/2016 Sacramento CA - Drivers
1315918            Overtime     10.00   30.00 10/10/2016 Sacramento CA - Drivers
1315918            Regular      34.50   20.00 10/17/2016 Sacramento CA - Drivers
1315918            Overtime      3.25   30.00 10/17/2016 Sacramento CA - Drivers
1315918            Regular      37.00   20.00 10/17/2016 Sacramento CA - Drivers
1315918            Overtime     10.25   30.00 10/17/2016 Sacramento CA - Drivers
1315918            Regular      32.00   20.00 10/31/2016 Sacramento CA - Drivers
1315918            Overtime     13.50   30.00 10/31/2016 Sacramento CA - Drivers
1315918            Regular      40.00   20.00 11/07/2016 Sacramento CA - Drivers
1315918            Overtime     15.50   30.00 11/07/2016 Sacramento CA - Drivers
1315918            Regular      21.00   20.00 11/14/2016 Sacramento CA - Drivers
1315918            Overtime      7.50   30.00 11/14/2016 Sacramento CA - Drivers
1315918            Regular      40.00   20.00 11/21/2016 Sacramento CA - Drivers
1315918            Overtime     10.50   30.00 11/21/2016 Sacramento CA - Drivers
1315918            Regular      24.00   20.00 11/28/2016 Sacramento CA - Drivers
1315918            Overtime     12.00   30.00 11/28/2016 Sacramento CA - Drivers
1315918            Regular      30.00   20.00 12/05/2016 Sacramento CA - Drivers
1315918            Overtime     12.00   30.00 12/05/2016 Sacramento CA - Drivers
1315918            Regular      40.00   20.00 12/12/2016 Sacramento CA - Drivers
1315918            Overtime     14.00   30.00 12/12/2016 Sacramento CA - Drivers
1315918            Regular      32.00   20.00 12/26/2016 Sacramento CA - Drivers
1315918            Overtime     12.00   30.00 12/26/2016 Sacramento CA - Drivers
1315918 Case   2:19-cv-08580-JFW-MAA
                     Regular      46.00Document
                                          20.00 38-5    Filed Sacramento
                                                  01/02/2017  03/22/21 Page    470 of 691 Page ID
                                                                         CA - Drivers
1315918              Overtime      4.00   30.00 #:1243
                                                  01/02/2017 Sacramento CA - Drivers
1315918             Regular        38.00    20.00   01/09/2017   Sacramento   CA   - Drivers
1315918             Overtime       15.50    30.00   01/09/2017   Sacramento   CA   - Drivers
1315918             Regular        43.00    20.00   01/16/2017   Sacramento   CA   - Drivers
1315918             Overtime       16.00    30.00   01/16/2017   Sacramento   CA   - Drivers
1315918             Regular        32.00    20.00   01/23/2017   Sacramento   CA   - Drivers
1315918             Overtime       12.00    30.00   01/23/2017   Sacramento   CA   - Drivers
1315918             Regular        32.00    20.00   01/30/2017   Sacramento   CA   - Drivers
1315918             Overtime       12.00    30.00   01/30/2017   Sacramento   CA   - Drivers
1315918             Regular        38.50    20.00   02/06/2017   Sacramento   CA   - Drivers
1315918             Overtime       12.00    30.00   02/06/2017   Sacramento   CA   - Drivers
1315918             Regular        24.00    20.00   02/13/2017   Sacramento   CA   - Drivers
1315918             Overtime       12.00    30.00   02/13/2017   Sacramento   CA   - Drivers
1315918             Regular        36.00    20.00   02/20/2017   Sacramento   CA   - Drivers
1315918             Overtime        4.00    30.00   02/20/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   02/27/2017   Sacramento   CA   - Drivers
1315918             Overtime       12.00    30.00   02/27/2017   Sacramento   CA   - Drivers
1315918             Regular        38.00    20.00   03/06/2017   Sacramento   CA   - Drivers
1315918             Overtime        6.00    30.00   03/06/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   03/13/2017   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.00   03/13/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   03/20/2017   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.00   03/20/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   03/27/2017   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.00   03/27/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   04/03/2017   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.00   04/03/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   04/10/2017   Sacramento   CA   - Drivers
1315918             Overtime       16.00    30.00   04/10/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   04/17/2017   Sacramento   CA   - Drivers
1315918             Overtime       15.00    30.00   04/17/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   04/24/2017   Sacramento   CA   - Drivers
1315918             Overtime       14.00    30.00   04/24/2017   Sacramento   CA   - Drivers
1315918             Regular        42.00    20.00   05/01/2017   Sacramento   CA   - Drivers
1315918             Overtime        6.50    30.00   05/01/2017   Sacramento   CA   - Drivers
1315918             Regular        38.00    20.00   05/08/2017   Sacramento   CA   - Drivers
1315918             Overtime        2.00    30.00   05/08/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   05/15/2017   Sacramento   CA   - Drivers
1315918             Overtime       13.00    30.00   05/15/2017   Sacramento   CA   - Drivers
1315918             Regular        44.00    20.00   05/22/2017   Sacramento   CA   - Drivers
1315918             Overtime       15.00    30.00   05/22/2017   Sacramento   CA   - Drivers
1315918             Regular        44.00    20.00   05/29/2017   Sacramento   CA   - Drivers
1315918             Overtime       20.00    30.00   05/29/2017   Sacramento   CA   - Drivers
1315918             Regular        44.00    20.00   06/05/2017   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.00   06/05/2017   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.00   06/12/2017   Sacramento   CA   - Drivers
1315918             Regular        20.00    20.00   06/19/2017   Sacramento   CA   - Drivers
1315918             Overtime        4.00    30.00   06/19/2017   Sacramento   CA   - Drivers
1315918             Regular         8.00    20.50   04/25/2016   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.50   05/02/2016   Sacramento   CA   - Drivers
1315918             Regular        42.00    20.50   05/09/2016   Sacramento   CA   - Drivers
1315918             Regular        50.00    20.50   05/16/2016   Sacramento   CA   - Drivers
1315918             Overtime        3.50    30.75   05/16/2016   Sacramento   CA   - Drivers
1315918             Regular        44.00    20.50   05/23/2016   Sacramento   CA   - Drivers
1315918             Regular        34.00    20.50   05/30/2016   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.75   05/30/2016   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.50   06/06/2016   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.50   06/13/2016   Sacramento   CA   - Drivers
1315918             Regular        42.00    20.50   06/20/2016   Sacramento   CA   - Drivers
1315918             Regular        40.00    20.50   06/27/2016   Sacramento   CA   - Drivers
1315918             Regular        32.00    20.50   07/04/2016   Sacramento   CA   - Drivers
1315918             Overtime        8.00    30.75   07/04/2016   Sacramento   CA   - Drivers
1315918 Case 2:19-cv-08580-JFW-MAA
                   Regular       50.00Document
                                         20.50 38-5    Filed Sacramento
                                                 07/11/2016  03/22/21 Page    471 of 691
                                                                        CA - Drivers       Page ID
1315918            Regular       45.00   20.50 #:1244
                                                 07/18/2016 Sacramento CA - Drivers
1315918            Regular       42.00   20.50 07/25/2016 Sacramento CA - Drivers
1315918            Regular       42.00   20.50 08/01/2016 Sacramento CA - Drivers
1315918            Overtime       2.00   30.75 08/01/2016 Sacramento CA - Drivers
1315918            Regular       23.00   20.50 08/15/2016 Sacramento CA - Drivers
1315918            Regular       50.00   20.50 08/22/2016 Sacramento CA - Drivers
1315918            Overtime      18.00   30.75 08/22/2016 Sacramento CA - Drivers
1315918            Regular       50.00   20.50 08/29/2016 Sacramento CA - Drivers
1315918            Overtime      14.00   30.75 08/29/2016 Sacramento CA - Drivers
1315918            Regular       52.00   20.50 09/05/2016 Sacramento CA - Drivers
1315918            Regular       50.00   20.50 09/12/2016 Sacramento CA - Drivers
1315918            Overtime       2.00   30.75 09/12/2016 Sacramento CA - Drivers
1315918            Regular       50.00   20.50 09/19/2016 Sacramento CA - Drivers
1315918            Overtime       2.00   30.75 09/19/2016 Sacramento CA - Drivers
1315918            Regular       50.00   20.50 09/26/2016 Sacramento CA - Drivers
1315918            Overtime       2.00   30.75 09/26/2016 Sacramento CA - Drivers
1315918            Regular       50.00   20.50 10/03/2016 Sacramento CA - Drivers
1315918            Overtime       2.00   30.75 10/03/2016 Sacramento CA - Drivers
1315918            Regular       12.50   22.11 11/13/2017 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 11/20/2017 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 11/27/2017 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 12/04/2017 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 12/11/2017 Sacramento CA - Drivers
1315918            Regular       36.00   22.11 12/18/2017 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 12/25/2017 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 01/01/2018 Sacramento CA - Drivers
1315918            Overtime       6.50   33.17 01/01/2018 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 01/08/2018 Sacramento CA - Drivers
1315918            Regular       38.50   22.11 01/15/2018 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 01/22/2018 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 01/29/2018 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 02/12/2018 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 02/19/2018 Sacramento CA - Drivers
1315918            Regular       34.50   22.11 03/05/2018 Sacramento CA - Drivers
1315918            Regular       24.00   22.11 03/12/2018 Sacramento CA - Drivers
1315918            Regular       26.00   22.11 03/19/2018 Sacramento CA - Drivers
Total for 1315918             3,181.00
715528             Regular        4.00   15.00 04/25/2016 Los Angeles CA East - Drivers
715528             Regular       40.00   15.00 05/02/2016 Los Angeles CA East - Drivers
715528             Overtime       1.50   22.50 05/02/2016 Los Angeles CA East - Drivers
715528             Regular       40.00   15.00 05/09/2016 Los Angeles CA East - Drivers
715528             Regular       40.00   15.00 05/16/2016 Los Angeles CA East - Drivers
715528             Regular       40.00   15.00 05/23/2016 Los Angeles CA East - Drivers
715528             Regular       32.00   15.00 05/30/2016 Los Angeles CA East - Drivers
715528             Regular       32.00   15.00 06/06/2016 Los Angeles CA East - Drivers
715528             Regular       40.00   17.00 04/18/2016 Los Angeles CA East - Drivers
715528             Overtime       2.50   25.50 04/18/2016 Los Angeles CA East - Drivers
715528             Regular       12.50   17.00 04/25/2016 Los Angeles CA East - Drivers
715528             Overtime       0.50   25.50 04/25/2016 Los Angeles CA East - Drivers
Total for 715528                285.00
1251811            Regular       40.00   20.00 01/04/2016 Los Angeles CA West - Drivers
1251811            Overtime      15.50   30.00 01/04/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 01/11/2016 Los Angeles CA West - Drivers
1251811            Overtime      19.25   30.00 01/11/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 01/18/2016 Los Angeles CA West - Drivers
1251811            Overtime      18.25   30.00 01/18/2016 Los Angeles CA West - Drivers
1251811            Regular       16.00   20.00 01/25/2016 Los Angeles CA West - Drivers
1251811            Overtime       5.00   30.00 01/25/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 02/01/2016 Los Angeles CA West - Drivers
1251811            Overtime      14.00   30.00 02/01/2016 Los Angeles CA West - Drivers
1251811            Regular       16.00   20.00 02/08/2016 Los Angeles CA West - Drivers
1251811            Overtime       6.00   30.00 02/08/2016 Los Angeles CA West - Drivers
1251811 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         20.00 38-5    Filed Los
                                                 02/15/2016  03/22/21
                                                                 AngelesPage 472- Drivers
                                                                        CA West   of 691    Page ID
1251811            Overtime      10.75   30.00 #:1245
                                                 02/15/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 02/22/2016 Los Angeles CA West - Drivers
1251811            Overtime      21.75   30.00 02/22/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.00 02/29/2016 Los Angeles CA West - Drivers
1251811            Overtime      13.75   30.00 02/29/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 03/07/2016 Los Angeles CA West - Drivers
1251811            Overtime      13.50   30.00 03/07/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 03/14/2016 Los Angeles CA West - Drivers
1251811            Overtime      12.50   30.00 03/14/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.00 03/21/2016 Los Angeles CA West - Drivers
1251811            Overtime       9.00   30.00 03/21/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 03/28/2016 Los Angeles CA West - Drivers
1251811            Overtime      15.75   30.00 03/28/2016 Los Angeles CA West - Drivers
1251811            Regular       16.00   20.00 04/04/2016 Los Angeles CA West - Drivers
1251811            Overtime       5.25   30.00 04/04/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1251811            Overtime       6.50   30.00 04/11/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1251811            Overtime       3.00   30.00 04/18/2016 Los Angeles CA West - Drivers
1251811            Regular       23.50   20.00 04/18/2016 Los Angeles CA West - Drivers
1251811            Overtime      15.50   30.00 04/18/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.00 05/02/2016 Los Angeles CA West - Drivers
1251811            Overtime      10.25   30.00 05/02/2016 Los Angeles CA West - Drivers
1251811            Regular       24.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1251811            Overtime       3.75   30.00 05/09/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.00 05/16/2016 Los Angeles CA West - Drivers
1251811            Overtime       7.00   30.00 05/16/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.00 05/23/2016 Los Angeles CA West - Drivers
1251811            Overtime      11.75   30.00 05/23/2016 Los Angeles CA West - Drivers
1251811            Regular       24.00   20.00 05/30/2016 Los Angeles CA West - Drivers
1251811            Overtime       5.00   30.00 05/30/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.25 06/06/2016 Los Angeles CA West - Drivers
1251811            Overtime      13.50   30.38 06/06/2016 Los Angeles CA West - Drivers
1251811            Regular       24.00   20.25 06/13/2016 Los Angeles CA West - Drivers
1251811            Overtime      10.25   30.38 06/13/2016 Los Angeles CA West - Drivers
1251811            Regular        8.00   20.25 06/27/2016 Los Angeles CA West - Drivers
1251811            Overtime       1.75   30.38 06/27/2016 Los Angeles CA West - Drivers
1251811            Regular        8.00   20.25 07/04/2016 Los Angeles CA West - Drivers
1251811            Overtime       0.50   30.38 07/04/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.25 07/11/2016 Los Angeles CA West - Drivers
1251811            Overtime      21.25   30.38 07/11/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.25 07/18/2016 Los Angeles CA West - Drivers
1251811            Overtime       8.00   30.38 07/18/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.25 07/25/2016 Los Angeles CA West - Drivers
1251811            Overtime      12.50   30.38 07/25/2016 Los Angeles CA West - Drivers
1251811            Regular       41.00   20.25 08/01/2016 Los Angeles CA West - Drivers
1251811            Overtime      13.00   30.38 08/01/2016 Los Angeles CA West - Drivers
1251811            Regular       40.00   20.25 08/08/2016 Los Angeles CA West - Drivers
1251811            Overtime      10.25   30.38 08/08/2016 Los Angeles CA West - Drivers
1251811            Regular        8.00   20.25 08/15/2016 Los Angeles CA West - Drivers
1251811            Overtime       4.50   30.38 08/15/2016 Los Angeles CA West - Drivers
1251811            Regular       32.00   20.25 08/22/2016 Los Angeles CA West - Drivers
1251811            Overtime      13.75   30.38 08/22/2016 Los Angeles CA West - Drivers
Total for 1251811             1,376.75
2258598            Regular       30.00   20.00 06/03/2019 Los Angeles CA East - Drivers
2258598            Overtime       0.50   30.00 06/03/2019 Los Angeles CA East - Drivers
2258598            Regular       28.00   20.00 06/10/2019 Los Angeles CA East - Drivers
2258598            Regular       13.25   20.00 06/17/2019 Los Angeles CA East - Drivers
2258598            Regular        8.00   21.50 04/29/2019 Los Angeles CA East - Drivers
2258598            Regular       32.00   21.50 05/06/2019 Los Angeles CA East - Drivers
2258598            Overtime       3.25   32.25 05/06/2019 Los Angeles CA East - Drivers
2258598            Regular       24.00   21.50 05/13/2019 Los Angeles CA East - Drivers
2258598 Case 2:19-cv-08580-JFW-MAA
                   Regular       7.50Document
                                        21.50 38-5    Filed Los
                                                05/20/2019  03/22/21
                                                                AngelesPage 473
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2258598            Regular       5.19   21.50 #:1246
                                                05/27/2019 Los Angeles CA East - Drivers
2258598            Regular       8.00   21.00 05/27/2019 Los Angeles CA East - Drivers
2258598            Overtime      4.00   31.50 05/27/2019 Los Angeles CA East - Drivers
2258598            Regular      24.00   21.00 07/08/2019 Los Angeles CA East - Drivers
2258598            Overtime      4.25   31.50 07/08/2019 Los Angeles CA East - Drivers
2258598            Regular      24.00   21.00 07/15/2019 Los Angeles CA East - Drivers
2258598            Overtime      3.75   31.50 07/15/2019 Los Angeles CA East - Drivers
2258598            Regular       8.00   20.75 06/24/2019 Los Angeles CA East - Drivers
2258598            Overtime      2.00   31.13 06/24/2019 Los Angeles CA East - Drivers
Total for 2258598              229.69
2534648            Regular       8.00   20.00 07/30/2018 Los Angeles CA West - Drivers
2534648            Overtime      3.50   30.00 07/30/2018 Los Angeles CA West - Drivers
2534648            Regular      16.00   20.00 08/06/2018 Los Angeles CA West - Drivers
2534648            Overtime      7.00   30.00 08/06/2018 Los Angeles CA West - Drivers
2534648            Regular      16.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2534648            Overtime      7.50   30.00 09/03/2018 Los Angeles CA West - Drivers
2534648            Regular       8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2534648            Regular       8.00   20.50 01/28/2019 Los Angeles CA West - Drivers
2534648            Overtime      3.83   30.75 01/28/2019 Los Angeles CA West - Drivers
2534648            Regular      16.00   19.50 05/28/2018 Los Angeles CA West - Drivers
2534648            Overtime      1.00   29.25 05/28/2018 Los Angeles CA West - Drivers
2534648            Regular      16.00   21.00 07/09/2018 Los Angeles CA West - Drivers
2534648            Overtime      5.00   31.50 07/09/2018 Los Angeles CA West - Drivers
2534648            Regular      32.00   22.00 08/27/2018 Los Angeles CA West - Drivers
2534648            Overtime     11.75   33.00 08/27/2018 Los Angeles CA West - Drivers
2534648            Regular       8.00   21.00 08/27/2018 Los Angeles CA West - Drivers
2534648            Overtime      4.00   31.50 08/27/2018 Los Angeles CA West - Drivers
2534648            Regular      40.00   22.00 06/04/2018 Los Angeles CA West - Drivers
2534648            Overtime     10.25   33.00 06/04/2018 Los Angeles CA West - Drivers
2534648            Regular      40.00   22.00 06/11/2018 Los Angeles CA West - Drivers
2534648            Overtime     13.75   33.00 06/11/2018 Los Angeles CA West - Drivers
2534648            Regular      16.00   22.00 06/18/2018 Los Angeles CA West - Drivers
2534648            Overtime      7.50   33.00 06/18/2018 Los Angeles CA West - Drivers
2534648            Regular      40.00   22.00 09/10/2018 Los Angeles CA West - Drivers
2534648            Overtime     18.75   33.00 09/10/2018 Los Angeles CA West - Drivers
2534648            Regular      40.00   22.00 10/01/2018 Los Angeles CA West - Drivers
2534648            Overtime      4.80   33.00 10/01/2018 Los Angeles CA West - Drivers
2534648            Regular      16.00   22.00 09/17/2018 Los Angeles CA West - Drivers
2534648            Overtime      7.50   33.00 09/17/2018 Los Angeles CA West - Drivers
2534648            Regular       8.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2534648            Regular       8.00   20.00 05/28/2018 Los Angeles CA West - Drivers
2534648            Overtime      1.50   30.00 05/28/2018 Los Angeles CA West - Drivers
Total for 2534648              443.63
2624773            Regular       6.75   20.25 12/10/2018 Sacramento CA - Drivers
2624773            Regular      12.75   20.25 12/17/2018 Sacramento CA - Drivers
2624773            Regular      16.00   21.00 10/22/2018 Sacramento CA - Drivers
2624773            Overtime      3.00   31.50 10/22/2018 Sacramento CA - Drivers
2624773            Regular       8.00   21.00 10/29/2018 Sacramento CA - Drivers
2624773            Overtime      3.00   31.50 10/29/2018 Sacramento CA - Drivers
Total for 2624773               49.50
1441949            Regular      42.00   20.92 12/05/2016 Sacramento CA - Drivers
1441949            Regular      40.75   20.92 12/12/2016 Sacramento CA - Drivers
1441949            Regular      42.00   20.92 12/19/2016 Sacramento CA - Drivers
1441949            Regular      20.00   20.92 12/26/2016 Sacramento CA - Drivers
1441949            Regular      13.50   20.92 01/02/2017 Sacramento CA - Drivers
1441949            Regular      51.00   20.92 01/09/2017 Sacramento CA - Drivers
1441949            Regular      32.50   20.92 01/16/2017 Sacramento CA - Drivers
1441949            Regular      39.00   20.92 01/23/2017 Sacramento CA - Drivers
1441949            Regular      47.00   20.92 01/30/2017 Sacramento CA - Drivers
1441949            Regular      50.00   20.92 02/06/2017 Sacramento CA - Drivers
1441949            Regular      85.25   20.92 02/20/2017 Sacramento CA - Drivers
1441949            Regular      27.75   20.92 03/06/2017 Sacramento CA - Drivers
1441949 Case 2:19-cv-08580-JFW-MAA
                   Regular       41.00Document
                                         20.92 38-5    Filed Sacramento
                                                 03/13/2017  03/22/21 Page    474 of 691
                                                                        CA - Drivers       Page ID
1441949            Regular       41.50   20.92 #:1247
                                                 03/20/2017 Sacramento CA - Drivers
1441949            Regular       41.75   20.92 03/27/2017 Sacramento CA - Drivers
1441949            Regular       42.00   20.92 04/03/2017 Sacramento CA - Drivers
1441949            Regular       41.50   20.92 04/10/2017 Sacramento CA - Drivers
1441949            Regular       41.25   20.92 04/17/2017 Sacramento CA - Drivers
1441949            Regular       41.00   20.92 04/24/2017 Sacramento CA - Drivers
1441949            Regular       41.00   20.92 05/01/2017 Sacramento CA - Drivers
1441949            Regular       41.00   20.92 05/08/2017 Sacramento CA - Drivers
1441949            Regular       55.25   20.92 05/15/2017 Sacramento CA - Drivers
1441949            Regular       41.00   20.92 05/22/2017 Sacramento CA - Drivers
1441949            Regular       42.25   20.92 05/29/2017 Sacramento CA - Drivers
1441949            Regular       55.75   20.92 06/05/2017 Sacramento CA - Drivers
1441949            Regular       46.00   20.92 06/12/2017 Sacramento CA - Drivers
1441949            Regular       41.25   20.92 06/19/2017 Sacramento CA - Drivers
1441949            Regular       41.75   20.92 06/26/2017 Sacramento CA - Drivers
1441949            Regular       27.75   20.92 07/03/2017 Sacramento CA - Drivers
1441949            Regular       41.25   20.92 07/10/2017 Sacramento CA - Drivers
1441949            Regular       40.75   20.92 07/17/2017 Sacramento CA - Drivers
1441949            Regular       40.75   20.92 07/24/2017 Sacramento CA - Drivers
Total for 1441949             1,336.50
751320             Regular        8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
751320             Regular        8.00   21.00 06/17/2019 Los Angeles CA West - Drivers
751320             Overtime       4.00   31.50 06/17/2019 Los Angeles CA West - Drivers
751320             Regular       24.00   21.00 04/29/2019 Los Angeles CA West - Drivers
751320             Overtime       7.00   31.50 04/29/2019 Los Angeles CA West - Drivers
751320             Regular       40.00   21.00 05/06/2019 Los Angeles CA West - Drivers
751320             Overtime       4.25   31.50 05/06/2019 Los Angeles CA West - Drivers
751320             Regular       16.00   21.00 05/13/2019 Los Angeles CA West - Drivers
751320             Overtime       1.50   31.50 05/13/2019 Los Angeles CA West - Drivers
751320             Regular       38.50   19.50 12/12/2016 Los Angeles CA West - Drivers
751320             Overtime       1.25   29.25 12/12/2016 Los Angeles CA West - Drivers
751320             Regular       31.25   19.50 12/19/2016 Los Angeles CA West - Drivers
751320             Overtime       0.50   29.25 12/19/2016 Los Angeles CA West - Drivers
751320             Regular       30.50   19.50 12/26/2016 Los Angeles CA West - Drivers
751320             Overtime       1.75   29.25 12/26/2016 Los Angeles CA West - Drivers
751320             Regular       31.25   19.50 01/02/2017 Los Angeles CA West - Drivers
751320             Overtime       2.50   29.25 01/02/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 01/09/2017 Los Angeles CA West - Drivers
751320             Overtime       3.50   29.25 01/09/2017 Los Angeles CA West - Drivers
751320             Regular       39.75   19.50 01/16/2017 Los Angeles CA West - Drivers
751320             Overtime       4.00   29.25 01/16/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 01/23/2017 Los Angeles CA West - Drivers
751320             Overtime       3.00   29.25 01/23/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 01/30/2017 Los Angeles CA West - Drivers
751320             Overtime      10.00   29.25 01/30/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 02/06/2017 Los Angeles CA West - Drivers
751320             Overtime       2.75   29.25 02/06/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 02/13/2017 Los Angeles CA West - Drivers
751320             Overtime       8.50   29.25 02/13/2017 Los Angeles CA West - Drivers
751320             Regular       39.50   19.50 02/20/2017 Los Angeles CA West - Drivers
751320             Overtime       4.25   29.25 02/20/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 02/27/2017 Los Angeles CA West - Drivers
751320             Overtime       8.75   29.25 02/27/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 03/06/2017 Los Angeles CA West - Drivers
751320             Overtime      12.25   29.25 03/06/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 03/13/2017 Los Angeles CA West - Drivers
751320             Overtime      11.50   29.25 03/13/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 03/20/2017 Los Angeles CA West - Drivers
751320             Overtime      10.00   29.25 03/20/2017 Los Angeles CA West - Drivers
751320             Regular       40.00   19.50 03/27/2017 Los Angeles CA West - Drivers
751320             Overtime      13.00   29.25 03/27/2017 Los Angeles CA West - Drivers
751320             Regular       32.00   19.50 04/03/2017 Los Angeles CA West - Drivers
751320 Case 2:19-cv-08580-JFW-MAA
                  Overtime       9.00Document
                                        29.25 38-5    Filed Los
                                                04/03/2017  03/22/21
                                                                AngelesPage 475- Drivers
                                                                       CA West   of 691    Page ID
751320            Regular       40.00   19.50 #:1248
                                                04/10/2017 Los Angeles CA West - Drivers
751320            Overtime       9.50   29.25 04/10/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 04/17/2017 Los Angeles CA West - Drivers
751320            Overtime       9.00   29.25 04/17/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 04/24/2017 Los Angeles CA West - Drivers
751320            Overtime       9.25   29.25 04/24/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 05/01/2017 Los Angeles CA West - Drivers
751320            Overtime       7.00   29.25 05/01/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 05/08/2017 Los Angeles CA West - Drivers
751320            Overtime       7.50   29.25 05/08/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 05/15/2017 Los Angeles CA West - Drivers
751320            Overtime       6.50   29.25 05/15/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 05/22/2017 Los Angeles CA West - Drivers
751320            Overtime       7.50   29.25 05/22/2017 Los Angeles CA West - Drivers
751320            Regular       32.00   19.50 05/29/2017 Los Angeles CA West - Drivers
751320            Overtime       5.50   29.25 05/29/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.50 06/05/2017 Los Angeles CA West - Drivers
751320            Overtime       7.75   29.25 06/05/2017 Los Angeles CA West - Drivers
751320            Regular       16.00   19.50 06/12/2017 Los Angeles CA West - Drivers
751320            Overtime       3.50   29.25 06/12/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.00 06/19/2017 Los Angeles CA West - Drivers
751320            Overtime       5.00   28.50 06/19/2017 Los Angeles CA West - Drivers
751320            Regular       40.00   19.00 06/26/2017 Los Angeles CA West - Drivers
751320            Overtime       3.25   28.50 06/26/2017 Los Angeles CA West - Drivers
751320            Regular       32.00   19.00 07/03/2017 Los Angeles CA West - Drivers
751320            Overtime       1.00   28.50 07/03/2017 Los Angeles CA West - Drivers
751320            Regular        7.00   19.00 11/21/2016 Los Angeles CA West - Drivers
751320            Regular       33.50   21.00 10/22/2018 Los Angeles CA West - Drivers
Total for 751320             1,464.75
1393987           Regular       32.00   17.00 09/05/2016 Sacramento CA - Drivers
1393987           Overtime       2.50   25.50 09/05/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 09/12/2016 Sacramento CA - Drivers
1393987           Overtime       6.50   25.50 09/12/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 09/19/2016 Sacramento CA - Drivers
1393987           Overtime       3.50   25.50 09/19/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 09/26/2016 Sacramento CA - Drivers
1393987           Overtime       7.00   25.50 09/26/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 10/03/2016 Sacramento CA - Drivers
1393987           Overtime       7.00   25.50 10/03/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 10/10/2016 Sacramento CA - Drivers
1393987           Overtime       5.50   25.50 10/10/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 10/17/2016 Sacramento CA - Drivers
1393987           Overtime       7.50   25.50 10/17/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 10/24/2016 Sacramento CA - Drivers
1393987           Overtime       4.00   25.50 10/24/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 10/31/2016 Sacramento CA - Drivers
1393987           Overtime       7.50   25.50 10/31/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 11/07/2016 Sacramento CA - Drivers
1393987           Overtime       4.50   25.50 11/07/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 11/14/2016 Sacramento CA - Drivers
1393987           Overtime       3.00   25.50 11/14/2016 Sacramento CA - Drivers
1393987           Regular       24.00   17.00 11/21/2016 Sacramento CA - Drivers
1393987           Overtime       2.00   25.50 11/21/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 11/28/2016 Sacramento CA - Drivers
1393987           Overtime       7.00   25.50 11/28/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 12/05/2016 Sacramento CA - Drivers
1393987           Overtime       5.00   25.50 12/05/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 12/12/2016 Sacramento CA - Drivers
1393987           Overtime       4.50   25.50 12/12/2016 Sacramento CA - Drivers
1393987           Regular       40.00   17.00 12/19/2016 Sacramento CA - Drivers
1393987           Overtime       6.00   25.50 12/19/2016 Sacramento CA - Drivers
1393987           Regular       32.00   17.00 12/26/2016 Sacramento CA - Drivers
1393987 Case   2:19-cv-08580-JFW-MAA
                     Overtime      0.50Document
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                                                  12/26/2016  03/22/21 Page    476 of 691 Page ID
                                                                         CA - Drivers
1393987              Regular      32.00   17.00 #:1249
                                                  01/02/2017 Sacramento CA - Drivers
1393987             Overtime        3.50    25.50   01/02/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   01/09/2017   Sacramento   CA   - Drivers
1393987             Overtime        2.50    25.50   01/09/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   01/16/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.00    25.50   01/16/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   01/23/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.00    25.50   01/23/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   01/30/2017   Sacramento   CA   - Drivers
1393987             Overtime        3.50    25.50   01/30/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   02/06/2017   Sacramento   CA   - Drivers
1393987             Overtime        4.50    25.50   02/06/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   02/13/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.50    25.50   02/13/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   02/20/2017   Sacramento   CA   - Drivers
1393987             Overtime        1.50    25.50   02/20/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   02/27/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.00    25.50   02/27/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   03/06/2017   Sacramento   CA   - Drivers
1393987             Overtime        3.00    25.50   03/06/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   03/13/2017   Sacramento   CA   - Drivers
1393987             Overtime        4.50    25.50   03/13/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   03/20/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.50    25.50   03/20/2017   Sacramento   CA   - Drivers
1393987             Regular        32.00    17.00   03/27/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.50    25.50   03/27/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   04/03/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.00    25.50   04/03/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   04/10/2017   Sacramento   CA   - Drivers
1393987             Overtime        4.50    25.50   04/10/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   04/17/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.00    25.50   04/17/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   04/24/2017   Sacramento   CA   - Drivers
1393987             Overtime        4.50    25.50   04/24/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   05/01/2017   Sacramento   CA   - Drivers
1393987             Overtime        1.50    25.50   05/01/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   05/08/2017   Sacramento   CA   - Drivers
1393987             Overtime        3.50    25.50   05/08/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   05/15/2017   Sacramento   CA   - Drivers
1393987             Overtime        2.50   132.00   05/15/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   05/22/2017   Sacramento   CA   - Drivers
1393987             Overtime        4.50    25.50   05/15/2017   Sacramento   CA   - Drivers
1393987             Regular        32.00    17.00   05/29/2017   Sacramento   CA   - Drivers
1393987             Overtime        3.00    25.50   05/29/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   06/05/2017   Sacramento   CA   - Drivers
1393987             Overtime        3.50    25.50   06/05/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   06/12/2017   Sacramento   CA   - Drivers
1393987             Overtime        2.50    25.50   06/12/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   06/19/2017   Sacramento   CA   - Drivers
1393987             Overtime       10.00    25.50   06/19/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   06/26/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.00    25.50   06/26/2017   Sacramento   CA   - Drivers
1393987             Regular        32.00    17.00   07/03/2017   Sacramento   CA   - Drivers
1393987             Overtime        8.00    25.50   07/03/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   07/10/2017   Sacramento   CA   - Drivers
1393987             Overtime        9.00    25.50   07/10/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   07/17/2017   Sacramento   CA   - Drivers
1393987             Overtime        8.00    25.50   07/17/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   07/24/2017   Sacramento   CA   - Drivers
1393987             Overtime       10.00    25.50   07/24/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   07/31/2017   Sacramento   CA   - Drivers
1393987             Overtime        8.00    25.50   07/31/2017   Sacramento   CA   - Drivers
1393987 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          17.00 38-5    Filed Sacramento
                                                  08/07/2017  03/22/21 Page    477 of 691 Page ID
                                                                         CA - Drivers
1393987              Overtime      9.00   25.50 #:1250
                                                  08/07/2017 Sacramento CA - Drivers
1393987             Regular        40.00    17.00   08/14/2017   Sacramento   CA   - Drivers
1393987             Overtime       10.50    25.50   08/14/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   08/21/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.00   08/28/2017   Sacramento   CA   - Drivers
1393987             Overtime       14.50    25.50   08/21/2017   Sacramento   CA   - Drivers
1393987             Regular        32.00    17.00   09/04/2017   Sacramento   CA   - Drivers
1393987             Overtime        4.00    25.50   09/04/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   09/11/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.00    26.25   09/11/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   09/18/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.50    26.25   09/18/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   09/25/2017   Sacramento   CA   - Drivers
1393987             Overtime        8.00    26.25   09/25/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   10/02/2017   Sacramento   CA   - Drivers
1393987             Overtime       10.00    26.25   10/02/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   10/09/2017   Sacramento   CA   - Drivers
1393987             Overtime        2.50    26.25   10/09/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   10/16/2017   Sacramento   CA   - Drivers
1393987             Overtime        8.50    26.25   10/16/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   10/23/2017   Sacramento   CA   - Drivers
1393987             Overtime        6.00    26.25   10/23/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   10/30/2017   Sacramento   CA   - Drivers
1393987             Overtime       10.00    26.25   10/30/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   11/06/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.50    26.25   11/06/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   11/13/2017   Sacramento   CA   - Drivers
1393987             Overtime        5.00    26.25   11/13/2017   Sacramento   CA   - Drivers
1393987             Regular        24.00    17.50   11/20/2017   Sacramento   CA   - Drivers
1393987             Overtime        3.00    26.25   11/20/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   11/27/2017   Sacramento   CA   - Drivers
1393987             Overtime        9.00    26.25   11/27/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   12/04/2017   Sacramento   CA   - Drivers
1393987             Overtime        9.00    26.25   12/04/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   12/11/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.50    26.25   12/11/2017   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   12/18/2017   Sacramento   CA   - Drivers
1393987             Overtime        7.00    26.25   12/18/2017   Sacramento   CA   - Drivers
1393987             Regular        24.00    17.50   12/25/2017   Sacramento   CA   - Drivers
1393987             Overtime        1.00    26.25   12/25/2017   Sacramento   CA   - Drivers
1393987             Regular        32.00    17.50   01/01/2018   Sacramento   CA   - Drivers
1393987             Overtime        1.00    26.25   01/01/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   01/08/2018   Sacramento   CA   - Drivers
1393987             Overtime        6.50    26.25   01/08/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   01/15/2018   Sacramento   CA   - Drivers
1393987             Overtime       14.00    26.25   01/15/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   01/22/2018   Sacramento   CA   - Drivers
1393987             Overtime        3.50    26.25   01/22/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   01/29/2018   Sacramento   CA   - Drivers
1393987             Overtime        5.50    26.25   01/29/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   02/05/2018   Sacramento   CA   - Drivers
1393987             Overtime        5.00    26.25   02/05/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   02/12/2018   Sacramento   CA   - Drivers
1393987             Overtime        6.00    26.25   02/12/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   02/19/2018   Sacramento   CA   - Drivers
1393987             Overtime        4.50    26.25   02/19/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   02/26/2018   Sacramento   CA   - Drivers
1393987             Overtime        8.50    26.25   02/26/2018   Sacramento   CA   - Drivers
1393987             Regular        40.00    17.50   03/05/2018   Sacramento   CA   - Drivers
1393987             Overtime        3.50    26.25   03/05/2018   Sacramento   CA   - Drivers
1393987             Regular        32.00    17.50   03/12/2018   Sacramento   CA   - Drivers
1393987             Overtime        8.50    26.25   03/12/2018   Sacramento   CA   - Drivers
          Case 2:19-cv-08580-JFW-MAA
Total for 1393987               3,535.00Document 38-5 Filed 03/22/21 Page 478 of 691        Page ID
2637094              Regular       18.50   20.50 #:1251
                                                   06/10/2019 Sacramento CA - Drivers
Total for 2637094                  18.50
2486560              Regular       24.00   17.60 03/12/2018 Los Angeles CA West - Drivers
2486560              Overtime      12.00   26.40 03/12/2018 Los Angeles CA West - Drivers
2486560              Regular       32.00   17.60 03/19/2018 Los Angeles CA West - Drivers
2486560              Overtime      12.00   26.40 03/19/2018 Los Angeles CA West - Drivers
2486560              Regular       32.00   17.60 03/26/2018 Los Angeles CA West - Drivers
2486560              Overtime      16.00   26.40 03/26/2018 Los Angeles CA West - Drivers
2486560              Regular       32.00   17.60 04/02/2018 Los Angeles CA West - Drivers
2486560              Overtime      14.50   26.40 04/02/2018 Los Angeles CA West - Drivers
2486560              Regular       16.00   16.00 02/26/2018 Los Angeles CA West - Drivers
2486560              Overtime       1.00   24.00 02/26/2018 Los Angeles CA West - Drivers
2486560              Regular       24.00   16.00 03/05/2018 Los Angeles CA West - Drivers
Total for 2486560                 215.50
2738391              Regular        8.00   18.00 05/06/2019 Los Angeles CA West - Drivers
2738391              Overtime       4.00   27.00 05/06/2019 Los Angeles CA West - Drivers
2738391              Regular       21.25   18.00 05/13/2019 Los Angeles CA West - Drivers
2738391              Overtime       3.00   27.00 05/13/2019 Los Angeles CA West - Drivers
2738391              Regular        8.00   18.00 05/20/2019 Los Angeles CA West - Drivers
2738391              Overtime       1.25   27.00 05/20/2019 Los Angeles CA West - Drivers
Total for 2738391                  45.50
625385               Regular       16.00   20.00 12/25/2017 Los Angeles CA East - Drivers
625385               Overtime       6.00   30.00 12/25/2017 Los Angeles CA East - Drivers
625385               Regular        8.00   20.00 01/01/2018 Los Angeles CA East - Drivers
625385               Overtime       4.00   30.00 01/01/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   20.00 01/15/2018 Los Angeles CA East - Drivers
625385               Overtime       2.00   30.00 01/15/2018 Los Angeles CA East - Drivers
625385               Regular       16.00   20.00 02/05/2018 Los Angeles CA East - Drivers
625385               Overtime       8.00   30.00 02/05/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   20.00 02/26/2018 Los Angeles CA East - Drivers
625385               Overtime       2.00   30.00 02/26/2018 Los Angeles CA East - Drivers
625385               Regular       16.00   20.00 03/05/2018 Los Angeles CA East - Drivers
625385               Overtime       8.00   30.00 03/05/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   20.00 03/12/2018 Los Angeles CA East - Drivers
625385               Overtime       4.00   30.00 03/12/2018 Los Angeles CA East - Drivers
625385               Regular        7.00   20.98 10/16/2017 Los Angeles CA East - Drivers
625385               Regular       11.00   20.98 11/27/2017 Los Angeles CA East - Drivers
625385               Regular        4.00   20.98 12/04/2017 Los Angeles CA East - Drivers
625385               Regular        5.00   20.98 02/12/2018 Los Angeles CA East - Drivers
625385               Regular       16.00   21.00 01/22/2018 Los Angeles CA East - Drivers
625385               Overtime       7.00   31.50 01/22/2018 Los Angeles CA East - Drivers
625385               Regular       32.00   21.00 01/22/2018 Los Angeles CA East - Drivers
625385               Overtime      12.50   31.50 01/22/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   21.00 01/08/2018 Los Angeles CA East - Drivers
625385               Regular       24.00   21.00 01/15/2018 Los Angeles CA East - Drivers
625385               Overtime      11.00   31.50 01/15/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   19.00 10/02/2017 Los Angeles CA East - Drivers
625385               Overtime       1.00   28.50 10/02/2017 Los Angeles CA East - Drivers
625385               Regular        6.00   20.00 01/01/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   20.00 01/15/2018 Los Angeles CA East - Drivers
625385               Regular       40.00   20.00 02/12/2018 Los Angeles CA East - Drivers
625385               Overtime       5.50   30.00 02/12/2018 Los Angeles CA East - Drivers
625385               Regular       40.00   20.00 02/19/2018 Los Angeles CA East - Drivers
625385               Overtime       5.50   30.00 02/19/2018 Los Angeles CA East - Drivers
625385               Regular       16.00   21.00 03/12/2018 Los Angeles CA East - Drivers
625385               Overtime       6.00   31.50 03/12/2018 Los Angeles CA East - Drivers
625385               Regular       32.00   21.00 03/19/2018 Los Angeles CA East - Drivers
625385               Overtime      13.00   31.50 03/19/2018 Los Angeles CA East - Drivers
625385               Regular       16.00   21.00 03/26/2018 Los Angeles CA East - Drivers
625385               Overtime       7.00   31.50 03/26/2018 Los Angeles CA East - Drivers
625385               Regular        8.00   20.00 10/01/2018 Los Angeles CA East - Drivers
625385               Overtime       4.00   30.00 10/01/2018 Los Angeles CA East - Drivers
625385 Case 2:19-cv-08580-JFW-MAA
                  Regular        1.00Document
                                        21.00 38-5    Filed Los
                                                10/02/2017  03/22/21
                                                                AngelesPage 479
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
625385            Regular       55.00   21.00 #:1252
                                                10/09/2017 Los Angeles CA East - Drivers
625385            Regular       50.00   21.00 10/16/2017 Los Angeles CA East - Drivers
625385            Regular       54.50   21.00 10/23/2017 Los Angeles CA East - Drivers
625385            Regular       49.00   21.00 10/30/2017 Los Angeles CA East - Drivers
625385            Regular       56.00   21.00 11/06/2017 Los Angeles CA East - Drivers
625385            Regular       53.00   21.00 11/13/2017 Los Angeles CA East - Drivers
625385            Regular       35.00   21.00 11/20/2017 Los Angeles CA East - Drivers
625385            Regular       53.50   21.00 11/27/2017 Los Angeles CA East - Drivers
625385            Regular       59.00   21.00 12/04/2017 Los Angeles CA East - Drivers
625385            Regular       65.00   21.00 12/11/2017 Los Angeles CA East - Drivers
625385            Regular       20.00   21.00 12/18/2017 Los Angeles CA East - Drivers
Total for 625385             1,018.50
2688861           Regular       40.00   26.00 02/18/2019 zz - San Francisco CA - Drivers
2688861           Overtime       5.50   39.00 02/18/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 02/25/2019 zz - San Francisco CA - Drivers
2688861           Overtime       2.00   39.00 02/25/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 03/04/2019 zz - San Francisco CA - Drivers
2688861           Overtime       1.75   39.00 03/04/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 03/11/2019 zz - San Francisco CA - Drivers
2688861           Overtime       3.50   39.00 03/11/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 03/18/2019 zz - San Francisco CA - Drivers
2688861           Overtime       1.75   39.00 03/18/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 03/25/2019 zz - San Francisco CA - Drivers
2688861           Overtime       1.25   39.00 03/25/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 04/01/2019 zz - San Francisco CA - Drivers
2688861           Overtime       0.50   39.00 04/01/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 04/08/2019 zz - San Francisco CA - Drivers
2688861           Overtime       1.50   39.00 04/08/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 04/15/2019 zz - San Francisco CA - Drivers
2688861           Overtime      10.25   39.00 04/15/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 04/22/2019 zz - San Francisco CA - Drivers
2688861           Overtime       2.00   39.00 04/22/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 04/29/2019 zz - San Francisco CA - Drivers
2688861           Overtime       0.50   39.00 04/29/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 05/06/2019 zz - San Francisco CA - Drivers
2688861           Overtime       1.25   39.00 05/06/2019 zz - San Francisco CA - Drivers
2688861           Regular       40.00   26.00 05/13/2019 zz - San Francisco CA - Drivers
2688861           Overtime       3.25   39.00 05/13/2019 zz - San Francisco CA - Drivers
2688861           Regular       16.00   26.00 05/20/2019 zz - San Francisco CA - Drivers
2688861           Overtime       1.75   39.00 05/20/2019 zz - San Francisco CA - Drivers
Total for 2688861              572.75
1281161           Regular       39.25   20.00 02/22/2016 Los Angeles CA West - Drivers
1281161           Overtime      16.25   30.00 02/22/2016 Los Angeles CA West - Drivers
1281161           Regular       24.00   20.00 02/29/2016 Los Angeles CA West - Drivers
1281161           Overtime       7.50   30.00 02/29/2016 Los Angeles CA West - Drivers
1281161           Regular       38.50   20.00 03/07/2016 Los Angeles CA West - Drivers
1281161           Overtime       3.25   30.00 03/07/2016 Los Angeles CA West - Drivers
1281161           Regular       40.00   20.00 03/14/2016 Los Angeles CA West - Drivers
1281161           Overtime       9.25   30.00 03/14/2016 Los Angeles CA West - Drivers
1281161           Regular       31.25   20.00 03/21/2016 Los Angeles CA West - Drivers
1281161           Overtime       8.75   30.00 03/21/2016 Los Angeles CA West - Drivers
1281161           Regular       37.25   20.00 03/28/2016 Los Angeles CA West - Drivers
1281161           Overtime      13.50   30.00 03/28/2016 Los Angeles CA West - Drivers
1281161           Regular       32.00   20.00 04/04/2016 Los Angeles CA West - Drivers
1281161           Overtime       5.50   30.00 04/04/2016 Los Angeles CA West - Drivers
1281161           Regular       32.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1281161           Overtime      12.25   30.00 04/11/2016 Los Angeles CA West - Drivers
1281161           Regular       32.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1281161           Overtime       4.50   30.00 04/18/2016 Los Angeles CA West - Drivers
1281161           Regular       32.00   20.00 04/25/2016 Los Angeles CA West - Drivers
1281161           Overtime       8.00   30.00 04/25/2016 Los Angeles CA West - Drivers
1281161           Regular       24.00   20.00 05/02/2016 Los Angeles CA West - Drivers
1281161 Case   2:19-cv-08580-JFW-MAA
                     Overtime      6.50Document
                                          30.00 38-5    Filed Los
                                                  05/02/2016  03/22/21
                                                                  AngelesPage 480- Drivers
                                                                         CA West   of 691 Page ID
1281161              Regular      32.00   20.00 #:1253
                                                  05/09/2016 Los Angeles CA West - Drivers
1281161             Overtime        8.75    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        6.00    30.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       15.00    30.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        30.00    20.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        6.75    30.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       10.00    30.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        39.00    20.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       10.00    30.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.50    30.00   06/20/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.50    30.00   06/27/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        24.00    20.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.50    30.00   07/04/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        23.25    20.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        5.00    30.00   07/11/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        9.00    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       10.75    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.25    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        8.75    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        24.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        4.25    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        5.75    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        6.25    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.50    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.00    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.50    30.38   10/10/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       19.75    30.38   10/17/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   10/24/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       12.25    30.38   10/24/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   10/31/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.75    30.38   10/31/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.75    30.38   11/07/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.25    30.38   11/14/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        24.00    20.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        4.25    30.38   11/21/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        39.50    20.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.00    30.38   11/28/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.75    30.38   12/05/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.25    30.38   12/12/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime        8.75    30.38   12/19/2016   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.00    30.38   12/26/2016   Los   Angeles   CA   West   - Drivers
1281161 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          20.25 38-5    Filed Los
                                                  01/02/2017  03/22/21
                                                                  AngelesPage 481- Drivers
                                                                         CA West   of 691 Page ID
1281161              Overtime     14.00   30.38 #:1254
                                                  01/02/2017 Los Angeles CA West - Drivers
1281161             Regular        40.00    20.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       27.75    30.38   01/09/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       16.75    30.38   01/16/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         7.50   30.38   01/23/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.00    30.38   01/30/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.50    30.38   02/06/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       16.50    30.38   02/13/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular          8.00   20.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         3.75   30.38   02/20/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.75    30.38   02/27/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       10.25    30.38   03/06/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         9.50   30.38   03/13/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        16.00    20.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         4.25   30.38   03/27/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         7.50   30.38   04/03/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         7.00   30.38   04/10/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.25    30.38   04/17/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        28.75    20.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         2.25   30.38   04/24/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         7.75   30.38   05/01/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         9.50   30.38   05/08/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.25    30.38   05/15/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.50    30.38   05/22/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.75    30.38   05/29/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   06/05/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       16.25    30.38   06/05/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         0.50   30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   06/12/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       21.75    30.38   06/12/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime         8.25   30.38   06/26/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   07/03/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.50    30.38   07/03/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       12.50    30.38   07/10/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   07/17/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       14.00    30.38   07/17/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.00    30.38   07/24/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        40.00    20.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       11.75    30.38   07/31/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular        32.00    20.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1281161             Overtime       13.25    30.38   08/07/2017   Los   Angeles   CA   West   - Drivers
1281161             Regular         -3.50   20.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1281161 Case   2:19-cv-08580-JFW-MAA
                     Overtime      -6.50Document
                                           30.38 38-5    Filed Los
                                                   08/07/2017  03/22/21
                                                                   AngelesPage 482- Drivers
                                                                          CA West   of 691 Page ID
1281161              Regular      16.00    20.25 #:1255
                                                   05/14/2018 Los Angeles CA West - Drivers
1281161              Overtime        6.50    30.38   05/14/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    20.25   05/21/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        1.00    30.38   05/21/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        24.00    20.25   05/28/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        7.75    30.38   05/28/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    20.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        5.75    30.38   06/04/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    20.25   06/11/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       10.50    30.38   06/11/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    20.25   06/18/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       10.75    30.38   06/18/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    20.25   06/25/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       10.25    30.38   06/25/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    20.25   07/02/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       10.00    30.38   07/02/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        40.00    20.25   07/09/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       10.25    30.38   07/09/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        40.00    20.25   07/16/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       19.00    30.38   07/16/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        40.00    20.25   07/23/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       17.25    30.38   07/23/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        40.00    22.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       15.25    33.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        39.25    22.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       16.25    33.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        39.50    22.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       16.00    33.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    22.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        6.50    33.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    22.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        8.75    33.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        32.00    22.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime       14.00    33.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        24.00    22.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        7.75    33.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    22.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        2.50    33.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular        12.00    20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         6.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    20.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        3.50    30.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    18.50   02/27/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    19.50   04/03/2017   Los   Angeles   CA   West   - Drivers
1281161              Overtime        0.50    29.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    19.50   05/29/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    19.50   06/26/2017   Los   Angeles   CA   West   - Drivers
1281161              Overtime        1.25    29.25   06/26/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    19.50   07/10/2017   Los   Angeles   CA   West   - Drivers
1281161              Overtime        1.00    29.25   07/10/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         6.25    19.50   07/17/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    19.50   07/24/2017   Los   Angeles   CA   West   - Drivers
1281161              Overtime        1.00    29.25   07/24/2017   Los   Angeles   CA   West   - Drivers
1281161              Regular         7.50    19.50   05/21/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        1.75    29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    20.50   06/25/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    20.50   07/02/2018   Los   Angeles   CA   West   - Drivers
1281161              Overtime        0.25    30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         4.00    20.50   07/09/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         4.00    20.50   07/16/2018   Los   Angeles   CA   West   - Drivers
1281161              Regular         8.00    20.50   07/23/2018   Los   Angeles   CA   West   - Drivers
1281161 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.25Document
                                         30.75 38-5    Filed Los
                                                 07/23/2018  03/22/21
                                                                 AngelesPage 483- Drivers
                                                                        CA West   of 691    Page ID
1281161            Regular        8.00   20.50 #:1256
                                                 08/13/2018 Los Angeles CA West - Drivers
1281161            Overtime       3.25   30.75 08/13/2018 Los Angeles CA West - Drivers
1281161            Regular        4.00   20.50 08/20/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 08/27/2018 Los Angeles CA West - Drivers
1281161            Overtime       4.00   30.75 08/27/2018 Los Angeles CA West - Drivers
1281161            Regular        6.00   20.50 09/10/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 09/24/2018 Los Angeles CA West - Drivers
1281161            Overtime       2.00   30.75 09/24/2018 Los Angeles CA West - Drivers
1281161            Regular        2.00   20.50 10/08/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 10/29/2018 Los Angeles CA West - Drivers
1281161            Overtime       0.50   30.75 10/29/2018 Los Angeles CA West - Drivers
1281161            Regular        7.00   20.50 11/05/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 11/12/2018 Los Angeles CA West - Drivers
1281161            Overtime       1.75   30.75 11/12/2018 Los Angeles CA West - Drivers
1281161            Regular        5.25   20.50 11/19/2018 Los Angeles CA West - Drivers
1281161            Regular        4.00   20.50 11/26/2018 Los Angeles CA West - Drivers
1281161            Regular        7.00   20.50 12/03/2018 Los Angeles CA West - Drivers
1281161            Regular        4.00   20.50 12/10/2018 Los Angeles CA West - Drivers
1281161            Regular        6.00   20.50 12/17/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 12/24/2018 Los Angeles CA West - Drivers
1281161            Overtime       1.00   30.75 12/24/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 12/31/2018 Los Angeles CA West - Drivers
1281161            Regular        6.50   20.50 01/07/2019 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.50 01/14/2019 Los Angeles CA West - Drivers
1281161            Overtime       0.50   30.75 01/14/2019 Los Angeles CA West - Drivers
1281161            Regular        6.75   20.50 01/21/2019 Los Angeles CA West - Drivers
1281161            Regular        8.00   21.00 06/11/2018 Los Angeles CA West - Drivers
1281161            Overtime       1.00   31.50 06/11/2018 Los Angeles CA West - Drivers
1281161            Regular       35.00   12.00 08/28/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   12.00 09/04/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.00 10/01/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   21.00 02/04/2019 Los Angeles CA West - Drivers
1281161            Overtime       2.50   31.50 02/04/2019 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.75 04/17/2017 Los Angeles CA West - Drivers
1281161            Overtime       2.25   31.13 04/17/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   20.75 04/24/2017 Los Angeles CA West - Drivers
1281161            Overtime       4.00   31.13 04/24/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   19.00 03/13/2017 Los Angeles CA West - Drivers
1281161            Overtime       1.00   28.50 03/13/2017 Los Angeles CA West - Drivers
1281161            Regular       24.00   20.00 05/21/2018 Los Angeles CA West - Drivers
1281161            Overtime       3.25   30.00 05/21/2018 Los Angeles CA West - Drivers
1281161            Regular       24.00   20.00 09/17/2018 Los Angeles CA West - Drivers
1281161            Overtime       1.00   30.00 09/17/2018 Los Angeles CA West - Drivers
1281161            Regular       40.00   20.00 09/24/2018 Los Angeles CA West - Drivers
1281161            Overtime       5.50   30.00 09/24/2018 Los Angeles CA West - Drivers
1281161            Regular        8.00   19.00 05/22/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   19.00 03/27/2017 Los Angeles CA West - Drivers
1281161            Overtime       1.50   28.50 03/27/2017 Los Angeles CA West - Drivers
1281161            Regular       16.00   19.00 04/10/2017 Los Angeles CA West - Drivers
1281161            Overtime       5.00   28.50 04/10/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   19.00 04/17/2017 Los Angeles CA West - Drivers
1281161            Overtime       2.00   28.50 04/17/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   19.00 04/24/2017 Los Angeles CA West - Drivers
1281161            Overtime       0.25   28.50 04/24/2017 Los Angeles CA West - Drivers
1281161            Regular        8.00   19.00 04/03/2017 Los Angeles CA West - Drivers
1281161            Overtime       1.50   28.50 04/03/2017 Los Angeles CA West - Drivers
1281161            Regular       15.75   16.00 05/16/2016 Los Angeles CA West - Drivers
1281161            Overtime       2.00   24.00 05/16/2016 Los Angeles CA West - Drivers
1281161            Regular       13.50   21.00 06/18/2018 Los Angeles CA West - Drivers
1281161            Regular        6.00   19.00 05/01/2017 Los Angeles CA West - Drivers
Total for 1281161             4,617.25
732518             Regular       16.00   20.00 09/18/2017 Los Angeles CA East - Drivers
732518 Case 2:19-cv-08580-JFW-MAA
                  Overtime      0.75Document
                                       30.00 38-5    Filed Los
                                               09/18/2017  03/22/21
                                                               AngelesPage 484
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
732518            Regular      40.00   20.00 #:1257
                                               09/25/2017 Los Angeles CA East - Drivers
732518            Overtime      1.25   30.00 09/25/2017 Los Angeles CA East - Drivers
Total for 732518               58.00
2464693           Regular      32.00   20.00 03/04/2019 Sacramento CA - Drivers
2464693           Overtime      2.00   30.00 03/04/2019 Sacramento CA - Drivers
2464693           Regular      10.00   20.00 03/11/2019 Sacramento CA - Drivers
2464693           Regular      10.00   20.00 03/11/2019 Sacramento CA - Drivers
2464693           Regular      24.00   20.00 05/13/2019 Sacramento CA - Drivers
2464693           Regular       8.00   20.00 03/11/2019 Sacramento CA - Drivers
2464693           Regular      40.00   20.00 03/18/2019 Sacramento CA - Drivers
2464693           Overtime      0.75   30.00 03/18/2019 Sacramento CA - Drivers
2464693           Regular      12.00   20.00 03/25/2019 Sacramento CA - Drivers
Total for 2464693             138.75
1161516           Regular      24.00   20.00 09/11/2017 Los Angeles CA East - Drivers
1161516           Overtime      2.50   30.00 09/11/2017 Los Angeles CA East - Drivers
1161516           Regular      20.00   17.00 10/05/2015 Los Angeles CA East - Drivers
1161516           Overtime      1.50   25.50 10/05/2015 Los Angeles CA East - Drivers
1161516           Regular      15.00   22.00 12/14/2015 Los Angeles CA East - Drivers
1161516           Regular       8.00   18.00 12/21/2015 Los Angeles CA East - Drivers
1161516           Regular       8.00   16.00 11/02/2015 Los Angeles CA East - Drivers
1161516           Overtime      4.00   24.00 11/02/2015 Los Angeles CA East - Drivers
1161516           Regular       6.00   17.00 09/28/2015 Los Angeles CA East - Drivers
1161516           Regular      16.00   17.00 10/05/2015 Los Angeles CA East - Drivers
1161516           Overtime      4.00   25.50 10/05/2015 Los Angeles CA East - Drivers
1161516           Regular       2.00   17.00 10/12/2015 Los Angeles CA East - Drivers
1161516           Regular      50.00   18.00 02/22/2016 Los Angeles CA East - Drivers
1161516           Overtime     10.00   27.00 02/22/2016 Los Angeles CA East - Drivers
1161516           Regular      50.00   18.00 02/29/2016 Los Angeles CA East - Drivers
1161516           Overtime      9.25   27.00 02/29/2016 Los Angeles CA East - Drivers
1161516           Regular      46.00   18.00 03/07/2016 Los Angeles CA East - Drivers
1161516           Overtime      9.00   27.00 03/07/2016 Los Angeles CA East - Drivers
1161516           Regular      45.00   18.00 03/14/2016 Los Angeles CA East - Drivers
1161516           Overtime      4.50   27.00 03/14/2016 Los Angeles CA East - Drivers
1161516           Regular      40.00   18.00 03/21/2016 Los Angeles CA East - Drivers
1161516           Overtime      5.00   27.00 03/21/2016 Los Angeles CA East - Drivers
1161516           Regular      48.00   18.00 03/28/2016 Los Angeles CA East - Drivers
1161516           Overtime      8.00   27.00 03/28/2016 Los Angeles CA East - Drivers
1161516           Regular      42.50   18.00 04/04/2016 Los Angeles CA East - Drivers
1161516           Overtime      3.00   27.00 04/04/2016 Los Angeles CA East - Drivers
1161516           Regular      42.50   18.00 04/11/2016 Los Angeles CA East - Drivers
1161516           Overtime      3.00   27.00 04/11/2016 Los Angeles CA East - Drivers
1161516           Regular      35.00   18.00 04/18/2016 Los Angeles CA East - Drivers
1161516           Overtime      3.00   27.00 04/18/2016 Los Angeles CA East - Drivers
1161516           Regular      38.00   18.00 04/25/2016 Los Angeles CA East - Drivers
1161516           Overtime      1.50   27.00 04/25/2016 Los Angeles CA East - Drivers
1161516           Regular      35.50   18.00 05/02/2016 Los Angeles CA East - Drivers
1161516           Regular      42.50   18.00 05/09/2016 Los Angeles CA East - Drivers
1161516           Overtime      3.00   27.00 05/09/2016 Los Angeles CA East - Drivers
1161516           Regular      40.00   18.00 05/16/2016 Los Angeles CA East - Drivers
1161516           Overtime      1.00   27.00 05/16/2016 Los Angeles CA East - Drivers
1161516           Regular      44.50   18.00 05/23/2016 Los Angeles CA East - Drivers
1161516           Overtime      1.00   27.00 05/23/2016 Los Angeles CA East - Drivers
1161516           Regular      31.00   18.00 05/30/2016 Los Angeles CA East - Drivers
1161516           Regular      37.50   18.00 06/06/2016 Los Angeles CA East - Drivers
1161516           Regular      40.00   18.00 06/13/2016 Los Angeles CA East - Drivers
1161516           Overtime      1.50   27.00 06/13/2016 Los Angeles CA East - Drivers
1161516           Regular      40.00   18.00 06/20/2016 Los Angeles CA East - Drivers
1161516           Overtime      3.00   27.00 06/20/2016 Los Angeles CA East - Drivers
1161516           Regular      39.00   18.00 06/27/2016 Los Angeles CA East - Drivers
1161516           Regular      30.00   18.00 07/04/2016 Los Angeles CA East - Drivers
1161516           Regular      37.50   18.00 07/11/2016 Los Angeles CA East - Drivers
1161516           Regular      40.00   19.10 07/18/2016 Los Angeles CA East - Drivers
1161516 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.25Document
                                          19.10 38-5    Filed Los
                                                  07/25/2016  03/22/21
                                                                  AngelesPage 485
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1161516              Regular      41.50   19.10 #:1258
                                                  08/01/2016 Los Angeles CA East - Drivers
1161516              Regular        39.25    19.10   08/08/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        16.00    18.00   01/11/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.50   27.00   01/11/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    18.00   01/18/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         0.75   27.00   01/18/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        24.00    18.00   01/25/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         0.50   27.00   01/25/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        16.00    18.00   02/01/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.25   27.00   02/01/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        33.50    18.00   10/26/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          9.50   18.00   11/02/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular         -1.50   18.00   11/02/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular         -1.50   18.00   10/26/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.50   27.00   10/26/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          2.00   19.00   11/02/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         4.00   28.50   11/02/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular        15.00    17.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         3.50   25.50   10/19/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   17.00   11/09/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         2.00   25.50   11/09/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   17.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.50   25.50   11/16/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   17.00   11/30/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         2.00   25.50   11/30/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular        15.00    18.00   12/07/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.00   27.00   12/07/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   17.00   10/19/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   17.00   11/09/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         3.00   25.50   11/09/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular        16.00    17.00   11/16/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         8.50   25.50   11/16/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   17.00   11/09/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         2.50   25.50   11/09/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular        24.00    18.00   12/14/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         2.50   27.00   12/14/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular        12.00    18.00   11/30/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         4.00   27.00   11/30/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   16.00   08/03/2015   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.00   24.00   08/03/2015   Los   Angeles   CA   East   - Drivers
1161516              Regular        31.25    20.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         3.50   30.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular          7.50   20.00   08/29/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        32.00    20.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         3.50   30.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         2.50   30.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.50    20.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.50   30.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         4.00   30.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular          8.00   20.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.00   30.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   12/12/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         1.50   30.00   12/12/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        28.00    20.00   12/19/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        32.00    20.00   12/26/2016   Los   Angeles   CA   East   - Drivers
1161516              Overtime         3.00   30.00   12/26/2016   Los   Angeles   CA   East   - Drivers
1161516              Regular        32.00    20.00   01/02/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime         3.50   30.00   01/02/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime         4.00   30.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1161516 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          20.00 38-5    Filed Los
                                                  01/16/2017  03/22/21
                                                                  AngelesPage 486
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1161516              Overtime      3.00   30.00 #:1259
                                                  01/16/2017 Los Angeles CA East - Drivers
1161516              Regular        40.00    20.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        6.00    30.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        6.50    30.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        30.50    20.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        2.00    30.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   02/13/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        4.50    30.00   02/13/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        4.50    30.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        5.50    30.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        24.00    20.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        1.00    30.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        4.50    30.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        24.00    20.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.00    30.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        7.00    30.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.50    20.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        7.50    30.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.50    20.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        6.50    30.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        8.00    30.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        37.50    20.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.50    30.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        36.50    20.00   05/01/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        1.50    30.00   05/01/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   05/08/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        4.50    30.00   05/08/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   05/15/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        2.50    30.00   05/15/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   05/22/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        2.00    30.00   05/22/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        31.50    20.00   05/29/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        1.50    30.00   05/29/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        24.00    20.00   06/05/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.00    30.00   06/05/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.50    20.00   06/12/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.50    30.00   06/12/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   06/19/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.00    30.00   06/19/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   06/26/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        2.00    30.00   06/26/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        14.00    20.00   07/03/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.50    30.00   07/03/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular         8.00    20.00   07/31/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        2.50    30.00   07/31/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        16.00    20.00   09/11/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.50    30.00   09/11/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   09/18/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        3.50    30.00   09/18/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   09/25/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        6.00    30.00   09/25/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        39.00    20.00   10/02/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime        5.50    30.00   10/02/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        40.00    20.00   10/09/2017   Los   Angeles   CA   East   - Drivers
1161516              Overtime       12.00    30.00   10/09/2017   Los   Angeles   CA   East   - Drivers
1161516              Regular        36.50    20.00   10/16/2017   Los   Angeles   CA   East   - Drivers
1161516 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.00Document
                                         30.00 38-5    Filed Los
                                                 10/16/2017  03/22/21
                                                                 AngelesPage 487
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1161516            Regular       31.50   20.00 #:1260
                                                 10/23/2017 Los Angeles CA East - Drivers
1161516            Overtime       7.00   30.00 10/23/2017 Los Angeles CA East - Drivers
1161516            Regular       40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
1161516            Overtime       9.50   30.00 10/30/2017 Los Angeles CA East - Drivers
1161516            Regular       24.00   21.00 11/19/2018 Los Angeles CA East - Drivers
1161516            Overtime       4.50   31.50 11/19/2018 Los Angeles CA East - Drivers
1161516            Regular       40.00   21.00 11/26/2018 Los Angeles CA East - Drivers
1161516            Overtime      15.00   31.50 11/26/2018 Los Angeles CA East - Drivers
1161516            Regular       40.00   21.00 12/03/2018 Los Angeles CA East - Drivers
1161516            Overtime      12.50   31.50 12/03/2018 Los Angeles CA East - Drivers
1161516            Regular       40.00   21.00 12/10/2018 Los Angeles CA East - Drivers
1161516            Overtime       8.50   31.50 12/10/2018 Los Angeles CA East - Drivers
1161516            Regular       40.00   21.00 12/17/2018 Los Angeles CA East - Drivers
1161516            Overtime       9.50   31.50 12/17/2018 Los Angeles CA East - Drivers
1161516            Regular       16.00   21.00 12/24/2018 Los Angeles CA East - Drivers
1161516            Overtime       8.00   31.50 12/24/2018 Los Angeles CA East - Drivers
1161516            Regular        8.00   19.50 07/31/2017 Los Angeles CA East - Drivers
1161516            Overtime       2.50   29.25 07/31/2017 Los Angeles CA East - Drivers
1161516            Regular        8.00   19.50 08/07/2017 Los Angeles CA East - Drivers
1161516            Overtime       2.00   29.25 08/07/2017 Los Angeles CA East - Drivers
1161516            Regular        8.00   16.00 08/03/2015 Los Angeles CA East - Drivers
1161516            Regular       16.00   16.50 08/10/2015 Los Angeles CA East - Drivers
1161516            Overtime       3.00   24.75 08/10/2015 Los Angeles CA East - Drivers
1161516            Regular        8.00   16.50 11/16/2015 Los Angeles CA East - Drivers
1161516            Regular       24.00   16.50 11/30/2015 Los Angeles CA East - Drivers
1161516            Overtime       4.00   24.75 11/30/2015 Los Angeles CA East - Drivers
1161516            Regular       16.00   22.00 11/05/2018 Los Angeles CA East - Drivers
1161516            Overtime       6.50   33.00 11/05/2018 Los Angeles CA East - Drivers
1161516            Regular       40.00   22.00 11/12/2018 Los Angeles CA East - Drivers
1161516            Overtime       7.76   33.00 11/12/2018 Los Angeles CA East - Drivers
1161516            Overtime       1.00   25.50 06/22/2015 Los Angeles CA East - Drivers
1161516            Regular        8.00   16.00 08/10/2015 Los Angeles CA East - Drivers
1161516            Overtime       3.50   24.00 08/10/2015 Los Angeles CA East - Drivers
Total for 1161516             3,669.76
1161511            Regular       33.50   20.00 06/11/2018 Los Angeles CA East - Drivers
1161511            Overtime       3.00   30.00 06/11/2018 Los Angeles CA East - Drivers
1161511            Regular        8.00   20.50 06/04/2018 Los Angeles CA East - Drivers
1161511            Regular       40.00   21.00 06/18/2018 Los Angeles CA East - Drivers
1161511            Overtime       1.50   31.50 06/18/2018 Los Angeles CA East - Drivers
1161511            Regular       40.00   21.00 06/25/2018 Los Angeles CA East - Drivers
1161511            Regular       32.00   21.00 07/02/2018 Los Angeles CA East - Drivers
1161511            Regular       32.00   21.00 07/09/2018 Los Angeles CA East - Drivers
Total for 1161511               190.00
2608748            Regular       40.00   20.50 12/03/2018 Sacramento CA - Drivers
2608748            Overtime      15.75   30.75 12/03/2018 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 12/10/2018 Sacramento CA - Drivers
2608748            Overtime      17.50   30.75 12/10/2018 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 12/17/2018 Sacramento CA - Drivers
2608748            Overtime      17.00   30.75 12/17/2018 Sacramento CA - Drivers
2608748            Regular       24.00   20.50 12/24/2018 Sacramento CA - Drivers
2608748            Overtime       8.25   30.75 12/24/2018 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 12/31/2018 Sacramento CA - Drivers
2608748            Overtime      11.50   30.75 12/31/2018 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 01/07/2019 Sacramento CA - Drivers
2608748            Overtime      13.75   30.75 01/07/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 01/14/2019 Sacramento CA - Drivers
2608748            Overtime      14.50   30.75 01/14/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 01/21/2019 Sacramento CA - Drivers
2608748            Overtime      15.50   30.75 01/21/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 01/28/2019 Sacramento CA - Drivers
2608748            Overtime      16.25   30.75 01/28/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 02/04/2019 Sacramento CA - Drivers
2608748 Case 2:19-cv-08580-JFW-MAA
                   Overtime      15.25Document
                                         30.75 38-5    Filed Sacramento
                                                 02/04/2019  03/22/21 Page    488 of 691
                                                                        CA - Drivers       Page ID
2608748            Regular       40.00   20.50 #:1261
                                                 02/11/2019 Sacramento CA - Drivers
2608748            Overtime      17.50   30.75 02/11/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 02/18/2019 Sacramento CA - Drivers
2608748            Overtime      16.50   30.75 02/18/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 02/25/2019 Sacramento CA - Drivers
2608748            Overtime      17.00   30.75 02/25/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 03/04/2019 Sacramento CA - Drivers
2608748            Overtime      15.00   30.75 03/04/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 03/11/2019 Sacramento CA - Drivers
2608748            Overtime      15.50   30.75 03/11/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 03/18/2019 Sacramento CA - Drivers
2608748            Overtime      18.50   30.75 03/18/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 03/25/2019 Sacramento CA - Drivers
2608748            Overtime      18.25   30.75 03/25/2019 Sacramento CA - Drivers
2608748            Regular       16.00   20.50 04/01/2019 Sacramento CA - Drivers
2608748            Overtime       6.75   30.75 04/01/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 04/08/2019 Sacramento CA - Drivers
2608748            Overtime      18.50   30.75 04/08/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 04/15/2019 Sacramento CA - Drivers
2608748            Overtime      37.50   30.75 04/15/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 04/22/2019 Sacramento CA - Drivers
2608748            Overtime      16.50   30.75 04/22/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 04/29/2019 Sacramento CA - Drivers
2608748            Overtime      17.75   30.75 04/29/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 05/06/2019 Sacramento CA - Drivers
2608748            Overtime      18.25   30.75 05/06/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 05/13/2019 Sacramento CA - Drivers
2608748            Overtime      15.00   30.75 05/13/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 05/20/2019 Sacramento CA - Drivers
2608748            Overtime      14.50   30.75 05/20/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 05/27/2019 Sacramento CA - Drivers
2608748            Overtime      12.75   30.75 05/27/2019 Sacramento CA - Drivers
2608748            Regular        4.00   20.50 06/03/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 06/10/2019 Sacramento CA - Drivers
2608748            Overtime      14.00   30.75 06/10/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 06/17/2019 Sacramento CA - Drivers
2608748            Overtime      14.50   30.75 06/17/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 06/24/2019 Sacramento CA - Drivers
2608748            Overtime      14.25   30.75 06/24/2019 Sacramento CA - Drivers
2608748            Regular       16.00   20.50 07/01/2019 Sacramento CA - Drivers
2608748            Overtime       6.50   30.75 07/01/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 07/08/2019 Sacramento CA - Drivers
2608748            Overtime      13.75   30.75 07/08/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 07/15/2019 Sacramento CA - Drivers
2608748            Overtime      20.75   30.75 07/15/2019 Sacramento CA - Drivers
2608748            Regular       32.00   20.50 07/22/2019 Sacramento CA - Drivers
2608748            Overtime      14.25   30.75 07/22/2019 Sacramento CA - Drivers
2608748            Regular       40.00   20.50 07/29/2019 Sacramento CA - Drivers
2608748            Overtime      19.25   30.75 07/29/2019 Sacramento CA - Drivers
2608748            Regular       40.00   22.50 08/05/2019 Sacramento CA - Drivers
2608748            Overtime      15.25   33.75 08/05/2019 Sacramento CA - Drivers
2608748            Regular       32.00   22.50 08/12/2019 Sacramento CA - Drivers
2608748            Overtime      15.75   33.75 08/12/2019 Sacramento CA - Drivers
2608748            Regular       32.00   22.50 08/19/2019 Sacramento CA - Drivers
2608748            Overtime      14.25   33.75 08/19/2019 Sacramento CA - Drivers
2608748            Regular       32.00   22.50 08/26/2019 Sacramento CA - Drivers
2608748            Overtime      14.50   33.75 08/26/2019 Sacramento CA - Drivers
2608748            Regular       24.00   22.50 09/02/2019 Sacramento CA - Drivers
2608748            Overtime       8.00   33.75 09/02/2019 Sacramento CA - Drivers
Total for 2608748             1,994.00
1284207            Regular        5.50   23.00 02/11/2019 Los Angeles CA West - Drivers
1284207            Regular       32.00   37.07 04/11/2016 Los Angeles CA West - Drivers
1284207 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.25Document
                                        55.61 38-5    Filed Los
                                                04/11/2016  03/22/21
                                                                AngelesPage 489- Drivers
                                                                       CA West   of 691    Page ID
1284207            Regular      40.00   37.07 #:1262
                                                04/18/2016 Los Angeles CA West - Drivers
1284207            Overtime      6.25   55.61 04/18/2016 Los Angeles CA West - Drivers
1284207            Regular      16.00   37.07 04/25/2016 Los Angeles CA West - Drivers
1284207            Overtime      2.50   55.61 04/25/2016 Los Angeles CA West - Drivers
1284207            Regular      16.00   37.07 06/20/2016 Los Angeles CA West - Drivers
1284207            Overtime      2.75   55.61 06/20/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   38.17 08/22/2016 Los Angeles CA West - Drivers
1284207            Overtime     15.00   57.26 08/22/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   38.17 08/29/2016 Los Angeles CA West - Drivers
1284207            Overtime     11.00   57.26 08/29/2016 Los Angeles CA West - Drivers
1284207            Regular      32.00   38.17 09/05/2016 Los Angeles CA West - Drivers
1284207            Overtime      8.25   57.26 09/05/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   38.17 09/12/2016 Los Angeles CA West - Drivers
1284207            Overtime     11.75   57.26 09/12/2016 Los Angeles CA West - Drivers
1284207            Regular      32.00   38.17 09/19/2016 Los Angeles CA West - Drivers
1284207            Overtime     11.00   57.26 09/19/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   38.17 09/26/2016 Los Angeles CA West - Drivers
1284207            Overtime     15.75   57.26 09/26/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   38.17 10/03/2016 Los Angeles CA West - Drivers
1284207            Overtime     16.75   57.26 10/03/2016 Los Angeles CA West - Drivers
1284207            Regular      32.00   38.17 10/10/2016 Los Angeles CA West - Drivers
1284207            Overtime     11.00   57.26 10/10/2016 Los Angeles CA West - Drivers
1284207            Regular      32.00   38.17 10/31/2016 Los Angeles CA West - Drivers
1284207            Overtime      6.25   57.26 10/31/2016 Los Angeles CA West - Drivers
1284207            Regular       7.00   38.17 11/07/2016 Los Angeles CA West - Drivers
1284207            Regular       7.50   38.17 11/14/2016 Los Angeles CA West - Drivers
1284207            Regular       8.00   39.17 05/07/2018 Los Angeles CA West - Drivers
1284207            Overtime      0.25   58.76 05/07/2018 Los Angeles CA West - Drivers
1284207            Regular      16.00   39.17 05/14/2018 Los Angeles CA West - Drivers
1284207            Overtime      5.00   58.76 05/14/2018 Los Angeles CA West - Drivers
1284207            Regular       8.00   39.17 05/28/2018 Los Angeles CA West - Drivers
1284207            Overtime      2.00   58.76 05/28/2018 Los Angeles CA West - Drivers
1284207            Regular      32.00   39.17 06/11/2018 Los Angeles CA West - Drivers
1284207            Overtime     11.75   58.76 06/11/2018 Los Angeles CA West - Drivers
1284207            Regular       8.00   39.17 06/25/2018 Los Angeles CA West - Drivers
1284207            Overtime      4.00   58.76 06/25/2018 Los Angeles CA West - Drivers
1284207            Regular       6.50   39.17 07/16/2018 Los Angeles CA West - Drivers
1284207            Regular       8.00   19.00 07/04/2016 Los Angeles CA West - Drivers
1284207            Overtime      1.00   28.50 07/04/2016 Los Angeles CA West - Drivers
1284207            Regular       8.00   19.00 08/01/2016 Los Angeles CA West - Drivers
1284207            Overtime      1.50   28.50 08/01/2016 Los Angeles CA West - Drivers
1284207            Regular       6.00   19.50 05/23/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   18.00 07/11/2016 Los Angeles CA West - Drivers
1284207            Overtime      7.00   27.00 07/11/2016 Los Angeles CA West - Drivers
1284207            Regular       8.00   18.00 07/18/2016 Los Angeles CA West - Drivers
1284207            Overtime      0.50   27.00 07/18/2016 Los Angeles CA West - Drivers
1284207            Regular       8.00   18.00 08/08/2016 Los Angeles CA West - Drivers
1284207            Overtime      1.00   27.00 08/08/2016 Los Angeles CA West - Drivers
1284207            Regular      37.50   18.00 08/15/2016 Los Angeles CA West - Drivers
1284207            Overtime      1.50   27.00 08/15/2016 Los Angeles CA West - Drivers
1284207            Regular      39.00   19.00 12/05/2016 Los Angeles CA West - Drivers
1284207            Regular      40.00   19.00 12/12/2016 Los Angeles CA West - Drivers
1284207            Regular      35.00   19.00 12/19/2016 Los Angeles CA West - Drivers
Total for 1284207              917.00
1411470            Regular       8.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1411470            Overtime      4.00   24.00 09/26/2016 Los Angeles CA West - Drivers
1411470            Regular      20.00   16.00 10/10/2016 Los Angeles CA West - Drivers
1411470            Overtime      6.00   24.00 10/10/2016 Los Angeles CA West - Drivers
1411470            Regular       9.50   16.00 11/07/2016 Los Angeles CA West - Drivers
1411470            Regular       8.00   16.00 11/14/2016 Los Angeles CA West - Drivers
Total for 1411470               55.50
1426629            Regular       8.00   16.00 11/07/2016 Los Angeles CA West - Drivers
1426629 Case 2:19-cv-08580-JFW-MAA
                   Overtime      2.50Document
                                        24.00 38-5    Filed Los
                                                11/07/2016  03/22/21
                                                                AngelesPage 490- Drivers
                                                                       CA West   of 691    Page ID
1426629            Regular       5.25   16.00 #:1263
                                                11/07/2016 Los Angeles CA West - Drivers
Total for 1426629               15.75
2595071            Regular       8.00   20.00 09/10/2018 Sacramento CA - Drivers
2595071            Overtime      1.50   30.00 09/10/2018 Sacramento CA - Drivers
Total for 2595071                9.50
1452907            Regular       8.00   19.00 03/20/2017 Los Angeles CA East - Drivers
1452907            Overtime      1.00   28.50 03/20/2017 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 07/17/2017 Los Angeles CA East - Drivers
1452907            Overtime     12.00   30.00 07/17/2017 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 07/24/2017 Los Angeles CA East - Drivers
1452907            Overtime     14.50   30.00 07/24/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 07/31/2017 Los Angeles CA East - Drivers
1452907            Overtime     18.00   30.00 07/31/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 08/07/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.50   30.00 08/07/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 08/14/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.00   30.00 08/14/2017 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 08/21/2017 Los Angeles CA East - Drivers
1452907            Overtime     14.50   30.00 08/21/2017 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 08/28/2017 Los Angeles CA East - Drivers
1452907            Overtime     15.50   30.00 08/28/2017 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 09/04/2017 Los Angeles CA East - Drivers
1452907            Overtime     12.00   30.00 09/04/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.50   30.00 09/11/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 09/18/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.50   30.00 09/18/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 09/25/2017 Los Angeles CA East - Drivers
1452907            Overtime     18.50   30.00 09/25/2017 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 10/02/2017 Los Angeles CA East - Drivers
1452907            Overtime     14.50   30.00 10/02/2017 Los Angeles CA East - Drivers
1452907            Regular      16.00   20.00 10/09/2017 Los Angeles CA East - Drivers
1452907            Overtime      5.00   30.00 10/09/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 10/16/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.00   30.00 10/16/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 10/23/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.50   30.00 10/23/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
1452907            Overtime     18.00   30.00 10/30/2017 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 11/06/2017 Los Angeles CA East - Drivers
1452907            Overtime     13.00   30.00 11/06/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 11/13/2017 Los Angeles CA East - Drivers
1452907            Overtime     19.50   30.00 11/13/2017 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 11/20/2017 Los Angeles CA East - Drivers
1452907            Overtime      4.00   30.00 11/20/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 11/27/2017 Los Angeles CA East - Drivers
1452907            Overtime     27.50   30.00 11/27/2017 Los Angeles CA East - Drivers
1452907            Regular      40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
1452907            Overtime     17.00   30.00 12/04/2017 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 12/11/2017 Los Angeles CA East - Drivers
1452907            Overtime     15.00   30.00 12/11/2017 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 12/18/2017 Los Angeles CA East - Drivers
1452907            Overtime      8.00   30.00 12/18/2017 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 12/25/2017 Los Angeles CA East - Drivers
1452907            Overtime     12.00   30.00 12/25/2017 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 01/01/2018 Los Angeles CA East - Drivers
1452907            Overtime      4.50   30.00 01/01/2018 Los Angeles CA East - Drivers
1452907            Regular      32.00   20.00 01/08/2018 Los Angeles CA East - Drivers
1452907            Overtime      8.00   30.00 01/08/2018 Los Angeles CA East - Drivers
1452907            Regular      24.00   20.00 01/15/2018 Los Angeles CA East - Drivers
1452907            Overtime      7.50   30.00 01/15/2018 Los Angeles CA East - Drivers
1452907            Regular      48.75   21.85 11/28/2016 Los Angeles CA East - Drivers
1452907 Case   2:19-cv-08580-JFW-MAA
                     Regular      48.25Document
                                          21.85 38-5    Filed Los
                                                  12/05/2016  03/22/21
                                                                  AngelesPage 491
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1452907              Regular      49.50   21.85 #:1264
                                                  12/12/2016 Los Angeles CA East - Drivers
1452907              Regular        34.00    21.85   12/19/2016   Los   Angeles   CA   East   - Drivers
1452907              Regular        14.00    21.85   12/26/2016   Los   Angeles   CA   East   - Drivers
1452907              Regular         8.00    21.00   01/22/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        28.00    21.00   01/29/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime        7.00    31.50   01/29/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    21.00   02/05/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime       18.00    31.50   02/05/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    21.00   02/12/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime       15.50    31.50   02/12/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        36.00    21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime       17.50    31.50   02/19/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime       22.00    31.50   02/26/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    21.00   03/05/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime       21.82    31.50   03/05/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        32.00    21.00   03/12/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime        1.20    31.50   03/12/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        28.00    21.00   03/19/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime        2.00    31.50   03/19/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        24.00    21.00   03/26/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime        8.00    31.50   03/26/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        20.00    21.00   04/02/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime        4.68    31.50   04/02/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular         8.00    21.00   04/09/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular        30.00    19.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        2.50    28.50   01/09/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular         8.00    19.00   01/16/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        22.50    19.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        8.00    28.50   01/23/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime       18.00    28.50   01/30/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime       17.50    28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        16.00    19.00   02/13/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        7.50    28.50   02/13/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    19.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime       17.50    28.50   02/20/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular         4.00    19.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular         8.00    20.75   03/13/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        16.00    20.75   06/19/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        6.50    31.13   06/19/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        40.00    20.75   06/26/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime       20.00    31.13   06/26/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        32.00    20.75   07/03/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime       12.00    31.13   07/03/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        10.50    20.75   03/26/2018   Los   Angeles   CA   East   - Drivers
1452907              Overtime        1.00    31.13   03/26/2018   Los   Angeles   CA   East   - Drivers
1452907              Regular         8.00    19.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        1.00    28.50   03/06/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        24.00    19.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        5.00    28.50   03/13/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        32.00    19.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        8.00    28.50   03/27/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        16.00    19.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        4.50    28.50   04/10/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        16.00    19.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        4.00    28.50   04/17/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        16.00    19.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        4.00    28.50   04/24/2017   Los   Angeles   CA   East   - Drivers
1452907              Regular        12.00    19.00   05/08/2017   Los   Angeles   CA   East   - Drivers
1452907              Overtime        3.00    28.50   05/08/2017   Los   Angeles   CA   East   - Drivers
1452907 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         19.00 38-5    Filed Los
                                                 05/22/2017  03/22/21
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                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1452907            Regular        7.50   19.00 #:1265
                                                 06/05/2017 Los Angeles CA East - Drivers
1452907            Regular        8.00   19.00 06/12/2017 Los Angeles CA East - Drivers
1452907            Regular       40.00   19.00 07/10/2017 Los Angeles CA East - Drivers
1452907            Overtime       3.00   28.50 07/10/2017 Los Angeles CA East - Drivers
Total for 1452907             2,585.20
787645             Regular       69.25   19.00 01/04/2016 Los Angeles CA West - Drivers
787645             Regular       47.25   19.00 01/18/2016 Los Angeles CA West - Drivers
Total for 787645                116.50
2778999            Regular       32.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2778999            Overtime       2.25   31.50 07/22/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 08/19/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 08/26/2019 Los Angeles CA West - Drivers
2778999            Regular       32.00   22.00 09/02/2019 Los Angeles CA West - Drivers
2778999            Regular       24.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2778999            Overtime       6.00   33.00 06/03/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2778999            Overtime       9.25   33.00 06/10/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2778999            Overtime      10.30   33.00 06/17/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 06/24/2019 Los Angeles CA West - Drivers
2778999            Overtime       6.50   33.00 06/24/2019 Los Angeles CA West - Drivers
2778999            Regular       32.00   22.00 07/01/2019 Los Angeles CA West - Drivers
2778999            Overtime       6.25   33.00 07/01/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 07/08/2019 Los Angeles CA West - Drivers
2778999            Overtime       7.75   33.00 07/08/2019 Los Angeles CA West - Drivers
2778999            Regular       40.00   22.00 07/15/2019 Los Angeles CA West - Drivers
2778999            Overtime      15.25   33.00 07/15/2019 Los Angeles CA West - Drivers
Total for 2778999               463.55
2674637            Regular       32.00   17.50 01/14/2019 Los Angeles CA West - Drivers
2674637            Overtime      10.00   26.25 01/14/2019 Los Angeles CA West - Drivers
2674637            Regular       31.50   17.50 01/21/2019 Los Angeles CA West - Drivers
2674637            Overtime       8.20   26.25 01/21/2019 Los Angeles CA West - Drivers
2674637            Regular       16.00   17.50 01/28/2019 Los Angeles CA West - Drivers
2674637            Overtime       0.50   26.25 01/28/2019 Los Angeles CA West - Drivers
2674637            Regular       16.00   17.50 02/04/2019 Los Angeles CA West - Drivers
2674637            Overtime       1.50   26.25 02/04/2019 Los Angeles CA West - Drivers
2674637            Regular       14.00   17.50 02/11/2019 Los Angeles CA West - Drivers
2674637            Overtime       2.50   26.25 02/11/2019 Los Angeles CA West - Drivers
2674637            Regular       22.00   17.50 02/18/2019 Los Angeles CA West - Drivers
2674637            Overtime       1.00   26.25 02/18/2019 Los Angeles CA West - Drivers
2674637            Regular       40.00   17.50 02/25/2019 Los Angeles CA West - Drivers
2674637            Overtime       7.25   26.25 02/25/2019 Los Angeles CA West - Drivers
2674637            Regular       34.75   17.50 03/04/2019 Los Angeles CA West - Drivers
2674637            Regular       36.83   17.50 03/11/2019 Los Angeles CA West - Drivers
2674637            Overtime       2.50   26.25 03/11/2019 Los Angeles CA West - Drivers
2674637            Regular       32.00   17.50 03/18/2019 Los Angeles CA West - Drivers
2674637            Overtime       9.25   26.25 03/18/2019 Los Angeles CA West - Drivers
2674637            Regular       35.25   17.50 03/25/2019 Los Angeles CA West - Drivers
2674637            Overtime       7.50   26.25 03/25/2019 Los Angeles CA West - Drivers
2674637            Regular       39.50   17.50 04/01/2019 Los Angeles CA West - Drivers
2674637            Overtime       6.50   26.25 04/01/2019 Los Angeles CA West - Drivers
2674637            Regular       40.00   17.50 04/08/2019 Los Angeles CA West - Drivers
2674637            Overtime       4.00   26.25 04/08/2019 Los Angeles CA West - Drivers
2674637            Regular       31.50   18.00 04/15/2019 Los Angeles CA West - Drivers
2674637            Overtime       2.00   27.00 04/15/2019 Los Angeles CA West - Drivers
2674637            Regular       36.50   18.00 04/22/2019 Los Angeles CA West - Drivers
2674637            Overtime       2.25   27.00 04/22/2019 Los Angeles CA West - Drivers
2674637            Regular       23.50   18.00 04/29/2019 Los Angeles CA West - Drivers
2674637            Overtime       0.50   27.00 04/29/2019 Los Angeles CA West - Drivers
2674637            Regular       38.00   18.00 05/06/2019 Los Angeles CA West - Drivers
2674637            Overtime       2.00   27.00 05/06/2019 Los Angeles CA West - Drivers
2674637            Regular       40.00   18.00 05/13/2019 Los Angeles CA West - Drivers
2674637 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.75Document
                                        27.00 38-5    Filed Los
                                                05/13/2019  03/22/21
                                                                AngelesPage 493- Drivers
                                                                       CA West   of 691    Page ID
2674637            Regular      38.25   18.00 #:1266
                                                05/20/2019 Los Angeles CA West - Drivers
2674637            Overtime      7.50   27.00 05/20/2019 Los Angeles CA West - Drivers
2674637            Regular       8.00   18.00 05/27/2019 Los Angeles CA West - Drivers
2674637            Overtime      2.25   27.00 05/27/2019 Los Angeles CA West - Drivers
Total for 2674637              686.53
1412967            Regular       8.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1412967            Overtime      4.00   24.00 09/26/2016 Los Angeles CA West - Drivers
Total for 1412967               12.00
929309             Regular      32.00   17.00 08/03/2015 Los Angeles CA West - Drivers
929309             Overtime      3.75   25.50 08/03/2015 Los Angeles CA West - Drivers
929309             Regular      24.00   17.00 08/10/2015 Los Angeles CA West - Drivers
929309             Overtime      4.50   25.50 08/10/2015 Los Angeles CA West - Drivers
929309             Regular      24.00   17.00 08/17/2015 Los Angeles CA West - Drivers
929309             Overtime      5.00   25.50 08/17/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 08/24/2015 Los Angeles CA West - Drivers
929309             Overtime     10.75   25.50 08/24/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 08/31/2015 Los Angeles CA West - Drivers
929309             Overtime     16.50   25.50 08/31/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 09/07/2015 Los Angeles CA West - Drivers
929309             Overtime     12.25   25.50 09/07/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 09/14/2015 Los Angeles CA West - Drivers
929309             Overtime     12.25   25.50 09/14/2015 Los Angeles CA West - Drivers
929309             Regular      40.00   17.00 09/21/2015 Los Angeles CA West - Drivers
929309             Overtime     22.25   25.50 09/21/2015 Los Angeles CA West - Drivers
929309             Regular      40.00   17.00 09/28/2015 Los Angeles CA West - Drivers
929309             Overtime     12.50   25.50 09/28/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 10/05/2015 Los Angeles CA West - Drivers
929309             Overtime      9.25   25.50 10/05/2015 Los Angeles CA West - Drivers
929309             Regular      24.00   17.00 10/12/2015 Los Angeles CA West - Drivers
929309             Overtime      6.25   25.50 10/12/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 10/19/2015 Los Angeles CA West - Drivers
929309             Overtime     10.50   25.50 10/19/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   17.00 10/26/2015 Los Angeles CA West - Drivers
929309             Overtime      7.00   25.50 10/26/2015 Los Angeles CA West - Drivers
929309             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
929309             Overtime     12.75   28.50 11/02/2015 Los Angeles CA West - Drivers
929309             Regular      40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
929309             Overtime      9.75   28.50 11/09/2015 Los Angeles CA West - Drivers
929309             Regular      24.00   19.00 11/23/2015 Los Angeles CA West - Drivers
929309             Overtime      5.25   28.50 11/23/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   19.00 11/30/2015 Los Angeles CA West - Drivers
929309             Overtime     16.75   28.50 11/30/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   19.00 12/07/2015 Los Angeles CA West - Drivers
929309             Overtime     14.00   28.50 12/07/2015 Los Angeles CA West - Drivers
929309             Regular       8.00   19.00 12/14/2015 Los Angeles CA West - Drivers
929309             Overtime      2.50   28.50 12/14/2015 Los Angeles CA West - Drivers
929309             Regular      31.00   19.00 12/21/2015 Los Angeles CA West - Drivers
929309             Overtime      7.75   28.50 12/21/2015 Los Angeles CA West - Drivers
929309             Regular      32.00   19.00 01/04/2016 Los Angeles CA West - Drivers
929309             Overtime      6.75   28.50 01/04/2016 Los Angeles CA West - Drivers
929309             Regular      40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
929309             Overtime     10.75   28.50 01/11/2016 Los Angeles CA West - Drivers
929309             Regular      32.00   19.00 01/18/2016 Los Angeles CA West - Drivers
929309             Overtime     12.25   28.50 01/18/2016 Los Angeles CA West - Drivers
929309             Regular      37.75   19.00 01/25/2016 Los Angeles CA West - Drivers
929309             Overtime     10.25   28.50 01/25/2016 Los Angeles CA West - Drivers
929309             Regular      31.00   19.00 02/01/2016 Los Angeles CA West - Drivers
929309             Overtime      7.25   28.50 02/01/2016 Los Angeles CA West - Drivers
929309             Regular      40.00   19.00 02/08/2016 Los Angeles CA West - Drivers
929309             Overtime      9.50   28.50 02/08/2016 Los Angeles CA West - Drivers
929309             Regular       8.00   19.00 02/22/2016 Los Angeles CA West - Drivers
929309             Overtime      0.50   28.50 02/22/2016 Los Angeles CA West - Drivers
929309   Case 2:19-cv-08580-JFW-MAA
                    Regular       8.00Document
                                         20.00 38-5    Filed Los
                                                 03/06/2017  03/22/21
                                                                 AngelesPage 494- Drivers
                                                                        CA West   of 691 Page ID
929309              Overtime      2.00   30.00 #:1267
                                                 03/06/2017 Los Angeles CA West - Drivers
929309              Regular        32.00    20.00   03/13/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        9.50    30.00   03/13/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        38.50    20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        6.50    30.00   03/20/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   03/27/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime       10.50    30.00   03/27/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        31.50    20.00   04/03/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        7.00    30.00   04/03/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   04/10/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        9.25    30.00   04/10/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   04/17/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime       11.50    30.00   04/17/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        13.50    20.00   04/24/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        3.25    30.00   04/24/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        6.00    30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime       10.00    30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        8.75    30.00   05/15/2017   Los   Angeles   CA   West   - Drivers
929309              Regular         8.00    38.17   11/07/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        0.50    57.26   11/07/2016   Los   Angeles   CA   West   - Drivers
929309              Regular         8.00    20.00   02/22/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        0.50    30.00   02/22/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        24.00    20.00   10/10/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        3.00    30.00   10/10/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    19.00   11/07/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        4.50    28.50   11/07/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        31.50    19.50   11/14/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        2.50    29.25   11/14/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        24.00    19.50   11/21/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        7.50    29.25   11/21/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        40.00    19.50   11/28/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        5.50    29.25   11/28/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        37.50    19.50   12/05/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        3.50    29.25   12/05/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        24.00    19.50   12/12/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        6.50    29.25   12/12/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        31.00    19.50   12/19/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        1.00    29.25   12/19/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    19.50   12/26/2016   Los   Angeles   CA   West   - Drivers
929309              Overtime        3.00    29.25   12/26/2016   Los   Angeles   CA   West   - Drivers
929309              Regular        31.50    19.50   01/02/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        5.00    29.25   01/02/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        38.25    19.50   01/09/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        0.50    29.25   01/09/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    19.50   01/16/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        5.50    29.25   01/16/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        24.00    19.50   01/23/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        1.50    29.25   01/23/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        40.00    20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        2.00    30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        39.50    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        4.00    30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        21.00    20.00   02/13/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        3.50    30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        40.00    20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        6.50    30.00   02/20/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        32.00    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
929309              Overtime        6.50    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
929309              Regular        24.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
929309 Case 2:19-cv-08580-JFW-MAA
                  Overtime       5.00Document
                                        30.00 38-5    Filed Los
                                                03/06/2017  03/22/21
                                                                AngelesPage 495- Drivers
                                                                       CA West   of 691    Page ID
929309            Regular        7.50   20.00 #:1268
                                                03/27/2017 Los Angeles CA West - Drivers
Total for 929309             2,194.00
2454107           Regular       32.00   17.60 01/08/2018 Los Angeles CA West - Drivers
2454107           Overtime       6.25   26.40 01/08/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 01/15/2018 Los Angeles CA West - Drivers
2454107           Overtime      11.00   26.40 01/15/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 01/22/2018 Los Angeles CA West - Drivers
2454107           Overtime      10.00   26.40 01/22/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 01/29/2018 Los Angeles CA West - Drivers
2454107           Overtime      10.00   26.40 01/29/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 02/05/2018 Los Angeles CA West - Drivers
2454107           Overtime      11.50   26.40 02/05/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 02/12/2018 Los Angeles CA West - Drivers
2454107           Overtime      11.00   26.40 02/12/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 03/05/2018 Los Angeles CA West - Drivers
2454107           Overtime      12.50   26.40 03/05/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 03/12/2018 Los Angeles CA West - Drivers
2454107           Overtime      10.50   26.40 03/12/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 03/19/2018 Los Angeles CA West - Drivers
2454107           Overtime      10.50   26.40 03/19/2018 Los Angeles CA West - Drivers
2454107           Regular       32.00   17.60 03/26/2018 Los Angeles CA West - Drivers
2454107           Overtime      10.00   26.40 03/26/2018 Los Angeles CA West - Drivers
Total for 2454107              423.25
920435            Regular        5.00   16.00 10/05/2015 Los Angeles CA East - Drivers
Total for 920435                 5.00
1358686           Regular       26.75   19.00 07/25/2016 Sacramento CA - Drivers
1358686           Overtime       0.50   28.50 07/25/2016 Sacramento CA - Drivers
1358686           Regular       41.00   19.00 08/01/2016 Sacramento CA - Drivers
1358686           Overtime       2.50   28.50 08/01/2016 Sacramento CA - Drivers
1358686           Regular       31.00   19.00 08/08/2016 Sacramento CA - Drivers
1358686           Overtime       1.75   28.50 08/08/2016 Sacramento CA - Drivers
1358686           Regular       31.75   19.00 08/15/2016 Sacramento CA - Drivers
1358686           Overtime       2.75   28.50 08/15/2016 Sacramento CA - Drivers
1358686           Regular       31.50   19.00 08/22/2016 Sacramento CA - Drivers
1358686           Overtime       1.50   28.50 08/22/2016 Sacramento CA - Drivers
1358686           Regular       36.50   19.00 08/29/2016 Sacramento CA - Drivers
1358686           Overtime       1.75   28.50 08/29/2016 Sacramento CA - Drivers
1358686           Regular       35.75   19.00 09/05/2016 Sacramento CA - Drivers
1358686           Overtime       1.25   28.50 09/05/2016 Sacramento CA - Drivers
1358686           Regular       32.25   19.00 09/12/2016 Sacramento CA - Drivers
1358686           Overtime       2.25   28.50 09/12/2016 Sacramento CA - Drivers
1358686           Regular       35.00   19.00 09/19/2016 Sacramento CA - Drivers
1358686           Overtime       0.50   28.50 09/19/2016 Sacramento CA - Drivers
1358686           Regular       25.75   19.00 09/26/2016 Sacramento CA - Drivers
1358686           Overtime       1.75   28.50 09/26/2016 Sacramento CA - Drivers
1358686           Regular       29.75   19.00 10/03/2016 Sacramento CA - Drivers
1358686           Overtime       0.25   28.50 10/03/2016 Sacramento CA - Drivers
1358686           Regular       31.75   19.00 10/10/2016 Sacramento CA - Drivers
1358686           Overtime       0.75   28.50 10/10/2016 Sacramento CA - Drivers
1358686           Regular       36.25   19.00 10/17/2016 Sacramento CA - Drivers
1358686           Overtime       0.25   28.50 10/17/2016 Sacramento CA - Drivers
1358686           Regular       32.50   19.00 10/24/2016 Sacramento CA - Drivers
1358686           Overtime       0.50   28.50 10/24/2016 Sacramento CA - Drivers
1358686           Regular       30.50   19.00 10/31/2016 Sacramento CA - Drivers
1358686           Overtime       0.25   28.50 10/31/2016 Sacramento CA - Drivers
1358686           Regular       30.25   19.00 11/07/2016 Sacramento CA - Drivers
1358686           Regular       29.25   19.00 11/14/2016 Sacramento CA - Drivers
1358686           Regular       20.75   19.00 11/21/2016 Sacramento CA - Drivers
1358686           Overtime       6.50   28.50 11/21/2016 Sacramento CA - Drivers
1358686           Regular       32.25   19.00 11/28/2016 Sacramento CA - Drivers
1358686           Regular       34.25   19.00 12/05/2016 Sacramento CA - Drivers
1358686           Regular       36.75   19.00 12/12/2016 Sacramento CA - Drivers
1358686 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.00Document
                                         28.50 38-5    Filed Sacramento
                                                 12/12/2016  03/22/21 Page    496 of
                                                                        CA - Drivers   691 Page ID
1358686            Regular       30.75   19.00 #:1269
                                                 12/19/2016 Sacramento CA - Drivers
1358686            Regular       28.00   19.00 12/26/2016 Sacramento CA - Drivers
1358686            Regular       32.75   19.00 01/02/2017 Sacramento CA - Drivers
1358686            Overtime       2.00   28.50 01/02/2017 Sacramento CA - Drivers
1358686            Regular       30.50   19.00 01/09/2017 Sacramento CA - Drivers
1358686            Regular       28.50   19.00 01/16/2017 Sacramento CA - Drivers
1358686            Regular       17.25   19.00 01/23/2017 Sacramento CA - Drivers
1358686            Regular       30.50   19.00 01/30/2017 Sacramento CA - Drivers
1358686            Overtime       1.00   28.50 01/30/2017 Sacramento CA - Drivers
1358686            Regular       28.00   19.00 02/06/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 02/13/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 02/20/2017 Sacramento CA - Drivers
1358686            Regular       26.50   19.00 02/27/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 03/06/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 03/13/2017 Sacramento CA - Drivers
1358686            Regular       40.00   19.00 03/20/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 03/27/2017 Sacramento CA - Drivers
1358686            Regular       26.00   19.00 04/03/2017 Sacramento CA - Drivers
1358686            Regular       25.75   19.00 04/10/2017 Sacramento CA - Drivers
1358686            Regular       44.00   19.00 04/17/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 04/24/2017 Sacramento CA - Drivers
1358686            Regular       18.25   19.00 05/01/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 05/08/2017 Sacramento CA - Drivers
1358686            Regular       40.00   19.00 05/15/2017 Sacramento CA - Drivers
1358686            Regular       24.00   19.00 05/22/2017 Sacramento CA - Drivers
1358686            Regular       32.00   19.00 05/29/2017 Sacramento CA - Drivers
1358686            Regular        9.50   19.00 06/05/2017 Sacramento CA - Drivers
Total for 1358686             1,437.75
2642669            Regular       23.75   22.00 06/03/2019 Sacramento CA - Drivers
2642669            Overtime       4.50   33.00 06/03/2019 Sacramento CA - Drivers
2642669            Regular        6.25   22.00 06/10/2019 Sacramento CA - Drivers
2642669            Regular       30.50   21.21 11/19/2018 Sacramento CA - Drivers
2642669            Regular       27.35   21.21 11/26/2018 Sacramento CA - Drivers
2642669            Regular       57.75   21.21 12/03/2018 Sacramento CA - Drivers
2642669            Regular       59.25   21.21 12/10/2018 Sacramento CA - Drivers
2642669            Regular       59.00   21.21 12/17/2018 Sacramento CA - Drivers
2642669            Regular       21.25   21.21 06/10/2019 Sacramento CA - Drivers
2642669            Regular       45.25   21.21 06/17/2019 Sacramento CA - Drivers
2642669            Regular       40.60   21.21 06/24/2019 Sacramento CA - Drivers
2642669            Regular       34.55   21.21 07/01/2019 Sacramento CA - Drivers
2642669            Overtime       7.10   31.82 07/01/2019 Sacramento CA - Drivers
2642669            Regular       35.75   21.21 07/08/2019 Sacramento CA - Drivers
2642669            Regular       18.75   21.21 07/15/2019 Sacramento CA - Drivers
2642669            Regular        8.00   22.00 08/19/2019 Sacramento CA - Drivers
2642669            Overtime       3.50   33.00 08/19/2019 Sacramento CA - Drivers
2642669            Regular        8.00   22.00 08/26/2019 Sacramento CA - Drivers
2642669            Overtime       3.50   33.00 08/26/2019 Sacramento CA - Drivers
2642669            Regular       40.00   21.50 08/05/2019 Sacramento CA - Drivers
2642669            Regular       40.00   21.50 08/12/2019 Sacramento CA - Drivers
2642669            Overtime       2.70   32.25 08/12/2019 Sacramento CA - Drivers
2642669            Regular       40.00   21.50 08/19/2019 Sacramento CA - Drivers
2642669            Regular       40.00   21.50 08/26/2019 Sacramento CA - Drivers
2642669            Regular       32.00   21.50 09/02/2019 Sacramento CA - Drivers
2642669            Overtime       0.60   32.25 09/02/2019 Sacramento CA - Drivers
Total for 2642669               689.90
2459620            Regular        8.00   20.00 07/16/2018 Sacramento CA - Drivers
2459620            Overtime       1.50   30.00 07/16/2018 Sacramento CA - Drivers
2459620            Regular       24.00   20.00 07/23/2018 Sacramento CA - Drivers
2459620            Overtime       5.00   30.00 07/23/2018 Sacramento CA - Drivers
2459620            Regular       32.00   20.00 01/22/2018 Sacramento CA - Drivers
2459620            Overtime       2.25   30.00 01/22/2018 Sacramento CA - Drivers
2459620            Regular       48.00   20.00 01/29/2018 Sacramento CA - Drivers
2459620 Case   2:19-cv-08580-JFW-MAA
                     Overtime      3.20Document
                                          30.00 38-5    Filed Sacramento
                                                  01/29/2018  03/22/21 Page    497 of 691 Page ID
                                                                         CA - Drivers
2459620              Regular      40.00   20.00 #:1270
                                                  02/05/2018 Sacramento CA - Drivers
2459620             Overtime        2.10    30.00   02/05/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    21.00   02/12/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.63    31.50   02/12/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    21.00   02/19/2018   Sacramento   CA   - Drivers
2459620             Overtime        5.39    31.50   02/19/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    21.00   02/26/2018   Sacramento   CA   - Drivers
2459620             Overtime        6.75    31.50   02/26/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    21.00   03/05/2018   Sacramento   CA   - Drivers
2459620             Overtime        8.54    31.50   03/05/2018   Sacramento   CA   - Drivers
2459620             Regular        32.00    20.00   03/12/2018   Sacramento   CA   - Drivers
2459620             Overtime        5.00    30.00   03/12/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    21.00   03/19/2018   Sacramento   CA   - Drivers
2459620             Overtime        5.15    31.50   03/19/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    20.00   03/26/2018   Sacramento   CA   - Drivers
2459620             Overtime        6.56    30.00   03/26/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    21.00   04/02/2018   Sacramento   CA   - Drivers
2459620             Overtime        4.69    31.50   04/02/2018   Sacramento   CA   - Drivers
2459620             Regular        32.00    21.00   04/09/2018   Sacramento   CA   - Drivers
2459620             Overtime        3.65    31.50   04/09/2018   Sacramento   CA   - Drivers
2459620             Regular         8.00    21.00   04/16/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.02    31.50   04/16/2018   Sacramento   CA   - Drivers
2459620             Regular        16.00    19.00   04/23/2018   Sacramento   CA   - Drivers
2459620             Overtime        3.00    28.50   04/23/2018   Sacramento   CA   - Drivers
2459620             Regular        31.50    19.00   04/30/2018   Sacramento   CA   - Drivers
2459620             Overtime        3.75    28.50   04/30/2018   Sacramento   CA   - Drivers
2459620             Regular        23.50    19.00   05/07/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.00    28.50   05/07/2018   Sacramento   CA   - Drivers
2459620             Regular        55.50    19.00   05/14/2018   Sacramento   CA   - Drivers
2459620             Overtime       16.00    28.50   05/14/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    19.00   05/21/2018   Sacramento   CA   - Drivers
2459620             Overtime        6.50    28.50   05/21/2018   Sacramento   CA   - Drivers
2459620             Regular        29.50    19.00   05/28/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.00    28.50   05/28/2018   Sacramento   CA   - Drivers
2459620             Regular        24.00    19.00   06/04/2018   Sacramento   CA   - Drivers
2459620             Overtime        3.50    28.50   06/04/2018   Sacramento   CA   - Drivers
2459620             Regular        34.00    20.00   06/11/2018   Sacramento   CA   - Drivers
2459620             Overtime        3.00    30.00   06/11/2018   Sacramento   CA   - Drivers
2459620             Regular        33.50    20.00   06/18/2018   Sacramento   CA   - Drivers
2459620             Regular        29.00    20.00   06/25/2018   Sacramento   CA   - Drivers
2459620             Regular        23.50    20.00   07/02/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.00    30.00   07/02/2018   Sacramento   CA   - Drivers
2459620             Regular        31.50    20.00   07/09/2018   Sacramento   CA   - Drivers
2459620             Overtime        5.25    30.00   07/09/2018   Sacramento   CA   - Drivers
2459620             Regular        31.50    20.00   07/16/2018   Sacramento   CA   - Drivers
2459620             Overtime        0.50    30.00   07/16/2018   Sacramento   CA   - Drivers
2459620             Regular        14.00    20.00   07/23/2018   Sacramento   CA   - Drivers
2459620             Regular        39.50    20.00   07/30/2018   Sacramento   CA   - Drivers
2459620             Overtime        2.50    30.00   07/30/2018   Sacramento   CA   - Drivers
2459620             Regular        29.50    20.00   08/06/2018   Sacramento   CA   - Drivers
2459620             Regular        37.50    20.00   08/13/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.00    30.00   08/13/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    20.00   08/20/2018   Sacramento   CA   - Drivers
2459620             Overtime        5.50    30.00   08/20/2018   Sacramento   CA   - Drivers
2459620             Regular        31.50    20.00   08/27/2018   Sacramento   CA   - Drivers
2459620             Overtime        0.50    30.00   08/27/2018   Sacramento   CA   - Drivers
2459620             Regular        32.00    20.00   09/03/2018   Sacramento   CA   - Drivers
2459620             Regular        40.00    20.00   09/10/2018   Sacramento   CA   - Drivers
2459620             Overtime        8.25    30.00   09/10/2018   Sacramento   CA   - Drivers
2459620             Regular        16.00    20.00   09/17/2018   Sacramento   CA   - Drivers
2459620             Overtime        1.75    30.00   09/17/2018   Sacramento   CA   - Drivers
2459620             Regular        21.50    20.00   09/24/2018   Sacramento   CA   - Drivers
2459620 Case 2:19-cv-08580-JFW-MAA
                   Regular       27.50Document
                                         20.00 38-5    Filed Sacramento
                                                 10/01/2018  03/22/21 Page    498 of
                                                                        CA - Drivers   691 Page ID
2459620            Overtime       2.50   30.00 #:1271
                                                 10/01/2018 Sacramento CA - Drivers
2459620            Regular       32.00   20.00 10/08/2018 Sacramento CA - Drivers
2459620            Overtime       7.00   30.00 10/08/2018 Sacramento CA - Drivers
2459620            Regular       40.00   20.00 10/15/2018 Sacramento CA - Drivers
2459620            Overtime       4.50   30.00 10/15/2018 Sacramento CA - Drivers
2459620            Regular       40.00   20.00 10/22/2018 Sacramento CA - Drivers
2459620            Overtime      10.50   30.00 10/22/2018 Sacramento CA - Drivers
2459620            Regular       20.75   20.00 10/29/2018 Sacramento CA - Drivers
2459620            Overtime       1.50   30.00 10/29/2018 Sacramento CA - Drivers
2459620            Regular       40.00   20.00 11/05/2018 Sacramento CA - Drivers
2459620            Overtime      10.50   30.00 11/05/2018 Sacramento CA - Drivers
2459620            Regular       40.00   20.00 11/12/2018 Sacramento CA - Drivers
2459620            Overtime       6.00   30.00 11/12/2018 Sacramento CA - Drivers
2459620            Regular       24.00   20.00 11/19/2018 Sacramento CA - Drivers
2459620            Overtime       2.50   30.00 11/19/2018 Sacramento CA - Drivers
2459620            Regular       12.00   20.00 11/26/2018 Sacramento CA - Drivers
2459620            Overtime       1.00   30.00 11/26/2018 Sacramento CA - Drivers
2459620            Regular       40.00   20.00 12/03/2018 Sacramento CA - Drivers
2459620            Overtime       7.00   30.00 12/03/2018 Sacramento CA - Drivers
2459620            Regular       24.00   20.00 12/10/2018 Sacramento CA - Drivers
2459620            Overtime       8.50   30.00 12/10/2018 Sacramento CA - Drivers
2459620            Regular       34.50   20.00 12/17/2018 Sacramento CA - Drivers
2459620            Overtime      15.00   30.00 12/17/2018 Sacramento CA - Drivers
2459620            Regular       24.00   20.00 12/24/2018 Sacramento CA - Drivers
2459620            Overtime       9.25   30.00 12/24/2018 Sacramento CA - Drivers
2459620            Regular       32.00   20.00 12/31/2018 Sacramento CA - Drivers
2459620            Overtime      17.50   30.00 12/31/2018 Sacramento CA - Drivers
2459620            Regular       32.00   20.75 01/07/2019 Sacramento CA - Drivers
2459620            Overtime      18.00   31.13 01/07/2019 Sacramento CA - Drivers
2459620            Regular       26.00   20.75 01/14/2019 Sacramento CA - Drivers
2459620            Overtime      16.00   31.13 01/14/2019 Sacramento CA - Drivers
2459620            Regular       32.00   20.75 01/21/2019 Sacramento CA - Drivers
2459620            Overtime      14.75   31.13 01/21/2019 Sacramento CA - Drivers
2459620            Regular        8.00   20.75 01/28/2019 Sacramento CA - Drivers
2459620            Overtime       3.25   31.13 01/28/2019 Sacramento CA - Drivers
2459620            Regular       16.00   20.75 02/11/2019 Sacramento CA - Drivers
2459620            Overtime      14.50   31.13 02/11/2019 Sacramento CA - Drivers
2459620            Regular        4.00   20.92 04/23/2018 Sacramento CA - Drivers
Total for 2459620             2,053.43
2561515            Regular       40.00   16.00 07/23/2018 Chicago IL - Drivers
2561515            Overtime      12.00   24.00 07/23/2018 Chicago IL - Drivers
2561515            Regular       40.00   16.00 07/30/2018 Chicago IL - Drivers
2561515            Overtime       9.40   24.00 07/30/2018 Chicago IL - Drivers
2561515            Regular       32.00   18.00 08/06/2018 Chicago IL - Drivers
2561515            Overtime      13.10   27.00 08/06/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 08/13/2018 Chicago IL - Drivers
2561515            Overtime      19.05   27.00 07/23/2018 Chicago IL - Drivers
2561515            Regular       39.35   18.00 08/20/2018 Chicago IL - Drivers
2561515            Overtime      10.05   27.00 08/20/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 08/27/2018 Chicago IL - Drivers
2561515            Overtime      15.90   27.00 08/27/2018 Chicago IL - Drivers
2561515            Regular       25.07   18.00 09/03/2018 Chicago IL - Drivers
2561515            Overtime      10.63   27.00 09/03/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 09/10/2018 Chicago IL - Drivers
2561515            Overtime      10.93   27.00 09/10/2018 Chicago IL - Drivers
2561515            Regular       39.95   18.00 09/17/2018 Chicago IL - Drivers
2561515            Overtime      10.03   27.00 09/17/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 09/24/2018 Chicago IL - Drivers
2561515            Overtime       9.82   27.00 09/24/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 10/01/2018 Chicago IL - Drivers
2561515            Overtime      12.08   27.00 10/01/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 10/08/2018 Chicago IL - Drivers
2561515 Case 2:19-cv-08580-JFW-MAA
                   Overtime       9.37Document
                                         27.00 38-5    Filed Chicago
                                                 10/08/2018  03/22/21IL - Page
                                                                          Drivers499 of 691   Page ID
2561515            Regular       40.00   18.00 #:1272
                                                 10/15/2018 Chicago IL - Drivers
2561515            Overtime       9.38   27.00 10/15/2018 Chicago IL - Drivers
2561515            Regular       32.00   18.00 10/22/2018 Chicago IL - Drivers
2561515            Overtime       7.18   27.00 10/22/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 10/29/2018 Chicago IL - Drivers
2561515            Overtime      11.02   27.00 10/29/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 11/05/2018 Chicago IL - Drivers
2561515            Overtime      11.93   27.00 11/05/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 11/12/2018 Chicago IL - Drivers
2561515            Overtime      12.50   27.00 11/12/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 11/19/2018 Chicago IL - Drivers
2561515            Overtime      10.80   27.00 11/19/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 11/26/2018 Chicago IL - Drivers
2561515            Overtime      11.15   27.00 11/26/2018 Chicago IL - Drivers
2561515            Regular       35.00   18.00 12/03/2018 Chicago IL - Drivers
2561515            Overtime      11.35   27.00 12/03/2018 Chicago IL - Drivers
2561515            Regular       40.00   18.00 12/10/2018 Chicago IL - Drivers
2561515            Overtime      14.32   27.00 12/10/2018 Chicago IL - Drivers
2561515            Regular       32.00   18.00 12/17/2018 Chicago IL - Drivers
2561515            Overtime      13.25   27.00 12/17/2018 Chicago IL - Drivers
2561515            Regular       24.00   18.00 12/24/2018 Chicago IL - Drivers
2561515            Overtime       8.95   27.00 12/24/2018 Chicago IL - Drivers
2561515            Regular       32.00   18.00 12/31/2018 Chicago IL - Drivers
2561515            Overtime      11.60   27.00 12/31/2018 Chicago IL - Drivers
2561515            Regular       24.00   18.00 01/07/2019 Chicago IL - Drivers
2561515            Overtime       8.47   27.00 01/07/2019 Chicago IL - Drivers
2561515            Regular       40.00   18.00 01/14/2019 Chicago IL - Drivers
2561515            Overtime      14.57   27.00 01/14/2019 Chicago IL - Drivers
2561515            Regular       40.00   18.00 01/21/2019 Chicago IL - Drivers
2561515            Overtime      14.38   27.00 01/21/2019 Chicago IL - Drivers
2561515            Regular       40.00   18.00 01/28/2019 Chicago IL - Drivers
2561515            Overtime      13.65   27.00 01/28/2019 Chicago IL - Drivers
2561515            Regular       40.00   18.00 02/04/2019 Chicago IL - Drivers
2561515            Overtime      16.35   27.00 02/04/2019 Chicago IL - Drivers
2561515            Regular       38.38   18.00 02/11/2019 Chicago IL - Drivers
2561515            Overtime      10.38   27.00 02/11/2019 Chicago IL - Drivers
Total for 2561515             1,467.34
1397559            Regular       18.50   16.50 09/12/2016 Los Angeles CA West - Drivers
1397559            Overtime       4.00   24.75 09/12/2016 Los Angeles CA West - Drivers
1397559            Regular        7.00   16.50 09/19/2016 Los Angeles CA West - Drivers
Total for 1397559                29.50
1336920            Regular        8.00   15.00 06/13/2016 Los Angeles CA East - Drivers
Total for 1336920                 8.00
2345283            Regular       40.00   16.00 07/31/2017 Los Angeles CA West - Drivers
2345283            Overtime       4.50   24.00 07/31/2017 Los Angeles CA West - Drivers
2345283            Regular        8.00   16.00 08/07/2017 Los Angeles CA West - Drivers
2345283            Overtime       1.00   24.00 08/07/2017 Los Angeles CA West - Drivers
Total for 2345283                53.50
1428820            Regular       40.00   19.00 10/24/2016 Los Angeles CA West - Drivers
1428820            Overtime      18.00   28.50 10/24/2016 Los Angeles CA West - Drivers
1428820            Regular       40.00   19.00 10/31/2016 Los Angeles CA West - Drivers
1428820            Overtime      15.00   28.50 10/31/2016 Los Angeles CA West - Drivers
1428820            Regular       40.00   19.00 11/07/2016 Los Angeles CA West - Drivers
1428820            Overtime       7.25   28.50 11/07/2016 Los Angeles CA West - Drivers
1428820            Regular       39.25   19.00 11/14/2016 Los Angeles CA West - Drivers
1428820            Overtime      11.75   28.50 11/14/2016 Los Angeles CA West - Drivers
1428820            Regular       24.00   19.00 11/21/2016 Los Angeles CA West - Drivers
1428820            Overtime       5.00   28.50 11/21/2016 Los Angeles CA West - Drivers
1428820            Regular       38.50   19.00 11/28/2016 Los Angeles CA West - Drivers
1428820            Overtime      10.00   28.50 11/28/2016 Los Angeles CA West - Drivers
1428820            Regular       40.00   19.00 12/05/2016 Los Angeles CA West - Drivers
1428820            Overtime      12.25   28.50 12/05/2016 Los Angeles CA West - Drivers
1428820 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        19.00 38-5    Filed Los
                                                12/12/2016  03/22/21
                                                                AngelesPage 500- Drivers
                                                                       CA West   of 691    Page ID
1428820            Overtime     12.25   28.50 #:1273
                                                12/12/2016 Los Angeles CA West - Drivers
1428820            Regular      24.00   19.00 12/19/2016 Los Angeles CA West - Drivers
1428820            Overtime      1.75   28.50 12/19/2016 Los Angeles CA West - Drivers
1428820            Regular      28.00   19.00 12/26/2016 Los Angeles CA West - Drivers
1428820            Regular      32.00   19.00 01/02/2017 Los Angeles CA West - Drivers
1428820            Overtime      2.50   28.50 01/02/2017 Los Angeles CA West - Drivers
1428820            Regular      24.00   19.00 01/09/2017 Los Angeles CA West - Drivers
1428820            Overtime      6.00   28.50 01/09/2017 Los Angeles CA West - Drivers
1428820            Regular       8.00   19.00 01/16/2017 Los Angeles CA West - Drivers
1428820            Overtime      2.00   28.50 01/16/2017 Los Angeles CA West - Drivers
1428820            Regular      16.00   19.00 10/31/2016 Los Angeles CA West - Drivers
1428820            Overtime      6.50   28.50 10/31/2016 Los Angeles CA West - Drivers
1428820            Regular      16.00   19.00 11/07/2016 Los Angeles CA West - Drivers
1428820            Overtime      2.50   28.50 11/07/2016 Los Angeles CA West - Drivers
1428820            Regular       8.00   19.00 11/14/2016 Los Angeles CA West - Drivers
1428820            Regular       8.00   19.00 11/28/2016 Los Angeles CA West - Drivers
1428820            Regular       8.00   19.00 12/12/2016 Los Angeles CA West - Drivers
1428820            Regular       6.25   19.00 12/05/2016 Los Angeles CA West - Drivers
Total for 1428820              592.75
2638967            Regular       8.00   22.00 01/21/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 01/21/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 01/28/2019 Sacramento CA - Drivers
2638967            Overtime      1.50   33.00 01/28/2019 Sacramento CA - Drivers
2638967            Regular      16.00   22.00 02/11/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 02/11/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 02/25/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 02/25/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 03/18/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 03/18/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 03/25/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 03/25/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 04/01/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 04/01/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 04/08/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 04/08/2019 Sacramento CA - Drivers
2638967            Regular      16.00   22.00 04/15/2019 Sacramento CA - Drivers
2638967            Overtime      7.00   33.00 04/15/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 04/22/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 04/22/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 04/29/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 04/29/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 05/06/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 05/06/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 05/27/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 05/27/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 06/03/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 06/03/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 07/01/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 07/01/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 07/08/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 07/08/2019 Sacramento CA - Drivers
2638967            Regular       8.00   22.00 07/15/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 07/15/2019 Sacramento CA - Drivers
2638967            Regular      16.50   22.00 07/22/2019 Sacramento CA - Drivers
2638967            Overtime      3.50   33.00 07/22/2019 Sacramento CA - Drivers
2638967            Regular      16.00   22.00 07/29/2019 Sacramento CA - Drivers
2638967            Overtime      7.00   33.00 07/29/2019 Sacramento CA - Drivers
2638967            Regular      16.00   22.00 08/05/2019 Sacramento CA - Drivers
2638967            Overtime      7.00   33.00 08/05/2019 Sacramento CA - Drivers
2638967            Regular      16.00   22.00 08/12/2019 Sacramento CA - Drivers
2638967            Overtime      7.00   33.00 08/12/2019 Sacramento CA - Drivers
2638967            Regular      16.00   22.00 08/26/2019 Sacramento CA - Drivers
2638967 Case 2:19-cv-08580-JFW-MAA
                   Overtime      7.00Document
                                        33.00 38-5    Filed Sacramento
                                                08/26/2019  03/22/21 Page    501 of 691
                                                                       CA - Drivers       Page ID
2638967            Regular      16.00   22.00 #:1274
                                                09/02/2019 Sacramento CA - Drivers
2638967            Overtime      7.00   33.00 09/02/2019 Sacramento CA - Drivers
Total for 2638967              348.00
2377245            Regular      17.50   20.50 10/30/2017 Sacramento CA - Drivers
2377245            Overtime      4.00   30.75 10/30/2017 Sacramento CA - Drivers
2377245            Regular      10.50   20.50 11/06/2017 Sacramento CA - Drivers
2377245            Overtime      4.00   30.75 11/06/2017 Sacramento CA - Drivers
2377245            Regular      16.00   20.50 11/20/2017 Sacramento CA - Drivers
2377245            Overtime      0.30   30.75 11/20/2017 Sacramento CA - Drivers
2377245            Regular       8.20   20.50 11/27/2017 Sacramento CA - Drivers
2377245            Overtime      6.00   30.75 11/20/2017 Sacramento CA - Drivers
2377245            Regular       8.00   20.50 12/04/2017 Sacramento CA - Drivers
2377245            Regular      10.60   20.50 12/11/2017 Sacramento CA - Drivers
2377245            Overtime      4.00   30.75 12/11/2017 Sacramento CA - Drivers
2377245            Regular       8.00   20.50 12/18/2017 Sacramento CA - Drivers
2377245            Overtime      0.20   30.75 12/18/2017 Sacramento CA - Drivers
2377245            Regular      18.20   20.50 01/08/2018 Sacramento CA - Drivers
2377245            Overtime      4.10   30.75 01/08/2018 Sacramento CA - Drivers
2377245            Regular      16.00   20.50 01/15/2018 Sacramento CA - Drivers
2377245            Overtime      1.60   30.75 01/15/2018 Sacramento CA - Drivers
2377245            Regular      40.00   20.50 01/22/2018 Sacramento CA - Drivers
2377245            Overtime      3.60   30.75 01/22/2018 Sacramento CA - Drivers
2377245            Regular      37.20   20.50 01/29/2018 Sacramento CA - Drivers
2377245            Overtime      8.00   30.75 01/29/2018 Sacramento CA - Drivers
2377245            Regular      36.20   20.50 02/05/2018 Sacramento CA - Drivers
2377245            Overtime      8.00   30.75 02/05/2018 Sacramento CA - Drivers
2377245            Regular      24.00   20.50 02/12/2018 Sacramento CA - Drivers
2377245            Overtime      7.00   30.75 02/12/2018 Sacramento CA - Drivers
2377245            Regular      32.00   20.50 02/19/2018 Sacramento CA - Drivers
2377245            Overtime      4.40   30.75 02/19/2018 Sacramento CA - Drivers
2377245            Regular       8.00   20.50 02/26/2018 Sacramento CA - Drivers
2377245            Overtime      1.50   30.75 02/26/2018 Sacramento CA - Drivers
2377245            Regular      24.00   20.50 03/05/2018 Sacramento CA - Drivers
2377245            Overtime      3.30   30.75 03/05/2018 Sacramento CA - Drivers
2377245            Regular       8.00   20.50 03/12/2018 Sacramento CA - Drivers
2377245            Overtime      2.10   30.75 03/12/2018 Sacramento CA - Drivers
2377245            Regular      16.00   20.50 03/19/2018 Sacramento CA - Drivers
2377245            Overtime      4.20   30.75 03/19/2018 Sacramento CA - Drivers
2377245            Regular      47.80   20.50 03/26/2018 Sacramento CA - Drivers
2377245            Overtime      9.30   30.75 03/26/2018 Sacramento CA - Drivers
2377245            Regular      24.00   20.50 04/02/2018 Sacramento CA - Drivers
2377245            Overtime      4.30   30.75 04/02/2018 Sacramento CA - Drivers
2377245            Regular      15.20   20.50 04/09/2018 Sacramento CA - Drivers
2377245            Regular      16.00   20.50 04/16/2018 Sacramento CA - Drivers
2377245            Overtime      0.50   30.75 04/16/2018 Sacramento CA - Drivers
2377245            Regular      16.00   20.50 04/23/2018 Sacramento CA - Drivers
2377245            Regular      28.20   20.50 04/30/2018 Sacramento CA - Drivers
2377245            Overtime      4.00   30.75 04/30/2018 Sacramento CA - Drivers
2377245            Regular      32.00   20.50 05/07/2018 Sacramento CA - Drivers
2377245            Overtime      4.80   30.75 05/07/2018 Sacramento CA - Drivers
2377245            Regular      23.50   20.00 01/08/2018 Sacramento CA - Drivers
2377245            Overtime      3.25   30.00 01/08/2018 Sacramento CA - Drivers
2377245            Regular      24.00   20.00 01/15/2018 Sacramento CA - Drivers
2377245            Overtime      3.00   30.00 01/15/2018 Sacramento CA - Drivers
Total for 2377245              660.55
2178855            Regular      16.00   20.00 08/14/2017 Los Angeles CA East - Drivers
2178855            Overtime      4.50   30.00 08/14/2017 Los Angeles CA East - Drivers
2178855            Regular      24.00   20.00 08/21/2017 Los Angeles CA East - Drivers
2178855            Overtime      8.75   30.00 08/21/2017 Los Angeles CA East - Drivers
2178855            Regular      32.00   20.00 08/28/2017 Los Angeles CA East - Drivers
2178855            Overtime     14.00   30.00 08/28/2017 Los Angeles CA East - Drivers
2178855            Regular      24.00   20.00 09/04/2017 Los Angeles CA East - Drivers
2178855 Case 2:19-cv-08580-JFW-MAA
                   Overtime      7.75Document
                                        30.00 38-5    Filed Los
                                                09/04/2017  03/22/21
                                                                AngelesPage 502
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2178855            Regular      32.00   20.00 #:1275
                                                09/18/2017 Los Angeles CA East - Drivers
2178855            Overtime     10.50   30.00 09/18/2017 Los Angeles CA East - Drivers
2178855            Regular      32.00   20.00 09/25/2017 Los Angeles CA East - Drivers
2178855            Overtime     12.50   30.00 09/25/2017 Los Angeles CA East - Drivers
2178855            Regular      24.00   20.00 10/02/2017 Los Angeles CA East - Drivers
2178855            Overtime      3.75   30.00 10/02/2017 Los Angeles CA East - Drivers
2178855            Regular      24.00   20.00 10/09/2017 Los Angeles CA East - Drivers
2178855            Overtime      8.00   30.00 10/09/2017 Los Angeles CA East - Drivers
2178855            Regular      32.00   22.00 09/10/2018 Los Angeles CA East - Drivers
2178855            Overtime      5.75   33.00 09/10/2018 Los Angeles CA East - Drivers
2178855            Regular      32.00   22.00 09/17/2018 Los Angeles CA East - Drivers
2178855            Overtime      7.00   33.00 09/17/2018 Los Angeles CA East - Drivers
2178855            Regular      24.00   22.00 09/24/2018 Los Angeles CA East - Drivers
2178855            Overtime      6.25   33.00 09/24/2018 Los Angeles CA East - Drivers
2178855            Regular      18.00   19.00 01/23/2017 Los Angeles CA East - Drivers
2178855            Regular      39.25   19.00 01/30/2017 Los Angeles CA East - Drivers
2178855            Overtime      6.50   28.50 01/30/2017 Los Angeles CA East - Drivers
2178855            Regular      37.50   19.00 02/06/2017 Los Angeles CA East - Drivers
2178855            Overtime      3.75   28.50 02/06/2017 Los Angeles CA East - Drivers
2178855            Regular       6.00   20.75 08/07/2017 Los Angeles CA East - Drivers
2178855            Regular       8.00   20.00 09/11/2017 Los Angeles CA East - Drivers
Total for 2178855              503.75
2660684            Regular       4.00   24.00 08/26/2019 Los Angeles CA West - Drivers
2660684            Regular      34.50   24.00 09/02/2019 Los Angeles CA West - Drivers
2660684            Regular       4.00   21.50 08/26/2019 Los Angeles CA West - Drivers
2660684            Regular      26.50   21.00 08/19/2019 Los Angeles CA West - Drivers
Total for 2660684               69.00
2245683            Regular       8.00   20.00 05/15/2017 Los Angeles CA East - Drivers
2245683            Overtime      1.25   30.00 05/15/2017 Los Angeles CA East - Drivers
Total for 2245683                9.25
2228682            Regular      32.00   17.00 04/10/2017 Sacramento CA - Drivers
2228682            Regular      16.00   17.00 04/17/2017 Sacramento CA - Drivers
2228682            Overtime      1.50   25.50 04/17/2017 Sacramento CA - Drivers
2228682            Regular      39.00   17.00 05/01/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 05/08/2017 Sacramento CA - Drivers
2228682            Overtime      3.75   25.50 05/08/2017 Sacramento CA - Drivers
2228682            Regular      39.00   17.00 05/15/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 05/22/2017 Sacramento CA - Drivers
2228682            Regular      32.00   17.00 05/29/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 06/05/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 06/12/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 06/19/2017 Sacramento CA - Drivers
2228682            Regular      32.00   17.00 06/26/2017 Sacramento CA - Drivers
2228682            Regular      32.00   17.00 07/03/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 07/10/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 07/17/2017 Sacramento CA - Drivers
2228682            Regular      32.00   17.00 07/24/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 07/31/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 08/07/2017 Sacramento CA - Drivers
2228682            Regular      16.50   17.00 08/14/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 08/21/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 08/28/2017 Sacramento CA - Drivers
2228682            Regular      32.00   17.00 09/04/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 09/11/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 09/18/2017 Sacramento CA - Drivers
2228682            Overtime      0.25   25.50 09/18/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 09/25/2017 Sacramento CA - Drivers
2228682            Overtime      1.00   25.50 09/25/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 10/02/2017 Sacramento CA - Drivers
2228682            Regular      32.00   17.00 10/09/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 10/16/2017 Sacramento CA - Drivers
2228682            Regular      40.00   17.00 10/23/2017 Sacramento CA - Drivers
2228682 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         17.00 38-5    Filed Sacramento
                                                 10/30/2017  03/22/21 Page    503 of 691
                                                                        CA - Drivers       Page ID
2228682            Regular       40.00   17.00 #:1276
                                                 11/06/2017 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 11/13/2017 Sacramento CA - Drivers
2228682            Regular       16.00   17.00 11/20/2017 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 11/27/2017 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 12/04/2017 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 12/11/2017 Sacramento CA - Drivers
2228682            Overtime       2.00   25.50 12/11/2017 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 12/18/2017 Sacramento CA - Drivers
2228682            Overtime       1.00   25.50 12/18/2017 Sacramento CA - Drivers
2228682            Regular       30.00   17.00 12/18/2017 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 01/01/2018 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 01/08/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 01/15/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 01/22/2018 Sacramento CA - Drivers
2228682            Regular       24.00   17.00 01/29/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 02/05/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 02/12/2018 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 02/19/2018 Sacramento CA - Drivers
2228682            Regular       24.00   17.00 02/26/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 03/05/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 03/12/2018 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 03/19/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 03/26/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 04/02/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 04/09/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 04/16/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 04/23/2018 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 04/30/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 05/07/2018 Sacramento CA - Drivers
2228682            Overtime       1.00   25.50 05/07/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 05/14/2018 Sacramento CA - Drivers
2228682            Regular       32.00   17.00 05/21/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 06/04/2018 Sacramento CA - Drivers
2228682            Overtime       1.00   25.50 06/04/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 06/11/2018 Sacramento CA - Drivers
2228682            Regular       40.00   17.00 06/18/2018 Sacramento CA - Drivers
2228682            Overtime       1.00   25.50 06/18/2018 Sacramento CA - Drivers
Total for 2228682             2,225.00
1442949            Regular        8.00   19.50 12/04/2017 Los Angeles CA East - Drivers
1442949            Overtime       2.00   29.25 12/04/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   19.00 02/13/2017 Los Angeles CA East - Drivers
1442949            Overtime       2.00   28.50 02/13/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   19.00 05/22/2017 Los Angeles CA East - Drivers
1442949            Overtime       4.00   28.50 05/22/2017 Los Angeles CA East - Drivers
1442949            Regular       10.00   20.00 08/07/2017 Los Angeles CA East - Drivers
1442949            Overtime       7.00   30.00 08/07/2017 Los Angeles CA East - Drivers
1442949            Regular       32.00   19.00 05/22/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   19.00 08/21/2017 Los Angeles CA East - Drivers
1442949            Overtime       4.00   28.50 08/21/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   19.00 01/09/2017 Los Angeles CA East - Drivers
1442949            Overtime       2.50   28.50 01/09/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   20.75 10/16/2017 Los Angeles CA East - Drivers
1442949            Overtime       3.00   31.13 10/16/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   20.75 10/23/2017 Los Angeles CA East - Drivers
1442949            Overtime       3.00   31.13 10/23/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   20.75 11/20/2017 Los Angeles CA East - Drivers
1442949            Overtime       1.50   31.13 11/20/2017 Los Angeles CA East - Drivers
1442949            Regular       40.00   19.50 07/31/2017 Los Angeles CA East - Drivers
1442949            Overtime       7.00   29.25 07/31/2017 Los Angeles CA East - Drivers
1442949            Regular       32.00   19.50 08/07/2017 Los Angeles CA East - Drivers
1442949            Overtime       6.50   29.25 08/07/2017 Los Angeles CA East - Drivers
1442949            Regular        8.00   19.50 08/14/2017 Los Angeles CA East - Drivers
1442949 Case 2:19-cv-08580-JFW-MAA
                   Overtime      2.50Document
                                        29.25 38-5    Filed Los
                                                08/14/2017  03/22/21
                                                                AngelesPage 504
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1442949            Regular      32.00   19.50 #:1277
                                                08/21/2017 Los Angeles CA East - Drivers
1442949            Overtime     10.00   29.25 08/21/2017 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 10/31/2016 Los Angeles CA East - Drivers
1442949            Overtime      5.50   28.50 10/31/2016 Los Angeles CA East - Drivers
1442949            Regular      19.00   19.00 11/07/2016 Los Angeles CA East - Drivers
1442949            Overtime      3.50   28.50 11/07/2016 Los Angeles CA East - Drivers
1442949            Regular      13.00   19.00 11/14/2016 Los Angeles CA East - Drivers
1442949            Overtime      2.50   28.50 11/14/2016 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 11/28/2016 Los Angeles CA East - Drivers
1442949            Overtime      3.75   28.50 11/28/2016 Los Angeles CA East - Drivers
1442949            Regular       8.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1442949            Overtime      2.00   28.50 12/05/2016 Los Angeles CA East - Drivers
1442949            Regular       8.00   19.00 12/12/2016 Los Angeles CA East - Drivers
1442949            Overtime      2.00   28.50 12/12/2016 Los Angeles CA East - Drivers
1442949            Regular       8.00   19.00 01/30/2017 Los Angeles CA East - Drivers
1442949            Regular      15.00   19.00 02/27/2017 Los Angeles CA East - Drivers
1442949            Overtime      4.00   28.50 02/27/2017 Los Angeles CA East - Drivers
1442949            Regular      15.00   19.00 03/13/2017 Los Angeles CA East - Drivers
1442949            Overtime      2.00   28.50 03/13/2017 Los Angeles CA East - Drivers
1442949            Regular       8.00   19.00 03/20/2017 Los Angeles CA East - Drivers
1442949            Overtime      3.00   28.50 03/20/2017 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 03/27/2017 Los Angeles CA East - Drivers
1442949            Overtime      7.00   28.50 03/27/2017 Los Angeles CA East - Drivers
1442949            Regular      40.00   19.00 04/03/2017 Los Angeles CA East - Drivers
1442949            Overtime     18.00   28.50 04/03/2017 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 04/10/2017 Los Angeles CA East - Drivers
1442949            Overtime      8.00   28.50 04/10/2017 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 04/17/2017 Los Angeles CA East - Drivers
1442949            Overtime      5.00   28.50 04/17/2017 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 04/24/2017 Los Angeles CA East - Drivers
1442949            Overtime      7.50   28.50 04/24/2017 Los Angeles CA East - Drivers
1442949            Regular      12.50   19.00 05/15/2017 Los Angeles CA East - Drivers
1442949            Overtime      4.00   28.50 05/15/2017 Los Angeles CA East - Drivers
1442949            Regular       7.75   19.00 05/22/2017 Los Angeles CA East - Drivers
1442949            Regular      16.00   19.00 06/12/2017 Los Angeles CA East - Drivers
1442949            Overtime      1.00   28.50 06/12/2017 Los Angeles CA East - Drivers
Total for 1442949              618.00
2332742            Regular       8.00   19.00 07/24/2017 Sacramento CA - Drivers
2332742            Overtime      0.25   28.50 07/24/2017 Sacramento CA - Drivers
2332742            Regular      29.25   19.50 07/17/2017 Sacramento CA - Drivers
2332742            Overtime      2.25   29.25 07/17/2017 Sacramento CA - Drivers
2332742            Regular       8.00   19.50 07/24/2017 Sacramento CA - Drivers
2332742            Overtime      0.25   29.25 07/24/2017 Sacramento CA - Drivers
Total for 2332742               48.00
1293936            Regular      24.00   16.00 07/24/2017 Los Angeles CA West - Drivers
1293936            Overtime      2.00   24.00 07/24/2017 Los Angeles CA West - Drivers
1293936            Regular      32.00   16.00 07/31/2017 Los Angeles CA West - Drivers
1293936            Overtime      3.50   24.00 07/31/2017 Los Angeles CA West - Drivers
1293936            Regular      24.00   16.00 08/07/2017 Los Angeles CA West - Drivers
1293936            Overtime      3.00   24.00 08/07/2017 Los Angeles CA West - Drivers
1293936            Regular      32.00   16.00 08/14/2017 Los Angeles CA West - Drivers
1293936            Overtime      4.00   24.00 08/14/2017 Los Angeles CA West - Drivers
1293936            Regular      40.00   16.00 08/21/2017 Los Angeles CA West - Drivers
1293936            Overtime      4.00   24.00 08/21/2017 Los Angeles CA West - Drivers
1293936            Regular      32.00   16.00 08/28/2017 Los Angeles CA West - Drivers
1293936            Overtime      4.00   24.00 08/28/2017 Los Angeles CA West - Drivers
Total for 1293936              204.50
1369481            Regular      37.50   19.00 08/08/2016 Los Angeles CA East - Drivers
1369481            Overtime      8.00   28.50 08/08/2016 Los Angeles CA East - Drivers
1369481            Regular      39.75   19.00 08/15/2016 Los Angeles CA East - Drivers
1369481            Overtime      4.50   28.50 08/15/2016 Los Angeles CA East - Drivers
1369481            Regular       2.00    6.67 08/01/2016 Los Angeles CA East - Drivers
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Total for 1369481                  91.75Document 38-5 Filed 03/22/21 Page 505 of 691          Page ID
2253412              Regular       31.00   19.00 #:1278
                                                   05/01/2017 Los Angeles CA East - Drivers
2253412              Regular       41.50   19.00 05/08/2017 Los Angeles CA East - Drivers
2253412              Regular       40.50   19.00 05/15/2017 Los Angeles CA East - Drivers
2253412              Regular       44.00   19.00 05/22/2017 Los Angeles CA East - Drivers
2253412              Regular       32.00   19.00 05/29/2017 Los Angeles CA East - Drivers
2253412              Regular        2.00   19.00 05/29/2017 Los Angeles CA East - Drivers
Total for 2253412                 191.00
2715374              Regular       40.00   17.00 03/18/2019 Los Angeles CA West - Drivers
2715374              Overtime       5.25   25.50 03/18/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.00 03/25/2019 Los Angeles CA West - Drivers
2715374              Overtime       7.00   25.50 03/25/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.00 04/01/2019 Los Angeles CA West - Drivers
2715374              Overtime       8.50   25.50 04/01/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.00 04/08/2019 Los Angeles CA West - Drivers
2715374              Overtime       4.50   25.50 04/08/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.00 04/15/2019 Los Angeles CA West - Drivers
2715374              Overtime       8.50   25.50 04/15/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.00 04/22/2019 Los Angeles CA West - Drivers
2715374              Overtime       2.00   25.50 04/22/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.00 04/29/2019 Los Angeles CA West - Drivers
2715374              Overtime      13.50   25.50 04/29/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 05/06/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.25   26.25 05/06/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 05/13/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.50   26.25 05/13/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 05/20/2019 Los Angeles CA West - Drivers
2715374              Overtime       7.00   26.25 05/20/2019 Los Angeles CA West - Drivers
2715374              Regular       24.00   17.50 05/27/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.50   26.25 05/27/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 06/03/2019 Los Angeles CA West - Drivers
2715374              Overtime       7.50   26.25 06/03/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 06/10/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.50   26.25 06/10/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 06/17/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.50   26.25 06/17/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 06/24/2019 Los Angeles CA West - Drivers
2715374              Overtime       4.25   26.25 06/24/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 07/01/2019 Los Angeles CA West - Drivers
2715374              Overtime       4.50   26.25 07/01/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 07/08/2019 Los Angeles CA West - Drivers
2715374              Overtime       7.00   26.25 07/08/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 07/15/2019 Los Angeles CA West - Drivers
2715374              Overtime      10.50   26.25 07/15/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 07/22/2019 Los Angeles CA West - Drivers
2715374              Overtime       9.00   26.25 07/22/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 07/29/2019 Los Angeles CA West - Drivers
2715374              Overtime       2.50   26.25 07/29/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 08/05/2019 Los Angeles CA West - Drivers
2715374              Overtime      13.00   26.25 08/05/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 08/12/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.00   26.25 08/12/2019 Los Angeles CA West - Drivers
2715374              Regular       40.00   17.50 08/19/2019 Los Angeles CA West - Drivers
2715374              Overtime       6.00   26.25 08/19/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 08/26/2019 Los Angeles CA West - Drivers
2715374              Overtime       8.00   26.25 08/26/2019 Los Angeles CA West - Drivers
2715374              Regular       32.00   17.50 09/02/2019 Los Angeles CA West - Drivers
2715374              Overtime       1.00   26.25 09/02/2019 Los Angeles CA West - Drivers
Total for 2715374               1,095.75
2632452              Regular       16.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2632452              Overtime       2.25   31.50 08/05/2019 Los Angeles CA West - Drivers
2632452              Regular        8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2632452              Overtime       1.50   33.00 06/17/2019 Los Angeles CA West - Drivers
2632452 Case 2:19-cv-08580-JFW-MAA
                   Regular      20.00Document
                                        21.85 38-5    Filed Los
                                                10/22/2018  03/22/21
                                                                AngelesPage 506- Drivers
                                                                       CA West   of 691    Page ID
2632452            Regular      20.25   21.85 #:1279
                                                04/08/2019 Los Angeles CA West - Drivers
2632452            Regular       8.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2632452            Overtime      4.00   31.50 06/03/2019 Los Angeles CA West - Drivers
2632452            Regular      16.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2632452            Overtime      8.00   31.50 06/17/2019 Los Angeles CA West - Drivers
2632452            Regular      40.00   22.50 06/24/2019 Los Angeles CA West - Drivers
2632452            Regular      32.00   22.50 07/01/2019 Los Angeles CA West - Drivers
2632452            Regular       8.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2632452            Overtime      0.50   31.50 07/08/2019 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2632452            Overtime      3.50   31.50 07/15/2019 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2632452            Overtime      1.00   31.50 07/22/2019 Los Angeles CA West - Drivers
2632452            Regular      22.75   21.00 07/29/2019 Los Angeles CA West - Drivers
2632452            Overtime      2.00   31.50 07/29/2019 Los Angeles CA West - Drivers
2632452            Regular       8.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2632452            Overtime      1.00   33.00 06/03/2019 Los Angeles CA West - Drivers
2632452            Regular      24.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2632452            Overtime      2.25   33.00 06/10/2019 Los Angeles CA West - Drivers
2632452            Regular      16.00   21.00 10/29/2018 Los Angeles CA West - Drivers
2632452            Overtime      3.50   31.50 10/29/2018 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2632452            Overtime      6.50   31.50 11/05/2018 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2632452            Overtime      4.50   31.50 11/12/2018 Los Angeles CA West - Drivers
2632452            Regular      16.00   21.00 11/19/2018 Los Angeles CA West - Drivers
2632452            Regular      32.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2632452            Overtime      3.00   31.50 11/26/2018 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2632452            Overtime      1.00   31.50 12/03/2018 Los Angeles CA West - Drivers
2632452            Regular      35.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2632452            Overtime      1.50   31.50 12/10/2018 Los Angeles CA West - Drivers
2632452            Regular      32.00   21.00 12/17/2018 Los Angeles CA West - Drivers
2632452            Regular      24.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2632452            Overtime      0.50   31.50 12/24/2018 Los Angeles CA West - Drivers
2632452            Regular      32.00   21.00 01/14/2019 Los Angeles CA West - Drivers
2632452            Overtime      1.75   31.50 01/14/2019 Los Angeles CA West - Drivers
2632452            Regular       8.00   21.00 04/22/2019 Los Angeles CA West - Drivers
2632452            Overtime      1.75   31.50 04/22/2019 Los Angeles CA West - Drivers
2632452            Regular      32.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2632452            Overtime      2.50   31.50 04/29/2019 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 05/06/2019 Los Angeles CA West - Drivers
2632452            Overtime      4.25   31.50 05/06/2019 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 05/13/2019 Los Angeles CA West - Drivers
2632452            Overtime      3.50   31.50 05/13/2019 Los Angeles CA West - Drivers
2632452            Regular      40.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2632452            Overtime      1.00   31.50 05/20/2019 Los Angeles CA West - Drivers
2632452            Regular      26.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2632452            Overtime      2.25   31.50 05/27/2019 Los Angeles CA West - Drivers
2632452            Regular       8.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2632452            Overtime      0.50   31.50 06/03/2019 Los Angeles CA West - Drivers
2632452            Regular       8.00   22.00 07/08/2019 Los Angeles CA West - Drivers
2632452            Overtime      2.00   33.00 07/08/2019 Los Angeles CA West - Drivers
Total for 2632452              878.00
2651319            Regular       8.00   18.00 11/19/2018 Los Angeles CA West - Drivers
Total for 2651319                8.00
1326359            Regular      13.00   16.50 05/23/2016 Los Angeles CA West - Drivers
1326359            Regular      40.00   16.50 05/30/2016 Los Angeles CA West - Drivers
1326359            Overtime     17.75   24.75 05/30/2016 Los Angeles CA West - Drivers
1326359            Regular      16.00   16.50 06/06/2016 Los Angeles CA West - Drivers
1326359            Overtime      3.50   24.75 06/06/2016 Los Angeles CA West - Drivers
Total for 1326359               90.25
2195969 Case 2:19-cv-08580-JFW-MAA
                   Regular      24.00Document
                                        19.00 38-5    Filed Los
                                                02/20/2017  03/22/21
                                                                AngelesPage 507
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2195969            Regular      32.00   19.00 #:1280
                                                02/27/2017 Los Angeles CA East - Drivers
2195969            Overtime      9.00   28.50 02/27/2017 Los Angeles CA East - Drivers
2195969            Regular       7.50   19.00 03/06/2017 Los Angeles CA East - Drivers
2195969            Regular       8.00   19.00 03/27/2017 Los Angeles CA East - Drivers
2195969            Overtime      3.50   28.50 03/27/2017 Los Angeles CA East - Drivers
2195969            Regular      16.00   19.00 04/10/2017 Los Angeles CA East - Drivers
2195969            Overtime      4.00   28.50 04/10/2017 Los Angeles CA East - Drivers
2195969            Regular      16.00   19.00 04/24/2017 Los Angeles CA East - Drivers
2195969            Overtime      2.00   28.50 04/24/2017 Los Angeles CA East - Drivers
Total for 2195969              122.00
955696             Regular      24.00   19.00 07/31/2017 Denver CO - Drivers
955696             Overtime      8.75   28.50 07/31/2017 Denver CO - Drivers
955696             Regular      40.00   19.00 08/07/2017 Denver CO - Drivers
955696             Overtime      7.50   28.50 08/07/2017 Denver CO - Drivers
955696             Regular      16.00   19.00 08/14/2017 Denver CO - Drivers
955696             Overtime      5.00   28.50 08/14/2017 Denver CO - Drivers
955696             Regular      32.00   19.00 08/21/2017 Denver CO - Drivers
955696             Overtime     10.00   28.50 08/21/2017 Denver CO - Drivers
955696             Regular      32.00   19.00 08/28/2017 Denver CO - Drivers
955696             Overtime      5.00   28.50 08/28/2017 Denver CO - Drivers
Total for 955696               180.25
2191723            Regular       8.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2191723            Overtime      3.25   30.00 07/23/2018 Los Angeles CA East - Drivers
Total for 2191723               11.25
2469004            Regular      24.00   17.60 01/29/2018 Los Angeles CA West - Drivers
2469004            Overtime      5.50   26.40 01/29/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 02/05/2018 Los Angeles CA West - Drivers
2469004            Overtime     14.50   26.40 02/05/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 02/12/2018 Los Angeles CA West - Drivers
2469004            Overtime     14.00   26.40 02/12/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 02/19/2018 Los Angeles CA West - Drivers
2469004            Overtime     10.00   26.40 02/19/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 02/26/2018 Los Angeles CA West - Drivers
2469004            Overtime     13.50   26.40 02/26/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 03/05/2018 Los Angeles CA West - Drivers
2469004            Overtime     15.50   26.40 03/05/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 03/12/2018 Los Angeles CA West - Drivers
2469004            Overtime     16.00   26.40 03/12/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 03/19/2018 Los Angeles CA West - Drivers
2469004            Overtime     12.00   26.40 03/19/2018 Los Angeles CA West - Drivers
2469004            Regular      32.00   17.60 03/26/2018 Los Angeles CA West - Drivers
2469004            Overtime     14.00   26.40 03/26/2018 Los Angeles CA West - Drivers
Total for 2469004              395.00
2660661            Regular      40.00   23.00 08/26/2019 Sacramento CA - Drivers
2660661            Overtime     11.25   34.50 08/26/2019 Sacramento CA - Drivers
2660661            Regular      24.00   23.00 09/02/2019 Sacramento CA - Drivers
2660661            Overtime      8.00   34.50 09/02/2019 Sacramento CA - Drivers
Total for 2660661               83.25
2543010            Regular       8.00   17.60 01/14/2019 Los Angeles CA West - Drivers
2543010            Overtime      2.00   26.40 01/14/2019 Los Angeles CA West - Drivers
2543010            Regular      32.00   17.60 01/21/2019 Los Angeles CA West - Drivers
2543010            Overtime     14.50   26.40 01/21/2019 Los Angeles CA West - Drivers
2543010            Regular       8.00   17.60 01/28/2019 Los Angeles CA West - Drivers
2543010            Overtime      3.50   26.40 01/28/2019 Los Angeles CA West - Drivers
2543010            Regular      32.00   18.00 12/03/2018 Los Angeles CA West - Drivers
2543010            Overtime      1.50   27.00 12/03/2018 Los Angeles CA West - Drivers
2543010            Regular      40.00   18.00 12/10/2018 Los Angeles CA West - Drivers
2543010            Overtime      8.00   27.00 12/10/2018 Los Angeles CA West - Drivers
2543010            Regular      40.00   18.00 12/17/2018 Los Angeles CA West - Drivers
2543010            Regular      32.00   18.00 12/24/2018 Los Angeles CA West - Drivers
2543010            Overtime     12.00   27.00 12/24/2018 Los Angeles CA West - Drivers
2543010            Regular      32.00   18.00 12/31/2018 Los Angeles CA West - Drivers
2543010 Case 2:19-cv-08580-JFW-MAA
                   Overtime      8.00Document
                                        27.00 38-5    Filed Los
                                                12/31/2018  03/22/21
                                                                AngelesPage 508- Drivers
                                                                       CA West   of 691    Page ID
2543010            Regular      40.00   18.00 #:1281
                                                01/07/2019 Los Angeles CA West - Drivers
2543010            Regular       8.00   18.00 09/17/2018 Los Angeles CA West - Drivers
2543010            Regular      16.00   17.00 08/20/2018 Los Angeles CA West - Drivers
2543010            Overtime      2.50   25.50 08/20/2018 Los Angeles CA West - Drivers
2543010            Regular      32.00   17.00 08/27/2018 Los Angeles CA West - Drivers
2543010            Overtime      3.00   25.50 08/27/2018 Los Angeles CA West - Drivers
2543010            Regular      16.00   17.00 09/03/2018 Los Angeles CA West - Drivers
2543010            Overtime      2.00   25.50 09/03/2018 Los Angeles CA West - Drivers
Total for 2543010              393.00
2533615            Regular      32.00   16.00 05/28/2018 Los Angeles CA West - Drivers
2533615            Overtime     13.50   24.00 05/28/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 06/04/2018 Los Angeles CA West - Drivers
2533615            Overtime     10.85   24.00 06/04/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 06/11/2018 Los Angeles CA West - Drivers
2533615            Overtime     15.93   24.00 06/11/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 06/18/2018 Los Angeles CA West - Drivers
2533615            Overtime      8.00   24.00 06/18/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 06/25/2018 Los Angeles CA West - Drivers
2533615            Overtime     17.50   24.00 06/25/2018 Los Angeles CA West - Drivers
2533615            Regular      72.00   16.00 07/02/2018 Los Angeles CA West - Drivers
2533615            Overtime     27.82   24.00 07/02/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 07/16/2018 Los Angeles CA West - Drivers
2533615            Overtime     16.50   24.00 07/16/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 07/23/2018 Los Angeles CA West - Drivers
2533615            Overtime     10.75   24.00 07/23/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   16.00 07/30/2018 Los Angeles CA West - Drivers
2533615            Overtime     12.45   24.00 07/30/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 08/06/2018 Los Angeles CA West - Drivers
2533615            Overtime     18.05   27.00 08/06/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 08/13/2018 Los Angeles CA West - Drivers
2533615            Overtime     16.18   27.00 08/13/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 08/20/2018 Los Angeles CA West - Drivers
2533615            Overtime     13.47   27.00 08/20/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 08/27/2018 Los Angeles CA West - Drivers
2533615            Overtime     13.37   27.00 08/27/2018 Los Angeles CA West - Drivers
2533615            Regular      32.00   18.00 09/03/2018 Los Angeles CA West - Drivers
2533615            Overtime     10.27   27.00 09/03/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 09/10/2018 Los Angeles CA West - Drivers
2533615            Overtime      9.80   27.00 09/10/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 09/17/2018 Los Angeles CA West - Drivers
2533615            Overtime     10.25   27.00 09/17/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 09/24/2018 Los Angeles CA West - Drivers
2533615            Overtime     11.97   27.00 09/24/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 10/01/2018 Los Angeles CA West - Drivers
2533615            Overtime      9.92   27.00 10/01/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 10/08/2018 Los Angeles CA West - Drivers
2533615            Overtime     11.78   27.00 10/08/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 10/15/2018 Los Angeles CA West - Drivers
2533615            Overtime     11.12   27.00 10/15/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 10/22/2018 Los Angeles CA West - Drivers
2533615            Overtime     13.55   27.00 10/22/2018 Los Angeles CA West - Drivers
2533615            Regular      32.00   18.00 10/29/2018 Los Angeles CA West - Drivers
2533615            Overtime      9.02   27.00 10/29/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 11/05/2018 Los Angeles CA West - Drivers
2533615            Overtime     14.63   27.00 11/05/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 11/12/2018 Los Angeles CA West - Drivers
2533615            Overtime      9.75   27.00 11/12/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 11/19/2018 Los Angeles CA West - Drivers
2533615            Overtime      8.37   27.00 11/19/2018 Los Angeles CA West - Drivers
2533615            Regular      40.00   18.00 11/26/2018 Los Angeles CA West - Drivers
2533615            Overtime      9.90   27.00 11/26/2018 Los Angeles CA West - Drivers
2533615            Regular      32.00   18.00 12/03/2018 Los Angeles CA West - Drivers
2533615 Case 2:19-cv-08580-JFW-MAA
                   Overtime      11.25Document
                                         27.00 38-5    Filed Los
                                                 12/03/2018  03/22/21
                                                                 AngelesPage 509- Drivers
                                                                        CA West   of 691    Page ID
2533615            Regular       40.00   18.00 #:1282
                                                 12/10/2018 Los Angeles CA West - Drivers
2533615            Overtime      14.05   27.00 12/10/2018 Los Angeles CA West - Drivers
2533615            Regular       40.00   18.00 12/17/2018 Los Angeles CA West - Drivers
2533615            Overtime      14.98   27.00 12/17/2018 Los Angeles CA West - Drivers
2533615            Regular       32.00   18.00 12/24/2018 Los Angeles CA West - Drivers
2533615            Overtime      12.67   27.00 12/24/2018 Los Angeles CA West - Drivers
2533615            Regular       24.00   18.00 12/31/2018 Los Angeles CA West - Drivers
2533615            Overtime      10.63   27.00 12/31/2018 Los Angeles CA West - Drivers
2533615            Regular       40.00   18.00 01/07/2019 Los Angeles CA West - Drivers
2533615            Overtime      14.08   27.00 01/07/2019 Los Angeles CA West - Drivers
2533615            Regular       40.00   18.00 01/14/2019 Los Angeles CA West - Drivers
2533615            Overtime      13.52   27.00 01/14/2019 Los Angeles CA West - Drivers
2533615            Regular       40.00   18.00 01/21/2019 Los Angeles CA West - Drivers
2533615            Overtime      11.87   27.00 01/21/2019 Los Angeles CA West - Drivers
Total for 2533615             1,773.75
2162939            Regular       24.00   20.00 03/06/2017 Los Angeles CA West - Drivers
2162939            Overtime       0.50   30.00 03/06/2017 Los Angeles CA West - Drivers
Total for 2162939                24.50
2442924            Regular        8.00   16.00 07/16/2018 Los Angeles CA East - Drivers
2442924            Regular        8.00   17.00 07/23/2018 Los Angeles CA East - Drivers
2442924            Overtime       0.50   25.50 07/23/2018 Los Angeles CA East - Drivers
Total for 2442924                16.50
2778910            Regular        8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2778910            Overtime       4.00   33.00 05/27/2019 Los Angeles CA West - Drivers
2778910            Regular       40.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2778910            Overtime      10.00   33.00 06/03/2019 Los Angeles CA West - Drivers
2778910            Regular       24.00   22.00 06/10/2019 Los Angeles CA West - Drivers
2778910            Overtime       8.00   33.00 06/10/2019 Los Angeles CA West - Drivers
2778910            Regular       24.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2778910            Overtime       4.50   33.00 06/17/2019 Los Angeles CA West - Drivers
2778910            Regular        8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2778910            Overtime       0.50   33.00 05/27/2019 Los Angeles CA West - Drivers
Total for 2778910               131.00
1241434            Regular        8.00   16.00 12/07/2015 Los Angeles CA West - Drivers
1241434            Overtime       4.00   24.00 12/07/2015 Los Angeles CA West - Drivers
1241434            Regular        8.00   16.00 12/07/2015 Los Angeles CA West - Drivers
1241434            Overtime       4.00   24.00 12/07/2015 Los Angeles CA West - Drivers
Total for 1241434                24.00
2381406            Regular       32.00   24.00 10/02/2017 Sacramento CA - Drivers
2381406            Regular       28.50   24.00 10/09/2017 Sacramento CA - Drivers
2381406            Overtime       2.50   36.00 10/09/2017 Sacramento CA - Drivers
2381406            Regular       43.50   24.00 10/09/2017 Sacramento CA - Drivers
2381406            Overtime       4.00   36.00 10/16/2017 Sacramento CA - Drivers
2381406            Regular       32.00   24.00 10/23/2017 Sacramento CA - Drivers
2381406            Regular       40.00   24.00 10/30/2017 Sacramento CA - Drivers
2381406            Overtime       1.50   36.00 10/30/2017 Sacramento CA - Drivers
2381406            Regular       24.00   24.00 11/06/2017 Sacramento CA - Drivers
2381406            Regular       32.00   24.00 11/13/2017 Sacramento CA - Drivers
2381406            Overtime       1.00   36.00 11/13/2017 Sacramento CA - Drivers
2381406            Regular       24.00   24.00 11/20/2017 Sacramento CA - Drivers
2381406            Overtime       2.00   36.00 11/20/2017 Sacramento CA - Drivers
2381406            Regular       40.00   24.00 11/27/2017 Sacramento CA - Drivers
2381406            Overtime       3.00   36.00 11/27/2017 Sacramento CA - Drivers
2381406            Regular       40.00   24.00 12/04/2017 Sacramento CA - Drivers
2381406            Overtime       2.75   36.00 12/04/2017 Sacramento CA - Drivers
2381406            Regular       40.00   24.00 12/11/2017 Sacramento CA - Drivers
2381406            Overtime       1.75   36.00 12/11/2017 Sacramento CA - Drivers
2381406            Regular       32.00   24.00 12/18/2017 Sacramento CA - Drivers
2381406            Overtime       1.25   36.00 12/18/2017 Sacramento CA - Drivers
2381406            Regular       24.00   24.00 12/25/2017 Sacramento CA - Drivers
2381406            Regular       16.00   24.00 01/01/2018 Sacramento CA - Drivers
2381406            Overtime       0.25   36.00 01/01/2018 Sacramento CA - Drivers
2381406 Case 2:19-cv-08580-JFW-MAA
                   Regular      32.00Document
                                        24.00 38-5    Filed Sacramento
                                                01/08/2018  03/22/21 Page    510 of 691
                                                                       CA - Drivers       Page ID
2381406            Regular      32.00   24.00 #:1283
                                                01/15/2018 Sacramento CA - Drivers
2381406            Overtime      1.25   36.00 01/15/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 01/22/2018 Sacramento CA - Drivers
2381406            Regular      24.00   24.00 01/29/2018 Sacramento CA - Drivers
2381406            Regular      40.00   24.00 02/05/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 02/12/2018 Sacramento CA - Drivers
2381406            Regular      32.00   24.00 02/19/2018 Sacramento CA - Drivers
2381406            Overtime      2.50   36.00 02/19/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 02/26/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 03/05/2018 Sacramento CA - Drivers
2381406            Overtime      0.50   36.00 03/05/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 03/12/2018 Sacramento CA - Drivers
2381406            Regular      24.00   24.00 03/26/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 04/02/2018 Sacramento CA - Drivers
2381406            Regular      16.00   24.00 04/09/2018 Sacramento CA - Drivers
2381406            Overtime      4.00   36.00 04/09/2018 Sacramento CA - Drivers
Total for 2381406              772.25
2759625            Regular      40.00   18.00 05/20/2019 Los Angeles CA East - Drivers
2759625            Overtime      2.00   27.00 05/20/2019 Los Angeles CA East - Drivers
2759625            Regular      32.00   18.00 05/27/2019 Los Angeles CA East - Drivers
2759625            Overtime      2.00   27.00 05/27/2019 Los Angeles CA East - Drivers
2759625            Regular      40.00   18.00 06/03/2019 Los Angeles CA East - Drivers
2759625            Overtime      8.00   27.00 06/03/2019 Los Angeles CA East - Drivers
2759625            Regular      40.00   18.00 06/10/2019 Los Angeles CA East - Drivers
2759625            Overtime      9.50   27.00 06/10/2019 Los Angeles CA East - Drivers
2759625            Regular      40.00   18.00 06/17/2019 Los Angeles CA East - Drivers
2759625            Overtime      8.50   27.00 06/17/2019 Los Angeles CA East - Drivers
2759625            Regular      40.00   18.00 06/24/2019 Los Angeles CA East - Drivers
2759625            Overtime      9.00   27.00 06/24/2019 Los Angeles CA East - Drivers
2759625            Regular      32.00   18.00 07/01/2019 Los Angeles CA East - Drivers
2759625            Overtime      5.00   27.00 07/01/2019 Los Angeles CA East - Drivers
Total for 2759625              308.00
2566736            Regular      16.00   21.00 02/04/2019 Sacramento CA - Drivers
2566736            Overtime      5.00   31.50 02/04/2019 Sacramento CA - Drivers
2566736            Regular      40.00   21.00 02/11/2019 Sacramento CA - Drivers
2566736            Overtime      9.50   31.50 02/11/2019 Sacramento CA - Drivers
2566736            Regular      32.00   21.00 02/18/2019 Sacramento CA - Drivers
2566736            Overtime      6.50   31.50 02/18/2019 Sacramento CA - Drivers
2566736            Regular      32.00   21.00 02/25/2019 Sacramento CA - Drivers
2566736            Overtime     14.00   31.50 02/25/2019 Sacramento CA - Drivers
2566736            Regular      32.00   21.00 03/04/2019 Sacramento CA - Drivers
2566736            Overtime      7.50   31.50 03/04/2019 Sacramento CA - Drivers
2566736            Regular      16.00   21.00 03/11/2019 Sacramento CA - Drivers
2566736            Overtime      5.00   31.50 03/11/2019 Sacramento CA - Drivers
2566736            Regular      24.00   22.00 09/10/2018 Sacramento CA - Drivers
2566736            Overtime      1.50   33.00 09/10/2018 Sacramento CA - Drivers
2566736            Regular      40.00   22.00 09/17/2018 Sacramento CA - Drivers
2566736            Overtime      7.50   33.00 09/17/2018 Sacramento CA - Drivers
2566736            Regular      40.00   22.00 09/24/2018 Sacramento CA - Drivers
2566736            Overtime      4.50   33.00 09/24/2018 Sacramento CA - Drivers
2566736            Regular       8.00   22.00 08/20/2018 Sacramento CA - Drivers
2566736            Overtime      1.00   33.00 08/20/2018 Sacramento CA - Drivers
2566736            Regular      18.00   22.00 08/26/2019 Sacramento CA - Drivers
2566736            Regular      24.00   22.00 09/02/2019 Sacramento CA - Drivers
2566736            Overtime     11.60   33.00 09/02/2019 Sacramento CA - Drivers
2566736            Regular      16.00   22.00 01/28/2019 Sacramento CA - Drivers
2566736            Overtime      2.30   33.00 01/28/2019 Sacramento CA - Drivers
2566736            Regular      24.00   22.00 02/04/2019 Sacramento CA - Drivers
2566736            Overtime      7.92   33.00 01/28/2019 Sacramento CA - Drivers
2566736            Regular      20.50   21.21 08/20/2018 Sacramento CA - Drivers
2566736            Regular      43.00   21.85 08/27/2018 Sacramento CA - Drivers
2566736            Regular      35.00   21.85 09/03/2018 Sacramento CA - Drivers
2566736 Case 2:19-cv-08580-JFW-MAA
                   Regular        8.00Document
                                         21.00 38-5    Filed Sacramento
                                                 07/23/2018  03/22/21 Page    511 of
                                                                        CA - Drivers   691 Page ID
2566736            Overtime       2.50   31.50 #:1284
                                                 07/23/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 07/30/2018 Sacramento CA - Drivers
2566736            Overtime      13.00   31.50 07/30/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 08/06/2018 Sacramento CA - Drivers
2566736            Overtime      17.00   31.50 08/06/2018 Sacramento CA - Drivers
2566736            Regular       32.00   21.00 08/13/2018 Sacramento CA - Drivers
2566736            Overtime      12.25   31.50 08/13/2018 Sacramento CA - Drivers
2566736            Regular        8.00   21.00 10/01/2018 Sacramento CA - Drivers
2566736            Regular       16.00   21.00 10/08/2018 Sacramento CA - Drivers
2566736            Overtime       3.00   31.50 10/08/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 10/15/2018 Sacramento CA - Drivers
2566736            Overtime       6.50   31.50 10/15/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 10/22/2018 Sacramento CA - Drivers
2566736            Overtime       7.25   31.50 10/22/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 10/29/2018 Sacramento CA - Drivers
2566736            Overtime       6.50   31.50 10/29/2018 Sacramento CA - Drivers
2566736            Regular       16.00   21.00 11/05/2018 Sacramento CA - Drivers
2566736            Overtime       2.50   31.50 11/05/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 11/12/2018 Sacramento CA - Drivers
2566736            Overtime       6.50   31.50 11/12/2018 Sacramento CA - Drivers
2566736            Regular       16.00   21.00 11/19/2018 Sacramento CA - Drivers
2566736            Overtime       6.00   31.50 11/19/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 11/26/2018 Sacramento CA - Drivers
2566736            Overtime      13.25   31.50 11/26/2018 Sacramento CA - Drivers
2566736            Regular       32.00   21.00 12/03/2018 Sacramento CA - Drivers
2566736            Overtime       8.50   31.50 12/03/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 12/10/2018 Sacramento CA - Drivers
2566736            Overtime       6.75   31.50 12/10/2018 Sacramento CA - Drivers
2566736            Regular       40.00   21.00 12/17/2018 Sacramento CA - Drivers
2566736            Overtime       8.00   31.50 12/17/2018 Sacramento CA - Drivers
2566736            Regular       16.00   21.00 12/24/2018 Sacramento CA - Drivers
2566736            Overtime       3.50   31.50 12/24/2018 Sacramento CA - Drivers
2566736            Regular       24.00   21.00 12/31/2018 Sacramento CA - Drivers
2566736            Overtime       2.50   31.50 12/31/2018 Sacramento CA - Drivers
2566736            Regular       24.00   21.00 01/07/2019 Sacramento CA - Drivers
2566736            Overtime       2.00   31.50 01/07/2019 Sacramento CA - Drivers
2566736            Regular       32.00   21.00 01/14/2019 Sacramento CA - Drivers
2566736            Overtime       2.00   31.50 01/14/2019 Sacramento CA - Drivers
2566736            Regular       16.00   21.00 01/21/2019 Sacramento CA - Drivers
2566736            Overtime       1.00   31.50 01/21/2019 Sacramento CA - Drivers
2566736            Regular        8.00   21.00 01/28/2019 Sacramento CA - Drivers
2566736            Overtime       0.50   31.50 01/28/2019 Sacramento CA - Drivers
2566736            Regular        8.00   21.00 08/13/2018 Sacramento CA - Drivers
2566736            Overtime       3.00   31.50 08/13/2018 Sacramento CA - Drivers
Total for 2566736             1,294.32
984650             Regular       30.00   19.50 03/28/2016 Sacramento CA - Drivers
984650             Overtime       7.25   29.25 03/28/2016 Sacramento CA - Drivers
984650             Regular       43.75   19.50 04/04/2016 Sacramento CA - Drivers
984650             Overtime       5.00   29.25 04/04/2016 Sacramento CA - Drivers
984650             Regular       48.50   19.50 04/11/2016 Sacramento CA - Drivers
984650             Overtime       4.00   29.25 04/11/2016 Sacramento CA - Drivers
984650             Regular       49.50   19.50 04/18/2016 Sacramento CA - Drivers
984650             Overtime       8.50   29.25 04/18/2016 Sacramento CA - Drivers
984650             Regular       50.00   19.50 04/25/2016 Sacramento CA - Drivers
984650             Overtime       1.25   29.25 04/25/2016 Sacramento CA - Drivers
984650             Regular       40.00   19.50 05/02/2016 Sacramento CA - Drivers
984650             Overtime       6.00   29.25 05/02/2016 Sacramento CA - Drivers
984650             Regular       38.00   19.50 05/09/2016 Sacramento CA - Drivers
984650             Overtime       8.25   29.25 05/09/2016 Sacramento CA - Drivers
984650             Regular       49.25   19.50 05/16/2016 Sacramento CA - Drivers
984650             Overtime      10.25   29.25 05/16/2016 Sacramento CA - Drivers
984650             Regular       49.50   19.50 05/23/2016 Sacramento CA - Drivers
984650 Case 2:19-cv-08580-JFW-MAA
                  Overtime      6.75Document
                                       29.25 38-5    Filed Sacramento
                                               05/23/2016  03/22/21 Page    512 of 691
                                                                      CA - Drivers       Page ID
984650            Regular      36.00   19.50 #:1285
                                               05/30/2016 Sacramento CA - Drivers
984650            Overtime      0.75   29.25 05/30/2016 Sacramento CA - Drivers
984650            Regular      43.25   19.50 06/06/2016 Sacramento CA - Drivers
984650            Overtime      4.50   29.25 06/06/2016 Sacramento CA - Drivers
984650            Regular      40.00   19.50 06/13/2016 Sacramento CA - Drivers
984650            Overtime      9.50   29.25 06/13/2016 Sacramento CA - Drivers
984650            Regular      40.75   19.50 06/20/2016 Sacramento CA - Drivers
984650            Overtime      2.75   29.25 06/20/2016 Sacramento CA - Drivers
984650            Regular      33.50   19.50 06/27/2016 Sacramento CA - Drivers
984650            Overtime      7.00   29.25 06/27/2016 Sacramento CA - Drivers
984650            Regular      30.00   19.50 07/04/2016 Sacramento CA - Drivers
984650            Overtime      6.25   29.25 07/04/2016 Sacramento CA - Drivers
984650            Regular      47.00   19.50 07/11/2016 Sacramento CA - Drivers
984650            Overtime      7.00   29.25 07/11/2016 Sacramento CA - Drivers
984650            Regular      28.00   19.50 07/18/2016 Sacramento CA - Drivers
984650            Overtime      4.25   29.25 07/18/2016 Sacramento CA - Drivers
984650            Regular      46.75   19.50 07/25/2016 Sacramento CA - Drivers
984650            Overtime     12.75   29.25 07/25/2016 Sacramento CA - Drivers
Total for 984650              855.75
2276911           Regular      16.00   16.00 06/26/2017 Los Angeles CA West - Drivers
2276911           Overtime      0.25   24.00 06/26/2017 Los Angeles CA West - Drivers
2276911           Regular      32.00   16.00 08/14/2017 Los Angeles CA West - Drivers
2276911           Overtime      1.50   24.00 08/14/2017 Los Angeles CA West - Drivers
2276911           Regular      24.00   16.00 08/21/2017 Los Angeles CA West - Drivers
2276911           Overtime      4.00   24.00 08/21/2017 Los Angeles CA West - Drivers
2276911           Regular      40.00   16.00 08/28/2017 Los Angeles CA West - Drivers
2276911           Overtime      2.00   24.00 08/28/2017 Los Angeles CA West - Drivers
2276911           Regular      16.00   16.00 09/04/2017 Los Angeles CA West - Drivers
2276911           Overtime      1.50   24.00 09/04/2017 Los Angeles CA West - Drivers
2276911           Regular      35.00   16.00 09/11/2017 Los Angeles CA West - Drivers
2276911           Overtime      5.25   24.00 09/11/2017 Los Angeles CA West - Drivers
2276911           Regular      40.00   16.00 09/18/2017 Los Angeles CA West - Drivers
2276911           Overtime      8.00   24.00 09/18/2017 Los Angeles CA West - Drivers
2276911           Regular      24.00   16.00 09/25/2017 Los Angeles CA West - Drivers
2276911           Regular      32.00   16.00 10/02/2017 Los Angeles CA West - Drivers
2276911           Overtime      5.50   24.00 10/02/2017 Los Angeles CA West - Drivers
2276911           Regular      32.00   16.00 10/09/2017 Los Angeles CA West - Drivers
2276911           Overtime      5.25   24.00 10/09/2017 Los Angeles CA West - Drivers
2276911           Regular      24.00   16.00 10/16/2017 Los Angeles CA West - Drivers
2276911           Regular      40.00   16.00 10/23/2017 Los Angeles CA West - Drivers
2276911           Overtime      4.50   24.00 10/23/2017 Los Angeles CA West - Drivers
2276911           Regular      32.00   16.00 10/30/2017 Los Angeles CA West - Drivers
2276911           Overtime      3.75   24.00 10/30/2017 Los Angeles CA West - Drivers
2276911           Regular      24.00   16.00 11/06/2017 Los Angeles CA West - Drivers
2276911           Overtime      7.00   24.00 11/06/2017 Los Angeles CA West - Drivers
2276911           Regular      32.00   16.00 11/13/2017 Los Angeles CA West - Drivers
2276911           Overtime      8.50   24.00 11/13/2017 Los Angeles CA West - Drivers
2276911           Regular      16.00   16.00 11/20/2017 Los Angeles CA West - Drivers
2276911           Overtime      4.00   24.00 11/20/2017 Los Angeles CA West - Drivers
2276911           Regular      32.00   16.00 11/27/2017 Los Angeles CA West - Drivers
2276911           Overtime      4.75   24.00 11/27/2017 Los Angeles CA West - Drivers
2276911           Regular      24.00   16.00 12/04/2017 Los Angeles CA West - Drivers
2276911           Overtime      3.50   24.00 12/04/2017 Los Angeles CA West - Drivers
2276911           Regular      16.00   16.00 12/11/2017 Los Angeles CA West - Drivers
2276911           Overtime      1.00   24.00 12/11/2017 Los Angeles CA West - Drivers
2276911           Regular       8.00   16.00 12/18/2017 Los Angeles CA West - Drivers
2276911           Overtime      2.50   24.00 12/18/2017 Los Angeles CA West - Drivers
2276911           Regular       8.00   16.00 12/25/2017 Los Angeles CA West - Drivers
2276911           Overtime      0.25   24.00 12/25/2017 Los Angeles CA West - Drivers
2276911           Regular      24.00   16.00 01/01/2018 Los Angeles CA West - Drivers
2276911           Overtime      8.50   24.00 01/01/2018 Los Angeles CA West - Drivers
2276911           Regular      40.00   16.00 01/08/2018 Los Angeles CA West - Drivers
2276911 Case 2:19-cv-08580-JFW-MAA
                   Overtime     10.75Document
                                        24.00 38-5    Filed Los
                                                01/08/2018  03/22/21
                                                                AngelesPage 513- Drivers
                                                                       CA West   of 691    Page ID
2276911            Regular      40.00   16.00 #:1286
                                                01/15/2018 Los Angeles CA West - Drivers
2276911            Overtime     10.00   24.00 01/15/2018 Los Angeles CA West - Drivers
2276911            Regular       8.00   16.00 01/22/2018 Los Angeles CA West - Drivers
2276911            Overtime      1.50   24.00 01/22/2018 Los Angeles CA West - Drivers
Total for 2276911              762.75
1434857            Regular      16.00   18.00 12/03/2018 Los Angeles CA West - Drivers
1434857            Overtime      5.50   27.00 12/03/2018 Los Angeles CA West - Drivers
1434857            Regular      40.00   18.00 12/10/2018 Los Angeles CA West - Drivers
1434857            Overtime     13.00   27.00 12/10/2018 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 12/17/2018 Los Angeles CA West - Drivers
1434857            Overtime     14.50   27.00 12/17/2018 Los Angeles CA West - Drivers
1434857            Regular      16.00   18.00 12/24/2018 Los Angeles CA West - Drivers
1434857            Overtime      7.75   27.00 12/24/2018 Los Angeles CA West - Drivers
1434857            Regular      16.00   18.00 12/31/2018 Los Angeles CA West - Drivers
1434857            Overtime      8.00   27.00 12/31/2018 Los Angeles CA West - Drivers
1434857            Regular      24.00   18.00 01/07/2019 Los Angeles CA West - Drivers
1434857            Overtime      8.50   27.00 01/07/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 01/14/2019 Los Angeles CA West - Drivers
1434857            Overtime      9.25   27.00 01/14/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 01/21/2019 Los Angeles CA West - Drivers
1434857            Overtime     10.75   27.00 01/21/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 01/28/2019 Los Angeles CA West - Drivers
1434857            Overtime     11.00   27.00 01/28/2019 Los Angeles CA West - Drivers
1434857            Regular      33.25   18.00 02/04/2019 Los Angeles CA West - Drivers
1434857            Overtime      6.25   27.00 02/04/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 02/11/2019 Los Angeles CA West - Drivers
1434857            Overtime     11.50   27.00 02/11/2019 Los Angeles CA West - Drivers
1434857            Regular      24.00   18.00 02/18/2019 Los Angeles CA West - Drivers
1434857            Overtime      9.25   27.00 02/18/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 02/25/2019 Los Angeles CA West - Drivers
1434857            Overtime     13.50   27.00 02/25/2019 Los Angeles CA West - Drivers
1434857            Regular      35.00   18.00 03/04/2019 Los Angeles CA West - Drivers
1434857            Overtime      9.00   27.00 03/04/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 03/11/2019 Los Angeles CA West - Drivers
1434857            Overtime      8.00   27.00 03/11/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 03/18/2019 Los Angeles CA West - Drivers
1434857            Overtime      8.00   27.00 03/18/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 03/25/2019 Los Angeles CA West - Drivers
1434857            Regular      24.00   18.00 04/01/2019 Los Angeles CA West - Drivers
1434857            Overtime     26.75   27.00 03/25/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 04/08/2019 Los Angeles CA West - Drivers
1434857            Overtime     11.75   27.00 04/08/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 04/15/2019 Los Angeles CA West - Drivers
1434857            Overtime      8.00   27.00 04/15/2019 Los Angeles CA West - Drivers
1434857            Regular      16.00   18.00 04/22/2019 Los Angeles CA West - Drivers
1434857            Overtime      8.00   27.00 04/22/2019 Los Angeles CA West - Drivers
1434857            Regular      32.00   18.00 04/29/2019 Los Angeles CA West - Drivers
1434857            Overtime      9.50   27.00 04/29/2019 Los Angeles CA West - Drivers
1434857            Regular      16.00   18.00 05/06/2019 Los Angeles CA West - Drivers
1434857            Overtime      6.00   27.00 05/06/2019 Los Angeles CA West - Drivers
1434857            Regular       8.00   18.00 10/22/2018 Los Angeles CA West - Drivers
1434857            Overtime      1.50   27.00 10/22/2018 Los Angeles CA West - Drivers
Total for 1434857              877.50
748196             Regular      16.00   22.00 06/10/2019 Los Angeles CA West - Drivers
748196             Overtime      3.00   33.00 06/10/2019 Los Angeles CA West - Drivers
748196             Regular       8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
748196             Overtime      1.50   33.00 06/17/2019 Los Angeles CA West - Drivers
748196             Regular       8.00   21.00 06/03/2019 Los Angeles CA West - Drivers
748196             Overtime      4.00   31.50 06/03/2019 Los Angeles CA West - Drivers
748196             Regular      24.00   21.00 06/10/2019 Los Angeles CA West - Drivers
748196             Overtime      4.50   31.50 06/10/2019 Los Angeles CA West - Drivers
748196             Regular      32.00   21.00 06/17/2019 Los Angeles CA West - Drivers
748196 Case 2:19-cv-08580-JFW-MAA
                  Overtime      3.00Document
                                       31.50 38-5    Filed Los
                                               06/17/2019  03/22/21
                                                               AngelesPage 514- Drivers
                                                                      CA West   of 691    Page ID
748196            Regular      40.00   21.00 #:1287
                                               06/24/2019 Los Angeles CA West - Drivers
748196            Overtime      5.00   31.50 06/24/2019 Los Angeles CA West - Drivers
748196            Regular      24.00   21.00 07/01/2019 Los Angeles CA West - Drivers
748196            Overtime      1.75   31.50 07/01/2019 Los Angeles CA West - Drivers
748196            Regular      40.00   21.00 07/08/2019 Los Angeles CA West - Drivers
748196            Overtime      3.50   31.50 07/08/2019 Los Angeles CA West - Drivers
Total for 748196              218.25
2703820           Regular      16.00   18.00 02/25/2019 Los Angeles CA West - Drivers
2703820           Overtime      7.42   27.00 02/25/2019 Los Angeles CA West - Drivers
Total for 2703820              23.42
1656273           Regular      24.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1656273           Overtime      1.50   28.50 12/05/2016 Los Angeles CA East - Drivers
1656273           Regular      39.00   19.00 12/12/2016 Los Angeles CA East - Drivers
1656273           Overtime      4.25   28.50 12/12/2016 Los Angeles CA East - Drivers
1656273           Regular      30.50   19.00 12/19/2016 Los Angeles CA East - Drivers
1656273           Regular      28.50   19.00 12/26/2016 Los Angeles CA East - Drivers
1656273           Regular      21.00   19.00 01/02/2017 Los Angeles CA East - Drivers
1656273           Regular       6.00   19.00 01/09/2017 Los Angeles CA East - Drivers
1656273           Regular       6.50   19.00 01/16/2017 Los Angeles CA East - Drivers
1656273           Regular       8.00   19.00 01/23/2017 Los Angeles CA East - Drivers
1656273           Regular      39.50   19.00 01/30/2017 Los Angeles CA East - Drivers
1656273           Overtime      0.50   28.50 01/30/2017 Los Angeles CA East - Drivers
1656273           Regular      36.50   19.00 02/06/2017 Los Angeles CA East - Drivers
1656273           Regular      36.50   19.00 02/13/2017 Los Angeles CA East - Drivers
1656273           Regular      30.50   19.00 02/20/2017 Los Angeles CA East - Drivers
1656273           Regular      22.00   19.00 02/27/2017 Los Angeles CA East - Drivers
1656273           Regular      40.00   19.00 03/06/2017 Los Angeles CA East - Drivers
1656273           Regular      40.00   19.00 03/13/2017 Los Angeles CA East - Drivers
1656273           Overtime      1.50   28.50 03/13/2017 Los Angeles CA East - Drivers
1656273           Regular      40.00   19.00 03/20/2017 Los Angeles CA East - Drivers
1656273           Regular      32.00   19.00 04/10/2017 Los Angeles CA East - Drivers
1656273           Overtime     11.00   28.50 04/10/2017 Los Angeles CA East - Drivers
1656273           Regular      32.00   19.00 04/17/2017 Los Angeles CA East - Drivers
1656273           Overtime      4.50   28.50 04/17/2017 Los Angeles CA East - Drivers
1656273           Regular      16.00   19.00 04/24/2017 Los Angeles CA East - Drivers
1656273           Overtime      2.00   28.50 04/24/2017 Los Angeles CA East - Drivers
Total for 1656273             553.75
2830326           Regular      32.00   23.00 08/05/2019 Sacramento CA - Drivers
2830326           Overtime      8.00   34.50 08/05/2019 Sacramento CA - Drivers
2830326           Regular      40.00   23.00 08/12/2019 Sacramento CA - Drivers
2830326           Overtime     15.50   34.50 08/12/2019 Sacramento CA - Drivers
2830326           Regular      40.00   23.00 08/19/2019 Sacramento CA - Drivers
2830326           Overtime     11.50   34.50 08/19/2019 Sacramento CA - Drivers
2830326           Regular      40.00   23.00 08/26/2019 Sacramento CA - Drivers
2830326           Overtime     10.00   34.50 08/26/2019 Sacramento CA - Drivers
2830326           Regular      32.00   23.00 09/02/2019 Sacramento CA - Drivers
2830326           Overtime      5.50   34.50 09/02/2019 Sacramento CA - Drivers
Total for 2830326             234.50
1423857           Regular      32.00   20.00 11/27/2017 Los Angeles CA East - Drivers
1423857           Overtime      3.00   30.00 11/27/2017 Los Angeles CA East - Drivers
1423857           Regular      40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
1423857           Overtime      7.00   30.00 12/04/2017 Los Angeles CA East - Drivers
1423857           Regular      13.00   20.98 12/11/2017 Los Angeles CA East - Drivers
1423857           Regular       7.00   20.75 12/11/2017 Los Angeles CA East - Drivers
1423857           Regular       8.00   20.00 12/18/2017 Los Angeles CA East - Drivers
1423857           Overtime      4.00   30.00 12/18/2017 Los Angeles CA East - Drivers
Total for 1423857             114.00
2574960           Regular      16.00   17.00 07/30/2018 Los Angeles CA West - Drivers
2574960           Overtime      3.00   25.50 07/30/2018 Los Angeles CA West - Drivers
2574960           Regular      40.00   17.00 08/06/2018 Los Angeles CA West - Drivers
2574960           Overtime     19.50   25.50 08/06/2018 Los Angeles CA West - Drivers
2574960           Regular      32.00   17.00 08/13/2018 Los Angeles CA West - Drivers
2574960 Case 2:19-cv-08580-JFW-MAA
                   Overtime     14.25Document
                                        25.50 38-5    Filed Los
                                                08/13/2018  03/22/21
                                                                AngelesPage 515- Drivers
                                                                       CA West   of 691    Page ID
2574960            Regular      40.00   17.00 #:1288
                                                08/20/2018 Los Angeles CA West - Drivers
2574960            Overtime     14.25   25.50 08/20/2018 Los Angeles CA West - Drivers
2574960            Regular      32.00   17.00 08/27/2018 Los Angeles CA West - Drivers
2574960            Overtime     12.50   25.50 08/27/2018 Los Angeles CA West - Drivers
2574960            Regular      32.00   17.00 09/03/2018 Los Angeles CA West - Drivers
2574960            Overtime     12.50   25.50 09/03/2018 Los Angeles CA West - Drivers
2574960            Regular      24.00   17.00 09/10/2018 Los Angeles CA West - Drivers
2574960            Overtime      7.50   25.50 09/10/2018 Los Angeles CA West - Drivers
2574960            Regular      32.00   17.00 09/17/2018 Los Angeles CA West - Drivers
2574960            Overtime     10.50   25.50 09/17/2018 Los Angeles CA West - Drivers
2574960            Regular      40.00   17.00 09/24/2018 Los Angeles CA West - Drivers
2574960            Overtime     10.50   25.50 09/24/2018 Los Angeles CA West - Drivers
2574960            Regular      32.00   17.00 10/01/2018 Los Angeles CA West - Drivers
2574960            Overtime      9.50   25.50 10/01/2018 Los Angeles CA West - Drivers
2574960            Regular      40.00   17.00 10/08/2018 Los Angeles CA West - Drivers
2574960            Overtime     14.75   25.50 10/08/2018 Los Angeles CA West - Drivers
2574960            Regular      40.00   17.00 10/15/2018 Los Angeles CA West - Drivers
2574960            Overtime     14.75   25.50 10/15/2018 Los Angeles CA West - Drivers
2574960            Regular      32.00   17.00 10/22/2018 Los Angeles CA West - Drivers
2574960            Overtime     12.25   25.50 10/22/2018 Los Angeles CA West - Drivers
2574960            Regular      40.00   17.00 10/29/2018 Los Angeles CA West - Drivers
2574960            Overtime     10.50   25.50 10/29/2018 Los Angeles CA West - Drivers
2574960            Regular      40.00   17.00 11/05/2018 Los Angeles CA West - Drivers
2574960            Overtime     14.50   25.50 11/05/2018 Los Angeles CA West - Drivers
2574960            Regular      40.00   17.00 11/12/2018 Los Angeles CA West - Drivers
2574960            Overtime     19.00   25.50 11/12/2018 Los Angeles CA West - Drivers
Total for 2574960              751.75
1383393            Regular      16.25   19.00 03/20/2017 Los Angeles CA East - Drivers
1383393            Regular      45.25   19.00 03/27/2017 Los Angeles CA East - Drivers
1383393            Regular      45.25   19.00 04/03/2017 Los Angeles CA East - Drivers
1383393            Regular      26.75   19.00 04/10/2017 Los Angeles CA East - Drivers
1383393            Regular       7.25   19.00 01/09/2017 Los Angeles CA East - Drivers
1383393            Regular       8.00   19.00 01/16/2017 Los Angeles CA East - Drivers
1383393            Overtime      0.25   28.50 01/16/2017 Los Angeles CA East - Drivers
1383393            Regular      13.00   19.00 01/23/2017 Los Angeles CA East - Drivers
1383393            Regular      24.00   19.00 01/30/2017 Los Angeles CA East - Drivers
1383393            Overtime      6.00   28.50 01/30/2017 Los Angeles CA East - Drivers
1383393            Regular      40.00   19.00 02/06/2017 Los Angeles CA East - Drivers
1383393            Overtime      6.25   28.50 02/06/2017 Los Angeles CA East - Drivers
1383393            Regular      40.00   19.00 02/13/2017 Los Angeles CA East - Drivers
1383393            Overtime     17.00   28.50 02/13/2017 Los Angeles CA East - Drivers
1383393            Regular      39.00   19.00 02/20/2017 Los Angeles CA East - Drivers
1383393            Overtime      5.75   28.50 02/20/2017 Los Angeles CA East - Drivers
1383393            Regular       7.50   20.00 08/15/2016 Los Angeles CA East - Drivers
1383393            Regular      38.75   20.00 08/22/2016 Los Angeles CA East - Drivers
1383393            Overtime      2.25   30.00 08/22/2016 Los Angeles CA East - Drivers
1383393            Regular      40.00   20.00 08/29/2016 Los Angeles CA East - Drivers
1383393            Overtime      6.75   30.00 08/29/2016 Los Angeles CA East - Drivers
1383393            Regular      31.75   20.00 09/05/2016 Los Angeles CA East - Drivers
1383393            Overtime      5.25   30.00 09/05/2016 Los Angeles CA East - Drivers
1383393            Regular      39.50   20.00 09/12/2016 Los Angeles CA East - Drivers
1383393            Overtime      7.50   30.00 09/12/2016 Los Angeles CA East - Drivers
1383393            Regular      37.25   20.00 09/19/2016 Los Angeles CA East - Drivers
1383393            Overtime      6.50   30.00 09/19/2016 Los Angeles CA East - Drivers
1383393            Regular      40.00   20.00 09/26/2016 Los Angeles CA East - Drivers
1383393            Overtime     14.25   30.00 09/26/2016 Los Angeles CA East - Drivers
1383393            Regular      40.00   20.00 10/03/2016 Los Angeles CA East - Drivers
1383393            Overtime      7.00   30.00 10/03/2016 Los Angeles CA East - Drivers
1383393            Regular      38.75   20.00 10/10/2016 Los Angeles CA East - Drivers
1383393            Overtime      3.00   30.00 10/10/2016 Los Angeles CA East - Drivers
1383393            Regular      38.00   20.00 10/17/2016 Los Angeles CA East - Drivers
1383393            Overtime      3.75   30.00 10/17/2016 Los Angeles CA East - Drivers
1383393 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         20.00 38-5    Filed Los
                                                 10/24/2016  03/22/21
                                                                 AngelesPage 516
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1383393            Overtime       7.25   30.00 #:1289
                                                 10/24/2016 Los Angeles CA East - Drivers
1383393            Regular       40.00   20.00 10/31/2016 Los Angeles CA East - Drivers
1383393            Overtime      10.75   30.00 10/31/2016 Los Angeles CA East - Drivers
1383393            Regular       13.75   19.00 01/09/2017 Los Angeles CA East - Drivers
1383393            Regular       23.50   19.00 01/16/2017 Los Angeles CA East - Drivers
1383393            Regular        8.00   19.00 02/27/2017 Los Angeles CA East - Drivers
1383393            Overtime       3.00   28.50 02/27/2017 Los Angeles CA East - Drivers
1383393            Regular       22.25   19.00 03/06/2017 Los Angeles CA East - Drivers
1383393            Overtime       4.25   28.50 03/06/2017 Los Angeles CA East - Drivers
1383393            Regular       40.00   19.00 03/13/2017 Los Angeles CA East - Drivers
1383393            Overtime      13.25   28.50 03/13/2017 Los Angeles CA East - Drivers
1383393            Regular       23.75   19.00 03/20/2017 Los Angeles CA East - Drivers
1383393            Overtime       1.50   28.50 03/20/2017 Los Angeles CA East - Drivers
1383393            Regular       40.00   19.00 11/07/2016 Los Angeles CA East - Drivers
1383393            Overtime      15.50   28.50 11/07/2016 Los Angeles CA East - Drivers
1383393            Regular       40.00   19.00 11/14/2016 Los Angeles CA East - Drivers
1383393            Overtime      13.00   28.50 11/14/2016 Los Angeles CA East - Drivers
1383393            Regular       24.00   19.00 11/21/2016 Los Angeles CA East - Drivers
1383393            Overtime       3.50   28.50 11/21/2016 Los Angeles CA East - Drivers
1383393            Regular       37.00   19.00 11/28/2016 Los Angeles CA East - Drivers
1383393            Overtime      10.50   28.50 11/28/2016 Los Angeles CA East - Drivers
1383393            Regular       39.00   19.00 12/05/2016 Los Angeles CA East - Drivers
1383393            Overtime      12.50   28.50 12/05/2016 Los Angeles CA East - Drivers
1383393            Regular       30.50   19.00 12/12/2016 Los Angeles CA East - Drivers
1383393            Overtime       4.75   28.50 12/12/2016 Los Angeles CA East - Drivers
1383393            Regular       40.00   19.00 12/19/2016 Los Angeles CA East - Drivers
1383393            Overtime      12.25   28.50 12/19/2016 Los Angeles CA East - Drivers
1383393            Regular       40.00   19.00 12/26/2016 Los Angeles CA East - Drivers
1383393            Overtime       4.50   28.50 12/26/2016 Los Angeles CA East - Drivers
Total for 1383393             1,366.00
2177241            Regular        8.00   20.00 03/06/2017 Sacramento CA - Drivers
2177241            Overtime       0.25   30.00 03/06/2017 Sacramento CA - Drivers
Total for 2177241                 8.25
2730947            Regular       16.00   21.00 04/01/2019 Los Angeles CA East - Drivers
2730947            Overtime       1.00   31.50 04/01/2019 Los Angeles CA East - Drivers
2730947            Regular       32.00   21.00 04/08/2019 Los Angeles CA East - Drivers
2730947            Overtime       2.75   31.50 04/08/2019 Los Angeles CA East - Drivers
2730947            Regular       24.00   21.00 04/15/2019 Los Angeles CA East - Drivers
2730947            Overtime       6.00   31.50 04/15/2019 Los Angeles CA East - Drivers
2730947            Regular       32.00   21.00 04/22/2019 Los Angeles CA East - Drivers
2730947            Overtime       5.50   31.50 04/22/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 04/29/2019 Los Angeles CA East - Drivers
2730947            Overtime      18.25   31.50 04/29/2019 Los Angeles CA East - Drivers
2730947            Regular       32.00   21.00 05/06/2019 Los Angeles CA East - Drivers
2730947            Overtime       5.50   31.50 05/06/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 05/13/2019 Los Angeles CA East - Drivers
2730947            Overtime       9.50   31.50 05/13/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 05/20/2019 Los Angeles CA East - Drivers
2730947            Overtime      24.50   31.50 05/20/2019 Los Angeles CA East - Drivers
2730947            Regular       24.00   21.00 05/27/2019 Los Angeles CA East - Drivers
2730947            Overtime      12.00   31.50 05/27/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 06/03/2019 Los Angeles CA East - Drivers
2730947            Overtime      13.00   31.50 06/03/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 06/10/2019 Los Angeles CA East - Drivers
2730947            Overtime      13.00   31.50 06/10/2019 Los Angeles CA East - Drivers
2730947            Regular       32.00   21.00 06/17/2019 Los Angeles CA East - Drivers
2730947            Overtime       8.50   31.50 06/17/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 06/24/2019 Los Angeles CA East - Drivers
2730947            Overtime      13.50   31.50 06/24/2019 Los Angeles CA East - Drivers
2730947            Regular       24.00   21.00 07/01/2019 Los Angeles CA East - Drivers
2730947            Overtime       1.50   31.50 07/01/2019 Los Angeles CA East - Drivers
2730947            Regular       40.00   21.00 07/08/2019 Los Angeles CA East - Drivers
2730947 Case 2:19-cv-08580-JFW-MAA
                   Overtime     12.50Document
                                        31.50 38-5    Filed Los
                                                07/08/2019  03/22/21
                                                                AngelesPage 517
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2730947            Regular      40.00   21.00 #:1290
                                                07/15/2019 Los Angeles CA East - Drivers
2730947            Overtime     12.50   31.50 07/15/2019 Los Angeles CA East - Drivers
2730947            Regular      40.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2730947            Overtime      9.00   31.50 07/22/2019 Los Angeles CA East - Drivers
2730947            Regular      32.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2730947            Overtime      5.00   31.50 07/29/2019 Los Angeles CA East - Drivers
2730947            Regular      40.00   21.00 08/12/2019 Los Angeles CA East - Drivers
2730947            Overtime     21.00   31.50 08/12/2019 Los Angeles CA East - Drivers
2730947            Regular      40.00   21.00 08/19/2019 Los Angeles CA East - Drivers
2730947            Overtime     14.00   31.50 08/19/2019 Los Angeles CA East - Drivers
2730947            Regular      16.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2730947            Overtime      8.00   31.50 08/26/2019 Los Angeles CA East - Drivers
2730947            Regular      24.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2730947            Overtime      7.00   31.50 09/02/2019 Los Angeles CA East - Drivers
Total for 2730947              951.50
2527941            Regular      32.00   21.00 05/28/2018 Sacramento CA - Drivers
2527941            Overtime     13.25   31.50 05/28/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 06/04/2018 Sacramento CA - Drivers
2527941            Overtime     10.00   31.50 06/04/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 06/11/2018 Sacramento CA - Drivers
2527941            Overtime      5.00   31.50 06/11/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 06/18/2018 Sacramento CA - Drivers
2527941            Overtime     11.50   31.50 06/18/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 06/25/2018 Sacramento CA - Drivers
2527941            Overtime     10.25   31.50 06/25/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 07/02/2018 Sacramento CA - Drivers
2527941            Overtime     13.25   31.50 07/02/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 07/09/2018 Sacramento CA - Drivers
2527941            Overtime     15.00   31.50 07/09/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 07/16/2018 Sacramento CA - Drivers
2527941            Overtime     13.75   31.50 07/16/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 07/23/2018 Sacramento CA - Drivers
2527941            Overtime     14.00   31.50 07/23/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 07/30/2018 Sacramento CA - Drivers
2527941            Overtime     12.00   31.50 07/30/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 08/06/2018 Sacramento CA - Drivers
2527941            Overtime      9.25   31.50 08/06/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 08/20/2018 Sacramento CA - Drivers
2527941            Overtime     12.00   31.50 08/20/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 08/27/2018 Sacramento CA - Drivers
2527941            Overtime     14.50   31.50 08/27/2018 Sacramento CA - Drivers
2527941            Regular      32.00   21.00 09/03/2018 Sacramento CA - Drivers
2527941            Overtime     13.25   31.50 09/03/2018 Sacramento CA - Drivers
2527941            Regular      24.00   21.00 09/10/2018 Sacramento CA - Drivers
2527941            Overtime      7.00   31.50 09/10/2018 Sacramento CA - Drivers
2527941            Regular      24.00   21.00 09/17/2018 Sacramento CA - Drivers
2527941            Overtime      8.50   31.50 09/17/2018 Sacramento CA - Drivers
2527941            Regular       8.00   21.00 10/01/2018 Sacramento CA - Drivers
2527941            Overtime      4.00   31.50 10/01/2018 Sacramento CA - Drivers
2527941            Regular      38.25   21.00 10/08/2018 Sacramento CA - Drivers
2527941            Overtime      5.25   31.50 10/08/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 10/15/2018 Sacramento CA - Drivers
2527941            Overtime      9.50   31.50 10/15/2018 Sacramento CA - Drivers
2527941            Regular      27.50   21.00 10/22/2018 Sacramento CA - Drivers
2527941            Overtime      7.25   31.50 10/22/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 10/29/2018 Sacramento CA - Drivers
2527941            Overtime     10.50   31.50 10/29/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 11/05/2018 Sacramento CA - Drivers
2527941            Overtime     10.75   31.50 11/05/2018 Sacramento CA - Drivers
2527941            Regular      40.00   21.00 11/12/2018 Sacramento CA - Drivers
2527941            Overtime     11.25   31.50 11/12/2018 Sacramento CA - Drivers
2527941            Regular      24.00   21.00 11/19/2018 Sacramento CA - Drivers
2527941 Case 2:19-cv-08580-JFW-MAA
                   Overtime       7.00Document
                                         31.50 38-5    Filed Sacramento
                                                 11/19/2018  03/22/21 Page    518 of 691
                                                                        CA - Drivers       Page ID
2527941            Regular       40.00   21.00 #:1291
                                                 11/26/2018 Sacramento CA - Drivers
2527941            Overtime      13.50   31.50 11/26/2018 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 12/03/2018 Sacramento CA - Drivers
2527941            Overtime      12.25   31.50 12/03/2018 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 12/10/2018 Sacramento CA - Drivers
2527941            Overtime      10.25   31.50 12/10/2018 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 12/17/2018 Sacramento CA - Drivers
2527941            Overtime       4.50   31.50 12/17/2018 Sacramento CA - Drivers
2527941            Regular       24.00   21.00 12/24/2018 Sacramento CA - Drivers
2527941            Overtime       6.50   31.50 12/24/2018 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 12/31/2018 Sacramento CA - Drivers
2527941            Overtime       4.75   31.50 12/31/2018 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 01/07/2019 Sacramento CA - Drivers
2527941            Overtime       5.25   31.50 01/07/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 01/14/2019 Sacramento CA - Drivers
2527941            Overtime       9.50   31.50 01/14/2019 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 01/21/2019 Sacramento CA - Drivers
2527941            Overtime       8.75   31.50 01/21/2019 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 01/28/2019 Sacramento CA - Drivers
2527941            Overtime       5.25   31.50 01/28/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 02/04/2019 Sacramento CA - Drivers
2527941            Overtime       8.50   31.50 02/04/2019 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 02/11/2019 Sacramento CA - Drivers
2527941            Overtime       6.75   31.50 02/11/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 02/18/2019 Sacramento CA - Drivers
2527941            Overtime       8.50   31.50 02/18/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 02/25/2019 Sacramento CA - Drivers
2527941            Overtime       5.75   31.50 02/25/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 03/04/2019 Sacramento CA - Drivers
2527941            Overtime      12.50   31.50 03/04/2019 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 03/11/2019 Sacramento CA - Drivers
2527941            Overtime      10.25   31.50 03/11/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 03/18/2019 Sacramento CA - Drivers
2527941            Overtime      11.00   31.50 03/18/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 03/25/2019 Sacramento CA - Drivers
2527941            Overtime       7.75   31.50 03/25/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 04/01/2019 Sacramento CA - Drivers
2527941            Overtime      17.25   31.50 04/01/2019 Sacramento CA - Drivers
2527941            Regular       24.00   21.00 04/08/2019 Sacramento CA - Drivers
2527941            Overtime       6.75   31.50 04/08/2019 Sacramento CA - Drivers
2527941            Regular       24.00   21.00 04/15/2019 Sacramento CA - Drivers
2527941            Overtime       5.50   31.50 04/15/2019 Sacramento CA - Drivers
2527941            Regular       24.00   21.00 04/22/2019 Sacramento CA - Drivers
2527941            Overtime       7.00   31.50 04/22/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 04/29/2019 Sacramento CA - Drivers
2527941            Overtime      13.75   31.50 04/29/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 05/06/2019 Sacramento CA - Drivers
2527941            Overtime       9.75   31.50 05/06/2019 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 05/13/2019 Sacramento CA - Drivers
2527941            Overtime      11.75   31.50 05/13/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 05/20/2019 Sacramento CA - Drivers
2527941            Overtime      10.00   31.50 05/20/2019 Sacramento CA - Drivers
2527941            Regular       32.00   21.00 05/27/2019 Sacramento CA - Drivers
2527941            Overtime      14.50   31.50 05/27/2019 Sacramento CA - Drivers
2527941            Regular       40.00   21.00 06/03/2019 Sacramento CA - Drivers
2527941            Overtime      15.50   31.50 06/03/2019 Sacramento CA - Drivers
2527941            Regular       40.00   22.00 06/10/2019 Sacramento CA - Drivers
2527941            Overtime      12.25   33.00 06/10/2019 Sacramento CA - Drivers
Total for 2527941             2,357.25
1298828            Regular       32.00   37.07 04/11/2016 Los Angeles CA West - Drivers
1298828            Overtime      10.50   55.61 04/11/2016 Los Angeles CA West - Drivers
1298828            Regular        8.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1298828 Case 2:19-cv-08580-JFW-MAA
                   Overtime      0.75Document
                                        24.00 38-5    Filed Los
                                                05/16/2016  03/22/21
                                                                AngelesPage 519- Drivers
                                                                       CA West   of 691    Page ID
1298828            Overtime      2.25   24.00 #:1292
                                                05/16/2016 Los Angeles CA West - Drivers
Total for 1298828               53.50
2469048            Regular       8.00   21.00 01/29/2018 Los Angeles CA East - Drivers
2469048            Overtime      2.50   31.50 01/29/2018 Los Angeles CA East - Drivers
2469048            Regular      32.00   21.00 02/05/2018 Los Angeles CA East - Drivers
2469048            Overtime      7.22   31.50 02/05/2018 Los Angeles CA East - Drivers
2469048            Regular      40.00   21.00 02/12/2018 Los Angeles CA East - Drivers
2469048            Overtime     13.95   31.50 02/12/2018 Los Angeles CA East - Drivers
2469048            Regular      40.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2469048            Overtime     15.00   31.50 02/19/2018 Los Angeles CA East - Drivers
2469048            Regular      32.00   21.00 02/26/2018 Los Angeles CA East - Drivers
2469048            Overtime      6.56   31.50 02/26/2018 Los Angeles CA East - Drivers
2469048            Regular      40.00   21.00 03/05/2018 Los Angeles CA East - Drivers
2469048            Overtime     13.68   31.50 03/05/2018 Los Angeles CA East - Drivers
2469048            Regular      24.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2469048            Overtime      4.42   31.50 03/12/2018 Los Angeles CA East - Drivers
2469048            Regular      16.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2469048            Overtime      0.75   31.50 03/19/2018 Los Angeles CA East - Drivers
Total for 2469048              296.08
1270534            Regular      13.50   20.00 06/27/2016 Sacramento CA - Drivers
1270534            Regular       9.00   20.00 07/18/2016 Sacramento CA - Drivers
1270534            Regular       5.25   20.00 07/25/2016 Sacramento CA - Drivers
1270534            Regular      31.75   21.00 06/27/2016 Sacramento CA - Drivers
1270534            Regular      19.50   21.00 07/11/2016 Sacramento CA - Drivers
1270534            Regular      42.50   21.00 07/18/2016 Sacramento CA - Drivers
1270534            Regular      42.00   21.00 07/25/2016 Sacramento CA - Drivers
1270534            Regular      16.00   19.00 02/29/2016 Sacramento CA - Drivers
1270534            Overtime      5.75   28.50 02/29/2016 Sacramento CA - Drivers
1270534            Regular       8.00   19.00 03/07/2016 Sacramento CA - Drivers
1270534            Overtime      2.75   28.50 03/07/2016 Sacramento CA - Drivers
1270534            Regular      30.00   20.98 11/28/2016 Sacramento CA - Drivers
1270534            Regular      42.75   20.98 12/05/2016 Sacramento CA - Drivers
1270534            Regular      40.00   19.50 03/28/2016 Sacramento CA - Drivers
1270534            Overtime      8.25   29.25 03/28/2016 Sacramento CA - Drivers
1270534            Regular       6.00   18.00 02/01/2016 Sacramento CA - Drivers
1270534            Regular       8.00   25.00 02/08/2016 Sacramento CA - Drivers
1270534            Overtime      4.00   37.50 02/08/2016 Sacramento CA - Drivers
1270534            Regular      39.50   25.00 02/15/2016 Sacramento CA - Drivers
1270534            Overtime      7.00   37.50 02/15/2016 Sacramento CA - Drivers
1270534            Regular      31.00   25.00 02/22/2016 Sacramento CA - Drivers
1270534            Overtime      3.75   37.50 02/22/2016 Sacramento CA - Drivers
1270534            Regular       8.00   19.00 03/07/2016 Sacramento CA - Drivers
1270534            Overtime      2.00   28.50 03/07/2016 Sacramento CA - Drivers
Total for 1270534              426.25
2503759            Regular      24.00   17.60 04/02/2018 Los Angeles CA West - Drivers
2503759            Overtime      6.75   26.40 04/02/2018 Los Angeles CA West - Drivers
2503759            Regular      32.00   17.60 04/09/2018 Los Angeles CA West - Drivers
2503759            Overtime     12.00   26.40 04/09/2018 Los Angeles CA West - Drivers
2503759            Regular      32.00   17.60 04/16/2018 Los Angeles CA West - Drivers
2503759            Overtime      9.75   26.40 04/16/2018 Los Angeles CA West - Drivers
2503759            Regular      40.00   17.60 04/23/2018 Los Angeles CA West - Drivers
2503759            Overtime     10.00   26.40 04/23/2018 Los Angeles CA West - Drivers
2503759            Regular       8.00   17.50 06/18/2018 Los Angeles CA West - Drivers
2503759            Overtime      1.00   26.25 06/18/2018 Los Angeles CA West - Drivers
2503759            Regular       8.00   17.00 10/15/2018 Los Angeles CA West - Drivers
2503759            Overtime      2.00   25.50 10/15/2018 Los Angeles CA West - Drivers
2503759            Regular      32.00   18.00 05/21/2018 Los Angeles CA West - Drivers
2503759            Overtime     10.00   27.00 05/21/2018 Los Angeles CA West - Drivers
2503759            Regular      31.00   18.00 05/28/2018 Los Angeles CA West - Drivers
2503759            Overtime      5.00   27.00 05/28/2018 Los Angeles CA West - Drivers
2503759            Regular      39.50   18.00 06/04/2018 Los Angeles CA West - Drivers
2503759            Overtime      9.50   27.00 06/04/2018 Los Angeles CA West - Drivers
2503759 Case 2:19-cv-08580-JFW-MAA
                   Regular      30.00Document
                                        18.00 38-5    Filed Los
                                                06/11/2018  03/22/21
                                                                AngelesPage 520- Drivers
                                                                       CA West   of 691    Page ID
2503759            Overtime      8.50   27.00 #:1293
                                                06/11/2018 Los Angeles CA West - Drivers
2503759            Regular      19.25   18.00 06/18/2018 Los Angeles CA West - Drivers
2503759            Overtime      0.75   27.00 06/18/2018 Los Angeles CA West - Drivers
2503759            Regular      37.50   18.00 06/25/2018 Los Angeles CA West - Drivers
2503759            Overtime      2.25   27.00 06/25/2018 Los Angeles CA West - Drivers
2503759            Regular      32.00   18.00 07/02/2018 Los Angeles CA West - Drivers
2503759            Overtime     11.00   27.00 07/02/2018 Los Angeles CA West - Drivers
2503759            Regular      40.00   18.00 07/09/2018 Los Angeles CA West - Drivers
2503759            Overtime     11.00   27.00 07/09/2018 Los Angeles CA West - Drivers
2503759            Regular      40.00   18.00 07/16/2018 Los Angeles CA West - Drivers
2503759            Overtime     18.00   27.00 07/16/2018 Los Angeles CA West - Drivers
2503759            Regular      40.00   18.00 07/23/2018 Los Angeles CA West - Drivers
2503759            Overtime     10.75   27.00 07/23/2018 Los Angeles CA West - Drivers
2503759            Regular      21.00   18.00 07/30/2018 Los Angeles CA West - Drivers
2503759            Overtime      5.50   27.00 07/30/2018 Los Angeles CA West - Drivers
2503759            Regular      24.00   18.00 08/06/2018 Los Angeles CA West - Drivers
2503759            Overtime      8.00   27.00 08/06/2018 Los Angeles CA West - Drivers
2503759            Regular      24.00   18.00 08/13/2018 Los Angeles CA West - Drivers
2503759            Overtime     10.25   27.00 08/13/2018 Los Angeles CA West - Drivers
2503759            Regular      24.00   18.00 08/20/2018 Los Angeles CA West - Drivers
2503759            Overtime     10.00   27.00 08/20/2018 Los Angeles CA West - Drivers
2503759            Regular      22.00   18.00 08/27/2018 Los Angeles CA West - Drivers
2503759            Overtime      3.75   27.00 08/27/2018 Los Angeles CA West - Drivers
2503759            Regular      23.25   18.00 09/03/2018 Los Angeles CA West - Drivers
2503759            Overtime      8.00   27.00 09/03/2018 Los Angeles CA West - Drivers
2503759            Regular      31.00   18.00 09/10/2018 Los Angeles CA West - Drivers
2503759            Overtime      5.50   27.00 09/10/2018 Los Angeles CA West - Drivers
2503759            Regular      24.00   18.00 09/17/2018 Los Angeles CA West - Drivers
2503759            Overtime     10.25   27.00 09/17/2018 Los Angeles CA West - Drivers
2503759            Regular      24.00   18.00 09/24/2018 Los Angeles CA West - Drivers
2503759            Overtime     12.00   27.00 09/24/2018 Los Angeles CA West - Drivers
Total for 2503759              904.00
2843999            Regular      28.00   21.00 09/02/2019 Sacramento CA - Drivers
2843999            Overtime      6.50   31.50 09/02/2019 Sacramento CA - Drivers
2843999            Regular       4.50   22.00 08/26/2019 Sacramento CA - Drivers
2843999            Regular       8.00   23.00 09/02/2019 Sacramento CA - Drivers
2843999            Overtime      3.50   34.50 09/02/2019 Sacramento CA - Drivers
Total for 2843999               50.50
2597886            Regular      14.50   22.00 09/10/2018 Sacramento CA - Drivers
2597886            Overtime      4.00   33.00 09/10/2018 Sacramento CA - Drivers
2597886            Regular      24.00   22.00 06/17/2019 Sacramento CA - Drivers
2597886            Overtime      5.50   33.00 06/17/2019 Sacramento CA - Drivers
2597886            Regular      16.00   22.00 06/24/2019 Sacramento CA - Drivers
2597886            Overtime      3.70   33.00 06/24/2019 Sacramento CA - Drivers
2597886            Regular      40.00   22.00 07/01/2019 Sacramento CA - Drivers
2597886            Overtime      8.80   33.00 07/01/2019 Sacramento CA - Drivers
2597886            Regular      16.00   22.00 07/08/2019 Sacramento CA - Drivers
2597886            Overtime      5.20   33.00 07/08/2019 Sacramento CA - Drivers
2597886            Regular       8.00   22.00 07/15/2019 Sacramento CA - Drivers
2597886            Overtime      1.10   33.00 07/15/2019 Sacramento CA - Drivers
2597886            Regular       8.00   21.21 09/24/2018 Sacramento CA - Drivers
2597886            Regular      12.00   21.21 10/01/2018 Sacramento CA - Drivers
2597886            Regular      43.00   21.21 10/08/2018 Sacramento CA - Drivers
2597886            Regular       6.00   20.98 10/15/2018 Sacramento CA - Drivers
2597886            Regular      18.50   20.98 10/29/2018 Sacramento CA - Drivers
2597886            Regular      24.25   20.98 11/05/2018 Sacramento CA - Drivers
2597886            Regular       8.50   22.11 07/22/2019 Sacramento CA - Drivers
2597886            Regular      24.00   21.00 10/22/2018 Sacramento CA - Drivers
2597886            Overtime      1.50   31.50 10/22/2018 Sacramento CA - Drivers
2597886            Regular      24.00   21.00 10/29/2018 Sacramento CA - Drivers
2597886            Overtime      5.50   31.50 10/29/2018 Sacramento CA - Drivers
2597886            Regular      16.00   21.00 11/05/2018 Sacramento CA - Drivers
2597886 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.00Document
                                          31.50 38-5    Filed Sacramento
                                                  11/05/2018  03/22/21 Page    521 of 691 Page ID
                                                                         CA - Drivers
2597886              Regular      40.00   21.00 #:1294
                                                  11/12/2018 Sacramento CA - Drivers
2597886             Overtime        5.50    31.50   11/12/2018   Sacramento   CA   - Drivers
2597886             Regular        24.00    21.00   11/19/2018   Sacramento   CA   - Drivers
2597886             Overtime        5.50    31.50   11/19/2018   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   11/26/2018   Sacramento   CA   - Drivers
2597886             Overtime        8.75    31.50   11/26/2018   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   12/03/2018   Sacramento   CA   - Drivers
2597886             Overtime        9.25    31.50   12/03/2018   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   12/10/2018   Sacramento   CA   - Drivers
2597886             Overtime        8.00    31.50   12/10/2018   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   12/17/2018   Sacramento   CA   - Drivers
2597886             Overtime       10.00    31.50   12/17/2018   Sacramento   CA   - Drivers
2597886             Regular        16.00    21.00   12/24/2018   Sacramento   CA   - Drivers
2597886             Overtime        5.75    31.50   12/24/2018   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   12/31/2018   Sacramento   CA   - Drivers
2597886             Overtime        8.25    31.50   12/31/2018   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   01/07/2019   Sacramento   CA   - Drivers
2597886             Overtime        5.50    31.50   01/07/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   01/14/2019   Sacramento   CA   - Drivers
2597886             Overtime        4.00    31.50   01/14/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   01/21/2019   Sacramento   CA   - Drivers
2597886             Overtime        8.50    31.50   01/21/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   01/28/2019   Sacramento   CA   - Drivers
2597886             Overtime        5.00    31.50   01/28/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   02/04/2019   Sacramento   CA   - Drivers
2597886             Overtime        9.50    31.50   02/04/2019   Sacramento   CA   - Drivers
2597886             Regular        29.00    21.00   02/11/2019   Sacramento   CA   - Drivers
2597886             Overtime        6.00    31.50   02/11/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   02/18/2019   Sacramento   CA   - Drivers
2597886             Overtime       10.00    31.50   02/18/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   02/25/2019   Sacramento   CA   - Drivers
2597886             Overtime       10.50    31.50   02/25/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   03/04/2019   Sacramento   CA   - Drivers
2597886             Overtime       17.00    31.50   03/04/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   03/11/2019   Sacramento   CA   - Drivers
2597886             Overtime       12.50    31.50   03/11/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   03/18/2019   Sacramento   CA   - Drivers
2597886             Overtime        9.50    31.50   03/18/2019   Sacramento   CA   - Drivers
2597886             Regular        24.00    21.00   03/25/2019   Sacramento   CA   - Drivers
2597886             Overtime        2.50    31.50   03/25/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   04/01/2019   Sacramento   CA   - Drivers
2597886             Overtime       15.50    31.50   04/01/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   04/08/2019   Sacramento   CA   - Drivers
2597886             Overtime       12.50    31.50   04/08/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   04/15/2019   Sacramento   CA   - Drivers
2597886             Overtime       13.50    31.50   04/15/2019   Sacramento   CA   - Drivers
2597886             Regular        24.00    21.00   04/22/2019   Sacramento   CA   - Drivers
2597886             Overtime        9.50    31.50   04/22/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   04/29/2019   Sacramento   CA   - Drivers
2597886             Overtime       11.00    31.50   04/29/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    21.00   05/06/2019   Sacramento   CA   - Drivers
2597886             Overtime        9.75    31.50   05/06/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    21.00   05/13/2019   Sacramento   CA   - Drivers
2597886             Overtime       12.75    31.50   05/13/2019   Sacramento   CA   - Drivers
2597886             Regular        24.00    22.00   07/29/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    22.00   08/05/2019   Sacramento   CA   - Drivers
2597886             Overtime        4.50    33.00   08/05/2019   Sacramento   CA   - Drivers
2597886             Regular        40.00    22.00   08/12/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    22.00   08/19/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    22.00   08/26/2019   Sacramento   CA   - Drivers
2597886             Overtime       11.50    33.00   08/26/2019   Sacramento   CA   - Drivers
2597886             Regular        32.00    22.00   09/02/2019   Sacramento   CA   - Drivers
2597886 Case 2:19-cv-08580-JFW-MAA
                   Overtime       6.50Document
                                         33.00 38-5   Filed Sacramento
                                                09/02/2019  03/22/21 Page    522 of 691
                                                                       CA - Drivers       Page ID
Total for 2597886             1,751.55        #:1295
2420540            Regular       26.25   20.98 11/20/2017 Los Angeles CA East - Drivers
2420540            Regular       52.50   21.85 11/27/2017 Los Angeles CA East - Drivers
2420540            Regular       37.50   21.85 12/04/2017 Los Angeles CA East - Drivers
2420540            Regular       37.50   21.85 12/11/2017 Los Angeles CA East - Drivers
2420540            Regular       45.00   21.85 12/18/2017 Los Angeles CA East - Drivers
2420540            Regular        5.25   21.85 12/25/2017 Los Angeles CA East - Drivers
Total for 2420540               204.00
2503631            Regular       32.00   17.60 04/02/2018 Los Angeles CA West - Drivers
2503631            Overtime      10.00   26.40 04/02/2018 Los Angeles CA West - Drivers
2503631            Regular       32.00   17.60 04/09/2018 Los Angeles CA West - Drivers
2503631            Overtime      11.50   26.40 04/09/2018 Los Angeles CA West - Drivers
2503631            Regular       32.00   17.60 04/16/2018 Los Angeles CA West - Drivers
2503631            Overtime      10.50   26.40 04/16/2018 Los Angeles CA West - Drivers
2503631            Regular       64.00   17.60 04/23/2018 Los Angeles CA West - Drivers
2503631            Overtime      27.50   26.40 04/23/2018 Los Angeles CA West - Drivers
2503631            Regular       24.00   17.60 05/07/2018 Los Angeles CA West - Drivers
2503631            Overtime      10.00   26.40 05/07/2018 Los Angeles CA West - Drivers
2503631            Regular       32.00   17.60 05/14/2018 Los Angeles CA West - Drivers
2503631            Overtime      11.50   26.40 05/14/2018 Los Angeles CA West - Drivers
2503631            Regular       32.00   17.60 05/21/2018 Los Angeles CA West - Drivers
2503631            Overtime       9.00   26.40 05/21/2018 Los Angeles CA West - Drivers
Total for 2503631               338.00
2611606            Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2611606            Overtime       4.00   30.00 10/29/2018 Los Angeles CA West - Drivers
2611606            Regular        8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2611606            Overtime       4.00   30.00 11/12/2018 Los Angeles CA West - Drivers
2611606            Regular        8.00   21.00 01/07/2019 Los Angeles CA West - Drivers
2611606            Overtime       0.50   31.50 01/07/2019 Los Angeles CA West - Drivers
2611606            Regular       24.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2611606            Overtime       3.00   30.00 10/08/2018 Los Angeles CA West - Drivers
2611606            Regular       40.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2611606            Overtime       9.00   30.00 10/15/2018 Los Angeles CA West - Drivers
2611606            Regular       32.00   20.00 10/22/2018 Los Angeles CA West - Drivers
2611606            Overtime       9.50   30.00 10/22/2018 Los Angeles CA West - Drivers
2611606            Regular       40.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2611606            Overtime       9.00   30.00 10/29/2018 Los Angeles CA West - Drivers
2611606            Regular       40.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2611606            Overtime      11.50   30.00 11/05/2018 Los Angeles CA West - Drivers
2611606            Regular       32.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2611606            Overtime       3.00   30.00 11/12/2018 Los Angeles CA West - Drivers
2611606            Regular       24.00   20.00 11/19/2018 Los Angeles CA West - Drivers
2611606            Overtime       5.00   30.00 11/19/2018 Los Angeles CA West - Drivers
2611606            Regular       40.00   20.00 11/26/2018 Los Angeles CA West - Drivers
2611606            Overtime       9.00   30.00 11/26/2018 Los Angeles CA West - Drivers
2611606            Regular       24.00   20.00 12/03/2018 Los Angeles CA West - Drivers
2611606            Overtime       5.00   30.00 12/03/2018 Los Angeles CA West - Drivers
2611606            Regular       40.00   20.00 12/10/2018 Los Angeles CA West - Drivers
2611606            Overtime       9.50   30.00 12/10/2018 Los Angeles CA West - Drivers
2611606            Regular       24.00   21.00 12/17/2018 Los Angeles CA West - Drivers
2611606            Overtime       9.00   31.50 12/17/2018 Los Angeles CA West - Drivers
2611606            Regular       16.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2611606            Overtime       6.50   31.50 12/24/2018 Los Angeles CA West - Drivers
2611606            Regular       24.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2611606            Overtime       5.50   31.50 12/31/2018 Los Angeles CA West - Drivers
2611606            Regular        1.00   21.00 01/07/2019 Los Angeles CA West - Drivers
Total for 2611606               528.00
2206423            Regular        8.00   18.75 04/17/2017 Sacramento CA - Drivers
Total for 2206423                 8.00
2400774            Regular       40.00   22.00 07/22/2019 Los Angeles CA East - Drivers
2400774            Overtime       5.50   33.00 07/22/2019 Los Angeles CA East - Drivers
2400774            Regular       40.00   22.00 07/29/2019 Los Angeles CA East - Drivers
2400774 Case 2:19-cv-08580-JFW-MAA
                   Overtime      9.00Document
                                        33.00 38-5    Filed Los
                                                07/29/2019  03/22/21
                                                                AngelesPage 523
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2400774            Regular      32.00   22.00 #:1296
                                                08/05/2019 Los Angeles CA East - Drivers
2400774            Overtime      8.00   33.00 08/05/2019 Los Angeles CA East - Drivers
2400774            Regular      32.00   22.00 08/12/2019 Los Angeles CA East - Drivers
2400774            Overtime      4.50   33.00 08/12/2019 Los Angeles CA East - Drivers
2400774            Regular      40.00   22.00 08/19/2019 Los Angeles CA East - Drivers
2400774            Overtime      8.50   33.00 08/19/2019 Los Angeles CA East - Drivers
2400774            Regular      40.00   22.00 08/26/2019 Los Angeles CA East - Drivers
2400774            Overtime      8.50   33.00 08/26/2019 Los Angeles CA East - Drivers
2400774            Regular      16.00   22.00 09/02/2019 Los Angeles CA East - Drivers
2400774            Overtime      5.50   33.00 09/02/2019 Los Angeles CA East - Drivers
2400774            Regular      40.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2400774            Overtime      5.74   30.00 04/02/2018 Los Angeles CA East - Drivers
2400774            Regular      32.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2400774            Overtime      2.35   30.00 04/09/2018 Los Angeles CA East - Drivers
Total for 2400774              369.59
869203             Regular      40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
869203             Overtime     14.25   25.50 08/03/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
869203             Overtime      9.25   25.50 08/10/2015 Los Angeles CA West - Drivers
869203             Regular      16.00   17.00 08/17/2015 Los Angeles CA West - Drivers
869203             Overtime      7.50   25.50 08/17/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
869203             Overtime     11.50   28.50 08/24/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
869203             Overtime     11.75   28.50 08/31/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 09/07/2015 Los Angeles CA West - Drivers
869203             Overtime     13.75   28.50 09/07/2015 Los Angeles CA West - Drivers
869203             Regular      32.00   19.00 09/14/2015 Los Angeles CA West - Drivers
869203             Overtime      7.50   28.50 09/14/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 09/21/2015 Los Angeles CA West - Drivers
869203             Overtime     11.25   28.50 09/21/2015 Los Angeles CA West - Drivers
869203             Regular      32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
869203             Overtime      8.50   28.50 09/28/2015 Los Angeles CA West - Drivers
869203             Regular      24.00   19.00 10/05/2015 Los Angeles CA West - Drivers
869203             Overtime      4.75   28.50 10/05/2015 Los Angeles CA West - Drivers
869203             Regular      56.00   19.00 10/05/2015 Los Angeles CA West - Drivers
869203             Overtime      9.25   28.50 10/12/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 10/26/2015 Los Angeles CA West - Drivers
869203             Overtime     18.00   28.50 10/26/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
869203             Overtime     22.75   28.50 11/02/2015 Los Angeles CA West - Drivers
869203             Regular      32.00   19.00 11/09/2015 Los Angeles CA West - Drivers
869203             Overtime      5.25   28.50 11/09/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
869203             Overtime      9.00   28.50 11/16/2015 Los Angeles CA West - Drivers
869203             Regular      38.50   19.00 11/23/2015 Los Angeles CA West - Drivers
869203             Overtime      5.00   28.50 11/23/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
869203             Overtime     27.25   28.50 11/30/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
869203             Overtime     14.50   28.50 12/07/2015 Los Angeles CA West - Drivers
869203             Regular      39.00   19.00 12/14/2015 Los Angeles CA West - Drivers
869203             Overtime      9.50   28.50 12/14/2015 Los Angeles CA West - Drivers
869203             Regular      24.00   19.00 12/21/2015 Los Angeles CA West - Drivers
869203             Overtime      8.75   28.50 12/21/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 12/28/2015 Los Angeles CA West - Drivers
869203             Overtime     11.25   28.50 12/28/2015 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
869203             Overtime     22.00   28.50 01/04/2016 Los Angeles CA West - Drivers
869203             Regular      40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
869203             Overtime     16.75   28.50 01/11/2016 Los Angeles CA West - Drivers
869203             Regular      32.00   19.00 01/18/2016 Los Angeles CA West - Drivers
869203   Case 2:19-cv-08580-JFW-MAA
                    Overtime      6.00Document
                                         28.50 38-5    Filed Los
                                                 01/18/2016  03/22/21
                                                                 AngelesPage 524- Drivers
                                                                        CA West   of 691 Page ID
869203              Regular      37.75   19.00 #:1297
                                                 01/25/2016 Los Angeles CA West - Drivers
869203              Overtime        5.75    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        37.50    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       11.25    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        39.75    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        7.25    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       11.25    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        24.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        9.50    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       11.00    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        5.50    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        15.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        1.25    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       11.00    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       18.75    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        24.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        5.75    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       14.50    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        23.75    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        8.00    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        9.50    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        8.50    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        9.00    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        6.00    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        38.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       10.75    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        8.25    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       19.75    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        39.50    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       13.50    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       24.00    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       12.50    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        16.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        4.25    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        16.25    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        5.25    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       17.00    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       13.25    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        24.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        7.75    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        9.50    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime        8.50    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
869203              Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
869203              Overtime       14.00    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
869203 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00Document
                                        19.25 38-5    Filed Los
                                                08/29/2016  03/22/21
                                                                AngelesPage 525- Drivers
                                                                       CA West   of 691    Page ID
869203            Overtime      13.75   28.88 #:1298
                                                08/29/2016 Los Angeles CA West - Drivers
869203            Regular       24.00   19.25 09/05/2016 Los Angeles CA West - Drivers
869203            Overtime       7.50   28.88 09/05/2016 Los Angeles CA West - Drivers
869203            Regular       32.00   19.25 09/12/2016 Los Angeles CA West - Drivers
869203            Overtime       9.25   28.88 09/12/2016 Los Angeles CA West - Drivers
869203            Regular       32.00   19.25 09/19/2016 Los Angeles CA West - Drivers
869203            Overtime      11.50   28.88 09/19/2016 Los Angeles CA West - Drivers
869203            Regular       16.00   19.25 09/26/2016 Los Angeles CA West - Drivers
869203            Overtime       3.50   28.88 09/26/2016 Los Angeles CA West - Drivers
Total for 869203             2,713.75
2603646           Regular       24.00   20.00 10/22/2018 Sacramento CA - Drivers
2603646           Overtime       3.50   30.00 10/22/2018 Sacramento CA - Drivers
2603646           Regular       24.00   20.00 10/22/2018 Sacramento CA - Drivers
2603646           Overtime       2.75   30.00 10/22/2018 Sacramento CA - Drivers
2603646           Regular       32.00   20.00 11/05/2018 Sacramento CA - Drivers
2603646           Overtime       2.75   30.00 11/05/2018 Sacramento CA - Drivers
Total for 2603646               89.00
2363186           Regular       56.00   20.00 08/28/2017 Los Angeles CA West - Drivers
2363186           Overtime       7.00   30.00 08/28/2017 Los Angeles CA West - Drivers
2363186           Regular        8.00   20.00 09/11/2017 Los Angeles CA West - Drivers
2363186           Overtime       2.00   30.00 09/11/2017 Los Angeles CA West - Drivers
2363186           Regular       16.00   20.00 09/11/2017 Los Angeles CA West - Drivers
2363186           Overtime       1.50   30.00 09/11/2017 Los Angeles CA West - Drivers
Total for 2363186               90.50
2461520           Regular        8.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2461520           Overtime       3.50   31.50 02/18/2019 Los Angeles CA West - Drivers
2461520           Regular        8.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2461520           Overtime       4.00   31.50 02/25/2019 Los Angeles CA West - Drivers
2461520           Regular        8.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2461520           Regular       24.00   20.00 07/16/2018 Los Angeles CA West - Drivers
2461520           Overtime       5.25   30.00 07/16/2018 Los Angeles CA West - Drivers
2461520           Regular        8.00   20.00 07/30/2018 Los Angeles CA West - Drivers
2461520           Overtime       1.00   30.00 07/30/2018 Los Angeles CA West - Drivers
2461520           Regular       16.00   20.00 08/20/2018 Los Angeles CA West - Drivers
2461520           Overtime       6.75   30.00 08/20/2018 Los Angeles CA West - Drivers
2461520           Regular        8.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2461520           Overtime       2.00   30.00 09/10/2018 Los Angeles CA West - Drivers
2461520           Regular       24.00   20.00 09/17/2018 Los Angeles CA West - Drivers
2461520           Overtime       2.25   30.00 09/17/2018 Los Angeles CA West - Drivers
2461520           Regular        8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2461520           Overtime       1.00   30.00 09/24/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2461520           Overtime      18.75   30.00 10/15/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 10/22/2018 Los Angeles CA West - Drivers
2461520           Overtime      20.25   30.00 10/22/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2461520           Overtime       9.25   30.00 10/29/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2461520           Overtime      26.50   30.00 11/05/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2461520           Overtime      24.00   30.00 11/12/2018 Los Angeles CA West - Drivers
2461520           Regular       32.00   20.00 11/19/2018 Los Angeles CA West - Drivers
2461520           Overtime      12.00   30.00 11/19/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 11/26/2018 Los Angeles CA West - Drivers
2461520           Overtime      15.25   30.00 11/26/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.00 12/03/2018 Los Angeles CA West - Drivers
2461520           Overtime      20.00   30.00 12/03/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.50 12/10/2018 Los Angeles CA West - Drivers
2461520           Overtime      18.50   30.75 12/10/2018 Los Angeles CA West - Drivers
2461520           Regular       40.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2461520           Overtime       7.75   30.75 12/17/2018 Los Angeles CA West - Drivers
2461520           Regular       32.00   20.50 12/24/2018 Los Angeles CA West - Drivers
2461520 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.00Document
                                          30.75 38-5    Filed Los
                                                  12/24/2018  03/22/21
                                                                  AngelesPage 526- Drivers
                                                                         CA West   of 691 Page ID
2461520              Regular       8.00   20.50 #:1299
                                                  12/31/2018 Los Angeles CA West - Drivers
2461520             Overtime        4.00    30.75   12/31/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        6.50    30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    20.50   01/14/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        7.00    30.75   01/14/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    20.50   01/21/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        6.75    30.75   01/21/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    20.50   01/28/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.25    30.75   01/28/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    23.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.00    34.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    19.50   02/05/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.25    29.25   02/05/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    19.50   01/29/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.25    29.25   01/29/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    19.50   02/05/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.00    29.25   02/05/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    19.50   03/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.25    29.25   03/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        14.50    19.50   03/19/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.00    29.25   03/19/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         4.50    19.50   03/26/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    19.50   04/02/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    19.50   04/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.00    29.25   04/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         6.75    19.50   04/30/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    19.50   05/07/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.75    29.25   05/07/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        15.50    19.50   05/14/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.00    29.25   05/14/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        22.00    19.50   05/28/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.00    29.25   05/28/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    19.50   06/04/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.00    29.25   06/04/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        27.00    19.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         4.00    19.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    20.50   06/25/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        7.50    30.75   06/25/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        31.00    20.50   07/02/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        5.50    30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        36.50    20.50   07/09/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       11.00    30.75   07/09/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    20.50   07/16/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        8.00    30.75   07/16/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        38.25    20.50   07/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        6.25    30.75   07/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    20.50   07/30/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        7.75    30.75   07/30/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    20.50   08/06/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        8.00    30.75   08/06/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        30.50    20.50   08/13/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.50    30.75   08/13/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        24.00    20.50   09/10/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.75    30.75   09/10/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        19.75    20.50   09/17/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         7.25    20.50   12/17/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    20.50   03/11/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.50    30.75   03/11/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    20.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       20.00    30.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        36.00    21.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2461520 Case   2:19-cv-08580-JFW-MAA
                     Overtime     16.00Document
                                          31.50 38-5    Filed Los
                                                  09/03/2018  03/22/21
                                                                  AngelesPage 527- Drivers
                                                                         CA West   of 691 Page ID
2461520              Regular      16.00   22.00 #:1300
                                                  01/28/2019 Los Angeles CA West - Drivers
2461520             Overtime        6.50    33.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        5.50    33.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime       11.50    33.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime       10.50    33.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.75    33.00   02/25/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.75    33.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    22.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.00    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular         4.00    23.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        30.25    26.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    26.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        7.75    39.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        24.00    26.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.08    39.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.00    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.00    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.25    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.75    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.50    33.00   05/13/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime       11.75    33.00   05/20/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    22.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.25    33.00   05/27/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        0.50    33.00   06/03/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.25    33.00   06/10/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.75    33.00   06/17/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.50    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    22.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.25    33.00   07/01/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.00    33.00   07/08/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.00    33.00   07/15/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime       15.50    33.00   07/22/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   07/29/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.75    33.00   08/05/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.00    33.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        39.25    22.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        7.00    33.00   08/19/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    22.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        0.75    33.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        20.00    20.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.50    30.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2461520 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          20.00 38-5    Filed Los
                                                  03/18/2019  03/22/21
                                                                  AngelesPage 528- Drivers
                                                                         CA West   of 691 Page ID
2461520              Overtime     10.50   30.00 #:1301
                                                  03/18/2019 Los Angeles CA West - Drivers
2461520             Regular        40.00    20.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        8.00    30.00   03/25/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    20.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        3.00    30.00   04/01/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    20.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.50    30.00   04/08/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    21.00   09/02/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.50    31.50   09/02/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        12.75    21.85   05/21/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    21.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        24.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        6.75    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.00    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        5.25    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    19.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.00    28.50   02/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   02/19/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        6.00    28.50   02/19/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   02/26/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       12.25    28.50   02/26/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       11.75    28.50   03/05/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       11.00    28.50   03/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.75    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    21.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.50    31.50   07/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    21.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.25    31.50   08/06/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    21.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2461520             Overtime        0.50    31.50   01/14/2019   Los   Angeles   CA   West   - Drivers
2461520             Regular        16.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.00    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        24.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        1.25    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        10.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        24.00    19.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.75    28.50   03/19/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   03/26/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        2.00    28.50   03/26/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   04/02/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       10.00    28.50   04/02/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.25    28.50   04/09/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        40.00    19.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime       14.50    28.50   04/16/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    19.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        9.00    28.50   04/23/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        32.00    19.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        4.25    28.50   04/30/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    19.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        0.75    28.50   05/07/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        24.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2461520             Overtime        7.00    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular        22.50    21.00   02/12/2018   Los   Angeles   CA   West   - Drivers
2461520             Regular         8.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
          Case 2:19-cv-08580-JFW-MAA
Total for 2461520               3,827.83Document 38-5 Filed 03/22/21 Page 529 of 691          Page ID
2344457              Regular       40.00   19.00 #:1302
                                                   07/31/2017 Los Angeles CA West - Drivers
2344457              Overtime       8.25   28.50 07/31/2017 Los Angeles CA West - Drivers
2344457              Regular       40.00   19.00 08/07/2017 Los Angeles CA West - Drivers
2344457              Overtime      10.00   28.50 08/07/2017 Los Angeles CA West - Drivers
2344457              Regular       16.00   19.00 07/24/2017 Los Angeles CA West - Drivers
2344457              Overtime       5.00   28.50 07/24/2017 Los Angeles CA West - Drivers
Total for 2344457                 119.25
2598656              Regular       40.00   17.00 09/10/2018 Los Angeles CA West - Drivers
2598656              Overtime       6.50   25.50 09/10/2018 Los Angeles CA West - Drivers
2598656              Regular       32.00   17.00 09/17/2018 Los Angeles CA West - Drivers
2598656              Overtime       1.00   25.50 09/17/2018 Los Angeles CA West - Drivers
Total for 2598656                  79.50
2714610              Regular       17.00   21.85 03/18/2019 Los Angeles CA West - Drivers
2714610              Regular       12.50   22.50 03/11/2019 Los Angeles CA West - Drivers
2714610              Overtime       4.00   33.75 03/11/2019 Los Angeles CA West - Drivers
Total for 2714610                  33.50
2606639              Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2606639              Overtime       1.50   30.00 10/29/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2606639              Overtime      23.00   30.00 11/05/2018 Los Angeles CA West - Drivers
2606639              Regular       16.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2606639              Regular       32.00   20.00 11/19/2018 Los Angeles CA West - Drivers
2606639              Overtime      12.25   30.00 11/19/2018 Los Angeles CA West - Drivers
2606639              Regular        8.00   20.00 11/26/2018 Los Angeles CA West - Drivers
2606639              Overtime       2.50   30.00 11/26/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 12/03/2018 Los Angeles CA West - Drivers
2606639              Overtime       6.50   30.00 12/03/2018 Los Angeles CA West - Drivers
2606639              Regular       20.00   20.50 12/10/2018 Los Angeles CA West - Drivers
2606639              Regular        8.00   22.00 11/12/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2606639              Overtime      14.75   30.00 09/24/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 10/01/2018 Los Angeles CA West - Drivers
2606639              Overtime      14.00   30.00 10/01/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2606639              Overtime      14.00   30.00 10/08/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 10/15/2018 Los Angeles CA West - Drivers
2606639              Overtime       9.25   30.00 10/15/2018 Los Angeles CA West - Drivers
2606639              Regular       40.00   20.00 10/22/2018 Los Angeles CA West - Drivers
2606639              Overtime      24.25   30.00 10/22/2018 Los Angeles CA West - Drivers
2606639              Regular       32.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2606639              Overtime      12.50   30.00 10/29/2018 Los Angeles CA West - Drivers
2606639              Regular        8.00   21.00 11/12/2018 Los Angeles CA West - Drivers
Total for 2606639                 546.50
2695815              Regular       40.00   17.60 02/04/2019 Los Angeles CA West - Drivers
2695815              Overtime       2.00   26.40 02/04/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 02/11/2019 Los Angeles CA West - Drivers
2695815              Overtime       7.50   26.40 02/11/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 02/18/2019 Los Angeles CA West - Drivers
2695815              Overtime       8.00   26.40 02/18/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 02/25/2019 Los Angeles CA West - Drivers
2695815              Overtime       7.00   26.40 02/25/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 03/04/2019 Los Angeles CA West - Drivers
2695815              Overtime       7.00   26.40 03/04/2019 Los Angeles CA West - Drivers
2695815              Regular       30.00   17.60 03/11/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 03/18/2019 Los Angeles CA West - Drivers
2695815              Overtime       5.50   26.40 03/18/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 03/25/2019 Los Angeles CA West - Drivers
2695815              Overtime      12.00   26.40 03/25/2019 Los Angeles CA West - Drivers
2695815              Regular       40.00   17.60 04/01/2019 Los Angeles CA West - Drivers
2695815              Overtime       4.00   26.40 04/01/2019 Los Angeles CA West - Drivers
2695815              Regular       38.00   17.60 04/08/2019 Los Angeles CA West - Drivers
2695815              Overtime       5.00   26.40 04/08/2019 Los Angeles CA West - Drivers
2695815 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        17.60 38-5    Filed Los
                                                04/15/2019  03/22/21
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                                                                       CA West   of 691    Page ID
2695815            Overtime      5.50   26.40 #:1303
                                                04/15/2019 Los Angeles CA West - Drivers
2695815            Regular      39.00   17.60 04/22/2019 Los Angeles CA West - Drivers
2695815            Overtime      1.50   26.40 04/22/2019 Los Angeles CA West - Drivers
2695815            Regular      33.50   17.60 05/06/2019 Los Angeles CA West - Drivers
2695815            Regular      40.00   17.60 05/13/2019 Los Angeles CA West - Drivers
2695815            Regular      40.00   17.60 05/20/2019 Los Angeles CA West - Drivers
2695815            Overtime      3.00   26.40 05/20/2019 Los Angeles CA West - Drivers
2695815            Regular      33.75   17.60 05/27/2019 Los Angeles CA West - Drivers
2695815            Regular      34.50   17.50 08/05/2019 Los Angeles CA West - Drivers
2695815            Regular      35.00   17.50 08/12/2019 Los Angeles CA West - Drivers
2695815            Overtime      2.00   26.25 08/12/2019 Los Angeles CA West - Drivers
2695815            Regular      34.25   17.50 08/19/2019 Los Angeles CA West - Drivers
2695815            Regular      36.50   17.50 08/26/2019 Los Angeles CA West - Drivers
2695815            Overtime      1.50   26.25 08/26/2019 Los Angeles CA West - Drivers
2695815            Regular      27.50   17.50 09/02/2019 Los Angeles CA West - Drivers
2695815            Overtime      0.25   26.25 09/02/2019 Los Angeles CA West - Drivers
Total for 2695815              853.75
1150264            Regular       0.00   20.00 10/26/2015 Los Angeles CA West - Drivers
1150264            Overtime      0.00   30.00 10/26/2015 Los Angeles CA West - Drivers
Total for 1150264                0.00
1217132            Regular      40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
1217132            Overtime     23.75   30.00 10/26/2015 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1217132            Overtime      9.75   28.50 11/02/2015 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
1217132            Overtime      8.25   28.50 11/09/2015 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
1217132            Overtime     10.75   28.50 11/16/2015 Los Angeles CA West - Drivers
1217132            Regular      32.00   19.00 11/23/2015 Los Angeles CA West - Drivers
1217132            Overtime      8.25   28.50 11/23/2015 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
1217132            Overtime     12.25   28.50 11/30/2015 Los Angeles CA West - Drivers
1217132            Regular      37.50   19.00 12/07/2015 Los Angeles CA West - Drivers
1217132            Overtime      9.00   28.50 12/07/2015 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1217132            Overtime     11.25   28.50 12/14/2015 Los Angeles CA West - Drivers
1217132            Regular      32.00   19.00 12/21/2015 Los Angeles CA West - Drivers
1217132            Overtime      9.50   28.50 12/21/2015 Los Angeles CA West - Drivers
1217132            Regular      32.00   19.00 12/28/2015 Los Angeles CA West - Drivers
1217132            Overtime      7.25   28.50 12/28/2015 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
1217132            Overtime     19.75   28.50 01/04/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
1217132            Overtime     11.25   28.50 01/11/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 01/18/2016 Los Angeles CA West - Drivers
1217132            Overtime      9.00   28.50 01/18/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 01/25/2016 Los Angeles CA West - Drivers
1217132            Overtime      7.50   28.50 01/25/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 02/01/2016 Los Angeles CA West - Drivers
1217132            Overtime     10.00   28.50 02/01/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 02/08/2016 Los Angeles CA West - Drivers
1217132            Overtime     11.50   28.50 02/08/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 02/15/2016 Los Angeles CA West - Drivers
1217132            Overtime      8.00   28.50 02/15/2016 Los Angeles CA West - Drivers
1217132            Regular      40.00   19.00 02/22/2016 Los Angeles CA West - Drivers
1217132            Overtime      7.25   28.50 02/22/2016 Los Angeles CA West - Drivers
1217132            Regular      38.50   19.00 02/29/2016 Los Angeles CA West - Drivers
1217132            Overtime      6.75   28.50 02/29/2016 Los Angeles CA West - Drivers
1217132            Regular      32.00   19.00 03/07/2016 Los Angeles CA West - Drivers
1217132            Overtime      7.00   28.50 03/07/2016 Los Angeles CA West - Drivers
1217132            Regular      32.00   19.00 03/14/2016 Los Angeles CA West - Drivers
1217132            Overtime      6.25   28.50 03/14/2016 Los Angeles CA West - Drivers
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1217132              Overtime      1.75   28.50 #:1304
                                                  03/21/2016 Los Angeles CA West - Drivers
1217132             Regular        31.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        4.00    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        24.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        5.50    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        8.00    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        24.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.00    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        16.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        5.25    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        6.50    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.25    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        30.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        6.50    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.50    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        6.50    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       12.75    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       21.75    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       14.25    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.50    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        24.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        6.75    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.50    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.25    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       13.75    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        33.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.50    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        9.50    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        8.50    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       12.00    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       13.50    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        24.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.75    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        5.75    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       14.00    28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        22.50    19.25   09/26/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        8.25    28.88   09/26/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        16.00    19.25   10/03/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        4.00    28.88   10/03/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   10/10/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       19.50    28.88   10/10/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   10/17/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.50    28.88   10/17/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   10/24/2016   Los   Angeles   CA   West   - Drivers
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                     Overtime      9.50Document
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1217132              Regular      40.00   19.25 #:1305
                                                  10/31/2016 Los Angeles CA West - Drivers
1217132             Overtime       12.50    28.88   10/31/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   11/07/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       11.75    28.88   11/07/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   11/14/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.75    28.88   11/14/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   11/21/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.75    28.88   11/21/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   11/28/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       12.00    28.88   11/28/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   12/05/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime        9.75    28.88   12/05/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   12/12/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       26.00    28.88   12/12/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   12/19/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       15.50    28.88   12/19/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   12/26/2016   Los   Angeles   CA   West   - Drivers
1217132             Overtime       11.50    28.88   12/26/2016   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   01/02/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       12.25    28.88   01/02/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   01/09/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       16.00    28.88   01/09/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   01/16/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        8.50    28.88   01/16/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   01/23/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        7.75    28.88   01/23/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   01/30/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        8.00    28.88   01/30/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   02/06/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       13.00    28.88   02/06/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        16.00    19.25   02/13/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        5.50    28.88   02/13/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        28.50    19.25   02/20/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        9.75    28.88   02/20/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   02/27/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       16.25    28.88   02/27/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   03/06/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       17.75    28.88   03/06/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        16.00    19.25   03/13/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        5.50    28.88   03/13/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   03/20/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       13.75    28.88   03/20/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular         8.00    19.25   03/27/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        3.00    28.88   03/27/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   04/03/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.25    28.88   04/03/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   04/10/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       14.75    28.88   04/10/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   04/17/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       14.75    28.88   04/17/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   04/24/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       29.25    28.88   04/24/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   05/01/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       13.75    28.88   05/01/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        40.00    19.25   05/08/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       27.00    28.88   05/08/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   05/15/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime        9.50    28.88   05/15/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        31.50    19.25   05/22/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.50    28.88   05/22/2017   Los   Angeles   CA   West   - Drivers
1217132             Regular        32.00    19.25   05/29/2017   Los   Angeles   CA   West   - Drivers
1217132             Overtime       10.75    28.88   05/29/2017   Los   Angeles   CA   West   - Drivers
1217132 Case 2:19-cv-08580-JFW-MAA
                   Regular        40.00Document
                                          19.25 38-5    Filed Los
                                                  06/05/2017  03/22/21
                                                                  AngelesPage 533- Drivers
                                                                         CA West   of 691    Page ID
1217132            Overtime       15.25   28.88 #:1306
                                                  06/05/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 06/12/2017 Los Angeles CA West - Drivers
1217132            Overtime       13.75   28.88 06/12/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 06/19/2017 Los Angeles CA West - Drivers
1217132            Overtime       15.00   28.88 06/19/2017 Los Angeles CA West - Drivers
1217132            Regular        24.00   19.25 06/26/2017 Los Angeles CA West - Drivers
1217132            Overtime        6.00   28.88 06/26/2017 Los Angeles CA West - Drivers
1217132            Regular        32.00   19.25 07/03/2017 Los Angeles CA West - Drivers
1217132            Overtime       12.75   28.88 07/03/2017 Los Angeles CA West - Drivers
1217132            Regular        32.00   19.25 07/10/2017 Los Angeles CA West - Drivers
1217132            Overtime       11.25   28.88 07/10/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 07/17/2017 Los Angeles CA West - Drivers
1217132            Overtime       18.75   28.88 07/17/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 07/24/2017 Los Angeles CA West - Drivers
1217132            Overtime       19.75   28.88 07/24/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 07/31/2017 Los Angeles CA West - Drivers
1217132            Overtime       15.00   28.88 07/31/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 08/07/2017 Los Angeles CA West - Drivers
1217132            Overtime       14.50   28.88 08/07/2017 Los Angeles CA West - Drivers
1217132            Regular        16.00   19.25 08/14/2017 Los Angeles CA West - Drivers
1217132            Overtime        8.00   28.88 08/14/2017 Los Angeles CA West - Drivers
1217132            Regular        16.00   19.25 08/21/2017 Los Angeles CA West - Drivers
1217132            Overtime        7.25   28.88 08/21/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 08/28/2017 Los Angeles CA West - Drivers
1217132            Overtime       10.25   28.88 08/28/2017 Los Angeles CA West - Drivers
1217132            Regular        32.00   19.25 09/04/2017 Los Angeles CA West - Drivers
1217132            Overtime       11.00   28.88 09/04/2017 Los Angeles CA West - Drivers
1217132            Regular        32.00   19.25 09/11/2017 Los Angeles CA West - Drivers
1217132            Overtime       10.25   28.88 09/11/2017 Los Angeles CA West - Drivers
1217132            Regular        16.00   19.25 09/18/2017 Los Angeles CA West - Drivers
1217132            Overtime        3.75   28.88 09/18/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 09/25/2017 Los Angeles CA West - Drivers
1217132            Overtime       31.75   28.88 09/25/2017 Los Angeles CA West - Drivers
1217132            Regular        16.00   19.25 10/02/2017 Los Angeles CA West - Drivers
1217132            Overtime       10.50   28.88 10/02/2017 Los Angeles CA West - Drivers
1217132            Regular        40.00   19.25 10/09/2017 Los Angeles CA West - Drivers
1217132            Overtime       10.50   28.88 10/09/2017 Los Angeles CA West - Drivers
1217132            Regular        17.00   19.25 10/16/2017 Los Angeles CA West - Drivers
1217132            Overtime        2.50   28.88 10/16/2017 Los Angeles CA West - Drivers
Total for 1217132             4,646.25
2373743            Regular        40.00   39.17 09/11/2017 Los Angeles CA East - Drivers
2373743            Overtime        7.25   58.76 09/11/2017 Los Angeles CA East - Drivers
2373743            Regular        23.75   39.17 09/18/2017 Los Angeles CA East - Drivers
2373743            Overtime        1.75   58.76 09/18/2017 Los Angeles CA East - Drivers
2373743            Regular        23.75   39.17 09/25/2017 Los Angeles CA East - Drivers
2373743            Overtime        0.50   58.76 09/25/2017 Los Angeles CA East - Drivers
2373743            Regular        31.75   39.17 10/02/2017 Los Angeles CA East - Drivers
2373743            Overtime        6.75   58.76 10/02/2017 Los Angeles CA East - Drivers
2373743            Regular         8.00   39.17 10/16/2017 Los Angeles CA East - Drivers
2373743            Overtime        3.25   58.76 10/16/2017 Los Angeles CA East - Drivers
2373743            Regular         8.00   22.00 10/16/2017 Los Angeles CA East - Drivers
2373743            Regular        32.00   22.00 10/23/2017 Los Angeles CA East - Drivers
2373743            Overtime        8.00   33.00 10/23/2017 Los Angeles CA East - Drivers
2373743            Regular        40.00   22.00 10/30/2017 Los Angeles CA East - Drivers
2373743            Regular        40.00   22.00 11/06/2017 Los Angeles CA East - Drivers
2373743            Regular        56.00   22.00 10/23/2017 Los Angeles CA East - Drivers
2373743            Overtime      -16.00   33.00 10/23/2017 Los Angeles CA East - Drivers
2373743            Regular        39.00   22.00 11/20/2017 Los Angeles CA East - Drivers
2373743            Regular        30.00   22.00 11/27/2017 Los Angeles CA East - Drivers
Total for 2373743               383.75
1327564            Regular        16.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1327564            Overtime        1.50   30.00 06/06/2016 Los Angeles CA West - Drivers
1327564 Case 2:19-cv-08580-JFW-MAA
                   Regular      31.75Document
                                        20.00 38-5    Filed Los
                                                06/13/2016  03/22/21
                                                                AngelesPage 534- Drivers
                                                                       CA West   of 691    Page ID
1327564            Overtime      6.50   30.00 #:1307
                                                06/13/2016 Los Angeles CA West - Drivers
1327564            Regular      32.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1327564            Overtime      5.75   30.00 06/20/2016 Los Angeles CA West - Drivers
1327564            Regular      24.00   20.00 06/27/2016 Los Angeles CA West - Drivers
1327564            Overtime      4.00   30.00 06/27/2016 Los Angeles CA West - Drivers
1327564            Regular      16.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1327564            Overtime      0.75   30.00 07/04/2016 Los Angeles CA West - Drivers
1327564            Regular      32.00   20.00 07/11/2016 Los Angeles CA West - Drivers
1327564            Overtime      6.00   30.00 07/11/2016 Los Angeles CA West - Drivers
1327564            Regular      32.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1327564            Overtime      6.25   30.00 07/18/2016 Los Angeles CA West - Drivers
1327564            Regular       8.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1327564            Overtime      1.25   30.00 07/25/2016 Los Angeles CA West - Drivers
1327564            Regular      15.75   16.00 05/16/2016 Los Angeles CA West - Drivers
1327564            Overtime      3.25   24.00 05/16/2016 Los Angeles CA West - Drivers
Total for 1327564              242.75
2544141            Regular      24.00   18.00 04/15/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 04/22/2019 Los Angeles CA West - Drivers
2544141            Regular      28.00   18.00 04/29/2019 Los Angeles CA West - Drivers
2544141            Overtime      0.75   27.00 04/29/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 05/06/2019 Los Angeles CA West - Drivers
2544141            Overtime      0.50   27.00 05/06/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 05/13/2019 Los Angeles CA West - Drivers
2544141            Overtime      0.50   27.00 05/13/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 05/20/2019 Los Angeles CA West - Drivers
2544141            Regular      18.00   18.00 05/27/2019 Los Angeles CA West - Drivers
2544141            Regular      24.00   18.00 06/03/2019 Los Angeles CA West - Drivers
2544141            Regular      40.00   18.00 06/10/2019 Los Angeles CA West - Drivers
2544141            Regular      40.00   18.00 06/17/2019 Los Angeles CA West - Drivers
2544141            Regular      24.00   18.00 06/24/2019 Los Angeles CA West - Drivers
2544141            Regular       8.00   18.00 07/01/2019 Los Angeles CA West - Drivers
2544141            Regular      24.00   18.00 07/08/2019 Los Angeles CA West - Drivers
2544141            Regular      40.00   18.00 07/15/2019 Los Angeles CA West - Drivers
2544141            Regular      19.00   18.00 07/22/2019 Los Angeles CA West - Drivers
2544141            Regular      40.00   18.00 07/29/2019 Los Angeles CA West - Drivers
2544141            Overtime      1.00   27.00 07/29/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 08/05/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 08/12/2019 Los Angeles CA West - Drivers
2544141            Regular      32.00   18.00 08/19/2019 Los Angeles CA West - Drivers
2544141            Regular      40.00   18.00 08/26/2019 Los Angeles CA West - Drivers
2544141            Regular      16.00   18.00 09/02/2019 Los Angeles CA West - Drivers
2544141            Regular      16.00   17.50 04/08/2019 Los Angeles CA West - Drivers
2544141            Overtime      2.75   26.25 04/08/2019 Los Angeles CA West - Drivers
Total for 2544141              630.50
2406702            Regular      24.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   20.00 08/27/2018 Los Angeles CA West - Drivers
2406702            Overtime      1.25   30.00 08/27/2018 Los Angeles CA West - Drivers
2406702            Regular      32.00   20.00 09/03/2018 Los Angeles CA West - Drivers
2406702            Overtime      3.50   30.00 09/03/2018 Los Angeles CA West - Drivers
2406702            Regular      32.00   20.00 09/10/2018 Los Angeles CA West - Drivers
2406702            Overtime      5.75   30.00 09/10/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2406702            Overtime      4.00   30.00 10/29/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
2406702            Overtime      3.50   30.00 11/12/2018 Los Angeles CA West - Drivers
2406702            Regular       6.00   20.50 07/09/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   20.50 07/16/2018 Los Angeles CA West - Drivers
2406702            Overtime      2.00   30.75 07/16/2018 Los Angeles CA West - Drivers
2406702            Regular      12.50   20.50 07/30/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   20.50 08/06/2018 Los Angeles CA West - Drivers
2406702            Overtime      2.50   30.75 08/06/2018 Los Angeles CA West - Drivers
2406702            Regular      16.00   20.50 08/13/2018 Los Angeles CA West - Drivers
2406702 Case 2:19-cv-08580-JFW-MAA
                   Overtime      0.25Document
                                        30.75 38-5    Filed Los
                                                08/13/2018  03/22/21
                                                                AngelesPage 535- Drivers
                                                                       CA West   of 691    Page ID
2406702            Regular       8.00   20.50 #:1308
                                                08/20/2018 Los Angeles CA West - Drivers
2406702            Overtime      0.50   30.75 08/20/2018 Los Angeles CA West - Drivers
2406702            Regular      32.00   22.00 07/30/2018 Los Angeles CA West - Drivers
2406702            Overtime      4.00   33.00 07/30/2018 Los Angeles CA West - Drivers
2406702            Regular      28.50   22.00 08/06/2018 Los Angeles CA West - Drivers
2406702            Overtime      0.50   33.00 08/06/2018 Los Angeles CA West - Drivers
2406702            Regular      31.00   22.00 08/13/2018 Los Angeles CA West - Drivers
2406702            Overtime      5.00   33.00 08/13/2018 Los Angeles CA West - Drivers
2406702            Regular      15.00   22.00 08/20/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 01/15/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 02/05/2018 Los Angeles CA West - Drivers
2406702            Overtime      0.10   31.50 02/05/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 02/19/2018 Los Angeles CA West - Drivers
2406702            Regular       4.00   21.00 02/26/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 03/05/2018 Los Angeles CA West - Drivers
2406702            Overtime      1.40   31.50 03/05/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 03/12/2018 Los Angeles CA West - Drivers
2406702            Overtime      1.33   31.50 03/12/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 03/19/2018 Los Angeles CA West - Drivers
2406702            Overtime      0.22   31.50 03/19/2018 Los Angeles CA West - Drivers
2406702            Regular       8.00   21.00 03/26/2018 Los Angeles CA West - Drivers
2406702            Overtime      1.12   31.50 03/26/2018 Los Angeles CA West - Drivers
2406702            Regular      16.00   22.00 08/20/2018 Los Angeles CA West - Drivers
2406702            Overtime      4.00   33.00 08/20/2018 Los Angeles CA West - Drivers
2406702            Regular      16.00   22.00 08/27/2018 Los Angeles CA West - Drivers
2406702            Overtime      5.50   33.00 08/27/2018 Los Angeles CA West - Drivers
2406702            Regular      30.50   20.00 10/30/2017 Los Angeles CA West - Drivers
2406702            Overtime      2.50   30.00 10/30/2017 Los Angeles CA West - Drivers
2406702            Regular      37.50   20.00 11/06/2017 Los Angeles CA West - Drivers
2406702            Overtime      9.75   30.00 11/06/2017 Los Angeles CA West - Drivers
2406702            Regular      30.50   20.00 11/13/2017 Los Angeles CA West - Drivers
2406702            Overtime      3.75   30.00 11/13/2017 Los Angeles CA West - Drivers
2406702            Regular      21.50   20.00 11/20/2017 Los Angeles CA West - Drivers
2406702            Overtime      0.75   30.00 11/20/2017 Los Angeles CA West - Drivers
2406702            Regular      40.00   20.00 11/27/2017 Los Angeles CA West - Drivers
2406702            Overtime      5.00   30.00 11/27/2017 Los Angeles CA West - Drivers
2406702            Regular      40.00   20.00 12/04/2017 Los Angeles CA West - Drivers
2406702            Overtime      1.75   30.00 12/04/2017 Los Angeles CA West - Drivers
2406702            Regular      40.00   20.00 12/11/2017 Los Angeles CA West - Drivers
2406702            Overtime      6.25   30.00 12/11/2017 Los Angeles CA West - Drivers
2406702            Regular      39.00   20.00 12/18/2017 Los Angeles CA West - Drivers
2406702            Overtime      2.00   30.00 12/18/2017 Los Angeles CA West - Drivers
2406702            Regular      24.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2406702            Overtime      6.50   30.00 12/25/2017 Los Angeles CA West - Drivers
2406702            Regular      24.00   20.00 01/01/2018 Los Angeles CA West - Drivers
2406702            Overtime      5.00   30.00 01/01/2018 Los Angeles CA West - Drivers
2406702            Regular      24.00   20.00 01/08/2018 Los Angeles CA West - Drivers
2406702            Overtime      3.50   30.00 01/08/2018 Los Angeles CA West - Drivers
2406702            Regular      38.00   20.00 01/15/2018 Los Angeles CA West - Drivers
2406702            Overtime      4.00   30.00 01/15/2018 Los Angeles CA West - Drivers
2406702            Regular       6.25   20.00 01/22/2018 Los Angeles CA West - Drivers
2406702            Regular      40.00   20.00 07/16/2018 Los Angeles CA West - Drivers
2406702            Overtime     10.00   30.00 07/16/2018 Los Angeles CA West - Drivers
2406702            Regular      40.00   20.00 07/23/2018 Los Angeles CA West - Drivers
2406702            Overtime      3.75   30.00 07/23/2018 Los Angeles CA West - Drivers
Total for 2406702              955.17
2635164            Regular      32.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2635164            Overtime      4.00   31.50 08/05/2019 Los Angeles CA West - Drivers
2635164            Regular      40.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2635164            Overtime     11.25   31.50 08/12/2019 Los Angeles CA West - Drivers
2635164            Regular      40.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2635164            Overtime      5.75   31.50 08/19/2019 Los Angeles CA West - Drivers
2635164 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        21.00 38-5    Filed Los
                                                08/26/2019  03/22/21
                                                                AngelesPage 536- Drivers
                                                                       CA West   of 691    Page ID
2635164            Overtime      2.50   31.50 #:1309
                                                08/26/2019 Los Angeles CA West - Drivers
2635164            Regular      32.00   21.00 09/02/2019 Los Angeles CA West - Drivers
2635164            Overtime      2.75   31.50 09/02/2019 Los Angeles CA West - Drivers
2635164            Regular      16.00   40.22 06/03/2019 Los Angeles CA West - Drivers
2635164            Overtime      3.50   60.33 06/03/2019 Los Angeles CA West - Drivers
2635164            Regular       8.00   40.22 06/10/2019 Los Angeles CA West - Drivers
2635164            Overtime      0.50   60.33 06/10/2019 Los Angeles CA West - Drivers
2635164            Regular       8.00   40.22 06/17/2019 Los Angeles CA West - Drivers
2635164            Overtime      1.00   60.33 06/17/2019 Los Angeles CA West - Drivers
2635164            Regular       8.00   22.50 08/05/2019 Los Angeles CA West - Drivers
2635164            Overtime      1.00   33.75 08/05/2019 Los Angeles CA West - Drivers
Total for 2635164              256.25
2239147            Regular       8.00   21.00 07/02/2018 Los Angeles CA East - Drivers
2239147            Overtime      0.50   31.50 07/02/2018 Los Angeles CA East - Drivers
2239147            Regular       8.00   21.00 07/16/2018 Los Angeles CA East - Drivers
2239147            Regular      16.00   19.50 06/18/2018 Los Angeles CA East - Drivers
2239147            Overtime      4.33   29.25 06/18/2018 Los Angeles CA East - Drivers
2239147            Regular       8.00   19.50 06/25/2018 Los Angeles CA East - Drivers
2239147            Overtime      3.00   29.25 06/25/2018 Los Angeles CA East - Drivers
2239147            Regular      24.00   21.00 06/25/2018 Los Angeles CA East - Drivers
2239147            Regular       8.00   19.00 07/17/2017 Los Angeles CA East - Drivers
2239147            Overtime      4.00   28.50 07/17/2017 Los Angeles CA East - Drivers
2239147            Regular      24.00   19.00 07/31/2017 Los Angeles CA East - Drivers
2239147            Overtime      9.50   28.50 07/31/2017 Los Angeles CA East - Drivers
2239147            Regular       8.00   20.00 07/31/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 08/07/2017 Los Angeles CA East - Drivers
2239147            Overtime      9.00   30.00 08/07/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 08/14/2017 Los Angeles CA East - Drivers
2239147            Overtime     15.50   30.00 08/14/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 08/21/2017 Los Angeles CA East - Drivers
2239147            Overtime     11.00   30.00 08/21/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 08/28/2017 Los Angeles CA East - Drivers
2239147            Overtime     20.00   30.00 08/28/2017 Los Angeles CA East - Drivers
2239147            Regular      24.00   20.00 09/04/2017 Los Angeles CA East - Drivers
2239147            Overtime     10.50   30.00 09/04/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
2239147            Overtime     10.00   30.00 09/11/2017 Los Angeles CA East - Drivers
2239147            Regular      32.00   20.00 09/18/2017 Los Angeles CA East - Drivers
2239147            Overtime      9.00   30.00 09/18/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 09/25/2017 Los Angeles CA East - Drivers
2239147            Overtime      4.50   30.00 09/25/2017 Los Angeles CA East - Drivers
2239147            Regular      32.00   20.00 10/02/2017 Los Angeles CA East - Drivers
2239147            Overtime      6.00   30.00 10/02/2017 Los Angeles CA East - Drivers
2239147            Regular      24.00   20.00 10/09/2017 Los Angeles CA East - Drivers
2239147            Overtime      8.00   30.00 10/09/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   20.00 10/16/2017 Los Angeles CA East - Drivers
2239147            Overtime      9.50   30.00 10/16/2017 Los Angeles CA East - Drivers
2239147            Regular      16.00   20.00 10/23/2017 Los Angeles CA East - Drivers
2239147            Regular      40.00   21.00 03/26/2018 Los Angeles CA East - Drivers
2239147            Overtime      3.88   31.50 03/26/2018 Los Angeles CA East - Drivers
2239147            Regular      40.00   21.00 04/02/2018 Los Angeles CA East - Drivers
2239147            Overtime     16.91   31.50 03/26/2018 Los Angeles CA East - Drivers
2239147            Regular      16.00   21.00 04/09/2018 Los Angeles CA East - Drivers
2239147            Overtime      2.05   31.50 04/09/2018 Los Angeles CA East - Drivers
2239147            Regular      24.50   20.75 04/10/2017 Los Angeles CA East - Drivers
2239147            Overtime      5.50   31.13 04/10/2017 Los Angeles CA East - Drivers
2239147            Regular      13.50   20.75 04/17/2017 Los Angeles CA East - Drivers
2239147            Regular      46.00   20.75 04/24/2017 Los Angeles CA East - Drivers
2239147            Overtime     18.25   31.13 04/24/2017 Los Angeles CA East - Drivers
2239147            Regular       7.25   20.75 05/01/2017 Los Angeles CA East - Drivers
2239147            Regular       8.00   20.75 05/08/2017 Los Angeles CA East - Drivers
2239147            Overtime      4.00   31.13 05/08/2017 Los Angeles CA East - Drivers
2239147 Case 2:19-cv-08580-JFW-MAA
                   Regular       37.00Document
                                         20.75 38-5    Filed Los
                                                 05/15/2017  03/22/21
                                                                 AngelesPage 537
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2239147            Overtime       1.00   31.13 #:1310
                                                 05/15/2017 Los Angeles CA East - Drivers
2239147            Regular       22.50   20.75 05/22/2017 Los Angeles CA East - Drivers
2239147            Overtime       1.50   31.13 05/22/2017 Los Angeles CA East - Drivers
2239147            Regular       16.00   20.75 06/12/2017 Los Angeles CA East - Drivers
2239147            Overtime       6.50   31.12 06/12/2017 Los Angeles CA East - Drivers
2239147            Regular        4.00   20.75 06/19/2017 Los Angeles CA East - Drivers
2239147            Regular       16.00   20.75 06/26/2017 Los Angeles CA East - Drivers
2239147            Overtime       1.25   31.13 06/26/2017 Los Angeles CA East - Drivers
2239147            Regular        8.00   20.75 07/10/2017 Los Angeles CA East - Drivers
2239147            Overtime       1.00   31.13 07/10/2017 Los Angeles CA East - Drivers
2239147            Regular       12.00   20.75 04/09/2018 Los Angeles CA East - Drivers
2239147            Regular       16.00   20.75 07/09/2018 Los Angeles CA East - Drivers
2239147            Overtime       4.00   31.13 07/09/2018 Los Angeles CA East - Drivers
2239147            Regular       37.00   20.00 10/30/2017 Los Angeles CA East - Drivers
2239147            Overtime       3.50   30.00 10/30/2017 Los Angeles CA East - Drivers
2239147            Regular       39.50   20.00 11/06/2017 Los Angeles CA East - Drivers
2239147            Overtime       3.00   30.00 11/06/2017 Los Angeles CA East - Drivers
2239147            Regular       36.00   20.00 11/13/2017 Los Angeles CA East - Drivers
2239147            Overtime       5.50   30.00 11/13/2017 Los Angeles CA East - Drivers
2239147            Regular       39.50   20.00 11/27/2017 Los Angeles CA East - Drivers
2239147            Overtime       6.50   30.00 11/27/2017 Los Angeles CA East - Drivers
2239147            Regular       40.00   20.00 12/04/2017 Los Angeles CA East - Drivers
2239147            Overtime      14.00   30.00 12/04/2017 Los Angeles CA East - Drivers
2239147            Regular       32.00   20.00 12/11/2017 Los Angeles CA East - Drivers
2239147            Overtime       8.50   30.00 12/11/2017 Los Angeles CA East - Drivers
2239147            Regular       32.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2239147            Regular       40.00   20.00 04/30/2018 Los Angeles CA East - Drivers
2239147            Regular       32.00   21.00 05/07/2018 Los Angeles CA East - Drivers
2239147            Regular       40.00   21.00 05/14/2018 Los Angeles CA East - Drivers
2239147            Overtime       0.50   31.50 05/14/2018 Los Angeles CA East - Drivers
2239147            Regular       40.00   21.00 05/21/2018 Los Angeles CA East - Drivers
2239147            Overtime       0.50   31.50 05/21/2018 Los Angeles CA East - Drivers
2239147            Regular       32.00   21.00 05/28/2018 Los Angeles CA East - Drivers
2239147            Regular       40.00   21.00 06/04/2018 Los Angeles CA East - Drivers
2239147            Overtime       1.00   31.50 06/04/2018 Los Angeles CA East - Drivers
2239147            Regular       40.00   21.00 06/11/2018 Los Angeles CA East - Drivers
2239147            Regular       16.00   21.00 07/09/2018 Los Angeles CA East - Drivers
2239147            Overtime       1.50   31.50 07/09/2018 Los Angeles CA East - Drivers
Total for 2239147             1,619.42
2163349            Regular       22.50   19.00 02/20/2017 Los Angeles CA West - Drivers
2163349            Overtime       3.00   28.50 02/20/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 02/27/2017 Los Angeles CA West - Drivers
2163349            Overtime       6.25   28.50 02/27/2017 Los Angeles CA West - Drivers
2163349            Regular       32.00   19.00 03/13/2017 Los Angeles CA West - Drivers
2163349            Overtime      12.50   28.50 03/13/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 03/20/2017 Los Angeles CA West - Drivers
2163349            Overtime      10.25   28.50 03/20/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 03/27/2017 Los Angeles CA West - Drivers
2163349            Overtime      14.25   28.50 03/27/2017 Los Angeles CA West - Drivers
2163349            Regular       38.75   19.00 04/03/2017 Los Angeles CA West - Drivers
2163349            Overtime      10.75   28.50 04/03/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
2163349            Overtime      14.50   28.50 04/10/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 04/17/2017 Los Angeles CA West - Drivers
2163349            Overtime      11.25   28.50 04/17/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 04/24/2017 Los Angeles CA West - Drivers
2163349            Overtime       8.00   28.50 04/24/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 05/01/2017 Los Angeles CA West - Drivers
2163349            Overtime      13.25   28.50 05/01/2017 Los Angeles CA West - Drivers
2163349            Regular       40.00   19.00 05/08/2017 Los Angeles CA West - Drivers
2163349            Overtime      11.25   28.50 05/08/2017 Los Angeles CA West - Drivers
2163349            Regular       20.75   19.00 01/16/2017 Los Angeles CA West - Drivers
2163349 Case 2:19-cv-08580-JFW-MAA
                   Regular      49.25Document
                                        19.00 38-5    Filed Los
                                                01/23/2017  03/22/21
                                                                AngelesPage 538- Drivers
                                                                       CA West   of 691    Page ID
2163349            Regular      40.75   19.00 #:1311
                                                01/30/2017 Los Angeles CA West - Drivers
2163349            Regular      39.50   19.00 02/06/2017 Los Angeles CA West - Drivers
2163349            Regular      29.00   19.00 02/13/2017 Los Angeles CA West - Drivers
2163349            Regular       8.00   20.00 03/06/2017 Los Angeles CA West - Drivers
2163349            Overtime      4.00   30.00 03/06/2017 Los Angeles CA West - Drivers
2163349            Regular       8.00   19.00 03/06/2017 Los Angeles CA West - Drivers
2163349            Overtime      0.50   28.50 03/06/2017 Los Angeles CA West - Drivers
2163349            Regular       6.00   19.00 01/09/2017 Los Angeles CA West - Drivers
2163349            Regular       7.25   19.00 01/16/2017 Los Angeles CA West - Drivers
2163349            Regular       4.00   19.00 05/15/2017 Los Angeles CA West - Drivers
Total for 2163349              745.50
2649541            Regular      40.00   23.00 08/05/2019 Sacramento CA - Drivers
2649541            Overtime      1.50   34.50 08/05/2019 Sacramento CA - Drivers
2649541            Regular      40.00   23.00 08/12/2019 Sacramento CA - Drivers
2649541            Overtime      7.50   34.50 08/12/2019 Sacramento CA - Drivers
2649541            Regular      40.00   23.00 08/19/2019 Sacramento CA - Drivers
2649541            Overtime      6.00   34.50 08/19/2019 Sacramento CA - Drivers
2649541            Regular      40.00   23.00 08/26/2019 Sacramento CA - Drivers
2649541            Overtime     12.50   34.50 08/26/2019 Sacramento CA - Drivers
2649541            Regular      32.00   23.00 09/02/2019 Sacramento CA - Drivers
2649541            Overtime      9.50   34.50 09/02/2019 Sacramento CA - Drivers
Total for 2649541              229.00
2382191            Regular      24.00   16.00 10/16/2017 Los Angeles CA West - Drivers
2382191            Overtime      1.00   24.00 10/16/2017 Los Angeles CA West - Drivers
2382191            Regular      40.00   16.00 10/23/2017 Los Angeles CA West - Drivers
2382191            Overtime      2.00   24.00 10/23/2017 Los Angeles CA West - Drivers
2382191            Regular      24.00   16.00 10/30/2017 Los Angeles CA West - Drivers
2382191            Overtime      1.00   24.00 10/30/2017 Los Angeles CA West - Drivers
2382191            Regular      16.00   16.00 11/06/2017 Los Angeles CA West - Drivers
2382191            Overtime      1.00   24.00 11/06/2017 Los Angeles CA West - Drivers
2382191            Regular      24.00   16.00 11/13/2017 Los Angeles CA West - Drivers
2382191            Overtime      1.50   24.00 11/13/2017 Los Angeles CA West - Drivers
2382191            Regular      16.00   16.00 11/20/2017 Los Angeles CA West - Drivers
2382191            Overtime      1.00   24.00 11/20/2017 Los Angeles CA West - Drivers
2382191            Regular      32.00   16.00 11/27/2017 Los Angeles CA West - Drivers
2382191            Overtime      1.00   24.00 11/27/2017 Los Angeles CA West - Drivers
2382191            Regular       5.00   16.00 12/04/2017 Los Angeles CA West - Drivers
Total for 2382191              189.50
1333583            Regular      16.00   20.00 03/06/2017 Sacramento CA - Drivers
1333583            Regular      38.50   20.00 03/13/2017 Sacramento CA - Drivers
1333583            Regular      40.00   20.00 03/20/2017 Sacramento CA - Drivers
1333583            Regular      40.00   20.00 03/27/2017 Sacramento CA - Drivers
1333583            Regular      32.00   20.00 04/03/2017 Sacramento CA - Drivers
1333583            Regular      32.00   20.00 04/10/2017 Sacramento CA - Drivers
1333583            Regular      24.00   20.00 04/17/2017 Sacramento CA - Drivers
1333583            Overtime      1.00   30.00 04/17/2017 Sacramento CA - Drivers
1333583            Regular      39.00   20.00 04/24/2017 Sacramento CA - Drivers
1333583            Overtime      0.25   30.00 04/24/2017 Sacramento CA - Drivers
1333583            Regular      36.25   20.00 05/01/2017 Sacramento CA - Drivers
1333583            Regular      37.50   20.00 05/08/2017 Sacramento CA - Drivers
1333583            Overtime      3.75   30.00 05/08/2017 Sacramento CA - Drivers
1333583            Regular      47.00   20.50 06/06/2016 Sacramento CA - Drivers
1333583            Regular      45.50   20.50 06/13/2016 Sacramento CA - Drivers
1333583            Overtime      3.00   30.75 06/13/2016 Sacramento CA - Drivers
1333583            Regular      26.50   20.50 06/20/2016 Sacramento CA - Drivers
1333583            Regular      17.25   20.50 06/27/2016 Sacramento CA - Drivers
1333583            Regular      44.00   20.50 07/04/2016 Sacramento CA - Drivers
1333583            Regular      41.75   20.50 07/18/2016 Sacramento CA - Drivers
1333583            Regular      15.50   20.50 07/25/2016 Sacramento CA - Drivers
1333583            Regular       5.50   20.50 08/01/2016 Sacramento CA - Drivers
Total for 1333583              586.25
2822833            Regular      40.00   18.00 07/29/2019 Los Angeles CA West - Drivers
2822833 Case 2:19-cv-08580-JFW-MAA
                   Overtime     17.25Document
                                        27.00 38-5    Filed Los
                                                07/29/2019  03/22/21
                                                                AngelesPage 539- Drivers
                                                                       CA West   of 691    Page ID
2822833            Regular      16.00   18.50 #:1312
                                                08/05/2019 Los Angeles CA West - Drivers
2822833            Overtime      2.00   27.75 08/05/2019 Los Angeles CA West - Drivers
Total for 2822833               75.25
2701712            Regular      40.00   20.00 02/18/2019 Sacramento CA - Drivers
2701712            Overtime      4.50   30.00 02/18/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 02/25/2019 Sacramento CA - Drivers
2701712            Overtime     11.50   30.00 02/25/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 03/04/2019 Sacramento CA - Drivers
2701712            Overtime     15.50   30.00 03/04/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 03/11/2019 Sacramento CA - Drivers
2701712            Overtime      2.75   30.00 03/11/2019 Sacramento CA - Drivers
2701712            Regular      32.00   20.00 03/18/2019 Sacramento CA - Drivers
2701712            Overtime      3.50   30.00 03/18/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 03/25/2019 Sacramento CA - Drivers
2701712            Overtime      1.00   30.00 03/25/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 04/01/2019 Sacramento CA - Drivers
2701712            Regular      24.00   20.00 04/08/2019 Sacramento CA - Drivers
2701712            Overtime      1.50   30.00 04/08/2019 Sacramento CA - Drivers
2701712            Regular      32.00   20.00 04/15/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 04/22/2019 Sacramento CA - Drivers
2701712            Overtime      1.00   30.00 04/22/2019 Sacramento CA - Drivers
2701712            Regular      32.00   20.00 04/29/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 05/06/2019 Sacramento CA - Drivers
2701712            Overtime      1.00   30.00 05/06/2019 Sacramento CA - Drivers
2701712            Regular      32.00   20.00 05/13/2019 Sacramento CA - Drivers
2701712            Overtime      1.00   30.00 05/13/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 05/20/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 05/27/2019 Sacramento CA - Drivers
2701712            Regular      32.00   20.00 06/10/2019 Sacramento CA - Drivers
2701712            Overtime      2.00   30.00 06/17/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 06/24/2019 Sacramento CA - Drivers
2701712            Regular      24.00   20.00 07/01/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 07/08/2019 Sacramento CA - Drivers
2701712            Overtime      2.00   30.00 07/08/2019 Sacramento CA - Drivers
2701712            Regular      16.00   20.00 07/15/2019 Sacramento CA - Drivers
2701712            Overtime      1.50   30.00 07/15/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 07/22/2019 Sacramento CA - Drivers
2701712            Regular      32.00   20.00 07/29/2019 Sacramento CA - Drivers
2701712            Overtime      1.00   30.00 07/29/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 08/05/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 08/12/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 08/19/2019 Sacramento CA - Drivers
2701712            Regular      40.00   20.00 08/26/2019 Sacramento CA - Drivers
2701712            Overtime      0.50   30.00 08/26/2019 Sacramento CA - Drivers
2701712            Regular       8.00   20.00 09/02/2019 Sacramento CA - Drivers
Total for 2701712              994.25
2651444            Regular      16.00   20.00 12/03/2018 Los Angeles CA East - Drivers
2651444            Regular      21.25   20.00 12/03/2018 Los Angeles CA East - Drivers
2651444            Regular      35.25   20.00 12/10/2018 Los Angeles CA East - Drivers
2651444            Overtime      4.00   30.00 12/10/2018 Los Angeles CA East - Drivers
2651444            Regular       8.00   20.00 12/17/2018 Los Angeles CA East - Drivers
2651444            Overtime      1.75   30.00 12/17/2018 Los Angeles CA East - Drivers
2651444            Regular      12.00   20.00 01/14/2019 Los Angeles CA East - Drivers
2651444            Overtime      2.75   30.00 01/14/2019 Los Angeles CA East - Drivers
2651444            Regular       8.00   19.50 12/17/2018 Los Angeles CA East - Drivers
2651444            Overtime      4.00   29.25 12/17/2018 Los Angeles CA East - Drivers
2651444            Regular       7.00   19.50 01/07/2019 Los Angeles CA East - Drivers
2651444            Regular       8.00   22.00 01/07/2019 Los Angeles CA East - Drivers
2651444            Regular      16.00   20.75 12/17/2018 Los Angeles CA East - Drivers
2651444            Overtime      4.75   31.13 12/17/2018 Los Angeles CA East - Drivers
2651444            Regular      24.00   20.75 12/24/2018 Los Angeles CA East - Drivers
2651444            Overtime      5.50   31.13 12/24/2018 Los Angeles CA East - Drivers
2651444 Case 2:19-cv-08580-JFW-MAA
                   Regular      21.75Document
                                        20.75 38-5    Filed Los
                                                12/31/2018  03/22/21
                                                                AngelesPage 540
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2651444            Overtime      0.50   31.13 #:1313
                                                12/31/2018 Los Angeles CA East - Drivers
2651444            Regular       8.00   22.00 12/24/2018 Los Angeles CA East - Drivers
Total for 2651444              208.50
2180571            Regular       7.50   19.00 03/06/2017 Los Angeles CA East - Drivers
Total for 2180571                7.50
707820             Regular       8.00   17.00 03/21/2016 Los Angeles CA East - Drivers
707820             Overtime      1.50   25.50 03/21/2016 Los Angeles CA East - Drivers
Total for 707820                 9.50
2719368            Regular      40.00   22.00 03/25/2019 Los Angeles CA West - Drivers
2719368            Overtime      8.50   33.00 03/25/2019 Los Angeles CA West - Drivers
2719368            Regular      40.00   22.00 04/01/2019 Los Angeles CA West - Drivers
2719368            Overtime     11.50   33.00 04/01/2019 Los Angeles CA West - Drivers
2719368            Regular      40.00   22.00 04/08/2019 Los Angeles CA West - Drivers
2719368            Overtime      3.00   33.00 04/08/2019 Los Angeles CA West - Drivers
2719368            Regular      40.00   22.00 04/15/2019 Los Angeles CA West - Drivers
2719368            Overtime      6.00   33.00 04/15/2019 Los Angeles CA West - Drivers
Total for 2719368              189.00
2494442            Regular      24.00   19.75 03/19/2018 Sacramento CA - Drivers
2494442            Overtime      3.50   29.63 03/19/2018 Sacramento CA - Drivers
2494442            Regular      40.00   19.75 03/26/2018 Sacramento CA - Drivers
2494442            Overtime      3.50   29.63 03/26/2018 Sacramento CA - Drivers
2494442            Regular      40.00   19.75 04/02/2018 Sacramento CA - Drivers
2494442            Overtime      5.50   29.63 04/02/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 04/09/2018 Sacramento CA - Drivers
2494442            Overtime      6.00   31.50 04/09/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 04/16/2018 Sacramento CA - Drivers
2494442            Overtime      5.00   31.50 04/16/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 04/23/2018 Sacramento CA - Drivers
2494442            Overtime      6.50   31.50 04/23/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 04/30/2018 Sacramento CA - Drivers
2494442            Overtime      3.50   31.50 04/30/2018 Sacramento CA - Drivers
2494442            Regular      32.00   21.00 05/07/2018 Sacramento CA - Drivers
2494442            Overtime      0.50   31.50 05/07/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 05/14/2018 Sacramento CA - Drivers
2494442            Overtime     10.00   31.50 05/14/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 05/21/2018 Sacramento CA - Drivers
2494442            Overtime      3.00   31.50 05/21/2018 Sacramento CA - Drivers
2494442            Regular      32.00   21.00 05/28/2018 Sacramento CA - Drivers
2494442            Overtime     11.50   31.50 05/28/2018 Sacramento CA - Drivers
2494442            Regular      32.00   21.00 06/04/2018 Sacramento CA - Drivers
2494442            Overtime      6.00   31.50 06/04/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 06/11/2018 Sacramento CA - Drivers
2494442            Overtime      5.00   31.50 06/11/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 06/18/2018 Sacramento CA - Drivers
2494442            Overtime      3.00   31.50 06/18/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 06/25/2018 Sacramento CA - Drivers
2494442            Overtime      5.50   31.50 06/25/2018 Sacramento CA - Drivers
2494442            Regular      32.00   21.00 07/02/2018 Sacramento CA - Drivers
2494442            Overtime     13.50   31.50 07/02/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 07/09/2018 Sacramento CA - Drivers
2494442            Overtime     12.50   31.50 07/09/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 07/16/2018 Sacramento CA - Drivers
2494442            Overtime     13.50   31.50 07/16/2018 Sacramento CA - Drivers
2494442            Regular      32.00   21.00 07/23/2018 Sacramento CA - Drivers
2494442            Overtime     11.00   31.50 07/23/2018 Sacramento CA - Drivers
2494442            Regular      40.00   21.00 07/30/2018 Sacramento CA - Drivers
2494442            Overtime      6.00   31.50 07/30/2018 Sacramento CA - Drivers
2494442            Regular      24.00   21.00 08/06/2018 Sacramento CA - Drivers
Total for 2494442              902.50
2641488            Regular       8.00   22.00 11/26/2018 Los Angeles CA West - Drivers
2641488            Overtime      0.50   33.00 11/26/2018 Los Angeles CA West - Drivers
2641488            Regular      31.00   22.00 12/03/2018 Los Angeles CA West - Drivers
2641488 Case 2:19-cv-08580-JFW-MAA
                   Overtime      1.00Document
                                        33.00 38-5    Filed Los
                                                12/03/2018  03/22/21
                                                                AngelesPage 541- Drivers
                                                                       CA West   of 691    Page ID
2641488            Regular      31.00   22.00 #:1314
                                                12/10/2018 Los Angeles CA West - Drivers
2641488            Overtime      7.00   33.00 12/10/2018 Los Angeles CA West - Drivers
2641488            Regular      24.00   22.00 12/17/2018 Los Angeles CA West - Drivers
2641488            Overtime      6.75   33.00 12/17/2018 Los Angeles CA West - Drivers
2641488            Regular      24.00   24.00 11/05/2018 Los Angeles CA West - Drivers
2641488            Overtime      3.25   36.00 11/05/2018 Los Angeles CA West - Drivers
2641488            Regular      40.00   24.00 11/12/2018 Los Angeles CA West - Drivers
2641488            Overtime      4.00   36.00 11/12/2018 Los Angeles CA West - Drivers
2641488            Regular       8.00   24.00 11/19/2018 Los Angeles CA West - Drivers
2641488            Regular       8.00   22.00 06/03/2019 Los Angeles CA West - Drivers
2641488            Overtime      4.00   33.00 06/03/2019 Los Angeles CA West - Drivers
2641488            Regular      32.00   21.00 06/03/2019 Los Angeles CA West - Drivers
2641488            Overtime      6.50   31.50 06/03/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 06/10/2019 Los Angeles CA West - Drivers
2641488            Overtime      5.50   31.50 06/10/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 06/17/2019 Los Angeles CA West - Drivers
2641488            Overtime      4.50   31.50 06/17/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2641488            Overtime      3.50   31.50 06/24/2019 Los Angeles CA West - Drivers
2641488            Regular      24.00   21.00 07/01/2019 Los Angeles CA West - Drivers
2641488            Overtime      4.25   31.50 07/01/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 07/08/2019 Los Angeles CA West - Drivers
2641488            Overtime      3.25   31.50 07/08/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2641488            Overtime      4.25   31.50 07/15/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 07/22/2019 Los Angeles CA West - Drivers
2641488            Overtime     12.25   31.50 07/22/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 07/29/2019 Los Angeles CA West - Drivers
2641488            Overtime     11.25   31.50 07/29/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 08/05/2019 Los Angeles CA West - Drivers
2641488            Overtime      5.00   31.50 08/05/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 08/12/2019 Los Angeles CA West - Drivers
2641488            Overtime      7.50   31.50 08/12/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 08/19/2019 Los Angeles CA West - Drivers
2641488            Overtime      4.75   31.50 08/19/2019 Los Angeles CA West - Drivers
2641488            Regular      40.00   21.00 08/26/2019 Los Angeles CA West - Drivers
2641488            Overtime      3.75   31.50 08/26/2019 Los Angeles CA West - Drivers
2641488            Regular      32.00   21.00 09/02/2019 Los Angeles CA West - Drivers
2641488            Overtime      1.25   31.50 09/02/2019 Los Angeles CA West - Drivers
Total for 2641488              806.00
1261026            Regular      16.00   20.00 03/28/2016 Los Angeles CA West - Drivers
1261026            Overtime      2.50   30.00 03/28/2016 Los Angeles CA West - Drivers
1261026            Regular      32.00   21.00 08/13/2018 Los Angeles CA West - Drivers
1261026            Overtime     15.25   31.50 08/13/2018 Los Angeles CA West - Drivers
Total for 1261026               65.75
1316341            Regular      10.00   20.50 05/16/2016 Sacramento CA - Drivers
1316341            Overtime      0.50   30.75 05/16/2016 Sacramento CA - Drivers
1316341            Regular      28.75   20.50 05/23/2016 Sacramento CA - Drivers
1316341            Overtime      0.25   30.75 05/23/2016 Sacramento CA - Drivers
1316341            Regular      45.50   20.50 05/30/2016 Sacramento CA - Drivers
1316341            Regular      45.00   20.50 06/06/2016 Sacramento CA - Drivers
1316341            Regular      41.25   20.50 06/13/2016 Sacramento CA - Drivers
1316341            Overtime      0.50   30.75 06/13/2016 Sacramento CA - Drivers
1316341            Regular      39.25   20.50 06/20/2016 Sacramento CA - Drivers
1316341            Overtime      1.75   30.75 06/20/2016 Sacramento CA - Drivers
1316341            Regular      29.00   20.50 06/27/2016 Sacramento CA - Drivers
Total for 1316341              241.75
2575050            Regular      16.00   17.00 07/30/2018 Los Angeles CA West - Drivers
2575050            Overtime      6.00   25.50 07/30/2018 Los Angeles CA West - Drivers
2575050            Regular      32.00   17.00 08/06/2018 Los Angeles CA West - Drivers
2575050            Overtime     15.25   25.50 08/06/2018 Los Angeles CA West - Drivers
2575050            Regular      40.00   17.00 08/13/2018 Los Angeles CA West - Drivers
2575050 Case 2:19-cv-08580-JFW-MAA
                   Overtime      14.50Document
                                         25.50 38-5    Filed Los
                                                 08/13/2018  03/22/21
                                                                 AngelesPage 542- Drivers
                                                                        CA West   of 691    Page ID
2575050            Regular       40.00   17.00 #:1315
                                                 08/20/2018 Los Angeles CA West - Drivers
2575050            Overtime      16.00   25.50 08/20/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.00 08/27/2018 Los Angeles CA West - Drivers
2575050            Overtime      19.00   25.50 08/27/2018 Los Angeles CA West - Drivers
2575050            Regular       24.00   17.00 09/03/2018 Los Angeles CA West - Drivers
2575050            Overtime      11.00   25.50 09/03/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.00 09/10/2018 Los Angeles CA West - Drivers
2575050            Overtime      18.00   25.50 09/10/2018 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.00 09/17/2018 Los Angeles CA West - Drivers
2575050            Overtime      14.00   25.50 09/17/2018 Los Angeles CA West - Drivers
2575050            Regular       24.00   17.50 09/24/2018 Los Angeles CA West - Drivers
2575050            Overtime       4.25   26.25 09/24/2018 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.50 10/01/2018 Los Angeles CA West - Drivers
2575050            Overtime       4.50   26.25 10/01/2018 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.50 10/08/2018 Los Angeles CA West - Drivers
2575050            Overtime       4.75   26.25 10/08/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 10/15/2018 Los Angeles CA West - Drivers
2575050            Overtime       6.00   26.25 10/15/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 10/22/2018 Los Angeles CA West - Drivers
2575050            Overtime       6.00   26.25 10/22/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 10/29/2018 Los Angeles CA West - Drivers
2575050            Overtime       3.25   26.25 10/29/2018 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.50 11/05/2018 Los Angeles CA West - Drivers
2575050            Overtime       3.50   26.25 11/05/2018 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.50 11/12/2018 Los Angeles CA West - Drivers
2575050            Regular       24.00   17.50 11/19/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 11/26/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 12/03/2018 Los Angeles CA West - Drivers
2575050            Overtime       0.50   26.25 12/03/2018 Los Angeles CA West - Drivers
2575050            Regular       24.00   17.50 12/10/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 12/17/2018 Los Angeles CA West - Drivers
2575050            Overtime       2.75   26.25 12/17/2018 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.50 12/31/2018 Los Angeles CA West - Drivers
2575050            Overtime       1.75   26.25 12/31/2018 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 01/07/2019 Los Angeles CA West - Drivers
2575050            Overtime       1.50   26.25 01/07/2019 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 01/14/2019 Los Angeles CA West - Drivers
2575050            Regular       32.00   17.50 01/21/2019 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 01/28/2019 Los Angeles CA West - Drivers
2575050            Regular       40.00   17.50 02/04/2019 Los Angeles CA West - Drivers
2575050            Overtime       1.50   26.25 02/04/2019 Los Angeles CA West - Drivers
2575050            Regular       32.00   18.00 02/11/2019 Los Angeles CA West - Drivers
2575050            Overtime       2.50   27.00 02/11/2019 Los Angeles CA West - Drivers
2575050            Regular       24.00   18.00 02/18/2019 Los Angeles CA West - Drivers
2575050            Regular       40.00   18.00 02/25/2019 Los Angeles CA West - Drivers
2575050            Regular       32.00   18.00 03/04/2019 Los Angeles CA West - Drivers
2575050            Regular       40.00   18.00 03/11/2019 Los Angeles CA West - Drivers
2575050            Overtime       2.00   27.00 03/11/2019 Los Angeles CA West - Drivers
2575050            Regular       24.00   18.00 03/18/2019 Los Angeles CA West - Drivers
2575050            Regular       24.00   18.00 03/25/2019 Los Angeles CA West - Drivers
2575050            Overtime       2.00   27.00 03/25/2019 Los Angeles CA West - Drivers
2575050            Regular       32.00   18.00 04/01/2019 Los Angeles CA West - Drivers
2575050            Overtime       0.75   27.00 04/01/2019 Los Angeles CA West - Drivers
2575050            Regular       40.00   18.00 04/08/2019 Los Angeles CA West - Drivers
2575050            Overtime       2.25   27.00 04/08/2019 Los Angeles CA West - Drivers
2575050            Regular       32.00   18.00 04/15/2019 Los Angeles CA West - Drivers
2575050            Regular        8.00   18.00 04/22/2019 Los Angeles CA West - Drivers
2575050            Regular       32.00   18.00 04/29/2019 Los Angeles CA West - Drivers
2575050            Regular       16.00   18.00 05/06/2019 Los Angeles CA West - Drivers
2575050            Overtime       0.25   27.00 05/06/2019 Los Angeles CA West - Drivers
Total for 2575050             1,467.75
2674593            Regular       16.00   21.00 01/07/2019 Los Angeles CA East - Drivers
2674593 Case 2:19-cv-08580-JFW-MAA
                   Regular       46.50Document
                                         21.00 38-5    Filed Los
                                                 01/14/2019  03/22/21
                                                                 AngelesPage 543
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2674593            Overtime       1.00   31.50 #:1316
                                                 01/14/2019 Los Angeles CA East - Drivers
2674593            Regular       43.00   21.00 01/21/2019 Los Angeles CA East - Drivers
2674593            Regular       49.00   21.00 01/28/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 02/04/2019 Los Angeles CA East - Drivers
2674593            Regular       44.50   21.00 02/11/2019 Los Angeles CA East - Drivers
2674593            Overtime       2.00   31.50 02/11/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 02/18/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 02/25/2019 Los Angeles CA East - Drivers
2674593            Regular       43.00   21.00 03/04/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 03/11/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 03/18/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 03/25/2019 Los Angeles CA East - Drivers
2674593            Overtime       3.00   31.50 03/25/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 04/01/2019 Los Angeles CA East - Drivers
2674593            Regular       32.00   21.00 04/08/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 04/15/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 04/22/2019 Los Angeles CA East - Drivers
2674593            Overtime       4.00   31.50 04/22/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 04/29/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 05/06/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 05/06/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 05/13/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.50   31.50 05/13/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 05/20/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 05/20/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 05/27/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 05/27/2019 Los Angeles CA East - Drivers
2674593            Regular       32.00   21.00 06/03/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 06/03/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 06/10/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 06/17/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 06/17/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 06/24/2019 Los Angeles CA East - Drivers
2674593            Overtime       8.00   31.50 06/24/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 07/01/2019 Los Angeles CA East - Drivers
2674593            Overtime       8.00   31.50 07/01/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 07/08/2019 Los Angeles CA East - Drivers
2674593            Overtime       9.00   31.50 07/08/2019 Los Angeles CA East - Drivers
2674593            Regular       32.00   21.00 07/15/2019 Los Angeles CA East - Drivers
2674593            Overtime       0.50   31.50 07/15/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 07/29/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 08/05/2019 Los Angeles CA East - Drivers
2674593            Overtime       2.50   31.50 08/05/2019 Los Angeles CA East - Drivers
2674593            Regular       32.00   21.00 08/12/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.00   31.50 08/12/2019 Los Angeles CA East - Drivers
2674593            Regular       40.00   21.00 08/19/2019 Los Angeles CA East - Drivers
2674593            Overtime       4.00   31.50 08/19/2019 Los Angeles CA East - Drivers
2674593            Regular       32.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2674593            Overtime       3.50   31.50 08/26/2019 Los Angeles CA East - Drivers
2674593            Regular       32.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2674593            Overtime       1.50   31.50 09/02/2019 Los Angeles CA East - Drivers
Total for 2674593             1,409.50
2283469            Regular       39.50   19.75 07/24/2017 Sacramento CA - Drivers
2283469            Overtime       6.75   29.63 07/24/2017 Sacramento CA - Drivers
2283469            Regular       40.00   19.75 07/31/2017 Sacramento CA - Drivers
2283469            Overtime      14.50   29.63 07/31/2017 Sacramento CA - Drivers
2283469            Regular       39.50   19.75 08/07/2017 Sacramento CA - Drivers
2283469            Overtime      10.75   29.63 08/07/2017 Sacramento CA - Drivers
2283469            Regular       35.00   19.75 08/14/2017 Sacramento CA - Drivers
2283469            Overtime       8.75   29.63 08/14/2017 Sacramento CA - Drivers
2283469 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          19.75 38-5    Filed Sacramento
                                                  08/21/2017  03/22/21 Page    544 of 691 Page ID
                                                                         CA - Drivers
2283469              Overtime      8.75   29.63 #:1317
                                                  08/21/2017 Sacramento CA - Drivers
2283469             Regular        40.00    19.75   08/28/2017   Sacramento   CA   - Drivers
2283469             Overtime       11.50    29.63   08/28/2017   Sacramento   CA   - Drivers
2283469             Regular        32.00    19.75   09/04/2017   Sacramento   CA   - Drivers
2283469             Overtime       15.25    29.63   09/04/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   09/11/2017   Sacramento   CA   - Drivers
2283469             Overtime       18.00    29.63   09/11/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   09/18/2017   Sacramento   CA   - Drivers
2283469             Overtime       17.75    29.63   09/18/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   09/25/2017   Sacramento   CA   - Drivers
2283469             Overtime       26.50    29.63   09/25/2017   Sacramento   CA   - Drivers
2283469             Regular        39.75    19.75   10/02/2017   Sacramento   CA   - Drivers
2283469             Overtime       14.50    29.63   10/02/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   10/09/2017   Sacramento   CA   - Drivers
2283469             Overtime       16.00    29.63   10/09/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   10/16/2017   Sacramento   CA   - Drivers
2283469             Overtime       27.75    29.63   10/16/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   10/23/2017   Sacramento   CA   - Drivers
2283469             Overtime       12.25    29.63   10/23/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   10/30/2017   Sacramento   CA   - Drivers
2283469             Overtime       16.00    29.63   10/30/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   11/06/2017   Sacramento   CA   - Drivers
2283469             Overtime       19.25    29.63   11/06/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   11/13/2017   Sacramento   CA   - Drivers
2283469             Overtime       24.75    29.63   11/13/2017   Sacramento   CA   - Drivers
2283469             Regular        36.50    19.75   11/20/2017   Sacramento   CA   - Drivers
2283469             Overtime       10.25    29.63   11/20/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   11/27/2017   Sacramento   CA   - Drivers
2283469             Overtime       15.25    29.63   11/27/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   12/04/2017   Sacramento   CA   - Drivers
2283469             Overtime       12.80    29.63   12/04/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   12/11/2017   Sacramento   CA   - Drivers
2283469             Overtime       18.50    29.63   12/11/2017   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   12/18/2017   Sacramento   CA   - Drivers
2283469             Overtime       16.25    29.63   12/18/2017   Sacramento   CA   - Drivers
2283469             Regular        30.00    19.75   12/25/2017   Sacramento   CA   - Drivers
2283469             Overtime       11.25    29.63   12/25/2017   Sacramento   CA   - Drivers
2283469             Regular        32.00    19.75   01/01/2018   Sacramento   CA   - Drivers
2283469             Overtime       13.00    29.63   01/01/2018   Sacramento   CA   - Drivers
2283469             Regular        32.00    19.75   01/08/2018   Sacramento   CA   - Drivers
2283469             Overtime       10.00    29.63   01/08/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   01/15/2018   Sacramento   CA   - Drivers
2283469             Overtime       12.50    29.63   01/15/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   01/22/2018   Sacramento   CA   - Drivers
2283469             Overtime       10.50    29.63   01/22/2018   Sacramento   CA   - Drivers
2283469             Regular        24.00    19.75   01/29/2018   Sacramento   CA   - Drivers
2283469             Overtime       11.50    29.63   01/29/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   02/05/2018   Sacramento   CA   - Drivers
2283469             Overtime       14.00    29.63   02/05/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   02/12/2018   Sacramento   CA   - Drivers
2283469             Overtime       16.00    29.63   02/12/2018   Sacramento   CA   - Drivers
2283469             Regular        32.00    19.75   02/19/2018   Sacramento   CA   - Drivers
2283469             Overtime       14.50    29.63   02/19/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   02/26/2018   Sacramento   CA   - Drivers
2283469             Overtime       18.30    29.63   02/26/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   03/05/2018   Sacramento   CA   - Drivers
2283469             Overtime       13.00    29.63   03/05/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   03/12/2018   Sacramento   CA   - Drivers
2283469             Overtime       17.75    29.63   03/12/2018   Sacramento   CA   - Drivers
2283469             Regular        32.00    19.75   03/19/2018   Sacramento   CA   - Drivers
2283469             Overtime       11.00    29.63   03/19/2018   Sacramento   CA   - Drivers
2283469             Regular        40.00    19.75   03/26/2018   Sacramento   CA   - Drivers
2283469 Case 2:19-cv-08580-JFW-MAA
                   Overtime      14.50Document
                                         29.63 38-5    Filed Sacramento
                                                 03/26/2018  03/22/21 Page    545 of
                                                                        CA - Drivers   691 Page ID
2283469            Regular       40.00   19.75 #:1318
                                                 04/02/2018 Sacramento CA - Drivers
2283469            Overtime       8.00   29.63 04/02/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 04/09/2018 Sacramento CA - Drivers
2283469            Overtime      12.50   31.50 04/09/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 04/16/2018 Sacramento CA - Drivers
2283469            Overtime       8.00   31.50 04/16/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 04/23/2018 Sacramento CA - Drivers
2283469            Overtime      11.50   31.50 04/23/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 04/30/2018 Sacramento CA - Drivers
2283469            Overtime      13.75   31.50 04/30/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 05/07/2018 Sacramento CA - Drivers
2283469            Overtime      15.00   31.50 05/07/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 05/14/2018 Sacramento CA - Drivers
2283469            Overtime      15.25   31.50 05/14/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 05/21/2018 Sacramento CA - Drivers
2283469            Overtime      18.50   31.50 05/21/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.00 05/28/2018 Sacramento CA - Drivers
2283469            Overtime      12.75   31.50 05/28/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.00 06/04/2018 Sacramento CA - Drivers
2283469            Overtime       9.75   31.50 06/04/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.00 06/11/2018 Sacramento CA - Drivers
2283469            Overtime      14.00   31.50 06/11/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.00 06/18/2018 Sacramento CA - Drivers
2283469            Overtime      13.50   31.50 06/18/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.00 06/25/2018 Sacramento CA - Drivers
2283469            Overtime      10.50   31.50 06/25/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.00 07/02/2018 Sacramento CA - Drivers
2283469            Overtime      15.00   31.50 07/02/2018 Sacramento CA - Drivers
2283469            Regular       40.00   21.00 07/09/2018 Sacramento CA - Drivers
2283469            Overtime      16.00   31.50 07/09/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.50 08/13/2018 Sacramento CA - Drivers
2283469            Overtime       2.00   32.25 08/13/2018 Sacramento CA - Drivers
2283469            Regular       24.00   21.50 08/20/2018 Sacramento CA - Drivers
2283469            Overtime       1.40   32.25 08/20/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.50 08/27/2018 Sacramento CA - Drivers
2283469            Overtime       2.40   32.25 08/27/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.50 09/03/2018 Sacramento CA - Drivers
2283469            Overtime       0.50   32.25 09/03/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.50 09/10/2018 Sacramento CA - Drivers
2283469            Regular       32.00   21.50 09/17/2018 Sacramento CA - Drivers
2283469            Regular       24.00   21.50 09/24/2018 Sacramento CA - Drivers
2283469            Overtime       1.10   32.25 09/24/2018 Sacramento CA - Drivers
2283469            Regular       24.00   21.50 10/01/2018 Sacramento CA - Drivers
2283469            Regular       24.00   21.50 10/08/2018 Sacramento CA - Drivers
2283469            Regular       17.40   21.50 10/15/2018 Sacramento CA - Drivers
Total for 2283469             2,920.90
2674888            Regular        8.00   26.00 02/04/2019 Sacramento CA - Drivers
2674888            Regular       32.00   26.00 02/04/2019 Sacramento CA - Drivers
2674888            Overtime       6.00   39.00 02/04/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 02/11/2019 Sacramento CA - Drivers
2674888            Overtime       7.50   39.00 02/11/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 02/18/2019 Sacramento CA - Drivers
2674888            Overtime       7.50   39.00 02/18/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 02/25/2019 Sacramento CA - Drivers
2674888            Overtime       7.50   39.00 02/25/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 03/04/2019 Sacramento CA - Drivers
2674888            Overtime       6.50   39.00 03/04/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 03/11/2019 Sacramento CA - Drivers
2674888            Overtime       6.25   39.00 03/11/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 03/18/2019 Sacramento CA - Drivers
2674888            Overtime       8.50   39.00 03/18/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 03/25/2019 Sacramento CA - Drivers
2674888 Case 2:19-cv-08580-JFW-MAA
                   Overtime       6.50Document
                                         39.00 38-5    Filed Sacramento
                                                 03/25/2019  03/22/21 Page    546 of 691
                                                                        CA - Drivers       Page ID
2674888            Regular       40.00   26.00 #:1319
                                                 04/01/2019 Sacramento CA - Drivers
2674888            Overtime       7.50   39.00 04/01/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 04/08/2019 Sacramento CA - Drivers
2674888            Overtime       9.25   39.00 04/08/2019 Sacramento CA - Drivers
2674888            Regular        8.00   26.00 04/15/2019 Sacramento CA - Drivers
2674888            Overtime       1.00   39.00 04/15/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 04/29/2019 Sacramento CA - Drivers
2674888            Overtime       3.25   39.00 04/29/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 05/06/2019 Sacramento CA - Drivers
2674888            Overtime       3.00   39.00 05/06/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 05/13/2019 Sacramento CA - Drivers
2674888            Overtime       6.75   39.00 05/13/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 05/20/2019 Sacramento CA - Drivers
2674888            Overtime       2.00   39.00 05/20/2019 Sacramento CA - Drivers
2674888            Regular       32.00   26.00 05/27/2019 Sacramento CA - Drivers
2674888            Overtime       3.00   39.00 05/27/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 06/03/2019 Sacramento CA - Drivers
2674888            Overtime       6.00   39.00 06/03/2019 Sacramento CA - Drivers
2674888            Regular       32.00   26.00 06/10/2019 Sacramento CA - Drivers
2674888            Overtime       8.75   39.00 06/10/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 06/17/2019 Sacramento CA - Drivers
2674888            Overtime       7.00   39.00 06/17/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 06/24/2019 Sacramento CA - Drivers
2674888            Overtime       9.57   39.00 06/24/2019 Sacramento CA - Drivers
2674888            Regular       32.00   26.00 07/01/2019 Sacramento CA - Drivers
2674888            Overtime       9.68   39.00 07/01/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 07/08/2019 Sacramento CA - Drivers
2674888            Overtime       9.08   39.00 07/08/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 07/15/2019 Sacramento CA - Drivers
2674888            Overtime      10.25   39.00 07/15/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 07/22/2019 Sacramento CA - Drivers
2674888            Overtime       9.50   39.00 07/22/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 07/29/2019 Sacramento CA - Drivers
2674888            Overtime       8.25   39.00 07/29/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 08/05/2019 Sacramento CA - Drivers
2674888            Overtime       8.00   39.00 08/05/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 08/12/2019 Sacramento CA - Drivers
2674888            Overtime       8.50   39.00 08/12/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 08/19/2019 Sacramento CA - Drivers
2674888            Overtime       8.00   39.00 08/19/2019 Sacramento CA - Drivers
2674888            Regular       40.00   26.00 08/26/2019 Sacramento CA - Drivers
2674888            Overtime      10.25   39.00 08/26/2019 Sacramento CA - Drivers
2674888            Regular       32.00   26.00 09/02/2019 Sacramento CA - Drivers
2674888            Overtime       5.25   39.00 09/02/2019 Sacramento CA - Drivers
Total for 2674888             1,346.08
2554452            Regular       32.00   17.00 07/09/2018 Los Angeles CA East - Drivers
2554452            Overtime       5.50   25.50 07/09/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 07/16/2018 Los Angeles CA East - Drivers
2554452            Overtime       1.50   25.50 07/16/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 07/23/2018 Los Angeles CA East - Drivers
2554452            Overtime       9.50   25.50 07/23/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 07/30/2018 Los Angeles CA East - Drivers
2554452            Overtime      11.50   25.50 07/30/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 08/06/2018 Los Angeles CA East - Drivers
2554452            Overtime      10.50   25.50 08/06/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 08/13/2018 Los Angeles CA East - Drivers
2554452            Overtime       4.50   25.50 08/13/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 08/20/2018 Los Angeles CA East - Drivers
2554452            Overtime       7.00   25.50 08/20/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 08/27/2018 Los Angeles CA East - Drivers
2554452            Overtime       5.00   25.50 08/27/2018 Los Angeles CA East - Drivers
2554452            Regular       32.00   17.00 09/03/2018 Los Angeles CA East - Drivers
2554452 Case 2:19-cv-08580-JFW-MAA
                   Overtime       8.00Document
                                         25.50 38-5    Filed Los
                                                 09/03/2018  03/22/21
                                                                 AngelesPage 547
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2554452            Regular       40.00   17.00 #:1320
                                                 09/10/2018 Los Angeles CA East - Drivers
2554452            Overtime       7.50   25.50 09/10/2018 Los Angeles CA East - Drivers
2554452            Regular       32.00   17.00 09/17/2018 Los Angeles CA East - Drivers
2554452            Overtime       2.50   25.50 09/17/2018 Los Angeles CA East - Drivers
2554452            Regular        8.00   17.00 09/24/2018 Los Angeles CA East - Drivers
2554452            Regular       24.00   17.00 10/01/2018 Los Angeles CA East - Drivers
2554452            Overtime       3.00   25.50 10/01/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 10/08/2018 Los Angeles CA East - Drivers
2554452            Overtime       5.50   25.50 10/08/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 10/15/2018 Los Angeles CA East - Drivers
2554452            Overtime      10.00   25.50 10/15/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 10/22/2018 Los Angeles CA East - Drivers
2554452            Overtime       8.00   25.50 10/22/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 10/29/2018 Los Angeles CA East - Drivers
2554452            Overtime       9.00   25.50 10/29/2018 Los Angeles CA East - Drivers
2554452            Regular       24.00   17.00 11/05/2018 Los Angeles CA East - Drivers
2554452            Overtime       5.00   25.50 11/05/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 11/12/2018 Los Angeles CA East - Drivers
2554452            Overtime       8.00   25.50 11/12/2018 Los Angeles CA East - Drivers
2554452            Regular       24.00   17.00 11/19/2018 Los Angeles CA East - Drivers
2554452            Overtime       0.50   25.50 11/19/2018 Los Angeles CA East - Drivers
2554452            Regular       32.00   17.00 11/26/2018 Los Angeles CA East - Drivers
2554452            Overtime       3.00   25.50 11/26/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 12/03/2018 Los Angeles CA East - Drivers
2554452            Overtime      10.50   25.50 12/03/2018 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 12/10/2018 Los Angeles CA East - Drivers
2554452            Overtime       8.50   25.50 12/10/2018 Los Angeles CA East - Drivers
2554452            Regular       36.50   17.00 12/17/2018 Los Angeles CA East - Drivers
2554452            Overtime       9.50   25.50 12/17/2018 Los Angeles CA East - Drivers
2554452            Regular       24.00   17.00 12/24/2018 Los Angeles CA East - Drivers
2554452            Overtime       3.50   25.50 12/24/2018 Los Angeles CA East - Drivers
2554452            Regular       24.00   17.00 12/31/2018 Los Angeles CA East - Drivers
2554452            Overtime       4.00   25.50 12/31/2018 Los Angeles CA East - Drivers
2554452            Regular       35.00   17.00 01/07/2019 Los Angeles CA East - Drivers
2554452            Overtime      13.00   25.50 01/07/2019 Los Angeles CA East - Drivers
2554452            Regular       34.50   17.00 01/14/2019 Los Angeles CA East - Drivers
2554452            Overtime       5.50   25.50 01/14/2019 Los Angeles CA East - Drivers
2554452            Regular       36.50   17.00 01/21/2019 Los Angeles CA East - Drivers
2554452            Overtime       5.00   25.50 01/21/2019 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 01/28/2019 Los Angeles CA East - Drivers
2554452            Overtime       4.00   25.50 01/28/2019 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 02/04/2019 Los Angeles CA East - Drivers
2554452            Overtime       1.50   25.50 02/04/2019 Los Angeles CA East - Drivers
2554452            Regular       39.00   17.00 02/11/2019 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 02/18/2019 Los Angeles CA East - Drivers
2554452            Overtime       1.50   25.50 02/18/2019 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 02/25/2019 Los Angeles CA East - Drivers
2554452            Overtime       6.00   25.50 02/25/2019 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 03/04/2019 Los Angeles CA East - Drivers
2554452            Overtime      10.50   25.50 03/04/2019 Los Angeles CA East - Drivers
2554452            Regular       40.00   17.00 03/11/2019 Los Angeles CA East - Drivers
2554452            Overtime      11.50   25.50 03/11/2019 Los Angeles CA East - Drivers
2554452            Regular       37.50   17.00 03/18/2019 Los Angeles CA East - Drivers
2554452            Overtime      10.75   25.50 03/18/2019 Los Angeles CA East - Drivers
Total for 2554452             1,545.25
900699             Regular        8.00   19.00 05/09/2016 Sacramento CA - Drivers
900699             Overtime       2.50   28.50 05/09/2016 Sacramento CA - Drivers
Total for 900699                 10.50
2578630            Regular       32.00   18.00 09/10/2018 Sacramento CA - Drivers
2578630            Overtime       4.50   27.00 09/10/2018 Sacramento CA - Drivers
2578630            Regular       32.00   18.00 09/17/2018 Sacramento CA - Drivers
2578630            Overtime      12.00   27.00 09/17/2018 Sacramento CA - Drivers
2578630 Case 2:19-cv-08580-JFW-MAA
                   Regular      24.00Document
                                        18.00 38-5    Filed Sacramento
                                                09/24/2018  03/22/21 Page    548 of 691
                                                                       CA - Drivers       Page ID
2578630            Overtime      3.75   27.00 #:1321
                                                09/24/2018 Sacramento CA - Drivers
Total for 2578630              108.25
2469032            Regular      15.50   16.50 02/05/2018 Los Angeles CA East - Drivers
2469032            Overtime      1.25   24.75 02/05/2018 Los Angeles CA East - Drivers
2469032            Regular      38.00   16.50 02/12/2018 Los Angeles CA East - Drivers
2469032            Regular      40.00   16.50 02/19/2018 Los Angeles CA East - Drivers
2469032            Overtime      2.50   24.75 02/19/2018 Los Angeles CA East - Drivers
Total for 2469032               97.25
738385             Regular       8.00   18.00 08/01/2016 Sacramento CA - Drivers
738385             Overtime      1.00   27.00 08/01/2016 Sacramento CA - Drivers
738385             Regular       8.00   18.00 10/17/2016 Sacramento CA - Drivers
738385             Overtime      4.00   27.00 10/17/2016 Sacramento CA - Drivers
738385             Regular       4.00   22.00 12/24/2018 Sacramento CA - Drivers
738385             Regular       8.00   20.00 12/31/2018 Sacramento CA - Drivers
738385             Overtime      2.50   30.00 12/31/2018 Sacramento CA - Drivers
738385             Regular      17.50   20.00 12/05/2016 Sacramento CA - Drivers
738385             Regular      18.75   20.00 12/12/2016 Sacramento CA - Drivers
738385             Regular      19.50   20.00 12/19/2016 Sacramento CA - Drivers
738385             Overtime      7.50   30.00 12/19/2016 Sacramento CA - Drivers
738385             Regular       7.25   20.00 12/26/2016 Sacramento CA - Drivers
738385             Regular      12.75   20.00 01/09/2017 Sacramento CA - Drivers
738385             Regular      21.00   20.00 01/16/2017 Sacramento CA - Drivers
738385             Regular      15.50   19.50 01/23/2017 Sacramento CA - Drivers
738385             Overtime      4.00   29.25 01/23/2017 Sacramento CA - Drivers
738385             Regular      12.75   19.50 01/30/2017 Sacramento CA - Drivers
738385             Regular      34.50   19.50 02/06/2017 Sacramento CA - Drivers
738385             Overtime      4.50   29.25 02/06/2017 Sacramento CA - Drivers
738385             Regular      21.50   19.50 02/13/2017 Sacramento CA - Drivers
738385             Overtime      1.50   29.25 02/13/2017 Sacramento CA - Drivers
738385             Regular      28.50   19.50 02/27/2017 Sacramento CA - Drivers
738385             Overtime      3.00   29.25 02/27/2017 Sacramento CA - Drivers
738385             Regular      30.00   19.50 03/06/2017 Sacramento CA - Drivers
738385             Overtime      7.00   29.25 03/06/2017 Sacramento CA - Drivers
738385             Regular      21.25   19.50 03/13/2017 Sacramento CA - Drivers
738385             Overtime      4.00   29.25 03/13/2017 Sacramento CA - Drivers
738385             Regular       7.00   19.50 03/20/2017 Sacramento CA - Drivers
738385             Regular      32.00   19.50 03/27/2017 Sacramento CA - Drivers
738385             Overtime     11.75   29.25 03/27/2017 Sacramento CA - Drivers
738385             Regular      24.00   19.50 04/03/2017 Sacramento CA - Drivers
738385             Overtime      9.25   29.25 04/03/2017 Sacramento CA - Drivers
738385             Regular      21.75   19.50 04/10/2017 Sacramento CA - Drivers
738385             Overtime      1.00   29.25 04/10/2017 Sacramento CA - Drivers
738385             Regular      31.25   19.50 04/17/2017 Sacramento CA - Drivers
738385             Overtime      9.00   29.25 04/17/2017 Sacramento CA - Drivers
738385             Regular       8.00   19.50 04/24/2017 Sacramento CA - Drivers
738385             Overtime      4.00   29.25 04/24/2017 Sacramento CA - Drivers
738385             Regular      24.00   19.50 05/01/2017 Sacramento CA - Drivers
738385             Overtime      6.00   29.25 05/01/2017 Sacramento CA - Drivers
738385             Regular      32.00   19.50 05/08/2017 Sacramento CA - Drivers
738385             Overtime     11.75   29.25 05/08/2017 Sacramento CA - Drivers
738385             Regular      25.75   19.50 05/15/2017 Sacramento CA - Drivers
738385             Overtime     10.25   29.25 05/15/2017 Sacramento CA - Drivers
738385             Regular      31.00   19.50 05/22/2017 Sacramento CA - Drivers
738385             Overtime     12.00   29.25 05/22/2017 Sacramento CA - Drivers
738385             Regular      16.00   19.50 05/29/2017 Sacramento CA - Drivers
738385             Overtime      7.50   29.25 05/29/2017 Sacramento CA - Drivers
738385             Regular      24.00   19.50 06/05/2017 Sacramento CA - Drivers
738385             Overtime      8.75   29.25 06/05/2017 Sacramento CA - Drivers
738385             Regular      24.00   19.50 06/12/2017 Sacramento CA - Drivers
738385             Overtime      9.25   29.25 06/12/2017 Sacramento CA - Drivers
738385             Regular      32.00   19.50 06/19/2017 Sacramento CA - Drivers
738385             Overtime     13.00   29.25 06/19/2017 Sacramento CA - Drivers
738385   Case 2:19-cv-08580-JFW-MAA
                    Regular       8.00Document
                                         19.50 38-5    Filed Sacramento
                                                 06/26/2017  03/22/21 Page    549 of 691 Page ID
                                                                        CA - Drivers
738385              Overtime      4.00   29.25 #:1322
                                                 06/26/2017 Sacramento CA - Drivers
738385              Regular        21.00    19.50   07/03/2017   Sacramento   CA   - Drivers
738385              Overtime       15.50    29.25   07/03/2017   Sacramento   CA   - Drivers
738385              Regular          7.00   19.50   07/10/2017   Sacramento   CA   - Drivers
738385              Regular        16.00    19.50   08/14/2017   Sacramento   CA   - Drivers
738385              Overtime         4.50   29.25   08/14/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    19.50   08/28/2017   Sacramento   CA   - Drivers
738385              Overtime         9.75   29.25   08/28/2017   Sacramento   CA   - Drivers
738385              Regular        15.50    19.50   09/04/2017   Sacramento   CA   - Drivers
738385              Overtime         4.00   29.25   09/04/2017   Sacramento   CA   - Drivers
738385              Regular        23.50    19.50   09/11/2017   Sacramento   CA   - Drivers
738385              Overtime         5.00   29.25   09/11/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    19.50   09/18/2017   Sacramento   CA   - Drivers
738385              Overtime         8.25   29.25   09/18/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    19.50   10/02/2017   Sacramento   CA   - Drivers
738385              Overtime       10.00    29.25   10/02/2017   Sacramento   CA   - Drivers
738385              Regular        16.00    19.50   05/07/2018   Sacramento   CA   - Drivers
738385              Overtime         8.00   29.25   05/07/2018   Sacramento   CA   - Drivers
738385              Regular        32.00    19.50   05/14/2018   Sacramento   CA   - Drivers
738385              Overtime       12.00    29.25   05/14/2018   Sacramento   CA   - Drivers
738385              Regular        29.50    21.00   05/21/2018   Sacramento   CA   - Drivers
738385              Overtime         4.50   31.50   05/21/2018   Sacramento   CA   - Drivers
738385              Regular        10.50    21.00   05/21/2018   Sacramento   CA   - Drivers
738385              Overtime       13.50    31.50   05/21/2018   Sacramento   CA   - Drivers
738385              Regular        40.00    21.00   06/04/2018   Sacramento   CA   - Drivers
738385              Overtime       15.00    31.50   06/04/2018   Sacramento   CA   - Drivers
738385              Regular        31.75    21.00   06/11/2018   Sacramento   CA   - Drivers
738385              Overtime         7.75   31.50   06/11/2018   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   06/18/2018   Sacramento   CA   - Drivers
738385              Overtime         9.00   31.50   06/18/2018   Sacramento   CA   - Drivers
738385              Regular          8.00   21.00   06/25/2018   Sacramento   CA   - Drivers
738385              Overtime         2.00   31.50   06/25/2018   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   07/02/2018   Sacramento   CA   - Drivers
738385              Overtime         7.50   31.50   07/02/2018   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   07/09/2018   Sacramento   CA   - Drivers
738385              Overtime         5.75   31.50   07/09/2018   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   07/16/2018   Sacramento   CA   - Drivers
738385              Overtime         3.00   31.50   07/16/2018   Sacramento   CA   - Drivers
738385              Regular          8.00   21.00   07/30/2018   Sacramento   CA   - Drivers
738385              Overtime         2.50   31.50   07/30/2018   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   08/06/2018   Sacramento   CA   - Drivers
738385              Overtime         3.00   31.50   08/06/2018   Sacramento   CA   - Drivers
738385              Regular        15.00    21.00   08/13/2018   Sacramento   CA   - Drivers
738385              Overtime         2.75   31.50   08/13/2018   Sacramento   CA   - Drivers
738385              Regular          8.00   21.00   08/20/2018   Sacramento   CA   - Drivers
738385              Overtime         1.09   31.50   08/20/2018   Sacramento   CA   - Drivers
738385              Regular        13.50    21.00   08/27/2018   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   09/03/2018   Sacramento   CA   - Drivers
738385              Overtime       10.25    31.50   09/03/2018   Sacramento   CA   - Drivers
738385              Regular          4.00   21.00   09/10/2018   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   09/17/2018   Sacramento   CA   - Drivers
738385              Overtime         8.00   31.50   09/17/2018   Sacramento   CA   - Drivers
738385              Regular          8.00   21.00   09/24/2018   Sacramento   CA   - Drivers
738385              Overtime         2.75   31.50   09/24/2018   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   10/15/2018   Sacramento   CA   - Drivers
738385              Overtime         5.00   31.50   10/15/2018   Sacramento   CA   - Drivers
738385              Regular         -2.25   21.00   05/28/2018   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   10/29/2018   Sacramento   CA   - Drivers
738385              Overtime         6.25   31.50   10/29/2018   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   11/05/2018   Sacramento   CA   - Drivers
738385              Overtime         2.25   31.50   06/04/2018   Sacramento   CA   - Drivers
738385              Regular          8.00   21.00   11/12/2018   Sacramento   CA   - Drivers
738385   Case 2:19-cv-08580-JFW-MAA
                    Overtime      3.50Document
                                         31.50 38-5    Filed Sacramento
                                                 11/12/2018  03/22/21 Page    550 of 691 Page ID
                                                                        CA - Drivers
738385              Regular      16.00   21.00 #:1323
                                                 11/19/2018 Sacramento CA - Drivers
738385              Overtime        5.25    31.50   11/19/2018   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   12/03/2018   Sacramento   CA   - Drivers
738385              Overtime        5.25    31.50   12/03/2018   Sacramento   CA   - Drivers
738385              Regular        15.50    21.00   12/10/2018   Sacramento   CA   - Drivers
738385              Overtime        4.00    31.50   12/10/2018   Sacramento   CA   - Drivers
738385              Regular         8.00    21.00   12/17/2018   Sacramento   CA   - Drivers
738385              Overtime        2.00    31.50   12/17/2018   Sacramento   CA   - Drivers
738385              Regular        12.00    21.00   12/24/2018   Sacramento   CA   - Drivers
738385              Overtime        2.50    31.50   12/24/2018   Sacramento   CA   - Drivers
738385              Regular        12.50    21.00   11/21/2016   Sacramento   CA   - Drivers
738385              Regular        13.25    21.00   12/26/2016   Sacramento   CA   - Drivers
738385              Regular        26.00    21.00   01/02/2017   Sacramento   CA   - Drivers
738385              Regular        10.50    21.00   01/09/2017   Sacramento   CA   - Drivers
738385              Regular         8.00    20.00   08/22/2016   Sacramento   CA   - Drivers
738385              Regular        25.00    20.00   08/29/2016   Sacramento   CA   - Drivers
738385              Overtime        8.00    30.00   08/29/2016   Sacramento   CA   - Drivers
738385              Regular         8.00    20.50   11/20/2017   Sacramento   CA   - Drivers
738385              Overtime        2.70    30.75   11/20/2017   Sacramento   CA   - Drivers
738385              Regular         4.00    21.00   01/09/2017   Sacramento   CA   - Drivers
738385              Regular        17.00    26.01   10/03/2016   Sacramento   CA   - Drivers
738385              Regular         7.00    20.98   10/10/2016   Sacramento   CA   - Drivers
738385              Regular        15.50    20.98   10/24/2016   Sacramento   CA   - Drivers
738385              Regular         6.50    20.98   11/07/2016   Sacramento   CA   - Drivers
738385              Regular         7.00    20.92   12/19/2016   Sacramento   CA   - Drivers
738385              Regular         8.00    21.00   11/21/2016   Sacramento   CA   - Drivers
738385              Overtime        2.50    31.50   11/21/2016   Sacramento   CA   - Drivers
738385              Regular        29.00    20.00   08/21/2017   Sacramento   CA   - Drivers
738385              Overtime        4.50    30.00   08/21/2017   Sacramento   CA   - Drivers
738385              Regular         8.00    20.00   08/29/2016   Sacramento   CA   - Drivers
738385              Overtime        1.50    30.00   08/29/2016   Sacramento   CA   - Drivers
738385              Regular        16.00    20.00   09/12/2016   Sacramento   CA   - Drivers
738385              Regular         8.00    20.00   09/26/2016   Sacramento   CA   - Drivers
738385              Overtime        1.50    30.00   09/26/2016   Sacramento   CA   - Drivers
738385              Regular        16.00    27.00   07/23/2018   Sacramento   CA   - Drivers
738385              Overtime        4.00    40.50   07/23/2018   Sacramento   CA   - Drivers
738385              Regular         8.00    27.00   07/30/2018   Sacramento   CA   - Drivers
738385              Overtime        3.00    40.50   07/30/2018   Sacramento   CA   - Drivers
738385              Regular         8.00    21.00   07/17/2017   Sacramento   CA   - Drivers
738385              Overtime        4.00    31.50   07/17/2017   Sacramento   CA   - Drivers
738385              Regular        40.00    21.00   07/24/2017   Sacramento   CA   - Drivers
738385              Overtime       20.00    31.50   07/24/2017   Sacramento   CA   - Drivers
738385              Regular        36.00    21.00   07/31/2017   Sacramento   CA   - Drivers
738385              Overtime       16.00    31.50   07/31/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   08/07/2017   Sacramento   CA   - Drivers
738385              Overtime       12.00    31.50   08/07/2017   Sacramento   CA   - Drivers
738385              Regular         8.00    21.00   09/18/2017   Sacramento   CA   - Drivers
738385              Overtime        4.00    31.50   09/18/2017   Sacramento   CA   - Drivers
738385              Regular        16.00    21.00   10/02/2017   Sacramento   CA   - Drivers
738385              Overtime        8.00    31.50   10/02/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   10/09/2017   Sacramento   CA   - Drivers
738385              Overtime        9.00    31.50   10/09/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   10/16/2017   Sacramento   CA   - Drivers
738385              Overtime       10.50    31.50   10/16/2017   Sacramento   CA   - Drivers
738385              Regular        32.00    21.00   10/23/2017   Sacramento   CA   - Drivers
738385              Overtime        8.00    31.50   10/23/2017   Sacramento   CA   - Drivers
738385              Regular         8.00    21.00   10/30/2017   Sacramento   CA   - Drivers
738385              Overtime       12.00    31.50   10/23/2017   Sacramento   CA   - Drivers
738385              Regular        24.00    21.00   11/06/2017   Sacramento   CA   - Drivers
738385              Overtime        9.50    31.50   11/06/2017   Sacramento   CA   - Drivers
738385              Regular         8.00    21.00   11/13/2017   Sacramento   CA   - Drivers
738385              Overtime        2.00    31.50   11/13/2017   Sacramento   CA   - Drivers
738385 Case 2:19-cv-08580-JFW-MAA
                  Regular         8.00Document
                                         21.00 38-5    Filed Sacramento
                                                 09/03/2018  03/22/21 Page    551 of 691
                                                                        CA - Drivers       Page ID
738385            Overtime        4.00   31.50 #:1324
                                                 09/03/2018 Sacramento CA - Drivers
738385            Regular       32.00    21.00 09/10/2018 Sacramento CA - Drivers
738385            Overtime      11.00    31.50 09/10/2018 Sacramento CA - Drivers
738385            Regular       16.00    21.00 09/17/2018 Sacramento CA - Drivers
738385            Overtime        8.00   31.50 09/17/2018 Sacramento CA - Drivers
738385            Regular       40.00    21.00 10/01/2018 Sacramento CA - Drivers
738385            Overtime      30.75    31.50 10/01/2018 Sacramento CA - Drivers
738385            Regular       16.00    21.00 10/08/2018 Sacramento CA - Drivers
738385            Overtime        4.50   31.50 10/08/2018 Sacramento CA - Drivers
738385            Regular       24.00    21.00 10/15/2018 Sacramento CA - Drivers
738385            Overtime        9.00   31.50 10/15/2018 Sacramento CA - Drivers
738385            Regular       32.00    21.00 10/22/2018 Sacramento CA - Drivers
738385            Overtime      12.25    31.50 10/22/2018 Sacramento CA - Drivers
738385            Regular       24.00    21.00 10/29/2018 Sacramento CA - Drivers
738385            Overtime        7.50   31.50 10/29/2018 Sacramento CA - Drivers
738385            Regular       16.00    21.00 11/05/2018 Sacramento CA - Drivers
738385            Overtime        3.50   31.50 11/05/2018 Sacramento CA - Drivers
738385            Overtime       -2.25   31.50 06/04/2018 Sacramento CA - Drivers
Total for 738385             2,594.04
1270231           Regular         8.00   20.00 02/08/2016 Los Angeles CA West - Drivers
1270231           Overtime        2.00   30.00 02/08/2016 Los Angeles CA West - Drivers
1270231           Regular         8.00   20.00 02/15/2016 Los Angeles CA West - Drivers
1270231           Overtime        2.00   30.00 02/15/2016 Los Angeles CA West - Drivers
Total for 1270231               20.00
2624691           Regular         8.00   20.00 12/24/2018 Los Angeles CA East - Drivers
2624691           Regular         5.50   19.50 10/15/2018 Los Angeles CA East - Drivers
2624691           Regular         8.00   24.00 10/29/2018 Los Angeles CA East - Drivers
2624691           Regular       40.00    24.00 11/05/2018 Los Angeles CA East - Drivers
2624691           Overtime        7.60   36.00 11/05/2018 Los Angeles CA East - Drivers
2624691           Regular       40.00    24.00 11/12/2018 Los Angeles CA East - Drivers
2624691           Overtime      23.25    36.00 11/12/2018 Los Angeles CA East - Drivers
2624691           Regular       40.00    24.00 11/19/2018 Los Angeles CA East - Drivers
2624691           Overtime      12.72    36.00 11/19/2018 Los Angeles CA East - Drivers
2624691           Regular       40.00    24.00 11/26/2018 Los Angeles CA East - Drivers
2624691           Overtime      39.52    36.00 11/26/2018 Los Angeles CA East - Drivers
2624691           Regular       40.00    24.00 12/03/2018 Los Angeles CA East - Drivers
2624691           Overtime      26.12    36.00 12/03/2018 Los Angeles CA East - Drivers
2624691           Regular       32.00    24.00 11/19/2018 Los Angeles CA East - Drivers
2624691           Overtime      24.64    54.00 11/19/2018 Los Angeles CA East - Drivers
2624691           Regular       32.00    24.00 12/17/2018 Los Angeles CA East - Drivers
2624691           Overtime      14.20    36.00 12/17/2018 Los Angeles CA East - Drivers
2624691           Regular       16.00    21.00 01/14/2019 Los Angeles CA East - Drivers
2624691           Overtime        4.00   31.50 01/14/2019 Los Angeles CA East - Drivers
2624691           Regular       32.00    21.00 01/21/2019 Los Angeles CA East - Drivers
2624691           Overtime        7.93   31.50 01/21/2019 Los Angeles CA East - Drivers
2624691           Regular       40.00    21.00 01/28/2019 Los Angeles CA East - Drivers
2624691           Overtime        0.03   31.50 01/28/2019 Los Angeles CA East - Drivers
2624691           Regular         8.00   21.00 02/04/2019 Los Angeles CA East - Drivers
2624691           Overtime        0.48   31.50 02/04/2019 Los Angeles CA East - Drivers
Total for 2624691              541.99
2479934           Regular       32.00    16.00 06/18/2018 Los Angeles CA West - Drivers
2479934           Overtime        5.50   24.00 06/18/2018 Los Angeles CA West - Drivers
2479934           Regular       40.00    16.00 06/25/2018 Los Angeles CA West - Drivers
2479934           Overtime      12.25    24.00 06/25/2018 Los Angeles CA West - Drivers
2479934           Regular       80.00    16.00 07/02/2018 Los Angeles CA West - Drivers
2479934           Overtime      18.92    24.00 07/02/2018 Los Angeles CA West - Drivers
2479934           Regular       40.00    16.00 07/16/2018 Los Angeles CA West - Drivers
2479934           Overtime      13.50    24.00 07/16/2018 Los Angeles CA West - Drivers
2479934           Regular       40.00    16.00 07/23/2018 Los Angeles CA West - Drivers
2479934           Overtime      12.25    24.00 07/23/2018 Los Angeles CA West - Drivers
2479934           Regular       40.00    16.00 07/30/2018 Los Angeles CA West - Drivers
2479934           Overtime      12.80    24.00 07/30/2018 Los Angeles CA West - Drivers
2479934 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          18.00 38-5    Filed Los
                                                  08/06/2018  03/22/21
                                                                  AngelesPage 552- Drivers
                                                                         CA West   of 691 Page ID
2479934              Overtime     14.12   27.00 #:1325
                                                  08/06/2018 Los Angeles CA West - Drivers
2479934             Regular        40.00    18.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       14.30    27.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        39.07    18.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        6.32    27.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        39.50    18.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        7.65    27.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       10.77    27.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       12.42    27.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       13.05    27.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        24.00    18.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        6.22    27.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        8.10    27.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       12.53    27.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       11.93    27.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       15.23    27.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       14.28    27.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       11.25    27.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       14.32    27.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        6.68    27.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       11.37    27.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       13.35    27.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       16.22    27.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       13.67    27.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime       11.10    27.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        9.10    27.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        32.00    18.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2479934             Overtime        9.23    27.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2479934             Overtime       12.93    27.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2479934             Overtime       12.28    27.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2479934             Overtime       13.17    27.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2479934             Overtime       15.12    27.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2479934             Regular        16.00    17.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        3.00    25.50   06/11/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        3.50    27.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        24.00    18.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        2.75    27.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        40.00    18.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2479934             Overtime        1.00    27.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2479934             Regular        24.00    18.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2479934 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.25Document
                                         27.00 38-5    Filed Los
                                                 03/19/2018  03/22/21
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2479934            Regular       24.00   18.00 #:1326
                                                 04/02/2018 Los Angeles CA West - Drivers
2479934            Overtime       3.35   27.00 04/02/2018 Los Angeles CA West - Drivers
2479934            Regular       32.00   18.00 04/09/2018 Los Angeles CA West - Drivers
2479934            Overtime       0.33   27.00 04/09/2018 Los Angeles CA West - Drivers
2479934            Regular       40.00   18.00 04/16/2018 Los Angeles CA West - Drivers
2479934            Regular       40.00   18.00 04/23/2018 Los Angeles CA West - Drivers
2479934            Overtime       3.86   27.00 04/23/2018 Los Angeles CA West - Drivers
2479934            Regular       32.00   18.00 04/30/2018 Los Angeles CA West - Drivers
2479934            Overtime       1.82   27.00 04/30/2018 Los Angeles CA West - Drivers
2479934            Regular       32.00   18.00 05/07/2018 Los Angeles CA West - Drivers
2479934            Overtime       0.42   27.00 05/07/2018 Los Angeles CA West - Drivers
2479934            Regular       24.00   18.00 05/14/2018 Los Angeles CA West - Drivers
2479934            Regular       24.00   18.00 05/21/2018 Los Angeles CA West - Drivers
2479934            Overtime       0.75   27.00 05/21/2018 Los Angeles CA West - Drivers
2479934            Regular       32.00   18.00 05/28/2018 Los Angeles CA West - Drivers
2479934            Overtime       5.52   27.00 05/28/2018 Los Angeles CA West - Drivers
2479934            Regular       16.00   18.00 06/04/2018 Los Angeles CA West - Drivers
2479934            Overtime       1.62   27.00 06/04/2018 Los Angeles CA West - Drivers
Total for 2479934             2,118.67
888074             Regular       16.00   20.00 06/25/2018 Los Angeles CA West - Drivers
888074             Regular        8.00   20.00 09/03/2018 Los Angeles CA West - Drivers
888074             Regular       16.00   20.00 09/10/2018 Los Angeles CA West - Drivers
888074             Overtime       4.00   30.00 09/10/2018 Los Angeles CA West - Drivers
888074             Regular       16.00   20.00 09/17/2018 Los Angeles CA West - Drivers
888074             Overtime       4.00   30.00 09/17/2018 Los Angeles CA West - Drivers
888074             Regular        5.50   19.50 04/02/2018 Los Angeles CA West - Drivers
888074             Regular        4.00   19.50 04/02/2018 Los Angeles CA West - Drivers
888074             Regular       16.00   19.50 04/30/2018 Los Angeles CA West - Drivers
888074             Overtime       2.00   29.25 04/30/2018 Los Angeles CA West - Drivers
888074             Regular        7.00   19.50 05/14/2018 Los Angeles CA West - Drivers
888074             Regular       16.00   19.50 05/21/2018 Los Angeles CA West - Drivers
888074             Regular        4.00   19.50 05/28/2018 Los Angeles CA West - Drivers
888074             Regular       16.00   19.50 06/11/2018 Los Angeles CA West - Drivers
888074             Overtime       6.00   29.25 06/11/2018 Los Angeles CA West - Drivers
888074             Regular       40.00   21.00 06/04/2018 Los Angeles CA West - Drivers
888074             Overtime       2.00   31.50 06/04/2018 Los Angeles CA West - Drivers
888074             Regular       32.00   21.00 06/11/2018 Los Angeles CA West - Drivers
888074             Overtime       9.00   31.50 06/11/2018 Los Angeles CA West - Drivers
888074             Regular       24.00   21.00 06/18/2018 Los Angeles CA West - Drivers
888074             Overtime       3.00   31.50 06/18/2018 Los Angeles CA West - Drivers
888074             Regular       24.00   19.00 04/09/2018 Los Angeles CA West - Drivers
888074             Overtime       0.50   28.50 04/09/2018 Los Angeles CA West - Drivers
888074             Regular       24.00   20.00 05/28/2018 Los Angeles CA West - Drivers
888074             Overtime       3.50   30.00 05/28/2018 Los Angeles CA West - Drivers
888074             Regular       32.00   20.00 06/25/2018 Los Angeles CA West - Drivers
888074             Overtime       8.00   30.00 06/25/2018 Los Angeles CA West - Drivers
888074             Regular       22.00   21.00 04/09/2018 Los Angeles CA West - Drivers
888074             Regular       52.00   21.00 04/16/2018 Los Angeles CA West - Drivers
888074             Regular       54.00   21.00 04/23/2018 Los Angeles CA West - Drivers
888074             Regular       18.50   21.00 04/30/2018 Los Angeles CA West - Drivers
Total for 888074                489.00
1367983            Regular       16.00   19.00 08/01/2016 Los Angeles CA West - Drivers
1367983            Overtime       4.00   28.50 08/01/2016 Los Angeles CA West - Drivers
1367983            Regular       39.50   19.00 08/08/2016 Los Angeles CA West - Drivers
1367983            Overtime      11.00   28.50 08/08/2016 Los Angeles CA West - Drivers
1367983            Regular       37.00   19.00 08/15/2016 Los Angeles CA West - Drivers
1367983            Overtime      10.00   28.50 08/15/2016 Los Angeles CA West - Drivers
1367983            Regular       40.00   19.00 08/22/2016 Los Angeles CA West - Drivers
1367983            Overtime       9.00   28.50 08/22/2016 Los Angeles CA West - Drivers
1367983            Regular       40.00   19.00 08/29/2016 Los Angeles CA West - Drivers
1367983            Overtime      10.50   28.50 08/29/2016 Los Angeles CA West - Drivers
1367983            Regular       24.00   19.00 09/05/2016 Los Angeles CA West - Drivers
1367983 Case   2:19-cv-08580-JFW-MAA
                     Overtime     10.50Document
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1367983              Regular       8.00   20.00 #:1327
                                                  07/02/2018 Los Angeles CA West - Drivers
1367983             Overtime         1.50   30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular          8.00   20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         4.00   30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular          8.00   20.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         3.00   30.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular          8.00   19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime         4.00   29.25   09/04/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    19.50   09/11/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime       18.50    29.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    19.50   09/18/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime       19.25    29.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        32.00    19.50   09/25/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime       13.50    29.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    19.50   10/02/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime       14.00    29.25   10/02/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    19.50   10/09/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime       15.00    29.25   10/09/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        14.50    19.50   10/16/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime         4.00   29.25   10/16/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular          6.50   19.50   12/18/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        20.00    39.17   04/16/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         4.50   58.76   04/16/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        24.00    39.17   04/23/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime       11.00    58.76   04/23/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    39.17   05/07/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime       14.25    58.76   05/07/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        32.00    39.17   05/14/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         6.50   58.76   05/14/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        28.25    39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         0.75   58.76   05/21/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        25.30    39.17   05/28/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         4.00   58.76   05/28/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        36.50    39.17   06/04/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         6.75   58.76   06/04/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime       23.25    58.76   06/11/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime       19.25    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime       20.00    58.76   06/25/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        27.50    39.17   07/16/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        23.00    39.17   07/23/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         3.25   58.76   07/23/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        10.75    39.17   07/30/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        23.75    39.17   08/06/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         2.25   58.76   08/06/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        40.00    22.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime         2.50   33.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        24.00    22.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime         6.00   33.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular          2.00   22.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        66.00    22.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime        -6.00   33.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        30.00    22.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        24.00    21.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        16.00    19.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime         5.50   28.50   09/04/2017   Los   Angeles   CA   West   - Drivers
1367983             Regular        16.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1367983             Overtime         0.50   30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1367983             Regular        24.00    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1367983             Overtime         5.00   28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
1367983 Case 2:19-cv-08580-JFW-MAA
                   Regular       31.50Document
                                         19.00 38-5    Filed Los
                                                 08/21/2017  03/22/21
                                                                 AngelesPage 555- Drivers
                                                                        CA West   of 691    Page ID
1367983            Overtime       6.00   28.50 #:1328
                                                 08/21/2017 Los Angeles CA West - Drivers
1367983            Regular       15.50   19.00 08/28/2017 Los Angeles CA West - Drivers
1367983            Overtime       2.50   28.50 08/28/2017 Los Angeles CA West - Drivers
1367983            Regular        4.00   19.00 07/24/2017 Los Angeles CA West - Drivers
1367983            Regular       40.00   19.00 07/31/2017 Los Angeles CA West - Drivers
1367983            Overtime       2.50   28.50 07/31/2017 Los Angeles CA West - Drivers
1367983            Regular       40.00   19.00 08/07/2017 Los Angeles CA West - Drivers
1367983            Overtime       4.00   28.50 08/07/2017 Los Angeles CA West - Drivers
1367983            Regular       40.00   19.00 08/14/2017 Los Angeles CA West - Drivers
1367983            Overtime       3.00   28.50 08/14/2017 Los Angeles CA West - Drivers
1367983            Regular        8.00   20.00 01/01/2018 Los Angeles CA West - Drivers
1367983            Overtime       3.00   30.00 01/01/2018 Los Angeles CA West - Drivers
1367983            Regular       40.00   20.00 01/08/2018 Los Angeles CA West - Drivers
1367983            Overtime       9.00   30.00 01/08/2018 Los Angeles CA West - Drivers
1367983            Regular       40.00   20.00 01/15/2018 Los Angeles CA West - Drivers
1367983            Overtime       6.50   30.00 01/15/2018 Los Angeles CA West - Drivers
Total for 1367983             1,671.05
2151932            Regular       32.00   20.00 01/02/2017 Los Angeles CA West - Drivers
2151932            Overtime      11.00   30.00 01/02/2017 Los Angeles CA West - Drivers
2151932            Regular       16.00   20.00 01/09/2017 Los Angeles CA West - Drivers
2151932            Overtime       4.50   30.00 01/09/2017 Los Angeles CA West - Drivers
Total for 2151932                63.50
1412239            Regular       14.00   16.00 09/26/2016 Los Angeles CA West - Drivers
1412239            Overtime       2.00   24.00 09/26/2016 Los Angeles CA West - Drivers
1412239            Regular       11.00   16.00 10/17/2016 Los Angeles CA West - Drivers
1412239            Regular        6.25   16.00 11/07/2016 Los Angeles CA West - Drivers
Total for 1412239                33.25
909005             Regular       16.00   21.00 03/04/2019 Los Angeles CA East - Drivers
909005             Regular       40.00   21.00 03/11/2019 Los Angeles CA East - Drivers
909005             Overtime      11.50   31.50 03/11/2019 Los Angeles CA East - Drivers
909005             Regular       40.00   21.00 03/18/2019 Los Angeles CA East - Drivers
909005             Overtime      12.00   31.50 03/18/2019 Los Angeles CA East - Drivers
909005             Regular       32.00   21.00 03/25/2019 Los Angeles CA East - Drivers
909005             Overtime       7.50   31.50 03/25/2019 Los Angeles CA East - Drivers
909005             Regular       40.00   21.00 04/01/2019 Los Angeles CA East - Drivers
909005             Overtime       8.00   31.50 04/01/2019 Los Angeles CA East - Drivers
909005             Regular       40.00   21.00 04/08/2019 Los Angeles CA East - Drivers
909005             Overtime       8.50   31.50 04/08/2019 Los Angeles CA East - Drivers
909005             Regular        8.00   21.00 04/22/2019 Los Angeles CA East - Drivers
909005             Regular        8.00   19.50 04/15/2019 Los Angeles CA East - Drivers
909005             Overtime       3.00   29.25 04/15/2019 Los Angeles CA East - Drivers
909005             Regular       29.00   16.00 08/31/2015 Los Angeles CA East - Drivers
909005             Overtime       1.00   24.00 08/31/2015 Los Angeles CA East - Drivers
909005             Regular       12.50   16.00 09/14/2015 Los Angeles CA East - Drivers
909005             Regular       23.50   16.00 09/21/2015 Los Angeles CA East - Drivers
909005             Overtime       4.00   24.00 09/21/2015 Los Angeles CA East - Drivers
909005             Regular        8.00   16.00 09/28/2015 Los Angeles CA East - Drivers
909005             Regular        7.00   16.00 10/12/2015 Los Angeles CA East - Drivers
909005             Regular        8.00   22.00 04/22/2019 Los Angeles CA East - Drivers
909005             Overtime       4.00   33.00 04/22/2019 Los Angeles CA East - Drivers
909005             Regular       23.00   17.00 09/14/2015 Los Angeles CA East - Drivers
909005             Overtime       4.50   25.50 09/07/2015 Los Angeles CA East - Drivers
909005             Regular        7.50   17.00 10/12/2015 Los Angeles CA East - Drivers
909005             Regular       24.00   21.50 04/29/2019 Los Angeles CA East - Drivers
909005             Overtime       0.50   32.25 04/29/2019 Los Angeles CA East - Drivers
909005             Regular       24.00   21.50 05/06/2019 Los Angeles CA East - Drivers
909005             Overtime       4.00   32.25 05/06/2019 Los Angeles CA East - Drivers
909005             Regular       32.00   21.50 05/13/2019 Los Angeles CA East - Drivers
909005             Overtime       2.50   32.25 05/13/2019 Los Angeles CA East - Drivers
909005             Regular       15.25   21.50 05/20/2019 Los Angeles CA East - Drivers
909005             Regular       15.00   21.50 05/27/2019 Los Angeles CA East - Drivers
909005             Regular       15.50   21.50 06/03/2019 Los Angeles CA East - Drivers
909005   Case 2:19-cv-08580-JFW-MAA
                    Overtime      4.00Document
                                         32.25 38-5    Filed Los
                                                 06/03/2019  03/22/21
                                                                 AngelesPage 556
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
909005              Regular      21.25   21.50 #:1329
                                                 06/10/2019 Los Angeles CA East - Drivers
909005              Regular        21.50    21.50   06/17/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        2.00    32.25   06/17/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        21.50    21.50   06/24/2019   Los   Angeles   CA   East   - Drivers
909005              Regular         8.00    21.50   07/01/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        15.50    21.50   07/08/2019   Los   Angeles   CA   East   - Drivers
909005              Regular         8.00    21.50   07/15/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        2.50    32.25   07/15/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        30.75    21.50   07/22/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        1.50    32.25   07/22/2019   Los   Angeles   CA   East   - Drivers
909005              Regular         8.00    21.50   07/29/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        2.50    32.25   07/29/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        38.50    21.50   08/05/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.50    32.25   08/05/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        15.50    21.50   08/12/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.50    32.25   08/12/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        21.75    21.50   08/19/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        4.00    32.25   08/19/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        20.50    21.50   08/26/2019   Los   Angeles   CA   East   - Drivers
909005              Regular        24.00    21.50   09/02/2019   Los   Angeles   CA   East   - Drivers
909005              Overtime        6.00    32.25   09/02/2019   Los   Angeles   CA   East   - Drivers
909005              Regular         5.50    16.00   09/07/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   08/03/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime       13.00    24.00   08/03/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   08/10/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        8.50    24.00   08/10/2015   Los   Angeles   CA   East   - Drivers
909005              Regular         7.00    16.00   08/17/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        16.00    16.00   08/24/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.50    24.00   08/24/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        14.00    16.00   09/28/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        30.00    16.00   10/05/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        3.50    24.00   10/05/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   10/19/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        3.50    24.00   10/19/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        32.00    16.00   10/26/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.50    24.00   10/26/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        32.00    16.00   11/02/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        38.00    16.00   11/09/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        3.50    24.00   11/09/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   11/16/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        1.00    24.00   11/16/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        24.00    16.00   11/23/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        1.25    24.00   11/23/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        32.00    16.00   11/30/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        1.50    24.00   11/30/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        39.00    16.00   12/07/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.50    24.00   12/07/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   12/14/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.25    24.00   12/14/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        24.00    16.00   12/21/2015   Los   Angeles   CA   East   - Drivers
909005              Overtime        3.00    24.00   12/21/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        32.00    16.00   12/28/2015   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   01/04/2016   Los   Angeles   CA   East   - Drivers
909005              Overtime        2.00    24.00   01/04/2016   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   01/11/2016   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    16.00   01/18/2016   Los   Angeles   CA   East   - Drivers
909005              Regular        38.00    17.00   01/25/2016   Los   Angeles   CA   East   - Drivers
909005              Overtime        0.50    25.50   01/25/2016   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    17.00   02/01/2016   Los   Angeles   CA   East   - Drivers
909005              Overtime        1.00    25.50   02/01/2016   Los   Angeles   CA   East   - Drivers
909005              Regular        40.00    17.00   02/08/2016   Los   Angeles   CA   East   - Drivers
909005              Overtime        3.50    25.50   02/08/2016   Los   Angeles   CA   East   - Drivers
909005 Case 2:19-cv-08580-JFW-MAA
                  Regular       20.00Document
                                        17.00 38-5    Filed Los
                                                02/15/2016  03/22/21
                                                                AngelesPage 557
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
909005            Regular       38.00   17.00 #:1330
                                                02/22/2016 Los Angeles CA East - Drivers
909005            Overtime       3.50   25.50 02/22/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 02/29/2016 Los Angeles CA East - Drivers
909005            Overtime       2.00   25.50 02/29/2016 Los Angeles CA East - Drivers
909005            Regular       38.00   17.00 03/07/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 03/14/2016 Los Angeles CA East - Drivers
909005            Overtime       1.75   25.50 03/14/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 03/21/2016 Los Angeles CA East - Drivers
909005            Regular       38.00   17.00 03/28/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 04/04/2016 Los Angeles CA East - Drivers
909005            Regular       10.00   17.00 04/11/2016 Los Angeles CA East - Drivers
909005            Regular       24.00   17.00 04/18/2016 Los Angeles CA East - Drivers
909005            Overtime       1.00   25.50 04/18/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 04/25/2016 Los Angeles CA East - Drivers
909005            Overtime       2.00   25.50 04/25/2016 Los Angeles CA East - Drivers
909005            Regular       32.00   17.00 05/02/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 05/09/2016 Los Angeles CA East - Drivers
909005            Overtime       1.00   25.50 05/09/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 05/16/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 05/23/2016 Los Angeles CA East - Drivers
909005            Overtime       0.50   25.50 05/23/2016 Los Angeles CA East - Drivers
909005            Regular       32.00   17.00 05/30/2016 Los Angeles CA East - Drivers
909005            Overtime       0.50   25.50 05/30/2016 Los Angeles CA East - Drivers
909005            Regular       32.00   17.00 06/06/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 06/13/2016 Los Angeles CA East - Drivers
909005            Overtime       0.50   25.50 06/13/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 06/20/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   17.00 06/27/2016 Los Angeles CA East - Drivers
909005            Overtime       3.00   25.50 06/27/2016 Los Angeles CA East - Drivers
909005            Regular       32.00   17.00 07/04/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   19.00 07/11/2016 Los Angeles CA East - Drivers
909005            Overtime       0.75   28.50 07/11/2016 Los Angeles CA East - Drivers
909005            Regular       40.00   19.00 07/18/2016 Los Angeles CA East - Drivers
Total for 909005             2,461.00
2515280           Regular       14.25   21.00 04/30/2018 Los Angeles CA West - Drivers
2515280           Overtime       1.25   31.50 04/30/2018 Los Angeles CA West - Drivers
2515280           Regular       32.75   39.17 05/07/2018 Los Angeles CA West - Drivers
2515280           Overtime       3.00   58.76 05/07/2018 Los Angeles CA West - Drivers
2515280           Regular       39.00   39.17 05/14/2018 Los Angeles CA West - Drivers
2515280           Overtime       7.25   58.76 05/14/2018 Los Angeles CA West - Drivers
2515280           Regular       22.50   39.17 05/21/2018 Los Angeles CA West - Drivers
2515280           Overtime       2.50   58.76 05/21/2018 Los Angeles CA West - Drivers
2515280           Regular       25.50   39.17 05/28/2018 Los Angeles CA West - Drivers
2515280           Overtime       1.75   58.76 05/28/2018 Los Angeles CA West - Drivers
2515280           Regular       40.00   39.17 06/04/2018 Los Angeles CA West - Drivers
2515280           Overtime       9.00   58.76 06/04/2018 Los Angeles CA West - Drivers
2515280           Regular       40.00   39.17 06/11/2018 Los Angeles CA West - Drivers
2515280           Overtime      15.25   58.76 06/11/2018 Los Angeles CA West - Drivers
2515280           Regular       40.00   39.17 06/18/2018 Los Angeles CA West - Drivers
2515280           Overtime      17.25   58.76 06/18/2018 Los Angeles CA West - Drivers
2515280           Regular       40.00   39.17 06/25/2018 Los Angeles CA West - Drivers
2515280           Overtime      19.50   58.76 06/25/2018 Los Angeles CA West - Drivers
Total for 2515280              370.75
2454108           Regular       24.00   16.50 01/29/2018 Los Angeles CA East - Drivers
2454108           Overtime       6.00   24.75 01/29/2018 Los Angeles CA East - Drivers
2454108           Regular       38.00   16.50 02/05/2018 Los Angeles CA East - Drivers
2454108           Overtime       7.50   24.75 02/05/2018 Los Angeles CA East - Drivers
Total for 2454108               75.50
2242782           Regular       17.50   18.75 04/17/2017 Sacramento CA - Drivers
2242782           Overtime       1.00   28.13 04/17/2017 Sacramento CA - Drivers
2242782           Regular       17.00   18.75 04/24/2017 Sacramento CA - Drivers
2242782           Overtime       1.00   28.13 04/24/2017 Sacramento CA - Drivers
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                   Regular      47.00Document
                                        18.75 38-5    Filed Sacramento
                                                04/24/2017  03/22/21 Page    558 of 691
                                                                       CA - Drivers       Page ID
2242782            Overtime     12.00   28.13 #:1331
                                                04/24/2017 Sacramento CA - Drivers
2242782            Regular      42.00   18.75 05/08/2017 Sacramento CA - Drivers
2242782            Overtime     13.50   28.13 05/08/2017 Sacramento CA - Drivers
2242782            Regular      40.00   18.75 05/15/2017 Sacramento CA - Drivers
2242782            Overtime     12.50   28.13 05/15/2017 Sacramento CA - Drivers
2242782            Regular      40.00   18.75 05/22/2017 Sacramento CA - Drivers
2242782            Overtime      6.50   28.13 05/22/2017 Sacramento CA - Drivers
2242782            Regular      32.00   18.75 05/29/2017 Sacramento CA - Drivers
2242782            Overtime      9.50   28.13 05/29/2017 Sacramento CA - Drivers
2242782            Regular      32.00   18.75 06/05/2017 Sacramento CA - Drivers
2242782            Overtime      6.00   28.13 06/05/2017 Sacramento CA - Drivers
2242782            Regular      40.00   18.75 06/12/2017 Sacramento CA - Drivers
2242782            Overtime      8.00   28.13 06/12/2017 Sacramento CA - Drivers
2242782            Regular      16.00   18.75 06/19/2017 Sacramento CA - Drivers
2242782            Overtime      2.50   28.13 06/19/2017 Sacramento CA - Drivers
Total for 2242782              396.00
1327688            Regular       9.50   14.50 01/30/2017 Los Angeles CA West - Drivers
1327688            Overtime      1.27   21.75 01/30/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 02/06/2017 Los Angeles CA West - Drivers
1327688            Overtime     11.25   21.75 02/06/2017 Los Angeles CA West - Drivers
1327688            Regular      36.75   14.50 02/13/2017 Los Angeles CA West - Drivers
1327688            Overtime      1.50   21.75 02/13/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 02/20/2017 Los Angeles CA West - Drivers
1327688            Overtime      6.25   21.75 02/20/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 02/27/2017 Los Angeles CA West - Drivers
1327688            Overtime      5.25   21.75 02/27/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 03/06/2017 Los Angeles CA West - Drivers
1327688            Overtime      7.00   21.75 03/06/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 03/13/2017 Los Angeles CA West - Drivers
1327688            Overtime      4.50   21.75 03/13/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 03/20/2017 Los Angeles CA West - Drivers
1327688            Overtime      5.25   21.75 03/20/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 03/27/2017 Los Angeles CA West - Drivers
1327688            Overtime      2.75   21.75 03/27/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 04/03/2017 Los Angeles CA West - Drivers
1327688            Overtime      6.00   21.75 04/03/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 04/10/2017 Los Angeles CA West - Drivers
1327688            Overtime      1.50   21.75 04/10/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.50 04/17/2017 Los Angeles CA West - Drivers
1327688            Overtime      1.75   21.75 04/17/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.75 04/24/2017 Los Angeles CA West - Drivers
1327688            Overtime      5.00   22.13 04/24/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   14.75 05/01/2017 Los Angeles CA West - Drivers
1327688            Overtime      2.25   22.13 05/01/2017 Los Angeles CA West - Drivers
1327688            Regular       8.00   15.50 12/12/2016 Los Angeles CA West - Drivers
1327688            Regular      40.00   15.50 12/19/2016 Los Angeles CA West - Drivers
1327688            Regular      31.00   15.50 12/26/2016 Los Angeles CA West - Drivers
1327688            Overtime      1.00   23.25 12/26/2016 Los Angeles CA West - Drivers
1327688            Regular      32.00   15.50 01/02/2017 Los Angeles CA West - Drivers
1327688            Regular      40.00   15.50 01/09/2017 Los Angeles CA West - Drivers
1327688            Overtime      1.50   23.25 01/09/2017 Los Angeles CA West - Drivers
1327688            Regular      16.00   15.50 01/16/2017 Los Angeles CA West - Drivers
1327688            Overtime      0.50   23.25 01/16/2017 Los Angeles CA West - Drivers
1327688            Regular      30.00   16.00 06/06/2016 Los Angeles CA West - Drivers
1327688            Overtime      9.25   24.00 06/06/2016 Los Angeles CA West - Drivers
1327688            Regular       8.00   16.00 06/13/2016 Los Angeles CA West - Drivers
1327688            Overtime      2.50   24.00 06/13/2016 Los Angeles CA West - Drivers
1327688            Regular      32.00   16.00 10/24/2016 Los Angeles CA West - Drivers
1327688            Overtime     14.00   24.00 10/24/2016 Los Angeles CA West - Drivers
1327688            Regular      38.50   16.00 09/05/2016 Los Angeles CA West - Drivers
1327688            Overtime      6.00   24.00 09/05/2016 Los Angeles CA West - Drivers
1327688            Regular      40.00   16.00 09/12/2016 Los Angeles CA West - Drivers
1327688 Case 2:19-cv-08580-JFW-MAA
                   Overtime      13.50Document
                                         24.00 38-5    Filed Los
                                                 09/12/2016  03/22/21
                                                                 AngelesPage 559- Drivers
                                                                        CA West   of 691    Page ID
1327688            Regular       15.00   16.00 #:1332
                                                 09/19/2016 Los Angeles CA West - Drivers
1327688            Overtime      12.00   24.00 09/12/2016 Los Angeles CA West - Drivers
1327688            Regular       28.50   16.00 11/07/2016 Los Angeles CA West - Drivers
1327688            Overtime       5.00   24.00 11/07/2016 Los Angeles CA West - Drivers
1327688            Regular        8.00   16.00 11/14/2016 Los Angeles CA West - Drivers
1327688            Overtime       3.50   24.00 11/14/2016 Los Angeles CA West - Drivers
1327688            Regular       16.00   16.00 02/20/2017 Los Angeles CA West - Drivers
1327688            Overtime       3.50   24.00 02/20/2017 Los Angeles CA West - Drivers
1327688            Regular       20.00   16.50 08/08/2016 Los Angeles CA West - Drivers
1327688            Overtime       4.50   24.75 08/08/2016 Los Angeles CA West - Drivers
1327688            Regular       40.00   16.50 08/15/2016 Los Angeles CA West - Drivers
1327688            Overtime      16.50   24.75 08/15/2016 Los Angeles CA West - Drivers
1327688            Regular       32.00   16.50 08/22/2016 Los Angeles CA West - Drivers
1327688            Overtime       6.50   24.75 08/22/2016 Los Angeles CA West - Drivers
1327688            Regular       16.00   16.50 09/19/2016 Los Angeles CA West - Drivers
1327688            Overtime       5.50   24.75 09/19/2016 Los Angeles CA West - Drivers
1327688            Regular       40.00   16.50 09/26/2016 Los Angeles CA West - Drivers
1327688            Regular       40.00   16.50 09/03/2016 Los Angeles CA West - Drivers
1327688            Overtime      29.75   24.75 09/26/2016 Los Angeles CA West - Drivers
1327688            Regular       40.00   16.50 10/10/2016 Los Angeles CA West - Drivers
1327688            Overtime      11.25   24.75 10/10/2016 Los Angeles CA West - Drivers
1327688            Regular       15.00   16.50 10/31/2016 Los Angeles CA West - Drivers
1327688            Overtime       3.00   24.75 10/31/2016 Los Angeles CA West - Drivers
1327688            Regular       14.00   16.50 11/21/2016 Los Angeles CA West - Drivers
1327688            Overtime       4.00   24.75 11/21/2016 Los Angeles CA West - Drivers
1327688            Regular       23.50   16.50 05/08/2017 Los Angeles CA West - Drivers
1327688            Overtime       6.00   24.75 05/08/2017 Los Angeles CA West - Drivers
1327688            Regular       30.00   16.50 05/15/2017 Los Angeles CA West - Drivers
1327688            Overtime       9.00   24.75 05/15/2017 Los Angeles CA West - Drivers
1327688            Regular       24.00   16.50 05/22/2017 Los Angeles CA West - Drivers
1327688            Overtime       6.50   24.75 05/22/2017 Los Angeles CA West - Drivers
1327688            Regular       40.00   16.50 05/29/2017 Los Angeles CA West - Drivers
1327688            Overtime       6.00   24.75 05/29/2017 Los Angeles CA West - Drivers
1327688            Regular       40.00   16.50 06/05/2017 Los Angeles CA West - Drivers
1327688            Overtime       9.75   24.75 06/05/2017 Los Angeles CA West - Drivers
1327688            Regular       35.50   16.50 06/12/2017 Los Angeles CA West - Drivers
1327688            Overtime       5.00   24.75 06/12/2017 Los Angeles CA West - Drivers
1327688            Regular       24.00   16.50 06/19/2017 Los Angeles CA West - Drivers
1327688            Overtime       7.00   24.75 06/19/2017 Los Angeles CA West - Drivers
1327688            Regular        6.50   16.00 10/17/2016 Los Angeles CA West - Drivers
Total for 1327688             1,653.77
694632             Regular       16.00   17.00 08/03/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 08/10/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 08/17/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 08/24/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 09/07/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 09/14/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 09/21/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 09/28/2015 Los Angeles CA East - Drivers
694632             Regular       32.00   17.00 10/12/2015 Los Angeles CA East - Drivers
694632             Regular        8.00   17.00 10/19/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 10/26/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 11/02/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 11/09/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 11/16/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 11/23/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 11/30/2015 Los Angeles CA East - Drivers
694632             Regular       32.00   17.00 12/14/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 12/21/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 12/28/2015 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 01/04/2016 Los Angeles CA East - Drivers
694632             Regular       16.00   17.00 01/11/2016 Los Angeles CA East - Drivers
694632   Case 2:19-cv-08580-JFW-MAA
                    Regular      16.00Document
                                         17.00 38-5    Filed Los
                                                 01/18/2016  03/22/21
                                                                 AngelesPage 560
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
694632              Overtime      1.00   25.50 #:1333
                                                 01/18/2016 Los Angeles CA East - Drivers
694632              Regular        16.00    17.00   01/25/2016   Los   Angeles   CA   East   - Drivers
694632              Overtime        0.50    25.50   01/25/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/01/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/08/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/15/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/22/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/29/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   03/07/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   03/14/2016   Los   Angeles   CA   East   - Drivers
694632              Regular         8.00    17.00   03/21/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   03/28/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/04/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/11/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/18/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/25/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   05/02/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   05/09/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   05/16/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   05/23/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   05/30/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   06/06/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   06/13/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   06/20/2016   Los   Angeles   CA   East   - Drivers
694632              Regular         8.00    17.00   06/27/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   07/04/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   07/11/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   07/18/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   07/25/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   08/01/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   08/08/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   08/15/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   09/05/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   09/12/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   09/19/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   09/26/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   10/10/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   10/17/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   10/24/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   10/31/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   11/14/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   11/21/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   11/28/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   12/05/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   12/12/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   12/19/2016   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   01/02/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   01/09/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   01/16/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   01/23/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   01/30/2017   Los   Angeles   CA   East   - Drivers
694632              Overtime        2.00    25.50   01/30/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/06/2017   Los   Angeles   CA   East   - Drivers
694632              Overtime        1.00    25.50   02/06/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   02/20/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        13.50    17.00   02/27/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   03/06/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   03/13/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   03/20/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/03/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/10/2017   Los   Angeles   CA   East   - Drivers
694632              Regular        16.00    17.00   04/17/2017   Los   Angeles   CA   East   - Drivers
694632 Case 2:19-cv-08580-JFW-MAA
                  Regular       16.00Document
                                        17.00 38-5    Filed Los
                                                05/01/2017  03/22/21
                                                                AngelesPage 561
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
694632            Regular       16.00   17.00 #:1334
                                                05/08/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 05/15/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 05/29/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 06/05/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 06/12/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 06/26/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 07/03/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 07/10/2017 Los Angeles CA East - Drivers
694632            Regular       17.50   17.00 07/17/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 07/24/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 08/07/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 08/14/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 08/21/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 08/28/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 09/04/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 09/11/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 09/25/2017 Los Angeles CA East - Drivers
694632            Regular       15.00   17.00 10/02/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 10/09/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 10/16/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 10/23/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 11/06/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 11/13/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 11/20/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 11/27/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 12/04/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 12/25/2017 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 01/15/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 01/22/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 01/29/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 02/05/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 02/19/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 02/26/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 03/12/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 03/19/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 03/26/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 04/02/2018 Los Angeles CA East - Drivers
694632            Regular       12.00   17.00 04/09/2018 Los Angeles CA East - Drivers
694632            Regular       16.00   17.00 04/23/2018 Los Angeles CA East - Drivers
Total for 694632             1,926.50
1455143           Regular        4.00   20.25 11/28/2016 Sacramento CA - Drivers
Total for 1455143                4.00
2401319           Regular       34.50   21.50 10/16/2017 Los Angeles CA East - Drivers
2401319           Overtime      16.00   32.25 10/16/2017 Los Angeles CA East - Drivers
2401319           Regular       24.00   21.50 10/23/2017 Los Angeles CA East - Drivers
2401319           Overtime      11.25   32.25 10/23/2017 Los Angeles CA East - Drivers
2401319           Regular       38.00   21.50 10/23/2017 Los Angeles CA East - Drivers
2401319           Overtime       5.00   32.25 10/30/2017 Los Angeles CA East - Drivers
Total for 2401319              128.75
2474595           Regular       24.00   21.00 02/12/2018 Los Angeles CA East - Drivers
2474595           Overtime       2.50   31.50 02/12/2018 Los Angeles CA East - Drivers
2474595           Regular       40.00   21.00 02/19/2018 Los Angeles CA East - Drivers
2474595           Overtime       8.73   31.50 02/19/2018 Los Angeles CA East - Drivers
2474595           Regular       40.00   21.00 02/26/2018 Los Angeles CA East - Drivers
2474595           Overtime      11.00   31.50 02/26/2018 Los Angeles CA East - Drivers
2474595           Regular       24.00   21.00 03/05/2018 Los Angeles CA East - Drivers
2474595           Overtime      11.50   31.50 03/05/2018 Los Angeles CA East - Drivers
2474595           Regular       32.00   21.00 03/12/2018 Los Angeles CA East - Drivers
2474595           Overtime      15.75   31.50 03/12/2018 Los Angeles CA East - Drivers
2474595           Regular       32.00   21.00 03/19/2018 Los Angeles CA East - Drivers
2474595           Overtime      16.00   31.50 03/19/2018 Los Angeles CA East - Drivers
2474595           Regular       40.00   21.00 03/26/2018 Los Angeles CA East - Drivers
2474595 Case 2:19-cv-08580-JFW-MAA
                   Overtime     20.00Document
                                        31.50 38-5    Filed Los
                                                03/26/2018  03/22/21
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                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2474595            Regular      40.00   21.00 #:1335
                                                04/02/2018 Los Angeles CA East - Drivers
2474595            Overtime     20.00   31.50 04/02/2018 Los Angeles CA East - Drivers
2474595            Regular      32.00   21.00 04/09/2018 Los Angeles CA East - Drivers
2474595            Overtime     16.00   31.50 04/09/2018 Los Angeles CA East - Drivers
Total for 2474595              425.48
2256907            Regular       8.00   21.00 09/17/2018 Los Angeles CA East - Drivers
2256907            Overtime      4.00   31.50 09/17/2018 Los Angeles CA East - Drivers
2256907            Regular       8.00   19.50 05/28/2018 Los Angeles CA East - Drivers
2256907            Overtime      1.00   29.25 05/28/2018 Los Angeles CA East - Drivers
2256907            Regular       8.00   19.50 08/06/2018 Los Angeles CA East - Drivers
2256907            Overtime      1.00   29.25 08/06/2018 Los Angeles CA East - Drivers
2256907            Regular       8.00   19.50 07/03/2017 Los Angeles CA East - Drivers
2256907            Overtime      4.00   29.25 07/03/2017 Los Angeles CA East - Drivers
2256907            Regular       8.00   20.00 06/26/2017 Los Angeles CA East - Drivers
2256907            Overtime      4.00   30.00 06/26/2017 Los Angeles CA East - Drivers
2256907            Regular      16.00   20.00 07/03/2017 Los Angeles CA East - Drivers
2256907            Overtime      4.00   30.00 07/03/2017 Los Angeles CA East - Drivers
2256907            Regular       8.00   20.00 10/09/2017 Los Angeles CA East - Drivers
2256907            Overtime      4.00   30.00 10/09/2017 Los Angeles CA East - Drivers
2256907            Regular      16.00   19.00 11/06/2017 Los Angeles CA East - Drivers
2256907            Overtime      8.00   28.50 11/06/2017 Los Angeles CA East - Drivers
2256907            Regular       8.00   19.00 04/09/2018 Los Angeles CA East - Drivers
2256907            Overtime      3.00   28.50 04/09/2018 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 07/17/2017 Los Angeles CA East - Drivers
2256907            Overtime     16.00   30.00 07/17/2017 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 07/24/2017 Los Angeles CA East - Drivers
2256907            Overtime     16.00   30.00 07/24/2017 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 07/31/2017 Los Angeles CA East - Drivers
2256907            Overtime     16.00   30.00 07/31/2017 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 08/07/2017 Los Angeles CA East - Drivers
2256907            Overtime     16.00   30.00 08/07/2017 Los Angeles CA East - Drivers
2256907            Regular      40.00   20.00 08/14/2017 Los Angeles CA East - Drivers
2256907            Overtime     20.00   30.00 08/14/2017 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 08/21/2017 Los Angeles CA East - Drivers
2256907            Overtime     14.50   30.00 08/21/2017 Los Angeles CA East - Drivers
2256907            Regular      40.00   20.00 08/28/2017 Los Angeles CA East - Drivers
2256907            Overtime     28.00   30.00 08/28/2017 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 09/04/2017 Los Angeles CA East - Drivers
2256907            Overtime     16.00   30.00 09/04/2017 Los Angeles CA East - Drivers
2256907            Regular      40.00   20.00 09/11/2017 Los Angeles CA East - Drivers
2256907            Overtime     20.00   30.00 09/11/2017 Los Angeles CA East - Drivers
2256907            Regular      32.00   20.00 09/18/2017 Los Angeles CA East - Drivers
2256907            Overtime     12.00   30.00 09/18/2017 Los Angeles CA East - Drivers
2256907            Regular      40.00   20.00 09/25/2017 Los Angeles CA East - Drivers
2256907            Overtime     20.00   30.00 09/25/2017 Los Angeles CA East - Drivers
2256907            Regular       8.00   20.00 10/02/2017 Los Angeles CA East - Drivers
2256907            Overtime      2.50   30.00 07/31/2017 Los Angeles CA East - Drivers
2256907            Regular      24.00   20.00 12/25/2017 Los Angeles CA East - Drivers
2256907            Overtime     12.00   30.00 12/25/2017 Los Angeles CA East - Drivers
2256907            Regular      16.00   20.00 01/01/2018 Los Angeles CA East - Drivers
2256907            Overtime      8.00   30.00 01/01/2018 Los Angeles CA East - Drivers
2256907            Regular      16.00   20.00 01/08/2018 Los Angeles CA East - Drivers
2256907            Overtime      8.00   30.00 01/08/2018 Los Angeles CA East - Drivers
2256907            Regular      27.50   20.98 11/13/2017 Los Angeles CA East - Drivers
2256907            Regular      51.75   20.98 11/20/2017 Los Angeles CA East - Drivers
2256907            Overtime     11.25   31.47 11/20/2017 Los Angeles CA East - Drivers
2256907            Regular      69.00   21.85 11/27/2017 Los Angeles CA East - Drivers
2256907            Regular      66.80   21.85 12/04/2017 Los Angeles CA East - Drivers
2256907            Regular      68.50   21.85 12/11/2017 Los Angeles CA East - Drivers
2256907            Regular      60.00   21.85 12/18/2017 Los Angeles CA East - Drivers
2256907            Regular       9.50   21.85 01/01/2018 Los Angeles CA East - Drivers
2256907            Regular       8.00   21.85 01/22/2018 Los Angeles CA East - Drivers
2256907 Case   2:19-cv-08580-JFW-MAA
                     Regular      21.00Document
                                          21.85 38-5    Filed Los
                                                  02/19/2018  03/22/21
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                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
2256907              Regular      63.25   21.85 #:1336
                                                  03/12/2018 Los Angeles CA East - Drivers
2256907              Regular        54.00    21.85   03/19/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        12.00    20.98   04/23/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        16.00    21.00   01/22/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        3.75    31.50   01/22/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    21.00   01/29/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime       15.50    31.50   01/29/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    21.00   02/05/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime       15.25    31.50   02/05/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    21.00   02/12/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime       23.25    31.50   02/12/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        20.00    21.00   02/19/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        8.00    31.50   02/19/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    21.00   02/26/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        7.01    31.50   02/26/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    21.00   03/05/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime       18.22    31.50   03/05/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular         8.00    21.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        1.62    31.50   04/09/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular         2.50    19.00   01/08/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    19.00   01/15/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        6.25    28.50   01/15/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        24.00    19.00   07/03/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        8.00    28.50   07/03/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        32.00    19.00   07/10/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime       13.50    28.50   07/10/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        16.00    19.00   04/02/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        2.50    28.50   04/02/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        32.00    19.00   04/09/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        5.00    28.50   04/09/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    19.00   04/16/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        8.50    28.50   04/16/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        32.00    19.00   04/23/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        8.75    28.50   04/23/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    19.00   04/30/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime       11.75    28.50   04/30/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        24.00    19.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        7.00    28.50   05/07/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        56.00    19.00   05/07/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime       15.00    28.50   05/07/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular         8.00    20.75   06/26/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        1.00    31.13   06/26/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        24.00    20.75   03/26/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        8.50    31.13   03/26/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular        16.00    20.75   04/02/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        4.75    31.13   04/02/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular         8.00    20.75   04/16/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        1.00    31.13   04/16/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular         8.00    20.75   05/21/2018   Los   Angeles   CA   East   - Drivers
2256907              Overtime        1.00    31.13   05/21/2018   Los   Angeles   CA   East   - Drivers
2256907              Regular         5.50    20.00   11/06/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular         8.00    20.00   11/13/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        2.00    30.00   11/13/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        28.50    19.50   05/08/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        3.00    29.25   05/08/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        37.50    19.50   05/15/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        0.50    29.25   05/15/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        40.00    19.50   05/22/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        0.50    29.25   05/22/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        32.00    19.50   05/29/2017   Los   Angeles   CA   East   - Drivers
2256907              Overtime        4.00    29.25   05/29/2017   Los   Angeles   CA   East   - Drivers
2256907              Regular        35.00    19.50   06/05/2017   Los   Angeles   CA   East   - Drivers
2256907 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.00Document
                                         29.25 38-5    Filed Los
                                                 06/05/2017  03/22/21
                                                                 AngelesPage 564
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2256907            Regular       39.00   19.50 #:1337
                                                 06/12/2017 Los Angeles CA East - Drivers
2256907            Overtime       2.75   29.25 06/12/2017 Los Angeles CA East - Drivers
2256907            Regular        8.00   19.50 06/19/2017 Los Angeles CA East - Drivers
2256907            Overtime       0.50   29.25 06/19/2017 Los Angeles CA East - Drivers
2256907            Regular       24.00   20.00 05/28/2018 Los Angeles CA East - Drivers
2256907            Regular       40.00   20.00 06/04/2018 Los Angeles CA East - Drivers
2256907            Regular       32.00   20.00 06/11/2018 Los Angeles CA East - Drivers
2256907            Regular       16.00   20.00 05/21/2018 Los Angeles CA East - Drivers
2256907            Overtime       8.00   30.00 05/21/2018 Los Angeles CA East - Drivers
2256907            Regular       16.00   20.00 10/09/2017 Los Angeles CA East - Drivers
2256907            Overtime       4.00   30.00 10/09/2017 Los Angeles CA East - Drivers
2256907            Regular       40.00   20.00 10/16/2017 Los Angeles CA East - Drivers
2256907            Overtime      20.00   30.00 10/16/2017 Los Angeles CA East - Drivers
2256907            Regular       40.00   20.00 10/23/2017 Los Angeles CA East - Drivers
2256907            Overtime      17.50   30.00 10/23/2017 Los Angeles CA East - Drivers
2256907            Regular       40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
2256907            Overtime      16.00   30.00 10/30/2017 Los Angeles CA East - Drivers
2256907            Regular        8.00   21.00 09/17/2018 Los Angeles CA East - Drivers
2256907            Regular        8.00   20.00 03/26/2018 Los Angeles CA East - Drivers
Total for 2256907             2,736.40
2204969            Regular       32.00   19.00 03/27/2017 Los Angeles CA West - Drivers
2204969            Overtime       6.50   28.50 03/27/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 04/03/2017 Los Angeles CA West - Drivers
2204969            Overtime      11.00   28.50 04/03/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
2204969            Overtime       9.50   28.50 04/10/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 04/17/2017 Los Angeles CA West - Drivers
2204969            Overtime       5.50   28.50 04/17/2017 Los Angeles CA West - Drivers
2204969            Regular       38.00   19.00 04/24/2017 Los Angeles CA West - Drivers
2204969            Overtime       5.00   28.50 04/24/2017 Los Angeles CA West - Drivers
2204969            Regular       28.00   19.00 05/01/2017 Los Angeles CA West - Drivers
2204969            Overtime       7.00   28.50 05/01/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 05/08/2017 Los Angeles CA West - Drivers
2204969            Overtime       5.50   28.50 05/08/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 05/15/2017 Los Angeles CA West - Drivers
2204969            Overtime       5.50   28.50 05/15/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 05/22/2017 Los Angeles CA West - Drivers
2204969            Overtime       4.00   28.50 05/22/2017 Los Angeles CA West - Drivers
2204969            Regular       24.00   19.00 05/29/2017 Los Angeles CA West - Drivers
2204969            Overtime       3.50   28.50 05/29/2017 Los Angeles CA West - Drivers
2204969            Regular       39.00   19.00 06/05/2017 Los Angeles CA West - Drivers
2204969            Overtime       6.00   28.50 06/05/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 06/12/2017 Los Angeles CA West - Drivers
2204969            Overtime       8.00   28.50 06/12/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2204969            Overtime       5.50   28.50 06/19/2017 Los Angeles CA West - Drivers
2204969            Regular        7.00   19.00 02/27/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 03/20/2017 Los Angeles CA West - Drivers
2204969            Overtime      12.00   28.50 03/20/2017 Los Angeles CA West - Drivers
2204969            Regular       16.00   19.00 06/26/2017 Los Angeles CA West - Drivers
2204969            Overtime       5.00   28.50 06/26/2017 Los Angeles CA West - Drivers
2204969            Regular       24.00   19.00 07/03/2017 Los Angeles CA West - Drivers
2204969            Overtime      21.00   28.50 07/03/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 07/10/2017 Los Angeles CA West - Drivers
2204969            Overtime       6.00   28.50 07/10/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 07/17/2017 Los Angeles CA West - Drivers
2204969            Overtime      13.50   28.50 07/10/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 07/24/2017 Los Angeles CA West - Drivers
2204969            Overtime      10.00   28.50 07/24/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 07/31/2017 Los Angeles CA West - Drivers
2204969            Overtime      11.00   28.50 07/31/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 08/07/2017 Los Angeles CA West - Drivers
2204969 Case 2:19-cv-08580-JFW-MAA
                   Overtime      10.00Document
                                         28.50 38-5    Filed Los
                                                 08/07/2017  03/22/21
                                                                 AngelesPage 565- Drivers
                                                                        CA West   of 691    Page ID
2204969            Regular       40.00   19.00 #:1338
                                                 08/14/2017 Los Angeles CA West - Drivers
2204969            Overtime      10.00   28.50 08/14/2017 Los Angeles CA West - Drivers
2204969            Regular       39.00   19.00 08/21/2017 Los Angeles CA West - Drivers
2204969            Overtime      10.00   28.50 08/21/2017 Los Angeles CA West - Drivers
2204969            Regular       38.50   19.00 08/28/2017 Los Angeles CA West - Drivers
2204969            Overtime      10.00   28.50 08/28/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 09/04/2017 Los Angeles CA West - Drivers
2204969            Overtime      10.00   28.50 09/04/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 09/11/2017 Los Angeles CA West - Drivers
2204969            Overtime      10.00   28.50 09/11/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 09/18/2017 Los Angeles CA West - Drivers
2204969            Overtime      13.00   28.50 09/18/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 09/25/2017 Los Angeles CA West - Drivers
2204969            Overtime       8.00   28.50 09/25/2017 Los Angeles CA West - Drivers
2204969            Regular       24.00   19.00 10/02/2017 Los Angeles CA West - Drivers
2204969            Overtime       4.00   28.50 10/02/2017 Los Angeles CA West - Drivers
2204969            Regular       27.50   19.00 10/09/2017 Los Angeles CA West - Drivers
2204969            Overtime       8.00   28.50 10/09/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 10/16/2017 Los Angeles CA West - Drivers
2204969            Overtime       8.00   28.50 10/16/2017 Los Angeles CA West - Drivers
2204969            Regular       28.00   19.00 10/23/2017 Los Angeles CA West - Drivers
2204969            Overtime       8.00   28.50 10/23/2017 Los Angeles CA West - Drivers
2204969            Regular       32.00   19.00 10/30/2017 Los Angeles CA West - Drivers
2204969            Overtime       6.50   28.50 10/30/2017 Los Angeles CA West - Drivers
2204969            Regular       40.00   19.00 11/06/2017 Los Angeles CA West - Drivers
2204969            Overtime       8.00   28.50 11/06/2017 Los Angeles CA West - Drivers
2204969            Regular       16.00   19.50 03/06/2017 Los Angeles CA West - Drivers
2204969            Overtime       2.50   29.25 03/06/2017 Los Angeles CA West - Drivers
Total for 2204969             1,468.00
2543743            Regular        8.00   19.50 06/11/2018 Los Angeles CA West - Drivers
2543743            Regular       32.00   20.00 06/18/2018 Los Angeles CA West - Drivers
2543743            Overtime       7.00   30.00 06/18/2018 Los Angeles CA West - Drivers
Total for 2543743                47.00
1166627            Regular        8.00   19.00 09/07/2015 Los Angeles CA East - Drivers
1166627            Overtime       4.00   28.50 09/07/2015 Los Angeles CA East - Drivers
Total for 1166627                12.00
951701             Regular        8.00   17.00 11/16/2015 Los Angeles CA East - Drivers
951701             Overtime       0.25   25.50 11/16/2015 Los Angeles CA East - Drivers
951701             Regular        8.00   17.00 11/16/2015 Los Angeles CA East - Drivers
951701             Overtime       0.25   25.50 11/16/2015 Los Angeles CA East - Drivers
951701             Regular       28.00   17.00 11/30/2015 Los Angeles CA East - Drivers
951701             Overtime       9.00   25.50 11/30/2015 Los Angeles CA East - Drivers
951701             Regular        8.00   16.00 11/16/2015 Los Angeles CA East - Drivers
951701             Overtime       1.50   24.00 11/16/2015 Los Angeles CA East - Drivers
951701             Regular        8.00   16.00 11/16/2015 Los Angeles CA East - Drivers
951701             Overtime       0.50   24.00 11/16/2015 Los Angeles CA East - Drivers
Total for 951701                 71.50
1318888            Regular       15.25   16.00 05/16/2016 Los Angeles CA West - Drivers
1318888            Overtime       1.75   24.00 05/16/2016 Los Angeles CA West - Drivers
Total for 1318888                17.00
2665938            Regular       24.00   20.00 04/08/2019 Los Angeles CA West - Drivers
2665938            Overtime       4.50   30.00 04/08/2019 Los Angeles CA West - Drivers
2665938            Regular       40.00   20.00 04/15/2019 Los Angeles CA West - Drivers
2665938            Overtime       5.25   30.00 04/15/2019 Los Angeles CA West - Drivers
2665938            Regular       40.00   20.00 04/22/2019 Los Angeles CA West - Drivers
2665938            Overtime       5.00   30.00 04/22/2019 Los Angeles CA West - Drivers
2665938            Regular       40.00   20.00 04/29/2019 Los Angeles CA West - Drivers
2665938            Overtime       8.00   30.00 04/29/2019 Los Angeles CA West - Drivers
2665938            Regular       40.00   20.00 05/06/2019 Los Angeles CA West - Drivers
2665938            Overtime       7.00   30.00 05/06/2019 Los Angeles CA West - Drivers
2665938            Regular       40.00   20.00 05/13/2019 Los Angeles CA West - Drivers
2665938            Overtime       0.50   30.00 05/13/2019 Los Angeles CA West - Drivers
2665938 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        20.00 38-5    Filed Los
                                                05/20/2019  03/22/21
                                                                AngelesPage 566- Drivers
                                                                       CA West   of 691    Page ID
2665938            Overtime      3.00   30.00 #:1339
                                                05/20/2019 Los Angeles CA West - Drivers
2665938            Regular      32.00   20.00 05/27/2019 Los Angeles CA West - Drivers
2665938            Overtime      5.50   30.00 05/27/2019 Los Angeles CA West - Drivers
2665938            Regular      40.00   20.00 06/03/2019 Los Angeles CA West - Drivers
2665938            Overtime     11.00   30.00 06/03/2019 Los Angeles CA West - Drivers
2665938            Regular      40.00   20.00 06/10/2019 Los Angeles CA West - Drivers
2665938            Overtime      4.75   30.00 06/10/2019 Los Angeles CA West - Drivers
2665938            Regular      40.00   20.00 06/17/2019 Los Angeles CA West - Drivers
2665938            Overtime      7.25   30.00 06/17/2019 Los Angeles CA West - Drivers
2665938            Regular      40.00   20.00 06/24/2019 Los Angeles CA West - Drivers
2665938            Overtime      4.25   30.00 06/24/2019 Los Angeles CA West - Drivers
2665938            Regular      32.00   20.00 07/01/2019 Los Angeles CA West - Drivers
2665938            Overtime      4.75   30.00 07/01/2019 Los Angeles CA West - Drivers
2665938            Regular      40.00   20.00 07/08/2019 Los Angeles CA West - Drivers
2665938            Overtime      6.50   30.00 07/08/2019 Los Angeles CA West - Drivers
Total for 2665938              605.25
2685434            Regular      32.00   17.60 01/21/2019 Los Angeles CA West - Drivers
2685434            Overtime     12.75   26.40 01/21/2019 Los Angeles CA West - Drivers
2685434            Regular      32.00   17.60 01/28/2019 Los Angeles CA West - Drivers
2685434            Overtime     15.00   26.40 01/28/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 02/04/2019 Los Angeles CA West - Drivers
2685434            Overtime      6.50   26.40 02/04/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 02/11/2019 Los Angeles CA West - Drivers
2685434            Overtime      7.25   26.40 02/11/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 02/18/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 02/18/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 02/25/2019 Los Angeles CA West - Drivers
2685434            Overtime      7.50   26.40 02/25/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 03/04/2019 Los Angeles CA West - Drivers
2685434            Overtime      5.25   26.40 03/04/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 03/11/2019 Los Angeles CA West - Drivers
2685434            Overtime      6.00   26.40 03/11/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 03/18/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 03/18/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 03/25/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 03/25/2019 Los Angeles CA West - Drivers
2685434            Regular      30.00   17.60 04/01/2019 Los Angeles CA West - Drivers
2685434            Overtime      6.00   26.40 04/01/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 04/08/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 04/08/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 04/15/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 04/15/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 04/22/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 04/22/2019 Los Angeles CA West - Drivers
2685434            Regular      34.75   17.60 04/29/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 05/06/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 05/06/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 05/13/2019 Los Angeles CA West - Drivers
2685434            Overtime      5.75   26.40 05/13/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 05/20/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 05/20/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 05/27/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 05/27/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 06/03/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 06/03/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 06/10/2019 Los Angeles CA West - Drivers
2685434            Overtime      8.00   26.40 06/10/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 06/17/2019 Los Angeles CA West - Drivers
2685434            Overtime      6.50   26.40 06/17/2019 Los Angeles CA West - Drivers
2685434            Regular      40.00   17.60 06/24/2019 Los Angeles CA West - Drivers
2685434            Overtime      6.25   26.40 06/24/2019 Los Angeles CA West - Drivers
2685434            Regular      20.00   17.60 07/01/2019 Los Angeles CA West - Drivers
2685434 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.00Document
                                         26.40 38-5    Filed Los
                                                 07/01/2019  03/22/21
                                                                 AngelesPage 567- Drivers
                                                                        CA West   of 691    Page ID
2685434            Regular       40.00   17.60 #:1340
                                                 07/08/2019 Los Angeles CA West - Drivers
2685434            Overtime       5.00   26.40 07/08/2019 Los Angeles CA West - Drivers
2685434            Regular       40.00   17.60 07/15/2019 Los Angeles CA West - Drivers
2685434            Overtime       6.50   26.40 07/15/2019 Los Angeles CA West - Drivers
2685434            Regular       40.00   17.60 07/22/2019 Los Angeles CA West - Drivers
2685434            Overtime       5.00   26.40 07/22/2019 Los Angeles CA West - Drivers
Total for 2685434             1,222.00
1446253            Regular        8.00   17.60 01/15/2018 Los Angeles CA West - Drivers
1446253            Overtime       2.00   26.40 01/15/2018 Los Angeles CA West - Drivers
1446253            Regular        9.50   17.60 01/22/2018 Los Angeles CA West - Drivers
1446253            Overtime       3.00   26.40 01/22/2018 Los Angeles CA West - Drivers
1446253            Regular       40.00   19.00 01/29/2018 Los Angeles CA West - Drivers
1446253            Overtime      14.50   28.50 01/29/2018 Los Angeles CA West - Drivers
1446253            Regular       40.00   19.00 02/05/2018 Los Angeles CA West - Drivers
1446253            Overtime       4.25   28.50 02/05/2018 Los Angeles CA West - Drivers
1446253            Regular       40.00   19.00 02/12/2018 Los Angeles CA West - Drivers
1446253            Overtime      10.00   28.50 02/12/2018 Los Angeles CA West - Drivers
1446253            Regular       40.00   18.00 04/03/2017 Los Angeles CA West - Drivers
1446253            Overtime      16.50   27.00 04/03/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   18.00 04/10/2017 Los Angeles CA West - Drivers
1446253            Overtime      20.00   27.00 04/10/2017 Los Angeles CA West - Drivers
1446253            Regular       32.00   18.00 04/17/2017 Los Angeles CA West - Drivers
1446253            Overtime      16.00   27.00 04/17/2017 Los Angeles CA West - Drivers
1446253            Regular       32.00   18.00 04/24/2017 Los Angeles CA West - Drivers
1446253            Overtime       6.50   27.00 04/24/2017 Los Angeles CA West - Drivers
1446253            Regular       32.00   18.00 05/01/2017 Los Angeles CA West - Drivers
1446253            Overtime      13.00   27.00 05/01/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   22.00 10/23/2017 Los Angeles CA West - Drivers
1446253            Overtime       3.50   33.00 10/23/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   22.00 10/30/2017 Los Angeles CA West - Drivers
1446253            Overtime       7.75   33.00 10/30/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   22.00 11/06/2017 Los Angeles CA West - Drivers
1446253            Overtime       5.50   33.00 11/06/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   22.00 11/13/2017 Los Angeles CA West - Drivers
1446253            Overtime       7.00   33.00 11/13/2017 Los Angeles CA West - Drivers
1446253            Regular       30.00   22.00 11/20/2017 Los Angeles CA West - Drivers
1446253            Overtime       5.50   33.00 11/20/2017 Los Angeles CA West - Drivers
1446253            Regular       30.00   22.00 11/27/2017 Los Angeles CA West - Drivers
1446253            Overtime       5.50   33.00 11/27/2017 Los Angeles CA West - Drivers
1446253            Regular       30.00   22.00 12/04/2017 Los Angeles CA West - Drivers
1446253            Overtime       3.00   33.00 12/04/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   22.00 12/11/2017 Los Angeles CA West - Drivers
1446253            Overtime       8.00   33.00 12/11/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   22.00 12/18/2017 Los Angeles CA West - Drivers
1446253            Overtime       8.00   33.00 12/18/2017 Los Angeles CA West - Drivers
1446253            Regular       38.00   22.00 12/25/2017 Los Angeles CA West - Drivers
1446253            Overtime       6.00   33.00 12/25/2017 Los Angeles CA West - Drivers
1446253            Regular       20.00   22.00 01/01/2018 Los Angeles CA West - Drivers
1446253            Overtime       2.50   33.00 01/01/2018 Los Angeles CA West - Drivers
1446253            Regular       40.00   16.00 10/09/2017 Los Angeles CA West - Drivers
1446253            Overtime       0.50   24.00 10/09/2017 Los Angeles CA West - Drivers
1446253            Regular       32.00   18.00 03/06/2017 Los Angeles CA West - Drivers
1446253            Regular       40.00   18.00 03/13/2017 Los Angeles CA West - Drivers
1446253            Regular       38.00   18.00 03/20/2017 Los Angeles CA West - Drivers
1446253            Overtime       1.50   27.00 03/20/2017 Los Angeles CA West - Drivers
1446253            Regular       16.00   18.00 03/27/2017 Los Angeles CA West - Drivers
1446253            Overtime       2.75   27.00 03/27/2017 Los Angeles CA West - Drivers
1446253            Regular        5.50   16.00 11/07/2016 Los Angeles CA West - Drivers
1446253            Regular       32.00   18.00 11/14/2016 Los Angeles CA West - Drivers
1446253            Overtime       7.75   27.00 11/14/2016 Los Angeles CA West - Drivers
1446253            Regular       32.00   18.00 11/21/2016 Los Angeles CA West - Drivers
1446253            Overtime       7.00   27.00 11/21/2016 Los Angeles CA West - Drivers
1446253 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         18.00 38-5    Filed Los
                                                 11/28/2016  03/22/21
                                                                 AngelesPage 568- Drivers
                                                                        CA West   of 691    Page ID
1446253            Overtime       8.00   27.00 #:1341
                                                 11/28/2016 Los Angeles CA West - Drivers
1446253            Regular       24.00   18.00 12/05/2016 Los Angeles CA West - Drivers
1446253            Overtime       5.75   27.00 12/05/2016 Los Angeles CA West - Drivers
1446253            Regular       24.00   18.00 12/12/2016 Los Angeles CA West - Drivers
1446253            Overtime       6.25   27.00 12/12/2016 Los Angeles CA West - Drivers
Total for 1446253             1,232.50
2556248            Regular        8.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2556248            Overtime       3.00   30.00 07/23/2018 Los Angeles CA East - Drivers
2556248            Regular        8.00   20.00 07/30/2018 Los Angeles CA East - Drivers
2556248            Overtime       1.50   30.00 07/30/2018 Los Angeles CA East - Drivers
2556248            Regular       16.00   21.00 07/16/2018 Los Angeles CA East - Drivers
Total for 2556248                36.50
2231207            Regular        8.00   19.50 03/27/2017 Sacramento CA - Drivers
2231207            Overtime       0.50   29.25 03/27/2017 Sacramento CA - Drivers
Total for 2231207                 8.50
2473640            Regular       24.80   21.85 07/09/2018 Sacramento CA - Drivers
2473640            Regular       24.00   19.75 02/12/2018 Sacramento CA - Drivers
2473640            Overtime       6.25   29.63 02/12/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 02/19/2018 Sacramento CA - Drivers
2473640            Overtime      11.80   29.63 02/19/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 02/26/2018 Sacramento CA - Drivers
2473640            Overtime      13.00   29.63 02/26/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 03/05/2018 Sacramento CA - Drivers
2473640            Overtime      14.25   29.63 03/05/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 03/12/2018 Sacramento CA - Drivers
2473640            Overtime      14.25   29.63 03/12/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 03/19/2018 Sacramento CA - Drivers
2473640            Overtime      15.30   29.63 03/19/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 03/26/2018 Sacramento CA - Drivers
2473640            Overtime      11.50   29.63 03/26/2018 Sacramento CA - Drivers
2473640            Regular       40.00   19.75 04/02/2018 Sacramento CA - Drivers
2473640            Overtime       8.00   29.63 04/02/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 04/09/2018 Sacramento CA - Drivers
2473640            Overtime      11.50   31.50 04/09/2018 Sacramento CA - Drivers
2473640            Regular       16.00   21.00 04/16/2018 Sacramento CA - Drivers
2473640            Overtime       6.50   31.50 04/16/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 04/23/2018 Sacramento CA - Drivers
2473640            Overtime      12.25   31.50 04/23/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 04/30/2018 Sacramento CA - Drivers
2473640            Overtime      14.50   31.50 04/30/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 05/07/2018 Sacramento CA - Drivers
2473640            Overtime      17.00   31.50 05/07/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 05/14/2018 Sacramento CA - Drivers
2473640            Overtime      12.50   31.50 05/14/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 05/21/2018 Sacramento CA - Drivers
2473640            Overtime      15.00   31.50 05/21/2018 Sacramento CA - Drivers
2473640            Regular       32.00   21.00 05/28/2018 Sacramento CA - Drivers
2473640            Overtime      15.25   31.50 05/28/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 06/04/2018 Sacramento CA - Drivers
2473640            Overtime      12.75   31.50 06/04/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 06/11/2018 Sacramento CA - Drivers
2473640            Overtime      10.50   31.50 06/11/2018 Sacramento CA - Drivers
2473640            Regular       24.00   21.00 06/18/2018 Sacramento CA - Drivers
2473640            Overtime       7.50   31.50 06/18/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 06/25/2018 Sacramento CA - Drivers
2473640            Overtime      15.50   31.50 06/25/2018 Sacramento CA - Drivers
2473640            Regular       32.00   21.00 07/02/2018 Sacramento CA - Drivers
2473640            Overtime      15.50   31.50 07/02/2018 Sacramento CA - Drivers
2473640            Regular        8.00   21.00 07/09/2018 Sacramento CA - Drivers
2473640            Overtime       3.00   31.50 07/09/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 07/16/2018 Sacramento CA - Drivers
2473640            Overtime      13.00   31.50 07/16/2018 Sacramento CA - Drivers
2473640 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         21.00 38-5    Filed Sacramento
                                                 07/23/2018  03/22/21 Page    569 of 691
                                                                        CA - Drivers       Page ID
2473640            Overtime      10.00   31.50 #:1342
                                                 07/23/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 07/30/2018 Sacramento CA - Drivers
2473640            Overtime      10.00   31.50 07/30/2018 Sacramento CA - Drivers
2473640            Regular       24.00   21.00 08/06/2018 Sacramento CA - Drivers
2473640            Overtime        6.00  31.50 08/06/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 08/20/2018 Sacramento CA - Drivers
2473640            Overtime      10.00   31.50 08/20/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 08/27/2018 Sacramento CA - Drivers
2473640            Overtime      11.50   31.50 08/27/2018 Sacramento CA - Drivers
2473640            Regular       32.00   21.00 09/03/2018 Sacramento CA - Drivers
2473640            Overtime        8.00  31.50 09/03/2018 Sacramento CA - Drivers
2473640            Regular       24.00   21.00 09/10/2018 Sacramento CA - Drivers
2473640            Overtime        6.00  31.50 09/10/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 09/17/2018 Sacramento CA - Drivers
2473640            Overtime      10.00   31.50 09/17/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 09/24/2018 Sacramento CA - Drivers
2473640            Overtime      11.50   31.50 09/24/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 10/01/2018 Sacramento CA - Drivers
2473640            Overtime      10.00   31.50 10/01/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 10/08/2018 Sacramento CA - Drivers
2473640            Overtime      10.00   31.50 10/08/2018 Sacramento CA - Drivers
2473640            Regular       40.00   21.00 10/15/2018 Sacramento CA - Drivers
2473640            Overtime      11.50   31.50 10/15/2018 Sacramento CA - Drivers
2473640            Regular       36.00   21.00 10/22/2018 Sacramento CA - Drivers
2473640            Overtime      11.50   31.50 10/22/2018 Sacramento CA - Drivers
Total for 2473640             1,719.40
914526             Regular       24.00   18.50 08/03/2015 Orlando FL - Drivers
914526             Overtime        4.75  27.75 08/03/2015 Orlando FL - Drivers
914526             Regular       40.00   18.50 08/10/2015 Orlando FL - Drivers
914526             Overtime        9.25  27.75 08/10/2015 Orlando FL - Drivers
914526             Regular       16.00   18.50 08/17/2015 Orlando FL - Drivers
914526             Overtime        2.50  27.75 08/17/2015 Orlando FL - Drivers
Total for 914526                 96.50
2482172            Regular         3.00  19.50 03/05/2018 Los Angeles CA East - Drivers
2482172            Regular         2.00  20.00 03/05/2018 Los Angeles CA East - Drivers
Total for 2482172                  5.00
1254748            Regular       24.50   20.00 08/15/2016 Sacramento CA - Drivers
1254748            Regular       23.75   20.00 08/22/2016 Sacramento CA - Drivers
1254748            Regular       18.25   20.00 01/11/2016 Sacramento CA - Drivers
1254748            Regular       25.00   20.00 01/18/2016 Sacramento CA - Drivers
1254748            Regular       11.00   20.00 01/25/2016 Sacramento CA - Drivers
1254748            Regular       18.00   20.00 02/01/2016 Sacramento CA - Drivers
1254748            Regular       20.50   20.00 04/04/2016 Sacramento CA - Drivers
1254748            Regular         7.75  20.00 04/25/2016 Sacramento CA - Drivers
1254748            Regular       37.00   20.00 05/02/2016 Sacramento CA - Drivers
1254748            Regular       32.00   20.00 05/09/2016 Sacramento CA - Drivers
1254748            Regular       22.75   20.00 05/16/2016 Sacramento CA - Drivers
1254748            Regular       23.25   20.00 05/23/2016 Sacramento CA - Drivers
1254748            Regular       17.75   20.00 05/30/2016 Sacramento CA - Drivers
1254748            Regular       15.00   20.00 07/18/2016 Sacramento CA - Drivers
1254748            Regular         6.25  20.00 07/25/2016 Sacramento CA - Drivers
1254748            Regular       45.75   20.00 08/01/2016 Sacramento CA - Drivers
1254748            Regular         4.00  20.00 08/08/2016 Sacramento CA - Drivers
1254748            Overtime        4.00  30.00 08/01/2016 Sacramento CA - Drivers
1254748            Regular       23.50   20.00 08/01/2016 Sacramento CA - Drivers
1254748            Overtime       -4.00  30.00 08/01/2016 Sacramento CA - Drivers
1254748            Regular       16.25   20.00 08/22/2016 Sacramento CA - Drivers
1254748            Regular       39.75   20.00 08/29/2016 Sacramento CA - Drivers
1254748            Regular       47.75   20.00 09/05/2016 Sacramento CA - Drivers
1254748            Regular       40.25   20.00 09/12/2016 Sacramento CA - Drivers
1254748            Regular       22.50   20.00 09/19/2016 Sacramento CA - Drivers
1254748            Regular       23.00   20.00 09/26/2016 Sacramento CA - Drivers
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                     Regular      14.75Document
                                          20.00 38-5    Filed Sacramento
                                                  10/03/2016  03/22/21 Page    570 of 691 Page ID
                                                                         CA - Drivers
1254748              Regular      23.00   20.00 #:1343
                                                  10/10/2016 Sacramento CA - Drivers
1254748             Regular        17.80    20.00   10/17/2016   Sacramento   CA   - Drivers
1254748             Regular        39.75    20.00   10/24/2016   Sacramento   CA   - Drivers
1254748             Regular        35.50    20.00   10/31/2016   Sacramento   CA   - Drivers
1254748             Regular        28.50    20.00   11/07/2016   Sacramento   CA   - Drivers
1254748             Regular        21.50    20.00   11/14/2016   Sacramento   CA   - Drivers
1254748             Regular        32.75    20.00   11/21/2016   Sacramento   CA   - Drivers
1254748             Regular        32.75    20.00   11/28/2016   Sacramento   CA   - Drivers
1254748             Regular        27.50    20.00   12/05/2016   Sacramento   CA   - Drivers
1254748             Regular        29.00    20.00   12/12/2016   Sacramento   CA   - Drivers
1254748             Regular        13.00    20.00   12/19/2016   Sacramento   CA   - Drivers
1254748             Overtime        9.25    30.00   12/19/2016   Sacramento   CA   - Drivers
1254748             Regular        20.75    20.00   12/26/2016   Sacramento   CA   - Drivers
1254748             Regular        41.50    20.00   01/02/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    19.50   01/23/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.75    29.25   01/23/2017   Sacramento   CA   - Drivers
1254748             Regular        31.00    19.50   01/30/2017   Sacramento   CA   - Drivers
1254748             Overtime        4.50    29.25   01/30/2017   Sacramento   CA   - Drivers
1254748             Regular        32.00    19.50   02/06/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.25    29.25   02/06/2017   Sacramento   CA   - Drivers
1254748             Regular        31.75    19.50   02/13/2017   Sacramento   CA   - Drivers
1254748             Overtime        5.00    29.25   02/13/2017   Sacramento   CA   - Drivers
1254748             Regular        23.50    19.50   02/20/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.00    29.25   02/20/2017   Sacramento   CA   - Drivers
1254748             Regular        39.50    19.50   02/27/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.75    29.25   02/27/2017   Sacramento   CA   - Drivers
1254748             Regular        22.75    19.50   03/06/2017   Sacramento   CA   - Drivers
1254748             Regular        15.00    19.50   03/13/2017   Sacramento   CA   - Drivers
1254748             Regular         8.00    19.50   03/20/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.00    29.25   03/20/2017   Sacramento   CA   - Drivers
1254748             Regular        30.75    19.50   03/27/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.50    29.25   03/27/2017   Sacramento   CA   - Drivers
1254748             Regular        31.50    19.50   04/03/2017   Sacramento   CA   - Drivers
1254748             Overtime        4.25    29.25   04/03/2017   Sacramento   CA   - Drivers
1254748             Regular        15.50    19.50   04/10/2017   Sacramento   CA   - Drivers
1254748             Overtime        0.50    29.25   04/10/2017   Sacramento   CA   - Drivers
1254748             Regular        15.50    19.50   04/17/2017   Sacramento   CA   - Drivers
1254748             Overtime        0.75    29.25   04/17/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    19.50   04/24/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.00    29.25   04/24/2017   Sacramento   CA   - Drivers
1254748             Regular         7.75    19.50   05/01/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    19.50   05/08/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.25    29.25   05/08/2017   Sacramento   CA   - Drivers
1254748             Regular         8.00    19.50   05/15/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.75    29.25   05/15/2017   Sacramento   CA   - Drivers
1254748             Regular        30.75    19.50   05/22/2017   Sacramento   CA   - Drivers
1254748             Overtime        7.75    29.25   05/22/2017   Sacramento   CA   - Drivers
1254748             Regular         6.75    19.50   05/29/2017   Sacramento   CA   - Drivers
1254748             Regular        23.75    19.50   06/05/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.75    29.25   06/05/2017   Sacramento   CA   - Drivers
1254748             Regular         7.75    19.50   06/12/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    19.50   06/19/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.00    29.25   06/19/2017   Sacramento   CA   - Drivers
1254748             Regular        21.00    19.50   06/26/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.00    29.25   06/26/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    19.50   07/03/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.50    29.25   07/03/2017   Sacramento   CA   - Drivers
1254748             Regular         7.25    19.50   07/17/2017   Sacramento   CA   - Drivers
1254748             Regular        29.00    19.50   09/11/2017   Sacramento   CA   - Drivers
1254748             Overtime        4.00    29.25   09/11/2017   Sacramento   CA   - Drivers
1254748             Regular        31.25    19.50   09/18/2017   Sacramento   CA   - Drivers
1254748             Overtime        5.50    29.25   09/18/2017   Sacramento   CA   - Drivers
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                     Regular      23.00Document
                                          19.50 38-5    Filed Sacramento
                                                  09/25/2017  03/22/21 Page    571 of 691 Page ID
                                                                         CA - Drivers
1254748              Overtime      1.75   29.25 #:1344
                                                  09/25/2017 Sacramento CA - Drivers
1254748             Regular        16.00    19.50   10/02/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.50    29.25   10/02/2017   Sacramento   CA   - Drivers
1254748             Regular         7.50    21.00   02/01/2016   Sacramento   CA   - Drivers
1254748             Regular        11.00    21.00   05/02/2016   Sacramento   CA   - Drivers
1254748             Regular        32.00    20.50   10/09/2017   Sacramento   CA   - Drivers
1254748             Overtime        4.25    30.75   10/09/2017   Sacramento   CA   - Drivers
1254748             Regular        24.00    20.50   10/16/2017   Sacramento   CA   - Drivers
1254748             Overtime        5.50    30.75   10/16/2017   Sacramento   CA   - Drivers
1254748             Regular        32.50    20.50   10/23/2017   Sacramento   CA   - Drivers
1254748             Overtime        6.50    30.75   10/23/2017   Sacramento   CA   - Drivers
1254748             Regular        33.00    20.50   10/30/2017   Sacramento   CA   - Drivers
1254748             Overtime        8.25    30.75   10/30/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    20.50   11/06/2017   Sacramento   CA   - Drivers
1254748             Regular        32.00    20.50   11/13/2017   Sacramento   CA   - Drivers
1254748             Overtime        6.40    30.75   11/13/2017   Sacramento   CA   - Drivers
1254748             Regular        28.30    20.50   11/20/2017   Sacramento   CA   - Drivers
1254748             Overtime       15.30    30.75   11/20/2017   Sacramento   CA   - Drivers
1254748             Regular        41.00    20.50   11/27/2017   Sacramento   CA   - Drivers
1254748             Overtime        7.40    30.75   11/27/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    20.50   12/04/2017   Sacramento   CA   - Drivers
1254748             Overtime        1.80    30.75   12/04/2017   Sacramento   CA   - Drivers
1254748             Regular        16.00    20.50   12/11/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.50    30.75   12/11/2017   Sacramento   CA   - Drivers
1254748             Regular        24.00    20.50   12/18/2017   Sacramento   CA   - Drivers
1254748             Overtime        8.20    30.75   12/18/2017   Sacramento   CA   - Drivers
1254748             Regular         8.00    20.50   12/25/2017   Sacramento   CA   - Drivers
1254748             Overtime        2.70    30.75   12/25/2017   Sacramento   CA   - Drivers
1254748             Regular        51.60    20.50   01/01/2018   Sacramento   CA   - Drivers
1254748             Overtime       11.20    30.75   01/01/2018   Sacramento   CA   - Drivers
1254748             Regular         8.00    20.50   01/08/2018   Sacramento   CA   - Drivers
1254748             Overtime        0.80    30.75   01/08/2018   Sacramento   CA   - Drivers
1254748             Regular        42.00    20.50   01/15/2018   Sacramento   CA   - Drivers
1254748             Overtime        8.60    30.75   01/15/2018   Sacramento   CA   - Drivers
1254748             Regular        27.00    20.50   01/22/2018   Sacramento   CA   - Drivers
1254748             Overtime        7.90    30.75   01/22/2018   Sacramento   CA   - Drivers
1254748             Regular        20.00    20.50   01/29/2018   Sacramento   CA   - Drivers
1254748             Overtime        5.10    30.75   01/29/2018   Sacramento   CA   - Drivers
1254748             Regular        20.00    20.50   02/05/2018   Sacramento   CA   - Drivers
1254748             Overtime        4.00    30.75   02/05/2018   Sacramento   CA   - Drivers
1254748             Regular        25.00    20.50   02/12/2018   Sacramento   CA   - Drivers
1254748             Overtime        7.40    30.75   02/12/2018   Sacramento   CA   - Drivers
1254748             Regular        24.00    20.50   02/19/2018   Sacramento   CA   - Drivers
1254748             Overtime        3.70    30.75   02/19/2018   Sacramento   CA   - Drivers
1254748             Regular        24.00    20.50   02/26/2018   Sacramento   CA   - Drivers
1254748             Overtime        5.10    30.75   02/26/2018   Sacramento   CA   - Drivers
1254748             Regular        30.40    20.50   03/05/2018   Sacramento   CA   - Drivers
1254748             Overtime        8.20    30.75   03/05/2018   Sacramento   CA   - Drivers
1254748             Regular        19.60    20.50   03/12/2018   Sacramento   CA   - Drivers
1254748             Overtime        4.80    30.75   03/12/2018   Sacramento   CA   - Drivers
1254748             Regular         8.00    20.50   03/19/2018   Sacramento   CA   - Drivers
1254748             Overtime        0.40    30.75   03/19/2018   Sacramento   CA   - Drivers
1254748             Regular        26.60    20.50   04/02/2018   Sacramento   CA   - Drivers
1254748             Overtime        4.20    30.75   04/02/2018   Sacramento   CA   - Drivers
1254748             Regular        24.00    20.50   04/09/2018   Sacramento   CA   - Drivers
1254748             Overtime        1.55    30.75   04/09/2018   Sacramento   CA   - Drivers
1254748             Regular        16.00    20.50   04/16/2018   Sacramento   CA   - Drivers
1254748             Overtime        6.20    30.75   04/16/2018   Sacramento   CA   - Drivers
1254748             Regular        30.70    20.50   04/30/2018   Sacramento   CA   - Drivers
1254748             Overtime        9.50    30.75   04/30/2018   Sacramento   CA   - Drivers
1254748             Regular        27.20    20.50   05/07/2018   Sacramento   CA   - Drivers
1254748             Overtime        8.00    30.75   05/07/2018   Sacramento   CA   - Drivers
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                   Regular       22.80Document
                                         20.50 38-5    Filed Sacramento
                                                 05/21/2018  03/22/21 Page    572 of
                                                                        CA - Drivers   691 Page ID
1254748            Overtime       5.20   30.75 #:1345
                                                 05/21/2018 Sacramento CA - Drivers
1254748            Regular       24.00   20.50 05/28/2018 Sacramento CA - Drivers
1254748            Overtime      21.00   30.75 05/28/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 06/11/2018 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 06/11/2018 Sacramento CA - Drivers
1254748            Regular       16.00   20.50 06/25/2018 Sacramento CA - Drivers
1254748            Overtime       5.70   30.75 06/25/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 07/02/2018 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 07/02/2018 Sacramento CA - Drivers
1254748            Regular       32.00   20.50 07/16/2018 Sacramento CA - Drivers
1254748            Overtime      10.90   30.75 07/16/2018 Sacramento CA - Drivers
1254748            Regular       32.00   23.00 07/23/2018 Sacramento CA - Drivers
1254748            Overtime      16.00   34.50 07/23/2018 Sacramento CA - Drivers
1254748            Regular       24.00   20.50 07/30/2018 Sacramento CA - Drivers
1254748            Overtime      12.00   30.75 07/30/2018 Sacramento CA - Drivers
1254748            Regular       16.00   20.50 08/06/2018 Sacramento CA - Drivers
1254748            Overtime       8.00   30.75 08/06/2018 Sacramento CA - Drivers
1254748            Regular       18.00   20.50 08/13/2018 Sacramento CA - Drivers
1254748            Overtime       8.00   30.75 08/13/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 08/20/2018 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 08/20/2018 Sacramento CA - Drivers
1254748            Regular       32.00   20.50 09/17/2018 Sacramento CA - Drivers
1254748            Overtime       9.50   30.75 09/17/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 10/15/2018 Sacramento CA - Drivers
1254748            Overtime       2.40   30.75 10/15/2018 Sacramento CA - Drivers
1254748            Regular       24.00   20.50 10/22/2018 Sacramento CA - Drivers
1254748            Overtime       4.40   30.75 10/22/2018 Sacramento CA - Drivers
1254748            Regular       16.00   20.50 10/29/2018 Sacramento CA - Drivers
1254748            Overtime       4.80   30.75 10/29/2018 Sacramento CA - Drivers
1254748            Regular       16.00   20.50 11/05/2018 Sacramento CA - Drivers
1254748            Overtime       4.70   30.75 11/05/2018 Sacramento CA - Drivers
1254748            Regular       24.00   20.50 11/12/2018 Sacramento CA - Drivers
1254748            Overtime       8.30   30.75 11/12/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 11/19/2018 Sacramento CA - Drivers
1254748            Overtime       7.80   30.75 11/19/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 11/26/2018 Sacramento CA - Drivers
1254748            Overtime       1.00   30.75 11/26/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 12/03/2018 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 12/03/2018 Sacramento CA - Drivers
1254748            Regular       16.00   20.50 12/10/2018 Sacramento CA - Drivers
1254748            Overtime       4.25   30.75 12/10/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 12/17/2018 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 12/17/2018 Sacramento CA - Drivers
1254748            Regular       16.00   20.50 12/31/2018 Sacramento CA - Drivers
1254748            Overtime       4.10   30.75 12/31/2018 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 01/07/2019 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 01/07/2019 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 01/14/2019 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 01/14/2019 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 02/04/2019 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 02/04/2019 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 02/11/2019 Sacramento CA - Drivers
1254748            Overtime       4.00   30.75 02/11/2019 Sacramento CA - Drivers
1254748            Regular        8.00   20.50 02/25/2019 Sacramento CA - Drivers
1254748            Overtime       2.50   30.75 02/25/2019 Sacramento CA - Drivers
1254748            Regular        7.75   19.00 03/14/2016 Sacramento CA - Drivers
1254748            Regular        8.00   20.00 10/03/2016 Sacramento CA - Drivers
1254748            Overtime       0.25   30.00 10/03/2016 Sacramento CA - Drivers
1254748            Regular        8.00   23.00 12/10/2018 Sacramento CA - Drivers
1254748            Overtime       0.75   34.50 12/10/2018 Sacramento CA - Drivers
Total for 1254748             3,146.75
2358348            Regular       40.00   19.75 08/14/2017 Sacramento CA - Drivers
2358348 Case 2:19-cv-08580-JFW-MAA
                   Overtime     10.75Document
                                        29.63 38-5    Filed Sacramento
                                                08/14/2017  03/22/21 Page    573 of 691
                                                                       CA - Drivers       Page ID
2358348            Regular      40.00   19.75 #:1346
                                                08/21/2017 Sacramento CA - Drivers
2358348            Overtime      9.25   29.63 08/21/2017 Sacramento CA - Drivers
2358348            Regular      40.00   19.75 08/28/2017 Sacramento CA - Drivers
2358348            Overtime     12.00   29.63 08/28/2017 Sacramento CA - Drivers
2358348            Regular      32.00   19.75 09/04/2017 Sacramento CA - Drivers
2358348            Overtime     12.50   29.63 09/04/2017 Sacramento CA - Drivers
2358348            Regular      32.00   19.75 09/11/2017 Sacramento CA - Drivers
2358348            Overtime      6.00   29.63 09/11/2017 Sacramento CA - Drivers
2358348            Regular      40.00   19.75 09/18/2017 Sacramento CA - Drivers
2358348            Overtime     10.75   29.63 09/18/2017 Sacramento CA - Drivers
2358348            Regular      32.00   19.75 09/25/2017 Sacramento CA - Drivers
2358348            Overtime      5.00   29.63 09/25/2017 Sacramento CA - Drivers
2358348            Regular      40.00   19.75 10/02/2017 Sacramento CA - Drivers
2358348            Overtime      7.75   29.63 10/02/2017 Sacramento CA - Drivers
2358348            Regular      40.00   19.75 10/09/2017 Sacramento CA - Drivers
2358348            Overtime     13.75   29.63 10/09/2017 Sacramento CA - Drivers
Total for 2358348              423.75
2235680            Regular       8.00   19.50 06/05/2017 Los Angeles CA West - Drivers
2235680            Overtime      0.50   29.25 06/05/2017 Los Angeles CA West - Drivers
2235680            Regular       8.00   19.50 07/03/2017 Los Angeles CA West - Drivers
2235680            Overtime      0.75   29.25 07/03/2017 Los Angeles CA West - Drivers
2235680            Regular       8.00   19.50 07/10/2017 Los Angeles CA West - Drivers
2235680            Overtime      0.50   29.25 07/10/2017 Los Angeles CA West - Drivers
2235680            Regular       6.00   19.50 07/24/2017 Los Angeles CA West - Drivers
2235680            Regular       6.00   19.50 04/09/2018 Los Angeles CA West - Drivers
2235680            Regular      12.25   20.00 06/05/2017 Los Angeles CA West - Drivers
2235680            Overtime      1.50   30.00 06/05/2017 Los Angeles CA West - Drivers
2235680            Regular       8.00   19.00 08/21/2017 Los Angeles CA West - Drivers
2235680            Overtime      0.50   28.50 08/21/2017 Los Angeles CA West - Drivers
2235680            Regular      40.00   19.00 06/12/2017 Los Angeles CA West - Drivers
2235680            Overtime      6.00   28.50 06/12/2017 Los Angeles CA West - Drivers
2235680            Regular      32.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2235680            Overtime      8.25   28.50 06/19/2017 Los Angeles CA West - Drivers
2235680            Regular      40.00   19.00 06/26/2017 Los Angeles CA West - Drivers
2235680            Overtime     12.50   28.50 06/26/2017 Los Angeles CA West - Drivers
2235680            Regular      16.00   19.00 07/03/2017 Los Angeles CA West - Drivers
2235680            Overtime      6.50   28.50 07/03/2017 Los Angeles CA West - Drivers
2235680            Regular      32.00   19.00 07/10/2017 Los Angeles CA West - Drivers
2235680            Overtime     10.00   28.50 07/10/2017 Los Angeles CA West - Drivers
2235680            Regular      40.00   19.00 07/17/2017 Los Angeles CA West - Drivers
2235680            Overtime     12.00   28.50 07/17/2017 Los Angeles CA West - Drivers
2235680            Regular       8.00   19.00 07/24/2017 Los Angeles CA West - Drivers
2235680            Overtime      2.50   28.50 07/24/2017 Los Angeles CA West - Drivers
Total for 2235680              325.75
1186037            Regular       8.00   16.00 10/12/2015 Los Angeles CA East - Drivers
1186037            Overtime      2.00   24.00 10/12/2015 Los Angeles CA East - Drivers
1186037            Regular      62.00   16.00 11/02/2015 Los Angeles CA East - Drivers
1186037            Overtime     23.50   24.00 11/02/2015 Los Angeles CA East - Drivers
1186037            Regular      50.00   16.00 11/16/2015 Los Angeles CA East - Drivers
1186037            Overtime     26.75   24.00 11/16/2015 Los Angeles CA East - Drivers
1186037            Regular      15.00   16.00 11/30/2015 Los Angeles CA East - Drivers
1186037            Overtime      1.00   24.00 11/30/2015 Los Angeles CA East - Drivers
1186037            Regular      16.00   16.00 12/07/2015 Los Angeles CA East - Drivers
1186037            Overtime      4.00   24.00 12/07/2015 Los Angeles CA East - Drivers
Total for 1186037              208.25
2730511            Regular       8.00   21.00 05/27/2019 Los Angeles CA East - Drivers
2730511            Overtime      2.00   31.50 05/27/2019 Los Angeles CA East - Drivers
2730511            Regular      22.25   23.00 04/22/2019 Los Angeles CA East - Drivers
2730511            Regular      44.75   23.00 04/29/2019 Los Angeles CA East - Drivers
2730511            Regular      63.00   23.00 05/06/2019 Los Angeles CA East - Drivers
2730511            Regular      32.00   21.00 06/03/2019 Los Angeles CA East - Drivers
2730511            Overtime      9.00   31.50 06/03/2019 Los Angeles CA East - Drivers
2730511 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        21.00 38-5    Filed Los
                                                06/10/2019  03/22/21
                                                                AngelesPage 574
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2730511            Overtime      8.25   31.50 #:1347
                                                06/10/2019 Los Angeles CA East - Drivers
2730511            Regular      16.00   21.00 06/17/2019 Los Angeles CA East - Drivers
2730511            Overtime      1.25   31.50 06/17/2019 Los Angeles CA East - Drivers
2730511            Regular       8.00   21.00 05/20/2019 Los Angeles CA East - Drivers
2730511            Overtime      2.00   31.50 05/20/2019 Los Angeles CA East - Drivers
Total for 2730511              256.50
2406850            Regular       8.00   21.50 10/30/2017 Los Angeles CA East - Drivers
2406850            Overtime      1.50   32.25 10/30/2017 Los Angeles CA East - Drivers
Total for 2406850                9.50
2794854            Regular      24.00   22.00 06/24/2019 Sacramento CA - Drivers
2794854            Overtime     12.00   33.00 06/24/2019 Sacramento CA - Drivers
2794854            Regular      32.00   22.00 07/01/2019 Sacramento CA - Drivers
2794854            Overtime     13.75   33.00 07/01/2019 Sacramento CA - Drivers
2794854            Regular      24.00   22.00 07/08/2019 Sacramento CA - Drivers
2794854            Overtime      9.00   33.00 07/08/2019 Sacramento CA - Drivers
Total for 2794854              114.75
2475397            Regular      40.00   20.00 02/19/2018 Sacramento CA - Drivers
2475397            Regular      40.00   20.00 02/26/2018 Sacramento CA - Drivers
2475397            Overtime      1.50   30.00 02/26/2018 Sacramento CA - Drivers
2475397            Regular      40.00   20.00 03/05/2018 Sacramento CA - Drivers
2475397            Regular      40.00   20.00 03/12/2018 Sacramento CA - Drivers
2475397            Overtime      0.75   30.00 03/12/2018 Sacramento CA - Drivers
2475397            Regular      40.00   20.00 03/19/2018 Sacramento CA - Drivers
2475397            Overtime      0.50   30.00 03/19/2018 Sacramento CA - Drivers
2475397            Regular      40.00   20.00 03/26/2018 Sacramento CA - Drivers
2475397            Regular      40.00   20.00 04/02/2018 Sacramento CA - Drivers
2475397            Regular      32.00   20.00 04/09/2018 Sacramento CA - Drivers
Total for 2475397              314.75
1234837            Regular       8.00   18.50 10/31/2016 Los Angeles CA West - Drivers
1234837            Regular      32.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1234837            Overtime     10.25   30.00 06/20/2016 Los Angeles CA West - Drivers
1234837            Regular      32.00   20.00 06/27/2016 Los Angeles CA West - Drivers
1234837            Overtime      9.75   30.00 06/27/2016 Los Angeles CA West - Drivers
1234837            Regular      16.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1234837            Overtime      2.50   30.00 07/04/2016 Los Angeles CA West - Drivers
1234837            Regular      24.00   20.00 07/11/2016 Los Angeles CA West - Drivers
1234837            Overtime      4.00   30.00 07/11/2016 Los Angeles CA West - Drivers
1234837            Regular      40.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1234837            Overtime     12.00   30.00 07/18/2016 Los Angeles CA West - Drivers
1234837            Regular      32.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1234837            Overtime     12.50   30.00 07/25/2016 Los Angeles CA West - Drivers
1234837            Regular      25.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1234837            Overtime      6.50   30.00 08/01/2016 Los Angeles CA West - Drivers
1234837            Regular      32.00   20.00 08/08/2016 Los Angeles CA West - Drivers
1234837            Overtime      9.75   30.00 08/08/2016 Los Angeles CA West - Drivers
1234837            Regular      24.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1234837            Overtime      4.25   30.00 08/15/2016 Los Angeles CA West - Drivers
1234837            Regular      40.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1234837            Overtime     12.25   30.00 08/22/2016 Los Angeles CA West - Drivers
1234837            Regular      31.50   20.00 08/29/2016 Los Angeles CA West - Drivers
1234837            Overtime      5.00   30.00 08/29/2016 Los Angeles CA West - Drivers
1234837            Regular      21.25   20.00 09/05/2016 Los Angeles CA West - Drivers
1234837            Overtime      8.50   30.00 09/05/2016 Los Angeles CA West - Drivers
1234837            Regular      40.00   20.00 09/12/2016 Los Angeles CA West - Drivers
1234837            Overtime      8.50   30.00 09/12/2016 Los Angeles CA West - Drivers
1234837            Regular      32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1234837            Overtime      5.75   30.00 09/19/2016 Los Angeles CA West - Drivers
1234837            Regular      24.00   20.00 09/26/2016 Los Angeles CA West - Drivers
1234837            Overtime      5.75   30.00 09/26/2016 Los Angeles CA West - Drivers
1234837            Regular      16.00   20.00 10/03/2016 Los Angeles CA West - Drivers
1234837            Overtime      5.00   30.00 10/03/2016 Los Angeles CA West - Drivers
1234837            Regular      18.00   20.00 11/28/2016 Los Angeles CA West - Drivers
1234837 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.50Document
                                         30.00 38-5    Filed Los
                                                 11/28/2016  03/22/21
                                                                 AngelesPage 575- Drivers
                                                                        CA West   of 691    Page ID
1234837            Regular       36.00   20.00 #:1348
                                                 12/05/2016 Los Angeles CA West - Drivers
1234837            Overtime       8.00   30.00 12/05/2016 Los Angeles CA West - Drivers
1234837            Regular       32.00   20.00 12/12/2016 Los Angeles CA West - Drivers
1234837            Overtime       2.75   30.00 12/12/2016 Los Angeles CA West - Drivers
1234837            Regular       37.75   20.00 12/19/2016 Los Angeles CA West - Drivers
1234837            Overtime       4.00   30.00 12/19/2016 Los Angeles CA West - Drivers
1234837            Regular       32.00   20.00 12/26/2016 Los Angeles CA West - Drivers
1234837            Overtime       4.00   30.00 12/26/2016 Los Angeles CA West - Drivers
1234837            Regular       36.00   20.00 01/02/2017 Los Angeles CA West - Drivers
1234837            Regular       27.00   20.00 01/09/2017 Los Angeles CA West - Drivers
1234837            Regular       31.50   20.00 01/16/2017 Los Angeles CA West - Drivers
1234837            Overtime       5.50   30.00 01/16/2017 Los Angeles CA West - Drivers
1234837            Regular       38.00   20.00 01/23/2017 Los Angeles CA West - Drivers
1234837            Overtime      10.00   30.00 01/23/2017 Los Angeles CA West - Drivers
1234837            Regular       32.00   20.00 01/30/2017 Los Angeles CA West - Drivers
1234837            Overtime      12.00   30.00 01/30/2017 Los Angeles CA West - Drivers
1234837            Regular       32.00   20.00 02/06/2017 Los Angeles CA West - Drivers
1234837            Overtime      14.00   30.00 02/06/2017 Los Angeles CA West - Drivers
1234837            Regular       24.00   20.00 02/13/2017 Los Angeles CA West - Drivers
1234837            Overtime      11.50   30.00 02/13/2017 Los Angeles CA West - Drivers
1234837            Regular        4.00   19.00 04/10/2017 Los Angeles CA West - Drivers
1234837            Regular       16.00   20.00 03/20/2017 Los Angeles CA West - Drivers
1234837            Overtime       1.75   30.00 03/20/2017 Los Angeles CA West - Drivers
1234837            Regular       36.00   20.00 03/27/2017 Los Angeles CA West - Drivers
1234837            Overtime       3.50   30.00 03/27/2017 Los Angeles CA West - Drivers
1234837            Regular       24.00   20.00 04/03/2017 Los Angeles CA West - Drivers
1234837            Overtime       2.00   30.00 04/03/2017 Los Angeles CA West - Drivers
1234837            Regular       32.00   20.00 10/10/2016 Los Angeles CA West - Drivers
1234837            Overtime       6.75   30.00 10/10/2016 Los Angeles CA West - Drivers
1234837            Regular       32.00   20.00 10/17/2016 Los Angeles CA West - Drivers
1234837            Overtime       4.00   30.00 10/17/2016 Los Angeles CA West - Drivers
1234837            Regular        8.00   20.00 10/24/2016 Los Angeles CA West - Drivers
1234837            Overtime       2.25   30.00 10/24/2016 Los Angeles CA West - Drivers
1234837            Regular        9.00   19.00 11/07/2016 Los Angeles CA West - Drivers
1234837            Regular        7.25   19.00 11/14/2016 Los Angeles CA West - Drivers
Total for 1234837             1,230.00
2754677            Regular       16.00   18.50 04/29/2019 Los Angeles CA West - Drivers
2754677            Overtime       2.00   27.75 04/29/2019 Los Angeles CA West - Drivers
2754677            Regular       40.00   18.50 05/06/2019 Los Angeles CA West - Drivers
2754677            Overtime       2.00   27.75 05/06/2019 Los Angeles CA West - Drivers
2754677            Regular       24.00   18.50 05/13/2019 Los Angeles CA West - Drivers
2754677            Overtime       4.00   27.75 05/13/2019 Los Angeles CA West - Drivers
2754677            Regular       39.00   18.00 07/08/2019 Los Angeles CA West - Drivers
2754677            Overtime       1.00   27.00 07/08/2019 Los Angeles CA West - Drivers
Total for 2754677               128.00
2559727            Regular        6.50   21.21 07/30/2018 Sacramento CA - Drivers
Total for 2559727                 6.50
1301393            Regular        8.00   20.00 04/25/2016 Sacramento CA - Drivers
Total for 1301393                 8.00
2642679            Regular        8.00   26.00 02/11/2019 zz - San Francisco CA - Drivers
2642679            Overtime       1.00   39.00 02/11/2019 zz - San Francisco CA - Drivers
2642679            Regular        8.00   26.00 02/18/2019 zz - San Francisco CA - Drivers
2642679            Regular       16.00   22.00 11/12/2018 zz - San Francisco CA - Drivers
2642679            Regular       32.00   22.00 11/19/2018 zz - San Francisco CA - Drivers
2642679            Regular       32.00   22.00 11/26/2018 zz - San Francisco CA - Drivers
2642679            Overtime       0.50   33.00 11/26/2018 zz - San Francisco CA - Drivers
2642679            Regular       40.00   22.00 12/03/2018 zz - San Francisco CA - Drivers
2642679            Overtime       2.00   33.00 12/03/2018 zz - San Francisco CA - Drivers
2642679            Regular       32.00   22.00 12/10/2018 zz - San Francisco CA - Drivers
2642679            Regular       40.00   22.00 12/17/2018 zz - San Francisco CA - Drivers
2642679            Overtime       6.00   33.00 12/17/2018 zz - San Francisco CA - Drivers
2642679            Regular       24.00   22.00 12/24/2018 zz - San Francisco CA - Drivers
2642679 Case 2:19-cv-08580-JFW-MAA
                   Regular      24.00Document
                                        22.00 38-5    Filed zz
                                                12/31/2018  03/22/21    Page CA
                                                               - San Francisco 576- Drivers
                                                                                    of 691    Page ID
2642679            Overtime      4.00   33.00 #:1349
                                                12/31/2018 zz - San Francisco CA - Drivers
2642679            Regular      32.00   22.00 01/07/2019 zz - San Francisco CA - Drivers
2642679            Overtime      4.50   33.00 01/07/2019 zz - San Francisco CA - Drivers
2642679            Regular      40.00   22.00 01/14/2019 zz - San Francisco CA - Drivers
2642679            Overtime      8.50   33.00 01/14/2019 zz - San Francisco CA - Drivers
2642679            Regular      40.00   22.00 01/21/2019 zz - San Francisco CA - Drivers
2642679            Overtime      4.50   33.00 01/21/2019 zz - San Francisco CA - Drivers
2642679            Regular      16.00   22.00 01/28/2019 zz - San Francisco CA - Drivers
2642679            Overtime      2.50   33.00 01/28/2019 zz - San Francisco CA - Drivers
2642679            Regular      40.00   22.00 02/04/2019 zz - San Francisco CA - Drivers
2642679            Overtime      9.50   33.00 02/04/2019 zz - San Francisco CA - Drivers
Total for 2642679              467.00
2475458            Regular      18.00   22.00 08/26/2019 Sacramento CA - Drivers
2475458            Overtime      0.30   33.00 08/26/2019 Sacramento CA - Drivers
Total for 2475458               18.30
1360582            Regular      35.75   21.00 07/25/2016 Sacramento CA - Drivers
1360582            Overtime      4.00   31.50 07/25/2016 Sacramento CA - Drivers
1360582            Regular      30.25   21.00 08/01/2016 Sacramento CA - Drivers
1360582            Regular      42.25   21.00 08/08/2016 Sacramento CA - Drivers
1360582            Overtime      1.75   31.50 08/08/2016 Sacramento CA - Drivers
1360582            Regular      39.75   21.00 08/15/2016 Sacramento CA - Drivers
1360582            Regular      38.00   21.00 08/22/2016 Sacramento CA - Drivers
1360582            Regular      37.75   21.00 08/29/2016 Sacramento CA - Drivers
1360582            Regular      35.00   21.00 09/05/2016 Sacramento CA - Drivers
1360582            Overtime     11.00   31.50 09/05/2016 Sacramento CA - Drivers
Total for 1360582              275.50
2632127            Regular      16.00   21.00 11/05/2018 Los Angeles CA East - Drivers
2632127            Overtime      7.00   31.50 11/05/2018 Los Angeles CA East - Drivers
2632127            Regular      40.00   21.00 12/03/2018 Los Angeles CA East - Drivers
2632127            Overtime     12.00   31.50 12/03/2018 Los Angeles CA East - Drivers
Total for 2632127               75.00
1159172            Regular       5.75   19.50 01/01/2018 Los Angeles CA East - Drivers
1159172            Regular      24.00   20.00 09/18/2017 Los Angeles CA East - Drivers
1159172            Overtime      8.50   30.00 09/18/2017 Los Angeles CA East - Drivers
1159172            Regular      24.00   20.00 10/02/2017 Los Angeles CA East - Drivers
1159172            Overtime      8.50   30.00 10/02/2017 Los Angeles CA East - Drivers
1159172            Regular      18.50   20.98 11/13/2017 Los Angeles CA East - Drivers
1159172            Regular      11.80   20.98 12/04/2017 Los Angeles CA East - Drivers
1159172            Regular      10.50   20.98 12/11/2017 Los Angeles CA East - Drivers
1159172            Regular      40.00   20.98 12/18/2017 Los Angeles CA East - Drivers
1159172            Regular      22.50   20.00 11/20/2017 Los Angeles CA East - Drivers
1159172            Regular      23.75   20.00 11/27/2017 Los Angeles CA East - Drivers
1159172            Overtime      2.50   30.00 11/27/2017 Los Angeles CA East - Drivers
1159172            Regular      24.00   20.00 12/04/2017 Los Angeles CA East - Drivers
1159172            Overtime      0.25   30.00 12/04/2017 Los Angeles CA East - Drivers
1159172            Regular      40.00   20.00 12/11/2017 Los Angeles CA East - Drivers
1159172            Overtime      0.50   30.00 12/11/2017 Los Angeles CA East - Drivers
1159172            Regular      32.00   20.00 10/02/2017 Los Angeles CA East - Drivers
1159172            Overtime     10.50   30.00 10/02/2017 Los Angeles CA East - Drivers
1159172            Regular      24.00   20.00 10/09/2017 Los Angeles CA East - Drivers
1159172            Overtime      4.00   30.00 10/09/2017 Los Angeles CA East - Drivers
1159172            Regular       8.00   20.00 10/16/2017 Los Angeles CA East - Drivers
1159172            Overtime      2.75   30.00 10/16/2017 Los Angeles CA East - Drivers
1159172            Regular      40.00   20.00 10/23/2017 Los Angeles CA East - Drivers
1159172            Overtime     12.00   30.00 10/23/2017 Los Angeles CA East - Drivers
1159172            Regular      40.00   20.00 10/30/2017 Los Angeles CA East - Drivers
1159172            Overtime     10.00   30.00 10/30/2017 Los Angeles CA East - Drivers
1159172            Regular      16.00   20.00 11/06/2017 Los Angeles CA East - Drivers
1159172            Overtime      1.50   30.00 11/06/2017 Los Angeles CA East - Drivers
Total for 1159172              465.80
551958             Regular       8.00   17.00 12/07/2015 Los Angeles CA East - Drivers
551958             Overtime      6.50   25.50 12/07/2015 Los Angeles CA East - Drivers
          Case 2:19-cv-08580-JFW-MAA
Total for 551958                  14.50Document 38-5 Filed 03/22/21 Page 577 of 691          Page ID
715666               Regular       8.00   22.00 #:1350
                                                  01/07/2019 Los Angeles CA East - Drivers
Total for 715666                   8.00
898072               Regular      24.00   19.00 08/31/2015 Los Angeles CA West - Drivers
898072               Overtime     10.00   28.50 08/31/2015 Los Angeles CA West - Drivers
898072               Regular      24.00   19.00 09/07/2015 Los Angeles CA West - Drivers
898072               Overtime     11.00   28.50 09/07/2015 Los Angeles CA West - Drivers
898072               Regular      32.00   19.00 09/14/2015 Los Angeles CA West - Drivers
898072               Overtime      9.25   28.50 09/14/2015 Los Angeles CA West - Drivers
898072               Regular      47.00   19.00 09/21/2015 Los Angeles CA West - Drivers
898072               Overtime      3.50   28.50 09/21/2015 Los Angeles CA West - Drivers
898072               Regular      32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
898072               Overtime      9.50   28.50 09/28/2015 Los Angeles CA West - Drivers
898072               Regular      32.00   19.00 10/05/2015 Los Angeles CA West - Drivers
898072               Overtime      4.75   28.50 10/05/2015 Los Angeles CA West - Drivers
898072               Regular      32.50   19.00 10/12/2015 Los Angeles CA West - Drivers
898072               Overtime      5.25   28.50 10/12/2015 Los Angeles CA West - Drivers
898072               Regular      16.50   19.00 09/21/2015 Los Angeles CA West - Drivers
898072               Overtime     10.00   28.50 09/21/2015 Los Angeles CA West - Drivers
898072               Regular       8.00   19.00 10/26/2015 Los Angeles CA West - Drivers
898072               Overtime      2.50   28.50 10/26/2015 Los Angeles CA West - Drivers
898072               Regular       6.75   19.00 11/02/2015 Los Angeles CA West - Drivers
898072               Regular      16.00   20.00 11/30/2015 Los Angeles CA West - Drivers
898072               Overtime      2.25   30.00 11/30/2015 Los Angeles CA West - Drivers
898072               Regular      29.25   20.00 12/07/2015 Los Angeles CA West - Drivers
898072               Overtime      4.50   30.00 12/07/2015 Los Angeles CA West - Drivers
898072               Regular      38.25   20.00 12/14/2015 Los Angeles CA West - Drivers
898072               Overtime      9.50   30.00 12/14/2015 Los Angeles CA West - Drivers
898072               Regular       8.00   20.00 12/21/2015 Los Angeles CA West - Drivers
898072               Overtime      3.50   30.00 12/21/2015 Los Angeles CA West - Drivers
898072               Regular      24.00   20.00 12/28/2015 Los Angeles CA West - Drivers
898072               Overtime      5.00   30.00 12/28/2015 Los Angeles CA West - Drivers
898072               Regular      24.00   20.00 01/04/2016 Los Angeles CA West - Drivers
898072               Overtime      6.75   30.00 01/04/2016 Los Angeles CA West - Drivers
898072               Regular       8.00   20.00 01/11/2016 Los Angeles CA West - Drivers
898072               Overtime      1.00   30.00 01/11/2016 Los Angeles CA West - Drivers
898072               Regular      31.00   20.00 01/18/2016 Los Angeles CA West - Drivers
898072               Overtime      2.50   30.00 01/18/2016 Los Angeles CA West - Drivers
898072               Regular       7.75   20.00 01/25/2016 Los Angeles CA West - Drivers
Total for 898072                 541.75
771275               Regular      30.50   20.00 08/31/2015 Los Angeles CA West - Drivers
771275               Overtime      7.00   30.00 08/31/2015 Los Angeles CA West - Drivers
771275               Regular       8.00   20.00 09/07/2015 Los Angeles CA West - Drivers
771275               Regular      15.75   20.00 09/14/2015 Los Angeles CA West - Drivers
771275               Overtime      2.75   30.00 09/14/2015 Los Angeles CA West - Drivers
771275               Regular      21.75   20.00 09/21/2015 Los Angeles CA West - Drivers
771275               Overtime      9.00   30.00 09/21/2015 Los Angeles CA West - Drivers
771275               Regular      21.50   20.00 09/28/2015 Los Angeles CA West - Drivers
771275               Overtime      1.25   30.00 09/28/2015 Los Angeles CA West - Drivers
771275               Regular      24.00   20.00 10/05/2015 Los Angeles CA West - Drivers
771275               Overtime      1.75   30.00 10/05/2015 Los Angeles CA West - Drivers
771275               Regular      32.00   20.00 10/12/2015 Los Angeles CA West - Drivers
771275               Overtime      6.75   30.00 10/12/2015 Los Angeles CA West - Drivers
771275               Regular      23.75   20.00 10/19/2015 Los Angeles CA West - Drivers
771275               Overtime      7.75   30.00 10/19/2015 Los Angeles CA West - Drivers
771275               Regular      32.00   20.00 10/26/2015 Los Angeles CA West - Drivers
771275               Overtime     11.50   30.00 10/26/2015 Los Angeles CA West - Drivers
771275               Regular      32.00   20.00 11/02/2015 Los Angeles CA West - Drivers
771275               Overtime      4.25   30.00 11/02/2015 Los Angeles CA West - Drivers
771275               Regular      22.25   20.00 11/09/2015 Los Angeles CA West - Drivers
771275               Overtime      3.25   30.00 11/09/2015 Los Angeles CA West - Drivers
771275               Regular      32.00   20.00 11/16/2015 Los Angeles CA West - Drivers
771275               Overtime      6.00   30.00 11/16/2015 Los Angeles CA West - Drivers
771275   Case 2:19-cv-08580-JFW-MAA
                    Regular      16.00Document
                                         20.00 38-5    Filed Los
                                                 11/23/2015  03/22/21
                                                                 AngelesPage 578- Drivers
                                                                        CA West   of 691 Page ID
771275              Overtime      1.75   30.00 #:1351
                                                 11/23/2015 Los Angeles CA West - Drivers
771275              Regular        32.00    20.00   11/30/2015   Los   Angeles   CA   West   - Drivers
771275              Overtime        6.50    30.00   11/30/2015   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    20.00   12/07/2015   Los   Angeles   CA   West   - Drivers
771275              Overtime        5.50    30.00   12/07/2015   Los   Angeles   CA   West   - Drivers
771275              Regular        40.00    20.00   12/14/2015   Los   Angeles   CA   West   - Drivers
771275              Overtime       11.75    30.00   12/14/2015   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    20.00   12/21/2015   Los   Angeles   CA   West   - Drivers
771275              Overtime        5.25    30.00   12/21/2015   Los   Angeles   CA   West   - Drivers
771275              Regular        23.50    20.00   12/28/2015   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.00    30.00   12/28/2015   Los   Angeles   CA   West   - Drivers
771275              Regular        40.00    20.00   01/04/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime       14.00    30.00   01/04/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    20.00   01/11/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        9.50    30.00   01/11/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        39.25    20.00   01/18/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        9.50    30.00   01/18/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        14.00    20.00   01/25/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    20.00   02/01/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        4.25    30.00   02/01/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        29.25    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.50    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        40.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime       10.75    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        40.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime       11.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        38.75    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        8.25    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        40.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        5.75    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        40.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime       10.25    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        9.00    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        23.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.75    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        24.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        6.25    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        39.50    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.75    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime       14.75    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        32.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime       10.75    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        16.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.00    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
771275              Regular        31.25    22.00   03/25/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        0.25    33.00   03/25/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        30.50    22.00   04/01/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        4.25    33.00   04/01/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        38.50    22.00   04/08/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        6.25    33.00   04/08/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        34.50    22.00   04/15/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        2.00    33.00   04/15/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        31.75    22.00   04/22/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.25    33.00   04/22/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        37.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        4.25    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        30.00    22.00   05/06/2019   Los   Angeles   CA   West   - Drivers
771275              Overtime        3.75    33.00   05/06/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        20.25    22.00   05/13/2019   Los   Angeles   CA   West   - Drivers
771275              Regular        28.25    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
771275 Case 2:19-cv-08580-JFW-MAA
                  Overtime       0.25Document
                                        33.00 38-5    Filed Los
                                                05/20/2019  03/22/21
                                                                AngelesPage 579- Drivers
                                                                       CA West   of 691    Page ID
771275            Regular       29.50   22.00 #:1352
                                                05/27/2019 Los Angeles CA West - Drivers
771275            Overtime       3.00   33.00 05/27/2019 Los Angeles CA West - Drivers
771275            Regular       14.75   22.00 06/03/2019 Los Angeles CA West - Drivers
771275            Overtime       1.75   33.00 06/03/2019 Los Angeles CA West - Drivers
771275            Regular       14.75   22.00 06/10/2019 Los Angeles CA West - Drivers
771275            Overtime       0.50   33.00 06/10/2019 Los Angeles CA West - Drivers
771275            Regular       29.25   39.17 03/11/2019 Los Angeles CA West - Drivers
771275            Overtime       1.75   58.76 03/11/2019 Los Angeles CA West - Drivers
771275            Regular        6.75   39.17 03/18/2019 Los Angeles CA West - Drivers
Total for 771275             1,696.00
1354603           Regular       32.00   23.00 11/12/2018 Los Angeles CA East - Drivers
1354603           Overtime       1.50   34.50 11/12/2018 Los Angeles CA East - Drivers
1354603           Regular       22.25   24.00 11/19/2018 Los Angeles CA East - Drivers
1354603           Overtime       2.25   36.00 11/19/2018 Los Angeles CA East - Drivers
1354603           Regular       40.00   25.00 11/26/2018 Los Angeles CA East - Drivers
1354603           Overtime       1.50   37.50 11/26/2018 Los Angeles CA East - Drivers
1354603           Regular       40.00   25.00 12/03/2018 Los Angeles CA East - Drivers
1354603           Overtime       2.50   37.50 12/03/2018 Los Angeles CA East - Drivers
1354603           Regular       40.00   25.00 12/10/2018 Los Angeles CA East - Drivers
1354603           Regular       40.00   25.00 12/17/2018 Los Angeles CA East - Drivers
1354603           Overtime       3.75   37.50 12/17/2018 Los Angeles CA East - Drivers
1354603           Regular       24.00   25.00 12/24/2018 Los Angeles CA East - Drivers
1354603           Regular       24.00   25.00 12/31/2018 Los Angeles CA East - Drivers
1354603           Regular       40.00   25.00 01/07/2019 Los Angeles CA East - Drivers
1354603           Overtime      12.50   37.50 01/07/2019 Los Angeles CA East - Drivers
1354603           Regular       32.00   25.00 01/14/2019 Los Angeles CA East - Drivers
1354603           Overtime      13.50   37.50 01/14/2019 Los Angeles CA East - Drivers
1354603           Regular       40.00   25.00 01/21/2019 Los Angeles CA East - Drivers
1354603           Overtime      15.50   37.50 01/21/2019 Los Angeles CA East - Drivers
1354603           Regular        8.00   25.00 01/28/2019 Los Angeles CA East - Drivers
1354603           Overtime       3.00   37.50 01/28/2019 Los Angeles CA East - Drivers
1354603           Regular       24.00   20.00 11/05/2018 Los Angeles CA East - Drivers
1354603           Regular       16.00   21.00 02/11/2019 Los Angeles CA East - Drivers
1354603           Overtime       8.00   31.50 02/11/2019 Los Angeles CA East - Drivers
1354603           Regular       40.00   21.00 02/18/2019 Los Angeles CA East - Drivers
1354603           Overtime      19.00   31.50 02/18/2019 Los Angeles CA East - Drivers
1354603           Regular       37.00   21.00 02/25/2019 Los Angeles CA East - Drivers
1354603           Overtime      15.50   31.50 02/25/2019 Los Angeles CA East - Drivers
1354603           Regular        8.00   20.00 10/29/2018 Los Angeles CA East - Drivers
1354603           Overtime       4.00   30.00 10/29/2018 Los Angeles CA East - Drivers
Total for 1354603              609.75
2638164           Regular       20.00   22.00 01/14/2019 Sacramento CA - Drivers
2638164           Regular       24.00   22.00 06/17/2019 Sacramento CA - Drivers
2638164           Overtime       4.00   33.00 06/17/2019 Sacramento CA - Drivers
2638164           Regular       16.00   22.00 07/01/2019 Sacramento CA - Drivers
2638164           Overtime       3.20   33.00 07/01/2019 Sacramento CA - Drivers
2638164           Regular       16.00   22.00 07/22/2019 Sacramento CA - Drivers
2638164           Overtime       2.60   33.00 07/22/2019 Sacramento CA - Drivers
2638164           Regular       23.20   22.00 07/29/2019 Sacramento CA - Drivers
2638164           Overtime       4.80   33.00 07/29/2019 Sacramento CA - Drivers
2638164           Regular       12.00   22.00 08/05/2019 Sacramento CA - Drivers
2638164           Overtime       3.30   33.00 08/05/2019 Sacramento CA - Drivers
2638164           Regular       12.25   21.21 11/12/2018 Sacramento CA - Drivers
2638164           Regular        7.25   21.21 11/19/2018 Sacramento CA - Drivers
2638164           Regular       20.00   21.21 11/26/2018 Sacramento CA - Drivers
2638164           Regular       12.75   21.21 12/03/2018 Sacramento CA - Drivers
2638164           Regular       31.50   21.21 12/10/2018 Sacramento CA - Drivers
2638164           Regular       22.25   21.21 12/17/2018 Sacramento CA - Drivers
2638164           Regular       12.00   21.21 12/24/2018 Sacramento CA - Drivers
2638164           Regular       17.75   21.21 12/31/2018 Sacramento CA - Drivers
2638164           Regular        6.00   21.21 05/20/2019 Sacramento CA - Drivers
2638164           Regular        6.25   21.21 05/27/2019 Sacramento CA - Drivers
2638164 Case 2:19-cv-08580-JFW-MAA
                   Regular       6.50Document
                                        20.98 38-5    Filed Sacramento
                                                06/03/2019  03/22/21 Page    580 of 691
                                                                       CA - Drivers       Page ID
2638164            Regular      10.00   21.00 #:1353
                                                01/21/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 01/28/2019 Sacramento CA - Drivers
2638164            Overtime      9.75   31.50 01/28/2019 Sacramento CA - Drivers
2638164            Regular      24.00   21.00 02/04/2019 Sacramento CA - Drivers
2638164            Overtime      4.75   31.50 02/04/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 02/11/2019 Sacramento CA - Drivers
2638164            Overtime     13.00   31.50 02/11/2019 Sacramento CA - Drivers
2638164            Regular      24.00   21.00 02/18/2019 Sacramento CA - Drivers
2638164            Overtime      6.00   31.50 02/18/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 02/25/2019 Sacramento CA - Drivers
2638164            Overtime      9.25   31.50 02/25/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 03/04/2019 Sacramento CA - Drivers
2638164            Overtime      9.75   31.50 03/04/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 03/11/2019 Sacramento CA - Drivers
2638164            Overtime     15.00   31.50 03/11/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 03/18/2019 Sacramento CA - Drivers
2638164            Overtime     11.50   31.50 03/18/2019 Sacramento CA - Drivers
2638164            Regular      32.00   21.00 03/25/2019 Sacramento CA - Drivers
2638164            Overtime      8.00   31.50 03/25/2019 Sacramento CA - Drivers
2638164            Regular       8.00   21.00 04/01/2019 Sacramento CA - Drivers
2638164            Regular       8.00   21.00 04/22/2019 Sacramento CA - Drivers
2638164            Overtime      1.00   31.50 04/22/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 04/29/2019 Sacramento CA - Drivers
2638164            Overtime      8.75   31.50 04/29/2019 Sacramento CA - Drivers
2638164            Regular      40.00   21.00 05/06/2019 Sacramento CA - Drivers
2638164            Overtime     11.75   31.50 05/06/2019 Sacramento CA - Drivers
2638164            Regular       2.00   21.00 05/27/2019 Sacramento CA - Drivers
2638164            Regular      24.00   21.00 06/24/2019 Sacramento CA - Drivers
2638164            Overtime      6.25   31.50 06/24/2019 Sacramento CA - Drivers
Total for 2638164              850.35
2838125            Regular      16.00   21.00 08/12/2019 Los Angeles CA East - Drivers
2838125            Overtime      4.25   31.50 08/12/2019 Los Angeles CA East - Drivers
2838125            Regular      24.00   21.00 08/19/2019 Los Angeles CA East - Drivers
2838125            Overtime      4.50   31.50 08/19/2019 Los Angeles CA East - Drivers
2838125            Regular      40.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2838125            Overtime      6.00   31.50 08/26/2019 Los Angeles CA East - Drivers
2838125            Regular      24.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2838125            Overtime      7.50   31.50 09/02/2019 Los Angeles CA East - Drivers
Total for 2838125              126.25
2378639            Regular      58.00   20.54 10/16/2017 Sacramento CA - Drivers
2378639            Regular      21.25   20.54 10/23/2017 Sacramento CA - Drivers
Total for 2378639               79.25
907708             Regular      31.50   22.00 01/21/2019 Los Angeles CA West - Drivers
907708             Overtime      4.00   33.00 01/21/2019 Los Angeles CA West - Drivers
907708             Regular      16.00   22.00 01/28/2019 Los Angeles CA West - Drivers
907708             Overtime      1.75   33.00 01/28/2019 Los Angeles CA West - Drivers
907708             Regular      38.75   22.00 02/04/2019 Los Angeles CA West - Drivers
907708             Overtime      0.75   33.00 02/04/2019 Los Angeles CA West - Drivers
907708             Regular      32.00   22.00 02/11/2019 Los Angeles CA West - Drivers
907708             Overtime      4.75   33.00 02/11/2019 Los Angeles CA West - Drivers
907708             Regular      16.00   22.00 02/18/2019 Los Angeles CA West - Drivers
907708             Overtime      2.50   33.00 02/18/2019 Los Angeles CA West - Drivers
907708             Regular      39.75   22.00 02/25/2019 Los Angeles CA West - Drivers
907708             Overtime      5.00   33.00 02/25/2019 Los Angeles CA West - Drivers
907708             Regular      29.00   22.00 03/04/2019 Los Angeles CA West - Drivers
907708             Overtime      1.50   33.00 03/04/2019 Los Angeles CA West - Drivers
907708             Regular      22.50   22.00 03/11/2019 Los Angeles CA West - Drivers
907708             Regular      28.50   22.00 03/18/2019 Los Angeles CA West - Drivers
907708             Overtime      0.50   33.00 03/18/2019 Los Angeles CA West - Drivers
907708             Regular      16.00   22.00 05/27/2019 Los Angeles CA West - Drivers
Total for 907708               290.75
1210943            Regular      38.75   19.00 11/30/2015 Los Angeles CA West - Drivers
1210943 Case 2:19-cv-08580-JFW-MAA
                   Overtime        7.00Document
                                          28.50 38-5    Filed Los
                                                  11/30/2015  03/22/21
                                                                  AngelesPage 581- Drivers
                                                                         CA West   of 691    Page ID
1210943            Regular       40.00    19.00 #:1354
                                                  12/07/2015 Los Angeles CA West - Drivers
1210943            Overtime      10.00    28.50 12/07/2015 Los Angeles CA West - Drivers
1210943            Regular       15.50    19.00 12/14/2015 Los Angeles CA West - Drivers
1210943            Overtime        3.00   28.50 12/14/2015 Los Angeles CA West - Drivers
1210943            Regular       24.00    19.00 12/21/2015 Los Angeles CA West - Drivers
1210943            Overtime        5.25   28.50 12/21/2015 Los Angeles CA West - Drivers
1210943            Regular       16.00    19.00 12/28/2015 Los Angeles CA West - Drivers
1210943            Overtime        5.00   28.50 12/28/2015 Los Angeles CA West - Drivers
1210943            Regular         8.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1210943            Overtime        3.50   28.50 11/02/2015 Los Angeles CA West - Drivers
1210943            Regular       15.00    19.00 10/26/2015 Los Angeles CA West - Drivers
1210943            Overtime        1.50   28.50 10/26/2015 Los Angeles CA West - Drivers
Total for 1210943              192.50
2246531            Regular       40.00    20.00 03/12/2018 Sacramento CA - Drivers
2246531            Regular       16.00    20.00 04/02/2018 Sacramento CA - Drivers
2246531            Regular       17.75    20.00 04/09/2018 Sacramento CA - Drivers
2246531            Regular       16.00    20.50 04/23/2018 Sacramento CA - Drivers
Total for 2246531                89.75
1367808            Regular       40.00    38.17 08/29/2016 Los Angeles CA West - Drivers
1367808            Overtime      12.75    57.26 08/29/2016 Los Angeles CA West - Drivers
1367808            Regular       32.00    38.17 09/05/2016 Los Angeles CA West - Drivers
1367808            Overtime        5.50   57.26 09/05/2016 Los Angeles CA West - Drivers
1367808            Regular       32.00    38.17 09/12/2016 Los Angeles CA West - Drivers
1367808            Overtime      11.75    57.26 09/12/2016 Los Angeles CA West - Drivers
1367808            Regular       40.00    38.17 09/19/2016 Los Angeles CA West - Drivers
1367808            Overtime      14.25    57.26 09/19/2016 Los Angeles CA West - Drivers
1367808            Regular       40.00    38.17 09/26/2016 Los Angeles CA West - Drivers
1367808            Overtime      20.00    57.26 09/26/2016 Los Angeles CA West - Drivers
1367808            Regular       40.00    38.17 10/03/2016 Los Angeles CA West - Drivers
1367808            Overtime      18.50    57.26 10/03/2016 Los Angeles CA West - Drivers
1367808            Regular       32.00    38.17 10/10/2016 Los Angeles CA West - Drivers
1367808            Overtime      12.25    57.26 10/10/2016 Los Angeles CA West - Drivers
1367808            Regular         8.00   38.17 10/31/2016 Los Angeles CA West - Drivers
1367808            Overtime        1.00   57.26 10/31/2016 Los Angeles CA West - Drivers
1367808            Regular       24.00    38.17 11/07/2016 Los Angeles CA West - Drivers
1367808            Overtime        5.50   57.26 11/07/2016 Los Angeles CA West - Drivers
1367808            Regular       40.00    38.17 04/17/2017 Los Angeles CA West - Drivers
1367808            Overtime      15.25    57.26 04/17/2017 Los Angeles CA West - Drivers
1367808            Regular       40.00    38.17 04/24/2017 Los Angeles CA West - Drivers
1367808            Overtime      18.25    57.26 04/24/2017 Los Angeles CA West - Drivers
1367808            Regular       20.00    38.17 05/01/2017 Los Angeles CA West - Drivers
1367808            Overtime        6.50   57.26 05/01/2017 Los Angeles CA West - Drivers
1367808            Regular       30.00    20.00 05/15/2017 Los Angeles CA West - Drivers
1367808            Overtime      10.75    30.00 05/15/2017 Los Angeles CA West - Drivers
1367808            Regular       18.00    20.00 05/22/2017 Los Angeles CA West - Drivers
1367808            Overtime        8.00   57.26 05/22/2017 Los Angeles CA West - Drivers
1367808            Regular       24.00    39.17 08/14/2017 Los Angeles CA West - Drivers
1367808            Overtime        9.75   58.76 08/14/2017 Los Angeles CA West - Drivers
1367808            Regular      -24.00    39.17 08/14/2017 Los Angeles CA West - Drivers
1367808            Overtime       -9.75   58.76 08/14/2017 Los Angeles CA West - Drivers
1367808            Regular       16.00    39.17 08/14/2017 Los Angeles CA West - Drivers
1367808            Overtime        4.75   58.76 08/14/2017 Los Angeles CA West - Drivers
1367808            Regular       23.00    39.17 04/09/2018 Los Angeles CA West - Drivers
1367808            Overtime        0.50   58.76 04/09/2018 Los Angeles CA West - Drivers
1367808            Regular       32.00    39.17 05/07/2018 Los Angeles CA West - Drivers
1367808            Overtime      16.00    58.76 05/07/2018 Los Angeles CA West - Drivers
1367808            Regular       11.50    39.17 05/28/2018 Los Angeles CA West - Drivers
1367808            Overtime        1.50   58.76 05/28/2018 Los Angeles CA West - Drivers
1367808            Regular       32.00    39.17 06/11/2018 Los Angeles CA West - Drivers
1367808            Overtime        9.50   58.76 06/11/2018 Los Angeles CA West - Drivers
1367808            Regular       40.00    39.17 06/18/2018 Los Angeles CA West - Drivers
1367808            Overtime      14.25    58.76 06/18/2018 Los Angeles CA West - Drivers
1367808 Case 2:19-cv-08580-JFW-MAA
                   Regular      38.00Document
                                        39.17 38-5    Filed Los
                                                06/25/2018  03/22/21
                                                                AngelesPage 582- Drivers
                                                                       CA West   of 691    Page ID
1367808            Overtime      5.00   58.76 #:1355
                                                06/25/2018 Los Angeles CA West - Drivers
1367808            Regular      32.00   39.17 07/09/2018 Los Angeles CA West - Drivers
1367808            Overtime      6.50   58.76 07/09/2018 Los Angeles CA West - Drivers
1367808            Regular      28.00   39.17 07/16/2018 Los Angeles CA West - Drivers
1367808            Overtime      3.00   58.76 07/16/2018 Los Angeles CA West - Drivers
1367808            Regular       8.00   39.17 10/08/2018 Los Angeles CA West - Drivers
1367808            Overtime      2.75   58.76 10/08/2018 Los Angeles CA West - Drivers
1367808            Regular      16.00   39.17 10/15/2018 Los Angeles CA West - Drivers
1367808            Overtime      4.50   58.76 10/15/2018 Los Angeles CA West - Drivers
1367808            Regular      31.75   39.17 10/22/2018 Los Angeles CA West - Drivers
1367808            Overtime      2.50   58.76 10/22/2018 Los Angeles CA West - Drivers
1367808            Regular       7.25   40.22 06/10/2019 Los Angeles CA West - Drivers
1367808            Regular       8.00   22.00 03/26/2018 Los Angeles CA West - Drivers
Total for 1367808              990.50
1405305            Regular      24.00   18.00 05/08/2017 Los Angeles CA West - Drivers
1405305            Overtime      1.50   27.00 05/08/2017 Los Angeles CA West - Drivers
1405305            Regular      16.00   18.00 05/15/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 08/21/2017 Los Angeles CA West - Drivers
1405305            Overtime      6.75   30.00 08/21/2017 Los Angeles CA West - Drivers
1405305            Regular      64.00   20.00 08/28/2017 Los Angeles CA West - Drivers
1405305            Overtime     28.00   30.00 08/28/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 09/11/2017 Los Angeles CA West - Drivers
1405305            Overtime     16.75   30.00 09/11/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 09/18/2017 Los Angeles CA West - Drivers
1405305            Overtime      8.25   30.00 09/18/2017 Los Angeles CA West - Drivers
1405305            Regular      32.00   20.00 09/25/2017 Los Angeles CA West - Drivers
1405305            Overtime      6.50   30.00 09/25/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 10/02/2017 Los Angeles CA West - Drivers
1405305            Overtime      7.00   30.00 10/02/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 10/09/2017 Los Angeles CA West - Drivers
1405305            Overtime      8.00   30.00 10/09/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 10/16/2017 Los Angeles CA West - Drivers
1405305            Overtime      7.00   30.00 10/16/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 10/23/2017 Los Angeles CA West - Drivers
1405305            Overtime      8.50   30.00 10/23/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 10/30/2017 Los Angeles CA West - Drivers
1405305            Overtime      6.25   30.00 10/30/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 11/06/2017 Los Angeles CA West - Drivers
1405305            Overtime      6.50   30.00 11/06/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 11/13/2017 Los Angeles CA West - Drivers
1405305            Overtime      8.00   30.00 11/13/2017 Los Angeles CA West - Drivers
1405305            Regular      32.00   20.00 11/20/2017 Los Angeles CA West - Drivers
1405305            Overtime      8.00   30.00 11/20/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 11/27/2017 Los Angeles CA West - Drivers
1405305            Overtime      7.25   30.00 11/27/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 12/04/2017 Los Angeles CA West - Drivers
1405305            Overtime      5.00   30.00 12/04/2017 Los Angeles CA West - Drivers
1405305            Regular      40.00   20.00 12/11/2017 Los Angeles CA West - Drivers
1405305            Overtime     10.00   30.00 12/11/2017 Los Angeles CA West - Drivers
1405305            Regular      14.00   16.00 02/20/2017 Los Angeles CA West - Drivers
1405305            Overtime      4.00   24.00 02/20/2017 Los Angeles CA West - Drivers
1405305            Regular      16.00   16.00 09/19/2016 Los Angeles CA West - Drivers
1405305            Overtime      4.50   24.00 09/19/2016 Los Angeles CA West - Drivers
1405305            Regular      28.50   16.00 09/26/2016 Los Angeles CA West - Drivers
1405305            Overtime      3.50   24.00 09/26/2016 Los Angeles CA West - Drivers
1405305            Regular       7.50   16.00 10/24/2016 Los Angeles CA West - Drivers
1405305            Regular       8.00   16.00 10/31/2016 Los Angeles CA West - Drivers
1405305            Regular       8.00   16.00 04/24/2017 Los Angeles CA West - Drivers
1405305            Overtime      4.00   24.00 04/24/2017 Los Angeles CA West - Drivers
1405305            Regular      16.00   16.00 05/01/2017 Los Angeles CA West - Drivers
1405305            Overtime      0.50   24.00 05/01/2017 Los Angeles CA West - Drivers
1405305            Regular      38.00   18.00 11/07/2016 Los Angeles CA West - Drivers
1405305 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.50Document
                                         27.00 38-5    Filed Los
                                                 11/07/2016  03/22/21
                                                                 AngelesPage 583- Drivers
                                                                        CA West   of 691    Page ID
1405305            Regular       32.00   18.00 #:1356
                                                 11/14/2016 Los Angeles CA West - Drivers
1405305            Overtime      10.00   27.00 11/14/2016 Los Angeles CA West - Drivers
1405305            Regular       32.00   18.00 11/21/2016 Los Angeles CA West - Drivers
1405305            Overtime      11.25   27.00 11/21/2016 Los Angeles CA West - Drivers
1405305            Regular       40.00   18.00 11/28/2016 Los Angeles CA West - Drivers
1405305            Overtime       6.00   27.00 11/28/2016 Los Angeles CA West - Drivers
1405305            Regular       39.25   18.00 12/05/2016 Los Angeles CA West - Drivers
1405305            Overtime       4.50   27.00 12/05/2016 Los Angeles CA West - Drivers
1405305            Regular       40.00   18.00 12/12/2016 Los Angeles CA West - Drivers
1405305            Overtime       5.00   27.00 12/12/2016 Los Angeles CA West - Drivers
1405305            Regular       14.00   18.00 12/19/2016 Los Angeles CA West - Drivers
1405305            Overtime       2.00   27.00 12/19/2016 Los Angeles CA West - Drivers
1405305            Regular       31.00   18.00 12/26/2016 Los Angeles CA West - Drivers
1405305            Overtime       4.50   27.00 12/26/2016 Los Angeles CA West - Drivers
1405305            Regular       23.00   18.00 01/02/2017 Los Angeles CA West - Drivers
1405305            Overtime       1.00   27.00 01/02/2017 Los Angeles CA West - Drivers
1405305            Regular       40.00   18.00 01/09/2017 Los Angeles CA West - Drivers
1405305            Overtime      11.50   27.00 01/09/2017 Los Angeles CA West - Drivers
1405305            Regular       39.50   18.00 01/16/2017 Los Angeles CA West - Drivers
1405305            Overtime       8.00   27.00 01/16/2017 Los Angeles CA West - Drivers
1405305            Regular       15.00   18.00 01/23/2017 Los Angeles CA West - Drivers
1405305            Overtime       1.25   27.00 01/23/2017 Los Angeles CA West - Drivers
1405305            Regular       32.00   18.00 01/30/2017 Los Angeles CA West - Drivers
1405305            Overtime       5.00   27.00 01/30/2017 Los Angeles CA West - Drivers
1405305            Regular       22.00   18.00 02/06/2017 Los Angeles CA West - Drivers
1405305            Overtime       1.25   27.00 02/06/2017 Los Angeles CA West - Drivers
1405305            Regular       32.00   18.00 02/13/2017 Los Angeles CA West - Drivers
1405305            Overtime       4.50   27.00 02/13/2017 Los Angeles CA West - Drivers
1405305            Regular       24.00   18.00 02/20/2017 Los Angeles CA West - Drivers
1405305            Overtime       2.00   27.00 02/20/2017 Los Angeles CA West - Drivers
1405305            Regular       32.00   18.00 02/27/2017 Los Angeles CA West - Drivers
1405305            Overtime       3.50   27.00 02/27/2017 Los Angeles CA West - Drivers
1405305            Regular       40.00   18.00 03/06/2017 Los Angeles CA West - Drivers
1405305            Overtime       7.75   27.00 03/06/2017 Los Angeles CA West - Drivers
1405305            Regular       32.00   18.00 03/13/2017 Los Angeles CA West - Drivers
1405305            Overtime       2.50   27.00 03/13/2017 Los Angeles CA West - Drivers
1405305            Regular       40.00   18.00 03/20/2017 Los Angeles CA West - Drivers
1405305            Overtime       3.00   27.00 03/20/2017 Los Angeles CA West - Drivers
1405305            Regular       32.00   18.00 03/27/2017 Los Angeles CA West - Drivers
1405305            Overtime       3.50   27.00 03/27/2017 Los Angeles CA West - Drivers
1405305            Regular       40.00   18.00 04/03/2017 Los Angeles CA West - Drivers
1405305            Overtime       6.75   27.00 04/03/2017 Los Angeles CA West - Drivers
1405305            Regular        8.00   18.00 04/10/2017 Los Angeles CA West - Drivers
1405305            Overtime       0.25   27.00 04/10/2017 Los Angeles CA West - Drivers
1405305            Regular       13.50   18.00 04/17/2017 Los Angeles CA West - Drivers
1405305            Overtime       0.50   27.00 04/17/2017 Los Angeles CA West - Drivers
Total for 1405305             1,793.00
2729740            Regular        8.00   22.50 06/17/2019 Los Angeles CA West - Drivers
2729740            Overtime       1.25   33.75 06/17/2019 Los Angeles CA West - Drivers
2729740            Regular        8.00   22.50 06/24/2019 Los Angeles CA West - Drivers
2729740            Overtime       1.25   33.75 06/24/2019 Los Angeles CA West - Drivers
2729740            Regular       14.25   40.22 06/03/2019 Los Angeles CA West - Drivers
2729740            Overtime       4.00   60.33 06/03/2019 Los Angeles CA West - Drivers
2729740            Regular        7.50   40.22 06/10/2019 Los Angeles CA West - Drivers
2729740            Regular       15.75   40.22 06/17/2019 Los Angeles CA West - Drivers
2729740            Overtime       2.00   60.33 06/17/2019 Los Angeles CA West - Drivers
Total for 2729740                62.00
1450952            Regular       32.00   23.00 08/12/2019 Sacramento CA - Drivers
1450952            Overtime       9.75   34.50 08/12/2019 Sacramento CA - Drivers
1450952            Regular       40.00   23.00 08/19/2019 Sacramento CA - Drivers
1450952            Overtime      10.50   34.50 08/19/2019 Sacramento CA - Drivers
1450952            Regular       32.00   23.00 08/26/2019 Sacramento CA - Drivers
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                   Overtime      9.50Document
                                        34.50 38-5    Filed Sacramento
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                                                                       CA - Drivers        Page ID
1450952            Regular      32.00   23.00 #:1357
                                                09/02/2019 Sacramento CA - Drivers
1450952            Overtime      8.50   34.50 09/02/2019 Sacramento CA - Drivers
Total for 1450952              174.25
2541454            Regular      40.00   16.00 06/11/2018 Los Angeles CA West - Drivers
2541454            Overtime      9.50   24.00 06/11/2018 Los Angeles CA West - Drivers
2541454            Regular      40.00   16.00 06/18/2018 Los Angeles CA West - Drivers
2541454            Overtime     12.75   24.00 06/18/2018 Los Angeles CA West - Drivers
2541454            Regular      40.00   16.00 06/25/2018 Los Angeles CA West - Drivers
2541454            Overtime     13.50   24.00 06/25/2018 Los Angeles CA West - Drivers
2541454            Regular      80.00   16.00 07/02/2018 Los Angeles CA West - Drivers
2541454            Overtime     16.95   24.00 07/02/2018 Los Angeles CA West - Drivers
2541454            Regular      40.00   16.00 07/16/2018 Los Angeles CA West - Drivers
2541454            Overtime     13.75   24.00 07/16/2018 Los Angeles CA West - Drivers
2541454            Regular      24.00   16.00 07/23/2018 Los Angeles CA West - Drivers
2541454            Overtime      9.25   24.00 07/23/2018 Los Angeles CA West - Drivers
Total for 2541454              339.70
2691488            Regular      34.00   25.00 03/04/2019 zz - San Francisco CA - Drivers
2691488            Overtime      3.50   37.50 03/04/2019 zz - San Francisco CA - Drivers
2691488            Regular      36.00   25.00 03/11/2019 zz - San Francisco CA - Drivers
2691488            Overtime      6.50   37.50 03/11/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 03/18/2019 zz - San Francisco CA - Drivers
2691488            Overtime      8.50   37.50 03/18/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 03/25/2019 zz - San Francisco CA - Drivers
2691488            Overtime      7.50   37.50 03/25/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 04/01/2019 zz - San Francisco CA - Drivers
2691488            Overtime      7.75   37.50 04/01/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 04/08/2019 zz - San Francisco CA - Drivers
2691488            Overtime     14.00   37.50 04/08/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 04/15/2019 zz - San Francisco CA - Drivers
2691488            Overtime     11.50   37.50 04/15/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 04/22/2019 zz - San Francisco CA - Drivers
2691488            Overtime      7.50   37.50 04/22/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 04/29/2019 zz - San Francisco CA - Drivers
2691488            Overtime     11.00   37.50 04/29/2019 zz - San Francisco CA - Drivers
2691488            Regular      40.00   25.00 05/06/2019 zz - San Francisco CA - Drivers
2691488            Overtime     11.00   37.50 05/06/2019 zz - San Francisco CA - Drivers
2691488            Regular      16.00   25.00 05/13/2019 zz - San Francisco CA - Drivers
2691488            Overtime      5.50   37.50 05/13/2019 zz - San Francisco CA - Drivers
2691488            Regular      12.00   26.70 02/04/2019 zz - San Francisco CA - Drivers
Total for 2691488              512.25
2268391            Regular      40.00   19.00 06/05/2017 Los Angeles CA West - Drivers
2268391            Overtime     11.75   28.50 06/05/2017 Los Angeles CA West - Drivers
2268391            Regular      32.00   19.00 06/12/2017 Los Angeles CA West - Drivers
2268391            Overtime      4.50   28.50 06/12/2017 Los Angeles CA West - Drivers
2268391            Regular      32.00   19.00 06/19/2017 Los Angeles CA West - Drivers
2268391            Overtime      6.50   28.50 06/19/2017 Los Angeles CA West - Drivers
2268391            Regular      40.00   19.00 06/26/2017 Los Angeles CA West - Drivers
2268391            Overtime      5.00   28.50 06/26/2017 Los Angeles CA West - Drivers
2268391            Regular      32.00   19.00 07/03/2017 Los Angeles CA West - Drivers
2268391            Overtime      3.00   28.50 07/03/2017 Los Angeles CA West - Drivers
2268391            Regular      40.00   19.00 07/10/2017 Los Angeles CA West - Drivers
2268391            Overtime      5.50   28.50 07/10/2017 Los Angeles CA West - Drivers
2268391            Regular      40.00   19.00 07/17/2017 Los Angeles CA West - Drivers
2268391            Overtime      3.00   28.50 07/17/2017 Los Angeles CA West - Drivers
Total for 2268391              295.25
1430724            Regular       7.50   20.00 12/19/2016 Sacramento CA - Drivers
1430724            Regular       8.00   20.00 12/26/2016 Sacramento CA - Drivers
1430724            Regular       9.75   20.00 01/09/2017 Sacramento CA - Drivers
1430724            Regular      32.75   20.00 01/16/2017 Sacramento CA - Drivers
1430724            Regular      40.00   19.50 01/23/2017 Sacramento CA - Drivers
1430724            Overtime      5.75   29.25 01/23/2017 Sacramento CA - Drivers
1430724            Regular      37.00   19.50 01/30/2017 Sacramento CA - Drivers
1430724 Case 2:19-cv-08580-JFW-MAA
                   Overtime      2.25Document
                                        29.25 38-5    Filed Sacramento
                                                01/30/2017  03/22/21 Page    585 of 691
                                                                       CA - Drivers       Page ID
1430724            Regular      40.00   19.50 #:1358
                                                02/06/2017 Sacramento CA - Drivers
1430724            Overtime      7.50   29.25 02/06/2017 Sacramento CA - Drivers
1430724            Regular      22.00   19.50 02/13/2017 Sacramento CA - Drivers
1430724            Overtime      3.50   29.25 02/13/2017 Sacramento CA - Drivers
1430724            Regular      31.75   19.50 02/20/2017 Sacramento CA - Drivers
1430724            Overtime     10.50   29.25 02/20/2017 Sacramento CA - Drivers
1430724            Regular      21.50   19.50 02/27/2017 Sacramento CA - Drivers
1430724            Overtime      1.00   29.25 02/27/2017 Sacramento CA - Drivers
1430724            Regular      17.50   21.00 01/02/2017 Sacramento CA - Drivers
1430724            Regular      21.50   21.00 01/09/2017 Sacramento CA - Drivers
1430724            Regular       8.00   21.00 12/12/2016 Sacramento CA - Drivers
1430724            Overtime      1.00   31.50 12/12/2016 Sacramento CA - Drivers
1430724            Regular       9.75   20.98 12/05/2016 Sacramento CA - Drivers
1430724            Regular      33.50   20.98 12/12/2016 Sacramento CA - Drivers
1430724            Regular      24.50   20.98 12/19/2016 Sacramento CA - Drivers
1430724            Regular      12.75   20.92 02/27/2017 Sacramento CA - Drivers
Total for 1430724              409.25
1145700            Regular      30.75   16.00 12/07/2015 Los Angeles CA West - Drivers
1145700            Overtime     10.75   24.00 12/07/2015 Los Angeles CA West - Drivers
Total for 1145700               41.50
2402087            Regular      40.00   20.00 05/07/2018 Los Angeles CA East - Drivers
2402087            Overtime      6.75   30.00 05/07/2018 Los Angeles CA East - Drivers
2402087            Regular      16.00   20.00 05/14/2018 Los Angeles CA East - Drivers
2402087            Overtime      0.75   30.00 05/14/2018 Los Angeles CA East - Drivers
2402087            Regular       8.00   19.50 04/23/2018 Los Angeles CA East - Drivers
2402087            Overtime      1.75   29.25 04/23/2018 Los Angeles CA East - Drivers
2402087            Regular      16.00   19.50 05/14/2018 Los Angeles CA East - Drivers
2402087            Overtime      2.75   29.25 05/14/2018 Los Angeles CA East - Drivers
2402087            Regular       7.00   19.50 06/18/2018 Los Angeles CA East - Drivers
2402087            Regular      26.00   19.00 10/23/2017 Los Angeles CA East - Drivers
2402087            Overtime      1.00   28.50 10/23/2017 Los Angeles CA East - Drivers
2402087            Regular      34.00   19.00 10/30/2017 Los Angeles CA East - Drivers
2402087            Regular      42.00   19.00 11/06/2017 Los Angeles CA East - Drivers
2402087            Overtime      0.50   28.50 11/06/2017 Los Angeles CA East - Drivers
2402087            Regular      50.00   19.00 11/13/2017 Los Angeles CA East - Drivers
2402087            Overtime      4.00   28.50 11/13/2017 Los Angeles CA East - Drivers
2402087            Regular      32.50   19.00 11/20/2017 Los Angeles CA East - Drivers
2402087            Overtime      8.00   28.50 11/20/2017 Los Angeles CA East - Drivers
2402087            Regular      40.50   19.00 11/27/2017 Los Angeles CA East - Drivers
2402087            Regular      41.50   19.00 12/04/2017 Los Angeles CA East - Drivers
2402087            Regular      47.00   19.00 12/11/2017 Los Angeles CA East - Drivers
2402087            Regular      28.00   19.00 12/18/2017 Los Angeles CA East - Drivers
2402087            Overtime      2.00   28.50 12/18/2017 Los Angeles CA East - Drivers
2402087            Regular       8.00   21.00 06/11/2018 Los Angeles CA East - Drivers
2402087            Regular      32.00   21.00 01/15/2018 Los Angeles CA East - Drivers
2402087            Overtime     13.00   31.50 01/15/2018 Los Angeles CA East - Drivers
2402087            Regular      40.00   21.00 01/22/2018 Los Angeles CA East - Drivers
2402087            Overtime     11.50   31.50 01/22/2018 Los Angeles CA East - Drivers
2402087            Regular      40.00   21.00 01/29/2018 Los Angeles CA East - Drivers
2402087            Overtime      9.00   31.50 01/29/2018 Los Angeles CA East - Drivers
2402087            Regular      32.00   21.00 02/05/2018 Los Angeles CA East - Drivers
2402087            Overtime      7.00   31.50 02/05/2018 Los Angeles CA East - Drivers
2402087            Regular      40.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2402087            Overtime      8.50   30.00 02/12/2018 Los Angeles CA East - Drivers
2402087            Regular      40.00   20.00 02/19/2018 Los Angeles CA East - Drivers
2402087            Overtime      6.25   30.00 02/19/2018 Los Angeles CA East - Drivers
2402087            Regular      32.00   20.00 02/26/2018 Los Angeles CA East - Drivers
2402087            Overtime      6.00   30.00 02/26/2018 Los Angeles CA East - Drivers
2402087            Regular      40.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2402087            Overtime     12.48   30.00 03/05/2018 Los Angeles CA East - Drivers
2402087            Regular      40.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2402087            Overtime     17.44   30.00 03/12/2018 Los Angeles CA East - Drivers
2402087 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         20.00 38-5    Filed Los
                                                 03/19/2018  03/22/21
                                                                 AngelesPage 586
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2402087            Overtime       9.12   30.00 #:1359
                                                 03/19/2018 Los Angeles CA East - Drivers
2402087            Regular       48.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2402087            Overtime      16.60   30.00 03/26/2018 Los Angeles CA East - Drivers
2402087            Regular       40.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2402087            Overtime      12.80   30.00 04/02/2018 Los Angeles CA East - Drivers
2402087            Regular       40.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2402087            Overtime       9.38   30.00 04/09/2018 Los Angeles CA East - Drivers
2402087            Regular       40.00   20.00 04/16/2018 Los Angeles CA East - Drivers
2402087            Overtime       8.90   30.00 04/16/2018 Los Angeles CA East - Drivers
2402087            Regular       12.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2402087            Overtime       1.15   30.00 04/23/2018 Los Angeles CA East - Drivers
2402087            Regular        8.00   20.00 01/15/2018 Los Angeles CA East - Drivers
2402087            Overtime       3.50   30.00 01/15/2018 Los Angeles CA East - Drivers
2402087            Regular        8.00   21.00 12/31/2018 Los Angeles CA East - Drivers
2402087            Regular        8.00   20.92 04/23/2018 Los Angeles CA East - Drivers
2402087            Regular        8.00   20.00 02/12/2018 Los Angeles CA East - Drivers
2402087            Regular       40.00   20.00 06/04/2018 Los Angeles CA East - Drivers
2402087            Overtime      10.75   30.00 06/04/2018 Los Angeles CA East - Drivers
2402087            Regular        8.00   20.00 06/11/2018 Los Angeles CA East - Drivers
2402087            Overtime       1.00   30.00 06/11/2018 Los Angeles CA East - Drivers
2402087            Regular       13.00   21.00 05/21/2018 Los Angeles CA East - Drivers
2402087            Overtime       0.50   31.50 05/21/2018 Los Angeles CA East - Drivers
Total for 2402087             1,269.87
869598             Regular        8.00   18.50 02/11/2019 Los Angeles CA East - Drivers
869598             Overtime       4.00   27.75 02/11/2019 Los Angeles CA East - Drivers
869598             Regular       16.00   21.00 04/29/2019 Los Angeles CA East - Drivers
869598             Overtime       3.00   31.50 04/29/2019 Los Angeles CA East - Drivers
869598             Regular       24.00   18.00 02/18/2019 Los Angeles CA East - Drivers
869598             Regular       40.00   18.00 02/25/2019 Los Angeles CA East - Drivers
869598             Overtime       9.50   27.00 02/25/2019 Los Angeles CA East - Drivers
869598             Regular       40.00   18.00 03/04/2019 Los Angeles CA East - Drivers
869598             Overtime       4.00   27.00 03/04/2019 Los Angeles CA East - Drivers
869598             Regular       24.00   18.00 03/11/2019 Los Angeles CA East - Drivers
869598             Overtime       7.50   27.00 03/11/2019 Los Angeles CA East - Drivers
869598             Regular       24.00   18.00 03/18/2019 Los Angeles CA East - Drivers
869598             Regular        8.00   18.00 03/18/2019 Los Angeles CA East - Drivers
869598             Overtime       9.00   27.00 03/18/2019 Los Angeles CA East - Drivers
Total for 869598                221.00
1181113            Regular       16.00   20.00 09/07/2015 Los Angeles CA East - Drivers
1181113            Overtime       3.00   30.00 09/07/2015 Los Angeles CA East - Drivers
1181113            Regular       39.75   20.00 09/14/2015 Los Angeles CA East - Drivers
1181113            Overtime       4.50   30.00 09/14/2015 Los Angeles CA East - Drivers
1181113            Regular       30.75   20.00 09/21/2015 Los Angeles CA East - Drivers
1181113            Overtime       6.75   30.00 09/21/2015 Los Angeles CA East - Drivers
1181113            Regular        8.00   20.00 09/28/2015 Los Angeles CA East - Drivers
1181113            Overtime       3.75   30.00 09/28/2015 Los Angeles CA East - Drivers
1181113            Regular       27.00   22.00 12/14/2015 Los Angeles CA East - Drivers
1181113            Regular        8.00   21.00 07/18/2016 Los Angeles CA East - Drivers
1181113            Regular        8.00   21.00 07/25/2016 Los Angeles CA East - Drivers
1181113            Regular        8.00   20.00 10/03/2016 Los Angeles CA East - Drivers
1181113            Regular        8.00   19.00 01/02/2017 Los Angeles CA East - Drivers
1181113            Regular       24.25   17.00 10/19/2015 Los Angeles CA East - Drivers
1181113            Overtime       0.50   25.50 10/26/2015 Los Angeles CA East - Drivers
1181113            Regular        5.25   17.00 11/02/2015 Los Angeles CA East - Drivers
1181113            Regular        5.25   17.00 11/02/2015 Los Angeles CA East - Drivers
1181113            Regular        8.00   17.00 11/16/2015 Los Angeles CA East - Drivers
1181113            Overtime       0.25   25.50 11/16/2015 Los Angeles CA East - Drivers
1181113            Regular        4.00   17.00 01/11/2016 Los Angeles CA East - Drivers
1181113            Regular        6.75   17.00 10/19/2015 Los Angeles CA East - Drivers
1181113            Regular        8.00   19.00 12/19/2016 Los Angeles CA East - Drivers
1181113            Regular        8.00   18.40 08/15/2016 Los Angeles CA East - Drivers
1181113            Regular        8.00   18.40 09/26/2016 Los Angeles CA East - Drivers
1181113 Case 2:19-cv-08580-JFW-MAA
                   Overtime      3.00Document
                                        27.60 38-5    Filed Los
                                                09/26/2016  03/22/21
                                                                AngelesPage 587
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1181113            Regular       8.00   20.00 #:1360
                                                08/29/2016 Los Angeles CA East - Drivers
1181113            Overtime      1.25   30.00 08/29/2016 Los Angeles CA East - Drivers
1181113            Regular       8.00   19.00 09/26/2016 Los Angeles CA East - Drivers
1181113            Overtime      1.25   28.50 09/26/2016 Los Angeles CA East - Drivers
1181113            Regular       4.00    6.67 09/05/2016 Los Angeles CA East - Drivers
1181113            Regular       3.00    8.00 09/12/2016 Los Angeles CA East - Drivers
1181113            Regular      24.00   17.00 09/19/2016 Los Angeles CA East - Drivers
1181113            Overtime      1.75   25.50 09/19/2016 Los Angeles CA East - Drivers
1181113            Regular      24.00   17.00 04/11/2016 Los Angeles CA East - Drivers
1181113            Overtime      2.75   25.50 04/11/2016 Los Angeles CA East - Drivers
1181113            Regular      40.00   17.00 04/18/2016 Los Angeles CA East - Drivers
1181113            Overtime      3.25   25.50 04/18/2016 Los Angeles CA East - Drivers
1181113            Regular      24.00   17.00 04/25/2016 Los Angeles CA East - Drivers
1181113            Overtime      3.25   25.50 04/25/2016 Los Angeles CA East - Drivers
1181113            Regular      32.00   17.00 05/02/2016 Los Angeles CA East - Drivers
1181113            Regular      40.00   17.00 05/09/2016 Los Angeles CA East - Drivers
1181113            Overtime      3.00   25.50 05/09/2016 Los Angeles CA East - Drivers
1181113            Regular      40.00   17.00 05/16/2016 Los Angeles CA East - Drivers
1181113            Overtime      1.50   25.50 05/16/2016 Los Angeles CA East - Drivers
1181113            Regular      40.00   17.00 05/23/2016 Los Angeles CA East - Drivers
1181113            Regular      24.00   17.00 05/30/2016 Los Angeles CA East - Drivers
1181113            Regular      32.00   17.00 06/06/2016 Los Angeles CA East - Drivers
1181113            Overtime      1.00   25.50 06/06/2016 Los Angeles CA East - Drivers
1181113            Regular      36.00   17.00 06/13/2016 Los Angeles CA East - Drivers
1181113            Regular      32.00   17.00 06/20/2016 Los Angeles CA East - Drivers
1181113            Regular      14.00   17.00 06/27/2016 Los Angeles CA East - Drivers
Total for 1181113              696.75
1397207            Regular       7.50   20.00 12/05/2016 Los Angeles CA East - Drivers
1397207            Regular      31.75   20.00 12/12/2016 Los Angeles CA East - Drivers
1397207            Overtime      4.50   30.00 12/12/2016 Los Angeles CA East - Drivers
1397207            Regular      16.00   20.00 12/19/2016 Los Angeles CA East - Drivers
1397207            Overtime      1.00   30.00 12/19/2016 Los Angeles CA East - Drivers
1397207            Regular      32.00   20.00 12/26/2016 Los Angeles CA East - Drivers
1397207            Overtime      3.50   30.00 12/26/2016 Los Angeles CA East - Drivers
1397207            Regular      15.50   20.00 01/02/2017 Los Angeles CA East - Drivers
1397207            Overtime      0.75   30.00 01/02/2017 Los Angeles CA East - Drivers
1397207            Regular      28.25   19.00 09/26/2016 Los Angeles CA East - Drivers
1397207            Overtime      0.75   28.50 09/26/2016 Los Angeles CA East - Drivers
1397207            Regular      36.50   19.00 10/03/2016 Los Angeles CA East - Drivers
1397207            Overtime      0.50   28.50 10/03/2016 Los Angeles CA East - Drivers
1397207            Regular      38.25   19.00 10/10/2016 Los Angeles CA East - Drivers
1397207            Overtime      2.50   28.50 10/10/2016 Los Angeles CA East - Drivers
1397207            Regular      40.00   20.00 10/17/2016 Los Angeles CA East - Drivers
1397207            Overtime      4.00   30.00 10/17/2016 Los Angeles CA East - Drivers
1397207            Regular      40.00   20.00 10/24/2016 Los Angeles CA East - Drivers
1397207            Overtime      4.75   30.00 10/24/2016 Los Angeles CA East - Drivers
1397207            Regular      40.00   20.00 10/31/2016 Los Angeles CA East - Drivers
1397207            Overtime      8.75   30.00 10/31/2016 Los Angeles CA East - Drivers
1397207            Regular      40.00   20.00 11/07/2016 Los Angeles CA East - Drivers
1397207            Overtime      4.75   30.00 11/07/2016 Los Angeles CA East - Drivers
1397207            Regular      40.00   20.00 11/14/2016 Los Angeles CA East - Drivers
1397207            Overtime     10.50   30.00 11/14/2016 Los Angeles CA East - Drivers
1397207            Regular      32.00   20.00 11/21/2016 Los Angeles CA East - Drivers
1397207            Overtime      7.00   30.00 11/21/2016 Los Angeles CA East - Drivers
1397207            Regular      39.75   20.00 11/28/2016 Los Angeles CA East - Drivers
1397207            Overtime      8.00   30.00 11/28/2016 Los Angeles CA East - Drivers
1397207            Regular      24.00   20.00 12/05/2016 Los Angeles CA East - Drivers
1397207            Overtime      7.25   30.00 12/05/2016 Los Angeles CA East - Drivers
Total for 1397207              570.00
951187             Regular      31.00   17.00 07/27/2015 Milwaukee WI - Drivers
951187             Overtime     10.75   25.50 07/27/2015 Milwaukee WI - Drivers
Total for 951187                41.75
936652   Case 2:19-cv-08580-JFW-MAA
                    Regular       9.00Document
                                         18.00 38-5    Filed Los
                                                 05/02/2016  03/22/21
                                                                 AngelesPage 588
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
936652              Overtime      1.00   27.00 #:1361
                                                 05/02/2016 Los Angeles CA East - Drivers
936652              Regular        24.00    23.00   01/14/2019   Los   Angeles   CA   East   - Drivers
936652              Overtime       10.50    34.50   01/14/2019   Los   Angeles   CA   East   - Drivers
936652              Regular        30.00    22.00   12/14/2015   Los   Angeles   CA   East   - Drivers
936652              Regular        35.00    20.00   08/05/2019   Los   Angeles   CA   East   - Drivers
936652              Overtime        4.50    30.00   08/05/2019   Los   Angeles   CA   East   - Drivers
936652              Regular        34.25    20.00   08/12/2019   Los   Angeles   CA   East   - Drivers
936652              Overtime        3.17    30.00   08/12/2019   Los   Angeles   CA   East   - Drivers
936652              Regular        35.75    20.00   08/19/2019   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    20.00   08/26/2019   Los   Angeles   CA   East   - Drivers
936652              Overtime        9.00    30.00   08/26/2019   Los   Angeles   CA   East   - Drivers
936652              Regular        27.33    20.00   09/02/2019   Los   Angeles   CA   East   - Drivers
936652              Regular        37.00    20.00   05/02/2016   Los   Angeles   CA   East   - Drivers
936652              Regular         8.00    19.00   02/08/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        47.00    19.00   02/22/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime        8.25    28.50   02/22/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       15.75    28.50   02/29/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   03/07/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       21.00    28.50   03/07/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   03/14/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       23.00    28.50   03/14/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   03/21/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       22.25    28.50   03/21/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   03/28/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       19.50    28.50   03/28/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   04/04/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       19.00    28.50   04/04/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       20.00    28.50   04/11/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   04/18/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       20.00    28.50   04/18/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        32.00    19.00   04/25/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       15.00    28.50   04/25/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        32.00    19.00   05/23/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime        9.00    28.50   05/23/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        32.00    19.00   05/30/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       19.00    28.50   05/30/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   06/06/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       14.25    28.50   06/06/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   06/13/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime        7.50    28.50   06/13/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   06/20/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       10.75    28.50   06/20/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   06/27/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       12.00    28.50   06/27/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        32.00    19.00   07/04/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       24.00    28.50   07/04/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   07/11/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       14.50    28.50   07/11/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   07/18/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       14.50    28.50   07/18/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   07/25/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       18.00    28.50   07/18/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   08/01/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       12.50    28.50   08/01/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   08/08/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       13.00    28.50   08/08/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   08/15/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       15.25    28.50   08/15/2016   Los   Angeles   CA   East   - Drivers
936652              Regular        40.00    19.00   08/22/2016   Los   Angeles   CA   East   - Drivers
936652              Overtime       14.75    28.50   08/22/2016   Los   Angeles   CA   East   - Drivers
936652 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00Document
                                        19.00 38-5    Filed Los
                                                08/29/2016  03/22/21
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                                                                       CA East    of 691
                                                                               - Drivers   Page ID
936652            Overtime      16.00   28.50 #:1362
                                                08/29/2016 Los Angeles CA East - Drivers
936652            Regular       32.00   19.00 09/05/2016 Los Angeles CA East - Drivers
936652            Overtime      22.00   28.50 09/05/2016 Los Angeles CA East - Drivers
936652            Regular       32.00   19.00 09/12/2016 Los Angeles CA East - Drivers
936652            Overtime      13.00   28.50 09/12/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 09/19/2016 Los Angeles CA East - Drivers
936652            Overtime      18.00   28.50 09/19/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 09/26/2016 Los Angeles CA East - Drivers
936652            Overtime      14.00   28.50 09/26/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 10/03/2016 Los Angeles CA East - Drivers
936652            Overtime      16.50   28.50 10/03/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 10/10/2016 Los Angeles CA East - Drivers
936652            Overtime      16.50   28.50 10/10/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 10/17/2016 Los Angeles CA East - Drivers
936652            Overtime      14.50   28.50 10/17/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 10/24/2016 Los Angeles CA East - Drivers
936652            Overtime      13.75   28.50 10/24/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 10/31/2016 Los Angeles CA East - Drivers
936652            Overtime      19.00   28.50 10/31/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 11/07/2016 Los Angeles CA East - Drivers
936652            Overtime      14.50   28.50 11/07/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   19.00 11/14/2016 Los Angeles CA East - Drivers
936652            Overtime      13.50   28.50 11/14/2016 Los Angeles CA East - Drivers
936652            Regular       36.75   21.85 11/28/2016 Los Angeles CA East - Drivers
936652            Regular       38.25   21.85 12/05/2016 Los Angeles CA East - Drivers
936652            Regular       36.00   21.85 12/12/2016 Los Angeles CA East - Drivers
936652            Regular       24.00   21.85 12/19/2016 Los Angeles CA East - Drivers
936652            Regular        8.00   21.85 12/19/2016 Los Angeles CA East - Drivers
936652            Regular       22.50   26.01 10/23/2017 Los Angeles CA East - Drivers
936652            Regular       39.75   26.01 10/30/2017 Los Angeles CA East - Drivers
936652            Regular       23.50   19.00 01/09/2017 Los Angeles CA East - Drivers
936652            Overtime       5.50   28.50 01/09/2017 Los Angeles CA East - Drivers
936652            Regular        8.00   20.75 07/01/2019 Los Angeles CA East - Drivers
936652            Overtime       2.50   31.13 07/01/2019 Los Angeles CA East - Drivers
936652            Regular        8.00   19.00 01/16/2017 Los Angeles CA East - Drivers
936652            Overtime       2.00   28.50 01/16/2017 Los Angeles CA East - Drivers
936652            Regular        8.00   21.00 07/08/2019 Los Angeles CA East - Drivers
936652            Regular        8.00   17.00 05/09/2016 Los Angeles CA East - Drivers
936652            Regular       16.50   17.00 05/16/2016 Los Angeles CA East - Drivers
936652            Regular        8.00   16.00 02/01/2016 Los Angeles CA East - Drivers
936652            Overtime       1.25   24.00 02/01/2016 Los Angeles CA East - Drivers
936652            Regular       40.00   17.00 12/21/2015 Los Angeles CA East - Drivers
936652            Overtime       6.50   25.50 12/21/2015 Los Angeles CA East - Drivers
936652            Regular       20.00   17.00 12/28/2015 Los Angeles CA East - Drivers
936652            Overtime       3.50   25.50 12/28/2015 Los Angeles CA East - Drivers
Total for 936652             2,648.00
1369439           Regular        7.25   17.00 08/01/2016 Sacramento CA - Drivers
Total for 1369439                7.25
948099            Regular        6.75   18.00 05/16/2016 Los Angeles CA East - Drivers
948099            Regular        8.00   18.00 05/23/2016 Los Angeles CA East - Drivers
948099            Regular        4.00   17.00 03/14/2016 Los Angeles CA East - Drivers
948099            Regular       32.00   16.00 09/14/2015 Los Angeles CA East - Drivers
948099            Overtime       7.50   24.00 09/14/2015 Los Angeles CA East - Drivers
948099            Regular       38.75   16.00 02/15/2016 Los Angeles CA East - Drivers
948099            Overtime       6.25   24.00 02/15/2016 Los Angeles CA East - Drivers
948099            Regular       24.00   20.00 08/14/2017 Los Angeles CA East - Drivers
948099            Overtime       7.00   30.00 08/14/2017 Los Angeles CA East - Drivers
948099            Regular       32.00   20.00 08/21/2017 Los Angeles CA East - Drivers
948099            Overtime       3.75   30.00 08/21/2017 Los Angeles CA East - Drivers
948099            Regular       40.00   20.00 08/28/2017 Los Angeles CA East - Drivers
948099            Overtime      19.00   30.00 08/28/2017 Los Angeles CA East - Drivers
948099            Regular       24.00   20.00 09/04/2017 Los Angeles CA East - Drivers
948099   Case 2:19-cv-08580-JFW-MAA
                    Overtime      9.00Document
                                         30.00 38-5    Filed Los
                                                 09/04/2017  03/22/21
                                                                 AngelesPage 590
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
948099              Regular      32.00   19.00 #:1363
                                                 09/11/2017 Los Angeles CA East - Drivers
948099              Overtime       14.50    28.50   09/11/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   09/18/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       18.50    28.50   09/18/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   09/25/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       15.50    28.50   09/25/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   10/02/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       14.50    28.50   10/02/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   10/16/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       11.00    28.50   10/16/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   10/23/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       17.00    28.50   10/23/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        24.00    19.00   11/06/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime        3.50    28.50   11/06/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   11/13/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       17.00    28.50   11/13/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   11/20/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       13.00    28.50   11/20/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        16.00    19.00   11/27/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime        7.50    28.50   11/27/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   12/04/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       19.50    28.50   12/04/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   12/11/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       15.50    28.50   12/11/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   12/18/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime       19.00    28.50   12/18/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        16.00    19.00   12/25/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime        7.00    28.50   12/25/2017   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   01/01/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       16.00    28.50   01/01/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        24.00    19.00   01/08/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       12.00    28.50   01/08/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   01/15/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       16.00    28.50   01/15/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   01/22/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       20.00    28.50   01/22/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   01/29/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       14.50    28.50   01/29/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   02/05/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       20.00    28.50   02/05/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        32.00    19.00   02/12/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       15.50    28.50   02/12/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   02/19/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       18.00    28.50   02/19/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   02/26/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime       19.00    28.50   02/26/2018   Los   Angeles   CA   East   - Drivers
948099              Regular        24.00    19.00   03/05/2018   Los   Angeles   CA   East   - Drivers
948099              Overtime        3.50    28.50   03/05/2018   Los   Angeles   CA   East   - Drivers
948099              Regular         8.00    20.75   07/31/2017   Los   Angeles   CA   East   - Drivers
948099              Overtime        3.25    31.13   07/31/2017   Los   Angeles   CA   East   - Drivers
948099              Regular         8.00    18.00   03/21/2016   Los   Angeles   CA   East   - Drivers
948099              Regular        14.00    19.00   03/21/2016   Los   Angeles   CA   East   - Drivers
948099              Overtime        3.00    28.50   03/21/2016   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   03/28/2016   Los   Angeles   CA   East   - Drivers
948099              Overtime       12.00    28.50   03/28/2016   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   04/04/2016   Los   Angeles   CA   East   - Drivers
948099              Overtime       20.00    28.50   04/04/2016   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   04/11/2016   Los   Angeles   CA   East   - Drivers
948099              Overtime       14.00    28.50   04/11/2016   Los   Angeles   CA   East   - Drivers
948099              Regular        40.00    19.00   04/18/2016   Los   Angeles   CA   East   - Drivers
948099              Overtime       19.00    28.50   04/18/2016   Los   Angeles   CA   East   - Drivers
948099              Regular        16.00    19.00   04/25/2016   Los   Angeles   CA   East   - Drivers
948099 Case 2:19-cv-08580-JFW-MAA
                  Overtime       4.00Document
                                        28.50 38-5    Filed Los
                                                04/25/2016  03/22/21
                                                                AngelesPage 591
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
948099            Regular       38.00   16.00 #:1364
                                                08/03/2015 Los Angeles CA East - Drivers
948099            Overtime       1.50   24.00 08/03/2015 Los Angeles CA East - Drivers
948099            Regular       30.00   16.00 08/10/2015 Los Angeles CA East - Drivers
948099            Overtime       5.00   24.00 08/10/2015 Los Angeles CA East - Drivers
948099            Regular       16.00   16.00 08/17/2015 Los Angeles CA East - Drivers
948099            Overtime       4.00   24.00 08/17/2015 Los Angeles CA East - Drivers
948099            Regular       24.00   16.00 08/24/2015 Los Angeles CA East - Drivers
948099            Overtime       1.00   24.00 08/24/2015 Los Angeles CA East - Drivers
948099            Regular        8.00   16.00 08/24/2015 Los Angeles CA East - Drivers
948099            Regular       32.00   16.00 08/31/2015 Los Angeles CA East - Drivers
948099            Overtime       5.50   24.00 08/31/2015 Los Angeles CA East - Drivers
948099            Regular       32.00   16.00 09/07/2015 Los Angeles CA East - Drivers
948099            Overtime       2.50   24.00 09/07/2015 Los Angeles CA East - Drivers
948099            Regular       32.00   16.00 09/21/2015 Los Angeles CA East - Drivers
948099            Overtime       3.50   24.00 09/21/2015 Los Angeles CA East - Drivers
948099            Regular       38.00   16.00 09/28/2015 Los Angeles CA East - Drivers
948099            Overtime       3.00   24.00 09/28/2015 Los Angeles CA East - Drivers
948099            Regular       37.00   16.00 10/05/2015 Los Angeles CA East - Drivers
948099            Overtime       2.50   24.00 10/05/2015 Los Angeles CA East - Drivers
948099            Regular       68.00   16.00 10/19/2015 Los Angeles CA East - Drivers
948099            Overtime       8.00   24.00 10/19/2015 Los Angeles CA East - Drivers
948099            Regular        8.00   16.00 10/26/2015 Los Angeles CA East - Drivers
948099            Regular       30.00   16.00 11/02/2015 Los Angeles CA East - Drivers
948099            Overtime       0.25   24.00 11/02/2015 Los Angeles CA East - Drivers
948099            Regular       54.00   16.00 11/16/2015 Los Angeles CA East - Drivers
948099            Overtime       3.00   24.00 11/16/2015 Los Angeles CA East - Drivers
948099            Regular       23.00   16.00 12/07/2015 Los Angeles CA East - Drivers
948099            Overtime       3.00   24.00 12/07/2015 Los Angeles CA East - Drivers
948099            Regular       59.00   16.00 12/21/2015 Los Angeles CA East - Drivers
948099            Overtime       2.25   24.00 12/14/2015 Los Angeles CA East - Drivers
948099            Regular       16.50   16.00 10/19/2015 Los Angeles CA East - Drivers
948099            Overtime       1.50   24.00 10/19/2015 Los Angeles CA East - Drivers
948099            Regular       16.00   16.00 01/11/2016 Los Angeles CA East - Drivers
948099            Overtime       2.00   24.00 01/11/2016 Los Angeles CA East - Drivers
948099            Regular       16.00   16.00 01/18/2016 Los Angeles CA East - Drivers
948099            Overtime       1.50   24.00 01/18/2016 Los Angeles CA East - Drivers
Total for 948099             2,310.25
2370659           Regular        8.00   19.50 09/25/2017 Los Angeles CA West - Drivers
2370659           Overtime       4.00   29.25 09/25/2017 Los Angeles CA West - Drivers
2370659           Regular       40.00   19.50 10/02/2017 Los Angeles CA West - Drivers
2370659           Overtime      20.00   29.25 10/02/2017 Los Angeles CA West - Drivers
2370659           Regular       40.00   19.50 10/09/2017 Los Angeles CA West - Drivers
2370659           Overtime      18.00   29.25 10/09/2017 Los Angeles CA West - Drivers
2370659           Regular        8.00   19.50 10/16/2017 Los Angeles CA West - Drivers
2370659           Overtime       4.00   29.25 10/16/2017 Los Angeles CA West - Drivers
2370659           Regular       16.00   19.50 12/18/2017 Los Angeles CA West - Drivers
2370659           Overtime       7.50   29.25 12/18/2017 Los Angeles CA West - Drivers
2370659           Regular       39.50   19.50 12/25/2017 Los Angeles CA West - Drivers
2370659           Overtime       8.00   29.25 12/25/2017 Los Angeles CA West - Drivers
2370659           Regular       16.00   19.50 01/01/2018 Los Angeles CA West - Drivers
2370659           Overtime       3.00   29.25 01/01/2018 Los Angeles CA West - Drivers
2370659           Regular       32.00   19.50 01/08/2018 Los Angeles CA West - Drivers
2370659           Overtime      13.00   29.25 01/08/2018 Los Angeles CA West - Drivers
2370659           Regular       19.50   19.50 01/15/2018 Los Angeles CA West - Drivers
2370659           Overtime       7.50   29.25 01/15/2018 Los Angeles CA West - Drivers
2370659           Regular       16.00   19.50 01/22/2018 Los Angeles CA West - Drivers
2370659           Overtime       6.00   29.25 01/22/2018 Los Angeles CA West - Drivers
2370659           Regular       32.00   19.50 01/29/2018 Los Angeles CA West - Drivers
2370659           Overtime       9.50   29.25 01/29/2018 Los Angeles CA West - Drivers
2370659           Regular        8.00   19.50 02/05/2018 Los Angeles CA West - Drivers
2370659           Overtime       4.00   29.25 02/05/2018 Los Angeles CA West - Drivers
2370659           Regular        9.00   19.50 02/12/2018 Los Angeles CA West - Drivers
2370659 Case   2:19-cv-08580-JFW-MAA
                     Regular       7.50Document
                                          19.50 38-5    Filed Los
                                                  02/19/2018  03/22/21
                                                                  AngelesPage 592- Drivers
                                                                         CA West   of 691 Page ID
2370659              Regular       8.00   19.50 #:1365
                                                  02/26/2018 Los Angeles CA West - Drivers
2370659             Regular          7.75   19.50   03/05/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        16.00    19.50   04/23/2018   Los   Angeles   CA   West   - Drivers
2370659             Overtime         3.50   29.25   04/23/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        24.00    21.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2370659             Overtime         5.00   31.50   09/25/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        31.50    19.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2370659             Overtime         7.50   28.50   10/23/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        24.00    19.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2370659             Overtime         8.00   28.50   10/30/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        37.00    19.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2370659             Overtime         9.50   28.50   11/06/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        24.00    19.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2370659             Overtime         3.75   28.50   11/13/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular          7.50   19.00   12/18/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular          8.00   19.00   01/29/2018   Los   Angeles   CA   West   - Drivers
2370659             Overtime         1.50   28.50   01/29/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular          8.00   19.50   09/18/2017   Los   Angeles   CA   West   - Drivers
2370659             Overtime         0.50   29.25   09/18/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        47.00    21.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        55.50    21.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2370659             Regular        24.00    21.00   02/19/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        42.00    21.00   02/26/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        40.00    21.00   03/05/2018   Los   Angeles   CA   West   - Drivers
2370659             Overtime         2.75   31.50   03/05/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        51.00    21.00   03/12/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        40.00    21.00   03/19/2018   Los   Angeles   CA   West   - Drivers
2370659             Overtime         1.00   31.50   03/19/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        51.00    21.00   03/26/2018   Los   Angeles   CA   West   - Drivers
2370659             Overtime        -1.00   31.50   03/19/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        52.80    21.00   04/02/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        50.00    21.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        49.00    21.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        43.00    21.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        56.75    21.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        41.50    21.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        44.00    21.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        34.50    21.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        33.50    21.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        33.50    21.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        51.25    21.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        52.75    21.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        59.50    21.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        48.25    21.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        63.50    21.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        63.00    21.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        45.25    21.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        70.00    21.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        49.50    21.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        55.50    21.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        69.00    21.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        57.25    21.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        54.00    21.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        70.25    21.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        47.50    21.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        53.00    21.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        59.75    21.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        70.25    21.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        56.00    21.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        48.00    21.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        55.50    21.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2370659             Regular        69.75    21.00   11/05/2018   Los   Angeles   CA   West   - Drivers
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                   Regular       51.50Document
                                         21.00 38-5    Filed Los
                                                 11/12/2018  03/22/21
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                                                                        CA West   of 691    Page ID
2370659            Regular       28.75   21.00 #:1366
                                                 11/19/2018 Los Angeles CA West - Drivers
2370659            Regular       47.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2370659            Regular       47.50   21.00 12/03/2018 Los Angeles CA West - Drivers
2370659            Regular       59.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2370659            Regular       49.25   21.00 12/17/2018 Los Angeles CA West - Drivers
2370659            Regular       43.75   21.00 12/24/2018 Los Angeles CA West - Drivers
2370659            Regular       27.75   21.00 12/31/2018 Los Angeles CA West - Drivers
2370659            Regular       45.25   21.00 01/07/2019 Los Angeles CA West - Drivers
2370659            Regular       37.50   21.00 01/14/2019 Los Angeles CA West - Drivers
2370659            Regular       36.25   21.00 01/21/2019 Los Angeles CA West - Drivers
2370659            Regular       53.25   21.00 01/28/2019 Los Angeles CA West - Drivers
2370659            Regular       53.75   21.00 02/04/2019 Los Angeles CA West - Drivers
2370659            Regular       52.25   21.00 02/11/2019 Los Angeles CA West - Drivers
2370659            Regular       48.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2370659            Regular       33.50   21.00 02/25/2019 Los Angeles CA West - Drivers
2370659            Regular       57.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2370659            Regular       49.00   21.00 03/11/2019 Los Angeles CA West - Drivers
2370659            Regular       47.75   21.00 03/18/2019 Los Angeles CA West - Drivers
2370659            Regular       60.00   21.00 03/25/2019 Los Angeles CA West - Drivers
2370659            Regular       22.00   21.00 04/01/2019 Los Angeles CA West - Drivers
2370659            Regular       37.50   21.00 04/08/2019 Los Angeles CA West - Drivers
2370659            Regular       50.50   21.00 04/15/2019 Los Angeles CA West - Drivers
2370659            Regular       46.00   21.00 04/22/2019 Los Angeles CA West - Drivers
2370659            Regular       53.50   21.00 04/29/2019 Los Angeles CA West - Drivers
2370659            Regular       46.25   21.00 05/06/2019 Los Angeles CA West - Drivers
2370659            Regular       55.75   21.00 05/13/2019 Los Angeles CA West - Drivers
2370659            Regular       59.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2370659            Regular       40.00   21.00 05/27/2019 Los Angeles CA West - Drivers
2370659            Regular       64.50   21.00 06/03/2019 Los Angeles CA West - Drivers
2370659            Regular       50.25   21.00 06/10/2019 Los Angeles CA West - Drivers
2370659            Regular       52.50   21.00 06/17/2019 Los Angeles CA West - Drivers
2370659            Regular       46.00   21.00 06/24/2019 Los Angeles CA West - Drivers
2370659            Regular       46.25   21.00 07/01/2019 Los Angeles CA West - Drivers
2370659            Regular       62.50   21.00 07/08/2019 Los Angeles CA West - Drivers
2370659            Regular       57.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2370659            Regular       53.50   21.00 07/22/2019 Los Angeles CA West - Drivers
2370659            Regular       39.25   21.00 07/29/2019 Los Angeles CA West - Drivers
2370659            Regular       48.75   21.00 08/05/2019 Los Angeles CA West - Drivers
2370659            Regular       54.50   21.00 08/12/2019 Los Angeles CA West - Drivers
2370659            Regular       59.25   21.00 08/19/2019 Los Angeles CA West - Drivers
2370659            Regular       51.25   21.00 08/26/2019 Los Angeles CA West - Drivers
2370659            Regular       47.00   21.00 09/02/2019 Los Angeles CA West - Drivers
Total for 2370659             4,762.55
2481473            Regular        8.00   16.50 02/19/2018 Los Angeles CA East - Drivers
2481473            Overtime       0.50   24.75 02/19/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 02/26/2018 Los Angeles CA East - Drivers
2481473            Overtime       0.75   24.75 02/26/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 03/05/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 03/12/2018 Los Angeles CA East - Drivers
2481473            Overtime       0.50   24.75 03/12/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 03/19/2018 Los Angeles CA East - Drivers
2481473            Regular       30.00   16.50 03/26/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 04/02/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 04/09/2018 Los Angeles CA East - Drivers
2481473            Overtime       3.00   24.75 04/09/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 04/16/2018 Los Angeles CA East - Drivers
2481473            Overtime       2.75   24.75 04/16/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   16.50 04/23/2018 Los Angeles CA East - Drivers
2481473            Overtime       3.75   24.75 04/23/2018 Los Angeles CA East - Drivers
2481473            Regular       37.50   16.50 04/30/2018 Los Angeles CA East - Drivers
2481473            Overtime       1.00   24.75 04/30/2018 Los Angeles CA East - Drivers
2481473            Regular       32.00   16.50 05/07/2018 Los Angeles CA East - Drivers
2481473 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.00Document
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                                                 05/07/2018  03/22/21
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                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2481473            Regular       40.00   17.50 #:1367
                                                 05/14/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   17.50 05/21/2018 Los Angeles CA East - Drivers
2481473            Overtime       1.00   26.25 05/21/2018 Los Angeles CA East - Drivers
2481473            Regular       32.00   17.50 05/28/2018 Los Angeles CA East - Drivers
2481473            Overtime       7.00   26.25 05/28/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   17.50 06/04/2018 Los Angeles CA East - Drivers
2481473            Overtime       4.00   26.25 06/04/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   17.50 06/11/2018 Los Angeles CA East - Drivers
2481473            Overtime       5.00   26.25 06/11/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   17.50 06/18/2018 Los Angeles CA East - Drivers
2481473            Overtime       7.50   26.25 06/18/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   17.50 06/25/2018 Los Angeles CA East - Drivers
2481473            Overtime      22.50   26.25 06/25/2018 Los Angeles CA East - Drivers
2481473            Regular       32.00   17.50 07/02/2018 Los Angeles CA East - Drivers
2481473            Overtime       3.50   26.25 07/02/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   20.00 07/09/2018 Los Angeles CA East - Drivers
2481473            Overtime      17.50   30.00 07/09/2018 Los Angeles CA East - Drivers
2481473            Regular       32.00   20.00 07/16/2018 Los Angeles CA East - Drivers
2481473            Overtime      14.50   30.00 07/16/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2481473            Overtime      15.00   30.00 07/23/2018 Los Angeles CA East - Drivers
2481473            Regular       40.00   20.00 07/30/2018 Los Angeles CA East - Drivers
2481473            Overtime      15.50   30.00 07/30/2018 Los Angeles CA East - Drivers
2481473            Regular       32.00   20.00 08/06/2018 Los Angeles CA East - Drivers
2481473            Overtime      14.50   30.00 08/06/2018 Los Angeles CA East - Drivers
2481473            Regular       28.00   20.00 08/13/2018 Los Angeles CA East - Drivers
2481473            Overtime      11.25   30.00 08/13/2018 Los Angeles CA East - Drivers
2481473            Regular       32.00   20.00 08/20/2018 Los Angeles CA East - Drivers
2481473            Overtime      13.75   30.00 08/20/2018 Los Angeles CA East - Drivers
2481473            Regular       28.00   20.00 08/27/2018 Los Angeles CA East - Drivers
2481473            Overtime      10.50   30.00 08/27/2018 Los Angeles CA East - Drivers
2481473            Regular        8.00   21.00 04/09/2018 Los Angeles CA East - Drivers
Total for 2481473             1,188.75
941925             Regular       16.00   16.00 04/24/2017 Los Angeles CA West - Drivers
941925             Overtime       4.00   24.00 04/24/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 05/01/2017 Los Angeles CA West - Drivers
941925             Overtime       9.00   24.00 05/01/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 05/08/2017 Los Angeles CA West - Drivers
941925             Overtime       5.00   24.00 05/08/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 05/15/2017 Los Angeles CA West - Drivers
941925             Overtime       5.00   24.00 05/15/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 05/22/2017 Los Angeles CA West - Drivers
941925             Overtime       5.00   24.00 05/22/2017 Los Angeles CA West - Drivers
941925             Regular       32.00   16.00 05/29/2017 Los Angeles CA West - Drivers
941925             Overtime       5.50   24.00 05/29/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 06/05/2017 Los Angeles CA West - Drivers
941925             Overtime       9.00   24.00 06/05/2017 Los Angeles CA West - Drivers
941925             Regular       39.00   16.00 06/12/2017 Los Angeles CA West - Drivers
941925             Overtime       6.00   24.00 06/12/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 06/19/2017 Los Angeles CA West - Drivers
941925             Overtime      10.50   24.00 06/19/2017 Los Angeles CA West - Drivers
941925             Regular       32.00   16.00 06/26/2017 Los Angeles CA West - Drivers
941925             Overtime      12.00   24.00 06/26/2017 Los Angeles CA West - Drivers
941925             Regular       29.75   16.00 07/03/2017 Los Angeles CA West - Drivers
941925             Overtime       5.50   24.00 07/03/2017 Los Angeles CA West - Drivers
941925             Regular       32.00   16.00 07/10/2017 Los Angeles CA West - Drivers
941925             Overtime      11.00   24.00 07/10/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 07/17/2017 Los Angeles CA West - Drivers
941925             Overtime       7.50   24.00 07/17/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 07/24/2017 Los Angeles CA West - Drivers
941925             Overtime       4.25   24.00 07/24/2017 Los Angeles CA West - Drivers
941925             Regular       40.00   16.00 07/31/2017 Los Angeles CA West - Drivers
941925 Case 2:19-cv-08580-JFW-MAA
                  Overtime      25.50Document
                                        24.00 38-5    Filed Los
                                                07/31/2017  03/22/21
                                                                AngelesPage 595- Drivers
                                                                       CA West   of 691    Page ID
941925            Regular       40.00   16.00 #:1368
                                                08/07/2017 Los Angeles CA West - Drivers
941925            Overtime      15.00   24.00 08/07/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 08/14/2017 Los Angeles CA West - Drivers
941925            Overtime      10.00   24.00 08/14/2017 Los Angeles CA West - Drivers
941925            Regular       38.00   16.00 08/21/2017 Los Angeles CA West - Drivers
941925            Overtime       8.00   24.00 08/21/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 08/28/2017 Los Angeles CA West - Drivers
941925            Overtime      10.00   24.00 08/28/2017 Los Angeles CA West - Drivers
941925            Regular       32.00   16.00 09/04/2017 Los Angeles CA West - Drivers
941925            Overtime       6.00   24.00 09/04/2017 Los Angeles CA West - Drivers
941925            Regular       30.50   16.00 09/11/2017 Los Angeles CA West - Drivers
941925            Overtime       1.00   24.00 09/11/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 09/18/2017 Los Angeles CA West - Drivers
941925            Overtime      10.00   24.00 09/18/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 09/25/2017 Los Angeles CA West - Drivers
941925            Overtime      10.50   24.00 09/25/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 10/02/2017 Los Angeles CA West - Drivers
941925            Overtime       4.50   24.00 10/02/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 10/09/2017 Los Angeles CA West - Drivers
941925            Overtime       5.00   24.00 10/09/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 10/16/2017 Los Angeles CA West - Drivers
941925            Overtime       4.50   24.00 10/16/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 10/23/2017 Los Angeles CA West - Drivers
941925            Overtime       1.50   24.00 10/23/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 10/30/2017 Los Angeles CA West - Drivers
941925            Overtime       3.50   24.00 10/30/2017 Los Angeles CA West - Drivers
941925            Regular       32.00   16.00 11/06/2017 Los Angeles CA West - Drivers
941925            Overtime       3.25   24.00 11/06/2017 Los Angeles CA West - Drivers
941925            Regular       32.00   16.00 11/13/2017 Los Angeles CA West - Drivers
941925            Overtime       4.00   24.00 11/13/2017 Los Angeles CA West - Drivers
941925            Regular       32.00   16.00 11/20/2017 Los Angeles CA West - Drivers
941925            Overtime       5.00   24.00 11/20/2017 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 11/27/2017 Los Angeles CA West - Drivers
941925            Overtime       2.75   24.00 11/27/2017 Los Angeles CA West - Drivers
941925            Regular       24.00   16.00 12/04/2017 Los Angeles CA West - Drivers
941925            Overtime       1.25   24.00 12/04/2017 Los Angeles CA West - Drivers
941925            Regular       72.00   16.00 01/01/2018 Los Angeles CA West - Drivers
941925            Overtime      11.50   24.00 01/01/2018 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 01/15/2018 Los Angeles CA West - Drivers
941925            Overtime       3.25   24.00 01/15/2018 Los Angeles CA West - Drivers
941925            Regular       32.00   16.00 01/22/2018 Los Angeles CA West - Drivers
941925            Overtime       5.75   24.00 01/22/2018 Los Angeles CA West - Drivers
941925            Regular       40.00   16.00 01/29/2018 Los Angeles CA West - Drivers
941925            Overtime       8.00   24.00 01/29/2018 Los Angeles CA West - Drivers
Total for 941925             1,644.25
2524739           Regular       16.00   18.50 05/14/2018 Sacramento CA - Drivers
2524739           Regular       40.00   18.50 05/21/2018 Sacramento CA - Drivers
2524739           Overtime       1.00   27.75 05/21/2018 Sacramento CA - Drivers
2524739           Regular       32.00   18.50 05/28/2018 Sacramento CA - Drivers
2524739           Overtime       1.00   27.75 05/28/2018 Sacramento CA - Drivers
2524739           Regular       24.00   18.50 06/04/2018 Sacramento CA - Drivers
2524739           Regular       40.00   18.50 06/11/2018 Sacramento CA - Drivers
2524739           Overtime       2.50   27.75 06/11/2018 Sacramento CA - Drivers
2524739           Regular       40.00   18.50 06/18/2018 Sacramento CA - Drivers
2524739           Overtime       1.50   27.75 06/18/2018 Sacramento CA - Drivers
2524739           Regular       40.00   18.50 06/25/2018 Sacramento CA - Drivers
2524739           Overtime       0.50   27.75 06/25/2018 Sacramento CA - Drivers
2524739           Regular       32.00   18.50 07/02/2018 Sacramento CA - Drivers
2524739           Overtime       3.00   27.75 07/02/2018 Sacramento CA - Drivers
2524739           Regular       40.00   18.50 07/09/2018 Sacramento CA - Drivers
2524739           Regular       40.00   18.50 07/16/2018 Sacramento CA - Drivers
2524739           Overtime       2.00   27.75 07/16/2018 Sacramento CA - Drivers
2524739 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         18.50 38-5    Filed Sacramento
                                                 07/23/2018  03/22/21 Page    596 of
                                                                        CA - Drivers   691 Page ID
2524739            Regular       40.00   18.50 #:1369
                                                 07/30/2018 Sacramento CA - Drivers
2524739            Overtime       1.50   27.75 07/30/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 08/06/2018 Sacramento CA - Drivers
2524739            Overtime       1.00   27.75 08/06/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 08/13/2018 Sacramento CA - Drivers
2524739            Overtime       1.00   27.75 08/13/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 08/20/2018 Sacramento CA - Drivers
2524739            Overtime       1.00   27.75 08/20/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 08/27/2018 Sacramento CA - Drivers
2524739            Regular       32.00   18.50 09/03/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 09/03/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 09/10/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 09/10/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 09/17/2018 Sacramento CA - Drivers
2524739            Overtime       1.00   27.75 09/17/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 09/24/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 10/01/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 10/01/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 10/08/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 10/15/2018 Sacramento CA - Drivers
2524739            Overtime       0.75   27.75 10/15/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 10/22/2018 Sacramento CA - Drivers
2524739            Overtime       2.50   27.75 10/22/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 10/29/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 11/05/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 11/05/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 11/12/2018 Sacramento CA - Drivers
2524739            Regular       24.00   18.50 11/19/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 11/26/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 12/03/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 12/03/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 12/10/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 12/17/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 12/17/2018 Sacramento CA - Drivers
2524739            Regular       24.00   18.50 12/24/2018 Sacramento CA - Drivers
2524739            Overtime       0.50   27.75 12/24/2018 Sacramento CA - Drivers
2524739            Regular       32.00   18.50 12/31/2018 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 01/07/2019 Sacramento CA - Drivers
2524739            Regular       32.00   18.50 01/14/2019 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 01/21/2019 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 01/28/2019 Sacramento CA - Drivers
2524739            Overtime       1.50   27.75 01/28/2019 Sacramento CA - Drivers
2524739            Regular       40.00   18.50 02/04/2019 Sacramento CA - Drivers
Total for 2524739             1,473.25
2364162            Regular       15.00   19.50 08/21/2017 Sacramento CA - Drivers
2364162            Overtime       0.25   29.25 08/21/2017 Sacramento CA - Drivers
2364162            Regular       33.25   21.00 08/28/2017 Sacramento CA - Drivers
2364162            Regular       35.00   21.00 09/04/2017 Sacramento CA - Drivers
2364162            Overtime       8.00   31.50 09/04/2017 Sacramento CA - Drivers
2364162            Regular       45.75   21.00 09/11/2017 Sacramento CA - Drivers
2364162            Overtime       2.00   31.50 09/11/2017 Sacramento CA - Drivers
2364162            Regular       47.00   21.00 09/18/2017 Sacramento CA - Drivers
2364162            Overtime       2.75   31.50 09/18/2017 Sacramento CA - Drivers
2364162            Regular       42.50   21.00 09/25/2017 Sacramento CA - Drivers
2364162            Regular       35.00   21.00 10/02/2017 Sacramento CA - Drivers
2364162            Overtime       1.00   31.50 10/02/2017 Sacramento CA - Drivers
2364162            Regular       40.25   21.00 10/09/2017 Sacramento CA - Drivers
2364162            Regular       48.25   21.00 10/16/2017 Sacramento CA - Drivers
2364162            Regular       50.00   21.00 10/23/2017 Sacramento CA - Drivers
2364162            Overtime       1.50   31.50 10/23/2017 Sacramento CA - Drivers
2364162            Regular       50.00   21.00 10/30/2017 Sacramento CA - Drivers
2364162            Overtime       1.00   31.50 10/30/2017 Sacramento CA - Drivers
2364162 Case   2:19-cv-08580-JFW-MAA
                     Regular      49.00Document
                                          21.00 38-5    Filed Sacramento
                                                  11/06/2017  03/22/21 Page    597 of 691 Page ID
                                                                         CA - Drivers
2364162              Regular      50.00   21.00 #:1370
                                                  11/13/2017 Sacramento CA - Drivers
2364162             Overtime        7.75    31.50   11/13/2017   Sacramento   CA   - Drivers
2364162             Regular        44.25    21.00   11/20/2017   Sacramento   CA   - Drivers
2364162             Overtime        8.00    31.50   11/20/2017   Sacramento   CA   - Drivers
2364162             Regular        50.00    21.00   11/27/2017   Sacramento   CA   - Drivers
2364162             Overtime        2.25    31.50   11/27/2017   Sacramento   CA   - Drivers
2364162             Regular        48.75    21.00   12/04/2017   Sacramento   CA   - Drivers
2364162             Regular        48.50    21.00   12/11/2017   Sacramento   CA   - Drivers
2364162             Regular        50.00    21.00   12/18/2017   Sacramento   CA   - Drivers
2364162             Overtime        1.00    31.50   12/18/2017   Sacramento   CA   - Drivers
2364162             Regular        40.00    21.00   12/25/2017   Sacramento   CA   - Drivers
2364162             Overtime        8.00    31.50   12/25/2017   Sacramento   CA   - Drivers
2364162             Regular        41.25    21.00   01/01/2018   Sacramento   CA   - Drivers
2364162             Regular        49.00    21.00   01/08/2018   Sacramento   CA   - Drivers
2364162             Regular        48.75    21.00   01/15/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    21.00   01/22/2018   Sacramento   CA   - Drivers
2364162             Regular        49.00    21.00   01/29/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    21.00   02/05/2018   Sacramento   CA   - Drivers
2364162             Regular        49.25    21.00   02/12/2018   Sacramento   CA   - Drivers
2364162             Regular        48.50    21.00   02/19/2018   Sacramento   CA   - Drivers
2364162             Regular        48.75    21.00   02/26/2018   Sacramento   CA   - Drivers
2364162             Regular        50.00    21.00   03/05/2018   Sacramento   CA   - Drivers
2364162             Overtime        6.00    31.50   03/05/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    21.00   03/12/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    21.00   03/19/2018   Sacramento   CA   - Drivers
2364162             Regular        49.50    21.00   03/26/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    21.00   04/02/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    21.00   04/09/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   04/16/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   04/23/2018   Sacramento   CA   - Drivers
2364162             Regular        48.75    22.00   04/30/2018   Sacramento   CA   - Drivers
2364162             Regular        50.00    22.00   05/07/2018   Sacramento   CA   - Drivers
2364162             Overtime        1.25    33.00   05/07/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   05/14/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   05/21/2018   Sacramento   CA   - Drivers
2364162             Regular        40.00    22.00   05/28/2018   Sacramento   CA   - Drivers
2364162             Overtime        5.75    33.00   05/28/2018   Sacramento   CA   - Drivers
2364162             Regular        48.25    22.00   06/04/2018   Sacramento   CA   - Drivers
2364162             Regular        49.25    22.00   06/11/2018   Sacramento   CA   - Drivers
2364162             Regular        49.00    22.00   06/18/2018   Sacramento   CA   - Drivers
2364162             Regular        50.00    22.00   06/25/2018   Sacramento   CA   - Drivers
2364162             Overtime        6.50    33.00   06/25/2018   Sacramento   CA   - Drivers
2364162             Regular        40.25    22.00   07/02/2018   Sacramento   CA   - Drivers
2364162             Overtime        6.50    33.00   07/02/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   07/09/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   07/16/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   07/23/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   07/30/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   08/06/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   08/13/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   08/20/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   08/27/2018   Sacramento   CA   - Drivers
2364162             Regular        40.00    22.00   09/03/2018   Sacramento   CA   - Drivers
2364162             Regular        48.50    22.00   09/10/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   09/17/2018   Sacramento   CA   - Drivers
2364162             Regular        50.00    22.00   09/24/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   10/01/2018   Sacramento   CA   - Drivers
2364162             Regular        48.00    22.00   10/08/2018   Sacramento   CA   - Drivers
2364162             Regular        50.00    22.00   10/15/2018   Sacramento   CA   - Drivers
2364162             Overtime        3.00    33.00   10/15/2018   Sacramento   CA   - Drivers
2364162             Regular        48.50    22.00   10/22/2018   Sacramento   CA   - Drivers
2364162             Regular        50.00    22.00   10/29/2018   Sacramento   CA   - Drivers
2364162 Case 2:19-cv-08580-JFW-MAA
                   Regular       50.00Document
                                         22.00 38-5    Filed Sacramento
                                                 11/05/2018  03/22/21 Page    598 of 691
                                                                        CA - Drivers       Page ID
2364162            Overtime       0.50   33.00 #:1371
                                                 11/05/2018 Sacramento CA - Drivers
2364162            Regular       50.00   22.00 11/12/2018 Sacramento CA - Drivers
2364162            Overtime       1.25   33.00 11/12/2018 Sacramento CA - Drivers
2364162            Regular       41.00   22.00 11/19/2018 Sacramento CA - Drivers
2364162            Regular       48.00   22.00 11/26/2018 Sacramento CA - Drivers
2364162            Regular       49.00   22.00 12/03/2018 Sacramento CA - Drivers
2364162            Regular       48.75   22.00 12/10/2018 Sacramento CA - Drivers
2364162            Regular       50.00   22.00 12/17/2018 Sacramento CA - Drivers
2364162            Overtime       0.25   33.00 12/17/2018 Sacramento CA - Drivers
2364162            Regular       40.00   22.00 12/24/2018 Sacramento CA - Drivers
2364162            Regular       40.50   22.00 12/31/2018 Sacramento CA - Drivers
2364162            Regular       49.25   22.00 01/07/2019 Sacramento CA - Drivers
2364162            Regular       50.00   22.00 01/14/2019 Sacramento CA - Drivers
2364162            Overtime       2.75   33.00 01/14/2019 Sacramento CA - Drivers
2364162            Regular       50.00   22.00 01/21/2019 Sacramento CA - Drivers
2364162            Overtime       3.00   33.00 01/21/2019 Sacramento CA - Drivers
2364162            Regular       50.00   22.00 01/28/2019 Sacramento CA - Drivers
2364162            Overtime       2.25   33.00 01/28/2019 Sacramento CA - Drivers
2364162            Regular       49.75   22.00 02/04/2019 Sacramento CA - Drivers
2364162            Regular       50.00   22.00 02/11/2019 Sacramento CA - Drivers
2364162            Overtime       0.25   33.00 02/11/2019 Sacramento CA - Drivers
Total for 2364162             3,726.00
2178910            Regular       16.00   19.00 01/30/2017 Los Angeles CA East - Drivers
2178910            Overtime       6.50   28.50 01/30/2017 Los Angeles CA East - Drivers
2178910            Regular       16.00   19.00 02/06/2017 Los Angeles CA East - Drivers
2178910            Overtime       4.00   28.50 02/06/2017 Los Angeles CA East - Drivers
2178910            Regular        8.00   19.00 02/27/2017 Los Angeles CA East - Drivers
Total for 2178910                50.50
1348664            Regular       40.00   17.00 07/11/2016 Sacramento CA - Drivers
1348664            Overtime       3.25   25.50 07/11/2016 Sacramento CA - Drivers
1348664            Regular       24.00   17.00 07/18/2016 Sacramento CA - Drivers
1348664            Overtime       1.50   25.50 07/18/2016 Sacramento CA - Drivers
1348664            Regular       32.00   17.00 08/01/2016 Sacramento CA - Drivers
1348664            Overtime       2.50   25.50 08/01/2016 Sacramento CA - Drivers
1348664            Regular       32.00   17.00 08/08/2016 Sacramento CA - Drivers
1348664            Overtime       1.75   25.50 08/08/2016 Sacramento CA - Drivers
1348664            Regular       32.00   17.00 08/15/2016 Sacramento CA - Drivers
1348664            Overtime       1.50   25.50 08/15/2016 Sacramento CA - Drivers
1348664            Regular       39.25   17.00 08/22/2016 Sacramento CA - Drivers
1348664            Overtime       2.50   25.50 08/22/2016 Sacramento CA - Drivers
1348664            Regular       36.50   17.00 08/29/2016 Sacramento CA - Drivers
1348664            Overtime       3.25   25.50 08/29/2016 Sacramento CA - Drivers
1348664            Regular       32.00   17.00 09/05/2016 Sacramento CA - Drivers
1348664            Overtime       4.00   25.50 09/05/2016 Sacramento CA - Drivers
1348664            Regular       39.50   17.00 09/12/2016 Sacramento CA - Drivers
1348664            Overtime       2.00   25.50 09/12/2016 Sacramento CA - Drivers
Total for 1348664               329.50
1297782            Regular       40.00   20.50 04/04/2016 Sacramento CA - Drivers
1297782            Regular       38.00   20.50 04/11/2016 Sacramento CA - Drivers
1297782            Regular       24.00   20.50 04/18/2016 Sacramento CA - Drivers
1297782            Overtime       5.00   30.75 04/18/2016 Sacramento CA - Drivers
Total for 1297782               107.00
1371019            Regular        8.00   18.50 01/02/2017 Los Angeles CA West - Drivers
1371019            Overtime       1.00   27.75 01/02/2017 Los Angeles CA West - Drivers
1371019            Regular       13.00   19.00 11/28/2016 Los Angeles CA West - Drivers
1371019            Overtime       1.00   28.50 11/28/2016 Los Angeles CA West - Drivers
1371019            Regular       40.00   19.00 12/05/2016 Los Angeles CA West - Drivers
1371019            Overtime      10.00   28.50 12/05/2016 Los Angeles CA West - Drivers
1371019            Regular       28.00   21.85 12/26/2016 Los Angeles CA West - Drivers
1371019            Regular        8.00   18.50 12/19/2016 Los Angeles CA West - Drivers
1371019            Overtime       4.00   27.75 12/19/2016 Los Angeles CA West - Drivers
1371019            Regular       16.00   19.00 10/10/2016 Los Angeles CA West - Drivers
1371019 Case 2:19-cv-08580-JFW-MAA
                   Overtime      5.00Document
                                        28.50 38-5    Filed Los
                                                10/10/2016  03/22/21
                                                                AngelesPage 599- Drivers
                                                                       CA West   of 691    Page ID
1371019            Regular      20.00   16.50 #:1372
                                                09/26/2016 Los Angeles CA West - Drivers
1371019            Overtime      5.50   24.75 09/26/2016 Los Angeles CA West - Drivers
1371019            Regular      40.00   19.00 10/03/2016 Los Angeles CA West - Drivers
1371019            Overtime     16.00   28.50 10/03/2016 Los Angeles CA West - Drivers
1371019            Regular      16.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1371019            Overtime      3.75   30.00 08/01/2016 Los Angeles CA West - Drivers
1371019            Regular      29.00   20.00 08/08/2016 Los Angeles CA West - Drivers
1371019            Overtime     10.00   30.00 08/08/2016 Los Angeles CA West - Drivers
1371019            Regular      31.25   20.00 08/15/2016 Los Angeles CA West - Drivers
1371019            Overtime      4.50   30.00 08/15/2016 Los Angeles CA West - Drivers
1371019            Regular      32.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1371019            Overtime     12.00   30.00 08/22/2016 Los Angeles CA West - Drivers
1371019            Regular      32.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1371019            Overtime     13.00   30.00 08/29/2016 Los Angeles CA West - Drivers
1371019            Regular      24.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1371019            Overtime     11.50   30.00 09/05/2016 Los Angeles CA West - Drivers
Total for 1371019              434.50
2256960            Regular      40.00   24.00 05/15/2017 Sacramento CA - Drivers
2256960            Overtime      1.00   36.00 05/15/2017 Sacramento CA - Drivers
2256960            Regular      40.00   24.00 05/22/2017 Sacramento CA - Drivers
2256960            Regular      24.00   24.00 05/29/2017 Sacramento CA - Drivers
2256960            Overtime      2.50   36.00 05/29/2017 Sacramento CA - Drivers
2256960            Regular      40.00   24.00 06/05/2017 Sacramento CA - Drivers
2256960            Regular      32.00   24.00 06/12/2017 Sacramento CA - Drivers
2256960            Regular      40.00   24.00 06/19/2017 Sacramento CA - Drivers
2256960            Overtime      4.50   36.00 06/19/2017 Sacramento CA - Drivers
2256960            Regular      32.00   24.00 06/26/2017 Sacramento CA - Drivers
2256960            Regular      24.00   24.00 07/03/2017 Sacramento CA - Drivers
2256960            Overtime      2.00   36.00 07/03/2017 Sacramento CA - Drivers
2256960            Regular      16.00   24.00 07/10/2017 Sacramento CA - Drivers
2256960            Regular      24.00   24.00 07/17/2017 Sacramento CA - Drivers
Total for 2256960              322.00
2487905            Regular      32.00   17.60 03/05/2018 Los Angeles CA West - Drivers
2487905            Overtime     12.50   26.40 03/05/2018 Los Angeles CA West - Drivers
2487905            Regular      16.00   17.60 03/12/2018 Los Angeles CA West - Drivers
2487905            Overtime      7.00   26.40 03/12/2018 Los Angeles CA West - Drivers
Total for 2487905               67.50
1367674            Regular       8.00   22.50 07/01/2019 Los Angeles CA West - Drivers
1367674            Overtime      2.25   33.75 07/01/2019 Los Angeles CA West - Drivers
1367674            Regular       8.00   22.50 07/15/2019 Los Angeles CA West - Drivers
1367674            Overtime      4.00   33.75 07/15/2019 Los Angeles CA West - Drivers
1367674            Regular       8.00   20.00 07/02/2018 Los Angeles CA West - Drivers
1367674            Overtime      4.00   30.00 07/02/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   20.00 07/16/2018 Los Angeles CA West - Drivers
1367674            Overtime      4.00   30.00 07/16/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   20.00 08/13/2018 Los Angeles CA West - Drivers
1367674            Overtime      4.00   30.00 08/13/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   20.00 11/12/2018 Los Angeles CA West - Drivers
1367674            Overtime      4.00   30.00 11/12/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   20.50 09/10/2018 Los Angeles CA West - Drivers
1367674            Overtime      1.50   30.75 09/10/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   19.50 07/16/2018 Los Angeles CA West - Drivers
1367674            Overtime      4.00   29.25 07/16/2018 Los Angeles CA West - Drivers
1367674            Regular      16.00   19.50 07/23/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   19.50 07/30/2018 Los Angeles CA West - Drivers
1367674            Overtime      2.25   29.25 07/30/2018 Los Angeles CA West - Drivers
1367674            Overtime      4.00   29.25 07/23/2018 Los Angeles CA West - Drivers
1367674            Regular       8.00   19.50 03/13/2017 Los Angeles CA West - Drivers
1367674            Overtime      3.50   29.25 03/13/2017 Los Angeles CA West - Drivers
1367674            Regular       8.00   19.50 07/10/2017 Los Angeles CA West - Drivers
1367674            Overtime      0.50   29.25 07/10/2017 Los Angeles CA West - Drivers
1367674            Regular      16.00   19.50 07/24/2017 Los Angeles CA West - Drivers
1367674 Case   2:19-cv-08580-JFW-MAA
                     Overtime      2.25Document
                                          29.25 38-5    Filed Los
                                                  07/24/2017  03/22/21
                                                                  AngelesPage 600- Drivers
                                                                         CA West   of 691 Page ID
1367674              Regular       8.00   19.50 #:1373
                                                  07/31/2017 Los Angeles CA West - Drivers
1367674             Overtime         0.50   29.25   07/31/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        15.50    19.50   08/07/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime         1.00   29.25   08/07/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   19.50   08/21/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime         1.00   29.25   08/21/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   19.50   08/28/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime         1.00   29.25   08/28/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   19.50   09/04/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   19.50   09/18/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   20.50   07/02/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         2.50   30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   20.50   07/30/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         0.50   30.75   07/30/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   20.50   08/13/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         4.00   30.75   08/13/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular         -8.00   20.50   08/13/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        -4.00   30.75   08/13/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   22.00   06/10/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    38.17   04/24/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime         9.50   57.26   04/24/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   38.17   05/15/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime         4.00   57.26   05/15/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   38.17   05/22/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime         4.00   57.26   05/22/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        21.00    39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         6.25   58.76   06/11/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       20.00    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       20.00    58.76   06/25/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        14.50    39.17   07/09/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         3.50   58.76   07/09/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   39.17   07/23/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         2.50   58.76   07/23/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    39.17   08/06/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         6.75   58.76   08/06/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    39.17   10/01/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       11.00    58.76   10/01/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    39.17   10/08/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         8.75   58.76   10/08/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    39.17   10/15/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       10.25    58.76   10/15/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    39.17   10/22/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         9.50   58.76   10/22/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        33.00    39.17   11/05/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         7.75   58.76   11/05/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   39.17   11/19/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime         2.50   58.76   11/19/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    39.17   03/11/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime         5.00   58.76   03/11/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    39.17   03/18/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime         0.50   58.76   03/18/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    39.17   04/15/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime         2.25   58.76   04/15/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular          8.00   39.17   05/06/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime         1.50   58.76   05/06/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        30.25    40.22   05/13/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime         7.75   60.33   05/13/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.50    40.22   05/20/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime         5.50   60.33   05/20/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    40.22   05/27/2019   Los   Angeles   CA   West   - Drivers
1367674 Case   2:19-cv-08580-JFW-MAA
                     Overtime     16.00Document
                                          30.00 38-5    Filed Los
                                                  05/27/2019  03/22/21
                                                                  AngelesPage 601- Drivers
                                                                         CA West   of 691 Page ID
1367674              Regular      40.00   40.22 #:1374
                                                  06/03/2019 Los Angeles CA West - Drivers
1367674             Overtime       11.50    60.33   06/03/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    40.22   06/10/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime       19.00    60.33   06/10/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    40.22   06/17/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime       22.30    60.33   06/17/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    22.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.50    33.00   06/24/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    41.22   08/05/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        2.25    61.83   08/05/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    41.22   08/12/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime       18.25    61.83   08/12/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        14.25    41.22   08/26/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        1.00    61.83   08/26/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    22.50   07/29/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime       14.00    33.75   07/29/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    22.50   08/05/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        2.50    33.75   08/05/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        7.25    30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    21.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       10.50    31.50   09/03/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        8.25    31.50   12/03/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       11.50    31.50   12/10/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       10.50    31.50   12/17/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    21.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.25    31.50   12/24/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    21.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        2.50    31.50   12/31/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        4.50    31.50   01/07/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    21.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        2.75    31.50   01/14/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        4.25    31.50   01/21/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    21.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        6.25    31.50   01/28/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        8.00    31.50   02/04/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime       11.50    31.50   02/11/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    21.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.25    31.50   02/18/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    21.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.00    31.50   02/25/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    19.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.25    28.50   03/06/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    19.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        0.75    28.50   03/13/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    19.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.00    28.50   03/20/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    19.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime       10.25    28.50   04/17/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    19.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.75    28.50   05/08/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        1.50    28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    22.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        4.00    33.00   04/29/2019   Los   Angeles   CA   West   - Drivers
1367674 Case   2:19-cv-08580-JFW-MAA
                     Regular       8.00Document
                                          20.00 38-5    Filed Los
                                                  02/13/2017  03/22/21
                                                                  AngelesPage 602- Drivers
                                                                         CA West   of 691 Page ID
1367674              Overtime      1.75   30.00 #:1375
                                                  02/13/2017 Los Angeles CA West - Drivers
1367674             Regular        40.00    20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        9.75    30.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        4.75    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        1.00    30.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    20.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.00    30.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular         6.00    20.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1367674             Overtime        1.50    30.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    20.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1367674             Overtime        8.00    30.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        32.00    20.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1367674             Overtime        8.25    30.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    20.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime       13.25    30.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    20.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.50    30.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    20.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime       12.25    30.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime       17.00    30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        39.50    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime       12.50    30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    20.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        2.50    30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        8.00    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.75    30.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    18.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.00    27.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    21.00   07/22/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        5.50    31.50   07/22/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.50    19.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        51.00    19.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1367674             Overtime        7.00    28.50   11/21/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        38.00    19.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        43.00    19.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1367674             Regular        26.00    21.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1367674             Overtime        2.00    30.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    19.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        4.00    28.50   03/27/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    19.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.00    28.50   04/10/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        4.00    30.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.75    30.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        24.00    20.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       11.25    30.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        16.00    20.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        7.75    30.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular         8.00    20.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime        3.75    30.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    20.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1367674             Overtime       19.25    30.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1367674             Regular        40.00    20.00   09/24/2018   Los   Angeles   CA   West   - Drivers
1367674 Case 2:19-cv-08580-JFW-MAA
                   Overtime      15.25Document
                                         30.00 38-5    Filed Los
                                                 09/24/2018  03/22/21
                                                                 AngelesPage 603- Drivers
                                                                        CA West   of 691    Page ID
1367674            Regular       24.00   22.00 #:1376
                                                 11/19/2018 Los Angeles CA West - Drivers
1367674            Overtime       7.50   33.00 11/19/2018 Los Angeles CA West - Drivers
1367674            Regular       16.00   22.00 04/01/2019 Los Angeles CA West - Drivers
1367674            Overtime       7.75   33.00 04/01/2019 Los Angeles CA West - Drivers
1367674            Regular        8.00   22.00 06/03/2019 Los Angeles CA West - Drivers
1367674            Overtime       3.00   33.00 06/03/2019 Los Angeles CA West - Drivers
1367674            Regular       16.00   22.00 08/05/2019 Los Angeles CA West - Drivers
1367674            Overtime       0.50   33.00 08/05/2019 Los Angeles CA West - Drivers
Total for 1367674             3,113.55
1309259            Regular       24.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1309259            Overtime       2.00   30.00 04/18/2016 Los Angeles CA West - Drivers
1309259            Regular       23.00   20.00 04/25/2016 Los Angeles CA West - Drivers
1309259            Overtime       2.50   30.00 04/25/2016 Los Angeles CA West - Drivers
1309259            Regular       24.00   20.00 05/02/2016 Los Angeles CA West - Drivers
1309259            Overtime       5.50   30.00 05/02/2016 Los Angeles CA West - Drivers
1309259            Regular       24.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1309259            Overtime       5.00   30.00 05/09/2016 Los Angeles CA West - Drivers
1309259            Regular        8.00   20.00 05/16/2016 Los Angeles CA West - Drivers
1309259            Overtime       1.25   30.00 05/16/2016 Los Angeles CA West - Drivers
1309259            Regular       31.25   20.00 05/23/2016 Los Angeles CA West - Drivers
1309259            Overtime       1.00   30.00 05/23/2016 Los Angeles CA West - Drivers
1309259            Regular       16.00   20.00 05/30/2016 Los Angeles CA West - Drivers
1309259            Overtime       0.75   30.00 05/30/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1309259            Overtime       5.50   30.00 06/06/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 06/13/2016 Los Angeles CA West - Drivers
1309259            Overtime       4.25   30.00 06/13/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1309259            Overtime       5.75   30.00 06/20/2016 Los Angeles CA West - Drivers
1309259            Regular       31.50   20.00 06/27/2016 Los Angeles CA West - Drivers
1309259            Overtime       2.50   30.00 06/27/2016 Los Angeles CA West - Drivers
1309259            Regular       16.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1309259            Overtime       2.00   30.00 07/04/2016 Los Angeles CA West - Drivers
1309259            Regular       24.00   20.00 07/11/2016 Los Angeles CA West - Drivers
1309259            Overtime       2.25   30.00 07/11/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1309259            Overtime       3.25   30.00 07/18/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1309259            Overtime       7.50   30.00 07/25/2016 Los Angeles CA West - Drivers
1309259            Regular       22.75   20.00 08/01/2016 Los Angeles CA West - Drivers
1309259            Overtime       1.00   30.00 08/01/2016 Los Angeles CA West - Drivers
1309259            Regular       31.75   20.00 08/08/2016 Los Angeles CA West - Drivers
1309259            Overtime       1.75   30.00 08/08/2016 Los Angeles CA West - Drivers
1309259            Regular       24.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1309259            Overtime       2.75   30.00 08/15/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1309259            Overtime       3.75   30.00 08/22/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1309259            Overtime       4.25   30.00 08/29/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 09/12/2016 Los Angeles CA West - Drivers
1309259            Overtime       1.50   30.00 09/12/2016 Los Angeles CA West - Drivers
1309259            Regular       32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1309259            Overtime       5.00   30.00 09/19/2016 Los Angeles CA West - Drivers
1309259            Regular       16.00   20.25 10/03/2016 Los Angeles CA West - Drivers
1309259            Overtime       1.50   30.38 10/03/2016 Los Angeles CA West - Drivers
1309259            Regular        8.00   19.00 01/16/2017 Los Angeles CA West - Drivers
1309259            Overtime       1.00   28.50 01/16/2017 Los Angeles CA West - Drivers
1309259            Regular        8.00   20.00 08/20/2018 Los Angeles CA West - Drivers
1309259            Overtime       4.00   30.00 08/20/2018 Los Angeles CA West - Drivers
1309259            Regular        8.00   20.00 08/27/2018 Los Angeles CA West - Drivers
1309259            Regular        8.00   20.00 09/10/2018 Los Angeles CA West - Drivers
1309259            Regular        8.00   20.00 10/01/2018 Los Angeles CA West - Drivers
1309259 Case 2:19-cv-08580-JFW-MAA
                   Regular       32.00Document
                                         20.00 38-5    Filed Los
                                                 08/27/2018  03/22/21
                                                                 AngelesPage 604- Drivers
                                                                        CA West   of 691    Page ID
1309259            Overtime       1.75   30.00 #:1377
                                                 08/27/2018 Los Angeles CA West - Drivers
1309259            Regular       40.00   21.00 09/03/2018 Los Angeles CA West - Drivers
1309259            Overtime       2.50   31.50 09/03/2018 Los Angeles CA West - Drivers
1309259            Regular        8.00   22.00 02/11/2019 Los Angeles CA West - Drivers
1309259            Overtime       4.00   33.00 02/11/2019 Los Angeles CA West - Drivers
1309259            Regular       40.00   22.00 02/18/2019 Los Angeles CA West - Drivers
1309259            Overtime      12.00   33.00 02/18/2019 Los Angeles CA West - Drivers
1309259            Regular       40.00   22.00 02/25/2019 Los Angeles CA West - Drivers
1309259            Overtime       6.00   33.00 02/25/2019 Los Angeles CA West - Drivers
1309259            Regular       40.00   22.00 03/04/2019 Los Angeles CA West - Drivers
1309259            Overtime       2.00   33.00 03/04/2019 Los Angeles CA West - Drivers
1309259            Regular       40.00   22.00 03/11/2019 Los Angeles CA West - Drivers
1309259            Overtime       1.50   33.00 03/11/2019 Los Angeles CA West - Drivers
1309259            Regular       32.00   22.00 03/18/2019 Los Angeles CA West - Drivers
1309259            Overtime       6.00   33.00 03/18/2019 Los Angeles CA West - Drivers
1309259            Regular       22.00   20.98 01/16/2017 Los Angeles CA West - Drivers
1309259            Regular       45.50   20.98 01/23/2017 Los Angeles CA West - Drivers
1309259            Regular       22.00   20.98 01/30/2017 Los Angeles CA West - Drivers
1309259            Regular        8.00   22.00 02/04/2019 Los Angeles CA West - Drivers
1309259            Overtime       4.00   33.00 02/04/2019 Los Angeles CA West - Drivers
1309259            Regular       40.00   22.00 02/11/2019 Los Angeles CA West - Drivers
1309259            Overtime      13.50   33.00 02/11/2019 Los Angeles CA West - Drivers
1309259            Regular        8.00   21.00 08/20/2018 Los Angeles CA West - Drivers
1309259            Regular       24.00   19.00 09/26/2016 Los Angeles CA West - Drivers
1309259            Overtime       8.00   28.50 09/26/2016 Los Angeles CA West - Drivers
1309259            Regular       40.00   22.00 04/01/2019 Los Angeles CA West - Drivers
1309259            Overtime       3.50   33.00 04/01/2019 Los Angeles CA West - Drivers
Total for 1309259             1,268.00
2738006            Regular       40.00   22.00 06/03/2019 Sacramento CA - Drivers
2738006            Overtime      12.25   33.00 06/03/2019 Sacramento CA - Drivers
2738006            Regular       24.00   22.00 06/10/2019 Sacramento CA - Drivers
2738006            Overtime       6.50   33.00 06/10/2019 Sacramento CA - Drivers
2738006            Regular       16.00   22.00 04/29/2019 Sacramento CA - Drivers
2738006            Overtime       3.50   34.50 04/29/2019 Sacramento CA - Drivers
2738006            Regular       40.00   22.00 05/06/2019 Sacramento CA - Drivers
2738006            Overtime       8.00   34.50 05/06/2019 Sacramento CA - Drivers
2738006            Regular       32.00   22.00 05/13/2019 Sacramento CA - Drivers
2738006            Overtime       7.00   34.50 05/13/2019 Sacramento CA - Drivers
2738006            Regular       10.00   22.00 05/20/2019 Sacramento CA - Drivers
2738006            Regular       24.00   22.00 06/17/2019 Sacramento CA - Drivers
2738006            Regular       24.00   22.00 06/24/2019 Sacramento CA - Drivers
2738006            Overtime       3.50   33.00 06/24/2019 Sacramento CA - Drivers
2738006            Regular        8.00   22.00 07/01/2019 Sacramento CA - Drivers
2738006            Overtime       3.50   33.00 07/01/2019 Sacramento CA - Drivers
2738006            Regular        8.00   22.00 07/08/2019 Sacramento CA - Drivers
2738006            Regular       48.00   23.00 07/15/2019 Sacramento CA - Drivers
2738006            Overtime       3.50   34.50 07/15/2019 Sacramento CA - Drivers
2738006            Regular       16.00   23.00 07/22/2019 Sacramento CA - Drivers
2738006            Overtime       7.00   34.50 07/22/2019 Sacramento CA - Drivers
2738006            Regular        1.50   23.00 07/29/2019 Sacramento CA - Drivers
2738006            Regular       32.00   22.00 08/05/2019 Sacramento CA - Drivers
2738006            Regular       32.00   22.00 08/12/2019 Sacramento CA - Drivers
2738006            Regular       40.00   22.00 08/19/2019 Sacramento CA - Drivers
2738006            Regular       40.00   22.00 08/26/2019 Sacramento CA - Drivers
2738006            Overtime       4.00   33.00 08/26/2019 Sacramento CA - Drivers
2738006            Regular       28.00   22.00 09/02/2019 Sacramento CA - Drivers
Total for 2738006               522.25
1236496            Regular       16.00   20.00 12/07/2015 Los Angeles CA West - Drivers
1236496            Overtime       5.75   30.00 12/07/2015 Los Angeles CA West - Drivers
1236496            Regular       16.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1236496            Overtime       5.00   28.50 12/14/2015 Los Angeles CA West - Drivers
1236496            Regular       31.75   19.00 12/21/2015 Los Angeles CA West - Drivers
1236496 Case 2:19-cv-08580-JFW-MAA
                   Overtime      1.00Document
                                        28.50 38-5    Filed Los
                                                12/21/2015  03/22/21
                                                                AngelesPage 605- Drivers
                                                                       CA West   of 691    Page ID
1236496            Regular      32.00   19.00 #:1378
                                                12/28/2015 Los Angeles CA West - Drivers
1236496            Overtime     12.75   28.50 12/28/2015 Los Angeles CA West - Drivers
1236496            Regular      24.00   19.00 01/18/2016 Los Angeles CA West - Drivers
1236496            Overtime      2.75   28.50 01/18/2016 Los Angeles CA West - Drivers
1236496            Regular      24.00   19.00 01/25/2016 Los Angeles CA West - Drivers
1236496            Overtime      1.75   28.50 01/25/2016 Los Angeles CA West - Drivers
1236496            Regular       9.00   18.00 11/30/2015 Los Angeles CA West - Drivers
Total for 1236496              181.75
1211156            Regular      40.00   20.00 01/04/2016 Los Angeles CA East - Drivers
1211156            Overtime      7.50   30.00 01/04/2016 Los Angeles CA East - Drivers
1211156            Regular      24.00   20.00 01/11/2016 Los Angeles CA East - Drivers
1211156            Overtime      6.00   30.00 01/11/2016 Los Angeles CA East - Drivers
1211156            Regular       8.00   17.00 03/14/2016 Los Angeles CA East - Drivers
1211156            Regular       5.00   17.00 10/24/2016 Los Angeles CA East - Drivers
1211156            Regular      19.50   19.00 01/18/2016 Los Angeles CA East - Drivers
1211156            Regular       5.00   21.00 02/15/2016 Los Angeles CA East - Drivers
1211156            Regular       6.50   16.00 11/09/2015 Los Angeles CA East - Drivers
1211156            Regular      14.25   16.00 11/30/2015 Los Angeles CA East - Drivers
1211156            Regular      80.00   16.00 12/14/2015 Los Angeles CA East - Drivers
1211156            Overtime     38.75   24.00 12/14/2015 Los Angeles CA East - Drivers
1211156            Regular       8.00   17.00 03/07/2016 Los Angeles CA East - Drivers
1211156            Overtime      1.25   25.50 03/07/2016 Los Angeles CA East - Drivers
1211156            Regular       8.00   17.00 03/07/2016 Los Angeles CA East - Drivers
1211156            Overtime      1.25   25.50 03/07/2016 Los Angeles CA East - Drivers
1211156            Regular       3.00   16.00 03/14/2016 Los Angeles CA East - Drivers
Total for 1211156              276.00
2412881            Regular       6.00   20.00 11/20/2017 Los Angeles CA East - Drivers
2412881            Regular       5.50   20.00 11/06/2017 Los Angeles CA East - Drivers
2412881            Regular       8.00   20.00 11/06/2017 Los Angeles CA East - Drivers
2412881            Overtime      3.00   30.00 11/06/2017 Los Angeles CA East - Drivers
Total for 2412881               22.50
1402630            Regular      11.25   19.00 10/24/2016 Sacramento CA - Drivers
1402630            Regular      31.50   20.00 09/19/2016 Sacramento CA - Drivers
1402630            Overtime      5.00   30.00 09/19/2016 Sacramento CA - Drivers
1402630            Regular      40.00   20.00 09/26/2016 Sacramento CA - Drivers
1402630            Overtime      4.00   30.00 09/26/2016 Sacramento CA - Drivers
1402630            Regular       8.00   20.00 10/03/2016 Sacramento CA - Drivers
1402630            Overtime      0.75   30.00 10/03/2016 Sacramento CA - Drivers
1402630            Regular       5.75   20.98 11/21/2016 Sacramento CA - Drivers
1402630            Regular      26.75   20.98 11/28/2016 Sacramento CA - Drivers
1402630            Regular      31.75   20.98 12/05/2016 Sacramento CA - Drivers
1402630            Regular      30.75   20.98 12/12/2016 Sacramento CA - Drivers
1402630            Regular      31.25   20.98 12/19/2016 Sacramento CA - Drivers
1402630            Regular       5.00   20.98 12/26/2016 Sacramento CA - Drivers
1402630            Regular       6.50   20.98 01/02/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.50 02/13/2017 Sacramento CA - Drivers
1402630            Overtime      3.00   29.25 02/13/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.50 02/20/2017 Sacramento CA - Drivers
1402630            Overtime      2.50   29.25 02/20/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.50 02/27/2017 Sacramento CA - Drivers
1402630            Overtime      8.50   29.25 02/27/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.50 03/06/2017 Sacramento CA - Drivers
1402630            Overtime      4.25   29.25 03/06/2017 Sacramento CA - Drivers
1402630            Regular      24.00   19.50 03/13/2017 Sacramento CA - Drivers
1402630            Overtime      3.25   29.25 03/13/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.50 03/20/2017 Sacramento CA - Drivers
1402630            Overtime      2.25   29.25 03/20/2017 Sacramento CA - Drivers
1402630            Regular      31.00   19.50 03/27/2017 Sacramento CA - Drivers
1402630            Overtime      2.00   29.25 03/27/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.00 01/09/2017 Sacramento CA - Drivers
1402630            Regular      40.00   19.00 01/16/2017 Sacramento CA - Drivers
1402630            Regular       6.00   19.00 10/03/2016 Sacramento CA - Drivers
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Total for 1402630                605.00Document 38-5 Filed 03/22/21 Page 606 of        691 Page ID
2659644              Regular      16.00   23.00 #:1379
                                                  03/11/2019 Sacramento CA - Drivers
2659644              Overtime      7.50   34.50 03/11/2019 Sacramento CA - Drivers
2659644              Regular       8.00   23.00 03/18/2019 Sacramento CA - Drivers
2659644              Overtime      3.50   34.50 03/18/2019 Sacramento CA - Drivers
2659644              Regular      24.00   22.00 03/25/2019 Sacramento CA - Drivers
2659644              Overtime      3.50   34.50 03/25/2019 Sacramento CA - Drivers
2659644              Regular      40.00   22.00 04/01/2019 Sacramento CA - Drivers
2659644              Regular      40.00   22.00 04/08/2019 Sacramento CA - Drivers
2659644              Regular      40.00   22.00 04/15/2019 Sacramento CA - Drivers
2659644              Regular      16.00   22.00 04/22/2019 Sacramento CA - Drivers
2659644              Regular      19.00   21.00 01/21/2019 Sacramento CA - Drivers
2659644              Overtime      3.50   31.50 01/21/2019 Sacramento CA - Drivers
2659644              Regular      40.00   21.00 01/28/2019 Sacramento CA - Drivers
2659644              Overtime      8.50   31.50 01/28/2019 Sacramento CA - Drivers
2659644              Regular      40.00   21.00 02/04/2019 Sacramento CA - Drivers
2659644              Overtime     10.25   31.50 02/04/2019 Sacramento CA - Drivers
2659644              Regular      40.00   21.00 02/11/2019 Sacramento CA - Drivers
2659644              Overtime     10.75   31.50 02/11/2019 Sacramento CA - Drivers
2659644              Regular      40.00   21.00 02/18/2019 Sacramento CA - Drivers
2659644              Overtime     11.75   31.50 02/18/2019 Sacramento CA - Drivers
2659644              Regular      40.00   21.00 02/25/2019 Sacramento CA - Drivers
2659644              Overtime      9.25   31.50 02/25/2019 Sacramento CA - Drivers
2659644              Regular      32.00   21.00 03/04/2019 Sacramento CA - Drivers
2659644              Overtime      4.75   31.50 03/04/2019 Sacramento CA - Drivers
Total for 2659644                508.25
2364990              Regular      16.00   20.50 01/08/2018 Sacramento CA - Drivers
2364990              Overtime      6.50   30.75 01/08/2018 Sacramento CA - Drivers
2364990              Regular      38.20   26.31 01/15/2018 Sacramento CA - Drivers
2364990              Overtime     10.80   39.47 01/15/2018 Sacramento CA - Drivers
2364990              Regular      32.60   26.31 01/22/2018 Sacramento CA - Drivers
2364990              Overtime      9.90   39.47 01/22/2018 Sacramento CA - Drivers
2364990              Regular      35.40   26.31 01/29/2018 Sacramento CA - Drivers
2364990              Overtime     12.17   30.75 01/29/2018 Sacramento CA - Drivers
2364990              Regular      38.00   26.31 02/05/2018 Sacramento CA - Drivers
2364990              Overtime      8.70   39.47 02/05/2018 Sacramento CA - Drivers
2364990              Regular      36.60   20.50 02/12/2018 Sacramento CA - Drivers
2364990              Overtime      7.80   30.75 02/12/2018 Sacramento CA - Drivers
2364990              Regular      33.20   26.31 02/19/2018 Sacramento CA - Drivers
2364990              Overtime     10.50   39.47 02/19/2018 Sacramento CA - Drivers
2364990              Regular       8.00   20.50 02/26/2018 Sacramento CA - Drivers
2364990              Overtime      1.80   30.75 02/26/2018 Sacramento CA - Drivers
2364990              Regular      40.00   20.50 03/05/2018 Sacramento CA - Drivers
2364990              Overtime     14.70   30.75 03/05/2018 Sacramento CA - Drivers
2364990              Regular      43.40   26.31 03/12/2018 Sacramento CA - Drivers
2364990              Overtime     13.30   39.47 03/12/2018 Sacramento CA - Drivers
2364990              Regular      36.90   20.50 03/19/2018 Sacramento CA - Drivers
2364990              Overtime     15.20   30.75 03/19/2018 Sacramento CA - Drivers
2364990              Regular      53.20   20.50 03/26/2018 Sacramento CA - Drivers
2364990              Overtime     15.40   30.75 03/26/2018 Sacramento CA - Drivers
2364990              Regular      51.20   26.31 04/02/2018 Sacramento CA - Drivers
2364990              Overtime     13.00   39.47 04/02/2018 Sacramento CA - Drivers
2364990              Regular      48.00   20.50 04/09/2018 Sacramento CA - Drivers
2364990              Overtime     14.90   30.75 04/09/2018 Sacramento CA - Drivers
2364990              Regular      38.80   20.50 04/16/2018 Sacramento CA - Drivers
2364990              Overtime     13.90   30.75 04/16/2018 Sacramento CA - Drivers
2364990              Regular      24.00   20.50 04/23/2018 Sacramento CA - Drivers
2364990              Overtime      6.70   30.75 04/23/2018 Sacramento CA - Drivers
2364990              Regular      43.00   20.50 04/30/2018 Sacramento CA - Drivers
2364990              Overtime     22.80   30.75 04/30/2018 Sacramento CA - Drivers
2364990              Regular      42.60   26.31 05/07/2018 Sacramento CA - Drivers
2364990              Overtime     13.90   39.47 05/07/2018 Sacramento CA - Drivers
2364990              Regular      42.40   20.50 05/14/2018 Sacramento CA - Drivers
2364990 Case   2:19-cv-08580-JFW-MAA
                     Overtime     11.90Document
                                          30.75 38-5    Filed Sacramento
                                                  05/14/2018  03/22/21 Page    607 of 691 Page ID
                                                                         CA - Drivers
2364990              Regular      35.80   20.50 #:1380
                                                  05/21/2018 Sacramento CA - Drivers
2364990             Overtime       12.90    30.75   05/21/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   05/28/2018   Sacramento   CA   - Drivers
2364990             Overtime       17.70    39.47   05/28/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   06/04/2018   Sacramento   CA   - Drivers
2364990             Overtime       13.10    39.47   06/04/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   06/11/2018   Sacramento   CA   - Drivers
2364990             Overtime       10.10    39.47   06/11/2018   Sacramento   CA   - Drivers
2364990             Regular        24.00    20.50   06/18/2018   Sacramento   CA   - Drivers
2364990             Overtime       12.00    30.75   06/18/2018   Sacramento   CA   - Drivers
2364990             Regular        35.30    26.31   06/25/2018   Sacramento   CA   - Drivers
2364990             Overtime       12.00    39.47   06/25/2018   Sacramento   CA   - Drivers
2364990             Regular        24.00    20.50   07/02/2018   Sacramento   CA   - Drivers
2364990             Overtime        8.30    30.75   07/02/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   07/09/2018   Sacramento   CA   - Drivers
2364990             Overtime        8.10    30.75   07/09/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/16/2018   Sacramento   CA   - Drivers
2364990             Overtime        9.90    39.47   07/16/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/23/2018   Sacramento   CA   - Drivers
2364990             Overtime       10.90    39.47   07/23/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   07/30/2018   Sacramento   CA   - Drivers
2364990             Overtime        7.30    39.47   07/30/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   08/06/2018   Sacramento   CA   - Drivers
2364990             Overtime        9.60    30.75   08/06/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   08/13/2018   Sacramento   CA   - Drivers
2364990             Overtime       11.35    39.47   08/13/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   08/20/2018   Sacramento   CA   - Drivers
2364990             Overtime       10.41    39.47   08/20/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   08/27/2018   Sacramento   CA   - Drivers
2364990             Overtime        9.40    39.47   08/27/2018   Sacramento   CA   - Drivers
2364990             Regular         8.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   09/10/2018   Sacramento   CA   - Drivers
2364990             Overtime       13.30    39.47   09/10/2018   Sacramento   CA   - Drivers
2364990             Regular         8.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2364990             Overtime        2.10    30.75   10/01/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   10/08/2018   Sacramento   CA   - Drivers
2364990             Overtime       21.70    39.47   10/08/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2364990             Overtime       10.70    30.75   10/15/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   10/22/2018   Sacramento   CA   - Drivers
2364990             Overtime       13.30    39.47   10/22/2018   Sacramento   CA   - Drivers
2364990             Regular         8.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2364990             Overtime        3.90    30.75   10/29/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   11/05/2018   Sacramento   CA   - Drivers
2364990             Overtime       12.30    30.75   11/05/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   11/12/2018   Sacramento   CA   - Drivers
2364990             Overtime       12.60    39.47   11/12/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   11/19/2018   Sacramento   CA   - Drivers
2364990             Overtime       11.90    30.75   11/19/2018   Sacramento   CA   - Drivers
2364990             Regular        24.00    26.31   11/26/2018   Sacramento   CA   - Drivers
2364990             Overtime        8.70    39.47   11/26/2018   Sacramento   CA   - Drivers
2364990             Regular        16.00    20.50   12/03/2018   Sacramento   CA   - Drivers
2364990             Overtime        4.10    30.75   12/03/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   12/10/2018   Sacramento   CA   - Drivers
2364990             Overtime        5.40    39.47   12/10/2018   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   12/17/2018   Sacramento   CA   - Drivers
2364990             Overtime       17.20    30.75   12/17/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   12/24/2018   Sacramento   CA   - Drivers
2364990             Overtime       15.90    39.47   12/24/2018   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   12/31/2018   Sacramento   CA   - Drivers
2364990             Overtime       10.90    30.75   12/31/2018   Sacramento   CA   - Drivers
2364990             Regular        16.00    26.31   01/07/2019   Sacramento   CA   - Drivers
2364990 Case   2:19-cv-08580-JFW-MAA
                     Overtime      8.00Document
                                          39.47 38-5    Filed Sacramento
                                                  01/07/2019  03/22/21 Page    608 of 691 Page ID
                                                                         CA - Drivers
2364990              Regular      16.00   26.31 #:1381
                                                  01/14/2019 Sacramento CA - Drivers
2364990             Overtime        8.00    39.47   01/14/2019   Sacramento   CA   - Drivers
2364990             Regular        34.50    20.50   01/21/2019   Sacramento   CA   - Drivers
2364990             Overtime       12.00    30.75   01/21/2019   Sacramento   CA   - Drivers
2364990             Regular        28.40    13.00   01/28/2019   Sacramento   CA   - Drivers
2364990             Overtime       10.70    19.50   01/28/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   02/04/2019   Sacramento   CA   - Drivers
2364990             Overtime       16.00    39.47   02/04/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   02/11/2019   Sacramento   CA   - Drivers
2364990             Overtime       20.00    39.47   02/11/2019   Sacramento   CA   - Drivers
2364990             Regular        24.00    20.50   02/18/2019   Sacramento   CA   - Drivers
2364990             Overtime        6.00    30.75   02/18/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   02/25/2019   Sacramento   CA   - Drivers
2364990             Overtime       10.50    39.47   02/25/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   03/04/2019   Sacramento   CA   - Drivers
2364990             Overtime       11.00    39.47   03/04/2019   Sacramento   CA   - Drivers
2364990             Regular        16.00    20.50   03/11/2019   Sacramento   CA   - Drivers
2364990             Overtime        8.00    30.75   03/11/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   03/18/2019   Sacramento   CA   - Drivers
2364990             Overtime        8.90    39.47   03/18/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   03/25/2019   Sacramento   CA   - Drivers
2364990             Overtime       16.00    39.47   03/25/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   04/01/2019   Sacramento   CA   - Drivers
2364990             Overtime       10.30    30.75   04/01/2019   Sacramento   CA   - Drivers
2364990             Regular        35.70    13.00   04/08/2019   Sacramento   CA   - Drivers
2364990             Overtime       10.30    30.75   04/08/2019   Sacramento   CA   - Drivers
2364990             Regular        42.00    13.00   04/15/2019   Sacramento   CA   - Drivers
2364990             Overtime       10.00    19.50   04/15/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   04/22/2019   Sacramento   CA   - Drivers
2364990             Overtime       12.00    30.75   04/22/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    20.50   04/29/2019   Sacramento   CA   - Drivers
2364990             Overtime        8.50    30.75   04/29/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   05/06/2019   Sacramento   CA   - Drivers
2364990             Overtime       14.90    30.75   05/06/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   05/13/2019   Sacramento   CA   - Drivers
2364990             Overtime       20.00    39.47   05/13/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   05/20/2019   Sacramento   CA   - Drivers
2364990             Overtime       13.90    30.75   05/20/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   05/27/2019   Sacramento   CA   - Drivers
2364990             Overtime       36.20    30.75   05/20/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   06/03/2019   Sacramento   CA   - Drivers
2364990             Overtime        9.45    30.75   06/03/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   06/10/2019   Sacramento   CA   - Drivers
2364990             Overtime       15.00    39.47   06/10/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   06/17/2019   Sacramento   CA   - Drivers
2364990             Overtime       18.50    30.75   06/17/2019   Sacramento   CA   - Drivers
2364990             Regular        32.00    26.31   06/24/2019   Sacramento   CA   - Drivers
2364990             Overtime       12.00    39.47   06/24/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/01/2019   Sacramento   CA   - Drivers
2364990             Overtime       20.00    39.47   07/01/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/08/2019   Sacramento   CA   - Drivers
2364990             Overtime       12.50    39.47   07/08/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/15/2019   Sacramento   CA   - Drivers
2364990             Overtime       16.60    39.47   07/15/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/22/2019   Sacramento   CA   - Drivers
2364990             Overtime       19.60    39.47   07/22/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   07/29/2019   Sacramento   CA   - Drivers
2364990             Overtime       25.00    39.47   07/29/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    26.31   08/05/2019   Sacramento   CA   - Drivers
2364990             Overtime       19.20    39.47   08/05/2019   Sacramento   CA   - Drivers
2364990             Regular        40.00    20.50   08/12/2019   Sacramento   CA   - Drivers
2364990             Overtime       18.70    30.75   08/12/2019   Sacramento   CA   - Drivers
2364990 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         26.31 38-5    Filed Sacramento
                                                 08/19/2019  03/22/21 Page    609 of 691
                                                                        CA - Drivers       Page ID
2364990            Overtime      10.50   39.47 #:1382
                                                 08/19/2019 Sacramento CA - Drivers
2364990            Regular       40.00   26.31 08/26/2019 Sacramento CA - Drivers
2364990            Overtime      16.50   39.47 08/26/2019 Sacramento CA - Drivers
2364990            Regular       40.00   20.50 09/02/2019 Sacramento CA - Drivers
2364990            Overtime       9.40   30.75 09/02/2019 Sacramento CA - Drivers
2364990            Regular       23.00   21.00 09/18/2017 Sacramento CA - Drivers
2364990            Regular       46.50   21.00 09/25/2017 Sacramento CA - Drivers
2364990            Regular       50.00   21.00 10/02/2017 Sacramento CA - Drivers
2364990            Overtime       2.50   31.50 10/02/2017 Sacramento CA - Drivers
2364990            Regular       46.50   21.00 10/09/2017 Sacramento CA - Drivers
2364990            Overtime       3.00   31.50 10/09/2017 Sacramento CA - Drivers
2364990            Regular       50.00   21.00 10/16/2017 Sacramento CA - Drivers
2364990            Overtime      10.00   31.50 10/16/2017 Sacramento CA - Drivers
2364990            Regular       44.50   21.00 10/23/2017 Sacramento CA - Drivers
2364990            Overtime       3.50   31.50 10/23/2017 Sacramento CA - Drivers
2364990            Regular       47.50   21.00 10/30/2017 Sacramento CA - Drivers
2364990            Overtime       3.50   31.50 10/30/2017 Sacramento CA - Drivers
2364990            Regular       45.00   21.00 11/06/2017 Sacramento CA - Drivers
2364990            Overtime       4.00   31.50 11/06/2017 Sacramento CA - Drivers
2364990            Regular       46.75   21.00 11/13/2017 Sacramento CA - Drivers
2364990            Overtime       4.25   31.50 11/13/2017 Sacramento CA - Drivers
2364990            Regular       26.50   21.00 11/20/2017 Sacramento CA - Drivers
2364990            Overtime       2.00   31.50 11/20/2017 Sacramento CA - Drivers
2364990            Regular       36.00   21.00 11/27/2017 Sacramento CA - Drivers
2364990            Overtime       2.00   31.50 11/27/2017 Sacramento CA - Drivers
2364990            Regular       44.25   21.00 12/04/2017 Sacramento CA - Drivers
2364990            Overtime       2.00   31.50 12/04/2017 Sacramento CA - Drivers
2364990            Regular       46.25   21.00 12/11/2017 Sacramento CA - Drivers
2364990            Overtime       1.75   31.50 12/11/2017 Sacramento CA - Drivers
2364990            Regular       46.00   21.00 12/18/2017 Sacramento CA - Drivers
2364990            Overtime       2.00   31.50 12/18/2017 Sacramento CA - Drivers
2364990            Regular       36.00   21.00 12/25/2017 Sacramento CA - Drivers
2364990            Overtime      11.50   31.50 12/25/2017 Sacramento CA - Drivers
2364990            Regular       19.00   21.00 01/01/2018 Sacramento CA - Drivers
2364990            Overtime       8.50   31.50 01/01/2018 Sacramento CA - Drivers
2364990            Regular       32.00   20.00 08/28/2017 Sacramento CA - Drivers
2364990            Overtime       7.00   30.00 08/28/2017 Sacramento CA - Drivers
2364990            Regular       32.00   20.00 09/04/2017 Sacramento CA - Drivers
2364990            Overtime       9.00   30.00 09/04/2017 Sacramento CA - Drivers
2364990            Regular       39.50   20.00 09/11/2017 Sacramento CA - Drivers
2364990            Overtime       8.25   30.00 09/11/2017 Sacramento CA - Drivers
Total for 2364990             4,776.28
2666020            Regular        8.00   21.00 02/18/2019 Los Angeles CA West - Drivers
2666020            Overtime       1.00   31.50 02/18/2019 Los Angeles CA West - Drivers
2666020            Regular        8.00   20.50 12/17/2018 Los Angeles CA West - Drivers
2666020            Overtime       4.00   30.75 12/17/2018 Los Angeles CA West - Drivers
2666020            Regular        2.00   20.50 12/24/2018 Los Angeles CA West - Drivers
2666020            Regular        8.00   20.50 01/07/2019 Los Angeles CA West - Drivers
2666020            Overtime       0.50   30.75 01/07/2019 Los Angeles CA West - Drivers
2666020            Regular       34.00   20.50 01/14/2019 Los Angeles CA West - Drivers
2666020            Overtime       5.00   30.75 01/14/2019 Los Angeles CA West - Drivers
2666020            Regular        8.00   20.50 01/21/2019 Los Angeles CA West - Drivers
2666020            Regular        8.00   20.50 01/28/2019 Los Angeles CA West - Drivers
2666020            Overtime       1.25   30.75 01/28/2019 Los Angeles CA West - Drivers
2666020            Regular        8.00   39.17 12/17/2018 Los Angeles CA West - Drivers
2666020            Overtime       2.50   58.76 12/17/2018 Los Angeles CA West - Drivers
2666020            Regular       32.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2666020            Overtime      12.00   31.50 12/24/2018 Los Angeles CA West - Drivers
2666020            Regular       32.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2666020            Overtime      15.50   31.50 12/31/2018 Los Angeles CA West - Drivers
2666020            Regular       24.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2666020            Overtime       1.50   31.50 07/15/2019 Los Angeles CA West - Drivers
2666020 Case 2:19-cv-08580-JFW-MAA
                   Regular       5.25Document
                                        22.50 38-5    Filed Los
                                                07/29/2019  03/22/21
                                                                AngelesPage 610- Drivers
                                                                       CA West   of 691    Page ID
2666020            Regular      16.00   21.00 #:1383
                                                01/07/2019 Los Angeles CA West - Drivers
2666020            Regular      24.00   22.00 04/29/2019 Los Angeles CA West - Drivers
2666020            Overtime      3.75   33.00 04/29/2019 Los Angeles CA West - Drivers
2666020            Regular      40.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2666020            Overtime      3.25   33.00 05/06/2019 Los Angeles CA West - Drivers
2666020            Regular       8.00   22.00 05/13/2019 Los Angeles CA West - Drivers
2666020            Overtime      2.25   33.00 05/13/2019 Los Angeles CA West - Drivers
2666020            Regular       8.00   22.00 02/04/2019 Los Angeles CA West - Drivers
2666020            Overtime      2.75   33.00 02/04/2019 Los Angeles CA West - Drivers
2666020            Regular      24.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2666020            Overtime      1.00   33.00 05/27/2019 Los Angeles CA West - Drivers
Total for 2666020              353.50
1321189            Regular       6.50   20.98 11/21/2016 Sacramento CA - Drivers
1321189            Overtime      6.50   31.47 11/21/2016 Sacramento CA - Drivers
1321189            Regular      39.00   20.98 11/28/2016 Sacramento CA - Drivers
1321189            Regular      38.50   19.00 11/07/2016 Sacramento CA - Drivers
1321189            Overtime      2.00   28.50 11/07/2016 Sacramento CA - Drivers
1321189            Regular      38.00   19.00 11/14/2016 Sacramento CA - Drivers
Total for 1321189              130.50
2373166            Regular       8.00   14.00 09/04/2017 Los Angeles CA East - Drivers
2373166            Overtime      4.00   21.00 09/04/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 09/11/2017 Los Angeles CA East - Drivers
2373166            Overtime     15.50   21.00 09/11/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 09/18/2017 Los Angeles CA East - Drivers
2373166            Overtime     14.50   21.00 09/18/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 09/25/2017 Los Angeles CA East - Drivers
2373166            Overtime     14.25   21.00 09/25/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 10/02/2017 Los Angeles CA East - Drivers
2373166            Overtime     14.50   21.00 10/02/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 10/09/2017 Los Angeles CA East - Drivers
2373166            Overtime     13.50   21.00 10/09/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 10/16/2017 Los Angeles CA East - Drivers
2373166            Overtime     18.25   21.00 10/16/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 10/23/2017 Los Angeles CA East - Drivers
2373166            Overtime     16.75   21.00 10/23/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 10/30/2017 Los Angeles CA East - Drivers
2373166            Overtime     17.50   21.00 10/30/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 11/06/2017 Los Angeles CA East - Drivers
2373166            Overtime     17.25   21.00 11/06/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 11/13/2017 Los Angeles CA East - Drivers
2373166            Overtime     17.25   21.00 11/13/2017 Los Angeles CA East - Drivers
2373166            Regular      32.00   14.00 11/20/2017 Los Angeles CA East - Drivers
2373166            Overtime     14.00   21.00 11/20/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 11/27/2017 Los Angeles CA East - Drivers
2373166            Overtime     13.25   21.00 11/27/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 12/04/2017 Los Angeles CA East - Drivers
2373166            Overtime     17.80   21.00 12/04/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 12/11/2017 Los Angeles CA East - Drivers
2373166            Overtime     11.75   21.00 12/11/2017 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 12/18/2017 Los Angeles CA East - Drivers
2373166            Overtime     17.50   21.00 12/18/2017 Los Angeles CA East - Drivers
2373166            Regular      32.00   14.00 12/25/2017 Los Angeles CA East - Drivers
2373166            Overtime     16.00   21.00 12/25/2017 Los Angeles CA East - Drivers
2373166            Regular      32.00   14.00 01/01/2018 Los Angeles CA East - Drivers
2373166            Overtime      9.70   21.00 01/01/2018 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 01/08/2018 Los Angeles CA East - Drivers
2373166            Overtime     14.00   21.00 01/08/2018 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 01/15/2018 Los Angeles CA East - Drivers
2373166            Overtime     15.70   21.00 01/15/2018 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 01/22/2018 Los Angeles CA East - Drivers
2373166            Overtime     15.80   21.00 01/22/2018 Los Angeles CA East - Drivers
2373166            Regular      40.00   14.00 01/29/2018 Los Angeles CA East - Drivers
2373166 Case 2:19-cv-08580-JFW-MAA
                   Overtime      13.20Document
                                         21.00 38-5    Filed Los
                                                 01/29/2018  03/22/21
                                                                 AngelesPage 611
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2373166            Regular       40.00   14.00 #:1384
                                                 02/05/2018 Los Angeles CA East - Drivers
2373166            Overtime      17.00   21.00 02/05/2018 Los Angeles CA East - Drivers
2373166            Regular       40.00   14.00 02/12/2018 Los Angeles CA East - Drivers
2373166            Overtime      14.50   21.00 02/12/2018 Los Angeles CA East - Drivers
2373166            Regular       32.00   14.00 02/19/2018 Los Angeles CA East - Drivers
2373166            Overtime      13.60   21.00 02/19/2018 Los Angeles CA East - Drivers
2373166            Regular       40.00   14.00 02/26/2018 Los Angeles CA East - Drivers
2373166            Overtime      17.00   21.00 02/26/2018 Los Angeles CA East - Drivers
Total for 2373166             1,360.05
580681             Regular       37.50   16.00 09/05/2016 Los Angeles CA West - Drivers
580681             Overtime       8.50   24.00 09/05/2016 Los Angeles CA West - Drivers
580681             Regular       32.00   16.00 09/12/2016 Los Angeles CA West - Drivers
580681             Overtime       2.50   24.00 09/12/2016 Los Angeles CA West - Drivers
580681             Regular       12.00   16.00 09/19/2016 Los Angeles CA West - Drivers
580681             Overtime       2.50   24.00 09/19/2016 Los Angeles CA West - Drivers
580681             Regular        8.00   16.00 09/26/2016 Los Angeles CA West - Drivers
580681             Overtime       1.25   24.00 09/26/2016 Los Angeles CA West - Drivers
580681             Regular        8.00   16.00 05/01/2017 Los Angeles CA West - Drivers
580681             Overtime       3.00   24.00 05/01/2017 Los Angeles CA West - Drivers
Total for 580681                115.25
836410             Regular       16.00   20.00 10/12/2015 Los Angeles CA West - Drivers
836410             Overtime       6.50   30.00 10/12/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 10/19/2015 Los Angeles CA West - Drivers
836410             Overtime      13.00   30.00 10/19/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 10/26/2015 Los Angeles CA West - Drivers
836410             Overtime      20.25   30.00 10/26/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 11/02/2015 Los Angeles CA West - Drivers
836410             Overtime      15.00   30.00 11/02/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 11/09/2015 Los Angeles CA West - Drivers
836410             Overtime      15.00   30.00 11/09/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 11/16/2015 Los Angeles CA West - Drivers
836410             Overtime      15.50   30.00 11/16/2015 Los Angeles CA West - Drivers
836410             Regular       32.00   20.00 11/23/2015 Los Angeles CA West - Drivers
836410             Overtime      10.00   30.00 11/23/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 11/30/2015 Los Angeles CA West - Drivers
836410             Overtime      20.75   30.00 11/30/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 12/07/2015 Los Angeles CA West - Drivers
836410             Overtime      19.50   30.00 12/07/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 12/14/2015 Los Angeles CA West - Drivers
836410             Overtime      21.00   30.00 12/14/2015 Los Angeles CA West - Drivers
836410             Regular       32.00   20.00 12/21/2015 Los Angeles CA West - Drivers
836410             Overtime       9.75   30.00 12/21/2015 Los Angeles CA West - Drivers
836410             Regular       32.00   20.00 12/28/2015 Los Angeles CA West - Drivers
836410             Overtime      10.25   30.00 12/28/2015 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 01/04/2016 Los Angeles CA West - Drivers
836410             Overtime      20.00   30.00 01/04/2016 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 01/11/2016 Los Angeles CA West - Drivers
836410             Overtime      18.00   30.00 01/11/2016 Los Angeles CA West - Drivers
836410             Regular       32.00   20.00 01/18/2016 Los Angeles CA West - Drivers
836410             Overtime      14.75   30.00 01/18/2016 Los Angeles CA West - Drivers
836410             Regular       32.00   20.00 01/25/2016 Los Angeles CA West - Drivers
836410             Overtime       7.25   30.00 01/25/2016 Los Angeles CA West - Drivers
836410             Regular       24.00   20.00 02/01/2016 Los Angeles CA West - Drivers
836410             Overtime       8.75   30.00 02/01/2016 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 02/08/2016 Los Angeles CA West - Drivers
836410             Overtime      15.00   30.00 02/08/2016 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 02/15/2016 Los Angeles CA West - Drivers
836410             Overtime      14.00   30.00 02/15/2016 Los Angeles CA West - Drivers
836410             Regular       40.00   20.00 02/22/2016 Los Angeles CA West - Drivers
836410             Overtime      11.50   30.00 02/22/2016 Los Angeles CA West - Drivers
836410             Regular       32.00   20.00 02/29/2016 Los Angeles CA West - Drivers
836410             Overtime       7.00   30.00 02/29/2016 Los Angeles CA West - Drivers
836410   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         20.00 38-5    Filed Los
                                                 03/07/2016  03/22/21
                                                                 AngelesPage 612- Drivers
                                                                        CA West   of 691 Page ID
836410              Overtime     14.00   30.00 #:1385
                                                 03/07/2016 Los Angeles CA West - Drivers
836410              Regular        40.00    20.00   03/14/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        7.50    30.00   03/14/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        24.00    20.00   03/21/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        7.50    30.00   03/21/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.00   03/28/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       12.50    30.00   03/28/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        31.50    20.00   04/04/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        9.00    30.00   04/04/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.00   04/11/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       10.75    30.00   04/11/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        24.00    20.00   04/18/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        7.25    30.00   04/18/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        24.00    20.00   04/25/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        5.75    30.00   04/25/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        24.00    20.00   05/02/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        8.50    30.00   05/02/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        14.75    20.00   05/09/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        1.50    30.00   05/09/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        16.00    20.25   05/16/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        2.25    30.38   05/16/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   05/23/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       13.25    30.38   05/23/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        24.00    20.25   05/30/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        4.75    30.38   05/30/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   06/06/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       10.50    30.38   06/06/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        38.75    20.25   06/13/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       10.25    30.38   06/13/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   06/20/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        4.25    30.38   06/20/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        31.50    20.25   06/27/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        5.25    30.38   06/27/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        16.00    20.25   07/04/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        3.50    30.38   07/04/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   07/11/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        4.25    30.38   07/11/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   07/18/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        5.50    30.38   07/18/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   07/25/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        5.25    30.38   07/25/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        33.00    20.25   08/01/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       10.50    30.38   08/01/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   08/08/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        7.25    30.38   08/08/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   08/15/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        4.00    30.38   08/15/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   08/22/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        6.75    30.38   08/22/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        40.00    20.25   08/29/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       13.75    30.38   08/29/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        24.00    20.25   09/05/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        5.50    30.38   09/05/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   09/12/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        6.00    30.38   09/12/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   09/19/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        3.50    30.38   09/19/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   09/26/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime        5.50    30.38   09/26/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   10/03/2016   Los   Angeles   CA   West   - Drivers
836410              Overtime       11.75    30.38   10/03/2016   Los   Angeles   CA   West   - Drivers
836410              Regular        32.00    20.25   10/10/2016   Los   Angeles   CA   West   - Drivers
836410 Case 2:19-cv-08580-JFW-MAA
                  Overtime        9.00Document
                                         30.38 38-5    Filed Los
                                                 10/10/2016  03/22/21
                                                                 AngelesPage 613- Drivers
                                                                        CA West   of 691    Page ID
836410            Regular       54.00    19.00 #:1386
                                                 08/03/2015 Los Angeles CA West - Drivers
836410            Regular       47.75    19.00 08/10/2015 Los Angeles CA West - Drivers
836410            Regular       49.75    19.00 08/17/2015 Los Angeles CA West - Drivers
836410            Regular       50.00    19.00 08/24/2015 Los Angeles CA West - Drivers
836410            Regular       40.00    19.00 08/31/2015 Los Angeles CA West - Drivers
836410            Overtime        9.00   28.50 08/31/2015 Los Angeles CA West - Drivers
836410            Regular       49.50    19.00 09/07/2015 Los Angeles CA West - Drivers
836410            Overtime       -9.00   28.50 08/31/2015 Los Angeles CA West - Drivers
836410            Regular       49.50    19.00 09/14/2015 Los Angeles CA West - Drivers
836410            Regular       50.50    19.00 09/21/2015 Los Angeles CA West - Drivers
836410            Regular       96.25    19.00 09/28/2015 Los Angeles CA West - Drivers
836410            Regular       10.50    19.00 10/12/2015 Los Angeles CA West - Drivers
836410            Regular         8.00   20.00 10/17/2016 Los Angeles CA West - Drivers
836410            Overtime        1.25   30.00 10/17/2016 Los Angeles CA West - Drivers
836410            Regular         8.00   20.00 10/24/2016 Los Angeles CA West - Drivers
836410            Overtime        1.25   30.00 10/24/2016 Los Angeles CA West - Drivers
Total for 836410             2,803.25
2388584           Regular         8.00   23.00 09/17/2018 Los Angeles CA West - Drivers
2388584           Overtime        4.00   34.50 09/17/2018 Los Angeles CA West - Drivers
2388584           Regular       16.00    20.00 09/10/2018 Los Angeles CA West - Drivers
2388584           Overtime        3.50   30.00 09/10/2018 Los Angeles CA West - Drivers
2388584           Regular         8.00   20.00 09/17/2018 Los Angeles CA West - Drivers
2388584           Overtime        0.50   30.00 09/17/2018 Los Angeles CA West - Drivers
2388584           Regular         8.00   20.00 11/05/2018 Los Angeles CA West - Drivers
2388584           Regular       16.00    20.00 11/12/2018 Los Angeles CA West - Drivers
2388584           Overtime        1.50   30.00 11/12/2018 Los Angeles CA West - Drivers
2388584           Regular         8.00   20.00 11/26/2018 Los Angeles CA West - Drivers
2388584           Overtime        1.00   30.00 11/26/2018 Los Angeles CA West - Drivers
2388584           Regular       16.00    20.50 12/17/2018 Los Angeles CA West - Drivers
2388584           Regular       16.00    39.17 10/22/2018 Los Angeles CA West - Drivers
2388584           Overtime        8.00   58.76 10/22/2018 Los Angeles CA West - Drivers
2388584           Regular       21.00    39.17 10/29/2018 Los Angeles CA West - Drivers
2388584           Overtime        5.75   58.76 10/29/2018 Los Angeles CA West - Drivers
2388584           Regular       16.00    39.17 11/05/2018 Los Angeles CA West - Drivers
2388584           Overtime        8.00   58.76 11/05/2018 Los Angeles CA West - Drivers
2388584           Regular         4.00   39.17 11/12/2018 Los Angeles CA West - Drivers
2388584           Regular       15.75    39.17 11/19/2018 Los Angeles CA West - Drivers
2388584           Overtime        2.50   58.76 11/19/2018 Los Angeles CA West - Drivers
2388584           Regular         8.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2388584           Overtime        3.75   31.50 11/12/2018 Los Angeles CA West - Drivers
2388584           Regular         8.00   22.00 10/08/2018 Los Angeles CA West - Drivers
2388584           Overtime        4.00   33.00 10/08/2018 Los Angeles CA West - Drivers
2388584           Regular         1.00   21.00 10/02/2017 Los Angeles CA West - Drivers
2388584           Regular         8.00   20.00 09/24/2018 Los Angeles CA West - Drivers
2388584           Overtime        2.50   30.00 09/24/2018 Los Angeles CA West - Drivers
Total for 2388584              222.75
2432921           Regular         8.00   19.50 12/11/2017 Los Angeles CA East - Drivers
2432921           Overtime        3.00   29.25 12/11/2017 Los Angeles CA East - Drivers
2432921           Regular       15.00    19.50 05/14/2018 Los Angeles CA East - Drivers
2432921           Overtime        0.25   29.25 05/14/2018 Los Angeles CA East - Drivers
2432921           Regular       24.00    19.50 05/28/2018 Los Angeles CA East - Drivers
2432921           Overtime        3.50   29.25 05/28/2018 Los Angeles CA East - Drivers
2432921           Regular       32.00    19.50 06/04/2018 Los Angeles CA East - Drivers
2432921           Overtime        6.75   29.25 05/28/2018 Los Angeles CA East - Drivers
2432921           Regular       32.00    19.50 06/11/2018 Los Angeles CA East - Drivers
2432921           Overtime        4.75   29.25 06/11/2018 Los Angeles CA East - Drivers
2432921           Regular       32.00    19.50 06/18/2018 Los Angeles CA East - Drivers
2432921           Overtime        4.50   29.25 06/18/2018 Los Angeles CA East - Drivers
2432921           Regular       32.00    19.50 06/25/2018 Los Angeles CA East - Drivers
2432921           Overtime      10.75    29.25 06/25/2018 Los Angeles CA East - Drivers
2432921           Regular       24.00    19.50 07/02/2018 Los Angeles CA East - Drivers
2432921           Overtime      11.50    29.25 07/02/2018 Los Angeles CA East - Drivers
2432921 Case 2:19-cv-08580-JFW-MAA
                   Regular      32.00Document
                                        19.50 38-5    Filed Los
                                                07/09/2018  03/22/21
                                                                AngelesPage 614
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2432921            Overtime     15.50   29.25 #:1387
                                                07/09/2018 Los Angeles CA East - Drivers
2432921            Regular      33.50   20.00 07/16/2018 Los Angeles CA East - Drivers
2432921            Overtime      2.75   30.00 07/16/2018 Los Angeles CA East - Drivers
2432921            Regular      32.00   20.00 07/23/2018 Los Angeles CA East - Drivers
2432921            Overtime      9.75   30.00 07/23/2018 Los Angeles CA East - Drivers
2432921            Regular      30.50   20.00 07/30/2018 Los Angeles CA East - Drivers
2432921            Overtime      6.75   30.00 07/30/2018 Los Angeles CA East - Drivers
2432921            Regular      32.00   20.00 08/06/2018 Los Angeles CA East - Drivers
2432921            Overtime      4.00   30.00 08/06/2018 Los Angeles CA East - Drivers
2432921            Regular      31.50   20.00 08/13/2018 Los Angeles CA East - Drivers
2432921            Overtime      7.75   30.00 08/13/2018 Los Angeles CA East - Drivers
2432921            Regular       8.00   21.00 01/08/2018 Los Angeles CA East - Drivers
2432921            Overtime      4.00   31.50 01/08/2018 Los Angeles CA East - Drivers
2432921            Regular      24.00   20.75 05/07/2018 Los Angeles CA East - Drivers
2432921            Overtime      5.50   31.13 05/07/2018 Los Angeles CA East - Drivers
2432921            Regular      40.00   20.00 12/18/2017 Los Angeles CA East - Drivers
2432921            Overtime      5.50   30.00 12/18/2017 Los Angeles CA East - Drivers
2432921            Regular      40.00   20.00 12/25/2017 Los Angeles CA East - Drivers
2432921            Overtime     10.00   30.00 12/25/2017 Los Angeles CA East - Drivers
2432921            Regular      32.00   20.00 01/01/2018 Los Angeles CA East - Drivers
2432921            Overtime      5.50   30.00 01/01/2018 Los Angeles CA East - Drivers
2432921            Regular       8.00   20.00 01/08/2018 Los Angeles CA East - Drivers
2432921            Overtime      1.50   30.00 01/08/2018 Los Angeles CA East - Drivers
2432921            Regular       8.00   20.00 01/15/2018 Los Angeles CA East - Drivers
2432921            Overtime      1.50   30.00 01/15/2018 Los Angeles CA East - Drivers
2432921            Regular       7.50   20.00 01/22/2018 Los Angeles CA East - Drivers
2432921            Regular       8.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2432921            Overtime      2.50   30.00 03/26/2018 Los Angeles CA East - Drivers
2432921            Regular      21.00   21.00 04/30/2018 Los Angeles CA East - Drivers
Total for 2432921              714.50
1285599            Regular      15.00   20.00 03/21/2016 Los Angeles CA East - Drivers
1285599            Overtime      1.00   30.00 03/21/2016 Los Angeles CA East - Drivers
1285599            Regular      14.50   20.00 03/28/2016 Los Angeles CA East - Drivers
1285599            Overtime      3.00   30.00 03/28/2016 Los Angeles CA East - Drivers
Total for 1285599               33.50
2601137            Regular      40.00   20.50 04/08/2019 Sacramento CA - Drivers
2601137            Overtime      0.25   30.75 04/08/2019 Sacramento CA - Drivers
2601137            Regular      40.00   20.50 04/15/2019 Sacramento CA - Drivers
2601137            Overtime      1.75   30.75 04/15/2019 Sacramento CA - Drivers
2601137            Regular      40.00   20.50 04/22/2019 Sacramento CA - Drivers
2601137            Overtime      1.00   30.75 04/22/2019 Sacramento CA - Drivers
2601137            Regular      40.00   20.50 04/29/2019 Sacramento CA - Drivers
2601137            Overtime      0.75   30.75 04/29/2019 Sacramento CA - Drivers
2601137            Regular      32.00   20.50 05/06/2019 Sacramento CA - Drivers
2601137            Regular       7.25   20.50 05/20/2019 Sacramento CA - Drivers
2601137            Regular      19.00   22.00 03/04/2019 Sacramento CA - Drivers
2601137            Overtime      6.00   33.00 03/04/2019 Sacramento CA - Drivers
2601137            Regular      18.00   22.00 03/11/2019 Sacramento CA - Drivers
2601137            Overtime      4.00   33.00 03/11/2019 Sacramento CA - Drivers
2601137            Regular       8.00   30.00 09/17/2018 Sacramento CA - Drivers
2601137            Regular      16.00   22.00 01/21/2019 Sacramento CA - Drivers
2601137            Overtime      5.40   33.00 01/21/2019 Sacramento CA - Drivers
2601137            Regular      32.00   22.00 01/28/2019 Sacramento CA - Drivers
2601137            Overtime      6.30   33.00 01/28/2019 Sacramento CA - Drivers
2601137            Regular      32.00   22.00 02/04/2019 Sacramento CA - Drivers
2601137            Overtime      4.10   33.00 02/04/2019 Sacramento CA - Drivers
2601137            Regular       8.00   22.00 02/11/2019 Sacramento CA - Drivers
2601137            Overtime      1.10   33.00 02/11/2019 Sacramento CA - Drivers
2601137            Regular       8.00   22.00 02/18/2019 Sacramento CA - Drivers
2601137            Overtime      4.00   33.00 02/18/2019 Sacramento CA - Drivers
2601137            Regular      14.00   21.85 09/17/2018 Sacramento CA - Drivers
2601137            Regular      57.50   21.85 09/24/2018 Sacramento CA - Drivers
2601137 Case 2:19-cv-08580-JFW-MAA
                   Regular       39.50Document
                                         21.85 38-5    Filed Sacramento
                                                 10/01/2018  03/22/21 Page    615 of 691
                                                                        CA - Drivers       Page ID
2601137            Regular       48.25   21.85 #:1388
                                                 10/08/2018 Sacramento CA - Drivers
2601137            Regular        5.75   21.21 03/18/2019 Sacramento CA - Drivers
2601137            Regular       16.00   21.00 10/15/2018 Sacramento CA - Drivers
2601137            Overtime       2.00   31.50 10/15/2018 Sacramento CA - Drivers
2601137            Regular       40.00   21.00 10/22/2018 Sacramento CA - Drivers
2601137            Overtime      12.25   31.50 10/22/2018 Sacramento CA - Drivers
2601137            Regular       40.00   21.00 10/29/2018 Sacramento CA - Drivers
2601137            Overtime       9.50   31.50 10/29/2018 Sacramento CA - Drivers
2601137            Regular       40.00   21.00 11/05/2018 Sacramento CA - Drivers
2601137            Overtime      14.00   31.50 11/05/2018 Sacramento CA - Drivers
2601137            Regular       32.00   21.00 11/12/2018 Sacramento CA - Drivers
2601137            Overtime      11.75   31.50 11/12/2018 Sacramento CA - Drivers
2601137            Regular       32.00   21.00 11/19/2018 Sacramento CA - Drivers
2601137            Overtime       9.00   31.50 11/19/2018 Sacramento CA - Drivers
2601137            Regular       40.00   21.00 11/26/2018 Sacramento CA - Drivers
2601137            Overtime      18.25   31.50 11/26/2018 Sacramento CA - Drivers
2601137            Regular       32.00   21.00 12/03/2018 Sacramento CA - Drivers
2601137            Overtime      13.75   31.50 12/03/2018 Sacramento CA - Drivers
2601137            Regular       40.00   21.00 12/10/2018 Sacramento CA - Drivers
2601137            Overtime       9.00   31.50 12/10/2018 Sacramento CA - Drivers
2601137            Regular       32.00   21.00 12/17/2018 Sacramento CA - Drivers
2601137            Overtime       7.75   31.50 12/17/2018 Sacramento CA - Drivers
2601137            Regular       24.00   21.00 12/24/2018 Sacramento CA - Drivers
2601137            Overtime       7.50   31.50 12/24/2018 Sacramento CA - Drivers
2601137            Regular       32.00   21.00 12/31/2018 Sacramento CA - Drivers
2601137            Overtime       3.75   31.50 12/31/2018 Sacramento CA - Drivers
2601137            Regular       40.00   21.00 01/07/2019 Sacramento CA - Drivers
2601137            Overtime       3.75   31.50 01/07/2019 Sacramento CA - Drivers
Total for 2601137             1,102.15
2218944            Regular       38.00   19.00 03/20/2017 Sacramento CA - Drivers
2218944            Overtime      12.00   28.50 03/20/2017 Sacramento CA - Drivers
Total for 2218944                50.00
2182519            Regular       24.00   19.00 01/23/2017 Los Angeles CA West - Drivers
2182519            Overtime       3.50   28.50 01/23/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 01/30/2017 Los Angeles CA West - Drivers
2182519            Overtime      14.00   28.50 01/30/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 02/06/2017 Los Angeles CA West - Drivers
2182519            Overtime      11.00   28.50 02/06/2017 Los Angeles CA West - Drivers
2182519            Regular       24.00   19.00 02/13/2017 Los Angeles CA West - Drivers
2182519            Overtime      10.50   28.50 02/13/2017 Los Angeles CA West - Drivers
2182519            Regular       16.00   19.00 02/20/2017 Los Angeles CA West - Drivers
2182519            Overtime       6.50   28.50 02/20/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 02/27/2017 Los Angeles CA West - Drivers
2182519            Overtime      15.50   28.50 02/27/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 03/06/2017 Los Angeles CA West - Drivers
2182519            Overtime      10.50   28.50 03/06/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 03/13/2017 Los Angeles CA West - Drivers
2182519            Overtime      11.00   28.50 03/13/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 03/20/2017 Los Angeles CA West - Drivers
2182519            Overtime       9.75   28.50 03/20/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 03/27/2017 Los Angeles CA West - Drivers
2182519            Overtime      10.50   28.50 03/27/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 04/03/2017 Los Angeles CA West - Drivers
2182519            Overtime      19.75   28.50 04/03/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 04/10/2017 Los Angeles CA West - Drivers
2182519            Overtime      15.50   28.50 04/10/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 04/17/2017 Los Angeles CA West - Drivers
2182519            Overtime      11.50   28.50 04/17/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 04/24/2017 Los Angeles CA West - Drivers
2182519            Overtime      10.00   28.50 04/24/2017 Los Angeles CA West - Drivers
2182519            Regular       40.00   19.00 05/01/2017 Los Angeles CA West - Drivers
2182519            Overtime      10.00   28.50 05/01/2017 Los Angeles CA West - Drivers
2182519 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          19.00 38-5    Filed Los
                                                  05/08/2017  03/22/21
                                                                  AngelesPage 616- Drivers
                                                                         CA West   of 691 Page ID
2182519              Overtime      9.50   28.50 #:1389
                                                  05/08/2017 Los Angeles CA West - Drivers
2182519             Regular        32.00    19.00   05/15/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       10.50    28.50   05/15/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       16.75    28.50   05/22/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        32.00    19.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       11.58    28.50   05/29/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       14.50    28.50   06/05/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.00    28.50   06/12/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       11.50    28.50   06/19/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   06/26/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       15.75    28.50   06/26/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        32.00    19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.50    28.50   07/03/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.25    28.50   07/10/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       17.25    28.50   07/17/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       14.75    28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        31.50    19.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime        8.00    28.50   07/31/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    19.00   08/07/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.00    28.50   08/07/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       18.25    30.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       10.50    30.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        32.00    20.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       12.00    30.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        32.00    20.00   09/04/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       16.00    30.00   09/04/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       12.50    30.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        39.50    20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime        8.50    30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       12.50    30.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       12.00    30.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        32.00    20.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       11.00    30.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       12.50    30.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        32.00    20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       11.50    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       15.25    30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.50    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       14.00    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        24.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime        7.50    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.00    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2182519             Overtime       13.00    30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2182519             Regular        40.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2182519 Case 2:19-cv-08580-JFW-MAA
                   Overtime      13.00Document
                                         30.00 38-5    Filed Los
                                                 12/11/2017  03/22/21
                                                                 AngelesPage 617- Drivers
                                                                        CA West   of 691    Page ID
2182519            Regular       40.00   20.00 #:1390
                                                 12/18/2017 Los Angeles CA West - Drivers
2182519            Overtime      11.00   30.00 12/18/2017 Los Angeles CA West - Drivers
2182519            Regular       24.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2182519            Overtime       6.00   30.00 12/25/2017 Los Angeles CA West - Drivers
2182519            Regular       32.00   20.00 01/01/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.50   30.00 01/01/2018 Los Angeles CA West - Drivers
2182519            Regular       24.00   20.00 01/08/2018 Los Angeles CA West - Drivers
2182519            Overtime       7.25   30.00 01/08/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 01/15/2018 Los Angeles CA West - Drivers
2182519            Overtime      13.50   30.00 01/15/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 01/22/2018 Los Angeles CA West - Drivers
2182519            Overtime      12.00   30.00 01/22/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 01/29/2018 Los Angeles CA West - Drivers
2182519            Overtime      13.00   30.00 01/29/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 02/05/2018 Los Angeles CA West - Drivers
2182519            Overtime      13.50   30.00 02/05/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 02/12/2018 Los Angeles CA West - Drivers
2182519            Overtime      14.00   30.00 02/12/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 02/19/2018 Los Angeles CA West - Drivers
2182519            Overtime      11.00   30.00 02/19/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 02/26/2018 Los Angeles CA West - Drivers
2182519            Overtime      11.00   30.00 02/26/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 03/05/2018 Los Angeles CA West - Drivers
2182519            Overtime      12.00   30.00 03/05/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 03/12/2018 Los Angeles CA West - Drivers
2182519            Overtime      12.50   30.00 03/12/2018 Los Angeles CA West - Drivers
2182519            Regular       24.00   20.00 03/19/2018 Los Angeles CA West - Drivers
2182519            Overtime       9.50   30.00 03/19/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 03/26/2018 Los Angeles CA West - Drivers
2182519            Overtime      12.00   30.00 03/26/2018 Los Angeles CA West - Drivers
2182519            Regular       32.00   20.00 04/02/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.00   30.00 04/02/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 04/09/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.00   30.00 04/09/2018 Los Angeles CA West - Drivers
2182519            Regular        8.00   20.00 04/16/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 04/23/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.00   30.00 04/23/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 04/30/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.00   30.00 04/30/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 05/07/2018 Los Angeles CA West - Drivers
2182519            Overtime      11.50   30.00 05/07/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 05/14/2018 Los Angeles CA West - Drivers
2182519            Overtime      13.50   30.00 05/14/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 05/21/2018 Los Angeles CA West - Drivers
2182519            Overtime      14.00   30.00 05/21/2018 Los Angeles CA West - Drivers
2182519            Regular       32.00   20.00 05/28/2018 Los Angeles CA West - Drivers
2182519            Overtime       9.00   30.00 05/28/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 06/04/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.00   30.00 06/04/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 06/11/2018 Los Angeles CA West - Drivers
2182519            Overtime      14.00   30.00 06/11/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 06/18/2018 Los Angeles CA West - Drivers
2182519            Overtime      14.00   30.00 06/18/2018 Los Angeles CA West - Drivers
2182519            Regular       40.00   20.00 06/25/2018 Los Angeles CA West - Drivers
2182519            Overtime      10.50   30.00 06/25/2018 Los Angeles CA West - Drivers
2182519            Regular       32.00   20.00 07/02/2018 Los Angeles CA West - Drivers
2182519            Overtime      11.00   30.00 07/02/2018 Los Angeles CA West - Drivers
Total for 2182519             3,686.08
2800906            Regular        8.00   23.00 09/02/2019 Los Angeles CA East - Drivers
2800906            Regular       32.00   28.00 07/22/2019 Los Angeles CA East - Drivers
2800906            Overtime       8.00   42.00 07/22/2019 Los Angeles CA East - Drivers
2800906            Regular       24.00   28.00 07/29/2019 Los Angeles CA East - Drivers
2800906 Case 2:19-cv-08580-JFW-MAA
                   Overtime      2.50Document
                                        42.00 38-5    Filed Los
                                                07/29/2019  03/22/21
                                                                AngelesPage 618
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2800906            Regular      40.00   28.00 #:1391
                                                08/05/2019 Los Angeles CA East - Drivers
2800906            Overtime     11.00   42.00 08/05/2019 Los Angeles CA East - Drivers
2800906            Regular      32.00   28.00 08/12/2019 Los Angeles CA East - Drivers
2800906            Overtime     14.00   42.00 08/12/2019 Los Angeles CA East - Drivers
2800906            Regular      32.00   28.00 08/19/2019 Los Angeles CA East - Drivers
2800906            Overtime     14.00   42.00 08/19/2019 Los Angeles CA East - Drivers
2800906            Regular      40.00   28.00 08/26/2019 Los Angeles CA East - Drivers
2800906            Regular       2.75   21.50 09/02/2019 Los Angeles CA East - Drivers
2800906            Regular       8.00   23.00 07/15/2019 Los Angeles CA East - Drivers
2800906            Overtime      3.75   34.50 07/15/2019 Los Angeles CA East - Drivers
Total for 2800906              272.00
1359321            Regular       8.00   16.00 08/22/2016 Los Angeles CA West - Drivers
1359321            Overtime      1.00   24.00 08/22/2016 Los Angeles CA West - Drivers
1359321            Regular      24.00   16.50 08/08/2016 Los Angeles CA West - Drivers
1359321            Overtime      8.25   24.75 08/08/2016 Los Angeles CA West - Drivers
1359321            Regular      47.00   16.50 08/22/2016 Los Angeles CA West - Drivers
1359321            Overtime     12.00   24.75 08/15/2016 Los Angeles CA West - Drivers
Total for 1359321              100.25
609514             Regular       8.00   19.50 04/17/2017 Los Angeles CA East - Drivers
609514             Overtime      4.00   29.25 04/17/2017 Los Angeles CA East - Drivers
609514             Regular      28.00   21.85 12/26/2016 Los Angeles CA East - Drivers
609514             Regular      14.00   19.00 12/12/2016 Los Angeles CA East - Drivers
609514             Regular      39.00   19.00 12/05/2016 Los Angeles CA East - Drivers
609514             Regular       8.00   19.00 04/10/2017 Los Angeles CA East - Drivers
609514             Overtime      4.00   28.50 04/10/2017 Los Angeles CA East - Drivers
Total for 609514               105.00
2778186            Regular      23.92   21.85 07/08/2019 Los Angeles CA West - Drivers
2778186            Regular      13.00   21.85 07/15/2019 Los Angeles CA West - Drivers
2778186            Regular      12.50   21.85 08/26/2019 Los Angeles CA West - Drivers
2778186            Regular      16.50   22.00 08/05/2019 Los Angeles CA West - Drivers
2778186            Overtime      5.50   33.00 08/05/2019 Los Angeles CA West - Drivers
Total for 2778186               71.42
2217125            Regular      40.00   15.00 03/06/2017 Los Angeles CA West - Drivers
2217125            Overtime      3.50   22.50 03/06/2017 Los Angeles CA West - Drivers
2217125            Regular      35.50   15.00 03/13/2017 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 12/18/2017 Los Angeles CA West - Drivers
2217125            Overtime      4.75   30.00 12/18/2017 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2217125            Overtime      5.75   30.00 12/25/2017 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 01/01/2018 Los Angeles CA West - Drivers
2217125            Overtime      5.50   30.00 01/01/2018 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 01/08/2018 Los Angeles CA West - Drivers
2217125            Overtime      9.50   30.00 01/08/2018 Los Angeles CA West - Drivers
2217125            Regular      32.00   20.00 01/15/2018 Los Angeles CA West - Drivers
2217125            Overtime     11.00   30.00 01/15/2018 Los Angeles CA West - Drivers
2217125            Regular      32.00   20.00 01/22/2018 Los Angeles CA West - Drivers
2217125            Overtime      7.25   30.00 01/22/2018 Los Angeles CA West - Drivers
2217125            Regular       8.00   20.00 01/29/2018 Los Angeles CA West - Drivers
2217125            Overtime      4.00   30.00 01/29/2018 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 02/05/2018 Los Angeles CA West - Drivers
2217125            Overtime      7.00   30.00 02/05/2018 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 02/12/2018 Los Angeles CA West - Drivers
2217125            Overtime      8.25   30.00 02/12/2018 Los Angeles CA West - Drivers
2217125            Regular      24.00   20.00 02/19/2018 Los Angeles CA West - Drivers
2217125            Overtime      8.50   30.00 02/19/2018 Los Angeles CA West - Drivers
2217125            Regular       8.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2217125            Regular       8.00   21.00 03/04/2019 Los Angeles CA West - Drivers
2217125            Regular      16.00   20.00 08/27/2018 Los Angeles CA West - Drivers
2217125            Overtime      5.00   30.00 08/27/2018 Los Angeles CA West - Drivers
2217125            Regular      16.00   20.00 10/08/2018 Los Angeles CA West - Drivers
2217125            Overtime      2.50   30.00 10/08/2018 Los Angeles CA West - Drivers
2217125            Regular       8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
2217125 Case   2:19-cv-08580-JFW-MAA
                     Overtime      4.00Document
                                          30.00 38-5    Filed Los
                                                  10/29/2018  03/22/21
                                                                  AngelesPage 619- Drivers
                                                                         CA West   of 691 Page ID
2217125              Regular       8.00   20.00 #:1392
                                                  11/12/2018 Los Angeles CA West - Drivers
2217125             Regular         8.00    20.50   12/10/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular         8.00    20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        0.75    30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular         8.00    20.50   01/28/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular         8.00    20.50   02/04/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular         8.00    20.50   02/25/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.00    30.75   02/25/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular         8.00    20.50   08/05/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.50    30.75   08/05/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular         8.00    21.00   08/12/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.50    31.50   08/12/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    21.00   08/26/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.75    31.50   08/26/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular         7.00    19.50   06/18/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.50   07/02/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.00    30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    16.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.50    24.00   03/27/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    16.00   04/03/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime       15.00    24.00   04/03/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    16.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    24.00   04/10/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    16.00   04/17/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime       14.00    24.00   04/17/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    16.00   04/24/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime       10.00    24.00   04/24/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        39.50    16.00   05/01/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.50    24.00   05/01/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        37.00    20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   05/15/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        38.50    20.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   05/22/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.75    30.00   05/29/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        39.25    20.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   06/05/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    30.00   06/12/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.50    30.00   06/19/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   06/26/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime       10.25    30.00   06/26/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.50    30.00   07/03/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        36.00    20.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   07/10/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   07/17/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    30.00   07/17/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   07/24/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.00    30.00   07/31/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   08/07/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   08/21/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.50    30.00   08/28/2017   Los   Angeles   CA   West   - Drivers
2217125 Case   2:19-cv-08580-JFW-MAA
                     Regular      24.00Document
                                          20.00 38-5    Filed Los
                                                  09/04/2017  03/22/21
                                                                  AngelesPage 620- Drivers
                                                                         CA West   of 691 Page ID
2217125              Overtime      6.00   30.00 #:1393
                                                  09/04/2017 Los Angeles CA West - Drivers
2217125             Regular        39.00    20.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   09/11/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   09/18/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.50    30.00   09/25/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    30.00   10/02/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        7.50    30.00   10/09/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.75    30.00   10/16/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        14.75    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   11/06/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.75    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.00    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        23.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.25    30.00   12/04/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    30.00   04/23/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        7.00    30.00   04/30/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.50    30.00   05/07/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.00    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.50    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        8.25    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.75    30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        38.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.75    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        23.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.75    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   06/25/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   07/02/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.50    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.25    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        21.50    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.50    30.00   07/23/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
2217125 Case   2:19-cv-08580-JFW-MAA
                     Overtime      2.25Document
                                          30.00 38-5    Filed Los
                                                  07/30/2018  03/22/21
                                                                  AngelesPage 621- Drivers
                                                                         CA West   of 691 Page ID
2217125              Regular      32.00   20.00 #:1394
                                                  08/06/2018 Los Angeles CA West - Drivers
2217125             Overtime        1.75    30.00   08/06/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.25    30.00   08/13/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.25    30.00   08/20/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.50    30.00   08/27/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.50    30.00   09/03/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.00    30.00   09/10/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        38.75    20.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        0.50    30.00   09/17/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.00    30.00   09/24/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.25    30.00   10/01/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        39.00    20.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.75    30.00   10/08/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   10/15/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        23.00    20.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.00    30.00   10/22/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.50    30.00   10/29/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        23.25    20.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        0.50    30.00   11/05/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.25    30.00   11/12/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        23.00    20.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.50    30.00   11/19/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.50    30.00   11/26/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.00    30.00   12/03/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.75    30.00   12/10/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        40.00    20.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        7.25    30.00   12/17/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        6.50    30.00   12/24/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2217125             Overtime        3.25    30.00   12/31/2018   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        5.00    30.00   01/07/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        39.00    20.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   01/14/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        29.50    20.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.75    30.00   01/21/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        39.75    20.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.00    30.00   01/28/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        31.25    20.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        4.75    30.00   02/04/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        32.00    20.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        1.75    30.00   02/11/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   02/18/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        16.00    20.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        0.75    30.00   03/04/2019   Los   Angeles   CA   West   - Drivers
2217125             Regular        24.00    20.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2217125             Overtime        2.00    30.00   03/11/2019   Los   Angeles   CA   West   - Drivers
2217125 Case 2:19-cv-08580-JFW-MAA
                   Regular        3.75Document
                                         20.00 38-5    Filed Los
                                                 03/18/2019  03/22/21
                                                                 AngelesPage 622- Drivers
                                                                        CA West   of 691    Page ID
2217125            Regular       19.50   20.00 #:1395
                                                 03/25/2019 Los Angeles CA West - Drivers
2217125            Regular       18.50   22.50 04/01/2019 Los Angeles CA West - Drivers
2217125            Regular        7.75   22.50 04/08/2019 Los Angeles CA West - Drivers
2217125            Regular       16.00   19.00 03/27/2017 Los Angeles CA West - Drivers
2217125            Overtime       2.25   28.50 03/27/2017 Los Angeles CA West - Drivers
2217125            Regular        8.00   22.00 12/24/2018 Los Angeles CA West - Drivers
Total for 2217125             3,790.25
873812             Regular       39.75   17.50 08/03/2015 Los Angeles CA West - Drivers
873812             Overtime      29.00   26.25 08/03/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   17.50 08/10/2015 Los Angeles CA West - Drivers
873812             Overtime      24.25   26.25 08/10/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   17.50 08/17/2015 Los Angeles CA West - Drivers
873812             Overtime      28.75   26.25 08/17/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
873812             Overtime      26.75   28.50 08/24/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
873812             Overtime      23.25   28.50 08/31/2015 Los Angeles CA West - Drivers
873812             Regular       16.00   19.00 09/07/2015 Los Angeles CA West - Drivers
873812             Overtime       6.75   28.50 08/31/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 09/14/2015 Los Angeles CA West - Drivers
873812             Overtime      18.75   28.50 09/14/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 09/21/2015 Los Angeles CA West - Drivers
873812             Overtime      23.00   28.50 09/21/2015 Los Angeles CA West - Drivers
873812             Regular       32.00   19.00 09/28/2015 Los Angeles CA West - Drivers
873812             Overtime      11.75   28.50 09/28/2015 Los Angeles CA West - Drivers
873812             Regular       38.00   19.00 10/05/2015 Los Angeles CA West - Drivers
873812             Overtime      15.75   28.50 10/05/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 10/12/2015 Los Angeles CA West - Drivers
873812             Overtime      13.00   28.50 10/12/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
873812             Overtime      24.00   28.50 10/19/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 10/26/2015 Los Angeles CA West - Drivers
873812             Overtime      20.75   28.50 10/26/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
873812             Overtime      15.00   28.50 11/02/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 11/09/2015 Los Angeles CA West - Drivers
873812             Overtime      22.00   28.50 11/09/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 11/16/2015 Los Angeles CA West - Drivers
873812             Overtime      14.50   28.50 11/16/2015 Los Angeles CA West - Drivers
873812             Regular       23.75   19.00 11/23/2015 Los Angeles CA West - Drivers
873812             Overtime       3.75   28.50 11/23/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 11/30/2015 Los Angeles CA West - Drivers
873812             Overtime      20.75   28.50 11/30/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 12/07/2015 Los Angeles CA West - Drivers
873812             Overtime      16.25   28.50 12/07/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
873812             Overtime      12.00   28.50 12/14/2015 Los Angeles CA West - Drivers
873812             Regular       30.75   19.00 12/21/2015 Los Angeles CA West - Drivers
873812             Overtime       9.25   28.50 12/21/2015 Los Angeles CA West - Drivers
873812             Regular       23.25   19.00 12/28/2015 Los Angeles CA West - Drivers
873812             Overtime       3.75   28.50 12/28/2015 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
873812             Overtime      27.00   28.50 01/04/2016 Los Angeles CA West - Drivers
873812             Regular       32.00   19.00 01/11/2016 Los Angeles CA West - Drivers
873812             Overtime       7.50   28.50 01/11/2016 Los Angeles CA West - Drivers
873812             Regular       38.25   19.00 01/18/2016 Los Angeles CA West - Drivers
873812             Overtime       7.25   28.50 01/18/2016 Los Angeles CA West - Drivers
873812             Regular       37.50   19.00 01/25/2016 Los Angeles CA West - Drivers
873812             Overtime       4.75   28.50 01/25/2016 Los Angeles CA West - Drivers
873812             Regular       37.50   19.00 02/01/2016 Los Angeles CA West - Drivers
873812             Overtime       6.25   28.50 02/01/2016 Los Angeles CA West - Drivers
873812             Regular       40.00   19.00 02/08/2016 Los Angeles CA West - Drivers
873812   Case 2:19-cv-08580-JFW-MAA
                    Overtime      8.00Document
                                         28.50 38-5    Filed Los
                                                 02/08/2016  03/22/21
                                                                 AngelesPage 623- Drivers
                                                                        CA West   of 691 Page ID
873812              Regular      32.00   19.00 #:1396
                                                 02/15/2016 Los Angeles CA West - Drivers
873812              Overtime       10.00    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        8.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        28.75    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        4.75    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        24.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        4.25    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        8.00    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        31.75    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       10.00    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        29.50    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        6.50    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       12.50    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       11.75    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        24.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        7.00    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        8.25    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        30.50    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       10.00    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       14.25    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        22.50    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        4.50    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       13.50    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        24.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        8.00    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       13.75    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       16.50    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        38.75    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       13.00    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       17.75    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       15.75    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       12.00    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       16.00    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        24.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        7.50    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       13.75    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       10.50    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       17.50    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        24.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        4.50    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        24.00    19.25   09/05/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        8.25    28.88   09/05/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.25   09/12/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime        8.50    28.88   09/12/2016   Los   Angeles   CA   West   - Drivers
873812              Regular        32.00    19.25   09/19/2016   Los   Angeles   CA   West   - Drivers
873812              Overtime       10.75    28.88   09/19/2016   Los   Angeles   CA   West   - Drivers
873812 Case 2:19-cv-08580-JFW-MAA
                  Regular       16.00Document
                                        19.25 38-5    Filed Los
                                                09/26/2016  03/22/21
                                                                AngelesPage 624- Drivers
                                                                       CA West   of 691    Page ID
873812            Overtime       1.00   28.88 #:1397
                                                09/26/2016 Los Angeles CA West - Drivers
873812            Regular       40.00   19.00 10/10/2016 Los Angeles CA West - Drivers
873812            Overtime      16.00   28.50 10/10/2016 Los Angeles CA West - Drivers
873812            Regular       40.00   19.00 10/17/2016 Los Angeles CA West - Drivers
873812            Overtime      15.00   28.50 10/17/2016 Los Angeles CA West - Drivers
873812            Regular       40.00   19.00 10/24/2016 Los Angeles CA West - Drivers
873812            Overtime      18.50   28.50 10/24/2016 Los Angeles CA West - Drivers
873812            Regular        8.00   19.00 11/14/2016 Los Angeles CA West - Drivers
873812            Overtime       2.00   28.50 11/14/2016 Los Angeles CA West - Drivers
873812            Regular        8.00   19.00 11/14/2016 Los Angeles CA West - Drivers
873812            Overtime       2.00   28.50 11/14/2016 Los Angeles CA West - Drivers
873812            Regular       52.50   19.00 11/21/2016 Los Angeles CA West - Drivers
873812            Regular       67.50   19.00 11/28/2016 Los Angeles CA West - Drivers
873812            Regular       57.50   19.00 12/05/2016 Los Angeles CA West - Drivers
873812            Regular       60.50   19.00 12/12/2016 Los Angeles CA West - Drivers
873812            Regular       42.00   19.00 12/19/2016 Los Angeles CA West - Drivers
873812            Regular       41.50   19.00 12/19/2016 Los Angeles CA West - Drivers
873812            Regular       40.00   19.00 01/02/2017 Los Angeles CA West - Drivers
873812            Regular       11.00   19.00 01/09/2017 Los Angeles CA West - Drivers
Total for 873812             3,376.50
2193132           Regular       38.50   18.00 02/13/2017 Sacramento CA - Drivers
2193132           Overtime      11.50   27.00 02/13/2017 Sacramento CA - Drivers
2193132           Regular       32.00   18.00 02/20/2017 Sacramento CA - Drivers
2193132           Overtime       9.75   27.00 02/20/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 02/27/2017 Sacramento CA - Drivers
2193132           Overtime      10.50   27.00 02/27/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 03/06/2017 Sacramento CA - Drivers
2193132           Overtime      12.50   27.00 03/06/2017 Sacramento CA - Drivers
2193132           Regular       32.00   18.00 03/13/2017 Sacramento CA - Drivers
2193132           Overtime       8.50   27.00 03/13/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 03/20/2017 Sacramento CA - Drivers
2193132           Overtime       8.75   27.00 03/20/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 03/27/2017 Sacramento CA - Drivers
2193132           Overtime      10.75   27.00 03/27/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 04/03/2017 Sacramento CA - Drivers
2193132           Overtime      11.50   27.00 04/03/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 04/10/2017 Sacramento CA - Drivers
2193132           Overtime       9.75   27.00 04/10/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 04/17/2017 Sacramento CA - Drivers
2193132           Overtime       8.00   27.00 04/17/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 04/24/2017 Sacramento CA - Drivers
2193132           Overtime       9.25   27.00 04/24/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 05/01/2017 Sacramento CA - Drivers
2193132           Overtime      12.50   27.00 05/01/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 05/08/2017 Sacramento CA - Drivers
2193132           Overtime      11.25   27.00 05/08/2017 Sacramento CA - Drivers
2193132           Regular       32.00   18.00 05/15/2017 Sacramento CA - Drivers
2193132           Overtime       8.00   27.00 05/15/2017 Sacramento CA - Drivers
2193132           Regular       31.00   18.00 05/22/2017 Sacramento CA - Drivers
2193132           Overtime       9.00   27.00 05/22/2017 Sacramento CA - Drivers
2193132           Regular       32.00   18.00 05/29/2017 Sacramento CA - Drivers
2193132           Overtime       5.75   27.00 05/29/2017 Sacramento CA - Drivers
2193132           Regular       36.00   18.00 05/29/2017 Sacramento CA - Drivers
2193132           Overtime       9.25   27.00 06/05/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 06/12/2017 Sacramento CA - Drivers
2193132           Overtime       5.25   27.00 06/12/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 06/19/2017 Sacramento CA - Drivers
2193132           Overtime       7.75   27.00 06/19/2017 Sacramento CA - Drivers
2193132           Regular       40.00   18.00 06/26/2017 Sacramento CA - Drivers
2193132           Overtime      12.75   27.00 06/26/2017 Sacramento CA - Drivers
2193132           Regular       32.00   18.00 07/03/2017 Sacramento CA - Drivers
2193132           Overtime      10.00   27.00 07/03/2017 Sacramento CA - Drivers
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                   Regular       32.00Document
                                         18.00 38-5    Filed Sacramento
                                                 07/10/2017  03/22/21 Page    625 of 691
                                                                        CA - Drivers       Page ID
2193132            Overtime       7.50   27.00 #:1398
                                                 07/10/2017 Sacramento CA - Drivers
Total for 2193132             1,027.25
929900             Regular       16.00   16.00 09/14/2015 Los Angeles CA East - Drivers
Total for 929900                 16.00
2566059            Regular        8.00   17.50 07/23/2018 Los Angeles CA East - Drivers
2566059            Regular       32.00   17.50 07/30/2018 Los Angeles CA East - Drivers
2566059            Overtime      14.50   26.25 07/30/2018 Los Angeles CA East - Drivers
2566059            Regular       12.00   17.50 08/06/2018 Los Angeles CA East - Drivers
2566059            Overtime       0.50   26.25 08/06/2018 Los Angeles CA East - Drivers
2566059            Regular       16.00   15.00 08/06/2018 Los Angeles CA East - Drivers
2566059            Regular       40.00   15.00 08/13/2018 Los Angeles CA East - Drivers
2566059            Overtime       0.35   22.50 08/13/2018 Los Angeles CA East - Drivers
2566059            Regular       33.90   15.00 08/20/2018 Los Angeles CA East - Drivers
2566059            Overtime       2.55   22.50 08/20/2018 Los Angeles CA East - Drivers
2566059            Regular       24.00   15.00 08/27/2018 Los Angeles CA East - Drivers
2566059            Overtime       1.69   22.50 08/27/2018 Los Angeles CA East - Drivers
Total for 2566059               185.49
1323736            Regular       22.50   20.00 05/09/2016 Los Angeles CA West - Drivers
1323736            Overtime       2.00   30.00 05/09/2016 Los Angeles CA West - Drivers
1323736            Regular       23.50   20.00 05/16/2016 Los Angeles CA West - Drivers
1323736            Overtime       2.00   30.00 05/16/2016 Los Angeles CA West - Drivers
1323736            Regular       31.50   20.00 05/23/2016 Los Angeles CA West - Drivers
1323736            Overtime       5.75   30.00 05/23/2016 Los Angeles CA West - Drivers
1323736            Regular       20.25   20.00 05/30/2016 Los Angeles CA West - Drivers
1323736            Overtime       2.25   30.00 05/30/2016 Los Angeles CA West - Drivers
1323736            Regular       24.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1323736            Overtime       3.50   30.00 06/06/2016 Los Angeles CA West - Drivers
1323736            Regular       39.00   20.00 06/13/2016 Los Angeles CA West - Drivers
1323736            Overtime       6.00   30.00 06/13/2016 Los Angeles CA West - Drivers
1323736            Regular       40.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1323736            Overtime       5.75   30.00 06/20/2016 Los Angeles CA West - Drivers
1323736            Regular       31.50   20.00 06/27/2016 Los Angeles CA West - Drivers
1323736            Overtime       4.00   30.00 06/27/2016 Los Angeles CA West - Drivers
1323736            Regular       22.00   19.00 02/27/2017 Los Angeles CA West - Drivers
1323736            Overtime       5.75   28.50 02/27/2017 Los Angeles CA West - Drivers
1323736            Regular        8.00   19.00 03/06/2017 Los Angeles CA West - Drivers
1323736            Overtime       2.50   28.50 03/06/2017 Los Angeles CA West - Drivers
1323736            Regular        8.00   20.00 10/29/2018 Los Angeles CA West - Drivers
1323736            Regular       36.00   19.00 07/10/2017 Los Angeles CA West - Drivers
1323736            Overtime       4.50   28.50 07/10/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 07/17/2017 Los Angeles CA West - Drivers
1323736            Overtime       1.50   28.50 07/17/2017 Los Angeles CA West - Drivers
1323736            Regular       39.50   19.00 07/24/2017 Los Angeles CA West - Drivers
1323736            Overtime       1.75   28.50 07/24/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 07/31/2017 Los Angeles CA West - Drivers
1323736            Overtime       1.25   28.50 07/31/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 08/07/2017 Los Angeles CA West - Drivers
1323736            Overtime      11.25   28.50 08/07/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 08/14/2017 Los Angeles CA West - Drivers
1323736            Overtime       3.25   28.50 08/14/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 08/21/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 08/28/2017 Los Angeles CA West - Drivers
1323736            Regular       24.00   19.00 09/04/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 09/11/2017 Los Angeles CA West - Drivers
1323736            Overtime       0.50   28.50 09/11/2017 Los Angeles CA West - Drivers
1323736            Regular       32.00   19.00 09/18/2017 Los Angeles CA West - Drivers
1323736            Overtime       1.00   28.50 09/18/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 09/25/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 10/02/2017 Los Angeles CA West - Drivers
1323736            Overtime       0.50   28.50 10/02/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 10/09/2017 Los Angeles CA West - Drivers
1323736            Overtime       0.75   28.50 10/09/2017 Los Angeles CA West - Drivers
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                     Regular      40.00Document
                                          19.00 38-5    Filed Los
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1323736              Regular      40.00   20.00 #:1399
                                                  10/23/2017 Los Angeles CA West - Drivers
1323736             Overtime        1.50    30.00   10/23/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.50    30.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        24.00    20.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        3.00    30.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.00    30.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   12/11/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.50    30.00   12/11/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   12/18/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.75    30.00   12/18/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   12/25/2017   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.50    30.00   12/25/2017   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   01/01/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   01/08/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   01/15/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   01/22/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   01/29/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        35.25    20.00   02/05/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   02/12/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   02/19/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.50    30.00   02/19/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.00   02/26/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   03/05/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   03/12/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   03/19/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.00    20.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.50    30.00   03/26/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   04/02/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.50    30.00   04/09/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.00   04/16/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        37.50    20.00   04/23/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.00   04/30/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        35.00    20.00   05/07/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        29.50    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        29.50    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        14.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.25    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.00    30.00   06/18/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        35.00    20.00   06/25/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        28.00    20.00   07/02/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        35.00    20.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.00    20.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.75    30.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        30.25    20.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        29.50    20.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        36.50    20.50   08/06/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.75   08/06/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        36.75    20.50   08/13/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.50    30.75   08/13/2018   Los   Angeles   CA   West   - Drivers
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                     Regular      40.00Document
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1323736              Overtime      2.25   30.75 #:1400
                                                  08/20/2018 Los Angeles CA West - Drivers
1323736             Regular        40.00    20.50   08/27/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        5.00    30.75   08/27/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.50   09/03/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.25    30.75   09/03/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.50   09/10/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.00    30.75   09/10/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.50   09/17/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.75    30.75   09/17/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.50   09/24/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        4.75    30.75   09/24/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.50   10/01/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        5.00    30.75   10/01/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.50   10/08/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        4.25    30.75   10/08/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        35.50    20.50   10/15/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.50    30.75   10/15/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        22.25    20.50   10/22/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.75   10/22/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        33.00    20.50   10/29/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.00    30.75   10/29/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        31.50    20.50   11/05/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.75   11/05/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        21.50    20.50   11/19/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        31.25    20.50   11/26/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        4.00    30.75   11/26/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        30.75    20.50   12/03/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.00    30.75   12/03/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        31.50    20.50   12/10/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.25    30.75   12/10/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.50   12/17/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        4.25    30.75   12/17/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        28.50    20.50   12/24/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        3.50    30.75   12/24/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        30.00    20.50   12/31/2018   Los   Angeles   CA   West   - Drivers
1323736             Overtime        4.00    30.75   12/31/2018   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    20.50   01/07/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        5.00    30.75   01/07/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        32.00    20.50   01/14/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.25    30.75   01/14/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.75    21.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.25    31.50   01/21/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    21.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        0.50    31.50   01/28/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        39.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        17.50    21.00   02/11/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        24.00    21.00   02/18/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.00    31.50   02/18/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        37.50    21.00   02/25/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.25    31.50   02/25/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.00    21.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        6.75    31.50   03/04/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        22.00    21.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.00    31.50   03/11/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.50    21.00   03/18/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        2.50    31.50   03/18/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        40.00    21.00   03/25/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        3.75    31.50   03/25/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        37.50    21.00   04/01/2019   Los   Angeles   CA   West   - Drivers
1323736             Overtime        1.00    31.50   04/01/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        26.75    21.00   04/08/2019   Los   Angeles   CA   West   - Drivers
1323736             Regular        38.25    21.00   04/15/2019   Los   Angeles   CA   West   - Drivers
1323736 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.00Document
                                         31.50 38-5    Filed Los
                                                 04/15/2019  03/22/21
                                                                 AngelesPage 628- Drivers
                                                                        CA West   of 691    Page ID
1323736            Regular       38.75   21.00 #:1401
                                                 04/22/2019 Los Angeles CA West - Drivers
1323736            Overtime       0.50   31.50 04/22/2019 Los Angeles CA West - Drivers
1323736            Regular       40.00   21.00 04/29/2019 Los Angeles CA West - Drivers
1323736            Overtime       6.50   31.50 04/29/2019 Los Angeles CA West - Drivers
1323736            Regular       38.25   21.00 05/06/2019 Los Angeles CA West - Drivers
1323736            Overtime       2.25   31.50 05/06/2019 Los Angeles CA West - Drivers
1323736            Regular       30.25   21.00 05/13/2019 Los Angeles CA West - Drivers
1323736            Overtime       0.50   31.50 05/13/2019 Los Angeles CA West - Drivers
1323736            Regular       40.00   21.00 05/20/2019 Los Angeles CA West - Drivers
1323736            Overtime       2.75   31.50 05/20/2019 Los Angeles CA West - Drivers
1323736            Regular       24.00   21.00 06/03/2019 Los Angeles CA West - Drivers
1323736            Overtime       1.50   31.50 06/03/2019 Los Angeles CA West - Drivers
1323736            Regular       35.25   21.00 06/10/2019 Los Angeles CA West - Drivers
1323736            Overtime       0.75   31.50 06/10/2019 Los Angeles CA West - Drivers
1323736            Regular       37.50   21.00 06/17/2019 Los Angeles CA West - Drivers
1323736            Overtime       1.50   31.50 06/17/2019 Los Angeles CA West - Drivers
1323736            Regular       36.25   21.00 06/24/2019 Los Angeles CA West - Drivers
1323736            Overtime       4.25   31.50 06/24/2019 Los Angeles CA West - Drivers
1323736            Regular       19.75   21.00 07/01/2019 Los Angeles CA West - Drivers
1323736            Regular       40.00   21.00 07/08/2019 Los Angeles CA West - Drivers
1323736            Overtime       2.50   31.50 07/08/2019 Los Angeles CA West - Drivers
1323736            Regular       30.25   21.50 07/15/2019 Los Angeles CA West - Drivers
1323736            Overtime       0.75   32.25 07/15/2019 Los Angeles CA West - Drivers
1323736            Regular       37.25   21.50 07/22/2019 Los Angeles CA West - Drivers
1323736            Overtime       3.25   32.25 07/22/2019 Los Angeles CA West - Drivers
1323736            Regular       37.50   21.50 07/29/2019 Los Angeles CA West - Drivers
1323736            Overtime       2.00   32.25 07/29/2019 Los Angeles CA West - Drivers
1323736            Regular       40.00   21.50 08/05/2019 Los Angeles CA West - Drivers
1323736            Overtime       3.50   32.25 08/05/2019 Los Angeles CA West - Drivers
1323736            Regular       32.00   21.50 08/12/2019 Los Angeles CA West - Drivers
1323736            Overtime       1.25   32.25 08/12/2019 Los Angeles CA West - Drivers
1323736            Regular       36.75   21.50 08/19/2019 Los Angeles CA West - Drivers
1323736            Overtime       1.75   32.25 08/19/2019 Los Angeles CA West - Drivers
1323736            Regular       39.75   21.50 08/26/2019 Los Angeles CA West - Drivers
1323736            Overtime       1.25   32.25 08/26/2019 Los Angeles CA West - Drivers
1323736            Regular       30.50   21.50 09/02/2019 Los Angeles CA West - Drivers
1323736            Overtime       2.75   32.25 09/02/2019 Los Angeles CA West - Drivers
1323736            Regular       32.00   19.00 03/06/2017 Los Angeles CA West - Drivers
1323736            Overtime       5.25   28.50 03/06/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 03/13/2017 Los Angeles CA West - Drivers
1323736            Overtime      10.75   28.50 03/13/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 03/20/2017 Los Angeles CA West - Drivers
1323736            Overtime       6.25   28.50 03/20/2017 Los Angeles CA West - Drivers
1323736            Regular       40.00   19.00 03/27/2017 Los Angeles CA West - Drivers
1323736            Overtime       7.00   28.50 03/27/2017 Los Angeles CA West - Drivers
1323736            Regular        8.00   19.00 04/03/2017 Los Angeles CA West - Drivers
1323736            Overtime       2.25   28.50 04/03/2017 Los Angeles CA West - Drivers
1323736            Regular       12.00   19.00 06/26/2017 Los Angeles CA West - Drivers
1323736            Regular       22.50   19.00 07/03/2017 Los Angeles CA West - Drivers
Total for 1323736             4,601.75
1315877            Regular       16.00   16.00 05/02/2016 Los Angeles CA West - Drivers
1315877            Overtime       5.25   24.00 05/02/2016 Los Angeles CA West - Drivers
1315877            Regular       16.00   16.00 05/09/2016 Los Angeles CA West - Drivers
1315877            Overtime       2.50   24.00 05/09/2016 Los Angeles CA West - Drivers
Total for 1315877                39.75
924941             Regular       16.00   18.00 10/26/2015 Los Angeles CA East - Drivers
924941             Overtime       1.00   27.00 10/26/2015 Los Angeles CA East - Drivers
924941             Regular       16.00   18.00 11/02/2015 Los Angeles CA East - Drivers
924941             Overtime       1.00   27.00 11/02/2015 Los Angeles CA East - Drivers
924941             Regular       16.00   18.00 11/23/2015 Los Angeles CA East - Drivers
924941             Regular        8.00   18.00 11/30/2015 Los Angeles CA East - Drivers
924941             Regular       14.25   18.00 02/08/2016 Los Angeles CA East - Drivers
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                  Regular      16.00Document
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                                                               AngelesPage 629
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
924941            Overtime       5.00  24.00 #:1402
                                               10/19/2015 Los Angeles CA East - Drivers
924941            Regular      16.00   16.00 11/02/2015 Los Angeles CA East - Drivers
924941            Overtime       3.00  24.00 11/02/2015 Los Angeles CA East - Drivers
924941            Regular        8.00  16.00 10/26/2015 Los Angeles CA East - Drivers
924941            Overtime       2.50  24.00 10/19/2015 Los Angeles CA East - Drivers
924941            Regular      38.00   16.00 10/26/2015 Los Angeles CA East - Drivers
924941            Regular      47.50   16.00 11/02/2015 Los Angeles CA East - Drivers
924941            Overtime       9.50  24.00 11/02/2015 Los Angeles CA East - Drivers
924941            Regular      40.00   16.00 11/09/2015 Los Angeles CA East - Drivers
924941            Overtime       3.00  24.00 11/09/2015 Los Angeles CA East - Drivers
924941            Regular      40.00   16.00 11/16/2015 Los Angeles CA East - Drivers
924941            Overtime     10.00   24.00 11/16/2015 Los Angeles CA East - Drivers
924941            Regular      24.00   16.00 11/23/2015 Los Angeles CA East - Drivers
924941            Overtime       4.50  24.00 11/23/2015 Los Angeles CA East - Drivers
924941            Regular      24.50   16.00 11/02/2015 Los Angeles CA East - Drivers
924941            Overtime       4.00  24.00 11/02/2015 Los Angeles CA East - Drivers
924941            Regular      40.00   18.00 12/07/2015 Los Angeles CA East - Drivers
924941            Overtime     13.00   27.00 12/07/2015 Los Angeles CA East - Drivers
924941            Regular      40.00   18.00 12/14/2015 Los Angeles CA East - Drivers
924941            Overtime       4.00  27.00 12/14/2015 Los Angeles CA East - Drivers
924941            Regular      32.00   18.00 12/21/2015 Los Angeles CA East - Drivers
924941            Overtime       4.50  27.00 12/21/2015 Los Angeles CA East - Drivers
924941            Regular      63.50   18.00 12/21/2015 Los Angeles CA East - Drivers
924941            Overtime       6.00  27.00 12/21/2015 Los Angeles CA East - Drivers
924941            Regular      40.00   18.00 01/04/2016 Los Angeles CA East - Drivers
924941            Overtime       1.00  27.00 12/28/2015 Los Angeles CA East - Drivers
924941            Regular        8.50  18.00 12/21/2015 Los Angeles CA East - Drivers
924941            Overtime      -4.00  27.00 12/21/2015 Los Angeles CA East - Drivers
924941            Regular        8.00  16.00 02/01/2016 Los Angeles CA East - Drivers
924941            Overtime       1.50  24.00 02/01/2016 Los Angeles CA East - Drivers
924941            Regular        4.00  16.00 02/01/2016 Los Angeles CA East - Drivers
Total for 924941              629.75
1325831           Regular      16.00   16.50 05/23/2016 Los Angeles CA West - Drivers
1325831           Overtime       4.00  24.75 05/23/2016 Los Angeles CA West - Drivers
1325831           Regular      40.00   16.50 05/30/2016 Los Angeles CA West - Drivers
1325831           Overtime     18.75   24.75 05/30/2016 Los Angeles CA West - Drivers
1325831           Regular      16.00   16.50 06/06/2016 Los Angeles CA West - Drivers
1325831           Overtime       6.00  24.75 06/06/2016 Los Angeles CA West - Drivers
Total for 1325831             100.75
1395468           Regular        8.00  38.17 08/29/2016 Los Angeles CA West - Drivers
1395468           Overtime       3.75  57.26 08/29/2016 Los Angeles CA West - Drivers
Total for 1395468              11.75
1347960           Regular      13.50   20.98 11/27/2017 Los Angeles CA East - Drivers
1347960           Regular      61.50   20.98 12/04/2017 Los Angeles CA East - Drivers
1347960           Regular      43.75   20.98 12/11/2017 Los Angeles CA East - Drivers
1347960           Regular      47.50   20.98 12/18/2017 Los Angeles CA East - Drivers
1347960           Regular      38.50   20.98 12/25/2017 Los Angeles CA East - Drivers
1347960           Regular      17.50   20.98 01/01/2018 Los Angeles CA East - Drivers
1347960           Regular      16.00   21.00 01/29/2018 Los Angeles CA East - Drivers
1347960           Regular        5.50  20.75 01/29/2018 Los Angeles CA East - Drivers
Total for 1347960             243.75
1443484           Regular        7.00  21.50 12/12/2016 Los Angeles CA East - Drivers
1443484           Regular      32.00   21.50 12/19/2016 Los Angeles CA East - Drivers
1443484           Overtime     11.00   32.25 12/19/2016 Los Angeles CA East - Drivers
1443484           Regular      32.00   21.50 12/26/2016 Los Angeles CA East - Drivers
1443484           Overtime     11.00   32.25 12/26/2016 Los Angeles CA East - Drivers
1443484           Regular      32.00   21.50 01/02/2017 Los Angeles CA East - Drivers
1443484           Overtime       9.50  32.25 01/02/2017 Los Angeles CA East - Drivers
1443484           Regular      39.50   21.50 01/09/2017 Los Angeles CA East - Drivers
1443484           Overtime       7.00  32.25 01/09/2017 Los Angeles CA East - Drivers
1443484           Regular      22.00   21.50 01/16/2017 Los Angeles CA East - Drivers
1443484           Regular      38.00   21.50 01/23/2017 Los Angeles CA East - Drivers
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                     Overtime      5.00Document
                                          32.25 38-5    Filed Los
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                                                                                 - Drivers
1443484              Regular      31.00   21.50 #:1403
                                                  01/30/2017 Los Angeles CA East - Drivers
1443484              Overtime        0.50    32.25   01/30/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        29.50    21.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        1.00    32.25   02/06/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        22.00    21.50   02/13/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        1.00    32.25   02/13/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        29.50    21.50   02/20/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        1.50    32.25   02/20/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        14.00    21.50   02/27/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        13.00    21.50   03/06/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    21.50   03/13/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular         8.00    21.50   03/20/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    21.50   03/27/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        8.50    32.25   03/20/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular         8.00    21.50   04/10/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        1.00    32.25   04/10/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    21.50   04/17/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        5.00    32.25   04/17/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    21.50   04/24/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        1.00    32.25   04/24/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        24.00    21.50   05/01/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        6.50    32.25   05/01/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    21.50   05/08/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        6.00    32.25   05/08/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        39.00    22.50   05/15/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        9.00    35.25   05/15/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    23.50   05/22/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        3.50    35.25   05/22/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        16.00    23.50   05/29/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        9.50    35.25   05/29/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        24.00    23.50   06/05/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        4.50    35.25   06/05/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        15.00    23.50   06/12/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        0.50    35.25   06/12/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        36.50    22.50   06/19/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        30.00    23.50   06/26/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        4.50    35.25   06/26/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        15.50    23.50   07/03/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        1.00    35.25   07/03/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        28.00    23.50   07/17/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        6.50    35.25   07/17/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        32.00    23.50   07/24/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        4.00    35.25   07/24/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        36.00    23.50   07/31/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime       10.00    35.25   07/31/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        32.00    23.50   08/07/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime       11.00    35.25   08/07/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        28.00    23.50   08/14/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        0.50    35.25   08/14/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        36.50    23.50   08/21/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        6.50    35.25   08/21/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        32.00    23.50   08/28/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        9.00    35.25   08/28/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        30.00    23.50   09/04/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        2.50    35.25   09/04/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        37.50    23.50   09/11/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime        4.00    35.25   09/11/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        38.00    23.50   09/18/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime       11.00    35.25   09/18/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        40.00    23.50   09/25/2017   Los   Angeles   CA   East   - Drivers
1443484              Overtime       16.00    35.25   09/25/2017   Los   Angeles   CA   East   - Drivers
1443484              Regular        38.00    23.50   10/02/2017   Los   Angeles   CA   East   - Drivers
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                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1443484            Regular       32.00   23.50 #:1404
                                                 10/09/2017 Los Angeles CA East - Drivers
1443484            Overtime      10.00   35.25 10/09/2017 Los Angeles CA East - Drivers
1443484            Regular       22.00   23.50 10/16/2017 Los Angeles CA East - Drivers
1443484            Overtime       3.00   35.25 10/16/2017 Los Angeles CA East - Drivers
1443484            Regular       38.00   23.50 10/23/2017 Los Angeles CA East - Drivers
1443484            Overtime       7.50   35.25 10/23/2017 Los Angeles CA East - Drivers
1443484            Regular       40.00   23.50 10/30/2017 Los Angeles CA East - Drivers
1443484            Overtime      10.00   35.25 10/30/2017 Los Angeles CA East - Drivers
1443484            Regular       38.00   23.50 11/06/2017 Los Angeles CA East - Drivers
1443484            Overtime       7.00   35.25 11/06/2017 Los Angeles CA East - Drivers
1443484            Regular       38.00   23.50 11/13/2017 Los Angeles CA East - Drivers
1443484            Overtime      10.50   35.25 11/13/2017 Los Angeles CA East - Drivers
1443484            Regular       40.00   23.50 11/20/2017 Los Angeles CA East - Drivers
1443484            Overtime      11.00   35.25 11/20/2017 Los Angeles CA East - Drivers
1443484            Regular       40.00   23.50 11/27/2017 Los Angeles CA East - Drivers
1443484            Overtime      13.00   35.25 11/27/2017 Los Angeles CA East - Drivers
1443484            Regular       39.00   23.50 12/04/2017 Los Angeles CA East - Drivers
1443484            Overtime      12.00   35.25 12/04/2017 Los Angeles CA East - Drivers
1443484            Regular       32.00   23.50 12/11/2017 Los Angeles CA East - Drivers
1443484            Overtime      12.00   35.25 12/11/2017 Los Angeles CA East - Drivers
1443484            Regular       40.00   23.50 12/18/2017 Los Angeles CA East - Drivers
1443484            Overtime      10.50   35.25 12/18/2017 Los Angeles CA East - Drivers
1443484            Regular       24.00   23.50 12/25/2017 Los Angeles CA East - Drivers
1443484            Overtime       6.00   35.25 12/25/2017 Los Angeles CA East - Drivers
1443484            Regular       14.50   23.50 01/01/2018 Los Angeles CA East - Drivers
1443484            Overtime       3.00   35.25 01/01/2018 Los Angeles CA East - Drivers
1443484            Regular       32.00   23.50 01/08/2018 Los Angeles CA East - Drivers
1443484            Overtime       6.50   35.25 01/08/2018 Los Angeles CA East - Drivers
1443484            Regular       31.00   23.50 01/15/2018 Los Angeles CA East - Drivers
1443484            Overtime       4.50   35.25 01/15/2018 Los Angeles CA East - Drivers
1443484            Regular       38.00   23.50 01/22/2018 Los Angeles CA East - Drivers
1443484            Overtime       6.50   35.25 01/22/2018 Los Angeles CA East - Drivers
1443484            Regular       23.00   20.92 03/13/2017 Los Angeles CA East - Drivers
1443484            Regular       58.50   20.92 03/20/2017 Los Angeles CA East - Drivers
1443484            Regular        6.25   20.92 03/27/2017 Los Angeles CA East - Drivers
1443484            Regular       56.00   20.92 04/03/2017 Los Angeles CA East - Drivers
1443484            Regular       31.50   20.92 04/10/2017 Los Angeles CA East - Drivers
1443484            Regular       23.00   20.92 04/17/2017 Los Angeles CA East - Drivers
1443484            Regular       34.50   20.92 04/24/2017 Los Angeles CA East - Drivers
1443484            Regular       11.50   20.92 05/01/2017 Los Angeles CA East - Drivers
1443484            Regular       57.50   20.92 05/08/2017 Los Angeles CA East - Drivers
1443484            Regular       11.50   20.92 05/15/2017 Los Angeles CA East - Drivers
1443484            Regular       24.00   20.92 05/22/2017 Los Angeles CA East - Drivers
1443484            Regular       23.00   20.92 05/29/2017 Los Angeles CA East - Drivers
1443484            Regular        8.00   21.85 06/05/2017 Los Angeles CA East - Drivers
1443484            Regular       10.50   20.92 06/12/2017 Los Angeles CA East - Drivers
Total for 1443484             2,305.75
922185             Regular       40.00   17.00 08/03/2015 Los Angeles CA West - Drivers
922185             Overtime      35.50   25.50 08/03/2015 Los Angeles CA West - Drivers
922185             Regular       40.00   17.00 08/10/2015 Los Angeles CA West - Drivers
922185             Overtime      22.50   25.50 08/10/2015 Los Angeles CA West - Drivers
922185             Regular       40.00   17.00 08/17/2015 Los Angeles CA West - Drivers
922185             Overtime      32.50   25.50 08/17/2015 Los Angeles CA West - Drivers
922185             Regular       40.00   19.00 08/24/2015 Los Angeles CA West - Drivers
922185             Overtime      26.25   28.50 08/24/2015 Los Angeles CA West - Drivers
922185             Regular       40.00   19.00 08/31/2015 Los Angeles CA West - Drivers
922185             Overtime      28.75   28.50 08/31/2015 Los Angeles CA West - Drivers
922185             Regular       27.00   19.00 09/07/2015 Los Angeles CA West - Drivers
922185             Overtime      12.25   28.50 08/31/2015 Los Angeles CA West - Drivers
922185             Regular       48.00   19.00 08/24/2015 Los Angeles CA West - Drivers
922185             Overtime      16.50   28.50 08/24/2015 Los Angeles CA West - Drivers
922185             Regular       32.00   19.00 09/14/2015 Los Angeles CA West - Drivers
922185   Case 2:19-cv-08580-JFW-MAA
                    Overtime     27.25Document
                                         28.50 38-5    Filed Los
                                                 09/14/2015  03/22/21
                                                                 AngelesPage 632- Drivers
                                                                        CA West   of 691 Page ID
922185              Regular      40.00   19.00 #:1405
                                                 09/28/2015 Los Angeles CA West - Drivers
922185              Overtime       14.00    28.50   09/28/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   10/05/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       15.75    28.50   10/05/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   10/12/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       14.00    28.50   10/12/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   10/19/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       23.75    28.50   10/19/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        39.50    19.00   10/26/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       17.25    28.50   10/26/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   11/02/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       11.00    28.50   11/02/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   11/09/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       18.25    28.50   11/09/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   11/16/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime        9.75    28.50   11/16/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.00   11/23/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime        9.50    28.50   11/23/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime       25.00    28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        38.50    19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime        8.00    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   12/14/2015   Los   Angeles   CA   West   - Drivers
922185              Overtime        9.75    28.50   12/14/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       12.00    28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       23.00    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
922185              Regular        38.25    19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        7.25    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       12.00    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        8.00    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        9.50    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        9.00    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        37.25    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        8.25    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        24.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       10.00    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        5.25    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        63.50    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       12.50    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        8.75    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        5.75    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        24.00    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        5.25    28.50   04/18/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        16.00    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        6.25    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        22.25    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        2.75    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       10.00    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        32.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime        9.00    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
922185              Regular        40.00    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
922185              Overtime       12.75    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
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                  Regular       32.00Document
                                        19.25 38-5    Filed Los
                                                05/30/2016  03/22/21
                                                                AngelesPage 633- Drivers
                                                                       CA West   of 691    Page ID
922185            Overtime       8.00   28.88 #:1406
                                                05/30/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 06/06/2016 Los Angeles CA West - Drivers
922185            Overtime       9.75   28.88 06/06/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 06/13/2016 Los Angeles CA West - Drivers
922185            Overtime      23.00   28.88 06/13/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 06/20/2016 Los Angeles CA West - Drivers
922185            Overtime      16.50   28.88 06/20/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 06/27/2016 Los Angeles CA West - Drivers
922185            Overtime      11.00   28.88 06/27/2016 Los Angeles CA West - Drivers
922185            Regular       24.00   19.25 07/04/2016 Los Angeles CA West - Drivers
922185            Overtime       7.00   28.88 07/04/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 07/11/2016 Los Angeles CA West - Drivers
922185            Overtime      11.25   28.88 07/11/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 07/18/2016 Los Angeles CA West - Drivers
922185            Overtime      11.00   28.88 07/18/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 07/25/2016 Los Angeles CA West - Drivers
922185            Overtime      11.50   28.88 07/25/2016 Los Angeles CA West - Drivers
922185            Regular       33.00   19.25 08/01/2016 Los Angeles CA West - Drivers
922185            Overtime       7.00   28.88 08/01/2016 Los Angeles CA West - Drivers
922185            Regular       32.00   19.25 08/08/2016 Los Angeles CA West - Drivers
922185            Overtime       9.25   28.88 08/08/2016 Los Angeles CA West - Drivers
922185            Regular       24.00   19.25 08/15/2016 Los Angeles CA West - Drivers
922185            Overtime       5.75   28.88 08/15/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 08/22/2016 Los Angeles CA West - Drivers
922185            Overtime      11.25   28.88 08/22/2016 Los Angeles CA West - Drivers
922185            Regular       32.00   19.25 08/29/2016 Los Angeles CA West - Drivers
922185            Overtime       9.75   28.88 08/29/2016 Los Angeles CA West - Drivers
922185            Regular       24.00   19.25 09/05/2016 Los Angeles CA West - Drivers
922185            Overtime       6.75   28.88 09/05/2016 Los Angeles CA West - Drivers
922185            Regular       32.00   19.25 09/12/2016 Los Angeles CA West - Drivers
922185            Overtime       7.50   28.88 09/12/2016 Los Angeles CA West - Drivers
922185            Regular       40.00   19.25 09/19/2016 Los Angeles CA West - Drivers
922185            Overtime      12.00   28.88 09/19/2016 Los Angeles CA West - Drivers
922185            Regular       21.75   19.25 09/26/2016 Los Angeles CA West - Drivers
922185            Overtime       3.25   28.88 09/26/2016 Los Angeles CA West - Drivers
Total for 922185             2,785.25
2688664           Regular       24.00   20.00 01/28/2019 Sacramento CA - Drivers
2688664           Overtime       4.25   30.00 01/28/2019 Sacramento CA - Drivers
2688664           Regular       24.00   20.00 02/04/2019 Sacramento CA - Drivers
2688664           Overtime       0.75   30.00 02/04/2019 Sacramento CA - Drivers
Total for 2688664               53.00
863942            Regular       40.00   15.00 12/05/2016 Los Angeles CA West - Drivers
863942            Regular       40.00   15.00 12/12/2016 Los Angeles CA West - Drivers
863942            Overtime       8.00   22.50 12/12/2016 Los Angeles CA West - Drivers
863942            Regular       40.00   15.00 12/19/2016 Los Angeles CA West - Drivers
863942            Overtime       8.00   22.50 12/19/2016 Los Angeles CA West - Drivers
863942            Regular       40.00   15.00 12/26/2016 Los Angeles CA West - Drivers
863942            Regular       32.00   15.00 01/02/2017 Los Angeles CA West - Drivers
863942            Regular       40.00   15.00 01/09/2017 Los Angeles CA West - Drivers
863942            Regular       32.00   15.00 01/16/2017 Los Angeles CA West - Drivers
Total for 863942               280.00
1306093           Regular        8.00   19.00 04/18/2016 Los Angeles CA East - Drivers
1306093           Overtime       0.50   28.50 04/18/2016 Los Angeles CA East - Drivers
1306093           Regular        8.00   18.00 04/25/2016 Los Angeles CA East - Drivers
1306093           Overtime       2.50   27.00 04/25/2016 Los Angeles CA East - Drivers
1306093           Regular        8.00   17.00 04/18/2016 Los Angeles CA East - Drivers
Total for 1306093               27.00
1404561           Regular        8.00   19.00 08/07/2017 Los Angeles CA East - Drivers
1404561           Overtime       4.00   28.50 08/07/2017 Los Angeles CA East - Drivers
1404561           Regular        8.00   19.50 07/31/2017 Los Angeles CA East - Drivers
1404561           Overtime       1.75   29.25 07/31/2017 Los Angeles CA East - Drivers
Total for 1404561               21.75
750321   Case 2:19-cv-08580-JFW-MAA
                    Regular      24.00Document
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
750321              Overtime      0.50   33.00 #:1407
                                                 05/13/2019 Los Angeles CA East - Drivers
750321              Regular        40.00    22.00   05/20/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        2.00    33.00   05/20/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    22.00   05/27/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.00    33.00   05/27/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   06/03/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.75    33.00   06/03/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    22.00   06/10/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.50    33.00   06/10/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   06/17/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       10.50    33.00   06/17/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   06/24/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.00    33.00   06/24/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    22.00   07/01/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        3.50    33.00   07/01/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        36.00    22.00   07/08/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        8.25    33.00   07/08/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   07/15/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.75    33.00   07/15/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   07/30/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        3.75    30.00   07/30/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/06/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        4.75    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/13/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        2.50    30.00   08/13/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/20/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        4.50    30.00   08/20/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/27/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        4.75    30.00   08/27/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   09/03/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/10/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        7.50    30.00   09/10/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/17/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/24/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   09/24/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/01/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.75    30.00   10/01/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/08/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       14.00    30.00   10/08/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/15/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        2.50    30.00   10/15/2018   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    20.00   10/22/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        24.00    21.00   03/18/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.00    31.50   03/18/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   03/25/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.00    31.50   03/25/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   04/01/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       14.50    31.50   04/01/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   04/08/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       19.00    31.50   04/08/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   04/15/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.50    31.50   04/15/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   04/22/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.75    31.50   04/22/2019   Los   Angeles   CA   East   - Drivers
750321              Regular         4.00    21.00   04/29/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    28.00   07/22/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        8.00    42.00   07/22/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        24.00    28.00   07/29/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        2.50    42.00   07/29/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    28.00   08/05/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    42.00   08/05/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    28.00   08/12/2019   Los   Angeles   CA   East   - Drivers
750321   Case 2:19-cv-08580-JFW-MAA
                    Overtime     20.00Document
                                         42.00 38-5    Filed Los
                                                 08/12/2019  03/22/21
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
750321              Regular      40.00   28.00 #:1408
                                                 08/19/2019 Los Angeles CA East - Drivers
750321              Overtime       17.50    42.00   08/19/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    28.00   08/26/2019   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    21.00   06/25/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   10/22/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       17.00    33.00   10/22/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   10/29/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       20.00    33.00   10/29/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   11/05/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       25.00    33.00   11/05/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   11/12/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       31.00    33.00   11/12/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   11/19/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.75    33.00   11/19/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   11/26/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       17.50    33.00   11/26/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   12/03/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       25.50    33.00   12/03/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   12/10/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       20.00    33.00   12/10/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    22.00   12/17/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.25    33.00   12/17/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        4.50    33.00   12/24/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    22.00   12/31/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.50    33.00   12/31/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   01/07/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.50    33.00   01/07/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   01/14/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       29.50    33.00   01/14/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    22.00   01/21/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       18.50    33.00   01/21/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    22.00   01/28/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.00    33.00   01/28/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        20.00    17.00   10/26/2015   Los   Angeles   CA   East   - Drivers
750321              Overtime        2.00    25.50   10/26/2015   Los   Angeles   CA   East   - Drivers
750321              Regular        21.50    21.50   09/02/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        2.75    32.25   09/02/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        45.75    21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        1.25    31.50   02/04/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        47.50    21.00   02/11/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        1.50    31.50   02/11/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        47.50    21.00   02/18/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        4.25    31.50   02/18/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        47.00    21.00   02/25/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        4.25    31.50   02/25/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        50.00    21.00   03/04/2019   Los   Angeles   CA   East   - Drivers
750321              Overtime        3.00    31.50   03/04/2019   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    21.00   03/11/2019   Los   Angeles   CA   East   - Drivers
750321              Regular         4.00    21.00   01/08/2018   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    21.00   01/22/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        0.50    31.50   01/22/2018   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    19.00   06/05/2017   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    20.75   01/08/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        3.50    31.13   01/08/2018   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    20.00   08/29/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime        1.00    30.00   08/29/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   09/05/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime        6.50    30.00   09/05/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/12/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.00    30.00   09/12/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/19/2016   Los   Angeles   CA   East   - Drivers
750321   Case 2:19-cv-08580-JFW-MAA
                    Overtime     21.25Document
                                         30.00 38-5    Filed Los
                                                 09/19/2016  03/22/21
                                                                 AngelesPage 636
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
750321              Regular      40.00   20.00 #:1409
                                                 09/26/2016 Los Angeles CA East - Drivers
750321              Overtime       12.75    30.00   09/26/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/03/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       23.75    30.00   10/03/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/10/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       20.50    30.00   10/10/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/17/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       20.50    30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/24/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       28.00    30.00   10/17/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/31/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       29.00    30.00   10/31/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/07/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   11/07/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/14/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       24.00    30.00   11/14/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   11/21/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       26.75    30.00   11/21/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/28/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.50    30.00   11/28/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   12/05/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.00    30.00   12/05/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   12/12/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       26.00    30.00   12/12/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   12/19/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime        8.00    30.00   12/19/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   12/26/2016   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.25    30.00   12/26/2016   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   01/02/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.75    30.00   01/02/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   01/09/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.50    30.00   01/09/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   01/16/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.50    30.00   01/16/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   01/23/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.00    30.00   01/23/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        37.00    20.00   01/30/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.50    30.00   01/30/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/06/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.00    30.00   02/06/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/13/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   02/13/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/20/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.50    30.00   02/20/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/27/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       25.00    30.00   02/27/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/06/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.00    30.00   03/06/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/13/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.50    30.00   03/13/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/20/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       24.00    30.00   03/20/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/27/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.50    30.00   03/27/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/03/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       18.50    30.00   04/03/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        24.00    20.00   04/10/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.00    30.00   04/10/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/17/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       17.00    30.00   04/17/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/24/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       14.50    30.00   04/24/2017   Los   Angeles   CA   East   - Drivers
750321   Case 2:19-cv-08580-JFW-MAA
                    Regular      40.00Document
                                         20.00 38-5    Filed Los
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                                                                 AngelesPage 637
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
750321              Overtime      9.50   30.00 #:1410
                                                 05/01/2017 Los Angeles CA East - Drivers
750321              Regular        40.00    20.00   05/08/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       18.00    30.00   05/08/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   05/15/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.75    30.00   05/15/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   05/22/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       17.00    30.00   05/22/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        37.00    20.00   05/29/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       14.50    30.00   05/29/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        16.00    20.00   06/05/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime        5.00    30.00   06/05/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        19.00    20.00   05/29/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.00    30.00   05/29/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   06/19/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.00    30.00   06/19/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   06/26/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.00    30.00   06/26/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   07/03/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.00    30.00   07/03/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   07/10/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.75    30.00   07/10/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   07/17/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.00    30.00   07/17/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   07/24/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.50    30.00   07/24/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   07/31/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   07/31/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/07/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime        7.50    30.00   08/07/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   08/14/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       10.25    30.00   08/14/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/21/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   08/21/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   08/28/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.50    30.00   08/28/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   09/04/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.00    30.00   09/04/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/11/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.50    30.00   09/11/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/18/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.25    30.00   09/18/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   09/25/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.75    30.00   09/25/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/02/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       24.25    30.00   10/02/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/09/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   10/09/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/16/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       10.00    30.00   10/16/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   10/23/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.75    30.00   10/23/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   10/30/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       17.00    30.00   10/30/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/06/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.25    30.00   11/06/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/13/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.50    30.00   11/13/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/20/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.00    30.00   11/20/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.75    30.00   11/27/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   12/04/2017   Los   Angeles   CA   East   - Drivers
750321   Case 2:19-cv-08580-JFW-MAA
                    Overtime     14.50Document
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                                                 12/04/2017  03/22/21
                                                                 AngelesPage 638
                                                                        CA East    of 691 Page ID
                                                                                - Drivers
750321              Regular      40.00   20.00 #:1411
                                                 12/11/2017 Los Angeles CA East - Drivers
750321              Overtime       17.00    30.00   12/11/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   12/18/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.50    30.00   12/18/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   12/25/2017   Los   Angeles   CA   East   - Drivers
750321              Overtime        7.00    30.00   12/25/2017   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   01/01/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        5.25    30.00   01/01/2018   Los   Angeles   CA   East   - Drivers
750321              Regular         8.00    20.00   01/08/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        0.50    30.00   01/08/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        16.00    20.00   01/15/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        5.50    30.00   01/15/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        16.00    20.00   01/22/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        6.00    30.00   01/22/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        24.00    20.00   01/29/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        7.50    30.00   01/29/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/05/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.50    30.00   02/05/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/12/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        9.00    30.00   02/12/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/19/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        6.50    30.00   02/19/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   02/26/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       10.50    30.00   02/26/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/05/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.00    30.00   03/05/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/12/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.00    30.00   03/12/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/19/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.00    30.00   03/19/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   03/26/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       16.00    30.00   03/26/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/02/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.00    30.00   04/02/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    20.00   04/09/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.00    30.00   04/09/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/16/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       11.75    30.00   04/16/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/23/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        8.00    30.00   04/23/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    20.00   04/30/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        7.75    30.00   04/30/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    21.00   05/07/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       10.50    31.50   05/07/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   05/14/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       13.75    31.50   05/14/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   05/21/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       15.50    31.50   05/21/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    21.00   05/28/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime       12.25    31.50   05/28/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    21.00   06/04/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        5.00    31.50   06/04/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   06/11/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   06/18/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        3.50    31.50   06/18/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   06/25/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        3.25    31.50   06/25/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        32.00    21.00   07/02/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        1.00    31.50   07/02/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   07/09/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime        0.50    31.50   07/09/2018   Los   Angeles   CA   East   - Drivers
750321              Regular        40.00    21.00   07/16/2018   Los   Angeles   CA   East   - Drivers
750321   Case 2:19-cv-08580-JFW-MAA
                    Overtime      0.50Document
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                                                                        CA East    of 691 Page ID
                                                                                - Drivers
750321              Regular      32.00   21.00 #:1412
                                                 07/23/2018 Los Angeles CA East - Drivers
750321              Overtime         1.00   31.50   07/23/2018   Los   Angeles   CA   East   - Drivers
750321              Regular          8.00   20.00   02/12/2018   Los   Angeles   CA   East   - Drivers
750321              Overtime         2.00   30.00   02/12/2018   Los   Angeles   CA   East   - Drivers
750321              Regular         61.50   17.00   08/03/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         61.25   17.00   08/10/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         62.25   17.00   08/17/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         43.00   17.00   08/24/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         39.75   17.00   08/31/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         65.00   17.00   09/07/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         52.50   17.00   09/14/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         32.00   17.00   09/21/2015   Los   Angeles   CA   East   - Drivers
750321              Overtime        16.00   25.50   09/21/2015   Los   Angeles   CA   East   - Drivers
750321              Regular       135.50    18.00   09/21/2015   Los   Angeles   CA   East   - Drivers
750321              Overtime       -16.00   27.00   09/21/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         56.50   18.00   10/12/2015   Los   Angeles   CA   East   - Drivers
750321              Regular       105.50    18.00   10/19/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         52.50   18.00   11/02/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         66.75   18.00   11/09/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         78.75   18.00   11/16/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         56.00   18.00   11/23/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         65.50   18.00   11/30/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         42.50   18.00   11/30/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         63.75   18.00   12/14/2015   Los   Angeles   CA   East   - Drivers
750321              Regular       107.50    18.00   12/28/2015   Los   Angeles   CA   East   - Drivers
750321              Regular       119.00    18.00   12/28/2015   Los   Angeles   CA   East   - Drivers
750321              Regular         68.50   18.00   01/11/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         64.50   18.00   01/18/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         53.25   18.00   01/25/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         68.75   18.00   02/01/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         70.00   18.00   02/08/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         62.75   18.00   02/15/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         69.25   18.00   02/22/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         70.00   18.00   02/29/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         66.25   18.00   03/07/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         66.50   18.00   03/14/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         63.75   18.00   03/21/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         45.00   18.00   03/28/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         56.25   18.00   04/04/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         59.00   18.00   04/11/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         37.50   18.00   04/18/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         58.75   18.00   04/25/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         61.25   18.00   05/02/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         48.50   18.00   05/09/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         53.50   18.00   05/16/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         62.00   18.00   05/23/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         67.25   18.00   05/30/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         60.50   18.00   06/06/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         74.50   18.00   06/13/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         76.25   18.00   06/20/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         62.00   18.00   06/27/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         56.75   18.00   07/04/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         66.75   18.00   07/11/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         56.00   18.00   07/18/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         69.25   18.00   07/25/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         68.25   18.00   08/01/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         62.00   18.00   08/08/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         60.25   18.00   08/15/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         68.75   18.00   08/22/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         33.75   18.00   08/29/2016   Los   Angeles   CA   East   - Drivers
750321              Regular         32.00   23.00   04/29/2019   Los   Angeles   CA   East   - Drivers
750321              Regular         40.00   23.00   05/06/2019   Los   Angeles   CA   East   - Drivers
750321 Case 2:19-cv-08580-JFW-MAA
                  Overtime       0.25Document
                                        34.50 38-5    Filed Los
                                                05/06/2019  03/22/21
                                                                AngelesPage 640
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
750321            Regular       16.00   23.00 #:1413
                                                05/13/2019 Los Angeles CA East - Drivers
750321            Regular        8.00   20.00 03/18/2019 Los Angeles CA East - Drivers
750321            Overtime       4.00   30.00 03/18/2019 Los Angeles CA East - Drivers
Total for 750321            11,301.75
1218046           Regular       32.00   19.00 11/09/2015 Los Angeles CA East - Drivers
1218046           Overtime      14.00   28.50 11/09/2015 Los Angeles CA East - Drivers
1218046           Regular       30.25   19.00 11/16/2015 Los Angeles CA East - Drivers
1218046           Overtime      10.00   28.50 11/16/2015 Los Angeles CA East - Drivers
1218046           Regular       48.00   19.00 11/30/2015 Los Angeles CA East - Drivers
1218046           Overtime      42.00   28.50 11/30/2015 Los Angeles CA East - Drivers
1218046           Regular       29.50   19.00 12/07/2015 Los Angeles CA East - Drivers
1218046           Overtime      11.00   28.50 12/07/2015 Los Angeles CA East - Drivers
1218046           Regular       28.00   19.00 12/14/2015 Los Angeles CA East - Drivers
1218046           Overtime       9.00   28.50 12/14/2015 Los Angeles CA East - Drivers
1218046           Regular       28.00   19.00 12/28/2015 Los Angeles CA East - Drivers
1218046           Overtime      11.50   28.50 12/28/2015 Los Angeles CA East - Drivers
1218046           Regular       24.00   19.00 01/04/2016 Los Angeles CA East - Drivers
1218046           Overtime      10.25   28.50 01/04/2016 Los Angeles CA East - Drivers
1218046           Regular       16.00   19.00 01/11/2016 Los Angeles CA East - Drivers
1218046           Overtime       7.00   28.50 01/11/2016 Los Angeles CA East - Drivers
1218046           Regular       31.00   19.00 01/18/2016 Los Angeles CA East - Drivers
1218046           Overtime      10.00   28.50 01/18/2016 Los Angeles CA East - Drivers
1218046           Regular        8.00   19.00 01/25/2016 Los Angeles CA East - Drivers
1218046           Overtime       5.50   28.50 01/25/2016 Los Angeles CA East - Drivers
Total for 1218046              405.00
2574778           Regular       32.00   21.00 10/29/2018 Los Angeles CA West - Drivers
2574778           Overtime       4.50   31.50 10/29/2018 Los Angeles CA West - Drivers
2574778           Regular        8.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2574778           Overtime       1.50   31.50 11/05/2018 Los Angeles CA West - Drivers
2574778           Regular       24.00   21.00 11/05/2018 Los Angeles CA West - Drivers
2574778           Overtime       9.47   31.50 11/05/2018 Los Angeles CA West - Drivers
2574778           Regular       32.00   21.00 11/12/2018 Los Angeles CA West - Drivers
2574778           Overtime       9.14   31.50 11/12/2018 Los Angeles CA West - Drivers
2574778           Regular       24.00   21.00 11/19/2018 Los Angeles CA West - Drivers
2574778           Overtime       3.17   31.50 11/19/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 11/26/2018 Los Angeles CA West - Drivers
2574778           Overtime      11.19   31.50 11/26/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 12/03/2018 Los Angeles CA West - Drivers
2574778           Overtime       7.70   31.50 12/03/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 12/10/2018 Los Angeles CA West - Drivers
2574778           Overtime       8.95   31.50 12/10/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 12/17/2018 Los Angeles CA West - Drivers
2574778           Overtime       9.12   31.50 12/17/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 12/24/2018 Los Angeles CA West - Drivers
2574778           Overtime       2.38   31.50 12/24/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 12/31/2018 Los Angeles CA West - Drivers
2574778           Overtime       6.01   31.50 12/31/2018 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 01/07/2019 Los Angeles CA West - Drivers
2574778           Overtime      12.18   31.50 01/07/2019 Los Angeles CA West - Drivers
2574778           Regular       32.00   21.00 01/14/2019 Los Angeles CA West - Drivers
2574778           Overtime       9.45   31.50 01/14/2019 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 01/21/2019 Los Angeles CA West - Drivers
2574778           Overtime      10.38   31.50 01/21/2019 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 01/28/2019 Los Angeles CA West - Drivers
2574778           Overtime       9.93   31.50 01/28/2019 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 02/04/2019 Los Angeles CA West - Drivers
2574778           Overtime       9.33   31.50 02/04/2019 Los Angeles CA West - Drivers
2574778           Regular       40.00   21.00 02/11/2019 Los Angeles CA West - Drivers
2574778           Overtime       7.23   31.50 02/11/2019 Los Angeles CA West - Drivers
2574778           Regular       16.62   21.00 02/18/2019 Los Angeles CA West - Drivers
2574778           Overtime       2.88   31.50 02/18/2019 Los Angeles CA West - Drivers
2574778           Regular       16.00   21.00 02/25/2019 Los Angeles CA West - Drivers
2574778 Case 2:19-cv-08580-JFW-MAA
                   Overtime       5.13Document
                                         31.50 38-5    Filed Los
                                                 02/25/2019  03/22/21
                                                                 AngelesPage 641- Drivers
                                                                        CA West   of 691    Page ID
2574778            Regular       40.00   21.00 #:1414
                                                 03/04/2019 Los Angeles CA West - Drivers
2574778            Overtime       1.50   31.50 03/04/2019 Los Angeles CA West - Drivers
2574778            Regular       37.07   21.00 03/11/2019 Los Angeles CA West - Drivers
2574778            Overtime       6.60   31.50 03/11/2019 Los Angeles CA West - Drivers
2574778            Regular       33.87   21.00 03/18/2019 Los Angeles CA West - Drivers
2574778            Overtime       4.76   31.50 03/18/2019 Los Angeles CA West - Drivers
2574778            Regular       36.88   21.00 03/25/2019 Los Angeles CA West - Drivers
2574778            Overtime       4.29   31.50 03/25/2019 Los Angeles CA West - Drivers
2574778            Regular       32.38   21.00 04/01/2019 Los Angeles CA West - Drivers
2574778            Overtime       4.92   31.50 04/01/2019 Los Angeles CA West - Drivers
2574778            Regular       38.24   21.00 04/08/2019 Los Angeles CA West - Drivers
2574778            Overtime       7.10   31.50 04/08/2019 Los Angeles CA West - Drivers
2574778            Regular       40.00   21.00 04/15/2019 Los Angeles CA West - Drivers
2574778            Overtime       2.06   31.50 04/15/2019 Los Angeles CA West - Drivers
2574778            Regular       40.00   21.00 04/22/2019 Los Angeles CA West - Drivers
2574778            Regular       40.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2574778            Overtime      13.18   31.50 04/29/2019 Los Angeles CA West - Drivers
2574778            Regular       31.80   21.00 05/06/2019 Los Angeles CA West - Drivers
2574778            Overtime       0.70   31.50 05/06/2019 Los Angeles CA West - Drivers
2574778            Regular       35.57   21.00 05/13/2019 Los Angeles CA West - Drivers
2574778            Overtime       6.94   31.50 05/13/2019 Los Angeles CA West - Drivers
2574778            Regular       40.00   21.00 05/20/2019 Los Angeles CA West - Drivers
2574778            Overtime      16.00   31.50 05/20/2019 Los Angeles CA West - Drivers
2574778            Regular       30.57   21.00 05/27/2019 Los Angeles CA West - Drivers
2574778            Overtime       4.53   31.50 05/27/2019 Los Angeles CA West - Drivers
2574778            Regular       38.96   21.00 06/03/2019 Los Angeles CA West - Drivers
2574778            Overtime       2.92   31.50 06/03/2019 Los Angeles CA West - Drivers
2574778            Regular       26.56   21.00 06/10/2019 Los Angeles CA West - Drivers
2574778            Overtime       2.66   31.50 06/10/2019 Los Angeles CA West - Drivers
2574778            Regular       31.10   21.00 06/17/2019 Los Angeles CA West - Drivers
2574778            Overtime       5.22   31.50 06/17/2019 Los Angeles CA West - Drivers
2574778            Regular       36.60   21.00 06/24/2019 Los Angeles CA West - Drivers
2574778            Overtime       6.91   31.50 06/24/2019 Los Angeles CA West - Drivers
2574778            Regular       31.52   21.00 07/01/2019 Los Angeles CA West - Drivers
2574778            Overtime       0.47   31.50 07/01/2019 Los Angeles CA West - Drivers
2574778            Regular       35.11   21.00 07/08/2019 Los Angeles CA West - Drivers
2574778            Overtime       3.31   31.50 07/08/2019 Los Angeles CA West - Drivers
2574778            Regular       40.00   21.00 07/15/2019 Los Angeles CA West - Drivers
2574778            Overtime       3.34   31.50 07/15/2019 Los Angeles CA West - Drivers
2574778            Regular       32.84   21.00 07/22/2019 Los Angeles CA West - Drivers
2574778            Overtime       6.29   31.50 07/22/2019 Los Angeles CA West - Drivers
2574778            Regular       38.09   21.00 07/29/2019 Los Angeles CA West - Drivers
2574778            Overtime       6.53   31.50 07/29/2019 Los Angeles CA West - Drivers
2574778            Regular       36.67   21.00 08/05/2019 Los Angeles CA West - Drivers
2574778            Overtime       7.44   31.50 08/05/2019 Los Angeles CA West - Drivers
2574778            Regular       30.88   21.00 08/12/2019 Los Angeles CA West - Drivers
2574778            Overtime       5.57   31.50 08/12/2019 Los Angeles CA West - Drivers
2574778            Regular       39.90   21.00 08/19/2019 Los Angeles CA West - Drivers
2574778            Overtime       6.00   31.50 08/19/2019 Los Angeles CA West - Drivers
2574778            Regular       38.82   21.00 08/26/2019 Los Angeles CA West - Drivers
2574778            Overtime      10.97   31.50 08/26/2019 Los Angeles CA West - Drivers
2574778            Regular       38.83   21.00 09/02/2019 Los Angeles CA West - Drivers
2574778            Overtime       5.71   31.50 09/02/2019 Los Angeles CA West - Drivers
2574778            Regular        8.00   18.00 09/24/2018 Los Angeles CA West - Drivers
2574778            Regular       16.00   18.00 10/01/2018 Los Angeles CA West - Drivers
2574778            Overtime       2.50   27.00 10/01/2018 Los Angeles CA West - Drivers
2574778            Regular        8.00   18.00 10/15/2018 Los Angeles CA West - Drivers
2574778            Overtime       2.25   27.00 10/15/2018 Los Angeles CA West - Drivers
Total for 2574778             1,919.19
1302509            Regular       16.00   20.00 04/11/2016 Los Angeles CA West - Drivers
1302509            Overtime       5.00   30.00 04/11/2016 Los Angeles CA West - Drivers
1302509            Regular       24.00   20.00 04/18/2016 Los Angeles CA West - Drivers
1302509 Case 2:19-cv-08580-JFW-MAA
                   Overtime      7.50Document
                                        30.00 38-5    Filed Los
                                                04/18/2016  03/22/21
                                                                AngelesPage 642- Drivers
                                                                       CA West   of 691    Page ID
1302509            Regular      31.75   20.00 #:1415
                                                04/25/2016 Los Angeles CA West - Drivers
1302509            Overtime      5.00   30.00 04/25/2016 Los Angeles CA West - Drivers
1302509            Regular      23.50   20.00 05/02/2016 Los Angeles CA West - Drivers
1302509            Overtime      2.00   30.00 05/02/2016 Los Angeles CA West - Drivers
1302509            Regular      31.00   20.00 05/09/2016 Los Angeles CA West - Drivers
1302509            Overtime      4.25   30.00 05/09/2016 Los Angeles CA West - Drivers
1302509            Regular      30.25   20.00 05/16/2016 Los Angeles CA West - Drivers
1302509            Overtime      0.25   30.00 05/16/2016 Los Angeles CA West - Drivers
1302509            Regular      23.25   20.00 05/23/2016 Los Angeles CA West - Drivers
1302509            Overtime      1.25   30.00 05/23/2016 Los Angeles CA West - Drivers
1302509            Regular      22.50   20.00 05/30/2016 Los Angeles CA West - Drivers
1302509            Overtime      2.00   30.00 05/30/2016 Los Angeles CA West - Drivers
1302509            Regular      24.00   20.00 06/06/2016 Los Angeles CA West - Drivers
1302509            Overtime      4.00   30.00 06/06/2016 Los Angeles CA West - Drivers
1302509            Regular      38.75   20.00 06/13/2016 Los Angeles CA West - Drivers
1302509            Overtime      8.75   30.00 06/13/2016 Los Angeles CA West - Drivers
1302509            Regular      31.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1302509            Overtime      5.50   30.00 06/20/2016 Los Angeles CA West - Drivers
1302509            Regular      24.00   20.00 06/27/2016 Los Angeles CA West - Drivers
1302509            Overtime      8.75   30.00 06/27/2016 Los Angeles CA West - Drivers
1302509            Regular      24.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1302509            Overtime      2.25   30.00 07/04/2016 Los Angeles CA West - Drivers
1302509            Regular      29.75   20.00 07/11/2016 Los Angeles CA West - Drivers
1302509            Overtime      3.00   30.00 07/11/2016 Los Angeles CA West - Drivers
1302509            Regular      31.75   20.00 07/18/2016 Los Angeles CA West - Drivers
1302509            Overtime      6.50   30.00 07/18/2016 Los Angeles CA West - Drivers
1302509            Regular       8.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1302509            Overtime      3.00   30.00 07/25/2016 Los Angeles CA West - Drivers
1302509            Regular      33.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1302509            Overtime      8.25   30.00 08/01/2016 Los Angeles CA West - Drivers
1302509            Regular      24.00   20.00 08/08/2016 Los Angeles CA West - Drivers
1302509            Overtime      3.50   30.00 08/08/2016 Los Angeles CA West - Drivers
1302509            Regular      16.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1302509            Overtime      3.75   30.00 08/15/2016 Los Angeles CA West - Drivers
1302509            Regular      16.00   19.00 11/21/2016 Los Angeles CA West - Drivers
1302509            Overtime      4.75   28.50 11/21/2016 Los Angeles CA West - Drivers
1302509            Regular      16.00   19.00 11/28/2016 Los Angeles CA West - Drivers
1302509            Overtime      1.00   28.50 11/28/2016 Los Angeles CA West - Drivers
1302509            Regular      31.75   19.00 12/05/2016 Los Angeles CA West - Drivers
1302509            Overtime      3.75   28.50 12/05/2016 Los Angeles CA West - Drivers
1302509            Regular      34.50   19.00 12/12/2016 Los Angeles CA West - Drivers
1302509            Overtime      0.25   28.50 12/12/2016 Los Angeles CA West - Drivers
1302509            Regular      25.50   19.00 12/19/2016 Los Angeles CA West - Drivers
Total for 1302509              704.50
2540636            Regular      24.00   17.00 06/25/2018 Sacramento CA - Drivers
2540636            Overtime      2.00   25.50 06/25/2018 Sacramento CA - Drivers
Total for 2540636               26.00
2784621            Regular      38.50   17.60 07/29/2019 Los Angeles CA West - Drivers
2784621            Overtime      4.50   26.40 07/29/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 08/05/2019 Los Angeles CA West - Drivers
2784621            Overtime      3.50   26.40 08/05/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 08/12/2019 Los Angeles CA West - Drivers
2784621            Overtime      2.50   26.40 08/12/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 08/19/2019 Los Angeles CA West - Drivers
2784621            Overtime      6.00   26.40 08/19/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 08/26/2019 Los Angeles CA West - Drivers
2784621            Overtime      4.00   26.40 08/26/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 09/02/2019 Los Angeles CA West - Drivers
2784621            Overtime      3.00   26.40 09/02/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 06/24/2019 Los Angeles CA West - Drivers
2784621            Overtime      4.00   26.40 06/24/2019 Los Angeles CA West - Drivers
2784621            Regular      20.00   17.60 07/01/2019 Los Angeles CA West - Drivers
2784621 Case 2:19-cv-08580-JFW-MAA
                   Overtime      2.50Document
                                        26.40 38-5    Filed Los
                                                07/01/2019  03/22/21
                                                                AngelesPage 643- Drivers
                                                                       CA West   of 691    Page ID
2784621            Regular      40.00   17.60 #:1416
                                                07/08/2019 Los Angeles CA West - Drivers
2784621            Overtime      5.50   26.40 07/08/2019 Los Angeles CA West - Drivers
2784621            Regular      40.00   17.60 07/15/2019 Los Angeles CA West - Drivers
2784621            Overtime      8.00   26.40 07/15/2019 Los Angeles CA West - Drivers
2784621            Regular      30.00   17.60 07/22/2019 Los Angeles CA West - Drivers
2784621            Overtime      5.00   26.40 07/22/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 07/01/2019 Los Angeles CA West - Drivers
2784621            Overtime      0.50   26.25 07/01/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 07/08/2019 Los Angeles CA West - Drivers
2784621            Overtime      2.00   26.25 07/08/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 07/15/2019 Los Angeles CA West - Drivers
2784621            Overtime      1.25   26.25 07/15/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 07/22/2019 Los Angeles CA West - Drivers
2784621            Overtime      3.50   26.25 07/22/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 07/29/2019 Los Angeles CA West - Drivers
2784621            Overtime      3.50   26.25 07/29/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 08/05/2019 Los Angeles CA West - Drivers
2784621            Overtime      0.75   26.25 08/05/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 08/12/2019 Los Angeles CA West - Drivers
2784621            Regular       8.00   17.50 08/19/2019 Los Angeles CA West - Drivers
Total for 2784621              532.50
2533319            Regular      32.00   17.60 05/28/2018 Los Angeles CA West - Drivers
2533319            Overtime     10.30   26.40 05/28/2018 Los Angeles CA West - Drivers
2533319            Regular      32.00   17.60 06/04/2018 Los Angeles CA West - Drivers
2533319            Overtime      9.50   26.40 06/04/2018 Los Angeles CA West - Drivers
2533319            Regular      32.00   17.60 06/11/2018 Los Angeles CA West - Drivers
2533319            Overtime      9.50   26.40 06/11/2018 Los Angeles CA West - Drivers
2533319            Regular      32.00   17.60 06/18/2018 Los Angeles CA West - Drivers
2533319            Overtime      8.50   26.40 06/18/2018 Los Angeles CA West - Drivers
2533319            Regular      32.00   17.60 06/25/2018 Los Angeles CA West - Drivers
2533319            Overtime     13.50   26.40 06/25/2018 Los Angeles CA West - Drivers
2533319            Regular      56.00   17.60 07/09/2018 Los Angeles CA West - Drivers
2533319            Overtime     17.00   26.40 07/09/2018 Los Angeles CA West - Drivers
2533319            Regular      32.00   17.60 07/16/2018 Los Angeles CA West - Drivers
2533319            Overtime     10.00   26.40 07/16/2018 Los Angeles CA West - Drivers
Total for 2533319              326.30
1321979            Regular      39.00   20.00 06/20/2016 Los Angeles CA West - Drivers
1321979            Overtime      7.00   30.00 06/20/2016 Los Angeles CA West - Drivers
1321979            Regular      32.00   20.00 06/27/2016 Los Angeles CA West - Drivers
1321979            Overtime      5.00   30.00 06/27/2016 Los Angeles CA West - Drivers
1321979            Regular       8.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1321979            Overtime      2.50   30.00 07/04/2016 Los Angeles CA West - Drivers
1321979            Regular      31.00   20.00 07/11/2016 Los Angeles CA West - Drivers
1321979            Overtime      4.00   30.00 07/11/2016 Los Angeles CA West - Drivers
1321979            Regular      32.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1321979            Overtime      6.75   30.00 07/18/2016 Los Angeles CA West - Drivers
1321979            Regular      29.50   20.00 07/25/2016 Los Angeles CA West - Drivers
1321979            Overtime      5.50   30.00 07/25/2016 Los Angeles CA West - Drivers
1321979            Regular      32.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1321979            Overtime      8.00   30.00 08/01/2016 Los Angeles CA West - Drivers
1321979            Regular      24.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1321979            Overtime      3.50   30.00 08/15/2016 Los Angeles CA West - Drivers
1321979            Regular      40.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1321979            Overtime      6.50   30.00 08/22/2016 Los Angeles CA West - Drivers
1321979            Regular      32.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1321979            Overtime      7.50   30.00 08/29/2016 Los Angeles CA West - Drivers
1321979            Regular      24.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1321979            Overtime      4.00   30.00 09/05/2016 Los Angeles CA West - Drivers
1321979            Regular      24.00   20.00 09/12/2016 Los Angeles CA West - Drivers
1321979            Overtime      6.50   30.00 09/12/2016 Los Angeles CA West - Drivers
1321979            Regular      32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1321979            Overtime      6.00   30.00 09/19/2016 Los Angeles CA West - Drivers
1321979 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         20.00 38-5    Filed Los
                                                 09/26/2016  03/22/21
                                                                 AngelesPage 644- Drivers
                                                                        CA West   of 691    Page ID
1321979            Overtime       7.50   30.00 #:1417
                                                 09/26/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 10/03/2016 Los Angeles CA West - Drivers
1321979            Overtime       5.50   30.00 10/03/2016 Los Angeles CA West - Drivers
1321979            Regular       39.00   20.00 10/10/2016 Los Angeles CA West - Drivers
1321979            Overtime       5.50   30.00 10/10/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 10/17/2016 Los Angeles CA West - Drivers
1321979            Overtime       4.50   30.00 10/17/2016 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 10/24/2016 Los Angeles CA West - Drivers
1321979            Overtime       9.50   30.00 10/24/2016 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 10/31/2016 Los Angeles CA West - Drivers
1321979            Overtime       8.50   30.00 10/31/2016 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 11/07/2016 Los Angeles CA West - Drivers
1321979            Overtime       5.00   30.00 11/07/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 11/14/2016 Los Angeles CA West - Drivers
1321979            Overtime       3.50   30.00 11/14/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 11/21/2016 Los Angeles CA West - Drivers
1321979            Overtime       3.00   30.00 11/21/2016 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 11/28/2016 Los Angeles CA West - Drivers
1321979            Overtime       6.00   30.00 11/28/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 12/05/2016 Los Angeles CA West - Drivers
1321979            Overtime       4.50   30.00 12/05/2016 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 12/12/2016 Los Angeles CA West - Drivers
1321979            Overtime       4.50   30.00 12/12/2016 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 12/19/2016 Los Angeles CA West - Drivers
1321979            Overtime       5.00   30.00 12/19/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 12/26/2016 Los Angeles CA West - Drivers
1321979            Overtime       4.50   30.00 12/26/2016 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 01/02/2017 Los Angeles CA West - Drivers
1321979            Overtime       6.00   30.00 01/02/2017 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 01/09/2017 Los Angeles CA West - Drivers
1321979            Overtime       6.00   30.00 01/09/2017 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 01/16/2017 Los Angeles CA West - Drivers
1321979            Overtime       7.00   30.00 01/16/2017 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 01/23/2017 Los Angeles CA West - Drivers
1321979            Overtime       7.00   30.00 01/23/2017 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 01/30/2017 Los Angeles CA West - Drivers
1321979            Overtime       5.50   30.00 01/30/2017 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 02/06/2017 Los Angeles CA West - Drivers
1321979            Overtime       8.00   30.00 02/06/2017 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 02/13/2017 Los Angeles CA West - Drivers
1321979            Overtime       8.00   30.00 02/13/2017 Los Angeles CA West - Drivers
1321979            Regular       32.00   20.00 02/20/2017 Los Angeles CA West - Drivers
1321979            Overtime       7.50   30.00 02/20/2017 Los Angeles CA West - Drivers
1321979            Regular       24.00   20.00 02/27/2017 Los Angeles CA West - Drivers
1321979            Overtime       6.50   30.00 02/27/2017 Los Angeles CA West - Drivers
1321979            Regular       24.00   16.00 05/02/2016 Los Angeles CA West - Drivers
1321979            Overtime       7.00   24.00 05/02/2016 Los Angeles CA West - Drivers
1321979            Regular       16.00   16.00 05/16/2016 Los Angeles CA West - Drivers
1321979            Overtime       8.00   24.00 05/16/2016 Los Angeles CA West - Drivers
1321979            Regular       15.00   16.00 06/06/2016 Los Angeles CA West - Drivers
1321979            Overtime       2.50   24.00 06/06/2016 Los Angeles CA West - Drivers
Total for 1321979             1,334.25
2570271            Regular        8.00   20.00 09/17/2018 Los Angeles CA East - Drivers
2570271            Regular       40.00   20.00 09/24/2018 Los Angeles CA East - Drivers
2570271            Overtime      13.00   30.00 09/24/2018 Los Angeles CA East - Drivers
2570271            Regular       40.00   20.00 10/01/2018 Los Angeles CA East - Drivers
2570271            Overtime      15.00   30.00 10/01/2018 Los Angeles CA East - Drivers
2570271            Regular       40.00   20.00 10/08/2018 Los Angeles CA East - Drivers
2570271            Overtime      15.00   30.00 10/08/2018 Los Angeles CA East - Drivers
2570271            Regular       40.00   20.00 10/15/2018 Los Angeles CA East - Drivers
2570271            Overtime       9.00   30.00 10/15/2018 Los Angeles CA East - Drivers
2570271            Regular       40.00   20.00 10/22/2018 Los Angeles CA East - Drivers
2570271 Case   2:19-cv-08580-JFW-MAA
                     Overtime      9.00Document
                                          30.00 38-5    Filed Los
                                                  10/22/2018  03/22/21
                                                                  AngelesPage 645
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
2570271              Regular      40.00   20.00 #:1418
                                                  10/29/2018 Los Angeles CA East - Drivers
2570271              Overtime        8.00    30.00   10/29/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        36.00    20.00   11/05/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        6.00    30.00   11/05/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    20.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    30.00   11/12/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        24.00    20.00   11/19/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        4.00    30.00   11/19/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    20.00   11/26/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    30.00   11/26/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        32.00    20.00   12/03/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        6.00    30.00   12/03/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    20.00   12/10/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    30.00   12/10/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    20.00   12/17/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        6.00    30.00   12/17/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        24.00    20.00   12/24/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        32.00    20.00   12/31/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        3.00    30.00   12/31/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   01/07/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   01/07/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   01/14/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   01/21/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   01/28/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        7.00    31.50   01/28/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   02/04/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   02/11/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        7.00    31.50   02/11/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   02/18/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   02/18/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   02/25/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        9.00    31.50   02/25/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   03/04/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   03/04/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   03/11/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        7.00    31.50   03/11/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   03/18/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        5.00    31.50   03/18/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   03/25/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        8.00    31.50   03/25/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   04/01/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime       10.00    31.50   04/01/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   04/08/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        7.00    31.50   04/08/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    21.00   04/15/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        7.00    31.50   04/15/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        16.00    21.00   04/22/2019   Los   Angeles   CA   East   - Drivers
2570271              Overtime        4.00    31.50   04/22/2019   Los   Angeles   CA   East   - Drivers
2570271              Regular        32.00    20.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        6.00    30.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        40.00    20.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        9.00    30.00   08/06/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular         8.00    20.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        2.00    30.00   07/30/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular         7.50    20.00   09/17/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular        24.00    20.00   12/24/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        3.00    30.00   12/24/2018   Los   Angeles   CA   East   - Drivers
2570271              Regular         8.00    20.00   12/31/2018   Los   Angeles   CA   East   - Drivers
2570271              Overtime        3.50    30.00   12/31/2018   Los   Angeles   CA   East   - Drivers
2570271 Case 2:19-cv-08580-JFW-MAA
                   Regular         8.00Document
                                          21.50 38-5   Filed Los
                                                 04/29/2019  03/22/21
                                                                 AngelesPage 646
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
Total for 2570271             1,560.00         #:1419
898130             Regular         8.00   19.50 05/22/2017 Sacramento CA - Drivers
898130             Overtime        3.50   29.25 05/22/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 06/05/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 06/12/2017 Sacramento CA - Drivers
898130             Overtime        3.00   29.25 06/12/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 06/26/2017 Sacramento CA - Drivers
898130             Overtime        4.00   29.25 06/26/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 07/24/2017 Sacramento CA - Drivers
898130             Overtime        4.00   29.25 07/24/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 08/21/2017 Sacramento CA - Drivers
898130             Overtime        2.50   29.25 08/21/2017 Sacramento CA - Drivers
898130             Regular       16.00    19.50 08/28/2017 Sacramento CA - Drivers
898130             Overtime        2.50   29.25 08/28/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 09/25/2017 Sacramento CA - Drivers
898130             Overtime        3.50   29.25 09/25/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 10/30/2017 Sacramento CA - Drivers
898130             Overtime        4.00   29.25 10/30/2017 Sacramento CA - Drivers
898130             Regular         8.00   19.50 11/06/2017 Sacramento CA - Drivers
898130             Overtime        1.75   29.25 11/06/2017 Sacramento CA - Drivers
898130             Regular         8.00   21.00 09/17/2018 Sacramento CA - Drivers
898130             Overtime        1.25   31.50 09/17/2018 Sacramento CA - Drivers
898130             Regular         7.50   21.00 09/24/2018 Sacramento CA - Drivers
898130             Regular         8.00   21.00 10/29/2018 Sacramento CA - Drivers
898130             Overtime        2.33   31.50 10/29/2018 Sacramento CA - Drivers
898130             Regular         8.00   21.00 11/05/2018 Sacramento CA - Drivers
898130             Overtime        4.00   31.50 11/05/2018 Sacramento CA - Drivers
898130             Regular         8.00   21.00 11/19/2018 Sacramento CA - Drivers
898130             Overtime        3.75   31.50 11/19/2018 Sacramento CA - Drivers
898130             Regular       16.00    20.50 10/30/2017 Sacramento CA - Drivers
898130             Overtime        3.00   30.75 10/30/2017 Sacramento CA - Drivers
898130             Regular       28.00    20.50 11/06/2017 Sacramento CA - Drivers
898130             Overtime      11.00    30.75 11/06/2017 Sacramento CA - Drivers
898130             Regular       34.40    20.50 11/13/2017 Sacramento CA - Drivers
898130             Overtime      11.00    30.75 11/13/2017 Sacramento CA - Drivers
898130             Regular       32.20    20.50 11/20/2017 Sacramento CA - Drivers
898130             Overtime        9.80   30.75 11/20/2017 Sacramento CA - Drivers
898130             Regular       32.00    20.50 11/27/2017 Sacramento CA - Drivers
898130             Overtime      10.30    30.75 11/27/2017 Sacramento CA - Drivers
898130             Regular         2.00   20.50 11/12/2018 Sacramento CA - Drivers
898130             Regular         8.00   20.50 12/03/2018 Sacramento CA - Drivers
898130             Regular         8.00   20.50 12/10/2018 Sacramento CA - Drivers
898130             Overtime        0.10   30.75 12/10/2018 Sacramento CA - Drivers
Total for 898130                373.38
1393645            Regular         8.00   19.00 09/05/2016 Los Angeles CA West - Drivers
1393645            Overtime        3.00   28.50 09/05/2016 Los Angeles CA West - Drivers
1393645            Regular         8.00   19.00 09/12/2016 Los Angeles CA West - Drivers
1393645            Overtime        1.75   28.50 09/12/2016 Los Angeles CA West - Drivers
1393645            Regular        -8.00   19.00 09/05/2016 Los Angeles CA West - Drivers
1393645            Overtime       -3.00   28.50 09/05/2016 Los Angeles CA West - Drivers
1393645            Regular       16.00    20.00 12/05/2016 Los Angeles CA West - Drivers
1393645            Overtime        2.00   30.00 12/05/2016 Los Angeles CA West - Drivers
1393645            Regular       32.00    20.00 12/12/2016 Los Angeles CA West - Drivers
1393645            Overtime        7.25   30.00 12/12/2016 Los Angeles CA West - Drivers
1393645            Regular       32.00    20.00 12/19/2016 Los Angeles CA West - Drivers
1393645            Overtime      10.00    30.00 12/19/2016 Los Angeles CA West - Drivers
1393645            Regular       24.00    20.00 12/26/2016 Los Angeles CA West - Drivers
1393645            Overtime        7.75   30.00 12/26/2016 Los Angeles CA West - Drivers
1393645            Regular       23.75    20.00 01/02/2017 Los Angeles CA West - Drivers
1393645            Overtime        2.25   30.00 01/02/2017 Los Angeles CA West - Drivers
1393645            Regular       33.00    19.00 01/23/2017 Los Angeles CA West - Drivers
1393645            Overtime        4.25   28.50 01/23/2017 Los Angeles CA West - Drivers
1393645 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        19.00 38-5    Filed Los
                                                01/30/2017  03/22/21
                                                                AngelesPage 647- Drivers
                                                                       CA West   of 691    Page ID
1393645            Overtime     11.75   28.50 #:1420
                                                01/30/2017 Los Angeles CA West - Drivers
1393645            Regular      11.50   19.00 02/06/2017 Los Angeles CA West - Drivers
1393645            Overtime      4.00   28.50 02/06/2017 Los Angeles CA West - Drivers
1393645            Regular       8.00   38.17 09/12/2016 Los Angeles CA West - Drivers
1393645            Overtime      1.75   57.26 09/12/2016 Los Angeles CA West - Drivers
1393645            Regular       8.00   38.17 10/03/2016 Los Angeles CA West - Drivers
1393645            Overtime      1.00   57.26 10/03/2016 Los Angeles CA West - Drivers
1393645            Regular      54.00   21.85 10/10/2016 Los Angeles CA West - Drivers
1393645            Regular      54.00   21.85 10/31/2016 Los Angeles CA West - Drivers
1393645            Regular      65.75   21.85 11/07/2016 Los Angeles CA West - Drivers
1393645            Regular       6.50   19.00 01/16/2017 Los Angeles CA West - Drivers
1393645            Regular       8.00   19.00 02/13/2017 Los Angeles CA West - Drivers
1393645            Overtime      1.00   28.50 02/13/2017 Los Angeles CA West - Drivers
1393645            Regular      13.50   19.00 11/14/2016 Los Angeles CA West - Drivers
1393645            Overtime      1.50   28.50 11/14/2016 Los Angeles CA West - Drivers
1393645            Regular      32.00   19.00 06/12/2017 Los Angeles CA West - Drivers
1393645            Overtime      9.50   28.50 06/12/2017 Los Angeles CA West - Drivers
1393645            Regular      40.00   19.00 06/19/2017 Los Angeles CA West - Drivers
1393645            Overtime     11.50   28.50 06/19/2017 Los Angeles CA West - Drivers
1393645            Regular      32.00   19.00 06/26/2017 Los Angeles CA West - Drivers
1393645            Overtime     10.00   28.50 06/26/2017 Los Angeles CA West - Drivers
1393645            Regular      16.00   19.00 07/03/2017 Los Angeles CA West - Drivers
1393645            Overtime      6.50   28.50 07/03/2017 Los Angeles CA West - Drivers
Total for 1393645              651.75
2453794            Regular      32.00   17.60 01/08/2018 Los Angeles CA West - Drivers
2453794            Overtime      8.00   26.40 01/08/2018 Los Angeles CA West - Drivers
2453794            Regular       8.00   17.00 10/22/2018 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 10/29/2018 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 10/29/2018 Los Angeles CA West - Drivers
2453794            Regular      38.25   17.00 11/05/2018 Los Angeles CA West - Drivers
2453794            Overtime      2.00   25.50 11/05/2018 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 11/12/2018 Los Angeles CA West - Drivers
2453794            Overtime      0.50   25.50 11/12/2018 Los Angeles CA West - Drivers
2453794            Regular      56.00   17.00 12/10/2018 Los Angeles CA West - Drivers
2453794            Overtime      3.50   25.50 12/10/2018 Los Angeles CA West - Drivers
2453794            Regular      28.50   17.00 12/17/2018 Los Angeles CA West - Drivers
2453794            Overtime      1.50   25.50 12/17/2018 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 01/07/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 01/07/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 01/14/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 01/14/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 01/21/2019 Los Angeles CA West - Drivers
2453794            Overtime      1.50   25.50 01/21/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 01/28/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 01/28/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 02/04/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 02/04/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 02/11/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 02/11/2019 Los Angeles CA West - Drivers
2453794            Regular      24.00   17.00 02/18/2019 Los Angeles CA West - Drivers
2453794            Overtime      1.50   25.50 02/18/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 02/25/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 02/25/2019 Los Angeles CA West - Drivers
2453794            Regular      38.50   17.00 03/04/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.00   25.50 03/04/2019 Los Angeles CA West - Drivers
2453794            Regular      36.50   17.00 03/11/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.00   25.50 03/11/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 03/18/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.50   25.50 03/18/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 03/25/2019 Los Angeles CA West - Drivers
2453794            Overtime      2.25   25.50 03/25/2019 Los Angeles CA West - Drivers
2453794            Regular      40.00   17.00 04/01/2019 Los Angeles CA West - Drivers
2453794 Case 2:19-cv-08580-JFW-MAA
                   Overtime       2.50Document
                                         25.50 38-5    Filed Los
                                                 04/01/2019  03/22/21
                                                                 AngelesPage 648- Drivers
                                                                        CA West   of 691    Page ID
2453794            Regular       40.00   17.00 #:1421
                                                 04/08/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 04/08/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 04/15/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 04/15/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 04/22/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 04/22/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 04/29/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 04/29/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 05/06/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.25   25.50 05/06/2019 Los Angeles CA West - Drivers
2453794            Regular       28.50   17.00 05/13/2019 Los Angeles CA West - Drivers
2453794            Overtime       1.50   25.50 05/13/2019 Los Angeles CA West - Drivers
2453794            Regular       39.50   17.00 05/20/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 05/20/2019 Los Angeles CA West - Drivers
2453794            Regular       32.00   17.00 05/27/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 05/27/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 06/03/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 06/03/2019 Los Angeles CA West - Drivers
2453794            Regular       33.75   17.00 06/10/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 06/10/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 06/17/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 06/17/2019 Los Angeles CA West - Drivers
2453794            Regular       32.00   17.00 06/24/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 06/24/2019 Los Angeles CA West - Drivers
2453794            Regular       32.00   17.00 07/01/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 07/01/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 07/08/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 07/08/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 07/15/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 07/15/2019 Los Angeles CA West - Drivers
2453794            Regular       32.00   17.00 07/22/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 07/22/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 07/29/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 07/29/2019 Los Angeles CA West - Drivers
2453794            Regular       34.75   17.00 08/05/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 08/05/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 08/12/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 08/12/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 08/19/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 08/19/2019 Los Angeles CA West - Drivers
2453794            Regular       40.00   17.00 08/26/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.50   25.50 08/26/2019 Los Angeles CA West - Drivers
2453794            Regular       32.00   17.00 09/02/2019 Los Angeles CA West - Drivers
2453794            Overtime       2.00   25.50 09/02/2019 Los Angeles CA West - Drivers
Total for 2453794             1,654.75
807893             Regular        8.00   19.50 05/07/2018 Los Angeles CA East - Drivers
Total for 807893                  8.00
2205876            Regular       30.00   16.00 03/06/2017 Los Angeles CA West - Drivers
2205876            Regular       16.00   16.00 03/13/2017 Los Angeles CA West - Drivers
2205876            Overtime       3.00   24.00 03/13/2017 Los Angeles CA West - Drivers
2205876            Regular       40.00   16.00 04/24/2017 Los Angeles CA West - Drivers
2205876            Overtime       0.25   24.00 04/24/2017 Los Angeles CA West - Drivers
2205876            Regular       32.00   16.00 05/01/2017 Los Angeles CA West - Drivers
2205876            Overtime       0.50   24.00 05/01/2017 Los Angeles CA West - Drivers
2205876            Regular       40.00   16.00 05/08/2017 Los Angeles CA West - Drivers
2205876            Overtime       0.25   24.00 05/08/2017 Los Angeles CA West - Drivers
2205876            Regular       32.00   16.00 05/15/2017 Los Angeles CA West - Drivers
2205876            Overtime       0.75   24.00 05/15/2017 Los Angeles CA West - Drivers
2205876            Regular       16.00   16.00 05/22/2017 Los Angeles CA West - Drivers
2205876            Overtime       0.75   24.00 05/22/2017 Los Angeles CA West - Drivers
2205876            Regular       32.00   16.00 05/29/2017 Los Angeles CA West - Drivers
2205876            Overtime       1.00   24.00 05/29/2017 Los Angeles CA West - Drivers
2205876 Case 2:19-cv-08580-JFW-MAA
                   Regular      32.00Document
                                        16.00 38-5    Filed Los
                                                06/05/2017  03/22/21
                                                                AngelesPage 649- Drivers
                                                                       CA West   of 691    Page ID
2205876            Overtime      0.50   24.00 #:1422
                                                06/05/2017 Los Angeles CA West - Drivers
2205876            Regular      40.00   16.00 06/12/2017 Los Angeles CA West - Drivers
2205876            Regular      40.00   16.00 06/19/2017 Los Angeles CA West - Drivers
2205876            Overtime      1.50   24.00 06/19/2017 Los Angeles CA West - Drivers
2205876            Regular      37.50   16.00 06/26/2017 Los Angeles CA West - Drivers
2205876            Overtime      1.00   24.00 06/26/2017 Los Angeles CA West - Drivers
2205876            Regular      32.00   16.00 07/03/2017 Los Angeles CA West - Drivers
2205876            Overtime      9.50   24.00 07/03/2017 Los Angeles CA West - Drivers
2205876            Regular      40.00   16.00 07/10/2017 Los Angeles CA West - Drivers
2205876            Overtime      1.50   24.00 07/10/2017 Los Angeles CA West - Drivers
2205876            Regular      16.00   16.00 07/17/2017 Los Angeles CA West - Drivers
2205876            Overtime      0.50   24.00 07/17/2017 Los Angeles CA West - Drivers
2205876            Regular      40.00   16.00 07/24/2017 Los Angeles CA West - Drivers
2205876            Overtime     15.75   24.00 07/24/2017 Los Angeles CA West - Drivers
2205876            Regular      40.00   16.00 07/31/2017 Los Angeles CA West - Drivers
2205876            Overtime     10.00   24.00 07/31/2017 Los Angeles CA West - Drivers
2205876            Regular      32.00   16.00 08/07/2017 Los Angeles CA West - Drivers
2205876            Overtime      8.00   24.00 08/07/2017 Los Angeles CA West - Drivers
2205876            Regular      18.50   16.00 08/14/2017 Los Angeles CA West - Drivers
2205876            Overtime      3.00   24.00 08/14/2017 Los Angeles CA West - Drivers
Total for 2205876              663.75
2642671            Regular      24.00   23.00 12/03/2018 Los Angeles CA East - Drivers
2642671            Overtime      4.00   34.50 12/03/2018 Los Angeles CA East - Drivers
2642671            Regular      40.00   23.00 12/10/2018 Los Angeles CA East - Drivers
2642671            Overtime      8.75   34.50 12/10/2018 Los Angeles CA East - Drivers
2642671            Regular      40.00   23.00 12/17/2018 Los Angeles CA East - Drivers
2642671            Overtime      6.00   34.50 12/17/2018 Los Angeles CA East - Drivers
2642671            Regular      24.00   23.00 12/24/2018 Los Angeles CA East - Drivers
2642671            Overtime      6.00   34.50 12/24/2018 Los Angeles CA East - Drivers
2642671            Regular      23.25   23.00 12/31/2018 Los Angeles CA East - Drivers
2642671            Overtime      3.75   34.50 12/31/2018 Los Angeles CA East - Drivers
2642671            Regular      35.25   23.00 01/07/2019 Los Angeles CA East - Drivers
2642671            Overtime      5.25   34.50 01/07/2019 Los Angeles CA East - Drivers
2642671            Regular      38.00   23.00 01/14/2019 Los Angeles CA East - Drivers
2642671            Overtime      8.00   34.50 01/14/2019 Los Angeles CA East - Drivers
2642671            Regular      32.00   23.00 01/21/2019 Los Angeles CA East - Drivers
2642671            Overtime      9.75   34.50 01/21/2019 Los Angeles CA East - Drivers
2642671            Regular      40.00   23.00 01/28/2019 Los Angeles CA East - Drivers
2642671            Overtime      8.75   34.50 01/28/2019 Los Angeles CA East - Drivers
2642671            Regular      31.25   23.00 02/04/2019 Los Angeles CA East - Drivers
2642671            Overtime      7.00   34.50 02/04/2019 Los Angeles CA East - Drivers
2642671            Regular      32.00   23.00 02/11/2019 Los Angeles CA East - Drivers
2642671            Overtime      5.25   34.50 02/11/2019 Los Angeles CA East - Drivers
2642671            Regular      32.00   23.00 03/04/2019 Los Angeles CA East - Drivers
2642671            Overtime      9.25   34.50 03/04/2019 Los Angeles CA East - Drivers
2642671            Regular      15.50   23.00 03/11/2019 Los Angeles CA East - Drivers
2642671            Overtime      1.75   34.50 03/11/2019 Los Angeles CA East - Drivers
2642671            Regular      16.00   23.00 03/18/2019 Los Angeles CA East - Drivers
2642671            Overtime      4.75   34.50 03/18/2019 Los Angeles CA East - Drivers
2642671            Regular      23.50   23.00 03/25/2019 Los Angeles CA East - Drivers
2642671            Overtime      5.50   34.50 03/25/2019 Los Angeles CA East - Drivers
2642671            Regular       8.00   23.00 04/01/2019 Los Angeles CA East - Drivers
2642671            Overtime      3.25   34.50 04/01/2019 Los Angeles CA East - Drivers
2642671            Regular      32.00   23.00 04/08/2019 Los Angeles CA East - Drivers
2642671            Overtime      9.00   34.50 04/08/2019 Los Angeles CA East - Drivers
2642671            Regular      24.00   23.00 04/15/2019 Los Angeles CA East - Drivers
2642671            Overtime      9.00   34.50 04/15/2019 Los Angeles CA East - Drivers
2642671            Regular      32.00   23.00 04/22/2019 Los Angeles CA East - Drivers
2642671            Overtime     10.50   34.50 04/22/2019 Los Angeles CA East - Drivers
2642671            Regular      32.00   23.00 04/29/2019 Los Angeles CA East - Drivers
2642671            Overtime     10.50   34.50 04/29/2019 Los Angeles CA East - Drivers
2642671            Regular       8.00   23.00 05/06/2019 Los Angeles CA East - Drivers
2642671 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.50Document
                                         34.50 38-5    Filed Los
                                                 05/06/2019  03/22/21
                                                                 AngelesPage 650
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
2642671            Regular        5.00   23.00 #:1423
                                                 05/13/2019 Los Angeles CA East - Drivers
2642671            Regular        8.00   20.00 02/25/2019 Los Angeles CA East - Drivers
2642671            Overtime       2.50   30.00 02/25/2019 Los Angeles CA East - Drivers
2642671            Regular       24.00   20.75 02/25/2019 Los Angeles CA East - Drivers
2642671            Overtime       7.50   31.13 02/25/2019 Los Angeles CA East - Drivers
2642671            Regular       24.00   23.00 05/13/2019 Los Angeles CA East - Drivers
2642671            Regular       40.00   23.00 05/20/2019 Los Angeles CA East - Drivers
2642671            Regular       32.00   23.00 05/27/2019 Los Angeles CA East - Drivers
2642671            Overtime       3.00   34.50 05/27/2019 Los Angeles CA East - Drivers
2642671            Regular       40.00   23.00 06/03/2019 Los Angeles CA East - Drivers
2642671            Regular       40.00   23.00 06/10/2019 Los Angeles CA East - Drivers
2642671            Regular       40.00   23.00 06/17/2019 Los Angeles CA East - Drivers
2642671            Regular       40.00   23.00 06/24/2019 Los Angeles CA East - Drivers
2642671            Regular       32.00   23.00 07/01/2019 Los Angeles CA East - Drivers
Total for 2642671             1,058.25
2576296            Regular       16.00   18.00 08/06/2018 Los Angeles CA West - Drivers
2576296            Overtime       2.50   27.00 08/06/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 08/13/2018 Los Angeles CA West - Drivers
2576296            Overtime       8.00   27.00 08/13/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 08/20/2018 Los Angeles CA West - Drivers
2576296            Overtime       7.24   27.00 08/20/2018 Los Angeles CA West - Drivers
2576296            Regular       32.00   18.00 08/27/2018 Los Angeles CA West - Drivers
2576296            Overtime      11.23   27.00 08/27/2018 Los Angeles CA West - Drivers
2576296            Regular       32.00   18.00 09/03/2018 Los Angeles CA West - Drivers
2576296            Overtime       4.50   27.00 09/03/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 09/10/2018 Los Angeles CA West - Drivers
2576296            Overtime       5.54   27.00 09/10/2018 Los Angeles CA West - Drivers
2576296            Regular       32.00   18.00 09/17/2018 Los Angeles CA West - Drivers
2576296            Overtime      10.13   27.00 09/17/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 09/24/2018 Los Angeles CA West - Drivers
2576296            Overtime       3.78   27.00 09/24/2018 Los Angeles CA West - Drivers
2576296            Regular       32.00   18.00 10/01/2018 Los Angeles CA West - Drivers
2576296            Overtime       6.28   27.00 10/01/2018 Los Angeles CA West - Drivers
2576296            Regular       48.00   18.00 10/01/2018 Los Angeles CA West - Drivers
2576296            Overtime       8.05   27.00 10/08/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 10/15/2018 Los Angeles CA West - Drivers
2576296            Overtime       8.04   27.00 10/15/2018 Los Angeles CA West - Drivers
2576296            Regular       32.00   18.00 10/22/2018 Los Angeles CA West - Drivers
2576296            Overtime       5.94   27.00 10/22/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 10/29/2018 Los Angeles CA West - Drivers
2576296            Overtime      11.15   27.00 10/29/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 11/05/2018 Los Angeles CA West - Drivers
2576296            Overtime       7.82   27.00 11/05/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 11/12/2018 Los Angeles CA West - Drivers
2576296            Overtime       2.33   27.00 11/12/2018 Los Angeles CA West - Drivers
2576296            Regular       24.00   18.00 11/19/2018 Los Angeles CA West - Drivers
2576296            Overtime       2.18   27.00 11/19/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 11/26/2018 Los Angeles CA West - Drivers
2576296            Overtime       4.90   27.00 11/26/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 12/03/2018 Los Angeles CA West - Drivers
2576296            Overtime       6.34   27.00 12/03/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 12/10/2018 Los Angeles CA West - Drivers
2576296            Overtime      14.58   27.00 12/10/2018 Los Angeles CA West - Drivers
2576296            Regular       32.00   18.00 12/17/2018 Los Angeles CA West - Drivers
2576296            Overtime       5.88   27.00 12/17/2018 Los Angeles CA West - Drivers
2576296            Regular       16.00   18.00 12/24/2018 Los Angeles CA West - Drivers
2576296            Overtime       1.25   27.00 12/24/2018 Los Angeles CA West - Drivers
2576296            Regular       24.00   18.00 12/31/2018 Los Angeles CA West - Drivers
2576296            Overtime       1.24   27.00 12/31/2018 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 01/07/2019 Los Angeles CA West - Drivers
2576296            Overtime       5.06   27.00 01/07/2019 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 01/14/2019 Los Angeles CA West - Drivers
2576296 Case 2:19-cv-08580-JFW-MAA
                   Overtime       7.60Document
                                         27.00 38-5    Filed Los
                                                 01/14/2019  03/22/21
                                                                 AngelesPage 651- Drivers
                                                                        CA West   of 691    Page ID
2576296            Regular       40.00   18.00 #:1424
                                                 01/21/2019 Los Angeles CA West - Drivers
2576296            Overtime       9.34   27.00 01/21/2019 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 01/28/2019 Los Angeles CA West - Drivers
2576296            Overtime       7.48   27.00 01/28/2019 Los Angeles CA West - Drivers
2576296            Regular       40.00   18.00 02/04/2019 Los Angeles CA West - Drivers
2576296            Overtime       9.29   27.00 02/04/2019 Los Angeles CA West - Drivers
2576296            Regular       16.00   18.00 02/11/2019 Los Angeles CA West - Drivers
2576296            Overtime       4.76   27.00 02/11/2019 Los Angeles CA West - Drivers
Total for 2576296             1,158.43
2408756            Regular       32.00   20.00 10/30/2017 Los Angeles CA West - Drivers
2408756            Overtime      16.00   30.00 10/30/2017 Los Angeles CA West - Drivers
2408756            Regular       40.00   20.00 11/06/2017 Los Angeles CA West - Drivers
2408756            Overtime      19.50   30.00 11/06/2017 Los Angeles CA West - Drivers
2408756            Regular       40.00   20.00 11/13/2017 Los Angeles CA West - Drivers
2408756            Overtime      20.00   30.00 11/13/2017 Los Angeles CA West - Drivers
2408756            Regular       24.00   20.00 11/20/2017 Los Angeles CA West - Drivers
2408756            Overtime      14.00   30.00 11/20/2017 Los Angeles CA West - Drivers
2408756            Regular       40.00   20.00 11/27/2017 Los Angeles CA West - Drivers
2408756            Overtime      15.75   37.50 11/27/2017 Los Angeles CA West - Drivers
2408756            Regular       24.00   20.00 12/04/2017 Los Angeles CA West - Drivers
2408756            Overtime      13.00   30.00 12/04/2017 Los Angeles CA West - Drivers
2408756            Regular       32.00   20.00 12/11/2017 Los Angeles CA West - Drivers
2408756            Overtime      16.00   30.00 12/11/2017 Los Angeles CA West - Drivers
2408756            Regular       40.00   20.00 12/18/2017 Los Angeles CA West - Drivers
2408756            Overtime      16.00   45.00 12/18/2017 Los Angeles CA West - Drivers
2408756            Regular       32.00   20.00 12/25/2017 Los Angeles CA West - Drivers
2408756            Overtime       8.00   45.00 12/25/2017 Los Angeles CA West - Drivers
2408756            Regular       24.00   20.00 01/01/2018 Los Angeles CA West - Drivers
2408756            Overtime      11.50   30.00 01/01/2018 Los Angeles CA West - Drivers
2408756            Regular       40.00   20.00 01/08/2018 Los Angeles CA West - Drivers
2408756            Overtime       5.80   30.00 01/08/2018 Los Angeles CA West - Drivers
2408756            Regular       32.00   21.00 01/15/2018 Los Angeles CA West - Drivers
2408756            Overtime       9.50   31.50 01/15/2018 Los Angeles CA West - Drivers
2408756            Regular        8.00   21.00 02/12/2018 Los Angeles CA West - Drivers
2408756            Overtime       1.50   31.50 02/12/2018 Los Angeles CA West - Drivers
2408756            Regular        8.00   21.00 02/19/2018 Los Angeles CA West - Drivers
2408756            Overtime       0.50   31.50 02/19/2018 Los Angeles CA West - Drivers
2408756            Regular        4.50   20.00 03/12/2018 Los Angeles CA West - Drivers
2408756            Regular        8.00   20.00 02/12/2018 Los Angeles CA West - Drivers
Total for 2408756               595.55
2376050            Regular        6.75   21.21 12/04/2017 Sacramento CA - Drivers
2376050            Regular       25.75   20.98 12/11/2017 Sacramento CA - Drivers
2376050            Regular       26.75   20.98 12/18/2017 Sacramento CA - Drivers
2376050            Regular        8.00   19.75 10/16/2017 Sacramento CA - Drivers
2376050            Overtime       4.00   29.63 10/16/2017 Sacramento CA - Drivers
2376050            Regular       40.00   19.75 10/23/2017 Sacramento CA - Drivers
2376050            Overtime      12.25   29.63 10/23/2017 Sacramento CA - Drivers
2376050            Regular       40.00   19.75 10/30/2017 Sacramento CA - Drivers
2376050            Overtime      18.25   29.63 10/30/2017 Sacramento CA - Drivers
2376050            Regular       40.00   19.75 11/06/2017 Sacramento CA - Drivers
2376050            Overtime      20.00   29.63 11/06/2017 Sacramento CA - Drivers
2376050            Regular       40.00   19.75 11/13/2017 Sacramento CA - Drivers
2376050            Overtime      17.00   29.63 11/13/2017 Sacramento CA - Drivers
2376050            Regular       24.00   19.75 11/20/2017 Sacramento CA - Drivers
2376050            Overtime       9.25   29.63 11/20/2017 Sacramento CA - Drivers
2376050            Regular       40.00   19.75 11/27/2017 Sacramento CA - Drivers
2376050            Overtime      16.75   29.63 11/27/2017 Sacramento CA - Drivers
2376050            Regular       32.00   19.00 01/08/2018 Sacramento CA - Drivers
2376050            Regular       40.00   19.00 01/15/2018 Sacramento CA - Drivers
2376050            Overtime       1.50   28.50 01/15/2018 Sacramento CA - Drivers
2376050            Regular       40.00   19.00 01/22/2018 Sacramento CA - Drivers
2376050            Overtime       1.00   28.50 01/22/2018 Sacramento CA - Drivers
2376050 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        19.00 38-5    Filed Sacramento
                                                01/29/2018  03/22/21 Page    652 of 691
                                                                       CA - Drivers       Page ID
2376050            Regular      24.00   19.00 #:1425
                                                02/05/2018 Sacramento CA - Drivers
2376050            Overtime      0.50   28.50 02/05/2018 Sacramento CA - Drivers
2376050            Regular      40.00   19.00 02/12/2018 Sacramento CA - Drivers
2376050            Overtime      2.75   28.50 02/12/2018 Sacramento CA - Drivers
2376050            Regular      40.00   19.00 02/19/2018 Sacramento CA - Drivers
2376050            Overtime      2.75   28.50 02/19/2018 Sacramento CA - Drivers
2376050            Regular      40.00   19.00 02/26/2018 Sacramento CA - Drivers
2376050            Overtime      5.50   28.50 02/26/2018 Sacramento CA - Drivers
2376050            Regular      40.00   19.00 03/05/2018 Sacramento CA - Drivers
2376050            Overtime      1.50   28.50 03/05/2018 Sacramento CA - Drivers
2376050            Regular      40.00   19.00 03/12/2018 Sacramento CA - Drivers
2376050            Overtime     12.50   28.50 03/12/2018 Sacramento CA - Drivers
2376050            Regular      32.00   19.00 03/19/2018 Sacramento CA - Drivers
2376050            Regular       8.00   20.50 12/25/2017 Sacramento CA - Drivers
2376050            Overtime      2.10   30.75 12/25/2017 Sacramento CA - Drivers
Total for 2376050              834.85
2151911            Regular      54.00   21.85 01/02/2017 Los Angeles CA West - Drivers
2151911            Regular      26.25   20.98 01/09/2017 Los Angeles CA West - Drivers
2151911            Regular      17.75   20.98 01/16/2017 Los Angeles CA West - Drivers
Total for 2151911               98.00
2782091            Regular      32.00   21.00 06/17/2019 Sacramento CA - Drivers
2782091            Overtime      6.50   31.50 06/17/2019 Sacramento CA - Drivers
2782091            Regular      40.00   21.00 06/24/2019 Sacramento CA - Drivers
2782091            Overtime     23.25   31.50 06/24/2019 Sacramento CA - Drivers
2782091            Regular      32.00   21.00 07/01/2019 Sacramento CA - Drivers
2782091            Overtime      8.75   31.50 07/01/2019 Sacramento CA - Drivers
2782091            Regular      40.00   21.00 07/08/2019 Sacramento CA - Drivers
2782091            Overtime     11.00   31.50 07/08/2019 Sacramento CA - Drivers
2782091            Regular      40.00   21.00 07/15/2019 Sacramento CA - Drivers
2782091            Overtime      5.25   31.50 07/15/2019 Sacramento CA - Drivers
2782091            Regular      26.00   21.00 07/22/2019 Sacramento CA - Drivers
2782091            Overtime      6.00   31.50 07/22/2019 Sacramento CA - Drivers
2782091            Regular      40.00   21.00 07/29/2019 Sacramento CA - Drivers
2782091            Overtime      8.00   31.50 07/29/2019 Sacramento CA - Drivers
2782091            Regular      24.00   21.00 08/05/2019 Sacramento CA - Drivers
2782091            Overtime      5.75   31.50 08/05/2019 Sacramento CA - Drivers
2782091            Regular      40.00   21.00 08/12/2019 Sacramento CA - Drivers
2782091            Overtime      8.25   31.50 08/12/2019 Sacramento CA - Drivers
2782091            Regular      40.00   21.00 08/19/2019 Sacramento CA - Drivers
2782091            Overtime      8.25   31.50 08/19/2019 Sacramento CA - Drivers
2782091            Regular      32.00   21.00 08/26/2019 Sacramento CA - Drivers
2782091            Overtime      8.50   31.50 08/26/2019 Sacramento CA - Drivers
2782091            Regular      16.00   21.00 09/02/2019 Sacramento CA - Drivers
2782091            Overtime      6.50   31.50 09/02/2019 Sacramento CA - Drivers
2782091            Regular       8.00   22.00 07/22/2019 Sacramento CA - Drivers
2782091            Overtime      3.50   33.00 07/22/2019 Sacramento CA - Drivers
Total for 2782091              519.50
2283439            Regular      30.00   20.98 07/03/2017 Sacramento CA - Drivers
2283439            Regular       8.00   19.75 07/10/2017 Sacramento CA - Drivers
2283439            Overtime      2.00   29.63 07/10/2017 Sacramento CA - Drivers
2283439            Regular      32.00   19.75 07/17/2017 Sacramento CA - Drivers
2283439            Overtime      5.00   29.63 07/17/2017 Sacramento CA - Drivers
2283439            Regular      40.00   19.75 07/24/2017 Sacramento CA - Drivers
2283439            Overtime     15.50   29.63 07/24/2017 Sacramento CA - Drivers
2283439            Regular      22.00   19.75 07/31/2017 Sacramento CA - Drivers
2283439            Overtime      7.00   29.63 07/31/2017 Sacramento CA - Drivers
2283439            Regular      40.00   19.75 08/07/2017 Sacramento CA - Drivers
2283439            Overtime     15.00   29.63 08/07/2017 Sacramento CA - Drivers
2283439            Regular      24.00   19.75 08/14/2017 Sacramento CA - Drivers
2283439            Overtime      8.00   29.63 08/14/2017 Sacramento CA - Drivers
2283439            Regular      40.00   19.75 08/21/2017 Sacramento CA - Drivers
2283439            Overtime     17.50   29.63 08/21/2017 Sacramento CA - Drivers
2283439 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        19.75 38-5    Filed Sacramento
                                                08/28/2017  03/22/21 Page    653 of 691
                                                                       CA - Drivers       Page ID
2283439            Overtime     14.50   29.63 #:1426
                                                08/28/2017 Sacramento CA - Drivers
2283439            Regular      24.00   19.75 09/04/2017 Sacramento CA - Drivers
2283439            Overtime      9.00   29.63 09/04/2017 Sacramento CA - Drivers
2283439            Regular      40.00   19.75 09/11/2017 Sacramento CA - Drivers
2283439            Overtime     13.00   29.63 09/11/2017 Sacramento CA - Drivers
2283439            Regular      32.00   19.75 09/18/2017 Sacramento CA - Drivers
2283439            Overtime     10.00   29.63 09/18/2017 Sacramento CA - Drivers
2283439            Regular      28.50   19.75 09/25/2017 Sacramento CA - Drivers
2283439            Overtime      2.50   29.63 09/25/2017 Sacramento CA - Drivers
2283439            Regular      40.00   19.75 10/02/2017 Sacramento CA - Drivers
2283439            Overtime      9.00   29.63 10/02/2017 Sacramento CA - Drivers
2283439            Regular      32.00   19.75 10/09/2017 Sacramento CA - Drivers
2283439            Overtime     15.00   29.63 10/09/2017 Sacramento CA - Drivers
2283439            Regular      24.00   19.75 10/16/2017 Sacramento CA - Drivers
2283439            Overtime     11.00   29.63 10/16/2017 Sacramento CA - Drivers
2283439            Regular      32.00   19.75 10/23/2017 Sacramento CA - Drivers
2283439            Overtime     13.50   29.63 10/23/2017 Sacramento CA - Drivers
2283439            Regular      40.00   19.75 10/30/2017 Sacramento CA - Drivers
2283439            Overtime     14.00   29.63 10/30/2017 Sacramento CA - Drivers
Total for 2283439              750.00
2514162            Regular       6.00   21.21 05/07/2018 Sacramento CA - Drivers
2514162            Regular       8.00   20.00 04/30/2018 Sacramento CA - Drivers
2514162            Regular      24.00   20.00 05/07/2018 Sacramento CA - Drivers
2514162            Overtime      1.50   30.00 05/07/2018 Sacramento CA - Drivers
Total for 2514162               39.50
2695132            Regular       8.00   21.00 04/15/2019 Sacramento CA - Drivers
2695132            Overtime      2.50   31.50 04/15/2019 Sacramento CA - Drivers
Total for 2695132               10.50
754033             Regular      32.00   19.25 10/02/2017 Los Angeles CA West - Drivers
754033             Overtime     15.75   28.88 10/02/2017 Los Angeles CA West - Drivers
754033             Regular      39.75   19.25 10/09/2017 Los Angeles CA West - Drivers
754033             Overtime      8.00   28.88 10/09/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.25 10/16/2017 Los Angeles CA West - Drivers
754033             Overtime     10.25   28.88 10/16/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.25 10/23/2017 Los Angeles CA West - Drivers
754033             Overtime      2.00   28.88 10/23/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.25 10/30/2017 Los Angeles CA West - Drivers
754033             Overtime     12.25   28.88 10/30/2017 Los Angeles CA West - Drivers
754033             Regular      16.00   19.25 11/13/2017 Los Angeles CA West - Drivers
754033             Overtime      4.50   28.88 11/13/2017 Los Angeles CA West - Drivers
754033             Regular      24.00   19.25 11/20/2017 Los Angeles CA West - Drivers
754033             Overtime      6.25   28.88 11/20/2017 Los Angeles CA West - Drivers
754033             Regular       8.00   19.25 11/27/2017 Los Angeles CA West - Drivers
754033             Overtime      2.25   28.88 11/27/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.50 07/17/2017 Los Angeles CA West - Drivers
754033             Overtime      6.00   29.25 07/17/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.50 07/24/2017 Los Angeles CA West - Drivers
754033             Overtime      6.00   29.25 07/24/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.50 07/31/2017 Los Angeles CA West - Drivers
754033             Overtime     12.00   29.25 07/31/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.50 08/07/2017 Los Angeles CA West - Drivers
754033             Overtime      8.00   29.25 08/07/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.50 08/14/2017 Los Angeles CA West - Drivers
754033             Overtime      9.00   29.25 08/14/2017 Los Angeles CA West - Drivers
754033             Regular      24.00   19.50 08/21/2017 Los Angeles CA West - Drivers
754033             Overtime      4.50   29.25 08/21/2017 Los Angeles CA West - Drivers
754033             Regular      32.00   19.50 08/28/2017 Los Angeles CA West - Drivers
754033             Overtime      6.00   29.25 08/28/2017 Los Angeles CA West - Drivers
754033             Regular      32.00   19.50 09/04/2017 Los Angeles CA West - Drivers
754033             Overtime      7.00   29.25 09/04/2017 Los Angeles CA West - Drivers
754033             Regular      40.00   19.50 09/11/2017 Los Angeles CA West - Drivers
754033             Overtime      9.00   29.25 09/11/2017 Los Angeles CA West - Drivers
754033 Case 2:19-cv-08580-JFW-MAA
                  Regular      35.00Document
                                       19.50 38-5    Filed Los
                                               09/18/2017  03/22/21
                                                               AngelesPage 654- Drivers
                                                                      CA West   of 691    Page ID
754033            Overtime      1.50   29.25 #:1427
                                               09/18/2017 Los Angeles CA West - Drivers
754033            Regular      35.25   19.50 09/25/2017 Los Angeles CA West - Drivers
754033            Overtime      1.25   29.25 09/25/2017 Los Angeles CA West - Drivers
754033            Regular      35.00   21.00 11/27/2017 Los Angeles CA West - Drivers
754033            Regular      50.00   21.00 12/04/2017 Los Angeles CA West - Drivers
Total for 754033              854.50
2465512           Regular      16.00   20.50 10/01/2018 Los Angeles CA East - Drivers
2465512           Overtime      2.00   30.75 10/01/2018 Los Angeles CA East - Drivers
2465512           Regular      34.00   20.50 10/08/2018 Los Angeles CA East - Drivers
2465512           Overtime      7.00   30.75 10/08/2018 Los Angeles CA East - Drivers
2465512           Regular       8.00   21.00 09/17/2018 Los Angeles CA East - Drivers
2465512           Regular      16.00   21.00 09/24/2018 Los Angeles CA East - Drivers
2465512           Overtime      4.25   31.50 09/24/2018 Los Angeles CA East - Drivers
2465512           Regular      24.00   21.00 10/22/2018 Los Angeles CA East - Drivers
2465512           Overtime     10.25   31.50 10/22/2018 Los Angeles CA East - Drivers
2465512           Regular       8.00   20.00 03/05/2018 Los Angeles CA East - Drivers
2465512           Regular      40.00   20.00 03/12/2018 Los Angeles CA East - Drivers
2465512           Overtime      5.64   30.00 03/12/2018 Los Angeles CA East - Drivers
2465512           Regular      40.00   20.00 03/19/2018 Los Angeles CA East - Drivers
2465512           Overtime      6.41   30.00 03/19/2018 Los Angeles CA East - Drivers
2465512           Regular      40.00   20.00 03/26/2018 Los Angeles CA East - Drivers
2465512           Overtime      9.80   30.00 03/26/2018 Los Angeles CA East - Drivers
2465512           Regular      40.00   20.00 04/02/2018 Los Angeles CA East - Drivers
2465512           Overtime      8.99   30.00 04/02/2018 Los Angeles CA East - Drivers
2465512           Regular      40.00   20.00 04/09/2018 Los Angeles CA East - Drivers
2465512           Overtime      9.80   30.00 04/09/2018 Los Angeles CA East - Drivers
2465512           Regular      40.00   20.00 04/16/2018 Los Angeles CA East - Drivers
2465512           Overtime      7.15   30.00 04/16/2018 Los Angeles CA East - Drivers
2465512           Regular      16.00   20.00 04/23/2018 Los Angeles CA East - Drivers
2465512           Overtime      1.67   30.00 04/23/2018 Los Angeles CA East - Drivers
2465512           Regular       8.00   20.00 04/30/2018 Los Angeles CA East - Drivers
2465512           Overtime      0.57   30.00 04/30/2018 Los Angeles CA East - Drivers
2465512           Regular       8.00   20.00 05/07/2018 Los Angeles CA East - Drivers
2465512           Overtime      3.27   30.00 05/07/2018 Los Angeles CA East - Drivers
2465512           Regular      16.00   20.00 05/21/2018 Los Angeles CA East - Drivers
2465512           Overtime      3.77   30.00 05/21/2018 Los Angeles CA East - Drivers
2465512           Regular       8.00   20.00 05/28/2018 Los Angeles CA East - Drivers
2465512           Overtime      2.00   30.00 05/28/2018 Los Angeles CA East - Drivers
Total for 2465512             484.57
1388477           Regular       8.00   23.50 07/10/2017 Sacramento CA - Drivers
1388477           Overtime      1.50   35.25 07/10/2017 Sacramento CA - Drivers
1388477           Regular      38.00   22.50 07/17/2017 Sacramento CA - Drivers
1388477           Overtime     12.00   33.75 07/17/2017 Sacramento CA - Drivers
1388477           Regular      16.00   23.50 07/24/2017 Sacramento CA - Drivers
1388477           Overtime      2.50   35.25 07/24/2017 Sacramento CA - Drivers
1388477           Regular      40.00   23.50 07/31/2017 Sacramento CA - Drivers
1388477           Overtime     11.00   35.25 07/31/2017 Sacramento CA - Drivers
1388477           Regular      38.00   23.50 08/07/2017 Sacramento CA - Drivers
1388477           Overtime     12.00   35.25 08/07/2017 Sacramento CA - Drivers
1388477           Regular      23.00   23.50 08/14/2017 Sacramento CA - Drivers
1388477           Overtime      2.00   35.25 08/14/2017 Sacramento CA - Drivers
1388477           Regular      24.00   23.50 08/21/2017 Sacramento CA - Drivers
1388477           Overtime      2.00   35.25 08/21/2017 Sacramento CA - Drivers
1388477           Regular      38.00   23.50 08/28/2017 Sacramento CA - Drivers
1388477           Overtime      7.50   35.25 08/28/2017 Sacramento CA - Drivers
1388477           Regular      24.00   23.50 10/16/2017 Sacramento CA - Drivers
1388477           Overtime      1.50   35.25 10/16/2017 Sacramento CA - Drivers
1388477           Regular      24.00   23.50 10/23/2017 Sacramento CA - Drivers
1388477           Overtime      5.50   35.25 10/23/2017 Sacramento CA - Drivers
1388477           Regular      42.50   20.92 05/29/2017 Sacramento CA - Drivers
1388477           Regular      11.50   20.92 06/05/2017 Sacramento CA - Drivers
1388477           Regular      21.00   20.98 06/12/2017 Sacramento CA - Drivers
1388477 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          20.92 38-5    Filed Sacramento
                                                  07/03/2017  03/22/21 Page    655 of 691 Page ID
                                                                         CA - Drivers
1388477              Overtime     10.50   31.38 #:1428
                                                  07/03/2017 Sacramento CA - Drivers
1388477             Regular        32.50    20.92   07/10/2017   Sacramento   CA   - Drivers
1388477             Regular        10.50    20.92   07/24/2017   Sacramento   CA   - Drivers
1388477             Regular        23.50    20.92   08/14/2017   Sacramento   CA   - Drivers
1388477             Regular        11.00    20.92   08/21/2017   Sacramento   CA   - Drivers
1388477             Regular         -1.25   20.92   08/21/2017   Sacramento   CA   - Drivers
1388477             Regular        37.50    20.92   09/04/2017   Sacramento   CA   - Drivers
1388477             Regular        69.00    20.92   09/11/2017   Sacramento   CA   - Drivers
1388477             Regular        50.00    20.92   09/18/2017   Sacramento   CA   - Drivers
1388477             Regular        10.00    20.92   09/25/2017   Sacramento   CA   - Drivers
1388477             Regular        63.50    20.92   10/02/2017   Sacramento   CA   - Drivers
1388477             Regular        25.50    20.92   10/09/2017   Sacramento   CA   - Drivers
1388477             Regular        11.75    20.92   10/16/2017   Sacramento   CA   - Drivers
1388477             Regular          8.00   23.00   09/12/2016   Sacramento   CA   - Drivers
1388477             Regular        39.75    23.00   09/19/2016   Sacramento   CA   - Drivers
1388477             Overtime         4.00   34.50   09/19/2016   Sacramento   CA   - Drivers
1388477             Regular          6.00   23.00   09/26/2016   Sacramento   CA   - Drivers
1388477             Regular        38.50    23.00   10/03/2016   Sacramento   CA   - Drivers
1388477             Overtime         5.25   34.50   10/03/2016   Sacramento   CA   - Drivers
1388477             Regular        29.50    23.00   10/10/2016   Sacramento   CA   - Drivers
1388477             Overtime         2.25   34.50   10/10/2016   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   10/17/2016   Sacramento   CA   - Drivers
1388477             Overtime         4.50   34.50   10/17/2016   Sacramento   CA   - Drivers
1388477             Regular        40.00    23.00   10/24/2016   Sacramento   CA   - Drivers
1388477             Overtime       18.25    34.50   10/24/2016   Sacramento   CA   - Drivers
1388477             Regular        40.00    23.00   10/31/2016   Sacramento   CA   - Drivers
1388477             Overtime       15.50    34.50   10/31/2016   Sacramento   CA   - Drivers
1388477             Regular        40.00    23.00   11/07/2016   Sacramento   CA   - Drivers
1388477             Overtime       19.50    34.50   11/07/2016   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   11/14/2016   Sacramento   CA   - Drivers
1388477             Overtime       13.00    34.50   11/14/2016   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   11/28/2016   Sacramento   CA   - Drivers
1388477             Overtime       13.50    34.50   11/28/2016   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   12/05/2016   Sacramento   CA   - Drivers
1388477             Overtime       11.00    34.50   12/05/2016   Sacramento   CA   - Drivers
1388477             Regular        40.00    23.00   12/12/2016   Sacramento   CA   - Drivers
1388477             Overtime       17.50    34.50   12/12/2016   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   12/19/2016   Sacramento   CA   - Drivers
1388477             Overtime       16.00    34.50   12/19/2016   Sacramento   CA   - Drivers
1388477             Regular        16.00    23.00   12/26/2016   Sacramento   CA   - Drivers
1388477             Overtime         4.50   34.50   12/26/2016   Sacramento   CA   - Drivers
1388477             Regular        15.50    23.00   01/02/2017   Sacramento   CA   - Drivers
1388477             Overtime         4.00   34.50   01/02/2017   Sacramento   CA   - Drivers
1388477             Regular        23.50    23.00   01/30/2017   Sacramento   CA   - Drivers
1388477             Overtime         3.50   34.50   01/30/2017   Sacramento   CA   - Drivers
1388477             Regular          8.00   23.00   02/06/2017   Sacramento   CA   - Drivers
1388477             Overtime         2.50   34.50   02/06/2017   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   02/27/2017   Sacramento   CA   - Drivers
1388477             Overtime       10.50    34.50   02/27/2017   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   03/06/2017   Sacramento   CA   - Drivers
1388477             Overtime         8.00   34.50   03/06/2017   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   03/13/2017   Sacramento   CA   - Drivers
1388477             Overtime         7.00   34.50   03/13/2017   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   03/20/2017   Sacramento   CA   - Drivers
1388477             Overtime         8.50   34.50   03/20/2017   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   03/27/2017   Sacramento   CA   - Drivers
1388477             Overtime         6.00   34.50   03/27/2017   Sacramento   CA   - Drivers
1388477             Regular        28.00    23.00   04/03/2017   Sacramento   CA   - Drivers
1388477             Overtime         5.50   34.50   04/03/2017   Sacramento   CA   - Drivers
1388477             Regular        40.00    23.00   04/10/2017   Sacramento   CA   - Drivers
1388477             Overtime         8.00   34.50   04/10/2017   Sacramento   CA   - Drivers
1388477             Regular        32.00    23.00   04/17/2017   Sacramento   CA   - Drivers
1388477 Case 2:19-cv-08580-JFW-MAA
                   Overtime       8.50Document
                                         34.50 38-5    Filed Sacramento
                                                 04/17/2017  03/22/21 Page    656 of 691
                                                                        CA - Drivers       Page ID
1388477            Regular       40.00   23.00 #:1429
                                                 04/24/2017 Sacramento CA - Drivers
1388477            Overtime      13.50   34.50 04/24/2017 Sacramento CA - Drivers
1388477            Regular       40.00   23.00 05/01/2017 Sacramento CA - Drivers
1388477            Overtime       9.50   34.50 05/01/2017 Sacramento CA - Drivers
1388477            Regular       40.00   23.00 05/08/2017 Sacramento CA - Drivers
1388477            Overtime       3.00   34.50 05/08/2017 Sacramento CA - Drivers
1388477            Regular       24.00   23.00 05/15/2017 Sacramento CA - Drivers
1388477            Overtime       6.00   34.50 05/15/2017 Sacramento CA - Drivers
Total for 1388477             1,949.00
1350969            Regular       40.00   20.00 04/23/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.00   30.00 04/23/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 04/30/2018 Los Angeles CA East - Drivers
1350969            Overtime       4.50   30.00 04/30/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 05/07/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.50   31.50 05/07/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 05/14/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.00   31.50 05/14/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 05/21/2018 Los Angeles CA East - Drivers
1350969            Overtime       2.50   31.50 05/21/2018 Los Angeles CA East - Drivers
1350969            Regular       32.00   21.00 05/28/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.50   31.50 05/28/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 06/04/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.25   31.50 06/04/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 06/11/2018 Los Angeles CA East - Drivers
1350969            Overtime       3.75   31.50 06/11/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 06/18/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.25   31.50 06/18/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 06/25/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.75   31.50 06/25/2018 Los Angeles CA East - Drivers
1350969            Regular       24.00   21.00 07/09/2018 Los Angeles CA East - Drivers
1350969            Overtime       4.50   31.50 07/09/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 07/16/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.00   31.50 07/16/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 07/23/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.00   31.50 07/23/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 07/30/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.00   31.50 07/30/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 08/06/2018 Los Angeles CA East - Drivers
1350969            Overtime       2.75   31.50 08/06/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 08/13/2018 Los Angeles CA East - Drivers
1350969            Overtime       2.75   31.50 08/13/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 08/20/2018 Los Angeles CA East - Drivers
1350969            Overtime       2.75   31.50 08/20/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 08/27/2018 Los Angeles CA East - Drivers
1350969            Overtime       3.50   31.50 08/27/2018 Los Angeles CA East - Drivers
1350969            Regular       32.00   21.00 09/03/2018 Los Angeles CA East - Drivers
1350969            Overtime       2.25   31.50 09/03/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 09/10/2018 Los Angeles CA East - Drivers
1350969            Overtime       7.50   31.50 09/10/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 09/17/2018 Los Angeles CA East - Drivers
1350969            Overtime       2.75   31.50 09/17/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 09/24/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.50   31.50 09/24/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 10/01/2018 Los Angeles CA East - Drivers
1350969            Overtime       3.50   31.50 10/01/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 10/08/2018 Los Angeles CA East - Drivers
1350969            Overtime       1.50   31.50 10/08/2018 Los Angeles CA East - Drivers
1350969            Regular       29.00   21.00 10/15/2018 Los Angeles CA East - Drivers
1350969            Overtime       0.50   31.50 10/15/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 12/03/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.00   31.50 12/03/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   21.00 12/10/2018 Los Angeles CA East - Drivers
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                     Overtime     10.00Document
                                          31.50 38-5    Filed Los
                                                  12/10/2018  03/22/21
                                                                  AngelesPage 657
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1350969              Regular      40.00   21.00 #:1430
                                                  12/17/2018 Los Angeles CA East - Drivers
1350969              Overtime        8.75    31.50   12/17/2018   Los   Angeles   CA   East   - Drivers
1350969              Regular        24.00    21.00   12/24/2018   Los   Angeles   CA   East   - Drivers
1350969              Overtime        1.00    31.50   12/24/2018   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    21.00   12/31/2018   Los   Angeles   CA   East   - Drivers
1350969              Overtime        4.75    31.50   12/31/2018   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    21.00   01/07/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.25    31.50   01/07/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    21.00   01/14/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.00    31.50   01/14/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.00    31.50   01/21/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    21.00   01/28/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.25    31.50   01/28/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    21.00   02/04/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    23.50   02/11/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.50    35.25   02/11/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    23.50   02/18/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.50    35.25   02/18/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    23.50   02/25/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.00    35.25   02/25/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    23.50   03/04/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.00    35.25   03/04/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    23.50   03/11/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        5.00    35.25   03/11/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    23.50   03/18/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.50    35.25   03/18/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        36.75    23.50   03/25/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        5.50    35.25   03/25/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    23.50   04/01/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        5.00    35.25   04/01/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        36.50    23.50   04/08/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        0.50    35.25   04/08/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    23.50   04/15/2019   Los   Angeles   CA   East   - Drivers
1350969              Overtime        3.00    35.25   04/15/2019   Los   Angeles   CA   East   - Drivers
1350969              Regular         8.00    19.00   06/27/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        3.00    28.50   06/27/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   07/04/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.00    28.50   07/04/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/11/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.75    28.50   07/11/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/18/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.25    28.50   07/18/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/25/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        3.50    28.50   07/25/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/01/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.25    28.50   08/01/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/08/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        5.00    28.50   08/08/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/15/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.75    28.50   08/15/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/22/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.00    28.50   08/22/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/29/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.25    28.50   08/29/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   09/05/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        4.50    28.50   09/05/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   09/12/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.75    28.50   09/12/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   09/19/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        4.75    28.50   09/19/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   09/26/2016   Los   Angeles   CA   East   - Drivers
1350969 Case   2:19-cv-08580-JFW-MAA
                     Overtime      6.00Document
                                          28.50 38-5    Filed Los
                                                  09/26/2016  03/22/21
                                                                  AngelesPage 658
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1350969              Regular      40.00   19.00 #:1431
                                                  10/03/2016 Los Angeles CA East - Drivers
1350969              Overtime        8.50    28.50   10/03/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/10/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime       11.75    28.50   10/10/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/17/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.00    28.50   10/17/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/24/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.50    28.50   10/24/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/31/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.00    28.50   10/31/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   11/07/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.25    28.50   11/07/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   11/14/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.50    28.50   11/14/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        24.00    19.00   11/21/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.00    28.50   11/21/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   11/28/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime       15.00    28.50   11/28/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   12/05/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.75    28.50   12/05/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   12/12/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.25    28.50   12/12/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   12/19/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.75    28.50   12/19/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   12/26/2016   Los   Angeles   CA   East   - Drivers
1350969              Overtime        5.25    28.50   12/26/2016   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   01/02/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.25    28.50   01/02/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   01/09/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.75    28.50   01/09/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        24.00    19.00   01/16/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.25    28.50   01/16/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   01/23/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.75    28.50   01/23/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   01/30/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       15.50    28.50   01/30/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   02/06/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.75    28.50   02/06/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   02/13/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.50    28.50   02/13/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   02/20/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       11.75    28.50   02/20/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   02/27/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       15.25    28.50   02/27/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   03/06/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       13.00    28.50   03/06/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   03/13/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.50    28.50   03/13/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   03/20/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       11.75    28.50   03/20/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   03/27/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       14.25    28.50   03/27/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   04/03/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       15.50    28.50   04/03/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   04/10/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       13.25    28.50   04/10/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   04/17/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       13.00    28.50   04/17/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   04/24/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.50    28.50   04/24/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        39.75    19.00   05/01/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.50    28.50   05/01/2017   Los   Angeles   CA   East   - Drivers
1350969 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          19.00 38-5    Filed Los
                                                  05/08/2017  03/22/21
                                                                  AngelesPage 659
                                                                         CA East    of 691 Page ID
                                                                                 - Drivers
1350969              Overtime      7.50   28.50 #:1432
                                                  05/08/2017 Los Angeles CA East - Drivers
1350969              Regular        40.00    19.00   05/15/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.00    28.50   05/15/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   05/22/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.00    28.50   05/22/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   05/29/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.00    28.50   05/29/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        16.00    19.00   06/05/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        3.25    28.50   06/05/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   06/12/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        6.00    28.50   06/12/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   06/19/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.25    28.50   06/19/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   06/26/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.25    28.50   06/26/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        31.25    19.00   07/03/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        5.75    28.50   07/03/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/10/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.75    28.50   07/10/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/17/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.25    28.50   07/17/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/24/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.25    28.50   07/24/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   07/31/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       11.75    28.50   07/31/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/07/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       11.00    28.50   08/07/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        24.00    19.00   08/14/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        4.00    28.50   08/14/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/21/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.25    28.50   08/21/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   08/28/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       10.25    28.50   08/28/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        32.00    19.00   09/04/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.75    28.50   09/04/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   09/11/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.00    28.50   09/11/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        16.00    19.00   09/18/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        3.50    28.50   09/18/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        24.00    19.00   09/25/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.25    28.50   09/25/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/02/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.25    28.50   10/02/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/09/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       12.75    28.50   10/09/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/16/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       15.00    28.50   10/16/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   10/23/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       22.25    28.50   10/23/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        39.00    19.00   10/30/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        7.00    28.50   10/30/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   11/06/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        8.00    28.50   11/06/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    19.00   11/13/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       15.25    28.50   11/13/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        24.00    19.00   11/20/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        4.25    28.50   11/20/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    20.00   11/27/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime       13.50    30.00   11/27/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        38.50    20.00   12/04/2017   Los   Angeles   CA   East   - Drivers
1350969              Overtime        9.50    30.00   12/04/2017   Los   Angeles   CA   East   - Drivers
1350969              Regular        40.00    20.00   12/11/2017   Los   Angeles   CA   East   - Drivers
1350969 Case 2:19-cv-08580-JFW-MAA
                   Overtime      13.50Document
                                         30.00 38-5    Filed Los
                                                 12/11/2017  03/22/21
                                                                 AngelesPage 660
                                                                        CA East    of 691
                                                                                - Drivers   Page ID
1350969            Regular       40.00   20.00 #:1433
                                                 12/18/2017 Los Angeles CA East - Drivers
1350969            Overtime      16.25   30.00 12/18/2017 Los Angeles CA East - Drivers
1350969            Regular       31.25   20.00 12/25/2017 Los Angeles CA East - Drivers
1350969            Overtime       5.25   30.00 12/25/2017 Los Angeles CA East - Drivers
1350969            Regular       32.00   20.00 01/01/2018 Los Angeles CA East - Drivers
1350969            Overtime       7.75   30.00 01/01/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 01/08/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.50   30.00 01/08/2018 Los Angeles CA East - Drivers
1350969            Regular       32.00   20.00 01/15/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.25   30.00 01/15/2018 Los Angeles CA East - Drivers
1350969            Regular       24.00   20.00 01/22/2018 Los Angeles CA East - Drivers
1350969            Overtime       3.25   30.00 01/22/2018 Los Angeles CA East - Drivers
1350969            Regular       32.00   20.00 01/29/2018 Los Angeles CA East - Drivers
1350969            Overtime       8.00   30.00 01/29/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 02/05/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.25   30.00 02/05/2018 Los Angeles CA East - Drivers
1350969            Regular       32.50   20.00 02/12/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.00   30.00 02/12/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 02/19/2018 Los Angeles CA East - Drivers
1350969            Overtime      14.50   30.00 02/19/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 02/26/2018 Los Angeles CA East - Drivers
1350969            Overtime      11.25   30.00 02/26/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 03/05/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.00   30.00 03/05/2018 Los Angeles CA East - Drivers
1350969            Regular       32.00   20.00 03/12/2018 Los Angeles CA East - Drivers
1350969            Overtime       9.75   30.00 03/12/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 03/19/2018 Los Angeles CA East - Drivers
1350969            Overtime       6.25   30.00 03/19/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 03/26/2018 Los Angeles CA East - Drivers
1350969            Overtime       8.25   30.00 03/26/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 04/02/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.50   30.00 04/02/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 04/09/2018 Los Angeles CA East - Drivers
1350969            Overtime       5.75   30.00 04/09/2018 Los Angeles CA East - Drivers
1350969            Regular       40.00   20.00 04/16/2018 Los Angeles CA East - Drivers
1350969            Overtime       7.75   30.00 04/16/2018 Los Angeles CA East - Drivers
Total for 1350969             6,255.75
1435573            Regular        7.50   18.00 01/30/2017 Sacramento CA - Drivers
1435573            Regular       25.75   19.50 01/23/2017 Sacramento CA - Drivers
1435573            Overtime       3.75   29.25 01/23/2017 Sacramento CA - Drivers
1435573            Regular       15.50   19.50 01/30/2017 Sacramento CA - Drivers
1435573            Overtime       1.25   29.25 01/30/2017 Sacramento CA - Drivers
1435573            Regular       21.50   19.50 03/13/2017 Sacramento CA - Drivers
1435573            Overtime       4.75   29.25 03/13/2017 Sacramento CA - Drivers
1435573            Regular       13.75   19.50 03/20/2017 Sacramento CA - Drivers
1435573            Overtime       1.50   29.25 03/20/2017 Sacramento CA - Drivers
1435573            Regular       26.00   19.50 03/27/2017 Sacramento CA - Drivers
1435573            Overtime       3.00   29.25 03/27/2017 Sacramento CA - Drivers
1435573            Regular       23.75   19.50 04/03/2017 Sacramento CA - Drivers
1435573            Overtime       2.50   29.25 04/03/2017 Sacramento CA - Drivers
1435573            Regular        6.25   21.00 01/23/2017 Sacramento CA - Drivers
1435573            Regular       17.00   21.00 10/24/2016 Sacramento CA - Drivers
1435573            Overtime       0.50   31.50 10/24/2016 Sacramento CA - Drivers
1435573            Regular       57.50   21.00 10/24/2016 Sacramento CA - Drivers
1435573            Overtime       1.50   31.50 10/24/2016 Sacramento CA - Drivers
1435573            Regular       48.00   21.00 11/07/2016 Sacramento CA - Drivers
1435573            Overtime       3.00   31.50 11/07/2016 Sacramento CA - Drivers
1435573            Regular       49.00   21.00 11/14/2016 Sacramento CA - Drivers
1435573            Overtime       1.50   31.50 11/14/2016 Sacramento CA - Drivers
1435573            Regular       36.00   21.00 11/21/2016 Sacramento CA - Drivers
1435573            Overtime       7.50   31.50 11/21/2016 Sacramento CA - Drivers
1435573            Regular       48.50   21.00 11/28/2016 Sacramento CA - Drivers
1435573 Case 2:19-cv-08580-JFW-MAA
                   Overtime       1.50Document
                                         31.50 38-5    Filed Sacramento
                                                 11/28/2016  03/22/21 Page    661 of 691
                                                                        CA - Drivers       Page ID
1435573            Regular       48.50   21.00 #:1434
                                                 12/05/2016 Sacramento CA - Drivers
1435573            Overtime       0.50   31.50 12/05/2016 Sacramento CA - Drivers
1435573            Regular       49.00   21.00 12/12/2016 Sacramento CA - Drivers
1435573            Overtime       1.00   31.50 12/12/2016 Sacramento CA - Drivers
1435573            Regular       39.00   21.00 12/19/2016 Sacramento CA - Drivers
1435573            Overtime      10.00   31.50 12/19/2016 Sacramento CA - Drivers
1435573            Regular       39.50   21.00 12/26/2016 Sacramento CA - Drivers
1435573            Overtime      10.00   31.50 12/26/2016 Sacramento CA - Drivers
1435573            Regular       50.00   21.00 01/02/2017 Sacramento CA - Drivers
1435573            Overtime       6.00   31.50 01/02/2017 Sacramento CA - Drivers
1435573            Regular       43.25   21.00 01/09/2017 Sacramento CA - Drivers
1435573            Regular       40.00   21.00 01/16/2017 Sacramento CA - Drivers
1435573            Overtime       4.00   31.50 01/16/2017 Sacramento CA - Drivers
1435573            Regular       13.00   20.92 04/03/2017 Sacramento CA - Drivers
1435573            Regular        8.00   23.00 03/13/2017 Sacramento CA - Drivers
1435573            Overtime       4.00   34.50 03/13/2017 Sacramento CA - Drivers
1435573            Regular       40.00   19.50 02/06/2017 Sacramento CA - Drivers
1435573            Overtime       6.50   29.25 02/06/2017 Sacramento CA - Drivers
1435573            Regular       40.00   19.50 02/13/2017 Sacramento CA - Drivers
1435573            Overtime       6.75   29.25 02/13/2017 Sacramento CA - Drivers
1435573            Regular       32.00   19.50 02/20/2017 Sacramento CA - Drivers
1435573            Overtime       6.00   29.25 02/20/2017 Sacramento CA - Drivers
1435573            Regular       40.00   19.50 02/27/2017 Sacramento CA - Drivers
1435573            Overtime       9.50   29.25 02/27/2017 Sacramento CA - Drivers
1435573            Regular       32.00   19.50 03/06/2017 Sacramento CA - Drivers
1435573            Overtime       5.50   29.25 03/06/2017 Sacramento CA - Drivers
1435573            Regular        8.00   19.50 03/13/2017 Sacramento CA - Drivers
1435573            Overtime       2.00   29.25 03/13/2017 Sacramento CA - Drivers
Total for 1435573             1,022.25
2233064            Regular       24.00   22.50 07/24/2017 Sacramento CA - Drivers
2233064            Overtime       9.50   33.75 07/24/2017 Sacramento CA - Drivers
2233064            Regular       32.00   22.50 07/31/2017 Sacramento CA - Drivers
2233064            Overtime       6.00   33.75 07/31/2017 Sacramento CA - Drivers
2233064            Regular        8.00   22.50 08/07/2017 Sacramento CA - Drivers
2233064            Overtime       4.00   33.75 08/07/2017 Sacramento CA - Drivers
2233064            Regular       15.50   22.50 08/21/2017 Sacramento CA - Drivers
2233064            Overtime       3.50   33.75 08/21/2017 Sacramento CA - Drivers
Total for 2233064               102.50
1261117            Regular       56.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1261117            Overtime      10.00   30.00 08/22/2016 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 09/05/2016 Los Angeles CA West - Drivers
1261117            Regular       40.00   20.00 09/12/2016 Los Angeles CA West - Drivers
1261117            Overtime      10.00   30.00 09/12/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1261117            Overtime       5.50   30.00 09/19/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 09/26/2016 Los Angeles CA West - Drivers
1261117            Overtime       9.00   30.00 09/26/2016 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 10/03/2016 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 10/03/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 10/10/2016 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 10/10/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 10/17/2016 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 10/17/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 10/24/2016 Los Angeles CA West - Drivers
1261117            Overtime       8.50   30.00 10/24/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 10/31/2016 Los Angeles CA West - Drivers
1261117            Overtime       7.00   30.00 10/31/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 11/07/2016 Los Angeles CA West - Drivers
1261117            Overtime       7.00   30.00 11/07/2016 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 11/14/2016 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 11/14/2016 Los Angeles CA West - Drivers
1261117 Case   2:19-cv-08580-JFW-MAA
                     Regular      16.00Document
                                          20.00 38-5    Filed Los
                                                  11/21/2016  03/22/21
                                                                  AngelesPage 662- Drivers
                                                                         CA West   of 691 Page ID
1261117              Overtime      5.00   30.00 #:1435
                                                  11/21/2016 Los Angeles CA West - Drivers
1261117             Regular        36.00    20.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1261117             Overtime        9.00    30.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1261117             Overtime        5.00    30.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.00    30.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.00    30.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1261117             Overtime        5.00    30.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   01/02/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        7.00    30.00   01/02/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        5.50    30.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.50    30.00   01/16/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.50    30.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        7.00    30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        7.50    30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.00    30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.00    30.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        5.00    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        7.75    30.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.25    30.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        6.00    30.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        6.50    30.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        9.50    30.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        39.00    20.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        6.50    30.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        40.00    20.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.50    30.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        40.00    20.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime       10.00    30.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        16.00    20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        4.00    30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        7.00    30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        9.00    30.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        6.50    30.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        6.00    30.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        24.00    20.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        6.50    30.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        9.00    30.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1261117             Overtime        8.00    30.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1261117             Regular        32.00    20.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1261117 Case 2:19-cv-08580-JFW-MAA
                   Overtime       8.50Document
                                         30.00 38-5    Filed Los
                                                 06/26/2017  03/22/21
                                                                 AngelesPage 663- Drivers
                                                                        CA West   of 691    Page ID
1261117            Regular       16.00   20.00 #:1436
                                                 07/03/2017 Los Angeles CA West - Drivers
1261117            Overtime       4.00   30.00 07/03/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 07/10/2017 Los Angeles CA West - Drivers
1261117            Overtime       9.50   30.00 07/10/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 07/17/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.50   30.00 07/17/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 07/24/2017 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 07/24/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 07/31/2017 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 07/31/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 08/07/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.50   30.00 08/07/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 08/14/2017 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 08/14/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 08/21/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 08/21/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 08/28/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.75   30.00 08/28/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 09/04/2017 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 09/04/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 09/11/2017 Los Angeles CA West - Drivers
1261117            Overtime      10.50   30.00 09/11/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 09/18/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 09/18/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 09/25/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.50   30.00 09/25/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 10/02/2017 Los Angeles CA West - Drivers
1261117            Overtime       6.50   30.00 10/02/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 10/09/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 10/09/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 10/16/2017 Los Angeles CA West - Drivers
1261117            Overtime       7.50   30.00 10/16/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 10/23/2017 Los Angeles CA West - Drivers
1261117            Overtime       5.50   30.00 10/23/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 10/30/2017 Los Angeles CA West - Drivers
1261117            Overtime       6.00   30.00 10/30/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 11/06/2017 Los Angeles CA West - Drivers
1261117            Overtime       7.50   30.00 11/06/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 11/13/2017 Los Angeles CA West - Drivers
1261117            Overtime       8.00   30.00 11/13/2017 Los Angeles CA West - Drivers
1261117            Regular       24.00   20.00 11/20/2017 Los Angeles CA West - Drivers
1261117            Overtime       5.00   30.00 11/20/2017 Los Angeles CA West - Drivers
1261117            Regular       32.00   20.00 03/21/2016 Los Angeles CA West - Drivers
1261117            Overtime       9.00   30.00 03/21/2016 Los Angeles CA West - Drivers
1261117            Regular       35.25   20.00 03/28/2016 Los Angeles CA West - Drivers
1261117            Overtime       1.25   30.00 03/28/2016 Los Angeles CA West - Drivers
1261117            Regular       16.00   20.00 04/04/2016 Los Angeles CA West - Drivers
1261117            Regular       24.25   20.00 02/08/2016 Los Angeles CA West - Drivers
1261117            Regular       23.25   20.00 02/15/2016 Los Angeles CA West - Drivers
1261117            Regular       33.25   20.00 02/22/2016 Los Angeles CA West - Drivers
1261117            Regular       29.75   20.00 02/29/2016 Los Angeles CA West - Drivers
1261117            Regular       14.25   20.00 03/07/2016 Los Angeles CA West - Drivers
1261117            Regular       10.00   20.00 03/14/2016 Los Angeles CA West - Drivers
1261117            Regular        5.75   19.00 03/21/2016 Los Angeles CA West - Drivers
1261117            Regular       25.00   19.00 06/13/2016 Los Angeles CA West - Drivers
1261117            Regular       36.50   19.00 06/20/2016 Los Angeles CA West - Drivers
1261117            Regular       42.50   19.00 06/27/2016 Los Angeles CA West - Drivers
1261117            Regular       18.75   19.00 07/04/2016 Los Angeles CA West - Drivers
1261117            Regular       41.75   19.00 07/11/2016 Los Angeles CA West - Drivers
1261117            Regular       17.00   19.00 07/18/2016 Los Angeles CA West - Drivers
Total for 1261117             2,808.25
1180189            Regular        8.00   16.00 12/21/2015 Los Angeles CA East - Drivers
1180189 Case 2:19-cv-08580-JFW-MAA
                   Overtime      0.50Document
                                        24.00 38-5    Filed Los
                                                12/21/2015  03/22/21
                                                                AngelesPage 664
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
1180189            Regular      12.00   17.00 #:1437
                                                11/02/2015 Los Angeles CA East - Drivers
1180189            Overtime      3.00   25.50 11/02/2015 Los Angeles CA East - Drivers
1180189            Regular       8.00   16.00 08/31/2015 Los Angeles CA East - Drivers
1180189            Regular       8.00   16.00 09/07/2015 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 01/04/2016 Los Angeles CA East - Drivers
1180189            Overtime      1.50   25.50 01/04/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 01/11/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 01/18/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 01/25/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 02/01/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 02/08/2016 Los Angeles CA East - Drivers
1180189            Overtime      1.00   25.50 02/08/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 02/15/2016 Los Angeles CA East - Drivers
1180189            Overtime      1.00   25.50 02/15/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 02/22/2016 Los Angeles CA East - Drivers
1180189            Overtime      0.50   25.50 02/22/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 02/29/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 03/07/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 03/14/2016 Los Angeles CA East - Drivers
1180189            Overtime      3.00   25.50 03/14/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 03/21/2016 Los Angeles CA East - Drivers
1180189            Overtime      5.00   25.50 03/21/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 03/28/2016 Los Angeles CA East - Drivers
1180189            Overtime      2.00   25.50 03/28/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 04/04/2016 Los Angeles CA East - Drivers
1180189            Overtime      3.00   25.50 04/04/2016 Los Angeles CA East - Drivers
1180189            Regular      40.50   17.00 04/11/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 04/18/2016 Los Angeles CA East - Drivers
1180189            Overtime      3.50   25.50 04/18/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 04/25/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 05/02/2016 Los Angeles CA East - Drivers
1180189            Overtime      0.50   25.50 05/02/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 05/09/2016 Los Angeles CA East - Drivers
1180189            Overtime      2.00   25.50 05/09/2016 Los Angeles CA East - Drivers
1180189            Regular      40.00   17.00 05/16/2016 Los Angeles CA East - Drivers
1180189            Overtime      2.50   25.50 05/16/2016 Los Angeles CA East - Drivers
1180189            Regular      32.00   17.00 05/23/2016 Los Angeles CA East - Drivers
1180189            Overtime      2.50   25.50 05/23/2016 Los Angeles CA East - Drivers
1180189            Regular      32.00   17.00 05/30/2016 Los Angeles CA East - Drivers
Total for 1180189              932.00
951257             Regular      11.00   17.00 02/15/2016 Los Angeles CA East - Drivers
951257             Regular       8.00   16.00 12/21/2015 Los Angeles CA East - Drivers
951257             Overtime      4.50   24.00 12/21/2015 Los Angeles CA East - Drivers
951257             Regular      29.75   16.00 08/03/2015 Los Angeles CA East - Drivers
951257             Regular       6.25   16.00 08/17/2015 Los Angeles CA East - Drivers
951257             Regular      35.50   16.00 08/24/2015 Los Angeles CA East - Drivers
951257             Overtime      1.50   24.00 08/24/2015 Los Angeles CA East - Drivers
951257             Regular      66.75   16.00 09/14/2015 Los Angeles CA East - Drivers
951257             Overtime      3.50   24.00 09/14/2015 Los Angeles CA East - Drivers
951257             Regular      34.50   16.00 09/21/2015 Los Angeles CA East - Drivers
951257             Overtime      0.50   24.00 09/21/2015 Los Angeles CA East - Drivers
951257             Regular      37.00   16.00 09/28/2015 Los Angeles CA East - Drivers
951257             Overtime      2.75   24.00 09/28/2015 Los Angeles CA East - Drivers
951257             Regular      37.00   16.00 10/05/2015 Los Angeles CA East - Drivers
951257             Overtime      0.25   24.00 10/05/2015 Los Angeles CA East - Drivers
951257             Regular      39.00   16.00 10/12/2015 Los Angeles CA East - Drivers
951257             Regular      74.25   16.00 10/26/2015 Los Angeles CA East - Drivers
951257             Overtime      4.75   24.00 10/26/2015 Los Angeles CA East - Drivers
951257             Regular      37.50   16.00 11/02/2015 Los Angeles CA East - Drivers
951257             Overtime      1.00   24.00 11/02/2015 Los Angeles CA East - Drivers
951257             Regular      39.00   16.00 11/09/2015 Los Angeles CA East - Drivers
951257             Overtime      2.50   24.00 11/09/2015 Los Angeles CA East - Drivers
951257 Case 2:19-cv-08580-JFW-MAA
                  Regular       38.00Document
                                        16.00 38-5    Filed Los
                                                11/16/2015  03/22/21
                                                                AngelesPage 665
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
951257            Overtime       5.00   24.00 #:1438
                                                11/16/2015 Los Angeles CA East - Drivers
951257            Regular       48.60   16.00 11/23/2015 Los Angeles CA East - Drivers
951257            Overtime       1.00   24.00 11/23/2015 Los Angeles CA East - Drivers
951257            Regular       32.00   16.00 11/30/2015 Los Angeles CA East - Drivers
951257            Overtime       4.50   24.00 11/30/2015 Los Angeles CA East - Drivers
951257            Regular       36.00   16.00 12/07/2015 Los Angeles CA East - Drivers
951257            Overtime       2.50   24.00 12/07/2015 Los Angeles CA East - Drivers
951257            Regular       38.00   16.00 12/14/2015 Los Angeles CA East - Drivers
951257            Overtime       5.50   24.00 12/14/2015 Los Angeles CA East - Drivers
951257            Regular       35.00   16.00 08/31/2015 Los Angeles CA East - Drivers
951257            Overtime       0.25   24.00 08/31/2015 Los Angeles CA East - Drivers
951257            Regular       24.00   16.00 01/25/2016 Los Angeles CA East - Drivers
951257            Overtime       0.50   24.00 01/25/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   16.00 02/01/2016 Los Angeles CA East - Drivers
951257            Overtime       4.00   24.00 02/01/2016 Los Angeles CA East - Drivers
951257            Regular       16.00   16.00 02/08/2016 Los Angeles CA East - Drivers
951257            Regular       24.00   16.00 02/15/2016 Los Angeles CA East - Drivers
951257            Overtime       2.00   24.00 02/15/2016 Los Angeles CA East - Drivers
951257            Regular       38.00   16.00 02/22/2016 Los Angeles CA East - Drivers
951257            Overtime       3.00   24.00 02/22/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   16.00 02/29/2016 Los Angeles CA East - Drivers
951257            Overtime       3.00   24.00 02/29/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   16.00 03/07/2016 Los Angeles CA East - Drivers
951257            Overtime       1.50   24.00 03/07/2016 Los Angeles CA East - Drivers
951257            Regular       32.00   16.00 03/14/2016 Los Angeles CA East - Drivers
951257            Overtime       0.50   24.00 03/14/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 03/21/2016 Los Angeles CA East - Drivers
951257            Overtime       2.50   25.50 03/21/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 03/28/2016 Los Angeles CA East - Drivers
951257            Overtime       4.00   25.50 03/28/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 04/04/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 04/11/2016 Los Angeles CA East - Drivers
951257            Overtime       5.00   25.50 04/11/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 04/18/2016 Los Angeles CA East - Drivers
951257            Overtime       2.00   25.50 04/18/2016 Los Angeles CA East - Drivers
951257            Regular       24.00   16.00 04/25/2016 Los Angeles CA East - Drivers
951257            Regular       32.00   17.00 05/02/2016 Los Angeles CA East - Drivers
951257            Overtime       0.50   25.50 05/02/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 05/09/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 05/16/2016 Los Angeles CA East - Drivers
951257            Overtime       5.50   25.50 05/16/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 05/23/2016 Los Angeles CA East - Drivers
951257            Regular       32.00   17.00 05/30/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 06/06/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 06/13/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 06/20/2016 Los Angeles CA East - Drivers
951257            Regular       40.00   17.00 06/27/2016 Los Angeles CA East - Drivers
951257            Overtime       0.50   25.50 06/27/2016 Los Angeles CA East - Drivers
951257            Regular       32.00   17.00 07/04/2016 Los Angeles CA East - Drivers
Total for 951257             1,611.60
1359149           Regular        7.00   20.00 09/05/2016 Sacramento CA - Drivers
1359149           Regular       40.00   20.00 09/12/2016 Sacramento CA - Drivers
1359149           Overtime       6.75   30.00 09/12/2016 Sacramento CA - Drivers
1359149           Regular       21.00   20.00 09/19/2016 Sacramento CA - Drivers
1359149           Overtime       2.25   30.00 09/19/2016 Sacramento CA - Drivers
1359149           Regular       40.00   20.00 09/26/2016 Sacramento CA - Drivers
1359149           Overtime       7.25   30.00 09/26/2016 Sacramento CA - Drivers
1359149           Regular       14.50   20.00 10/03/2016 Sacramento CA - Drivers
1359149           Overtime       3.00   30.00 10/03/2016 Sacramento CA - Drivers
1359149           Regular       24.25   20.00 10/10/2016 Sacramento CA - Drivers
1359149           Overtime       1.50   30.00 10/10/2016 Sacramento CA - Drivers
1359149           Regular       43.50   20.00 10/17/2016 Sacramento CA - Drivers
1359149 Case   2:19-cv-08580-JFW-MAA
                     Overtime      9.50Document
                                          30.00 38-5    Filed Sacramento
                                                  10/17/2016  03/22/21 Page    666 of 691 Page ID
                                                                         CA - Drivers
1359149              Regular      20.75   20.00 #:1439
                                                  10/17/2016 Sacramento CA - Drivers
1359149             Overtime        0.50    30.00   10/17/2016   Sacramento   CA   - Drivers
1359149             Regular        16.75    20.00   10/31/2016   Sacramento   CA   - Drivers
1359149             Overtime        0.50    30.00   10/31/2016   Sacramento   CA   - Drivers
1359149             Regular        20.50    20.00   11/07/2016   Sacramento   CA   - Drivers
1359149             Overtime        1.50    30.00   11/07/2016   Sacramento   CA   - Drivers
1359149             Regular        31.75    20.00   11/14/2016   Sacramento   CA   - Drivers
1359149             Overtime        4.00    30.00   11/14/2016   Sacramento   CA   - Drivers
1359149             Regular        18.00    20.00   11/21/2016   Sacramento   CA   - Drivers
1359149             Overtime       10.00    30.00   11/21/2016   Sacramento   CA   - Drivers
1359149             Regular        36.00    20.00   11/28/2016   Sacramento   CA   - Drivers
1359149             Regular        28.00    20.00   12/05/2016   Sacramento   CA   - Drivers
1359149             Regular        28.50    20.00   12/12/2016   Sacramento   CA   - Drivers
1359149             Regular        32.50    20.00   12/19/2016   Sacramento   CA   - Drivers
1359149             Regular        33.00    20.00   12/26/2016   Sacramento   CA   - Drivers
1359149             Overtime        2.50    30.00   12/26/2016   Sacramento   CA   - Drivers
1359149             Regular        23.50    20.00   01/02/2017   Sacramento   CA   - Drivers
1359149             Overtime        1.50    30.00   01/02/2017   Sacramento   CA   - Drivers
1359149             Regular        31.25    20.00   01/09/2017   Sacramento   CA   - Drivers
1359149             Overtime        4.00    30.00   01/09/2017   Sacramento   CA   - Drivers
1359149             Regular        36.00    20.00   04/03/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.50    30.00   04/03/2017   Sacramento   CA   - Drivers
1359149             Regular        31.75    20.00   04/10/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.25    30.00   04/10/2017   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   04/17/2017   Sacramento   CA   - Drivers
1359149             Overtime        4.75    30.00   04/17/2017   Sacramento   CA   - Drivers
1359149             Regular        37.50    20.00   04/24/2017   Sacramento   CA   - Drivers
1359149             Overtime        4.50    30.00   04/24/2017   Sacramento   CA   - Drivers
1359149             Regular        40.00    20.00   05/01/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.00    30.00   05/01/2017   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   05/08/2017   Sacramento   CA   - Drivers
1359149             Overtime        3.75    30.00   05/08/2017   Sacramento   CA   - Drivers
1359149             Regular        37.00    20.00   05/15/2017   Sacramento   CA   - Drivers
1359149             Overtime        5.25    30.00   05/15/2017   Sacramento   CA   - Drivers
1359149             Regular        22.00    20.00   05/22/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.00    30.00   05/22/2017   Sacramento   CA   - Drivers
1359149             Regular        29.00    20.00   05/29/2017   Sacramento   CA   - Drivers
1359149             Overtime        3.00    30.00   05/29/2017   Sacramento   CA   - Drivers
1359149             Regular        21.50    20.00   06/05/2017   Sacramento   CA   - Drivers
1359149             Overtime        1.75    30.00   06/05/2017   Sacramento   CA   - Drivers
1359149             Regular        22.50    20.00   06/12/2017   Sacramento   CA   - Drivers
1359149             Overtime        2.75    30.00   06/12/2017   Sacramento   CA   - Drivers
1359149             Regular        30.75    20.00   06/19/2017   Sacramento   CA   - Drivers
1359149             Overtime        7.00    30.00   06/19/2017   Sacramento   CA   - Drivers
1359149             Regular        21.00    20.00   06/26/2017   Sacramento   CA   - Drivers
1359149             Overtime        5.00    30.00   06/26/2017   Sacramento   CA   - Drivers
1359149             Regular        33.00    20.00   07/03/2017   Sacramento   CA   - Drivers
1359149             Overtime       12.50    30.00   07/03/2017   Sacramento   CA   - Drivers
1359149             Regular        31.00    20.00   07/10/2017   Sacramento   CA   - Drivers
1359149             Overtime        8.50    30.00   07/10/2017   Sacramento   CA   - Drivers
1359149             Regular        33.50    20.00   07/17/2017   Sacramento   CA   - Drivers
1359149             Overtime       10.75    30.00   07/17/2017   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   07/24/2017   Sacramento   CA   - Drivers
1359149             Overtime        1.50    30.00   07/24/2017   Sacramento   CA   - Drivers
1359149             Regular        30.50    20.00   07/31/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.75    30.00   07/31/2017   Sacramento   CA   - Drivers
1359149             Regular        29.50    20.00   08/07/2017   Sacramento   CA   - Drivers
1359149             Overtime        9.75    30.00   08/07/2017   Sacramento   CA   - Drivers
1359149             Regular        28.75    20.00   08/14/2017   Sacramento   CA   - Drivers
1359149             Overtime        1.75    30.00   08/14/2017   Sacramento   CA   - Drivers
1359149             Regular        38.00    20.00   08/21/2017   Sacramento   CA   - Drivers
1359149             Overtime        2.00    30.00   08/21/2017   Sacramento   CA   - Drivers
1359149 Case   2:19-cv-08580-JFW-MAA
                     Regular      39.25Document
                                          20.00 38-5    Filed Sacramento
                                                  08/28/2017  03/22/21 Page    667 of 691 Page ID
                                                                         CA - Drivers
1359149              Overtime      5.00   30.00 #:1440
                                                  08/28/2017 Sacramento CA - Drivers
1359149             Regular        24.00    20.00   09/04/2017   Sacramento   CA   - Drivers
1359149             Overtime        7.25    30.00   09/04/2017   Sacramento   CA   - Drivers
1359149             Regular        30.75    20.00   09/11/2017   Sacramento   CA   - Drivers
1359149             Overtime        3.25    30.00   09/11/2017   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   09/18/2017   Sacramento   CA   - Drivers
1359149             Overtime        8.00    30.00   09/18/2017   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   09/25/2017   Sacramento   CA   - Drivers
1359149             Overtime        3.50    30.00   09/25/2017   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   10/02/2017   Sacramento   CA   - Drivers
1359149             Overtime        5.50    30.00   10/02/2017   Sacramento   CA   - Drivers
1359149             Regular        56.00    20.00   10/16/2017   Sacramento   CA   - Drivers
1359149             Overtime        9.75    30.00   10/16/2017   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   10/23/2017   Sacramento   CA   - Drivers
1359149             Overtime        8.75    30.00   10/23/2017   Sacramento   CA   - Drivers
1359149             Regular        41.00    20.00   10/30/2017   Sacramento   CA   - Drivers
1359149             Overtime       10.25    30.00   10/30/2017   Sacramento   CA   - Drivers
1359149             Regular        18.00    20.00   11/06/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.50    30.00   11/06/2017   Sacramento   CA   - Drivers
1359149             Regular        40.00    20.00   11/13/2017   Sacramento   CA   - Drivers
1359149             Overtime        0.50    30.00   11/13/2017   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   11/20/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.00    30.00   11/20/2017   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   11/27/2017   Sacramento   CA   - Drivers
1359149             Overtime        3.75    30.00   11/27/2017   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   12/04/2017   Sacramento   CA   - Drivers
1359149             Overtime        7.25    30.00   12/04/2017   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   12/11/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.00    30.00   12/11/2017   Sacramento   CA   - Drivers
1359149             Regular        36.00    20.00   12/18/2017   Sacramento   CA   - Drivers
1359149             Overtime       12.50    30.00   12/18/2017   Sacramento   CA   - Drivers
1359149             Regular        25.00    20.00   12/25/2017   Sacramento   CA   - Drivers
1359149             Overtime        6.50    30.00   12/25/2017   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   01/01/2018   Sacramento   CA   - Drivers
1359149             Overtime        3.75    30.00   01/01/2018   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   01/08/2018   Sacramento   CA   - Drivers
1359149             Overtime        3.25    30.00   01/08/2018   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   01/15/2018   Sacramento   CA   - Drivers
1359149             Overtime        4.50    30.00   01/15/2018   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   01/22/2018   Sacramento   CA   - Drivers
1359149             Overtime        4.25    30.00   01/22/2018   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   01/29/2018   Sacramento   CA   - Drivers
1359149             Overtime        6.50    30.00   01/29/2018   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   02/05/2018   Sacramento   CA   - Drivers
1359149             Overtime        5.75    30.00   02/05/2018   Sacramento   CA   - Drivers
1359149             Regular        24.00    20.00   02/12/2018   Sacramento   CA   - Drivers
1359149             Overtime        2.75    30.00   02/12/2018   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   02/19/2018   Sacramento   CA   - Drivers
1359149             Overtime        5.00    30.00   02/19/2018   Sacramento   CA   - Drivers
1359149             Regular        32.00    20.00   02/26/2018   Sacramento   CA   - Drivers
1359149             Overtime        2.50    30.00   02/26/2018   Sacramento   CA   - Drivers
1359149             Regular        40.00    20.00   03/05/2018   Sacramento   CA   - Drivers
1359149             Overtime       15.50    30.00   03/05/2018   Sacramento   CA   - Drivers
1359149             Regular        33.00    20.00   03/12/2018   Sacramento   CA   - Drivers
1359149             Overtime        4.00    30.00   03/12/2018   Sacramento   CA   - Drivers
1359149             Regular        40.00    20.00   03/19/2018   Sacramento   CA   - Drivers
1359149             Overtime       12.00    30.00   03/19/2018   Sacramento   CA   - Drivers
1359149             Regular        40.00    20.75   03/26/2018   Sacramento   CA   - Drivers
1359149             Overtime        1.75    31.13   03/26/2018   Sacramento   CA   - Drivers
1359149             Regular        33.00    20.75   04/02/2018   Sacramento   CA   - Drivers
1359149             Overtime        4.25    31.13   04/02/2018   Sacramento   CA   - Drivers
1359149             Regular        40.00    20.75   04/09/2018   Sacramento   CA   - Drivers
1359149 Case 2:19-cv-08580-JFW-MAA
                   Overtime      11.00Document
                                         31.13 38-5    Filed Sacramento
                                                 04/09/2018  03/22/21 Page    668 of 691
                                                                        CA - Drivers       Page ID
1359149            Regular       32.00   20.75 #:1441
                                                 04/16/2018 Sacramento CA - Drivers
1359149            Overtime       8.25   31.13 04/16/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 04/23/2018 Sacramento CA - Drivers
1359149            Overtime       8.50   31.13 04/23/2018 Sacramento CA - Drivers
1359149            Regular       40.00   20.75 04/30/2018 Sacramento CA - Drivers
1359149            Overtime      10.00   31.13 04/30/2018 Sacramento CA - Drivers
1359149            Regular       24.00   20.75 05/07/2018 Sacramento CA - Drivers
1359149            Overtime       7.25   31.13 05/07/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 05/14/2018 Sacramento CA - Drivers
1359149            Overtime       9.50   31.13 05/14/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 05/21/2018 Sacramento CA - Drivers
1359149            Overtime       7.50   31.13 05/21/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 05/28/2018 Sacramento CA - Drivers
1359149            Overtime       9.25   31.13 05/28/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 06/04/2018 Sacramento CA - Drivers
1359149            Overtime       8.00   31.13 06/04/2018 Sacramento CA - Drivers
1359149            Regular       40.00   20.75 06/11/2018 Sacramento CA - Drivers
1359149            Overtime       3.30   31.13 06/11/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 06/18/2018 Sacramento CA - Drivers
1359149            Overtime       3.60   31.13 06/18/2018 Sacramento CA - Drivers
1359149            Regular       32.00   20.75 06/25/2018 Sacramento CA - Drivers
1359149            Overtime       5.80   31.13 06/25/2018 Sacramento CA - Drivers
1359149            Regular       25.25   19.50 08/01/2016 Sacramento CA - Drivers
1359149            Overtime       2.25   29.25 08/01/2016 Sacramento CA - Drivers
1359149            Regular       46.00   19.50 08/08/2016 Sacramento CA - Drivers
1359149            Overtime       5.75   29.25 08/08/2016 Sacramento CA - Drivers
1359149            Regular       50.00   19.50 08/15/2016 Sacramento CA - Drivers
1359149            Overtime      13.25   29.25 08/15/2016 Sacramento CA - Drivers
1359149            Regular       34.75   19.50 08/22/2016 Sacramento CA - Drivers
1359149            Overtime       2.50   29.25 08/22/2016 Sacramento CA - Drivers
1359149            Regular        8.00   19.50 08/29/2016 Sacramento CA - Drivers
1359149            Regular       40.00   18.75 02/13/2017 Sacramento CA - Drivers
1359149            Overtime       7.00   28.13 02/13/2017 Sacramento CA - Drivers
1359149            Regular       40.00   18.75 02/20/2017 Sacramento CA - Drivers
1359149            Overtime       1.50   28.13 02/20/2017 Sacramento CA - Drivers
1359149            Regular       40.00   18.75 02/27/2017 Sacramento CA - Drivers
1359149            Overtime       3.50   28.13 02/27/2017 Sacramento CA - Drivers
1359149            Regular       24.00   18.75 03/06/2017 Sacramento CA - Drivers
1359149            Overtime       4.50   28.13 03/06/2017 Sacramento CA - Drivers
Total for 1359149             3,316.95
2582875            Regular        8.00   21.00 09/03/2018 Los Angeles CA East - Drivers
2582875            Overtime       2.00   31.50 09/03/2018 Los Angeles CA East - Drivers
2582875            Regular       31.00   21.00 09/24/2018 Los Angeles CA East - Drivers
2582875            Overtime       5.50   31.50 09/24/2018 Los Angeles CA East - Drivers
Total for 2582875                46.50
1210692            Regular       17.50   12.08 04/15/2019 Los Angeles CA East - Drivers
1210692            Regular        8.00   19.00 04/08/2019 Los Angeles CA East - Drivers
1210692            Overtime       4.00   28.50 04/08/2019 Los Angeles CA East - Drivers
Total for 1210692                29.50
2419133            Regular        8.00   22.00 05/27/2019 Los Angeles CA West - Drivers
2419133            Regular        8.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2419133            Regular       14.25   19.00 11/13/2017 Los Angeles CA West - Drivers
2419133            Regular       14.00   19.00 11/20/2017 Los Angeles CA West - Drivers
2419133            Regular        8.00   21.00 04/29/2019 Los Angeles CA West - Drivers
2419133            Overtime       3.75   31.50 04/29/2019 Los Angeles CA West - Drivers
2419133            Regular       16.00   21.00 05/06/2019 Los Angeles CA West - Drivers
2419133            Overtime       8.00   31.50 05/06/2019 Los Angeles CA West - Drivers
2419133            Regular       16.00   21.00 05/13/2019 Los Angeles CA West - Drivers
2419133            Overtime       7.50   31.50 05/13/2019 Los Angeles CA West - Drivers
Total for 2419133               103.50
920451             Regular        6.00   16.00 08/17/2015 Los Angeles CA East - Drivers
Total for 920451                  6.00
1318919 Case 2:19-cv-08580-JFW-MAA
                   Regular      21.75Document
                                        20.00 38-5    Filed Los
                                                06/20/2016  03/22/21
                                                                AngelesPage 669- Drivers
                                                                       CA West   of 691    Page ID
1318919            Overtime      4.25   30.00 #:1442
                                                06/20/2016 Los Angeles CA West - Drivers
1318919            Regular      32.00   20.00 06/27/2016 Los Angeles CA West - Drivers
1318919            Overtime      5.00   30.00 06/27/2016 Los Angeles CA West - Drivers
1318919            Regular      16.00   20.00 07/04/2016 Los Angeles CA West - Drivers
1318919            Overtime      1.50   30.00 07/04/2016 Los Angeles CA West - Drivers
1318919            Regular      30.00   20.00 07/11/2016 Los Angeles CA West - Drivers
1318919            Overtime      1.50   30.00 07/11/2016 Los Angeles CA West - Drivers
1318919            Regular      32.00   20.00 07/18/2016 Los Angeles CA West - Drivers
1318919            Overtime      3.50   30.00 07/18/2016 Los Angeles CA West - Drivers
1318919            Regular      32.00   20.00 07/25/2016 Los Angeles CA West - Drivers
1318919            Overtime      5.25   30.00 07/25/2016 Los Angeles CA West - Drivers
1318919            Regular      25.00   20.00 08/01/2016 Los Angeles CA West - Drivers
1318919            Overtime      5.00   30.00 08/01/2016 Los Angeles CA West - Drivers
1318919            Regular      29.50   20.00 08/08/2016 Los Angeles CA West - Drivers
1318919            Overtime      3.75   30.00 08/08/2016 Los Angeles CA West - Drivers
1318919            Regular      16.00   20.00 08/15/2016 Los Angeles CA West - Drivers
1318919            Overtime      4.00   30.00 08/15/2016 Los Angeles CA West - Drivers
1318919            Regular      16.00   20.00 08/22/2016 Los Angeles CA West - Drivers
1318919            Overtime      1.75   30.00 08/22/2016 Los Angeles CA West - Drivers
1318919            Regular      32.00   20.00 08/29/2016 Los Angeles CA West - Drivers
1318919            Overtime      5.00   30.00 08/29/2016 Los Angeles CA West - Drivers
1318919            Regular      16.00   20.00 09/05/2016 Los Angeles CA West - Drivers
1318919            Overtime      3.75   30.00 09/05/2016 Los Angeles CA West - Drivers
1318919            Regular      32.00   20.00 09/12/2016 Los Angeles CA West - Drivers
1318919            Overtime      3.75   30.00 09/12/2016 Los Angeles CA West - Drivers
1318919            Regular      32.00   20.00 09/19/2016 Los Angeles CA West - Drivers
1318919            Overtime      3.25   30.00 09/19/2016 Los Angeles CA West - Drivers
1318919            Regular      24.00   20.00 09/26/2016 Los Angeles CA West - Drivers
1318919            Overtime      1.75   30.00 09/26/2016 Los Angeles CA West - Drivers
1318919            Regular      16.00   20.00 10/03/2016 Los Angeles CA West - Drivers
1318919            Overtime      1.50   30.00 10/03/2016 Los Angeles CA West - Drivers
1318919            Regular      15.75   20.00 10/10/2016 Los Angeles CA West - Drivers
1318919            Overtime      0.25   30.00 10/10/2016 Los Angeles CA West - Drivers
Total for 1318919              472.75
81822              Regular      21.75   23.00 03/11/2019 zz - San Francisco CA - Drivers
Total for 81822                 21.75
1197408            Regular      28.00   16.00 09/21/2015 Los Angeles CA East - Drivers
1197408            Overtime     10.50   24.00 09/21/2015 Los Angeles CA East - Drivers
Total for 1197408               38.50
1310471            Regular      16.00   21.50 04/25/2016 Sacramento CA - Drivers
1310471            Overtime      3.50   32.25 04/25/2016 Sacramento CA - Drivers
1310471            Regular      28.50   21.50 05/02/2016 Sacramento CA - Drivers
1310471            Overtime      3.75   32.25 05/02/2016 Sacramento CA - Drivers
1310471            Regular      23.50   21.50 05/09/2016 Sacramento CA - Drivers
1310471            Overtime      0.50   32.25 05/09/2016 Sacramento CA - Drivers
1310471            Regular       2.00   21.50 05/16/2016 Sacramento CA - Drivers
1310471            Regular       8.00   21.50 05/23/2016 Sacramento CA - Drivers
1310471            Regular       7.00   19.00 06/27/2016 Sacramento CA - Drivers
Total for 1310471               92.75
1379828            Regular       4.00   20.00 07/02/2018 Los Angeles CA West - Drivers
1379828            Regular      16.00   20.50 12/10/2018 Los Angeles CA West - Drivers
1379828            Overtime      3.25   30.75 12/10/2018 Los Angeles CA West - Drivers
1379828            Regular       8.00   20.50 12/24/2018 Los Angeles CA West - Drivers
1379828            Overtime      4.00   30.75 12/24/2018 Los Angeles CA West - Drivers
1379828            Regular       8.00   20.50 01/07/2019 Los Angeles CA West - Drivers
1379828            Overtime      4.00   30.75 01/07/2019 Los Angeles CA West - Drivers
1379828            Regular      32.00   20.50 01/14/2019 Los Angeles CA West - Drivers
1379828            Overtime      7.25   30.75 01/14/2019 Los Angeles CA West - Drivers
1379828            Regular       8.00   20.50 01/21/2019 Los Angeles CA West - Drivers
1379828            Regular       8.00   20.50 12/10/2018 Los Angeles CA West - Drivers
1379828            Overtime      0.50   30.75 12/10/2018 Los Angeles CA West - Drivers
1379828            Regular      23.00   20.50 12/17/2018 Los Angeles CA West - Drivers
1379828 Case   2:19-cv-08580-JFW-MAA
                     Overtime      5.75Document
                                          30.75 38-5    Filed Los
                                                  12/17/2018  03/22/21
                                                                  AngelesPage 670- Drivers
                                                                         CA West   of 691 Page ID
1379828              Regular      16.00   20.50 #:1443
                                                  07/02/2018 Los Angeles CA West - Drivers
1379828             Overtime        2.00    30.75   07/02/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    38.17   08/22/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        9.50    57.26   08/22/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    38.17   08/29/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       19.00    57.26   08/29/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    38.17   09/05/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        7.25    57.26   09/05/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    38.17   09/12/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       17.25    57.26   09/12/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    38.17   09/26/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        9.00    57.26   09/26/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    38.17   10/03/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       17.75    57.26   10/03/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    38.17   10/10/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       15.00    57.26   10/10/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        16.00    39.17   04/09/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        4.50    58.76   04/09/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        12.00    39.17   04/16/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        2.25    58.76   04/16/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        36.00    39.17   04/23/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime       11.00    58.76   04/23/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular         7.00    39.17   04/30/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    39.17   05/07/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.25    58.76   05/07/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    39.17   05/14/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        8.50    58.76   05/14/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        26.00    39.17   05/21/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        8.00    58.76   05/21/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    39.17   05/28/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        2.25    58.76   05/28/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        16.00    39.17   06/04/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        4.25    58.76   06/04/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    39.17   06/11/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.50    58.76   06/11/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    39.17   06/18/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime       13.25    58.76   06/18/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    39.17   06/25/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime       18.75    58.76   06/25/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        31.25    39.17   07/09/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        8.25    58.76   07/09/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        14.75    39.17   07/16/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        4.00    58.76   07/16/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    39.17   12/17/2018   Los   Angeles   CA   West   - Drivers
1379828             Overtime        1.75    58.76   12/17/2018   Los   Angeles   CA   West   - Drivers
1379828             Regular        14.75    39.17   03/11/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        3.00    58.76   03/11/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        14.00    39.17   03/18/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        3.50    58.76   03/18/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    39.17   04/01/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        2.00    58.76   04/01/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         6.25    39.17   04/08/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         6.75    39.17   05/06/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        22.00    40.22   05/13/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        6.00    60.33   05/13/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        23.75    22.00   05/20/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        1.00    60.33   05/20/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    40.22   05/27/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        8.25    60.33   05/27/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    40.22   06/03/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime       19.00    60.33   06/03/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    40.22   06/10/2019   Los   Angeles   CA   West   - Drivers
1379828 Case   2:19-cv-08580-JFW-MAA
                     Overtime      9.50Document
                                          60.33 38-5    Filed Los
                                                  06/10/2019  03/22/21
                                                                  AngelesPage 671- Drivers
                                                                         CA West   of 691 Page ID
1379828              Regular      24.00   40.22 #:1444
                                                  06/17/2019 Los Angeles CA West - Drivers
1379828             Overtime        6.75    60.33   06/17/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    40.22   06/24/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        2.75    60.33   06/24/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    41.22   07/22/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        0.25    61.83   07/22/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    41.22   08/05/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        20.50    41.22   08/12/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        5.75    61.83   08/12/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular         8.00    41.22   08/19/2019   Los   Angeles   CA   West   - Drivers
1379828             Overtime        0.75    61.83   08/19/2019   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    19.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        9.75    28.50   09/04/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        38.50    19.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        6.00    28.50   09/11/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    19.00   09/18/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.25    28.50   09/18/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    19.00   09/25/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        9.75    28.50   09/25/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    19.00   10/02/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        5.75    28.50   10/02/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    19.00   10/09/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        6.50    28.50   10/09/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        38.75    19.00   10/16/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.75    28.50   10/16/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    19.00   10/23/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       11.50    28.50   10/23/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        38.25    19.00   10/30/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       13.00    28.50   10/30/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        38.00    19.00   11/06/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        3.00    28.50   11/06/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    19.00   11/13/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        5.50    28.50   11/13/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        24.00    19.00   11/20/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        2.00    28.50   11/20/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    19.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        7.75    28.50   11/27/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    19.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime        1.00    28.50   12/04/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        36.50    20.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        3.00    30.00   10/17/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        38.00    20.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        1.50    30.00   10/24/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        2.50    30.00   10/31/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        4.00    30.00   11/07/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        8.25    30.00   11/14/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        24.00    20.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        3.50    30.00   11/21/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.25    30.00   11/28/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime        9.75    30.00   12/05/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       11.75    30.00   12/12/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       12.00    30.00   12/19/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.50    30.00   12/26/2016   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   01/09/2017   Los   Angeles   CA   West   - Drivers
1379828 Case   2:19-cv-08580-JFW-MAA
                     Overtime     12.50Document
                                          30.00 38-5    Filed Los
                                                  01/09/2017  03/22/21
                                                                  AngelesPage 672- Drivers
                                                                         CA West   of 691 Page ID
1379828              Regular       8.00   20.00 #:1445
                                                  01/23/2017 Los Angeles CA West - Drivers
1379828             Overtime        3.50    30.00   01/23/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        24.00    20.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.75    30.00   01/30/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.00    30.00   02/06/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       15.00    30.00   02/13/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       20.00    30.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.50    30.00   02/27/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       19.50    30.00   03/06/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       16.75    30.00   03/13/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       16.50    30.00   03/20/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       19.00    30.00   03/27/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       13.50    30.00   04/03/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       20.00    30.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       15.25    30.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       17.00    30.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       17.00    30.00   05/01/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       15.25    30.00   05/08/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       15.75    30.00   05/15/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       19.50    30.00   05/22/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.75    30.00   05/29/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.25    30.00   06/05/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       15.75    30.00   06/12/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       17.50    30.00   06/19/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       19.25    30.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       14.50    30.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   07/10/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       20.00    30.00   07/10/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        24.00    20.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.50    30.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       12.25    30.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       10.75    30.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       17.75    30.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        32.00    20.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       12.75    30.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1379828             Regular        40.00    20.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1379828             Overtime       12.50    30.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1379828 Case 2:19-cv-08580-JFW-MAA
                   Regular       28.00Document
                                         20.00 38-5    Filed Los
                                                 08/28/2017  03/22/21
                                                                 AngelesPage 673- Drivers
                                                                        CA West   of 691    Page ID
1379828            Overtime       6.00   30.00 #:1446
                                                 08/28/2017 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 07/23/2018 Los Angeles CA West - Drivers
1379828            Overtime       3.25   31.50 07/23/2018 Los Angeles CA West - Drivers
1379828            Regular       40.00   21.00 07/30/2018 Los Angeles CA West - Drivers
1379828            Overtime       6.50   31.50 07/30/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 08/06/2018 Los Angeles CA West - Drivers
1379828            Overtime       1.25   31.50 08/06/2018 Los Angeles CA West - Drivers
1379828            Regular       40.00   21.00 08/13/2018 Los Angeles CA West - Drivers
1379828            Overtime       4.25   31.50 08/13/2018 Los Angeles CA West - Drivers
1379828            Regular       40.00   21.00 08/20/2018 Los Angeles CA West - Drivers
1379828            Overtime       4.50   31.50 08/20/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 08/27/2018 Los Angeles CA West - Drivers
1379828            Overtime       2.75   31.50 08/27/2018 Los Angeles CA West - Drivers
1379828            Regular       24.00   21.00 09/03/2018 Los Angeles CA West - Drivers
1379828            Overtime       4.50   31.50 09/03/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 09/10/2018 Los Angeles CA West - Drivers
1379828            Overtime       9.75   31.50 09/10/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 09/17/2018 Los Angeles CA West - Drivers
1379828            Overtime       3.75   31.50 09/17/2018 Los Angeles CA West - Drivers
1379828            Regular       40.00   21.00 09/24/2018 Los Angeles CA West - Drivers
1379828            Overtime       4.00   31.50 09/24/2018 Los Angeles CA West - Drivers
1379828            Regular       40.00   21.00 10/01/2018 Los Angeles CA West - Drivers
1379828            Overtime      11.00   31.50 10/01/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 10/08/2018 Los Angeles CA West - Drivers
1379828            Overtime       5.00   31.50 10/08/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 10/15/2018 Los Angeles CA West - Drivers
1379828            Overtime       4.00   31.50 10/15/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 10/22/2018 Los Angeles CA West - Drivers
1379828            Overtime       4.75   31.50 10/22/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 10/29/2018 Los Angeles CA West - Drivers
1379828            Overtime       5.25   31.50 10/29/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 11/05/2018 Los Angeles CA West - Drivers
1379828            Overtime       5.25   31.50 11/05/2018 Los Angeles CA West - Drivers
1379828            Regular       32.00   21.00 11/12/2018 Los Angeles CA West - Drivers
1379828            Overtime       7.50   31.50 11/12/2018 Los Angeles CA West - Drivers
1379828            Regular       24.00   21.00 11/19/2018 Los Angeles CA West - Drivers
1379828            Overtime       3.25   31.50 11/19/2018 Los Angeles CA West - Drivers
1379828            Regular        8.00   21.00 01/23/2017 Los Angeles CA West - Drivers
1379828            Overtime       0.50   31.50 01/23/2017 Los Angeles CA West - Drivers
Total for 1379828             4,835.75
1453140            Regular        4.00   19.00 11/28/2016 Los Angeles CA East - Drivers
Total for 1453140                 4.00
1357673            Regular       47.75   21.00 07/25/2016 Sacramento CA - Drivers
1357673            Overtime       1.25   31.50 07/25/2016 Sacramento CA - Drivers
1357673            Regular       49.00   21.00 08/01/2016 Sacramento CA - Drivers
1357673            Overtime       2.00   31.50 08/01/2016 Sacramento CA - Drivers
1357673            Regular       43.00   21.00 08/08/2016 Sacramento CA - Drivers
1357673            Regular       42.50   21.00 08/15/2016 Sacramento CA - Drivers
1357673            Regular       42.50   21.00 08/22/2016 Sacramento CA - Drivers
1357673            Regular       42.50   21.00 08/29/2016 Sacramento CA - Drivers
1357673            Regular       25.50   21.00 09/05/2016 Sacramento CA - Drivers
1357673            Overtime       8.50   31.50 09/05/2016 Sacramento CA - Drivers
1357673            Regular       43.00   21.00 09/12/2016 Sacramento CA - Drivers
1357673            Regular       45.50   21.00 09/19/2016 Sacramento CA - Drivers
1357673            Overtime       0.50   31.50 09/19/2016 Sacramento CA - Drivers
1357673            Regular       42.50   21.00 09/26/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 10/03/2016 Sacramento CA - Drivers
1357673            Overtime       2.00   31.50 10/03/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 10/10/2016 Sacramento CA - Drivers
1357673            Overtime       1.00   31.50 10/10/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 10/17/2016 Sacramento CA - Drivers
1357673            Overtime      38.00   31.50 10/17/2016 Sacramento CA - Drivers
1357673 Case 2:19-cv-08580-JFW-MAA
                   Regular       47.50Document
                                         21.00 38-5    Filed Sacramento
                                                 10/24/2016  03/22/21 Page    674 of 691
                                                                        CA - Drivers       Page ID
1357673            Regular       50.00   21.00 #:1447
                                                 10/31/2016 Sacramento CA - Drivers
1357673            Overtime       1.50   31.50 10/31/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 11/07/2016 Sacramento CA - Drivers
1357673            Overtime       1.00   31.50 11/07/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 11/14/2016 Sacramento CA - Drivers
1357673            Overtime       1.50   31.50 11/14/2016 Sacramento CA - Drivers
1357673            Regular       38.50   21.00 11/21/2016 Sacramento CA - Drivers
1357673            Overtime       8.50   31.50 11/21/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 11/28/2016 Sacramento CA - Drivers
1357673            Overtime       3.50   31.50 11/28/2016 Sacramento CA - Drivers
1357673            Regular       37.50   21.00 12/05/2016 Sacramento CA - Drivers
1357673            Regular       50.00   21.00 12/12/2016 Sacramento CA - Drivers
1357673            Overtime       7.00   31.50 12/12/2016 Sacramento CA - Drivers
1357673            Regular       47.00   21.00 12/19/2016 Sacramento CA - Drivers
1357673            Overtime       9.50   31.50 12/19/2016 Sacramento CA - Drivers
1357673            Regular       48.00   21.00 12/26/2016 Sacramento CA - Drivers
1357673            Overtime       1.50   31.50 12/26/2016 Sacramento CA - Drivers
Total for 1357673             1,129.50
2217037            Regular        6.00   22.50 05/20/2019 Los Angeles CA East - Drivers
2217037            Regular       40.00   22.00 07/30/2018 Los Angeles CA East - Drivers
2217037            Overtime      15.50   33.00 07/30/2018 Los Angeles CA East - Drivers
2217037            Regular       24.00   22.00 08/06/2018 Los Angeles CA East - Drivers
2217037            Overtime       5.75   33.00 08/06/2018 Los Angeles CA East - Drivers
2217037            Regular       24.00   22.00 08/13/2018 Los Angeles CA East - Drivers
2217037            Overtime       3.00   33.00 08/13/2018 Los Angeles CA East - Drivers
2217037            Regular       40.00   22.00 08/20/2018 Los Angeles CA East - Drivers
2217037            Overtime       4.50   33.00 08/20/2018 Los Angeles CA East - Drivers
2217037            Regular       40.00   22.00 08/27/2018 Los Angeles CA East - Drivers
2217037            Overtime       6.25   33.00 08/27/2018 Los Angeles CA East - Drivers
2217037            Regular       24.00   22.00 09/03/2018 Los Angeles CA East - Drivers
2217037            Overtime       4.50   33.00 09/03/2018 Los Angeles CA East - Drivers
2217037            Regular       40.00   22.00 09/10/2018 Los Angeles CA East - Drivers
2217037            Overtime       8.75   33.00 09/10/2018 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.00 08/27/2018 Los Angeles CA East - Drivers
2217037            Regular       16.00   20.00 10/08/2018 Los Angeles CA East - Drivers
2217037            Overtime       2.75   30.00 10/08/2018 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.50 12/10/2018 Los Angeles CA East - Drivers
2217037            Overtime       3.50   30.75 12/10/2018 Los Angeles CA East - Drivers
2217037            Regular        6.00   20.50 07/23/2018 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.50 07/30/2018 Los Angeles CA East - Drivers
2217037            Overtime       3.50   30.75 07/30/2018 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.50 09/10/2018 Los Angeles CA East - Drivers
2217037            Overtime       2.50   30.75 09/10/2018 Los Angeles CA East - Drivers
2217037            Regular       16.00   20.50 12/24/2018 Los Angeles CA East - Drivers
2217037            Overtime       1.50   30.75 12/24/2018 Los Angeles CA East - Drivers
2217037            Regular       18.00   21.85 04/08/2019 Los Angeles CA East - Drivers
2217037            Regular        8.00   21.00 07/23/2018 Los Angeles CA East - Drivers
2217037            Overtime       1.50   31.50 07/23/2018 Los Angeles CA East - Drivers
2217037            Regular        8.00   21.00 07/22/2019 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.00 03/06/2017 Los Angeles CA East - Drivers
2217037            Overtime       4.00   30.00 03/06/2017 Los Angeles CA East - Drivers
2217037            Regular       40.00   20.00 03/13/2017 Los Angeles CA East - Drivers
2217037            Regular       32.00   20.00 03/20/2017 Los Angeles CA East - Drivers
2217037            Regular       36.00   20.00 03/27/2017 Los Angeles CA East - Drivers
2217037            Overtime       1.25   30.00 03/27/2017 Los Angeles CA East - Drivers
2217037            Regular       32.00   20.00 04/03/2017 Los Angeles CA East - Drivers
2217037            Regular       32.00   20.00 04/10/2017 Los Angeles CA East - Drivers
2217037            Regular       25.50   20.00 04/17/2017 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.75 06/12/2017 Los Angeles CA East - Drivers
2217037            Overtime       4.00   31.13 06/12/2017 Los Angeles CA East - Drivers
2217037            Regular        8.00   20.75 06/19/2017 Los Angeles CA East - Drivers
2217037            Overtime       4.00   31.13 06/19/2017 Los Angeles CA East - Drivers
2217037 Case 2:19-cv-08580-JFW-MAA
                   Regular       8.00Document
                                        20.00 38-5    Filed Los
                                                08/06/2018  03/22/21
                                                                AngelesPage 675
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2217037            Regular      21.50   19.00 #:1448
                                                07/03/2017 Los Angeles CA East - Drivers
2217037            Overtime      1.50   28.50 07/03/2017 Los Angeles CA East - Drivers
2217037            Regular       8.00   18.00 03/04/2019 Los Angeles CA East - Drivers
Total for 2217037              679.25
2767623            Regular      16.00   21.00 08/05/2019 Los Angeles CA East - Drivers
2767623            Overtime      3.12   31.50 08/05/2019 Los Angeles CA East - Drivers
2767623            Regular      40.00   21.00 08/12/2019 Los Angeles CA East - Drivers
2767623            Overtime      1.50   31.50 08/12/2019 Los Angeles CA East - Drivers
2767623            Regular      40.00   21.00 08/19/2019 Los Angeles CA East - Drivers
2767623            Overtime      4.75   31.50 08/19/2019 Los Angeles CA East - Drivers
2767623            Regular      40.00   21.00 08/26/2019 Los Angeles CA East - Drivers
2767623            Overtime      1.50   31.50 08/26/2019 Los Angeles CA East - Drivers
2767623            Regular       8.00   21.00 09/02/2019 Los Angeles CA East - Drivers
2767623            Overtime      1.25   31.50 09/02/2019 Los Angeles CA East - Drivers
2767623            Regular       8.00   21.00 06/10/2019 Los Angeles CA East - Drivers
2767623            Regular       8.00   20.00 06/10/2019 Los Angeles CA East - Drivers
2767623            Overtime      4.00   30.00 06/10/2019 Los Angeles CA East - Drivers
2767623            Regular       8.00   23.00 08/05/2019 Los Angeles CA East - Drivers
2767623            Regular      16.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2767623            Overtime      0.75   31.50 07/29/2019 Los Angeles CA East - Drivers
2767623            Regular      16.00   20.75 05/27/2019 Los Angeles CA East - Drivers
2767623            Overtime      4.75   31.13 05/27/2019 Los Angeles CA East - Drivers
2767623            Regular      24.00   20.75 06/17/2019 Los Angeles CA East - Drivers
2767623            Overtime      2.75   31.13 06/17/2019 Los Angeles CA East - Drivers
2767623            Regular      40.00   20.75 06/24/2019 Los Angeles CA East - Drivers
2767623            Overtime     10.75   31.13 06/24/2019 Los Angeles CA East - Drivers
2767623            Regular      32.00   20.75 07/01/2019 Los Angeles CA East - Drivers
2767623            Overtime     31.25   31.13 07/01/2019 Los Angeles CA East - Drivers
2767623            Regular      16.00   20.75 07/08/2019 Los Angeles CA East - Drivers
2767623            Overtime      4.00   31.13 07/08/2019 Los Angeles CA East - Drivers
2767623            Regular       8.00   20.75 07/15/2019 Los Angeles CA East - Drivers
2767623            Overtime      4.00   31.13 07/15/2019 Los Angeles CA East - Drivers
2767623            Regular       8.00   21.00 06/03/2019 Los Angeles CA East - Drivers
Total for 2767623              402.37
2618593            Regular       8.00   24.00 10/29/2018 Los Angeles CA East - Drivers
2618593            Overtime      2.00   36.00 10/29/2018 Los Angeles CA East - Drivers
2618593            Regular      40.00   24.00 11/05/2018 Los Angeles CA East - Drivers
2618593            Regular      36.25   24.00 11/12/2018 Los Angeles CA East - Drivers
2618593            Overtime      3.50   36.00 11/12/2018 Los Angeles CA East - Drivers
2618593            Regular      31.00   24.00 11/19/2018 Los Angeles CA East - Drivers
2618593            Overtime      1.50   36.00 11/19/2018 Los Angeles CA East - Drivers
2618593            Regular      40.00   24.00 11/26/2018 Los Angeles CA East - Drivers
2618593            Overtime      4.00   36.00 11/26/2018 Los Angeles CA East - Drivers
2618593            Regular      32.00   24.00 12/03/2018 Los Angeles CA East - Drivers
2618593            Overtime      6.00   36.00 12/03/2018 Los Angeles CA East - Drivers
2618593            Regular      16.00   24.00 12/10/2018 Los Angeles CA East - Drivers
2618593            Overtime      3.90   36.00 12/10/2018 Los Angeles CA East - Drivers
2618593            Regular      16.00   16.50 12/31/2018 Los Angeles CA East - Drivers
2618593            Overtime      3.26   24.75 12/31/2018 Los Angeles CA East - Drivers
2618593            Regular       8.00   16.50 01/07/2019 Los Angeles CA East - Drivers
2618593            Regular       8.00   17.00 01/21/2019 Los Angeles CA East - Drivers
2618593            Regular      32.00   17.00 01/28/2019 Los Angeles CA East - Drivers
2618593            Overtime      6.00   25.50 01/28/2019 Los Angeles CA East - Drivers
2618593            Regular      40.00   17.00 02/04/2019 Los Angeles CA East - Drivers
2618593            Overtime      5.00   25.50 02/04/2019 Los Angeles CA East - Drivers
2618593            Regular      40.00   17.00 02/11/2019 Los Angeles CA East - Drivers
2618593            Overtime      3.00   25.50 02/11/2019 Los Angeles CA East - Drivers
Total for 2618593              385.41
1376726            Regular       8.00   21.00 08/15/2016 Los Angeles CA West - Drivers
1376726            Regular       8.00   19.00 04/24/2017 Los Angeles CA West - Drivers
1376726            Regular      32.00   18.00 08/22/2016 Los Angeles CA West - Drivers
Total for 1376726               48.00
888004   Case 2:19-cv-08580-JFW-MAA
                    Regular      23.25Document
                                         20.00 38-5    Filed Los
                                                 08/24/2015  03/22/21
                                                                 AngelesPage 676- Drivers
                                                                        CA West   of 691 Page ID
888004              Overtime      9.75   30.00 #:1449
                                                 08/24/2015 Los Angeles CA West - Drivers
888004              Regular        40.00    19.00   08/31/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       14.75    28.50   08/31/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        24.00    19.00   09/07/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        5.50    28.50   09/07/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        40.00    19.00   09/14/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       16.00    28.50   09/14/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        36.75    19.00   09/21/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        9.00    28.50   09/21/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        40.00    19.00   09/28/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       14.00    28.50   09/28/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        34.25    19.00   10/05/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        6.50    28.50   10/05/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        31.00    19.00   10/12/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        5.75    28.50   10/12/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        40.00    19.00   10/19/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       18.75    28.50   10/19/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        37.00    19.00   10/26/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        9.00    28.50   10/26/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        32.00    19.00   11/02/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       12.50    28.50   11/02/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        38.25    19.00   11/09/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        6.00    28.50   11/09/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        32.00    19.00   11/16/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       13.25    28.50   11/16/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        36.25    19.00   11/23/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        5.50    28.50   11/23/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        40.00    19.00   11/30/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime       25.50    28.50   11/30/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        36.75    19.00   12/07/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        7.75    28.50   12/07/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        38.75    19.00   12/14/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        9.00    28.50   12/14/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        21.50    19.00   12/21/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        3.25    28.50   12/21/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        39.75    19.00   12/28/2015   Los   Angeles   CA   West   - Drivers
888004              Overtime        5.50    28.50   12/28/2015   Los   Angeles   CA   West   - Drivers
888004              Regular        30.50    19.00   01/04/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime       15.00    28.50   01/04/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        40.00    19.00   01/11/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime       20.25    28.50   01/11/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        38.50    19.00   01/18/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        8.75    28.50   01/18/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        30.25    19.00   01/25/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        2.25    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        24.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        2.75    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        38.75    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        4.50    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        39.25    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime       12.50    28.50   02/15/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        24.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        4.25    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        30.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        7.00    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        24.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        4.00    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        31.75    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        1.75    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        22.75    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
888004              Overtime        6.50    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
888004              Regular        32.00    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
888004 Case 2:19-cv-08580-JFW-MAA
                  Overtime        4.75Document
                                         28.50 38-5    Filed Los
                                                 03/28/2016  03/22/21
                                                                 AngelesPage 677- Drivers
                                                                        CA West   of 691    Page ID
888004            Regular       32.00    19.00 #:1450
                                                 04/04/2016 Los Angeles CA West - Drivers
888004            Overtime        7.00   28.50 04/04/2016 Los Angeles CA West - Drivers
888004            Regular       32.00    19.00 04/11/2016 Los Angeles CA West - Drivers
888004            Overtime        8.00   28.50 04/11/2016 Los Angeles CA West - Drivers
888004            Regular       24.00    19.00 04/18/2016 Los Angeles CA West - Drivers
888004            Overtime        5.50   28.50 04/18/2016 Los Angeles CA West - Drivers
888004            Regular       24.00    19.00 04/25/2016 Los Angeles CA West - Drivers
888004            Overtime        7.25   28.50 04/25/2016 Los Angeles CA West - Drivers
888004            Regular       31.50    19.00 05/02/2016 Los Angeles CA West - Drivers
888004            Overtime        4.75   28.50 05/02/2016 Los Angeles CA West - Drivers
888004            Regular       30.00    19.00 05/09/2016 Los Angeles CA West - Drivers
888004            Overtime        4.25   28.50 05/09/2016 Los Angeles CA West - Drivers
888004            Regular       31.25    19.25 05/16/2016 Los Angeles CA West - Drivers
888004            Overtime      11.25    28.88 05/16/2016 Los Angeles CA West - Drivers
888004            Regular       40.00    19.25 05/23/2016 Los Angeles CA West - Drivers
888004            Overtime      11.00    28.88 05/23/2016 Los Angeles CA West - Drivers
888004            Regular       32.00    19.25 05/30/2016 Los Angeles CA West - Drivers
888004            Overtime        8.50   28.88 05/30/2016 Los Angeles CA West - Drivers
888004            Regular       32.00    19.25 06/06/2016 Los Angeles CA West - Drivers
888004            Overtime        9.00   28.88 06/06/2016 Los Angeles CA West - Drivers
888004            Regular       24.00    19.25 06/13/2016 Los Angeles CA West - Drivers
888004            Overtime        9.75   28.88 06/13/2016 Los Angeles CA West - Drivers
888004            Regular       32.00    19.25 06/20/2016 Los Angeles CA West - Drivers
888004            Overtime        5.50   28.88 06/20/2016 Los Angeles CA West - Drivers
888004            Regular       40.00    19.25 06/27/2016 Los Angeles CA West - Drivers
888004            Overtime        9.00   28.88 06/27/2016 Los Angeles CA West - Drivers
888004            Regular         8.00   19.25 07/04/2016 Los Angeles CA West - Drivers
888004            Overtime        0.75   28.88 07/04/2016 Los Angeles CA West - Drivers
888004            Regular       32.00    19.25 07/11/2016 Los Angeles CA West - Drivers
888004            Overtime      11.25    28.88 07/11/2016 Los Angeles CA West - Drivers
888004            Regular       32.00    19.25 07/18/2016 Los Angeles CA West - Drivers
888004            Overtime        3.50   28.88 07/18/2016 Los Angeles CA West - Drivers
888004            Regular       24.00    19.25 07/25/2016 Los Angeles CA West - Drivers
888004            Overtime        4.00   28.88 07/25/2016 Los Angeles CA West - Drivers
888004            Regular       24.00    19.25 08/15/2016 Los Angeles CA West - Drivers
888004            Overtime        8.50   28.88 08/15/2016 Los Angeles CA West - Drivers
888004            Regular       51.00    19.00 08/03/2015 Los Angeles CA West - Drivers
888004            Regular       51.25    19.00 08/10/2015 Los Angeles CA West - Drivers
888004            Regular       44.00    19.00 08/17/2015 Los Angeles CA West - Drivers
888004            Regular       29.75    19.00 08/24/2015 Los Angeles CA West - Drivers
Total for 888004             2,188.25
1403196           Regular       16.00    20.00 10/17/2016 Sacramento CA - Drivers
1403196           Regular       24.00    20.00 10/24/2016 Sacramento CA - Drivers
1403196           Overtime        1.50   30.00 10/24/2016 Sacramento CA - Drivers
1403196           Regular       40.00    20.00 10/31/2016 Sacramento CA - Drivers
1403196           Overtime        2.00   30.00 10/31/2016 Sacramento CA - Drivers
1403196           Regular       40.00    20.00 11/07/2016 Sacramento CA - Drivers
1403196           Regular       40.00    20.00 11/14/2016 Sacramento CA - Drivers
1403196           Regular       39.00    20.00 11/21/2016 Sacramento CA - Drivers
1403196           Regular       12.00    20.98 06/12/2017 Sacramento CA - Drivers
1403196           Regular       22.25    20.98 10/23/2017 Sacramento CA - Drivers
1403196           Regular       32.75    20.98 10/30/2017 Sacramento CA - Drivers
1403196           Regular       27.50    20.98 11/06/2017 Sacramento CA - Drivers
1403196           Regular       16.25    20.98 11/13/2017 Sacramento CA - Drivers
Total for 1403196              313.25
2730122           Regular       16.00    21.00 08/05/2019 Los Angeles CA East - Drivers
2730122           Overtime        2.25   31.50 08/05/2019 Los Angeles CA East - Drivers
2730122           Regular       16.00    21.00 07/15/2019 Los Angeles CA East - Drivers
2730122           Regular       13.00    21.00 07/22/2019 Los Angeles CA East - Drivers
2730122           Regular       16.00    21.00 07/29/2019 Los Angeles CA East - Drivers
2730122           Regular        -4.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2730122           Regular        -4.00   21.00 07/29/2019 Los Angeles CA East - Drivers
2730122 Case 2:19-cv-08580-JFW-MAA
                   Regular      40.00Document
                                        21.00 38-5    Filed Los
                                                08/12/2019  03/22/21
                                                                AngelesPage 678
                                                                       CA East    of 691
                                                                               - Drivers   Page ID
2730122            Regular      16.00   21.00 #:1451
                                                08/19/2019 Los Angeles CA East - Drivers
2730122            Regular       4.00   17.00 09/02/2019 Los Angeles CA East - Drivers
Total for 2730122              115.25
1458403            Regular      34.00   22.00 12/12/2016 Los Angeles CA East - Drivers
1458403            Overtime      1.75   33.00 12/12/2016 Los Angeles CA East - Drivers
1458403            Regular      32.00   22.00 12/19/2016 Los Angeles CA East - Drivers
1458403            Overtime      0.50   33.00 12/19/2016 Los Angeles CA East - Drivers
1458403            Regular      24.00   22.00 12/26/2016 Los Angeles CA East - Drivers
1458403            Regular      32.00   22.00 01/02/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 01/09/2017 Los Angeles CA East - Drivers
1458403            Overtime      0.75   33.00 01/09/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 01/16/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 01/23/2017 Los Angeles CA East - Drivers
1458403            Overtime      1.00   33.00 01/23/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 01/30/2017 Los Angeles CA East - Drivers
1458403            Overtime      0.50   33.00 01/30/2017 Los Angeles CA East - Drivers
1458403            Regular      32.00   22.00 02/06/2017 Los Angeles CA East - Drivers
1458403            Overtime      1.00   33.00 02/06/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 02/13/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 02/20/2017 Los Angeles CA East - Drivers
1458403            Regular      32.00   22.00 02/27/2017 Los Angeles CA East - Drivers
1458403            Regular      32.00   22.00 03/06/2017 Los Angeles CA East - Drivers
1458403            Regular      40.00   22.00 03/13/2017 Los Angeles CA East - Drivers
1458403            Regular      16.00   22.00 03/20/2017 Los Angeles CA East - Drivers
1458403            Regular      16.00   19.00 04/03/2017 Los Angeles CA East - Drivers
1458403            Regular      16.00   19.00 04/10/2017 Los Angeles CA East - Drivers
1458403            Overtime      1.50   28.50 04/10/2017 Los Angeles CA East - Drivers
1458403            Regular       8.00   19.00 04/17/2017 Los Angeles CA East - Drivers
1458403            Overtime      2.00   28.50 04/17/2017 Los Angeles CA East - Drivers
1458403            Regular       8.00   20.00 04/03/2017 Los Angeles CA East - Drivers
1458403            Overtime      3.50   30.00 04/03/2017 Los Angeles CA East - Drivers
1458403            Regular       8.00   20.00 04/17/2017 Los Angeles CA East - Drivers
1458403            Overtime      0.50   30.00 04/17/2017 Los Angeles CA East - Drivers
Total for 1458403              583.00
1346743            Regular      50.75   15.00 07/04/2016 Birmingham AL - Drivers
1346743            Overtime     10.50   22.50 07/11/2016 Birmingham AL - Drivers
Total for 1346743               61.25
961675             Regular       8.00   22.50 07/22/2019 Los Angeles CA East - Drivers
961675             Overtime      0.50   33.75 07/22/2019 Los Angeles CA East - Drivers
961675             Regular       8.00   22.50 08/05/2019 Los Angeles CA East - Drivers
961675             Overtime      1.50   33.75 08/05/2019 Los Angeles CA East - Drivers
961675             Overtime      2.00   33.75 08/05/2019 Los Angeles CA East - Drivers
961675             Regular      16.00   21.00 08/05/2019 Los Angeles CA East - Drivers
961675             Regular       8.00   20.75 06/17/2019 Los Angeles CA East - Drivers
961675             Overtime      2.50   31.13 06/17/2019 Los Angeles CA East - Drivers
961675             Regular      32.00   20.75 06/24/2019 Los Angeles CA East - Drivers
961675             Overtime      9.50   31.13 06/24/2019 Los Angeles CA East - Drivers
961675             Regular      24.00   20.75 07/01/2019 Los Angeles CA East - Drivers
961675             Overtime      6.50   31.13 07/01/2019 Los Angeles CA East - Drivers
961675             Regular      32.00   20.75 07/08/2019 Los Angeles CA East - Drivers
961675             Overtime      4.00   31.13 07/08/2019 Los Angeles CA East - Drivers
961675             Regular      16.00   20.75 07/15/2019 Los Angeles CA East - Drivers
961675             Overtime      8.00   31.13 07/15/2019 Los Angeles CA East - Drivers
961675             Regular       8.00   20.75 07/22/2019 Los Angeles CA East - Drivers
961675             Overtime      0.50   31.13 07/22/2019 Los Angeles CA East - Drivers
961675             Regular       7.00   20.75 08/26/2019 Los Angeles CA East - Drivers
961675             Regular       8.00   21.00 08/12/2019 Los Angeles CA East - Drivers
961675             Regular       6.00   20.00 06/03/2019 Los Angeles CA East - Drivers
961675             Regular      16.00   20.00 06/17/2019 Los Angeles CA East - Drivers
961675             Overtime      1.50   30.00 06/17/2019 Los Angeles CA East - Drivers
Total for 961675               225.50
877325             Regular      15.50   20.00 08/31/2015 Los Angeles CA West - Drivers
877325 Case 2:19-cv-08580-JFW-MAA
                  Regular      24.00Document
                                       20.00 38-5    Filed Los
                                               09/07/2015  03/22/21
                                                               AngelesPage 679- Drivers
                                                                      CA West   of 691    Page ID
877325            Overtime      2.50   30.00 #:1452
                                               09/07/2015 Los Angeles CA West - Drivers
877325            Regular      37.25   20.00 09/14/2015 Los Angeles CA West - Drivers
877325            Overtime      8.50   30.00 09/14/2015 Los Angeles CA West - Drivers
877325            Regular      15.00   20.00 09/21/2015 Los Angeles CA West - Drivers
877325            Overtime      0.75   30.00 09/21/2015 Los Angeles CA West - Drivers
877325            Regular      15.75   20.00 09/28/2015 Los Angeles CA West - Drivers
877325            Regular      29.00   20.00 10/05/2015 Los Angeles CA West - Drivers
877325            Overtime      1.50   30.00 10/05/2015 Los Angeles CA West - Drivers
877325            Regular      30.75   20.00 10/12/2015 Los Angeles CA West - Drivers
877325            Overtime      2.00   30.00 10/12/2015 Los Angeles CA West - Drivers
877325            Regular      39.75   20.00 01/04/2016 Los Angeles CA West - Drivers
877325            Overtime      6.75   30.00 01/04/2016 Los Angeles CA West - Drivers
877325            Regular      32.00   20.00 01/11/2016 Los Angeles CA West - Drivers
877325            Overtime     10.75   30.00 01/11/2016 Los Angeles CA West - Drivers
877325            Regular      30.00   20.00 01/18/2016 Los Angeles CA West - Drivers
877325            Overtime      1.25   30.00 01/18/2016 Los Angeles CA West - Drivers
877325            Regular      32.00   20.00 01/25/2016 Los Angeles CA West - Drivers
877325            Overtime      8.75   30.00 01/25/2016 Los Angeles CA West - Drivers
877325            Regular      16.00   20.00 02/01/2016 Los Angeles CA West - Drivers
877325            Overtime      0.75   30.00 02/01/2016 Los Angeles CA West - Drivers
877325            Regular      37.75   20.00 02/08/2016 Los Angeles CA West - Drivers
877325            Overtime      0.50   30.00 02/08/2016 Los Angeles CA West - Drivers
877325            Regular      40.00   20.00 02/15/2016 Los Angeles CA West - Drivers
877325            Overtime     18.00   30.00 02/15/2016 Los Angeles CA West - Drivers
877325            Regular      39.75   20.00 02/22/2016 Los Angeles CA West - Drivers
877325            Overtime      8.75   30.00 02/22/2016 Los Angeles CA West - Drivers
877325            Regular      23.00   20.00 02/29/2016 Los Angeles CA West - Drivers
877325            Overtime      0.25   30.00 02/29/2016 Los Angeles CA West - Drivers
877325            Regular      23.00   20.00 03/07/2016 Los Angeles CA West - Drivers
877325            Overtime      2.75   30.00 03/07/2016 Los Angeles CA West - Drivers
877325            Regular      38.50   20.00 03/14/2016 Los Angeles CA West - Drivers
877325            Overtime      3.00   30.00 03/14/2016 Los Angeles CA West - Drivers
877325            Regular      32.00   20.00 03/21/2016 Los Angeles CA West - Drivers
877325            Overtime      9.00   30.00 03/21/2016 Los Angeles CA West - Drivers
877325            Regular      36.50   20.00 03/28/2016 Los Angeles CA West - Drivers
877325            Overtime      7.75   30.00 03/28/2016 Los Angeles CA West - Drivers
877325            Regular      29.50   20.00 04/04/2016 Los Angeles CA West - Drivers
877325            Overtime      2.00   30.00 04/04/2016 Los Angeles CA West - Drivers
877325            Regular      24.00   20.00 04/11/2016 Los Angeles CA West - Drivers
877325            Overtime      2.50   30.00 04/11/2016 Los Angeles CA West - Drivers
877325            Regular      15.00   20.00 04/18/2016 Los Angeles CA West - Drivers
877325            Overtime      1.00   30.00 04/18/2016 Los Angeles CA West - Drivers
877325            Regular      32.00   17.00 07/20/2015 Los Angeles CA West - Drivers
877325            Overtime     14.00   25.50 08/03/2015 Los Angeles CA West - Drivers
877325            Regular      38.00   17.00 08/10/2015 Los Angeles CA West - Drivers
877325            Overtime      8.50   25.50 08/10/2015 Los Angeles CA West - Drivers
877325            Regular      24.00   17.00 08/17/2015 Los Angeles CA West - Drivers
877325            Overtime      6.75   25.50 08/17/2015 Los Angeles CA West - Drivers
877325            Regular       6.00   18.00 02/08/2016 Los Angeles CA West - Drivers
877325            Regular       7.50   17.00 10/12/2015 Los Angeles CA West - Drivers
877325            Regular       9.50   21.00 10/22/2018 Los Angeles CA West - Drivers
Total for 877325              901.25
868531            Regular       7.25   17.00 02/15/2016 Los Angeles CA East - Drivers
868531            Regular       4.00   17.00 09/21/2015 Los Angeles CA East - Drivers
868531            Regular       7.00   17.00 10/05/2015 Los Angeles CA East - Drivers
868531            Regular      18.00   17.00 10/12/2015 Los Angeles CA East - Drivers
868531            Regular      12.00   17.00 11/16/2015 Los Angeles CA East - Drivers
868531            Regular       6.50   17.00 11/30/2015 Los Angeles CA East - Drivers
868531            Regular      13.50   17.00 12/07/2015 Los Angeles CA East - Drivers
868531            Overtime      0.25   25.50 12/07/2015 Los Angeles CA East - Drivers
868531            Regular      48.00   17.00 12/21/2015 Los Angeles CA East - Drivers
868531            Overtime     10.00   25.50 12/21/2015 Los Angeles CA East - Drivers
868531 Case 2:19-cv-08580-JFW-MAA
                  Regular       40.00Document
                                        17.00 38-5    Filed Los
                                                12/28/2015  03/22/21
                                                                AngelesPage 680
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                                                                               - Drivers   Page ID
868531            Overtime      13.00   25.50 #:1453
                                                12/28/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 01/04/2016 Los Angeles CA East - Drivers
868531            Overtime      20.25   25.50 01/04/2016 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 01/11/2016 Los Angeles CA East - Drivers
868531            Overtime       0.50   25.50 01/11/2016 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 01/18/2016 Los Angeles CA East - Drivers
868531            Overtime       4.50   25.50 01/18/2016 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 01/25/2016 Los Angeles CA East - Drivers
868531            Overtime       2.50   25.50 01/25/2016 Los Angeles CA East - Drivers
868531            Regular       32.00   17.00 02/01/2016 Los Angeles CA East - Drivers
868531            Overtime       3.25   25.50 02/01/2016 Los Angeles CA East - Drivers
868531            Regular       22.50   18.00 02/08/2016 Los Angeles CA East - Drivers
868531            Overtime       4.00   27.00 02/08/2016 Los Angeles CA East - Drivers
868531            Regular        8.00   18.00 02/22/2016 Los Angeles CA East - Drivers
868531            Overtime       4.00   27.00 02/22/2016 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 08/03/2015 Los Angeles CA East - Drivers
868531            Overtime       0.50   25.50 08/03/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 08/10/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 08/17/2015 Los Angeles CA East - Drivers
868531            Overtime       1.00   25.50 08/17/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 08/24/2015 Los Angeles CA East - Drivers
868531            Overtime       1.00   25.50 08/24/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 08/31/2015 Los Angeles CA East - Drivers
868531            Overtime       1.00   25.50 08/31/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 09/07/2015 Los Angeles CA East - Drivers
868531            Overtime       2.00   25.50 09/07/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 09/14/2015 Los Angeles CA East - Drivers
868531            Overtime       6.00   25.50 09/14/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 09/21/2015 Los Angeles CA East - Drivers
868531            Overtime       5.00   25.50 09/21/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 09/28/2015 Los Angeles CA East - Drivers
868531            Overtime       2.00   25.50 09/28/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 10/05/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 10/12/2015 Los Angeles CA East - Drivers
868531            Overtime       1.00   25.50 10/12/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 10/19/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 10/26/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 11/02/2015 Los Angeles CA East - Drivers
868531            Overtime       2.00   25.50 11/02/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 11/09/2015 Los Angeles CA East - Drivers
868531            Overtime       1.00   25.50 11/09/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 11/16/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 11/23/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 11/30/2015 Los Angeles CA East - Drivers
868531            Overtime       2.00   25.50 11/30/2015 Los Angeles CA East - Drivers
868531            Regular       40.00   17.00 12/07/2015 Los Angeles CA East - Drivers
868531            Overtime       1.00   25.50 12/07/2015 Los Angeles CA East - Drivers
Total for 868531             1,226.50
924961            Regular        8.00   16.00 08/31/2015 Los Angeles CA East - Drivers
924961            Overtime       1.50   24.00 08/31/2015 Los Angeles CA East - Drivers
924961            Regular       16.00   16.00 09/07/2015 Los Angeles CA East - Drivers
924961            Overtime       5.50   24.00 09/07/2015 Los Angeles CA East - Drivers
924961            Regular        7.50   16.00 09/14/2015 Los Angeles CA East - Drivers
924961            Regular        7.50   16.00 10/12/2015 Los Angeles CA East - Drivers
924961            Regular        4.00   19.00 12/07/2015 Los Angeles CA East - Drivers
924961            Regular       22.50   19.00 12/14/2015 Los Angeles CA East - Drivers
924961            Overtime       2.00   28.50 12/14/2015 Los Angeles CA East - Drivers
924961            Regular       36.00   19.00 12/21/2015 Los Angeles CA East - Drivers
924961            Overtime       8.00   28.50 12/21/2015 Los Angeles CA East - Drivers
924961            Regular       40.00   19.00 01/04/2016 Los Angeles CA East - Drivers
924961            Overtime      20.00   28.50 12/28/2015 Los Angeles CA East - Drivers
924961            Regular       22.00   19.00 01/11/2016 Los Angeles CA East - Drivers
924961 Case 2:19-cv-08580-JFW-MAA
                  Overtime        7.50Document
                                         28.50 38-5    Filed Los
                                                 01/11/2016  03/22/21
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                                                                                - Drivers   Page ID
924961            Regular       21.50    19.00 #:1454
                                                 01/18/2016 Los Angeles CA East - Drivers
924961            Overtime        8.00   28.50 01/18/2016 Los Angeles CA East - Drivers
924961            Regular         8.00   19.00 01/25/2016 Los Angeles CA East - Drivers
924961            Overtime        3.00   28.50 01/25/2016 Los Angeles CA East - Drivers
924961            Regular       32.00    19.00 02/15/2016 Los Angeles CA East - Drivers
924961            Overtime      14.50    28.50 02/15/2016 Los Angeles CA East - Drivers
924961            Regular         8.00   19.00 02/22/2016 Los Angeles CA East - Drivers
924961            Overtime        1.00   28.50 02/22/2016 Los Angeles CA East - Drivers
924961            Regular       24.00    17.00 10/26/2015 Los Angeles CA East - Drivers
924961            Overtime        5.00   25.50 10/26/2015 Los Angeles CA East - Drivers
924961            Regular     112.00     17.00 11/02/2015 Los Angeles CA East - Drivers
924961            Overtime      14.50    25.50 11/02/2015 Los Angeles CA East - Drivers
924961            Regular       40.00    17.00 11/09/2015 Los Angeles CA East - Drivers
924961            Overtime      11.50    25.50 11/09/2015 Los Angeles CA East - Drivers
924961            Regular         8.00   17.00 11/16/2015 Los Angeles CA East - Drivers
924961            Overtime        2.00   25.50 11/16/2015 Los Angeles CA East - Drivers
924961            Regular       24.00    17.00 11/23/2015 Los Angeles CA East - Drivers
924961            Overtime        1.00   25.50 11/23/2015 Los Angeles CA East - Drivers
924961            Regular       12.00    17.00 12/07/2015 Los Angeles CA East - Drivers
924961            Overtime        2.50   25.50 12/07/2015 Los Angeles CA East - Drivers
924961            Regular         8.00   17.00 09/14/2015 Los Angeles CA East - Drivers
924961            Overtime        3.50   25.50 09/14/2015 Los Angeles CA East - Drivers
924961            Regular       10.50    17.00 09/21/2015 Los Angeles CA East - Drivers
924961            Regular       12.00    17.00 09/28/2015 Los Angeles CA East - Drivers
924961            Overtime        0.50   25.50 09/28/2015 Los Angeles CA East - Drivers
924961            Regular         4.00   17.00 10/05/2015 Los Angeles CA East - Drivers
924961            Regular       16.00    17.00 10/12/2015 Los Angeles CA East - Drivers
924961            Overtime        1.50   25.50 10/12/2015 Los Angeles CA East - Drivers
924961            Regular       16.00    16.00 09/21/2015 Los Angeles CA East - Drivers
924961            Overtime        2.50   24.00 09/21/2015 Los Angeles CA East - Drivers
924961            Regular         8.00   16.00 09/28/2015 Los Angeles CA East - Drivers
924961            Overtime        4.00   24.00 09/28/2015 Los Angeles CA East - Drivers
924961            Regular      -16.00    16.00 09/21/2015 Los Angeles CA East - Drivers
924961            Overtime       -2.50   24.00 09/21/2015 Los Angeles CA East - Drivers
924961            Regular         4.00   16.00 11/30/2015 Los Angeles CA East - Drivers
924961            Regular         5.00   16.00 12/07/2015 Los Angeles CA East - Drivers
924961            Regular         8.00   20.00 09/14/2015 Los Angeles CA East - Drivers
924961            Overtime        4.00   30.00 09/14/2015 Los Angeles CA East - Drivers
924961            Regular       16.00    20.00 09/21/2015 Los Angeles CA East - Drivers
924961            Overtime        2.50   30.00 09/21/2015 Los Angeles CA East - Drivers
924961            Regular       24.75    17.00 08/03/2015 Los Angeles CA East - Drivers
924961            Regular       32.75    17.00 08/10/2015 Los Angeles CA East - Drivers
924961            Regular      -12.50    17.00 07/27/2015 Los Angeles CA East - Drivers
924961            Regular       30.00    17.00 08/24/2015 Los Angeles CA East - Drivers
924961            Regular       25.00    17.00 08/31/2015 Los Angeles CA East - Drivers
924961            Regular       53.50    17.00 10/19/2015 Los Angeles CA East - Drivers
924961            Regular         8.00   17.00 08/10/2015 Los Angeles CA East - Drivers
924961            Overtime        1.50   25.50 08/10/2015 Los Angeles CA East - Drivers
924961            Regular       40.00    17.00 08/17/2015 Los Angeles CA East - Drivers
924961            Overtime      13.00    25.50 08/17/2015 Los Angeles CA East - Drivers
924961            Regular         8.00   16.00 09/07/2015 Los Angeles CA East - Drivers
924961            Overtime        4.00   24.00 09/07/2015 Los Angeles CA East - Drivers
Total for 924961              896.00
1368938           Regular       40.00    17.00 08/15/2016 Phoenix AZ - Drivers
1368938           Overtime        2.50   25.50 08/15/2016 Phoenix AZ - Drivers
1368938           Regular       40.00    17.00 08/22/2016 Phoenix AZ - Drivers
1368938           Overtime        1.75   25.50 08/22/2016 Phoenix AZ - Drivers
1368938           Regular       32.00    17.00 08/29/2016 Phoenix AZ - Drivers
1368938           Overtime        4.25   25.50 08/29/2016 Phoenix AZ - Drivers
1368938           Regular       32.00    17.00 09/05/2016 Phoenix AZ - Drivers
1368938           Overtime        5.00   25.50 09/05/2016 Phoenix AZ - Drivers
1368938           Regular       40.00    17.00 09/12/2016 Phoenix AZ - Drivers
1368938 Case 2:19-cv-08580-JFW-MAA
                   Overtime      8.50Document
                                        25.50 38-5    Filed Phoenix
                                                09/12/2016  03/22/21AZ -Page   682 of 691
                                                                         Drivers            Page ID
1368938            Regular      40.00   17.00 #:1455
                                                09/19/2016 Phoenix AZ - Drivers
1368938            Overtime      1.50   25.50 09/19/2016 Phoenix AZ - Drivers
1368938            Regular      40.00   17.00 09/26/2016 Phoenix AZ - Drivers
1368938            Overtime      2.75   25.50 09/26/2016 Phoenix AZ - Drivers
1368938            Regular      40.00   17.00 10/03/2016 Phoenix AZ - Drivers
1368938            Overtime      2.50   25.50 10/03/2016 Phoenix AZ - Drivers
1368938            Regular      32.00   17.00 10/10/2016 Phoenix AZ - Drivers
1368938            Overtime      3.00   25.50 10/10/2016 Phoenix AZ - Drivers
1368938            Regular      40.00   17.00 10/17/2016 Phoenix AZ - Drivers
1368938            Overtime      4.00   25.50 10/17/2016 Phoenix AZ - Drivers
1368938            Regular      40.00   17.00 10/24/2016 Phoenix AZ - Drivers
1368938            Overtime      2.00   25.50 10/24/2016 Phoenix AZ - Drivers
1368938            Regular      24.00   17.00 10/31/2016 Phoenix AZ - Drivers
1368938            Overtime      4.75   25.50 10/31/2016 Phoenix AZ - Drivers
1368938            Regular      40.00   17.00 11/07/2016 Phoenix AZ - Drivers
1368938            Overtime      3.25   25.50 11/07/2016 Phoenix AZ - Drivers
1368938            Regular      40.00   17.00 11/14/2016 Phoenix AZ - Drivers
1368938            Overtime      1.50   25.50 11/14/2016 Phoenix AZ - Drivers
1368938            Regular      24.00   17.00 11/21/2016 Phoenix AZ - Drivers
1368938            Overtime      1.00   25.50 11/21/2016 Phoenix AZ - Drivers
Total for 1368938              592.25
1187846            Regular      24.00   18.00 08/31/2015 Los Angeles CA West - Drivers
1187846            Overtime      8.00   27.00 08/31/2015 Los Angeles CA West - Drivers
1187846            Regular      24.00   18.00 09/07/2015 Los Angeles CA West - Drivers
1187846            Overtime      6.50   27.00 08/31/2015 Los Angeles CA West - Drivers
1187846            Regular      40.00   18.00 09/14/2015 Los Angeles CA West - Drivers
1187846            Overtime     10.75   27.00 09/14/2015 Los Angeles CA West - Drivers
1187846            Regular      39.75   18.00 09/21/2015 Los Angeles CA West - Drivers
1187846            Overtime      9.25   27.00 09/21/2015 Los Angeles CA West - Drivers
1187846            Regular      39.75   18.00 09/28/2015 Los Angeles CA West - Drivers
1187846            Overtime      1.00   27.00 09/28/2015 Los Angeles CA West - Drivers
1187846            Regular      22.50   18.00 10/05/2015 Los Angeles CA West - Drivers
1187846            Overtime     10.50   27.00 10/05/2015 Los Angeles CA West - Drivers
1187846            Regular      39.25   19.00 10/12/2015 Los Angeles CA West - Drivers
1187846            Overtime      7.00   28.50 10/12/2015 Los Angeles CA West - Drivers
1187846            Regular      40.00   19.00 10/19/2015 Los Angeles CA West - Drivers
1187846            Overtime     14.00   28.50 10/19/2015 Los Angeles CA West - Drivers
1187846            Regular      32.00   19.00 10/26/2015 Los Angeles CA West - Drivers
1187846            Overtime      3.25   28.50 10/26/2015 Los Angeles CA West - Drivers
1187846            Regular      40.00   19.00 11/02/2015 Los Angeles CA West - Drivers
1187846            Overtime      8.50   28.50 11/02/2015 Los Angeles CA West - Drivers
1187846            Regular      39.75   19.00 11/09/2015 Los Angeles CA West - Drivers
1187846            Overtime      6.50   28.50 11/09/2015 Los Angeles CA West - Drivers
1187846            Regular      32.00   19.00 11/16/2015 Los Angeles CA West - Drivers
1187846            Overtime      1.00   28.50 11/16/2015 Los Angeles CA West - Drivers
1187846            Regular      31.00   19.00 11/23/2015 Los Angeles CA West - Drivers
1187846            Overtime      2.00   28.50 11/23/2015 Los Angeles CA West - Drivers
1187846            Regular      32.00   19.00 11/30/2015 Los Angeles CA West - Drivers
1187846            Overtime     17.50   28.50 11/30/2015 Los Angeles CA West - Drivers
1187846            Regular      30.00   19.00 12/07/2015 Los Angeles CA West - Drivers
1187846            Overtime      5.50   28.50 12/07/2015 Los Angeles CA West - Drivers
1187846            Regular      40.00   19.00 12/14/2015 Los Angeles CA West - Drivers
1187846            Overtime      9.00   28.50 12/14/2015 Los Angeles CA West - Drivers
1187846            Regular      16.00   19.00 12/21/2015 Los Angeles CA West - Drivers
1187846            Overtime      4.25   28.50 12/21/2015 Los Angeles CA West - Drivers
1187846            Regular      30.75   19.00 12/28/2015 Los Angeles CA West - Drivers
1187846            Overtime      2.25   28.50 12/28/2015 Los Angeles CA West - Drivers
1187846            Regular      40.00   19.00 01/04/2016 Los Angeles CA West - Drivers
1187846            Overtime      9.50   28.50 01/04/2016 Los Angeles CA West - Drivers
1187846            Regular      40.00   19.00 01/11/2016 Los Angeles CA West - Drivers
1187846            Overtime     12.00   28.50 01/11/2016 Los Angeles CA West - Drivers
1187846            Regular      39.50   19.00 01/18/2016 Los Angeles CA West - Drivers
1187846 Case   2:19-cv-08580-JFW-MAA
                     Overtime     11.00Document
                                          28.50 38-5    Filed Los
                                                  01/18/2016  03/22/21
                                                                  AngelesPage 683- Drivers
                                                                         CA West   of 691 Page ID
1187846              Regular      38.25   19.00 #:1456
                                                  01/25/2016 Los Angeles CA West - Drivers
1187846             Overtime        5.50    28.50   01/25/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.00   02/01/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        5.75    28.50   02/01/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular         8.00    19.00   02/08/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        1.00    28.50   02/08/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        23.25    19.00   02/15/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.00   02/22/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        3.25    28.50   02/22/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        40.00    19.00   02/29/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        6.25    28.50   02/29/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        24.00    19.00   03/07/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        0.75    28.50   03/07/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        28.50    19.00   03/14/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        2.00    28.50   03/14/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        35.75    19.00   03/21/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        6.75    28.50   03/21/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        37.50    19.00   03/28/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        8.25    28.50   03/28/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        31.00    19.00   04/04/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        6.00    28.50   04/04/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        30.75    19.00   04/11/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        2.00    28.50   04/11/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        14.50    19.00   04/18/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        28.50    19.00   04/25/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        2.00    28.50   04/25/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        24.00    19.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        6.00    28.50   05/02/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        7.50    28.50   05/09/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        40.00    19.25   05/16/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        8.00    28.88   05/16/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        31.75    19.25   05/23/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        4.50    28.88   05/23/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   05/30/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        3.75    28.88   05/30/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   06/06/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        4.25    28.88   06/06/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   06/13/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        8.50    28.88   06/13/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   06/20/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        5.25    28.88   06/20/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   06/27/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        6.00    28.88   06/27/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        16.00    19.25   07/04/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        2.50    28.88   07/04/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   07/11/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        8.00    28.88   07/11/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        40.00    19.25   07/18/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        6.50    28.88   07/18/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        40.00    19.25   07/25/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        9.75    28.88   07/25/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        33.00    19.25   08/01/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime       12.75    28.88   08/01/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   08/08/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        7.75    28.88   08/08/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        32.00    19.25   08/15/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime       11.25    28.88   08/15/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        40.00    19.25   08/22/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime       13.50    28.88   08/22/2016   Los   Angeles   CA   West   - Drivers
1187846             Regular        24.00    19.25   08/29/2016   Los   Angeles   CA   West   - Drivers
1187846             Overtime        7.25    28.88   08/29/2016   Los   Angeles   CA   West   - Drivers
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                   Regular       12.50Document
                                         19.25 38-5    Filed Los
                                                 09/05/2016  03/22/21
                                                                 AngelesPage 684- Drivers
                                                                        CA West   of 691    Page ID
1187846            Overtime       0.25   28.88 #:1457
                                                 09/05/2016 Los Angeles CA West - Drivers
1187846            Regular       32.00   19.25 09/12/2016 Los Angeles CA West - Drivers
1187846            Overtime       7.50   28.88 09/12/2016 Los Angeles CA West - Drivers
1187846            Regular       32.00   19.25 09/19/2016 Los Angeles CA West - Drivers
1187846            Overtime       5.00   28.88 09/19/2016 Los Angeles CA West - Drivers
1187846            Regular       24.00   19.25 09/26/2016 Los Angeles CA West - Drivers
1187846            Overtime       6.50   28.88 09/26/2016 Los Angeles CA West - Drivers
1187846            Regular       35.50   20.25 10/03/2016 Los Angeles CA West - Drivers
1187846            Overtime       7.75   30.38 10/03/2016 Los Angeles CA West - Drivers
1187846            Regular       23.50   19.25 10/10/2016 Los Angeles CA West - Drivers
1187846            Overtime       4.75   28.88 10/10/2016 Los Angeles CA West - Drivers
1187846            Regular       40.00   19.25 10/17/2016 Los Angeles CA West - Drivers
1187846            Overtime      12.50   28.88 10/17/2016 Los Angeles CA West - Drivers
1187846            Regular       39.50   19.25 10/24/2016 Los Angeles CA West - Drivers
1187846            Overtime      11.50   28.88 10/24/2016 Los Angeles CA West - Drivers
1187846            Regular       39.50   19.25 10/31/2016 Los Angeles CA West - Drivers
1187846            Overtime       9.50   28.88 10/31/2016 Los Angeles CA West - Drivers
1187846            Regular       32.00   19.25 11/07/2016 Los Angeles CA West - Drivers
1187846            Overtime       7.25   28.88 11/07/2016 Los Angeles CA West - Drivers
1187846            Regular       22.00   19.25 11/14/2016 Los Angeles CA West - Drivers
1187846            Overtime       2.75   28.88 11/14/2016 Los Angeles CA West - Drivers
1187846            Regular       32.00   19.25 11/21/2016 Los Angeles CA West - Drivers
1187846            Overtime       7.75   28.88 11/21/2016 Los Angeles CA West - Drivers
1187846            Regular       32.00   19.25 11/28/2016 Los Angeles CA West - Drivers
1187846            Overtime       9.50   28.88 11/28/2016 Los Angeles CA West - Drivers
1187846            Regular       32.00   19.25 12/05/2016 Los Angeles CA West - Drivers
1187846            Overtime       6.00   28.88 12/05/2016 Los Angeles CA West - Drivers
1187846            Regular       20.75   19.25 12/12/2016 Los Angeles CA West - Drivers
1187846            Overtime       3.25   28.88 12/12/2016 Los Angeles CA West - Drivers
Total for 1187846             2,585.75
1406401            Regular       21.00   16.50 09/12/2016 Los Angeles CA West - Drivers
1406401            Overtime       1.50   24.75 09/12/2016 Los Angeles CA West - Drivers
Total for 1406401                22.50
2633567            Regular       24.00   22.00 04/29/2019 Los Angeles CA West - Drivers
2633567            Overtime       7.00   33.00 04/29/2019 Los Angeles CA West - Drivers
2633567            Regular       24.00   22.00 05/06/2019 Los Angeles CA West - Drivers
2633567            Overtime       9.75   33.00 05/06/2019 Los Angeles CA West - Drivers
2633567            Regular        8.00   22.00 05/13/2019 Los Angeles CA West - Drivers
2633567            Overtime       3.00   33.00 05/13/2019 Los Angeles CA West - Drivers
2633567            Regular       10.00   22.00 06/17/2019 Los Angeles CA West - Drivers
2633567            Overtime       4.00   33.00 06/17/2019 Los Angeles CA West - Drivers
Total for 2633567                89.75
1309398            Regular        9.50   24.00 10/15/2018 Los Angeles CA West - Drivers
1309398            Overtime       0.50   36.00 10/15/2018 Los Angeles CA West - Drivers
1309398            Regular       40.00   24.00 10/22/2018 Los Angeles CA West - Drivers
1309398            Overtime       6.50   36.00 10/22/2018 Los Angeles CA West - Drivers
1309398            Regular       40.00   24.00 10/29/2018 Los Angeles CA West - Drivers
1309398            Overtime       6.50   36.00 10/29/2018 Los Angeles CA West - Drivers
1309398            Regular       32.00   24.00 11/05/2018 Los Angeles CA West - Drivers
1309398            Overtime       9.50   36.00 11/05/2018 Los Angeles CA West - Drivers
1309398            Regular       40.00   24.00 11/12/2018 Los Angeles CA West - Drivers
1309398            Overtime      14.00   36.00 11/12/2018 Los Angeles CA West - Drivers
1309398            Regular       32.00   19.00 10/16/2017 Los Angeles CA West - Drivers
1309398            Overtime       8.00   28.50 10/16/2017 Los Angeles CA West - Drivers
1309398            Regular       40.00   19.00 10/23/2017 Los Angeles CA West - Drivers
1309398            Overtime      16.00   28.50 10/23/2017 Los Angeles CA West - Drivers
1309398            Regular       40.00   19.00 10/30/2017 Los Angeles CA West - Drivers
1309398            Overtime      12.00   28.50 10/30/2017 Los Angeles CA West - Drivers
1309398            Regular       32.00   19.00 11/06/2017 Los Angeles CA West - Drivers
1309398            Overtime      13.00   28.50 11/06/2017 Los Angeles CA West - Drivers
1309398            Regular       40.00   19.00 11/13/2017 Los Angeles CA West - Drivers
1309398            Overtime       5.50   28.50 11/13/2017 Los Angeles CA West - Drivers
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                     Regular      32.00Document
                                          19.00 38-5    Filed Los
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                                                                         CA West   of 691 Page ID
1309398              Overtime      9.50   28.50 #:1458
                                                  11/20/2017 Los Angeles CA West - Drivers
1309398             Regular        24.00    19.00   11/27/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.50    28.50   11/27/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    19.00   12/04/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    28.50   12/04/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    18.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    27.00   04/10/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    18.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime       10.00    27.00   04/17/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    18.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    27.00   04/24/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    20.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        3.50    30.00   10/15/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    20.50   04/08/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    19.50   09/11/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime       12.00    29.25   09/11/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    19.50   09/18/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime       16.75    29.25   09/18/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    19.50   09/25/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime       11.50    29.25   09/25/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        38.00    21.00   08/15/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime        3.50    31.50   08/15/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    20.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.50    30.00   03/04/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    20.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    30.00   03/11/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    21.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    31.50   01/07/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    21.00   01/14/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime       11.00    31.50   01/14/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    21.00   01/21/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime       14.50    31.50   01/21/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    21.00   01/28/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime        9.00    31.50   01/28/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    21.00   02/04/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    31.50   02/04/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    21.00   07/09/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        6.50    31.50   07/09/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    21.00   07/16/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.50    31.50   07/16/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    21.00   07/23/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    31.50   07/23/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    21.00   07/30/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime       12.00    31.50   07/30/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    21.00   08/06/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    31.50   08/06/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    21.00   08/13/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.00    31.50   08/13/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    21.00   08/20/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        6.50    31.50   08/20/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    21.00   08/27/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        8.50    31.50   08/27/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    21.00   09/03/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.00    31.50   09/03/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    21.00   09/10/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        9.50    31.50   09/10/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    21.00   09/17/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.00    31.50   09/17/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    19.00   06/26/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.50    28.50   06/26/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    19.00   07/03/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    28.50   07/03/2017   Los   Angeles   CA   West   - Drivers
1309398 Case   2:19-cv-08580-JFW-MAA
                     Regular      40.00Document
                                          19.00 38-5    Filed Los
                                                  07/10/2017  03/22/21
                                                                  AngelesPage 686- Drivers
                                                                         CA West   of 691 Page ID
1309398              Overtime      9.25   28.50 #:1459
                                                  07/10/2017 Los Angeles CA West - Drivers
1309398             Regular        40.00    19.00   07/17/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.00    28.50   07/17/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        39.50    19.00   07/24/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime       13.50    28.50   07/24/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        39.00    19.00   07/31/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        8.50    28.50   07/31/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        39.00    19.00   08/07/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.50    28.50   08/07/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    19.00   08/14/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        6.00    28.50   08/14/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    19.00   08/21/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        6.50    28.50   08/21/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        39.50    19.00   08/28/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        9.50    28.50   08/28/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    19.00   09/04/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.50    28.50   09/04/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    19.00   09/11/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        1.50    28.50   09/11/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    20.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.50    30.00   05/14/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    20.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        6.00    30.00   05/21/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    20.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        9.50    30.00   05/28/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    20.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.50    30.00   06/04/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    20.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        7.00    30.00   06/11/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    16.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.75    24.00   05/02/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    16.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime       23.00    24.00   05/09/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        40.00    16.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime       17.25    24.00   05/16/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    16.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime        8.50    24.00   05/23/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular         7.00    16.00   05/30/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        23.50    16.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.50    24.00   06/06/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    16.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime        2.00    24.00   06/13/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    16.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1309398             Overtime        2.25    24.00   02/20/2017   Los   Angeles   CA   West   - Drivers
1309398             Regular         8.00    16.50   05/30/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime        4.00    24.75   05/30/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    16.50   07/11/2016   Los   Angeles   CA   West   - Drivers
1309398             Overtime       16.00    24.75   07/11/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular         7.00    16.50   07/18/2016   Los   Angeles   CA   West   - Drivers
1309398             Regular        20.00    22.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        2.00    33.00   12/03/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    22.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        5.00    33.00   12/10/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        32.00    22.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime       10.50    33.00   12/17/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    22.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        8.00    33.00   12/24/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        24.00    22.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1309398             Overtime        8.00    33.00   12/31/2018   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    22.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1309398             Overtime        8.00    33.00   01/07/2019   Los   Angeles   CA   West   - Drivers
1309398             Regular        16.00    21.00   04/22/2019   Los   Angeles   CA   West   - Drivers
1309398 Case 2:19-cv-08580-JFW-MAA
                   Overtime       4.00Document
                                         31.50 38-5    Filed Los
                                                 04/22/2019  03/22/21
                                                                 AngelesPage 687- Drivers
                                                                        CA West   of 691    Page ID
1309398            Regular       32.00   21.00 #:1460
                                                 04/29/2019 Los Angeles CA West - Drivers
1309398            Overtime       4.25   31.50 04/29/2019 Los Angeles CA West - Drivers
1309398            Regular       32.00   21.00 05/06/2019 Los Angeles CA West - Drivers
1309398            Overtime      12.00   31.50 05/06/2019 Los Angeles CA West - Drivers
1309398            Regular       16.00   21.00 05/13/2019 Los Angeles CA West - Drivers
1309398            Overtime       3.00   31.50 05/13/2019 Los Angeles CA West - Drivers
1309398            Regular       59.00   21.00 05/07/2018 Los Angeles CA West - Drivers
1309398            Regular       32.00   19.00 05/01/2017 Los Angeles CA West - Drivers
1309398            Overtime       0.50   28.50 05/01/2017 Los Angeles CA West - Drivers
1309398            Regular       24.00   20.00 06/18/2018 Los Angeles CA West - Drivers
1309398            Overtime      10.50   30.00 06/18/2018 Los Angeles CA West - Drivers
1309398            Regular       40.00   20.00 06/25/2018 Los Angeles CA West - Drivers
1309398            Overtime      15.50   30.00 06/25/2018 Los Angeles CA West - Drivers
1309398            Regular       16.00   20.00 07/02/2018 Los Angeles CA West - Drivers
1309398            Overtime       4.50   30.00 07/02/2018 Los Angeles CA West - Drivers
1309398            Regular       16.00   19.00 03/13/2017 Los Angeles CA West - Drivers
1309398            Overtime       8.00   28.50 03/13/2017 Los Angeles CA West - Drivers
1309398            Regular       16.00   19.00 03/20/2017 Los Angeles CA West - Drivers
1309398            Overtime       4.00   28.50 03/20/2017 Los Angeles CA West - Drivers
1309398            Regular       40.00   19.00 03/27/2017 Los Angeles CA West - Drivers
1309398            Overtime      14.00   28.50 03/27/2017 Los Angeles CA West - Drivers
1309398            Regular       32.00   19.00 04/03/2017 Los Angeles CA West - Drivers
1309398            Overtime      11.00   28.50 04/03/2017 Los Angeles CA West - Drivers
Total for 1309398             3,092.00
2415066            Regular       35.00   20.50 03/26/2018 Sacramento CA - Drivers
2415066            Overtime       9.25   30.75 03/26/2018 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 04/02/2018 Sacramento CA - Drivers
2415066            Overtime       6.10   30.75 04/02/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 04/09/2018 Sacramento CA - Drivers
2415066            Overtime       8.60   30.75 04/09/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 04/16/2018 Sacramento CA - Drivers
2415066            Overtime       6.70   30.75 04/16/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 04/23/2018 Sacramento CA - Drivers
2415066            Overtime       9.80   30.75 04/23/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 04/30/2018 Sacramento CA - Drivers
2415066            Overtime       9.40   30.75 04/30/2018 Sacramento CA - Drivers
2415066            Regular       43.20   20.50 05/07/2018 Sacramento CA - Drivers
2415066            Overtime      15.10   30.75 05/07/2018 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 05/14/2018 Sacramento CA - Drivers
2415066            Overtime       7.20   30.75 05/14/2018 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 05/21/2018 Sacramento CA - Drivers
2415066            Overtime       9.50   30.75 05/21/2018 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 05/28/2018 Sacramento CA - Drivers
2415066            Overtime      16.30   30.75 05/28/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 06/04/2018 Sacramento CA - Drivers
2415066            Overtime      14.00   30.75 06/04/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 06/11/2018 Sacramento CA - Drivers
2415066            Overtime      13.50   30.75 06/11/2018 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 06/18/2018 Sacramento CA - Drivers
2415066            Overtime       7.30   30.75 06/18/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 06/25/2018 Sacramento CA - Drivers
2415066            Overtime      16.70   30.75 06/25/2018 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 07/02/2018 Sacramento CA - Drivers
2415066            Overtime      20.50   30.75 07/02/2018 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 07/09/2018 Sacramento CA - Drivers
2415066            Overtime       9.60   30.75 07/09/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 07/16/2018 Sacramento CA - Drivers
2415066            Overtime      11.90   30.75 07/16/2018 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 07/23/2018 Sacramento CA - Drivers
2415066            Overtime      11.50   30.75 07/23/2018 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 07/30/2018 Sacramento CA - Drivers
2415066            Overtime      13.50   30.75 07/30/2018 Sacramento CA - Drivers
2415066 Case   2:19-cv-08580-JFW-MAA
                     Regular      32.00Document
                                          20.50 38-5    Filed Sacramento
                                                  08/06/2018  03/22/21 Page    688 of 691 Page ID
                                                                         CA - Drivers
2415066              Overtime     10.55   30.75 #:1461
                                                  08/06/2018 Sacramento CA - Drivers
2415066             Regular        32.00    20.50   08/13/2018   Sacramento   CA   - Drivers
2415066             Overtime       15.40    30.75   08/13/2018   Sacramento   CA   - Drivers
2415066             Regular        40.00    20.50   08/20/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.10    30.75   08/20/2018   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   08/27/2018   Sacramento   CA   - Drivers
2415066             Overtime        7.00    30.75   08/27/2018   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   09/03/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.90    30.75   09/03/2018   Sacramento   CA   - Drivers
2415066             Regular        23.24    20.50   09/10/2018   Sacramento   CA   - Drivers
2415066             Overtime        4.00    30.75   09/10/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   09/17/2018   Sacramento   CA   - Drivers
2415066             Overtime       15.30    30.75   09/17/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   09/24/2018   Sacramento   CA   - Drivers
2415066             Overtime       15.90    30.75   09/24/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   10/01/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.60    30.75   10/01/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   10/08/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.20    30.75   10/08/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   10/15/2018   Sacramento   CA   - Drivers
2415066             Overtime       12.90    30.75   10/15/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   10/22/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.30    30.75   10/22/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   10/29/2018   Sacramento   CA   - Drivers
2415066             Overtime        7.90    30.75   10/29/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   11/05/2018   Sacramento   CA   - Drivers
2415066             Overtime       14.20    30.75   11/05/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   11/12/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.90    30.75   11/12/2018   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   11/19/2018   Sacramento   CA   - Drivers
2415066             Overtime        4.00    30.75   11/19/2018   Sacramento   CA   - Drivers
2415066             Regular        16.00    20.50   11/26/2018   Sacramento   CA   - Drivers
2415066             Overtime        3.30    30.75   11/26/2018   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   12/03/2018   Sacramento   CA   - Drivers
2415066             Overtime       10.25    30.75   12/03/2018   Sacramento   CA   - Drivers
2415066             Regular        40.00    20.50   12/10/2018   Sacramento   CA   - Drivers
2415066             Overtime        5.60    30.75   12/10/2018   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   12/17/2018   Sacramento   CA   - Drivers
2415066             Overtime       11.70    30.75   12/17/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   12/24/2018   Sacramento   CA   - Drivers
2415066             Overtime        6.90    30.75   12/24/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   12/31/2018   Sacramento   CA   - Drivers
2415066             Overtime        8.10    30.75   12/31/2018   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   01/07/2019   Sacramento   CA   - Drivers
2415066             Overtime       10.30    30.75   01/07/2019   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   01/14/2019   Sacramento   CA   - Drivers
2415066             Overtime        9.00    30.75   01/14/2019   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   01/21/2019   Sacramento   CA   - Drivers
2415066             Overtime        7.50    30.75   01/21/2019   Sacramento   CA   - Drivers
2415066             Regular        16.00    20.50   01/28/2019   Sacramento   CA   - Drivers
2415066             Overtime        8.00    30.75   01/28/2019   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   02/04/2019   Sacramento   CA   - Drivers
2415066             Overtime       12.40    30.75   02/04/2019   Sacramento   CA   - Drivers
2415066             Regular         8.00    20.50   02/11/2019   Sacramento   CA   - Drivers
2415066             Overtime        2.80    30.75   02/11/2019   Sacramento   CA   - Drivers
2415066             Regular         8.00    20.50   03/04/2019   Sacramento   CA   - Drivers
2415066             Overtime        2.40    30.75   03/04/2019   Sacramento   CA   - Drivers
2415066             Regular         8.00    20.50   03/25/2019   Sacramento   CA   - Drivers
2415066             Regular        32.00    20.50   04/15/2019   Sacramento   CA   - Drivers
2415066             Overtime        9.80    30.75   04/15/2019   Sacramento   CA   - Drivers
2415066             Regular        24.00    20.50   04/22/2019   Sacramento   CA   - Drivers
2415066             Overtime        5.90    30.75   04/22/2019   Sacramento   CA   - Drivers
2415066 Case 2:19-cv-08580-JFW-MAA
                   Regular       40.00Document
                                         20.50 38-5    Filed Sacramento
                                                 04/29/2019  03/22/21 Page    689 of 691
                                                                        CA - Drivers       Page ID
2415066            Overtime       7.80   30.75 #:1462
                                                 04/29/2019 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 05/06/2019 Sacramento CA - Drivers
2415066            Overtime       7.40   30.75 05/06/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 05/13/2019 Sacramento CA - Drivers
2415066            Overtime      10.50   30.75 05/13/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 05/20/2019 Sacramento CA - Drivers
2415066            Overtime      14.10   30.75 05/20/2019 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 05/27/2019 Sacramento CA - Drivers
2415066            Overtime       5.80   30.75 05/27/2019 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 06/10/2019 Sacramento CA - Drivers
2415066            Overtime       8.80   30.75 06/10/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 06/17/2019 Sacramento CA - Drivers
2415066            Overtime      14.10   30.75 06/17/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 06/24/2019 Sacramento CA - Drivers
2415066            Overtime      14.50   30.75 06/24/2019 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 07/01/2019 Sacramento CA - Drivers
2415066            Overtime      10.10   30.75 07/01/2019 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 07/08/2019 Sacramento CA - Drivers
2415066            Overtime      10.00   30.75 07/08/2019 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 07/15/2019 Sacramento CA - Drivers
2415066            Overtime      14.90   30.75 07/15/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 07/22/2019 Sacramento CA - Drivers
2415066            Overtime       6.30   30.75 07/22/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 07/29/2019 Sacramento CA - Drivers
2415066            Overtime      15.30   30.75 07/29/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 08/05/2019 Sacramento CA - Drivers
2415066            Overtime      11.00   30.75 08/05/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 08/12/2019 Sacramento CA - Drivers
2415066            Overtime      12.90   30.75 08/12/2019 Sacramento CA - Drivers
2415066            Regular       40.00   20.50 08/19/2019 Sacramento CA - Drivers
2415066            Overtime      16.20   30.75 08/19/2019 Sacramento CA - Drivers
2415066            Regular       32.00   20.50 08/26/2019 Sacramento CA - Drivers
2415066            Overtime      12.10   30.75 08/26/2019 Sacramento CA - Drivers
2415066            Regular       24.00   20.50 09/02/2019 Sacramento CA - Drivers
2415066            Overtime      12.00   30.75 09/02/2019 Sacramento CA - Drivers
2415066            Regular        8.00   20.50 07/09/2018 Sacramento CA - Drivers
2415066            Overtime       0.80   30.75 07/09/2018 Sacramento CA - Drivers
2415066            Regular        8.00   20.50 11/19/2018 Sacramento CA - Drivers
2415066            Overtime       3.50   30.75 11/19/2018 Sacramento CA - Drivers
2415066            Regular       20.50   21.00 11/27/2017 Sacramento CA - Drivers
2415066            Regular       50.00   21.00 12/04/2017 Sacramento CA - Drivers
2415066            Overtime       0.75   31.50 12/04/2017 Sacramento CA - Drivers
2415066            Regular       37.75   21.00 12/11/2017 Sacramento CA - Drivers
2415066            Overtime       1.00   31.50 12/11/2017 Sacramento CA - Drivers
2415066            Regular       41.50   21.00 12/18/2017 Sacramento CA - Drivers
2415066            Regular       32.00   21.00 12/25/2017 Sacramento CA - Drivers
2415066            Overtime       8.00   31.50 12/25/2017 Sacramento CA - Drivers
2415066            Regular       32.00   21.00 01/01/2018 Sacramento CA - Drivers
2415066            Overtime       8.50   31.50 01/01/2018 Sacramento CA - Drivers
2415066            Regular       48.50   21.00 01/08/2018 Sacramento CA - Drivers
2415066            Regular       33.00   21.00 01/15/2018 Sacramento CA - Drivers
2415066            Regular       42.00   21.00 01/22/2018 Sacramento CA - Drivers
2415066            Regular       42.00   21.00 01/29/2018 Sacramento CA - Drivers
2415066            Regular       33.00   21.00 02/05/2018 Sacramento CA - Drivers
2415066            Regular       33.25   21.00 02/12/2018 Sacramento CA - Drivers
2415066            Regular       42.50   21.00 02/19/2018 Sacramento CA - Drivers
2415066            Regular       41.50   21.00 02/26/2018 Sacramento CA - Drivers
2415066            Regular       40.00   21.00 03/05/2018 Sacramento CA - Drivers
2415066            Regular       40.25   21.00 03/12/2018 Sacramento CA - Drivers
Total for 2415066             3,468.09
2461057            Regular        8.00   21.00 01/15/2018 Los Angeles CA East - Drivers
Total for 2461057                 8.00
895873 Case 2:19-cv-08580-JFW-MAA
                  Regular      80.00Document
                                       17.00 38-5    Filed Los
                                               08/03/2015  03/22/21
                                                               AngelesPage 690
                                                                      CA East    of 691
                                                                              - Drivers   Page ID
895873            Overtime     12.00   25.50 #:1463
                                               08/03/2015 Los Angeles CA East - Drivers
895873            Regular      40.00   17.00 08/17/2015 Los Angeles CA East - Drivers
895873            Overtime      3.50   25.50 08/17/2015 Los Angeles CA East - Drivers
895873            Regular      32.00   17.00 08/24/2015 Los Angeles CA East - Drivers
895873            Overtime      4.25   25.50 08/24/2015 Los Angeles CA East - Drivers
895873            Regular      40.00   17.00 08/31/2015 Los Angeles CA East - Drivers
895873            Overtime      4.00   25.50 08/31/2015 Los Angeles CA East - Drivers
895873            Regular      40.00   17.00 09/07/2015 Los Angeles CA East - Drivers
895873            Overtime      3.00   25.50 09/07/2015 Los Angeles CA East - Drivers
895873            Regular      39.50   17.00 09/14/2015 Los Angeles CA East - Drivers
895873            Overtime      6.00   25.50 09/14/2015 Los Angeles CA East - Drivers
895873            Regular      40.00   17.00 09/21/2015 Los Angeles CA East - Drivers
895873            Overtime      7.00   25.50 09/21/2015 Los Angeles CA East - Drivers
Total for 895873              351.25
2414410           Regular      32.00   23.00 10/08/2018 Los Angeles CA East - Drivers
2414410           Overtime      1.75   34.50 10/08/2018 Los Angeles CA East - Drivers
2414410           Regular      40.00   25.00 10/15/2018 Los Angeles CA East - Drivers
2414410           Overtime      6.25   37.50 10/15/2018 Los Angeles CA East - Drivers
2414410           Regular       8.00   25.00 10/22/2018 Los Angeles CA East - Drivers
2414410           Regular      24.00   25.00 12/17/2018 Los Angeles CA East - Drivers
2414410           Overtime      7.50   37.50 12/17/2018 Los Angeles CA East - Drivers
2414410           Regular       8.00   25.00 01/14/2019 Los Angeles CA East - Drivers
2414410           Regular      32.00   25.00 02/25/2019 Los Angeles CA East - Drivers
2414410           Overtime     12.75   37.50 02/25/2019 Los Angeles CA East - Drivers
2414410           Regular      40.00   25.00 03/04/2019 Los Angeles CA East - Drivers
2414410           Overtime     18.25   37.50 03/04/2019 Los Angeles CA East - Drivers
2414410           Regular      40.00   25.00 03/11/2019 Los Angeles CA East - Drivers
2414410           Overtime     16.75   37.50 03/11/2019 Los Angeles CA East - Drivers
2414410           Regular      40.00   25.00 03/18/2019 Los Angeles CA East - Drivers
2414410           Overtime     18.50   37.50 03/18/2019 Los Angeles CA East - Drivers
2414410           Regular      32.00   25.00 03/25/2019 Los Angeles CA East - Drivers
2414410           Overtime     15.25   37.50 03/25/2019 Los Angeles CA East - Drivers
2414410           Regular      40.00   25.00 04/01/2019 Los Angeles CA East - Drivers
2414410           Overtime     19.50   37.50 04/01/2019 Los Angeles CA East - Drivers
2414410           Regular      32.00   25.00 04/08/2019 Los Angeles CA East - Drivers
2414410           Overtime     15.50   37.50 04/08/2019 Los Angeles CA East - Drivers
2414410           Regular      32.00   25.00 04/15/2019 Los Angeles CA East - Drivers
2414410           Overtime     16.00   37.50 04/15/2019 Los Angeles CA East - Drivers
2414410           Regular      14.00   25.00 04/22/2019 Los Angeles CA East - Drivers
2414410           Overtime      4.00   37.50 04/22/2019 Los Angeles CA East - Drivers
2414410           Regular       8.00   20.00 11/27/2017 Los Angeles CA East - Drivers
2414410           Regular      21.00   21.00 07/23/2018 Los Angeles CA East - Drivers
2414410           Regular      17.00   21.00 07/30/2018 Los Angeles CA East - Drivers
2414410           Regular       5.00   21.00 08/06/2018 Los Angeles CA East - Drivers
2414410           Regular      32.00   21.00 08/20/2018 Los Angeles CA East - Drivers
2414410           Overtime      2.50   31.50 08/20/2018 Los Angeles CA East - Drivers
2414410           Regular      34.75   21.00 08/27/2018 Los Angeles CA East - Drivers
2414410           Overtime      1.25   31.50 08/27/2018 Los Angeles CA East - Drivers
2414410           Regular      31.00   21.00 09/03/2018 Los Angeles CA East - Drivers
2414410           Regular      32.00   21.00 09/10/2018 Los Angeles CA East - Drivers
2414410           Regular      32.00   21.00 09/17/2018 Los Angeles CA East - Drivers
2414410           Overtime      0.50   31.50 09/17/2018 Los Angeles CA East - Drivers
2414410           Regular       8.00   21.00 07/23/2018 Los Angeles CA East - Drivers
2414410           Regular       8.00   21.00 05/21/2018 Los Angeles CA East - Drivers
2414410           Overtime      1.00   31.50 05/21/2018 Los Angeles CA East - Drivers
2414410           Regular      24.00   21.00 07/16/2018 Los Angeles CA East - Drivers
2414410           Overtime      4.50   31.50 07/16/2018 Los Angeles CA East - Drivers
2414410           Regular       8.00   20.00 10/22/2018 Los Angeles CA East - Drivers
2414410           Overtime      2.00   30.00 10/22/2018 Los Angeles CA East - Drivers
2414410           Regular      14.50   20.00 08/13/2018 Los Angeles CA East - Drivers
2414410           Regular       8.00   20.00 08/20/2018 Los Angeles CA East - Drivers
2414410           Regular       6.48   20.00 08/27/2018 Los Angeles CA East - Drivers
2414410 Case 2:19-cv-08580-JFW-MAA
                   Regular         6.50Document
                                          20.00 38-5    Filed Los
                                                  09/03/2018  03/22/21
                                                                  AngelesPage 691
                                                                         CA East    of 691
                                                                                 - Drivers   Page ID
2414410            Regular         8.00   20.00 #:1464
                                                  09/17/2018 Los Angeles CA East - Drivers
2414410            Regular       14.10    20.00 09/24/2018 Los Angeles CA East - Drivers
2414410            Regular       16.90    20.00 09/24/2018 Los Angeles CA East - Drivers
2414410            Overtime        3.50   30.00 09/24/2018 Los Angeles CA East - Drivers
2414410            Regular         5.50   20.00 10/08/2018 Los Angeles CA East - Drivers
2414410            Regular         6.00   20.00 10/15/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   20.00 10/22/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   20.00 11/12/2018 Los Angeles CA East - Drivers
2414410            Overtime        0.50   30.00 11/12/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   19.50 08/13/2018 Los Angeles CA East - Drivers
2414410            Overtime        2.00   29.25 08/13/2018 Los Angeles CA East - Drivers
2414410            Regular         7.50   19.50 05/06/2019 Los Angeles CA East - Drivers
2414410            Regular       32.00    21.00 09/24/2018 Los Angeles CA East - Drivers
2414410            Overtime        9.50   31.50 09/24/2018 Los Angeles CA East - Drivers
2414410            Regular       24.00    21.00 10/29/2018 Los Angeles CA East - Drivers
2414410            Overtime        3.50   31.50 10/29/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   21.00 10/01/2018 Los Angeles CA East - Drivers
2414410            Overtime        3.25   31.50 10/01/2018 Los Angeles CA East - Drivers
2414410            Regular         8.50   21.50 04/29/2019 Los Angeles CA East - Drivers
2414410            Regular        -0.50   21.50 04/29/2019 Los Angeles CA East - Drivers
2414410            Overtime        0.50   32.25 04/29/2019 Los Angeles CA East - Drivers
2414410            Regular       32.00    12.00 11/05/2018 Los Angeles CA East - Drivers
2414410            Regular       32.00    12.00 11/12/2018 Los Angeles CA East - Drivers
2414410            Regular       32.00    20.00 03/19/2018 Los Angeles CA East - Drivers
2414410            Overtime        0.50   30.00 03/19/2018 Los Angeles CA East - Drivers
2414410            Regular       32.00    21.00 11/19/2018 Los Angeles CA East - Drivers
2414410            Overtime        1.00   31.50 11/19/2018 Los Angeles CA East - Drivers
2414410            Regular       40.00    21.00 11/26/2018 Los Angeles CA East - Drivers
2414410            Overtime        3.00   31.50 11/26/2018 Los Angeles CA East - Drivers
2414410            Regular       16.00    20.50 05/07/2018 Los Angeles CA East - Drivers
2414410            Regular       24.00    20.50 05/14/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   20.50 06/04/2018 Los Angeles CA East - Drivers
2414410            Regular       40.00    20.50 06/11/2018 Los Angeles CA East - Drivers
2414410            Overtime        3.50   30.75 06/11/2018 Los Angeles CA East - Drivers
2414410            Regular       40.00    21.00 06/18/2018 Los Angeles CA East - Drivers
2414410            Overtime        4.50   31.50 06/18/2018 Los Angeles CA East - Drivers
2414410            Regular       16.00    21.00 06/25/2018 Los Angeles CA East - Drivers
2414410            Regular       32.00    21.00 07/02/2018 Los Angeles CA East - Drivers
2414410            Overtime        0.50   31.50 07/02/2018 Los Angeles CA East - Drivers
2414410            Regular       40.00    21.00 07/09/2018 Los Angeles CA East - Drivers
2414410            Overtime        5.25   31.50 07/09/2018 Los Angeles CA East - Drivers
2414410            Regular       16.00    21.00 12/03/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   21.00 12/10/2018 Los Angeles CA East - Drivers
2414410            Overtime        0.50   31.50 12/10/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   20.00 11/12/2018 Los Angeles CA East - Drivers
2414410            Overtime        2.00   30.00 11/12/2018 Los Angeles CA East - Drivers
2414410            Regular       32.00    20.00 02/12/2018 Los Angeles CA East - Drivers
2414410            Overtime        2.50   30.00 02/12/2018 Los Angeles CA East - Drivers
2414410            Regular       21.50    21.00 05/07/2018 Los Angeles CA East - Drivers
2414410            Regular         8.00   22.00 05/14/2018 Los Angeles CA East - Drivers
2414410            Regular       23.75    22.00 05/21/2018 Los Angeles CA East - Drivers
2414410            Overtime        1.50   33.00 05/21/2018 Los Angeles CA East - Drivers
2414410            Regular       21.70    22.00 05/28/2018 Los Angeles CA East - Drivers
2414410            Overtime        1.00   33.00 05/28/2018 Los Angeles CA East - Drivers
2414410            Regular       27.00    22.00 06/04/2018 Los Angeles CA East - Drivers
2414410            Overtime        5.00   33.00 06/04/2018 Los Angeles CA East - Drivers
Total for 2414410             1,631.43
